           Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 1 of 569


                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

------------------------------------------------------------- x
                                                              :
In re:                                                        : Chapter 11
                                                              :
THE CONTAINER STORE GROUP, INC., et al., : Case No. 24-_______ (____)
                                                              :
                    Debtors.1                                 : (Joint Administration Requested)
                                                              :
------------------------------------------------------------- x

                    DISCLOSURE STATEMENT FOR PREPACKAGED
        JOINT PLAN OF REORGANIZATION OF THE CONTAINER STORE GROUP, INC.
       AND ITS DEBTOR AFFILIATES UNDER CHAPTER 11 OF THE BANKRUPTCY CODE

     HUNTON ANDREWS KURTH LLP                                    LATHAM & WATKINS LLP

     Timothy A. (“Tad”) Davidson II (Texas Bar No.               George A. Davis (NY Bar No. 2401214)
     24012503)                                                   Hugh Murtagh (NY Bar No. 5002498)
     Ashley L. Harper (Texas Bar No. 24065272)                   Tianjiao (TJ) Li (NY Bar No. 5689567)
     Philip M. Guffy (Texas Bar No. 24113705)                    Jonathan J. Weichselbaum (NY Bar No. 5676143)
     600 Travis Street, Suite 4200                               1271 Avenue of the Americas
     Houston, TX 77002                                           New York, NY 10020
     Telephone:      (713) 220-4200                              Telephone:       (213) 485-1234
     Email:          taddavidson@HuntonAK.com                    Email:           george.davis@lw.com
                     ashleyharper@HuntonAK.com                                    hugh.murtagh@lw.com
                     pguffy@HuntonAK.com                                          tj.li@lw.com
                                                                                  jon.weichselbaum@lw.com

                                                                 Ted A. Dillman (CA Bar No. 258499)
                                                                 355 South Grand Avenue, Suite 100
                                                                 Los Angeles, CA 90071
                                                                 Telephone:     (213) 485-1234
                                                                 Email:         ted.dillman@lw.com


                          Proposed Co-Counsel to the Debtors and Debtors in Possession

                                              Dated: December 21, 2024




 1
       The Debtors in these cases, together with the last four digits of each Debtor’s taxpayer identification number, are:
       The Container Store Group, Inc. (5401); The Container Store, Inc. (6981); C Studio Manufacturing Inc. (4763);
       C Studio Manufacturing LLC (5770); and TCS Gift Card Services, LLC (7975). The Debtors’ mailing address
       is 500 Freeport Parkway, Coppell, TX 75019.

 US-DOCS\147710132.5
     Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 2 of 569



THIS IS A SOLICITATION OF VOTES TO ACCEPT OR REJECT THE PREPACKAGED JOINT
PLAN OF REORGANIZATION OF THE CONTAINER STORE GROUP, INC. AND ITS DEBTOR
AFFILIATES UNDER CHAPTER 11 OF THE BANKRUPTCY CODE IN ACCORDANCE WITH
SECTION 1125 AND WITHIN THE MEANING OF SECTION 1126 OF TITLE 11 OF THE
UNITED STATES CODE (THE “BANKRUPTCY CODE”).

BECAUSE THE CHAPTER 11 CASES HAVE NOT YET BEEN COMMENCED, THIS
DISCLOSURE STATEMENT (THE “DISCLOSURE STATEMENT”) HAS NOT, AS OF THE
DATE HEREOF, BEEN APPROVED BY THE BANKRUPTCY COURT AS CONTAINING
“ADEQUATE INFORMATION” WITHIN THE MEANING OF SECTION 1125(A) OF THE
BANKRUPTCY CODE. FOLLOWING THE COMMENCEMENT OF THE CHAPTER 11
CASES, THE DEBTORS EXPECT TO PROMPTLY SEEK ORDERS OF THE BANKRUPTCY
COURT APPROVING THIS DISCLOSURE STATEMENT AS CONTAINING “ADEQUATE
INFORMATION,” APPROVING THE SOLICITATION OF VOTES AS BEING IN
COMPLIANCE WITH SECTIONS 1125 AND 1126(B) OF THE BANKRUPTCY CODE, AND
CONFIRMING THE PLAN.

THE INFORMATION IN THIS DISCLOSURE STATEMENT IS SUBJECT TO CHANGE AND
SUBJECT TO THE TRANSACTION SUPPORT AGREEMENT AND RELATED TERM SHEETS.
THIS DISCLOSURE STATEMENT IS NOT AN OFFER TO SELL ANY SECURITIES AND IS
NOT SOLICITING AN OFFER TO BUY ANY SECURITIES.

             DISCLOSURE STATEMENT, DATED DECEMBER 21, 2024

                               Solicitation of Votes
                         on the Plan of Reorganization of

                 THE CONTAINER STORE GROUP, INC., ET AL.

                         from the holders of outstanding

                     PREPETITION TERM LOAN CLAIMS

       THE VOTING DEADLINE IS 4:00 P.M. (PREVAILING CENTRAL TIME) ON
     January 21, 2025 (UNLESS THE DEBTORS EXTEND THE VOTING DEADLINE).

FOR YOUR VOTE TO BE COUNTED, YOU MUST RETURN YOUR PROPERLY
COMPLETED BALLOT TO THE SOLICITATION AGENT, KURTZMAN CARSON
CONSULTANTS, LLC D/B/A VERITA GLOBAL, SO THAT YOUR BALLOT IS ACTUALLY
RECEIVED BY THE SOLICITATION AGENT BEFORE THE VOTING DEADLINE.

THE BALLOTS CONTAIN DETAILED VOTING INSTRUCTIONS AND SET FORTH, AMONG
OTHER THINGS, THE DEADLINES, PROCEDURES, AND INSTRUCTIONS FOR VOTING
TO ACCEPT OR REJECT THE PLAN, AND THE APPLICABLE STANDARDS FOR
TABULATING BALLOTS.
        Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 3 of 569




              RECOMMENDATION BY THE DEBTORS AND RELATED SUPPORT

The Debtors believe the Plan is in the best interests of their creditors and other stakeholders. All
creditors entitled to vote on the Plan are urged to vote in favor of the Plan.

The Board of Directors of The Container Store Group, Inc. and the board of directors or managers,
or members, as applicable, of each of its affiliated Debtors have unanimously approved the
transactions contemplated by the Plan and recommend that all creditors whose votes are being
solicited submit Ballots to accept the Plan.

Subject to the terms and conditions of the Transaction Support Agreement Holders of over 90% of
the aggregate principal amount outstanding under the Debtors’ Term Loan Facility have already
agreed to vote in favor of, or otherwise support, the Plan.

Each of the Debtors therefore strongly recommends that all Holders of Claims entitled to vote on
the Plan submit Ballots to ACCEPT the Plan so as to be actually received by the Solicitation Agent
before the Voting Deadline (i.e., January 21, 2025 at 4:00 p.m. (prevailing Central Time)) in
accordance with the instructions set forth below and in the Ballots.



        IMPORTANT INFORMATION REGARDING THIS DISCLOSURE STATEMENT
                            FOR YOU TO READ

The Container Store Group, Inc. and certain of its direct and indirect subsidiaries, as debtors and debtors-
in-possession (collectively, the “Debtors”) in the above-captioned chapter 11 cases
(the “Chapter 11 Cases”), are providing you with the information in this Disclosure Statement because you
may be a creditor of the Debtors and may be entitled to vote on the Prepackaged Joint Plan of
Reorganization of The Container Store Group, Inc. and Its Debtor Affiliates Under Chapter 11 of the
Bankruptcy Code (including all exhibits and schedules thereto, and as may be amended, modified, or
supplemented from time to time, the “Plan”). A draft of the Plan is attached hereto as Exhibit A. All
capitalized terms used but not otherwise defined herein have the definitions given to them in the Plan. To
the extent that a definition of a term in the text of this Disclosure Statement and the definition of such term
in the Plan are inconsistent, the definition included in the Plan will control and govern.

ALL CREDITORS ENTITLED TO VOTE ON THE PLAN (I.E., CLASS 3 (PREPETITION TERM
LOAN CLAIMS)) ARE ENCOURAGED TO READ AND CAREFULLY CONSIDER THIS
ENTIRE DISCLOSURE STATEMENT, INCLUDING THE RISK FACTORS DESCRIBED IN
SECTION IX BELOW AND THE PLAN ATTACHED HERETO AS EXHIBIT A BEFORE
SUBMITTING BALLOTS IN RESPONSE TO SOLICITATION OF THE PLAN.

HOLDERS OF CLAIMS OR INTERESTS SHOULD NOT CONSTRUE THE CONTENTS OF
THIS DISCLOSURE STATEMENT AS PROVIDING ANY LEGAL, BUSINESS, FINANCIAL, OR
TAX ADVICE, AND VOTING CREDITORS SHOULD CONSULT WITH THEIR OWN
ADVISORS BEFORE VOTING ON THE PLAN.

THE ISSUANCE AND DISTRIBUTION UNDER THE PLAN OF NEW EQUITY INTERESTS TO
HOLDERS OF ALLOWED DIP CLAIMS AND PREPETITION TERM LOAN CLAIMS WILL BE
EXEMPT FROM REGISTRATION UNDER THE SECURITIES ACT OF 1933, AS AMENDED




                                                      ii
     Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 4 of 569



(THE “SECURITIES ACT”) AND ANY OTHER APPLICABLE SECURITIES LAWS PURSUANT
TO SECTION 1145 OF THE BANKRUPTCY CODE.

THE ISSUANCE AND DISTRIBUTION UNDER THE PLAN OF NEW EQUITY INTERESTS TO
HOLDERS OF ALLOWED DIP CLAIMS AND PREPETITION TERM LOAN CLAIMS IS BEING
MADE ONLY TO HOLDERS OF SUCH CLAIMS WHO ARE REASONABLY BELIEVED TO BE
QUALIFIED INSTITUTIONAL BUYERS, ACCREDITED INVESTORS (AS DEFINED IN
RULE 501 UNDER THE SECURITIES ACT, “ACCREDITED INVESTORS”) OR NON-U.S.
PERSONS. THE DEBTORS ARE RELYING ON SECTION 4(a)(2), REGULATION D AND/OR
REGULATION S OF THE SECURITIES ACT, AND SIMILAR STATE SECURITIES LAW
PROVISIONS, TO EXEMPT FROM REGISTRATION UNDER THE SECURITIES ACT AND
STATE SECURITIES LAWS ANY OFFERS OF NEW EQUITY INTERESTS THAT MAY BE
DEEMED TO BE MADE PRIOR TO THE PETITION DATE, INCLUDING IN CONNECTION
WITH THE SOLICITATION OF VOTES ON THE PLAN. THE DEBTORS WILL RELY ON
SECTION 1145(a) OF THE BANKRUPTCY CODE TO EXEMPT FROM REGISTRATION
UNDER THE SECURITIES ACT AND STATE SECURITIES LAWS ANY OFFERS OF NEW
EQUITY INTERESTS THAT MAY BE DEEMED TO BE MADE AFTER THE PETITION DATE,
INCLUDING IN CONNECTION WITH THE SOLICITATION OF VOTES ON THE PLAN.

THE NEW EQUITY INTERESTS HAVE NOT BEEN APPROVED OR DISAPPROVED BY THE
SECURITIES AND EXCHANGE COMMISSION (THE “SEC”) OR BY ANY STATE
SECURITIES COMMISSION OR SIMILAR PUBLIC, GOVERNMENTAL, OR REGULATORY
AUTHORITY. THE AVAILABILITY OF THE EXEMPTION UNDER SECTION 1145 OF THE
BANKRUPTCY CODE, SECTION 4(A)(2) OF THE SECURITIES ACT, REGULATION D
AND/OR REGULATION S, OR ANY OTHER APPLICABLE SECURITIES LAWS, SHALL NOT
BE A CONDITION TO THE OCCURRENCE OF THE EFFECTIVE DATE.

HOLDERS OF ALLOWED GENERAL UNSECURED CLAIMS WILL NOT BE IMPAIRED BY
THE PLAN AND, AS A RESULT, THE RIGHT TO RECEIVE PAYMENT IN FULL ON
ACCOUNT OF EXISTING OBLIGATIONS TO SUCH HOLDERS IS NOT ALTERED BY THE
PLAN. DURING THE CHAPTER 11 CASES, THE DEBTORS INTEND TO OPERATE THEIR
BUSINESSES IN THE ORDINARY COURSE AND WILL SEEK AUTHORIZATION FROM THE
BANKRUPTCY COURT TO MAKE PAYMENT IN FULL IN THE ORDINARY COURSE OF
BUSINESS TO ALL TRADE CREDITORS, CUSTOMERS, AND EMPLOYEES OF ALL
UNDISPUTED AMOUNTS DUE BEFORE AND DURING THE CHAPTER 11 CASES.

NO INDEPENDENT AUDITOR OR ACCOUNTANT HAS REVIEWED OR APPROVED THE
FINANCIAL PROJECTIONS OR THE LIQUIDATION ANALYSIS PROVIDED HEREIN.

THE DEBTORS HAVE NOT AUTHORIZED ANY PERSON TO GIVE ANY INFORMATION OR
ADVICE OR TO MAKE ANY REPRESENTATION IN CONNECTION WITH THE PLAN OR
THIS DISCLOSURE STATEMENT, AND HOLDERS OF CLAIMS AND INTERESTS UNDER
THE PLAN SHOULD NOT CONSTRUE THE CONTENT OF THIS DISCLOSURE STATEMENT
AS PROVIDING LEGAL, BUSINESS, FINANCIAL, OR TAX ADVICE.

THE STATEMENTS CONTAINED IN THIS DISCLOSURE STATEMENT ARE MADE AS OF
THE DATE HEREOF UNLESS OTHERWISE SPECIFIED. THE TERMS OF THE PLAN
GOVERN IN THE EVENT OF ANY INCONSISTENCY WITH THE SUMMARIES IN THIS
DISCLOSURE STATEMENT.




                                    iii
        Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 5 of 569



THE INFORMATION IN THIS DISCLOSURE STATEMENT IS BEING PROVIDED SOLELY
FOR PURPOSES OF VOTING TO ACCEPT OR REJECT THE PLAN OR OBJECTING TO
CONFIRMATION. NOTHING IN THIS DISCLOSURE STATEMENT MAY BE USED BY ANY
PARTY FOR ANY OTHER PURPOSE.

ALL EXHIBITS TO THIS DISCLOSURE STATEMENT ARE INCORPORATED INTO AND
ARE A PART OF THIS DISCLOSURE STATEMENT AS IF SET FORTH IN FULL HEREIN.

THE VOTING DEADLINE TO ACCEPT OR REJECT THE PLAN IS 4:00 P.M. (PREVAILING
CENTRAL TIME) ON JANUARY 21, 2025, UNLESS EXTENDED BY THE DEBTORS
(THE “VOTING DEADLINE”). ALL BALLOTS AND RELEASE OPT-OUT FORMS MUST BE
SUBMITTED BY THE VOTING DEADLINE.

To be counted, your ballot (“Ballot”) must be properly completed and returned to the Solicitation
Agent, Kurtzman Carson Consultants, LLC d/b/a Verita Global (“Verita”), in accordance with the
voting instructions on such Ballot and actually received by the Solicitation Agent, via regular mail,
overnight courier, or personal delivery at the appropriate address, via email (where applicable), or
via the Solicitation Agent’s online voting portal, by the Voting Deadline. Please review the
instructions set forth on your Ballot for further guidance on the appropriate method(s) of submission.

A summary of the voting instructions is set forth in Section I.E of this Disclosure Statement. More detailed
instructions are also contained in the Ballots distributed to the creditors entitled to vote on the Plan.

This Disclosure Statement, the Plan, the Plan Supplement, and any attachments, exhibits, supplements, and
annexes hereto or thereto are the only documents to be used in connection with the solicitation of votes on
the Plan, and also may not be relied upon for any purpose other than to determine how to vote on the Plan
(except with respect to any Plan Supplement documents that may be relied upon for purposes other than to
determine how to vote on the Plan). Neither the Bankruptcy Court nor the Debtors have authorized any
person to give any information or to make any representation in connection with the Plan or the solicitation
of acceptances of the Plan other than as contained in this Disclosure Statement, the Plan Supplement, and
any attachments, exhibits, supplements, and annexes attached hereto or thereto. If given or made, such
information or representation may not be relied upon as having been authorized by the Bankruptcy Court
or the Debtors. The delivery of this Disclosure Statement will not under any circumstances represent that
the information herein is correct as of any time after the date hereof.

This Disclosure Statement will not constitute an offer to sell, or solicitation of an offer to buy, nor will there
be any distribution of, any of the securities described herein until the Effective Date of the Plan.

The summaries of the Plan and other documents contained in this Disclosure Statement are qualified in
their entirety by reference to the Plan itself, the exhibits thereto that will be included in the Plan Supplement,
and documents described therein as filed before the conditional approval of this Disclosure Statement or
subsequently as part of the Plan Supplement. In the event that any inconsistency or conflict exists between
this Disclosure Statement and the Plan, or between the Plan Supplement and the Plan, the terms of the Plan
will control. Except as otherwise indicated herein or in the Plan, the Debtors will propose to file all Plan
Supplement documents with the Bankruptcy Court and make them available for review at the Debtors’
document website located online at https://www.veritaglobal.com/thecontainerstore no later than five (5)
Business Days before the Objection Deadline (as defined in the Solicitation Procedures Motion (as defined
below)). The Debtors intend to propose the Objection Deadline to be January 21, 2025 at 4:00 p.m.
(prevailing Central Time).




                                                       iv
        Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 6 of 569



This Disclosure Statement contains, among other things, descriptions and summaries of provisions of the
Plan. The Debtors reserve the right to modify the Plan consistent with section 1127 of the Bankruptcy Code
and Bankruptcy Rule 3019, subject to the terms of the Plan. The statements contained in this Disclosure
Statement are made only as of the date of this Disclosure Statement, and there can be no assurance that the
statements contained herein will be correct at any time after this date. The information contained in this
Disclosure Statement, including the information regarding the history, businesses, and operations of the
Debtors, the financial information regarding the Debtors, and the liquidation analysis relating to the
Debtors, is included for purposes of soliciting acceptances of the Plan, but, as to contested matters and
adversary proceedings, is not to be construed as an admission or stipulation, but rather as a statement made
in settlement negotiations as part of the Debtors’ attempt to settle and resolve claims and controversies
pursuant to the Plan. This Disclosure Statement will not be admissible in any non-bankruptcy proceeding,
nor will it be construed to be conclusive advice on the tax, securities, or other legal effects of the Plan as to
Holders of Claims against, or Interests in, either the Debtors or the Reorganized Debtors. Unless
specifically noted, the financial information contained in this Disclosure Statement and in its exhibits has
not been audited by a certified public accountant and has not been prepared in accordance with generally
accepted accounting principles in the United States.

The effectiveness of the Plan is subject to material conditions precedent. See Section V.G below and
Article VIII of the Plan. There is no assurance that these conditions will be satisfied or waived.

If the Plan is confirmed by the Bankruptcy Court and the Effective Date occurs, all Holders of Claims
against, and Interests in, the Debtors (including without limitation those Holders who do not submit Ballots
to accept or reject the Plan or who are not entitled to vote on the Plan, but excluding Holders who are
entitled to, and do, opt out of the Third-Party Release), will be bound by the terms of the Plan and the
transactions contemplated thereby, including the Third-Party Release contained therein; provided, however,
that Holders of Claims that properly and timely elect to opt out of the Third-Party Release will not be bound
by the Third-Party Release.

                         IMPORTANT NOTICES REGARDING
            THIRD-PARTY RELEASE BY HOLDERS OF CLAIMS AND INTERESTS

If you are a Holder of a Claim or Interest, you may be deemed to grant the Third-Party Release
under the Plan. Specifically, pursuant to Article IX.C of the Plan, each Holder of a Claim or Interest
is deemed to grant the Third-Party Release, to the maximum extent otherwise permitted by law, if:
(a) such Holder is entitled to vote to accept or reject the Plan and (i) votes to accept the Plan and does
not elect to opt-out of the Third-Party Release, (ii) abstains from voting on the Plan and does not elect
to opt out of the Third-Party Release, or (iii) votes to reject the Plan but does not elect to opt out of
the Third-Party Release; or (b) such Holder is a Holder of a Claim or Interest in a Class that is
presumed to accept or reject the Plan and does not timely opt out of providing the Third-Party
Release. The Third-Party Release is discussed further in Section V.H of this Disclosure Statement.
Instructions for opting out of the Third-Party Release are set forth in the Solicitation Package (as
defined below) distributed in connection with this Disclosure Statement.

                                 FORWARD-LOOKING STATEMENTS

This Disclosure Statement contains forward-looking statements based primarily on the current expectations
of the Debtors and projections about future events and financial trends affecting the financial condition of
the Debtors’ businesses and assets. The words “believe,” “may,” “estimate,” “continue,” “anticipate,”
“intend,” “expect,” and similar expressions identify these forward-looking statements. These forward-
looking statements are subject to a number of risks, uncertainties, and assumptions, including those
described below in Section IX. In light of these risks and uncertainties, the forward-looking events and


                                                       v
        Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 7 of 569



circumstances discussed in this Disclosure Statement may not occur, and actual results could differ
materially from those anticipated in the forward-looking statements. The Debtors do not undertake any
obligation to update or revise publicly any forward-looking statements, whether as a result of new
information, future events, or otherwise.

This Disclosure Statement has been prepared in accordance with section 1125 of the Bankruptcy Code and
Bankruptcy Rule 3016 and not necessarily in accordance with federal or state securities laws or other non-
bankruptcy laws. This Disclosure Statement has not been approved or disapproved by the SEC, any state
securities commission or any securities exchange or association nor has the SEC, any state securities
commission or any securities exchange or association passed upon the accuracy or adequacy of the
statements contained herein.

                        QUESTIONS AND ADDITIONAL INFORMATION

If you would like to obtain copies of this Disclosure Statement, the Plan, the Plan Supplement, or any of
the documents attached hereto or thereto or referenced herein or therein, or have questions about the
solicitation and voting process or the Chapter 11 Cases generally, please contact the Solicitation Agent by
visiting the Debtors’ restructuring website at https://www.veritaglobal.com/thecontainerstore.




                             [Remainder of page left intentionally blank]




                                                    vi
          Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 8 of 569



                                                     TABLE OF CONTENTS

                                                                                                                                         Page

I. EXECUTIVE SUMMARY ..........................................................................................................1

          A.         Purpose and Effect of the Plan .................................................................................2
          B.         Classification and Treatment of Claims and Interests under the Plan .....................4
          C.         Filing of the Plan Supplement..................................................................................7
          D.         Solicitation Procedures ............................................................................................7
          E.         Voting Procedures ..................................................................................................10
          F.         Confirmation of the Plan ........................................................................................12
          G.         The Plan Releases ..................................................................................................14
          H.         Deregistration and Issuance of New Equity Interests ............................................15
          I.         Consummation of the Plan .....................................................................................15
          J.         Risk Factors ...........................................................................................................15

II. BACKGROUND TO THE CHAPTER 11 CASES ..................................................................15

          A.         The Debtors’ Corporate Structure ..........................................................................15
          B.         The Debtors’ Business Operations.........................................................................16
          C.         The Debtors’ Prepetition Capital Structure............................................................19

III. EVENTS PRECEDING COMMENCEMENT OF THE ANTICIPATED CHAPTER
       11 CASES ..........................................................................................................................22

          A.         Challenging Post-Covid Retail Environment, Strategic Alternatives
                     Review, and Appointment of Transaction Committee ..........................................22
          B.         The Initial Marketing Process and the Potential Equity Investment from
                     Beyond, Inc. ...........................................................................................................22
          C.         The Formation of the Ad Hoc Group and the Company’s Retention of
                     Houlihan .................................................................................................................23
          D.         Deteriorating Business Performance and Continued Liquidity Pressures .............23
          E.         Amendment No. 9 to Prepetition Term Loan Facility ...........................................23
          F.         Beyond’s Unwillingness to Consummate an Investment and the Pursuit of
                     Alternative Transactions ........................................................................................24
          G.         Appointment of Restructuring Committee and Investigation Subcommittee ........24

IV. ANTICIPATED EVENTS DURING CHAPTER 11 CASES ................................................25

          A.         Commencement of Chapter 11 Cases ....................................................................25
          B.         First Day Motions ..................................................................................................25
          C.         Other Procedural Motions and Retention of Professionals ....................................28
          D.         Timetable for the Chapter 11 Cases .......................................................................28

V. SUMMARY OF THE PLAN....................................................................................................28

          A.         Classification and Treatment of Claims and Interests under the Plan ...................29
          Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 9 of 569




           B.         Acceptance or Rejection of the Plan; Effect of Rejection of the Plan ...................29
           C.         Means of Implementation of the Plan ....................................................................32
           D.         Treatment of Executory Contracts and Unexpired Leases; Employee
                      Benefits; and Insurance Policies ............................................................................37
           E.         Provisions Governing Distributions.......................................................................41
           F.         Procedures for Resolving Disputed, Contingent, and Unliquidated Claims
                      or Interests ..............................................................................................................43
           G.         Conditions Precedent to the Effective Date ...........................................................45
           H.         Discharge, Release, Injunction, and Related Provisions........................................48

VI. CAPITAL STRUCTURE AND CORPORATE GOVERNANCE OF
      REORGANIZED DEBTORS ............................................................................................53

           A.         Summary of Capital Structure of Reorganized Debtors ........................................53
           B.         Corporate Governance and Management of the Reorganized Debtors .................56

VII. CONFIRMATION OF THE PLAN .......................................................................................60

           A.         Combined Hearing .................................................................................................60
           B.         Confirmation ..........................................................................................................62
           C.         Classification of Claims and Interests....................................................................65
           D.         Consummation .......................................................................................................66
           E.         Exemption from Certain Taxes and Fees ...............................................................66
           F.         Modification of Plan ..............................................................................................66
           G.         Effect of Confirmation on Modifications ..............................................................66
           H.         Revocation of Plan; Reservation of Rights If Effective Date Does Not
                      Occur ......................................................................................................................66
           I.         Post-Confirmation Jurisdiction of the Bankruptcy Court ......................................67

VIII. ALTERNATIVES TO CONFIRMATION AND CONSUMMATION OF THE
       PLAN .................................................................................................................................69

           A.         Continuation of Chapter 11 Cases .........................................................................70
           B.         Liquidation under Chapter 7 ..................................................................................70
           C.         Dismissal of Chapter 11 Cases. .............................................................................70

IX. RISK FACTORS TO CONSIDER BEFORE VOTING .........................................................70

           A.         Certain Bankruptcy Law Considerations ...............................................................70
           B.         Risks Relating to the Capital Structure of the Reorganized Debtors .....................74
           C.         Risks Relating to the Debtors’ Business Operations and Financial
                      Conditions ..............................................................................................................79
           D.         Additional Factors..................................................................................................82

X. SECURITIES LAW MATTERS ..............................................................................................83

           A.         Issuance of 1145 Securities ....................................................................................83
           B.         Subsequent Transfers of 1145 Securities ...............................................................84


                                                                        ii
       Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 10 of 569




XI. CERTAIN U.S. FEDERAL INCOME TAX CONSEQUENCES OF THE PLAN ................86

        A.      Consequences to Debtors .......................................................................................87
        B.      Consequences to Holders of Claims .......................................................................90

XII. CONCLUSION AND RECOMMENDATION ...................................................................106

                                                      EXHIBITS

EXHIBIT A:      Plan

EXHIBIT B:      Transaction Support Agreement

EXHIBIT C:      Financial Projections

EXHIBIT D:      Liquidation Analysis

EXHIBIT E:      Valuation Analysis

 THE DEBTORS HEREBY ADOPT AND INCORPORATE EACH EXHIBIT ATTACHED TO
 THIS DISCLOSURE STATEMENT BY REFERENCE AS THOUGH FULLY SET FORTH
 HEREIN.




                                                            iii
       Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 11 of 569




                                                      I.
                                       EXECUTIVE SUMMARY

The Debtors in the Chapter 11 Cases to be commenced in the Bankruptcy Court (each as defined below)
submit this Disclosure Statement, pursuant to section 1125 of the Bankruptcy Code, in connection with the
solicitation of votes on the Plan. A copy of the Plan is attached hereto as Exhibit A.

Before soliciting votes on a proposed plan of reorganization, section 1125 of the Bankruptcy Code requires
debtors to prepare a disclosure statement containing information of a kind, and in sufficient detail, to enable
a hypothetical reasonable investor to make an informed judgment regarding acceptance or rejection of such
plan of reorganization. As such, this Disclosure Statement is being submitted in accordance with the
requirements of section 1125 of the Bankruptcy Code.

The Debtors are commencing this solicitation to implement a prepackaged, comprehensive consensual
restructuring (the “Restructuring”) that will reduce their funded debt liabilities from approximately $243.1
million (inclusive of accrued and unpaid interest, but excluding issued but undrawn letters of credit under
the Prepetition ABL Facility) to approximately $190 upon emergence, while otherwise providing for claims
and contracts to pass through the Chapter 11 Cases unaffected. The Restructuring is supported by the
overwhelming majority of the Debtors’ capital structure. Specifically, the transaction support agreement
dated as of December 21, 2024 (the “Transaction Support Agreement”) and the DIP Term Loan Facility
(which comprises approximately $40 million in “new money” loans, which will ultimately convert to
committed exit financing on the Effective Date) have the support of holders of over 90% of the outstanding
principal amount of Prepetition Term Loan Claims (the “Consenting Term Lenders”). Such Consenting
Term Lenders have already agreed to vote in favor of and otherwise support confirmation of the Plan
through execution of the Transaction Support Agreement. Further, Eclipse Business Capital LLC and the
Debtors have entered into the DIP & Exit ABL Commitment Letter, which is attached to the Transaction
Support Agreement which is appended as Exhibit B hereto, pursuant to which the Debtors have secured a
replacement ABL facility in the form of debtor-in-possession revolving credit facility that will be used to
repay, in full, the Prepetition ABL Facility and roll into an exit ABL facility at the conclusion of these
Chapter 11 Cases.

The Restructuring will enhance the Debtors’ long-term growth prospects and competitive position and will
provide the Debtors with the flexibility to invest in and grow their businesses while saving nearly 3,800
jobs.

The Debtors anticipate filing voluntary petitions for relief and commencing cases under chapter 11 of the
Bankruptcy Code in the United States Bankruptcy Court for the Southern District of Texas, Houston
Division (the “Bankruptcy Court”) on or about December 22, 2024 (the “Petition Date”). During the
Chapter 11 Cases, the Debtors intend to operate their businesses in the ordinary course and will seek
authorization from the Bankruptcy Court to make payment in full on a timely basis to trade creditors,
customers, and employees of undisputed amounts due before and during the Chapter 11 Cases.

This Executive Summary is being provided as an overview of the material items addressed in this Disclosure
Statement and the Plan, which is qualified by reference to the entire Disclosure Statement and by the actual
terms of the Plan (and including all exhibits attached hereto and to the Plan) and should not be relied upon
for a comprehensive discussion of this Disclosure Statement or the Plan.

This Disclosure Statement includes, without limitation, information about:

        •        the Debtors’ prepetition operating and financial history;



                                                      1
        Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 12 of 569




         •        the events leading up to the commencement of the Chapter 11 Cases;

         •        the events anticipated to occur during the Chapter 11 Cases;

         •        the solicitation procedures for voting on the Plan;

         •        the Confirmation process and the voting procedures that Holders of Claims who are entitled
                  to vote on the Plan must follow for their votes to be counted;

         •        the terms and provisions of the Plan, certain effects of confirmation of the Plan, and the
                  manner in which distributions will be made under the Plan;

         •        certain risk factors relating to the Debtors, the Reorganized Debtors, and confirmation of
                  the Plan; and

         •        the proposed organization, operations, and financing of the Reorganized Debtors if the Plan
                  is confirmed and becomes effective.

A.       Purpose and Effect of the Plan

         1.       Plan of Reorganization under Chapter 11 of the Bankruptcy Code

The Debtors are reorganizing pursuant to chapter 11 of the Bankruptcy Code, which is the principal business
reorganization chapter of the Bankruptcy Code. As a result, the confirmation of the Plan means that the
Reorganized Debtors will continue to operate their businesses going forward and does not mean that the
Debtors will be liquidated or forced to go out of business.

A bankruptcy court’s confirmation of a plan binds the debtors, any entity acquiring property under the plan,
any holder of a claim or equity interest in the debtors, and all other entities as may be ordered by the
bankruptcy court in accordance with the applicable provisions of the Bankruptcy Code to the terms and
conditions of the confirmed plan, whether or not such entity voted on the particular plan or affirmatively
voted to reject the plan.

         2.       Restructurings under the Plan

The Plan contemplates the following Restructuring and treatment of Claims (as more fully described in the
below table, the “Summary of Expected Recoveries”):2

         •        reduction of the Debtors’ total funded debt from approximately $243.1 million to
                  approximately $190 million upon emergence pursuant to the terms of the Transaction
                  Support Agreement and the DIP & Exit ABL Commitment Letter, comprising (i) a new
                  first-out exit term loan facility in an aggregate principal amount of $40 million (plus
                  payable in kind fees on account of the DIP Put Option Premium and Commitment
                  Premium) (the “First-Out Exit Term Loans”) and a new second-out exit term loan facility
                  in the aggregate principal amount of $75 million (the “Second-Out Exit Term Loans”, and
                  together with the First-Out Exit Term Loans, the “Exit Term Loans”) and (ii) the exchange
                  and rollup of the ABL DIP Claims into exit revolving loans pursuant to the terms of the



2
     The following summary is subject in all respects to the Plan itself.



                                                           2
Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 13 of 569



      DIP & Exit ABL Commitment Letter (the “Exit ABL Loans” and, together with the Exit
      Term Loans, the “Exit Facilities”). The Exit ABL Loans will be implemented under a new
      credit agreement, on the terms and conditions set forth in the DIP & Exit ABL Commitment
      Letter (the “Exit ABL Credit Agreement”).

•     the Chapter 11 Cases will be financed (i) by a backstopped senior secured debtor-in-
      possession credit facility (the “DIP Term Loan Facility”) in an aggregate amount of up to
      $115 consisting of (a) an aggregate amount of up to $40 million in “new money” loans
      (the “First-Out DIP Term Loans”) and (b) the roll up of $75 million of loans under the
      Prepetition Term Loan Facility (the “Second-Out DIP Term Loans,” and together with the
      First-Out DIP Term Loans, the (“DIP Term Loans”)), (ii) a $140 million debtor in
      possession asset based revolving credit facility (the “DIP ABL Loan Facility,” and
      together with the DIP Term Loan Facility, the “DIP Facilities”), and (iii) through the
      consensual use of Cash Collateral. Upon emergence, the DIP Facilities will convert into
      the Exit Facilities.

•     the DIP Facility will be backstopped by certain of the Consenting Term Lenders
      (the “DIP Backstop Parties”) who, subject to entry of the Interim DIP/Cash Collateral
      Order, will be entitled to receive their pro rata share of a put option premium comprising
      5% of the aggregate amount of the commitments to fund the First-Out DIP Term Loans
      under the DIP Term Loan Facility, payable in kind upon the initial funding of the First-Out
      DIP Term Loans in the form of additional First-Out DIP Term Loans
      (the “DIP Put Option Premium”). In addition, in consideration for providing
      commitments to fund the First-Out DIP Term Loans under the DIP Term Loan Facility,
      the DIP Term Lenders, subject to entry of the Interim DIP/Cash Collateral Order, shall be
      entitled to a non-refundable payment equal to 2% of the aggregate principal amount of the
      First-Out DIP Term Loans (the “Commitment Premium”), which shall be fully earned
      upon entry of the Interim Order and due and payable in kind at the initial funding of First-
      Out DIP Term Loans in the form of additional First-Out DIP Term Loans.

•     prior to the Petition Date, the vast majority of Holders of Prepetition Term Loan Claims
      (including the over 90% thereof comprising the Consenting Term Lenders) were offered
      the opportunity to participate in the DIP Term Loan Facility and earn the DIP Put Option
      Premium and Commitment Premium. Before entry of the Final DIP/Cash Collateral Order,
      the DIP Term Loans will be fully syndicated such that all Holders of Prepetition Term Loan
      Claims will have had the opportunity to fund the DIP Term Loans and, subject to entry of
      the Final DIP/Cash Collateral Order and the occurrence of the Plan Effective Date, receive
      a participation fee equal to a pro rata amount of 64% of the New Equity Interests, subject
      to dilution only by the Management Incentive Plan (the “Equity Premium”).

•     under the Plan, the Debtors’ stakeholders will receive treatment as follows:

      o       upon the ABL Refinancing (as defined in the Interim DIP/Cash Collateral Order),
              each Holder of an Allowed Prepetition ABL Claim will receive, in full and final
              satisfaction, settlement, release and discharge of, and in exchange for such
              Allowed Prepetition ABL Claim, payment in full in Cash (including the
              replacement or Cash collateralization of all issued and undrawn letters of credit in
              accordance with and in the amounts specified under the Prepetition ABL Credit
              Agreement). To the extent any “Obligations” (as defined in the Prepetition ABL
              Credit Agreement) are outstanding on the Effective Date, the Claims on account
              of such Obligations will receive treatment as necessary to render such Claims


                                          3
       Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 14 of 569



                        Unimpaired, including, repayment in Cash of such Claims required to be satisfied
                        in Cash pursuant to the terms of the Petition ABL Credit Agreement;

                o       on the Effective Date, each Holder of an Allowed Prepetition Term Loan Claim
                        will receive, in full and final satisfaction, settlement, release, and discharge and in
                        exchange for each Allowed Term Loan Claim, its Pro Rata Share of 100% of the
                        New Equity Interests, subject to dilution by the Management Incentive Plan and
                        the DIP Equity Premium;

                o       on the Effective Date, Existing Equity Interests will be canceled, released,
                        discharged, and extinguished, and will be of no further force or effect;

                o       Other Secured Claims and General Unsecured Claims are Unimpaired by the Plan
                        as further described herein. Intercompany Claims and Intercompany Interests may
                        be Reinstated or cancelled for no consideration, at the option of the Debtors, with
                        the consent of the Required Consenting Lenders; and

                o       Holders of Subordinated Claims will receive no recovery or distribution on account
                        of such Subordinated Claims.

        •       on or around the Effective Date, the Reorganized Board will adopt the Management
                Incentive Plan.

        •       following the consummation of the Restructuring, the Reorganized Debtors’ equity
                ownership will consist of the following, subject to dilution by the Management Incentive
                Plan:

                                Reorganized Debtors’ Capitalization Table

                       Entity                                               Ownership

     Holders of Prepetition Term Loan Claims                       36% of New Equity Interests

     DIP Term Lenders Entitled to DIP Equity
                                                                   64% of New Equity Interests
                  Premium

With respect to implementing the Restructuring Transactions under the Plan, the Debtors intend to disclose
the precise steps to be taken in the Restructuring Transactions in the Plan Supplement and will make those
transactions public with sufficient time for all voting creditors to consider them before submitting their
Ballots.

B.      Classification and Treatment of Claims and Interests under the Plan

The following table provides a summary of the classification and treatment of Claims and Interests and the
potential distributions to Holders of Allowed Claims under the Plan.

THE PROJECTED RECOVERIES SET FORTH IN THE TABLE BELOW ARE ESTIMATES
ONLY AND THEREFORE ARE SUBJECT TO CHANGE, INCLUDING BASED ON THE
LIQUIDATION OF CLAIMS CURRENTLY ASSERTED AS UNLIQUIDATED. FOR A
COMPLETE DESCRIPTION OF THE DEBTORS’ CLASSIFICATION AND TREATMENT OF



                                                     4
           Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 15 of 569



    CLAIMS AND INTERESTS, REFERENCE SHOULD BE MADE TO THE ENTIRE PLAN AND
    THE RISK FACTORS DESCRIBED IN SECTION IX BELOW. THIS TABLE IS INTENDED FOR
    ILLUSTRATIVE PURPOSES ONLY AND IS NOT A SUBSTITUTE FOR A REVIEW OF THE
    PLAN AND DISCLOSURE STATEMENT IN THEIR ENTIRETY. FOR CERTAIN CLASSES OF
    CLAIMS, THE ACTUAL AMOUNT OF ALLOWED CLAIMS COULD BE MATERIALLY
    DIFFERENT THAN THE ESTIMATED AMOUNTS SHOWN IN THE TABLE BELOW.

                                SUMMARY OF EXPECTED RECOVERIES
                                                                                            Projected Recovery
Class Claim/Equity Interest                  Treatment of Claim/ Interest
                                                                                              Under the Plan
1     Other Secured Claims Except to the extent that a Holder of an Allowed Other                  100%
                             Secured Claim agrees to less favorable treatment, in exchange
      Estimated Amount (as for full and final satisfaction, settlement, release, and
      of December 21, 2024): discharge of each Allowed Other Secured Claim, each Holder
      $4,342,000.00          of an Allowed Other Secured Claim, at the option of the
                             applicable Debtor (with the consent of the Required
                             Consenting Term Lenders), will, on the Effective Date, (i) be
                             paid in full in Cash including the payment of any interest
                             required to be paid under section 506(b) of the Bankruptcy
                             Code, (ii) receive the collateral securing its Allowed Other
                             Secured Claim, or (iii) receive any other treatment that would
                             render such Claim Unimpaired.

2     Prepetition ABL         Upon the ABL Refinancing, each Holder of an Allowed                    100%
      Claims                  Prepetition ABL Claim will have received, in full and final
                              satisfaction, settlement, release and discharge of, and in
      Expected Principal      exchange for such Allowed Prepetition ABL Claim, payment
      Amount (as of           in full in Cash (including the replacement or Cash
      December 21, 2024):     collateralization of all issued and undrawn letters of credit in
      $80,000,000.00          accordance with and in the amounts specified under the
                              Prepetition ABL Credit Agreement). To the extent any
                              Obligations are outstanding on the Effective Date, the Claims
                              on account of such Obligations will receive treatment as
                              necessary to render such Claims Unimpaired, including,
                              repayment in Cash of such Claims required to be satisfied in
                              Cash pursuant to the terms of the Petition ABL Credit
                              Agreement.


3     Prepetition Term Loan Except to the extent that a Holder of a Prepetition Term Loan        4.5% to 17.6%.
      Claims                Claim agrees to less favorable treatment, on the Effective
                            Date, each Holder of an Allowed Prepetition Term Loan
      Expected Principal    Claim will receive, in full and final satisfaction, settlement,
      Amount (as of         release, and discharge and in exchange for each Allowed
      December 21, 2024):   Prepetition Term Loan Claim, its Pro Rata Share of 100% of
      $163,125,321.74       the New Equity Interests, subject to dilution by the
                            Management Incentive Plan and the DIP Equity Premium.




                                                        5
           Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 16 of 569




                                SUMMARY OF EXPECTED RECOVERIES
                                                                                              Projected Recovery
Class Claim/Equity Interest                   Treatment of Claim/ Interest
                                                                                                Under the Plan
4     General Unsecured      Subject to Article V.C of the Plan and except to the extent that        100%
      Claims                 a Holder of a General Unsecured Claim agrees to less
                             favorable treatment, in full and final satisfaction, settlement,
      Expected Amount (as release, and discharge and in exchange for each Allowed
      of December 21, 2024): General Unsecured Claim, each Holder of an Allowed
      $46,891,000.00         General Unsecured Claim against a Debtor will receive
                             payment in full in Cash in accordance with applicable law and
                             the terms and conditions of the particular transaction giving
                             rise to, or the agreement that governs, such Allowed General
                             Unsecured Claim on the later of (i) the date due in the ordinary
                             course of business or (ii) the Effective Date; provided,
                             however, that no Holder of an Allowed General Unsecured
                             Claim will receive any distribution for any Claim that has
                             previously been satisfied pursuant to a Final Order of the
                             Bankruptcy Court.

5     Subordinated Claims      Holders of Subordinated Claims will receive no recovery or           0%
                               distribution on account of such Subordinated Claims. Unless
      Expected Amount:         otherwise provided for under the Plan, on the Effective Date,
      Unliquidated             Subordinated Claims will be canceled, released, discharged,
                               and extinguished.

6     Intercompany Claims      No property will be distributed to the Holders of Allowed           N/A
                               Intercompany Claims. Unless otherwise provided for under
      Expected Amount:         the Plan, on the Effective Date, at the option of the applicable
      Unliquidated             Debtor with the consent of the Required Consenting Lenders,
                               Intercompany Claims will be either (i) Reinstated or (ii) set
                               off, settled, distributed, contributed, merged, canceled, or
                               released. For the avoidance of doubt, all Intercompany Claims
                               between Debtors and Non-Debtor Affiliates will ride through
                               and continue in full force and effect unless otherwise agreed
                               by the applicable Debtor and Non-Debtor Affiliate.

7     Intercompany Interests No property will be distributed to the Holders of Allowed             N/A
                             Intercompany Interests. Unless otherwise provided for under
      Expected Amount:       the Plan, on the Effective Date, at the option of the applicable
      N/A                    Debtor with the consent of the Required Consenting Lenders,
                             Intercompany Interests will be either (i) Reinstated or (ii) set
                             off, settled, distributed, contributed, merged, canceled, or
                             released.

8     Existing Equity          Holders of Existing Equity Interests are not entitled to receive    N/A
      Interests                a recovery or distribution on account of such Existing Equity
                               Interests. On the Effective Date, Existing Equity Interests will
      Expected Amount:         be canceled, released, discharged, and extinguished, and will
      N/A                      be of no further force or effect.




                                                         6
        Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 17 of 569



 C.      Filing of the Plan Supplement

 The Debtors propose to file the Plan Supplement at least five (5) Business Days before the deadline to
 object to confirmation of the Plan. The Debtors will transmit a copy of the Plan Supplement to: (a) the
 Office of the United States Trustee for the Southern District of Texas; (b) counsel to the DIP Agent;
 (c) counsel to the Ad Hoc Group; (d) counsel to the Prepetition Term Loan Agent; (e) counsel to the ABL
 Agent; (f) the creditors listed on the Debtors’ consolidated list of thirty (30) creditors holding the largest
 unsecured claims; (g) the United States Attorney for the Southern District of Texas; (h) the Internal
 Revenue Service; (i) the Securities and Exchange Commission; (j) the state attorneys general for states in
 which the Debtors conduct business; and (k) any party that has requested notice pursuant to Bankruptcy
 Rule 2002.

 The Plan Supplement will include all exhibits and Plan schedules that were not already filed or sent to
 parties entitled to vote on the Plan in connection with solicitation, as exhibits to the Plan or this Disclosure
 Statement, all of which are incorporated by reference into, and are an integral part of, the Plan, as all of the
 same may be amended, supplemented, or modified from time to time.

 D.      Solicitation Procedures

         1.       The Solicitation and Voting Procedures

 The discussion of the procedures below is a summary of the solicitation and voting process. Detailed voting
 instructions will be provided with each Ballot.

PLEASE REFER TO THE INSTRUCTIONS ACCOMPANYING THE BALLOTS FOR MORE
INFORMATION REGARDING VOTING REQUIREMENTS TO ENSURE THAT YOUR BALLOT
IS PROPERLY AND TIMELY SUBMITTED SO THAT YOUR VOTE MAY BE COUNTED.

         2.       The Solicitation Agent

 The Debtors have engaged Verita to, among other things, act as the Solicitation Agent (as described below).

 Specifically, the Solicitation Agent will (and, as to certain functions, has already begun to) assist the
 Debtors with: (a) mailing notices related to solicitation and confirmation of the Plan; (b) mailing
 Solicitation Packages (as described below); (c) soliciting votes on the Plan; (d) receiving, tabulating, and
 reporting on Ballots cast for or against the Plan by Holders of Claims against the Debtors; (e) responding
 to inquiries from creditors and stakeholders relating to the Plan, this Disclosure Statement, the Ballots, and
 matters related thereto, including, without limitation, the procedures and requirements for voting to accept
 or reject the Plan and objecting to the Plan; and (f) if necessary, contacting creditors and interest holders
 regarding the Plan and, as to the Holders of Prepetition Term Loan Claims, their Ballots.

         3.       Holders of Claims Entitled to Vote on the Plan

 Under the provisions of the Bankruptcy Code, not all holders of claims against and equity interests in a
 debtor are entitled to vote on a chapter 11 plan. The following table provides a summary of the status and
 voting rights of each Class (and, therefore, of each Holder of a Claim or Interest within such Class) under
 the Plan:




                                                        7
           Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 18 of 569




                              SUMMARY OF STATUS AND VOTING RIGHTS

Class       Claim/Equity Interest                            Status                      Voting Rights

1           Other Secured Claims                             Unimpaired                  Presumed to Accept

2           Prepetition ABL Claims                           Unimpaired                  Presumed to Accept

3           Prepetition Term Loan Claims                     Impaired                    Entitled to Vote

4           General Unsecured Claims                         Unimpaired                  Presumed to Accept

5           Subordinated Claims                              Impaired                    Deemed to Reject

6                                                                                        Deemed to Reject /
            Intercompany Claims                              Impaired / Unimpaired
                                                                                         Presumed to Accept

7                                                                                        Deemed to Reject /
            Intercompany Interests                           Impaired / Unimpaired
                                                                                         Presumed to Accept

8           Existing Equity Interests                        Impaired                    Deemed to Reject

    Based on the foregoing, the Debtors are soliciting votes to accept the Plan only from Holders of Claims in
    Class 3 (the “Voting Class”), because Holders of Claims in the Voting Class are Impaired under the Plan
    and have the right to vote to accept or reject the Plan. For purposes of determining acceptance and rejection
    of the Plan, votes from such Class will be tabulated on a Debtor-by-Debtor basis.

    The Debtors are not soliciting votes on the Plan from (a) Holders of Claims in Classes 1, 2, and 4, because
    such parties are conclusively presumed to have accepted the Plan; (b) Holders of Claims in Class 5 and
    Interests in Class 8, because such parties are conclusively presumed to have rejected the Plan; and
    (c) Holders of Claims and Interests in Classes 6 and 7 because such parties are conclusively presumed to
    have accepted the Plan or conclusively presumed to have rejected the Plan (Classes 1, 2, 4, 5, 6, 7 and 8
    collectively, the “Non-Voting Classes”). In lieu of a Solicitation Package, certain of the Non-Voting
    Classes (Classes 1, 4, 5, and 8) will receive the Notice of Non-Voting Status (as defined in the Solicitation
    Procedures Motion). Notwithstanding their non-voting status, Holders of Claims or Interests, as applicable,
    in such Non-Voting Classes will also receive a Release Opt-Out Form solely for the purposes of
    affirmatively opting out of the Third-Party Release. Because the Intercompany Claims in Class 6 and
    Intercompany Interests in Class 7 are all held by the Debtors or affiliates of the Debtors, the Debtors,
    through the Solicitation Procedures Motion, have sought a waiver of any requirement to serve the Holders
    of Claims and Interests in Classes 6 and 7 with Solicitation Packages or any other type of notice, including
    a Non-Voting Status Notice, in connection with solicitation.

            4.      The Voting Record Date

    The voting record date (the “Voting Record Date”) with respect to all Claims in the Voting Class is
    December 18, 2024. The Voting Record Date is the date as of which it was determined which Holders of
    Claims in the Voting Class are entitled to vote to accept or reject the Plan.




                                                         8
       Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 19 of 569



        5.       Contents of the Solicitation Package

The following documents and materials will collectively constitute the “Solicitation Package” with respect
to Holders of Claims in the Voting Class (in flash drive or paper format):

        •        this Disclosure Statement;
        •        the Plan;
        •        the exhibits to this Disclosure Statement, including:
                 o       the Transaction Support Agreement;
                 o       the Debtors’ financial projections;
                 o       the Debtors’ liquidation analysis; and
                 o       the Debtors’ valuation analysis.
        •        a Ballot and voting instructions; and
        •        a pre-addressed, postage pre-paid return envelope.

In addition, the Debtors will seek approval of the Combined Notice, in the form attached as Exhibit 1 to the
proposed order of the Bankruptcy Court approving the Emergency Motion of Debtors for Entry of Order
(I) Scheduling Combined Hearing to Consider (A) Final Approval of Disclosure Statement, (B) Approval
of Solicitation Procedures and Forms of Ballots, and (C) Confirmation of Plan; (II) Establishing an
Objection Deadline to Object to Disclosure Statement and Plan; (III) Approving the Form and Manner of
Notice of Combined Hearing, Objection Deadline, and Notice of Commencement; (IV) Approving Notice
and Objection Procedures for the Assumption or Rejection of Executory Contracts and Unexpired Leases;
(V) Conditionally Waiving Requirement of Filing Schedules of Assets and Liabilities, Statements of
Financial Affairs, and 2015.3 Reports; (VI) Conditionally Waiving Requirement to Convene the Section
341 Meeting of Creditors; (VII) Conditionally Approving the Disclosure Statement and (VIII) Granting
Related Relief (the “Solicitation Procedures Motion”), contemplated to be filed on the Petition Date, on
the entire creditor matrix, in order to provide notice to all known third-party Holders of Claims and Interests
in the Non-Voting Classes. The Holders of Claims and Interests in the Non-Voting Classes (other than
Holders of Intercompany Claims and Intercompany Interests) will also receive the Notice of Non-Voting
Status. Finally, Holders of Claims and Interests in the Non-Voting Classes (other than Holders of
Intercompany Claims and Intercompany Interests) will also receive a Release Opt-Out Form solely for the
purposes of affirmatively opting out of the Third-Party Release.

        6.       Distribution of the Solicitation Package to Holders of Claims Entitled to Vote on the
                 Plan

With the assistance of the Solicitation Agent, the Debtors are distributing Solicitation Packages to the
applicable voting parties. The Debtors submit that the timing of such distribution will provide such Holders
of Claims with adequate time within which to review the materials required to allow such parties to make
informed decisions with respect to voting on the Plan in accordance with Bankruptcy Rules 3017(d) and
2002(b).

        7.       Additional Distribution of Solicitation Documents

Parties may request (and obtain at the Debtors’ expense) a copy of this Disclosure Statement (and any
exhibits thereto, including the Plan) by: (a) calling the Solicitation Agent at (888) 251-3046 (U.S. / Canada,
toll-free) or (310) 751-2615 (International, toll); (b) messaging the Solicitation Agent at


                                                      9
         Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 20 of 569



  www.veritaglobal.net/thecontainerstore/inquiry; or (c) visiting the Debtors’ restructuring website at
  https://www.veritaglobal.com/thecontainerstore. Parties may also obtain any documents filed in the
  Chapter 11 Cases for a fee via PACER at http://www.txs.uscourts.gov.

  All Holders of Claims are advised to read the instructions on their Ballots, as applicable, and any notices
  they receive from the Debtors.

  E.      Voting Procedures

  Holders of Claims entitled to vote on the Plan are advised to read the instructions on their Ballots, which
  set forth in greater detail the voting instructions summarized herein.

          1.      The Voting Deadline

  4:00 p.m. prevailing Central Time on January 21, 2025 is the Voting Deadline, subject to further
  extension by the Debtors. The Voting Deadline is the date by which all Ballots and Release Opt-Out Forms,
  as applicable, must be properly executed, completed, and delivered to the Solicitation Agent in order to be
  counted as votes to accept or reject the Plan (or as a valid opt-out).

          2.      Ballots

  The Debtors will provide the following Ballot to Holders of Claims in the Voting Class:

Class                Claim                                                   Ballot
                                             Class 3 Prepetition Term Loan Claims Ballot to be attached to the
 3       Prepetition Term Loan Claims
                                             proposed Solicitation Procedures Order as Exhibit 3

  To be counted as a vote to accept or reject the Plan, votes must be submitted on the Ballot.

          3.      Voting Instructions

  Under the Plan, Holders of Claims in the Voting Class are entitled to vote to accept or reject the Plan by
  completing a Ballot and returning it to the Solicitation Agent. Each Ballot will include an option to
  affirmatively opt out of the Third-Party Release contained in Article IX.C of the Plan.

  To be counted as a vote to accept or reject the Plan, each Ballot must be properly executed, completed,
  dated, and delivered by following the instructions set forth on the Ballot, so that it is actually received by
  the Solicitation Agent on or before the Voting Deadline. If you have any questions on the procedures for
  voting on the Plan, please contact the Solicitation Agent by (a) calling the Solicitation Agent at (888) 251-
  3046 (U.S. / Canada, toll-free) or (310) 751-2615 (International, toll); (b) messaging the Solicitation Agent
  at www.veritaglobal.net/thecontainerstore/inquiry; and/or (c) visiting the Debtors’ restructuring website at
  https://www.veritaglobal.com/thecontainerstore.

          4.      Voting Procedures

     PLEASE REFER TO THE INSTRUCTIONS ATTACHED TO THE BALLOTS FOR MORE
     DETAILED INFORMATION REGARDING THE VOTING REQUIREMENTS, RULES AND
     PROCEDURES APPLICABLE TO VOTING YOUR CLAIM.




                                                       10
       Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 21 of 569



If you are a Holder of a Claim in Class 3 – Prepetition Term Loan Claims, you may vote to accept or reject
the Plan by completing your Ballot and returning it to the Solicitation Agent in accordance with the
instructions on your Ballot (i.e., using the pre-addressed, postage pre-paid return envelope provided
therewith or submitting it through the Solicitation Agent’s online voting portal).

If you are entitled to vote to accept or reject the Plan, a Ballot has been enclosed in your Solicitation Package
for the purpose of voting on the Plan. Please vote and return your Ballot in accordance with the
accompanying instructions.

Before voting on the Plan, you should carefully review the Plan and this Disclosure Statement, as well as
their respective exhibits and the detailed instructions accompanying your Ballot. These documents contain
important information concerning how Claims and Interests are classified for voting purposes and how
votes will be tabulated. Holders of Claims entitled to vote are also encouraged to review the relevant
provisions of the Bankruptcy Code and Bankruptcy Rules and consult their own attorney.

The Ballot you receive has been coded. In voting to accept or reject the Plan, you must use only the coded
Ballot sent to you with this Disclosure Statement. If you hold multiple Claims within one Class, you may
receive more than one Ballot.

If the Solicitation Agent receives more than one timely received, properly completed, valid Ballot with
respect to a single Claim before the Voting Deadline, the vote that will be counted for purposes of
determining whether sufficient acceptances required to confirm the Plan have been received will be the vote
recorded on the last timely, properly completed Ballot, as determined by the Solicitation Agent, with respect
to such Claim.

If you are a Holder of a Claim that is entitled to vote on the Plan and did not receive a Ballot, received a
damaged Ballot, or lost your Ballot, or if you have any questions concerning this Disclosure Statement, the
Plan, the Ballot, or the procedures for voting on the Plan, please contact the Solicitation Agent at the phone
numbers or email address listed in Section I.E.3 above or your attorney, as applicable.

HOLDERS OF CLAIMS IN THE VOTING CLASS ARE STRONGLY ENCOURAGED TO
SUBMIT THEIR BALLOTS VIA THE SOLICITATION AGENT’S ONLINE VOTING PORTAL.




                                                       11
       Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 22 of 569



        5.      Tabulation of Votes

     THE FOLLOWING IS IMPORTANT INFORMATION REGARDING VOTING THAT
     SHOULD BE READ CAREFULLY BY ALL HOLDERS OF CLAIMS IN THE VOTING
                                 CLASS.
 Votes Not Counted             •   Any Ballot that is illegible or contains insufficient information to
                                   permit the identification of the Holder of the Claim.
                               •   Any Ballot that is not actually received by the Solicitation Agent
                                   by the Voting Deadline (unless the Debtors determine otherwise or
                                   as permitted by the Bankruptcy Court).
                               •   Any Ballot that does not contain a signature; provided, that
                                   signatures contained in electronic Ballots submitted via the
                                   Solicitation Agent’s online voting portal will be deemed to be
                                   immediately legally effective.
                               •   Any Ballot that partially rejects and partially accepts the Plan.
                               •   Any Ballot not marked to accept or reject the Plan or marked both
                                   to accept and reject the Plan.
                               •   Any Ballot superseded by a later, timely submitted, valid, and
                                   properly executed Ballot.
                               •   Any vote cast by a Person or entity that did not hold a Claim in the
                                   Voting Class as of the Voting Record Date.
 No Vote Splitting             •   Holders are required to vote all of their Claims within the Voting Class
                                   either to accept or reject the Plan and are not permitted to split any
                                   votes.
 Retention of Ballots          •   The Solicitation Agent is required to retain all paper copies of Ballots
                                   and all solicitation-related correspondence for one (1) year following
                                   the Effective Date, whereupon the Solicitation Agent is authorized to
                                   destroy and otherwise dispose of all paper copies of Ballots, printed
                                   solicitation materials including unused copies of the Solicitation
                                   Package and all solicitation-related correspondence (including
                                   undeliverable mail), in each case unless otherwise directed by the
                                   Debtors or the Clerk of the Bankruptcy Court in writing within such
                                   one (1)-year period.
 Voting Amounts                •   With respect to Prepetition Term Loan Claims, the amount of
                                   Prepetition Term Loan Claims, for voting purposes only will be
                                   established based on the amounts of the loan positions held by each
                                   Holder of such Claim as of the Voting Record Date, as evidenced by
                                   the applicable books and records maintained by the Prepetition Term
                                   Loan Agent, which was provided to the Debtors or the Solicitation
                                   Agent in electronic Microsoft Excel format promptly following the
                                   Voting Record Date.

F.      Confirmation of the Plan

        1.      The Combined Hearing

Section 1128(a) of the Bankruptcy Code requires the Bankruptcy Court to hold a confirmation hearing upon
appropriate notice to all required parties. On, or as promptly as practicable after, the Petition Date, the
Debtors will request that the Bankruptcy Court schedule the Combined Hearing for a date no sooner than
January 24, 2025 (or as soon thereafter as the Bankruptcy Court has availability). Notice of the Combined


                                                    12
       Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 23 of 569



Hearing will be provided to all known creditors and equity holders or their Representatives. The Combined
Hearing may be adjourned from time to time by the Bankruptcy Court without further notice except for the
announcement of the continuation date made at the Combined Hearing, at any subsequent continued
Combined Hearing, or pursuant to a notice filed on the docket for the Chapter 11 Cases.

        2.      The Deadline for Objecting to Confirmation of the Plan

Section 1128(b) of the Bankruptcy Code provides that any party in interest may object to the confirmation
of a plan. The Debtors intend to propose the Plan Objection Deadline to be January 21, 2025 at 4:00 p.m.
(prevailing Central Time). Any objection to confirmation of the Plan must be in writing, must conform to
the Bankruptcy Rules and the Bankruptcy Local Rules for the Southern District of Texas (the “Bankruptcy
Local Rules”), must set forth the name of the objector, the nature and amount of the Claims and/or Interests
held or asserted by the objector against the Debtors’ Estates or properties, the basis for the objection and
the specific grounds therefor, and must be filed with the Bankruptcy Court, together with proof of service
thereof, and served upon the following parties, including such other parties as the Bankruptcy Court may
order (the “Notice Parties”):

        (a)     The Container Store Group, Inc., 500 Freeport Parkway, Coppell, TX 75019, Attn: Tasha
                Grinnell (TLGrinnell@containerstore.com);

        (b)     Proposed counsel to the Debtors, (i) Latham & Watkins LLP, 355 South Grand Avenue,
                Suite 100, Los Angeles, CA 90071, Attn: Ted Dillman (ted.dillman@lw.com) and Latham
                & Watkins LLP, 1271 Avenue of the Americas, New York, NY 10020, Attn: Hugh
                Murtagh (hugh.murtagh@lw.com), and (ii) Hunton Andrews Kurth LLP, 600 Travis Street,
                Suite 4200, Houston, TX 77002, Attn: Timothy A. (“Tad”) Davidson II
                (taddavidson@HuntonAK.com) and Ashley L. Harper (ashleyharper@HuntonAK.com);

        (c)     counsel to the DIP ABL Loan Agent, (i) Riemer & Braunstein LLP, Times Square Tower,
                Seven Times Square, Suite 2506, New York, NY 10036, Attn: Donald E. Rothman
                (drothman@riemerlaw.com) and Steven E. Fox (sfox@riemerlaw.com) and (ii) Frost
                Brown Todd LLP, Rosewood Court, 2101 Cedar Springs Road, Suite 900, Dallas, TX
                75201, Attn: Rebecca L. Matthews (rmatthews@fbtlaw.com);

        (d)     Counsel to the Ad Hoc Group, Paul Hastings LLP, (i) 200 Park Avenue, New York, NY
                10166, Attn: Jayme Goldstein (jaymegoldstein@paulhastings.com); Isaac Sasson
                (isaacsasson@paulhastings.com); and William Reilly (williamreily@paulhastings.com);
                Leonie Koch (leoniekoch@paulhastings.com), (ii) 2001 Ross Avenue, Suite 2700, Dallas,
                TX 75201, Attn: Charles Persons (charlespersons@paulhastings.com), and (iii) 600 Travis
                Street,    58th   Floor,    Houston,     TX     77002,    Attn:    Schlea      Thomas
                (schleathomas@paulhastings.com);

        (e)     Counsel to the Prepetition ABL Facility Agent, Simpson Thacher & Bartlett LLP, 425
                Lexington Avenue, New York, NY 10017, Attn: Ian Kitts (ian.kitts@stblaw.com);

        (f)     Counsel to the DIP Term Loan Agent, Paul Hastings LLP, 200 Park Avenue, New York,
                NY 10166, Attn: Alex Cota (alexcota@paulhastings.com) and Liz Loonam
                (lizloonam@paulhastings.com);

        (g)     the United States Trustee, 515 Rusk Street, Suite 3516, Houston, TX 77002 Attn: Ha
                Nguyen (Ha.Nguyen@usdoj.gov) and Vianey Garza (Vianey.Garza@usdoj.gov); and




                                                    13
       Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 24 of 569



        (h)     Counsel to any statutory committee, if one is appointed.

CONFIRMATION OBJECTIONS NOT TIMELY FILED AND SERVED MAY NOT BE
CONSIDERED BY THE BANKRUPTCY COURT.

        3.      Effect of Confirmation of the Plan

Article IX of the Plan contains certain provisions relating to (a) the compromise and settlement of Claims,
(b) the release of the Released Parties by the Debtors and certain other Releasing Parties, and
(c) exculpation of certain estate fiduciaries. It is important to read such provisions carefully so that you
understand the implications of these provisions with respect to your Claim such that you may cast your vote
accordingly.

 THE PLAN WILL BIND ALL HOLDERS OF CLAIMS AGAINST AND INTERESTS IN THE
 DEBTORS TO THE MAXIMUM EXTENT PERMITTED BY APPLICABLE LAW,
 NOTWITHSTANDING WHETHER OR NOT SUCH HOLDER (A) WILL RECEIVE OR
 RETAIN ANY PROPERTY OR INTEREST IN PROPERTY UNDER THE PLAN, (B) HAS
 FILED A PROOF OF CLAIM OR INTEREST IN THE CHAPTER 11 CASES, OR (C) FAILED
 TO VOTE TO ACCEPT OR REJECT THE PLAN OR VOTED TO REJECT THE PLAN.

G.      The Plan Releases

The Plan contains the Third-Party Release, which will bind certain holders of Claims and Interests. The
Debtors believe these provisions comply fully with applicable law. The following summary of those
provisions is subject in all respects to the Plan itself.

Article IX.C of the Plan provides that the Releasing Parties will be deemed to have released the Released
Parties from Claims and Causes of Action relating to the Debtors and the Restructuring and Chapter 11
Cases, among other things. The Released Parties include, among others, the Debtors, the Reorganized
Debtors, the Non-Debtor Affiliates, each of their current and former directors, officers, and proxyholders,
the parties to the Transaction Support Agreement, each Agent, and the respective advisors and
Representatives of each of the foregoing parties.

The Debtors’ position is that this Third-Party Release is consensual under prevailing practice in the
Bankruptcy Court because applicable Holders of Claims and Interests have the ability to “opt out” of the
release by timely submitting a Release Opt-Out Form. This structural element of the Plan, combined with
the Debtors’ anticipated solicitation and noticing process, justifies deeming any applicable Holder of a
Claim or Interest to have consented to the release.

The Released Parties also would be released from any Claims and Causes of Action held by the Estates
under the Plan. Additionally, from and after the Effective Date, Holders of certain Claims who have not
validly opted out of the Third-Party Release, will be barred from proceeding with Claims against any
Released Party, regardless of the extent of available insurance coverage.

All Holders of Claims and Interests are advised to read Article IX of the Plan, which sets forth in greater
detail the information disclosed in this Section I.G of this Disclosure Statement.




                                                    14
       Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 25 of 569



H.      Deregistration and Issuance of New Equity Interests

The New Equity Interests will not be listed on a national securities exchange following the
Effective Date and the Debtors and Consenting Term Lenders have no intention to seek such a
listing. Distributions of the New Equity Interests are expected to be made by delivery or book-
entry transfer thereof by the Distribution Agent in accordance with the Plan and the New
Organizational Documents.

If the Reorganized Parent were to list the New Equity Interests on an exchange other than a
national securities exchange, Reorganized Parent would be required to comply with the rules and
requirements of such exchange.

Stockholders are advised to seek legal and tax advice in relation to any transfers of New
Equity Interests.

I.      Consummation of the Plan

It will be a condition to confirmation of the Plan that all provisions, terms, and conditions of the Plan are
approved in the Combined Order unless otherwise satisfied or waived pursuant to the provisions of
Article VIII of the Plan. Following confirmation, the Plan will be consummated on the Effective Date.

J.      Risk Factors

Before deciding whether and how to vote on the Plan, each Holder of a Claim in a Voting Class should
consider carefully all of the information in this Disclosure Statement, including the Risk Factors described
in Section IX hereof (“Risk Factors to Consider Before Voting”).

                                                     II.
                        BACKGROUND TO THE CHAPTER 11 CASES

A.      The Debtors’ Corporate Structure

The Container Store Group, Inc.—the lead Debtor and a publicly traded corporation incorporated in the
state of Delaware—directly or indirectly owns and controls each of the other Debtors (together with their
non-debtor affiliates, the “Company”). Specifically, (1) Debtor The Container Store Group, Inc.
(“TCSG”) directly owns and controls one hundred percent (100%) of the outstanding equity interests of
Debtor The Container Store, Inc. (“TCS”), a Texas corporation; (2) TCS directly owns and controls one
hundred percent (100%) of the outstanding equity interests of Debtor TCS Gift Card Services, LLC (“TCS
Gift”), a Virginia limited liability company, and Debtor C Studio Manufacturing Inc. (“C Studio”), a
Delaware corporation; and (3) Debtor C Studio Manufacturing Inc owns and controls one hundred percent
(100%) of the outstanding equity interests of Debtor C Studio Manufacturing LLC, a Delaware limited
liability company. The Company’s Elfa (as defined below) subsidiaries are not debtors and will continue
to operate in the ordinary course of business outside of the Chapter 11 Cases.




                                                     15
        Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 26 of 569



The following organizational chart depicts the Company’s legal and operating structure, with non-debtor
entities shaded in blue:3




B.       The Debtors’ Business Operations

The Company provides merchandise and services covering a broad selection of custom spaces, organizing
solutions, and in-home services. The Company conducts business in physical stores (with product offerings
tailored based on store location and size) and online. Products are sourced both domestically and
internationally and shipped to stores or customers from domestic distribution centers using contract carriers.

         1.       Product Segments

The Company is divided into two main product segments: (a) the TCS segment (the “TCS Segment”) and
(b) Elfa. For fiscal year 2023, the Company had total net sales of approximately $847.7 million. The TCS
Segment and Elfa accounted for approximately 94.5% ($801.4 million) and 5.5% ($46.3 million), of such
sales, respectively.

                  a. The TCS Segment

The TCS Segment is comprised of two sub-segments: Custom Spaces and General Merchandise (each as
defined below).

The Container Store Custom Spaces sub-segment (“Custom Spaces”) offers a range of branded product
lines that are entirely owned and manufactured by the Company. These lines provide customers with both
metal- and wood-based organizational products, ranging from portable drawers to fully custom shelving
units. Among the Custom Spaces brands, the Elfa Classic brand features epoxy-bonded steel products that
are ideal for pantries, playrooms, and kid’s spaces. Elfa Décor+ provides organizational solutions with



3
     This chart is subject to further updates by the Debtors in the event of any changes to the Debtors’ corporate
     structure.

                                                       16
       Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 27 of 569



stylish back panels, LED lighting, full-extension drawers, and solid birch drawer fronts and trim. Elfa
Garage+ offers adjustable, specialized storage for gear and tools, and heavy-duty workspaces. The Preston
system allows customers to design their own luxury, custom, wood-based organization systems. Across
these brands, customers can select from a comprehensive suite of customizable storage systems, which
include in-home design and installation, at a variety of price points.

To support Custom Spaces, the Company operates the C Studio manufacturing facility in Elmhurst, Illinois,
which designs and manufactures the Company’s premium wood-based custom space product offerings.
The facility is equipped with advanced manufacturing technology and staffed by skilled artisans and
designers who work collaboratively to create innovative and customaizable storage solutions.

The Container Store General Merchandise sub-segment (“General Merchandise”) provides
complementary organization solutions to complete the Company’s Custom Spaces’ offerings. Within
General Merchandise, the Company offers over 10,000 storage and organization products including
drawers, boxes and bins, shelving, food storage, laundry hampers, hooks, and gift packaging. with the goal
of simplifying customers’ lives and maximizing the spaces within their homes.

                b. Elfa.

The Container Store, Inc.’s wholly owned Swedish subsidiary, Elfa International AB (“Elfa”), designs and
manufactures products featured and sold in the Company’s TCS segment, such as component-based
shelving and drawer systems. Founded in 1948 and headquartered in Malmö, Sweden, Elfa has been a
supplier to The Container Store since its opening in 1978. The Company acquired Elfa in 1999 and remains
the exclusive distributor of Elfa products in the United States today. Elfa operates three manufacturing
facilities with two located in Sweden and one in Poland. In addition to supplying The Container Store, Elfa
also sells its products on a wholesale basis to various retailers in approximately 30 countries around the
world, concentrated in the Nordic region of Europe. For the avoidance of doubt, Elfa and its subsidiaries
are not debtors in the Chapter 11 Cases.

        2.      Sourcing and Distribution

The Company has multiple domestic and international sources of supply for each category of products that
it sells. In fiscal year 2023, the Company sourced 47% of its purchases from domestic suppliers and the
remaining 53% from foreign suppliers (approximately 33% of such foreign suppliers are located in China).
Elfa represents approximately 27% of the Company’s purchases. Although the Company does not enter
into long-term contracts with its vendor partners, 15 of its top 20 vendors have worked with the Company
for the last 10 years and several of those vendors have worked with the Company since its inception in
1978.

In the TCS Segment, a majority of the Company’s merchandise flows through one of the Company’s two
distribution centers, prior to being transported to the Company’s retail stores and/or online customers. The
first distribution center is co-located with the Company’s support center in Coppell, Texas. The
approximately 1.1 million square foot facility was designed and constructed specifically for The Container
Store and is comprised of approximately 100,000 square feet of support center space and approximately 1
million square feet of distribution center space. The Company’s second distribution center located in
Aberdeen, Maryland is approximately 700,000 square feet and is comprised primarily of distribution center
space. The Company also operates the aforementioned C Studio manufacturing facility, a 58,000 square
feet domestic location in Elmhurst, Illinois to directly manufacture and supply the Company’s premium,
wood-based Custom Spaces offerings.



                                                    17
       Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 28 of 569



The Company’s distribution centers serve dual purposes: replenishing retail store inventory and fulfilling
direct-to-customer orders. To transport products to stores, the Company relies on third-party truckload
carriers, whereas major parcel carriers handle direct-to-customer deliveries. With best-in-class logistics
technology, the Company optimizes its operations and processes for receiving, picking, packing, and
shipping, laying a strong foundation for future growth. Continuous enhancements in process efficiency,
material handling, and automation further strengthen the distribution centers, enable greater service level
efficiencies, and improve inventory management. These strategically located distribution centers enhance
service levels for customers and expand the Company’s network capacity.

        3.      Retail Channels

Customers can purchase the Company’s products online or at one of the Company’s stores, all of which are
operated pursuant to real property leases. As of the date hereof, the Company had 104 stores in 34 states
and the District of Columbia, with approximately 24,000 square feet of floor space on average. The
Company’s stores are strategically located near urban centers with high home project and custom space
demands, facilitating unique home shopping experiences under one roof. The below map illustrates the
location of store locations and distribution centers by state:




As a multi-channel retailer, The Container Store offers a full suite of e-commerce solutions, including a
website, mobile application, and call center to complement the physical stores. The website,
containerstore.com, is intended to replicate the store experience offering virtually the same product
assortment and providing real time inventory information for stores, as well as certain products found
exclusively online. The Company offers free shipping on orders over $99 or in the alternative, customers
can order online and then pick up at a store, utilize curbside pick-up services, or request same-day home
delivery in select markets. For fiscal year 2023, approximately 28% of sales revenue was generated online.




                                                    18
          Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 29 of 569



           4.         Human Capital

As of the date of this Disclosure Statement, the Company employs approximately 3,800 people, of whom
approximately 2,900 work in the Debtors’ store locations.4 Specifically, and as described further in the
Wages Motion,5 the Debtors’ workforce consists of approximately 750 salaried employees, 2,200 part-time
hourly employees, and 850 full-time hourly employees.

C.         The Debtors’ Prepetition Capital Structure

As of the date hereof, the Company had approximately $243.1 million of funded debt (inclusive of accrued
and unpaid interest, but excluding issued but undrawn letters of credit under the Prepetition ABL Facility
(as defined below)), consisting of (i) an asset-based revolving lending facility and (ii) a secured term loan
facility. The Company’s prepetition funded debt obligations are summarized in the below table:

                                                                                                Outstanding
    Facility              Governing Document         Borrower                Maturity
                                                                                                Principal
    Prepetition ABL       Prepetition ABL Credit     The Container Store,    November/October
                                                                                                $80,000,0006
    Facility              Agreement                  Inc.                    2025
    Prepetition Term      Prepetition Term Loan      The Container Store,
                                                                             January 2026       $163,125,321.74
    Loan Facility         Credit Agreement           Inc.
    Total Secured Debt                                                                          $243,125,321.74

           1.         The Prepetition ABL Facility

On April 6, 2012, TCS, as borrower, TCSG, TCS Gift, and TCS Installation Services, LLC,7 in their
respective capacities as guarantors thereunder, JPMorgan Chase Bank, N.A., as administrative agent and
collateral agent (in such capacity, the “Prepetition ABL Agent”), and the other lenders and letter-of-credit
issuers party thereto (the “Prepetition ABL Lenders”) entered into that certain Credit Agreement (as
amended by that certain Amendment No. 1, dated as of April 8, 2013, that certain Amendment No. 2, dated
as of October 8, 2015, that certain Amendment No. 3, dated as of May 20, 2016, that certain Amendment
No. 4, dated as of August 18, 2017, that certain Amendment No. 5, dated as of November 25, 2020, and
that certain Amendment No. 6, dated as of May 22, 2023, the “Prepetition ABL Credit Agreement”),
pursuant to which the Prepetition ABL Lenders provided an asset-based revolving credit facility (the
“Prepetition ABL Facility”) in a current aggregate principal amount of up to $100 million, with a $40
million sublimit for the issuance of letters of credit and a $15 million sublimit for the issuance of swingline
loans. In addition, the Prepetition ABL Facility includes an uncommitted incremental revolving facility for
an amount of up to $50 million, which is subject to satisfaction of specified conditions. The Prepetition
ABL Facility matures on the earlier of (a) November 25, 2025 and (b) October 31, 2025, if any portion of



4
       The average employee headcount per store is 26, and high-volume stores employ a Custom Spaces sales manager.
5
       The “Wages Motion” is the Emergency Motion of Debtors for Entry of an Order (I) Authorizing the Debtors to
       (A) Pay Certain Employee Compensation and Benefits, (B) Maintain and Continue Such Benefits and Other
       Employee-Related Programs, and (C) Pay Prepetition Claims of Contracted Labor; (II) Granting Relief from
       Automatic Stay with Respect to Workers’ Compensation Claims; and (III) Granting Related Relief, which the
       Debtors intend to file on the Petition Date.
6
       This amount excludes letters of credit issued under the Prepetition ABL Facility.
7
       TCS Installation Services, LLC has since been merged into TCS.

                                                           19
       Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 30 of 569



the Prepetition Term Loan Obligations (as defined below) remains outstanding on such date and the
maturity date of the Prepetition Term Loan Facility (as defined below) is not extended. As of the Petition
Date, there was approximately $80 million in principal outstanding and $7.5 million in letters of credit
issued under the Prepetition ABL Facility.

The obligations arising under the Prepetition ABL Facility (collectively, the “Prepetition ABL
Obligations”) are guaranteed by Debtors TCSG, TCS Gift, C Studio Manufacturing Inc., and C Studio
Manufacturing LLC and, as set forth in that certain ABL Facility Security Agreement dated as of April 6,
2012 (as amended by that certain Amendment No. 1 to Security Agreement and Pledge Agreement, dated
as of October 28, 2024, the “Prepetition ABL Security Agreement”), secured by security interests in, and
liens upon, substantially all assets of Debtor TCS and the above-mentioned Debtor guarantors, including
first priority security interests in, and liens upon, the following assets of the Debtors: (a) all accounts; (b)
all chattel paper; (c) all deposit accounts, securities accounts (for each of clauses (a) through (c), excluding
accounts, chattel paper, deposit accounts and securities accounts which constitute identifiable proceeds of
Prepetition Term Loan Priority Collateral (as defined below)); (d) all inventory; and (e) documents, general
intangibles, instruments, and commercial tort claims, supporting obligations, letter-of-credit rights, books
and records, and collateral security and guarantees evidencing, governing, or relating to any of the items
referred to in the preceding clauses (a) through (d) (collectively, the “Prepetition ABL Priority Collateral”).
Pursuant to the Intercreditor Agreement (as defined below), the Prepetition ABL Lenders hold second
priority security interests in and liens upon the Prepetition Term Loan Priority Collateral (as defined
below).8

        2.       The Prepetition Term Loan Facility

On April 6, 2012, Debtor TCS, as borrower, and Debtors TCSG, TCS Gift, and TCS Installation Services,
LLC,9 in their respective capacities as guarantors thereunder, JPMorgan Chase Bank, N.A., as
administrative agent and collateral agent (in such capacity, the “Prepetition Term Loan Agent”), and the
other lenders party thereto (the “Prepetition Term Lenders,” and together with the Prepetition ABL
Lenders, the “Prepetition Secured Creditors”) entered into that certain Credit Agreement, dated as of April
6, 2012 (as amended by that certain Amendment No. 1 dated as of April 8, 2013, that certain Amendment
No. 2 dated as of November 27, 2013, that certain Amendment No. 3 dated as of May 20, 2016, that certain
Amendment No. 4 dated as of August 18, 2017, that certain Amendment No. 5 dated as of September 14,
2018, that certain Amendment No. 6 dated as of October 8, 2018, that certain Amendment No. 7 dated as
of November 25, 2020, that certain Amendment No. 8 dated as of June 14, 2023, and that certain
Amendment No. 9 dated as of October 8, 2024, the “Prepetition Term Loan Credit Agreement”), pursuant
to which the Prepetition Term Lenders provided a senior secured term loan facility in an initial principal
amount of $275 million (the “Prepetition Term Loan Facility,” and together with the Prepetition ABL
Facility, the “Prepetition Credit Facilities”). The Prepetition Term Loan Facility matures on January 31,
2026. As of the Petition Date, there was approximately $163.1 million in principal outstanding under the
Prepetition Term Loan Facility.

The obligations arising under the Prepetition Term Loan Facility (the “Prepetition Term Loan
Obligations”) are secured by security interests in, and liens upon, substantially all assets of the Debtors,
including first priority security interests in, and liens upon, the following assets of the Debtors: (a) all



8
    The collateral package for the Prepetition ABL Facility also includes the equity pledge of Elfa, which was
    increased from 65.0% to 100.0% pursuant to that certain Amendment No. 1 to Security Agreement and Pledge
    Agreement, dated as of October 28, 2024.
9
    TCS Installation Services, LLC has since been merged into TCS.

                                                      20
        Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 31 of 569



equipment, fixtures, real property, intellectual property and investment property (other than any investment
property described as Prepetition ABL Priority Collateral); (b) all instruments, documents, and general
intangibles (other than any instruments, documents, and general intangibles described as Prepetition ABL
Priority Collateral); (c) all “Term Loan Priority Accounts” (as defined in the Intercreditor Agreement); (d)
all other collateral other than Prepetition ABL Priority Collateral; and (e) all collateral security and
guarantees with respect to the foregoing and all cash, money, insurance proceeds, instruments, securities,
financial assets, and deposit accounts received as proceeds of the foregoing, other than the Prepetition ABL
Priority Collateral (collectively, the “Prepetition Term Loan Priority Collateral”).10 Additionally, the
Prepetition Term Loan Obligations are secured by second priority security interests in, and liens upon, the
Prepetition ABL Priority Collateral.

         3.       The Intercreditor Agreement

The respective rights of the Prepetition ABL Lenders and the Prepetition Term Lenders with respect to their
shared collateral are governed by that certain Intercreditor Agreement, dated as of April 6, 2012, by and
between the Prepetition ABL Agent and the Prepetition Term Loan Agent (as amended by that certain
Amendment No. 1 dated as of April 8, 2013, the “Intercreditor Agreement”). The Intercreditor Agreement
governs, among other things, the division of collateral into Prepetition ABL Priority Collateral and
Prepetition Term Loan Priority Collateral and the priority of claims with respect thereto, as well as the
respective rights of the Prepetition ABL Lenders and the Prepetition Term Lenders in connection with
certain bankruptcy matters, such as the provision of postpetition financing.

         4.       Unsecured Debt

In addition to their funded debt, the Debtors have customary unsecured debt, including amounts owed to
trade vendors and landlords. The Company routinely incurs fixed, liquidated, and undisputed payment
obligations in the ordinary course of business to various third-party providers of goods and services. These
include obligations owed to The Container Store’s extensive network of vendors, upon which the Company
relies to supply merchandise. A majority of these vendors conduct business with the Company on a
purchase order-by-purchase order basis and are paid on prearranged terms. As of the Petition Date, the
Debtors estimate that approximately $25.945 million of merchandise trade debt is outstanding. As
discussed in greater detail in the All Trade Motion,11 certain of these claims are entitled to statutory priority,
including under section 503(b)(9) of the Bankruptcy Code, or may give rise to liens in favor of shippers,
warehousemen, or mechanics in the event they go unpaid. However, regardless of whether such claims are
afforded priority under the Bankruptcy Code, the Debtors anticipate that all such vendor and service
provider claims will be paid or otherwise satisfied in full in the ordinary course.

The Company also has certain lease obligations, as its stores, distribution centers, and corporate offices are
operated exclusively from leased premises. The Debtors estimate that an average of approximately $11.7
million accrues on account of lease and occupancy-related expenses each month. A substantial liability
accounting for the remaining expenses associated with the Debtors’ leases is reflected on the Debtors’ books




10
     The Prepetition Term Loan Priority Collateral also includes the equity pledge of Elfa, which was increased from
     65.0% to 100.0% pursuant to that certain Amendment No. 1 to Security Agreement and Pledge Agreement, dated
     as of October 28, 2024.
11
     The “All Trade Motion” means the Motion of Debtors for Entry of Interim and Final Orders (I) Authorizing the
     Debtors to Pay Prepetition Trade Claims in the Ordinary Course of Business and (II) Granting Related Relief,
     filed contemporaneously herewith.

                                                        21
        Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 32 of 569



at any given time. The Debtors are continuing to operate in the ordinary course during the Chapter
11 Cases.
                                                III.
                            EVENTS PRECEDING COMMENCEMENT
                           OF THE ANTICIPATED CHAPTER 11 CASES

A.       Challenging Post-Covid Retail Environment, Strategic Alternatives Review, and
         Appointment of Transaction Committee

The persistently challenging retail environment—including pulled-forward demand and subsequently
reduced consumer spending in the storage and organization category, increased price sensitivity, post-
COVID winddown, fewer home sales, and intensified competition—significantly impacted the Company’s
performance from its peak in 2021. These challenges resulted in a 10.5% year-over-year decline in revenue
and 77.1% year-over-year decline in adjusted EBITDA for the fiscal quarter ended September 28, 2024.
Furthermore, the Company has faced increased interest expenses and looming debt maturities.

Against the backdrop of these challenges, the Board initiated a formal review process to evaluate strategic
alternatives including a potential sale of the Company, new equity investment, or refinancing of the
Company’s Prepetition Credit Facilities (such process, the “Strategic Alternatives Review”). In furtherance
of the Strategic Alternatives Review and in consultation with the Company’s advisors, the Board also
determined that it was in the best interests of the Company and its stakeholders to establish a committee of
the Board (the “Transaction Committee”)12 to assist the Board in fulfilling its responsibilities relating to
the Strategic Alternatives Review and to oversee the Strategic Alternatives Review (including reviewing,
negotiating, and evaluating any potential transactions and making recommendations to the Board regarding
the advisability of one or more transactions).

B.       The Initial Marketing Process and the Potential Equity Investment from Beyond, Inc.

As part of the Strategic Alternatives Review, the Transaction Committee retained JPMorgan Chase & Co.
(“JPMorgan”) as financial advisor. JPMorgan thereafter conducted an extensive marketing and outreach
effort to gauge interest in a purchase of, or investment in, the Company. That effort included initial outreach
to approximately forty (40) strategic investors and twenty-six (26) financial sponsors. Twenty parties
submitted NDAs and engaged in diligence. Five parties submitted preliminary, non-binding purchase or
investment proposals. Four of those parties declined to progress beyond their initial non-binding proposals.

Ultimately, the marketing process did not result in any offers to purchase the entire Company. Instead, the
Company received only one offer from Beyond, Inc. (“Beyond”) to make a strategic investment in the
Company through a preferred equity transaction. On October 15, 2024, the Company announced a strategic
partnership with Beyond with the goal of positioning the Company to achieve incremental sales growth
over time by utilizing and benefiting from Beyond’s intellectual property, customer data, network of brands,
and affiliate relationships. As part of the strategic partnership, Beyond agreed to invest $40.0 million in
the Company through a convertible preferred equity transaction subject to certain terms and conditions,
including an amendment or refinancing of the Prepetition Credit Facilities in a manner commercially
acceptable to Beyond (the “Beyond Equity Investment”).



12
     The Transaction Committee is comprised of certain members of the Board who are independent and disinterested
     with respect to any contemplated transaction (other than as a director of the Company or equity ownership in the
     Company). Kristofer Galashan, Lisa Klinger, Anthony Laday, and Nicole Otto served on the Transaction
     Committee.

                                                         22
        Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 33 of 569



C.       The Formation of the Ad Hoc Group and the Company’s Retention of Houlihan

Meanwhile, an ad hoc group of Prepetition Term Lenders (the “Ad Hoc Group”) organized in response to
the Company’s financial performance and upcoming maturities. When it became unlikely that the sale
process would yield a sale of the entire Company and repay the Company’s funded debt in full, the
Company also retained Houlihan Lokey, Inc. (“Houlihan”) in September 2024 to engage with the Ad Hoc
Group and explore standalone financing options.

D.       Deteriorating Business Performance and Continued Liquidity Pressures

During the Summer and Fall of 2024, the Company continued to experience worsening business
performance and significant pressures on its liquidity. For the second quarter ended September 28, 2024,
the Company’s consolidated net sales declined by 10.5% year-over-year to $196.6 million. For the same
period, the Company incurred a consolidated net loss of $16.1 million, compared to a net loss of $23.7
million, respectively, in the second quarter of fiscal year 2023. The Company’s adjusted EBITDA for the
same period was $3.9 million, representing a $43.8 million (or 91.8%) decrease from the peak level of
$47.7 million in the second quarter of fiscal year 2021.

In addition to the challenging retail environment that persisted during this time, the Company’s liquidity
was further negatively impacted by its need to increase its borrowings under the Prepetition ABL Facility
in advance of the holiday period. 13 These higher borrowings under the Prepetition ABL Facility and a
higher interest rate on the Prepetition Term Loan Facility during the second quarter of fiscal year 2024 led
to a 15.4% year-over-year increase in consolidated net interest expense to $6.0 million in the second quarter
of fiscal year 2024.

The Company’s liquidity was further constrained by mounting vendor pressure in the form of strained
vendor credit relationships resulting from the fear that the Company would not have enough cash on hand
to pay vendors in full in the wake of its publicly reported operating performance and downgrades of the
Company’s credit ratings (by S&P Global Ratings in March 2024 and by Moody’s Investor Service in
November 2024). Such pressure continues to impact liquidity and inventory levels as the Company works
to address these vendor concerns.

E.       Amendment No. 9 to Prepetition Term Loan Facility

The foregoing factors rendered the Company unable to comply with the consolidated leverage ratio
covenant in the Prepetition Term Loan Credit Agreement for the second quarter of fiscal year 2024. On
October 8, 2024, as part of its continued support of the Company’s business and strategic initiatives, the
Ad Hoc Group agreed to enter into Amendment No. 9 to the Prepetition Term Loan Facility (the
“Prepetition Term Loan Amendment No. 9”) which, among other things, (i) waived the testing of the
consolidated leverage ratio covenant (defined in the Prepetition Term Loan Credit Agreement as the ratio
of total debt to consolidated EBITDA) for the second quarter of fiscal year 2024; (ii) added a covenant for
the Company to enter into a qualified financing transaction, subject to the approval of the Required Lenders
(as defined in the Prepetition Term Loan Credit Agreement) by November 15, 2024 (which date has been
extended from time to time to December 31, 2024 by the Required Lenders); and (iii) amended certain of
the covenants in the Prepetition Term Loan Credit Agreement which, among other things, narrowed the
Company’s ability to incur additional indebtedness or engage in certain non-ordinary course transactions.


13
     Historically, the Company’s liquidity fluctuates as a result of building inventory for key selling periods and the
     Company’s borrowings generally increase in its second and third fiscal quarters as it prepares for promotional
     campaigns and the holiday season.

                                                          23
        Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 34 of 569



F.       Beyond’s Unwillingness to Consummate an Investment and the Pursuit of Alternative
         Transactions

In connection with the potential Beyond Equity Investment, the Company and Ad Hoc Group engaged in
sustained, good-faith efforts to offer an amendment and/or refinancing proposal acceptable to Beyond in
order to move forward with consummating the contemplated investment. Unfortunately, despite the best
efforts of the Ad Hoc Group and the Company, Beyond ultimately indicated that it was unwilling to accept
any of the financing proposals supported by the Ad Hoc Group.14 Simultaneously, the Company’s liquidity
position continued to become increasingly constrained, necessitating additional capital to support the
business.15

Additionally, given the upcoming maturity wall (i.e., springing maturity of the Prepetition ABL Facility on
October 31, 2025 and maturity of the Prepetition Term Loan Facility on January 31, 2026), the Company
faced the potential for events of default across its capital structure as early as June 2025, if it were unable
to obtain an audit opinion for fiscal year 2024 financial statements without a going concern qualification.
In fact, without the Prepetition Term Loan Amendment No. 9 described above, the Company would have
been in non-payment default under the Prepetition Term Loan Facility in October 2024.

Accordingly, Houlihan pivoted to explore financing options that were not dependent upon the Beyond
Equity Investment and solicited proposals to refinance the Debtors’ Prepetition ABL Facility or provide
incremental third-party financing (including debtor-in-possession financing). Houlihan also engaged with
the Ad Hoc Group to explore options to provide financing to support a standalone restructuring of the
Company. The Company and the Ad Hoc Group exchanged numerous proposals for the restructuring of
the Company’s capital structure on both an in-court and out-of-court basis. As negotiations with the Ad
Hoc Group and the Prepetition ABL Lenders progressed, the Board concluded that proceeding with a
replacement ABL facility for a comprehensive balance-sheet restructuring would represent the most value-
maximizing path and position the Company for long term success.

G.       Appointment of Restructuring Committee and Investigation Subcommittee

In connection with the Company’s ongoing exploration of strategic alternatives, on December 4, 2024, the
Board constituted an independent special restructuring committee (the “Restructuring Committee”) 16 that
is responsible for exploring and overseeing negotiations related to potential restructuring transactions,
including financing, sale, reorganization, recapitalization, strategic transactions, and other opportunities
and transactions, for the Company and its subsidiaries, subject to Board approval.




14
     Beyond stated publicly as early as November 20, 2024: “[T]he proposed financing terms we have reviewed to
     date fall short of what we believe is necessary to complete the transaction.” As of the date hereof, Beyond has
     not indicated it intends to accept any proposal made.
15
     The Company’s second quarter sales results represented sequential improvement compared to the prior quarter
     results. For example, Custom Spaces continued to grow due to increased brand awareness from higher marketing
     spend and investments in in-home design services. From a customer demand perspective, orders placed for
     Custom Spaces but not yet delivered experienced year-over-year growth during the second quarter of fiscal year
     2024. Additionally, General Merchandise continued to sequentially improve as the Company focused on ensuring
     core product categories are in stock, while enhancing key areas of the assortment with newness and innovation.
     Nevertheless, such improvements were insufficient to counterbalance the overall challenging retail environment
     that is not expected to reverse course in the near future.
16
     The Restructuring Committee members are Lisa Klinger, Nicole Otto, Karen Stuckey, and Charles Tyson.

                                                        24
        Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 35 of 569



Based upon guidance from the Restructuring Committee, the Company, in consultation with its advisors,
ultimately determined that it did not have sufficient liquidity to operate in the ordinary course during or
beyond January 2025 absent new liquidity and a substantial modification of its current capital structure.
Accordingly, and in light of the fact that the Company faced both potential future defaults as well as
upcoming maturities on both its Prepetition ABL Facility and the Prepetition Term Loan Facility, the
Debtors and the Ad Hoc Group engaged in iterative negotiations regarding the terms of a value-maximizing
path forward for the Company that would have the requisite stakeholder support and provide sufficient
deleveraging and access to new capital. These discussions ultimately led to entry into the Transaction
Support Agreement on December 21, 2024.

The Transaction Support Agreement and the Plan also contemplate the provision of typical releases to the
Debtors’ directors and officers, among others. In light of these proposed releases, on December 4, 2024,
the Board constituted a two-member independent special sub-committee of the Restructuring Committee
(the “Investigation Subcommittee”).17 The Investigation Subcommittee tasked Hunton Andrews Kurth
LLP (“Hunton AK”)18 with leading, at the direction of the Investigation Subcommittee, an investigation
into prepetition transactions and conduct to ensure that any releases to be provided under the Plan are
appropriate in scope and nature. This investigation has been overseen by the Investigation Subcommittee
with the assistance of Hunton AK. To date, no viable claims have been identified that would affect the
Board’s decision to authorize entry into the Transaction Support Agreement and solicitation of the Plan.

                                                      IV.
                   ANTICIPATED EVENTS DURING CHAPTER 11 CASES

A.       Commencement of Chapter 11 Cases

In accordance with the Transaction Support Agreement, the Debtors anticipate filing voluntary petitions for
relief under the Bankruptcy Code on or about December 22, 2024. The filing of the petitions will commence
the Chapter 11 Cases, at which time the Debtors will be afforded the benefits and become subject to the
limitations of the Bankruptcy Code.

The Debtors intend to continue operating their businesses in the ordinary course during the pendency of the
Chapter 11 Cases. To facilitate the efficient and expeditious implementation of the Plan through the
Chapter 11 Cases, and to minimize disruptions to the Debtors’ operations on the Petition Date, the Debtors
intend to seek to have the Chapter 11 Cases administered jointly and to file various motions seeking
important and urgent relief from the Bankruptcy Court. Such relief, if granted, will assist in the
administration of the Chapter 11 Cases; however, there can be no assurance that the requested relief will be
granted by the Bankruptcy Court.

B.       First Day Motions

On the Petition Date, the Debtors intend to file multiple motions and applications seeking various relief
from the Bankruptcy Court and authorizing the Debtors to maintain their operations in the ordinary course
(the “First Day Motions”). Such relief is designed to ensure a seamless transition between the Debtors’
prepetition and postpetition business operations, facilitating a smooth reorganization through the chapter 11
process, and minimizing disruptions to the Debtors’ businesses. The following is a brief overview of the



17
     The Investigation Subcommittee members are Karen Stuckey and Charles Tyson.
18
     In connection with the Company’s contingency planning efforts, the Company engaged Hunton AK as co-counsel
     on November 26, 2024.

                                                      25
       Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 36 of 569



substantive relief the Debtors intend to seek on the Petition Date to maintain their operations in the ordinary
course.

        1.       Debtor in Possession Financing and Cash Collateral Motion

To address their working capital needs and fund their reorganization efforts, on or immediately after the
Petition Date, the Debtors intend to seek Bankruptcy Court approval of (a) an agreement with certain
prepetition lenders to provide the DIP-to-Exit Term Loan Facility in an aggregate principal amount of
$115 million and (b) the entry into the DIP & Exit ABL Commitment Letter and the $140 million DIP-to-
Exit ABL Facility. The proposed order seeking approval of the DIP-to-Exit Facilities also reflects an
agreement between and among the Debtors and certain of their secured creditors regarding the use of Cash
Collateral (as defined in the Bankruptcy Code) and the terms of adequate protection to be provided to such
parties.

        2.       Cash Management Motion

The Debtors maintain a cash management system that enables the Debtors to control and monitor corporate
funds, ensure cash availability and liquidity across the Debtors’ operations, comply with the requirements
of their financing agreements, and reduce administrative expenses by facilitating the movement of funds as
needed. On the Petition Date, the Debtors intend to seek authority from the Bankruptcy Court to continue
their existing cash management system, honor certain prepetition obligations related thereto, continue
ordinary course intercompany transactions between and among the Debtors and their Non-Debtor Affiliates
and subsidiaries, and continue their ordinary cash management practices.

        3.       All Trade Motion

In the ordinary course of business, the Debtors incur various fixed, liquidated, and undisputed payment
obligations (the “Trade Claims”) to various third-party providers of goods and services related to the
Debtors’ business operations (the “Trade Creditors”). The Trade Claims are comprised of (a) prepetition
claims held by vendors who provide inventory, (b) prepetition claims held by suppliers, service providers,
and distributors based outside the United States, (c) prepetition claims held by common carriers,
warehousemen, and toll processors in each case that may have or may be capable of asserting liens against
the Debtors’ property, and (d) prepetition claims held by all other general unsecured creditors, including
those that provide supplies and/or services utilized by the Debtors, such as professionals utilized in the
ordinary course and not otherwise retained pursuant to a separate order of the Bankruptcy Court.

By the All Trade Motion, the Debtors will request authority from the Bankruptcy Court to pay Trade Claims
in full in their discretion and in the ordinary course of business, consistent with the Unimpaired treatment
of General Unsecured Claims under the Plan. Furthermore, the Debtors will seek authority to request that,
as a condition to receiving payment on account of Trade Claims, Trade Creditors agree to continue to
provide goods and/or services to the Debtors on terms that are as good or better than the terms and
conditions that existed 120 days prior to the Petition Date during the pendency of the Chapter 11 Cases (the
“Customary Trade Terms”). If a Trade Creditor ceases to provide Customary Trade Terms, then the
Debtors may seek an order from the Court for relief concerning any payment on a prepetition claim received
by such Trade Creditor, including requiring the return of such payment as a voidable postpetition transfer
under section 549 of the Bankruptcy Code.

        4.       Taxes Motion

Pursuant to the Plan, the Debtors intend to pay all taxes, assessments, fees, duties, and similar charges and
assessments (collectively, the “Taxes and Fees”) in full to the various U.S. national, state, and local taxing,

                                                      26
       Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 37 of 569



licensing, regulatory and other governmental authorities to which such taxes and fees are owed. To
minimize any disruption to the Debtors’ operations and ensure the efficient administration of the Chapter 11
Cases, on the Petition Date, the Debtors intend to seek authority from the Bankruptcy Court to pay all Taxes
and Fees, whether arising pre- or post-petition, to the appropriate taxing, regulatory, and other governmental
authorities in the ordinary course of the Debtors’ businesses.

        5.       Insurance Motion

In connection with the operation of the Debtors’ businesses, the Debtors maintain various liability, property
and other insurance policies, which provide the Debtors with insurance related to, among other things,
general commercial liability, crime, cargo, cyber, worker’s compensation and employer’s liability,
directors’ and officers’ liability, auto, pollution, patent infringement, and various other liability and property
losses, liabilities, and claims (collectively, the “Insurance Policies”). On the Petition Date, the Debtors
will seek authority from the Bankruptcy Court to continue to maintain and renew their Insurance Policies,
continue honoring their insurance obligations on a postpetition basis in the ordinary course of business, and
pay accrued and outstanding prepetition amounts due in connection with the Insurance Policies.

        6.       Employee Wages and Benefits Motion

As of the date hereof, the Debtors employ approximately 3,800 individuals (the “Employees”) as well as
various contract workers (the “Contracted Labor” and, together with the Employees, the “Workforce”). In
the ordinary course, the Debtors incur a number of obligations to, or for the benefit of, their Workforce
(the “Prepetition Workforce Obligations”). The Debtors’ Prepetition Workforce Obligations include:
(a) wage and salary obligations, such as payroll and payments for Employees and Contracted Labor;
(b) obligations to payroll processing services; (c) payouts under various performance-based incentive
programs and severance plans; (d) expense reimbursements for company credit card and business travel
expenses; (e) maintaining health and welfare benefits such as health, dental, and accidental death and
dismemberment insurance; (f) funding retirement programs such as the Company’s 401(k) program;
(g) maintaining workers’ compensation insurance; and (h) payments to the administrators of the Debtors’
various Workforce-related programs. On the Petition Date, the Debtors will seek authority from the
Bankruptcy Court to continue the Workforce-related programs in the ordinary course and to pay and honor
the Prepetition Workforce Obligations.

        7.       Customer Programs Motion

In the ordinary course of business, the Debtors provide their customers with certain services, pricing,
incentives, discounts, and other accommodations in order to preserve critical relationships and maximize
customer loyalty (the “Customer Programs”). On the Petition Date, the Debtors will seek authority from
the Bankruptcy Court to continue to maintain the Customer Programs, continue honoring their obligations
under the Customer Programs on a postpetition basis in the ordinary course of business, and pay accrued
and outstanding prepetition amounts due in connection with the Customer Programs.

        8.       Utilities Motion

In the ordinary course of business, the Debtors incur certain expenses related to essential utility services
such as power, gas, water, sewer, recycling, trash disposal, and waste management, telecommunications,
and other similar services. To facilitate timely and efficient processing and payment of invoices with
respect to these utility services, the Debtors contract, in the ordinary course of business, with a payment
processor to process and remit payments to certain utility companies on the Debtors’ behalf. On the Petition
Date, the Debtors intend to seek approval from the Bankruptcy Court of procedures to provide such utility
providers with adequate assurance that the Debtors will continue to honor their obligations in the ordinary

                                                       27
       Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 38 of 569



course and to pay any fees owed to the payment processor, whether arising pre- or post-petition, in the
ordinary course of the Debtors’ business.

        9.       Equity Trading/NOL

The Debtors have certain net operating losses and other tax attributes that provide the potential for material
future tax savings or other tax structuring possibilities in the Chapter 11 Cases. As a result, on the Petition
Date, the Debtors intend to seek entry of an order from the Bankruptcy Court (i) approving certain
notification procedures related to certain transfers of, or claims of worthlessness with respect to, the
beneficial ownership of Debtor TCSG’s outstanding common stock, and (ii) directing that any purchase,
sale, other transfer of, or claim of worthlessness with respect to, the beneficial ownership of Debtor TCSG’s
outstanding common stock in violation of the procedures will be null and void ab initio.

C.      Other Procedural Motions and Retention of Professionals

The Debtors intend to file various other motions that are common to chapter 11 cases of similar size and
complexity to these Chapter 11 Cases, including applications to retain various professionals to assist the
Debtors in the Chapter 11 Cases.

D.      Timetable for the Chapter 11 Cases

In accordance with the Transaction Support Agreement, the Debtors have agreed to proceed with the
implementation of the Plan through the Chapter 11 Cases. Among the Milestones contained in the
Transaction Support Agreement is the requirement that the Bankruptcy Court enter the order confirming
the Plan no later than 34 calendar days following the Petition Date. The Transaction Support Agreement
also requires that the Effective Date occur no later than 14 calendar days following the entry of the
Combined Order. Although the Debtors will request that the Bankruptcy Court approve a timetable
consistent with the Transaction Support Agreement, there can be no assurance that the Effective Date will
occur on such timetable.

                                                      V.
                                     SUMMARY OF THE PLAN

THE TERMS OF THE PLAN, A COPY OF WHICH IS ATTACHED AS EXHIBIT A TO THIS
DISCLOSURE STATEMENT, ARE INCORPORATED BY REFERENCE HEREIN. THE
STATEMENTS CONTAINED IN THE DISCLOSURE STATEMENT INCLUDE SUMMARIES
OF THE PROVISIONS CONTAINED IN THE PLAN AND IN THE DOCUMENTS
REFERENCED THEREIN, WHICH ARE QUALIFIED IN THEIR ENTIRETY BY REFERENCE
TO THE PLAN (AS WELL AS THE EXHIBITS THERETO AND DEFINITIONS THEREIN).

THE STATEMENTS CONTAINED IN THE DISCLOSURE STATEMENT DO NOT PURPORT
TO BE PRECISE OR COMPLETE STATEMENTS OF ALL THE TERMS AND PROVISIONS OF
THE PLAN OR DOCUMENTS REFERRED TO THEREIN, AND REFERENCE IS MADE TO
THE PLAN AND TO SUCH DOCUMENTS FOR THE FULL AND COMPLETE STATEMENT
OF SUCH TERMS AND PROVISIONS OF THE PLAN OR DOCUMENTS REFERRED TO
THEREIN. HOLDERS OF CLAIMS AGAINST, AND INTERESTS IN, THE DEBTORS AND
OTHER INTERESTED PARTIES ARE URGED TO READ THE PLAN AND THE EXHIBITS
THERETO IN THEIR ENTIRETY SO THAT THEY MAY MAKE AN INFORMED JUDGMENT
CONCERNING THE PLAN.



                                                      28
       Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 39 of 569



A.      Classification and Treatment of Claims and Interests under the Plan

The Plan constitutes a separate chapter 11 Plan of reorganization for each Debtor. The provisions of
Article III of the Plan govern Claims against and Interests in the Debtors. Except for the Claims addressed
in Article II of the Plan (or as otherwise set forth herein), all Claims and Interests are placed in Classes for
each of the applicable Debtors. For all purposes under the Plan, each Class will exist for each of the
Debtors; provided, that any Class that is vacant as to a particular Debtor will be treated in accordance with
Article III.G of the Plan. In accordance with section 1123(a)(1) of the Bankruptcy Code, the Debtors have
not classified Administrative Claims, DIP Claims, Priority Tax Claims, and Other Priority Claims as
described in Article II of the Plan.

The categories of Claims and Interests listed below classify Claims and Interests for all purposes, including
voting, Confirmation and distribution pursuant to the Plan and pursuant to sections 1122 and 1123(a)(1) of
the Bankruptcy Code. The Plan deems a Claim or Interest to be classified in a particular Class only to the
extent that such Claim or Interest qualifies within the description of that Class and will be deemed classified
in a different Class to the extent that any remainder of such Claim or Interest qualifies within the description
of such different Class. A Claim or an Interest is in a particular Class only to the extent that any such Claim
or Interest is Allowed in that Class and has not been paid or otherwise settled prior to the Effective Date.

                  Summary of Classification and Treatment of Claims and Interests

        Class                   Claim                           Status             Voting Rights
          1       Other Secured Claims                        Unimpaired         Presumed to Accept
          2       Prepetition ABL Claims                      Unimpaired         Presumed to Accept
             3    Prepetition Term Loan Claims                 Impaired            Entitled to Vote
             4    General Unsecured Claims                    Unimpaired         Presumed to Accept
             5    Subordinated Claims                          Impaired           Deemed to Reject
             6    Intercompany Claims                         Impaired /         Deemed to Reject /
                                                              Unimpaired         Presumed to Accept
             7    Intercompany Interests                      Impaired /         Deemed to Reject /
                                                              Unimpaired         Presumed to Accept
             8    Existing Equity Interests                    Impaired           Deemed to Reject

B.      Acceptance or Rejection of the Plan; Effect of Rejection of the Plan

        1.       Presumed Acceptance of Plan

Claims in Classes 1, 2, and 4 are Unimpaired under the Plan, and the Holders of such Claims are
conclusively presumed to have accepted the Plan pursuant to section 1126(f) of the Bankruptcy Code.
Therefore, Holders of Claims in Classes 1, 2, and 4 are not entitled to vote on the Plan and the votes of such
Holders will not be solicited. Notwithstanding their non-voting status, Holders of such Class 1 and 4 Claims
will receive a Release Opt-Out Form solely for purposes of affirmatively opting out of the Third-Party
Release.




                                                      29
       Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 40 of 569



        2.      Voting Class

Claims in Class 3 are Impaired under the Plan, and the Holders of Allowed Claims in such Class are entitled
to vote to accept or reject the Plan, including by acting through a voting representative. For purposes of
determining acceptance and rejection of the Plan, votes will be tabulated on a Debtor-by-Debtor basis.

Pursuant to section 1226(c) of the Bankruptcy Code, an impaired class of claims accepts a plan if (a) the
holders of at least two-thirds (2/3) in amount of claims actually voting in such class have voted to accept
the plan and (b) the holders of more than one-half (1/2) in number of claims actually voting in such class
have voted to accept the plan. Holders of Claims in Class 3 (or, if applicable, the voting representatives of
such Holders) will receive Ballots containing detailed voting instructions. For the avoidance of doubt, each
Claim in the sole Class entitled to vote to accept or reject the Plan that is not Allowed pursuant the Plan,
and in each case, is wholly contingent, unliquidated, or Disputed, in each case, will be accorded one (1)
vote and valued at one dollar ($1.00) for voting purposes only, and not for purposes of allowance or
distribution.

        3.      Deemed Rejection of the Plan

Claims and Interests in Classes 5 and 8 are Impaired under the Plan, and the Holders of such Claims and
Interests will receive no distributions under the Plan on account of their Claims and Interests and are deemed
to have rejected the Plan pursuant to section 1126(g) of the Bankruptcy Code. Therefore, Holders of Claims
and Interests in Classes 5 and 8 are not entitled to vote on the Plan, and the votes of such Holders will not
be solicited. Notwithstanding their non-voting status, Holders of Claims and Interests in Class 5 and Class
8 will receive a Release Opt-Out Form solely for purposes of affirmatively opting out of the Third-Party
Release.

        4.      Presumed Acceptance of the Plan or Deemed Rejection of the Plan

Claims and Interests in Classes 6 and 7 are either (a) Unimpaired and, therefore, conclusively presumed to
have accepted the Plan pursuant to section 1126(f) of the Bankruptcy Code, or (b) Impaired and will receive
no distributions under the Plan and, therefore, are deemed to have rejected the Plan pursuant to
section 1126(g) of the Bankruptcy Code. Therefore, Holders of Claims and Interests in Classes 6 and 7 are
not entitled to vote on the Plan, and the votes of such Holders will not be solicited.

        5.      Confirmation Pursuant to Section 1129(a)(10) and 1129(b) of the Bankruptcy Code

Section 1129(a)(10) of the Bankruptcy Code is satisfied for purposes of confirmation by acceptance of the
Plan by an impaired class of claims entitled to vote (i.e., Class 3). The Debtors will seek Confirmation
pursuant to section 1129(b) of the Bankruptcy Code with respect to any rejecting Class of Claims or
Interests. The Debtors reserve the right to modify the Plan in accordance with Article XI of the Plan to the
extent, if any, that Confirmation pursuant to section 1129(b) of the Bankruptcy Code requires modification,
including by modifying the treatment applicable to a class of claims or interests to render such class of
claims or interests unimpaired to the extent permitted by the Bankruptcy Code and Bankruptcy Rules.

        6.      Subordinated Claims

The allowance, classification, and treatment of all Allowed Claims and Interests, and the respective
distributions and treatments under the Plan, will take into account and conform to the relative priority and
rights of the Claims and Interests in each Class in connection with any contractual, legal, and equitable
subordination rights relating thereto, whether arising under general principles of equitable subordination,
sections 509 or 510 of the Bankruptcy Code, or otherwise; provided, that, notwithstanding the foregoing,

                                                     30
       Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 41 of 569



such Allowed Claims or Interests and their respective treatments set forth herein will not be subject to
setoff, demand, recharacterization, turnover, disgorgement, avoidance, or other similar rights of recovery
asserted by any Person. Pursuant to section 510 of the Bankruptcy Code, except where otherwise provided
herein, the Reorganized Debtors reserve the right to re-classify any Allowed Claim or Interest in accordance
with any contractual, legal, or equitable subordination rights relating thereto. The Debtors or Reorganized
Debtors, as applicable, reserve the right to seek a ruling from the Bankruptcy Court determining whether
any Claim should be subordinated pursuant to section 510(b) of the Bankruptcy Code and treated under the
Plan as a Class 5 Subordinated Claim.

        7.      Special Provision Governing Unimpaired Claims

Except as otherwise provided therein, nothing under the Plan will affect or limit the Debtors’ or the
Reorganized Debtors’ rights and defenses (whether legal or equitable) in respect of any Unimpaired Claims,
including, without limitation, all rights in respect of legal and equitable defenses to, or setoffs or
recoupments against, any such Unimpaired Claims.

        8.      Vacant and Abstaining Classes

Any Class of Claims or Interests that is not occupied as of the commencement of the Combined Hearing
by an Allowed Claim or Allowed Interest or a Claim or Interest temporarily Allowed under Bankruptcy
Rule 3018 will be deemed eliminated from the Plan for purposes of voting to accept or reject the Plan and
for purposes of determining acceptance or rejection of the Plan by such Class pursuant to section 1129(a)(8)
of the Bankruptcy Code. Moreover, any Class of Claims that is occupied as of the commencement of the
Combined Hearing by an Allowed Claim or a Claim temporarily Allowed under Bankruptcy Rule 3018,
but as to which no vote is cast, will be deemed to accept the Plan pursuant to section 1129(a)(8) of the
Bankruptcy Code.

        9.      Intercompany Interests and Intercompany Claims

To the extent Intercompany Interests and Intercompany Claims are Reinstated under the Plan, distributions
on account of such Intercompany Interests and Intercompany Claims are not being received by Holders of
such Intercompany Interests or Intercompany Interests on account of their Intercompany Interests or
Intercompany Claims, but for the purposes of administrative convenience and to maintain the Debtors’ (and
their Affiliate-subsidiaries’) corporate structure, for the ultimate benefit of the Holders of New Equity
Interests, to preserve ordinary course intercompany operations, and in exchange for the Debtors’ and
Reorganized Debtors’ agreement under the Plan to make certain distributions to the Holders of Allowed
Claims.

        10.     Disputed Claims Process

Notwithstanding section 502(a) of the Bankruptcy Code, and in light of the Unimpaired status of all
Allowed General Unsecured Claims under the Plan, Holders of Claims (other than Holders of Rejection
Damages Claims) need not File Proofs of Claim. The Reorganized Debtors and the Holders of Claims will
determine, adjudicate, and resolve any disputes over the validity and amounts of such Claims in the ordinary
course of business as if the Chapter 11 Cases had not been commenced except that (unless expressly waived
pursuant to the Plan) the Allowed amount of such Claims will be subject to the limitations or maximum
amounts permitted by the Bankruptcy Code, including sections 502 and 503 of the Bankruptcy Code, to the
extent applicable. All Proofs of Claim Filed in these Chapter 11 Cases (other than Rejection Damages
Claims) will be considered objected to and Disputed without further action by the Debtors. Upon the
Effective Date, all Proofs of Claim Filed against the Debtors (other than Rejection Damages Claims),
regardless of the time of filing, and including Proofs of Claim Filed after the Effective Date, will be deemed

                                                     31
       Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 42 of 569



withdrawn and expunged, other than as provided below. Notwithstanding anything in the Plan to the
contrary, disputes regarding the amount of any Cure Cost pursuant to section 365 of the Bankruptcy Code
and Claims that the Debtors seek to have determined by the Bankruptcy Court, will in all cases be
determined by the Bankruptcy Court.

Notwithstanding the foregoing, the Debtors and the Reorganized Debtors, as applicable, reserve the right
to object to any Claim that is entitled, or deemed to be entitled, to a distribution under the Plan or is rendered
Unimpaired under the Plan in the Bankruptcy Court. Any disputes regarding the Allowance of a Rejection
Damages Claim will be determined by the Bankruptcy Court.

For the avoidance of doubt, there is no requirement to File a Proof of Claim (or move the Bankruptcy Court
for Allowance) to be an Allowed Claim under the Plan. Notwithstanding the foregoing, Entities must File
Cure Cost objections as set forth in the Plan to the extent such Entity disputes the amount of the Cure Cost
proposed to be paid by the Debtors or the Reorganized Debtors to a counterparty, and Entities that are
counterparties to a rejected Executory Contract or Unexpired Lease must file a Rejection Damages Claim
as set forth in the Plan.

C.      Means of Implementation of the Plan

Article IV of the Plan governs and describes the means of implementation of the Plan.

Article IV.A (“General Settlement of Claims and Interests”) provides that, in consideration for the
classification, distributions, releases, and other benefits provided under the Plan, on the Effective Date, the
provisions of the Plan will constitute a set of integrated, good-faith compromises and settlements of all
Claims, Interests, Causes of Action, and controversies resolved pursuant to the Plan and the Plan will be
deemed a motion to approve the good-faith compromises and settlements of all Claims, Interests, Causes
of Action, and controversies pursuant to Bankruptcy Rule 9019. Entry of the Combined Order will
constitute the Bankruptcy Court’s approval of such compromises and settlements under Bankruptcy Rule
9019, as well as a finding by the Bankruptcy Court that such integrated compromises or settlements are in
the best interests of the Debtors, the Estates, and Holders of Claims and Interests, and are fair, equitable,
and reasonable. Subject to Article VI of the Plan, distributions made to Holders of Allowed Claims in any
Class are intended to be and will be final and indefeasible and will not be subject to avoidance, turnover,
or recovery by any other Person. The Plan provides that, notwithstanding the foregoing or similar
provisions of the Plan with respect to settlements, upon entry of the Combined Order, such settlements will
be approved as among the parties to such settlement or similar agreements thereto, and the treatment of all
Claims and Interests will be approved pursuant to Confirmation by satisfying the requirement of section
1129 of the Bankruptcy Code.

Article IV.B (“Restructuring Transactions”) provides that, without limiting any rights and remedies of the
Debtors or Reorganized Debtors under the Plan or applicable law, but in all cases subject to the terms and
conditions of the Transaction Support Agreement, the Transaction Term Sheet, and the Definitive
Documents and any consents or approvals required thereunder, the entry of the Combined Order will
constitute authorization for the Debtors and Reorganized Debtors, as applicable, to take, or to cause to be
taken, all actions necessary or appropriate to consummate and implement the provisions of the Plan before,
on, and after the Effective Date, including such actions as may be necessary or appropriate to effectuate a
corporate restructuring of their respective businesses and to otherwise simplify the overall corporate
structure of the Reorganized Debtors. Such restructuring may include (1) the execution and delivery of
appropriate agreements or other documents of merger, consolidation, restructuring, disposition, liquidation,
or dissolution containing terms that are consistent with the terms of the Plan, the Transaction Support
Agreement, the Transaction Term Sheet, and the other Definitive Documents and that satisfy the applicable
requirements of applicable state law and such other terms to which the applicable Entities may agree; (2)

                                                       32
       Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 43 of 569



the execution and delivery of appropriate instruments of transfer, assignment, assumption, or delegation of
any asset, property, right, liability, duty, or obligation on terms consistent with the terms of the Plan, the
Transaction Support Agreement, the Transaction Term Sheet, and the other Definitive Documents and
having such other terms to which the applicable Entities may agree; (3) the execution, delivery, and filing,
if applicable, of the New Organizational Documents and the Exit Facilities Documents; (4) the filing of
appropriate certificates or articles of conversion, formation, incorporation, merger, consolidation, or
dissolution with the appropriate governmental authorities pursuant to applicable state law; and (5s) all other
actions that the Debtors and/or the applicable Entities determine to be necessary or appropriate, including
making filings or recordings that may be required by applicable state law or foreign law in connection with
such transactions, but in all cases subject to the terms and conditions of the Plan, the Transaction Support
Agreement, the Transaction Term Sheet, and the other Definitive Documents and any consents or approvals
required thereunder.

The Plan further provides that, the Combined Order will and shall be deemed to, pursuant to both section
1123 and section 363 of the Bankruptcy Code, authorize, among other things, all actions as may be
necessary or appropriate to effect any transaction described in, approved by, contemplated by, or necessary
to effectuate the Restructuring Transactions (including any other transaction described in, approved by,
contemplated by, or necessary to effectuate the Plan).

Article IV.D (“Vesting of Assets in the Reorganized Debtors Free and Clear of Liens and Claims”)
provides that, except as otherwise expressly provided in the Plan or any agreement, instrument, or other
document incorporated in the Plan pursuant to sections 1123(a)(5), 1123(b)(3), 1141(b) and (c), and other
applicable provisions of the Bankruptcy Code, on and after the Effective Date, all property in each Estate,
all Causes of Action, and any property acquired by any of the Debtors pursuant to the Plan will vest in each
respective Reorganized Debtor, free and clear of all Liens, Claims, charges, other encumbrances or
interests, except for those Liens, Claims, charges, or other encumbrances arising from or related to the Exit
Facility Documents. On and after the Effective Date, the Reorganized Debtors may (1) operate their
respective businesses, (2) use, acquire, and dispose of their respective property, and (3)
prosecute, compromise or settle any Claims, Interests, or Causes of Action, in each case without notice to,
supervision of, or approval by the Bankruptcy Court and free and clear of any restrictions of the Bankruptcy
Code or the Bankruptcy Rules, including for the avoidance of doubt any restrictions on the use, acquisition,
sale, lease, or disposal of property under section 363 of the Bankruptcy Code. Anything in the Plan to the
contrary notwithstanding, the Unimpaired Claims against a Debtor will remain the obligations solely of
such Debtor or such Reorganized Debtor and will not become obligations of any other Debtor or
Reorganized Debtor by virtue of the Plan, the Chapter 11 Cases, or otherwise.

Article IV.E (“Cancellation of Existing Agreements and Existing Equity Interests”) provides that, on the
Effective Date, except with respect to the Exit Facilities Documents, or to the extent otherwise provided in
the Plan, the Combined Order, or any other Definitive Document, all notes, bonds, indentures, certificates,
securities, purchase rights, options, warrants, calls, puts, awards, commitments, registration rights,
preemptive rights, rights of first refusal, rights of first offer, co-sale rights, investor rights, collateral
agreements, subordination agreements, or other instruments or documents directly or indirectly evidencing,
creating, or relating to any existing indebtedness or obligations of or ownership interest in the Debtors or
giving rise to any rights or obligations relating to Claims against or Interests in the Debtors will be deemed
canceled and surrendered, and the obligations of the Debtors or the Reorganized Debtors, as applicable,
and any Non-Debtor Affiliates thereunder or in any way related thereto will be deemed satisfied in full,
released, and discharged and the obligations of the Debtors pursuant, relating, or pertaining to any
agreements, notes, bonds, indentures, certificates, securities, purchase rights, options, warrants, calls, puts,
awards, commitments, registration rights, preemptive rights, rights of first refusal, rights of first offer, co-
sale rights, investor rights, collateral agreements, subordination agreements, or other instruments or
documents directly or indirectly evidencing, creating, or relating to any existing indebtedness or obligations

                                                      33
       Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 44 of 569



of or ownership interest in the Debtors or giving rise to any rights or obligations relating to Claims against
or Interests in the Debtors (except such agreements, certificates, notes, or other instruments evidencing
indebtedness or obligations of the Debtors that are specifically Reinstated or assumed pursuant to the Plan,
if any) will be released and discharged; provided, that, notwithstanding such cancellation, satisfaction,
release, and discharge, anything to the contrary contained in the Plan or the Combined Order, Confirmation,
or the occurrence of the Effective Date, any such document or instrument that governs the rights, claims,
or remedies of the Holder of a Claim or Interest will continue in effect solely for purposes of: (1) enabling
the Holder of such Claim or Interest to receive distributions on account of such Claim or Interest under the
Plan as provided therein; (2) allowing and preserving the rights of the Prepetition Agents, DIP Agents, and
Exit Facility Agents, as applicable, to make distributions as specified under the Plan on account of Allowed
Claims, as applicable, including allowing the Prepetition Agents, DIP Agents, and Exit Facility Agents, as
applicable, to submit invoices for any amount and enforce any obligation owed to them under the Plan to
the extent authorized or allowed by the applicable documents; (3) permitting the Reorganized Debtors and
any other Distribution Agent, as applicable, to make distributions on account of applicable Claims and
Interests, as applicable; (4) preserving the Prepetition Agents’, DIP Agents’, and Exit Facility Agents’, as
applicable, rights, if any, to compensation and indemnification as against any money or property
distributable to the Holders of Prepetition ABL Claims, Prepetition Term Loan Claims, and DIP Claims, as
applicable, including permitting the Prepetition Agents, DIP Agents, and Exit Facility Agents, as
applicable, to maintain, enforce, and exercise any priority of payment or charging liens against such
distributions each pursuant and subject to the terms of the Prepetition ABL Credit Agreement, Prepetition
Term Loan Credit Agreement, and DIP Credit Agreement, as applicable, as in effect on or immediately
before the Effective Date, (5) preserving all rights, remedies, indemnities, powers, and protections,
including rights of enforcement, of the Prepetition Agents, DIP Agents, and Exit Facility Agents, as
applicable, against any person other than a Released Party (which Released Parties include the Debtors,
Reorganized Debtors, and Non-Debtor Affiliates), and any exculpations of the Prepetition Agents, DIP
Agents, and Exit Facility Agents, as applicable; provided, that the Prepetition Agents, DIP Agents, and Exit
Facility Agents, will remain entitled to indemnification or contribution from the Holders of Prepetition
ABL Claims, Prepetition Term Loan Claims, and DIP Claims, each pursuant and subject to the terms of the
Prepetition ABL Credit Agreement, Prepetition Term Loan Credit Agreement, and DIP Credit Agreement,
as applicable, as in effect on the Effective Date, (6) permitting the Prepetition Agents, DIP Agents, and Exit
Facility Agents, as applicable, to enforce any obligation (if any) owed to them under the Plan, (7) permitting
the Prepetition Agents, DIP Agents, and Exit Facility Agents to appear in the Chapter 11 Cases or in any
proceeding in the Bankruptcy Court or any other court, and (8) permitting the Prepetition Agents, DIP
Agents, and Exit Facility Agents, to perform any functions that are necessary to effectuate the foregoing;
provided, however, that nothing in Article IV of the Plan will affect the discharge of Claims or Interests
pursuant to the Bankruptcy Code, the Combined Order, or the Plan, or (except as set forth in (5) above) the
releases of the Released Parties pursuant to Article IX of the Plan or result in any expense or liability to the
Debtors or Reorganized Debtors, as applicable, except as expressly provided for in the Plan. For the
avoidance of doubt, nothing in Article IV of the Plan will cause the Reorganized Debtors’ obligations under
the Exit Facilities Documents to be deemed satisfied in full, released, or discharged; provided, that
notwithstanding this sentence, the Prepetition ABL Claims, Prepetition Term Loan Claims, and DIP Claims
will be deemed satisfied in full, released, and discharged on the Effective Date. In furtherance of the
foregoing, as of the Effective Date, Holders of Prepetition ABL Claims, Prepetition Term Loan Claims,
and DIP Claims will be deemed to have released any such Claims against the Reorganized Debtors under
the Prepetition ABL Facility Documents, Prepetition Term Loan Documents, and DIP Facilities Documents
and are enjoined from pursuing any such claims against any of the Reorganized Debtors in respect of such
Prepetition ABL Claims, Prepetition Term Loan Claims, and DIP Claims.
         The Plan further provides that, on the Effective Date, the Prepetition Agents, the DIP Agents, and
each of their respective directors, officers, employees, agents, Affiliates, controlling persons, and legal and
financial advisors will be automatically and fully released and discharged from any further responsibility

                                                      34
       Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 45 of 569



under the Prepetition ABL Credit Agreement, Prepetition Term Loan Credit Agreement, and DIP Credit
Agreement, as applicable. The Prepetition Agents, DIP Agents, and each of their respective directors,
officers, employees, agents, Affiliates, controlling persons, and legal and financial advisors will be
discharged and will have no further obligation or liability except as provided in the Plan and the Combined
Order, and after the performance by the Prepetition Agents, DIP Agents, and their Representatives and
professionals of any obligations and duties required under or related to the Plan or the Combined Order, the
Prepetition Agents, DIP Agents, and each of their respective directors, officers, employees, agents,
Affiliates, controlling persons, and legal and financial advisors will be relieved of and released from any
obligations and duties arising thereunder. The fees, expenses, and costs of the Prepetition Agents and the
DIP Agents, including fees, expenses, and costs of each of their respective professionals incurred after the
Effective Date in connection with the Prepetition ABL Credit Agreement, Prepetition Term Loan Credit
Agreement, or DIP Credit Agreement, as applicable, and reasonable and documented fees, costs, and
expenses associated with effectuating distributions pursuant to the Plan, including the fees and expenses of
counsel, if any, will be paid in accordance with the terms of the Plan and the applicable Definitive
Documents.

Article IV.F (“Sources for Plan Distributions and Transfers of Funds Among Debtors”) provides that the
Debtors will fund Cash distributions under the Plan with Cash on hand, including Cash from operations,
and the proceeds of the DIP Facilities and Exit Facilities. The Debtors will make non-Cash distributions
as required under the Plan in the form of Exit Term Loans, Exit ABL Loans, and New Equity Interests.
Cash payments to be made pursuant to the Plan will be made by the Reorganized Debtors in accordance
with Article VI thereof. Subject to any applicable limitations set forth in any post-Effective Date agreement
(including the New Organizational Documents), the Reorganized Debtors will be entitled to transfer funds
between and among themselves as they determine to be necessary or appropriate to enable the Reorganized
Debtors to satisfy their obligations under the Plan. Except as set forth in the Plan, any changes in
intercompany account balances resulting from such transfers will be accounted for and settled in accordance
with the Debtors’ historical intercompany account settlement practices and will not violate the terms of the
Plan.
The Plan further provides that, from and after the Effective Date, the Reorganized Debtors, subject to any
applicable limitations set forth in any post-Effective Date agreement (including the New Organizational
Documents and the Exit Facilities Documents), will have the right and authority without further order of
the Bankruptcy Court to raise additional capital and obtain additional financing in accordance with, and
subject to, applicable law.
Article IV.K (“Release of Liens and Claims”) provides that, to the fullest extent provided under
section 1141(c) and other applicable provisions of the Bankruptcy Code, except as otherwise provided in
the Exit Prepetition ABL Credit Agreement (including with respect to the Prepetition ABL Facility and the
Prepetition ABL Loans), the Plan, the Combined Order, or any contract, instrument, release, or other
agreement or document entered into or delivered in connection with the Plan, on the Effective Date and
concurrently with the applicable distributions made pursuant to Article VI of the Plan, all Liens, Claims,
mortgages, deeds of trust, or other security interests against the assets or property of the Debtors or the
Estates will be fully released, canceled, terminated, extinguished, and discharged, in each case without
further notice to or order of the Bankruptcy Court, act, or action under applicable law, regulation, order, or
rule or the vote, consent, authorization, or approval of any Person or Entity; provided, that (1) the Liens
granted to the Prepetition Agents and the DIP Agents pursuant to the Prepetition ABL Credit Agreement,
Prepetition Term Loan Credit Agreement, and DIP Credit Agreement and (2) any and all Liens or security
securing the Debtors’ obligations under the Insurance Contracts, which, for avoidance of doubt, includes
grants of security interests in, without limitation, escrow accounts, deposit accounts, cash collateral, and
letters of credit issued for the benefit of Insurers, will remain in full force and effect solely to the extent
provided for in the Plan. The filing of the Combined Order with any federal, state, or local agency or
department will constitute good and sufficient evidence of, but will not be required to effect, the termination

                                                      35
       Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 46 of 569



of such Liens, Claims, and other interests to the extent provided in the immediately preceding sentence.
Any Person or Entity holding such Liens, Claims, or interests must, pursuant to section 1142 of the
Bankruptcy Code, promptly execute and deliver to the Reorganized Debtors such instruments of
termination, release, satisfaction, and/or assignment (in recordable form) as may be reasonably requested
by the Reorganized Debtors.
Article IV.L (“Exemption from Certain Taxes and Fees”) provides that, to the fullest extent permitted by
section 1146(a) of the Bankruptcy Code, any transfer (whether from a Debtor to a Reorganized Debtor or
to any other Person) of property under, pursuant to, in contemplation of, or in connection with the Plan
(including the Restructuring Transactions) pursuant to (1) the issuance, distribution, transfer, or exchange
of any debt, securities, or other interest in the Debtors or the Reorganized Debtors; (2) the creation,
modification, consolidation, termination, refinancing, or recording of any mortgage, deed of trust, or other
security interest, or the securing of additional indebtedness by such or other means; (3) the making,
assignment, or recording of any lease or sublease; (4) the grant of collateral security for any or all of the
Exit Facilities or other indebtedness; or (5) the making, delivery, or recording of any deed or other
instrument of transfer under, in furtherance of, or in connection with, the Plan, including, without limitation,
any deeds, bills of sale, assignments, or other instrument of transfer executed in connection with any
transaction arising out of, contemplated by, or in any way related to the Plan (including the Restructuring
Transactions), will not be subject to any document recording tax, stamp tax, conveyance fee, intangibles,
or similar tax, mortgage tax, real estate transfer tax, mortgage recording tax, Uniform Commercial Code
filing or recording fee, regulatory filing or recording fee, or other similar tax or governmental assessment,
and the appropriate U.S. federal, state or local governmental officials, agents, or filing or recording officers
(or any other Person with authority over any of the foregoing), wherever located and by whomever
appointed, will comply with the requirements of section 1146(a) of the Bankruptcy Code, and will forego
the collection of any such tax or governmental assessment and accept for filing and recordation any of the
foregoing instruments or other documents without the payment of any such tax, fee or governmental
assessment.

Article IV.N (“Preservation of Causes of Action”) provides that, in accordance with section 1123(b) of the
Bankruptcy Code, but subject to the releases and exculpation set forth in Article IV.N and in Article IX of
the Plan, all Causes of Action that a Debtor may hold against any Entity will vest in the applicable
Reorganized Debtor on the Effective Date, including each Cause of Action set forth in the schedule of
retained Causes of Action included in the Plan Supplement. Thereafter, the Reorganized Debtors will have
the exclusive right, authority, and discretion to determine and to initiate, file, prosecute, enforce, abandon,
settle, compromise, release, withdraw, or litigate to judgment any such Causes of Action, whether arising
before or after the Petition Date, and to decline to do any of the foregoing without the consent or approval
of any third party or further notice to or action, order, or approval of the Bankruptcy Court. No Entity may
rely on the absence of a specific reference in the Plan, the Plan Supplement, or the Disclosure
Statement to any specific Cause of Action as any indication that the Debtors or the Reorganized
Debtors will not pursue any and all available Causes of Action. The Plan further provides that, the
Debtors and the Reorganized Debtors expressly reserve all rights to prosecute any and all Causes of
Action against any Entity, except as otherwise expressly provided in the Plan, and, therefore, no
preclusion doctrine, including the doctrines of res judicata, collateral estoppel, issue preclusion, claim
preclusion, estoppel (judicial, equitable, or otherwise) or laches, will apply to any Cause of Action upon,
after, or as a consequence of the Confirmation or the occurrence of the Effective Date. In addition, the
Debtors and the Reorganized Debtors expressly reserve the right to pursue or adopt any claims alleged in
any lawsuit in which any of the Debtors are a plaintiff, defendant, or an interested party, against any Person
or Entity, including, without limitation, the plaintiffs or co-defendants in such lawsuits. For the avoidance
of doubt, in no instance will any Cause of Action preserved pursuant to Article IV.N of the Plan include
any Claim or Cause of Action released or exculpated under the Plan (including, without limitation, by the
Debtors).

                                                      36
       Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 47 of 569



Article IV.P (“Prepetition Intercreditor Agreement”) provides that, notwithstanding anything to the
contrary in the Plan, the treatment of, and distributions (including rights to adequate protection and
participation in the DIP Term Loan Facility) made to Holders of Prepetition Term Loan Claims will not be
subject to the Prepetition Intercreditor Agreement or the terms thereof (including any turnover and
disgorgement provisions), and the Prepetition Intercreditor Agreement will be deemed so amended to the
extent necessary to effectuate same.

Article IV.Q (“Effectuating Documents; Further Transactions”) provides that before, on, and after the
Effective Date, the Debtors and the Reorganized Debtors and the directors, managers, officers, authorized
persons, and members of the boards of directors or managers and directors or managers thereof, are
authorized to and may issue, execute, deliver, file, or record such contracts, securities, notes, instruments,
certificates, releases, and other agreements or documents and take such actions as may be necessary or
appropriate to effectuate, implement, and further evidence the terms and provisions of the Plan, the New
Organizational Documents, the Exit Facilities Documents, and any Securities issued pursuant to the Plan
in the name of and on behalf of the Reorganized Debtors, without the need for any approvals, authorizations,
actions, or consents except for those expressly required pursuant to the Plan or the Transaction Support
Agreement.

Article IV.R (“Authority of the Debtors”) provides that, effective on the Confirmation Date, the Debtors
will be empowered and authorized to take or cause to be taken, before the Effective Date, all actions
necessary or appropriate to achieve the Effective Date and enable the Reorganized Debtors to implement
effectively the provisions of the Plan, the Combined Order, the Definitive Documents, and the Restructuring
Transactions.

Article IV.S (“No Substantive Consolidation”) provides that the Plan is being proposed as a joint
chapter 11 plan of the Debtors for administrative purposes only and constitutes a separate chapter 11 plan
for each Debtor. The Plan is not premised upon the substantive consolidation of the Debtors with respect
to the Classes of Claims or Interests set forth therein.

Article IV.T (“Continuing Effectiveness of Final Orders”) provides that payment authorization granted to
the Debtors under any prior Final Order entered by the Bankruptcy Court will continue in effect after the
Effective Date. Accordingly, the Debtors or the Reorganized Debtors may pay or otherwise satisfy any
Claim to the extent permitted by, and subject to, the applicable Final Order without regard to the treatment
that would otherwise be applicable to such Claim under the Plan.

Article IV.U (“Modifications to Executory Contracts and Unexpired Leases”) provides that the Debtors,
with the consent of the Required Consenting Term Lenders, are authorized to enter into, and perform under,
amendments or modifications of any Executory Contracts or Unexpired Leases with the counterparty to
such Executory Contract or Unexpired Lease and pay any amounts due as a result of such amendment or
modification.

D.      Treatment of Executory Contracts and Unexpired Leases; Employee Benefits; and
        Insurance Policies

Article V of the Plan governs the treatment of the Debtors’ Executory Contracts and Unexpired Leases,
among other things.

Article V.A (“Assumption of Executory Contracts and Unexpired Leases”) provides that, on the Effective
Date, except as otherwise provided in the Plan, each of the Executory Contracts and Unexpired Leases not
previously rejected, assumed, or assumed and assigned pursuant to an order of the Bankruptcy Court will
be deemed assumed and amended (as necessary to implement the terms of the Restructuring Transactions),

                                                     37
       Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 48 of 569



as of the Effective Date pursuant to sections 365 and 1123 of the Bankruptcy Code except any Executory
Contract or Unexpired Lease (1) identified on the Rejected Executory Contract/Unexpired Lease List
(which will initially be filed with the Bankruptcy Court on the Plan Supplement Filing Date) as an
Executory Contract or Unexpired Lease to be rejected (if any), (2) that is the subject of a separate motion
or notice to reject pending as of the Effective Date, or (3) that previously expired or terminated pursuant to
its own terms (disregarding any terms the effect of which is invalidated by the Bankruptcy Code).

The Plan provides that, entry of the Combined Order by the Bankruptcy Court will constitute an order
approving the assumption of the Transaction Support Agreement pursuant to sections 365 and 1123 of the
Bankruptcy Code and effective on the occurrence of the Effective Date. The Transaction Support
Agreement will be binding and enforceable against the applicable parties thereto in accordance with its
terms. For the avoidance of doubt, the assumption of the Transaction Support Agreement will not otherwise
modify, alter, amend, or supersede any of the terms or conditions thereof including, without limitation, any
termination events or provisions thereunder.

In addition, entry of the Combined Order by the Bankruptcy Court will constitute an order approving the
assumption of the Executory Contracts and Unexpired Leases pursuant to sections 365(a) and 1123 of the
Bankruptcy Code, effective on the occurrence of the Effective Date. Each Executory Contract and
Unexpired Lease assumed pursuant to the Plan or by Bankruptcy Court order, and not assigned to a third
party on or before the Effective Date, will re-vest in and be fully enforceable by the applicable Reorganized
Debtor in accordance with its terms, except as such terms may have been modified by order of the
Bankruptcy Court.

The Plan further provides that, to the maximum extent permitted by law, unless otherwise provided therein,
the transactions contemplated by the Plan will not constitute a “change of control” or “assignment” (or
terms with similar effect) under any Executory Contract or Unexpired Lease assumed pursuant to the Plan,
or any other transaction, event, or matter that would (1) result in a violation, breach, or default under such
Executory Contract or Unexpired Lease, (2) increase, accelerate, or otherwise alter any obligations, rights,
or liabilities of the Debtors or the Reorganized Debtors under such Executory Contract or Unexpired Lease,
or (3) result in the creation or imposition of a Lien upon any property or asset of the Debtors or the
Reorganized Debtors pursuant to the applicable Executory Contract or Unexpired Lease. Any consent or
advance notice required under such Executory Contract or Unexpired Lease in connection with assumption
thereof (pursuant to the other provisions of Article V.A of the Plan) will be deemed satisfied by
Confirmation.

The Plan further provides that, notwithstanding anything to the contrary therein, but subject to the Consent
Rights described in Article I.C of the Plan, the Debtors reserve the right to amend or supplement the
Rejected Executory Contract/Unexpired Lease List in their discretion before the Effective Date and, after
the Effective Date, the Reorganized Debtors, will have the right to amend Rejected Executory
Contract/Unexpired Lease List; provided, that such right to amend will not apply to any Unexpired Lease
for nonresidential property; provided, further that the Debtors will give prompt notice of any such
amendment or supplement to any affected counterparty and such counterparty shall have no less than seven
(7) days to object thereto on any grounds.

The Plan further provides that the Rejected Executory Contract/Unexpired Lease List will be filed with the
Plan Supplement, provided that the Debtors may amend such list (including by adding or removing
contracts and leases therefrom) at any time prior to the Effective Date. Notwithstanding anything to the
contrary therein, with respect to any Unexpired Lease of nonresidential real property that is listed on the
Rejected Executory Contract/Unexpired Lease List, the effective date of the rejection of any such
Unexpired Lease will be the later of (1) the Effective Date and (2) the date upon which the Debtors notify
the landlord in writing (email being sufficient) that they have surrendered the premises to the landlord and

                                                     38
       Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 49 of 569



returned the keys, key codes, or security codes, as applicable. Any property remaining on the premises
subject to a rejected Unexpired Lease will be deemed abandoned by the Debtors or the Reorganized
Debtors, as applicable, as of the effective date of rejection, and the counterparty to such Unexpired Lease
will be authorized to use or dispose of any property left on the premises in its sole and absolute discretion
without notice or liability to the Debtors or the Reorganized Debtors, as applicable, or any third party.

Article V.B (“Payments on Assumed Executory Contracts and Unexpired Leases”) provides that any
monetary default under an Executory Contract or Unexpired Lease to be assumed pursuant to the Plan will
be satisfied, pursuant to section 365(b)(1) of the Bankruptcy Code, by payment of the default amount in
Cash in the ordinary course of business, subject to the limitation described below, or on such other terms
as the parties to such Executory Contract or Unexpired Lease may otherwise agree.

The Plan provides that, parties to Executory Contracts and Unexpired Leases assumed by the
Debtors pursuant to the Plan will not be required to File a Proof of Claim or objection to assert or
preserve any Cure Cost. Notwithstanding anything to the contrary in the Plan, all Cure Cost will be
Unimpaired by the Plan and all Cure Cost outstanding as of the Effective Date will remain continuing
obligations of the Reorganized Debtors following the Effective Date subject to all parties’ rights and
defenses with respect thereto.

In addition, any and all Proofs of Claim based upon Executory Contracts or Unexpired Leases that
have been assumed in the Chapter 11 Cases, including pursuant to the Combined Order, will be
deemed disallowed and expunged as of the Effective Date without the need for any objection thereto
or any further notice to or action, order, or approval of the Bankruptcy Court.

The Plan further provides that, in the event of a dispute regarding (1) the ability of the Reorganized Debtors
or any assignee to provide “adequate assurance of future performance” (within the meaning of section
365(b) of the Bankruptcy Code) under the Executory Contract or Unexpired Lease to be assumed, or (2) any
other matter pertaining to assumption, the Bankruptcy Court will hear such dispute before the assumption
becoming effective; provided, that the Debtors, with the consent of the Required Consenting Lenders, may
settle any such dispute and will pay any agreed upon Cure Cost without any further notice to any party or
any action, order, or approval. The cure payments required by section 365(b)(1) of the Bankruptcy Code
will be made following the entry of a Final Order(s) resolving the dispute and approving the assumption
and will not prevent or delay implementation of the Plan or the occurrence of the Effective Date.

Article V.C (“Claims Based on Rejection of Executory Contracts and Unexpired Leases”) provides that,
unless otherwise provided by a Bankruptcy Court order, any Proofs of Claim asserting Rejection Damages
Claims pursuant to the Plan or otherwise must be filed with the Notice and Claims Agent within thirty (30)
days of the later of (1) the effective date of the rejection of the applicable Executory Contract or Unexpired
Lease (which will be the Confirmation Date unless otherwise provided in an order of the Bankruptcy Court
providing for the rejection of an Executory Contract or Unexpired Lease); or (2) the Confirmation Date; or
(3) the date of the order authorizing the rejection of the applicable Executory Contract or Unexpired Lease.
The Plan further provides that, any Rejection Damages Claims that are not timely filed will be
automatically disallowed without further order of the Bankruptcy Court. All Allowed Rejection
Damages Claims will constitute General Unsecured Claims and will be treated in accordance with
Article III.B of the Plan.

The Plan further provides that, any Rejection Damages Claims for Executory Contracts or Unexpired
Leases that the Debtors, with the consent of the Required Consenting Term Lenders, elect to reject will be
paid in full on the Effective Date, subject to the applicable provisions of the Bankruptcy Code, including
sections 502(b)(6) and 510(b); provided, that such Claim is not a Subordinated Claim, in which case such
Claim shall be treated as a Subordinated Claim pursuant to the terms of the Plan.

                                                     39
       Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 50 of 569



Article V.D (“Contracts and Leases Entered into After the Petition Date”) provides that contracts and
leases entered into after the Petition Date by any Debtor, including any Executory Contracts and Unexpired
Leases assumed by any Debtor, will be performed by such Debtor or Reorganized Debtor, as applicable,
liable thereunder in the ordinary course of business. Accordingly, such contracts and leases (including any
Executory Contracts and Unexpired Leases assumed or assumed and assigned pursuant to section 365 of
the Bankruptcy Code) that have not been rejected as of the Confirmation Date will survive and remain
unaffected by entry of the Combined Order.

Article V.E (“Reservation of Rights”) is a reservation of the Debtors’ rights and provides that nothing
contained in the Plan will constitute an admission by the Debtors that any contract or lease is in fact an
Executory Contract or Unexpired Lease or that any Reorganized Debtor has any liability thereunder. If
there is a dispute regarding whether a contract or lease is or was executory or unexpired at the time of
assumption, the Debtors or Reorganized Debtors, as applicable, will have thirty (30) days following entry
of a Final Order resolving such dispute to alter their treatment of such contract or lease. If there is a dispute
regarding a Debtor’s or Reorganized Debtor’s liability under an assumed Executory Contract or Unexpired
Lease, the Reorganized Debtors will be authorized to move to have such dispute heard by the Bankruptcy
Court pursuant to Article X of the Plan.

Article V.G (“Other Insurance Contracts”) provides that, on the Effective Date, each of the Debtors’
Insurance Contracts in existence as of the Effective Date will be Reinstated and continued in accordance
with their terms and, to the extent applicable, will be deemed assumed by the applicable Reorganized Debtor
pursuant to section 365 of the Bankruptcy Code and Article V of the Plan. Nothing in the Plan will affect,
impair, or prejudice the rights of the insurance carriers, the insureds, or the Reorganized Debtors under the
Insurance Contracts in any manner, and such insurance carriers, the insureds, and Reorganized Debtors will
retain all rights and defenses under such Insurance Contracts. The Insurance Contracts will apply to and
be enforceable by and against the insureds and the Reorganized Debtors in the same manner and according
to the same terms and practices applicable to the Debtors, as existed before the Effective Date.

Article V.I (“Employee Compensation and Benefits”) concerns the Debtors’ Compensation and Benefit
Programs and the Debtors’ Workers’ Compensation Contracts.

Article V.I.1 provides that, subject to the provisions of the Plan, all Compensation and Benefits Programs
(other than awards of stock options, restricted stock, restricted stock units, and other equity awards) will be
treated as Executory Contracts under the Plan and deemed assumed on the Effective Date pursuant to the
provisions of sections 365 and 1123 of the Bankruptcy Code. All Proofs of Claim Filed for amounts due
under any Compensation and Benefits Program will be considered satisfied by the applicable agreement
and/or program and agreement to assume and cure in the ordinary course as provided in the Plan. All
collective bargaining agreements to which any Debtor is a party, and all Compensation and Benefits
Programs which are maintained pursuant to such collective bargaining agreements or to which contributions
are made or benefits provided pursuant to a current or past collective bargaining agreement, will be deemed
assumed on the Effective Date pursuant to the provisions of sections 365 and 1123 of the Bankruptcy Code
and the Reorganized Debtors reserve all of their rights under such agreements. For the avoidance of doubt,
the Debtors and Reorganized Debtors, as applicable, will honor all their obligations under section 1114 of
the Bankruptcy Code.

The Plan further provides that, none of the Restructuring Transactions, or any assumption of Compensation
and Benefits Programs pursuant to the terms of the Plan will be deemed to trigger any applicable change of
control, vesting, termination, acceleration, or similar provisions therein; provided, that the Assumed
Employee Agreements will be assumed and governed by the terms thereof. Subject to the preceding
sentence, the Plan provides that, no counterparty will have rights under a Compensation and Benefits
Program assumed pursuant to the Plan other than those applicable immediately before such assumption.

                                                       40
       Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 51 of 569



Article V.I.2 provides that, as of the Effective Date, except as set forth in the Plan Supplement, the Debtors
and the Reorganized Debtors will continue to honor their obligations under: (a) all applicable state workers’
compensation laws; and (b) the Workers’ Compensation Contracts. The Plan further provides that, all
Proofs of Claims filed by the Debtors’ current or former employees on account of workers’ compensation
will be deemed withdrawn automatically and without any further notice to or action, order, or approval of
the Bankruptcy Court based upon the treatment provided for therein; provided, that nothing in the Plan will
limit, diminish, or otherwise alter the Debtors’ or Reorganized Debtors’ defenses, Causes of Action, or
other rights under applicable non bankruptcy law with respect to the Workers’ Compensation Contracts;
provided, further, that nothing in the Plan will be deemed to impose any obligations on the Debtors in
addition to what is provided for under applicable non-bankruptcy law and/or the Workers’ Compensation
Contracts.

E.      Provisions Governing Distributions

Article VI of the Plan sets forth the mechanics by which Plan distributions will be made.

Article VI.D.1 (“Delivery of Distributions – Record Date for Distributions”) provides that on the
Distribution Record Date, the Claims Register will be closed and any party responsible for making
distributions will instead be authorized and entitled to recognize only those record Holders listed on the
Claims Register as of the close of business on the Distribution Record Date. The Distribution Record Date
will not apply to distributions in respect of Securities deposited with DTC, the Holders of which will receive
distributions, if any, in accordance with the customary exchange procedures of DTC or the Plan. For the
avoidance of doubt, in connection with a distribution through the facilities of DTC (if any), DTC will be
considered a single Holder for purposes of distributions.

Article VI.D.2 (“Delivery of Distributions – Delivery of Distributions in General”) provides that, except
as otherwise provided in the Plan, the Distribution Agent will make distributions to Holders of Allowed
Claims as of the Distribution Record Date, or, if applicable, to such Holder’s designee, as appropriate: (a)
at the address for each such Holder as indicated on the Debtors’ records as of the Distribution Record Date;
(b) to the signatory set forth on any Proof of Claim Filed by such Holder or other representative identified
therein (or at the last known addresses of such Holder if no Proof of Claim is Filed or if the Debtors have
not been notified in writing of a change of address); (c) at the addresses set forth in any written notices of
address changes delivered to the Reorganized Debtors or the applicable Distribution Agent, as appropriate,
after the date of any related Proof of Claim; or (d) on any counsel that has appeared in the Chapter 11 Cases
on the Holder’s behalf; provided, that the manner of such distributions will be determined at the discretion
of the Reorganized Debtors.

The Plan provides that, all distributions to Holders of DIP Claims will be made to the DIP Agents or the
Exit Prepetition Term Loan Agent, as applicable, and the DIP Agents or the Exit Prepetition Term Loan
Agent will be, and will act as, the Distribution Agent with respect to the DIP Claims in accordance with the
terms and conditions of the Plan and the applicable debt documents.

The Plan further provides that, all distributions to Holders of Prepetition Term Loan Claims will be made
to the Prepetition Term Loan Agent, and the Prepetition Term Loan Agent will be, and will act as, the
Distribution Agent with respect to the Prepetition Term Loan Claims in accordance with the terms and
conditions of the Plan and the applicable debt documents.

Article VI.D.3 (“Delivery of Distributions – Minimum Distributions”) provides that, notwithstanding any
provision in the Plan to the contrary, no Distribution Agent will be required to make distributions or
payments of less than $100 (whether in Cash or otherwise) with respect to Impaired Claims. No fractional
shares of New Equity Interests will be distributed and no Cash will be distributed in lieu of such fractional

                                                     41
       Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 52 of 569



amounts. When any distribution pursuant to the Plan on account of an Allowed Claim would otherwise
result in the issuance of a number of shares of New Equity Interests that is not a whole number, the actual
distribution of shares of New Equity Interests will be rounded as follows: (a) fractions of one-half (½) or
greater will be rounded to the next higher whole number and (b) fractions of less than one-half (½) will be
rounded to the next lower whole number with no further payment therefore. The total number of authorized
shares of New Equity Interests to be distributed under the Plan will be adjusted as necessary to account for
the foregoing rounding. For distribution purposes (including rounding), DTC will be treated as a single
Holder.

Article VI.D.4 (“Delivery of Distributions – Undeliverable Distributions”) provides that, in the event that
any distribution to any Holder of Allowed Claims is returned as undeliverable, no distribution to such
Holder will be made unless and until the Distribution Agent has determined the then-current address of
such Holder, at which time such distribution will be made to such Holder without interest; provided, that
such distributions will be deemed unclaimed property under section 347(b) of the Bankruptcy Code at the
expiration of one (1) year from the Effective Date. After such date, all unclaimed property or interests in
property will revert to the Reorganized Debtors automatically and without need for a further order by the
Bankruptcy Court (notwithstanding any applicable federal, provincial or state escheat, abandoned, or
unclaimed property laws to the contrary), and the Claim of any Holder of Claims to such property or interest
in property will be discharged and forever barred.

Article VI.K.1 (“Claims Paid or Payable by Third Parties – Claims Paid by Third Parties”) provides that
a Claim will be correspondingly reduced, and the applicable portion of such Claim will be disallowed
without an objection to such Claim having to be Filed and without any further notice to or action, order, or
approval of the Bankruptcy Court, to the extent that the Holder of such Claim receives a payment on account
of such Claim from a party that is not a Debtor or Reorganized Debtor. To the extent a Holder of a Claim
receives a distribution on account of such Claim and receives payment from a party that is not a Debtor or
a Reorganized Debtor on account of such Claim, such Holder must, within fourteen (14) days of receipt
thereof, repay or return the distribution to the Reorganized Debtors to the extent the Holder’s total recovery
on account of such Claim from the third party and under the Plan exceeds the amount of such Claim as of
the date of any such distribution under the Plan. The failure of such Holder to timely repay or return such
distribution will result in the Holder owing the Reorganized Debtors annualized interest at the Federal
Judgment Rate on such amount owed for each Business Day after the fourteen (14)-day grace period
specified above until the amount is repaid.

Article VI.K.2 (“Claims Paid or Payable by Third Parties – Claims Payable by Insurers”) provides that
no distributions under the Plan will be made on account of an Allowed Claim that is payable pursuant to
one of the Debtors’ Insurance Contracts until the Holder of such Allowed Claim has exhausted all remedies
with respect to such Insurance Contract. To the extent that one or more of the Insurers agrees to satisfy in
full or in part a Claim (if and to the extent adjudicated by a court of competent jurisdiction), then
immediately upon such Insurers’ agreement, the applicable portion of such Claim may be expunged without
a Claim objection having to be Filed and without any further notice to or action, order, or approval of the
Bankruptcy Court.

Article VI.K.3 (“Claims Paid or Payable by Third Parties – Insurance Contracts”) provides that, except
as otherwise provided in the Plan, distributions to Holders of Allowed Claims will be in accordance with
the provisions of any applicable Insurance Contract. Notwithstanding anything to the contrary therein,
nothing contained in the Plan will constitute or be deemed a release, settlement, satisfaction, compromise,
or waiver of any Cause of Action that the Debtors or any other Entity may hold against any other Entity,
including Insurers, under any Insurance Contracts or applicable indemnity, nor will anything contained
therein constitute or be deemed a waiver by such Insurers of any defenses, including coverage defenses,
held by such Insurers.

                                                     42
       Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 53 of 569



Finally, as set forth more fully in the Plan, Article VI of the Plan provides, among other things, that (a) to
the extent applicable, the Reorganized Debtors will comply with all tax withholding and reporting
requirements, and all distributions pursuant to the Plan will be subject to such requirements (VI.E);
(b) except as otherwise provided in the Plan, Insurance Contracts will continue to be applicable as set forth
in greater detail in the Plan (VI.F); (c) except as otherwise required by law, distributions with respect to an
Allowed Claim will be allocated first to the principal portion of such Allowed Claim (as determined for
United States federal income tax purposes) and, thereafter, to the remaining portion of such Allowed Claim,
if any (VI.G); (d) unless otherwise specifically provided for in the Plan, any other Definitive Document,
the Combined Order, or any other Final Order of the Bankruptcy Court, or required by applicable
bankruptcy law (including, without limitation, as required pursuant to section 506(b) or section 511 of the
Bankruptcy Code), postpetition interest will not accrue or be paid on any Claims and no Holder of a Claim
or Interest will be entitled to interest accruing on or after the Petition Date on any Claim (VI.H); and
(e) payments of Cash made pursuant to the Plan will be in United States dollars and will be made, at the
option of the Debtors or the Reorganized Debtors (as applicable), by checks drawn on, or wire transfer
from, a domestic bank selected by the Debtors or the Reorganized Debtors. Cash payments to foreign
creditors may be made, at the option of the Debtors or the Reorganized Debtors, in such funds and by such
means as are necessary or customary in a particular foreign jurisdiction (VI.I); and except as otherwise
provided in the Plan, each Reorganized Debtor, pursuant to the Bankruptcy Code (including section 553 of
the Bankruptcy Code) or applicable bankruptcy or non-bankruptcy law, or as may be agreed by the Holder
of an Allowed Claim, may set off or recoup against any Allowed Claim and the distributions to be made
pursuant to the Plan on account of such Allowed Claim, any Claims, rights, and Causes of Action of any
nature that the applicable Debtor or Reorganized Debtor may hold against the Holder of such Allowed
Claim, to the extent such Claims, rights, or Causes of Action have not been otherwise compromised, settled,
or assigned on or prior to the Effective Date (whether pursuant to the Plan, a Final Order or otherwise);
provided, that neither the failure to effect such a setoff or recoupment nor the allowance of any Claim
pursuant to the Plan will constitute a waiver or release by such Reorganized Debtor of any such Claims,
rights, and Causes of Action (VI.J).

F.      Procedures for Resolving Disputed, Contingent, and Unliquidated Claims or Interests

Article VII.A (“No Filings of Proofs of Claim”) provides that, except as otherwise provided in the Plan,
Holders of Claims will not be required to File a Proof of Claim, and except as provided in the Plan, no
parties should File a Proof of Claim. The Debtors do not intend to object in the Bankruptcy Court to the
allowance of Claims Filed; provided, that the Debtors and the Reorganized Debtors, as applicable, reserve
the right to object to any Claim that is entitled, or deemed to be entitled, to a distribution under the Plan or
is rendered Unimpaired under the Plan. Instead, the Debtors intend to make distributions, as required by
the Plan, in accordance with the books and records of the Debtors. Unless disputed by a Holder of a Claim,
the amount set forth in the books and records of the Debtors will constitute the amount of the Allowed
Claim of such Holder, except that (unless expressly waived pursuant to the Plan) the Allowed amount of
such Claim will be subject to the limitations or maximum amounts permitted by the Bankruptcy Code,
including sections 502 and 503 of the Bankruptcy Code, to the extent applicable. If any such Holder of a
Claim disagrees with the Debtors’ books and records with respect to the Allowed amount of such Holder’s
Claim, such Holder must so advise the Debtors in writing within thirty (30) days of receipt of any
distribution on account of such Holder’s Claim, in which event the Claim will become a Disputed Claim.
The Debtors intend to attempt to resolve any such disputes consensually or through judicial means outside
the Bankruptcy Court. Nevertheless, the Debtors may, in their discretion, File with the Bankruptcy Court
(or any other court of competent jurisdiction) an objection to the allowance of any Claim or any other
appropriate motion or adversary proceeding with respect thereto. All such objections will be litigated to
Final Order; provided, that the Debtors may compromise, settle, withdraw, or resolve by any other method
approved by the Bankruptcy Court any objections to Claims.


                                                      43
       Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 54 of 569



The Plan further provides that all Proofs of Claim, other than Rejection Damages Claims, Filed in the
Chapter 11 Cases will be considered objected to and Disputed without further action by the Debtors. Upon
the Effective Date, all Proofs of Claim, other than Rejection Damages Claims, Filed against the Debtors,
regardless of the time of filing, and including Proofs of Claim, other than Rejection Damages Claims, Filed
after the Effective Date, will be deemed withdrawn and expunged, other than as provided below.
Notwithstanding anything in the Plan to the contrary, disputes regarding the amount of any Cure Cost
pursuant to section 365 of the Bankruptcy Code and Claims that the Debtors seek to have determined by
the Bankruptcy Court, will in all cases be determined by the Bankruptcy Court. Except as otherwise
provided therein, all Proofs of Claim, other than Rejection Damages Claims, Filed after the Effective
Date will be disallowed and forever barred, estopped, and enjoined from assertion, and will not be
enforceable against any Reorganized Debtor, without the need for any objection by the Reorganized
Debtors or any further notice to or action, order, or approval of the Bankruptcy Court.

Article VII.B (“Allowance and Disallowance of Claims”) provides that, after the Effective Date, and except
as otherwise provided in the Plan, the Reorganized Debtors will have and will retain any and all available
rights and defenses that the Debtors had with respect to any Claim immediately before the Effective Date,
including, without limitation, the right to assert any objection to Claims based on the limitations imposed
by section 502 of the Bankruptcy Code. The Debtors and the Reorganized Debtors may, but will not be
required to, contest the amount and validity of any Disputed Claim or contingent or unliquidated Claim in
the ordinary course of business in the manner and venue in which such Claim would have been determined,
resolved or adjudicated if the Chapter 11 Cases had not been commenced.

All Claims and Interests of any Entity from which property is sought by the Debtors under sections 542,
543, 550, or 553 of the Bankruptcy Code or that the Debtors or the Reorganized Debtors allege is a
transferee of a transfer that is avoidable under sections 522(f), 522(h), 544, 545, 547, 548, 549, or 724(a)
of the Bankruptcy Code will be disallowed if: (1) the Entity, on the one hand, and the Debtors or the
Reorganized Debtors, as applicable, on the other hand, agree or the Bankruptcy Court has determined by
Final Order that such Entity or transferee is liable to turn over any property or monies under any of the
aforementioned sections of the Bankruptcy Code; and (2) such Entity or transferee has failed to turn over
such property by the date set forth in such agreement or Final Order.

Article VII.C (“Claims Administration Responsibilities”) provides that except as otherwise specifically
provided in the Plan, after the Effective Date, the Reorganized Debtors will have the sole authority: (1) to
File, withdraw, or litigate to judgment, objections to Claims or Interests; (2) to settle or compromise any
Disputed Claim or Interest without any further notice to or action, order, or approval by the Bankruptcy
Court; and (3) to administer and adjust the Claims Register to reflect any such settlements or compromises
without any further notice to or action, order, or approval by the Bankruptcy Court. For the avoidance of
doubt, except as otherwise provided in the Plan, from and after the Effective Date, each Reorganized Debtor
will have and retain any and all rights and defenses such Debtor had immediately before the Effective Date
with respect to any Disputed Claim or Interest, including the Causes of Action retained pursuant to the Plan.
Any objections to Claims and Interests other than General Unsecured Claims must be served and
Filed on or before the 120th day after the Effective Date or by such later date as ordered by the
Bankruptcy Court. All Claims and Interests other than General Unsecured Claims not objected to
by the end of such 120-day period will be deemed Allowed unless such period is extended upon
approval of the Bankruptcy Court.

Any objections to Rejection Damages Claims must be served and Filed on or before the 120th day
after the Effective Date or by such later date as ordered by the Bankruptcy Court. All Rejection
Damages Claims not objected to by the end of such 120-day period will be deemed Allowed unless
such period is extended upon approval of the Bankruptcy Court.


                                                     44
       Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 55 of 569



The Plan further provides that, notwithstanding the foregoing, the Debtors and Reorganized Debtors will
be entitled to dispute and/or otherwise object to any General Unsecured Claim in accordance with
applicable non-bankruptcy law. If the Debtors or Reorganized Debtors dispute any General Unsecured
Claim, such dispute will be determined, resolved, or adjudicated, as the case may be, in the manner as if
the Chapter 11 Cases had not been commenced; provided, that any disputes regarding the Allowance of a
Rejection Damages Claim will be determined by the Bankruptcy Court. In any action or proceeding to
determine the existence, validity, or amount of any General Unsecured Claim, any and all claims or defenses
that could have been asserted by the applicable Debtor(s) or the Entity holding such General Unsecured
Claim will be preserved as if the Chapter 11 Cases had not been commenced.

Article VII.D (“Adjustments to Claims or Interests Without Objection”) provides that any duplicate Claim
or Interest or any Claim or Interest that has been paid, satisfied, amended, or superseded may be adjusted
or expunged on the Claims Register by the Reorganized Debtors without the Reorganized Debtors having
to File an application, motion, complaint, objection, or any other legal proceeding seeking to object to such
Claim or Interest and without any further notice to or action, order, or approval of the Bankruptcy Court.

Article VII.E (“Distributions After Allowance”) provides that to the extent that a Disputed Claim ultimately
becomes an Allowed Claim, distributions (if any) will be made to the Holder of such Allowed Claim in
accordance with the provisions of the Plan. As soon as reasonably practicable after the date that the order
or judgment of the Bankruptcy Court allowing any Disputed Claim becomes a Final Order, the Reorganized
Debtors will provide to the Holder of such Claim the distribution (if any) to which such Holder is entitled
under the Plan as of the Effective Date, without any postpetition interest to be paid on account of such
Claim.

G.      Conditions Precedent to the Effective Date

Article VIII of the Plan sets forth the conditions precedent to the Effective Date, and related matters. The
conditions precedent set forth at Article VIII.A of the Plan (“Conditions Precedent to the Effective Date”)
include:

        1.      The Transaction Support Agreement must be in full force and effect, no termination event
                or event that would give rise to a termination event under the Transaction Support
                Agreement upon the expiration of any applicable grace period must have occurred and
                remain occurring, and the Transaction Support Agreement must not have been validly
                terminated before the Effective Date.

        2.      The DIP Facilities and all DIP Facilities Documents must be in full force and effect, no
                event of default or event that would give rise to an event of default under the DIP Facilities
                Documents upon the expiration of the applicable grace period must have occurred and
                remain occurring, and the DIP Term Loan Facility must not have been validly terminated
                before the Effective Date.

        3.      Any non-technical and/or immaterial amendments, modifications or supplements to the
                Plan have been consented to by the Debtors and the Required Consenting Term Lenders.

        4.      All of the actions set forth in the Restructuring Transaction Steps Memorandum that are
                contemplated therein to be completed and implemented on or prior to the Effective Date,
                as applicable, must have been completed and implemented in accordance with the terms
                thereof.




                                                     45
Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 56 of 569



5.    The Bankruptcy Court must have entered the Final DIP/Cash Collateral Order, and such
      order must be in a Final Order and shall remain in full force and effect.

6.    The final version of the Plan Supplement must have been filed and all of the schedules,
      documents, and exhibits contained therein must be consistent in all material respects with
      the Transaction Support Agreement, the Transaction Term Sheet, the DIP & Exit ABL
      Commitment Letter, and the Plan.

7.    The Bankruptcy Court must have entered the Combined Order, which must be in form and
      substance acceptable to the Required Consenting Term Lenders and Debtors and consistent
      in all material respects with the Transaction Term Sheet and the Transaction Support
      Agreement and must not be subject to a stay, and the Plan must not have been amended,
      altered, or modified from the Plan as confirmed by the Combined Order in any material
      respect, unless such material amendment, alteration, or modification has been made in
      accordance with the Plan and must:

      a.      authorize the Debtors to take all actions necessary to enter into, implement, and
              consummate the contracts, instruments, releases, leases, indentures, and other
              agreements or documents created in connection with the Plan;

      b.      be in form and substantive acceptable to the Required DIP Term Lenders;

      c.      authorize the assumption, assumption and assignment, and/or rejection of the
              Executory Contracts and Unexpired Leases by the Debtors as contemplated in the
              Plan and the Plan Supplement;

      d.      decree that the provisions in the Combined Order and the Plan are nonseverable
              and mutually dependent;

      e.      authorize the Debtors to: (i) implement the Restructuring Transactions;
              (ii) distribute the New Equity Interests pursuant to the exemption from registration
              under the Securities Act provided by section 1145 of the Bankruptcy Code or other
              exemption from such registration or pursuant to one or more registration
              statements; (iii) make all distributions and issuances as required under the Plan
              consistent with the Transaction Term Sheet, including the New Equity Interests;
              and (iv) enter into any agreements, transactions, and sales of property as
              contemplated by the Plan and the Plan Supplement, including the Management
              Incentive Plan;

      f.      authorize the implementation of the Plan in accordance with its terms; and

      g.      provide that, pursuant to section 1146 of the Bankruptcy Code, the assignment or
              surrender of any lease or sublease, and the delivery of any deed or other instrument
              or transfer order, in furtherance of, or in connection with the Plan, including any
              deeds, bills of sale, or assignments executed in connection with any disposition or
              transfer of assets contemplated under the Plan, will not be subject to any stamp,
              real estate transfer, mortgage recording, or other similar tax.

8.    Each document or agreement necessary to effectuate the Plan, including all Definitive
      Documents, must have been executed and/or effectuated, must be in form and substance
      acceptable to the Required Consenting Term Lenders and Company Parties, and must be

                                         46
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 57 of 569



              consistent with the Transaction Support Agreement or the DIP & Exit ABL Commitment
              Letter, as applicable, including the consent rights provided therein, and any conditions
              precedent related thereto or contained therein must have been satisfied prior to or
              contemporaneously with the occurrence of the Effective Date or otherwise waived in
              accordance with the terms of the applicable Definitive Documents.

       9.     The Debtors must have obtained all authorizations, consents, regulatory approvals, rulings,
              or documents that are necessary to implement and effectuate the Restructuring
              Transactions, and all applicable regulatory or government imposed waiting periods must
              have expired or been terminated.

       10.    All governmental and third-party approvals and consents that may be necessary in
              connection with the Restructuring Transactions must have been obtained, not be subject to
              unfulfilled conditions, and be in full force and effect, and all applicable waiting periods
              must have expired without any action being taken or threatened by any competent authority
              that would restrain, prevent, or otherwise impose materially adverse conditions on the
              Restructuring Transactions.

       11.    No court of competent jurisdiction or other competent governmental or regulatory authority
              must have issued any order making illegal or otherwise restricting, limiting, preventing, or
              prohibiting the consummation of any of the Restructuring Transactions.

       12.    The Debtors must have paid in full all professional fees and expenses of the Retained
              Professionals that require the Bankruptcy Court’s approval, or amounts sufficient to pay
              such fees and expenses after the Effective Date must have been placed in the Professional
              Fee Escrow Account pending the Bankruptcy Court’s approval of such fees and expenses.

       13.    The Restructuring Fees and Expenses must have been paid in full in Cash (subject to any
              order of the Bankruptcy Court).

       14.    The restructuring to be implemented on the Effective Date must be consistent with the Plan,
              the Transaction Support Agreement, and the DIP & Exit ABL Commitment Letter.

       15.    There must not have been instituted or threatened or be pending any material action,
              proceeding, application, claim, counterclaim, or investigation (whether formal or informal)
              (or there must not have been any material adverse development to any action, application,
              claim, counterclaim, or proceeding currently instituted, threatened, or pending) before or
              by any court, governmental, regulatory or administrative agency or instrumentality,
              domestic or foreign, or by any other person, domestic or foreign, in connection with the
              Restructuring Transactions that, in the reasonable judgment of the Debtors and the
              Required Consenting Term Lenders would prohibit, prevent, or restrict consummation of
              the Restructuring Transactions in a materially adverse manner.

Following the satisfaction or waiver of the foregoing, concurrently with or immediately following
effectiveness of the Plan on the Effective Date:

       1.     The Existing Equity Interests must have been canceled and the New Equity Interests must
              have been issued by Reorganized Parent and distributed in accordance with the terms of
              the Plan.

       2.     The New Equity Interests to be issued and/or delivered on the Effective Date (as set forth
              in the Plan) must have been validly issued by Reorganized Parent, must be fully paid and

                                                  47
       Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 58 of 569



                non-assessable, and must be free and clear of all taxes, Liens and other encumbrances, pre-
                emptive rights, rights of first refusal, subscription rights and similar rights, except for any
                restrictions on transfer as may be imposed by (i) applicable securities laws and (ii) the New
                Organizational Documents of Reorganized Parent.

        3.      All conditions precedent to the effectiveness of the Exit Facilities and all other financing
                agreements and arrangements contemplated hereunder, as applicable, must be or have
                been, as applicable, funded and closed and be in full force and effect.

        4.      The Releases set forth in the Plan must be in full force and effect.

        5.      The Debtors must have paid in full to the relevant Persons all payments and fees provided
                for in the Transaction Support Agreement, the Transaction Term Sheet, and applicable
                Definitive Documents that are payable on, before, or in connection with the occurrence of
                the Effective Date.

Immediately following effectiveness of the Plan, the Reorganized Debtors will complete the termination of
registration of all Securities under sections 13 and 15(d) of the Securities Exchange Act of 1934 (the
“Exchange Act”) such that the Reorganized Debtors will be a private company as soon as reasonably
practicable after the Effective Date.

Article VIII.B (“Waiver of Conditions”) provides that, subject to section 1127 of the Bankruptcy Code, the
conditions to Confirmation and consummation of the Plan set forth in Article VIII of the Plan may be
waived by the Debtors, with the consent of the Consenting Lenders, without notice, leave, or order of the
Bankruptcy Court or any formal action other than proceeding to confirm or consummate the Plan. The
failure of the Debtors or Reorganized Debtors to exercise any of the foregoing rights will not be deemed a
waiver of any other rights, and each right will be deemed an ongoing right that may be asserted at any time.

Article VIII.C (“Effect of Non-Occurrence of Conditions to the Effective Date”) addresses the effect of
non-occurrence of the Effective Date. It provides that if the Confirmation of the Plan or the Effective Date
does not occur with respect to one or more of the Debtors on or before the termination of the Transaction
Support Agreement, then the Plan will, with respect to such applicable Debtor or Debtors, be null and void
in all respects and nothing contained in the Plan or the Disclosure Statement will: (1) constitute a waiver
or release of any claims by or Claims against or Interests in the Debtors; (2) prejudice in any manner the
rights of the Debtors, any Holders, or any other Person or Entity; (3) constitute an allowance of any Claim
or Interest; or (4) constitute an admission, acknowledgment, offer, or undertaking by the Debtors, any
Holders, or any other Person or Entity in any respect.

Article VIII.D (“Substantial Consummation”) provides that “Substantial consummation” of the Plan, as
defined in section 1102(2) of the Bankruptcy Code, will be deemed to occur on the Effective Date.

H.      Discharge, Release, Injunction, and Related Provisions

Article IX of the Plan addresses releases, injunctions, exculpatory provisions and related provisions as
follows: Discharge of Claims and Termination of Interests (IX.A); Releases by the Debtors (IX.B);
Releases by Holders of Claims and Interests (IX.C); Exculpation (IX.D); and Permanent Injunction (IX.E).

Article IX.C of the Plan contains a Third-Party Release by all Releasing Parties. Pursuant to
Article IX.C of the Plan, the following are deemed to grant a Third-Party Release: (a) each Non-
Debtor Affiliate; (b) each of the Debtors’ and Non-Debtor Affiliates’ current and former directors,
officers, and proxyholders; (c) each Consenting Stakeholder; (d) each Prepetition Agents; (e) each
DIP Agent; (f) each DIP Term Loan Lender; (g) each Exit Facility Agent; (h) each lender under the

                                                     48
       Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 59 of 569



Exit Facilities; (i) each Holder of a Claim or Interest in a Class that does not affirmatively elect to
opt out of the Releases contained in the Plan or that does not (a) timely file with the Bankruptcy
Court on the docket of the Chapter 11 Cases an objection to the Third-Party Release that is not
withdrawn or resolved before Confirmation or (b) provide to the Debtors by electronic mail an
informal objection and such objection is not withdrawn or resolved before Confirmation; and (j)
each Related Party of each Entity in clauses (a) through (i); provided, that, for the avoidance of doubt,
any opt-out election made by a Consenting Stakeholder shall be void ab initio.

        1.       Definitions Relating to Releases

The following definitions are important to understanding the scope of the releases being given under the
Plan:

“Exculpated Party” means, each in its capacity as such, (a) each of the Debtors and (b) solely to the extent
they are Estate fiduciaries, the Debtors’ Related Parties.

“Released Party” means, collectively, each of, and in each case in its capacity as such: (a) each
Debtor; (b) each Reorganized Debtor; (c) each Non-Debtor Affiliate; (d) each of the Debtors’ and Non-
Debtor Affiliates’ current and former directors, officers, and proxyholders; (e) each Consenting
Stakeholder; (f) each Prepetition Agent; (g) each DIP Agent; (h) each DIP Term Loan Lender; (i) each Exit
Facility Agent; (j) each lender under the Exit Facilities; (k) each Releasing Party; and (l) each Related Party
of each Entity in clauses (a) through (k); provided, that, in each case, an Entity shall not be a Released Party
if it (a) elects to opt out of the Third-Party Release as provided on its respective Release Opt-Out Form,
(b) timely Files with the Bankruptcy Court on the docket of the Chapter 11 Cases an objection to the Third-
Party Release that is not withdrawn or resolved before Confirmation or (c) provides to the Debtors by
electronic mail an informal objection and such objection is not withdrawn or resolved before Confirmation;
provided, further, that, for the avoidance of doubt, any opt-out election made by a Consenting Stakeholder
shall be void ab initio.

“Releasing Parties” means, collectively, each of, and in each case in its capacity as such: (a) each Non-
Debtor Affiliate; (b) each of the Debtors’ and Non-Debtor Affiliates’ current and former directors, officers,
and proxyholders; (c) each Consenting Stakeholder; (d) each Prepetition Agents; (e) each DIP Agent; (f)
each DIP Term Loan Lender; (g) each Exit Facility Agent; (h) each lender under the Exit Facilities; (i) each
Holder of a Claim or Interest in a Class that does not affirmatively elect to opt out of the Releases contained
in this Plan or that does not (a) timely file with the Bankruptcy Court on the docket of the Chapter 11 Cases
an objection to the Third-Party Release that is not withdrawn or resolved before Confirmation or (b) provide
to the Debtors by electronic mail an informal objection and such objection is not withdrawn or resolved
before Confirmation; and (j) each Related Party of each Entity in clauses (a) through (i); provided, that, for
the avoidance of doubt, any opt-out election made by a Consenting Stakeholder shall be void ab initio.

        2.       Releases, Exculpation and Injunction

                 a. Releases by the Debtors (IX.B)

To the fullest extent permitted by applicable law and approved by the Bankruptcy Court, and except
as otherwise expressly set forth in this Plan or the Combined Order, pursuant to section 1123(b) of
the Bankruptcy Code, as of the Effective Date, in exchange for good and valuable consideration, the
adequacy of which is hereby confirmed, each Released Party, in each case on behalf of itself and its
respective successors, assigns, and Representatives, and any and all other Entities who may purport
to assert any Claim or Cause of Action, directly or derivatively, by, through, for, or because of the
foregoing Entities, is and is deemed to be, forever and unconditionally released, and absolved by each

                                                      49
       Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 60 of 569



Debtor, Reorganized Debtor, and the Estates from any and all Claims and Causes of Action, whether
known or unknown, including any derivative claims asserted or assertable on behalf of the Debtors,
the Estates, or the Reorganized Debtors that such Entity would have been legally entitled to assert in
its own right (whether individually or collectively) or on behalf of the Holder of any Claim against,
or Interest in, a Debtor or other Entity, based on or relating to, or in any manner arising from, in
whole or in part, (1) the management, ownership, or operation of the Debtors or the Non-Debtor
Affiliates, (2) the purchase, sale, or rescission of any security of the Debtors or the Non-Debtor
Affiliates, (3) the subject matter of, or the transactions, events, circumstances, acts or omissions
giving rise to, any Claim or Interest that is treated in the Restructuring Transactions, including the
negotiation, formulation, or preparation of the Restructuring Transactions, (4) the business or
contractual arrangements between any Debtor or Non-Debtor Affiliate and any other Entity, (5) the
Debtors’ and Non-Debtor Affiliates’ in- or out-of-court restructuring efforts, (6) intercompany
transactions, (7) the formulation, preparation, dissemination, negotiation, filing, or consummation of
this Plan, the Disclosure Statement, the Transaction Support Agreement, the Definitive Documents,
the Prepetition ABL Facility Documents, the Prepetition Term Loan Documents, the DIP Facilities
Documents, the Exit Facilities Documents (and any financing permitted thereunder), the Chapter 11
Cases, or any Restructuring Transaction, (8) any contract, instrument, release, or other agreement
or document created or entered into in connection with this Plan, the Disclosure Statement, the
Transaction Support Agreement, the Definitive Documents, the Prepetition ABL Facility Documents,
the Prepetition Term Loan Documents, the DIP Facilities Documents, the Exit Facilities Documents
(and any financing permitted thereunder), the Chapter 11 Cases, the pursuit of Confirmation of this
Plan, the administration and implementation of the Plan, or the Restructuring Transactions,
including the issuance or distribution of Securities pursuant to this Plan, (9) the distribution,
including any disbursements made by a Distribution Agent, of property under this Plan or any other
related agreement, or (10) any other act or omission, transaction, agreement, event, or other
occurrence related to any of the foregoing and taking place on or before the Effective Date; provided,
that the Debtors do not release Claims or Causes of Action (1) that are of a commercial nature and
arising in the ordinary course of business, such as accounts receivable and accounts payable on
account of goods and services being performed or (2) arising out of, or related to, any act or omission
of a Released Party that is determined by Final Order of the Bankruptcy Court or any other court
of competent jurisdiction to have constituted actual fraud, gross negligence, or willful misconduct (it
being agreed that any Released Parties’ consideration, approval, or receipt of any distribution did
not arise from or relate to actual fraud (but not, for the avoidance of doubt, fraudulent transfers),
gross negligence, or willful misconduct). Notwithstanding anything to the contrary in the foregoing,
the Releases set forth above do not release (1) any obligations of any Person or Entity under this Plan,
the Combined Order, any other Definitive Document, any Restructuring Transaction, any document,
instrument, or agreement (including those set forth in the Plan Supplement) executed to implement
this Plan, or any agreement, Claim, or obligation arising or assumed under this Plan or (2) any
Causes of Action specifically retained by the Debtors pursuant to the Schedule of Retained Causes of
Action.

Entry of the Combined Order shall constitute the Bankruptcy Court’s approval, pursuant to
Bankruptcy Rule 9019, of the Debtor Release, which includes by reference each of the related
provisions and definitions contained in this Plan, and further, shall constitute the Bankruptcy
Court’s finding that the Debtor Release is: (1) in exchange for the good and valuable consideration
provided by each of the Released Parties, including the Released Parties’ substantial contributions
to facilitating the Restructuring Transactions and implementing this Plan; (2) a good-faith settlement
and compromise of the Claims released by the Debtor Release; (3) in the best interests of the Debtors
and all Holders of Claims and Interests; (4) fair, equitable, and reasonable; (5) given and made after
due notice and opportunity for hearing; and (6) a bar to any of the Debtors, the Reorganized Debtors,


                                                  50
       Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 61 of 569



or the Debtors’ Estates asserting any Claim or Cause of Action released pursuant to the Debtor
Release.
              b. Releases by Holders of Claims or Interests (IX.C)

To the extent permitted by applicable law and approved by the Bankruptcy Court, and except as
otherwise expressly set forth in this Plan or the Combined Order, as of the Effective Date, in exchange
for good and valuable consideration, the adequacy of which is hereby confirmed, each Releasing
Party, in each case on behalf of itself and its respective successors, assigns, and Representatives, and
any and all other Entities who may purport to assert any Claim or Cause of Action, directly or
derivatively, by, through, for, or because of the foregoing Entities, has and is deemed to have, forever
and unconditionally, released, and absolved each Released Party from any and all Claims and Causes
of Action, whether known or unknown, including any derivative claims asserted or assertable on
behalf of the Debtors, the Estates, or the Reorganized Debtors that such Entity would have been
legally entitled to assert in its own right (whether individually or collectively) or on behalf of the
Holder of any Claim against, or Interest in, a Debtor, based on or relating to, or in any manner arising
from, in whole or in part, (1) the management, ownership, or operation of the Debtors or the Non-
Debtor Affiliates, (2) the purchase, sale, or rescission of any Security of the Debtors or the Non-
Debtor Affiliates, (3) the subject matter of, or the transactions, events, circumstances, acts or
omissions giving rise to, any Claim or Interest that is treated in the Restructuring Transactions,
including the negotiation, formulation, or preparation of the Restructuring Transactions, (4) the
business or contractual arrangements between any Debtor or Non-Debtor Affiliate and any other
Entity, (5) the Debtors’ and Non-Debtor Affiliates’ in- or out-of-court restructuring efforts,
(6) intercompany transactions, (7) the formulation, preparation, dissemination, negotiation, filing, or
consummation of this Plan, the Disclosure Statement, the Transaction Support Agreement, the
Definitive Documents, the Prepetition ABL Facility Documents, the Prepetition Term Loan
Documents, the DIP Facilities Documents, the Exit Facilities Documents (and any financing
permitted thereunder), the Chapter 11 Cases, or any Restructuring Transaction, (8) any contract,
instrument, release, or other agreement or document created or entered into in connection with this
Plan, the Disclosure Statement, the Transaction Support Agreement, the Definitive Documents, the
Prepetition ABL Facility Documents, the Prepetition Term Loan Documents, the DIP Facilities
Documents, the Exit Facilities Documents (and any financing permitted thereunder), the Chapter 11
Cases, the pursuit of Confirmation of this Plan, the administration and implementation of the Plan,
or the Restructuring Transactions, including the issuance or distribution of Securities pursuant to
this Plan, (9) the distribution, including any disbursements made by a Distribution Agent, of property
under this Plan or any other related agreement, or (10) any other act, or omission, transaction,
agreement, event, or other occurrence relating to any of the foregoing and taking place on or before
the Effective Date; provided, that the Releasing Parties do not release Claims or Causes of Action
(1) arising out of, or related to, any act or omission of a Released Party that is determined by Final
Order of the Bankruptcy Court or any other court of competent jurisdiction to have constituted
actual fraud (but not, for the avoidance of doubt, fraudulent transfers), gross negligence, or willful
misconduct (it being agreed that any Released Parties’ consideration, approval, or receipt of any
distribution did not arise from or relate to actual fraud, gross negligence, or willful misconduct) or
(2) against a Released Party arising from any obligations owed to the Releasing Party that are wholly
unrelated to the Debtors or the Reorganized Debtors. Notwithstanding anything to the contrary in
the foregoing, the Releases set forth above do not release (1) any obligations of any Person or Entity
under this Plan, the Combined Order, any other Definitive Document, any Restructuring
Transaction, any document, instrument, or agreement (including those set forth in the Plan
Supplement) executed to implement this Plan, or any agreement, claim, or obligation arising or
assumed under this Plan or (2) any Causes of Action specifically retained by the Debtors pursuant to
the Schedule of Retained Causes of Action.


                                                  51
       Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 62 of 569



Entry of the Combined Order shall constitute the Bankruptcy Court’s approval of the Third-Party
Release, which includes by reference each of the related provisions and definitions contained in this
Plan, and, further, shall constitute the Bankruptcy Court’s finding that the Third-Party Release is:
(1) consensual; (2) given and made after due notice and opportunity for hearing; and (3) a bar to any
of the Releasing Parties asserting any Claim or Cause of Action released pursuant to the Third-Party
Release.

               c. Exculpation (IX.D)

Effective as of the Effective Date, to the fullest extent permitted by law, the Exculpated Parties shall
neither have nor incur any liability to any Person or Entity for any Claims or Causes of Action for
any act taken or omitted to be taken between the Petition Date and the Effective Date in connection
with, or related to, formulating, negotiating, preparing, disseminating, implementing, administering,
confirming or effecting the Confirmation or consummation (as applicable) of this Plan, the
Transaction Support Agreement, and the Disclosure Statement including any disbursements made
by a Distribution Agent in connection with this Plan, the Disclosure Statement, the Definitive
Documents, the Plan Supplement, the Prepetition ABL Facility Documents, the Prepetition Term
Loan Documents, the DIP Facilities Documents, the Exit Facilities Documents (and any financing
permitted thereunder), or any Restructuring Transaction, contract, instrument, release, or other
agreement or document created or entered into in connection with this Plan or any other postpetition
act taken or omitted to be taken in connection with or in contemplation of the restructuring of the
Debtors, the approval of the Disclosure Statement or Confirmation or consummation of this Plan;
provided, that the foregoing provisions of this exculpation shall not operate to waive or release:
(1) any Claims or Causes of Action arising from willful misconduct, actual fraud (but not, for the
avoidance of doubt, fraudulent transfers), or gross negligence of such applicable Exculpated Party
as determined by Final Order of the Bankruptcy Court or any other court of competent jurisdiction;
and/or (2) the rights of any Person or Entity to enforce this Plan and the contracts, instruments,
releases, indentures, and other agreements and documents delivered under or in connection with this
Plan or assumed pursuant to this Plan or Final Order of the Bankruptcy Court; provided, further,
that each Exculpated Party shall be entitled to rely upon the advice of counsel concerning its
respective duties pursuant to, or in connection with, the above referenced documents, actions, or
inactions.

The Exculpated Parties have, and upon consummation of this Plan shall be deemed to have,
participated in good faith and in compliance with the applicable laws with regard to the solicitation
of votes and distribution of consideration pursuant to this Plan and, therefore, are not, and on
account of such distributions shall not be, liable at any time for the violation of any applicable law,
rule, or regulation governing the solicitation of acceptances or rejections of this Plan or such
distributions made pursuant to this Plan.

The foregoing exculpation shall be effective as of the Effective Date without further notice to or order
of the Bankruptcy Court, act, or action under applicable law, regulation, order, or rule or the vote,
consent, authorization, or approval of any Person or Entity. For the avoidance of doubt and
notwithstanding anything else herein, the foregoing exculpation shall be limited to Persons that
served as Estate fiduciaries during the Chapter 11 Cases.

               d. Permanent Injunction (IX.E)

Except as otherwise expressly provided in the Transaction Support Agreement, this Plan or the
Combined Order, from and after the Effective Date, all Persons and Entities are, to the fullest extent
provided under Section 524 and other applicable provisions of the Bankruptcy Code, permanently

                                                  52
       Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 63 of 569



enjoined from (1) commencing or continuing, in any manner or in any place, any suit, action or other
proceeding of any kind; (2) enforcing, attaching, collecting, or recovering in any manner or means
any judgment, award, decree, or order; (3) creating, perfecting, or enforcing any Lien or
encumbrance; (4) asserting a right of setoff or subrogation of any kind; or (5) commencing or
continuing in any manner any action or other proceeding of any kind, in each case on account of or
with respect to any Claim, demand, liability, obligation, debt, right, Cause of Action, Interest, or
remedy released or to be released, exculpated or to be exculpated, settled or to be settled, or
discharged or to be discharged pursuant to the Plan or the Combined Order against any Person or
Entity so released, discharged, or exculpated (or the property or estate of any Person or Entity so
released, discharged, or exculpated). All injunctions or stays provided for in the Chapter 11 Cases
under Sections 105 or 362 of the Bankruptcy Code, or otherwise, and in existence on the
Confirmation Date, shall remain in full force and effect until the Effective Date.

No Person or Entity may commence or pursue a Claim or Cause of Action, as applicable, of any kind
against the Debtors, the Reorganized Debtors, the Exculpated Parties, or the Released Parties, as
applicable, that relates to or is reasonably likely to relate to any act or omission in connection with,
relating to, or arising out of a Claim or Cause of Action, as applicable, subject to Article IX of the
Plan, without the Bankruptcy Court (i) first determining, after notice and a hearing, that such Claim
or Cause of Action, as applicable, represents a colorable Claim of any kind, and (ii) specifically
authorizing such Person or Entity to bring such Claim or Cause of Action, as applicable, against any
such Debtor, Reorganized Debtor, Exculpated Party, or Released Party, as applicable. At the hearing
for the Bankruptcy Court to determine whether such Claim or Cause of Action represents a colorable
Claim of any kind, the Bankruptcy Court may, or shall if any Debtor, Reorganized Debtor,
Exculpated Party, Released Party, or other party in interest requests by motion (oral motion being
sufficient), direct that such Person or Entity seeking to commence or pursue such Claim or Cause of
Action file a proposed complaint with the Bankruptcy Court embodying such Claim or Cause of
Action, such complaint satisfying the applicable Rules of Federal Procedure, including, but not
limited to, Rule 8 and Rule 9 (as applicable), which the Bankruptcy Court shall assess before making
a determination. For the avoidance of doubt, any party that obtains such determination and
authorization and subsequently wishes to amend the authorized complaint or petition to add any
Claims or Causes of Action not explicitly included in the authorized complaint or petition must obtain
authorization from the Bankruptcy Court before filing any such amendment in the court where such
complaint or petition is pending. The Bankruptcy Court reserves jurisdiction to adjudicate any such
claims to the maximum extent provided by the law.

                                                   VI.
     CAPITAL STRUCTURE AND CORPORATE GOVERNANCE OF REORGANIZED
                              DEBTORS

A.      Summary of Capital Structure of Reorganized Debtors

        1.      Post-Emergence Capital Structure

The following table summarizes the capital structure of the Reorganized Debtors, including the post-
Effective Date financing arrangements the Reorganized Debtors expect to enter into to fund their
obligations under the Plan and provide for, among other things, their post-Effective Date working capital
needs. This summary of the Reorganized Debtors’ capital structure is qualified in its entirety by reference
to the Plan and the relevant Definitive Documents.

     Instrument        Amount              Description


                                                    53
       Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 64 of 569




    Exit ABL Loans      $140 million         Loans under the senior secured asset-based revolving credit
                                             facility under the Exit ABL Credit Agreement.
    Exit Term Loans $115 million             Term loans under the Exit Prepetition Term Loan Credit
                                             Agreement in an aggregate principal amount of $115
                                             (inclusive of fees payable in kind) (plus accrued interest)
                                             comprising converted DIP Term Loans in an aggregate
                                             principal amount of approximately $40 million (plus
                                             premiums owed to the DIP Backstop Parties and
                                             approximately $75 million of Prepetition Term Loan
                                             Obligations to be “rolled-up” into the DIP-to-Exit Term
                                             Loan Facility).

        2.       Exit Facilities and Exit Facilities Documents

Article IV.G (“Exit Facilities and Exit Facilities Documents”) provides that, to the extent required and
subject to the occurrence of the Effective Date, Confirmation of the Plan will be deemed to constitute
approval by the Bankruptcy Court of the Exit Facilities Documents (including all transactions contemplated
thereby, such as any supplementation or syndication of the Exit Term Loans, and all actions to be taken,
undertakings to be made, and obligations to be incurred by the Reorganized Debtors in connection
therewith, including the incurrence of Liens securing the Exit Facilities and the payment of all fees,
payments, indemnities, and expenses associated therewith) and, subject to the occurrence of the Effective
Date, authorization for the applicable Reorganized Debtors to enter into and perform their obligations under
the Exit Facilities Documents and such other documents as may be reasonably required or appropriate,
subject to any consent or approval rights under the Definitive Documents. On or around the Effective Date,
the Reorganized Debtors will execute and deliver the Exit Prepetition ABL Credit Agreement, the Exit
Prepetition Term Loan Credit Agreement, the Exit Intercreditor Agreement, and any other Exit Facilities
Document, and will execute, deliver, file, record, and issue any other related notes, guarantees, security
documents, instruments, or agreements in connection therewith, in each case, without (a) further notice to
the Bankruptcy Court, or (b) further act or action under applicable law, regulation, order, or rule or the vote,
consent, authorization, or approval of any Person or Entity. On the Effective Date, the Exit Facilities will
be governed by the Exit Intercreditor Agreement.

On the Effective Date, the Exit Facilities Documents will constitute legal, valid, binding, and authorized
obligations of the Reorganized Debtors, enforceable in accordance with their terms. The financial
accommodations to be extended pursuant to the Exit Facilities Documents are being extended, and will be
deemed to have been extended, and all related payments made in connection therewith will have been made,
in each case, in good faith, for legitimate business purposes, for reasonably equivalent value, as an
inducement to the applicable lenders to extend credit under the applicable Exit Facilities, are reasonable,
will not be subject to avoidance, recovery, turnover, recharacterization, or subordination (including
equitable subordination) for any purposes whatsoever, and will not constitute preferential transfers,
fraudulent conveyances, or other voidable transfers under the Bankruptcy Code or any other applicable
non-bankruptcy law. On the Effective Date, all of the Liens and security interests to be granted, carried
forward, continued, amended, extended, and/or reaffirmed (including in connection with any Prepetition
ABL Claims that are refinanced by the Exit ABL Credit Agreement) under the Exit Facilities Documents
will: (1) be continuing, legal, binding, and enforceable Liens on, and security interests in, the collateral
granted in accordance with the terms of the applicable Exit Facilities Documents; (2) be granted, carried
forward, continued, amended, extended, reaffirmed, and deemed automatically perfected on the Effective
Date, subject only to such Liens and security interests as may be permitted thereunder; and (3) not be subject
to avoidance, recovery, turnover, recharacterization, or subordination (including equitable subordination)
for any purposes whatsoever and will not constitute preferential transfers, fraudulent conveyances, or other
voidable transfers under the Bankruptcy Code or any applicable non bankruptcy law. The Reorganized

                                                      54
       Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 65 of 569



Debtors and the Entities granted such Liens and security interests are authorized to make all filings and
recordings, and to obtain all governmental approvals and consents necessary to establish and perfect such
Liens and security interests under the provisions of the applicable state, provincial, federal, or other law
(whether domestic or foreign) that would be applicable in the absence of the Plan and the Combined Order
(it being understood that perfection will occur automatically by virtue of the entry of the Combined Order,
and any such filings, recordings, approvals, and consents will not be required), and will thereafter cooperate
to make all other filings and recordings that otherwise would be necessary under applicable law to give
notice of such Liens and security interests to third parties.

        3.       Issuance of New Equity Interests and Deregistration

Article IV.H (“Issuance of New Equity Interests and Deregistration”) provides that, on the Effective Date,
Reorganized Parent will issue or reserve for issuance and deliver all of the New Equity Interests in
accordance with the terms of the Plan and the New Organizational Documents. The issuance and delivery
of the New Equity Interests is authorized without the need for further corporate or other action or any
consent or approval of any national securities exchange upon which the New Equity Interests may be listed
on or immediately following the Effective Date. All of the New Equity Interests issuable under the Plan
and the Combined Order will, when so issued, be duly authorized, validly issued, fully paid, and non-
assessable.

The issuance and delivery of the New Equity Interests in accordance with the Plan are authorized without
the need for any further limited liability company or corporate action and without any further action by
any Holder of a Claim or Interest.

Any Holder of an Allowed Prepetition Term Loan Claim or any DIP Term Lender entitled to the DIP Equity
Premium may designate that all or a portion of such Holder’s share of the New Equity Interests to be
distributed as part of the treatment of such Allowed Prepetition Term Loan Claim or on account of the DIP
Equity Premium, be registered in the name of, and delivered to, its designee by delivering notice thereof to
counsel to the Debtors and to the Notice and Claims Agent at least five (5) Business Days prior to the
Effective Date. Any such designee must be an “accredited investor” as such term is defined in Rule 501(a)
of Regulation D promulgated under the Securities Act.

Reorganized Parent intends to exist and operate as a private company after the Effective Date. As promptly
as reasonably practicable following the Effective Date, Reorganized Parent expects to take all necessary
steps to terminate the registration of all Securities under the Exchange Act and Securities Act, including to
de-register its Existing Equity Interests, and to terminate its reporting obligations under sections 12, 13, and
15(d) of the Exchange Act, including by (1) filing, or causing any applicable national securities exchange
to file, a Form 25 with the SEC under the Exchange Act, and (2) filing a Form 15 with the SEC under the
Exchange Act.

                 a. Absence of Listing / Transfer of New Equity Interests (IV.H.1)

On the Effective Date, the Reorganized Parent will issue the New Equity Interests pursuant to the Plan and
the New Organizational Documents. Reorganized Parent will not be obligated to effect or maintain any
listing of the New Equity Interests for trading on any national securities exchange (within the meaning of
the Exchange Act) and it has no current intention of maintaining or obtaining such listing. Distributions of
the New Equity Interests are expected to be delivered via book-entry transfer by the Distribution Agent in
accordance with the Plan and the New Organizational Documents, rather than through the facilities of DTC;
however, in the event the New Equity Interests are DTC eligible on the Effective Date, distributions will
be made via DTC. Upon the Effective Date, after giving effect to the Restructuring Transactions, the New


                                                      55
       Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 66 of 569



Equity Interests will be the number of shares or membership interests designated in the New Organizational
Documents.

On and after the Effective Date, transfers of New Equity Interests will be made in accordance with
applicable United States law, United States securities laws (as applicable), and the New Organizational
Documents.

        4.       Exemption from Registration Requirements

Article IV.I (“Exemption from Registration Requirements”) provides that no registration statement will
be filed under the Securities Act, or pursuant to any state securities laws, with respect to the offer, issuance
and distribution of the New Equity Interests under the Plan. The offering, sale, issuance, and distribution
of the New Equity Interests in exchange for Claims pursuant to Article II and Article III of the Plan and
pursuant to the Combined Order will be exempt from, among other things, the registration requirements of
Section 5 of the Securities Act and any other applicable United States, state, or local law requiring
registration for the offer or sale of a security pursuant to section 1145 of the Bankruptcy Code. Any and
all such New Equity Interests may be resold without registration under the Securities Act by the recipients
thereof pursuant to the exemption provided by Section 4(a)(1) of the Securities Act, subject to: (1) the
provisions of section 1145(b)(1) of the Bankruptcy Code, which limits resale by Persons who are
“underwriters” as that term is defined in such section; (2) restrictions under the Securities Act applicable to
recipients who are an “affiliate” of the Reorganized Debtors as defined in Rule 144(a)(1) under the
Securities Act, (3) compliance with any applicable state or foreign securities laws, if any, and any rules and
regulations of the SEC, if any, applicable at the time of any future transfer of such Securities; (4) the
restrictions, if any, on the transferability of such Securities in the Organizational Documents of the issuer
of, or in agreements or instruments applicable to holders of, such Securities; and (5) any other applicable
regulatory approval.

The Reorganized Debtors need not provide any further evidence other than the Plan and the Combined
Order with respect to the treatment of the New Equity Interests under applicable securities laws.

Notwithstanding anything to the contrary in the Plan, no Person or Entity (including, for the avoidance of
doubt, DTC) will be entitled to require a legal opinion regarding the validity of any transaction
contemplated by the Plan, including, for the avoidance of doubt, whether the New Equity Interests are
exempt from registration and/or eligible for DTC book-entry delivery, settlement, and depository services.
All such Persons and Entities including DTC will be required to accept and conclusively rely upon the Plan
or the Combined Order in lieu of a legal opinion regarding whether the New Equity Interests are exempt
from registration and/or eligible for DTC book-entry delivery, settlement, and depository services.
Notwithstanding any policies, practices, or procedures of DTC, DTC and any participants and
intermediaries will fully cooperate and take all actions to facilitate any and all transactions necessary or
appropriate for implementation of the Plan or other contemplated thereby, including without limitation any
and all distributions pursuant to the Plan.

B.      Corporate Governance and Management of the Reorganized Debtors

        1.       Debtors’ Organizational Matters

Article IV.C (“Corporate Existence”) provides that, except as otherwise provided in the Plan, or as
otherwise may be agreed between the Debtors and the Required Consenting Lenders, each Debtor, as a
Reorganized Debtor, will continue to exist after the Effective Date as a separate corporate Entity, limited
liability company, partnership, or other form, as the case may be, with all the powers of a corporation,
limited liability company, partnership, or other form, as the case may be, pursuant to the applicable law in

                                                      56
       Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 67 of 569



the jurisdiction in which each Debtor is incorporated or formed and pursuant to the respective memorandum
and articles of association, certificate of incorporation and bylaws (or other formation documents) in effect
before the Effective Date, except to the extent such memorandum and articles of association, certificate of
incorporation and bylaws (or other formation documents) are amended by the Plan, by the Debtors, or
otherwise, and to the extent such documents are amended, such documents are deemed to be amended
pursuant to the Plan and require no further action or approval (other than any requisite filings required under
applicable state, provincial, or federal law), without prejudice to any right to alter or terminate such
existence (whether by merger or otherwise) in accordance with such applicable law.

The Plan further provides that, on or after the Effective Date, without prejudice to the rights of any party to
a contract or other agreement with any Reorganized Debtor, each Reorganized Debtor may, without the
need for approval of the Bankruptcy Court and free of any restrictions of the Bankruptcy Code or
Bankruptcy Rules, take such action as permitted by applicable law, and such Reorganized Debtor’s
Organizational Documents, as such Reorganized Debtor may determine is reasonable and appropriate,
including, without limitation, causing: (a) a Reorganized Debtor to be merged into another Reorganized
Debtor or an Affiliate of a Reorganized Debtor; (b) a Reorganized Debtor to be dissolved;
(c) the conversion of a Reorganized Debtor from one entity type to another entity type; (d) the legal name
of a Reorganized Debtor to be changed; (e) the closure of a Reorganized Debtor’s Chapter 11 Case on the
Effective Date or any time thereafter; or (f) the reincorporation of a Reorganized Debtor under the law of
jurisdictions other than the law under which the applicable Debtor currently is incorporated.

Article V.H (“Indemnification Provisions and Reimbursement Obligations”) provides that, on and as of
the Effective Date, and except as prohibited by applicable law and subject to the limitations set forth in the
Plan, the Indemnification Provisions will be assumed and irrevocable and will survive the effectiveness of
the Plan, and the New Organizational Documents will provide to the fullest extent provided by law for the
indemnification, defense, reimbursement, exculpation, and/or limitation of liability of, and advancement of
fees and expenses to the Debtors’ and the Reorganized Debtors’ current and former directors, officers,
equity holders, managers, members, employees, accountants, investment bankers, attorneys, other
professionals, agents of the Debtors, and such current and former directors’, officers’, equity holders’,
managers’, members’, and employees’ respective Affiliates (each of the foregoing solely in their capacity
as such) at least to the same extent as the Indemnification Provisions, against any Claims or Causes of
Action whether direct or derivative, liquidated or unliquidated, fixed or contingent, disputed or undisputed,
matured or unmatured, known or unknown, foreseen or unforeseen, asserted or unasserted.
Notwithstanding anything in the Plan to the contrary, none of the Reorganized Debtors will amend and/or
restate the New Organizational Documents before or after the Effective Date to terminate or adversely
affect any of the Indemnification Provisions.

Article IV.J of the Plan (“New Organizational Documents”) provides that, subject to Article IV.E of the
Plan, the Reorganized Debtors and Reorganized Parent will enter into such agreements and amend their
corporate governance documents to the extent necessary to implement the terms and provisions of the Plan.
Without limiting the generality of the foregoing, as of the Effective Date, each of the Reorganized Debtors
will be governed by the New Organizational Documents applicable to it. From and after the Effective Date,
the Organizational Documents of each of the Reorganized Debtors will be deemed to be modified to prohibit
the issuance of non-voting Securities, solely to the extent required under section 1123(a)(6) of the
Bankruptcy Code. On or immediately before the Effective Date, each Reorganized Debtor and Reorganized
Parent will file its New Organizational Documents, if any, with the applicable Secretary of State and/or
other applicable authorities in its jurisdiction of incorporation or formation in accordance with applicable
laws of its jurisdiction of incorporation or formation, to the extent required for such New Organizational
Documents to become effective. The New Organizational Documents for the Reorganized Debtors and
Reorganized Parent will be in form and substance (including customary minority protections) acceptable to
the Required Consenting Lenders.

                                                      57
       Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 68 of 569



The Plan further provides, that, as a condition to receiving the New Equity Interests, Holders of Allowed
Prepetition Term Loan Claim or Holders entitled to receive New Equity Interests on account of the DIP
Equity Premium and/or any of their respective designees for receipt of New Equity Interests will be required
to execute and deliver the New Organizational Documents for Reorganized Parent. For the avoidance of
doubt, any Entity’s or Person’s receipt of New Equity Interests under, or as contemplated by, the Plan
(including on account of the DIP Equity Premium) will be deemed to be its agreement to the terms of the
New Organizational Documents for Reorganized Parent, and such Entities and Persons will be deemed
signatories to the New Organizational Documents for Reorganized Parent without further action required
on their part. The New Organizational Documents for Reorganized Parent will be effective as of the
Effective Date and, as of such date, will be deemed to be valid, binding, and enforceable in accordance with
its terms, and each Holder of New Equity Interests will be bound thereby in all respects even if such Holder
has not actually executed and delivered a counterpart thereof.

Article IV.O (“Corporate Action”) provides that each of the Debtors and the Reorganized Debtors may
take any and all actions to execute, deliver, File or record such contracts, instruments, releases, and other
agreements or documents and take such actions as may be necessary or appropriate to effectuate,
implement, and further evidence the provisions of the Plan, and without further notice to or order of the
Bankruptcy Court, any act or action under applicable law, regulation, order, or rule or any requirement of
further action, vote or other approval or authorization by the security holders, officers, or directors of the
Debtors or the Reorganized Debtors or by any other Person (except for those expressly required pursuant
hereto or by the Definitive Documents).

Upon the Effective Date, all actions contemplated by the Plan will be deemed authorized, approved, and,
to the extent taken before the Effective Date, ratified without any requirement for further action by Holders
of Claims or Interests, directors, managers, or officers of the Debtors, the Reorganized Debtors, or any other
Entity, including: (1) assumption and rejection (as applicable) of Executory Contracts and Unexpired
Leases; (2) selection of the directors, managers, and officers for the Reorganized Debtors and Reorganized
Parent; (3) the execution of the New Organizational Documents and the Exit Facilities Documents; (4) the
issuance and delivery of the New Equity Interests and the issuance of the Exit Facilities; (5) implementation
of the Restructuring Transactions, and (6) all other acts or actions contemplated, or reasonably necessary
or appropriate to promptly consummate the transactions contemplated by the Plan (whether to occur before,
on, or after the Effective Date). All matters provided for in the Plan involving the company structure of the
Debtors, and any company action required by the Debtors in connection therewith, will be deemed to have
occurred on, and will be in effect as of, the Effective Date, without any requirement of further action by the
security holders, directors, managers, authorized persons, or officers of the Debtors, the Reorganized
Debtors, or Reorganized Parent or otherwise.

Before, on, and after the Effective Date, the appropriate officers, directors, managers, or authorized persons
of the Debtors, the Reorganized Parent, or any direct or indirect subsidiaries of the Reorganized Parent
(including any president, vice-president, chief executive officer, treasurer, general counsel, secretary, or
chief financial officer thereof) will be authorized and directed to issue, execute, and deliver the agreements,
documents, securities, memoranda and articles of association, certificates of incorporation, certificates of
formation, bylaws, operating agreements, other organization documents, and instruments contemplated by
the Plan (or necessary or desirable to effect the transactions contemplated by the Plan) in the name of and
on behalf of the applicable Debtors or applicable Reorganized Debtors, including the (1) New
Organizational Documents, (2) Exit Facilities Documents, and (3) any and all other agreements, documents,
securities, and instruments relating to or contemplated by the foregoing. Before or on the Effective Date,
each of the Debtors is authorized, in its sole discretion, to change its name or corporate form and to take
such other action as required to effectuate a change of name or corporate form in the jurisdiction of
incorporation of the applicable Debtor or Reorganized Debtor. To the extent the Debtors change their


                                                      58
       Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 69 of 569



names or corporate form before the closing of the Chapter 11 Cases, the Debtors will change the case
captions accordingly.

The authorizations, approvals and directives contemplated by Article IV.O of the Plan will be effective
notwithstanding any requirements under non-bankruptcy law.

        2.      Directors and Officers of the Reorganized Debtors

Article IV.M.1 (“Reorganized Board”) provides that, the members of the Reorganized Board will consist
of a number of members determined by the Required Consenting Lenders in their sole discretion, which
will consist of members appointed in a manner determined by the Required Consenting Lenders in their
sole discretion and set forth in the New Organizational Documents for Reorganized Parent. Except to the
extent that a member of the board of directors or board of managers, or the sole manager, as applicable, of
a Debtor is designated in the Plan Supplement to serve as a director, manager, or sole manager of such
Reorganized Debtor on the Effective Date, the members of the board of directors or board of managers, or
the sole manager, as applicable, of each Debtor prior to the Effective Date, in their capacities as such, will
have no continuing obligations to the Reorganized Debtors on or after the Effective Date, and each such
director, manager, or sole manager will be deemed to have resigned or will otherwise cease to be a director,
manager, or sole manager of the applicable Debtor on the Effective Date. Each of the directors, managers,
sole managers and officers of each of the Reorganized Debtors and Reorganized Parent will serve pursuant
to the terms of the applicable New Organizational Documents of such Reorganized Debtor or Reorganized
Parent, as applicable, and may be designated, replaced, or removed in accordance with such New
Organizational Documents.

        3.      Senior Management

Article IV.M.2 (“Senior Management”) provides that the existing officers of the Debtors as of the Effective
Date will remain in their current capacities as officers of the Reorganized Debtors, subject to their right to
resign and the ordinary rights and powers of the Reorganized Board to remove or replace them in
accordance with the New Organizational Documents and any applicable employment agreements that are
assumed pursuant to the Plan.

        4.      Management Incentive Plan

Article IV.M.3 (“Management Incentive Plan”) provides that, after the Effective Date, the Reorganized
Board will adopt the Management Incentive Plan in accordance with the Transaction Term Sheet. The form
of the awards (i.e., options, restricted stock or units, appreciation rights, etc.), the participants in the
Management Incentive Plan, the allocations of the awards to such participants (including the amount of
allocations and the timing of the grant of the awards), and the terms and conditions of the awards (including
vesting, exercise prices, base values, hurdles, forfeiture, repurchase rights and transferability) will be
determined by the Reorganized Board in its sole discretion.

        5.      Directors and Officers Insurance Policies

Article V.F (“Directors and Officers Insurance Policies”) provides that, on the Effective Date the
Reorganized Debtors will be deemed to have assumed all of the Debtors’ D&O Insurance Policies
(including any “tail coverage” and all agreements, documents, or instruments related thereto, including,
without limitation, the six years of runoff or “tail” coverage for the D&O Insurance Policies which covers
the period from March 11, 2023 to June 11, 2024 and for which all premiums and related obligations were
paid in full prior to the date hereof) in effect before the Effective Date pursuant to sections 105 and 365(a)
of the Bankruptcy Code, without the need for any further notice to or action, order, or approval of the

                                                     59
       Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 70 of 569



Bankruptcy Court. Confirmation of the Plan will not discharge, impair, or otherwise modify any indemnity
obligations assumed by the foregoing assumption of the D&O Insurance Policies, and each such indemnity
obligation will be deemed and treated as an Executory Contract that has been assumed by the Debtors under
the Plan as to which no Proof of Claim need be Filed. The Debtors and, after the Effective Date, the
Reorganized Debtors will retain the ability to supplement such D&O Insurance Policies as the Debtors or
Reorganized Debtors, as applicable, may deem necessary. For the avoidance of doubt, entry of the
Combined Order will constitute the Bankruptcy Court’s approval of the Reorganized Debtors’ foregoing
assumption of each of the unexpired D&O Insurance Policies.

In addition, on or after the Effective Date, none of the Reorganized Debtors will terminate or otherwise
reduce the coverage under any D&O Insurance Policies (including any “tail coverage” and all agreements,
documents, or instruments related thereto) in effect on or before the Effective Date, with respect to conduct
occurring prior thereto, and all current and former directors, officers, and managers of the Debtors who
served in such capacity at any time before the Effective Date will be entitled to the full benefits of any such
policies for the full term of such policies regardless of whether such current and former directors, officers,
and managers remain in such positions after the Effective Date, all in accordance with and subject in all
respects to the terms and conditions of the D&O Insurance Policies, which will not be altered.

                                                     VII.
                                 CONFIRMATION OF THE PLAN

The Bankruptcy Court will confirm the Plan only if all of the requirements of section 1129 of the
Bankruptcy Code are met. Among the requirements for confirmation are that a plan is (A) accepted by all
impaired classes of claims and interests entitled to vote or, if rejected or deemed rejected by an impaired
class, that the plan “does not discriminate unfairly” and is “fair and equitable” as to such class; (B) in the
“best interests” of the holders of claims and interests impaired under the plan; and (C) feasible.

A.      Combined Hearing

Section 1128(a) of the Bankruptcy Code requires the Bankruptcy Court to hold a confirmation hearing upon
appropriate notice to all required parties. The Combined Hearing may be adjourned from time to time by
the Bankruptcy Court without further notice except for the announcement of the continuation date made at
the Combined Hearing, at any subsequent continued Combined Hearing or confirmation hearing, or
pursuant to a notice filed on the docket for the Chapter 11 Cases.

Section 1128(b) of the Bankruptcy Code provides that any party in interest may object to the confirmation
of a plan. Any objection to confirmation of the Plan must be in writing, must conform to the Bankruptcy
Rules and the Bankruptcy Local Rules, must set forth the name of the objector, the nature and amount of
Claims or Interests held or asserted by the objector against the Debtors’ Estates or properties, the basis for
the objection and the specific grounds therefore, and must be filed with the Bankruptcy Court, together with
proof of service thereof, and served upon all of the below parties.

                      Debtors                                        Counsel to the Debtors

 The Container Store Group, Inc.                      Hunton Andrews Kurth LLP
 500 Freeport Parkway                                 600 Travis Street, Suite 4200
 Coppell, TX 75019                                    Houston, TX 77002
 Attn: Tasha Grinnell                                 Attn: Timothy A. (“Tad”) Davidson II, Ashley L.
                                                      Harper, and Philip M. Guffy



                                                      60
       Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 71 of 569




                                              and
                                              Latham & Watkins LLP
                                              1271 Avenue of the Americas
                                              New York, NY 10020
                                              Attn: George A. Davis and Hugh Murtagh
                                              and
                                              Latham & Watkins LLP
                                              355 South Grand Avenue, Suite 100
                                              Los Angeles, CA 90071
                                              Attn: Ted A. Dillman

             United States Trustee                      Counsel to the Ad Hoc Group
                                              Paul Hastings LLP
Office of the United States Trustee for the
                                              200 Park Avenue
Southern District of Texas
                                              New York, NY 10166
515 Rusk Street, Suite 3516
                                              Attn: Jayme Goldstein, Isaac Sasson, William Reily,
Houston, TX 77002
                                              Leonie Koch
Attn: Ha Nguyen, Vianey Garza
                                              and

                                              Paul Hastings LLP
                                              600 Travis Street, Floor 58
                                              Houston, TX, 77002
                                              Attn: Schlea Thomas

                                              and

                                              Paul Hastings LLP
                                              2001 Ross Avenue, Suite 2700
                                              Dallas, TX 75201


      Counsel to the DIP ABL Loan Agent             Counsel to the DIP Term Loan Agents
Riemer & Braunstein LLP                       Paul Hastings LLP
Times Square Tower                            200 Park Avenue
Seven Times Square, Suite 2506                New York, NY 10166
New York, NY 10036                            Attn: Alex Cota, Liz Loonam
Attn: Donald E. Rothman, Steven E. Fox
and
Frost Brown Todd LLP
Rosewood Court
2101 Cedar Springs Road, Suite 900
Dallas, TX 750201
Attn: Rebecca L. Matthews




                                              61
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 72 of 569



B.     Confirmation

At the Combined Hearing, the Bankruptcy Court will determine whether the requirements of section 1129
of the Bankruptcy Code have been satisfied with respect to the Plan.

       1.      Confirmation Requirements

Confirmation of a chapter 11 plan under section 1129(a) of the Bankruptcy Code requires, among other
things, that:

       •       the plan complies with the applicable provisions of the Bankruptcy Code;

       •       the proponent of the plan has complied with the applicable provisions of the Bankruptcy
               Code;

       •       the plan has been proposed in good faith and not by any means forbidden by law;

       •       any plan payment made or to be made by the proponent under the plan for services or for
               costs and expenses in, or in connection with, the chapter 11 case, or in connection with the
               plan and incident to the case, has been approved by, or is subject to the approval of, the
               bankruptcy court as reasonable;

       •       the proponent has disclosed the identity and affiliations of any individual proposed to serve,
               after confirmation of the plan, as a director, officer, or voting trustee of the debtor, an
               affiliate of the debtor participating in the plan with the debtor, or a successor to the debtor
               under the plan. The appointment to, or continuance in, such office by such individual must
               be consistent with the interests of creditors and equity security holders and with public
               policy and the proponent must have disclosed the identity of any insider that the
               reorganized debtor will employ or retain, and the nature of any compensation for such
               insider;

       •       with respect to each impaired class of claims or interests, either each holder of a claim or
               interest of such class has accepted the plan, or will receive or retain under the plan, on
               account of such claim or interest, property of a value, as of the effective date of the plan,
               that is not less than the amount that such holder would receive or retain if the debtor were
               liquidated on such date under chapter 7 of the Bankruptcy Code;

       •       subject to the “cramdown” provisions of section 1129(b) of the Bankruptcy Code, each
               class of claims or interests has either accepted the plan or is not impaired under the plan;

       •       except to the extent that the holder of a particular claim has agreed to a different treatment
               of such claim, the plan provides that allowed administrative expenses and priority claims
               will be paid in full on the effective date (except that holders of priority tax claims may
               receive deferred Cash payments of a value, as of the effective date of the plan, equal to the
               allowed amounts of such claims and that holders of priority tax claims may receive on
               account of such claims deferred Cash payments, over a period not exceeding five (5) years
               after the date of assessment of such claims, of a value, as of the effective date, equal to the
               allowed amount of such claims);




                                                    62
       Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 73 of 569




        •        if a class of claims is impaired, at least one (1) impaired class of claims has accepted the
                 plan, determined without including any acceptance of the plan by any insider holding a
                 claim in such class; and

        •        confirmation of the plan is not likely to be followed by the liquidation, or the need for
                 further financial reorganization, of the debtor or any successor to the debtor under the plan,
                 unless such liquidation or reorganization is proposed in the plan.

The Debtors believe that:

        •        the Plan satisfies all of the statutory requirements of chapter 11 of the Bankruptcy Code;

        •        the Debtors, as the proponents of the Plan, have complied or will have complied with all
                 of the requirements of chapter 11 of the Bankruptcy Code; and

        •        the Plan has been proposed in good faith.

Set forth below is a summary of certain relevant statutory confirmation requirements.

                 a. Acceptance

Claims in Class 3 are Impaired under the Plan, and Holders thereof are entitled to vote to accept or reject
the Plan; Claims in Classes 1, 2, and 4 are Unimpaired, and therefore Holders thereof are conclusively
presumed to accept the Plan; Claims and Interests in Classes 5 and 8, respectively, are Impaired and will
receive no distribution under the Plan, and therefore Holders thereof are conclusively deemed to reject the
Plan; and Claims and Interests in Classes 6 and 7, respectively, will either be Unimpaired or Impaired, and
Holders thereof will receive no distributions and will be conclusively deemed to accept or deemed to reject
the Plan, as applicable.

With respect to any Class of Claims or Interests that rejects (or is deemed to reject) the Plan, the Debtors
will be required to demonstrate that the Plan satisfies the requirements for nonconsensual confirmation
under section 1129(b) of the Bankruptcy Code (which are discussed immediately below). While the
Debtors believe the Plan satisfies such requirements with respect to all Classes of Claims and Interests that
may reject the Plan, there can be no assurance that the Bankruptcy Court will determine that the Plan meets
such requirements. The Debtors also will seek confirmation of the Plan over the objection of any individual
holders of Claims who are members of an accepting Class.

                 b. Unfair Discrimination and Fair and Equitable Test

To obtain nonconsensual confirmation of a chapter 11 plan, it must be demonstrated to the Bankruptcy
Court that the plan “does not discriminate unfairly” and is “fair and equitable” with respect to each impaired,
non-accepting class. The Bankruptcy Code provides a non-exclusive definition of the phrase “fair and
equitable” for, respectively, secured creditors, unsecured creditors and holders of equity interests. In
general, section 1129(b) of the Bankruptcy Code permits confirmation notwithstanding non-acceptance by
an impaired class if that class and all junior classes are treated in accordance with the “absolute priority”
rule, which requires that the dissenting class be paid in full before a junior class may receive anything under
the plan.

A chapter 11 plan does not “discriminate unfairly” with respect to a non-accepting class if the value of the
Cash and/or securities to be distributed to the non-accepting class is equal to, or otherwise fair when
compared to, the value of the distributions to other classes whose legal rights are similar to those of the

                                                      63
       Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 74 of 569



non-accepting class. The Debtors believe the Plan will not discriminate unfairly against any non-accepting
Class.

                 c. Feasibility; Financial Projections

The Bankruptcy Code permits a plan to be confirmed only if confirmation is not likely to be followed by
liquidation or the need for further financial reorganization of the debtor or any successor to the debtor,
unless such liquidation or reorganization is proposed in the plan. For purposes of determining whether the
Plan meets this requirement, the Debtors have analyzed the ability of the Reorganized Debtors to meet their
obligations under the Plan and retain sufficient liquidity and capital resources to conduct their business.
Under the terms of the Plan, the Allowed Claims potentially being paid in whole or in part in Cash are the
Other Secured Claims and General Unsecured Claims.

In connection with developing the Plan, the Debtors have prepared detailed financial projections
(the “Financial Projections”) set forth in Exhibit C hereto, which demonstrate, among other things, the
financial feasibility of the Plan. The Financial Projections indicate, on a pro forma basis, that the projected
level of Cash flow is sufficient to satisfy all of the Reorganized Debtors’ future debt and debt-related interest
costs, capital expenditure, and other obligations during this period. Accordingly, the Debtors believe that
confirmation of the Plan is not likely to be followed by the liquidation or further reorganization of the
Reorganized Debtors.

THE FINANCIAL PROJECTIONS, INCLUDING THE UNDERLYING ASSUMPTIONS,
SHOULD BE CAREFULLY REVIEWED IN EVALUATING THE PLAN.             WHILE
MANAGEMENT BELIEVES THE ASSUMPTIONS UNDERLYING THE FINANCIAL
PROJECTIONS, WHEN CONSIDERED ON AN OVERALL BASIS, WERE REASONABLE
WHEN PREPARED IN LIGHT OF CURRENT CIRCUMSTANCES AND EXPECTATIONS, NO
ASSURANCE CAN BE GIVEN THAT THE FINANCIAL PROJECTIONS WILL BE REALIZED.
THE DEBTORS MAKE NO REPRESENTATION OR WARRANTY AS TO THE ACCURACY OF
THE FINANCIAL PROJECTIONS. THE PROJECTIONS ARE SUBJECT TO A NUMBER OF
RISKS, UNCERTAINTIES AND ASSUMPTIONS, INCLUDING THOSE DESCRIBED BELOW
UNDER SECTION IX. IN LIGHT OF THESE RISKS AND UNCERTAINTIES, ACTUAL
RESULTS COULD DIFFER MATERIALLY FROM THOSE ANTICIPATED IN THE
FINANCIAL PROJECTIONS.

The Debtors prepared the Financial Projections based upon certain assumptions that they believe to be
reasonable under the circumstances. The Financial Projections have not been examined or compiled by
independent accountants. Moreover, such information has not been prepared in accordance with accounting
principles generally accepted in the United States (“GAAP”). The Debtors make no representation as to
the accuracy of the Financial Projections or their ability to achieve the projected results. Many of the
assumptions on which the Financial Projections are based are inherently subject to significant economic
and competitive uncertainties and contingencies beyond the control of the Debtors and their management.
Inevitably, some assumptions will not materialize, and unanticipated events and circumstances may affect
the actual financial results. Therefore, the actual results achieved may vary from the projected results, and
the variations may be material. All Holders of Claims that are entitled to vote to accept or reject the Plan
are urged to examine carefully all of the assumptions on which the Financial Projections are based in
connection with their evaluation of the Plan.

        2.       Best Interests Test

The “best interests” test requires that the Bankruptcy Court find either:


                                                       64
       Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 75 of 569




        •        that all members of each impaired class have accepted the plan; or

        •        that each holder of an allowed claim or interest in each impaired class of claims or interests
                 will receive or retain under the plan on account of such claim or interest, property of a
                 value, as of the effective date of the plan, that is not less than the amount such holder would
                 receive or retain if the debtor were liquidated under chapter 7 of the Bankruptcy Code on
                 such date.

To determine what the holders of Claims and Interests in each impaired Class would receive if the Debtors
were liquidated under chapter 7 on the Effective Date, the Bankruptcy Court must determine the dollar
amount that would have been generated from the liquidation of the Debtors’ assets and properties in a
liquidation under chapter 7 of the Bankruptcy Code.

To determine if the Plan is in the best interests of each impaired Class, the present value of the distributions
from the proceeds of a liquidation of the Debtors’ assets and properties, after subtracting the amounts due
to secured and priority creditors, must be compared with the value of the property offered to each such
Class of Claims under the Plan.

After considering the effects that a chapter 7 liquidation would have on the ultimate proceeds available for
distribution to creditors, the Debtors have determined that confirmation of the Plan will provide each Holder
of an Allowed Claim with a recovery that is not less than such Holder would have received pursuant to the
liquidation of the Debtors under chapter 7.

Moreover, the Debtors believe that the value of distributions to each Class of Allowed Claims in a chapter 7
case would be materially less than the value of distributions under the Plan, and any distribution in a
chapter 7 case would not occur as expeditiously as contemplated by the Plan.

The Debtors, with the assistance of their financial advisor, FTI Consulting, Inc., and legal counsel, have
prepared a liquidation analysis that summarizes the Debtors’ best estimate of recoveries by Holders of
Claims and Interests in the event of liquidation commencing on or around January 31, 2025
(the “Liquidation Analysis”), which is set forth in Exhibit D hereto. The Liquidation Analysis provides:
(a) a summary of the liquidation values of the Debtors’ assets, assuming a chapter 7 liquidation in which a
trustee appointed by the Bankruptcy Court would liquidate the assets of the Debtors’ estates; and (b) the
expected recoveries of Holders of Claims and Interests under the Plan.

The Liquidation Analysis contains a number of estimates and assumptions that, although developed and
considered reasonable by the Debtors’ management, are inherently subject to significant economic and
competitive uncertainties and contingencies beyond the control of the Debtors and their management. The
Liquidation Analysis also is based on assumptions with regard to liquidation decisions that are subject to
change and significant economic and competitive uncertainties and contingencies beyond the control of the
Debtors and their management. Accordingly, the values reflected might not be realized. All Holders of
Claims that are entitled to vote to accept or reject the Plan are urged to examine carefully all of the
assumptions on which the Liquidation Analysis is based in connection with their evaluation of the Plan.

C.      Classification of Claims and Interests

The Debtors believe that the Plan complies with the classification requirements of the Bankruptcy Code,
which require that a chapter 11 plan place each claim and interest into a class with other claims or interests
that are “substantially similar.”



                                                      65
       Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 76 of 569



D.      Consummation

The Plan will be consummated on the Effective Date. The Effective Date will occur on the first Business
Day on which the conditions precedent to the effectiveness of the Plan (see Section V.G hereof and
Article VIII of the Plan) have been satisfied or waived pursuant to the Plan. The Plan is to be implemented
pursuant to its terms, consistent with the provisions of the Bankruptcy Code.

E.      Exemption from Certain Taxes and Fees

To the fullest extent permitted by section 1146(a) of the Bankruptcy Code, any transfer (whether from a
Debtor to a Reorganized Debtor or to any other Person) of property under the Plan (including the
Restructuring Transactions) pursuant to (1) the issuance, distribution, transfer, or exchange of any debt,
securities, or other interest in the Debtors or the Reorganized Debtors, (2) the creation, modification,
consolidation, termination, refinancing, or recording of any mortgage, deed of trust, or other security
interest, or the securing of additional indebtedness by such or other means, (3) the making, assignment, or
recording of any lease or sublease, (4) the grant of collateral security for any or all of the Exit Facilities or
other indebtedness, or (5) the making, delivery, or recording of any deed or other instrument of transfer
under, in furtherance of, or in connection with, the Plan, including any deeds, bills of sale, assignments, or
other instrument of transfer executed in connection with any transaction arising out of, contemplated by, or
in any way related to the Plan (including the Restructuring Transactions), will not be subject to any
document recording tax, stamp tax, conveyance fee, intangibles, or similar tax, mortgage tax, real estate
transfer tax, mortgage recording tax, Uniform Commercial Code filing or recording fee, regulatory filing
or recording fee, or other similar tax or governmental assessment, and the appropriate state or local
governmental officials, agents, or filing or recording officers (or any other Person with authority over any
of the foregoing), wherever located and by whomever appointed, must comply with the requirements of
section 1146(a) of the Bankruptcy Code, will forego the collection of any such tax or governmental
assessment and accept for filing and recordation any of the foregoing instruments or other documents
without the payment of any such tax, fee or governmental assessment.

F.      Modification of Plan

Subject to the terms of the Transaction Support Agreement and the limitations contained in the Plan, the
Debtors or Reorganized Debtors reserve the right to, in accordance with the Bankruptcy Code, the
Bankruptcy Rules, and the Transaction Support Agreement: (1) amend or modify the Plan before the entry
of the Combined Order, including amendments or modifications to satisfy section 1129(b) of the
Bankruptcy Code; (2) amend or modify the Plan after the entry of the Combined Order in accordance with
section 1127(b) of the Bankruptcy Code and the Transaction Support Agreement upon order of the
Bankruptcy Court; and (3) remedy any defect or omission or reconcile any inconsistency in the Plan in such
manner as may be necessary to carry out the purpose and intent of the Plan upon order of the Bankruptcy
Court.

G.      Effect of Confirmation on Modifications

Entry of the Combined Order will mean that all modifications or amendments to the Plan since the
solicitation thereof are approved pursuant to section 1127(a) of the Bankruptcy Code and do not require
additional disclosure or re-solicitation under Bankruptcy Rule 3019.

H.      Revocation of Plan; Reservation of Rights If Effective Date Does Not Occur

Subject to the conditions to the Effective Date, the Debtors reserve the right, subject to the terms of the
Transaction Support Agreement, to revoke or withdraw the Plan before the entry of the Combined Order

                                                       66
        Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 77 of 569



and to File subsequent plans of reorganization. If the Debtors revoke or withdraw the Plan, or if entry of
the Combined Order or the Effective Date does not occur, or if the Transaction Support Agreement
terminates in accordance with its terms before the Effective Date, then (1) the Plan will be null and void in
all respects, (2) any settlement or compromise embodied in the Plan, assumption or rejection of Executory
Contracts or Unexpired Leases effected by the Plan, and any document or agreement executed pursuant
hereto will be deemed null and void, and (3) nothing contained in the Plan will: (a) constitute a waiver or
release of any Claims by or against, or any Interests in, such Debtor or any other Entity; (b) prejudice in
any manner the rights of the Debtors or any other Entity; or (c) constitute an admission of any sort by the
Debtors or any other Entity; provided, that any Restructuring Fees and Expenses that have been paid as of
the date of revocation or withdrawal of the Plan will remain paid and will not be subject to disgorgement
or repayment without further order of the Bankruptcy Court.

I.           Post-Confirmation Jurisdiction of the Bankruptcy Court

Notwithstanding the entry of the Combined Order and the occurrence of the Effective Date, except to the
extent set forth in the Plan or under applicable federal law, the Bankruptcy Court will retain exclusive
jurisdiction over all matters arising out of, or related to, the Chapter 11 Cases and the Plan pursuant to
sections 105(a) and 1142 of the Bankruptcy Code, including jurisdiction to:

        i.          allow, disallow, determine, liquidate, classify, estimate, or establish the priority, secured
                    or unsecured status, or amount of any Claim or Interest, including the resolution of any
                    request for payment of any Administrative Claim and the resolution of any and all
                    objections to the secured or unsecured status, priority, amount, or allowance of Claims or
                    Interests;

       ii.          decide and resolve all matters related to the granting and denying, in whole or in part, any
                    applications for allowance of compensation or reimbursement of expenses to Retained
                    Professionals authorized pursuant to the Bankruptcy Code or the Plan;

      iii.          resolve any matters related to: (a) the assumption, assumption and assignment, or rejection
                    of any Executory Contract or Unexpired Lease to which a Debtor is party with respect to
                    which a Debtor may be liable and to hear, determine, and, if necessary, liquidate, any Cure
                    Costs arising therefrom, including Cure Costs pursuant to section 365 of the Bankruptcy
                    Code; (b) any potential contractual obligation under any Executory Contract or Unexpired
                    Lease that is assumed; and (c) any dispute regarding whether a contract or lease is or was
                    executory or expired;

      iv.           ensure that distributions to Holders of Allowed Claims are accomplished pursuant to the
                    provisions of the Plan and the Combined Order;

       v.           adjudicate, decide, or resolve any motions, adversary proceedings, contested, or litigated
                    matters, and any other matters, and grant or deny any applications involving a Debtor that
                    may be pending on the Effective Date;

      vi.           adjudicate, decide, or resolve any and all matters related to Causes of Action;

     vii.           adjudicate, decide, or resolve any and all matters related to section 1141 of the Bankruptcy
                    Code;

     viii.          resolve any cases, controversies, suits, or disputes that may arise in connection with any
                    Claims, including claim objections, allowance, disallowance, estimation, and distribution;

                                                        67
    Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 78 of 569



   ix.    enter and implement such orders as may be necessary or appropriate to execute, implement,
          or consummate the provisions of the Plan, the Combined Order, and all contracts,
          instruments, releases, and other agreements or documents created in connection with the
          Plan, the Combined Order, or the Disclosure Statement, including the Transaction Support
          Agreement;

   x.     enter and enforce any order for the sale of property pursuant to sections 363, 1123, or
          1146(a) of the Bankruptcy Code;

   xi.    resolve any cases, controversies, suits, disputes, or Causes of Action that may arise in
          connection with the interpretation or enforcement of the Plan, the Combined Order, or any
          contract, instrument, release or other agreement or document that is entered into or
          delivered pursuant to the Plan or the Combined Order, or any Entity’s rights arising from
          or obligations incurred in connection with the Plan or the Combined Order;

  xii.    issue injunctions, enter and implement other orders or take such other actions as may be
          necessary or appropriate to restrain interference by any Entity with enforcement of the Plan
          or the Combined Order;

 xiii.    resolve any cases, controversies, suits, disputes, or Causes of Action with respect to the
          releases, injunctions, and other provisions contained in the Plan and enter such orders as
          may be necessary or appropriate to implement such releases, injunctions, and other
          provisions;

 xiv.     resolve any cases, controversies, suits, disputes, or Causes of Action with respect to the
          repayment or return of distributions and the recovery of additional amounts owed by the
          Holder of a Claim or Interest for amounts not timely repaid;

  xv.     enter and implement such orders as are necessary or appropriate if the Combined Order is
          for any reason modified, stayed, reversed, revoked, or vacated;

 xvi.     determine any other matters that may arise in connection with or relate to the Plan, the
          Disclosure Statement, the Combined Order, or any contract, instrument, release, indenture,
          or other agreement or document created in connection with the Plan, the Combined Order,
          or the Disclosure Statement;

xvii.     enter an order or final decree concluding or closing the Chapter 11 Cases;

xviii.    adjudicate any and all disputes arising from or relating to distributions to Holder of Claims
          and Interests under the Plan;

 xix.     consider any modification of the Plan, to cure any defect or omission, or to reconcile any
          inconsistency in any Bankruptcy Court order, including the Combined Order;

  xx.     determine requests for payment of Claims and Interests entitled to priority pursuant to
          section 507 of the Bankruptcy Code;

 xxi.     hear and determine disputes arising in connection with the interpretation, implementation,
          or enforcement of the Plan, or the Combined Order, including disputes arising under
          agreements, documents, or instruments executed in connection with the Plan;



                                              68
       Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 79 of 569



   xxii.         hear and determine matters concerning state, local, and federal taxes in accordance with
                 sections 346, 505, and 1146 of the Bankruptcy Code;

   xxiii.        hear and determine all disputes involving the existence, nature, or scope of the Debtors’
                 discharge, including without limitation any dispute relating to any liability arising out of
                 the termination of employment or the termination of any employee or retiree benefit
                 program, regardless of whether such termination occurred before or after the Effective
                 Date;

   xxiv.         hear and determine disputes arising in connection with the interpretation, implementation,
                 or enforcement of the releases, injunctions, and exculpations provided under Article IX of
                 the Plan;

   xxv.          resolve any disputes concerning whether a Person had sufficient notice of the Chapter 11
                 Cases, the Disclosure Statement, and any solicitation conducted in connection with the
                 Chapter 11 Cases, in each case, for the purpose of determining whether a Claim or Interest
                 is discharged pursuant to the Plan or for any other purpose;

   xxvi.         enforce all orders previously entered by the Bankruptcy Court; and

  xxvii.         hear any other matter not inconsistent with the Bankruptcy Code, the Plan, or the Combined
                 Order.

If the Bankruptcy Court abstains from exercising, or declines to exercise, jurisdiction or is otherwise
without jurisdiction over any matter arising in, arising under, or related to the Chapter 11 Cases, including
the matters set forth in Article X of the Plan, the provisions of Article X will have no effect on and will not
control, limit, or prohibit the exercise of jurisdiction by any other court having competent jurisdiction with
respect to such matter.

Notwithstanding anything to the contrary in the Plan: (1) the Bankruptcy Court’s jurisdiction to hear and
determine disputes concerning Claims against or Interests in the Debtors that arose before the Effective
Date, including, without limitation, any Claims based in whole or in part on any conduct of the Debtors
occurring on or before the Effective Date, will be non-exclusive; (2) any dispute arising under or in
connection with the Exit Facility Documents, New Governance Documents, and New Stockholders
Agreement will be dealt with in accordance with the provisions of the applicable document; and (3) as of
the Effective Date, the Exit Facility Amendment will be governed by the jurisdictional provisions therein.

                                                    VIII.
   ALTERNATIVES TO CONFIRMATION AND CONSUMMATION OF THE PLAN

The Debtors have determined that the Plan is the best alternative available for their successful emergence
from chapter 11. If the Plan is not confirmed and consummated, the alternatives to the Plan are:
(A) continuation of the Chapter 11 Cases, which could lead to the filing of an alternative plan of
reorganization and/or a sale of substantially all of the Debtors’ assets; (B) a liquidation under chapter 7 of
the Bankruptcy Code; or (C) dismissal of the Chapter 11 Cases, leaving Holders of Claims and Interests to
pursue available non-bankruptcy remedies. These alternatives to the Plan are not likely to benefit Holders
of Claims and Interests.




                                                      69
       Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 80 of 569



A.      Continuation of Chapter 11 Cases

If the Plan is not confirmed, the Debtors (or, if the Debtors’ exclusive period in which to file a plan of
reorganization has expired, any other party in interest) could attempt to formulate a different plan or to sell
all or substantially all of the Debtors’ assets outside of a plan. Such a scenario might entail a reorganization
and continuation of the Debtors’ business or an orderly liquidation of their assets; in either case, the Debtors
expect that recoveries to their stakeholders would be diminished relative to the recoveries available under
the Plan.

B.      Liquidation under Chapter 7

If no plan can be confirmed, then the Chapter 11 Cases may be converted to cases under chapter 7 of the
Bankruptcy Code in which a trustee would be elected or appointed to liquidate the assets of the Debtors for
distribution to their creditors in accordance with the priorities established by the Bankruptcy Code. The
effect a chapter 7 liquidation would have on the recovery of holders of Allowed Claims and Interests is set
forth in the Liquidation Analysis set forth in Exhibit D hereto.

As demonstrated in the Liquidation Analysis, the Debtors believe that liquidation under chapter 7 would
result in smaller distributions to creditors than those provided for in the Plan because of, among other things,
the delay resulting from the conversion of the Chapter 11 Cases to cases under chapter 7, the additional
administrative expenses associated with the appointment of a trustee and the trustee’s retention of
professionals, and the loss in value attributable to an expeditious liquidation of the Debtors’ assets as
required by chapter 7.

C.      Dismissal of Chapter 11 Cases.

If the Chapter 11 Cases are dismissed, Holders of Claims or Interests would be free to pursue non-
bankruptcy remedies in their attempts to satisfy Claims against or Interests in the Debtors. However, in
that event, each Holder of Claims or Interests would be faced with the costs and difficulties of attempting
to recover on an individual basis. Accordingly, the Debtors believe that the Plan will enable all creditors
to realize the greatest possible recovery on their respective Claims with the least delay.

                                                      IX.
                      RISK FACTORS TO CONSIDER BEFORE VOTING

BEFORE VOTING TO ACCEPT OR REJECT THE PLAN, HOLDERS OF CLAIMS ENTITLED
TO VOTE SHOULD READ AND CAREFULLY CONSIDER THE RISK FACTORS SET FORTH
BELOW, IN ADDITION TO THE INFORMATION SET FORTH IN THIS DISCLOSURE
STATEMENT, TOGETHER WITH ANY ATTACHMENTS, EXHIBITS, OR DOCUMENTS
INCORPORATED BY REFERENCE HERETO. THE FACTORS BELOW SHOULD NOT BE
REGARDED AS THE ONLY RISKS ASSOCIATED WITH THE PLAN OR ITS
IMPLEMENTATION.

A.      Certain Bankruptcy Law Considerations

        1.       General

While the Debtors believe that the Chapter 11 Cases will be of short duration and will not be materially
disruptive to their businesses, the Debtors cannot be certain that this will be the case. Although the Plan is
designed to minimize the duration of the Chapter 11 Cases, it is impossible to predict with certainty the
amount of time that one or more of the Debtors may spend in bankruptcy or to assure parties in interest that

                                                      70
       Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 81 of 569



the Plan will be confirmed. Even if confirmed on a timely basis, bankruptcy proceedings to confirm the
Plan could have an adverse effect on the Debtors’ businesses. Among other things, it is possible that
bankruptcy proceedings could adversely affect the Debtors’ relationships with their key customers, vendors,
suppliers and employees. The process will also involve additional expense and will divert some of the
attention of the Debtors’ management away from business operations.

        2.      Risk of Non-Approval of the Disclosure Statement As Containing Adequate
                Information

Because the Chapter 11 Cases have not yet been commenced, this Disclosure Statement has not, as of the
date hereof, been approved by the Bankruptcy Court as containing “adequate information” within the
meaning of section 1125(a) of the Bankruptcy Code. Upon filing, the Debtors will promptly seek entry of
an order by the Bankruptcy Court approving this Disclosure Statement. While the Debtors believe that this
Disclosure Statement provides “adequate information” within the meaning of section 1125(a), there can be
no assurance that the Bankruptcy Court will reach the same conclusion.

        3.      Risk of Non-Confirmation of Plan

Although the Debtors believe that the Plan will satisfy all requirements necessary for confirmation by the
Bankruptcy Court, there can be no assurance that the Bankruptcy Court will reach the same conclusion or
that modification to the Plan will not be required for confirmation or that such modifications would not
necessitate re-solicitation of votes. Moreover, the Debtors can make no assurances that they will receive
the requisite acceptances to confirm the Plan, and even if the Voting Class voted in favor of the Plan or the
requirements for “cramdown” are met with respect to any Class that rejects (or is deemed to reject) the
Plan, the Bankruptcy Court, which may exercise substantial discretion as a court of equity, may choose not
to confirm the Plan. If the Plan is not confirmed, it is unclear what distributions Holders of Claims and
Interests ultimately would receive with respect to their Claims and Interests in a subsequent plan of
reorganization or otherwise.

        4.      Non-Consensual Confirmation

If any impaired class of claims or interests does not accept or is deemed not to accept a plan of
reorganization, a bankruptcy court may nevertheless confirm such plan at the proponent’s request if at least
one impaired class has accepted the plan (with such acceptance being determined without including the
vote of any “insider” in such class), and as to each impaired class that has accepted the plan, the bankruptcy
court determines that the plan “does not discriminate unfairly” and is “fair and equitable” with respect to
the dissenting impaired classes. Should any Class vote to reject the Plan, then these requirements must be
satisfied with respect to such rejecting Classes. The Debtors believe that the Plan satisfies these
requirements, but there can be no assurance that the Bankruptcy Court will reach the same conclusion and
confirm the Plan on a non-consensual basis.

        5.      Financial Projections

The Debtors have prepared financial projections on a consolidated basis with respect to the Reorganized
Debtors based on certain assumptions as set forth in Exhibit C hereto. The projections have not been
compiled, audited, or examined by independent accountants, and neither the Debtors nor their advisors
make any representations or warranties regarding the accuracy of the projections or the ability to achieve
forecasted results.

Many of the assumptions underlying the projections are subject to significant uncertainties that are beyond
the control of the Debtors or Reorganized Debtors, including the timing, confirmation, and consummation

                                                     71
       Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 82 of 569



of the Plan, consumer demands for the Reorganized Debtors’ products, macroeconomic, political and other
events that may affect the Reorganized Debtors’ ability to maintain adequate amounts and array of
inventory, inflation, and other unanticipated market and economic conditions. Some assumptions may not
materialize, and unanticipated events and circumstances may affect the actual results. Projections are
inherently subject to substantial and numerous uncertainties and to a wide variety of significant business,
economic, and competitive risks, and the assumptions underlying the projections may be inaccurate in
material respects.

        6.       Risks Related to Parties in Interest Objecting to the Debtors’ Classification of
                 Claims and Interests

Section 1122 of the Bankruptcy Code provides that a plan may place a claim or an interest in a particular
class only if such claim or interest is substantially similar to the other clams or interests in such class. The
Debtors believe that the classification of Claims and Interests under the Plan complies with the requirements
set forth in the Bankruptcy Code. However, there can be no assurance that a party in interest will not object
or that the Bankruptcy Court will approve the classifications.

To the extent that the Bankruptcy Court finds that a different classification is required for the Plan to be
confirmed, the Debtors would seek (a) to modify the Plan to provide for whatever classification might be
required for Confirmation and (b) to use the acceptances received from any Holder of Claims pursuant to
this solicitation for the purpose of obtaining the approval of the Class or Classes of which such Holder
ultimately is deemed to be a member. Any such reclassification of Claims, although subject to the notice
and hearing requirements of the Bankruptcy Code, could adversely affect the Class in which such Holder
was initially a member, or any other Class under the Plan, by changing the composition of such Class and
the vote required for approval of the Plan. There can be no assurance that the Bankruptcy Court, after
finding that a classification was inappropriate and requiring a reclassification, would approve the Plan based
upon such reclassification. Except to the extent that modification of classification in the Plan requires
resolicitation, the Debtors will, in accordance with the Bankruptcy Code and the Bankruptcy Rules, seek a
determination by the Bankruptcy Court that acceptance of the Plan by any Holder of Claims pursuant to
this solicitation will constitute a consent to the Plan’s treatment of such Holder, regardless of the Class as
to which such Holder is ultimately deemed to be a member.

        7.       Risks Related to Possible Objections to the Plan

There is a risk that certain parties could oppose and object to either the entirety of the Plan or specific
provisions of the Plan. Although the Debtors believe that the Plan complies with all relevant Bankruptcy
Code provisions, there can be no guarantee that a party in interest will not file an objection to the Plan or
that the Bankruptcy Court will not sustain such an objection.

        8.       Releases, Injunctions, and Exculpation Provisions May Not Be Approved

Article IX of the Plan provides for certain releases, injunctions, and exculpations for claims and Causes of
Action that may otherwise be asserted against the Debtors, the Reorganized Debtors, the Exculpated Parties,
or the Released Parties, as applicable. The releases, injunctions, and exculpations provided in the Plan are
subject to objection by parties in interest and may not be approved. If the releases and exculpations are not
approved, certain parties may not be considered Releasing Parties, Released Parties, or Exculpated Parties,
and certain Released Parties or Exculpated Parties may withdraw their support for the Plan.




                                                      72
       Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 83 of 569



        9.      Risk of Non-Occurrence of Effective Date

Although the Debtors believe that the Effective Date will occur on the timeline envisaged by the Transaction
Support Agreement, there can be no assurance as to the timing of the Effective Date. If the conditions
precedent to the Effective Date set forth in the Plan have not occurred or have not been waived as set forth
in Article VIII of the Plan, then the Combined Order may be vacated, in which event no distributions would
be made under the Plan, the Debtors and all Holders of Claims or Interests would be restored to the status
quo as of the day immediately preceding the Confirmation Date, and the Debtors’ obligations with respect
to Claims and Interests would remain unchanged.

        10.     Risks of Termination of the Transaction Support Agreement

The Transaction Support Agreement contains certain provisions that give the parties thereto the ability to
terminate such agreement upon the occurrence or non-occurrence of certain events, including failure to
achieve certain milestones in these Chapter 11 Cases. Termination of the Transaction Support Agreement
could result in protracted Chapter 11 Cases, which could significantly and detrimentally impact the Debtors’
relationships with vendors, suppliers, employees, and customers.

        11.     Conversion into Chapter 7 Cases

If no plan of reorganization can be confirmed, or if the Bankruptcy Court otherwise finds that it would be
in the best interest of Holders of Claims and Interests, the Chapter 11 Cases may be converted to cases
under chapter 7 of the Bankruptcy Code, pursuant to which a trustee would be appointed to liquidate the
Debtors’ assets for distribution in accordance with the priorities established by the Bankruptcy Code.

        12.     Risks of Non-Dischargeability of Claims

Certain creditors may have taken or may take the position their claims are non-dischargeable. Such
creditors may make such allegations at any time, notwithstanding the existence of deadlines established by
the Bankruptcy Rules or applicable Bankruptcy Court order, entry of the Combined Order, or the occurrence
of the Effective Date. Such assertions of non-dischargeability could result in denial of Confirmation,
changes to the Plan, or, if asserted after occurrence of the Effective Date, the Reorganized Debtors being
required to honor such claims.

        13.     Amendment of Plan Prior to Confirmation by Debtors

The Debtors, subject to the terms and conditions of the Plan and the terms of the Transaction Support
Agreement, reserve the right to modify the terms and conditions of the Plan or waive any conditions thereto
if and to the extent necessary or desirable for Confirmation. The potential impact of any such amendment
or waiver on Holders of Claims and Interests cannot presently be foreseen but may include a change in the
economic impact of the Plan on some or all of the proposed Classes or a change in the relative rights of
such Classes.

        14.     Pending and Future Litigation

The Debtors are involved in various litigation, claims, and other proceedings, including proceedings
relating to the conduct of our business and employee relations, which so long as they remain unresolved
represent a legal issue and potential Claims for monetary damages. Additionally, there is a risk of future
litigation. Pending litigation or future litigation could result in a material judgment against the Debtors or
the Reorganized Debtors. Such litigation, and any judgment in connection therewith, could have a material
negative effect on the Debtors or the Reorganized Debtors.

                                                     73
       Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 84 of 569



B.      Risks Relating to the Capital Structure of the Reorganized Debtors

        1.       Variances from Financial Projections

The Financial Projections set forth in Exhibit C hereto reflect numerous assumptions, which involve
significant levels of judgment and estimation concerning the anticipated future performance of the
Reorganized Debtors, as well as assumptions with respect to the prevailing market, economic, political and
competitive conditions, which are beyond the control of the Reorganized Debtors, and which may not
materialize. Any significant differences in actual future results versus estimates used to prepare the
Financial Projections, such as lower sales, lower pricing, increased promotional activity, increases in
merchandise costs, supply chain and/or distribution network disruptions, increases in fuel prices affecting
shipping costs, changes in prevailing tariff rates, failure to manage inventory at appropriate levels, asset
impairments, technological changes, litigation, workforce disruptions, negative publicity or competition
could result in significant differences from the Financial Projections. The Debtors believe that the
assumptions underlying the Financial Projections are reasonable. However, unanticipated events and
circumstances occurring subsequent to the preparation of the Financial Projections may affect the Debtors’
and the Reorganized Debtors’ ability to initiate the endeavors, execute on the strategic initiatives and meet
the financial benchmarks contemplated by the Plan. Therefore, the actual results achieved throughout the
period covered by the Financial Projections necessarily will vary from the projected results, and these
variations may be material and adverse.

In addition, if the Debtors emerge from chapter 11, the amounts reported in subsequent consolidated
financial statements may materially change relative to historical consolidated financial statements,
including as a result of revisions to the Debtors’ operating plans pursuant to a plan of reorganization. The
Debtors also may be required to adopt “fresh start” accounting in accordance with Accounting Standards
Codification 852 (“Reorganizations”), in which case their assets and liabilities will be recorded at fair value
as of the fresh start reporting date, which may differ materially from the recorded values of assets and
liabilities on the Debtors’ consolidated balance sheets. The Debtors’ financial results after the application
of fresh start accounting also may be different from historical trends. The Financial Projections contained
in Exhibit C hereto do not currently reflect the impact of fresh start accounting, which may have a material
impact on the Financial Projections.

        2.       Leverage

Although the Reorganized Debtors will have less indebtedness than the Debtors, the Reorganized Debtors
will still have a significant amount of secured indebtedness. On the Effective Date, after giving effect to
the transactions contemplated by the Plan, the Reorganized Debtors will have approximately $198 million
in secured funded indebtedness.

The degree to which the Reorganized Debtors will be leveraged could have important consequences,
placing the Reorganized Debtors at a competitive disadvantage to other, less leveraged competitors,
because, among other things: it could affect the Reorganized Debtors’ ability to satisfy their obligations
under their indebtedness following the Effective Date; a portion of the Reorganized Debtors’ cash flow
from operations will be used for debt service under the Plan and therefore will be unavailable to support
operations or for working capital, capital expenditures, expansion, acquisitions or general corporate or other
purposes; the Reorganized Debtors’ ability to refinance their then-existing debt, obtain additional debt
financing or equity financing, or pursue mergers, acquisitions and asset sales, on terms acceptable to them
or at all, may be limited and their costs of borrowing may be increased; as a result of their significant
indebtedness, the Reorganized Debtors may be more vulnerable to economic downturns and their ability to
withstand competitive pressures may be limited; and the Reorganized Debtors’ operational flexibility in
planning for, or reacting to, changes, opportunities and challenges in their businesses, including changes in

                                                      74
       Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 85 of 569



the market sector in which they compete, changes in their business and strategic opportunities, and adverse
developments in their operations, may be severely limited.

        3.       Ability to Service Debt

Although the Reorganized Debtors will have less indebtedness than the Debtors, the Reorganized Debtors
will still have significant interest expense and principal repayment obligations. The Reorganized Debtors’
ability to make payments on and to refinance their debt will depend on their future financial and operating
performance and their ability to generate cash in the future. This, to a certain extent, is subject to general
economic, business, financial, competitive, legislative, regulatory and other factors that are beyond the
control of the Reorganized Debtors.

Although the Debtors believe the Plan is feasible, there can be no assurance that the Reorganized Debtors
will be able to generate sufficient cash flow from operations or that sufficient future borrowings will be
available to pay off the Reorganized Debtors’ debt obligations. The Reorganized Debtors may need to
refinance all or a portion of their debt on or before maturity; however, there can be no assurance that the
Reorganized Debtors will be able to refinance any of their debt on commercially reasonable terms or at all.

If the Reorganized Debtors’ cash flows and capital resources are insufficient to fund their debt service
obligations and other cash requirements, the Reorganized Debtors could face substantial liquidity problems
and could be forced to reduce or delay investments and capital expenditures or to sell assets or operations,
seek additional capital or restructure or refinance their indebtedness and settlement obligations. The
Reorganized Debtors may not be able to effect any such alternative measures, if necessary, on commercially
reasonable terms or at all and, even if successful, such alternative actions may not allow the Reorganized
Debtors to meet their scheduled debt service obligations and settlement obligations. The agreements
governing the Reorganized Debtors’ indebtedness at emergence are expected to (a) have terms and
conditions that restrict their ability to dispose of assets and the use of proceeds from any such dispositions
and (b) restrict their ability to raise debt capital.

The Reorganized Debtors’ inability to generate sufficient cash flows to satisfy their debt obligations, or to
refinance their indebtedness on commercially reasonable terms or at all, would materially and adversely
affect their financial position and results of operations.

If the Reorganized Debtors cannot make scheduled payments on their debt, an event of default may result.
An event of default may allow the creditors to accelerate the related debt as well as any other debt to which
a cross-acceleration or cross-default provision applies. If the Reorganized Debtors are unable to repay
amounts outstanding under their financing agreements when due, the lenders thereunder could, subject to
the terms of the financing agreements, seek to foreclose on the collateral that is pledged to secure the
indebtedness outstanding under such facility.

        4.       Obligations Under Exit Facilities Documents

The Reorganized Debtors’ obligations under the Exit Facilities Documents are expected to be secured by
liens on substantially all of the assets of the Reorganized Debtors (subject to certain exclusions set forth
therein). If the Reorganized Debtors become insolvent or are liquidated, or if there is a default under certain
financing agreements, including, but not limited to, the Exit Facilities Documents, and payment on any
obligation thereunder is accelerated, the lenders under and holders of the Exit Facilities would be entitled,
subject to the applicable intercreditor agreements and other applicable credit documents, to exercise the
remedies available to a secured lender under applicable law, including foreclosure on the collateral that is
pledged to secure the indebtedness thereunder, and they would have a claim on the assets securing the


                                                      75
       Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 86 of 569



obligations under the applicable facility that would be superior to any claim of the holders of unsecured
debt.

        5.       Restrictive Covenants

The financing agreements governing the Reorganized Debtors’ indebtedness are expected to contain
various covenants that may limit the discretion of the Reorganized Debtors’ management by restricting the
Reorganized Debtors’ ability to, among other things, incur additional indebtedness, incur liens, pay
dividends or make certain restricted payments, make investments, consummate certain asset sales, enter
into certain transactions with affiliates, merge, consolidate and sell or dispose of all or substantially all of
their assets. As a result of these covenants, the Reorganized Debtors will be limited in the manner in which
they conduct their business and may be unable to engage in favorable business activities or finance future
operations or capital needs.

Any failure to comply with the restrictions of the financing agreements may result in an event of default.
An event of default may allow the creditors to accelerate the related debt as well as any other debt to which
a cross-acceleration or cross-default provision applies. If the Reorganized Debtors are unable to repay
amounts outstanding under their financing agreements when due, the lenders thereunder could, subject to
the terms of the financing agreements, seek to foreclose on the collateral that is pledged to secure the
indebtedness outstanding under such facility.

As a result of these restrictions, the Reorganized Debtors may be limited in how they conduct their business,
unable to raise additional debt or equity financing to operate during general economic or business
downturns, unable to respond to changing circumstances or to pursue business strategies and unable to
compete effectively, execute their growth strategy or take advantage of new business opportunities.

        6.       Additional Financing

The Reorganized Debtors may be able to incur substantial additional indebtedness in the future. Although
agreements governing the Reorganized Debtors’ indebtedness are expected to restrict the incurrence of
additional indebtedness, these restrictions are and will be subject to a number of qualifications and
exceptions and the additional indebtedness incurred in compliance with these restrictions could be
substantial. If new debt is added to the Reorganized Debtors’ current debt levels, the related risks that the
Debtors now face could intensify.

Moreover, the Reorganized Debtors may need to seek additional financing for general corporate purposes.
For example, they may need funds to make acquisitions or for capital expenditures needed to remain
competitive in their market sector. The Reorganized Debtors may be unable to obtain any desired additional
financing on terms that are favorable or acceptable to them, including as a result of their debt levels or if
there is a decline in the demand for their products or in the solvency of their customers, vendors or suppliers
or other significantly unfavorable changes in economic conditions occur. Depending on market conditions,
adequate funds may not be available to the Reorganized Debtors on acceptable terms or at all, and they may
be unable to fund expansion, successfully develop or enhance products, or respond to competitive pressures,
any of which could have a material adverse effect on the Reorganized Debtors’ competitive position,
business, financial condition, results of operations, and cash flows.

        7.       Potential Dilution

The ownership percentage represented by the New Equity Interests distributed under the Plan as of the
Effective Date will be subject to dilution from the equity issued in connection with the Management
Incentive Plan. In the future, similar to all companies, additional equity financings or other equity issuances

                                                      76
       Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 87 of 569



by Reorganized Debtors could adversely affect the value of the New Equity Interests. The amount and
dilutive effect of any of the foregoing could be material.

        8.       Interests Subordinated to the Reorganized Debtors’ Indebtedness

In any subsequent liquidation, dissolution, or winding up of Reorganized Debtors, the New Equity Interests
would rank below all debt claims against Reorganized Debtors. As a result, holders of the New Equity
Interests will not be entitled to receive any payment or other distribution of assets upon the liquidation,
dissolution, or winding up of Reorganized Debtors until after all applicable holders of debt have been paid
in full.

        9.       Estimated Valuations of the Debtors and the New Equity Interests Are Not Intended
                 to Represent Potential Market Values

The Debtors’ estimated recoveries set forth in this Disclosure Statement are not intended to represent the
market value of the Debtors’ securities. The estimated recoveries are based on numerous assumptions (the
realization of many of which will be beyond the control of the Debtors), including, among others: (a) the
successful reorganization of the Debtors; (b) an assumed date for the occurrence of the Effective Date;
(c) the Debtors’ ability to achieve the operating and financial results included in the Financial Projections;
(d) the Debtors’ ability to maintain adequate liquidity to fund operations; (e) the assumption that capital
and equity markets remain consistent with current conditions; and (f) the Debtors’ ability to maintain critical
existing customer relationships.

        10.      Dividends

The Reorganized Debtors may not pay any dividends on the New Equity Interests. In such circumstances,
the success of an investment in the New Equity Interests will depend entirely upon any future appreciation
in the value of the New Equity Interests. There is, however, no guarantee that the New Equity Interests
will appreciate in value or even maintain its initial value.

        11.      Restrictions on Ability to Resell New Equity Interests

Holders of securities issued pursuant to the exemption from registration under section 1145 of the
Bankruptcy Code who are deemed to be “underwriters” under section 1145(b) of the Bankruptcy Code
(“Section 1145 Underwriters”) will be subject to resale restrictions. Even if a trading market develops for
the New Equity Interests, Section 1145 Underwriters should be aware that they may be required to bear the
financial risk of an investment in the New Equity Interests for an indefinite period of time. For further
discussion, see Section X (“Securities Law Matters”) of this Disclosure Statement.

        12.      The New Equity Interests of Reorganized Parent Will Not Be Listed on a Securities
                 Exchange and the Debtors Do Not Expect It to Be Quoted on the OTC Market at the
                 Effective Date.

The Reorganized Parent will not seek to have the New Equity Interests listed on a national securities
exchange following the Effective Date. The Debtors also expect that the New Equity Interests will not be
quoted on the OTC market at the Effective Date. There also will be transfer restrictions applicable to the
New Equity Interests under the New Stockholders Agreement for holders that are a party thereto. The New
Equity Interests are expected to be issued through a transfer agent and are not expected to be eligible for
settlement through DTC, and, as a result, the New Equity Interests would not be able to be held in street
name and would only be held in certificated or registered form, and trading in the New Equity Interests
may require additional administrative steps. As a result, the Debtors expect that there will not be an active

                                                      77
       Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 88 of 569



trading market for the Reorganized Parent’s New Equity Interests and there may be limited liquidity for
them, which could have a negative impact on their market price. Holders of the New Equity Interests may
have difficulty selling or transferring any New Equity Interests that may be owned at the Effective Date or
may be purchased later. In addition, the number of investors willing to hold or acquire the New Equity
Interests may be reduced, to the extent there is a market for the New Equity Interests, the trading price of
the New Equity Interests may be depressed, Reorganized Parent may receive decreased news and analyst
coverage, and Reorganized Parent may be limited in its ability to issue additional securities or obtain
additional equity financing in the future on terms acceptable to it, or at all.

Even if an active trading market develops for the New Equity Interests, the market price for shares of the
New Equity Interests may be highly volatile and could be subject to wide fluctuations. In addition, the
trading volume of the New Equity Interests may fluctuate and cause significant price variations to occur.
Volatility in the market price or trading volume of the New Equity Interests may prevent investors from
being able to sell it at or above the price they paid to acquire shares of the New Equity Interests, or at all.

        13.      The Terms of the New Stockholders Agreement May Include Provisions That Are
                 Unfavorable to Minority Shareholders.

The New Stockholders Agreement will be included in the Plan Supplement. Although the general terms of
the New Stockholders Agreement are described herein, the form of New Stockholders Agreement has not
been negotiated, and may include provisions that are unfavorable to minority shareholders.

        14.      A Majority of the Holders of the Prepetition Term Loan Claims Prefer That
                 Reorganized Parent Not Be Subject to Exchange Act Reporting Obligations. If
                 Reorganized Parent Ceases to be Subject to Exchange Act Reporting Obligations,
                 Holders of Reorganized Parent’s Securities Would Be Subject to the Risks of an
                 Investment in a Private Company (Within the Meaning of U.S. Practice) Rather
                 Than a U.S. Public Reporting Company.

There is currently no public market for the New Equity Interests and there can be no assurance as to the
development or liquidity of any market for such securities. The Reorganized Parent does not plan to list the
New Equity Interests on any securities exchange. Therefore, there can be no assurance that the securities
will be tradable or liquid at any time after the Effective Date. If a trading market does not develop or is not
maintained, holders of the securities may experience difficulty in reselling such securities or may be unable
to sell them at all. Even if such a market were to exist, such securities could trade at prices higher or lower
than the estimated value set forth in this Disclosure Statement depending upon many factors, including
prevailing interest rates, markets for similar securities, industry conditions, and the performance of, and
investor expectations for, the Reorganized Debtors. Accordingly, holders of the securities may bear certain
risks associated with holding securities for an indefinite period of time.

The Debtors currently expect that, as of the Effective Date, Reorganized Parent initially will remain subject
to Exchange Act reporting obligations. However, Holders of a majority of the Prepetition Term Loan
Claims have informed the Company that they desire for Reorganized Parent to not be subject to ongoing
reporting obligations under the Exchange Act. To suspend reporting obligations under the Exchange Act,
among other requirements, Reorganized Parent would need to deregister its Common Stock under Section
12(g) and Section 15(d) of the Exchange Act, following a determination in accordance with SEC rules that
such equity is held by less than 300 stockholders of record. Any decision of whether to deregister the
Common Stock under the Exchange Act and suspend filing Exchange Act reports, and the manner and
timing of doing so, would be made by the Reorganized Board, and would be subject to their fiduciary duties
and applicable law, including U.S. securities laws. There can be no assurance as to whether or when the
Reorganized Board may make such a decision or how it would be implemented. If the Reorganized Parent

                                                      78
       Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 89 of 569



suspends filing reports under the Exchange Act, public information regarding the Reorganized Parent may
not be readily available. Accordingly, the liquidity, market for and trading value of the New Equity Interests
and other securities of Reorganized Parent may be negatively impacted.

In the event the Common Stock is deregistered and Reorganized Parent suspends filing reports under the
Exchange Act, holders of Reorganized Parent’s securities would be subject to the risks of an investment in
a private company (within the meaning of U.S. practice) rather than a U.S. public reporting company. Upon
any deregistration of the Common Stock, Reorganized Parent’s duty to file periodic reports with the SEC
would be suspended, which would result in a substantial decrease in required public disclosure by
Reorganized Parent about its operations and prospects for so long as Reorganized Parent is not filing such
reports. Reorganized Parent would also be relieved of the obligation to comply with the requirements of
the proxy rules under Section 14 of the Exchange Act. The suspension of Reorganized Parent’s reporting
obligations under the Exchange Act would likely further reduce any limited trading market and liquidity
for the New Equity Interests and may negatively impact the value of, and ability to sell, such shares. In
addition, shareholders may not be able to rely on Rule 144 under the Securities Act to sell their shares of
New Equity Interests in the absence of current public information about the Reorganized Parent, which
would limit the trading in the New Equity Interests. Shareholders also could be adversely affected by a
reduction in Reorganized Parent’s “public float” (i.e., the number of shares owned by outside shareholders
and available for trading in the securities markets). In addition, Reorganized Parent might also have
substantially less access to capital markets and be severely limited in its ability to use equity to effect
acquisitions as a non-reporting company.

C.      Risks Relating to the Debtors’ Business Operations and Financial Conditions

THE FOLLOWING PROVIDES A SUMMARY OF CERTAIN OF THE RISKS ASSOCIATED
WITH THE DEBTORS’ BUSINESSES. HOWEVER, THIS SECTION IS NOT INTENDED TO BE
EXHAUSTIVE. ADDITIONAL RISK FACTORS CONCERNING THE DEBTORS’ BUSINESSES
ARE CONTAINED IN THE DEBTORS’ PREVIOUSLY-FILED ANNUAL REPORT ON
FORM 10-K FOR THE FISCAL YEAR ENDED MARCH 30, 2024 AND SUBSEQUENT
QUARTERLY REPORTS ON FORM 10-Q.

        1.      The Debtors’ Chapter 11 Cases May Negatively Impact Future Operations.

While the Debtors believe that they will be able to emerge from chapter 11 relatively expeditiously, there
can be no assurance as to timing for approval of the Plan or the Debtors’ emergence from chapter 11.
Additionally, notwithstanding the support of the signatories to the Transaction Support Agreement, certain
such parties may have limited experience in dealing with chapter 11 debtors, which could affect the
Debtors’ relationships with such parties, and, in particular, the Chapter 11 Cases may adversely affect the
Debtors’ ability to maintain relationships with existing customers and suppliers and attract new customers.

        2.      Macroeconomic Conditions Could Affect Supply and Demand.

The Debtors’ business operations have historically been, and the Reorganized Debtors’ business operations
may in the future be, materially affected by adverse conditions in the financial markets and depressed
economic conditions generally, both in the United States and elsewhere around the world.

Moreover, the Debtors’ suppliers rely on access to credit to adequately fund their own operations, and the
Debtors’ customers’ buying habits vary according to the market conditions and access to discretionary
income. Disruptions in financial markets and economic slowdown may adversely impact both (a) the
ability of the Reorganized Debtors’ suppliers to finance their operations, which could increase the
Reorganized Debtors’ merchandise costs and reduce their ability to accurately forecast future demand

                                                     79
       Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 90 of 569



trends, and (b) the ability of the Reorganized Debtors’ customers’ to purchase goods from the Reorganized
Debtors, which could decrease market elasticity. Particularly in combination, these conditions could result
in decreased relative and absolute margins for the Reorganized Debtors.

        3.       Supply Chain Issues Could Adversely Affect Operations.

Foreign Imports and Trade Regulations. Political or financial instability, trade restrictions, tariffs, currency
exchange rates, labor conditions, congestion and labor issues at major ports, transport capacity and costs,
systems issues, problems in third party distribution and warehousing and other interruptions of the supply
chain, compliance with U.S. and foreign laws and regulations, and other factors relating to international
trade and imported merchandise beyond the Company’s control could affect the availability and the price
of inventory. Given that the Company sources the majority of its merchandise from outside the United
States, these risks and other factors relating to foreign trade could subject the Company to liability or hinder
its ability to access suitable merchandise on acceptable terms, which could adversely impact results of
operations. Similarly, rising costs, changes in applicable federal, state, or local regulations and laws, and
other disruptions to the domestic labor and/or shipping industries (either specific to the Company or at an
industry-wide level) could adversely affect the Company’s ability to source merchandise from domestic
vendors and transport and ship merchandise and orders around the United States. In addition, developments
in tax policy, such as the disallowance of tax deductions for imported merchandise, or the imposition of
tariffs on imported merchandise, could have a material adverse effect on the Company’s results of
operations and liquidity.

Dependence on Third-Party Transportation Providers. The Debtors rely on independent third-party
transportation providers for product shipments, including shipments to and from stores. This reliance
subjects the Debtors to risks such as increased shipping costs, employee strikes, inclement weather, and
health epidemics or pandemics, which may affect the ability of shipping companies to meet delivery needs.
Any change in shipping companies could result in logistical difficulties, adversely affecting deliveries and
incurring additional costs.

Risks Associated with Foreign Manufacturing. The Debtors’ dependence on foreign imports makes them
vulnerable to risks associated with products manufactured abroad, including damage, destruction, or
confiscation of products in transit, additional import duties, and geopolitical unrest. Compliance lapses by
manufacturers could lead to investigations and potential penalties, negatively affecting the Debtors’
business and operating results.

Vulnerability to Natural Disasters and Unexpected Events. The Debtors’ facilities and systems, as well as
those of vendors, are vulnerable to natural disasters and other unexpected events. Such events could result
in damage, interruptions in business, and potential loss of customers and revenues. Material disruptions at
manufacturing facilities could negatively impact production, customer deliveries, and financial results.

Product Recalls and Liability. The Debtors are subject to regulations by various authorities, including the
Consumer Product Safety Commission. Non-compliance with product safety requirements or consumer
protection laws by vendors could damage the Debtors’ reputation and lead to increased litigation. Product
recalls could result in substantial costs and a decrease in merchandise offerings, adversely affecting sales.

Distribution Risks. The Debtors’ business depends on the successful operation of manufacturing facilities
and distribution centers to fulfill orders and deliver merchandise. Any significant interruption in operations
due to unforeseen causes could delay or impair the ability to distribute merchandise, resulting in lower
sales, loss of brand loyalty, and excess inventory, materially affecting the Debtors’ business, financial
condition, and results of operations.


                                                      80
       Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 91 of 569



        4.       Difficulties with Vendors May Negatively Impact Future Operations.

Vendor Relationships and Merchandise Acquisition. The Debtors’ ability to obtain merchandise on a timely
basis at competitive prices could suffer due to any deterioration or change in vendor relationships or events
adversely affecting vendors or their ability to secure financing. The Debtors generally transact business on
an order-by-order basis without contractual assurances of continued supply, pricing, or access to new
products. Any vendor could discontinue supplying desired products in sufficient quantities for various
reasons. If the Debtors are unable to acquire suitable merchandise in sufficient quantities, at acceptable
prices, and with adequate delivery times due to the loss or deterioration of key vendor relationships, it may
adversely affect their business and results of operations.

Impact of External Factors on Vendor Relationships. The benefits the Debtors currently experience from
vendor relationships could be adversely affected if vendors discontinue selling merchandise, enter into
exclusivity arrangements with competitors, or sell similar merchandise to competitors at similar or better
pricing. Additionally, changes in payment terms, such as requiring payment on delivery or upfront, could
impact the Debtors’ liquidity. The Debtors have historically established relationships with small- to mid-
size vendors, which may be more vulnerable to adverse market and economic events, potentially impairing
the ability to obtain merchandise in sufficient quantities.

The Reorganized Debtors’ potential inability to acquire suitable products in the future or failure to replace
any one or more vendors may have a material adverse effect on their business, results of operations, and
financial condition. In addition, any significant change in the payment terms that the Reorganized Debtors
have with their suppliers could adversely affect their liquidity.

        5.       Landlord Relationships and Future Lease Negotiations May Adversely Affect
                 the Debtors’ Business.

All of the Debtors’ brick-and-mortar stores are located in leased premises. Accordingly, the Debtors’
business may be adversely affected in the event that the Debtors’ relationships with landlords deteriorates
as a result of the Chapter 11 Cases or as a result of universal rising rents. If future lease negotiations lead
to terms that are unduly costly or otherwise change significantly in a manner that increases the Reorganized
Debtors’ responsibilities under their leases, the Reorganized Debtors’ liquidity may be adversely affected
and the Reorganized Debtors’ ability to maintain all of their stores may be limited.

        6.       The Loss of One or More of Reorganized Debtors’ Key Personnel Could Disrupt
                 Operations and Adversely Affect Financial Results.

The Debtors are, and the Reorganized Debtors will be, highly dependent upon the availability and
performance of their executive officers and other core employees. Accordingly, the loss of services of any
of the Debtors’ executive officers or other core employees could materially and adversely affect the
Reorganized Debtors’ business, financial condition and operating results.

        7.       Regulatory and Other Consumer Data Protection Measures Could Adversely Affect
                 the Debtors’ Business.

Efficient and uninterrupted operation of the Debtors’ order-taking and fulfillment operations are critical to
the successful operation of their online business and marketing programs, as well as the Debtors’ ability to
provide a positive shopping experience at their brick-and-mortar stores. In furtherance of these operations
and to improve the shopping experience, the Debtors collect, maintain, and use data provided to through
online activities and customer interactions. The Debtors’ ability to store and use this data is subject to
certain contractual restrictions in third-party contracts as well as evolving international, federal, and state

                                                      81
       Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 92 of 569



privacy, data protection, and data security laws and enforcement trends. The Debtors are also subject to
the Payment Card Industry Data Security Standards (“PCI-DSS”), as mandated by credit card brands used
by their customers. Failure to meet the PCI-DSS requirements could result in the Debtors’ inability to
accept credit cards as a method of payment, which may adversely affect the Debtors’ reputation and/or
brand value and ability to sell products to consumers. While Debtors strive to be in constant compliance
with applicable law, they are not able to predict all changes in these laws and enforcement practices.
Maintaining such compliance could at any time become costly or time consuming for their management,
which in turn could adversely affect business performance. Further, any inadvertent failure to comply with
applicable law could result proceedings by governmental entities or others, subsequent fines or defense
costs, and reputational harm, all which may negatively impact the Debtors’ business operations.

        8.      Cybersecurity Attacks and Disruptions to Information Systems Could Adversely
                Affect the Debtors’ Business.

In the ordinary course of business, the Debtors have relied, and the Reorganized Debtors will continue to
rely, upon information systems, some of which are managed by third parties, to process, transmit and store
digital information, and to manage or support a variety of business processes and activities, including supply
chain, manufacturing, distribution, invoicing, and collection of payments from customers. The secure
operation of such systems and the processing and maintenance of this information is critical to business
operations and strategy. Despite actions to mitigate or eliminate risk, the Reorganized Debtors’ information
systems may be vulnerable to damage, disruptions or shutdowns due to the activity of hackers, employee
error or malfeasance, or other disruptions, including power outages, telecommunication or utility failures,
natural disasters, or other catastrophic events. The occurrence of any of these events could compromise the
Reorganized Debtors’ information systems, and the information stored there (including customer
information) could be accessed, publicly disclosed, lost, or stolen. Any such access, disclosure or other
loss of information could result in legal claims or proceedings, liability or regulatory penalties under laws
protecting the privacy of personal information, disruption of operations, and damage to the Reorganized
Debtors’ reputation, all of which could adversely affect their business, financial condition and results of
operations.

        9.      The Debtors’ Businesses May Face Risks Related to Indemnifications Under Certain
                Executory Contracts.

The Plan provides for the assumption of Indemnification Provisions, with which the Reorganized Debtors
may be required to comply after the Effective Date, at cost to the Debtors’ business.

        10.     Certain Tax Consequences of Restructuring

The potential U.S. federal income tax consequences of the Restructuring to the Debtors and Holders of
Claims and Interests (including the ownership and disposition of consideration to be received pursuant to
the Restructuring) are complex and, in certain instances, subject to uncertainty. Such Holders should
carefully review the materials in “Certain U.S. Income Tax Consequences of the Plan” and independently
consult with their tax advisors regarding the Restructuring.

D.      Additional Factors

        1.      The Debtors Could Withdraw the Plan.

Subject to, and without prejudice to, the rights of any party in interest, the Plan may be revoked or
withdrawn by the Debtors before the Confirmation Date.


                                                     82
       Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 93 of 569



        2.       The Debtors Have No Duty to Update.

The statements contained in this Disclosure Statement are made by the Debtors as of the date hereof, unless
otherwise specified herein, and the delivery of this Disclosure Statement after that date does not imply that
there has been no change in the information set forth herein since that date. Additionally, the Debtors have
no duty to update this Disclosure Statement unless otherwise ordered to do so by the Bankruptcy Court.

        3.       No Representations Outside This Disclosure Statement Are Authorized.

No representations concerning or related to the Debtors, the Chapter 11 Cases, or the Plan are authorized
by the Bankruptcy Court or the Bankruptcy Code, other than as set forth in this Disclosure Statement. Any
representations or inducements made to secure your acceptance or rejection of the Plan that are other than
those contained in, or included with, this Disclosure Statement should not be relied upon in making the
decision to accept or reject the Plan.

        4.       No Legal or Tax Advice Is Provided by This Disclosure Statement.

The contents of this Disclosure Statement should not be construed as legal, business, or tax advice. Each
holder of a Claim or Interest should consult its own legal counsel and accountant as to legal, tax, and other
matters concerning its Claim or Interest.

This Disclosure Statement is not legal advice to you. This Disclosure Statement may not be relied upon for
any purpose other than to determine how to vote on the Plan or object to confirmation of the Plan.

        5.       No Admission Made

Nothing contained herein or in the Plan will constitute an admission of, or will be deemed evidence of, the
tax or other legal effects of the Plan on the Debtors or holders of Claims or Interests.

                                                      X.
                                   SECURITIES LAW MATTERS

The Debtors believe that any offers of New Equity Interests that may be deemed to be made before the
Petition Date, including in connection with the solicitation of votes on the Plan, will be exempt from the
registration requirements of the Securities Act pursuant to Section 4(a)(2), Regulation D, and/or
Regulation S promulgated thereunder. Section 4(a)(2) of the Securities Act provides that the issuance of
securities by an issuer in transactions not involving a public offering are exempt from registration under
Section 5 of the Securities Act. Regulation D and Regulation S are non-exclusive safe harbors from
registration promulgated by the SEC under the Securities Act.

A.      Issuance of 1145 Securities

The Plan provides for the offer, issuance, sale or distribution of shares of New Equity Interests to the
Holders of Allowed DIP Claims and Prepetition Term Loan Claims. The Debtors believe that the offer,
issuance, sale or distribution by Reorganized Parent of New Equity Interests, as distributions, among others,
on the Allowed DIP Claims and Prepetition Term Loan Claims (the “1145 Securities”) will be exempt from
registration under section 5 of the Securities Act and under any state or local laws requiring registration for
offer or sale of a security pursuant to section 1145(a) of the Bankruptcy Code, except with respect to an
entity that is an underwriter as defined in section 1145(b) of the Bankruptcy Code (see below).




                                                      83
       Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 94 of 569



Section 1145(a)(1) of the Bankruptcy Code exempts the offer and sale of securities under a plan of
reorganization from registration under section 5 of the Securities Act and state or local securities laws if
three principal requirements are satisfied: (a) the securities must be offered and sold under a plan of
reorganization and must be securities issued by the debtor, an affiliate participating in a joint plan with the
debtor, or a successor to the debtor under the plan; (b) the securities must be in exchange for a claim against,
an interest in, or a claim for an administrative expense in the case concerning, the debtor or such affiliate;
and (c) the securities must be issued entirely in exchange for such a claim or interest, or “principally” in
exchange for such claim or interest and “partly” for cash or property.

The issuance of the New Equity Interests under the Plan on account of Allowed DIP Claims and Prepetition
Term Loan Claims satisfies the requirements of section 1145(a)(1) of the Bankruptcy Code.

The exemptions of section 1145(a)(1) do not apply to an entity that is deemed an “underwriter” as such
term is defined in section 1145(b) of the Bankruptcy Code.

Section 1145(b)(1) of the Bankruptcy Code defines an “underwriter” as one who, except with respect to
“ordinary trading transactions” of an entity that is not an “issuer”: (a) purchases a claim against, an interest
in, or a claim for an administrative expense against the debtor with a view to distributing any security
received in exchange for such claim or interest (“accumulators”); (b) offers to sell securities offered or sold
under a plan for the holders of such securities (“distributors”); (c) offers to buy securities offered or sold
under a plan from the holders of such securities, if the offer to buy is (i) with a view to distributing such
securities and (ii) under an agreement made in connection with the plan, the consummation of the plan, or
with the offer or sale of securities under the plan; and (d) is an “issuer” (as defined in section 2(a)(11) of
the Securities Act) with respect to the securities.

The definition of an “issuer” for purposes of whether a person is an underwriter under section 1145(b)(1)(D)
of the Bankruptcy Code includes Persons directly or indirectly controlling, controlled by or under direct or
indirect common control with the issuer. “Control,” as defined in Rule 405 of the Securities Act, means
the possession, directly or indirectly, of the power to direct or cause the direction of the management and
policies of a person, whether through the ownership of voting securities, by contract or otherwise. Such
Persons are referred to as “affiliates” of the issuer. Accordingly, an officer or director of a reorganized
debtor or its successor under a plan of reorganization may be deemed to be an issuer for these purposes and
therefore an underwriter. In addition, the legislative history of section 1145 of the Bankruptcy Code
suggests that a creditor who receives ten percent or more of a class of securities of a reorganized debtor
may be presumed to be in a relationship of “control” with the reorganized debtor and, therefore, an
underwriter, although the staff of the SEC has not taken a position on this view.

B.      Subsequent Transfers of 1145 Securities

Section 1145(c) of the Bankruptcy Code provides that securities issued pursuant to section 1145(a) are
deemed to have been issued in a public offering. In general, therefore, resales of and subsequent
transactions in the 1145 Securities will be exempt from registration under the Securities Act pursuant to
section 4(a)(1) of the Securities Act, unless the holder thereof is deemed to be an “issuer,” an “underwriter,”
or a “dealer” with respect to such securities. A “dealer,” as defined in section 2(a)(12) of the Securities
Act, is any person who engages either for all or part of his or her time, directly or indirectly, as agent, broker
or principal, in the business of offering, buying, selling or otherwise dealing or trading in securities issued
by another person.

Notwithstanding the provisions of section 1145(b) regarding accumulators and distributors referred to
above, the staff of the SEC has taken the position that resales of securities distributed under a plan of
reorganization by accumulators and distributors of securities who are not affiliates of the issuer of such

                                                       84
       Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 95 of 569



securities are exempt from registration under the Securities Act if effected in “ordinary trading
transactions.” The staff of the SEC has indicated in this context that a transaction by such non-affiliates
may be considered an “ordinary trading transaction” if it is made on a national securities exchange or in the
over-the-counter market and does not involve any of the following factors:

        (a)     (i) concerted action by the recipients of securities issued under a plan in connection with
                the sale of such securities or (ii) concerted action by distributors on behalf of one or more
                such recipients in connection with such sales;

        (b)     the use of informational documents concerning the offering of the securities prepared or
                used to assist in the resale of such securities, other than a Bankruptcy Court-approved
                disclosure statement and supplements thereto, and documents filed with the SEC pursuant
                to the Exchange Act; or

        (c)     the payment of special compensation to brokers and dealers in connection with the sale of
                such securities designed as a special incentive to the resale of such securities (other than
                the compensation that would be paid pursuant to arm’s-length negotiations between a seller
                and a broker or dealer, each acting unilaterally, not greater than the compensation that
                would be paid for a routine similar-sized sale of similar securities of a similar issuer).

The staff of the SEC has not provided any guidance for privately arranged trades. The views of the staff of
the SEC on these matters have not been sought by the Debtors and, therefore, no assurance can be given
regarding the proper application of the “ordinary trading transaction” exemption described above. Any
persons intending to rely on such exemption is urged to consult their counsel as to the applicability thereof
to their circumstances.

To the extent that Persons who receive 1145 Securities pursuant to the Plan are deemed to be underwriters
(and who do not qualify for the treatment of “ordinary trading transactions” described above), resales by
such Persons of 1145 Securities would not be exempted from registration under the Securities Act or other
applicable laws by reason of section 1145 of the Bankruptcy Code and section 4(a)(1) of the Securities Act.
However, Persons deemed to be underwriters may be permitted to resell such 1145 Securities without
registration pursuant to the limited safe harbor resale provisions of Rule 144 promulgated under the
Securities Act or another available exemption under the Securities Act.

Generally, Rule 144 of the Securities Act permits the public sale of securities if certain conditions are met,
including a required holding period, certain current public information regarding the issuer being available,
and compliance with applicable volume, manner of sale and notice requirements. If the issuer is not subject
to the reporting requirements of section 13 or 15(d) of the Exchange Act, adequate current public
information as specified under Rule 144 is available if certain company information is made publicly
available, as specified in section (c)(2) of Rule 144. As promptly as reasonably practicable following the
Effective Date, Reorganized Parent expects to terminate the registration of all Securities under sections 13
and 15(d) of the Exchange Act and continue as a private company, and therefore there can be no assurance
that current public information as specified in Rule 144 will be available. The staff of the SEC has taken
the position that Persons who are deemed to be underwriters solely because they are affiliates of a
reorganized debtor are not subject to the holding period requirements of Rule 144. Accordingly, affiliates
of Reorganized Parent that receive 1145 Securities under the Plan may resell those securities following the
Effective Date in reliance on Rule 144, subject to certain current public information regarding the issuer
being available, and compliance with the applicable volume, manner of sale and notice requirements.

Whether or not any particular Person would be deemed to be an “underwriter” with respect to the 1145
Securities or any other security to be issued pursuant to the Plan depends upon various facts and

                                                     85
       Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 96 of 569



circumstances applicable to that Person. Accordingly, the Debtors express no view as to whether any
particular Person receiving 1145 Securities or any other securities under the Plan would be considered an
“underwriter” under section 1145(b) of the Bankruptcy Code with respect to such securities, or whether
such Person may freely resell such securities or the circumstances under which they may resell such
securities.

The Reorganized Debtors do not intend to cause the New Equity Interests to be eligible for book-entry
treatment under the facilities of the Depository Trust Company (“DTC”). Notwithstanding anything to the
contrary in the Plan, no Entity (including, for the avoidance of doubt, DTC) will be entitled to require a
legal opinion regarding the validity of any transaction contemplated by the Plan under applicable securities
laws, including, for the avoidance of doubt, whether the New Equity Interests are exempt from registration
and/or eligible for DTC book-entry delivery, settlement, and depository services.

                                                     XI.
       CERTAIN U.S. FEDERAL INCOME TAX CONSEQUENCES OF THE PLAN

The following discussion is a summary of certain material U.S. federal income tax consequences of the
implementation of the Plan to the Debtors and to certain holders of Claims. The following summary does
not address the U.S. federal income tax consequences to holders of Claims who are unimpaired, deemed to
accept or reject the Plan, or otherwise entitled to payment in full in Cash under the Plan. In addition,
except in limited circumstances with respect to the Participation Right (as defined below), including the
DIP Equity Premium, DIP Facilities, and the First-Out Exit Term Loans and the Second-Out Exit Term
Loans, this discussion does not address any consideration that is received on account of a person’s capacity
other than as a holder of such Claims, that is not described in Article III.B of the Plan. Accordingly, this
discussion does not include the tax considerations relating to the receipt of the DIP Put Option Premium
and the Commitment Premium.

The discussion of U.S. federal income tax consequences below is based on the Internal Revenue Code of
1986, as amended (the “Tax Code”), regulations promulgated by the United States Department of the
Treasury under the Tax Code (the “Treasury Regulations”), judicial authorities, published positions of the
Internal Revenue Service (“IRS”), and other applicable authorities, all as in effect on the date of this
Disclosure Statement, and all of which are subject to change or differing interpretations (possibly with
retroactive effect). The U.S. federal income tax consequences of the contemplated transactions are complex
and subject to significant uncertainties. The Debtors have not requested an opinion of counsel or a ruling
from the IRS or any other taxing authority with respect to any of the tax aspects of the contemplated
transactions, and the discussion below is not binding upon the IRS or any court. Accordingly, there can
be no assurance that the IRS would not assert, or that a court would not sustain, a contrary position as to
the U.S. federal income tax consequences described herein.

This summary does not address non-U.S., state, local, gift, or estate tax consequences of the Plan, nor does
it purport to address all aspects of U.S. federal income taxation that may be relevant to a holder in light of
its individual circumstances, including the impact of the Medicare contribution tax on net investment
income and any alternative minimum tax, or to a holder that may be subject to special tax rules (such as
persons who are related to any Debtor within the meaning of one of various provisions of the Tax Code;
broker-dealers; banks; mutual funds; insurance companies; financial institutions; small business investment
companies; real estate investment trusts; regulated investment companies; tax-exempt organizations; trusts;
governmental authorities or agencies; dealers and traders in securities; retirement plans; individual
retirement and other tax-deferred accounts; holders that are, or hold Claims through, S corporations,
partnerships or other pass-through entities for U.S. federal income tax purposes; persons whose functional
currency is not the U.S. dollar; dealers in foreign currency; holders who hold Claims as part of a straddle,
hedge, conversion transaction or other integrated investment; holders using a mark-to-market method of

                                                      86
       Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 97 of 569



accounting; holders of Claims who are themselves in bankruptcy; and holders who are accrual method
taxpayers that report income on an “applicable financial statement”). In addition, this discussion does
not address U.S. federal taxes other than income taxes.

Furthermore, this discussion assumes that the various debt and other arrangements to which the Debtors are
a party will be respected for U.S. federal income tax purposes in accordance with their form and that, except
where otherwise indicated, the Claims are held as “capital assets” (generally, property held for investment)
within the meaning of section 1221 of the Tax Code.

The Debtors currently contemplate, and the following discussion also assumes, that the receipt by a Holder
of New Equity Interests will be treated for U.S. federal income tax purposes as though the Holder received
Equity Interests in Parent and then immediately exchanged such Equity Interests for the New Equity
Interests.

THE FOLLOWING SUMMARY OF CERTAIN MATERIAL U.S. FEDERAL INCOME TAX
CONSEQUENCES IS FOR INFORMATIONAL PURPOSES ONLY AND IS NOT A SUBSTITUTE
FOR CAREFUL TAX PLANNING AND ADVICE BASED UPON A HOLDER’S INDIVIDUAL
CIRCUMSTANCES. EACH HOLDER OF A CLAIM IS URGED TO CONSULT ITS TAX
ADVISOR FOR THE U.S. FEDERAL, STATE, LOCAL, NON-U.S., AND OTHER TAX
CONSEQUENCES APPLICABLE UNDER THE PLAN.

A.      Consequences to Debtors

For U.S. federal income tax purposes, Parent is the common parent of an affiliated group of corporations
that files a consolidated U.S. federal income tax return (the “TCS Group”). Parent owns all of the stock
of Debtor TCS, the borrower on the Term Loans. Debtor TCS owns, directly and indirectly, U.S. and
foreign subsidiaries. As of the tax year ending March 30, 2024, the Debtors have carryforwards of federal
disallowed business interest expense of approximately $17 million (“Suspended Interest Carryforwards”)
and certain other tax attributes and expect to generate net operating losses (“NOLs”) and other tax attributes
in the current tax year ending March 29, 2025 (collectively, the “Tax Attributes”). The amount of such
Tax Attributes remains subject to further analysis of the Debtors and potentially audit and adjustment by
the IRS.

        1.       Cancellation of Debt

In general, absent an exception, a debtor will realize and recognize cancellation of debt (“COD”) income
upon satisfaction of its outstanding indebtedness for total consideration less than the amount of such
indebtedness. The amount of COD income, in general, is the excess of (a) the adjusted issue price of the
indebtedness satisfied over (b) the sum of (i) the amount of cash paid, (ii) the “issue price” of any debt
issued, and (iii) the fair market value of any other consideration (including equity of a debtor or a party
related to such debtor) given in satisfaction, or as part of the discharge, of such indebtedness at the time of
the exchange. However, COD income should not arise to the extent that payment of the indebtedness would
have given rise to a deduction. The Plan provides that holders of Term Loan Claims will receive New
Equity Interests in exchange for their Claims, so the amount of COD income for the TCS Group will
depend, in part, on the fair market value of the New Equity Interests. In addition, as discussed below in
“—Ownership and Disposition of Exit Term Loans—Issue Price,” the issue price of the investment unit
(consisting of the New Equity Interests (including those comprising the DIP Equity Premium), the First-
Out Loans and the Second-Out Loans) to be issued in satisfaction of the Term Loan Claims is uncertain at
this time. Accordingly, the estimated amount of COD income is uncertain at this time.



                                                      87
       Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 98 of 569



Under section 108 of the Tax Code, a taxpayer is not required to include COD in gross income (i) if the
debtor is under the jurisdiction of a court in a case under chapter 11 of the Bankruptcy Code and the
discharge of debt occurs pursuant to that proceeding or (ii) to the extent that the taxpayer is insolvent
immediately before the discharge. As a consequence of such an exclusion, a debtor generally must reduce
its tax attributes by the amount of COD income that it excluded from gross income. In general, such tax
attributes are reduced in the following order: (a) NOLs; (b) general business credit carryovers;
(c) minimum tax credit carryovers; (d) capital loss carryovers; (e) tax basis in assets (but not below the
amount of liabilities to which the taxpayer remains subject immediately after the cancellation of
indebtedness); (f) passive activity loss and credit carryovers; and (g) foreign tax credit carryovers.
Alternatively, a taxpayer with excluded COD may elect first to reduce the basis of its depreciable assets
(a “Section 108(b)(5) Election”), in which case the limitation described in (e) does not apply to the
reduction in basis of depreciable property and, following such reduction, any remaining COD income that
is excluded from gross income reduces any remaining tax attributes in the order specified in the prior
sentence. The reduction of the taxpayer’s tax attributes occurs at the end of the tax year for which the
excluded COD income is realized, but only after the taxpayer’s net income or loss for the taxable year of
the debt discharge has been determined; in this way, the attribute reduction is generally effective as of the
start of the taxable year following the discharge. If the amount of excluded COD income exceeds available
tax attributes, the excess generally is not subject to U.S. federal income tax. Where a taxpayer joins in the
filing of a consolidated U.S. federal income tax return, applicable Treasury Regulations require, in certain
circumstances, that certain tax attributes of other members of the group also be reduced.

In connection with the implementation of the Plan, the Debtors expect to realize a substantial amount of
excluded COD income for U.S. federal income tax purposes. The Debtors have not yet determined
whether to make a Section 108(b)(5) Election and expect that, if no Section 108(b)(5) Election is made,
all or substantially all of their U.S. federal NOLs would be reduced as well as a portion of their asset tax
basis (including basis in the stock of certain subsidiaries) as a result of the COD attribute reduction arising
in connection with the Plan.

        2.       Limitation on NOLs and Other Tax Attributes

Following the Effective Date, any NOLs, carryforwards of disallowed business interest expense and
certain other Tax Attributes, if any, allocable to tax periods or portions thereof ending on or prior to the
Effective Date (collectively, “Pre-Change Losses”) or built-in losses may be subject to certain limitations
under sections 382 and 383 of the Tax Code. Any such limitations apply in addition to, and not in lieu
of, the attribute reduction that results from the exclusion of COD income arising in connection with the
Plan.

If a corporation or consolidated group undergoes an “ownership change” as defined under section 382 of
the Tax Code, the amount of its “pre-change losses” that may be utilized to offset future taxable income
generally is subject to an annual limitation. In general, an “ownership change” occurs if the percentage
of the value of the loss corporation’s stock owned by one or more direct or indirect “5-percent
shareholders” increases by more than fifty percentage points over the lowest percentage of value owned
by the 5-percent shareholders at any time during the applicable testing period. The testing period generally
is the shorter of (a) the three-year period preceding the testing date and (b) the period of time since the
most recent ownership change of the corporation. The Debtors anticipate that the distribution of the New
Equity Interests pursuant to the Plan will result in an ownership change of the Reorganized Debtors for
these purposes, and that the Reorganized Debtors’ use of their Pre-Change Losses will be subject to
limitation unless an exception to the general rules of sections 382 and 383 of the Tax Code applies.




                                                      88
       Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 99 of 569



                 a. General Annual Limitation

In general, the amount of the annual limitation to which a corporation or consolidated group that undergoes
an ownership change would be subject is equal to the product of (a) the fair market value of the stock of
the corporation (or parent of the consolidated group) immediately before the ownership change (with certain
adjustments) and (b) the “long-term tax-exempt rate” (which is the highest of the adjusted federal long-
term rates in effect for any month in the three-calendar-month period ending with the calendar month in
which the ownership change occurs, e.g., 3.43% for ownership changes occurring in January 2025). For
a corporation or consolidated group in bankruptcy that undergoes an ownership change pursuant to a
confirmed bankruptcy plan, unless the special exception described below applies, the annual limitation is
generally determined by reference to the fair market value of the stock of the corporation (or the parent of
the consolidated group) immediately after (rather than before) the ownership change and after giving effect
to the discharge of creditors’ claims, subject to certain adjustments; in no event, however, can the stock
value for this purpose exceed the pre-change gross value of the assets of the corporation. Any portion of
the annual limitation that is not used in a given year may be carried forward, thereby adding to the annual
limitation for the subsequent taxable year.

Under certain circumstances, the annual limitation otherwise computed may be increased if the corporation
or consolidated group has an overall built-in gain in its assets at the time of the ownership change. If a
loss corporation (as defined in section 382(k)(1) of the Tax Code) or consolidated group has such “net
unrealized built-in gain” at the time of an ownership change (taking into account most assets and items of
“built-in” income, gain, loss, and deduction), any built-in gains recognized (or, according to a currently
effective IRS notice, treated as recognized) during the following sixty-month period (up to the amount of
the original net unrealized built-in gain) generally will increase the annual limitation in the year of such
recognition, such that the loss corporation or consolidated group would be permitted to use its pre-change
losses against such built-in gain income in addition to its otherwise applicable annual limitation.
Alternatively, if a loss corporation or consolidated group has a “net unrealized built-in loss” at the time
of an ownership change, then any built-in losses existing at such time that are recognized (including, but
not limited to, amortization or depreciation deductions attributable to such built-in losses) during the sixty-
month period following the ownership change (up to the amount of the original net unrealized built-in loss)
will be treated as pre-change losses, the deductibility of which will be subject to the annual limitation. In
general, the net unrealized built-in gain or loss will be deemed to be zero unless it is greater than the lesser
of (a) $10 million or (b) 15% of the fair market value of the corporation’s or consolidated group’s assets
(with certain adjustments) before the ownership change. The Debtors currently expect that the TCS Group
will have a net unrealized built-in loss as of the Effective Date.

If the corporation or consolidated group does not continue its historic business or use a significant portion
of its historic assets in a new business for at least two years after the ownership change, the annual limitation
resulting from the ownership change is reduced to zero, thereby precluding any utilization of the
corporation’s pre-change losses (absent any increases due to recognized built-in gains). Currently, the
Debtors anticipate that all or substantially all of their NOLs generated in the current tax year will be
eliminated as a result of the COD attribute reduction arising in connection with the consummation of the
Plan. In addition, Section 382 of the Tax Code is expected to materially restrict the subsequent utilization
of other Tax Attributes after the Effective Date, including Suspended Interest Carryforwards and
recognized built-in losses.

                 b. Special Bankruptcy Exception

Under section 382(l)(5) of the Tax Code, an exception to the foregoing annual limitation rules generally
applies when, among other requirements, so-called “qualified creditors” and shareholders of a debtor
corporation in chapter 11 receive, in respect of their claims or equity interests, respectively, at least fifty

                                                       89
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 100 of 569



percent of the vote and value of the stock of the reorganized debtor (or a controlling corporation if also in
chapter 11) pursuant to a confirmed chapter 11 plan. Instead, the debtor’s Pre-Change Losses are reduced
by the amount of any interest deductions with respect to debt converted into stock in the bankruptcy
reorganization that were allowed in the three full taxable years preceding the taxable year in which the
ownership change occurs and in the part of the taxable year prior to and including the date of the ownership
change attributable to the bankruptcy reorganization (the “Plan Ownership Change”). However, if any
pre-change Tax Attributes and built-in losses of the debtor already are subject to an annual usage limitation
under Section 382 of the Tax Code at the time of an ownership change subject to Section 382(l)(5) of the
Tax Code, those pre-change Tax Attributes and built-in losses generally will continue to be subject to such
limitation.

A qualified creditor is any creditor who has held the debt of the debtor for at least eighteen months prior to
the petition date or who has held “ordinary course indebtedness” that has been owned at all times by such
creditor. A creditor who does not become a direct or indirect five percent shareholder of the reorganized
debtor generally may be treated by the debtor as having always held any debt owned immediately before
the ownership change, unless the creditor’s participation in formulating the plan of reorganization makes
evident to the debtor that the creditor has not owned the debt for the requisite period.

A debtor may elect not to apply Section 382(l)(5) of the Tax Code to an ownership change that otherwise
satisfies its requirements. This election must be made on the debtor’s federal income tax return for the
taxable year in which the ownership change occurs. If Section 382(l)(5) of the Tax Code applies to an
ownership change (and the debtor does not elect out), any subsequent ownership change of the debtor within
the two-year period following the date of the Plan Ownership Change will result in the debtor being unable
to use any pre-change losses in any taxable year ending after such subsequent ownership change to offset
future taxable income.

If an ownership change pursuant to a bankruptcy plan does not satisfy the requirements of Section 382(l)(5)
of the Tax Code, or if a debtor elects not to apply Section 382(l)(5) of the Tax Code, the debtor would be
subject to the rules discussed above under “—General Annual Limitation.” The Debtors have not
determined whether they qualify for, or whether they will elect not to apply, the exception under section
382(l)(5) of the Tax Code in connection with the Plan.

B.      Consequences to Holders of Claims

Except as otherwise discussed herein, the summary below generally assumes that holders of the applicable
Claims will, each as a class, vote to accept the Plan. As used herein, the term “U.S. Holder” means a
beneficial owner of Term Loan Claims, Exit Term Loans, New Equity Interests, or the Participation Right
that is for U.S. federal income tax purposes:

         •        an individual who is a citizen or resident of the United States;

         •        a corporation, or other entity taxable as a corporation for U.S. federal income tax
                  purposes, created or organized in or under the laws of the United States, any state thereof
                  or the District of Columbia;

         •        an estate the income of which is subject to U.S. federal income taxation regardless of its
                  source; or

         •        a trust, if a court within the United States is able to exercise primary jurisdiction over its
                  administration and one or more United States persons have authority to control all of its
                  substantial decisions, or if the trust has a valid election in effect under applicable

                                                      90
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 101 of 569



                  Treasury Regulations to be treated as a United States person.

A “Non-U.S. Holder” is a beneficial owner of Term Loan Claims, Exit Term Loans, New Equity Interests,
or the Participation Right that is neither a U.S. Holder nor an entity classified as a partnership for U.S.
federal income tax purposes.

If a partnership or other entity or arrangement classified as a partnership for U.S. federal income tax
purposes holds such Term Loan Claims, Exit Term Loans, New Equity Interests, or the Participation
Right, the tax treatment of a partner in such partnership generally will depend upon the status of the partner,
the activities of the partnership and certain determinations made at the partner-level. Each U.S. Holder
that is a partnership or a partner in a partnership holding any of such instruments should consult its tax
advisor.

        1.       Integrated Transaction Treatment

In accordance with the Transaction Support Agreement and in connection with the implementation of the
Plan, each holder of a Term Loan Claim was provided the right to provide its allocable share of funding for
the First-Out DIP Term Loans, and then, among other things, receive the Second-Out DIP Term Loans and
ultimately receive the Exit Term Loans and DIP Equity Premium (such right, the “Participation Right”).
The DIP Term Loans will automatically convert, respectively, into the Exit Term Loans pursuant to the
Plan. While not free from doubt, the Debtors currently intend to take the position, and the remainder of
this summary assumes (unless otherwise indicated), that the automatic conversion of the First-Out DIP
Term Loans to the First-Out Exit Term Loans, on the one hand, and the automatic conversion of the Second-
Out DIP Term Loans to the Second-Out Exit Term Loans, on the other hand, do not result in a sale or
exchange of property for U.S. federal income tax purposes. Accordingly, the First-Out DIP Term Loans
and First-Out Exit Term Loans (collectively, the “First-Out Loans”), and the Second-Out DIP Loans and
Second-Out Exit Term Loans (collectively, the “Second-Out Loans”), shall each be the treated as a single
instrument for U.S. federal income tax purposes. Any value attributable to the Second-Out Loans and New
Equity Interests received upon the exercise of the Participation Right or, alternatively, the receipt of the
Participation Right itself, may be considered for tax purposes as value received by such holders of Term
Loan Claims as a partial recovery on such Claims under the Plan. While the Debtors have not yet
determined whether any such treatment is appropriate, the remainder of this summary assumes (unless
otherwise indicated) that the receipt and exercise of the Participation Right is treated for U.S. federal income
tax purposes as part of an integrated transaction pursuant to which (A) investment units composed of (i)
New Equity Interests (including those comprising the DIP Equity Premium), and (ii) DIP Term Loans/Exit
Term Loans (as defined below) are acquired directly in exchange for (B) (i) satisfaction of holders’ Term
Loan Claims and (ii) the amount of cash used to fund the First-Out DIP Term Loans that are converted into
the First-Out Exit Term Loans pursuant to the Plan. Other characterizations are possible, including that the
receipt and exercise of the Participation Right may be treated as the receipt and exercise of an option to
acquire the New Equity Interests comprising the DIP Equity Premium. The Debtors intend to make
publicly available IRS Form 8937 that will provide the holders of Term Loan Claims with additional
information with respect to the Debtors intended tax reporting as to the foregoing transactions. Each
holder of Term Loan Claims is strongly urged to consult its own tax advisers regarding the treatment
of the Participation Right and the related transactions.

        2.       U.S. Holders of Term Loan Claims

                 a. Recognition of Gain or Loss

In accordance with the integrated transaction approach discussed above, a holder of Allowed Term Loan
Claims will be deemed to receive (i) New Equity Interests or (ii) DIP Term Loans/Exit Term Loans and

                                                      91
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 102 of 569



New Equity Interests (including those comprising the DIP Equity Premium), in satisfaction of its Claims.
Under applicable Treasury Regulations, the modification of the terms of a debt instrument (including
pursuant to an exchange of a new debt instrument for the existing debt instrument) generally is a significant
modification if, based on all of the facts and circumstances and taking into account all modifications of the
debt instrument, the legal rights or obligations that are altered and the degree to which they are altered is
“economically significant.” A modification that changes the timing of payments due under a debt
instrument is a significant modification if it results in a material deferral of scheduled payments. However,
a deferral of one or more scheduled payments is not a material deferral if it is within a safe-harbor period
beginning on the original due date of the first scheduled payment that is deferred and extending for a period
equal to the lesser of five years and fifty percent of the original term of the instrument. A change in the
yield of a debt instrument is a significant modification if the yield of the modified instrument (as computed
under the applicable Treasury Regulations) varies from the annual yield of the unmodified instrument
(determined as of the date of the modification) by more than the greater of (i) 0.25% or (ii) 5% of the annual
yield of the unmodified instrument.

The Debtors currently expect that the Restructuring Transaction Steps Memorandum (which will be filed
with the Plan Supplement) will provide that Reorganized Parent will contribute the New Equity Interests
(including those comprising the DIP Equity Premium) to Debtor TCS and, immediately thereafter, Debtor
TCS will distribute the New Equity Interests pursuant to the Plan (or Debtor TCS may further contribute
the New Equity Interests to a newly-formed wholly-owned limited liability company that will initially be
disregarded for U.S. federal income tax purposes, and equity interests in such limited liability company
would be distributed pursuant to the Plan). Based on applicable Treasury Regulations, the Debtors expect,
and the remainder of this discussion assumes, that such a transaction should be viewed, for U.S. federal
income tax purposes, as an exchange of (i) such Claims for (ii) the DIP Term Loans/Exit Term Loans and
New Equity Interests (including those comprising the DIP Equity Premium).

Each U.S. Holder of Term Loan Claims should generally realize gain or loss in an amount equal to the
difference, if any, between (i) the sum of the (A) issue price of the DIP Term Loans/Exit Term Loans and fair
market values of the New Equity Interests, including those comprising the DIP Equity Premium (for those
holders of Term Loan Claims that do exercise the Participation Right) or (B) fair market value of the New Equity
Interests (for those holders of Term Loan Claims that do not exercise the Participation Right) and (ii) the
sum of the U.S. Holder’s adjusted tax basis in the Claims and, for those Term Loan Claims holders that
exercise the Participation Right, the amount of cash used to fund the First-Out Loans exchanged therefor.
Whether a U.S. Holder of Allowed Term Loan Claims will recognize any such realized gain or loss will
depend on whether the receipt of (A) the DIP Term Loans/Exit Term Loans and New Equity Interests,
including those comprising the DIP Equity Premium, (in the case of a Holder that exercises the Participation
Right) or (B) the New Equity Interests (in the case of a Holder that does not exercise the Participation Right)
in exchange for such Claims constitutes a taxable exchange or a tax-deferred (or partially tax-deferred)
exchange for such Holder, which will, in part, depend on whether the Claims surrendered in the exchange,
and the DIP Term Loans/Exit Term Loans received therefor, constitute “securities” for U.S. federal income tax
purposes.

The term “security” is not defined in the Tax Code or in the Treasury Regulations issued thereunder and has
not been clearly defined by judicial decisions. The determination of whether a particular debt obligation
constitutes a “security” depends on an overall evaluation of the nature of the debt, including whether the
holder of such debt obligation is subject to a material level of entrepreneurial risk and whether a continuing
proprietary interest is intended or not. One of the most significant factors considered in determining
whether a particular debt obligation is a security is its original term. In general, debt obligations issued
with a weighted average maturity at issuance of less than five (5) years do not constitute securities, whereas
debt obligations with a weighted average maturity at issuance of ten (10) years or more constitute securities.
Based on the foregoing, and although not free from doubt, the DIP Term Loans/Exit Term Loans are not

                                                      92
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 103 of 569



expected to constitute securities. Each holder of a Term Loan Claims is urged to consult its tax advisor
regarding the appropriate status for U.S. federal income tax purposes of such Claims. The remainder of this
discussion assumes that holders of Term Loans Claims will exchange such claims in a taxable exchange.

If the exchange of Allowed Term Loan Claims constitutes a taxable transaction to a U.S. Holder, such U.S.
Holder should recognize all realized gain or loss, will have a tax basis in the DIP Term Loans/Exit Term
Loans equal to the issue price (determined as described below) of such instruments for U.S. federal income
tax purposes and will have a tax basis in the New Equity Interests equal to their fair market value, and the
holding period in the DIP Term Loans/Exit Term Loans and New Equity Interests will commence on the
day following the Effective Date.

For a discussion as to the possible recognition of accrued interest income and original issue discount
(“OID”) in connection with an exchange of Allowed Term Loan Claims and related tax basis and holding
period considerations, see “— Distributions with Respect to Accrued but Unpaid Interest or OID” below.

                 b. Treatment of the Participation Right

Because the Participation Right was made available to each holder of Term Loan Claims in accordance
with the Transaction Support Agreement and in connection with the implementation of the Plan, the
Debtors and the DIP Term Lenders have agreed, pursuant to the Transaction Support Agreement, to treat,
for U.S. federal income tax purposes, any value attributable to the receipt of the New Equity Interests
deemed received upon the exercise of the Participation Right, or the Participation Right itself, as a
recovery on such Claims under the Plan.

                 c. Ownership and Disposition of Exit Term Loans

                    i.    Issue Price

Where U.S. Holders receive debt instruments and also receive other property in an exchange (such as an
exchange of an old debt instrument for a new debt instrument and stock), the “investment unit” rules may
apply to the determination of the issue price for any such debt instrument. U.S. Holders of Term Loan
Claims will be deemed to receive, in satisfaction of their Claims, either property (New Equity Interests) or
debt instruments (the DIP Term Loans/Exit Term Loans) as well as other property (New Equity Interests,
including those comprising the DIP Equity Premium) pursuant to the Plan. Accordingly, the investment
unit rules are expected to apply to determine the issue price of the DIP Term Loans/Exit Term Loans. The
issue price of such Loans will depend, in part, on the issue price of the investment unit and the respective
fair market values of the elements of consideration that compose the investment unit. The issue price of an
investment unit is generally determined in the same manner as the issue price of a debt instrument and
depends, in part, on whether the Term Loan Claims are “publicly traded.”

For this purpose, instruments will generally be considered to be publicly traded if, at any time during the
thirty-one (31)-day period ending fifteen (15) days after the relevant issue date, the applicable instruments
are traded on an “established market.” Instruments are generally considered to trade on an established
market if: (i) there is a price for an executed purchase or sale of the applicable instruments that is reasonably
available within a reasonable period of time after the sale, (ii) there is at least one price quote for the
applicable instruments from at least one reasonably identifiable broker, dealer or pricing service, which
price quote is substantially the same as the price for which the person receiving the quoted price could
purchase or sell the applicable instruments (a “firm quote”), or (iii) there is at least one (1) price quote for
the applicable instruments, other than a firm quote, available from at least one (1) such broker, dealer, or
pricing service. The Debtors expect, and the reminder of this summary assumes, that the investment units
will not qualify as “publicly traded.”

                                                       93
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 104 of 569



If the investment unit is not treated as publicly traded, but the Term Loan Claims are treated as publicly
traded, then the issue price of the investment unit will be determined based on the fair value of the Term
Loan Claims and the amount of cash used to fund the First-Out Loans. While not entirely clear, if neither
the investment units nor the Term Loan Claims are treated as publicly traded, the issue price of the DIP
Term Loans/Exit Term Loans will generally be the principal amount of such Loans. Such issue price
determined for the investment unit under the above rules is allocated among the elements of consideration
comprising the investment unit (i.e., the DIP Term Loans/Exit Term Loans and New Equity Interests) based
on their relative fair market values, with such allocation determining the issue price of the First-Out Loans
and the Second-Out Loans. There is significant uncertainty as to the application of the investment unit
rules and the determination of the issue price of the DIP Term Loans/Exit Term Loans, including, among
other things, whether the First-Out Loans could be treated as issued for an amount of cash equal to their
principal amount and whether Equity Interests, other than those comprising the DIP Equity Premium, issued
to a holder of Term Loan Claims that exercises its Participation Right should also be accounted for in such
determination.

The Debtors anticipate publicly disclosing issue price information with respect to the DIP Term Loans/Exit
Term Loans on IRS Form 8937 following the Effective Date. An issuer’s allocation of the issue price of
an investment unit is binding on all Holders of the investment unit unless a U.S. Holder explicitly discloses
a different allocation on a timely filed income tax return for the taxable year that includes the acquisition
date of the investment unit.

                   ii.   Contingent Payment Debt Instruments

With respect to the DIP Term Loans/Exit Term Loans, Debtor TCS will have the right for a period of time,
the length of which will depend on whether an EBITDA-based threshold is met (with respect to the First-
Out Loans) or the option (with respect to the Second-Out Loans) to pay some or all interest in-kind (the
“PIK Toggle”). The PIK Toggle implicates the provisions of the Treasury Regulations applicable to such
instruments (the “CPDI Regulations”).

If the DIP Term Loans/Exit Term Loans have an issue price that does not equal their principal amount, such
Loans could be treated as contingent payment debt instruments (“CPDIs”) subject to the CPDI Regulations.
If the DIP Term Loans/Exit Term Loans are treated as CPDIs, the application of the CPDI Regulations
depends in part on whether such DIP Term Loans/Exit Term Loans are treated as received in exchange for
(i) publicly traded property or (ii) non-publicly traded property (as discussed above in—“Issue Price”), such
that for (i), the “noncontingent bond method” would apply, and for (ii), the DIP Term Loans/Exit Term
Loans would be divided into two separate components, one consisting of contingent payments and the other
consisting of noncontingent payments.

                  iii.   Noncontingent Bond Method

If any DIP Term Loans/Exit Term Loan is treated as a CPDI and subject to the noncontingent bond method,
a U.S. Holder must accrue an amount of ordinary interest income on the applicable DIP Term Loan/Exit
Term Loan, as OID for U.S. federal income tax purposes, for each accrual period prior to and including the
maturity date of the DIP Term Loan/Exit Term Loan, regardless of whether the U.S. Holder uses the cash
or accrual method of tax accounting. Accordingly, U.S. Holders may be required to include interest in
taxable income in each year in excess of any interest payments actually received in that year. The amount
required to be accrued equals the sum of the daily portions of OID with respect to the applicable DIP Term
Loans/Exit Term Loan for each day during the taxable year or portion of a taxable year on which the U.S.
Holder holds the DIP Term Loan/Exit Term Loan, adjusted if necessary, as described below. In general,
the daily portion of OID on an DIP Term Loan/Exit Term Loan would be (1) the product of (i) the “adjusted
issue price” (as defined below) of the DIP Term Loan/Exit Term Loan as of the beginning of the accrual

                                                     94
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 105 of 569



period, and (ii) the comparable yield (as defined below) of the DIP Term Loans/Exit Term Loans, adjusted
for the length of the accrual period, divided by (2) the number of days in the accrual period.

The “adjusted issue price” of an DIP Term Loan/Exit Term Loan is its issue price (as described above)
increased by any interest income previously accrued in accordance with the CPDI Regulations, determined
without regard to any adjustments to interest accruals described below, and decreased by the projected
amount of any payments (in accordance with the projected payment schedule described below) previously
made with respect to the DIP Term Loans/Exit Term Loans. The term “comparable yield” means the annual
yield that Debtor TCS would pay, as of the issue date, on a fixed rate nonconvertible debt security with no
contingent payments, but with terms and conditions otherwise comparable to those of the DIP Term
Loans/Exit Term Loans. The manner in which Debtor TCS should determine the comparable yield is not
entirely clear under the CPDI Regulations.

If the DIP Term Loans/Exit Term Loans are treated as CPDIs, the CPDI Regulations require that Debtor
TCS provide to Holders of the DIP Term Loans/Exit Term Loans, solely for U.S. federal income tax
purposes, a schedule of the projected amounts of payments (the “projected payment schedule”). These
payments as scheduled must produce a total return on the DIP Term Loans/Exit Term Loans that is equal
to the comparable yield. The projected payment schedule would include each noncontingent payment and
an amount potentially for each contingent payment as determined under the CPDI Regulations. U.S.
Holders generally must use the comparable yield and projected payment schedule in determining their
interest accruals, and the adjustments thereto described below, in respect of the DIP Term Loans/Exit Term
Loans.

If, during any taxable year, a U.S. Holder receives actual contingent payments with respect to the DIP Term
Loans/Exit Term Loans that in aggregate exceed the total amount of projected contingent payments for that
taxable year, then, under the CPDI Regulations, the U.S. Holder will have a “net positive adjustment” equal
to the amount of such excess. The U.S. Holder will treat the net positive adjustment as additional interest
income.

If a U.S. Holder receives in a taxable year actual contingent payment with respect to the DIP Term
Loans/Exit Term Loans that in the aggregate are less than the amount of projected contingent payments for
that taxable year, then, under the CPDI Regulations, the U.S. Holder will have a “net negative adjustment”
equal to the amount of such deficit. This adjustment will (a) reduce the U.S. Holder’s interest income on
the DIP Term Loans/Exit Term Loans for that taxable year, and (b) to the extent of any remaining amount
after the application of clause (a), give rise to an ordinary loss to the extent of the U.S. Holder’s interest
income on the DIP Term Loans/Exit Term Loans during prior taxable years, reduced to the extent that such
interest income was offset by prior net negative adjustments. Any negative adjustment in excess of the
amount described in clauses (a) and (b) will be carried forward, as a negative adjustment, to offset future
interest income in respect of the DIP Term Loans/Exit Term Loans or to reduce the amount realized on a
sale, exchange, retirement, redemption or other taxable disposition of the DIP Term Loans/Exit Term
Loans.

A U.S. Holder will generally recognize gain or loss upon the sale, exchange, retirement, redemption or
other taxable disposition of a DIP Term Loan/Exit Term Loan equal to the difference, if any, between the
amount realized on such a taxable disposition (reduced by any negative adjustments carried forward) and
the adjusted tax basis in the DIP Term Loan/Exit Term Loan. A U.S. Holder’s adjusted tax basis in a DIP
Term Loan/Exit Term Loan will generally be increased by any interest previously included in gross income
with respect to the DIP Term Loan/Exit Term Loan (determined without regard to any adjustment to interest
accruals described above) and decreased by the amount of any noncontingent payment and the projected
amount of any contingent payment previously made on the Loan to the U.S. Holder. Gain recognized upon
a sale, exchange, retirement, redemption or other taxable disposition of a DIP Term Loan/Exit Term Loan
generally will be treated as ordinary interest income, and any loss generally will be treated as ordinary loss

                                                     95
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 106 of 569



to the extent of interest on the DIP Term Loan/Exit Term Loan previously included in income (reduced by
the total amount of any net negative adjustments previously taken into account as ordinary losses) and
thereafter as capital loss (which will be long-term if the DIP Term Loan/Exit Term Loan has been held for
more than one year). The deductibility of capital losses is subject to limitations.

Special rules will apply if there are no remaining contingent payments to be made on the DIP Term
Loan/Exit Term Loans, if the amount of a contingent payment on an DIP Term Loan/Exit Term Loan
becomes fixed more than six months prior to the due date of the payment, or if, at any time, all remaining
contingencies with respect to payments on the DIP Term Loan/Exit Term Loans have a remote likelihood
of occurring or not occurring or are incidental in amount.

                  iv.   Division into Contingent and Noncontingent Components

If the applicable DIP Term Loan/Exit Term Loans are not treated as “publicly traded” and treated as issued
in exchange for nonpublicly traded property, the CPDI Regulations may require that each DIP Term
Loan/Exit Term Loan be separated into its contingent component (the “Contingent Component”) and its
non-contingent component (the “Noncontingent Component”). The Noncontingent Component will be
subject to the OID rules for noncontingent debt instruments described below, while payments on the
Contingent Component will be accounted for when made, with a portion of each such payment treated as
principal and the reminder treated as interest.

U.S. Holders of such DIP Term Loan/Exit Term Loans will initially have an adjusted basis in the
Noncontingent Component equal to its issue price, and an adjusted basis in the Contingent Component
equal to the fair market value of the Contingent Component. The issue price of the Noncontingent
Component of a debt instrument is generally the lesser of (i) the noncontingent principal payments and (ii)
the sum of the present values of the noncontingent payments contained in the Noncontingent Component
due under the instrument.

The Noncontingent Component of the DIP Term Loan/Exit Term Loans should be treated as being issued
with OID in an amount equal to the difference between (i) the sum of all payments under the Noncontingent
Component of the DIP Term Loan/Exit Term Loans and (ii) the issue price of the Noncontingent
Component of the DIP Term Loan/Exit Term Loans (as discussed above). U.S. Holders of the DIP Term
Loan/Exit Term Loans must include OID in their gross income as ordinary income calculated on a constant-
yield method before the receipt of cash attributable to the income regardless of their method of accounting.
The amount of OID includible in income by a U.S. Holder is the sum of the daily portions of OID with
respect to the Noncontingent Component of the DIP Term Loan/Exit Term Loan for each day during the
taxable year or portion of the taxable year on which the U.S. Holder holds the DIP Term Loan/Exit Term
Loan. The daily portion is determined by allocating to each day in any “accrual period” a pro rata portion
of the OID allocable to that accrual period. The amount of OID allocable to an accrual period will generally
equal the product of the Noncontingent Component of a DIP Term Loan/Exit Term Loan’s adjusted issue
price at the beginning of the accrual period and the Noncontingent Component of a DIP Term Loan/Exit
Term Loan’s yield to maturity. The “adjusted issue price” of the Noncontingent Component of the DIP
Term Loans/Exit Term Loans at the beginning of any accrual period will generally be the issue price of the
Noncontingent Component of a DIP Term Loan/Exit Term Loan increased by (x) the amount of accrued
OID for each prior accrual period and decreased by (y) the amount of any payments previously made on
the Noncontingent Component of a DIP Term Loan/Exit Term Loan (other than any interest paid in kind).

Under the CPDI Regulations, subject to special rules that apply in the case of interest payments that become
fixed more than six months before the payment is due, a portion of the interest paid under the Contingent
Component (the “Contingent Interest”) of a DIP Term Loan/Exit Term Loan generally will be treated as a
payment of principal in an amount equal to the present value of the payment determined by discounting the

                                                    96
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 107 of 569



payment from the date it was made to the Effective Date at the applicable federal rate for the DIP Term
Loan/Exit Term Loan that would apply to a debt instrument issued on the Effective Date and maturing on
the date the contingent payment is made. The amount of the contingent payment in excess of the portion
determined to be principal is treated as a payment of interest and is includible in gross income by the holder
in the taxable year in which the payment is made.

A U.S. Holder will reduce its adjusted basis in the Contingent Component of a DIP Term Loan/Exit Term
Loan by the amount of the Contingent Interest payment that is treated as principal. If the U.S. Holder’s
adjusted basis in the Contingent Component is reduced to zero, any additional principal payments on the
Contingent Component are treated as gain from the sale or exchange of the DIP Term Loans/Exit Term
Loans as described below. Any basis remaining on the date the final contingent payment is received
increases a holder’s basis in the Noncontingent Component (or, if there are no remaining payments on the
Noncontingent Component, is treated as a loss from the sale or exchange of a debt instrument).

At the time the EBITDA threshold is satisfied such that the PIK Toggle is not available with respect to the
Exit Term Loans, a U.S. Holder’s right to contingent payment under the DIP Term Loans/Exit Term Loans
should become fixed. The applicable CPDI regulations provide that once the contingent payment becomes
fixed more than six months before the payment is due, the issuer and holder are treated as if the issuer had
issued a separate debt instrument on the date such payment becomes fixed, which matures on the date the
payment becomes due (an “Interest Note”). Each such Interest Note will have a principal amount equal to
the amount that becomes fixed and an issue price equal to the present value of the portion of the contingent
interest due on the specified interest payment date discounted at the applicable federal rate for such debt
instrument. U.S. Holders would be treated as receiving an amount equal to the issue price of each Interest
Note on the date such payment becomes fixed and maturing on the interest payment date. U.S. Holders
will be treated as receiving an amount equal to the issue price of each Interest Note on the date such payment
becomes fixed, which will be treated as interest or principal under the rules described above.

A U.S. Holder must allocate the amount realized from the sale, exchange or disposition of a DIP Term
Loan/Exit Term Loan first, to the Noncontingent Component in an amount up to the adjusted issue price of
the Noncontingent Component and the remaining amount received, if any, to the Contingent Component.
A U.S. Holder will generally recognize gain or loss on the sale, exchange or other disposition of a
Noncontingent Component equal to the difference between (i) the portion of the amount realized allocated
to the Noncontingent Component and (ii) the U.S. Holder’s adjusted tax basis in the Noncontingent
Component, as applicable. Any such recognized gain or loss generally will be capital gain or loss. The
deductibility of capital losses is subject to limitations. The amount allocated to a Contingent Component is
treated as a contingent payment that is made on the date of the sale, exchange or other disposition and is
characterized as interest and principal as described above.

THE CPDI REGULATIONS ARE COMPLEX, AND HOLDERS SHOULD CONSULT WITH THEIR
OWN TAX ADVISORS ABOUT THE POTENTIAL TAX CONSEQUENCES IF ANY DIP TERM
LOANS/EXIT TERM LOANS ARE DETERMINED TO BE CPDIs.

                d. Ownership and Disposition of New Equity Interests

As noted above, it is intended that the receipt by a Holder of New Equity Interests on the Effective Date
pursuant to the Plan will be treated for U.S. federal income tax purposes as though the Holder received
Equity Interests in Parent, and then immediately exchanged such Equity Interests for the New Equity
Interests. Assuming that treatment is respected, the exchange by a U.S. Holder of Equity Interests in Parent
for the New Equity Interests will generally be treated a tax-free exchange pursuant to section 721 of the
Tax Code (in a transaction described in Situation 2 of IRS Revenue Ruling 99-5, 1999-1 C.B. 434) and
should result in a U.S. Holder having a tax basis in, and holding period with respect to, the New Equity

                                                     97
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 108 of 569



Interests equal to the U.S. Holder’s basis in, and holding period with respect to, the Equity Interests in
Parent exchanged therefore.
Because the New Equity Interests will be Equity Interests of Reorganized Parent, an entity that, absent an
affirmative election otherwise, will be treated for U.S. federal income tax purposes as a partnership, a U.S.
Holder receiving New Equity Interests will be treated as a partner in that partnership. Accordingly, as a
partnership, Reorganized Parent itself will not be subject to U.S. federal income tax. Instead, each U.S.
Holder will be required to report on its U.S. federal income tax return its distributive share (whether or not
distributed) of Reorganized Parent’s income, gains, losses, deductions, and credits. Each U.S. Holder of
New Equity Interests will be required to include in income its allocable share of Reorganized Parent’s
income, gains, losses and deductions for Reorganized Parent’s taxable year ending with or within such U.S.
Holder’s taxable year even if Reorganized Parent does not make a concurrent distribution to such U.S.
Holder. However, because it is expected that Reorganized Parent’s sole asset will be its Equity Interests in
Parent, an entity classified as a corporation for U.S. federal income tax purposes, absent an actual
distribution from Parent that is treated as a “dividend” for purposes of the Tax Code or a sale (or other
taxable disposition) by Reorganized Parent of any of its Equity Interests in Parent, any partner in
Reorganized Parent should not generally have any current allocations of taxable income or loss.
In general, a U.S. Holder of New Equity Interests will not recognize taxable income as a consequence of
receiving a distribution (whether in cash or in kind) from Reorganized Parent, except to the extent that any
cash distributed exceeds such U.S. Holder’s adjusted tax basis in its New Equity Interests. Any such excess
will be treated as gain from the sale of such U.S. Holder’s New Equity Interests and will be treated as capital
gain. A U.S. Holder generally will not recognize a loss for U.S. federal income tax purposes as a
consequence of receiving a distribution from Reorganized Parent, except that if a U.S. Holder receives a
distribution solely of cash in complete liquidation of its interest in Reorganized Parent, the U.S. Holder will
recognize a capital loss equal to the excess, if any, of its adjusted tax basis in its New Equity Interests over
the amount of such cash. The deductibility of capital losses is subject to limitations.
Gain or loss recognized by a U.S. Holder on the disposition of all or any portion of its New Equity Interests
will generally, subject to the application of certain recharacterization rules (i.e., related to a sale of “hot
assets” like unrealized receivables or inventory of the partnership under section 751 of the Tax Code) be
capital gain or loss. If a U.S. Holder transfers less than all of its New Equity Interests, the U.S. Holder will
take into account the percentage of its adjusted tax basis in its New Equity Interests that is transferred,
determined by comparing the relative fair market values of the portion of the New Equity Interests that is
transferred and the portion of the New Equity Interests that is retained.
Reorganized Parent intends to furnish to each Holder of New Equity Interests, after the close of each
calendar year, specific tax information, including a Schedule K-1, which describes such Holder’s allocable
share of Reorganized Parent’s income, gain, loss and deductions for Reorganized Parent’s preceding taxable
year. In preparing this information, Reorganized Parent will take various accounting and reporting
positions to determine each Holder’s allocable share of such income, gain, loss and deductions. However,
Reorganized Parent cannot provide assurances that those positions will yield a result that conforms to the
requirements of the Tax Code, applicable Treasury Regulations or administrative interpretations of the IRS.
Furthermore, Reorganized Parent cannot provide assurances that the IRS will not successfully contend in
court that those positions are impermissible.
Pursuant to the Bipartisan Budget Act of 2015, for U.S. federal income tax purposes, any audit adjustment
to Reorganized Parent’s tax items (or any partner’s distributive share of such item) may result in the
imposition of tax (including any applicable penalties and interest) at the Reorganized Parent level.
Generally, Reorganized Parent will have the ability to elect to have the partners take such audit adjustment
into account in accordance with their interests in Reorganized Parent during the taxable year under audit,
but there can be no assurance that Reorganized Parent will choose to make such election or that such
election will be effective in all circumstances. If Reorganized Parent is unable to have the partners take

                                                      98
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 109 of 569



into account such audit adjustment in accordance with their interests in Reorganized Parent during the
taxable year under audit, or Reorganized Parent chooses not to do so, the partners in the year of such audit
adjustment may bear some or all of the tax liability resulting from such audit adjustment, without regard to
each such partner’s ownership interest in Reorganized Parent (if any) during the taxable year under audit.
In addition, Reorganized Parent may be able to reduce the amount owed by Reorganized Parent in certain
cases based on the status of the partners or if certain partners file amended returns to take into account such
adjustments, but there is no assurance Reorganized Parent will be able to obtain any such reduction. If, as
a result of any such audit adjustment, Reorganized Parent is required to make payments of taxes, penalties,
and/or interest, it is expected that Reorganized Parent’s operating agreement will provide that each partner’s
share of such amounts shall be treated as an advance against amounts otherwise distributable to such partner
or as a loan to such partner. Future Treasury Regulations, other administrative guidance or judicial
decisions may affect the application of these rules to Reorganized Parent and the Holders of New Equity
Interests and, as a result, the application of these rules to Reorganized Parent and the Holders of New Equity
Interests is uncertain.

U.S. Holders generally will recognize gain or loss upon the sale or taxable disposition of the New Equity
Interests in an amount equal to the difference, if any, between (i) the U.S. Holder’s adjusted tax basis in the
New Equity Interests exchanged and (ii) the sum of the cash and the fair market value of any property
received in such disposition. Any such gain or loss generally should be long-term capital gain or loss if
the U.S. Holder’s holding period for its New Equity Interests exceeds one year at the time of the sale
or exchange (a U.S. Holder may have a split holding period in the New Equity Interests if it contributes
property to Reorganized Parent or otherwise acquires New Equity Interests on multiples dates), subject to
the application of certain recharacterization rules discussed above. A reduced tax rate on long-term capital
gain may apply to non-corporate U.S. Holders. The deductibility of capital loss is subject to limitations.

In general, any gain recognized by a U.S. Holder upon a disposition of the New Equity Interests received
in exchange for a Term Loan Claim will be treated as ordinary income for U.S. federal income tax purposes
to the extent of (i) any ordinary loss deductions previously claimed as a result of the write-down of the
Claim, decreased by any income (other than interest income) recognized by the U.S. Holder upon exchange
of the Claim, and (ii) with respect to a cash-basis holder and in addition to clause (i) above, any amounts
which would have been included in its gross income if the U.S. Holder’s Claim had been satisfied in full
but which was not included by reason of the cash method of accounting.

                 e. Character of Gain or Loss

Where gain or loss is recognized by a U.S. Holder in an exchange of Allowed Claims pursuant to the Plan,
the character of such gain or loss as long-term or short-term capital gain or loss or as ordinary income or
loss will be determined by a number of factors, including the tax status of such U.S. Holder, whether the
Claims constitute capital assets in the hands of such U.S. Holder and how long they have been held, whether
the Claims were acquired at a market discount, and whether and to what extent the holder previously
claimed a worthlessness deduction with respect to the Claims. In general, any gain or loss generally should
be long-term capital gain or loss if the U.S. Holder held the Claims as capital assets and such U.S. Holder’s
holding period in the Claims is more than one year at the time of the relevant exchange. A reduced tax rate
on long-term capital gain may apply to non-corporate U.S. Holders. The deductibility of capital losses
is subject to limitations.

A U.S. Holder that purchased its Claims from a prior holder at a “market discount” (relative to the principal
amount of the Claims at the time of acquisition) may be subject to the market discount rules of the Tax
Code. In general, a debt instrument is considered to have been acquired with market discount if the holder’s
adjusted tax basis in the debt instrument is less than (i) its “stated redemption price at maturity” (which
generally would be equal to the stated principal amount if all stated interest was required to be paid in cash

                                                      99
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 110 of 569



or property at least annually) or (ii) in the case of a debt instrument issued with OID, its adjusted issue
price, in each case, by more than a de minimis amount. Under these rules, any gain recognized on the
exchange of Claims (which, as discussed below, does not include amounts received in respect of accrued
but unpaid interest or OID, if any) generally will be treated as ordinary income to the extent of the market
discount accrued (on a straight line basis or, at the election of the U.S. Holder, on a constant yield basis)
during the U.S. Holder’s period of ownership, unless such U.S. Holder elected to include the market
discount in income as it accrued. If a U.S. Holder of Claims did not elect to include market discount in
income as it accrued and, thus, under the market discount rules, was required to defer all or a portion of any
deductions for interest on debt incurred or maintained to purchase or carry its Claims, such deferred
amounts would become deductible at the time of the exchange. To the extent that Claims acquired with
a market discount are exchanged in a tax-deferred transaction for other property, any market discount that
accrued on such Claims but was not recognized by the U.S. Holder generally is carried over to the property
received therefor, and any gain recognized on the subsequent sale or other disposition of the property
generally is treated as ordinary income to the extent of the accrued, but not recognized, market discount
with respect to such Claims. U.S. Holders who acquired their Claims other than at original issuance should
consult their tax advisors regarding the possible application of the market discount rules.

                 f.   Distributions with Respect to Accrued but Unpaid Interest or OID

In general, to the extent that any consideration received pursuant to the Plan by a U.S. Holder of Allowed
Claims is received in satisfaction of interest accrued or OID accrued, in each case during such U.S. Holder’s
holding period, such amount will be taxable to the U.S. Holder as ordinary interest income (if not previously
included in the U.S. Holder’s gross income under such U.S. Holder’s normal method of accounting).
Conversely, a U.S. Holder may be entitled to recognize a loss to the extent any accrued interest or amortized
OID was previously included in its gross income and is not paid in full. It is unclear whether a U.S. Holder
would be required to recognize a capital loss, rather than an ordinary loss, with respect to previously
included OID that is not paid in full. In addition, a U.S. Holder’s tax basis in the consideration received
by a U.S. Holder pursuant to the Plan in satisfaction of interest accrued or OID accrued generally will be
equal to the fair market value of such consideration, and such U.S. Holder’s holding period in such
consideration should commence on the day following the Effective Date.

Article VI.E of the Plan provides that distributions to U.S. Holders with respect to any Allowed Claim will,
except as otherwise required by applicable law (as reasonably determined by the Reorganized Debtors), be
allocated first to the principal amount of such Allowed Claims, with any excess allocated to the remaining
portion of such Allowed Claim. There is no assurance that the IRS will respect such allocation for U.S.
federal income tax purposes.

Holders of Claims should consult their tax advisors regarding the proper allocation of the consideration
received by them under the Plan, as well as the deductibility of accrued but unpaid interest (including OID)
and the character of any loss claimed with respect to accrued but unpaid interest (including OID) previously
included in income for U.S. federal income tax purposes.

        3.       Non-U.S. Holders of Term Loan Claims

The following discussion includes only certain U.S. federal income tax consequences of the Plan to Non-
U.S. Holders. The discussion does not include any non-U.S. tax considerations. The rules governing the
U.S. federal income tax consequences to Non-U.S. Holders are complex. Non-U.S. Holders are urged to
consult their tax advisors regarding the U.S. federal, state, and local and non-U.S. tax consequences of the
consummation of the Plan to such Non-U.S. Holders and the ownership and disposition of any consideration
received pursuant to or in connection with the Plan.


                                                     100
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 111 of 569



                 a. Recognition of Gain or Loss

Whether a Non-U.S. Holder of Term Loan Claims recognizes gain or loss on the exchange of Claims
pursuant to the Plan or upon a subsequent disposition of the consideration received under the Plan, the
amount of such gain or loss, as well as the characterization of the receipt and exercise of the Participation
Right, is determined in the same manner as set forth above in connection with U.S. Holders of the applicable
Claims. See “U.S. Holders of Term Loan Claims—Recognition of Gain or Loss” and “U.S. Holders of
Term Loan Claims —Treatment of the Participation Right” above. Any gain recognized (which, as
discussed above, does not include amounts received in respect of accrued but unpaid interest or OID, if any)
by a Non-U.S. Holder on the exchange of its Claim generally will not be subject to U.S. federal income
taxation unless (i) the Non-U.S. Holder is an individual who was present in the United States for 183 days
or more during the taxable year in which the gain is realized and certain other conditions are met, (ii) such
gain is effectively connected with the conduct by such Non-U.S. Holder of a trade or business in the United
States (and, if required by an income tax treaty, such gain is attributable to a permanent establishment or a
fixed base maintained by such Non-U.S. Holder in the United States), or (iii) solely with respect to the sale,
exchange or other disposition of the New Equity Interests, such New Equity Interests constitutes a U.S. real
property interest (“USRPI”) by reason of Parent’s status as a “United States real property holding
corporation” (“USRPHC”) for U.S. federal income tax purposes at any time within the shorter of the five-
year period preceding such disposition or the period in which the Non-U.S. Holder held the New Equity
Interests.

If the exception in clause (i) above applies, the Non-U.S. Holder generally will be subject to U.S. federal
income tax at a rate of 30% (or such lower rate under an applicable income tax treaty) on the amount by
which such Non-U.S. Holder’s capital gains allocable to U.S. sources exceed capital losses allocable to
U.S. sources during the taxable year. If the exception in clause (ii) above applies, the Non-U.S. Holder
generally will be subject to U.S. federal income tax in the same manner as a U.S. Holder with respect to
such gain. In addition, if such a Non-U.S. Holder is a corporation for U.S. federal income tax purposes, it
may be subject to a branch profits tax equal to 30% (or such lower rate provided by an applicable income
tax treaty) of its effectively connected earnings and profits for the taxable year, subject to certain
adjustments.

If the exception in clause (iii) above applied and certain other requirements were met, a Non-U.S. Holder
generally would be subject to U.S. federal income tax on any gain recognized on the sale or disposition of
New Equity Interests. In general, a partnership interest is not treated as a USRPI for purposes of section
1445 of the Tax Code unless 50% or more of the value of the partnership’s gross assets consists of USRPIs,
and 90% or more of the value of its gross assets consists of USRPIs, cash, and cash equivalents (“50/90
Partnership”). An interest in a 50/90 Partnership is treated as a USRPI in its entirety. An interest in a
USRPHC is a USRPI for purposes of section 1445 of the Tax Code. The Debtors do not believe that New
Equity Interests will initially be USRPIs. Because the determination of whether the New Equity Interests
will be USRPIs depends on whether or not Parent is a USRPHC and such status depends on the fair market value
of Parent’s USRPIs relative to the fair market value of Parent’s non-U.S. real property interests and its other
business assets, there can be no assurance Parent will not become a USRPHC in the future.

                 b. Ownership and Disposition of Exit Term Loans

Generally, payments to a Non-U.S. Holder that are attributable to interest on applicable DIP Term
Loans/Exit Term Loans (including, for purposes of this discussion of Non-U.S. Holders, any OID) that is
not effectively connected with the Non-U.S. Holder’s conduct of a trade or business within the United
States for U.S. federal income tax purposes generally will not be subject to U.S. federal income or
withholding tax, provided that:


                                                     101
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 112 of 569




         •       the Non-U.S. Holder does not actually or constructively own 10% or more of the total
                 capital or profits interest of Reorganized Parent;

         •       the Non-U.S. Holder is not a “controlled foreign corporation” that is a “related person”
                 (each, within the meaning of the Tax Code) with respect to Reorganized Parent; and

         •       either (1) the Non-U.S. Holder certifies in a statement provided to the applicable
                 withholding agent under penalties of perjury that it is not a United States person and
                 provides its name and address; (2) a securities clearing organization, bank or other
                 financial institution that holds customers’ securities in the ordinary course of its trade or
                 business and holds the applicable DIP Term Loans/Exit Term Loans on behalf of the
                 Non-U.S. Holder certifies to the applicable withholding agent under penalties of perjury
                 that it, or the financial institution between it and the Non-U.S. Holder, has received from
                 the Non-U.S. Holder a statement under penalties of perjury that such holder is not a
                 United States person and provides a copy of such statement to the applicable withholding
                 agent; or (3) the Non-U.S. Holder holds the applicable DIP Term Loans/Exit Term Loans
                 directly through a “qualified intermediary” (within the meaning of applicable Treasury
                 Regulations) and certain conditions are satisfied.
A Non-U.S. Holder that does not qualify for the above exemption with respect to interest that is not
effectively connected income generally will be subject to withholding of U.S. federal income tax on such
interest at a 30% rate, unless such Non-U.S. Holder is entitled to a reduction in or exemption from
withholding on such interest as a result of an applicable income tax treaty. To claim such entitlement, the
Non-U.S. Holder generally must provide the applicable withholding agent with a properly executed IRS
Form W-8BEN or W-8BEN-E (or other applicable documentation) claiming a reduction in or exemption
from withholding tax on such payments of interest under the benefit of an income tax treaty between the
United States and the country in which the Non-U.S. Holder resides or is established. For purposes of
providing a properly executed IRS Form W-8BEN or W-8BEN-E, special procedures are provided under
applicable Treasury Regulations for payments through qualified foreign intermediaries or certain financial
institutions that hold customers’ securities in the ordinary course of their trade or business.

If interest paid to a Non-U.S. Holder is effectively connected with the conduct by such Non-U.S. Holder of
a trade or business within the United States for U.S. federal income tax purposes (and if required by an
applicable income tax treaty, such interest is attributable to a permanent establishment or fixed base
maintained by such Non-U.S. Holder in the United States), the Non-U.S. Holder generally will not be
subject to U.S. federal withholding tax but will be subject to U.S. federal income tax with respect to such
interest in the same manner as a U.S. Holder under rules similar to those discussed above with respect to
gain that is effectively connected with the conduct of a trade or business in the United States. See “—
Non-U.S. Holders of Term Loan Claims—Recognition of Gain or Loss” above. To claim the exemption,
the Non-U.S. Holder must furnish to the applicable withholding agent a valid IRS Form W-8ECI,
certifying that interest paid on the applicable DIP Term Loans/Exit Term Loans is not subject to
withholding tax because it is effectively connected with the conduct by the Non-U.S. Holder of a trade or
business within the United States.

                c. Ownership and Disposition of New Equity Interests

If a non-U.S. person holds an interest in a partnership that is (directly or indirectly through one or more
entities that are treated as partnerships or are disregarded for U.S. federal income tax purposes) engaged in
a trade or business within the United States, such non-U.S. person is considered to be engaged in a trade or
business within the United States. Because Reorganized Parent’s only asset will be its Equity Interests in



                                                    102
       Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 113 of 569



Parent and Reorganized Parent will not otherwise be engaged in any other activities, it is not expected that
Reorganized Parent will be treated as being engaged in a trade or business within the United States.

As a result, the U.S. federal income tax liability of a Non-U.S. Holder of New Equity Interests generally
will be limited to withholding tax on certain gross income from U.S. sources generated by Reorganized
Parent, as long as the Non-U.S. Holder undertakes no activities in the United States (determined without
regard to its interest in Reorganized Parent) that would cause that Non-U.S. Holder to be treated as engaged
in the conduct of a trade or business within the United States for U.S. federal income tax purposes. Further,
if Reorganized Parent withholds and remits the proper amounts to the U.S. government, Non-U.S. Holders
generally will not be required to file U.S. federal income tax returns or pay additional U.S. federal income
taxes solely as a result of their interests in Reorganized Parent.

   Gain recognized upon a disposition by a non-U.S. person of an interest in a partnership generally will be
treated as “effectively connected income” (“ECI”) to the extent such gain is attributable to assets of the
partnership that generate ECI. Because the only asset of Reorganized Parent will be the Equity Interests in
Parent, it is not anticipated that gain on the disposition by a Non-U.S. Holder of New Equity Interests would
be ECI.
Dividend income attributable to distributions from Parent to Reorganized Parent that are allocable to a Non-
U.S. Holder of New Equity Interests will generally be subject to withholding of U.S. federal income tax at
a 30% rate or such lower rate as may be specified by an applicable income tax treaty. A Non-U.S. Holder
of New Equity Interests who wishes to claim the benefit of an applicable income tax treaty and avoid backup
withholding, as discussed below, for dividends, will be required (a) to complete the applicable IRS Form
W-8BEN or Form W-8BEN-E (or other applicable documentation) and certify under penalty of perjury that
such holder is not a “United States person” (as defined in section 7701(a)(30) of the Tax Code) and is
eligible for treaty benefits or (b) if such equity is held through certain intermediaries, to satisfy the relevant
certification requirements of applicable Treasury Regulations. A Non-U.S. Holder resident in a jurisdiction
with which the United States has a tax treaty may not be entitled to the benefits of that treaty with respect
to that Non-U.S. Holder’s distributive share of Reorganized Parent’s income and gains unless, under the
law of that non-U.S. jurisdiction, Reorganized Parent is treated as tax-transparent and certain other
conditions are met. In addition, in order to claim the benefits of a tax treaty to reduce U.S. federal income
tax withholding on U.S.-source income (other than interest and dividends paid on securities that are actively
traded), a Non-U.S. Holder – and any direct or indirect equity owner of a Non-U.S. Holder seeking treaty
benefits for itself because the Non-U.S. Holder is considered fiscally transparent in that equity owner’s
jurisdiction – generally will be required to provide to Reorganized Parent either a non-U.S. tax identifying
number issued by its country of residence or a U.S. taxpayer identification number that it has obtained from
the IRS, along with certain other documentation. A Non-U.S. Holder of New Equity Interests eligible for
a reduced rate of U.S. withholding tax pursuant to an income tax treaty may obtain a refund of any excess
amounts withheld by timely filing an appropriate claim for refund with the IRS.

For a discussion of the rules applicable to the recognition of gain or loss in connection with sales, exchanges
or other dispositions of New Equity Interests by Non-U.S. Holders, see “—Non-U.S. Holders of Term Loan
Claims—Recognition of Gain or Loss” above.

        4.       Information Reporting and Backup Withholding

All distributions to holders of Allowed Claims under the Plan are subject to any applicable tax withholding
and information reporting requirements. Under U.S. federal income tax law, interest, dividends and other
reportable payments may, under certain circumstances, be subject to “backup withholding” (currently at
a rate of 24%) if a recipient of those payments fails to furnish to the payor certain identifying information,
fails properly to report interest or dividends, and, under certain circumstances, fails to provide a certification


                                                       103
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 114 of 569



that the recipient is not subject to backup withholding. Backup withholding is not an additional tax. Any
amounts deducted and withheld generally should be allowed as a credit against that recipient’s U.S. federal
income tax, provided that appropriate proof is timely provided under rules established by the IRS.
Furthermore, certain penalties may be imposed by the IRS on a recipient of payments who is required to
supply information but who does not do so in the proper manner. Backup withholding generally should
not apply with respect to payments made to certain exempt recipients, such as certain corporations and
financial institutions. Information may also be required to be provided to the IRS concerning payments,
unless an exemption applies. Holders of Claims are urged to consult their tax advisors regarding their
qualification for exemption from backup withholding and information reporting and the procedures for
obtaining such an exemption.

Treasury Regulations generally require disclosure by a taxpayer on its U.S. federal income tax return of
certain types of transactions in which the taxpayer participated, including, among other types of
transactions, certain transactions that result in the taxpayer’s claiming a loss in excess of certain thresholds.
Holders of Claims are urged to consult their tax advisors regarding these regulations and whether the
contemplated transactions under the Plan would be subject to these regulations and require disclosure on
their tax returns.

        5.       Additional Withholding Tax on Payments Made to Foreign Accounts

Withholding taxes may be imposed under sections 1471 to 1474 of the Tax Code (such sections, commonly
referred to as the Foreign Account Tax Compliance Act (“FATCA”)) on certain types of payments made
to non-U.S. financial institutions and certain other non-U.S. entities. Specifically, a 30% withholding tax
may be imposed on dividends or interest or (subject to the proposed Treasury Regulations discussed below)
gross proceeds from the sale or other disposition of stock or debt instruments, in each case paid to a “foreign
financial institution” or a “non-financial foreign entity” (each as defined in the Tax Code), unless (a) the
foreign financial institution undertakes certain diligence and reporting obligations, (b) the non-financial
foreign entity either certifies it does not have any “substantial United States owners” (as defined in the Tax
Code) or furnishes identifying information regarding each substantial United States owner, or (c) the foreign
financial institution or non-financial foreign entity otherwise qualifies for an exemption from these rules.
If the payee is a foreign financial institution and is subject to the diligence and reporting requirements in
clause (a) above, it must enter into an agreement with the United States Department of the Treasury
requiring, among other things, that it undertake to identify accounts held by certain “specified United States
persons” or “United States owned foreign entities” (each as defined in the Tax Code), annually report
certain information about such accounts, and withhold 30% on certain payments to non-compliant foreign
financial institutions and certain other account holders. Foreign financial institutions located in
jurisdictions that have an intergovernmental agreement with the United States governing FATCA may be
subject to different rules.

Under the applicable Treasury Regulations and administrative guidance, withholding under FATCA
generally applies to payments of dividends on New Equity Interests or interest on DIP Term Loans/Exit
Term Loans. While withholding under FATCA would have applied also to payments of gross proceeds
from the sale or other disposition of such instruments on or after January 1, 2019, proposed Treasury
Regulations eliminate FATCA withholding on payments of gross proceeds entirely. Taxpayers generally
may rely on these proposed Treasury Regulations until final Treasury Regulations are issued. Holders
should consult their tax advisors regarding the potential application of withholding under FATCA.

THE FOREGOING SUMMARY HAS BEEN PROVIDED FOR INFORMATIONAL PURPOSES
ONLY AND DOES NOT DISCUSS ALL ASPECTS OF U.S. FEDERAL INCOME TAXATION
THAT MAY BE RELEVANT TO A PARTICULAR HOLDER OF A CLAIM. ALL HOLDERS OF
CLAIMS ARE URGED TO CONSULT THEIR TAX ADVISORS CONCERNING THE FEDERAL,

                                                       104
    Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 115 of 569



STATE, LOCAL, NON-U.S., AND OTHER TAX CONSEQUENCES APPLICABLE UNDER THE
PLAN.




                    [Remainder of page left intentionally blank]




                                        105
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 116 of 569




                                                      XII.
                           CONCLUSION AND RECOMMENDATION

The Debtors believe the Plan is in the best interests of all stakeholders and urge the holders of Claims in
Class 3 to vote in favor thereof.

Respectfully submitted, as of the date first set forth above,

                                             The Container Store Group, Inc. (on behalf of itself and all
                                             other Debtors)

                                             By:       /s/ Chad E. Coben
                                             Name:     Chad E. Coben
                                             Title:    Chief Restructuring Officer




                                                      106
Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 117 of 569



                             Exhibit A

                               Plan
        Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 118 of 569
                                                                                          SOLICITATION VERSION


                              IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE SOUTHERN DISTRICT OF TEXAS
                                         HOUSTON DIVISION

------------------------------------------------------------------ x
                                                                   :
In re:                                                             :   Chapter 11
                                                                   :
THE CONTAINER STORE GROUP, INC., et al.,                           :   Case No. 24-_______ (____)
                                                                   :
                                1
                      Debtors.                                     :   (Joint Administration Requested)
                                                                   :
------------------------------------------------------------------ x

                      PREPACKAGED JOINT PLAN OF REORGANIZATION
                   OF THE CONTAINER STORE GROUP, INC. AND ITS DEBTOR
                  AFFILIATES UNDER CHAPTER 11 OF THE BANKRUPTCY CODE

     THIS CHAPTER 11 PLAN IS BEING SOLICITED FOR ACCEPTANCE OR REJECTION IN
     ACCORDANCE WITH SECTION 1125 OF THE BANKRUPTCY CODE AND WITHIN THE
     MEANING OF SECTION 1126 OF THE BANKRUPTCY CODE. THIS CHAPTER 11 PLAN
     SHALL BE SUBMITTED TO THE BANKRUPTCY COURT FOR APPROVAL FOLLOWING
     SOLICITATION AND THE DEBTORS FILING FOR CHAPTER 11 BANKRUPTCY. NO
     CHAPTER 11 CASES HAVE BEEN COMMENCED AT THIS TIME. THIS PREPACKAGED
     PLAN OF REORGANIZATION, AND THE SOLICITATION MATERIALS ACCOMPANYING
     THIS PLAN, HAVE NOT BEEN APPROVED BY THE BANKRUPTCY COURT AS
     CONTAINING “ADEQUATE INFORMATION” WITHIN THE MEANING OF SECTION
     1125(a) OF THE BANKRUPTCY CODE. UPON COMMENCEMENT OF THE CHAPTER 11
     CASES, THE DEBTORS EXPECT TO SEEK PROMPTLY AN ORDER OF THE
     BANKRUPTCY COURT (1) APPROVING THE ADEQUACY OF THE DISCLOSURE
     STATEMENT; (2) APPROVING THE SOLICITATION OF VOTES AS HAVING BEEN IN
     COMPLIANCE WITH SECTIONS 1125 AND 1126(b) OF THE BANKRUPTCY CODE; AND
     (3) CONFIRMING THE PLAN PURSUANT TO SECTION 1129 OF THE BANKRUPTCY
     CODE.




 1
      The Debtors in these cases, together with the last four digits of each Debtor’s taxpayer identification number, are:
      The Container Store Group, Inc. (5401); The Container Store, Inc. (6981); C Studio Manufacturing Inc. (4763);
      C Studio Manufacturing LLC (5770); and TCS Gift Card Services, LLC (7975). The Debtors’ mailing address
      is 500 Freeport Parkway, Coppell, Texas 75019.
     Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 119 of 569




HUNTON ANDREWS KURTH LLP                        LATHAM & WATKINS LLP
Timothy A. (“Tad”) Davidson II (Texas Bar No.   George A. Davis (NY Bar No. 2401214)
24012503)                                       Hugh Murtagh (NY Bar No. 3161759)
Ashley L. Harper (Texas Bar No. 24065272)       Tianjiao (TJ) Li (NY Bar No. 5689567)
Philip M. Guffy (Texas Bar No. 24113705)        Jonathan J. Weichselbaum (NY Bar No. 5676143)
600 Travis Street, Suite 4200                   1271 Avenue of the Americas
Houston, TX 77002                               New York, NY 10020
Telephone: (713) 220-4200                       Telephone: (212) 906-1200
Email: taddavidson@HuntonAK.com                 Email: george.davis@lw.com
         ashleyharper@HuntonAK.com                       hugh.murtagh@lw.com
         pguffy@HuntonAK.com                              tj.li@lw.com
                                                          jon.weichselbaum@lw.com

                                                Ted A. Dillman (CA Bar No. 258499)
                                                355 South Grand Avenue, Suite 100
                                                Los Angeles, CA 90071
                                                Telephone: (213) 485-1234
                                                Email: ted.dillman@lw.com

Dated:   December 21, 2024
                                                Proposed Counsel for the Debtors and Debtors in
         Houston, Texas
                                                Possession
          Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 120 of 569



                                                             TABLE OF CONTENTS

                                                                                                                                                            Page

Article I. DEFINED TERMS AND RULES OF INTERPRETATION......................................................................... 1
          A.     Defined Terms .................................................................................................................................. 1
          B.     Rules of Interpretation .................................................................................................................... 19
          C.     Consent Rights ................................................................................................................................ 20
          D.     Appendices and Plan Supplement ................................................................................................... 20
          E.     Deemed Acts ................................................................................................................................... 20

Article II. ADMINISTRATIVE CLAIMS, DIP CLAIMS, PRIORITY TAX CLAIMS, OTHER
          PRIORITY CLAIMS, AND UNITED STATES TRUSTEE STATUTORY FEES ..................................... 20
          A.     Administrative Claims .................................................................................................................... 21
          B.     DIP Claims ...................................................................................................................................... 22
          C.     Priority Tax Claims ......................................................................................................................... 23
          D.     Other Priority Claims ...................................................................................................................... 23
          E.     United States Trustee Statutory Fees .............................................................................................. 23
          F.     Restructuring Fees and Expenses .................................................................................................... 23
          G.     Post-Effective Date Fees and Expenses .......................................................................................... 24

Article III. CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS........................................... 24
          A.     Classification of Claims .................................................................................................................. 24
          B.     Treatment of Claims and Interests .................................................................................................. 25
          C.     Acceptance or Rejection of this Plan .............................................................................................. 28
          D.     Confirmation Pursuant to Section 1129(a)(10) and 1129(b) of the Bankruptcy Code .................... 29
          E.     Subordinated Claims ....................................................................................................................... 29
          F.     Special Provision Governing Unimpaired Claims .......................................................................... 29
          G.     Vacant and Abstaining Classes ....................................................................................................... 29
          H.     Controversy Concerning Impairment .............................................................................................. 30
          I.     Intercompany Interests and Intercompany Claims .......................................................................... 30
          J.     Disputed Claims Process ................................................................................................................. 30

Article IV. MEANS FOR IMPLEMENTATION OF THIS PLAN ............................................................................ 31
         A.     General Settlement of Claims and Interests .................................................................................... 31
         B.     Restructuring Transactions ............................................................................................................. 31
         C.     Corporate Existence ........................................................................................................................ 32
         D.     Vesting of Assets in the Reorganized Debtors Free and Clear of Liens and Claims ...................... 32
         E.     Cancellation of Existing Agreements and Existing Equity Interests. .............................................. 33
         F.     Sources for Plan Distributions and Transfers of Funds Among Debtors ........................................ 34
         G.     Exit Facilities and Exit Facilities Documents ................................................................................. 35
         H.     Issuance of New Equity Interests and Deregistration...................................................................... 35
         I.     Exemption from Registration Requirements ................................................................................... 36
         J.     New Organizational Documents ..................................................................................................... 37
         K.     Release of Liens and Claims ........................................................................................................... 38
         L.     Exemption from Certain Taxes and Fees ........................................................................................ 38
         M.     Directors and Officers of the Reorganized Debtors ........................................................................ 39
         N.     Preservation of Causes of Action .................................................................................................... 39
         O.     Corporate Action ............................................................................................................................. 40
         P.     Prepetition Intercreditor Agreement................................................................................................ 41
         Q.     Effectuating Documents; Further Transactions............................................................................... 41
         R.     Authority of the Debtors ................................................................................................................. 41
         S.     No Substantive Consolidation ......................................................................................................... 41
         T.     Continuing Effectiveness of Final Orders ....................................................................................... 41
         U.     Modifications to Executory Contracts and Unexpired Leases ........................................................ 41
         Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 121 of 569



Article V. TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES;
         EMPLOYEE BENEFITS; AND INSURANCE POLICIES ......................................................................... 42
         A.     Assumption of Executory Contracts and Unexpired Leases ........................................................... 42
         B.     Payments on Assumed Executory Contracts and Unexpired Leases............................................... 43
         C.     Claims Based on Rejection of Executory Contracts and Unexpired Leases ................................... 43
         D.     Contracts and Leases Entered into After the Petition Date ............................................................. 44
         E.     Reservation of Rights ...................................................................................................................... 44
         F.     Directors and Officers Insurance Policies ....................................................................................... 44
         G.     Other Insurance Contracts ............................................................................................................... 45
         H.     Indemnification Provisions and Reimbursement Obligations ......................................................... 45
         I.     Employee Compensation and Benefits ........................................................................................... 45

Article VI. PROVISIONS GOVERNING DISTRIBUTIONS .................................................................................... 46
         A.     Timing and Calculation of Amounts to Be Distributed .................................................................. 46
         B.     Special Rules for Distributions to Holders of Disputed Claims ...................................................... 46
         C.     Rights and Powers of Distribution Agent ....................................................................................... 47
         D.     Delivery of Distributions ................................................................................................................ 47
         E.     Compliance with Tax Requirements; Allocations........................................................................... 48
         F.     Applicability of Insurance Contracts............................................................................................... 49
         G.     Allocation of Distributions Between Principal and Interest ............................................................ 50
         H.     No Postpetition Interest on Claims ................................................................................................. 50
         I.     Means of Cash Payment .................................................................................................................. 50
         J.     Setoffs and Recoupment ................................................................................................................. 50
         K.     Claims Paid or Payable by Third Parties ......................................................................................... 50

Article VII. PROCEDURES FOR RESOLVING CONTINGENT, UNLIQUIDATED, AND
         DISPUTED CLAIMS ................................................................................................................................... 51
         A.     No Filings of Proofs of Claim ......................................................................................................... 51
         B.     Allowance and Disallowance of Claims ......................................................................................... 52
         C.     Claims Administration Responsibilities .......................................................................................... 52
         D.     Adjustment to Claims or Interests without Objection ..................................................................... 53
         E.     Distributions After Allowance ........................................................................................................ 53

Article VIII. CONDITIONS PRECEDENT TO THE EFFECTIVE DATE ............................................................... 53
         A.      Conditions Precedent to the Effective Date .................................................................................... 53
         B.      Waiver of Conditions ...................................................................................................................... 56
         C.      Effect of Non-Occurrence of Conditions to the Effective Date ...................................................... 56
         D.      Substantial Consummation ............................................................................................................. 56

Article IX. DISCHARGE, RELEASE, INJUNCTION, AND RELATED PROVISIONS ......................................... 56
         A.     Discharge of Claims and Termination of Interests .......................................................................... 56
         B.     Releases by the Debtors ................................................................................................................ 57
         C.     Releases by Holders of Claims and Interests .............................................................................. 58
         D.     Exculpation .................................................................................................................................... 59
         E.     Permanent Injunction ................................................................................................................... 60
         F.     SEC Reservation of Rights ........................................................................................................... 61

Article X. RETENTION OF JURISDICTION ............................................................................................................ 61

Article XI. MODIFICATION, REVOCATION, OR WITHDRAWAL OF PLAN .................................................... 64
         A.     Modification of Plan ....................................................................................................................... 64
         B.     Effect of Confirmation on Modifications ........................................................................................ 64
         C.     Revocation of Plan; Reservation of Rights if Effective Date Does Not Occur ............................... 64

Article XII. MISCELLANEOUS PROVISIONS ........................................................................................................ 64
         A.      Immediate Binding Effect ............................................................................................................... 64
Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 122 of 569



 B.    Additional Documents .................................................................................................................... 65
 C.    Payment of United States Trustee Statutory Fees ........................................................................... 65
 D.    Reservation of Rights ...................................................................................................................... 65
 E.    Successors and Assigns................................................................................................................... 65
 F.    No Successor Liability .................................................................................................................... 65
 G.    Service of Documents ..................................................................................................................... 66
 H.    Term of Injunctions or Stays ........................................................................................................... 67
 I.    Entire Agreement ............................................................................................................................ 67
 J.    Governing Law ............................................................................................................................... 67
 K.    Exhibits ........................................................................................................................................... 67
 L.    Nonseverability of Plan Provisions upon Confirmation.................................................................. 68
 M.    Closing of Chapter 11 Cases ........................................................................................................... 68
 N.    Conflicts .......................................................................................................................................... 68
 O.    No Strict Construction .................................................................................................................... 68
 P.    Section 1125(e) Good Faith Compliance ........................................................................................ 68
 Q.    2002 Notice Parties ......................................................................................................................... 69
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 123 of 569



     PREPACKAGED JOINT PLAN OF REORGANIZATION OF THE CONTAINER STORE
        GROUP, INC. AND ITS DEBTOR AFFILIATES UNDER CHAPTER 11 OF THE
                               BANKRUPTCY CODE

         The Container Store Group, Inc. and each of the other debtors and debtors-in-possession in the
above-captioned cases (collectively, the “Debtors”) propose this Plan (as defined herein) for the treatment
and resolution of the outstanding Claims against, and Interests in, the Debtors. Capitalized terms used in
this Plan and not otherwise defined have the meanings ascribed to such terms in Article I.A.

         Although proposed jointly for administrative purposes, this Plan constitutes a separate Plan for each
Debtor for the treatment and resolution of outstanding Claims and Interests therein pursuant to the
Bankruptcy Code. The Debtors seek to consummate the Restructuring Transactions on the Effective Date
of this Plan. Each Debtor is a proponent of this Plan within the meaning of section 1129 of the Bankruptcy
Code. The classifications of Claims and Interests set forth in Article III shall be deemed to apply separately
with respect to each Plan proposed by each Debtor, as applicable. This Plan does not contemplate
substantive consolidation of any of the Debtors.

         Reference is made to the Disclosure Statement for a discussion of the Debtors’ history, businesses,
results of operations, historical financial information, projections, and future operations, as well as a
summary and analysis of this Plan and certain related matters, including distributions to be made under this
Plan. There also are other agreements and documents, which shall be filed with the Bankruptcy Court, that
are referenced in this Plan, the Plan Supplement, or the Disclosure Statement as exhibits and schedules. All
such exhibits and schedules are incorporated into and are a part of this Plan as if set forth in full herein.
Subject to certain restrictions and requirements set forth in 11 U.S.C. § 1127, Fed. R. Bankr. P. 3019, and
the terms and conditions set forth in the Transaction Support Agreement and this Plan, the Debtors reserve
the right to alter, amend, modify, revoke, or withdraw this Plan before its substantial consummation.

     ALL HOLDERS OF CLAIMS ENTITLED TO VOTE ON THIS PLAN ARE
ENCOURAGED TO READ THIS PLAN AND THE DISCLOSURE STATEMENT IN THEIR
ENTIRETY BEFORE VOTING TO ACCEPT OR REJECT THIS PLAN.

                                       Article I.
                      DEFINED TERMS AND RULES OF INTERPRETATION

A.      Defined Terms

        The following terms shall have the following meanings when used in capitalized form herein:

       1.      “Ad Hoc Group” means that certain ad hoc group of Holders of Prepetition Term Loan
Claims advised by the Ad Hoc Group Advisors, as may be reconstituted from time to time.

       2.       “Ad Hoc Group Advisors” means Paul Hastings LLP, AlixPartners, LLP, Greenhill & Co.,
LLC., and such other professional advisors as are retained by the Ad Hoc Group with the consent of the
Debtors (not to be unreasonably withheld).

        3.       “Administrative Claim” means a Claim for costs and expenses of administration under
sections 503(b), 507(b), or 1114(e)(2) of the Bankruptcy Code, including: (a) the actual and necessary costs
and expenses incurred on or after the Petition Date and through the Effective Date of preserving the Estates
and operating the businesses of the Debtors; (b) Professional Fee Claims, to the extent Allowed by the
Bankruptcy Court; (c) all fees and charges assessed against the Estates under chapter 123 of title 28 United
States Code, 28 U.S.C. §§ 1911-1930; (d) Cure Costs; and (e) Restructuring Fees and Expenses, in
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 124 of 569



accordance with the Transaction Support Agreement or the DIP/Cash Collateral Orders, as applicable;
provided, that the foregoing clauses (a) through (e) shall not be interpreted as enlarging the scope of sections
503(b), 507(b), or 1114(e)(2) of the Bankruptcy Code. For the purposes of treatment and distributions
under the Plan, if the Transaction Support Agreement remains effective, the DIP Claims shall be subject to
Article II(B).

         4.      “Affiliate” means, with respect to any Entity, all Entities that would fall within the
definition of an “affiliate” as such term is defined in section 101(2) of the Bankruptcy Code. With respect
to any Entity that is not a Debtor, the term “Affiliate” shall apply to such Entity as if the Entity were a
Debtor.

        5.      “Agents” means, collectively, the Prepetition Agents, the DIP Agents, and the Exit Facility
Agents, in each case including any successors thereto.

         6.      “Allowed” means with respect to any Claim or Interest (or any portion thereof): (a) any
Claim or Interest as to which no objection to allowance, priority, or secured status, and no request for
estimation or other challenge, including pursuant to section 502(d) of the Bankruptcy Code or otherwise,
has been interposed (either in the Bankruptcy Court or in the ordinary course of business) on or before any
applicable period of limitation under applicable law or such other applicable period of limitation fixed by
the Bankruptcy Court; (b) any Claim or Interest as to which the liability of the Debtors and the amount
thereof are determined by a Final Order of the Bankruptcy Court or a court of competent jurisdiction other
than the Bankruptcy Court, either before or after the Effective Date, including, for the avoidance of doubt,
the DIP/Cash Collateral Orders; or (c) any Claim or Interest expressly deemed Allowed by this Plan.
Notwithstanding the foregoing: (x) any Claim or Interest that is expressly disallowed pursuant to this Plan
shall not be Allowed unless otherwise ordered by the Bankruptcy Court; (y) unless otherwise specified in
this Plan, the Allowed amount of Claims shall be subject to and shall not exceed the limitations under or
maximum amounts permitted by the Bankruptcy Code, including sections 502 or 503 of the Bankruptcy
Code, to the extent applicable; and (z) the Reorganized Debtors shall retain all claims and defenses with
respect to Allowed Claims that are reinstated or otherwise Unimpaired pursuant to this Plan. “Allow,”
“Allows,” and “Allowing” shall have correlative meanings.

       7.       “Assumed Employee Agreements” means all existing employment agreements between
the Debtors and employees of the Debtors as of the Petition Date.

        8.       “Avoidance Actions” means any and all actual or potential avoidance, recovery,
subordination, or similar actions or remedies that may be brought by or on behalf of the Debtors or the
Estates under the Bankruptcy Code or applicable non-bankruptcy law, including actions or remedies arising
under chapter 5 and section 724(a) of the Bankruptcy Code of the Bankruptcy Code or under similar or
related local, state, federal, or foreign statutes and common law, including fraudulent transfer laws,
fraudulent conveyance laws, or other similar related laws, in each case whether or not litigation to prosecute
such Claim(s) and Cause(s) of Action was commenced prior to the Effective Date.

      9.       “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. §§ 101-1532, as
amended from time to time and as applicable to the Chapter 11 Cases.

       10.     “Bankruptcy Court” means the United States Bankruptcy Court for the Southern District
of Texas, Houston Division, or such other court having jurisdiction over the Chapter 11 Cases.

        11.      “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure as promulgated by
the United States Supreme Court under section 2075 of title 28 of the United States Code, 28 U.S.C. § 2075,
as applicable to the Chapter 11 Cases, the Federal Rules of Civil Procedure, as applicable to the Chapter 11



                                                       2
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 125 of 569



Cases or any proceedings therein, and the general, local, and chambers rules of the Bankruptcy Court, in
each case as amended from time to time and as applicable to the Chapter 11 Cases.

         12.     “Business Day” means any day, other than a Saturday, Sunday, or “legal holiday” (as that
term is defined in Bankruptcy Rule 9006(a)), on which commercial banks are open for commercial business
with the public in New York City, New York.

        13.      “Cash” means the legal tender of the United States of America or the equivalent thereof.

        14.      “Cash Collateral” has the meaning set forth in section 363(a) of the Bankruptcy Code.

          15.     “Causes of Action” means any action, Claim, cross-claim, third-party claim, cause of
action, controversy, dispute demand, right, Lien, indemnity, contribution, interest, guaranty, suit,
obligation, liability, lost, debt, fee or expense, damage, judgment, account, defense, offset, power, privilege,
proceeding, franchise, remedy, and license of any kind or character whatsoever, whether known or
unknown, contingent or non-contingent, matured or unmatured, suspected or unsuspected, liquidated or
unliquidated, disputed or undisputed, secured or unsecured, assertable directly or derivatively (including
any alter ego theories), whether arising before, on, or after the Petition Date, as applicable, in contract or in
tort, in law (whether local, state, or federal U.S. or non-U.S. law) or in equity, or pursuant to any other
theory of local, state, or federal U.S. or non-U.S. law. For the avoidance of doubt, “Causes of Action”
include: (a) any right of setoff, counterclaim, or recoupment; (b) any Claim based on or relating to, or in
any manner arising from, in whole or in part, tort, breach of contract, breach of fiduciary duty, actual or
constructive fraudulent transfer or fraudulent conveyance or voidable transaction or similar law, violation
of local, state, or federal or non-U.S. law or breach of any duty imposed by law or in equity, including
securities laws, negligence, and gross negligence; (c) any Claim pursuant to section 362 or chapter 5 of
the Bankruptcy Code or similar local, state, or federal U.S. or non-U.S. law; (d) any Claim or defense
including fraud, mistake, duress, and usury, and any other defenses set forth in section 558 of the
Bankruptcy Code; (e) any Avoidance Actions relating to or arising from any state or foreign law pertaining
to any Avoidance Action, including preferential transfer, actual or constructive fraudulent transfer,
fraudulent conveyance, or similar Claim; (f) the right to object to or otherwise contest Claims or Interests;
and (g) any “lender liability” or equitable subordination Claims or defenses.

        16.     “Chapter 11 Cases” means (a) when used with reference to a particular Debtor, the
voluntary case Filed for that Debtor under chapter 11 of the Bankruptcy Code in the Bankruptcy Court and
(b) when used with reference to all Debtors, the jointly administered chapter 11 cases for all of the Debtors.

       17.     “Claim” means any claim, as defined in section 101(5) of the Bankruptcy Code. Except
where otherwise provided in context, “Claim” refers to such a claim against any of the Debtors.

        18.    “Claims Register” means the official register of Claims and Interests maintained by the
Notice and Claims Agent.

        19.     “Class” means a category of Claims or Interests as set forth in Article III pursuant to section
1122(a) of the Bankruptcy Code.

         20.    “Combined Hearing” means the hearing conducted by the Bankruptcy Court to consider
the final approval of the Disclosure Statement and final Confirmation of this Plan, as such hearing may be
adjourned or continued from time to time.

       21.     “Combined Order” means the order of the Bankruptcy Court approving the Disclosure
Statement pursuant to sections 1125, 1126(b), and 1145 of the Bankruptcy Code and confirming this Plan



                                                       3
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 126 of 569



pursuant to section 1129 of the Bankruptcy Code, which order shall be consistent with the terms and
conditions of the Transaction Support Agreement and otherwise in form and substance acceptable to the
Debtors and the Required Consenting Term Lenders.

        22.      “Compensation and Benefits Programs” means all employment, confidentiality, and non-
competition agreements, bonus, gainshare, and incentive programs (other than awards of equity interests,
stock options, restricted stock, restricted stock units, warrants, rights, convertible, exercisable, or
exchangeable securities, stock appreciation rights, phantom stock rights, redemption rights, profits interests,
equity-based awards, or contractual rights to purchase or acquire equity interest at any time and all rights
arising with respect thereto), vacation, holiday pay, severance, retirement, savings, supplemental
retirement, executive retirement, pension, deferred compensation, medical, dental, vision, life and disability
insurance, flexible spending account, and other health and welfare benefit plans, employee expense
reimbursement, and other compensation and benefit obligations of the Debtors, and all amendments and
modifications thereto, applicable to the Debtors’ employees, former employees, retirees, and non-employee
directors and the employees, former employees, and retirees of their subsidiaries.

        23.     “Confirmation” means the entry of the Combined Order or any Final Order Confirming
the Plan entered by the Bankruptcy Court on the docket of the Chapter 11 Cases.

        24.      “Confirmation Date” means the date on which Confirmation occurs.

       25.    “Consenting Stakeholders” means, collectively, the Consenting Stockholders and
Consenting Term Lenders.

        26.     “Consenting Stockholders” means Holders (or beneficial holders) of, or nominees,
investment managers, investment advisors, or subadvisors to or managers of funds, accounts and/or
subaccounts that beneficially hold, or trustees of trusts that beneficially hold, Existing Equity Interests that
have executed and delivered counterpart signature pages to the Transaction Support Agreement, or
signature pages to a Joinder or Transfer Agreement (as applicable), to counsel to the Debtors and the Ad
Hoc Group Advisors.

        27.     “Consenting Term Lenders” means Holders (or beneficial holders) of, or nominees,
investment managers, investment advisors, or subadvisors to or managers of funds, accounts and/or
subaccounts that beneficially hold, or trustees of trusts that beneficially hold, outstanding Prepetition Term
Loan Claims that have executed and delivered counterpart signature pages to the Transaction Support
Agreement, or signature pages to a Joinder or Transfer Agreement (as applicable), to counsel to the Debtors
and the Ad Hoc Group Advisors.

        28.    “Cure Cost” means any and all amounts, including an amount of $0.00, required to cure
any monetary defaults under any Executory Contract or Unexpired Lease (or such lesser amount as may be
agreed upon by the parties under an Executory Contract or Unexpired Lease) that is to be assumed by the
Debtors pursuant to sections 365 or 1123 of the Bankruptcy Code.

         29.      “D&O Insurance Policies” means, collectively, all insurance policies (including any “tail
coverage” and all agreements, documents, or instruments related thereto) issued at any time to, or providing
coverage to, any of the Debtors or any of the Debtors’ current or former directors, members, managers, or
officers for alleged Wrongful Acts (as defined in the D&O Insurance Policies), or similarly defined
triggering acts, in their capacity as such.

      30. “DIP ABL Credit Facility Documents” means the DIP/Cash Collateral Orders, the DIP & Exit
ABL Commitment Letter, and the DIP ABL Credit Agreement, together with all other related documents,



                                                       4
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 127 of 569



instruments, and agreements in respect of the DIP Term Loan Facility, in each case, as amended, restated,
amended and restated, modified, or supplemented from time to time in accordance with the terms thereof.

       31. “DIP Budget” means the budget for use of the DIP Term Loans, as approved by the Required
DIP Term Lenders.

        32.     “Debtor Release” means the releases set forth in Article IX.B.

        33.     “Debtors” has the meaning set forth in the preamble to this Plan.

         34.     “Definitive Documents” means all of the definitive documents necessary to implement the
Restructuring Transactions set forth in Section 3.01 of the Transaction Support Agreement, and, in each
case, any amendments, modifications, and supplements thereto and any related notes, certificates,
agreements, documents, and instruments (as applicable), including, but not limited to: (a) this Plan and all
documentation necessary to consummate this Plan, including the Plan Supplement, the Disclosure
Statement, the Solicitation Procedures Motion, the Solicitation Procedures Order, the Solicitation Materials,
and the Combined Order (including any exhibits or supplements filed with respect to each of the foregoing);
(b) the DIP Facilities Documents (including the DIP/Cash Collateral Motion and the DIP/Cash Collateral
Orders); (c) the Exit Facilities Documents; (d) the New Organizational Documents; (e) the Restructuring
Transaction Steps Memorandum; and (f) all other customary documents delivered in connection with
transactions of this type (including any and all material documents, Bankruptcy Court or other judicial or
regulatory orders, amendments, supplements, pleadings (including the First Day Pleadings and all orders
sought pursuant thereto), motions, filings, exhibits, schedules, appendices, or modifications to any of the
foregoing and any related notes, certificates, agreements, and instruments (as applicable) necessary to
implement the Restructuring Transactions), which in each case shall be subject to the consent rights set
forth in Section 3.02 of the Transaction Support Agreement.

         35. “DIP & Exit ABL Commitment Letter” means the debtor-in-possession revolving credit
facility and exit revolving credit facility commitment letter attached as Exhibit 5 to the Transaction Term
Sheet (including all annexes, exhibits, schedules and other attachments thereto).

        36. “DIP ABL Credit Agreement” means that certain Senior Secured Superpriority Debtor-In-
Possession Revolving Credit Agreement in respect of the DIP ABL Credit Facility, substantially in the form
attached to the DIP & Exit ABL Commitment Letter, as amended, restated, amended and restated, modified
or supplemented for time to time in accordance with the terms thereof.

        37. “DIP ABL Credit Facility” means the debtor-in-possession revolving credit facility provided
by the DIP ABL Lenders.

        38. “DIP ABL Lender” means Eclipse Business Capital LLC.

         39. “DIP ABL Loan Agent” means Eclipse Business Capital LLC as the administrative agent and
collateral agent under the DIP ABL Credit Agreement.

       40.      “DIP ABL Loan Agent Advisors” means Riemer & Braunstein LLP and Frost Brown Todd
LLP and such other professional advisors as are retained by the DIP ABL Loan Agent with the consent of
the Debtors (not to be unreasonably withheld).

         41. “DIP ABL Loan Claims” means any Claim on account of loans and any other obligations
arising under or pursuant to the DIP ABL Credit Agreement.

        42. “DIP Agents” means, the DIP ABL Loan Agent and the DIP Term Loan Agent, collectively.



                                                     5
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 128 of 569



       43. “DIP Backstop Allocation Schedule” means the backstop allocation schedule in respect of the
DIP Term Loan Facility attached as Exhibit 1 to the Transaction Term Sheet.

         44.   “DIP Backstop Parties” means certain Consenting Term Lenders set forth on the DIP
Backstop Allocation Schedule that have agreed to backstop and fund the full amount of the DIP Term Loan
Facility.

        45.     “DIP Claims” means (i) DIP ABL Loan Claims and (ii) DIP Term Loan Claims.

         46.     “DIP Commitment Premium” means the Pro Rata Share of a commitment premium that
each DIP Term Lender receives in exchange for the DIP Term Lenders’ commitments to fund the New
Money DIP Term Loans, which shall equal two percent (2%) of New Money DIP Term Loans paid in kind
in the form of New Money DIP Term Loans; provided, that any interest on additional DIP Term Loans
payable as part of the DIP Commitment Premium shall be payable in kind. The DIP Commitment Premium
shall be earned upon the entry of the Interim DIP/Cash Collateral Order, and thereafter constitute DIP Term
Loan Claims.

       47. “DIP Credit Agreements” means (i) the DIP ABL Credit Agreement and (ii) the DIP Term
Loan Credit Agreement.

         48.     “DIP Equity Premium” means the pro rata share, based on such Holder’s ratable share of
the First-Out DIP Term Loans (as defined in the DIP/Cash Collateral Orders), of an equity premium that
each DIP Term Lender receives in exchange for the DIP Term Lenders’ agreement to fund the DIP Term
Loan Facility and convert the full amounts of DIP Term Loans (including accrued and unpaid interest)
outstanding as of the Effective Date into Exit Term Loans, which shall equal sixty four percent (64%) of
the New Equity Interests, subject to dilution by the Management Incentive Plan. The DIP Equity Premium
shall be earned on the entry of the Final DIP/Cash Collateral Order and payable on the Effective Date and
conversion of such DIP Term Loans to Exit Term Loans.

        49. “DIP Facilities” means (i) the DIP Term Loan Facility and (ii) the DIP ABL Credit Facility.

         50. “DIP Facilities Documents” means the DIP Term Loan Facility Documents and the DIP ABL
Credit Facility Documents, including the Fronting Letter, DIP/Cash Collateral Motions, the DIP/Cash
Collateral Orders, DIP Budget and the DIP Credit Agreements, together with all other related documents,
instruments, and agreements delivered or entered into in respect of the DIP Facilities, including, without
limitation, any payoff letter in respect of the Prepetition ABL Facility, any guarantee agreements, pledge
and collateral agreements, intercreditor agreements, and other security documents, in each case, as
amended, restated, amended and restated, modified, or supplemented from time to time in accordance with
the terms thereof.

        51. “DIP Intercreditor Agreement” has the meaning assigned in the DIP/Cash Collateral Orders.

        52.      “DIP Put Option Premium” means the Pro Rata Share of a backstop premium that each of
the DIP Backstop Parties is entitled to receive in exchange for its agreement to backstop the New Money
DIP Term Loans, which shall equal five percent (5%) of the New Money DIP Term Loans paid in kind in
the form of New Money DIP Term Loans. The DIP Put Option Premium shall be earned on the date of
execution of the Transaction Support Agreement, but subject to the entry of the Interim DIP/Cash Collateral
Order, and thereafter constitute DIP Term Loan Claims.

       53.    “DIP Roll-Up Term Loan Claim” means any Claim arising under or related to the DIP
Roll-Up Term Loans.



                                                    6
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 129 of 569



      54.      “DIP Roll-Up Term Loans” means the refinanced, on a dollar-for-dollar basis, Prepetition
Term Loans in an original aggregate principal amount of $75 million under the DIP Credit Agreement.

         55.    “DIP Term Lenders” means the lenders holding the DIP Term Loans.

         56. “DIP Term Loan Agent” means either Acquiom Agency Services LLC as co-administrative
agent or Seaport Loan Products LLC, as co-administrative agent and Acquiom Agency Services LLC as
collateral agent under the DIP Term Loan Credit Agreement, and any successors, assignees, or delegees
thereof.

        57.    “DIP Term Loan Agent Advisors” means Paul Hastings LLP and such other professional
advisors as are retained by the DIP Term Loan Agent with the consent of the Debtors (not to be
unreasonably withheld).

        58.      “DIP Term Loan Claim” means any and all Claims on account of, arising from, arising
under, or related to the DIP Term Loan Facility, the DIP Term Loan Credit Agreement, or the DIP/Cash
Collateral Orders, including Claims for the aggregate outstanding principal amount of, plus unpaid interest
on, the DIP Term Loans, and all fees (including the DIP Put Option Premium and the DIP Commitment
Premium) and other expenses related thereto and arising and payable under the DIP Term Loan Facility,
including the DIP Roll-Up Term Loan Claims and the New Money DIP Term Loan Claims.

        59.     “DIP Term Loan Credit Agreement” means that certain Senior Secured Super-Priority
Priming Term Loan Debtor-in-Possession Credit Agreement in respect of the DIP Term Loan Facility, as
amended, restated, amended and restated, modified, or supplemented from time to time in accordance with
the terms thereof.

       60.      “DIP Term Loan Facility” means the senior secured debtor-in-possession credit facility
provided by the DIP Term Lenders under the DIP Term Loan Credit Agreement.

       61.      “DIP Term Loan Facility Documents” means the DIP/Cash Collateral Orders, the DIP
Term Loan Credit Agreement, and DIP Intercreditor Agreement together with all other related documents,
instruments, and agreements in respect of the DIP Term Loan Facility, in each case, as amended, restated,
amended and restated, modified, or supplemented from time to time in accordance with the terms thereof.

         62.    “DIP Term Loans” means the New Money DIP Term Loans and the DIP Roll-Up Term
Loans.

        63.      “DIP/Cash Collateral Motion” means the motion(s) seeking approval of the Debtors’ use
of Cash Collateral and requesting approval to obtain the DIP Facilities on terms substantially the same as
those set forth in the Transaction Support Agreement (including the term sheets attached thereto) and the
DIP Facilities Documents.

        64.    “DIP/Cash Collateral Orders” means, together, the Interim DIP/Cash Collateral Order and
Final DIP/Cash Collateral Order.

        65.     “Disclosure Statement” means the disclosure statement for this Plan, including all exhibits
and schedules thereto, as amended, supplemented, or modified from time to time in a manner acceptable to
the Debtors and Required Consenting Term Lenders, that is prepared and distributed in accordance with
sections 1125, 1126(b), and 1145 of the Bankruptcy Code, Bankruptcy Rule 3018, and other applicable
law.




                                                    7
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 130 of 569



         66.    “Disputed” means, with respect to any Claim or Interest, except as otherwise provided
herein, a Claim or Interest that is not yet Allowed, but has not yet been disallowed pursuant to this Plan,
the Bankruptcy Code, or a Final Order by the Bankruptcy Court or other court of competent jurisdiction.

       67.     “Distribution Agent” means the Reorganized Debtors or any party designated by the
Debtors or Reorganized Debtors to serve as distribution agent under this Plan.

         68.     “Distribution Record Date” means, other than with respect to publicly held securities, the
date for determining which Holders of Claims are eligible to receive distributions under this Plan on account
of Allowed Claims, which date shall be the Confirmation Date or such other date agreed to by the Debtors
and the Required DIP Term Lenders, subject to Article VIII.

        69.     “DTC” means the Depository Trust Company or any successor thereto.

        70.      “Effective Date” means the date on which all conditions specified in Article VIII.A have
been (a) satisfied or (b) waived pursuant to Article VIII.B. Any action to be taken on the Effective Date
may be taken on or as soon as reasonably practicable thereafter with the consent of the Debtors and the
Required Consenting Term Lenders.

        71.     “Entity” means an entity as defined in section 101(15) of the Bankruptcy Code.

       72.       “Estate” means, as to each Debtor, the estate created for such Debtor in its Chapter 11 Case
pursuant to section 541 of the Bankruptcy Code.

      73.      “Exchange Act” means the Securities Exchange Act of 1934, as now in effect or hereafter
amended, or any regulations promulgated thereunder.

        74.      “Exculpated Party” means, each in its capacity as such, (a) each Debtor, and (b) solely to
the extent they are Estate fiduciaries, each of the Debtors’ Related Parties.

        75.      “Executory Contract” means a contract to which one or more of the Debtors is a party that
is subject to assumption or rejection under sections 365 or 1123 of the Bankruptcy Code, other than an
Unexpired Lease.

        76.      “Existing Equity Interest” means any issued, unissued, authorized, or outstanding shares
or common stock, preferred shares, or other instrument evidencing an ownership interest in the Parent,
whether or not transferable, together with any warrants, equity-based awards, or contractual rights to
purchase or acquire such equity interests (including under any employment or benefits agreement) at any
time and all rights arising with respect thereto that existed immediately before the Effective Date. For the
avoidance of doubt, Existing Equity Interests include any equity interests issued to Parent’s current or
former employees and non-employee directors, various forms of long-term incentive compensation,
including stock options, stock appreciation rights, restricted stock, restricted stock units, performance
shares/units, incentive awards, cash awards, and other stock-based awards, in each case, whether vested or
unvested.

        77.      “Exit ABL Agent” means Eclipse Business Capital LLC, in its capacity as the agent under
the senior secured asset-based revolving credit facility under the Exit ABL Credit Agreement.

         78.     “Exit ABL Credit Agreement” means the credit agreement between Reorganized Parent or
its subsidiaries or Affiliates, as applicable, and the lenders party thereto to effectuate the issuance of the
Exit ABL Loans.



                                                      8
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 131 of 569



         79.     “Exit ABL Loans” means loans under the senior secured asset based revolving credit
facility under the Exit ABL Credit Agreement.

       80.       “Exit Facilities” means the facilities under which the Exit ABL Loans and Exit Term
Loans shall be issued.

        81.     “Exit Facilities Documents” means the DIP & Exit ABL Commitment Letter, Exit Term
Loan Documents, and Exit Intercreditor Agreement, together with all other related documents, instruments,
and agreements in respect of the Exit Facilities, in each case, as amended, restated, amended and restated,
modified, or supplemented from time to time in accordance with the terms thereof.

         82.     “Exit Facility Agent Advisors” means Paul Hastings LLP and such other professional
advisors as are retained by the Exit Facility Agents with the consent of the Debtors or Reorganized Debtors
(not to be unreasonably withheld).

        83.      “Exit Facility Agents” means the Exit ABL Agent and the Exit Term Loan Agent.

        84. “Exit Intercreditor Agreement” means the intercreditor agreement(s) to be effective as of the
Effective Date relating to the Exit Facilities, which may be the Prepetition Intercreditor Agreement or be
substantially similar to the Prepetition Intercreditor Agreement.

        85.      “Exit Term Lenders” means the lenders holding the Exit Term Loans.

        86.     “Exit Term Loan Agent” means Acquiom Agency Services LLC, in its capacity as
administrative agent and collateral agent under the Exit Term Loan Credit Agreement and any replacement
or successor agent thereto.

        87.      “Exit Term Loan Credit Agreement” means the credit agreement between Reorganized
Parent or its subsidiaries or Affiliates, as applicable, and the lenders party thereto to effectuate the issuance
of the Exit Term Loans.

         88.     “Exit Term Loan Documents” means the Exit Term Loan Credit Agreement and together
with all other related documents, instruments, and agreements in respect of the Exit Term Loans, in each
case, as amended, restated, modified, or supplemented from time to time.

        89.      “Exit Term Loans” means First-Out Exit Term Loans and Second-Out Exit Term Loans.

        90.      “File” or “Filed” or “Filing” means file, filed, or filing, respectively, with the Bankruptcy
Court or its authorized designee in the Chapter 11 Cases.

         91.      “Final DIP/Cash Collateral Order” means any order (and all exhibit and schedules
thereto, including any budget) entered by the Bankruptcy Court on a final basis: (a) approving the DIP
Facilities, the DIP Facilities Documents, and the DIP/Cash Collateral Motion; (b) authorizing the Debtors’
use of Cash Collateral; and (c) providing for adequate protection of secured creditors.

         92.      “Final Order” means an order entered by the Bankruptcy Court or other court of competent
jurisdiction: (a) that has not been reversed, stayed, modified, amended, or revoked, and as to which (i) any
right to appeal or seek leave to appeal, certiorari, review, reargument, stay, or rehearing has been waived
or (ii) the time to appeal or seek leave to appeal, certiorari, review, reargument, stay, or rehearing has
expired and no appeal, motion for leave to appeal, or petition for certiorari, review, reargument, stay, or
rehearing is pending or (b) as to which an appeal has been taken, a motion for leave to appeal, or petition
for certiorari, review, reargument, stay, or rehearing has been filed and (i) such appeal, motion for leave to


                                                       9
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 132 of 569



appeal or petition for certiorari, review, reargument, stay, or rehearing has been resolved by the highest
court to which the order or judgment was appealed or from which leave to appeal, certiorari, review,
reargument, stay, or rehearing was sought and (ii) the time to appeal (in the event leave is granted) further
or seek leave to appeal, certiorari, further review, reargument, stay, or rehearing has expired and no such
appeal, motion for leave to appeal, or petition for certiorari, further review, reargument, stay, or rehearing
is pending; provided, that the possibility that a motion under Rule 59 or Rule 60 of the Federal Rules of
Civil Procedure, or any analogous rule under the Bankruptcy Rules, may be filed with respect to such order
shall not preclude such order from being a Final Order.

        93.    “First Day Pleadings” means any petition, motion, application, or proposed order filed at
the commencement of the Chapter 11 Cases that the Debtors determine are necessary or desirable to file
with the Bankruptcy Court.

        94.     “First-Out Exit Term Loans” means term loans under the Exit Term Loan Credit
Agreement comprising converted New Money DIP Term Loans (inclusive of DIP Term Loans paid as part
of the DIP Put Option Premium and the DIP Commitment Premium).

        95. “Fronting Letter” means the fronting letter with the fronting bank regarding the seasoning or
syndication process.

        96.     “General Administrative Claim” means any Administrative Claim, other than a
Professional Fee Claim, a Claim for Restructuring Fees and Expenses (in accordance with the Transaction
Support Agreement or the DIP/Cash Collateral Orders, as applicable), a DIP Claim, or a Claim for fees and
charges assessed against the Estates under chapter 123 of title 28 United States Code, 28 U.S.C.
§§ 1911-1930.

         97.      “General Unsecured Claim” means any Unsecured Claim including (a) Claims arising
from the rejection of Unexpired Leases or Executory Contracts (if any) and (b) Claims arising from any
litigation or other court, administrative, or regulatory proceeding, including damages or judgments entered
against, or settlement amounts owing by a Debtor in connection therewith.

         98.     “Governance Term Sheet” means the term sheet setting forth the preliminary material
terms in respect of the corporate governance of Reorganized Parent to be included in the Plan Supplement,
including all exhibits and schedules thereto, as it may be altered, amended, modified, or supplemented from
time to time in accordance with the terms of the Transaction Support Agreement.

       99.    “Governmental Unit” means a governmental unit as defined in section 101(27) of the
Bankruptcy Code.

        100.    “Holder” means an Entity holding a Claim or Interest, as applicable.

       101.    “Impaired” means, with respect to any Claim or Interest, a Claim or Interest that is
“impaired” within the meaning of section 1124 of the Bankruptcy Code.

         102.     “Indemnification Provisions” means each of the Debtors’ indemnification provisions in
effect as of the Petition Date, whether in the Debtors’ memoranda and articles of association, bylaws,
certificates of incorporation, other formation documents, board resolutions, management or indemnification
agreements, employment contracts, or otherwise providing a basis for any obligation of a Debtor to
indemnify, defend, reimburse, or limit the liability of, or to advance fees and expenses to, any of the
Debtors’ current and former directors, officers, equity holders, managers, members, employees,




                                                     10
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 133 of 569



accountants, investment bankers, attorneys, and other professionals of the Debtors, and each of the
foregoing solely in their capacity as such.

        103.     “Insurance Contracts” means (a) any and all insurance policies issued at any time to, or
that otherwise may provide or may have provided coverage to, any of the Debtors, regardless of whether
the insurance policies were issued to a Debtor or to a Debtor’s prior Affiliates, subsidiaries, or parents or
otherwise, or to any of their predecessors, successors, or assigns; (b) any and all agreements, documents,
surety bonds, or other instruments relating thereto, including any and all agreements with a third party
administrator for claims handling, risk control or related services, any and all D&O Insurance Policies, and
any and all Workers’ Compensation Contracts; and (c) any and all collateral documents and security
agreements securing the Debtor’s obligations under the insurance policies, including, without limitation,
escrow accounts, deposit accounts, Cash Collateral, and letters of credit. For the avoidance of doubt,
Insurance Contracts include any insurance policies issued at any time to the Debtors’ prior Affiliates,
subsidiaries, and parents or otherwise, or to any of their predecessors, successors, or assigns, under which
Debtors had, have, or may have any rights solely to the extent of the Debtors’ rights thereunder.

       104.     “Insurer” means any company or other Entity that issued or entered into an Insurance
Contract (including any third-party administrator) and any respective predecessors and/or Affiliates thereof.

         105.    “Intercompany Claim” means a prepetition Claim held by a Debtor or Non-Debtor
Affiliate against a Debtor.

         106.    “Intercompany Interest” means any issued, unissued, authorized, or outstanding shares of
common stock, preferred stock, or other instrument evidencing an ownership interest in any Debtor other
than the Parent, whether or not transferable, together with any warrants, equity-based awards, or contractual
rights to purchase or acquire such equity interests at any time and all rights arising with respect thereto that
existed immediately before the Effective Date.

         107.    “Interests” means any equity security within the meaning of section 101(16) of the
Bankruptcy Code, including, collectively, the shares (or any class thereof), common stock, preferred stock,
limited liability company interests, membership interests, and any other equity, ownership, or profits
interests in any Debtor, and options, warrants, rights, stock appreciation rights, phantom units, incentives,
commitments, calls, redemption rights, repurchase rights, or other securities or arrangements to acquire or
subscribe for, or which are convertible into, or exercisable or exchangeable for, the shares (or any class
thereof) of, common stock, preferred stock, limited liability company interests, membership interests, or
any other equity, ownership, or profits interests in any Debtor or its Affiliates and subsidiaries (in each case
whether or not arising under or in connection with any employment agreement).

         108.     “Interim DIP/Cash Collateral Order” means any order (and all exhibit and schedules
thereto, including any budget) entered by the Bankruptcy Court on an interim basis: (a) approving the DIP
Facilities, the DIP Facilities Documents, and the DIP/Cash Collateral Motion; (b) authorizing the Debtors’
use of Cash Collateral; and (c) providing for adequate protection of secured creditors.

        109.    “Joinder” means a joinder to the Transaction Support Agreement, substantially in the form
attached as Exhibits C or D thereto, providing, among other things, that such Person signatory thereto is
bound by the terms of the Transaction Support Agreement to the extent provided therein.

        110.     “Lien” means a lien as defined in section 101(37) of the Bankruptcy Code.

        111.     “Local Rules” means the Bankruptcy Local Rules for the Southern District of Texas.




                                                      11
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 134 of 569



         112.     “Management Incentive Plan” means, the management incentive plan to be adopted by
the Reorganized Board on or around the Effective Date, which shall provide for the issuance of up to 10%
of the New Equity Interests to management, key employees, and/or directors of the Reorganized Debtors
of the fully diluted New Equity Interests.

         113.     “New Equity Interests” means the outstanding equity interests in Reorganized Parent to be
authorized, issued, or reserved on the Effective Date, which interests may be membership interests of a
limited liability company or common equity interests of a corporation.

     114.   “New Money DIP Term Loan Claim” means any Claim arising under or related to the
New Money DIP Term Loans.

       115.   “New Money DIP Term Loans” means new money loans in an original aggregate principal
amount of $40 million (plus all fees payable in kind) provided by the DIP Term Lenders under the DIP
Term Loan Credit Agreement.

        116.     “New Organizational Documents” means the new Organizational Documents of
Reorganized Parent and its direct or indirect subsidiaries, after giving effect to the Restructuring
Transactions, as applicable, including any shareholders agreement, limited liability company agreement, or
similar document.

       117.     “Non-Debtor Affiliates” means all of the Affiliates of the Debtors, other than the other
Debtors.

         118.    “Notice and Claims Agent” means Kurtzman Carson Consultants, LLC dba Verita Global,
in its capacity as noticing, claims, and solicitation agent for the Debtors, pursuant to an order of the
Bankruptcy Court.

         119.    “Organizational Documents” means, with respect to any Person other than a natural
person, the organizational and governance documents for each such Person, including, without limitation,
certificates of incorporation, certificates of formation, certificates of limited partnership, articles of
organization (or equivalent organizational documents), certificates of designation for preferred stock or
other forms of preferred equity, by-laws, partnership agreements, operating agreements, limited liability
company agreements, shareholders’ agreements, members’ agreement, or equivalent governing documents.

        120.    “Other Priority Claim” means any Allowed Claim accorded priority in right of payment
under section 507(a) of the Bankruptcy Code, other than: (a) Administrative Claims or (b) Priority Tax
Claims.

        121.   “Other Secured Claim” means any Allowed Secured Claim other than the DIP ABL Loan
Claims, DIP Term Loan Claims, Prepetition ABL Claims and Prepetition Term Loan Claims.

        122.    “Parent” means The Container Store Group, Inc., a Delaware corporation with a mailing
address of 500 Freeport Parkway, Coppell, TX 75019.

        123.    “Person” means a person as defined in section 101(41) of the Bankruptcy Code.

         124.    “Petition Date” means the date on which the Debtors file their voluntary chapter 11
petitions, which is expected to occur on or about December 22, 2024.




                                                    12
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 135 of 569



        125.     “Plan” means this prepackaged joint plan of reorganization under chapter 11 of the
Bankruptcy Code, as it may be altered, amended, modified, or supplemented from time to time in
accordance with the terms of the Transaction Support Agreement, the Bankruptcy Code, the Bankruptcy
Rules, or the terms hereof, as the case may be, and the Plan Supplement, which is incorporated herein by
reference, including all exhibits and schedules hereto and thereto.

        126.     “Plan Supplement” means one or more supplemental appendices to this Plan, which shall
include, among other things, draft forms of documents (or terms sheets thereof), schedules, and exhibits to
this Plan, in each case subject to the provisions of the Transaction Support Agreement, the Transaction
Term Sheet, or the DIP & Exit ABL Commitment Letter, as applicable, and as may be amended, modified,
or supplemented from time to time on or before the Effective Date, including the following documents: (a)
the New Organizational Documents, (b) the Exit Facilities Documents, (c) to the extent known and
determined, a document disclosing the identity of the members of the Reorganized Board, (d) the Rejected
Executory Contract/Unexpired Lease List, (e) a schedule of retained Causes of Action, (f) the Governance
Term Sheet; (g) the Restructuring Transaction Steps Memorandum; and (h) such other documents as may
be specified in this Plan.

        127.    “Plan Supplement Filing Date” means the date on which the Plan Supplement is Filed
with the Bankruptcy Court, which shall be at least five (5) Business Days before the deadline to File
objections to Confirmation.

         128.  “Prepetition ABL Claims” means any and all Claims arising under, derived from, or based
upon the Prepetition ABL Facility including, without limitation, all Obligations (as defined in the
Prepetition ABL Credit Agreement).

         129.   “Prepetition ABL Credit Agreement” means that certain Credit Agreement, dated as of
April 6, 2012, as amended by that certain Amendment No. 1, dated as of April 8, 2013, that certain
Amendment No. 2, dated as of October 8, 2015, that certain Amendment No. 3, dated as of May 20, 2016,
that certain Amendment No. 4, dated as of August 18, 2017, that certain Amendment No. 5, dated as of
November 25, 2020, and that certain Amendment No. 6, dated as of May 22, 2023 (as may be further
amended, restated, amended and restated, modified, or supplemented from time to time in accordance with
the terms thereof).

        130.    “Prepetition ABL Facility” means the senior secured asset based revolving credit facility
under the Prepetition ABL Credit Agreement.

        131.    “Prepetition ABL Facility Agent” means JPMorgan Chase Bank, N.A., in its capacity as
administrative agent and collateral agent under the Prepetition ABL Facility, and any replacement or
successor agent thereto.

         132.    “Prepetition ABL Facility Agent Advisors” means Simpson Thacher & Bartlett LLP, as
legal counsel, Berkeley Research Group, LLC, as financial advisor, and such other professional advisors as
are retained by the Prepetition ABL Facility Agent or the Exit ABL Agent with the consent of the Debtors
(not to be unreasonably withheld).

         133.     “Prepetition ABL Facility Documents” means the Prepetition ABL Credit Agreement
together with all other related documents, instruments, and agreements in respect of the Prepetition ABL
Facility, in each case, as amended, restated, amended and restated, modified, or supplemented from time to
time in accordance with the terms thereof.




                                                    13
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 136 of 569



        134.    “Prepetition ABL Lenders” means Holders of, or nominees, investment managers,
investment advisors, or subadvisors to funds and/or accounts that hold, or trustees of trusts that hold, the
outstanding Prepetition ABL Claims.

         135.    “Prepetition ABL Loans” means the loans under the Prepetition ABL Facility, consisting
of all Claims and obligations arising under or related to the $100 million Prepetition ABL Facility, including
(i) an aggregate principal amount of approximately $80 million of borrowings outstanding thereunder and
(ii) approximately $20 million of undrawn revolving commitments (including $7.533 million in issued and
outstanding letters of credit) plus, in each case, any accrued but unpaid fees and interest in respect thereof.

      136.       “Prepetition Agents” means the Prepetition ABL Facility Agent and the Prepetition Term
Loan Agent.

         137.    “Prepetition Intercreditor Agreement” means that certain Intercreditor Agreement, dated
as of April 6, 2012, as amended by that certain Amendment No. 1, dated as of April 8, 2013, relating to the
Prepetition Term Loans, the Prepetition ABL Facility, as amended, restated, modified, or supplemented
from time to time.

       138.     “Prepetition Term Loan Agent” means JPMorgan Chase Bank, N.A., in its capacity as
administrative agent and collateral agent under the Prepetition Term Loan Credit Agreement and any
replacement or successor agent thereto.

        139.    “Prepetition Term Loan Agent Advisors” means Simpson Thacher & Bartlett LLP and
such other professional advisors as are retained by the Prepetition Term Loan Agent with the consent of the
Debtors (not to be unreasonably withheld).

      140.    “Prepetition Term Loan Claims” means Claims arising under or related to the Prepetition
Term Loan Credit Agreement.

        141.     “Prepetition Term Loan Credit Agreement” means that certain Credit Agreement, dated
as of April 6, 2012, as amended by that certain Amendment No. 1 dated as of April 8, 2013, that certain
Amendment No. 2 dated as of November 27, 2013, that certain Amendment No. 3 dated as of May 20,
2016, that certain Amendment No. 4 dated as of August 18, 2017, that certain Amendment No. 5 dated as
of September 14, 2018, that certain Amendment No. 6 dated as of October 8, 2018, that certain Amendment
No. 7 dated as of November 25, 2020, that certain Amendment No. 8 dated as of June 14, 2023, and that
certain Amendment No. 9 dated as of October 8, 2024, as may be amended and restated, modified, or
supplemented from time to time in accordance with the terms thereof.

        142.     “Prepetition Term Loan Documents” means the Prepetition Term Loan Credit Agreement
together with all other related documents, instruments, and agreements in respect of the Prepetition Term
Loans, in each case, as amended, restated, amended and restated, modified, or supplemented from time to
time in accordance with the terms thereof.

         143.    “Prepetition Term Loans” means the senior secured first-lien term loans issued pursuant
to the Prepetition Term Loan Credit Agreement.

        144.    “Priority Tax Claim” means any Claim of a Governmental Unit of the kind specified in
section 507(a)(8) of the Bankruptcy Code.




                                                      14
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 137 of 569



         145.    “Pro Rata Share” means, with respect to any distribution on account of an Allowed Claim,
a distribution equal in amount to the ratio (expressed as a percentage) that the amount of such Allowed
Claim bears to the aggregate amount of all Allowed Claims in its Class.

        146.     “Professional Fee Claim” means a Claim by a Retained Professional seeking an award by
the Bankruptcy Court of compensation for services rendered or reimbursement of expenses incurred
through and including the Effective Date under sections 328, 330, 331, 503(b)(2), 503(b)(3), 503(b)(4), or
503(b)(5) of the Bankruptcy Code (subject to any applicable agreements by such Retained Professional
with respect thereto).

        147.   “Professional Fee Escrow Account” means a segregated interest-bearing account funded
by the Debtors with Cash no later than two (2) Business Days before the anticipated Effective Date in an
amount equal to the Professional Fee Escrow Amount.

        148.    “Professional Fee Escrow Amount” means the aggregate amount of Professional Fee
Claims and other unpaid fees and expenses the Retained Professionals have incurred or shall incur in
rendering services in connection with the Chapter 11 Cases before and as of the Effective Date, which shall
be estimated pursuant to the method set forth in Article II.A.2.

        149.     “Proof of Claim” means a proof of Claim Filed against any Debtor in the Chapter 11 Cases.

         150.    “Reinstatement” means, with respect to Claims and Interests, that the Claim or Interest
shall be rendered Unimpaired in accordance with section 1124 of the Bankruptcy Code. “Reinstated” shall
have a correlative meaning.

        151.    “Rejected Executory Contract/Unexpired Lease List” means the list of Executory
Contracts and/or Unexpired Leases (including any amendments or modifications thereto), if any, that shall
be rejected pursuant to this Plan, which shall be filed with the Plan Supplement.

        152.    “Rejection Damages Claim” means a Claim arising from the rejection of an Executory
Contract or Unexpired Lease for which the Holder is required to file a Proof of Claim pursuant to Article
V of this Plan.

         153.    “Related Parties” means, with respect to an Entity, each of, and in each case in its capacity
as such, such Entity’s current and former Affiliates, and such Entity’s and such Affiliates’ current and
former members, directors, managers, officers, proxyholders, control persons, investment committee
members, special committee members, members of any governing body, equity holders (regardless of
whether such interests are held directly or indirectly), affiliated investment funds or investment vehicles,
managed accounts or funds (including any beneficial holders for the account of whom such funds are
managed), predecessors, participants, successors, assigns, subsidiaries, Affiliates, partners, limited partners,
general partners, principals, members, management companies, fund advisors or managers, employees,
agents, trustees, advisory board members, financial advisors, attorneys (including any other attorneys or
professionals retained by any current or former director or manager in his or her capacity as director or
manager of an Entity), accountants, investment bankers, consultants, Representatives, investment
managers, and other professionals and advisors, each in their capacity as such, and any such Person’s or
Entity’s respective heirs, executors, estates, and nominees.

        154.   “Release Opt-Out Form” means the form to be provided to certain Holders of Claims
through which such Holders may elect to affirmatively opt out of the Third-Party Release.




                                                      15
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 138 of 569



        155.     “Released Party” means, collectively, each of, and in each case in its capacity as such:
(a) each Debtor; (b) each Reorganized Debtor; (c) each Non-Debtor Affiliate; (d) each of the Debtors’ and
Non-Debtor Affiliates’ current and former directors, officers, and proxyholders; (e) each Consenting
Stakeholder; (f) each Prepetition Agent; (g) each DIP Agent; (h) each DIP Term Lender; (i) the DIP ABL
Lender; (j) each Exit Facility Agent; (k) each lender under the Exit Facilities; (l) each Releasing Party; and
(m) each Related Party of each Entity in clauses (a) through (l); provided, that, in each case, an Entity shall
not be a Released Party if it (a) elects to opt out of the Third-Party Release as provided on its respective
Release Opt-Out Form, (b) timely Files with the Bankruptcy Court on the docket of the Chapter 11 Cases
an objection to the Third-Party Release that is not withdrawn or resolved before Confirmation or (c)
provides to the Debtors by electronic mail an informal objection and such objection is not withdrawn or
resolved before Confirmation; provided, further, that, for the avoidance of doubt, any opt-out election made
by a Consenting Stakeholder shall be void ab initio.

         156.    “Releases” means, collectively, the Debtor Release and the Third-Party Release as set forth
in Article IX.

        157.     “Releasing Parties” means, collectively, each of, and in each case in its capacity as such:
(a) each Non-Debtor Affiliate; (b) each of the Debtors’ and Non-Debtor Affiliates’ current and former
directors, officers, and proxyholders; (c) each Consenting Stakeholder; (d) each Prepetition Agents; (e)
each DIP Agent; (f) each DIP Term Lender; (g) the DIP ABL Lender; (h) each Exit Facility Agent; (i) each
lender under the Exit Facilities; (j) each Holder of a Claim or Interest in a Class (other than Holders of
Rejection Damages Claims) that does not affirmatively elect to opt out of the Releases contained in this
Plan or that does not (i) timely file with the Bankruptcy Court on the docket of the Chapter 11 Cases an
objection to the Third-Party Release that is not withdrawn or resolved before Confirmation or (ii) provide
to the Debtors by electronic mail an informal objection and such objection is not withdrawn or resolved
before Confirmation; and (k) each Related Party of each Entity in clauses (a) through (j); provided, that, for
the avoidance of doubt, any opt-out election made by a Consenting Stakeholder shall be void ab initio.

       158.    “Reorganized Board” means the initial board of directors or similar governing body of the
Reorganized Parent appointed in accordance with the terms of the New Organizational Documents.

         159.    “Reorganized Debtors” means, on or after the Effective Date, the Debtors, as reorganized
pursuant to and under this Plan, or any successor thereto, after giving effect to the transactions implementing
this Plan.

         160.     “Reorganized Parent” means, on or after the Effective Date, The Container Store Group,
Inc. or any other Entity designated as such that will, directly or indirectly, own 100% of the New Equity
Interests in, or substantially all of the assets of, The Container Store Group, Inc. upon consummation of the
Restructuring Transactions, as mutually agreed by the Debtors and the Required Consenting Lenders.

         161.     “Representatives” means, with respect to any Person, such Person’s Affiliates and its and
their directors, officers, members, partners, managers, employees, agents, investment bankers, attorneys,
accountants, advisors, investment advisors, investors, managed accounts or funds, management companies,
fund advisors, advisory board members, professionals, and other representatives, in each case, solely in
their capacities as such.

       162.   “Required Consenting Lenders” means the Required Consenting Term Lenders and the
Required DIP Term Lenders.




                                                      16
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 139 of 569



         163.  “Required Consenting Term Lenders” means, as of any time, Consenting Term Lenders
that are members of the Ad Hoc Group holding at least 66 2/3% of the Prepetition Term Loan Claims that
are held by Consenting Term Lenders that are members of the Ad Hoc Group at such time.

         164.   “Required DIP Term Lenders” means, as of any time, DIP Term Lenders holding at least
fifty and one hundredth percent (50.01%) of the aggregate outstanding principal amount and commitments
of the DIP Term Loan Facility at such time.

         165.     “Restructuring Fees and Expenses” means all reasonable and documented fees and
expenses of the (a) Agents; (b) Prepetition Term Loan Agent Advisors; (c) DIP Term Loan Agent Advisors;
(d) Exit Facility Agent Advisors; and (e) Ad Hoc Group Advisors in each case, payable in accordance with
the terms hereof, the applicable engagement and/or fee letters with the Debtors, the Transaction Support
Agreement, the DIP Facilities Documents, the Prepetition Term Loan Documents, the DIP & Exit ABL
Commitment Letter, and the Interim DIP/Cash Collateral Order, as applicable, and subject to any order of
the Bankruptcy Court and any other applicable agreements by such party with respect thereto.

       166.     “Restructuring Transaction Steps Memorandum” means the document setting forth the
sequence of certain Restructuring Transactions.

        167.     “Restructuring Transactions” means the transactions described in Article IV.B.

        168.   “Retained Professional” means an Entity: (a) employed in the Chapter 11 Cases pursuant
to a Final Order in accordance with sections 327 and/or 1103 of the Bankruptcy Code and to be
compensated for services rendered before the Effective Date, pursuant to sections 327, 328, 329, 330, or
331 of the Bankruptcy Code; or (b) for which compensation and reimbursement has been allowed by the
Bankruptcy Court pursuant to sections 503(b)(2), 503(b)(3), 503(b)(4), or 503(b)(5) of the Bankruptcy
Code.

        169.     “SEC” means the United States Securities and Exchange Commission.

      170.   “Second-Out Exit Term Loans” means term loans under the Exit Term Loan Credit
Agreement comprising converted DIP Roll-Up Term Loans.

         171.    “Secured Claim” means a Claim: (a) secured by a Lien on property in which the Estate has
an interest, which Lien is valid, perfected, and enforceable pursuant to applicable law or by reason of a
Bankruptcy Court order, or that is subject to setoff pursuant to section 553 of the Bankruptcy Code, to the
extent of the value of the creditor’s interest in the Estate’s interest in such property or to the extent of the
amount subject to setoff, as applicable, as determined pursuant to section 506(a) of the Bankruptcy Code
or (b) otherwise Allowed pursuant to this Plan or order of the Bankruptcy Court as a Secured Claim.

        172.    “Securities” means any instruments that qualify as a “security” under Section 2(a)(1) of
the Securities Act.

        173.    “Securities Act” means the Securities Act of 1933, as now in effect or hereafter amended,
or any regulations promulgated thereunder.

       174.     “Solicitation Materials” means any documents, forms, ballots, notices, and other materials
provided in connection with the solicitation of votes on this Plan pursuant to sections 1125 and 1126 of the
Bankruptcy Code.




                                                      17
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 140 of 569



         175.     “Solicitation Procedures Motion” means the Emergency Motion of Debtors for Entry of
Order (I) Scheduling Combined Hearing to Consider (A) Final Approval of Disclosure Statement,
(B) Approval of Solicitation Procedures and Form of Ballot, and (C) Confirmation of Plan;
(II) Establishing an Objection Deadline to Object to Disclosure Statement and Plan; (III) Approving the
Form and Manner of Notice of Combined Hearing, Objection Deadline, and Notice of Commencement;
(IV) Approving Notice and Objection Procedures for the Assumption or Rejection of Executory Contracts
and Unexpired Leases; (V) Conditionally Waiving Requirement of Filing Schedules of Assets and
Liabilities, Statements of Financial Affairs, and 2015.3 Reports; (VI) Conditionally Waiving Requirement
to Convene the Section 341 Meeting of Creditors; (VII) Conditionally Approving the Disclosure Statement
and (VIII) Granting Related Relief to be filed on the Petition Date.

         176.    “Solicitation Procedures Order” means an order of the Bankruptcy Court granting the
relief requested in the Solicitation Procedures Motion.

         177.     “Subordinated Claim” means any Claim against the Debtors that is subject to
subordination under section 509(c), section 510(b), or section 510(c) of the Bankruptcy Code, including
any Claim for reimbursement, indemnification, or contribution (except indemnification or reimbursement
Claims assumed hereunder). For the avoidance of doubt, Subordinated Claim includes any Claim arising
out of or related to any agreement for the purchase or sale of securities of the Debtors or any of its Affiliates
or any agreements related or ancillary to such agreement for the purchase or sale of securities of the Debtors
or any of its Affiliates.

         178.    “Third-Party Release” means the releases given by the Releasing Parties to the Released
Parties in Article IX.C.

        179.     “Transaction Support Agreement” means that certain Transaction Support Agreement
entered into on December 21, 2024, among the Debtors, Consenting Stockholders and the Consenting Term
Lenders and any exhibits, schedules, attachments, or appendices thereto (in each case, as such may be
amended, modified, or supplemented in accordance with its terms).

       180.   “Transaction Term Sheet” means the term sheet attached as Exhibit B to the Transaction
Support Agreement, together with the exhibits and appendices annexed thereto.

         181.    “Transfer Agreement” means the transfer agreement, substantially in the form attached as
Exhibit D to the Transaction Support Agreement, providing, among other things, that a transferee is bound
by the terms of the Transaction Support Agreement.

         182.   “Unexpired Lease” means a lease to which one or more of the Debtors is a party that is
subject to assumption or rejection under section 365 or 1123 of the Bankruptcy Code.

       183.    “Unimpaired” means, with respect to a Claim, Interest, or Class of Claims or Interests, not
“impaired” within the meaning of sections 1123(a)(4) and 1124 of the Bankruptcy Code.

        184.     “United States” means the United States of America, its agencies, departments, or agents.

         185.    “United States Trustee” means the Office of the United States Trustee for the Southern
District of Texas.

        186.     “United States Trustee Statutory Fees” means all fees due under 28 U.S.C § 1930(a)(6).




                                                       18
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 141 of 569



        187.    “Unsecured Claim” means a Claim that is not secured by a Lien on property in which one
of the Debtors’ Estates has an interest.

        188.     “Voting Class” means Class 3 (Prepetition Term Loan Claims).

       189.    “Workers’ Compensation Contracts” means the Debtors’ written contracts, agreements,
agreements of indemnity, self-insured workers’ compensation bonds, policies, programs, and plans for
workers’ compensation and workers’ compensation Insurance Contracts.

B.      Rules of Interpretation

         1.       For purposes herein: (a) in the appropriate context, each term, whether stated in the singular
or the plural, shall include both the singular and the plural, and pronouns stated in the masculine, feminine,
or neuter gender shall include the masculine, feminine, and the neuter gender; (b) unless otherwise
specified, any reference herein to a contract, instrument, release, indenture, or other agreement or document
being in a particular form or on particular terms and conditions means that the referenced document shall
be substantially in that form or substantially on those terms and conditions; (c) unless otherwise specified,
any reference herein to an existing document, schedule, or exhibit, whether or not Filed, having been Filed,
or to be Filed shall mean that document, schedule, or exhibit, as it may thereafter be amended, modified, or
supplemented; (d) any reference to any Entity as a Holder of a Claim or Interest includes that Entity’s
successors and assigns; (e) unless otherwise specified, all references herein to “Articles” are references to
Articles of this Plan; (f) unless otherwise specified, the words “herein,” “hereof,” and “hereto” refer to this
Plan in its entirety rather than to a particular portion of this Plan; (g) subject to the provisions of any
contract, certificate of incorporation, by-law, instrument, release, or other agreement or document created
or entered into in connection with this Plan, the rights and obligations arising pursuant to this Plan shall be
governed by, and construed and enforced in accordance with, applicable federal law, including the
Bankruptcy Code and Bankruptcy Rules; (h) unless otherwise specified, the words “include” and
“including,” and variations thereof, shall not be deemed to be terms of limitation, and shall be deemed to
be followed by the words “without limitation”; (i) references to “shareholders,” “directors,” and/or
“officers” shall also include “members” and/or “managers,” as applicable, as such terms are defined under
the applicable state limited liability company laws; (j) any reference to directors or board of directors
includes managers, managing members or any similar governing body, as the context requires, and
references to “shareholders,” “directors,” and/or “officers” shall also include “members” and/or
“managers,” as applicable, as such terms are defined under the applicable limited liability company Laws;
(k) references to “Proofs of Claim,” “Holders of Claims,” “Disputed Claims,” and the like shall include
“Proofs of Interests,” “Holders of Interests,” “Disputed Interests,” and the like, as applicable; (l) captions
and headings to Articles and subdivisions thereof are inserted for convenience of reference only and are not
intended to be a part of or to affect the interpretation hereof; (m) unless otherwise specified, the rules of
construction set forth in section 102 of the Bankruptcy Code shall apply; (n) any term used in capitalized
form herein that is not otherwise defined but that is used in the Bankruptcy Code or the Bankruptcy Rules
shall have the meaning assigned to that term in the Bankruptcy Code or the Bankruptcy Rules, as the case
may be; (o) unless otherwise specified, all references to statutes, regulations, orders, rules of courts, and
the like shall mean as in effect on the Effective Date and as applicable to the Chapter 11 Cases; (p) any
effectuating provisions may be interpreted by the Reorganized Debtors in such a manner that is consistent
with the overall purpose and intent of this Plan all without further notice to or action, order, or approval of
the Bankruptcy Court or any other Entity, and such interpretation shall control; (q) references to docket
numbers are references to the docket numbers of documents Filed in the Chapter 11 Cases under the
Bankruptcy Court’s CM/ECF system; and (r) all references herein to consent, acceptance, or approval may
be conveyed by counsel for the respective parties that have such consent, acceptance, or approval rights,
including by electronic mail.



                                                      19
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 142 of 569



        2.       Unless otherwise specifically stated herein, the provisions of Bankruptcy Rule 9006(a)
shall apply in computing any period of time prescribed or allowed herein. If the date on which a transaction
may occur pursuant to this Plan shall occur on a day that is not a Business Day, then such transaction shall
instead occur on the next succeeding Business Day. Unless otherwise specified herein, any references to
the “Effective Date” shall mean the Effective Date or as soon as reasonably practicable thereafter.

        3.     All references in this Plan to monetary figures refer to currency of the United States, unless
otherwise expressly provided.

         4.      Except as otherwise specifically provided in this Plan to the contrary, references in this
Plan to the “Debtors” or to the “Reorganized Debtors” mean the Debtors and the Reorganized Debtors, as
applicable, to the extent the context requires.

C.      Consent Rights

        Notwithstanding anything to the contrary in this Plan, the Combined Order, or the Disclosure
Statement, any and all consent, consultation, and approval rights set forth in the Transaction Support
Agreement and the DIP & Exit ABL Commitment Letter, including rights and limitations with respect to
the form and substance of any Definitive Document (including any amendments, restatements,
supplements, or other modifications to such documents, and any consents, waivers, or other deviations
under or from any such documents) shall be incorporated herein by this reference (including to the
applicable definitions in Article I.A) and fully enforceable as if stated in full herein. In case of a conflict
with respect to consent, consultation, or approval rights between the Transaction Support Agreement or a
Plan Document, on the one hand, and the Plan, on the other hand, the former shall control and govern.

D.      Appendices and Plan Supplement

        The Plan Supplement and appendices to this Plan are incorporated into this Plan by reference and
are a part of this Plan as if set forth in full herein. The documents contained in the exhibits and Plan
Supplement shall be approved by the Bankruptcy Court pursuant to the Combined Order.

E.      Deemed Acts

        Whenever an act or event is expressed under this Plan to have been deemed done or to have
occurred, it shall be deemed to have been done or to have occurred by virtue of this Plan and/or Combined
Order without any further act by any party.

                                 Article II.
         ADMINISTRATIVE CLAIMS, DIP CLAIMS, PRIORITY TAX CLAIMS,
     OTHER PRIORITY CLAIMS, AND UNITED STATES TRUSTEE STATUTORY FEES

        In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Claims, DIP
Claims, Priority Tax Claims, and Other Priority Claims have not been classified and thus are excluded from
the Classes of Claims and Interests set forth in Article III.

         A Claim or Interest is placed in a particular Class only to the extent that such Claim or Interest falls
within the description of that Class and is classified in other Classes to the extent that any portion of the
Claim or Interest falls within the description of such other Classes. To the extent applicable, a Claim or
Interest is placed in a particular Class for all purposes, including voting, Confirmation and distribution
under this Plan and under sections 1122 and 1123(a)(1) of the Bankruptcy Code. However, a Claim or
Interest is placed in a particular Class for the purpose of receiving distributions (if any) under this Plan only




                                                       20
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 143 of 569



to the extent that such Claim or Interest is an Allowed Claim or Allowed Interest and has not been paid,
released or otherwise settled prior to the Effective Date.

A.      Administrative Claims

        1.       General Administrative Claims

        Subject to the terms of the Transaction Support Agreement, the Combined Order, and the
provisions of sections 328, 330(a), and 331 of the Bankruptcy Code, except to the extent that a Holder of
an Allowed General Administrative Claim and the applicable Debtor(s) or Reorganized Debtor(s), as
applicable, agree to less favorable treatment with respect to such Allowed General Administrative Claim,
each Holder of an Allowed General Administrative Claim shall receive, in full and final satisfaction of its
General Administrative Claim, an amount in Cash equal to the unpaid amount of such Allowed General
Administrative Claim in accordance with the following: (a) if such General Administrative Claim is
Allowed on or before the Effective Date, on the Effective Date or as soon as reasonably practicable
thereafter or, if not then due, when such Allowed General Administrative Claim is due or as soon as
reasonably practicable thereafter; (b) if such General Administrative Claim is Allowed after the Effective
Date, on the date such General Administrative Claim is Allowed or as soon as reasonably practicable
thereafter or, if not then due, when such Allowed General Administrative Claim is due or as soon as
reasonably practicable thereafter; (c) at such time and upon such terms as may be agreed upon by such
Holder and the Debtors or the Reorganized Debtors, as the case may be; or (d) at such time and upon such
terms as set forth in an order of the Bankruptcy Court; provided, that Allowed General Administrative
Claims that arise in the ordinary course of the Debtors’ businesses during the Chapter 11 Cases shall be
paid by such applicable Debtor or Reorganized Debtor in full in Cash in the ordinary course of business in
accordance with the terms and conditions of any controlling agreements, course of dealing, course of
business, or industry practice without further notice to or order of the Bankruptcy Court. Nothing in the
foregoing or otherwise in this Plan shall prejudice the Debtors’ or the Reorganized Debtors’ rights and
defenses regarding any asserted General Administrative Claim.

        2.       Professional Fee Claims

                 a.      Professional Fee Applications

         All final requests for payment of Professional Fee Claims for services rendered and reimbursement
of expenses incurred before the Effective Date must be Filed no later than thirty (30) days after the Effective
Date. The Bankruptcy Court shall determine the Allowed amounts of such Professional Fee Claims after
notice and a hearing in accordance with the procedures established by the Bankruptcy Code, the Bankruptcy
Rules, and prior Bankruptcy Court orders. Subject to any applicable agreements by the Retained
Professionals with respect to Professional Fee Claims, the Reorganized Debtors shall pay Professional Fee
Claims owing to the Retained Professionals in Cash in the amount the Bankruptcy Court Allows from funds
held in the Professional Fee Escrow Account, as soon as reasonably practicable after such Professional Fee
Claims are Allowed by entry of an order of the Bankruptcy Court; provided, that the Debtors’ and the
Reorganized Debtors’ obligations to pay Allowed Professional Fee Claims shall not be limited or deemed
limited to funds held in the Professional Fee Escrow Account. To the extent that funds held in the
Professional Fee Escrow Account are insufficient to satisfy the Allowed amount of Professional Fee Claims
owing to the Retained Professionals, the Reorganized Debtors shall pay such amounts within ten (10)
Business Days of entry of the order approving such Professional Fee Claims.

                 b.      Professional Fee Escrow Account

         No later than the anticipated Effective Date, the Debtors or the Reorganized Debtors, as applicable,
shall fund the Professional Fee Escrow Account with Cash equal to the Professional Fee Escrow Amount.



                                                      21
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 144 of 569



The Professional Fee Escrow Account shall be maintained in trust solely for the Retained Professionals and
for no other Entities until all Professional Fee Claims Allowed by the Bankruptcy Court have been
irrevocably paid in full in Cash pursuant to one or more Final Orders of the Bankruptcy Court. No Liens,
Claims, or Interests shall encumber the Professional Fee Escrow Account or Cash held in the Professional
Fee Escrow Account in any way. No funds held in the Professional Fee Escrow Account shall be property
of the Estates of the Debtors or the Reorganized Debtors. When all Professional Fee Claims Allowed by
the Bankruptcy Court have been irrevocably paid in full in Cash pursuant to one or more Final Orders of
the Bankruptcy Court, any remaining funds held in the Professional Fee Escrow Account shall be remitted
to the Reorganized Debtors without any further notice to or action, order, or approval of the Bankruptcy
Court or any other Entity being required.

                 c.       Professional Fee Escrow Amount

         No later than five (5) days before the anticipated Effective Date, each Retained Professional shall
deliver to the Debtors a reasonable and good-faith estimate of their unpaid fees and expenses incurred in
rendering services to the Debtors before and as of the Effective Date projected to be outstanding as of the
anticipated Effective Date. For the avoidance of doubt, no such estimate shall be considered or deemed an
admission or limitation with respect to the amount of the fees and expenses that are the subject of a Retained
Professional’s final request for payment of Professional Fee Claims Filed with the Bankruptcy Court, and
such Retained Professionals are not bound to any extent by the estimates. If a Retained Professional does
not provide an estimate, the Debtors may estimate the unpaid and unbilled fees and expenses of such
Retained Professional. The total aggregate amount so estimated to be outstanding as of the anticipated
Effective Date shall be utilized by the Debtors to determine the amount to be funded to the Professional
Fee Escrow Account; provided, that the Reorganized Debtors shall use Cash on hand to increase the amount
of the Professional Fee Escrow Account to the extent fee applications are Filed after the Effective Date in
excess of the amount held in the Professional Fee Escrow Account based on such estimates.

        For the avoidance of doubt, the terms of this Article II.A.2.c shall not apply to the parties entitled
to receive the Restructuring Fees and Expenses, which are authorized to be paid in accordance with the
Combined Order, this Plan, engagement and/or fee letters with the Debtors, the Transaction Support
Agreement, the DIP Facilities Documents, and the DIP & Exit ABL Commitment Letter (as applicable).

B.      DIP Claims

        Except to the extent that a Holder of an Allowed DIP Term Loan Claim and the Debtors have
agreed in writing to a less favorable treatment, in exchange for full and final satisfaction, settlement, release,
and the discharge of each DIP Term Loan Claim, each Holder of a DIP Term Loan Claim shall receive, on
the Effective Date and on account of such DIP Term Loan Claim, its: (a) pro rata share, based on such
Holder’s ratable share of the First-Out DIP Term Loans (as defined in the DIP/Cash Collateral Orders), of
64% of the New Equity Interests on account of the DIP Equity Premium (subject to dilution on account of
the MIP), and (b) Pro Rata Share of the Exit Term Loans. All Holders of DIP Term Loan Claims have
consented to their treatment under this Plan pursuant to the terms of the Transaction Support Agreement
and the applicable DIP Facilities Documents.

         Except to the extent that a Holder of an Allowed DIP ABL Loan Claim and the Debtors have agreed
in writing to a less favorable treatment, in exchange for full and final satisfaction, settlement, release, and
the discharge of each DIP ABL Loan Claim, each Holder of a DIP ABL Loan Claim (a) shall receive on
the Effective Date and on account of such DIP ABL Loan Claim, its Pro Rata Share of the Exit ABL Loans
or (b) shall receive, in full and final satisfaction, settlement, release and discharge of, and in exchange for
such DIP ABL Loan Claims, payment in full in Cash as part of a refinancing in full on terms acceptable to
the Company Parties and the Required Consenting Term Lenders. All Holders of DIP ABL Loan Claims




                                                       22
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 145 of 569



have consented to their treatment under this Plan pursuant to the terms of the Transaction Support
Agreement and the applicable DIP Facilities Documents.

C.      Priority Tax Claims

         Except to the extent that a Holder of an Allowed Priority Tax Claim and the Debtor(s) against
which such Allowed Priority Tax Claim is asserted (i) agree to a less favorable treatment, or (ii) has already
been paid during the Chapter 11 Cases on account of such Priority Tax Claim, in exchange for full and final
satisfaction, settlement, release, and discharge of and in exchange for each Allowed Priority Tax Claim,
each Holder of such Allowed Priority Tax Claim shall be treated in accordance with the terms set forth in
section 1129(a)(9)(C) of the Bankruptcy Code. Nothing in the foregoing or otherwise in this Plan shall
prejudice the Debtors’ or the Reorganized Debtors’ rights and defenses regarding any asserted Priority Tax
Claim.

D.      Other Priority Claims

         Except to the extent that a Holder of an Allowed Other Priority Claim and the Debtor(s) against
which such Allowed Other Priority Claim is asserted agree to a less favorable treatment, in exchange for
full and final satisfaction, settlement, release, and the discharge of each Allowed Other Priority Claim, each
Holder of an Allowed Other Priority Claim due and payable on or before the Effective Date shall receive,
as soon as reasonably practicable after the Effective Date, on account of such Claim: (1) Cash in an amount
equal to the amount of such Allowed Other Priority Claim; (2) Reinstatement or such other treatment
rendering its Allowed Other Priority Claim Unimpaired in accordance with section 1124 of the Bankruptcy
Code; or (3) Cash in an amount agreed to by the applicable Debtor or Reorganized Debtor, as applicable,
and such Holder. To the extent any Allowed Other Priority Claim is not due and owing on or before the
Effective Date, such Claim shall be paid in full in Cash in accordance with the terms of any agreement
between the Debtors (or the Reorganized Debtors, as applicable) and such Holder, or as may be due and
payable under applicable non-bankruptcy law or in the ordinary course of business. Nothing in the
foregoing or otherwise in this Plan shall prejudice the Debtors’ or the Reorganized Debtors’ rights and
defenses regarding any asserted Other Priority Claim.

E.      United States Trustee Statutory Fees

        The Debtors and the Reorganized Debtors, as applicable, shall pay all United States Trustee
Statutory Fees, for each quarter (including any fraction thereof) until the Chapter 11 Cases are converted,
dismissed, or closed, whichever occurs first.

F.      Restructuring Fees and Expenses

         The Restructuring Fees and Expenses incurred, or estimated to be incurred, up to and including the
Effective Date (or, with respect to necessary post-Effective Date activities, after the Effective Date), shall
be paid in full in Cash on the Effective Date in accordance with, and subject to, the terms of the Transaction
Support Agreement or the DIP/Cash Collateral Orders, as applicable (unless otherwise provided in any
other order of the Bankruptcy Court), without any requirement to file a fee application with the Bankruptcy
Court or without any requirement for Bankruptcy Court or United States Trustee review or approval (unless
otherwise provided in any other order of the Bankruptcy Court), or without notice and a hearing pursuant
to section 1129(a)(4) of the Bankruptcy Code or otherwise. All Restructuring Fees and Expenses to be paid
on the Effective Date shall be estimated before and as of the Effective Date and such estimates shall be
delivered to the Debtors at least three (3) days before the anticipated Effective Date; provided, however,
that such estimates shall not be considered an admission or limitation with respect to such Restructuring
Fees and Expenses. On the Effective Date, or as soon as practicable thereafter, final invoices for all
Restructuring Fees and Expenses incurred before and as of the Effective Date shall be submitted to the



                                                     23
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 146 of 569



Debtors. In addition, the Debtors and the Reorganized Debtors, as applicable, shall continue to pay, when
due and payable in the ordinary course, pre-Effective Date Restructuring Fees and Expenses related to this
Plan and the implementation, consummation, and defense of this Plan and the Restructuring Transactions,
incurred before the Effective Date, in accordance with any engagement and/or fee letters with the Debtors,
the Transaction Support Agreement, the DIP Facilities Documents, and the DIP & Exit ABL Commitment
Letter (as applicable).

G.      Post-Effective Date Fees and Expenses

        Except as otherwise specifically provided in the Plan, from and after the Effective Date, the
Reorganized Debtors may, in the ordinary course of business and without any further notice to or action,
order or approval of the Bankruptcy Court, pay in Cash the reasonable and documented legal, professional,
or other fees and expenses related to the implementation and consummation of the Plan incurred by the
Reorganized Debtors following the Effective Date that are agreed to be paid by the Reorganized Debtors.
Without in any way limiting the foregoing, the Reorganized Debtors will pay in Cash all reasonable and
documented fees and expenses of the Ad Hoc Group Advisors in accordance with the terms of the
Transaction Support Agreement. Upon the Effective Date, any requirement that Retained Professionals
comply with sections 327 through 331 and 1103 of the Bankruptcy Code in seeking retention or
compensation for services rendered after such date shall terminate, and the Reorganized Debtors may
employ and pay any professional for services rendered or expenses incurred after the Effective Date in the
ordinary course of business without any further notice to or action, order or approval of the Bankruptcy
Court.

                                   Article III.
             CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS

A.      Classification of Claims

         This Plan constitutes a separate chapter 11 Plan of reorganization for each Debtor. The provisions
of this Article III govern Claims against and Interests in the Debtors. Except for the Claims addressed in
Article II (or as otherwise set forth herein), all Claims and Interests are placed in Classes for each of the
applicable Debtors. For all purposes under this Plan, each Class shall exist for each of the Debtors;
provided, that any Class that is vacant as to a particular Debtor shall be treated in accordance with Article
III.G. In accordance with section 1123(a)(1) of the Bankruptcy Code, the Debtors have not classified
Administrative Claims, DIP Claims, Priority Tax Claims, and Other Priority Claims as described in Article
II.

         The categories of Claims and Interests listed below classify Claims and Interests for all purposes,
including voting, Confirmation, and distribution pursuant hereto and pursuant to sections 1122 and
1123(a)(1) of the Bankruptcy Code. This Plan deems a Claim or Interest to be classified in a particular
Class only to the extent that the Claim or Interest qualifies within the description of that Class and shall be
deemed classified in a different Class to the extent that any remainder of such Claim or Interest qualifies
within the description of such different Class. A Claim or an Interest is in a particular Class only to the
extent that any such Claim or Interest is Allowed in that Class and has not been paid or otherwise settled
before the Effective Date.

                   Summary of Classification and Treatment of Claims and Interests

           Class                    Claim                       Status             Voting Rights

              1     Other Secured Claims                      Unimpaired        Presumed to Accept



                                                      24
     Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 147 of 569




           2        Prepetition ABL Claims                  Unimpaired         Presumed to Accept

           3        Prepetition Term Loan Claims              Impaired           Entitled to Vote

           4        General Unsecured Claims                Unimpaired         Presumed to Accept

           5        Subordinated Claims                       Impaired          Deemed to Reject

                                                            Impaired /         Deemed to Reject /
           6        Intercompany Claims
                                                            Unimpaired         Presumed to Accept

                                                            Impaired /         Deemed to Reject /
           7        Intercompany Interests
                                                            Unimpaired         Presumed to Accept

           8        Existing Equity Interests                 Impaired          Deemed to Reject

B.    Treatment of Claims and Interests

      1.       Class 1 — Other Secured Claims

               a.       Classification: Class 1 consists of all Other Secured Claims.

               b.       Treatment: Except to the extent that a Holder of an Allowed Other Secured Claim
                        agrees to less favorable treatment, in exchange for full and final satisfaction,
                        settlement, release, and discharge of each Allowed Other Secured Claim, each
                        Holder of an Allowed Other Secured Claim, at the option of the applicable Debtor
                        (with the consent of the Required Consenting Term Lenders), shall, on the
                        Effective Date, (i) be paid in full in Cash including the payment of any interest
                        required to be paid under section 506(b) of the Bankruptcy Code, (ii) receive the
                        collateral securing its Allowed Other Secured Claim, or (iii) receive any other
                        treatment that would render such Claim Unimpaired.

               c.       Voting: Class 1 is Unimpaired, and Holders of Other Secured Claims are
                        conclusively presumed to have accepted this Plan pursuant to section 1126(f) of
                        the Bankruptcy Code. Therefore, Holders of Other Secured Claims are not entitled
                        to vote to accept or reject this Plan. Holders of Other Secured Claims shall be
                        provided a Release Opt-Out Form solely for purposes of affirmatively opting out
                        of the Third-Party Release.

      2.       Class 2 — Prepetition ABL Claims

               a.       Classification: Class 2 consists of all Prepetition ABL Claims.

               b.       Allowance: any “Obligations” (as defined in the Prepetition ABL Credit
                        Agreement) outstanding as of the Effective Date shall be Allowed pursuant to the
                        terms of the Prepetition ABL Credit Agreement.

               c.       Treatment: Upon the ABL Refinancing (as defined in the Interim DIP/Cash
                        Collateral Order), each Holder of an Allowed Prepetition ABL Claim shall have
                        received, in full and final satisfaction, settlement, release and discharge of, and in
                        exchange for such Allowed Prepetition ABL Claim, payment in full in Cash



                                                    25
Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 148 of 569



              (including the replacement or Cash collateralization of all issued and undrawn
              letters of credit in accordance with and in the amounts specified under the
              Prepetition ABL Credit Agreement). To the extent any “Obligations” (as defined
              in the Prepetition ABL Credit Agreement) are outstanding on the Effective Date,
              the Claims on account of such “Obligations” shall receive treatment as necessary
              to render such Claims Unimpaired, including repayment in Cash of any such
              Claims required to be satisfied in Cash pursuant to the terms of the Prepetition
              ABL Credit Agreement.

       d.     Voting: Class 2 is Unimpaired, and Holders of Prepetition ABL Claims are
              conclusively presumed to have accepted this Plan pursuant to section 1126(f) of
              the Bankruptcy Code. Therefore, Holders of Prepetition ABL Claims are not
              entitled to vote to accept or reject this Plan. Holders of Prepetition ABL Claims
              shall be provided a Release Opt-Out Form solely for purposes of affirmatively
              opting out of the Third-Party Release.

 3.    Class 3 — Prepetition Term Loan Claims

       a.     Classification: Class 3 consists of all Prepetition Term Loan Claims.

       b.     Allowance: Prepetition Term Loan Claims shall be deemed Allowed in the
              aggregate principal amount of $163,125,321.74 plus any accrued and unpaid
              interest as of the Petition Date, less the amount of Prepetition Term Loan Claims
              converted into DIP Roll-Up Term Loan Claims.

       c.     Treatment: Except to the extent that a Holder of a Prepetition Term Loan Claim
              agrees to less favorable treatment, on the Effective Date, each Holder of an
              Allowed Prepetition Term Loan Claim shall receive, in full and final satisfaction,
              settlement, release, and discharge and in exchange for each Allowed Prepetition
              Term Loan Claim, its Pro Rata Share of 100% of the New Equity Interests, subject
              to dilution by the Management Incentive Plan and the DIP Equity Premium.

       d.     Voting: Class 3 is Impaired, and Holders of Prepetition Term Loan Claims are
              entitled to vote to accept or reject this Plan.

 4.    Class 4 — General Unsecured Claims

       a.     Classification: Class 4 consists of all General Unsecured Claims.

       b.     Treatment: Subject to Article V.C and except to the extent that a Holder of a
              General Unsecured Claim agrees to less favorable treatment, in full and final
              satisfaction, settlement, release, and discharge and in exchange for each Allowed
              General Unsecured Claim, each Holder of an Allowed General Unsecured Claim
              against a Debtor shall receive payment in full in Cash in accordance with
              applicable law and the terms and conditions of the particular transaction giving rise
              to, or the agreement that governs, such Allowed General Unsecured Claim on the
              later of (i) the date due in the ordinary course of business or (ii) the Effective Date;
              provided, however, that no Holder of an Allowed General Unsecured Claim shall
              receive any distribution for any Claim that has previously been satisfied pursuant
              to a Final Order of the Bankruptcy Court.

       c.     Voting: Class 4 is Unimpaired, and Holders of General Unsecured Claims are
              conclusively presumed to have accepted this Plan pursuant to section 1126(f) of


                                           26
Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 149 of 569



              the Bankruptcy Code. Therefore, Holders of General Unsecured Claims are not
              entitled to vote to accept or reject this Plan. Holders of General Unsecured Claims
              shall be provided a Release Opt-Out Form solely for purposes of affirmatively
              opting out of the Third-Party Release.

 5.    Class 5 — Subordinated Claims

       a.     Classification: Class 5 consists of all Subordinated Claims.

       b.     Treatment: On the Effective Date, each Subordinated Claim shall be cancelled,
              released and extinguished, and each Holder of a Subordinated Claim shall not
              receive or retain any distribution, property, or other value on account of its
              Subordinated Claim.

       c.     Voting: Class 5 is Impaired and not receiving any distribution under this Plan, and
              Holders of Subordinated Claims are deemed to have rejected this Plan pursuant to
              section 1126(g) of the Bankruptcy Code. Therefore, Holders of Subordinated
              Claims are not entitled to vote to accept or reject this Plan.

 6.    Class 6 — Intercompany Claims

       a.     Classification: Class 6 consists of all Intercompany Claims.

       b.     Treatment: No property shall be distributed to the Holders of Allowed
              Intercompany Claims. Unless otherwise provided for under this Plan, on the
              Effective Date, at the option of the applicable Debtor with the consent of the
              Required Consenting Lenders, Intercompany Claims shall be either: (i) Reinstated;
              or (ii) set off, settled, distributed, contributed, merged, canceled, or released. For
              the avoidance of doubt, all Intercompany Claims between Debtors and Non-Debtor
              Affiliates shall ride through and continue in full force and effect unless otherwise
              agreed by the applicable Debtor and Non-Debtor Affiliate.

       c.     Voting: Class 6 is either (i) Unimpaired, in which case Holders of Allowed
              Intercompany Claims are conclusively presumed to have accepted this Plan
              pursuant to section 1126(f) of the Bankruptcy Code, or (ii) Impaired, and not
              receiving any distribution under this Plan, in which case Holders of Allowed
              Intercompany Claims are deemed to have rejected this Plan pursuant to section
              1126(g) of the Bankruptcy Code. Therefore, in each case, Holders of Allowed
              Intercompany Claims are not entitled to vote to accept or reject this Plan.

 7.    Class 7 — Intercompany Interests

       a.     Classification: Class 7 consists of all Intercompany Interests.

       b.     Treatment: No property shall be distributed to the Holders of Allowed
              Intercompany Interests. Unless otherwise provided for under this Plan, on the
              Effective Date, at the option of the applicable Debtor with the consent of the
              Required Consenting Lenders, Intercompany Interests shall be either:
              (i) Reinstated; or (ii) set off, settled, distributed, contributed, merged, canceled, or
              released.

       c.     Voting: Class 7 is either (i) Unimpaired, in which case Holders of Allowed
              Intercompany Interests are conclusively presumed to have accepted this Plan



                                           27
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 150 of 569



                         pursuant to section 1126(f) of the Bankruptcy Code, or (ii) Impaired, and not
                         receiving any distribution under this Plan, in which case Holders of Allowed
                         Intercompany Interests are deemed to have rejected this Plan pursuant to section
                         1126(g) of the Bankruptcy Code. Therefore, in each case, Holders of Allowed
                         Intercompany Interests are not entitled to vote to accept or reject this Plan.

        8.      Class 8 — Existing Equity Interests

                a.       Classification: Class 8 consists of all Existing Equity Interests.

                b.       Treatment: Holders of Existing Equity Interests are not entitled to receive a
                         recovery or distribution on account of such Existing Equity Interests. On the
                         Effective Date, Existing Equity Interests shall be canceled, released, discharged,
                         and extinguished, and shall be of no further force or effect.

                c.       Voting: Class 8 is Impaired and not receiving any distribution under this Plan, and
                         Holders of Existing Equity Interests are deemed to have rejected this Plan pursuant
                         to section 1126(g) of the Bankruptcy Code. Therefore, Holders of Existing Equity
                         Interests are not entitled to vote to accept or reject this Plan.

C.      Acceptance or Rejection of this Plan

        1.      Presumed Acceptance of this Plan

        Claims in Classes 1, 2 and 4 are Unimpaired under this Plan and their Holders are conclusively
presumed to have accepted this Plan pursuant to section 1126(f) of the Bankruptcy Code. Therefore,
Holders of Claims in Classes 1, 2 and 4 are not entitled to vote on this Plan and the votes of such Holders
shall not be solicited. Notwithstanding their non-voting status, Holders of such Claims shall receive a
Release Opt-Out Form solely for purposes of affirmatively opting out of the Third-Party Release.

        2.      Voting Classes

         Claims in Class 3 are Impaired under this Plan and the Holders of Allowed Claims in such Class
are entitled to vote to accept or reject this Plan, including by acting through a voting Representative. For
purposes of determining acceptance and rejection of this Plan, votes shall be tabulated on a Debtor-by-
Debtor basis.

         Pursuant to section 1126(c) of the Bankruptcy Code, an Impaired Class of Claims shall have
accepted this Plan if (a) the Holders, including Holders acting through a voting Representative, of at least
two-thirds (2/3) in amount of Claims actually voting in such Class have voted to accept this Plan and (b)
the Holders, including Holders acting through a voting Representative, of more than one-half (1/2) in
number of Claims actually voting in such Class have voted to accept this Plan. Holders of Claims in Class
3 (or, if applicable, the voting Representatives of such Holders) shall receive ballots containing detailed
voting instructions. For the avoidance of doubt, each Claim in any Class entitled to vote to accept or reject
this Plan that is not Allowed pursuant to this Plan, and in each case, is wholly contingent, unliquidated, or
Disputed, in each case, shall be accorded one (1) vote and valued at one dollar ($1.00) for voting purposes
only, and not for purposes of allowance or distribution.

        3.      Deemed Rejection of this Plan

        Claims and Interests in Class 5 and 8 are Impaired and will receive no distribution under this Plan
and are deemed to have rejected this Plan pursuant to section 1126(g) of the Bankruptcy Code. Therefore,
Holders of Claims and Interests in Classes 5 and 8 are not entitled to vote on this Plan and the votes of such



                                                      28
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 151 of 569



Holders shall not be solicited. Notwithstanding their non-voting status, Holders of such Claims and
Interests shall receive a Release Opt-Out Form solely for purposes of affirmatively opting out of the Third-
Party Release.

        4.      Presumed Acceptance of this Plan or Deemed Rejection of this Plan

         Claims and Interests in Classes 6 and 7 are either (a) Unimpaired and, therefore, conclusively
presumed to have accepted this Plan pursuant to section 1126(f) of the Bankruptcy Code, or (b) Impaired
and shall receive no distributions under this Plan and, therefore, deemed to have rejected this Plan pursuant
to section 1126(g) of the Bankruptcy Code. Therefore, Holders of Claims and Interests in Classes 6 and 7
are not entitled to vote on this Plan and votes of such Holders shall not be solicited.

D.      Confirmation Pursuant to Section 1129(a)(10) and 1129(b) of the Bankruptcy Code

        Section 1129(a)(10) of the Bankruptcy Code shall be satisfied for purposes of Confirmation by
acceptance of this Plan by an Impaired Class of Claims entitled to vote (i.e., Class 3). The Debtors shall
seek Confirmation pursuant to section 1129(b) of the Bankruptcy Code with respect to any rejecting Class
of Claims or Interests. The Debtors reserve the right to modify this Plan in accordance with Article XI to
the extent, if any, that Confirmation pursuant to section 1129(b) of the Bankruptcy Code requires
modification, including by modifying the treatment applicable to a Class of Claims or Interests to render
such Class of Claims or Interests Unimpaired to the extent permitted by the Bankruptcy Code and
Bankruptcy Rules.

E.      Subordinated Claims

         The allowance, classification, and treatment of all Allowed Claims and Interests, and the respective
distributions and treatments under this Plan, shall take into account and conform to the relative priority and
rights of the Claims and Interests in each Class in connection with any contractual, legal, and equitable
subordination rights relating thereto, whether arising under general principles of equitable subordination,
sections 509 or 510 of the Bankruptcy Code, or otherwise; provided, that, notwithstanding the foregoing,
such Allowed Claims or Interests and their respective treatments set forth herein shall not be subject to
setoff, demand, recharacterization, turnover, disgorgement, avoidance, or other similar rights of recovery
asserted by any Person. Pursuant to section 510 of the Bankruptcy Code, except where otherwise provided
herein, the Reorganized Debtors reserve the right to re-classify any Allowed Claim or Interest in accordance
with any contractual, legal, or equitable subordination rights relating thereto. The Debtors or Reorganized
Debtors, as applicable, reserve the right to seek a ruling from the Bankruptcy Court determining whether
any Claim should be subordinated pursuant to section 510(b) of the Bankruptcy Code and treated under the
Plan as a Class 5 Subordinated Claim.

F.      Special Provision Governing Unimpaired Claims

        Except as otherwise provided herein, nothing under this Plan shall affect or limit the Debtors’ or
the Reorganized Debtors’ rights and defenses (whether legal or equitable) in respect of any Unimpaired
Claims, including, without limitation, all rights in respect of legal and equitable defenses to, or setoffs or
recoupments against, any such Unimpaired Claims.

G.      Vacant and Abstaining Classes

        Any Class of Claims or Interests that is not occupied as of the commencement of the Combined
Hearing by an Allowed Claim or Allowed Interest or a Claim or Interest temporarily Allowed under
Bankruptcy Rule 3018 shall be deemed eliminated from this Plan for purposes of voting to accept or reject
this Plan and for purposes of determining acceptance or rejection of this Plan by such Class pursuant to



                                                     29
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 152 of 569



section 1129(a)(8) of the Bankruptcy Code. Moreover, any Class of Claims that is occupied as of the
commencement of the Combined Hearing by an Allowed Claim or a Claim temporarily Allowed under
Bankruptcy Rule 3018, but as to which no vote is cast, shall be deemed to accept this Plan pursuant to
section 1129(a)(8) of the Bankruptcy Code.

H.      Controversy Concerning Impairment

        If a controversy arises as to whether any Claim or Interest (or any Class of Claims or Interests) are
Impaired under this Plan, the Bankruptcy Court shall, after notice and a hearing, determine such controversy
on or before the Confirmation Date, absent consensual resolution of such controversy consistent with the
Transaction Support Agreement among the Debtors and the complaining Entity or Entities.

I.      Intercompany Interests and Intercompany Claims

         To the extent Intercompany Interests and Intercompany Claims are Reinstated under this Plan,
distributions on account of such Intercompany Interests and Intercompany Claims are not being received
by Holders of such Intercompany Interests or Intercompany Interests on account of their Intercompany
Interests or Intercompany Claims, but for the purposes of administrative convenience and to maintain the
Debtors’ (and their Affiliates’) corporate structure, for the ultimate benefit of the Holders of New Equity
Interests, to preserve ordinary course intercompany operations, and in exchange for the Debtors’ and
Reorganized Debtors’ agreement under this Plan to make certain distributions to the Holders of Allowed
Claims.

J.      Disputed Claims Process

        Notwithstanding section 502(a) of the Bankruptcy Code, and in light of the Unimpaired status of
all Allowed General Unsecured Claims under this Plan, Holders of Claims (other than Holders of Rejection
Damages Claims) need not File Proofs of Claim. The Reorganized Debtors and the Holders of Claims shall
determine, adjudicate, and resolve any disputes over the validity and amounts of such Claims in the ordinary
course of business as if the Chapter 11 Cases had not been commenced except that (unless expressly waived
pursuant to this Plan) the Allowed amount of such Claims shall be subject to the limitations or maximum
amounts permitted by the Bankruptcy Code, including sections 502 and 503 of the Bankruptcy Code, to the
extent applicable. All Proofs of Claim Filed in these Chapter 11 Cases (other than Rejection Damages
Claims) shall be considered objected to and Disputed without further action by the Debtors. Upon the
Effective Date, all Proofs of Claim Filed against the Debtors (other than Rejection Damages Claims),
regardless of the time of filing, and including Proofs of Claim Filed after the Effective Date, shall be deemed
withdrawn and expunged, other than as provided below. Notwithstanding anything in this Plan to the
contrary, disputes regarding the amount of any Cure Cost pursuant to section 365 of the Bankruptcy Code
and Claims that the Debtors seek to have determined by the Bankruptcy Court, shall in all cases be
determined by the Bankruptcy Court.

         Notwithstanding the foregoing, the Debtors and the Reorganized Debtors, as applicable, reserve
the right to object to any Claim that is entitled, or deemed to be entitled, to a distribution under this Plan or
is rendered Unimpaired under this Plan in the Bankruptcy Court. Any disputes regarding the Allowance of
a Rejection Damages Claim shall be determined by the Bankruptcy Court.

         For the avoidance of doubt, there is no requirement to File a Proof of Claim (or move the
Bankruptcy Court for Allowance) to be an Allowed Claim under this Plan. Notwithstanding the foregoing,
Entities must File Cure Cost objections as set forth in this Plan to the extent such Entity disputes the amount
of the Cure Cost proposed to be paid by the Debtors or the Reorganized Debtors to a counterparty, and
Entities that are counterparties to a rejected Executory Contract or Unexpired Lease must file a Rejection
Damages Claim as set forth in the Plan.


                                                       30
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 153 of 569



                                        Article IV.
                         MEANS FOR IMPLEMENTATION OF THIS PLAN

A.      General Settlement of Claims and Interests

         In consideration for the classification, distributions, releases, and other benefits provided under this
Plan, on the Effective Date, the provisions of this Plan shall constitute a set of integrated, good-faith
compromises and settlements of all Claims, Interests, Causes of Action, and controversies resolved pursuant
to this Plan and this Plan shall be deemed a motion to approve the good-faith compromises and settlements
of all Claims, Interests, Causes of Action, and controversies pursuant to Bankruptcy Rule 9019. Entry of
the Combined Order shall constitute the Bankruptcy Court’s approval of such compromises and settlements
under Bankruptcy Rule 9019, as well as a finding by the Bankruptcy Court that such integrated
compromises or settlements are in the best interests of the Debtors, the Estates, and Holders of Claims and
Interests, and are fair, equitable, and reasonable. Subject to Article VI, distributions made to Holders of
Allowed Claims in any Class are intended to be and shall be final and indefeasible and shall not be subject
to avoidance, turnover, or recovery by any other Person. Notwithstanding the foregoing or similar
provisions of this Plan with respect to settlements, such settlements are approved as among the parties to
such settlement or similar agreements thereto, and the treatment of all Claims and Interests is approved
pursuant to Confirmation by satisfying the requirement of section 1129 of the Bankruptcy Code.

B.      Restructuring Transactions

         Without limiting any rights and remedies of the Debtors or Reorganized Debtors under this Plan or
applicable law, but in all cases subject to the terms and conditions of the Transaction Support Agreement,
the Transaction Term Sheet, and Definitive Documents and any consents or approvals required thereunder,
the entry of the Combined Order shall constitute authorization for the Debtors and Reorganized Debtors,
as applicable, to take, or to cause to be taken, all actions necessary or appropriate to consummate and
implement the provisions of this Plan before, on, and after the Effective Date, including such actions as
may be necessary or appropriate to effectuate a corporate restructuring of their respective businesses and to
otherwise simplify the overall corporate structure of the Reorganized Debtors. Such restructuring may
include (1) the execution and delivery of appropriate agreements or other documents of merger,
consolidation, restructuring, disposition, liquidation, or dissolution containing terms that are consistent with
the terms of this Plan, the Transaction Support Agreement, the Transaction Term Sheet, and the other
Definitive Documents and that satisfy the applicable requirements of applicable state law and such other
terms to which the applicable Entities may agree; (2) the execution and delivery of appropriate instruments
of transfer, assignment, assumption, or delegation of any asset, property, right, liability, duty, or obligation
on terms consistent with the terms of this Plan, the Transaction Support Agreement, the Transaction Term
Sheet, and the other Definitive Documents and having such other terms to which the applicable Entities
may agree; (3) the execution, delivery, and filing, if applicable, of the New Organizational Documents and
the Exit Facilities Documents; (4) the filing of appropriate certificates or articles of conversion, formation,
incorporation, merger, consolidation, or dissolution with the appropriate governmental authorities pursuant
to applicable state law; and (5) all other actions that the Debtors, the Reorganized Debtors and/or the
applicable Entities reasonably determine to be necessary or appropriate, including making filings or
recordings that may be required by applicable state law or foreign law in connection with such transactions,
but in all cases subject to the terms and conditions of this Plan, the Transaction Support Agreement, the
Transaction Term Sheet, and the other Definitive Documents and any consents or approvals required
thereunder.

        The Combined Order shall and shall be deemed to, pursuant to both section 1123 and section 363
of the Bankruptcy Code, authorize, among other things, all actions as may be necessary or appropriate to
effect any transaction described in, approved by, contemplated by, or necessary to effectuate the



                                                       31
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 154 of 569



Restructuring Transactions (including any other transaction described in, approved by, contemplated by, or
necessary to effectuate this Plan).

C.      Corporate Existence

        Except as otherwise provided in this Plan, or as otherwise may be agreed between the Debtors and
the Required Consenting Lenders, each Debtor, as a Reorganized Debtor, shall continue to exist after the
Effective Date as a separate corporate Entity, limited liability company, partnership, or other form, as the
case may be, with all the powers of a corporation, limited liability company, partnership, or other form, as
the case may be, pursuant to the applicable law in the jurisdiction in which each Debtor is incorporated or
formed and pursuant to the respective memorandum and articles of association, certificate of incorporation
and bylaws (or other formation documents) in effect before the Effective Date, except to the extent such
memorandum and articles of association, certificate of incorporation and bylaws (or other formation
documents) are amended by this Plan, by the Debtors, or otherwise, and to the extent such documents are
amended, such documents are deemed to be amended pursuant to this Plan and require no further action or
approval (other than any requisite filings required under applicable state, provincial, or federal law), without
prejudice to any right to alter or terminate such existence (whether by merger or otherwise) in accordance
with such applicable law.

         On or after the Effective Date, without prejudice to the rights of any party to a contract or other
agreement with any Reorganized Debtor, each Reorganized Debtor may, without the need for approval of
the Bankruptcy Court and free of any restrictions of the Bankruptcy Code or Bankruptcy Rules, take such
action as permitted by applicable law, and such Reorganized Debtor’s Organizational Documents, as such
Reorganized Debtor may determine is reasonable and appropriate, including, without limitation, causing:
(a) a Reorganized Debtor to be merged into another Reorganized Debtor or an Affiliate of a Reorganized
Debtor; (b) a Reorganized Debtor to be dissolved; (c) the conversion of a Reorganized Debtor from one
entity type to another entity type; (d) the legal name of a Reorganized Debtor to be changed; (e) the closure
of a Reorganized Debtor’s Chapter 11 Case on the Effective Date or any time thereafter; or (f) the
reincorporation of a Reorganized Debtor under the law of jurisdictions other than the law under which the
applicable Debtor currently is incorporated.

D.      Vesting of Assets in the Reorganized Debtors Free and Clear of Liens and Claims

         Except as otherwise expressly provided in this Plan or any agreement, instrument, or other
document incorporated herein pursuant to sections 1123(a)(5), 1123(b)(3), 1141(b) and (c), and other
applicable provisions of the Bankruptcy Code, on and after the Effective Date, all property in each Estate,
all Causes of Action, and any property acquired by any of the Debtors pursuant to this Plan shall vest in
each respective Reorganized Debtor, free and clear of all Liens, Claims, charges, other encumbrances or
interests, except for those Liens, Claims, charges, or other encumbrances arising from or related to the Exit
Facility Documents. On and after the Effective Date, the Reorganized Debtors may (1) operate their
respective businesses, (2) use, acquire, and dispose of their respective property, and (3) prosecute,
compromise or settle any Claims, Interests, or Causes of Action, in each case without notice to, supervision
of, or approval by the Bankruptcy Court and free and clear of any restrictions of the Bankruptcy Code or
the Bankruptcy Rules, including for the avoidance of doubt any restrictions on the use, acquisition, sale,
lease, or disposal of property under section 363 of the Bankruptcy Code. Anything in this Plan to the
contrary notwithstanding, the Unimpaired Claims against a Debtor shall remain the obligations solely of
such Debtor or such Reorganized Debtor and shall not become obligations of any other Debtor or
Reorganized Debtor by virtue of this Plan, the Chapter 11 Cases, or otherwise.




                                                      32
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 155 of 569



E.      Cancellation of Existing Agreements and Existing Equity Interests.

         On the Effective Date, except with respect to the Exit Facilities Documents, or to the extent
otherwise provided in this Plan, the Combined Order, or any other Definitive Document, all notes, bonds,
indentures, certificates, securities, purchase rights, options, warrants, calls, puts, awards, commitments,
registration rights, preemptive rights, rights of first refusal, rights of first offer, co-sale rights, investor
rights, collateral agreements, subordination agreements, or other instruments or documents directly or
indirectly evidencing, creating, or relating to any existing indebtedness or obligations of or ownership
interest in the Debtors or giving rise to any rights or obligations relating to Claims against or Interests in
the Debtors shall be deemed canceled and surrendered, and the obligations of the Debtors or the
Reorganized Debtors, as applicable, and any Non-Debtor Affiliates thereunder or in any way related thereto
shall be deemed satisfied in full, released, and discharged and the obligations of the Debtors pursuant,
relating, or pertaining to any agreements, notes, bonds, indentures, certificates, securities, purchase rights,
options, warrants, calls, puts, awards, commitments, registration rights, preemptive rights, rights of first
refusal, rights of first offer, co-sale rights, investor rights, collateral agreements, subordination agreements,
or other instruments or documents directly or indirectly evidencing, creating, or relating to any existing
indebtedness or obligations of or ownership interest in the Debtors or giving rise to any rights or obligations
relating to Claims against or Interests in the Debtors (except such agreements, certificates, notes, or other
instruments evidencing indebtedness or obligations of the Debtors that are specifically Reinstated or
assumed pursuant to this Plan, if any) shall be released and discharged; provided, that, notwithstanding such
cancellation, satisfaction, release, and discharge, anything to the contrary contained in this Plan or the
Combined Order, Confirmation, or the occurrence of the Effective Date, any such document or instrument
that governs the rights, claims, or remedies of the Holder of a Claim or Interest shall continue in effect
solely for purposes of: (1) enabling the Holder of such Claim or Interest to receive distributions on account
of such Claim or Interest under this Plan as provided herein; (2) allowing and preserving the rights of the
Prepetition Agents, DIP Agents, and Exit Facility Agents, as applicable, to make distributions as specified
under this Plan on account of Allowed Claims, as applicable, including allowing the Prepetition Agents,
DIP Agents, and Exit Facility Agents, as applicable, to submit invoices for any amount and enforce any
obligation owed to them under this Plan to the extent authorized or allowed by the applicable documents;
(3) permitting the Reorganized Debtors and any other Distribution Agent, as applicable, to make
distributions on account of applicable Claims and Interests, as applicable; (4) preserving the Prepetition
Agents’, DIP Agents’, and Exit Facility Agents’, as applicable, rights, if any, to compensation and
indemnification as against any money or property distributable to the Holders of Prepetition ABL Claims,
Prepetition Term Loan Claims, and DIP Claims, as applicable, including permitting the Prepetition Agents,
DIP Agents, and Exit Facility Agents, as applicable, to maintain, enforce, and exercise any priority of
payment or charging liens against such distributions each pursuant and subject to the terms of the Prepetition
ABL Credit Agreement, Prepetition Term Loan Credit Agreement, and DIP Credit Agreement, as
applicable, as in effect on or immediately before the Effective Date, (5) preserving all rights, remedies,
indemnities, powers, and protections, including rights of enforcement, of the Prepetition Agents, DIP
Agents, and Exit Facility Agents, as applicable, against any person other than a Released Party (which
Released Parties include the Debtors, Reorganized Debtors, and Non-Debtor Affiliates), and any
exculpations of the Prepetition Agents, DIP Agents, and Exit Facility Agents, as applicable; provided, that
the Prepetition Agents, DIP Agents, and Exit Facility Agents, shall remain entitled to indemnification or
contribution from the Holders of Prepetition ABL Claims, Prepetition Term Loan Claims, and DIP Claims,
each pursuant and subject to the terms of the Prepetition ABL Credit Agreement, Prepetition Term Loan
Credit Agreement, and DIP Credit Agreement, as applicable, as in effect on the Effective Date,
(6) permitting the Prepetition Agents, DIP Agents, and Exit Facility Agents, as applicable, to enforce any
obligation (if any) owed to them under this Plan, (7) permitting the Prepetition Agents, DIP Agents, and
Exit Facility Agents to appear in the Chapter 11 Cases or in any proceeding in the Bankruptcy Court or any
other court, and (8) permitting the Prepetition Agents, DIP Agents, and Exit Facility Agents, to perform
any functions that are necessary to effectuate the foregoing; provided, however, that nothing in this Article


                                                       33
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 156 of 569



IV shall affect the discharge of Claims or Interests pursuant to the Bankruptcy Code, the Combined Order,
or this Plan, or (except as set forth in (5) above) the releases of the Released Parties pursuant to Article IX,
or result in any expense or liability to the Debtors or Reorganized Debtors, as applicable, except as expressly
provided for in this Plan. For the avoidance of doubt, nothing in this Article IV shall cause the Reorganized
Debtors’ obligations under the Exit Facilities Documents to be deemed satisfied in full, released, or
discharged; provided, that notwithstanding this sentence, the Prepetition ABL Claims, Prepetition Term
Loan Claims, and DIP Claims shall be deemed satisfied in full, released, and discharged on the Effective
Date. In furtherance of the foregoing, as of the Effective Date, Holders of Prepetition ABL Claims,
Prepetition Term Loan Claims, and DIP Claims shall be deemed to have released any such Claims against
the Reorganized Debtors under the Prepetition ABL Facility Documents, Prepetition Term Loan
Documents, and DIP Facilities Documents and are enjoined from pursuing any such claims against any of
the Reorganized Debtors in respect of such Prepetition ABL Claims, Prepetition Term Loan Claims, and
DIP Claims.

         On the Effective Date, the Prepetition Agents, the DIP Agents, and each of their respective
directors, officers, employees, agents, Affiliates, controlling persons, and legal and financial advisors shall
be automatically and fully released and discharged from any further responsibility under the Prepetition
ABL Credit Agreement, Prepetition Term Loan Credit Agreement, and DIP Credit Agreement, as
applicable. The Prepetition Agents, DIP Agents, and each of their respective directors, officers, employees,
agents, Affiliates, controlling persons, and legal and financial advisors shall be discharged and shall have
no further obligation or liability except as provided in this Plan and the Combined Order, and after the
performance by the Prepetition Agents, DIP Agents, and their Representatives and professionals of any
obligations and duties required under or related to this Plan or the Combined Order, the Prepetition Agents,
DIP Agents, and each of their respective directors, officers, employees, agents, Affiliates, controlling
persons, and legal and financial advisors shall be relieved of and released from any obligations and duties
arising thereunder. The fees, expenses, and costs of the Prepetition Agents and the DIP Agents, including
fees, expenses, and costs of each of their respective professionals incurred after the Effective Date in
connection with the Prepetition ABL Credit Agreement, Prepetition Term Loan Credit Agreement, or DIP
Credit Agreement, as applicable, and reasonable and documented fees, costs, and expenses associated with
effectuating distributions pursuant to this Plan, including the fees and expenses of counsel, if any, shall be
paid in accordance with the terms of this Plan and the applicable Definitive Documents.

F.      Sources for Plan Distributions and Transfers of Funds Among Debtors

         The Debtors shall fund Cash distributions under this Plan with Cash on hand, including Cash from
operations, and the proceeds of the DIP Facilities and Exit Facilities. The Debtors shall make non-Cash
distributions as required under the Plan in the form of Exit Term Loans, Exit ABL Loans and New Equity
Interests. Cash payments to be made pursuant to this Plan shall be made by the Reorganized Debtors in
accordance with Article VI. Subject to any applicable limitations set forth in any post-Effective Date
agreement (including the New Organizational Documents), the Reorganized Debtors shall be entitled to
transfer funds between and among themselves as they determine to be necessary or appropriate to enable
the Reorganized Debtors to satisfy their obligations under this Plan. Except as set forth herein, any changes
in intercompany account balances resulting from such transfers shall be accounted for and settled in
accordance with the Debtors’ historical intercompany account settlement practices and shall not violate the
terms of this Plan.

         From and after the Effective Date, the Reorganized Debtors, subject to any applicable limitations
set forth in any post-Effective Date agreement (including the New Organizational Documents and the Exit
Facilities Documents), shall have the right and authority without further order of the Bankruptcy Court to
raise additional capital and obtain additional financing in accordance with, and subject to, applicable law.




                                                      34
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 157 of 569



G.      Exit Facilities and Exit Facilities Documents

         To the extent required and subject to the occurrence of the Effective Date, Confirmation of this
Plan shall be deemed to constitute approval by the Bankruptcy Court of the Exit Facilities Documents
(including all transactions contemplated thereby, such as any supplementation or syndication of the Exit
Term Loans, and all actions to be taken, undertakings to be made, and obligations to be incurred by the
Reorganized Debtors in connection therewith, including the incurrence of Liens securing the Exit Facilities
and the payment of all fees, payments, indemnities, and expenses associated therewith) and, subject to the
occurrence of the Effective Date, authorization for the applicable Reorganized Debtors to enter into and
perform their obligations under the Exit Facilities Documents and such other documents as may be
reasonably required or appropriate, subject to any consent or approval rights under the Definitive
Documents. On or around the Effective Date, the Reorganized Debtors shall execute and deliver the Exit
ABL Credit Agreement, the Exit Term Loan Credit Agreement, the Exit Intercreditor Agreement, and any
other Exit Facilities Document, and shall execute, deliver, file, record, and issue any other related notes,
guarantees, security documents, instruments, or agreements in connection therewith, in each case, without
(a) further notice to the Bankruptcy Court, or (b) further act or action under applicable law, regulation,
order, or rule or the vote, consent, authorization, or approval of any Person or Entity. On the Effective
Date, the Exit Facilities shall be governed by the Exit Intercreditor Agreement.

          On the Effective Date, the Exit Facilities Documents shall constitute legal, valid, binding, and
authorized obligations of the Reorganized Debtors, enforceable in accordance with their terms. The
financial accommodations to be extended pursuant to the Exit Facilities Documents are being extended,
and shall be deemed to have been extended, and all related payments made in connection therewith shall
have been made, in each case, in good faith, for legitimate business purposes, for reasonably equivalent
value, as an inducement to the applicable lenders to extend credit under the applicable Exit Facilities, are
reasonable, shall not be subject to avoidance, recovery, turnover, recharacterization, or subordination
(including equitable subordination) for any purposes whatsoever, and shall not constitute preferential
transfers, fraudulent conveyances, or other voidable transfers under the Bankruptcy Code or any other
applicable non-bankruptcy law. On the Effective Date, all of the Liens and security interests to be granted,
carried forward, continued, amended, extended, and/or reaffirmed (including in connection with any
Prepetition ABL Claims that are refinanced by the Exit ABL Credit Agreement) under the Exit Facilities
Documents shall: (1) be continuing, legal, binding, and enforceable Liens on, and security interests in, the
collateral granted in accordance with the terms of the applicable Exit Facilities Documents; (2) be granted,
carried forward, continued, amended, extended, reaffirmed, and deemed automatically perfected on the
Effective Date, subject only to such Liens and security interests as may be permitted thereunder; and (3)
not be subject to avoidance, recovery, turnover, recharacterization, or subordination (including equitable
subordination) for any purposes whatsoever and shall not constitute preferential transfers, fraudulent
conveyances, or other voidable transfers under the Bankruptcy Code or any applicable non-bankruptcy law.
The Reorganized Debtors and the Entities granted such Liens and security interests are authorized to make
all filings and recordings, and to obtain all governmental approvals and consents necessary to establish and
perfect such Liens and security interests under the provisions of the applicable state, provincial, federal, or
other law (whether domestic or foreign) that would be applicable in the absence of this Plan and the
Combined Order (it being understood that perfection shall occur automatically by virtue of the entry of the
Combined Order, and any such filings, recordings, approvals, and consents shall not be required), and shall
thereafter cooperate to make all other filings and recordings that otherwise would be necessary under
applicable law to give notice of such Liens and security interests to third parties.

H.      Issuance of New Equity Interests and Deregistration

        On the Effective Date, Reorganized Parent shall issue or reserve for issuance and deliver all of the
New Equity Interests in accordance with the terms of this Plan and the New Organizational Documents.
The issuance and delivery of the New Equity Interests is authorized without the need for further corporate


                                                      35
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 158 of 569



or other action or any consent or approval of any national securities exchange upon which the New Equity
Interests may be listed on or immediately following the Effective Date. All of the New Equity Interests
issuable under this Plan and the Combined Order shall, when so issued be duly authorized, validly issued,
fully paid, and non-assessable. The issuance and delivery of the New Equity Interests in accordance with
this Plan are authorized without the need for any further limited liability company or corporate action and
without any further action by any Holder of a Claim or Interest.

         Any Holder of an Allowed Prepetition Term Loan Claim or any DIP Term Lender entitled to the
DIP Equity Premium may designate that all or a portion of such Holder’s share of the New Equity Interests
to be distributed as part of the treatment of such Allowed Prepetition Term Loan Claim or on account of
the DIP Equity Premium, be registered in the name of, and delivered to, its designee by delivering notice
thereof to counsel to the Debtors and to the Notice and Claims Agent at least five (5) Business Days prior
to the Effective Date. Any such designee must be an “accredited investor” as such term is defined in Rule
501(a) of Regulation D promulgated under the Securities Act.

         Reorganized Parent intends to exist and operate as a private company after the Effective Date. As
promptly as reasonably practicable following the Effective Date, Reorganized Parent expects to take all
necessary steps to terminate the registration of all Securities under the Exchange Act and Securities Act,
including to de-register its Existing Equity Interests, and to terminate its reporting obligations under
sections 12, 13, and 15(d) of the Exchange Act, including by (1) filing, or causing any applicable national
securities exchange to file, a Form 25 with the SEC under the Exchange Act, and (2) filing a Form 15 with
the SEC under the Exchange Act.

        1.       Absence of Listing / Transfer of New Equity Interests

        On the Effective Date, the Reorganized Parent shall issue the New Equity Interests pursuant to this
Plan and the New Organizational Documents. Reorganized Parent shall not be obligated to effect or
maintain any listing of the New Equity Interests for trading on any national securities exchange (within the
meaning of the Exchange Act) and it has no current intention of maintaining or obtaining such listing.
Distributions of the New Equity Interests are expected to be delivered via book-entry transfer by the
Distribution Agent in accordance with this Plan and the New Organizational Documents, rather than
through the facilities of DTC; however, in the event the New Equity Interests are DTC eligible on the
Effective Date, distributions shall be made via DTC. Upon the Effective Date, after giving effect to the
Restructuring Transactions, the New Equity Interests shall be that number of shares or membership interests
as may be designated in the New Organizational Documents.

        On and after the Effective Date, transfers of New Equity Interests shall be made in accordance with
applicable United States law, United States securities laws (as applicable), and the New Organizational
Documents.

I.      Exemption from Registration Requirements

         No registration statement shall be filed under the Securities Act, or pursuant to any state securities
laws, with respect to the offer, issuance and distribution of the New Equity Interests under this Plan. The
offering, sale, issuance, and distribution of the New Equity Interests in exchange for Claims pursuant to
Article II and Article III and pursuant to the Combined Order shall be exempt from, among other things,
the registration requirements of Section 5 of the Securities Act and any other applicable United States, state,
or local law requiring registration for the offer or sale of a security pursuant to section 1145 of the
Bankruptcy Code. Any and all such New Equity Interests may be resold without registration under the
Securities Act by the recipients thereof pursuant to the exemption provided by Section 4(a)(1) of the
Securities Act, subject to: (1) the provisions of section 1145(b)(1) of the Bankruptcy Code, which limits
resale by Persons who are “underwriters” as that term is defined in such section; (2) restrictions under the



                                                      36
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 159 of 569



Securities Act applicable to recipients who are an “affiliate” of the Reorganized Debtors as defined in Rule
144(a)(1) under the Securities Act, (3) compliance with any applicable state or foreign securities laws, if
any, and any rules and regulations of the SEC, if any, applicable at the time of any future transfer of such
Securities; (4) the restrictions, if any, on the transferability of such Securities in the Organizational
Documents of the issuer of, or in agreements or instruments applicable to holders of, such Securities; and
(5) any other applicable regulatory approval.

      The Reorganized Debtors need not provide any further evidence other than this Plan and the
Combined Order with respect to the treatment of the New Equity Interests under applicable securities laws.

         Notwithstanding anything to the contrary in this Plan, no Person or Entity (including, for the
avoidance of doubt, DTC) shall be entitled to require a legal opinion regarding the validity of any
transaction contemplated by this Plan, including, for the avoidance of doubt, whether the New Equity
Interests are exempt from registration and/or eligible for DTC book-entry delivery, settlement, and
depository services. All such Persons and Entities including DTC shall be required to accept and
conclusively rely upon this Plan or the Combined Order in lieu of a legal opinion regarding whether the
New Equity Interests are exempt from registration and/or eligible for DTC book-entry delivery, settlement,
and depository services. Notwithstanding any policies, practices, or procedures of DTC, DTC and any
participants and intermediaries shall fully cooperate and take all actions to facilitate any and all transactions
necessary or appropriate for implementation of this Plan or other contemplated thereby, including without
limitation any and all distributions pursuant to this Plan.

J.      New Organizational Documents

        Subject to Article IV.E, the Reorganized Debtors and Reorganized Parent shall enter into such
agreements and amend their corporate governance documents to the extent necessary to implement the
terms and provisions of this Plan. Without limiting the generality of the foregoing, as of the Effective Date,
each of the Reorganized Debtors shall be governed by the New Organizational Documents applicable to it.
From and after the Effective Date, the Organizational Documents of each of the Reorganized Debtors will
be deemed to be modified to prohibit the issuance of non-voting equity Securities, solely to the extent
required under section 1123(a)(6) of the Bankruptcy Code. On or immediately before the Effective Date,
each Reorganized Debtor and Reorganized Parent shall file its New Organizational Documents, if any, with
the applicable Secretary of State and/or other applicable authorities in its jurisdiction of incorporation or
formation in accordance with applicable laws of its jurisdiction of incorporation or formation, to the extent
required for such New Organizational Documents to become effective. The New Organizational
Documents for the Reorganized Debtors and Reorganized Parent shall be in form and substance (including
customary minority protections) acceptable to the Required Consenting Lenders.

         As a condition to receiving the New Equity Interests, Holders of Allowed Prepetition Term Loan
Claim or Holders entitled to receive New Equity Interests on account of the DIP Equity Premium and/or
any of their respective designees for receipt of New Equity Interests will be required to execute and deliver
the New Organizational Documents for Reorganized Parent. For the avoidance of doubt, any Entity’s or
Person’s receipt of New Equity Interests under, or as contemplated by, the Plan (including on account of
the DIP Equity Premium) shall be deemed to be its agreement to the terms of the New Organizational
Documents for Reorganized Parent, and such Entities and Persons shall be deemed signatories to the New
Organizational Documents for Reorganized Parent without further action required on their part. The New
Organizational Documents for Reorganized Parent will be effective as of the Effective Date and, as of such
date, will be deemed to be valid, binding, and enforceable in accordance with its terms, and each Holder of
New Equity Interests will be bound thereby in all respects even if such Holder has not actually executed
and delivered a counterpart thereof.




                                                       37
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 160 of 569



K.      Release of Liens and Claims

         To the fullest extent provided under section 1141(c) and other applicable provisions of the
Bankruptcy Code, except as otherwise provided in the Exit ABL Credit Agreement (including with respect
to the Prepetition ABL Facility and the Prepetition ABL Loans), this Plan, the Combined Order, or in any
contract, instrument, release, or other agreement or document entered into or delivered in connection with
this Plan, on the Effective Date and concurrently with the applicable distributions made pursuant to Article
VI, all Liens, Claims, mortgages, deeds of trust, or other security interests against the assets or property of
the Debtors or the Estates shall be fully released, canceled, terminated, extinguished, and discharged, in
each case without further notice to or order of the Bankruptcy Court, act, or action under applicable law,
regulation, order, or rule or the vote, consent, authorization, or approval of any Person or Entity; provided,
that (1) the Liens granted to the Prepetition Agents and the DIP Agents pursuant to the Prepetition ABL
Credit Agreement, Prepetition Term Loan Credit Agreement, and DIP Credit Agreement and (2) any and
all Liens or security securing the Debtor’s obligations under the Insurance Contracts, which, for avoidance
of doubt, includes grants of security interests in, without limitation, escrow accounts, deposit accounts,
Cash Collateral, and letters of credit issued for the benefit of Insurers, shall remain in full force and effect
solely to the extent provided for in this Plan. The filing of the Combined Order with any federal, state, or
local agency or department shall constitute good and sufficient evidence of, but shall not be required to
effect, the termination of such Liens, Claims, and other interests to the extent provided in the immediately
preceding sentence. Any Person or Entity holding such Liens, Claims, or interests shall, pursuant to section
1142 of the Bankruptcy Code, promptly execute and deliver to the Reorganized Debtors such instruments
of termination, release, satisfaction, and/or assignment (in recordable form) as may be reasonably requested
by the Reorganized Debtors.

L.      Exemption from Certain Taxes and Fees

         To the fullest extent permitted by section 1146(a) of the Bankruptcy Code, any transfer (whether
from a Debtor to a Reorganized Debtor or to any other Person) of property under, pursuant to, in
contemplation of, or in connection with this Plan (including the Restructuring Transactions) pursuant to
(1) the issuance, distribution, transfer, or exchange of any debt, securities, or other interest in the Debtors
or the Reorganized Debtors, (2) the creation, modification, consolidation, termination, refinancing, or
recording of any mortgage, deed of trust, or other security interest, or the securing of additional
indebtedness by such or other means, (3) the making, assignment, or recording of any lease or sublease,
(4) the grant of collateral security for any or all of the Exit Facilities or other indebtedness, or (5) the
making, delivery, or recording of any deed or other instrument of transfer under, in furtherance of, or in
connection with, this Plan, including, without limitation, any deeds, bills of sale, assignments, or other
instrument of transfer executed in connection with any transaction arising out of, contemplated by, or in
any way related to this Plan (including the Restructuring Transactions), shall not be subject to any document
recording tax, stamp tax, conveyance fee, intangibles, or similar tax, mortgage tax, real estate transfer tax,
mortgage recording tax, Uniform Commercial Code filing or recording fee, regulatory filing or recording
fee, or other similar tax or governmental assessment, and the appropriate U.S. federal, state or local
governmental officials, agents, or filing or recording officers (or any other Person with authority over any
of the foregoing), wherever located and by whomever appointed, shall comply with the requirements of
section 1146(a) of the Bankruptcy Code, and shall forego the collection of any such tax or governmental
assessment and accept for filing and recordation any of the foregoing instruments or other documents
without the payment of any such tax, fee or governmental assessment.




                                                      38
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 161 of 569



M.      Directors and Officers of the Reorganized Debtors

        1.       Reorganized Board

         The members of the Reorganized Board shall consist of a number of members determined by the
Required Consenting Lenders in their sole discretion, which shall consist of members appointed in a manner
determined by the Required Consenting Lenders in their sole discretion and set forth in the New
Organizational Documents for Reorganized Parent. Except to the extent that a member of the board of
directors or board of managers, or the sole manager, as applicable, of a Debtor is designated in the Plan
Supplement to serve as a director, manager, or sole manager of such Reorganized Debtor on the Effective
Date, the members of the board of directors or board of managers, or the sole manager, as applicable, of
each Debtor prior to the Effective Date, in their capacities as such, shall have no continuing obligations to
the Reorganized Debtors on or after the Effective Date, and each such director, manager, or sole manager
shall be deemed to have resigned or shall otherwise cease to be a director, manager, or sole manager of the
applicable Debtor on the Effective Date. Each of the directors, managers, sole managers and officers of
each of the Reorganized Debtors and Reorganized Parent shall serve pursuant to the terms of the applicable
New Organizational Documents of such Reorganized Debtor or Reorganized Parent, as applicable, and may
be designated, replaced, or removed in accordance with such New Organizational Documents.

        2.       Senior Management

         The existing officers of the Debtors as of the Effective Date shall remain in their current capacities
as officers of the Reorganized Debtors, subject to their right to resign and the ordinary rights and powers
of the Reorganized Board to remove or replace them in accordance with the New Organizational Documents
and any applicable employment agreements that are assumed pursuant to this Plan.

        3.       Management Incentive Plan

        After the Effective Date, the Reorganized Board shall adopt the Management Incentive Plan in
accordance with the Transaction Term Sheet. The form of the awards (i.e., options, restricted stock or units,
appreciation rights, etc.), the participants in the Management Incentive Plan, the allocations of the awards
to such participants (including the amount of allocations and the timing of the grant of the awards), and the
terms and conditions of the awards (including vesting, exercise prices, base values, hurdles, forfeiture,
repurchase rights and transferability) shall be determined by the Reorganized Board in its sole discretion.

N.      Preservation of Causes of Action

        In accordance with section 1123(b) of the Bankruptcy Code, but subject to the releases and
exculpation set forth in this section and in Article IX below, all Causes of Action that a Debtor may hold
against any Entity shall vest in the applicable Reorganized Debtor on the Effective Date, including each
Cause of Action set forth in the schedule of retained Causes of Action included in the Plan Supplement.
Thereafter, the Reorganized Debtors shall have the exclusive right, authority, and discretion to determine
and to initiate, file, prosecute, enforce, abandon, settle, compromise, release, withdraw, or litigate to
judgment any such Causes of Action, whether arising before or after the Petition Date, and to decline to do
any of the foregoing without the consent or approval of any third party or further notice to or action, order,
or approval of the Bankruptcy Court. No Entity may rely on the absence of a specific reference in this
Plan, the Plan Supplement, or the Disclosure Statement to any specific Cause of Action as any
indication that the Debtors or the Reorganized Debtors shall not pursue any and all available Causes
of Action. The Debtors and the Reorganized Debtors expressly reserve all rights to prosecute any
and all Causes of Action against any Entity, except as otherwise expressly provided in this Plan, and,
therefore, no preclusion doctrine, including the doctrines of res judicata, collateral estoppel, issue
preclusion, claim preclusion, estoppel (judicial, equitable, or otherwise) or laches, shall apply to any Cause



                                                      39
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 162 of 569



of Action upon, after, or as a consequence of the Confirmation or the occurrence of the Effective Date. In
addition, the Debtors and the Reorganized Debtors expressly reserve the right to pursue or adopt any claims
alleged in any lawsuit in which any of the Debtors are a plaintiff, defendant, or an interested party, against
any Person or Entity, including, without limitation, the plaintiffs or co-defendants in such lawsuits. For the
avoidance of doubt, in no instance shall any Cause of Action preserved pursuant to this Article IV.N include
any Claim or Cause of Action released or exculpated under this Plan (including, without limitation, by the
Debtors).

O.      Corporate Action

         Each of the Debtors and the Reorganized Debtors may take any and all actions to execute, deliver,
File or record such contracts, instruments, releases, and other agreements or documents and take such
actions as may be necessary or appropriate to effectuate, implement, and further evidence the provisions of
this Plan, and without further notice to or order of the Bankruptcy Court, any act or action under applicable
law, regulation, order, or rule or any requirement of further action, vote or other approval or authorization
by the security holders, officers, or directors of the Debtors or the Reorganized Debtors or by any other
Person (except for those expressly required pursuant hereto or by the Definitive Documents).

         Upon the Effective Date, all actions contemplated by this Plan shall be deemed authorized,
approved, and, to the extent taken before the Effective Date, ratified without any requirement for further
action by Holders of Claims or Interests, directors, managers, or officers of the Debtors, the Reorganized
Debtors, or any other Entity, including: (1) assumption and rejection (as applicable) of Executory Contracts
and Unexpired Leases; (2) selection of the directors, managers, and officers for each of the Reorganized
Debtors and Reorganized Parent; (3) the execution of the New Organizational Documents and the Exit
Facilities Documents; (4) the issuance and delivery of the New Equity Interests and incurrence of the Exit
Facilities; (5) implementation of the Restructuring Transactions; and (6) all other acts or actions
contemplated, or reasonably necessary or appropriate to promptly consummate the transactions
contemplated by this Plan (whether to occur before, on, or after the Effective Date). All matters provided
for in this Plan involving the company structure of the Debtors, and any company action required by the
Debtors in connection therewith, shall be deemed to have occurred on, and shall be in effect as of, the
Effective Date, without any requirement of further action by the security holders, directors, managers,
authorized persons, or officers of the Debtors, the Reorganized Debtors, or Reorganized Parent or
otherwise.

         Before, on, and after the Effective Date, the appropriate officers, directors, managers, or authorized
persons of the Debtors, the Reorganized Parent, or any direct or indirect subsidiaries of the Reorganized
Parent (including any president, vice-president, chief executive officer, treasurer, general counsel,
secretary, or chief financial officer thereof) shall be authorized and directed to issue, execute, and deliver
the agreements, documents, securities, memoranda and articles of association, certificates of incorporation,
certificates of formation, bylaws, operating agreements, other organization documents, and instruments
contemplated by this Plan (or necessary or desirable to effect the transactions contemplated by this Plan) in
the name of and on behalf of the applicable Debtors or applicable Reorganized Debtors, including the
(1) New Organizational Documents, (2) Exit Facilities Documents, and (3) any and all other agreements,
documents, securities, and instruments relating to or contemplated by the foregoing. Before or on the
Effective Date, each of the Debtors is authorized, in its sole discretion, to change its name or corporate form
and to take such other action as required to effectuate a change of name or corporate form in the jurisdiction
of incorporation of the applicable Debtor or Reorganized Debtor. To the extent the Debtors change their
names or corporate form before the closing of the Chapter 11 Cases, the Debtors shall change the case
captions accordingly.

        The authorizations, approvals and directives contemplated by this Article IV.O shall be effective
notwithstanding any requirements under non-bankruptcy Law.


                                                      40
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 163 of 569



P.      Prepetition Intercreditor Agreement

         Notwithstanding anything to the contrary in this Plan, the treatment of, and distributions (including
rights to adequate protection and participation in the DIP Term Loan Facility) made to Holders of
Prepetition Term Loan Claims shall not be subject to the Prepetition Intercreditor Agreement or the terms
thereof (including any turnover and disgorgement provisions), and the Prepetition Intercreditor Agreement
shall be deemed so amended to the extent necessary to effectuate same.

Q.      Effectuating Documents; Further Transactions

         Before, on, and after the Effective Date, the Debtors and the Reorganized Debtors and the directors,
managers, officers, authorized persons, and members of the boards of directors or managers and directors
or managers thereof, are authorized to and may issue, execute, deliver, file, or record such contracts,
securities, notes, instruments, certificates, releases, and other agreements or documents and take such
actions as may be necessary or appropriate to effectuate, implement, and further evidence the terms and
provisions of this Plan, the New Organizational Documents, the Exit Facilities Documents, and any
Securities issued pursuant to this Plan in the name of and on behalf of the Reorganized Debtors, without
the need for any approvals, authorizations, actions, or consents except for those expressly required pursuant
to this Plan or the Transaction Support Agreement.

R.      Authority of the Debtors

        Effective on the Confirmation Date, the Debtors shall be empowered and authorized to take or
cause to be taken, before the Effective Date, all actions necessary or appropriate to achieve the Effective
Date and enable the Reorganized Debtors to implement effectively the provisions of this Plan, the
Combined Order, the Definitive Documents, and the Restructuring Transactions.

S.      No Substantive Consolidation

        This Plan is being proposed as a joint chapter 11 plan of the Debtors for administrative purposes
only and constitutes a separate chapter 11 plan for each Debtor. This Plan is not premised upon the
substantive consolidation of the Debtors with respect to the Classes of Claims or Interests set forth in this
Plan.

T.      Continuing Effectiveness of Final Orders

        Payment authorization granted to the Debtors under any prior Final Order entered by the
Bankruptcy Court shall continue in effect after the Effective Date. Accordingly, the Debtors or the
Reorganized Debtors may pay or otherwise satisfy any Claim to the extent permitted by, and subject to, the
applicable Final Order without regard to the treatment that would otherwise be applicable to such Claim
under this Plan.

U.      Modifications to Executory Contracts and Unexpired Leases

        The Debtors, with the consent of the Required Consenting Term Lenders, are authorized to enter
into, and perform under, amendments or modifications of any Executory Contracts or Unexpired Leases
with the counterparty to such Executory Contract or Unexpired Lease and pay any amounts due as a result
of such amendment or modification.




                                                     41
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 164 of 569



                                 Article V.
                   TREATMENT OF EXECUTORY CONTRACTS
      AND UNEXPIRED LEASES; EMPLOYEE BENEFITS; AND INSURANCE POLICIES

A.      Assumption of Executory Contracts and Unexpired Leases

        On the Effective Date, except as otherwise provided in this Plan, each of the Executory Contracts
and Unexpired Leases not previously rejected, assumed, or assumed and assigned pursuant to an order of
the Bankruptcy Court shall be deemed assumed and amended (as necessary to implement the terms of the
Restructuring Transactions), as of the Effective Date pursuant to sections 365 and 1123 of the Bankruptcy
Code except any Executory Contract or Unexpired Lease (1) identified on the Rejected Executory
Contract/Unexpired Lease List (which shall initially be filed with the Bankruptcy Court on the Plan
Supplement Filing Date) as an Executory Contract or Unexpired Lease to be rejected (if any), (2) that is the
subject of a separate motion or notice to reject pending as of the Effective Date, or (3) that previously
expired or terminated pursuant to its own terms (disregarding any terms the effect of which is invalidated
by the Bankruptcy Code).

        Entry of the Combined Order by the Bankruptcy Court shall constitute an order approving the
assumption of the Transaction Support Agreement pursuant to sections 365 and 1123 of the Bankruptcy
Code and effective on the occurrence of the Effective Date. The Transaction Support Agreement shall be
binding and enforceable against the applicable parties thereto in accordance with its terms. For the
avoidance of doubt, the assumption of the Transaction Support Agreement shall not otherwise modify, alter,
amend, or supersede any of the terms or conditions thereof including, without limitation, any termination
events or provisions thereunder.

        Entry of the Combined Order by the Bankruptcy Court shall constitute an order approving the
assumption of the Executory Contracts and Unexpired Leases pursuant to sections 365(a) and 1123 of the
Bankruptcy Code, effective on the occurrence of the Effective Date. Each Executory Contract and
Unexpired Lease assumed pursuant to this Plan or by Bankruptcy Court order, and not assigned to a third
party on or before the Effective Date, shall re-vest in and be fully enforceable by the applicable Reorganized
Debtor in accordance with its terms, except as such terms may have been modified by order of the
Bankruptcy Court.

         To the maximum extent permitted by law, unless otherwise provided herein, the transactions
contemplated by this Plan shall not constitute a “change of control” or “assignment” (or terms with similar
effect) under any Executory Contract or Unexpired Lease assumed pursuant to this Plan, or any other
transaction, event, or matter that would (1) result in a violation, breach, or default under such Executory
Contract or Unexpired Lease, (2) increase, accelerate, or otherwise alter any obligations, rights, or liabilities
of the Debtors or the Reorganized Debtors under such Executory Contract or Unexpired Lease, or (3) result
in the creation or imposition of a Lien upon any property or asset of the Debtors or the Reorganized Debtors
pursuant to the applicable Executory Contract or Unexpired Lease. Any consent or advance notice required
under such Executory Contract or Unexpired Lease in connection with assumption thereof (pursuant to the
other provisions of this Article V.A) shall be deemed satisfied by Confirmation.

         Notwithstanding anything to the contrary in this Plan, but subject to the Consent Rights in Article
I.C, the Debtors reserve the right to amend or supplement the Rejected Executory Contract/Unexpired Lease
List in their discretion before the Effective Date and, after the Effective Date, the Reorganized Debtors,
shall have the right to amend Rejected Executory Contract/Unexpired Lease List; provided, that such right
to amend shall not apply to any Unexpired Lease for nonresidential property; provided, further that the
Debtors shall give prompt notice of any such amendment or supplement to any affected counterparty and
such counterparty shall have no less than seven (7) days to object thereto on any grounds.




                                                       42
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 165 of 569



          The Rejected Executory Contract/Unexpired Lease List shall be filed with the Plan Supplement,
provided that the Debtors may amend such list (including by adding or removing contracts and leases
therefrom) at any time prior to the Effective Date. Notwithstanding anything herein to the contrary, with
respect to any Unexpired Lease of nonresidential real property that is listed on the Rejected Executory
Contract/Unexpired Lease List, the effective date of the rejection of any such Unexpired Lease shall be the
later of (1) the Effective Date and (2) the date upon which the Debtors notify the landlord in writing (email
being sufficient) that they have surrendered the premises to the landlord and returned the keys, key codes,
or security codes, as applicable. Any property remaining on the premises subject to a rejected Unexpired
Lease shall be deemed abandoned by the Debtors or the Reorganized Debtors, as applicable, as of the
effective date of rejection, and the counterparty to such Unexpired Lease shall be authorized to use or
dispose of any property left on the premises in its sole and absolute discretion without notice or liability to
the Debtors or the Reorganized Debtors, as applicable, or any third party.

B.      Payments on Assumed Executory Contracts and Unexpired Leases

         Any monetary default under an Executory Contract or Unexpired Lease to be assumed pursuant to
this Plan shall be satisfied, pursuant to section 365(b)(1) of the Bankruptcy Code, by payment of the default
amount in Cash in the ordinary course of business, subject to the limitation described below, or on such
other terms as the parties to such Executory Contract or Unexpired Lease may otherwise agree.

        Parties to Executory Contracts and Unexpired Leases assumed by the Debtors pursuant to
the Plan shall not be required to File a Proof of Claim or objection to assert or preserve any Cure
Cost. Notwithstanding anything to the contrary in the Plan, all Cure Cost shall be Unimpaired by
the Plan and all Cure Cost outstanding as of the Effective Date shall remain continuing obligations
of the Reorganized Debtors following the Effective Date subject to all parties’ rights and defenses
with respect thereto.

        Any and all Proofs of Claim based upon Executory Contracts or Unexpired Leases that have
been assumed in the Chapter 11 Cases, including pursuant to the Combined Order, shall be deemed
disallowed and expunged as of the Effective Date without the need for any objection thereto or any
further notice to or action, order, or approval of the Bankruptcy Court.

         In the event of a dispute regarding (1) the ability of the Reorganized Debtors or any assignee to
provide “adequate assurance of future performance” (within the meaning of section 365(b) of the
Bankruptcy Code) under the Executory Contract or Unexpired Lease to be assumed, or (2) any other matter
pertaining to assumption, the Bankruptcy Court shall hear such dispute before the assumption becoming
effective; provided, that the Debtors, with the consent of the Required Consenting Lenders may settle any
such dispute and shall pay any agreed upon Cure Cost without any further notice to any party or any action,
order, or approval. The cure payments required by section 365(b)(1) of the Bankruptcy Code shall be made
following the entry of a Final Order(s) resolving the dispute and approving the assumption and shall not
prevent or delay implementation of this Plan or the occurrence of the Effective Date.

C.      Claims Based on Rejection of Executory Contracts and Unexpired Leases

         Unless otherwise provided by a Bankruptcy Court order, any Proofs of Claim asserting Rejection
Damages Claims pursuant to this Plan or otherwise must be filed with the Notice and Claims Agent within
thirty (30) days of the later of (1) the effective date of the rejection of the applicable Executory Contract or
Unexpired Lease (which shall be the Confirmation Date unless otherwise provided in an order of the
Bankruptcy Court providing for the rejection of an Executory Contract or Unexpired Lease); (2) the
Confirmation Date; or (3) the date of the order authorizing the rejection of the applicable Executory
Contract or Unexpired Lease. Any Rejection Damages Claims that are not timely filed shall be
automatically disallowed without further order of the Bankruptcy Court. All Allowed Rejection



                                                      43
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 166 of 569



Damages Claims shall constitute General Unsecured Claims and shall be treated in accordance with Article
III.B.

         Any Rejection Damages Claims for Executory Contracts or Unexpired Leases that the Debtors,
with the consent of the Required Consenting Term Lenders, elect to reject shall be paid in full on the
Effective Date, subject to the applicable provisions of the Bankruptcy Code, including sections 502(b)(6)
and 510(b); provided, that such Claim is not a Subordinated Claim, in which case such Claim shall be
treated as a Subordinated Claim pursuant to the terms of this Plan.

D.      Contracts and Leases Entered into After the Petition Date

         Contracts and leases entered into after the Petition Date by any Debtor, including any Executory
Contracts and Unexpired Leases assumed by any Debtor, shall be performed by such Debtor or Reorganized
Debtor, as applicable, liable thereunder in the ordinary course of business. Accordingly, such contracts and
leases (including any Executory Contracts and Unexpired Leases assumed or assumed and assigned
pursuant to section 365 of the Bankruptcy Code) that have not been rejected as of the Confirmation Date
shall survive and remain unaffected by entry of the Combined Order.

E.      Reservation of Rights

         Nothing contained in this Plan shall constitute an admission by the Debtors that any contract or
lease is in fact an Executory Contract or Unexpired Lease or that any Reorganized Debtor has any liability
thereunder. If there is a dispute regarding whether a contract or lease is or was executory or unexpired at
the time of assumption, the Debtors or Reorganized Debtors, as applicable, shall have thirty (30) days
following entry of a Final Order resolving such dispute to alter their treatment of such contract or lease. If
there is a dispute regarding a Debtor’s or Reorganized Debtor’s liability under an assumed Executory
Contract or Unexpired Lease, the Reorganized Debtors shall be authorized to move to have such dispute
heard by the Bankruptcy Court pursuant to Article X.

F.      Directors and Officers Insurance Policies

         On the Effective Date the Reorganized Debtors shall be deemed to have assumed all of the Debtors’
D&O Insurance Policies (including any “tail coverage” and all agreements, documents, or instruments
related thereto) in effect before the Effective Date pursuant to sections 105 and 365(a) of the Bankruptcy
Code, without the need for any further notice to or action, order, or approval of the Bankruptcy Court.
Confirmation of this Plan shall not discharge, impair, or otherwise modify any indemnity obligations
assumed by the foregoing assumption of the D&O Insurance Policies, and each such indemnity obligation
shall be deemed and treated as an Executory Contract that has been assumed by the Debtors under this Plan
as to which no Proof of Claim need be Filed. The Debtors and, after the Effective Date, the Reorganized
Debtors shall retain the ability to supplement such D&O Insurance Policies as the Debtors or Reorganized
Debtors, as applicable, may deem necessary. For the avoidance of doubt, entry of the Combined Order
shall constitute the Bankruptcy Court’s approval of the Reorganized Debtors’ foregoing assumption of each
of the unexpired D&O Insurance Policies.

         In addition, on or after the Effective Date, none of the Reorganized Debtors shall terminate or
otherwise reduce the coverage under any D&O Insurance Policies (including any “tail policy” and all
agreements, documents, or instruments related thereto) in effect on or before the Effective Date, with
respect to conduct occurring prior thereto, and all current and former directors, officers, and managers of
the Debtors who served in such capacity at any time before the Effective Date shall be entitled to the full
benefits of any such policies for the full term of such policies regardless of whether such current and former
directors, officers, and managers remain in such positions after the Effective Date, all in accordance with




                                                     44
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 167 of 569



and subject in all respects to the terms and conditions of the D&O Insurance Policies, which shall not be
altered.

G.      Other Insurance Contracts

         On the Effective Date, each of the Debtors’ Insurance Contracts in existence as of the Effective
Date shall be Reinstated and continued in accordance with their terms and, to the extent applicable, shall
be deemed assumed by the applicable Reorganized Debtor pursuant to section 365 of the Bankruptcy Code
and Article V. Nothing in this Plan shall affect, impair, or prejudice the rights of the insurance carriers, the
insureds, or the Reorganized Debtors under the Insurance Contracts in any manner, and such insurance
carriers, the insureds, and Reorganized Debtors shall retain all rights and defenses under such Insurance
Contracts. The Insurance Contracts shall apply to and be enforceable by and against the insureds and the
Reorganized Debtors in the same manner and according to the same terms and practices applicable to the
Debtors, as existed before the Effective Date.

H.      Indemnification Provisions and Reimbursement Obligations

          On and as of the Effective Date, and except as prohibited by applicable law and subject to the
limitations set forth herein, the Indemnification Provisions shall be assumed and irrevocable and shall
survive the effectiveness of this Plan, and the New Organizational Documents shall provide to the fullest
extent provided by law for the indemnification, defense, reimbursement, exculpation, and/or limitation of
liability of, and advancement of fees and expenses to the Debtors’ and the Reorganized Debtors’ current
and former directors, officers, equity holders, managers, members, employees, accountants, investment
bankers, attorneys, other professionals, agents of the Debtors, and such current and former directors’,
officers’, equity holders’, managers’, members’, and employees’ respective Affiliates (each of the
foregoing solely in their capacity as such) at least to the same extent as the Indemnification Provisions,
against any Claims or Causes of Action whether direct or derivative, liquidated or unliquidated, fixed or
contingent, disputed or undisputed, matured or unmatured, known or unknown, foreseen or unforeseen,
asserted or unasserted. Notwithstanding anything in this Plan to the contrary, none of the Reorganized
Debtors shall amend and/or restate the New Organizational Documents before or after the Effective Date
to terminate or adversely affect any of the Indemnification Provisions.
I.      Employee Compensation and Benefits

        1.       Compensation and Benefits Programs

         Subject to the provisions of this Plan, all Compensation and Benefits Programs (other than awards
of stock options, restricted stock, restricted stock units, and other equity awards) shall be treated as
Executory Contracts under this Plan and deemed assumed on the Effective Date pursuant to the provisions
of sections 365 and 1123 of the Bankruptcy Code. All Proofs of Claim Filed for amounts due under any
Compensation and Benefits Program shall be considered satisfied by the applicable agreement and/or
program and agreement to assume and cure in the ordinary course as provided in this Plan. All collective
bargaining agreements to which any Debtor is a party, and all Compensation and Benefits Programs which
are maintained pursuant to such collective bargaining agreements or to which contributions are made or
benefits provided pursuant to a current or past collective bargaining agreement, shall be deemed assumed
on the Effective Date pursuant to the provisions of sections 365 and 1123 of the Bankruptcy Code and the
Reorganized Debtors reserve all of their rights under such agreements. For the avoidance of doubt, the
Debtors and Reorganized Debtors, as applicable, shall honor all their obligations under section 1114 of the
Bankruptcy Code.

        None of the Restructuring Transactions, or any assumption of Compensation and Benefits
Programs pursuant to the terms herein shall be deemed to trigger any applicable change of control, vesting,
termination, acceleration, or similar provisions therein; provided, that the Assumed Employee Agreements


                                                      45
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 168 of 569



shall be assumed and governed by the terms thereof. Subject to the preceding sentence, no counterparty
shall have rights under a Compensation and Benefits Program assumed pursuant to this Plan other than
those applicable immediately before such assumption.

        2.       Workers’ Compensation Programs

         As of the Effective Date, except as set forth in the Plan Supplement, the Debtors and the
Reorganized Debtors shall continue to honor their obligations under: (a) all applicable state workers’
compensation laws; and (b) the Workers’ Compensation Contracts. All Proofs of Claims filed by the
Debtors’ current or former employees on account of workers’ compensation shall be deemed withdrawn
automatically and without any further notice to or action, order, or approval of the Bankruptcy Court based
upon the treatment provided for herein; provided, that nothing in this Plan shall limit, diminish, or otherwise
alter the Debtors’ or Reorganized Debtors’ defenses, Causes of Action, or other rights under applicable
non-bankruptcy law with respect to the Workers’ Compensation Contracts; provided, further, that nothing
herein shall be deemed to impose any obligations on the Debtors in addition to what is provided for under
applicable non-bankruptcy law and/or the Workers’ Compensation Contracts.

                                         Article VI.
                            PROVISIONS GOVERNING DISTRIBUTIONS

A.      Timing and Calculation of Amounts to Be Distributed

         Unless otherwise provided in this Plan, on the Effective Date (or if a Claim is not an Allowed Claim
on the Effective Date, on the date that such Claim becomes an Allowed Claim, or as soon as reasonably
practicable thereafter), each Holder of an Allowed Claim shall receive the full amount of the distributions
that this Plan provides for Allowed Claims in the applicable Class; provided, that any Allowed
Administrative Claims with respect to liabilities incurred by the Debtors in the ordinary course of business
during the Chapter 11 Cases or assumed by the Debtors before the Effective Date shall be paid or performed
in the ordinary course of business.

         In the event that any payment or act under this Plan is required to be made or performed on a date
that is not a Business Day, then the making of such payment or the performance of such act may be
completed on the next succeeding Business Day, but shall be deemed to have been completed as of
the required date.

         If and to the extent that there are Disputed Claims, distributions on account of any such Disputed
Claims shall be made pursuant to the provisions set forth in Article VII. Except as otherwise provided
herein, Holders of Claims shall not be entitled to postpetition interest, dividends, or accruals on the
distributions provided for herein, regardless of whether such distributions are delivered on or at any time
after the Effective Date.

B.      Special Rules for Distributions to Holders of Disputed Claims

         Except as otherwise agreed by the relevant parties: (1) no partial payments and no partial
distributions shall be made with respect to a Disputed Claim until all such disputes in connection with such
Disputed Claim have been resolved by settlement or Final Order; and (2) any Entity that holds both an
Allowed Claim and a Disputed Claim shall not receive any distribution on the Allowed Claim unless and




                                                      46
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 169 of 569



until all objections to the Disputed Claim have been resolved by settlement or Final Order or such Claims
or Interests have been Allowed or expunged.

C.      Rights and Powers of Distribution Agent

        1. Powers of the Distribution Agent

        The Distribution Agent shall be empowered to: (a) effect all actions and execute all agreements,
instruments, and other documents necessary to perform its duties under this Plan; (b) make all distributions
contemplated hereby; (c) employ professionals to represent it with respect to its responsibilities; and
(d) exercise such other powers as may be vested in the Distribution Agent by order of the Bankruptcy Court,
pursuant to this Plan, or as deemed by the Distribution Agent to be necessary and proper to implement the
provisions hereof.

        2. Expenses Incurred on or After the Effective Date and Indemnification

        Except as otherwise ordered by the Bankruptcy Court, the amount of any reasonable fees and
expenses incurred by the Distribution Agent on or after the Effective Date (including taxes in connection
with this Plan, but excluding any income, franchise, or similar taxes), and any reasonable compensation
and expense reimbursement claims (including reasonable attorney fees and expenses), made by the
Distribution Agent shall be paid in Cash by the Reorganized Debtors.

D.      Delivery of Distributions

        1.      Record Date for Distributions

         On the Distribution Record Date, the Claims Register shall be closed and any party responsible for
making distributions shall instead be authorized and entitled to recognize only those record Holders listed
on the Claims Register as of the close of business on the Distribution Record Date. The Distribution Record
Date shall not apply to distributions in respect of Securities deposited with DTC, the Holders of which shall
receive distributions, if any, in accordance with the customary exchange procedures of DTC or this Plan.
For the avoidance of doubt, in connection with a distribution through the facilities of DTC (if any), DTC
shall be considered a single Holder for purposes of distributions.

        2.      Delivery of Distributions in General

         Except as otherwise provided herein, the Distribution Agent shall make distributions to Holders of
Allowed Claims as of the Distribution Record Date, or, if applicable, to such Holder’s designee, as
appropriate: (a) at the address for each such Holder as indicated on the Debtors’ records as of the
Distribution Record Date; (b) to the signatory set forth on any Proof of Claim Filed by such Holder or other
Representative identified therein (or at the last known addresses of such Holder if no Proof of Claim is
Filed or if the Debtors have not been notified in writing of a change of address); (c) at the addresses set
forth in any written notices of address changes delivered to the Reorganized Debtors or the applicable
Distribution Agent, as appropriate, after the date of any related Proof of Claim; or (d) on any counsel that
has appeared in the Chapter 11 Cases on the Holder’s behalf; provided, that the manner of such distributions
shall be determined at the discretion of the Reorganized Debtors.

        All distributions to Holders of DIP Claims shall be made to the DIP Agents or the Exit Term Loan
Agent, as applicable, and the DIP Agents or the Exit Term Loan Agent shall be, and shall act as, the
Distribution Agent with respect to the DIP Claims in accordance with the terms and conditions of this Plan
and the applicable debt documents.




                                                     47
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 170 of 569



         All distributions to Holders of Prepetition Term Loan Claims shall be made to the Prepetition Term
Loan Agent, and the Prepetition Term Loan Agent shall be, and shall act as, the Distribution Agent with
respect to the Prepetition Term Loan Claims in accordance with the terms and conditions of this Plan and
the applicable debt documents.

        3.      Minimum Distributions

         Notwithstanding any provision in this Plan to the contrary, no Distribution Agent shall be required
to make distributions or payments of less than $100 (whether in Cash or otherwise) with respect to Impaired
Claims. No fractional shares of New Equity Interests shall be distributed and no Cash shall be distributed
in lieu of such fractional amounts. When any distribution pursuant to this Plan on account of an Allowed
Claim would otherwise result in the issuance of a number of shares of New Equity Interests that is not a
whole number, the actual distribution of shares of New Equity Interests shall be rounded as follows:
(a) fractions of one-half (½) or greater shall be rounded to the next higher whole number and (b) fractions
of less than one-half (½) shall be rounded to the next lower whole number with no further payment
therefore. The total number of authorized shares of New Equity Interests to be distributed under this Plan
shall be adjusted as necessary to account for the foregoing rounding. For distribution purposes (including
rounding), DTC shall be treated as a single Holder.

        4.      Undeliverable Distributions

         In the event that any distribution to any Holder of Allowed Claims is returned as undeliverable, no
distribution to such Holder shall be made unless and until the Distribution Agent has determined the then-
current address of such Holder, at which time such distribution shall be made to such Holder without
interest; provided, that such distributions shall be deemed unclaimed property under section 347(b) of the
Bankruptcy Code at the expiration of one (1) year from the Effective Date. After such date, all unclaimed
property or interests in property shall revert to the Reorganized Debtors automatically and without need for
a further order by the Bankruptcy Court (notwithstanding any applicable federal, provincial or state escheat,
abandoned, or unclaimed property laws to the contrary), and the Claim of any Holder of Claims to such
property or interest in property shall be discharged and forever barred.

E.      Compliance with Tax Requirements; Allocations

         In connection with this Plan and all distributions hereunder, the Reorganized Debtors and any other
applicable Distribution Agent (including for purposes of this Article VI, the Debtors) shall comply with all
applicable withholding and reporting requirements imposed on them by any Governmental Unit, and all
distributions hereunder and under all related agreements shall be subject to any such withholding and
reporting requirements. Notwithstanding any provision in this Plan to the contrary, the Reorganized
Debtors and any other applicable Distribution Agent shall have the right, but not the obligation, to take any
and all actions that may be necessary or appropriate to comply with such applicable withholding and
reporting requirements, including (a) withholding distributions and amounts therefrom pending receipt of
information necessary to facilitate such distributions, including properly executed withholding certification
forms, and (b) in the case of a non-Cash distribution that is subject to withholding, withholding an
appropriate portion of such property and either liquidating such withheld property to generate sufficient
funds to pay applicable withholding taxes (or reimburse the distributing party for any advance payment of
the withholding tax) or pay the withholding tax using its own funds and retain such withheld property.
Notwithstanding any provision in this Plan to the contrary, each Holder of an Allowed Claim shall have the
sole and exclusive responsibility for the satisfaction and payment of any tax obligations imposed by any
Governmental Unit, including income, withholding, and other tax obligations, on account of such
distribution. Any amounts withheld or reallocated pursuant to this Article VI shall be treated as if
distributed to the Holder of the Allowed Claim.



                                                     48
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 171 of 569



         Any Person or Entity entitled to receive any property as an issuance or distribution under this Plan
shall, upon request of the Reorganized Debtors or any other applicable Distribution Agent, deliver to the
applicable Reorganized Debtor or any other applicable Distribution Agent, or such other Person designated
by the Reorganized Debtors or the Distribution Agent, an IRS Form W-9 or, if the payee is a foreign Person
or Entity, an applicable IRS Form W-8 (together with all attachments), or any other forms or documents
reasonably requested by a Reorganized Debtor or Distribution Agent to reduce or eliminate any withholding
required by any Governmental Unit.

       The Reorganized Debtors reserve the right to allocate all distributions made under this Plan in
compliance with all applicable wage garnishments, alimony, child support and other spousal awards, Liens,
and encumbrances.

F.      Applicability of Insurance Contracts

        Notwithstanding anything to the contrary in this Plan, the Plan Supplement, the Disclosure
Statement, or the Combined Order (including, without limitation, any provision that purports to be
preemptory or supervening, confers Bankruptcy Court jurisdiction, or requires a party to opt out of any
releases):

        1.       on and after the Effective Date, all Insurance Contracts (a) are found to be and shall be
        treated as, Executory Contracts under this Plan and shall be assumed pursuant to sections 105 and
        365 of the Bankruptcy Code by the applicable Debtor, and/or (b) shall vest in the Reorganized
        Debtors and ride through and continue in full force and effect in accordance with their respective
        terms in either case such that the Reorganized Debtors shall become and remain jointly and
        severally liable in full for, and shall satisfy, any premiums, deductibles, self-insured retentions,
        and/or any other amounts or obligations arising in any way out of the receipt of payment from an
        Insurer in respect of the Insurance Contracts and as to which no Proof of Claim, Administrative
        Claim, or Cure Cost claim need be filed; and

        2.       solely with respect to Insurance Contracts, which, for avoidance of doubt, includes any and
        all collateral or security securing the Debtor’s obligations under the insurance policies, including,
        without limitation, escrow accounts, deposit accounts, Cash Collateral, and letters of credit, the
        automatic stay of section 362(a) of the Bankruptcy Code and the injunctions set forth in this Plan,
        if and to the extent applicable, shall be deemed lifted without further order of this Bankruptcy
        Court, solely to permit (a) claimants with valid workers’ compensation claims or direct action
        claims against Insurers under applicable non-bankruptcy law to proceed with their claims; (b)
        Insurers to administer, handle, defend, settle, and/or pay, in the ordinary course of business and
        without further order of this Bankruptcy Court, (i) workers’ compensation claims, (ii) claims where
        a claimant asserts a direct claim against an Insurer under applicable non-bankruptcy law, or an
        order has been entered by this Bankruptcy Court granting a claimant relief from the automatic stay
        or the injunctions set forth in this Plan to proceed with its claim, and (iii) all costs in relation to
        each of the foregoing; and (c) the Insurers to collect from any or all of the collateral or security
        provided by or on behalf of the Debtors (or the Reorganized Debtors) at any time and to hold the
        proceeds thereof as security for the obligations of the Debtors (or the Reorganized Debtors) and/or
        apply such proceeds to the obligations of the Debtors (or the Reorganized Debtors) under the
        applicable Insurance Contracts, in such order as the applicable Insurer may determine.

         Nothing contained in this Plan shall constitute or be deemed a waiver of any Cause of Action that
the Debtors or any Entity may hold against any other Entity, including Insurers under any Insurance
Contracts, nor shall anything contained herein constitute or be deemed a waiver by such Insurers of any
rights or defenses, including coverage defenses, held by such Insurers under the Insurance Contracts and/or
applicable non-bankruptcy law.


                                                     49
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 172 of 569



G.      Allocation of Distributions Between Principal and Interest

         Except as otherwise required by law (as reasonably determined by the Reorganized Debtors),
distributions with respect to an Allowed Claim shall be allocated for United States federal (and applicable
state and local) income tax purposes first to the principal portion of such Allowed Claim and, thereafter, to
the remaining portion of such Allowed Claim, if any.

H.      No Postpetition Interest on Claims

         Unless otherwise specifically provided for in this Plan, any other Definitive Document, the
Combined Order, the DIP/Cash Collateral Orders, or any other Final Order of the Bankruptcy Court, or
required by applicable bankruptcy law (including, without limitation, as required pursuant to section 506(b)
or section 511 of the Bankruptcy Code), postpetition interest shall not accrue or be paid on any Claims and
no Holder of a Claim or Interest shall be entitled to interest accruing on or after the Petition Date on any
Claim.

I.      Means of Cash Payment

         Payments of Cash made pursuant to this Plan shall be in United States dollars and shall be made,
at the option of the Debtors or the Reorganized Debtors (as applicable), by checks drawn on, or wire transfer
from, a domestic bank selected by the Debtors or the Reorganized Debtors. Cash payments to foreign
creditors may be made, at the option of the Debtors or the Reorganized Debtors, in such funds and by such
means as are necessary or customary in a particular foreign jurisdiction.

J.      Setoffs and Recoupment

         Except as otherwise provided herein, each Reorganized Debtor pursuant to the Bankruptcy Code
(including section 553 of the Bankruptcy Code), applicable bankruptcy or non-bankruptcy law, or as may
be agreed to by the Holder of an Allowed Claim, may set off or recoup against any Allowed Claim and the
distributions to be made pursuant to this Plan on account of such Allowed Claim, any Claims, rights, and
Causes of Action of any nature that the applicable Debtor or Reorganized Debtor may hold against the
Holder of such Allowed Claim, to the extent such Claims, rights, or Causes of Action have not been
otherwise compromised, settled, or assigned on or before the Effective Date (whether pursuant to this Plan,
a Final Order or otherwise); provided, that neither the failure to effect such a setoff or recoupment nor the
allowance of any Claim pursuant to this Plan shall constitute a waiver or release by such Reorganized
Debtor of any such Claims, rights, and Causes of Action.

        Notwithstanding anything to the contrary herein, nothing in this Plan or the Combined Order shall
modify the rights, if any, of any counterparty to a rejected Executory Contract or Unexpired Lease to assert
any right of setoff or recoupment that such party may have under applicable bankruptcy law or non-
bankruptcy law, including, but not limited to, the (1) ability, if any, of such parties to setoff or recoup a
security deposit held pursuant to the terms of their rejected Unexpired Lease(s) with the Debtors, or any
successors to the Debtors, under this Plan, (2) assertion of rights of setoff or recoupment, if any, in
connection with Claims reconciliation, or (3) assertion of setoff or recoupment as a defense, if any, to any
Claim or action by the Debtors, the Reorganized Debtors, or any successors of the Debtors.

K.      Claims Paid or Payable by Third Parties

        1.      Claims Paid by Third Parties

         A Claim shall be correspondingly reduced, and the applicable portion of such Claim shall be
disallowed without an objection to such Claim having to be Filed and without any further notice to or action,
order, or approval of the Bankruptcy Court, to the extent that the Holder of such Claim receives a payment


                                                     50
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 173 of 569



on account of such Claim from a party that is not a Debtor or Reorganized Debtor. To the extent a Holder
of a Claim receives a distribution on account of such Claim and receives payment from a party that is not a
Debtor or a Reorganized Debtor on account of such Claim, such Holder shall, within fourteen (14) days of
receipt thereof, repay or return the distribution to the Reorganized Debtors to the extent the Holder’s total
recovery on account of such Claim from the third party and under this Plan exceeds the amount of such
Claim as of the date of any such distribution under this Plan. The failure of such Holder to timely repay or
return such distribution shall result in the Holder owing the Reorganized Debtors annualized interest at the
Federal Judgment Rate on such amount owed for each Business Day after the fourteen (14) day grace period
specified above until the amount is repaid.

        2.      Claims Payable by Insurers

         No distributions under this Plan shall be made on account of an Allowed Claim that is payable
pursuant to one of the Debtors’ Insurance Contracts until the Holder of such Allowed Claim has exhausted
all remedies with respect to such Insurance Contract. To the extent that one or more of the Insurers agrees
to satisfy in full or in part a Claim (if and to the extent adjudicated by a court of competent jurisdiction),
then immediately upon such Insurers’ agreement, the applicable portion of such Claim may be expunged
without a Claim objection having to be Filed and without any further notice to or action, order, or approval
of the Bankruptcy Court.

        3.      Insurance Contracts

         Except as otherwise provided in this Plan, distributions to Holders of Allowed Claims shall be in
accordance with the provisions of any applicable Insurance Contract. Notwithstanding anything to the
contrary herein, nothing contained in this Plan shall constitute or be deemed a release, settlement,
satisfaction, compromise, or waiver of any Cause of Action that the Debtors or any other Entity may hold
against any other Entity, including Insurers, under any Insurance Contracts or applicable indemnity, nor
shall anything contained herein constitute or be deemed a waiver by such Insurers of any defenses, including
coverage defenses, held by such Insurers.

                                       Article VII.
                         PROCEDURES FOR RESOLVING CONTINGENT,
                           UNLIQUIDATED, AND DISPUTED CLAIMS

A.      No Filings of Proofs of Claim

         Except as otherwise provided in this Plan, Holders of Claims shall not be required to File a Proof
of Claim, and except as provided in this Plan, no parties should File a Proof of Claim. The Debtors do not
intend to object in the Bankruptcy Court to the allowance of Claims Filed; provided, that the Debtors and
the Reorganized Debtors, as applicable, reserve the right to object to any Claim that is entitled, or deemed
to be entitled, to a distribution under this Plan or is rendered Unimpaired under this Plan. Instead, the
Debtors intend to make distributions, as required by this Plan, in accordance with the books and records of
the Debtors. Unless disputed by a Holder of a Claim, the amount set forth in the books and records of the
Debtors shall constitute the amount of the Allowed Claim of such Holder except that (unless expressly
waived pursuant to this Plan) the Allowed amount of such Claim shall be subject to the limitations or
maximum amounts permitted by the Bankruptcy Code, including sections 502 and 503 of the Bankruptcy
Code, to the extent applicable. If any such Holder of a Claim disagrees with the Debtors’ books and records
with respect to the Allowed amount of such Holder’s Claim, such Holder must so advise the Debtors in
writing within thirty (30) days of receipt of any distribution on account of such Holder’s Claim, in which
event the Claim shall become a Disputed Claim. The Debtors intend to attempt to resolve any such disputes
consensually or through judicial means outside the Bankruptcy Court. Nevertheless, the Debtors may, in
their discretion, File with the Bankruptcy Court (or any other court of competent jurisdiction) an objection


                                                     51
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 174 of 569



to the allowance of any Claim or any other appropriate motion or adversary proceeding with respect thereto.
All such objections shall be litigated to Final Order; provided, that the Debtors may compromise, settle,
withdraw, or resolve by any other method approved by the Bankruptcy Court any objections to Claims.

         All Proofs of Claim, other than Rejection Damages Claims, Filed in the Chapter 11 Cases shall be
considered objected to and Disputed without further action by the Debtors. Upon the Effective Date, all
Proofs of Claim, other than Rejection Damages Claims, Filed against the Debtors, regardless of the time of
filing, and including Proofs of Claim, other than Rejection Damages Claims, Filed after the Effective Date,
shall be deemed withdrawn and expunged, other than as provided below. Notwithstanding anything in this
Plan to the contrary, disputes regarding the amount of any Cure Cost pursuant to section 365 of the
Bankruptcy Code and Claims that the Debtors seek to have determined by the Bankruptcy Court, shall in
all cases be determined by the Bankruptcy Court. Except as otherwise provided herein, all Proofs of
Claim, other than Rejection Damages Claims, Filed after the Effective Date shall be disallowed and
forever barred, estopped, and enjoined from assertion, and shall not be enforceable against any
Reorganized Debtor, without the need for any objection by the Reorganized Debtors or any further
notice to or action, order, or approval of the Bankruptcy Court.

B.      Allowance and Disallowance of Claims

        After the Effective Date, and except as otherwise provided in this Plan, the Reorganized Debtors
shall have and shall retain any and all available rights and defenses that the Debtors had with respect to any
Claim immediately before the Effective Date, including, without limitation, the right to assert any objection
to Claims based on the limitations imposed by section 502 of the Bankruptcy Code. The Debtors and the
Reorganized Debtors may, but are not required to, contest the amount and validity of any Disputed Claim
or contingent or unliquidated Claim in the ordinary course of business in the manner and venue in which
such Claim would have been determined, resolved or adjudicated if the Chapter 11 Cases had not been
commenced.

        All Claims and Interests of any Entity from which property is sought by the Debtors under sections
542, 543, 550, or 553 of the Bankruptcy Code or that the Debtors or the Reorganized Debtors allege is a
transferee of a transfer that is avoidable under sections 522(f), 522(h), 544, 545, 547, 548, 549, or 724(a)
of the Bankruptcy Code shall be disallowed if: (1) the Entity, on the one hand, and the Debtors or the
Reorganized Debtors, as applicable, on the other hand, agree or the Bankruptcy Court has determined by
Final Order that such Entity or transferee is liable to turn over any property or monies under any of the
aforementioned sections of the Bankruptcy Code; and (2) such Entity or transferee has failed to turn over
such property by the date set forth in such agreement or Final Order.

C.      Claims Administration Responsibilities

         Except as otherwise specifically provided in this Plan, after the Effective Date, the Reorganized
Debtors shall have the sole authority: (1) to File, withdraw, or litigate to judgment, objections to Claims or
Interests; (2) to settle or compromise any Disputed Claim or Interest without any further notice to or action,
order, or approval by the Bankruptcy Court; and (3) to administer and adjust the Claims Register to reflect
any such settlements or compromises without any further notice to or action, order, or approval by the
Bankruptcy Court. For the avoidance of doubt, except as otherwise provided herein, from and after the
Effective Date, each Reorganized Debtor shall have and retain any and all rights and defenses such Debtor
had immediately before the Effective Date with respect to any Disputed Claim or Interest, including the
Causes of Action retained pursuant to this Plan.

        Any objections to Claims and Interests other than General Unsecured Claims must be served
and Filed on or before the 120th day after the Effective Date or by such later date as ordered by the
Bankruptcy Court. All Claims and Interests other than General Unsecured Claims not objected to



                                                     52
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 175 of 569



by the end of such 120-day period shall be deemed Allowed unless such period is extended upon
approval of the Bankruptcy Court.

        Any objections to Rejection Damages Claims must be served and Filed on or before the 120th
day after the Effective Date or by such later date as ordered by the Bankruptcy Court. All Rejection
Damages Claims not objected to by the end of such 120-day period shall be deemed Allowed unless
such period is extended upon approval of the Bankruptcy Court.

        Notwithstanding the foregoing, the Debtors and Reorganized Debtors shall be entitled to dispute
and/or otherwise object to any General Unsecured Claim in accordance with applicable non-bankruptcy
law. If the Debtors or Reorganized Debtors dispute any General Unsecured Claim, such dispute shall be
determined, resolved, or adjudicated, as the case may be, in the manner as if the Chapter 11 Cases had not
been commenced; provided, that any disputes regarding the Allowance of a Rejection Damages Claim shall
be determined by the Bankruptcy Court. In any action or proceeding to determine the existence, validity,
or amount of any General Unsecured Claim, any and all claims or defenses that could have been asserted
by the applicable Debtor(s) or the Entity holding such General Unsecured Claim are preserved as if the
Chapter 11 Cases had not been commenced.

D.      Adjustment to Claims or Interests without Objection

        Any duplicate Claim or Interest or any Claim or Interest that has been paid, satisfied, amended, or
superseded may be adjusted or expunged on the Claims Register by the Reorganized Debtors without the
Reorganized Debtors having to File an application, motion, complaint, objection, or any other legal
proceeding seeking to object to such Claim or Interest and without any further notice to or action, order, or
approval of the Bankruptcy Court.

E.      Distributions After Allowance

         To the extent that a Disputed Claim ultimately becomes an Allowed Claim, distributions (if any)
shall be made to the Holder of such Allowed Claim in accordance with the provisions of this Plan. As soon
as reasonably practicable after the date that the order or judgment of the Bankruptcy Court allowing any
Disputed Claim becomes a Final Order, the Reorganized Debtors shall provide to the Holder of such Claim
the distribution (if any) to which such Holder is entitled under this Plan as of the Effective Date, without
any postpetition interest to be paid on account of such Claim.

                                     Article VIII.
                     CONDITIONS PRECEDENT TO THE EFFECTIVE DATE

A.      Conditions Precedent to the Effective Date

       The following are conditions precedent to the Effective Date that must be satisfied or waived
pursuant to the provisions of Article VIII.B:

        1. The Transaction Support Agreement shall be in full force and effect, no termination event or
event that would give rise to a termination event under the Transaction Support Agreement upon the
expiration of any applicable grace period shall have occurred and remain occurring, and the Transaction
Support Agreement shall not have been validly terminated before the Effective Date.

         2. The DIP Facilities and all DIP Facilities Documents shall be in full force and effect, no event
of default or event that would give rise to an event of default under the DIP Facilities Documents upon the
expiration of the applicable grace period shall have occurred and remain occurring, and the DIP Term Loan
Facility shall not have been validly terminated before the Effective Date.




                                                     53
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 176 of 569



       3. Any non-technical and/or immaterial amendments, modifications or supplements to this Plan
have been consented to by the Debtors and the Required Consenting Term Lenders.

        4. All of the actions set forth in the Restructuring Transaction Steps Memorandum that are
contemplated therein to be completed and implemented on or prior to the Effective Date, as applicable,
shall have been completed and implemented in accordance with the terms thereof.

         5. The Bankruptcy Court shall have entered the Final DIP/Cash Collateral Order, and such order
shall be in a Final Order and shall remain in full force and effect.

       6. The final version of the Plan Supplement shall have been filed and all of the schedules,
documents, and exhibits contained therein shall be consistent in all material respects with the Transaction
Support Agreement, the Transaction Term Sheet, the DIP & Exit ABL Commitment Letter, and this Plan.

         7. The Bankruptcy Court shall have entered the Combined Order, which shall be in form and
substance acceptable to the Required Consenting Term Lenders and Debtors and consistent in all material
respects with the Transaction Term Sheet and the Transaction Support Agreement and shall not be subject
to a stay, and the Plan shall not have been amended, altered, or modified from this Plan as confirmed by
the Combined Order in any material respect, unless such material amendment, alteration, or modification
has been made in accordance with this Plan and shall:

                a.      authorize the Debtors to take all actions necessary to enter into, implement, and
                        consummate the contracts, instruments, releases, leases, indentures, and other
                        agreements or documents created in connection with this Plan;

                b.      be in form and substance acceptable to the Required DIP Term Lenders;

                c.      authorize the assumption, assumption and assignment, and/or rejection of the
                        Executory Contracts and Unexpired Leases by the Debtors as contemplated in this
                        Plan and the Plan Supplement;

                d.      decree that the provisions in the Combined Order and this Plan are nonseverable
                        and mutually dependent;

                e.      authorize the Debtors to: (i) implement the Restructuring Transactions;
                        (ii) distribute the New Equity Interests pursuant to the exemption from registration
                        under the Securities Act provided by section 1145 of the Bankruptcy Code or other
                        exemption from such registration or pursuant to one or more registration
                        statements; (iii) make all distributions and issuances as required under this Plan
                        consistent with the Transaction Term Sheet, including the New Equity Interests;
                        and (iv) enter into any agreements, transactions, and sales of property as
                        contemplated by this Plan and the Plan Supplement, including the Management
                        Incentive Plan;

                f.      authorize the implementation of this Plan in accordance with its terms; and

                g.      provide that, pursuant to section 1146 of the Bankruptcy Code, the assignment or
                        surrender of any lease or sublease, and the delivery of any deed or other instrument
                        or transfer order, in furtherance of, or in connection with this Plan, including any
                        deeds, bills of sale, or assignments executed in connection with any disposition or
                        transfer of assets contemplated under this Plan, shall not be subject to any stamp,
                        real estate transfer, mortgage recording, or other similar tax.




                                                    54
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 177 of 569



         8. Each document or agreement necessary to effectuate the Plan, including all Definitive
Documents, shall have been executed and/or effectuated, shall be in form and substance acceptable to the
Required Consenting Term Lenders and Company Parties, and shall be consistent with the Transaction
Support Agreement or the DIP & Exit ABL Commitment Letter, as applicable, including the consent rights
provided therein, and any conditions precedent related thereto or contained therein shall have been satisfied
prior to or contemporaneously with the occurrence of the Effective Date or otherwise waived in accordance
with the terms of the applicable Definitive Documents.

        9. The Debtors shall have obtained all authorizations, consents, regulatory approvals, rulings, or
documents that are necessary to implement and effectuate the Restructuring Transactions, and all applicable
regulatory or government imposed waiting periods shall have expired or been terminated.

        10. All governmental and third-party approvals and consents that may be necessary in connection
with the Restructuring Transactions shall have been obtained, not be subject to unfulfilled conditions, and
be in full force and effect, and all applicable waiting periods shall have expired without any action being
taken or threatened by any competent authority that would restrain, prevent, or otherwise impose materially
adverse conditions on the Restructuring Transactions.

        11. No court of competent jurisdiction or other competent governmental or regulatory authority
shall have issued any order making illegal or otherwise restricting, limiting, preventing, or prohibiting the
consummation of any of the Restructuring Transactions.

        12. The Debtors shall have paid in full all professional fees and expenses of the Retained
Professionals that require the Bankruptcy Court’s approval or amounts sufficient to pay such fees and
expenses after the Effective Date shall have been placed in the Professional Fee Escrow Account pending
the Bankruptcy Court’s approval of such fees and expenses.

        13. The Restructuring Fees and Expenses shall have been paid in full in Cash (subject to any order
of the Bankruptcy Court).

        14. The restructuring to be implemented on the Effective Date shall be consistent with this Plan,
the Transaction Support Agreement, and the DIP & Exit ABL Commitment Letter.

        15. There shall not have been instituted or threatened or be pending any material action,
proceeding, application, claim, counterclaim, or investigation (whether formal or informal) (or there shall
not have been any material adverse development to any action, application, claim, counterclaim, or
proceeding currently instituted, threatened, or pending) before or by any court, governmental, regulatory or
administrative agency or instrumentality, domestic or foreign, or by any other person, domestic or foreign,
in connection with the Restructuring Transactions that, in the reasonable judgment of the Debtors and the
Required Consenting Term Lenders would prohibit, prevent, or restrict consummation of the Restructuring
Transactions in a materially adverse manner.

         Following the satisfaction or waiver of the foregoing, concurrently with or immediately following
effectiveness of this Plan on the Effective Date:

       1.       The Existing Equity Interests shall have been canceled and the New Equity Interests shall
have been issued by Reorganized Parent and distributed in accordance with the terms of this Plan.

         2.      The New Equity Interests to be issued and/or delivered on the Effective Date (as set forth
in this Plan) shall have been validly issued by Reorganized Parent, shall be fully paid and non-assessable,
and shall be free and clear of all taxes, Liens and other encumbrances, pre-emptive rights, rights of first
refusal, subscription rights and similar rights, except for any restrictions on transfer as may be imposed by
(i) applicable securities Laws and (ii) the New Organizational Documents of Reorganized Parent.


                                                     55
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 178 of 569



        3.     All conditions precedent to the effectiveness of the Exit Facilities and all other financing
agreements and arrangements contemplated hereunder, as applicable, shall be or have been, as applicable,
funded and closed and be in full force and effect.

        4.       The Releases set forth in this Plan shall be in full force and effect.

        5.     The Debtors shall have paid in full to the relevant Persons all payments and fees provided
for in the Transaction Support Agreement, the Transaction Term Sheet, and applicable Definitive
Documents that are payable on, before, or in connection with the occurrence of the Effective Date.

        Immediately following effectiveness of the Plan, the Reorganized Debtors shall complete the
termination of registration of all Securities under sections 13 and 15(d) of the Exchange Act such that the
Reorganized Debtors shall be a private company as soon as reasonably practicable after the Effective Date.

B.      Waiver of Conditions

         Subject to section 1127 of the Bankruptcy Code, the conditions to Confirmation and consummation
of this Plan set forth in this Article VIII may be waived by the Debtors, with the consent of the Required
Consenting Lenders, without notice, leave, or order of the Bankruptcy Court or any formal action other
than proceeding to confirm or consummate this Plan. The failure of the Debtors or Reorganized Debtors
to exercise any of the foregoing rights shall not be deemed a waiver of any other rights, and each right shall
be deemed an ongoing right that may be asserted at any time.

C.      Effect of Non-Occurrence of Conditions to the Effective Date

         If the Confirmation of this Plan or the Effective Date does not occur with respect to one or more of
the Debtors on or before the termination of the Transaction Support Agreement, then this Plan shall, with
respect to such applicable Debtor or Debtors, be null and void in all respects and nothing contained in this
Plan or the Disclosure Statement shall: (1) constitute a waiver or release of any claims by or Claims against
or Interests in the Debtors; (2) prejudice in any manner the rights of the Debtors, any Holders, or any other
Person or Entity; (3) constitute an allowance of any Claim or Interest; or (4) constitute an admission,
acknowledgment, offer, or undertaking by the Debtors, any Holders, or any other Person or Entity in any
respect.

D.      Substantial Consummation

         “Substantial consummation” of this Plan, as defined in section 1102(2) of the Bankruptcy Code,
shall be deemed to occur on the Effective Date.

                                     Article IX.
             DISCHARGE, RELEASE, INJUNCTION, AND RELATED PROVISIONS

A.      Discharge of Claims and Termination of Interests

        Pursuant to and to the fullest extent permitted by section 1141(d) of the Bankruptcy Code, and
except as otherwise specifically provided in this Plan, the Combined Order, the Definitive Documents, or
in any contract, instrument, or other agreement or document created or entered into, the distributions, rights,
and treatment that are provided in this Plan shall be in full and final satisfaction, settlement, release, and
discharge, effective as of the Effective Date, of Claims (including any Intercompany Claims resolved or
compromised after the Effective Date by the Reorganized Debtors), Interests, and Causes of Action of any
nature whatsoever, including any interest accrued on Claims or Interests from and after the Petition Date,
whether known or unknown, against, liabilities of, demands against, Liens on, obligations of, rights against,
and Interests in, the Debtors, the Reorganized Debtors, the Estates, or any of their assets or properties,



                                                      56
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 179 of 569



regardless of whether any property shall have been distributed or retained pursuant to this Plan on account
of such Claims and Interests, including demands, liabilities, and Causes of Action that arose before the
Effective Date, any liability (including withdrawal liability) to the extent such Claims or Interests relate to
services performed by employees of the Debtors before the Effective Date and that arise from a termination
of employment, any contingent or non-contingent liability on account of representations or warranties
issued on or before the Effective Date, and all debts of the kind specified in sections 502(g), 502(h), or
502(i) of the Bankruptcy Code, in each case whether or not: (1) a Proof of Claim based upon such debt or
right is Filed or deemed Filed pursuant to section 501 of the Bankruptcy Code; (2) a Claim or Interest based
upon such debt, right, or Interest is Allowed pursuant to section 502 of the Bankruptcy Code; or (3) the
Holder of such a Claim or Interest has accepted this Plan. The Combined Order shall be a judicial
determination of the discharge of all Claims and Interests subject to the occurrence of the Effective Date.

         Pursuant to Bankruptcy Rule 9019 and in consideration for the distributions and other benefits
provided pursuant to this Plan, the provisions of this Plan shall constitute a good-faith compromise of all
Claims, Interests, and controversies relating to the contractual, legal, and subordination rights that a Holder
of a Claim or Interest may have with respect to any Allowed Claim or Interest or any distribution to be
made on account of such Allowed Claim or Interest. The entry of the Combined Order shall constitute the
Bankruptcy Court’s approval of the compromise or settlement of all such Claims, Interests, and
controversies as well as a finding by the Bankruptcy Court that such compromise or settlement is in the
best interests of the Debtors, the Estates, and Holders of Claims and Interests and is fair, equitable, and
reasonable. In accordance with the provisions of this Plan, pursuant to Bankruptcy Rule 9019, without any
further notice to or action, order, or approval of the Bankruptcy Court, after the Effective Date, the
Reorganized Debtors may compromise and settle Claims against the Debtors and the Estates and Causes of
Action against other Entities.

B.      Releases by the Debtors

          To the fullest extent permitted by applicable law and approved by the Bankruptcy Court,
and except as otherwise expressly set forth in this Plan or the Combined Order, pursuant to section
1123(b) of the Bankruptcy Code, as of the Effective Date, in exchange for good and valuable
consideration, the adequacy of which is hereby confirmed, each Released Party, in each case on behalf
of itself and its respective successors, assigns, and Representatives, and any and all other Entities who
may purport to assert any Claim or Cause of Action, directly or derivatively, by, through, for, or
because of the foregoing Entities, is and is deemed to be, forever and unconditionally released, and
absolved by each Debtor, Reorganized Debtor, and the Estates from any and all Claims and Causes
of Action, whether known or unknown, including any derivative claims asserted or assertable on
behalf of the Debtors, the Estates, or the Reorganized Debtors that such Entity would have been
legally entitled to assert in its own right (whether individually or collectively) or on behalf of the
Holder of any Claim against, or Interest in, a Debtor or other Entity, based on or relating to, or in
any manner arising from, in whole or in part, (1) the management, ownership, or operation of the
Debtors or the Non-Debtor Affiliates, (2) the purchase, sale, or rescission of any security of the
Debtors or the Non-Debtor Affiliates, (3) the subject matter of, or the transactions, events,
circumstances, acts or omissions giving rise to, any Claim or Interest that is treated in the
Restructuring Transactions, including the negotiation, formulation, or preparation of the
Restructuring Transactions, (4) the business or contractual arrangements between any Debtor or
Non-Debtor Affiliate and any other Entity, (5) the Debtors’ and Non-Debtor Affiliates’ in- or out-of-
court restructuring efforts, (6) intercompany transactions, (7) the formulation, preparation,
dissemination, negotiation, filing, or consummation of this Plan, the Disclosure Statement, the
Transaction Support Agreement, the Definitive Documents, the Prepetition ABL Facility Documents,
the Prepetition Term Loan Documents, the DIP Facilities Documents, the Exit Facilities Documents
(and any financing permitted thereunder), the Chapter 11 Cases, or any Restructuring Transaction,



                                                      57
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 180 of 569



(8) any contract, instrument, release, or other agreement or document created or entered into in
connection with this Plan, the Disclosure Statement, the Transaction Support Agreement, the
Definitive Documents, the Prepetition ABL Facility Documents, the Prepetition Term Loan
Documents, the DIP Facilities Documents, the Exit Facilities Documents (and any financing
permitted thereunder), the Chapter 11 Cases, the pursuit of Confirmation of this Plan, the
administration and implementation of the Plan, or the Restructuring Transactions, including the
issuance or distribution of Securities pursuant to this Plan, (9) the distribution, including any
disbursements made by a Distribution Agent, of property under this Plan or any other related
agreement, or (10) any other act or omission, transaction, agreement, event, or other occurrence
related to any of the foregoing and taking place on or before the Effective Date; provided, that the
Debtors do not release Claims or Causes of Action (1) that are of a commercial nature and arising in
the ordinary course of business, such as accounts receivable and accounts payable on account of
goods and services being performed or (2) arising out of, or related to, any act or omission of a
Released Party that is determined by Final Order of the Bankruptcy Court or any other court of
competent jurisdiction to have constituted actual fraud, gross negligence, or willful misconduct (it
being agreed that any Released Parties’ consideration, approval, or receipt of any distribution did
not arise from or relate to actual fraud (but not, for the avoidance of doubt, fraudulent transfers),
gross negligence, or willful misconduct). Notwithstanding anything to the contrary in the foregoing,
the Releases set forth above do not release (1) any obligations of any Person or Entity under this Plan,
the Combined Order, any other Definitive Document, any Restructuring Transaction, any document,
instrument, or agreement (including those set forth in the Plan Supplement) executed to implement
this Plan, or any agreement, Claim, or obligation arising or assumed under this Plan or (2) any
Causes of Action specifically retained by the Debtors pursuant to the Schedule of Retained Causes of
Action.

         Entry of the Combined Order shall constitute the Bankruptcy Court’s approval, pursuant to
Bankruptcy Rule 9019, of the Debtor Release, which includes by reference each of the related
provisions and definitions contained in this Plan, and further, shall constitute the Bankruptcy
Court’s finding that the Debtor Release is: (1) in exchange for the good and valuable consideration
provided by each of the Released Parties, including the Released Parties’ substantial contributions
to facilitating the Restructuring Transactions and implementing this Plan; (2) a good-faith settlement
and compromise of the Claims released by the Debtor Release; (3) in the best interests of the Debtors
and all Holders of Claims and Interests; (4) fair, equitable, and reasonable; (5) given and made after
due notice and opportunity for hearing; and (6) a bar to any of the Debtors, the Reorganized Debtors,
or the Debtors’ Estates asserting any Claim or Cause of Action released pursuant to the Debtor
Release.

C.      Releases by Holders of Claims and Interests

        To the extent permitted by applicable law and approved by the Bankruptcy Court, and except
as otherwise expressly set forth in this Plan or the Combined Order, as of the Effective Date, in
exchange for good and valuable consideration, the adequacy of which is hereby confirmed, each
Releasing Party, in each case on behalf of itself and its respective successors, assigns, and
Representatives, and any and all other Entities who may purport to assert any Claim or Cause of
Action, directly or derivatively, by, through, for, or because of the foregoing Entities, has and is
deemed to have, forever and unconditionally, released, and absolved each Released Party from any
and all Claims and Causes of Action, whether known or unknown, including any derivative claims
asserted or assertable on behalf of the Debtors, the Estates, or the Reorganized Debtors that such
Entity would have been legally entitled to assert in its own right (whether individually or collectively)
or on behalf of the Holder of any Claim against, or Interest in, a Debtor, based on or relating to, or
in any manner arising from, in whole or in part, (1) the management, ownership, or operation of the



                                                   58
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 181 of 569



Debtors or the Non-Debtor Affiliates, (2) the purchase, sale, or rescission of any Security of the
Debtors or the Non-Debtor Affiliates, (3) the subject matter of, or the transactions, events,
circumstances, acts or omissions giving rise to, any Claim or Interest that is treated in the
Restructuring Transactions, including the negotiation, formulation, or preparation of the
Restructuring Transactions, (4) the business or contractual arrangements between any Debtor or
Non-Debtor Affiliate and any other Entity, (5) the Debtors’ and Non-Debtor Affiliates’ in- or out-of-
court restructuring efforts, (6) intercompany transactions, (7) the formulation, preparation,
dissemination, negotiation, filing, or consummation of this Plan, the Disclosure Statement, the
Transaction Support Agreement, the Definitive Documents, the Prepetition ABL Facility Documents,
the Prepetition Term Loan Documents, the DIP Facilities Documents, the Exit Facilities Documents
(and any financing permitted thereunder), the Chapter 11 Cases, or any Restructuring Transaction,
(8) any contract, instrument, release, or other agreement or document created or entered into in
connection with this Plan, the Disclosure Statement, the Transaction Support Agreement, the
Definitive Documents, the Prepetition ABL Facility Documents, the Prepetition Term Loan
Documents, the DIP Facilities Documents, the Exit Facilities Documents (and any financing
permitted thereunder), the Chapter 11 Cases, the pursuit of Confirmation of this Plan, the
administration and implementation of the Plan, or the Restructuring Transactions, including the
issuance or distribution of Securities pursuant to this Plan, (9) the distribution, including any
disbursements made by a Distribution Agent, of property under this Plan or any other related
agreement, or (10) any other act, or omission, transaction, agreement, event, or other occurrence
relating to any of the foregoing and taking place on or before the Effective Date; provided, that the
Releasing Parties do not release Claims or Causes of Action (1) arising out of, or related to, any act
or omission of a Released Party that is determined by Final Order of the Bankruptcy Court or any
other court of competent jurisdiction to have constituted actual fraud (but not, for the avoidance of
doubt, fraudulent transfers), gross negligence, or willful misconduct (it being agreed that any
Released Parties’ consideration, approval, or receipt of any distribution did not arise from or relate
to actual fraud, gross negligence, or willful misconduct) or (2) against a Released Party arising from
any obligations owed to the Releasing Party that are wholly unrelated to the Debtors or the
Reorganized Debtors. Notwithstanding anything to the contrary in the foregoing, the Releases set
forth above do not release (1) any obligations of any Person or Entity under this Plan, the Combined
Order, any other Definitive Document, any Restructuring Transaction, any document, instrument,
or agreement (including those set forth in the Plan Supplement) executed to implement this Plan, or
any agreement, claim, or obligation arising or assumed under this Plan or (2) any Causes of Action
specifically retained by the Debtors pursuant to the Schedule of Retained Causes of Action.

        Entry of the Combined Order shall constitute the Bankruptcy Court’s approval of the Third-
Party Release, which includes by reference each of the related provisions and definitions contained
in this Plan, and, further, shall constitute the Bankruptcy Court’s finding that the Third-Party
Release is: (1) consensual; (2) given and made after due notice and opportunity for hearing; and (3)
a bar to any of the Releasing Parties asserting any Claim or Cause of Action released pursuant to the
Third-Party Release.

D.      Exculpation

        Effective as of the Effective Date, to the fullest extent permitted by law, the Exculpated Parties
shall neither have nor incur any liability to any Person or Entity for any Claims or Causes of Action
for any act taken or omitted to be taken between the Petition Date and the Effective Date in
connection with, or related to, formulating, negotiating, preparing, disseminating, implementing,
administering, confirming or effecting the Confirmation or consummation (as applicable) of this
Plan, the Transaction Support Agreement, and the Disclosure Statement including any
disbursements made by a Distribution Agent in connection with this Plan, the Disclosure Statement,



                                                   59
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 182 of 569



the Definitive Documents, the Plan Supplement, the Prepetition ABL Facility Documents, the
Prepetition Term Loan Documents, the DIP Facilities Documents, the Exit Facilities Documents (and
any financing permitted thereunder), or any Restructuring Transaction, contract, instrument,
release, or other agreement or document created or entered into in connection with this Plan or any
other postpetition act taken or omitted to be taken in connection with or in contemplation of the
restructuring of the Debtors, the approval of the Disclosure Statement or Confirmation or
consummation of this Plan; provided, that the foregoing provisions of this exculpation shall not
operate to waive or release: (1) any Claims or Causes of Action arising from willful misconduct,
actual fraud (but not, for the avoidance of doubt, fraudulent transfers), or gross negligence of such
applicable Exculpated Party as determined by Final Order of the Bankruptcy Court or any other
court of competent jurisdiction; and/or (2) the rights of any Person or Entity to enforce this Plan and
the contracts, instruments, releases, indentures, and other agreements and documents delivered
under or in connection with this Plan or assumed pursuant to this Plan or Final Order of the
Bankruptcy Court; provided, further, that each Exculpated Party shall be entitled to rely upon the
advice of counsel concerning its respective duties pursuant to, or in connection with, the above
referenced documents, actions, or inactions.

        The Exculpated Parties have, and upon consummation of this Plan shall be deemed to have,
participated in good faith and in compliance with the applicable laws with regard to the solicitation
of votes and distribution of consideration pursuant to this Plan and, therefore, are not, and on
account of such distributions shall not be, liable at any time for the violation of any applicable law,
rule, or regulation governing the solicitation of acceptances or rejections of this Plan or such
distributions made pursuant to this Plan.

        The foregoing exculpation shall be effective as of the Effective Date without further notice to
or order of the Bankruptcy Court, act, or action under applicable law, regulation, order, or rule or
the vote, consent, authorization, or approval of any Person or Entity. For the avoidance of doubt
and notwithstanding anything else herein, the foregoing exculpation shall be limited to Persons that
served as Estate fiduciaries during the Chapter 11 Cases.

E.     Permanent Injunction

        Except as otherwise expressly provided in the Transaction Support Agreement, this Plan or
the Combined Order, from and after the Effective Date, all Persons and Entities are, to the fullest
extent provided under Section 524 and other applicable provisions of the Bankruptcy Code,
permanently enjoined from (1) commencing or continuing, in any manner or in any place, any suit,
action or other proceeding of any kind; (2) enforcing, attaching, collecting, or recovering in any
manner or means any judgment, award, decree, or order; (3) creating, perfecting, or enforcing any
Lien or encumbrance; (4) asserting a right of setoff or subrogation of any kind; or (5) commencing
or continuing in any manner any action or other proceeding of any kind, in each case on account of
or with respect to any Claim, demand, liability, obligation, debt, right, Cause of Action, Interest, or
remedy released or to be released, exculpated or to be exculpated, settled or to be settled, or
discharged or to be discharged pursuant to this Plan or the Combined Order against any Person or
Entity so released, discharged, or exculpated (or the property or estate of any Person or Entity so
released, discharged, or exculpated). All injunctions or stays provided for in the Chapter 11 Cases
under Sections 105 or 362 of the Bankruptcy Code, or otherwise, and in existence on the
Confirmation Date, shall remain in full force and effect until the Effective Date.

        No Person or Entity may commence or pursue a Claim or Cause of Action, as applicable, of
any kind against the Debtors, the Reorganized Debtors, the Exculpated Parties, or the Released
Parties, as applicable, that relates to or is reasonably likely to relate to any act or omission in
connection with, relating to, or arising out of a Claim or Cause of Action, as applicable, subject to


                                                  60
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 183 of 569



Article IX hereof, without the Bankruptcy Court (i) first determining, after notice and a hearing, that
such Claim or Cause of Action, as applicable, represents a colorable Claim of any kind, and
(ii) specifically authorizing such Person or Entity to bring such Claim or Cause of Action, as
applicable, against any such Debtor, Reorganized Debtor, Exculpated Party, or Released Party, as
applicable. At the hearing for the Bankruptcy Court to determine whether such Claim or Cause of
Action represents a colorable Claim of any kind, the Bankruptcy Court may, or shall if any Debtor,
Reorganized Debtor, Exculpated Party, Released Party, or other party in interest requests by motion
(oral motion being sufficient), direct that such Person or Entity seeking to commence or pursue such
Claim or Cause of Action file a proposed complaint with the Bankruptcy Court embodying such
Claim or Cause of Action, such complaint satisfying the applicable Rules of Federal Procedure,
including, but not limited to, Rule 8 and Rule 9 (as applicable), which the Bankruptcy Court shall
assess before making a determination. For the avoidance of doubt, any party that obtains such
determination and authorization and subsequently wishes to amend the authorized complaint or
petition to add any Claims or Causes of Action not explicitly included in the authorized complaint or
petition must obtain authorization from the Bankruptcy Court before filing any such amendment in
the court where such complaint or petition is pending. The Bankruptcy Court reserves jurisdiction
to adjudicate any such claims to the maximum extent provided by the law.

F.      SEC Reservation of Rights

        Notwithstanding any language to the contrary in the Disclosure Statement, Plan and/or
Combined Order, no provision shall (i) preclude the SEC from enforcing its police or regulatory
powers or (ii) enjoin, limit, impair or delay the SEC from commencing or continuing any claims,
Causes of Action, proceedings or investigations against any non-Debtor Person or non-Debtor Entity
in any forum.

                                           Article X.
                                   RETENTION OF JURISDICTION

         Notwithstanding the entry of the Combined Order and the occurrence of the Effective Date, except
to the extent set forth herein or under applicable federal law, the Bankruptcy Court shall retain on and after
the Effective Date jurisdiction over all matters arising out of, or related to, the Chapter 11 Cases and this
Plan pursuant to sections 105(a) and 1142 of the Bankruptcy Code, including jurisdiction to:

         A.     allow, disallow, determine, liquidate, classify, estimate, or establish the priority, secured
or unsecured status, or amount of any Claim or Interest, including the resolution of any request for payment
of any Administrative Claim and the resolution of any and all objections to the secured or unsecured status,
priority, amount, or allowance of Claims or Interests;

        B.      decide and resolve all matters related to the granting and denying, in whole or in part, any
applications for allowance of compensation or reimbursement of expenses to Retained Professionals
authorized pursuant to the Bankruptcy Code or this Plan;

        C.      resolve any matters related to: (1) the assumption, assumption and assignment, or rejection
of any Executory Contract or Unexpired Lease to which a Debtor is party with respect to which a Debtor
may be liable and to hear, determine, and, if necessary, liquidate, any Cure Costs arising therefrom,
including Cure Costs pursuant to section 365 of the Bankruptcy Code; (2) any potential contractual
obligation under any Executory Contract or Unexpired Lease that is assumed; (3) the Reorganized Debtors
amending, modifying, or supplementing, after the Effective Date, any Executory Contracts and Unexpired
Leases to be assumed or rejected or otherwise; and (4) any dispute regarding whether a contract or lease is
or was executory or expired;



                                                     61
        Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 184 of 569



        D.       ensure that distributions to Holders of Allowed Claims are accomplished pursuant to the
provisions of this Plan and the Combined Order;

         E.      adjudicate, decide, or resolve any motions, adversary proceedings, contested, or litigated
matters, and any other matters, and grant or deny any applications involving a Debtor that may be pending
on the Effective Date;

         F.     adjudicate, decide, or resolve any and all matters related to Causes of Action;

         G.     adjudicate, decide, or resolve any and all matters related to section 1141 of the Bankruptcy
Code;

         H.     resolve any cases, controversies, suits, or disputes that may arise in connection with any
Claims, including claim objections, allowance, disallowance, estimation, and distribution;

        I.      enter and implement such orders as may be necessary or appropriate to execute, implement,
or consummate the provisions of this Plan, the Combined Order, and all contracts, instruments, releases,
and other agreements or documents created in connection with this Plan, the Combined Order, or the
Disclosure Statement, including the Transaction Support Agreement;

        J.      enter and enforce any order for the sale of property pursuant to sections 363, 1123, or
1146(a) of the Bankruptcy Code;

        K.       resolve any cases, controversies, suits, disputes, or Causes of Action that may arise in
connection with the interpretation or enforcement of this Plan, the Combined Order, or any contract,
instrument, release or other agreement or document that is entered into or delivered pursuant to this Plan or
the Combined Order, or any Entity’s rights arising from or obligations incurred in connection with this Plan
or the Combined Order;

         L.    issue injunctions, enter and implement other orders or take such other actions as may be
necessary or appropriate to restrain interference by any Entity with enforcement of this Plan or the
Combined Order;

        M.       resolve any cases, controversies, suits, disputes, or Causes of Action with respect to the
releases, injunctions, and other provisions contained in this Plan and enter such orders as may be necessary
or appropriate to implement such releases, injunctions, and other provisions;

         N.      resolve any cases, controversies, suits, disputes, or Causes of Action with respect to the
repayment or return of distributions and the recovery of additional amounts owed by the Holder of a Claim
or Interest for amounts not timely repaid;

        O.      enter and implement such orders as are necessary or appropriate if the Combined Order is
for any reason modified, stayed, reversed, revoked, or vacated;

        P.     determine any other matters that may arise in connection with or relate to this Plan, the
Disclosure Statement, the Combined Order, or any contract, instrument, release, indenture, or other
agreement or document created in connection with this Plan, the Combined Order, or the Disclosure
Statement;

         Q.     enter an order or final decree concluding or closing the Chapter 11 Cases;




                                                     62
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 185 of 569



        R.      adjudicate any and all disputes arising from or relating to distributions to Holders of Claims
and Interests under this Plan;

        S.      consider any modification of this Plan, to cure any defect or omission, or to reconcile any
inconsistency in any Bankruptcy Court order, including the Combined Order;

        T.       determine requests for payment of Claims and Interests entitled to priority pursuant to
section 507 of the Bankruptcy Code;

       U.       hear and determine disputes arising in connection with the interpretation, implementation,
or enforcement of this Plan, or the Combined Order, including disputes arising under agreements,
documents, or instruments executed in connection with this Plan;

        V.      hear and determine matters concerning state, local, and federal taxes in accordance with
sections 346, 505, and 1146 of the Bankruptcy Code;

        W.      hear and determine all disputes involving the existence, nature, or scope of the Debtors’
discharge, including without limitation any dispute relating to any liability arising out of the termination of
employment or the termination of any employee or retiree benefit program, regardless of whether such
termination occurred before or after the Effective Date;

        X.     hear and determine disputes arising in connection with the interpretation, implementation,
or enforcement of the releases, injunctions, and exculpations provided under Article IX;

        Y.       resolve any disputes concerning whether a Person had sufficient notice of the Chapter 11
Cases, the Disclosure Statement, any solicitation conducted in connection with the Chapter 11 Cases, in
each case, for the purpose of determining whether a Claim or Interest is discharged hereunder or for any
other purpose;

        Z.       enforce all orders previously entered by the Bankruptcy Court; and

      AA.    hear any other matter not inconsistent with the Bankruptcy Code, this Plan, or the
Combined Order.

         If the Bankruptcy Court abstains from exercising, or declines to exercise, jurisdiction or is
otherwise without jurisdiction over any matter arising in, arising under, or related to the Chapter 11 Cases,
including the matters set forth in this Article X, the provisions of this Article X shall have no effect on and
shall not control, limit, or prohibit the exercise of jurisdiction by any other court having competent
jurisdiction with respect to such matter.

        Notwithstanding anything to the contrary in this Plan: (1) the Bankruptcy Court’s jurisdiction to
hear and determine disputes concerning Claims against or Interests in the Debtors that arose before the
Effective Date, including, without limitation, any Claims based in whole or in part on any conduct of the
Debtors occurring on or before the Effective Date, shall be non-exclusive; (2) any dispute arising under or
in connection with the Exit Facility Documents, and New Organizational Documents, and shall be dealt
with in accordance with the provisions of the applicable document; and (3) as of the Effective Date, the
Exit Term Loan Credit Agreement shall be governed by the jurisdictional provisions therein.




                                                      63
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 186 of 569



                                    Article XI.
                MODIFICATION, REVOCATION, OR WITHDRAWAL OF PLAN

A.      Modification of Plan

         Subject to the terms of the Transaction Support Agreement and the limitations contained in this
Plan, the Debtors or Reorganized Debtors reserve the right to, without additional disclosure pursuant to
section 1125 of the Bankruptcy Code, except as otherwise ordered by the Bankruptcy Court, in accordance
with the Bankruptcy Code, the Bankruptcy Rules, and the Transaction Support Agreement: (1) amend or
modify this Plan before the entry of the Combined Order, including amendments or modifications to satisfy
section 1129(b) of the Bankruptcy Code; (2) amend or modify this Plan after the entry of the Combined
Order in accordance with section 1127(b) of the Bankruptcy Code and the Transaction Support Agreement
upon order of the Bankruptcy Court; and (3) remedy any defect or omission or reconcile any inconsistency
in this Plan in such manner as may be necessary to carry out the purpose and intent of this Plan upon order
of the Bankruptcy Court. In addition, after the Confirmation Date, so long as such action does not adversely
affect the treatment of Holders of Allowed Claims pursuant to this Plan, the Debtors may, with the consent
of the Required Consenting Term Lenders, make appropriate technical adjustments, remedy any defect or
omission or reconcile any inconsistencies in this Plan, the Plan Supplement and/or the Combined Order,
with respect to such matters as may be necessary to carry out the purposes and effects of this Plan, and any
Holder of a Claim that has accepted this Plan shall be deemed to have accepted this Plan as amended,
modified, or supplemented.

B.      Effect of Confirmation on Modifications

         Entry of the Combined Order shall mean that all modifications or amendments to this Plan since
the solicitation thereof are approved pursuant to section 1127(a) of the Bankruptcy Code and do not require
additional disclosure or re-solicitation under Bankruptcy Rule 3019.

C.      Revocation of Plan; Reservation of Rights if Effective Date Does Not Occur

          Subject to the occurrence of the Effective Date, the Debtors reserve the right, subject to the terms
of the Transaction Support Agreement, to revoke or withdraw this Plan before the entry of the Combined
Order and to File subsequent plans of reorganization. If the Debtors revoke or withdraw this Plan, or if
entry of the Combined Order or the Effective Date does not occur, or if the Transaction Support Agreement
terminates in accordance with its terms before the Effective Date, then: (1) this Plan shall be null and void
in all respects; (2) any settlement or compromise embodied in this Plan (including the fixing or limiting to
an amount of any Claim or Interest or Class of Claims or Interests), assumption, assumption and assignment,
or rejection of Executory Contracts or Unexpired Leases effected by this Plan, and any document or
agreement executed pursuant hereto shall be deemed null and void except as may be set forth in a separate
order entered by the Bankruptcy Court; and (3) nothing contained in this Plan shall: (a) constitute a waiver
or release of any Claims by or against, or any Interests in, such Debtor or any other Entity; (b) prejudice in
any manner the rights of the Debtors or any other Entity; or (c) constitute an admission, acknowledgment,
offer, or undertaking of any sort by the Debtors or any other Entity; provided, that any Restructuring Fees
and Expenses that have been paid as of the date of revocation or withdrawal of this Plan shall remain paid
and shall not be subject to disgorgement or repayment without further order of the Bankruptcy Court.

                                           Article XII.
                                   MISCELLANEOUS PROVISIONS

A.      Immediate Binding Effect

        Notwithstanding Bankruptcy Rules 3020(e), 6004(g), or 7062 or otherwise, upon the occurrence of
the Effective Date, the terms of this Plan and the documents and instruments contained in the Plan


                                                     64
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 187 of 569



Supplement shall be immediately effective and enforceable and deemed binding upon the Debtors, the
Reorganized Debtors, and any and all Holders of Claims and Interests (irrespective of whether Holders of
such Claims or Interests are deemed to have accepted this Plan), all Entities that are parties to or are subject
to the settlements, compromises, releases, discharges, and injunctions described in this Plan, each Entity
acquiring property under this Plan and any and all non-Debtor parties to Executory Contracts and Unexpired
Leases, and notwithstanding whether or not such Person or Entity (1) shall receive or retain any property,
or interest in property, under this Plan, (2) has filed a Proof of Claim in the Chapter 11 Cases (if applicable)
or (3) failed to vote to accept or reject this Plan, affirmatively voted to reject this Plan, or is conclusively
presumed to reject this Plan. The Combined Order shall contain a waiver of any stay of enforcement
otherwise applicable, including pursuant to Bankruptcy Rule 3020(e) and 7062.

B.      Additional Documents

         Subject to the terms of the Transaction Support Agreement, on or before the Effective Date, the
Debtors may File with the Bankruptcy Court such agreements and other documents as may be necessary or
appropriate to effectuate and further evidence the terms and conditions of this Plan. The Debtors or
Reorganized Debtors, as applicable, and all Holders of Claims and Interests receiving distributions pursuant
to this Plan and all other parties in interest shall, from time to time, prepare, execute, and deliver any
agreements or documents and take any other actions as may be necessary or advisable to effectuate the
provisions and intent of this Plan or the Combined Order.

C.      Payment of United States Trustee Statutory Fees

        All United States Trustee Statutory Fees due and payable to the United States Trustee before the
Effective Date shall be paid by the Debtors on the Effective Date. After the Effective Date, any and all
United States Trustee Statutory Fees shall be paid to the United States Trustee when due and payable. The
Debtors shall file all monthly operating reports due before the Effective Date when they become due, using
UST Form 11-MOR. After the Effective Date, the Reorganized Debtors shall each file with the Bankruptcy
Court separate UST Form 11-PCR reports when they become due, until the earliest of the Debtors’ or
Reorganized Debtors’ case being closed, dismissed, or converted to a case under chapter 7 of the
Bankruptcy Code. The United States Trustee shall not be required to File a request for an Administrative
Claim for United States Trustee Statutory Fees, and shall not be treated as providing any release under this
Plan.

D.      Reservation of Rights

        This Plan shall have no force or effect unless and until the Bankruptcy Court enters the Combined
Order. None of the filing of this Plan, any statement or provision contained in this Plan, or the taking of
any action by any Debtor with respect to this Plan, the Disclosure Statement, or the Plan Supplement shall
be or shall be deemed to be an admission or waiver of any rights of any Debtor with respect to the Holders
of Claims or Interests before the Effective Date.

E.      Successors and Assigns

         The rights, benefits, and obligations of any Entity named or referred to in this Plan shall be binding
on, and shall inure to the benefit of any heir, executor, administrator, successor or assign, Affiliate, officer,
director, agent, Representative, attorney, beneficiaries, or guardian, if any, of each Entity.

F.      No Successor Liability

       Except as otherwise expressly provided in this Plan and the Combined Order, each of the
Reorganized Debtors (1) is not, and shall not be deemed to assume, agree to perform, pay, or otherwise
have any responsibilities for any liabilities or obligations of the Debtors or any other Person relating to or


                                                       65
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 188 of 569



arising out of the operations or the assets of the Debtors on or before the Effective Date, (2) is not, and shall
not be, a successor to the Debtors by reason of any theory of law or equity or responsible for the knowledge
or conduct of any Debtor before the Effective Date, and (3) shall not have any successor or transferee
liability of any kind or character.

G.      Service of Documents

        After the Effective Date, any pleading, notice, or other document required by this Plan to be served
on or delivered to the Reorganized Debtors shall also be served on:

                      Debtors                                         Counsel to the Debtors
 The Container Store Group, Inc.                       Hunton Andrews Kurth LLP
 500 Freeport Parkway,                                 600 Travis Street, Suite 4200
 Coppell, TX 75019                                     Houston, TX 77002
 Attn: Tasha Grinnell                                  Attn: Timothy A. (“Tad”) Davidson II, Ashley L.
                                                       Harper, Philip M. Guffy
                                                       and
                                                       Latham & Watkins LLP
                                                       1271 Avenue of the Americas
                                                       New York, NY 10020
                                                       Attn: George A. Davis, Hugh Murtagh
                                                       and
                                                       Latham & Watkins LLP
                                                       355 South Grand Avenue, Suite 100
                                                       Los Angeles, CA 90071
                                                       Attn: Ted A. Dillman

              United States Trustee                               Counsel to the Ad Hoc Group
 Office of the United States Trustee for the           Paul Hastings LLP
 Southern District of Texas                            200 Park Avenue
 Trustee 515 Rusk Street, Suite 3516                   New York, NY 10166
 Houston, TX 77002                                     Attn: Jayme Goldstein, Isaac Sasson, William Reily,
 Attn: Ha Nguyen, Vianey Garza                         Leonie Koch

                                                       and

                                                       Paul Hastings LLP
                                                       600 Travis Street, Floor 58
                                                       Houston, TX, 77002
                                                       Attn: Schlea Thomas

                                                       and

                                                       Paul Hastings LLP
                                                       2001 Ross Avenue, Suite 2700
                                                       Dallas, TX 75201
                                                       Attn: Charles Persons



                                                       66
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 189 of 569




     Counsel to the DIP Term Loan Agents                      Counsel to DIP ABL Loan Agent
 Paul Hastings LLP                                   Riemer & Braunstein LLP,
 200 Park Avenue                                     Times Square Tower, Seven Times Square, Suite
 New York, NY 10166                                  2506
 Attn: Alex Cota, Liz Loonam                         New York, NY 10036
                                                     Attn: Donald E. Rothman

                                                     and

                                                     Frost Brown Todd LLP
                                                     2101 Cedar Springs Road, Suite 900
                                                     Dallas, TX 75201
                                                     Attn: Rebecca L. Matthews

H.      Term of Injunctions or Stays

        Unless otherwise provided in this Plan or in the Combined Order, all injunctions or stays in effect
in the Chapter 11 Cases pursuant to sections 105 or 362 of the Bankruptcy Code or any order of the
Bankruptcy Court, and extant on the Confirmation Date (excluding any injunctions or stays contained in
this Plan or the Combined Order) shall remain in full force and effect until the Effective Date. All
injunctions or stays contained in this Plan or the Combined Order shall remain in full force and effect in
accordance with their terms.

I.      Entire Agreement

        On the Effective Date, this Plan and the Plan Supplement supersede all previous and
contemporaneous negotiations, promises, covenants, agreements, understandings, and representations on
such subjects, all of which have become merged and integrated into this Plan.

J.      Governing Law

         Unless a rule of law or procedure is supplied by federal law (including the Bankruptcy Code and
Bankruptcy Rules) or unless otherwise specifically stated, the laws of the State of New York, without giving
effect to the principles of conflict of laws, shall govern the rights, obligations, construction, and
implementation of this Plan, the Plan Supplement, and any agreements, documents, instruments, or
contracts executed or entered into in connection with this Plan (except as otherwise set forth in those
agreements, in which case the governing law of such agreement shall control), and corporate governance
matters; provided, that corporate governance matters relating to Debtors or Reorganized Debtors, as
applicable, not incorporated in New York shall be governed by the laws of the jurisdiction of incorporation
of the applicable Debtor or Reorganized Debtor, as applicable.

K.      Exhibits

         All exhibits and documents included in the Plan Supplement are incorporated into and are a part of
this Plan as if set forth in full in this Plan. Except as otherwise provided in this Plan, such exhibits and
documents included in the Plan Supplement shall initially be Filed with the Bankruptcy Court on or before
the Plan Supplement Filing Date. After the exhibits and documents are Filed, copies of such exhibits and
documents shall have been available upon written request to the Debtors’ counsel at the address above or
by downloading such exhibits and documents from the Debtors’ restructuring website at
https://www.veritaglobal.net/thecontainerstore       or     the    Bankruptcy      Court’s    website      at
www.txs.uscourts.gov. To the extent any exhibit or document is inconsistent with the terms of this Plan,



                                                     67
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 190 of 569



unless otherwise ordered by the Bankruptcy Court, the non-exhibit or non-document portion of this Plan
shall control.

L.      Nonseverability of Plan Provisions upon Confirmation

         If, before Confirmation, any term or provision of this Plan is held by the Bankruptcy Court to be
invalid, void, or unenforceable, the Bankruptcy Court shall have the power to alter and interpret such term
or provision to make it valid or enforceable to the maximum extent practicable, consistent with the original
purpose of the term or provision held to be invalid, void or unenforceable, and such term or provision shall
then be applicable as altered or interpreted; provided, that any such alteration or interpretation shall be
acceptable to the Debtors and the Required Consenting Term Lenders. Notwithstanding any such holding,
alteration, or interpretation, the remainder of the terms and provisions of this Plan shall remain in full force
and effect and shall in no way be affected, impaired, or invalidated by such holding, alteration, or
interpretation. The Combined Order shall constitute a judicial determination and shall provide that each
term and provision of this Plan, as it may have been altered or interpreted in accordance with the foregoing,
is: (1) valid and enforceable pursuant to its terms; (2) integral to this Plan and may not be deleted or
modified without the consent of the Debtors; and (3) nonseverable and mutually dependent.

M.      Closing of Chapter 11 Cases

        The Reorganized Debtors shall, promptly after the full administration of the Chapter 11 Cases, File
with the Bankruptcy Court all documents required by Bankruptcy Rule 3022 and any applicable order of
the Bankruptcy Court to close the Chapter 11 Cases.

N.      Conflicts

         To the extent that any provision of the Transaction Support Agreement, the Disclosure Statement,
or any order entered before Confirmation (for avoidance of doubt, not including the Combined Order)
referenced in this Plan (or any exhibits, appendices, supplements, or amendments to any of the foregoing),
conflict with or are in any way inconsistent with any provision of this Plan, this Plan shall govern and
control; provided, however, that the parties to the Transaction Support Agreement shall use commercially
reasonable efforts to eliminate any such inconsistency by agreement prior to the provisions of this section
becoming applicable and enforceable; provided, further, that the foregoing shall not abrogate any party’s
consent rights. To the extent that any provision of this Plan conflicts with or is in any way inconsistent
with any provision of the Combined Order, the Combined Order shall govern and control.

O.      No Strict Construction

        This Plan is the product of extensive discussions and negotiations between and among, inter alia,
the Debtors, the Consenting Stakeholders, and their respective professionals. Each of the foregoing was
represented by counsel of its choice who either participated in the formulation and documentation of, or
was afforded the opportunity to review and provide comments on, this Plan and the Disclosure Statement,
the exhibits and schedules thereto, and the other agreements and documents ancillary or related thereto.
Accordingly, unless explicitly indicated otherwise, the general rule of contract construction known as
“contra proferentem” or other rule of strict construction shall not apply to the construction or interpretation
of any provision of this Plan and the Disclosure Statement, the exhibits and schedules thereto, and the other
agreements and documents ancillary or related thereto.

P.      Section 1125(e) Good Faith Compliance

        The Debtors, the Reorganized Debtors, the Consenting Term Lenders, and each of their respective
current and former officers, directors, members (including ex officio members), managers, employees,
partners, advisors, attorneys, professionals, accountants, investment bankers, investment advisors,


                                                      68
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 191 of 569



actuaries, Affiliates, financial advisors, consultants, agents, and other Representatives of each of the
foregoing Entities (whether current or former, in each case in his, her or its capacity as such) have, and
upon Confirmation shall be deemed to have, solicited votes on this Plan from the Voting Classes in
compliance with the applicable provisions of the Bankruptcy Code, and any applicable non-bankruptcy
law, rule or regulation governing the adequacy of disclosure in connection with the solicitation, and acted
in “good faith” under section 1125(e) of the Bankruptcy Code; and therefore, no such parties, individuals,
or the Debtors or the Reorganized Debtors shall have any liability for the violation of any applicable law,
rule, or regulation governing the solicitation of votes on this Plan or the offer, issuance, sale, or purchase
of the Securities offered and sold under this Plan.

Q.      2002 Notice Parties

         After the Effective Date, the Debtors and the Reorganized Debtors, as applicable, are authorized to
limit the list of Entities receiving documents pursuant to Bankruptcy Rule 2002 to those Entities who have
Filed a renewed request after the Combined Hearing to receive documents pursuant to Bankruptcy Rule
2002.




                                                     69
Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 192 of 569




 Respectfully submitted, as of the date first set forth above,

                                     The Container Store Group, Inc.
                                     (on behalf of itself and all other Debtors)

                                     By:       /s/ Chad E. Coben
                                     Name:     Chad E. Coben
                                     Title:    Chief Restructuring Officer




                                              70
Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 193 of 569



                               Exhibit B

                     Transaction Support Agreement
   Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 194 of 569
                                                            Execution Version


                THE CONTAINER STORE GROUP, INC., ET AL.

                   TRANSACTION SUPPORT AGREEMENT

                             December 21, 2024

THIS TRANSACTION SUPPORT AGREEMENT AND THE DOCUMENTS ATTACHED TO THIS
TRANSACTION SUPPORT AGREEMENT COLLECTIVELY DESCRIBE A PROPOSED
RESTRUCTURING AND RECAPITALIZATION OF THE CONTAINER STORE GROUP, INC., A
DELAWARE CORPORATION, AND CERTAIN OF ITS SUBSIDIARIES ON THE TERMS AND
CONDITIONS SET FORTH ON EXHIBIT B ATTACHED TO THIS AGREEMENT.

THIS TRANSACTION SUPPORT AGREEMENT IS NOT AN OFFER, AN ACCEPTANCE, OR A
SOLICITATION WITH RESPECT TO ANY SECURITIES OR A SOLICITATION OF
ACCEPTANCES OF A CHAPTER 11 PLAN WITHIN THE MEANING OF SECTION 1125 OR
SECTION 1126 OF THE BANKRUPTCY CODE. ANY SUCH OFFER, ACCEPTANCE, OR
SOLICITATION WILL COMPLY WITH ALL APPLICABLE LAWS, INCLUDING APPLICABLE
SECURITIES LAWS AND/OR PROVISIONS OF THE BANKRUPTCY CODE.

THIS TRANSACTION SUPPORT AGREEMENT IS A SETTLEMENT PROPOSAL TO CERTAIN
HOLDERS OF COMPANY CLAIMS/INTERESTS IN FURTHERANCE OF SETTLEMENT
DISCUSSIONS.   ACCORDINGLY, THIS TRANSACTION SUPPORT AGREEMENT IS
PROTECTED BY RULE 408 OF THE FEDERAL RULES OF EVIDENCE AND ANY OTHER
APPLICABLE STATUTES OR DOCTRINES PROTECTING THE USE OR DISCLOSURE OF
CONFIDENTIAL SETTLEMENT DISCUSSIONS.      NOTHING CONTAINED IN THIS
TRANSACTION SUPPORT AGREEMENT SHALL CONSTITUTE OR BE CONSTRUED TO BE
AN ADMISSION OF FACT OR LIABILITY OR, UNTIL THE OCCURRENCE OF THE TSA
EFFECTIVE DATE ON THE TERMS DESCRIBED HEREIN, DEEMED BINDING ON ANY OF
THE PARTIES HERETO.

THIS TRANSACTION SUPPORT AGREEMENT DOES NOT PURPORT TO SUMMARIZE ALL OF
THE TERMS, CONDITIONS, REPRESENTATIONS, WARRANTIES, AND OTHER PROVISIONS
WITH RESPECT TO THE TRANSACTIONS DESCRIBED IN THIS TRANSACTION SUPPORT
AGREEMENT, WHICH TRANSACTIONS WILL BE SUBJECT TO THE COMPLETION OF
DEFINITIVE DOCUMENTS INCORPORATING THE TERMS AND CONDITIONS SET FORTH IN
THIS TRANSACTION SUPPORT AGREEMENT, AND THE CLOSING OF ANY TRANSACTION
SHALL BE SUBJECT TO THE TERMS AND CONDITIONS SET FORTH IN SUCH DEFINITIVE
DOCUMENTS AND THE APPROVAL RIGHTS OF THE PARTIES SET FORTH HEREIN AND IN
SUCH DEFINITIVE DOCUMENTS.

UNTIL THE TSA EFFECTIVE DATE, THIS TRANSACTION SUPPORT AGREEMENT SHALL
REMAIN CONFIDENTIAL AND SUBJECT IN ALL RESPECTS TO THE CONFIDENTIALITY
AGREEMENTS ENTERED INTO BY THE COMPANY PARTIES AND THE CONSENTING
STAKEHOLDERS (INCLUDING BUT NOT LIMITED TO ANY OBLIGATION TO INCLUDE THIS
TRANSACTION SUPPORT AGREEMENT IN ANY CLEANSING MATERIALS), AND MAY NOT
BE SHARED WITH ANY THIRD PARTY OTHER THAN AS SET FORTH IN SUCH
CONFIDENTIALITY AGREEMENTS.
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 195 of 569



         This TRANSACTION SUPPORT AGREEMENT (including all exhibits, annexes, and schedules
to this agreement in accordance with Section 17.02 of this agreement, this “Agreement”) is made and
entered into as of December 21, 2024 (the “Execution Date”), by and among the following parties, each
in the respective capacity set forth on its signature page to this Agreement (each of the following
described in sub-clauses (i) through (iii) of this preamble, a “Party” and, collectively, the “Parties”):1

        i.        The Container Store Group, Inc., a Delaware corporation (“TCSG” or the “Company”),
                  and each of the Company’s subsidiaries listed on Exhibit A to this Agreement that have
                  executed and delivered, or, in the future, executes and delivers, counterpart signature pages
                  to this Agreement (collectively with the Company, the “Company Parties”);

        ii.       the undersigned holders (or beneficial holders) of, or nominees, investment managers,
                  investment advisors, or subadvisors to or managers of funds, accounts and/or subaccounts
                  that beneficially hold, or trustees of trusts that beneficially hold, outstanding Term Loan
                  Claims in an aggregate amount exceeding two-thirds of the total amount of such claims
                  that have executed and delivered counterpart signature pages to this Agreement, or
                  signature pages to a Joinder or Transfer Agreement (as applicable), to counsel to the
                  Company Parties and counsel to the Consenting Term Lenders (collectively,
                  the “Consenting Term Lenders”); and

        iii.      the undersigned holders (or beneficial holders) of, or nominees, investment managers,
                  investment advisors, or subadvisors to or managers of funds, accounts and/or subaccounts
                  that beneficially hold, or trustees of trusts that beneficially hold Existing Equity Interests
                  that have executed and delivered counterpart signature pages to this Agreement, or
                  signature pages to a Joinder or Transfer Agreement (as applicable) to counsel to the
                  Company Parties and counsel to the Consenting Term Lenders (collectively,
                  the “Consenting Stockholder Parties,” and, together with the Consenting Term Lenders,
                  the “Consenting Stakeholders”).

                                                       RECITALS

         WHEREAS, the Parties have in good faith and at arm’s length negotiated or been apprised of
certain restructuring and recapitalization transactions with respect to the Company Parties’ capital structure
to be implemented pursuant to the Plan on the terms set forth in this Agreement and as specified in the
transaction term sheet attached as Exhibit B hereto (the “Transaction Term Sheet”, and together with the
DIP Term Loan Facility Term Sheet, Exit Term Loan Term Sheet, the DIP & Exit ABL Commitment Letter
and Governance Term Sheet, including all exhibits, annexes, and schedules thereto, collectively the “Term
Sheets”, and such transactions as described in this Agreement (including the Term Sheets) and the
Definitive Documents, in each case, as may be amended, supplemented, or otherwise modified from time
to time in accordance with the terms of this Agreement, and including all exhibits, annexes, and schedules
thereto, collectively, the “Transactions”);

        WHEREAS, the Company Parties and the Consenting Stakeholders have agreed to the principal
economic terms of the Transactions that shall be consummated in accordance with the terms and subject to
the conditions set forth in the Transaction Term Sheet, and upon the execution of, Definitive Documents




1   Capitalized terms used but not defined in the preamble and recitals to this Agreement have the meanings ascribed to them in
    Section 1 or the Transaction Term Sheet as applicable.
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 196 of 569



containing terms consistent with those set forth in the Transaction Term Sheet and such other terms as
agreed to by the Parties;

        WHEREAS, the Parties have agreed to support the Transactions subject to and in accordance with
the terms of this Agreement (including the Transaction Term Sheet) and desire to work together to complete
the negotiation of the Definitive Documents and each of the actions necessary or desirable to effect the
Transactions;

      WHEREAS, the Parties have agreed to grant the Releases in accordance with this Agreement upon
consummation of the Transactions;

        WHEREAS, the Parties have agreed to take certain actions in support of the Transactions, all in
accordance with the terms and conditions set forth in this Agreement (including in the Transaction Term
Sheet) and the Definitive Documents; and

        WHEREAS, the DIP ABL Lender has agreed to provide the DIP ABL Facility pursuant to and
substantially on the terms set forth in, the DIP & Exit ABL Commitment Letter, the proceeds of which shall
be used to refinance the ABL Facility in full in cash.

        NOW, THEREFORE, in consideration of the covenants and agreements contained in
this Agreement, and for other valuable consideration, the receipt and sufficiency of which are
acknowledged, each Party, intending to be legally bound, agrees as follows:

                                              AGREEMENT

Section 1.      Definitions and Interpretation.

        1.01.   Definitions. The following terms shall have the following definitions:

        “ABL Claims” means any Claim on account of ABL Loans arising under or pursuant to the ABL
Credit Agreement.

        “ABL Credit Agreement” means that certain Credit Agreement, dated as of April 6, 2012, as
amended by that certain Amendment No. 1 on April 8, 2013, that certain Amendment No. 2 on October 8,
2015, that certain Amendment No. 3, dated as of May 20, 2016, that certain Amendment No. 4, dated as of
August 18, 2017, that certain Amendment No. 5, dated as of November 25, 2020, and that certain
Amendment No. 6, dated as of May 22, 2023 (as amended, restated, amended and restated, modified, or
supplemented from time to time in accordance with the terms thereof).

       “ABL Facility” means the senior secured asset based revolving credit facility provided by the ABL
Lenders under the ABL Credit Agreement.

       “ABL Lenders” means holders of, or nominees, investment managers, investment advisors, or
subadvisors to funds and/or accounts that hold, or trustees of trusts that hold, the outstanding ABL Claims.

        “ABL Loans” means the loans arising under or pursuant to the ABL Credit Agreement, plus, any
accrued but unpaid fees and interest in respect thereof.

       “Ad Hoc Group” means that certain ad hoc group of holders of Term Loan Claims represented
and advised by the Ad Hoc Group Advisors.



                                                     3
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 197 of 569



       “Ad Hoc Group Advisors” means Paul Hastings LLP, AlixPartners, LLP, Greenhill & Co., LLC,
and such other professional advisors as are or may be retained by the Ad Hoc Group with the consent of
the Company Parties (not to be unreasonably withheld).

        “Affiliates” has the meaning set forth in section 101(2) of the Bankruptcy Code as if such Entity
were a debtor in a case under the Bankruptcy Code.

         “Agreement” has the meaning set forth in the preamble to this Agreement and, for the avoidance
of doubt, includes all exhibits, annexes, and schedules to this Agreement in accordance with Section 17.02
of this Agreement (including the Term Sheets).

        “Agreement Effective Period” means, with respect to a Party, the period from the TSA Effective
Date (or such later date such Party becomes a Party to this Agreement by executing a Joinder or Transfer
Agreement) to the Termination Date applicable to that Party.

         “Alternative Transaction” means any sale, disposition, new-money investment, restructuring,
reorganization, merger, amalgamation, acquisition, consolidation, dissolution, debt investment, equity
investment, share issuance, consent solicitation, financing (including any debtor-in-possession financing or
exit financing), use of cash collateral, joint venture, partnership, liquidation or winding up, tender offer,
exchange offer, recapitalization, plan of reorganization or liquidation, share exchange, business
combination, or similar transaction involving any one or more Company Parties or any Affiliates of the
Company Parties, or a Claim against or Interest or other interests in any one or more Company Parties or
any Affiliates of the Company Parties, that is an alternative to one or more of the Transactions. For the
avoidance of doubt, an Alternative Transaction Proposal shall not include (a) any transactions contemplated
by the DIP Facilities, the DIP/Cash Collateral Orders, or the DIP Budget, (b) the Transactions pursuant to
this Agreement, the Term Sheets, and the Plan, (c) ordinary course debt financing from vendors entered
into for trade and sales of inventory purposes consistent with prepetition past practices or ordinary course
asset sales, or (d) any transactions solely among any of the Company Parties.

         “Alternative Transaction Proposal” means any material plan, inquiry, proposal, offer, bid, term
sheet or agreement, whether written or oral, with respect to an Alternative Transaction.

      “Bankruptcy Code” means Title 11 of the United States Code, 11 U.S.C. §§ 101–1532, as
amended.

        “Bankruptcy Court” means the United States Bankruptcy Court for the Southern District of
Texas, Houston Division.

        “Business Day” means any day other than a Saturday, Sunday, or other day on which commercial
banks are authorized to close under the Laws of, or are in fact closed in, the state of New York.

          “Causes of Action” means any action, Claim, cross-claim, third-party claim, cause of action,
controversy, dispute, demand, right, lien, indemnity, contribution, interest, guaranty, suit, obligation,
liability, loss, debt, fee or expense, damage, judgment, cost, account, defense, offset, power, privilege,
proceeding, franchise, remedy, and license of any kind or character whatsoever, whether known or
unknown, seen or unforeseen, contingent or non-contingent, matured or unmatured, suspected or
unsuspected, liquidated or unliquidated, disputed or undisputed, secured or unsecured, assertable directly
or derivatively (including any alter ego theories), whether arising before, on, or after the date hereof, as
applicable, in contract or in tort, in law (whether local, state, or federal U.S. or non-U.S. Law) or in equity,
or pursuant to any other theory of local, state, or federal U.S. or non-U.S. Law. For the avoidance of doubt,
“Causes of Action” include: (a) any right of setoff, counterclaim, or recoupment; (b) any Claim based on

                                                       4
         Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 198 of 569



or relating to, or in any manner arising from, in whole or in part, tort, breach of contract, breach of fiduciary
duty, actual or constructive fraudulent transfer or fraudulent conveyance or voidable transaction or similar
Law, violation of local, state, or federal or non-U.S. Law or breach of any duty imposed by Law or in
equity, including securities Laws, negligence, and gross negligence; (c) any Claim pursuant to section 362
or chapter 5 of the Bankruptcy Code or similar local, state, or federal U.S. or non-U.S. Law; (d) any Claim
or defense including fraud, mistake, duress, and usury, and any other defenses set forth in section 558 of
the Bankruptcy Code; (e) any avoidance actions relating to or arising from any state or foreign Law
pertaining to any avoidance action, including preferential transfer, actual or constructive fraudulent transfer,
fraudulent conveyance, or similar Claim; (f) the right to object to or otherwise contest Claims or Interests;
and (g) any “lender liability” or equitable subordination Claims or defenses.

       “Chapter 11 Cases” means the voluntary cases that are commenced under chapter 11 of the
Bankruptcy Code in the Bankruptcy Court to effectuate the Transactions pursuant to the Plan.

          “Claim” means any claim, as defined in section 101(5) of the Bankruptcy Code.

          “Commitment Premium” has the meaning set forth in the DIP Term Loan Facility Term Sheet.

          “Company” has the meaning set forth in the preamble to this Agreement.

          “Company Claims/Interests” means, collectively, any Claim against or Interest in a Company
Party.

          “Company Parties” has the meaning set forth in the preamble to this Agreement.

         “Confidentiality Agreement” means an executed confidentiality agreement with a Company
Party, including with respect to the issuance of a “cleansing letter” or other agreement regarding the public
disclosure of material non-public information, in connection with any proposed Transaction.

        “Confirmation Order” means the order of the Bankruptcy Court confirming the Plan under
section 1129 of the Bankruptcy Code, which Confirmation Order shall be consistent with this Agreement
and the Definitive Documents and shall not have been stayed.

          “Consenting Stakeholders” has the meaning set forth in the preamble to this Agreement.

          “Consenting Stockholder Party” has the meaning set forth in the preamble to this Agreement.

        “Consenting Stockholder Party Matters” means any Definitive Document that materially and
adversely affects the rights, entitlements, or releases proposed to be granted to the Consenting Stockholder
Parties or the obligations of the Consenting Stockholder Parties in this Agreement, the Transaction Term
Sheet, or the Plan.

          “Consenting Term Lenders” has the meaning set forth in the preamble to this Agreement.

          “Debtors” means the Company Parties that commence Chapter 11 Cases.

        “Definitive Documents” means all of the definitive documents implementing the Transactions,
including those set forth in Section 3.01 of this Agreement, and, in each case, any amendments,
modifications, and supplements thereto and any related notes, certificates, agreements, documents, and
instruments (as applicable), each of which shall be subject to the consent rights provided in Section 3.02
hereof.


                                                       5
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 199 of 569



       “DIP & Exit ABL Commitment Letter” means the debtor-in-possession revolving credit facility
commitment letter and Exit ABL Credit Agreement commitment letter attached as Exhibit 5 to the
Transaction Term Sheet (including all annexes, exhibits, schedules and other attachments thereto).

        “DIP ABL Credit Agreement” means that certain Senior Secured Superpriority Debtor-In-
Possession Revolving Credit Agreement in respect of the DIP ABL Credit Facility, substantially in the form
attached to the DIP & Exit ABL Commitment Letter, as amended, restated, amended and restated, modified
or supplemented for time to time in accordance with the terms thereof.

      “DIP ABL Facility” means the debtor-in-possession revolving credit facility provided by the DIP
ABL Lenders.

        “DIP ABL Lender” means Eclipse Business Capital LLC.

         “DIP ABL Loan Agent” means Eclipse Business Capital LLC, as the administrative agent and
collateral agent under the DIP ABL Credit Agreement.

        “DIP ABL Loan Claims” means any Claim on account of loans and any other obligations arising
under or pursuant to the DIP ABL Credit Agreement.

        “DIP ABL Loans” means the loans under the DIP ABL Facility.

       “DIP Backstop Allocation Schedule” means the DIP Allocation Schedule attached to the
Transaction Term Sheet as Exhibit 3 thereto.

        “DIP Backstop Parties” has the meaning set forth in the Transaction Term Sheet.

        “DIP Budget” has the meaning set forth in the DIP Term Loan Facility Term Sheet.

        “DIP Credit Agreements” means (i) the DIP ABL Credit Agreement and (ii) the DIP Term Loan
Credit Agreement.

        “DIP Facilities” means (i) the DIP Term Loan Facility and (ii) the DIP ABL Facility.

        “DIP Facilities Documents” means the Fronting Letter, Master Consent to Assignment, and
Syndication Procedures, DIP/Cash Collateral Motions, the DIP/Cash Collateral Orders, DIP Budget and
the DIP Credit Agreements, together with all other related documents, instruments, and agreements
delivered or entered into in respect of the DIP Facilities, including, without limitation, and payoff letter in
respect of the ABL Facility, any guarantee agreements, pledge and collateral agreements, intercreditor
agreements, and other security documents, in each case, as amended, restated, amended and restated,
modified, or supplemented from time to time in accordance with the terms thereof.

        “DIP Term Loan Agent” means Acquiom Agency Services LLC and Seaport Loan Products LLC,
as co-administrative agent and Acquiom Agency Services LLC collateral agent under the DIP Term Loan
Credit Agreement.

         “DIP Term Loan Credit Agreement” means that certain Senior Secured Super-Priority Priming
Term Loan Debtor-in-Possession Credit Agreement in respect of the DIP Term Loan Facility, as amended,
restated, amended and restated, modified, or supplemented from time to time in accordance with the terms
thereof.



                                                      6
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 200 of 569



        “DIP Term Loan Facility” means the senior secured debtor-in-possession credit facility provided
by the DIP Term Lenders under the DIP Term Loan Credit Agreement.

        “DIP Term Lenders” has the meaning set forth in the DIP Term Loan Facility Term Sheet.

        “DIP Term Loans” has the meaning set forth in the DIP Term Loan Facility Term Sheet.

        “DIP Term Loan Facility Term Sheet” means the debtor in possession financing term sheet
attached as Exhibit 1 to the Transaction Term Sheet.

        “DIP/Cash Collateral Motions” means the motions seeking approval of the Company Parties’ use
of cash collateral and requesting approval to obtain debtor-in-possession financing on the terms set forth in
the Transaction Term Sheet and the DIP Facilities Documents.

       “DIP/Cash Collateral Orders” means the Interim DIP/Cash Collateral Order and the Final
DIP/Cash Collateral Order.

        “Disclosure Statement” means the disclosure statement in respect of the Plan, including all
exhibits and schedules thereto.

        “Disclosure Statement Motion” means the motion filed with the Bankruptcy Court seeking entry
of the Disclosure Statement Order.

         “Disclosure Statement Order” means the order (and all exhibits thereto) entered by the
Bankruptcy Court approving the adequacy of information in the Disclosure Statement and approving the
Solicitation Materials and the notice of and solicitation of votes on the Plan, which order may be entered
on a conditional or final basis and may be the Confirmation Order.

        “Entity” has the meaning the set forth in section 101(15) of the Bankruptcy Code.

        “Equity Premium” has the meaning set forth in the Transaction Term Sheet.

        “Exchange Act” means the Securities Exchange Act of 1934, as amended.

        “Execution Date” has the meaning set forth in the preamble to this Agreement.

         “Existing Equity Interests” means any issued, unissued, authorized, or outstanding shares or
common stock, preferred shares, or other instrument evidencing an ownership interest in TCSG, whether
or not transferable, together with any warrants, equity-based awards, or contractual rights to purchase or
acquire such equity interests (including under any employment or benefits agreement) at any time and all
rights arising with respect thereto that exist immediately before the Plan Effective Date.

        “Existing Intercreditor Agreement” means that certain Intercreditor Agreement, dated as of April
6, 2012, as amended by that certain Amendment No. 1 as of April 8, 2013, relating to the Term Loans, and
the ABL Facility, as amended, restated, modified, or supplemented from time to time.

      “Existing Stockholders Agreement” means that certain Amended and Restated Stockholders
Agreement, dated as of November 6, 2013, among the Company and the stockholders named therein.

        “Exit ABL Loans” has the meaning set forth in the Exit Term Loan Term Sheet.



                                                     7
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 201 of 569



        “Exit ABL Credit Agreement” means the credit agreement between Reorganized TCSG or its
subsidiaries or Affiliates, as applicable, and the lenders party thereto to effectuate the issuance of the Exit
ABL Loans.

        “Exit Facilities” means the facilities under which the Exit ABL Loans and Exit Term Loans shall
be issued.

        “Exit Facilities Agents” means, collectively, the administrative agent and collateral agent
appointed under each of the Exit Facilities.

       “Exit Facilities Documents” means the DIP & Exit ABL Commitment Letter, the Exit Term Loan
Documents, and the Exit Intercreditor Agreement, together with all other related documents, instruments,
and agreements in respect of the Exit Facilities, in each case, as amended, restated, modified, or
supplemented from time to time.

        “Exit Intercreditor Agreement” means the intercreditor agreement(s) to be effective as of the
Plan Effective Date relating to the Exit Facilities.

         “Exit Term Loan Credit Agreement” means the credit agreement between Reorganized TCSG
or its subsidiaries or Affiliates, as applicable, and the lenders party thereto to effectuate the issuance of the
Exit Term Loans.

        “Exit Term Loan Documents” means the Exit Term Loan Credit Agreement and together with all
other related documents, instruments, and agreements in respect of the Exit Term Loans, in each case, as
amended, restated, modified, or supplemented from time to time.

         “Exit Term Loan Term Sheet” means the exit term loan financing term sheet attached as Exhibit
2 to the Transaction Term Sheet.

        “Exit Term Loans” has the meaning set forth in the Exit Term Loan Term Sheet.

        “Fiduciary Out” has the meaning set forth in Section 8.02 of this Agreement.

        “Final DIP/Cash Collateral Order” means any order (and all exhibit and schedules thereto,
including any budget) entered by the Bankruptcy Court on a final basis: (a) approving the DIP Facilities,
the DIP Facilities Documents, and the DIP/Cash Collateral Motions; (b) authorizing the Company Parties’
use of cash collateral; and (c) providing for adequate protection of secured creditors.

        “Final Order” means, as applicable, an order or judgment of a court of competent jurisdiction with
respect to the relevant subject matter that has not been reversed, stayed, modified, or amended, and as to
which the time to appeal or seek certiorari has expired and no appeal or petition for certiorari has been
timely taken, or as to which any appeal that has been taken or any petition for certiorari that has been or
may be filed has been resolved by the highest court to which the order or judgment could be appealed or
from which certiorari could be sought or a new trial, reargument or rehearing shall have been denied,
resulted in no modification of such order, or has otherwise been dismissed with prejudice.

       “First Day Pleadings” means any first-day, pleadings, and related orders that the Company Parties
determine are necessary or desirable to file upon the commencement of the Chapter 11 Cases with the
Bankruptcy Court.

        “Fronting Letter” has the meaning as assigned in the DIP Term Loan Facility Term Sheet.


                                                       8
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 202 of 569



       “Governance Term Sheet” means the Governance Term Sheet attached as Exhibit 4 to the
Transaction Term Sheet.

        “Governmental Body” means any U.S. or non-U.S. federal, state, municipal, or other government,
or other department, commission, board, bureau, agency, public authority, or instrumentality thereof, or
any other U.S. or non-U.S. court or arbitrator.

         “Interest” means, collectively, the shares (or any class thereof), common stock, preferred stock,
limited liability company interests, membership interests, and any other equity, ownership, or profits
interests in any Company Party, and options, warrants, rights, stock appreciation rights, phantom units,
incentives, commitments, calls, redemption rights, repurchase rights, or other securities or arrangements to
acquire or subscribe for, or which are convertible into, or exercisable or exchangeable for, the shares (or
any class thereof) of, common stock, preferred stock, limited liability company interests, membership
interests, or any other equity, ownership, or profits interests in any Company Party or its Affiliates and
subsidiaries (in each case whether or not arising under or in connection with any employment agreement).

        “Interim DIP/Cash Collateral Order” means any order (and all exhibit and schedules thereto,
including any budget) entered by the Bankruptcy Court on an interim basis: (a) approving the DIP Facilities,
the DIP Facilities Documents, and the DIP/Cash Collateral Motions; (b) authorizing the Company Parties’
use of cash collateral; and (c) providing for adequate protection of secured creditors.

         “Joinder” means a joinder to this Agreement substantially in the form attached to this Agreement
as Exhibit C providing, among other things, that such Person signatory thereto is bound by the terms of this
Agreement to the extent provided therein. For the avoidance of doubt, any party that executes a Joinder
shall be a “Party” under this Agreement to the extent provided therein.

        “Joinder Party” means any party that executes a Joinder.

         “Law” means any federal, state, local, or non-U.S. law (including, in each case, any common law),
statute, code, ordinance, rule, regulation, decree, injunction, order, ruling, assessment, writ or other legal
requirement, or judgment, in each case, that is validly adopted, promulgated, issued, or entered by a
Governmental Body of competent jurisdiction.

        “Launch” has the meaning set forth in Section 4.01(e) of this Agreement.

        “Management Conference Call” has the meaning set forth in Section 7.01(o) of this Agreement.

         “Master Consent to Assignment” means the master consent to assignment entered into pursuant
to section 11.06 of the DIP Term Loan Credit Agreement.

        “Milestones” has the meaning set forth in Section 4 of this Agreement.

        “Modification/Waiver” has the meaning set forth in Section 15.02.

        “New Equity Interests” has the meaning ascribed to such term in the Transaction Term Sheet.

       “New Money DIP Term Loans” means new money loans in an original aggregate principal
amount of $40 million (plus all fees payable in kind) provided by the DIP Lenders under the DIP Term
Loan Credit Agreement.




                                                      9
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 203 of 569



        “New Organizational Documents” means the new Organizational Documents of Reorganized
TCSG and its direct or indirect subsidiaries, after giving effect to the Transactions, as applicable, including
any shareholders agreement, limited liability company agreement, or similar document in each case,
consistent with the terms and conditions set forth in this Agreement, including the Governance Term Sheet.

        “NOL Order” has the meaning set forth in Section 7.01(j) of this Agreement.

        “Organizational Documents” means, with respect to any Person other than a natural person, the
organizational and governance documents for each such Person, including, without limitation, certificates
of incorporation, certificates of formation, certificates of limited partnership, articles of organization (or
equivalent organizational documents), certificates of designation for preferred stock or other forms of
preferred equity, by-laws, partnership agreements, operating agreements, limited liability company
agreements, shareholders’ agreements, members’ agreement (or equivalent governing documents).

       “Outside Date” means March 1, 2025, or such later date as agreed in writing between the Required
Consenting Term Lenders and Company Parties.

        “Parties” has the meaning set forth in the preamble to this Agreement.

        “Permitted Transferee” means each transferee of any Company Claims/Interests that meets the
requirements of Section 9.01 of this Agreement (and any other applicable provision herein that pertains to
such Transfers).

        “Person” means an Entity, an individual, a partnership, a joint venture, a limited liability company,
a corporation, a trust, an unincorporated organization, a group, a Governmental Body, or any legal Entity
or association.

        “Petition Date” means the first date any of the Debtors commence a Chapter 11 Case.

        “Plan” means the joint prepackaged plan filed by the Debtors under chapter 11 of the Bankruptcy
Code substantially in the form attached to this Agreement as Exhibit E that embodies the Transactions, is
consistent in all material respects with the Transaction Term Sheet, including all exhibits, annexes,
schedules, and supplements thereto, each as may be amended, supplemented, or modified from time to time,
including the Plan Supplement.

        “Plan Effective Date” means the date on which all conditions to consummation of the Plan have
been satisfied in full or waived, in accordance with the terms of the Plan, and the Plan becomes effective.

        “Plan Supplement” means one or more supplemental appendices to the Plan, which shall include,
among other things, draft forms of documents (or terms sheets thereof), schedules, and exhibits to the Plan,
in each case subject to the provisions of this Agreement, the Transaction Term Sheet, or the DIP & Exit
ABL Commitment Letter, as applicable, and as may be amended, modified, or supplemented from time to
time on or before the Plan Effective Date, including the following documents: (a) the New Organizational
Documents, (b) the Exit Facilities Documents, (c) to the extent known and determined, a document
disclosing the identity of the members of the Reorganized Board, (d) the Rejected Executory
Contract/Unexpired Lease List (if any), (e) a schedule of retained Causes of Action, (f) the Restructuring
Transaction Steps Memorandum (as defined in the Plan), (g) such other documents as may be specified in
the Plan, and (h) any and all other documents necessary to effectuate the Transactions or that are
contemplated by the Plan subject to this Agreement.

        “Put Option Premium” has the meaning set forth in the Transaction Term Sheet.]


                                                      10
         Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 204 of 569



         “Qualified Marketmaker” means an Entity that (a) holds itself out to the public or the applicable
private markets as standing ready in the ordinary course of business to purchase from customers and sell to
customers Company Claims/Interests (or enter with customers into long and short positions in Company
Claims/Interests), in its capacity as a dealer or market maker in Company Claims/Interests and (b) is, in
fact, regularly in the business of making a market in Claims against, or Interests in, issuers or borrowers
(including debt securities or other debt).

       “Releases” means the releases as set forth in and to be provided pursuant to the Plan as
contemplated by the Transaction Term Sheet.

        “Reorganized Board” means the board of directors of Reorganized TCSG appointed in accordance
with the terms of the Governance Term Sheet and the New Organizational Documents.

        “Reorganized Debtors” means any Debtor, or any successor thereto, by merger, consolidation,
reorganization, or otherwise, in the form of a corporation, limited liability company, partnership, or other
form, as the case may be, on and after the Plan Effective Date, including Reorganized TCSG.

         “Reorganized TCSG” means TCSG, as reorganized pursuant to and under the Transactions or any
successor thereto, or a newly-formed Entity formed to, among other things, directly or indirectly hold or
acquire substantially all of the assets and/or equity interests of TCSG and, on the Plan Effective Date, issue
the New Equity Interests (and in each case including any other newly-formed Entity formed to, among
other things, effectuate the Transactions and issue the New Equity Interests).

       “Required Consenting Stakeholders” means, as of any time, the Required Consenting Term
Lenders and the Required Consenting Stockholder Parties at such time.

        “Required Consenting Stockholder Parties” means, as of any time, 50.01% of the aggregate
issued and outstanding Existing Equity Interests that are held by Consenting Stockholder Parties at such
time.

       “Required Consenting Term Lenders” means, as of any time, Consenting Term Lenders that are
members of the Ad Hoc Group holding at least 66 and 2/3% of the Term Loan Claims that are held by
Consenting Term Lenders that are members of the Ad Hoc Group at such time.

          “Required DIP Term Lenders” has the meaning set forth in the DIP Term Loan Facility Term
Sheet.

         “Restructuring Transaction Steps Memorandum” means a document to be included in the Plan
Supplement that will set forth the material components of the Transactions, including a summary of any
transaction steps necessary to complete the Plan.

          “Rules” means Rule 501(a)(1), (2), (3), and (7) of the Securities Act.

          “SEC” means the Securities and Exchange Commission.

          “Securities Act” means the Securities Act of 1933, as amended.

       “Solicitation Materials” means any documents, forms, ballots, notices, and other materials
provided in connection with the solicitation of votes on the Plan pursuant to sections 1125 and 1126 of the
Bankruptcy Code.



                                                      11
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 205 of 569



        “Specified Default” has the meaning set forth in Section 5.01(e) of this Agreement.

        “Stockholder Terminating Party” has the meaning set forth in Section 14.03.

        “Syndication Procedures” has the meaning assigned in the Transaction Term Sheet.

        “TCSG” has the meaning set forth in the preamble to this Agreement.

        “Term Lenders” means holders of, or nominees, investment managers, investment advisors, or
subadvisors to funds and/or accounts that hold, or trustees of trusts that hold, the outstanding Term Loan
Claims.

        “Term Loan Agent” means JPMorgan Chase Bank, N.A., in its capacities as administrative agent
and collateral agent under the Term Loan Credit Agreement and any replacement or successor agent thereto.

        “Term Loan Agent Advisors” means Simpson Thacher & Bartlett LLP, and such other
professional advisors as are retained by the Term Loan Agent with the consent of the Company Parties (not
to be unreasonably withheld).

      “Term Loan Claims” means any Claim on account of Term Loans arising under or pursuant to the
Term Loan Credit Agreement.

        “Term Loan Credit Agreement” means that certain Credit Agreement, dated as of April 6, 2012,
as amended by that certain Amendment No. 1 on April 8, 2013, that certain Amendment No. 2 on November
27, 2013, that certain Amendment No. 3 on May 20, 2016, that certain Amendment No. 4 on August 18,
2017, that certain Amendment No. 5 on September 14, 2018, that certain Amendment No. 6 on October 8,
2018, that certain Amendment No. 7 on November 25, 2020, that certain Amendment No. 8 on June 14,
2023, and that certain Amendment No. 9 on October 8, 2024 (as amended, restated, amended and restated,
modified, or supplemented from time to time in accordance with the terms thereof).

        “Term Loans” means the senior secured first-lien term loans issued pursuant to the Term Loan
Credit Agreement, plus, any accrued but unpaid fees and interest in respect thereof.

        “Term Sheets” has the meaning set forth in the preamble to this Agreement.

        “Termination Date” means the date on which termination of this Agreement is effective as to a
Party in accordance with Sections 14.01, 14.02, 14.03, 14.04, or 14.05 of this Agreement.

        “Termination Event” means any of the events and/or circumstances referred to in Section 14 of
this Agreement.

        “Termination Notice” has the meaning set forth in Section 14.01.

        “Transaction Party Fees and Expenses” means all reasonable and documented fees and expenses
of the Term Loan Agent and the Ad Hoc Group Advisors (each subject to any agreements with the Company
Parties with respect thereto).

        “Transaction Term Sheet” has the meaning set forth in the recitals to this Agreement.

        “Transactions” has the meaning set forth in the recitals to this Agreement.



                                                   12
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 206 of 569



        “Transfer” means to sell, resell, reallocate, use, pledge, assign, transfer, loan, grant, hypothecate,
participate, donate, or otherwise encumber or dispose of, directly or indirectly (including through
derivatives, options, swaps, pledges, forward sales, or other transactions); provided, however, that any
pledge in favor of a bank or broker dealer at which a Consenting Stakeholder maintains an account, where
such bank or broker dealer holds a security interest or other encumbrance over property in the account
generally, shall not be deemed a “Transfer” for any purposes hereunder; provided, further, that if a pledge
or encumbrance exists, the pledgor shall maintain its voting rights for purposes of this Agreement.

        “Transferee Qualified Marketmaker” has the meaning set forth in Section 9.05.

         “Transfer Agreement” means an executed form of the transfer agreement substantially in the form
attached to this Agreement as Exhibit D providing, among other things, that a transferee is bound by the
terms of this Agreement. For the avoidance of doubt, any transferee that executes a Transfer Agreement
shall be a “Party” under this Agreement as provided therein.

        “TSA Effective Date” means the date on which the conditions precedent set forth in Section 2 of
this Agreement have been satisfied or waived by the required Party or Parties in accordance with
this Agreement.

        1.02.   Interpretation. For purposes of this Agreement:

         (a)     in the appropriate context, each term, whether stated in the singular or the plural, shall
include both the singular and the plural, and pronouns stated in the masculine, feminine, or neuter gender
shall include the masculine, feminine, and the neutral gender;

        (b)    capitalized terms defined only in the plural or singular form shall nonetheless have their
defined meanings when used in the opposite form;

         (c)     unless otherwise specified, any reference in this Agreement to a contract, lease, instrument,
release, indenture, or other agreement or document being in a particular form or on particular terms and
conditions means that such document shall be substantially in such form or substantially on such terms and
conditions;

        (d)     unless otherwise specified, any reference in this Agreement to an existing document,
schedule, or exhibit shall mean such document, schedule, or exhibit, as it may have been or may be
amended, restated, amended and restated, supplemented, or otherwise modified or replaced from time to
time in accordance with its terms; notwithstanding the foregoing, any capitalized terms in this Agreement
which are defined with reference to another agreement (other than the Transaction Term Sheet), are defined
with reference to such other agreement as of the date of this Agreement, without giving effect to any
termination of such other agreement or amendments to such capitalized terms in any such other agreement
following the Execution Date;

      (e)       unless otherwise specified, all references to “Sections” are references to Sections of this
Agreement;

         (f)     the words “herein,” “hereof,” and “hereto” refer to this Agreement in its entirety rather
than to any particular portion of this Agreement;

        (g)      captions and headings to Sections are inserted for convenience of reference only and are
not intended to be a part of or to affect the interpretation of this Agreement;



                                                     13
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 207 of 569



        (h)    references to “shareholders,” “directors,” and/or “officers” shall also include “members”
and/or “managers,” as applicable, as such terms are defined under the applicable limited liability company
Laws;

        (i)     the use of “include” or “including” is without limitation, whether stated or not;

         (j)     unless otherwise specified, references to “days” shall mean calendar days and, when
calculating the period of time before which, within which, or following which any act is to be done or step
taken pursuant to this Agreement, the date that is the reference date in calculating such period shall be
excluded and, if the last day of such period is not a Business Day, the period in question shall end on the
next succeeding Business Day; provided that Rule 9006 of the Federal Rules of Bankruptcy Procedure shall
apply from and after the Petition Date; and

        (k)     the phrase “counsel to the Consenting Stakeholders” refers in this Agreement to each
counsel specified in Section 17.11 other than counsel to the Company Parties.

        1.03. Conflicts. To the extent there is a conflict between the body of this Agreement (without
reference to the exhibits, annexes, and schedules hereto, including the Term Sheets), on the one hand, and
the Term Sheets or any other exhibits, annexes, and schedules to this Agreement, on the other hand, the
terms and provisions of the Term Sheets or any other exhibits, annexes, and schedules to this Agreement
shall govern. To the extent there is a conflict between this Agreement (including the Term Sheets and any
other exhibits, annexes, and schedules hereto) on the one hand, and the Definitive Documents, on the other
hand, the terms and provisions of the Definitive Documents shall govern.

Section 2.      Effectiveness of this Agreement.

        2.01. This Agreement shall become effective and binding upon each of the Parties at 12:00 a.m.,
prevailing Eastern Standard Time, on the TSA Effective Date, which is the date on which all of the
following conditions have been satisfied or waived in accordance with this Agreement:

         (a)   each of the Company Parties shall have executed and delivered counterpart signature pages
of this Agreement to counsel to each of the Parties;

        (b)     each Consenting Stockholder Party holding Existing Equity Interests shall have executed
and delivered counterpart signature pages of this Agreement to counsel to each of the Parties;

       (c)     holders of at least 66 2/3% of the aggregate outstanding Term Loan Claims shall have
executed and delivered counterpart signature pages of this Agreement to counsel to the Company Parties;

        (d)     the Company Parties shall have paid all Transaction Party Fees and Expenses for which an
invoice has been received by the Company Parties on or before the date that is one (1) Business Day prior
to the TSA Effective Date;

        (e)     the DIP & Exit ABL Commitment Letter shall have been executed in substantially the form
attached as Exhibit 5 to the Transaction Term Sheet; and

        (f)      counsel to the Company Parties shall have given notice to counsel to the Consenting
Stakeholders in the manner set forth in Section 17.11 hereof (by email or otherwise) that the other
conditions to the TSA Effective Date set forth in this Section 2 have occurred.




                                                    14
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 208 of 569



        2.02. This Agreement shall be effective from the TSA Effective Date until validly terminated
pursuant to the terms of this Agreement. To the extent that a Consenting Stakeholder holds, as of the date
hereof or thereafter, multiple Company Claims/Interests, such Consenting Stakeholder shall be deemed to
have executed this Agreement in respect of all of its Company Claims/Interests and this Agreement shall
apply severally to such Party with respect to each such claim or interest held by such Party.

Section 3.      Definitive Documents.

      3.01. The Definitive Documents governing the Transactions shall include all material customary
documents necessary to implement the Transactions, including, but not limited to:

         (a)     this Agreement and all other agreements, instruments, pleadings, orders, forms,
questionnaires and other documents (including all exhibits, schedules, supplements, appendices, annexes,
instructions, and attachments thereto) that are utilized to implement or effectuate, or that otherwise relate
to, the Transactions;

         (b)     the Plan and all documentation necessary to consummate the Plan, including the Plan
Supplement, the Disclosure Statement, the Disclosure Statement Motion, the Disclosure Statement Order,
the Solicitation Materials, and the Confirmation Order (including any exhibits or supplements filed with
respect to each of the foregoing);

       (c)      any documents filed in connection with any First Day Pleadings and all orders sought
pursuant thereto, including any cash management orders and critical vendor orders;

       (d)     the DIP Facilities Documents (including the DIP/Cash Collateral Motions and the
DIP/Cash Collateral Orders);

        (e)     the Exit Facilities Documents;

        (f)     the New Organizational Documents;

        (g)     the Restructuring Transaction Steps Memorandum (if applicable);

       (h)      any other material exhibits, schedules, amendments, modifications, supplements,
appendices, or other documents and/or agreements relating to any of the foregoing; and

        (i)     all other customary documents delivered in connection with transactions of this type
(including any and all material documents, Bankruptcy Court or other judicial or regulatory orders,
amendments, supplements, pleadings (orders sought pursuant thereto), motions, filings, exhibits, schedules,
appendices, or modifications to any of the foregoing and any related notes, certificates, agreements, and
instruments (as applicable) necessary to implement the Transactions).

        3.02. The Definitive Documents not executed as of the Execution Date or in a form attached to
this Agreement remain subject to negotiation and completion. Upon completion, the Definitive Documents
and every other document, deed, agreement, filing, notification, letter, or instrument related to the
Transactions shall contain terms, conditions, representations, warranties, and covenants consistent in all
material respects with the terms of this Agreement, as they may be modified, amended, or supplemented in
accordance with Section 15 of this Agreement. Further, any Definitive Document, whether or not executed
as of the Execution Date or in a form attached to this Agreement, shall otherwise be (a) in form and
substance acceptable to the Company Parties, (b) in form and substance acceptable to the Required
Consenting Term Lenders and (c) in form and substance reasonably acceptable to the Required Consenting


                                                     15
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 209 of 569



Stockholder Parties solely to the extent that such Definitive Document constitutes a Consenting Stockholder
Party Matter.

Section 4.       Milestones.

       4.01. On and after the TSA Effective Date, the Company Parties shall implement the
Transactions in accordance with the following milestones (collectively, the “Milestones”), as may be
extended and/or waived in writing (email from counsel being sufficient) by the Required Consenting Term
Lenders:

         (a)     no later than 1 Business Day following the TSA Effective Date, and in any event prior to
the Petition Date, the Company Parties shall, in accordance with sections 1125 and 1126 of the Bankruptcy
Code, commence solicitation of the votes necessary to approve the Plan and effectuate the Transactions,
including by distributing the Plan, Disclosure Statement, and Solicitation Materials to holders of Company
Claims/Interests (the “Launch”);

        (b)      no later than 3 Business Days following the Launch, the Petition Date shall have occurred;

        (c)    no later than 1 day following the Petition Date, the Company Parties shall have filed the
First Day Pleadings, the DIP/Cash Collateral Motions, the Plan, Disclosure Statement, and Disclosure
Statement Motion seeking conditional entry of the Disclosure Statement Order;

        (d)      no later than 3 Business Days after the Petition Date, the Bankruptcy Court shall have
entered the Interim DIP/Cash Collateral Order;

       (e)    as soon as reasonably practicable, but in no later than 34 days after the Petition Date, the
Bankruptcy Court shall have entered the Final DIP/Cash Collateral Order;

       (f)     as soon as reasonably practicable, but in no event later than 34 days after the Petition Date,
the Bankruptcy Court shall have entered the Disclosure Statement Order (on a final basis) and the
Confirmation Order (which may be combined with the Disclosure Statement Order); and

        (g)    as soon as reasonably practicable, but in no event later than 14 days after the entry of the
Confirmation Order, the Transactions shall have been consummated and the Plan Effective Date shall have
occurred.

Section 5.       Commitments of the Consenting Stakeholders.

        5.01. Affirmative Commitments. During the Agreement Effective Period, each Consenting
Stakeholder agrees, in respect of all of its Company Claims/Interests, severally, and not jointly, to the extent
permitted by Law and subject to the other terms hereof, to:

         (a)      use commercially reasonable efforts to timely and in good faith negotiate, support,
implement and perform its respective obligations under, deliver, and consummate the Transactions on the
terms contemplated in this Agreement, the Term Sheets, and the Definitive Documents, and, without
limitation of the foregoing, in each case to the extent applicable to such Consenting Stakeholder:
(i) consenting to the DIP Facilities Documents, the Exit Facilities Documents and the Plan; and (ii) voting
all Company Claims/Interests owned or held by such Consenting Stakeholder and using commercially
reasonable efforts to exercise any powers or rights available to it (including in any board, shareholders’, or
creditors’ meeting or in any process requiring voting or approval to which they are legally entitled to
participate), in each case in favor of any matter requiring approval to the extent necessary to implement the


                                                      16
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 210 of 569



Transactions or reasonably requested by the Company Parties to implement the Transactions; provided, that
no Consenting Term Lender shall be obligated to (x) waive (to the extent waivable by such Consenting
Term Lender) any condition to the consummation of any part of the Transactions set forth in (or to be set
forth in) any Definitive Document, or (y) approve any Definitive Document that is not in form and substance
consistent with its consent rights as set forth herein;

         (b)     without limiting any rights under Section 14.01, use commercially reasonable efforts to
support and not oppose or object to the Transactions, and use commercially reasonable efforts to take any
reasonable action necessary or reasonably requested by the Company Parties in a timely manner to
effectuate the Transactions in a manner consistent with this Agreement, including the timelines set forth
herein; provided that the foregoing shall not require any Consenting Stakeholder to file any pleadings with
respect thereto;

        (c)     to the extent any legal or structural impediment arises that would prevent, hinder or delay
the consummation of the Transactions, negotiate in good faith with the Company Parties and the other
Consenting Stakeholders appropriate additional or alternative provisions to address any such legal or
structural impediment to the consummation of the Transactions;

         (d)      provide any notices, orders, instructions, or directions to the applicable Agents that, in each
case, are reasonably necessary or reasonably requested by the Company Parties to facilitate the
consummation of the Transactions in accordance with the terms, conditions, and applicable timelines set
forth in this Agreement and the Transaction Term Sheet and, if any applicable administrative agent,
collateral agent, or other such agent or trustee (as applicable) takes any action materially inconsistent with
such Consenting Term Lender’s obligations under this Agreement, such Consenting stakeholder shall use
its commercially reasonable efforts to direct such administrative agent, collateral agent, or other such agent
or trustee (as applicable) to cease and refrain from taking any such action;

         (e)      forbear from the exercise of, and shall not direct the Term Loan Agent to exercise, any
rights (including any right of set-off) or remedies under the Term Loan Credit Agreement or any ancillary
document that arise as a result of the occurrence of any default or Event of Default from the Company
Parties’ (i) entry into this Agreement, any Definitive Document or other document or agreement necessary
to implement or consummate the Transactions; or (ii) commencement of the Chapter 11 Cases, filing the
Plan and Disclosure Statement or otherwise taking such actions as are necessary to consummate any
Milestone hereunder (any event specified in the foregoing clauses (i) or (ii), a “Specified Default”);
provided, that (x) no Consenting Stakeholder shall be required pursuant to this Section 5.01(e) to provide
any trustee and/or agent or other Person with any additional indemnities or similar undertakings in
connection with taking any such action other than those contained in the Term Loan Credit Agreement or
any DIP Facilities Documents, (y) no Consenting Stakeholder shall be required to take any actions
contemplated by this Section 5 unless expressly contemplated by this Agreement, and (z) nothing in this
Section 5.01(e) shall require the Consenting Term Lenders to waive any default or Event of Default, or any
of the obligations arising under, or liens or other encumbrances created by, the Term Loan Credit
Agreement or any DIP Facilities Documents; provided, further, for the avoidance of doubt, that unless the
Transactions are consummated, it is understood and agreed that any forbearance granted pursuant to this
Section 5.01(e) shall be effective during the Agreement Effective Period only and shall not be deemed to
be a permanent forbearance from the exercise of remedies on account of any default or Event of Default
arising under the Term Loan Credit Agreement; provided, further, that each Consenting Stakeholder
specifically agrees that this Agreement constitutes a direction to the Term Loan Agent to refrain from
exercising any remedy available or power conferred to any of the Agents against the Company Parties or
any of their assets, in each case, solely as a result of the existence of any Specified Default; provided,
further, for the avoidance of doubt, that nothing in this Section 5.01(e) shall restrict or limit the Consenting


                                                       17
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 211 of 569



Stakeholders or any of the Agents from taking any action permitted or required to be taken hereunder for
the purposes of consummating the Transactions, including pursuant to any Definitive Document; 2

         (f)     each Consenting Stakeholder hereby authorizes (and is hereby deemed to have authorized
for all purposes under the Term Loan Credit Agreement, the Existing Intercreditor Agreement, and
otherwise, without requirement for any further action or agreement) the Company Parties’ execution and
entry into the DIP Facilities Documents, the Exit Facilities Documents, the Definitive Documents and any
documents required thereby for the consummation of the Transactions, in case in accordance with the terms
of this Agreement; and

        (g)    use commercially reasonable efforts to cooperate with and assist the Company Parties, as
may be reasonably requested by the Company Parties in obtaining additional support for the Transactions
from the Company Parties’ other stakeholders.

        5.02. Negative Commitments. During the Agreement Effective Period, each Consenting
Stakeholder agrees, in respect of each of its Company Claims/Interests, severally, and not jointly, that, to
the extent permitted by Law and subject to the other terms hereof, it shall not:

        (a)    object to, delay, impede, or take any other action that is intended to interfere with the
acceptance, implementation, or consummation of the Transactions, including through instructions to the
applicable Agents;

        (b)      directly or indirectly solicit, initiate, encourage, endorse, propose, file, support, approve,
vote for, or enter into in any Alternative Transaction;

        (c)     file any motion, pleading, or other document with any court (including any modifications
or amendments to any motion, pleading, or other document with any court) that, in whole or in part, is
materially inconsistent with this Agreement or the Transactions;

         (d)     initiate, or have initiated on its behalf, any litigation or proceeding of any kind with respect
to this Agreement or the Transactions contemplated in this Agreement against the Company Parties or the
other Parties other than to enforce this Agreement or any Definitive Document or as otherwise permitted
under this Agreement or any Definitive Document;

        (e)     object to, delay, impede, or take any other action to interfere with the Company Parties’
ownership and possession of their assets, wherever located other than any action or inaction taken by any
such Consenting Stakeholder in connection with its respective rights under the DIP Facilities Documents,
the Term Loan Credit Agreement, and the Existing Intercreditor Agreement, in the case of each of the
foregoing, subject to the affirmative commitments set forth in Section 5.01(e);

        (f)      directly or indirectly, encourage or through any other Person to, directly or indirectly,
subject to the terms hereof, (i) object to, delay, postpone, challenge, oppose, impede, or take any other
action or any inaction to interfere with or delay the acceptance, implementation, or consummation of the
Transactions contemplated in this Agreement (including the DIP Facilities and the Exit Facilities) on the
terms set forth in this Agreement, the Term Sheets, the DIP Facilities Documents, the Exit Facilities
Documents, the Plan, and any other applicable Definitive Document, including commencing or joining
with any Person in commencing any litigation or involuntary case for relief under the Bankruptcy Code
against any Company Party or any subsidiary thereof; (ii) solicit, negotiate, propose, file, support, enter

2   Note to Draft: Capitalized terms used in this Section 5.01(e) but not otherwise defined herein shall have such meanings as
    assigned in the Term Loan Credit Agreement.

                                                             18
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 212 of 569



into, consummate, file with the Bankruptcy Court, vote for, or otherwise knowingly take any other action in
furtherance of any Alternative Transaction Proposal; (iii) exercise any right or remedy for the enforcement,
collection, or recovery of any claim against the Company Parties or any direct or indirect subsidiaries of
the Company Parties that do not file for chapter 11 relief under the Bankruptcy Code, except in a manner
consistent with or pursuant to this Agreement, the Term Sheets, and the DIP Facilities Documents; or (iv)
object to or oppose, or support any other Person’s efforts to object to or oppose, any motions filed by the
Debtors that are consistent with this Agreement; or

        (g)      with respect to the Consenting Term Lenders, not direct any administrative agent, collateral
agent, or other such agent or trustee to take any action materially inconsistent with such Consenting Term
Lender’s obligations under this Agreement.

          5.03. Commitments with Respect to Chapter 11 Cases. In addition to the affirmative and
negative commitments set forth in Sections 5.01 and 5.02, during the Agreement Effective Period, each
Consenting Stakeholder agrees in respect of all of its Company Claims/Interests, severally, and not jointly,
that it shall:

         (a)      subject to receipt by such Consenting Stakeholder of the Disclosure Statement and the
Solicitation Materials, (i) to the extent such Consenting Stakeholder is entitled to vote to accept or reject
the Plan pursuant to its terms, (A) vote each of its Company Claims/Interests (if applicable) to accept the
Plan by delivering its duly executed and completed ballot accepting the Plan on a timely basis following
the commencement of the solicitation of the Plan and its actual receipt of the Solicitation Materials, and
(B) not change, withdraw, amend, or revoke (or cause or direct to be changed, withdrawn, amended, or
revoked) any such vote described in the foregoing Section 5.03(a)(i)(A), and (ii) regardless of whether such
Consenting Stakeholder is entitled to vote to accept or reject the Plan, support the Releases and agree to
provide or opt into, and to not opt out of or object to, the Releases set forth in the Plan consistent with the
terms set forth in this Agreement (including the Term Sheets), and not change, withdraw, amend, or revoke
(or cause or direct to be changed, withdrawn, amended, or revoked) any such Release; provided, that such
vote may be revoked (and, upon such revocation, deemed void ab initio) by such Consenting Stakeholder
at any time following the expiration or termination of the Agreement Effective Period with respect to such
Consenting Stakeholder (it being understood that any termination of the Agreement Effective Period with
respect to a Consenting Stakeholder shall entitle such Consenting Stakeholder to change its vote in
accordance with sections 1126 and 1127 or any other applicable provision of the Bankruptcy Code, and the
Solicitation Materials with respect to the Plan shall be consistent with this proviso);

        (b)     with respect to the Consenting Term Lenders, use commercially reasonable efforts to
support and not object to, and to take all actions reasonably requested by the Company Parties related to,
the DIP/Cash Collateral Motions and entry of the DIP/Cash Collateral Orders in accordance with this
Agreement;

        (c)   not take any other action that would reasonably be expected to prevent, interfere with,
delay, or impede the solicitation, approval of the Disclosure Statement, or the confirmation and
consummation of the Plan and the Transactions;

       (d)     support and not object to the Plan or entry of the Disclosure Statement Order, or the
Confirmation Order (provided that such Plan, Disclosure Statement Order, and Confirmation Order are in
form and substance consistent with Section 3.02);

      (e)     use commercially reasonable efforts to take all actions reasonably requested by the
Company Parties and necessary to support and facilitate confirmation and consummation of the Plan within



                                                      19
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 213 of 569



the timeframes contemplated by this Agreement, including the DIP Facilities (and related Equity Premium,
Put Option Premium, and Commitment Premium, the Exit Facilities and all related transactions;

         (f)      support, and not directly or indirectly object to, delay, impede, or take any other action to
interfere with any motion or other pleading or document filed by a Company Party in the Bankruptcy Court
that is consistent with this Agreement; and

       (g)     the DIP Backstop Parties shall fund, or cause their Affiliates to fund, through a fronting
arrangement arranged by the Company Parties, the entire amount of the New Money DIP Term Loans in
compliance with this Agreement (including, for the avoidance of doubt, the Transaction Term Sheet and
DIP Term Loan Facility Term Sheet).

Section 6.       Additional Provisions Regarding the Consenting Stakeholders’ Commitments.

          6.01. Additional Consenting Stakeholder Commitments. During the Agreement Effective
Period, each Consenting Stakeholder agrees, severally, and not jointly, that it shall not pledge, encumber,
assign, sell, or otherwise Transfer, offer, or contract to pledge, encumber, assign, sell, or otherwise Transfer,
in whole or in part, any portion of its right, title, or interests in any Existing Equity Interests whether held
directly or indirectly, other than any Transfer in accordance with Section 9 of this Agreement.
Notwithstanding anything contained in this Agreement to the contrary, nothing in this Agreement shall:
(a) affect the ability of any Consenting Stakeholder to consult with any other Consenting Stakeholder, the
Company Parties, or, subject to the terms of any applicable Confidentiality Agreement, any other party in
interest in the Chapter 11 Cases (including any official committee of unsecured creditors and the United
States Trustee); (b) impair or waive the rights of any Consenting Stakeholder to assert or raise any objection
not prohibited under this Agreement or any Definitive Document in connection with the Transactions;
(c) prevent any Consenting Stakeholder from (i) enforcing this Agreement or any Definitive Documents,
(ii) contesting whether any matter, fact, or thing is a breach of, or is inconsistent with, this Agreement or
any Definitive Documents, or (iii) exercising any rights or remedies under this Agreement or any Definitive
Documents; or (d) limit the rights of a Consenting Stakeholder under the Chapter 11 Cases, including
appearing as a party in interest in any matter to be adjudicated in order to be heard concerning any matter
arising in the Chapter 11 Cases or any foreign proceeding, in each case, so long as the exercise of any such
right is not inconsistent with such Consenting Stakeholder’s obligations under this Agreement; (e) limit the
ability of a Consenting Stakeholder to purchase, sell or enter into any transactions regarding the Company
Claims/Interest, subject to the terms of this Agreement, including Section 9 of this Agreement; (f) except
as and to the extent explicitly set forth herein with respect to a Specified Default, constitute a waiver or
amendment of any term or provision of the Term Loan Credit Agreement or the DIP Credit Agreements;
(g) constitute a termination or release of any liens on, or security interests in, any of the assets or properties
of the Company Parties that secure the obligations under the Term Loan Credit Agreement; (h) except as
and to the extent explicitly set forth in this Agreement, require any Consenting Stakeholder to incur, assume,
become liable in respect of or suffer to exist any expenses, liabilities, or other obligations, or agree to or
become bound by any commitments, undertakings, concessions, indemnities, or other arrangements that
could result in expenses, liabilities, or other obligations to such Consenting Stakeholder; (i) prevent a
Consenting Stakeholder from taking any action that is required in order to comply with applicable Law;
provided that if any Consenting Stakeholder proposes to take any action that is otherwise inconsistent with
this Agreement or the Transactions in order to comply with applicable Law, such Consenting Stakeholder
shall provide, to the extent possible without violating applicable Law, at least five (5) Business Days’
advance, written notice to the Parties; (j) prohibit any Consenting Stakeholder from taking any action that
is not inconsistent with this Agreement or the Transactions; (k) except as and to the extent explicitly set
forth in this Agreement, limit the ability of any Consenting Stakeholder to enforce the terms of the Existing
Intercreditor Agreement (including exercising any rights or remedies available to the Consenting
Stakeholder); (l) require any Consenting Stakeholder to fund or commit to fund any additional amounts

                                                       20
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 214 of 569



(other than as agreed in connection with the DIP Facilities) without such Consenting Stakeholder’s written
consent; or (m) require or obligate any Consenting Stakeholder to (i) waive (to the extent waivable by such
Consenting Stakeholder) any condition to the consummation of any part of the Transactions set forth in (or
to be set forth in) any Definitive Document, or (ii) approve any Definitive Document that is not in form and
substance consistent with its consent rights set forth herein.

         6.02. Additional Consenting Stockholder Party Commitments. To the extent that, under the Plan,
such Consenting Stockholder Party is deemed to reject the Plan, such Consenting Stockholder Party agrees
with its treatment under the Plan and shall not file an objection to the Plan or support, directly or indirectly,
any holder of Existing Equity Interests who objects to the Plan.

Section 7.       Commitments of the Company Parties.

      7.01. Affirmative Commitments. Subject to Section 8.01 of this Agreement, during the
Agreement Effective Period, each of the Company Parties agrees to:

        (a)     use commercially reasonable efforts to (i) pursue, consummate, and implement the
Transactions on the terms and in accordance with the Milestones set forth in this Agreement (including the
Term Sheets), including by negotiating the Definitive Documents in good faith, and (ii) cooperate, if
reasonably requested, with the Consenting Stakeholders to negotiate and obtain necessary approval of the
Definitive Documents to consummate the Transactions;

         (b)     use commercially reasonable efforts and timely take all reasonable actions, including
actions reasonably requested by the other Parties, necessary to facilitate the solicitation, confirmation,
approval, and consummation of the Transactions, as applicable, to the extent consistent with the terms and
conditions in this Agreement (including the Transaction Term Sheet), including by promptly commencing
solicitation of the Plan pursuant to the Disclosure Statement and related Solicitation Materials and
commencing the Chapter 11 Cases, in accordance with the applicable Milestones;

       (c)     use commercially reasonable efforts to obtain any and all required or advisable
governmental, regulatory, and/or third-party approvals for the Transactions;

        (d)     negotiate in good faith, execute, deliver, and perform its obligations under the Definitive
Documents in accordance with the terms of this Agreement (including the Term Sheets) and any other
required agreements to effectuate and consummate the Transactions and the transactions contemplated by
the Definitive Documents;

         (e)       use commercially reasonable efforts to actively and timely address, oppose, and/or object
to the efforts of any person or Entity seeking to object to, delay, impede, or take any other action to interfere
with the acceptance, implementation, or consummation of the Transactions (including, if applicable, the
filing of timely objections or written responses), in each case to the extent consistent with the terms and
conditions in this Agreement;

         (f)     use commercially reasonable efforts to seek additional support for the Transactions from
their other material stakeholders to the extent reasonably prudent;

         (g)   if any Company Party receives an Alternative Transaction Proposal, (i) promptly notify the
Ad Hoc Group Advisors (in each case, no later than one (1) Business Day after the receipt of such
Alternative Transaction Proposal), with such notification to include a summary of the material terms
thereof, which may be shared on a professional eyes only basis and promptly notify the Ad Hoc Group
Advisors of any subsequent modifications to such Alternative Transaction Proposal (in each case, no later


                                                       21
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 215 of 569



than one (1) Business Day after the receipt of notice of such modification), (ii) use commercially reasonable
efforts to respond promptly to reasonable information requests and questions from counsel to the
Consenting Stakeholders relating to such Alternative Transaction Proposal; provided, that at all times prior
to the date on which the Company Parties enter into a definitive agreement with respect to an Alternative
Transaction, the Company Parties shall provide the Ad Hoc Group Advisors with all relevant information
regarding (x) any negotiations and/or discussions relating to any such Alternative Transaction, and/or (y)
any amendments, modifications, or other changes to, or any further material developments of, any such
Alternative Transaction, in any such case as is necessary to keep such counsel contemporaneously informed
as to the status and substance of such discussions, negotiations, amendments, modifications, changes,
and/or developments, and (iii) respond promptly to reasonable information requests and questions from the
Ad Hoc Group Advisors with respect to the impact of such Alternative Transaction Proposal on the
Transactions and any action taken or proposed to be taken by the Company Parties in response thereto, but
not to include the identity of the Person(s) involved, in each case, subject to a Confidentiality Agreement
permitting the disclosure of such information; provided, that the Company Parties shall use commercially
reasonable efforts to execute such Confidentiality Agreement;

         (h)     provide responses in a reasonably timely manner, whether by directing the Company
Parties’ advisors to respond or otherwise, to reasonable diligence requests from the Ad Hoc Group Advisors
for purposes of the Consenting Stakeholders’ due diligence investigation in respect of the assets, liabilities,
operations, businesses, finances, strategies, prospects, and affairs of the Company Parties;

        (i)     if applicable, promptly certify upon request of any Consenting Stakeholder that pursuant
to 26 CFR § 1.1445-2, it is not a “United States real property holding corporation” as defined in the Internal
Revenue Code of 1986 (as amended) and any applicable regulations promulgated thereunder;

        (j)      support the filing of a customary stock trading order (“NOL Order”) that establishes
procedures with respect to, and potentially restricts, (i) the accumulation and disposition of stock by Persons
who own (as determined for tax Law purposes), or would own, more than approximately 4.5% of the equity
of the Company Parties during the pendency of the Chapter 11 Cases, and (ii) the claiming of a
worthlessness deduction under section 165 of the Tax Code by 50% or greater shareholders with respect to
the stock of the Company;

        (k)      inform counsel to the Consenting Stakeholders in writing (email being sufficient) as soon
as reasonably practicable after becoming aware of: (i) any matter or circumstance which it knows, or
believes to be a material impediment to the implementation or consummation of the Transactions prior to
the applicable Milestone; (ii) any notice of any commencement of any material involuntary insolvency
proceedings, legal suit for payment of debt or securement of security from or by any person in respect the
Company Parties or any of its direct or indirect subsidiaries thereof; (iii) any material breach of any of the
terms, conditions, representations, warranties or covenants set forth in this Agreement (including a breach
by the Company Parties); or (iv) any representation or statement made or deemed to be made by them under
this Agreement which is or proves to have been incorrect or misleading in any material respect when made
or deemed to be made;

         (l)      (i) complete the preparation, as soon as reasonably practicable after the Execution Date, of
the Disclosure Statement and any Solicitation Materials in order to commence the solicitation of the Plan
in accordance with the Milestones, (ii) provide drafts of the Disclosure Statement, the Plan, any Solicitation
Materials, and each other Definitive Document to, and afford a reasonable opportunity for comment and
review of such documents by, the Ad Hoc Group Advisors, which opportunity of comment and review shall
be not less than two (2) Business Days in advance of any filing with the Bankruptcy Court; provided that
if delivery of such document at least two (2) Business Days in advance of such filing is impracticable under
the circumstances, such document shall be delivered as soon as otherwise practicable, and shall afford them

                                                      22
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 216 of 569



a reasonable opportunity under the circumstances to comment on such documents, and (iii) consult with the
Ad Hoc Group Advisors regarding the form and substance of the Disclosure Statement and Solicitation
Materials, the Plan, and each other Definitive Document, sufficiently in advance of the filing with the
Bankruptcy Court, and not file with the Bankruptcy Court the Disclosure Statement, Solicitation Materials,
the Plan, and each other Definitive Document unless such document is in form and substance consistent
with the consent rights set forth herein; provided that the obligations of the Company Parties under this
Section 7.01(l) shall in no way alter or diminish any right expressly provided to any applicable Consenting
Term Lender under this Agreement to review, comment on, and/or consent to the form and/or substance of
any document in accordance with the terms hereof;

         (m)     maintain their good standing and legal existence under the laws of the state or other
jurisdiction in which they are incorporated, formed or organized, except to the extent that any failure to
maintain such Company Party’s good standing arises solely from the filing of the Chapter 11 Cases;

         (n)     (i) conduct their businesses and operations in the ordinary course in a manner that is
consistent with past practices and in compliance with Law, (ii) maintain their physical assets, properties,
and facilities in their working order condition and repair as of the TSA Effective Date, in the ordinary
course, in a manner that is consistent with past practices, and in compliance with Law (ordinary wear and
tear and casualty and condemnation excepted), (iii) maintain their respective books and records in the
ordinary course, in a manner that is consistent with past practices, and in compliance with Law, (iv)
maintain all of their material insurance policies, or suitable replacements therefor, in full force and effect,
in the ordinary course, in a manner that is consistent with past practices, and in compliance with Law, and
(v) use commercially reasonable efforts to preserve intact their business organizations and relationships
with third parties (including creditors, lessors, licensors, franchisees, vendors, customers, suppliers, and
distributors) and employees in the ordinary course, in a manner that is consistent with past practices, in
each case, except (1) as required by Law, (2) as required pursuant to the DIP/Cash Collateral Orders or as
may be required to adhere to the terms of any applicable budget approved in connection with the DIP
Facility (or as may otherwise be related thereto), (3) as otherwise agreed by the Required Consenting Term
Lenders or (4) as otherwise expressly provided in this Agreement or for actions taken by any member of
the Company Parties in connection with the Chapter 11 Cases in accordance with the terms of this
Agreement and the applicable Definitive Documents; and

         (o)     (i) use commercially reasonable efforts to keep the Consenting Term Lenders informed
about the operations of the Company Parties, (ii) use commercially reasonable efforts to direct the current
employees, officers, advisors, and other representatives of the Company Parties to provide, to the Ad Hoc
Group Advisors, upon written request to the Company Parties’ advisors and subject to obtaining approval
of the Company Parties (not to be unreasonably withheld or delayed), (1) reasonable access during normal
business hours to the Company Parties’ books, records, and facilities, and (2) upon written request to the
advisors of the Company Parties (which may be by email), reasonable access to the senior management and
advisors of the Company Parties for the purposes of evaluating the Company Parties’ assets, liabilities,
operations, businesses, finances, strategies, prospects, and affairs, and (iii) use commercially reasonable
efforts to arrange for a teleconference (the “Management Conference Call”) to take place bi-weekly,
which Management Conference Call shall (1) require participation by at least one senior member of the
Company Parties’ management team and permit participation by the Company Parties’ counsel and advisors
and such Consenting Term Lenders and their advisors as elect to participate therein, who shall be provided
with an invitation to, and details of, such Management Conference Call as soon as reasonably practicable
prior to the scheduled date therefor, and (2) be intended for purposes of discussing the Company Parties’
financials and such other information and matters reasonably related thereto or reasonably requested by the
Required Consenting Term Lenders.



                                                      23
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 217 of 569



        7.02.    Company Party Commitments with Respect to Chapter 11.

        (a)    Subject to Section 8.01 of this Agreement, and with respect to the Chapter 11 Cases, during
the Agreement Effective Period, each of the Company Parties agrees to:

                 (i)    object to any motion filed with the Bankruptcy Court by any person seeking the
entry of an order terminating the Company Parties’ exclusive right to file and/or solicit acceptances of a
chapter 11 plan;

                (ii)     actively oppose and object to the efforts of any person seeking to object to, delay,
impede, or take any other action to interfere with the acceptance, implementation, or consummation of the
Plan or the Transactions (including, if applicable, the filing of timely filed objections or written responses);

                (iii)    timely file a formal objection to any motion filed with the Bankruptcy Court by a
third party seeking the entry of an order (A) directing the appointment of a trustee or examiner (with
expanded powers beyond those set forth in sections 1106(a)(3) and (4) of the Bankruptcy Code),
(B) converting the Chapter 11 Cases to cases under chapter 7 of the Bankruptcy Code, (C) dismissing the
Chapter 11 Cases; (D) approving an Alternative Transaction Proposal; (E) for relief that (x) is inconsistent
with this Agreement in any material respect, or (y) would, or would reasonably be expected to, frustrate the
purposes of this Agreement in any material respect, including by preventing the consummation of the
Transactions; or (F) challenging (x) the amount, validity, allowance, character, enforceability, or priority
of any Company Claims/Interests of any of the Consenting Stakeholders, or (y) the validity, enforceability,
or perfection of any lien or other encumbrance securing (or purporting to secure) any Company
Claims/Interests of any of the Consenting Stakeholders; and

                (iv)   support and take all actions as are necessary and appropriate to obtain any and all
required regulatory and/or third-party approvals to consummate the Transactions and the Plan, and to
cooperate with any such efforts undertaken by the Consenting Term Lenders or the other Consenting
Stakeholders.

         7.03. Negative Commitments of the Company Parties. Subject to Section 8.01 of this
Agreement, during the Agreement Effective Period, each of the Company Parties shall not directly or
indirectly:

         (a)     object to, delay, impede, or take any other action to interfere with acceptance,
implementation, or consummation of the Transaction or the Plan or otherwise commence any proceeding
opposing any of the terms of this Agreement or any of the other Definitive Documents, other than pursuant
to the express terms and conditions of this Agreement;

        (b)     take, or encourage any other person or Entity to take, any action, directly or indirectly, that
would reasonably be expected to breach, frustrate, or be inconsistent with this Agreement, or take any other
action, directly or indirectly, that would reasonably be expected to interfere with the acceptance,
implementation, or consummation of the Transactions or this Agreement;

        (c)      take or fail to take any action if such action or failure to act is inconsistent in any material
respect with, or is intended to frustrate or impede approval, implementation, and consummation of, this
Agreement, the Transactions described in this Agreement, the Term Sheets, or the Definitive Documents;

       (d)     except as contemplated by this Agreement, subject to Section 8.02 hereof, solicit, initiate,
propose, support, encourage, consent to, vote or enter into any agreement regarding any Alternative
Transaction Proposal;


                                                       24
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 218 of 569



          (e)      (i) seek discovery in connection with, prepare, or commence any proceeding or other action
that challenges (1) the amount, validity, allowance, character, enforceability, or priority of any Company
Claims/Interests of any of the Consenting Stakeholders, or (2) the validity, enforceability, or perfection of
any lien or other encumbrance securing any Company Claims/Interests of any of the Consenting
Stakeholders; (ii) otherwise seek to restrict any contractual rights of any of the Consenting Stakeholders
under the Term Loan Credit Agreement; (iii) otherwise commence any action against any of the Consenting
Stakeholders; or (iv) support any Person in connection with any of the acts described in clause (i) or clause
(ii) of this Section 7.03(e), in each case, subject to the DIP/Cash Collateral Orders;

        (f)       assert, or support any assertion by any third party, that, in order to act on the provisions of
Section 14 hereof, the Consenting Stakeholders shall be required to obtain relief from the automatic stay
from the Bankruptcy Court (and the Company Parties’ hereby waive, to the greatest extent possible, the
applicability of the automatic stay to the giving of any termination notice in accordance with Section 13(f)
hereof); provided that nothing herein shall prejudice any Party’s right to argue that the giving of such
termination notice or the exercise of any remedy was not proper under the Agreement;

         (g)     except as contemplated by this Agreement (including the DIP Facilities), consummate any
transaction pursuant to any contract with respect to debtor-in-possession financing, cash collateral usage,
exit financing, and/or other financing arrangements without the advance written consent of the Required
Consenting Stakeholders;

        (h)      grant or agree to grant any increase in the wages, salary, bonus, commissions, retirement
benefits, severance, or other compensation or benefits of any director, manager, employee, or officer of any
Company Party, whether scheduled prior to, as of or after the TSA Effective Date, except for any increase
that is done in the ordinary course of business consistent with past practices, in accordance with the
Transactions contemplated by this Agreement, or otherwise with the consent of the Required Consenting
Stakeholders;

        (i)     incur or commit to incur any capital expenditures, other than capital expenditures that are
included in any applicable budget approved pursuant to the Interim DIP/Cash Collateral Order or Final
DIP/Cash Collateral Order, except as approved by the Required Consenting Term Lenders;

          (j)     make or change any material tax election (including, with respect to any Company Party
that is treated as a partnership or disregarded Entity for U.S. federal income tax purposes, an election to be
treated as a corporation for U.S. federal income tax purposes), file any material amended tax return, enter
into any closing agreement with respect to taxes for an amount greater than $50,000, consent to any
extension or waiver of the limitations period applicable to any material tax claim or assessment other than
in the ordinary course of business, enter into any installment sale transaction, adopt or change any material
accounting methods, practices, or periods for tax purposes, make or request any tax ruling, enter into any
tax sharing or similar agreement or arrangement (other than agreements entered in the ordinary course of
business the primary purpose of which are not taxes), or settle any tax claim or assessment for an amount
greater than $50,000;

          (k)     take or permit any action that would result in a (i) disaffiliation of any Company Party from
the Company Parties’ consolidated income tax group under section 1502 of the Tax Code, (ii) realization
of any material taxable income outside of the ordinary course of business of the Company Parties’ business,
or (iii) change of ownership of any Company Party under section 382 of the Tax Code, in each case, except
as contemplated by the transactions described herein;

        (l)      with respect to the Chapter 11 Cases, directly or indirectly execute, agree to execute, file,
or agree to file any motion, pleading, or Definitive Documents with the Bankruptcy Court or any other

                                                       25
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 219 of 569



court (including any modifications or amendments thereof) that, in whole or in part, is materially
inconsistent with this Agreement or the Plan; and

        (m)     file any motion, pleading, or other document with any court (including any modification
or amendments to any motion, pleadings, or other document with any court) that, in whole or in part, is
materially inconsistent with this Agreement in any material respect.

Section 8.       Additional Provisions Regarding Company Parties’ Commitments.

         8.01. Notwithstanding anything to the contrary in this Agreement, nothing in this Agreement
shall require a Company Party or the board of directors, board of managers, or similar governing body of a
Company Party, after consulting with outside counsel, to take any action or to refrain from taking any action
with respect to the Transactions to the extent such Person or Persons determine in good faith that taking or
failing to take such action would be inconsistent with applicable Law or its fiduciary obligations under
applicable Law, and any such action or inaction pursuant to this Section 8.01 shall not be deemed to
constitute a breach of this Agreement.

          8.02. Notwithstanding anything to the contrary in this Agreement, but subject to the terms of
Section 8.01 and this Section 8.02, each Company Party and its directors, officers, employees, investment
bankers, attorneys, accountants, consultants, and other advisors or representatives shall have the right to:
(a) consider, respond to, and facilitate access to information in response to unsolicited Alternative
Transaction Proposals; (b) provide access to non-public information concerning any Company Party to any
Entity or enter into confidentiality agreements or nondisclosure agreements with any Entity (provided, that
the Company Parties shall use commercially reasonable efforts to require that any such agreements permit
the Company to share copies of Alternative Transaction Proposals, the status of any discussions, and the
identity of any counterparty with the Consenting Term Lenders and their respective advisors); and (c) enter
into, maintain or continue discussions with respect to, or otherwise cooperate with, any inquiries or any
proposals regarding an unsolicited Alternative Transaction Proposal, in each case if such Person or Entity
determines, in good faith upon advice of outside counsel that failure to take such action would be
inconsistent with the fiduciary duties of such Person under applicable Law. If the board of directors of the
Company Parties decides (i) that proceeding with the Transactions would be inconsistent with the exercise
of its fiduciary duties or applicable Law or (ii) in the exercise of its fiduciary duties, to pursue an Alternative
Transaction Proposal (a “Fiduciary Out”), the Company Parties shall notify the counsel to the Consenting
Stakeholders in writing (email being sufficient) within one (1) day of such decision. Upon any
determination by any Company Party to exercise a Fiduciary Out, the other Parties to this Agreement shall
be immediately and automatically relieved of any obligation to comply with their respective covenants and
agreements herein.

         8.03. Nothing in this Agreement shall: (a) impair or waive the rights of any Company Party to
assert or raise any objection permitted under this Agreement in connection with the Transactions; or (b)
prevent any Company Party from enforcing this Agreement or contesting whether any matter, fact, or thing
is a breach of, or is inconsistent with, this Agreement.

Section 9.       Transfer of Claims and Interests.

         9.01. During the Agreement Effective Period, except pursuant to consummation of the
Transactions, no Consenting Stakeholder shall Transfer any ownership (including any beneficial ownership
as defined in the Rule 13d-3 under the Exchange Act) in any Company Claims/Interests to any affiliated or
unaffiliated party, including any party in which it may hold a direct or indirect beneficial interest, unless
either: (a) the transferee executes and delivers to counsel to the Company Parties and the counsel to the Ad
Hoc Group, before the time of the proposed Transfer, a Transfer Agreement and, solely in the case of

                                                        26
       Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 220 of 569



Interests (i) if such transfer would violate an NOL Order, the transferee provides the Company Parties and
the Ad Hoc Group Advisors reasonable time to analyze the tax consequences to the Company Parties of
such Transfer and (ii) the Company Parties consent to such Transfer (such consent not to be unreasonably
withheld, conditioned or delayed); or (b) solely in the case of Claims, the transferee (i) is not a Consenting
Stakeholder and the transferee executes and delivers to counsel to the Company Parties and counsel to the
Consenting Stakeholders, at or before the time such Transfer is effective, a Joinder or (ii) is a Consenting
Stakeholder and the transferee provides notice of such Transfer (including the amount and type of Claims)
to counsel to the Company Parties and the counsel to the Ad Hoc Group contemporaneously with the
proposed Transfer.

         9.02. Upon compliance with the requirements of Section 9.01, the transferor shall be deemed to
relinquish its rights (and be released from its obligations) under this Agreement only to the extent of the
rights and obligations in respect of such Transferred Company Claims/Interests, and the transferee shall be
deemed a “Consenting Stakeholder” (as a “Consenting Term Lender” or a “Consenting Stockholder Party”
as applicable) and a “Party” under this Agreement. Any Transfer in violation of Section 9.01 shall be void
ab initio.

         9.03. This Agreement shall in no way be construed to preclude the Consenting Stakeholders from
acquiring additional Claims. Notwithstanding the foregoing, (a) such additional Claims shall automatically
and immediately upon acquisition by a Consenting Stakeholder be deemed subject to the terms of this
Agreement (regardless of when or whether notice of such acquisition is given to counsel to the Company
Parties or counsel to the Consenting Stakeholders) and (b) such Consenting Stakeholder must provide
notice of such acquisition (including the amount and type of Claims acquired) to counsel to the Company
Parties and counsel to the Ad Hoc Group within three (3) Business Days of such acquisition.

         9.04. This Section 9 shall not impose any obligation on any Company Party to issue any
“cleansing letter” or otherwise publicly disclose information for the purpose of enabling a Consenting
Stakeholder to Transfer any of its Company Claims/Interests. Notwithstanding anything to the contrary in
this Agreement, to the extent a Company Party and another Party have entered into a Confidentiality
Agreement, the terms of such Confidentiality Agreement shall continue to apply and remain in full force
and effect according to its terms, and this Agreement does not supersede any rights or obligations otherwise
arising under such Confidentiality Agreements.

         9.05. Notwithstanding Section 9.01, a Qualified Marketmaker that acquires any Company
Claims/Interests with the purpose and intent of acting as a Qualified Marketmaker for such Company
Claims/Interests shall not be required to execute and deliver a Transfer Agreement in respect of such
Company Claims/Interests if (a) such Qualified Marketmaker subsequently Transfers such Company
Claims/Interests (by purchase, sale assignment, participation, or otherwise) within ten (10) Business Days
of its acquisition to a transferee that is an Entity that is not an Affiliate, affiliated fund, or affiliated Entity
with a common investment advisor; (b) the transferee otherwise is a Permitted Transferee under
Section 9.01; and (c) the Transfer otherwise is a permitted Transfer under Section 9.01. To the extent that
a Consenting Stakeholder is acting in its capacity as a Qualified Marketmaker, it may Transfer (by purchase,
sale, assignment, participation, or otherwise) any right, title or interests in Company Claims/Interests that
the Qualified Marketmaker acquires from a holder of the Company Claims/Interests who is not a
Consenting Stakeholder without the requirement that the transferee be a Permitted Transferee.
Notwithstanding anything herein to the contrary, this Section 9.05 shall not apply with respect to any
Interests owned or held by any Consenting Stockholder Party. For the avoidance of doubt, if a Qualified
Marketmaker acquires any Company Claims/Interests from a Consenting Stakeholder and is unable to
Transfer such Company Claims/Interests within the ten (10) Business Day-period referred to above, the
Qualified Marketmaker shall execute and deliver a Joinder in respect of such Company Claims/Interests.
Notwithstanding the immediately preceding sentence, a Qualified Marketmaker may Transfer any right,

                                                        27
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 221 of 569



title, or interest in any Company Claims/Interests that it acquires from a Consenting Stakeholder to another
Qualified Marketmaker (the “Transferee Qualified Marketmaker”) without the requirement that the
Transferee Qualified Marketmaker execute and deliver to each of counsel to the Company Parties and
counsel to the Ad Hoc Group, a Joinder in respect of such Company Claims/Interests or be a Permitted
Transferee, if such Transferee Qualified Marketmaker Transfers the right, title or interest in such Company
Claims/Interests within ten (10) Business Days of its acquisition from the Qualified Marketmaker to a
transferee that (A) is a Consenting Stakeholder or Permitted Transferee at the time of such Transfer or (B)
becomes a Consenting Stakeholder or Permitted Transferee by the date of settlement of such Transfer by
signing a Joinder. From the date of such Qualified Marketmaker’s acquisition or such Company
Claims/Interests through the date such Company Claims/Interests are Transferred in accordance herewith,
the Qualified Marketmaker shall vote such Company Claims/Interests as the Required Consenting
Stakeholders shall direct.

         9.06. Notwithstanding anything to the contrary in this Section 9, the restrictions on Transfer set
forth in this Section 9 shall not apply to the grant of any liens or encumbrances on any Claims in favor of a
bank or broker-dealer holding custody of such Claims and Interests in the ordinary course of business and
which lien or encumbrance is released upon the Transfer of such Claims.

         9.07. In connection with any Transfer permitted by this Section 9, each of the transferor and the
transferee shall deliver to the Company Parties such information and documentation as reasonably
requested by such Company Parties (including as requested by any transfer agent of such Company Parties)
in order to validly effectuate such Transfer and/or substantiate compliance with any applicable law.

Section 10.      Representations and Warranties of Consenting Term Lenders.

        Each of the Consenting Term Lenders represents, warrants, and covenants to each other Party,
severally, and not jointly, that, as of (i) the Execution Date and (ii) the Plan Effective Date (but, in respect
of the foregoing (ii), subject to changes resulting from any Transfers made pursuant to Section 9 of this
Agreement):

         (a)     (i) it is the beneficial or record owner of the face amount of the Company Claims/Interests
(or, with respect to Company Claims/Interests subject to an agreement to purchase which has not closed as
of the date hereof, will be the beneficial record owner of the face amount of the Company Claims/ Interests
upon closing) or is the nominee, investment manager, advisor, or subadvisor for beneficial holders of
the Company Claims/Interests reflected in such Consenting Term Lender’s signature page to this
Agreement or a Transfer Agreement, as applicable (as may be updated as a result of any Transfers pursuant
to Section 9 of this Agreement), (ii) having made reasonable inquiry and excluding Company
Claims/Interests held by a Consenting Term Lender in such Consenting Term Lender’s capacity as a
Qualified Marketmaker, it is not, to the best of its knowledge, the record owner of any Company
Claims/Interests other than those reflected in such Consenting Term Lender’s signature page to this
Agreement or a Transfer Agreement, as applicable (as may be updated as a result of any Transfers pursuant
to Section 9 of this Agreement), and (iii) all Affiliates of such Consenting Term Lender that are beneficial
or record owners of Company Claims/Interests (or, with respect to Company Claims/Interests subject to an
agreement to purchase which has not closed as of the date hereof, will be the beneficial record owner of the
face amount of the Company Claims/ Interests upon closing) have executed this Agreement;

        (b)    it has the full power and authority to act on behalf of, vote, and consent to matters
concerning, such Company Claims/Interests (or, with respect to Company Claims/Interests subject to an
agreement to purchase which has not closed as of the date hereof, will have such power and authority upon
closing);


                                                      28
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 222 of 569



         (c)     such Company Claims/Interests are free and clear of any pledge, lien, security interest,
charge, claim, equity, option, proxy, voting restriction, right of first refusal, or other limitation on
disposition, transfer, or encumbrances of any kind, that would adversely affect in any way such Consenting
Term Lender’s ability to perform any of its obligations under this Agreement at the time such obligations
are required to be performed;

        (d)      it has the full power to vote, approve changes to, and Transfer all of its Company
Claims/Interests referable to it as contemplated by this Agreement subject to applicable Law (or, with
respect to Company Claims/Interests subject to an agreement to purchase which has not closed as of the
date hereof, will have such power and authority upon closing); and

         (e)      it is either (i) a qualified institutional buyer as defined in Rule 144A of the Securities Act,
(ii) not a U.S. Person (as defined in Regulation S of the Securities Act), or (iii) an institutional accredited
investor (as defined in the Rules); and any securities acquired by such Consenting Term Lender in
connection with the Transactions will have been acquired for investment and not with a view to distribution
or resale in violation of the Securities Act.

Section 11.      Representations and Warranties of Consenting Stockholder Parties.

        Each of the Consenting Stockholder Parties represents, warrants, and covenants to each other Party,
severally, and not jointly, that, as of (i) the Execution Date and (ii) the Plan Effective Date (but, in respect
of the foregoing (ii), subject to changes resulting from any Transfers made pursuant to Section 9 of this
Agreement):

         (a)     (i) it is the beneficial or record owner of the Company Claims/Interests or is the nominee,
investment manager, advisor, or subadvisor for beneficial holders of the Company Claims/Interests
reflected in such Consenting Stockholder Party’s signature page to this Agreement or a Transfer Agreement,
as applicable (as may be updated as a result of any Transfers pursuant to Section 9 of this Agreement) and
(ii) having made reasonable inquiry, it is not the beneficial or record owner of any Company
Claims/Interests other than those reflected in such Consenting Stockholder Party’s signature page to this
Agreement or a Transfer Agreement, as applicable (as may be updated as a result of any Transfers pursuant
to Section 9 of this Agreement);

       (b)     it has the full power and authority to act on behalf of, vote, and consent to matters
concerning, such Company Claims/Interests (or, with respect to Company Claims/Interests subject to an
agreement to purchase which has not closed as of the date hereof, will have such power upon closing);

         (c)     such Company Claims/Interests are free and clear of any pledge, lien, security interest,
charge, claim, equity, option, proxy, voting restriction, right of first refusal, or other limitation on
disposition, transfer, or encumbrances of any kind, that would adversely affect in any way such Consenting
Stockholder Party’s ability to perform any of its obligations under this Agreement at the time such
obligations are required to be performed, other than (i) any such restriction arising under this Agreement
and (ii) any such restriction arising under applicable state or federal securities Laws;

         (d)     it has the full power to vote, approve changes to, and transfer all of its Company
Claims/Interests referable to it above as contemplated by this Agreement subject to applicable Law (or,
with respect to Company Claims/Interests subject to an agreement to purchase which has not closed as of
the date hereof, will have such power upon closing); and

         (e)      solely with respect to holders of Company Claims/Interests constituting securities, it is
either (i) a qualified institutional buyer as defined in Rule 144A of the Securities Act, (ii) not a U.S. person

                                                       29
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 223 of 569



(as defined in Regulation S of the Securities Act), or (iii) an institutional accredited investor (as defined in
the Rules); and any securities acquired by such Consenting Stockholder in connection with the Transactions
will have been acquired for investment and not with a view to distribution or resale in violation of the
Securities Act.

Section 12.      Representations and Warranties of Company Parties.

       Each of the Company Parties represents, warrants, and covenants to each other Party that, as of the
Execution Date and as of the Plan Effective Date:

         (a)      to the best of the Company Parties’ knowledge, the execution and delivery by it of this
Agreement does not result in a breach of, or constitute (with due notice or lapse of time or both) a default
(other than, for the avoidance of doubt, a breach or default that would be triggered as a result of the Chapter
11 Cases or any Company Party’s undertaking to implement the Transactions through the Chapter 11 Cases)
under any material contractual obligation to which it is a party; and

       (b)     the execution and delivery of this Agreement and the performance of its obligations
hereunder have been duly authorized by all necessary corporate or other organizational action on its part.

Section 13.      Mutual Representations, Warranties, and Covenants.

         Each of the Parties represents, warrants, and covenants to each other Party, severally, and not
jointly, that, as of (i) the Execution Date and (ii) the Plan Effective Date (but, in respect of the foregoing
(i), subject to changes resulting from any Transfers made pursuant to Section 9 of this Agreement):

         (a)     it is validly existing and in good standing under the Laws of the state or jurisdiction of its
organization, and this Agreement is a legal, valid, and binding obligation of such Party, enforceable against
it in accordance with its terms, except as enforcement may be limited by applicable Laws relating to or
limiting creditors’ rights generally or by equitable principles relating to enforceability;

        (b)    except as expressly provided in this Agreement, the Plan, and the Bankruptcy Code, no
consent or approval is required by any Person or Entity in order for it to effectuate the Transactions
contemplated by, and perform its respective obligations under, this Agreement;

         (c)      except as expressly provided in this Agreement, the Plan, and the Bankruptcy Code, the
entry into and performance by it of, and the transactions contemplated by, this Agreement do not, and will
not, (i) conflict in any material respect with any Law or regulation applicable to it or with any of its
certificates of incorporation, bylaws, limited liability company agreements, or other Organizational
Documents, or (ii) conflict with, result in a breach of, or constitute a default under any material contractual
obligation to which it is a party (provided, however, that with respect to the Company, it is understood that
commencing the Chapter 11 Cases may result in a breach of or constitute a default under such obligations);

         (d)     except as expressly provided in this Agreement, it has (or will have, at the relevant time)
all requisite corporate or other power and authority to enter into, execute, and deliver this Agreement to
effectuate the Transactions contemplated by, and perform its respective obligations under, this Agreement;

         (e)      it has sufficient knowledge and experience to evaluate properly the terms and conditions
of this Agreement, and has been afforded the opportunity to consult with its legal and financial advisors
with respect to its decision to execute this Agreement, and it has made its own analysis and decision to enter
into this Agreement and otherwise investigated this matter to its full satisfaction; and



                                                      30
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 224 of 569



        (f)    except as expressly provided by this Agreement, it is not party with the other Parties to this
Agreement to any restructuring or similar agreements or arrangements regarding the indebtedness of any
of the Company Parties that have not been disclosed to all Parties to this Agreement.

Section 14.     Termination Events.

        14.01. Required Consenting Term Lender Termination Events. This Agreement may be
terminated by the Required Consenting Term Lenders, by the delivery to the other Parties or counsel to the
other Parties of a written notice in accordance with Section 17.11 hereof upon the occurrence of any of the
following events (a “Termination Notice”):

         (a)     except as otherwise provided under this Section 14.01, any Company Party or Consenting
Stockholder Party (i) breaches in any material respect any of the representations, warranties, or covenants
of such Company Party or Consenting Stockholder Party, as applicable and such breach has not been cured
(to the extent curable) before the earlier of (A) three (3) days after Required Consenting Term Lenders
transmit a written notice in accordance with Section 17.11 hereof detailing any such breach and (B) one (1)
calendar day prior to any proposed Plan Effective Date, as applicable; (ii) takes any action (or refrains from
taking any action) materially inconsistent with this Agreement; or (iii) amends or modifies (or consents to
any amendment or modification of any of) the Definitive Documents other than, in each case, in a
non-material or ministerial respect, unless such amendment or modification is otherwise consented to in
accordance with Section 3 hereof;

        (b)      the issuance by any Governmental Body, including any regulatory authority or court of
competent jurisdiction, of any final, non-appealable ruling or order that (i) enjoins the consummation of a
material portion of the Transactions and (ii) remains in effect for five (5) days after Required Consenting
Term Lenders transmit a written notice in accordance with Section 17.11 hereof detailing any such issuance;
provided that this termination right may not be exercised if any Consenting Term Lender sought, requested,
or affirmatively consented to such ruling or order in contravention of any obligation set out in this
Agreement; provided, further, that, at the Company Parties’ sole cost and expense, the Required Consenting
Term Lenders will work in good faith to assist the Company Parties in seeking to overturn or vacate such
ruling or order;

        (c)      the Company’s execution, delivery, amendment, modification, or filing of a pleading
seeking approval of, or authority to amend or modify, any Definitive Document that, in any such case, is
not consistent in all material respects with this Agreement or otherwise reasonably acceptable, as the case
may be as set forth in Section 3.02, to the Required Consenting Term Lenders;

         (d)     any Company Party’s (i) withdrawal of the Plan (if applicable), (ii) public announcement
of its intention not to support the Transactions, or (iii) filing, public announcement, or execution of a
definitive written agreement with respect to an Alternative Transaction Proposal;

        (e)       the board of directors, board of managers, or such similar governing body of any Company
Party determines, in good faith, after consulting with outside counsel, (i) that proceeding with any of the
Transactions would be inconsistent with the exercise of its fiduciary duties or applicable Law, (ii) in the
exercise of its fiduciary duties, to pursue an Alternative Transaction Proposal (including as contemplated
by Section 8.01), or (iii) provides notice to counsel to the Ad Hoc Group that it is exercising its right
pursuant to Section 8.01;

         (f)    other than by a Consenting Term Lender, the commencement of an involuntary case against
any Company Party or the filing of an involuntary petition seeking bankruptcy, winding up, dissolution,
liquidation, administration, moratorium, reorganization, or other relief in respect of any Company Party, or

                                                     31
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 225 of 569



any Company Party’s debts, or of a substantial part of any Company Party’s assets, under any federal, state,
or foreign bankruptcy, insolvency, administrative receivership or similar Law now or hereafter in effect
(provided that such involuntary proceeding is not dismissed within a period of forty-five (45) days after the
filing thereof) or if any court grants the relief sought in such involuntary proceeding;

        (g)      any Company Party (i) voluntarily commences any case or files any petition seeking
bankruptcy, winding up, dissolution, liquidation, administration, moratorium, reorganization, or other relief
under any federal, state or foreign bankruptcy, insolvency, administrative receivership, or similar law now
or hereafter in effect except as contemplated by this Agreement or with the prior written consent of the
Required Consenting Term Lenders, (ii) consents to the institution of, or fails to contest in a timely and
appropriate manner, any involuntary proceeding or petition described above, or (iii) makes a general
assignment or arrangement for the benefit of creditors except as contemplated by this Agreement;

          (h)     any Definitive Document: (i) (A) contains terms, conditions, representations, warranties or
covenants that are not materially consistent with the terms of this Agreement or the Term Sheets (it being
understood that nothing in this Agreement shall be construed to require or allow the execution of any
Definitive Document containing terms, conditions, representations, warranties, or covenants that are not
consistent with the terms of this Agreement and the Term Sheets, including the consent rights set forth in
Section 3.02), (B) is amended or modified in a manner that is inconsistent with or not permitted by this
Agreement or the Term Sheets without the consent of each applicable Party in accordance with its approval
rights under this Agreement, or (C) is withdrawn, in each case under the foregoing subclauses (A)-(C),
without the consent of each applicable Party in accordance with its approval rights under this Agreement;
(ii) if such Definitive Document has been or is executed prior to the Plan Effective Date, such Definitive
Document is terminated in accordance with its terms; or (iii) if such Definitive Document is an order, such
order is materially stayed, reversed, vacated, or adversely modified, without the prior written consent of
each applicable Party in accordance with its approval rights under this Agreement, unless the Company
Parties have sought a stay of such order within five (5) Business Days after the date of such issuance, and
such order is stayed, reversed or vacated within twenty-one (21) Business Days after the date of such
issuance;

        (i)      the entry of an order by the Bankruptcy Court, or the support or filing of a motion or
application by any Company Party seeking an order (without the prior written consent of the Required
Consenting Term Lenders), (i) converting one or more of the Chapter 11 Cases of a Company Party to a
case under chapter 7 of the Bankruptcy Code, (ii) appointing an examiner with expanded powers beyond
those set forth in sections 1106(a)(3) and (4) of the Bankruptcy Code or a trustee in one or more of the
Chapter 11 Cases of a Company Party, or (iii) rejecting this Agreement;

        (j)      termination of the DIP Facilities or acceleration of the obligations under the DIP Facilities;

        (k)      the failure to meet a Milestone, which has not been waived or extended in a manner
consistent with this Agreement, unless such failure is the result of any act, omission, or delay on the part of
the terminating Consenting Term Lender in violation of its obligations under this Agreement;

        (l)      any Company Party files any motion or pleading with the Bankruptcy Court that is
inconsistent in any material respect with this Agreement and such motion has not been withdrawn within
two (2) Business Days of receipt by the Company Parties of written notice from any Required Consenting
Term Lenders that such motion or pleading is inconsistent with this Agreement;

        (m)     any Company Party loses the exclusive right to file a chapter 11 plan or to solicit
acceptances thereof pursuant to section 1121 of the Bankruptcy Code;



                                                      32
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 226 of 569



        (n)     the Bankruptcy Court enters an order invalidating, disallowing, subordinating,
recharacterizing or limiting, as applicable, any of the DIP Term Loans or the Term Loans, or any of the
encumbrances that secure (or purport to secure) the DIP Term Loans or the Term Loans;

         (o)       the Bankruptcy Court grants relief terminating, annulling, or modifying the automatic stay
(as set forth in section 362 of the Bankruptcy Code) with regard to any asset of the Company Parties having
an aggregate fair market value in excess of $500,000 without the prior written consent of the Required
Consenting Term Lenders; provided, however, that any modification of the automatic stay expressly
provided by the DIP/Cash Collateral Orders or any orders entered in connection with any First Day
Pleadings, shall not constitute a Termination Event;

        (p)     the happening or existence of any event that shall have made any of the conditions
precedent to the consummation of the Transactions as set forth in this Agreement (if any), the Plan, or the
section of the Transaction Term Sheet entitled “Conditions Precedent to the Plan Effective Date”, if
applicable, incapable of being satisfied prior to the Outside Date, except where such condition precedent
has been waived by the applicable Parties; provided that the right to terminate this Agreement under this
Section 14.01(p) shall not be available to any Consenting Term Lenders if the happening or existence of
such event is directly caused by, or results from, the breach by such Consenting Term Lenders of their
covenants, agreements, or other obligations under this Agreement;

       (q)      the Plan Effective Date has not occurred by the Outside Date (as such date may have been
extended in accordance with the provisions of this Agreement);

        (r)      the Bankruptcy Court enters an order denying confirmation of the Plan and such order
remains in effect for ten (10) days after entry of such order; provided, that no Consenting Term Lender
shall have the right to terminate this Agreement pursuant to this Section 14.01(r) if the Bankruptcy Court
denies confirmation of the Plan subject only to the making of ministerial, administrative, or immaterial
modifications to the Plan;

      (s)      the Bankruptcy Court grants relief pursuant to a Final Order that is inconsistent with this
Agreement or the Transaction Term Sheet in any material respect;

        (t)     any Debtor consummates debtor-in-possession financing, cash collateral usage, exit
financing and/or other financing arrangement that is in an amount, on terms and conditions, or otherwise in
form and substance, that is/are not acceptable to the Required Consenting Term Lenders;

        (u)     prior to the closing of the DIP Term Loan Credit Agreement, the occurrence of a material
Event of Default under the Term Loan Credit Agreement, other than a Specified Default, that has not been
cured within any applicable grace periods or waived pursuant to the terms of the Term Loan Credit
Agreement;

        (v)     any Company Party terminates this Agreement pursuant to Section 14.02;

        (w)     the Bankruptcy Court enters an order denying confirmation of the Plan or, without the
consent of the Required Consenting Term Lenders, disallowing any material provision thereof and such
order remains in effect for thirty (30) Business Days after entry of such order;

        (x)     any court of competent jurisdiction has entered a final, non-appealable judgment or order
declaring this Agreement to be unenforceable; or




                                                     33
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 227 of 569



         (y)    the failure to fund the DIP ABL Facility or to convert the DIP ABL Facility into Exit ABL
Loans.

         14.02. Company Party Termination Events. Any Company Party may terminate this Agreement
as to all Parties upon prior written notice to all Parties in accordance with Section 17.11 hereof upon the
occurrence of any of the following events:

         (a)     the breach in any material respect by one or more of the Consenting Stakeholders of any
of any of the representations, warranties, covenants or other obligations or agreements of the Consenting
Stakeholders in any material respects such that the non-breaching Consenting Stakeholders own or control
less than 66 and 2/3% in aggregate principal amount of all outstanding prepetition Term Loan Claims, that
remains uncured (to the extent curable) for a period of five (5) Business Days after the terminating Company
Party transmits a written notice to the Consenting Stakeholders in accordance with Section 17.11 of this
Agreement detailing any such breach;

         (b)    the board of directors, board of managers, or such similar governing body of any Company
Party determines, in good faith, after consulting with outside counsel, and complying with Section 8, and
notifies counsel to the Consenting Stakeholders that proceeding with any of the Transactions would be
inconsistent with the exercise of its fiduciary duties or applicable Law;

         (c)    the issuance by any Governmental Body, including any regulatory authority or court of
competent jurisdiction, of any final, non-appealable ruling or order that (i) enjoins the consummation of a
material portion of the Transactions and (ii) remains in effect for forty-five (45) Business Days after the
terminating Company Party transmits a written notice in accordance with Section 17.11 of this Agreement
detailing any such issuance;

        (d)     any court of competent jurisdiction has entered a final, non-appealable judgment or order
declaring this Agreement to be unenforceable; or

       (e)     the failure of any of the DIP Backstop Parties to fund the New Money DIP Term Loans in
accordance with this Agreement and the other Definitive Documents.

         14.03. Consenting Stockholder Party Termination Events. This Agreement may be terminated
solely with respect to the Consenting Stockholder Parties only by the Required Consenting Stockholder
Parties (in such capacity, a “Stockholder Terminating Party”), upon written notice to the other Parties in
accordance with Section 17.11 hereof upon the occurrence of any of the following events:

        (a)      any Company Party or Consenting Term Lender (i) breaches in any material respect any of
the representations, warranties, or covenants of such Party, and such breach has not been cured (to the
extent curable) before the earlier of (A) eight (8) days after such terminating Consenting Stockholder Party
transmits a written notice in accordance with Section 17.11 hereof detailing any such breach and (B) one
(1) calendar day prior to any proposed Plan Effective Date, as applicable; (ii) takes any action (or refrains
from taking any action) inconsistent with this Agreement and that is materially adverse to the Consenting
Stockholder Party Matters and the Consenting Stockholder Parties seeking termination pursuant to this
provision; or (iii) amends or modifies (or consents to any amendment or modification of any of) the
Definitive Documents other than, in each case, in a de minimis or ministerial respect, unless such
amendment or modification is otherwise consented to in accordance with Section 3.02 hereof;

        (b)     the issuance by any Governmental Body, including any regulatory authority or court of
competent jurisdiction, of any final, non-appealable ruling or order that (i) enjoins the consummation of a
material portion of the Transactions and (ii) remains in effect for thirty (30) Business Days after any

                                                     34
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 228 of 569



Consenting Stockholder Party transmits a written notice in accordance with Section 17.11 hereof detailing
any such issuance; provided that this termination right may not apply to or be exercised by any Consenting
Stockholder Party that sought or requested such ruling or order in contravention of any obligation or
restriction set out in this Agreement;

          (c)     any Company Party’s (i) withdrawal of the Plan (if applicable), (ii) public announcement
of its intention not to support the Transactions, (iii) filing, public announcement, or execution of a definitive
written agreement with respect to an Alternative Transaction Proposal, or (iv) public announcement of its
intent to pursue, an Alternative Transaction Proposal;

         (d)     the board of directors, board of managers, or such similar governing body of any Company
Party determines, after consulting with outside counsel, (i) that proceeding with any of the Transactions
would be inconsistent with the exercise of its fiduciary duties or applicable Law, or (ii) in the exercise of
its fiduciary duties, to pursue an Alternative Transaction Proposal (including as contemplated by Section
8.01); provided that this termination right may not be exercised by a Consenting Stockholder Party unless
the events described herein remain uncured after fifteen (15) Business Days following the delivery of a
Termination Notice by such Consenting Stockholder Party;

         (e)     other than by the Stockholder Terminating Party, the commencement of an involuntary
case against any Company Party or the filing of an involuntary petition seeking bankruptcy, winding up,
dissolution, liquidation, administration, moratorium, reorganization, or other relief in respect of any
Company Party, or any Company Party’s debts, or of a substantial part of any Company Party’s assets,
under any federal, state, or foreign bankruptcy, insolvency, administrative receivership or similar Law now
or hereafter in effect (provided that such involuntary proceeding is not dismissed within a period of forty-
five (45) days after the filing thereof) or if any court grants the relief sought in such involuntary proceeding;

        (f)      any Company Party (i) voluntarily commences any case or files any petition seeking
bankruptcy, winding up, dissolution, liquidation, administration, moratorium, reorganization, or other relief
under any federal, state or foreign bankruptcy, insolvency, administrative receivership, or similar Law now
or hereafter in effect except as contemplated by this Agreement and with the prior written consent of the
Stockholder Terminating Party, (ii) consents to the institution of, or fails to contest in a timely and
appropriate manner, any involuntary proceeding or petition described above, or (iii) makes a general
assignment or arrangement for the benefit of creditors;

         (g)     any Definitive Document, after execution or approval of any Governmental Body, as
applicable: (i) (A) contains terms, conditions, representations, warranties or covenants that are not
materially consistent with the terms of this Agreement or the Transaction Term Sheet (it being understood
that nothing in this Agreement shall be construed to require or allow for the execution of any Definitive
Document containing terms, conditions, representations, warranties, or covenants that are not materially
consistent with the terms of this Agreement or the Transaction Term Sheet), (B) is amended or modified in
a manner that is materially inconsistent with or not permitted by this Agreement or the Transaction Term
Sheet without the consent of each applicable Party in accordance with its approval rights under this
Agreement, or (C) is withdrawn, in each case, without the consent of each applicable Party in accordance
with its approval rights under this Agreement; (ii) if such Definitive Document has been or is executed prior
to the Plan Effective Date, such Definitive Document is terminated in accordance with its terms; or (iii) if
such Definitive Document is an order, such order is materially stayed, reversed, vacated, or adversely
modified, without the prior written consent of each applicable Party in accordance with its approval rights
under this Agreement, unless the Company Parties have sought a stay of such order within fifteen (15)
Business Days after the date of such issuance, and such order is stayed, reversed or vacated within forty-
five (45) Business Days after the date of such issuance;


                                                       35
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 229 of 569



         (h)      the entry of an order by the Bankruptcy Court, or the support or filing of a motion or
application by any Company Party seeking an order (without the prior written consent of the Consenting
Stockholder Parties), (i) converting one or more of the Chapter 11 Cases of a Company Party to a case
under chapter 7 of the Bankruptcy Code, (ii) appointing an examiner with expanded powers beyond those
set forth in sections 1106(a)(3) and (4) of the Bankruptcy Code or a trustee in one or more of the Chapter
11 Cases of a Company Party, or (iii) rejecting this Agreement;

         (i)     the happening or existence of any event that shall have made impossible any of the
conditions precedent to the consummation of the Transactions as set forth in this Agreement (if any) or the
Plan; provided, that the right to terminate this Agreement under this Section 14.03(i) shall not be available
to any Consenting Stockholder Parties if the happening or existence of such event is directly caused by, or
results from, the breach by such Consenting Stockholder Parties of their covenants, agreements, or other
obligations under this Agreement;

        (j)     any court of competent jurisdiction has entered a final, non-appealable judgment or order
declaring this Agreement to be unenforceable;

       (k)      the Bankruptcy Court enters an order denying confirmation of the Plan and such order
remains in effect for ten (10) Business Days after entry of such order; provided, that no Consenting Term
Lender shall have the right to terminate this Agreement pursuant to this Section 14.03(k) if the Bankruptcy
Court denies confirmation of the Plan subject only to the making of ministerial, administrative, or
immaterial modifications to the Plan; the Bankruptcy Court grants relief that is inconsistent with this
Agreement or the Transaction Term Sheet in any material respect; or any Company Party terminates this
Agreement pursuant to Section 14.02.

        14.04. Mutual Termination. This Agreement, and the obligations of all Parties hereunder, may be
terminated by mutual written agreement among all of the following: (a) the Required Consenting Term
Lenders; (b) each Company Party; and (c) the Required Consenting Stockholder Parties.

         14.05. Automatic Termination. This Agreement shall terminate automatically as to all Parties
without any further required action or notice immediately after the occurrence of the earlier of (x) the
Outside Date or (y) Plan Effective Date, as applicable, other than with respect to (i) the Company Parties’
obligations (or the obligations of their successors in interest) to pay the Transaction Party Fees and Expenses
incurred through and after the Plan Effective Date, which obligation will survive automatic termination,
(ii) any indemnification obligations assumed pursuant to the Transaction Term Sheet or Definitive
Documents, and (iii) the provisions of this Agreement set forth in Section 17.21.

         14.06. Effect of Termination. Upon the occurrence of a Termination Date, and other than as set
forth in Section 14.05 upon an automatic termination of this Agreement, this Agreement shall be of no
further force and effect as to such Party and each Party subject to such termination shall be released from
its commitments, undertakings, and agreements under or related to this Agreement and shall have the rights
and remedies that it would have had, had it not entered into this Agreement, and shall be entitled to take all
actions, whether with respect to the Transactions or otherwise, that it would have been entitled to take had
it not entered into this Agreement, including with respect to any and all Claims or Causes of Action;
provided, however, that in no event shall any such termination relieve any Party from (i) liability for its
willful or intentional breach or non-performance of its obligations under this Agreement prior to the
Termination Date or (ii) obligations under this Agreement which by their terms expressly survive
termination of this Agreement. Upon the occurrence of a Termination Date prior to the Plan Effective Date,
cause exists pursuant to Rule 3018 of the Federal Rules of Bankruptcy Procedure and, subject to the
requirements of such rule, any and all consents, directions, votes, or ballots provided or tendered by the
Parties subject to such termination with respect to the Transactions, in each case before the Termination

                                                      36
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 230 of 569



Date, shall be deemed, for all purposes, to be null and void from the first instance and shall not be considered
or otherwise used in any manner by the Parties in connection with the Transactions, this Agreement, or
otherwise (without the need to seek an order of a court of competent jurisdiction or consent from the
Company Parties or any other applicable Party allowing such change). If this Agreement is terminated in
accordance with this Section 14, each Consenting Stakeholder shall have an opportunity to change or
withdraw (or cause to change or withdraw) its vote to accept the Plan or its consent (regardless of whether
any deadline for votes or consents, or for withdrawal thereof, set forth in the Disclosure Statement has
passed) and no Company Party shall oppose any attempt by such Consenting Stakeholder to change or
withdraw (or cause to change or withdraw) such vote or consent at such time. Nothing in this Agreement
shall be construed as prohibiting a Company Party or any of the Consenting Stakeholders from contesting
whether any such termination is in accordance with its terms or to seek enforcement of any rights under
this Agreement that arose or existed before a Termination Date. Except as expressly provided in this
Agreement, nothing herein is intended to, or does, in any manner waive, limit, impair, or restrict (a) any
right of any Company Party or the ability of any Company Party to protect and preserve its rights (including
rights under this Agreement), remedies, and interests, including its claims against any Consenting
Stakeholder, and (b) any right of any Consenting Stakeholder or the ability of any Consenting Stakeholder
to protect and preserve its rights (including rights under this Agreement), remedies, and interests, including
its claims against any Company Party or other Consenting Stakeholder. No purported termination of this
Agreement shall be effective under this Section 14.06 or otherwise if the Party seeking to terminate this
Agreement is in material breach of this Agreement or directly or intentionally caused or otherwise supported
any action resulting in material breach of this Agreement. Nothing in this Section 14.06 shall restrict any
Company Party’s right to terminate this Agreement in accordance with Section 14.02(b). For the avoidance
of doubt, nothing in this Section 14.06 shall alter the Company Parties’ obligations (or the obligations of
their successors in interest) to pay the Transaction Party Fees and Expenses incurred through the
Termination Date pursuant to Section 17.05.

Section 15.      Amendments and Waivers.

        15.01. This Agreement may not be modified, amended, or supplemented, and no condition or
requirement of this Agreement may be waived, in any manner except in accordance with this Section 15.

        15.02. Except as otherwise expressly provided, this Agreement may be modified, amended, or
supplemented, or a condition or requirement of this Agreement may be waived (collectively, each
a “Modification/Waiver”), in a writing signed by: (i) each Company Party, (ii) the Required Consenting
Term Lenders, (iii) if the Modification/Waiver involves a Consenting Stockholder Party Matter, the
Required Consenting Stockholder Parties, (iv) in the case of any Modification/Waiver to Section 10 or
Section 13 that expands the representations made by a Consenting Stakeholder thereunder, each such
affected Consenting Stakeholder, and (v) in the case of a Joinder, the Joinder will be effective upon
execution by the Joinder Party, and in the case of any Modification/Waiver thereof, the Company Parties
and the respective Joinder Party with the consent of the Required Consenting Term Lenders, provided,
however, that (y) if the proposed modification, amendment, waiver, or supplement has a material,
disproportionate, and adverse effect on (i) the treatment of Company Claims/Interests held by a Consenting
Stakeholder relative to the Company Claims/Interests of such type held by the other Consenting
Stakeholders, or (ii) the rights or obligations of a Consenting Stakeholder under this Agreement or the other
Definitive Documents relative to such rights or obligations of the other Consenting Stakeholders, then, in
each case, the consent of each such affected Consenting Stakeholder shall also be required to effectuate
such modification, amendment, waiver, or supplement, and (z) any modification, amendment, or
supplement to Section 14.05 or Section 15 or any modification or amendment to the definitions of
“Company Parties,” “Required Consenting Stakeholders,” “Required Consenting Stockholder Parties,” and
any other defined term whose definition affects the Entities covered by “Company Parties” or “Required
Consenting Stakeholders,” shall require the written consent of all Parties.

                                                      37
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 231 of 569



         15.03. In determining whether any consent or approval has been given by the Required
Consenting Stakeholders, any Company Claims/Interests held by any then-existing Consenting Stakeholder
that is in material breach of its covenants, obligations, or representations under this Agreement shall be
excluded from such determination, and the Company Claims/Interests, as applicable, held by such
Consenting Stakeholder shall be treated as if they were not outstanding.

        15.04. Any proposed modification, amendment, waiver, or supplement that does not comply with
this Section 15 shall be ineffective and void ab initio.

        15.05. The waiver by any Party of a breach of any provision of this Agreement shall not operate
or be construed as a further or continuing waiver of such breach or as a waiver of any other or subsequent
breach. No failure on the part of any Party to exercise, and no delay in exercising, any right, power or
remedy under this Agreement shall operate as a waiver of any such right, power or remedy or any provision
of this Agreement, nor shall any single or partial exercise of such right, power or remedy by such Party
preclude any other or further exercise of such right, power or remedy or the exercise of any other right,
power or remedy. All remedies under this Agreement are cumulative and are not exclusive of any other
remedies provided by Law.

Section 16.     Termination of Existing Stockholders Agreement.

       16.01. Effective as of the Plan Effective Date, the Existing Stockholders Agreement shall be
deemed to be terminated, canceled, released, and extinguished in accordance with section 5.9 thereof;
provided that the foregoing shall not apply to any indemnification obligations assumed pursuant to the
Transaction Term Sheet or Definitive Documents.

Section 17.     Miscellaneous.

        17.01. Acknowledgement.

         (a)     Each Party irrevocably acknowledges and agrees that this Agreement is not and shall not
be deemed to be a solicitation for acceptances of a chapter 11 plan of reorganization for purposes of sections
1125 and 1126 of the Bankruptcy Code or otherwise. Any such solicitation will be made only in compliance
with all applicable provisions of the Bankruptcy Code, and/or other applicable Law.

         (b)     Notwithstanding any other provision in this Agreement, this Agreement is not and shall
not be deemed to be an offer with respect to any securities. Any such offer will be made only in compliance
with all applicable securities Laws, and/or other applicable Law.

         17.02. Exhibits Incorporated by Reference. Each of the term sheets, exhibits, annexes, signatures
pages, and schedules attached hereto is expressly incorporated herein and made a part of this Agreement,
and all references to this Agreement shall include such exhibits, annexes, and schedules.

        17.03. Further Assurances. Subject to the other terms of this Agreement, the Parties agree to
execute and deliver such other instruments and perform such acts, in addition to the matters specified in
this Agreement, as may be reasonably appropriate or necessary, or as may be required by order of the
Bankruptcy Court, from time to time, to effectuate the Transactions and intent of this Agreement.

        17.04. Complete Agreement. Except as otherwise explicitly provided in this Agreement, this
Agreement constitutes the entire agreement among the Parties with respect to the subject matter hereof and
supersedes all prior agreements, oral or written, among the Parties with respect to the subject matter of this
Agreement, other than any Confidentiality Agreement.


                                                     38
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 232 of 569



        17.05. Fees and Expenses.

          (a)      Whether or not the transactions contemplated by this Agreement are consummated, the
Company Parties hereby agree, on a joint and several basis, to pay in cash the Transaction Party Fees and
Expenses as follows: (i) all Transaction Party Fees and Expenses to be paid on (and including) the TSA
Effective Date for which summary invoices (which may be drafted to ensure the maintenance of all
applicable legal privileges and which shall include estimated fees and expenses incurred after the TSA
Effective Date and before the Petition Date) have been received by the Company Parties no later than three
(3) days before the anticipated TSA Effective Date shall be paid in full in cash on the TSA Effective Date;
(ii) after the Petition Date (to the extent permitted by order of the Bankruptcy Court) all accrued and unpaid
Transaction Party Fees and Expenses shall be paid in full in cash by the Company Parties on a regular and
continuing basis promptly (but in any event within ten (10) days) following receipt of summary invoices
(which may be drafted to ensure the maintenance of all applicable legal privileges) and shall otherwise be
paid in accordance with subsection (iv); (iii) upon termination of this Agreement (other than a termination
of this Agreement pursuant to Section 14.05 on account of the occurrence of the Plan Effective Date, which
is addressed in clause (v) of this Section 17.050), all accrued and unpaid Transaction Party Fees and
Expenses incurred up to (and including) the Termination Date shall be paid in full in cash promptly (but in
any event within ten (10) days) following receipt of summary invoices (which may be drafted to ensure the
maintenance of all applicable legal privileges); and (iv) all Transaction Party Fees and Expenses to be paid
on the Plan Effective Date shall be estimated before and as of the Plan Effective Date and such estimates
shall be delivered to the Debtors at least two (2) days before the anticipated Plan Effective Date; provided,
however, that (A) such estimates shall not be considered an admission or limitation with respect to such
Transaction Party Fees and Expenses, (B) on the Plan Effective Date, or as soon as practicable thereafter,
final invoices for all Transaction Party Fees and Expenses incurred before and as of the Plan Effective Date
shall be submitted to the Company Parties, and (C) the Company Parties shall continue to pay, when due
and payable in the ordinary course, pre- Plan Effective Date Transaction Party Fees and Expenses related
to the Transactions, incurred before the Plan Effective Date, in accordance with any engagement and/or fee
letters with the Company Parties. To the extent applicable, the Plan and any DIP/Cash Collateral Order
shall contain appropriate provisions to give effect to the obligations under this Section 17.05.

         (b)      The Company Parties hereby acknowledge and agree that the Consenting Stakeholders
have expended, and will continue to expend, considerable time, effort, and expense in connection with this
Agreement and the negotiation of the Transactions, and that this Agreement provides substantial value to,
is beneficial to, and is necessary to preserve, the Company Parties, and that the Consenting Stakeholders
have made a substantial contribution to the Company Parties and the Transactions. To the extent applicable,
subject to the approval of the Bankruptcy Court, the Company Parties shall reimburse or pay (as the case
may be) all reasonable and documented Transaction Party Fees and Expenses pursuant to section 1129(a)(4)
of the Bankruptcy Code or otherwise. The Company Parties hereby acknowledge and agree that the
Transaction Party Fees and Expenses are of the type that should be entitled to treatment as, and the
Company Parties shall seek treatment of such Transaction Party Fees and Expenses as, administrative
expense claims pursuant to sections 503(b) and 507(a)(2) of the Bankruptcy Code. For the avoidance of
doubt, nothing in this Section 17.05 shall require the Debtors to assume this Agreement during the Chapter
11 Cases.

      17.06. GOVERNING LAW; SUBMISSION TO JURISDICTION; SELECTION OF
FORUM. THIS AGREEMENT, THE RIGHTS AND OBLIGATIONS OF THE PARTIES HEREUNDER
AND ANY CLAIM, CONTROVERSY OR DISPUTE ARISING UNDER OR RELATED TO THIS
AGREEMENT (WHETHER IN CONTRACT, TORT OR OTHERWISE), IS TO BE GOVERNED BY
AND CONSTRUED IN ACCORDANCE WITH (A) THE LAWS OF THE STATE OF NEW YORK
APPLICABLE TO CONTRACTS MADE AND TO BE PERFORMED IN SUCH STATE, WITHOUT
GIVING EFFECT TO THE CONFLICT OF LAWS PRINCIPLES THEREOF; AND (B) IF THE

                                                     39
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 233 of 569



CHAPTER 11 CASES ARE FILED, THE BANKRUPTCY CODE. Any suit, action, or proceeding
brought in connection with this Agreement, whether in contract, tort or otherwise, shall be brought in the
federal or state courts located in the City of New York, borough of Manhattan, New York, and the Parties
hereby irrevocably consent to the exclusive jurisdiction of such courts, agree not to commence any suit,
action, or proceeding relating thereto except in such courts, and waive, to the fullest extent permitted by
Law, the right to move to dismiss or transfer any suit, action or proceedings brought in such court on the
basis of any objections as to venue or inconvenient forum or on the basis of any objection to personal
jurisdiction. Notwithstanding the foregoing consent to New York jurisdiction, if the Chapter 11 Cases are
commenced, each Party agrees that the Bankruptcy Court shall have exclusive jurisdiction of all matters
arising out of or in connection with this Agreement. By executing and delivering this Agreement, and upon
commencement of the Chapter 11 Cases, each of the Parties irrevocably and unconditionally submits to the
exclusive jurisdiction of the Bankruptcy Court, waives any objection to laying venue in any such action or
proceeding in the Bankruptcy Court, and waives any objection that the Bankruptcy Court is an inconvenient
forum or does not have jurisdiction over any Party hereto.

     17.07. TRIAL BY JURY WAIVER. EACH OF THE PARTIES IRREVOCABLY WAIVES
ANY RIGHT TO HAVE A JURY PARTICIPATE IN RESOLVING ANY DISPUTE, WHETHER
SOUNDING IN CONTRACT, TORT OR OTHERWISE, BETWEEN ANY OF THE PARTIES ARISING
OUT OF OR RELATING TO THIS AGREEMENT OR THE TRANSACTIONS CONTEMPLATED
HEREBY. INSTEAD, ANY DISPUTES RESOLVED IN COURT SHALL BE RESOLVED IN A
BENCH TRIAL WITHOUT A JURY.

        17.08. Execution of Agreement. This Agreement may be executed and delivered in any number
of counterparts and by way of electronic signature and delivery, each such counterpart, when executed and
delivered, shall be deemed an original, and all of which together shall constitute the same
agreement. Except as expressly provided in this Agreement, each individual executing this Agreement on
behalf of a Party has been duly authorized and empowered to execute and deliver this Agreement on behalf
of said Party. The words “execution”, “execute”, “signed”, “signature”, and words of like import in or
related to any document to be signed in connection with this Agreement shall be deemed to include
electronic signatures, the electronic matching of assignment terms and contract formations on electronic
platforms approved by us, or the keeping of records in electronic form, each of which shall be of the same
legal effect, validity, or enforceability as a manually executed signature or the use of a paper-based
recordkeeping system, as the case may be, to the extent and as provided for in any applicable Law, including
the Federal Electronic Signatures in Global and National Commerce Act, the New York State Electronic
Signatures and Records Act, or any other similar state laws based on the Uniform Electronic Transactions
Act.

         17.09. Rules of Construction. This Agreement is the product of negotiations among the Company
Parties and the Consenting Stakeholders, and in the enforcement or interpretation of this Agreement, is to
be interpreted in a neutral manner, and any presumption with regard to interpretation for or against any
Party by reason of that Party having drafted or caused to be drafted this Agreement, or any portion of this
Agreement, shall not be effective in regard to the interpretation of this Agreement. The Company Parties
and the Consenting Stakeholders were each represented by counsel during the negotiations and drafting of
this Agreement and continue to be represented by counsel.

         17.10. Successors and Assigns; Third Parties. This Agreement is intended to (and does) bind and
inure to the benefit of the Parties and their respective successors and permitted assigns, as applicable. There
are no third party beneficiaries under this Agreement. The rights or obligations of any Party under this
Agreement may not be assigned, delegated, or transferred to any other Entity except as expressly permitted
in this Agreement.


                                                      40
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 234 of 569



         17.11. Notices. All notices hereunder shall be deemed given if in writing and delivered, by
electronic mail, courier, or registered or certified mail (return receipt requested), to the following addresses
(or at such other addresses as shall be specified by like notice):

        (a)      if to a Company Party, to:

                 The Container Store Group, Inc.
                 500 Freeport Parkway
                 Coppell, Texas 75019
                 Attn: Jeff Miller; Tasha Grinnell
                 Email: jamiller@containerstore.com; tlgrinnell@containerstore.com

                 with copies (which shall not constitute notice) to:

                 Latham & Watkins LLP
                 355 South Grand Avenue, Suite 100
                 Los Angeles, California 90071-1560
                 Attn: George Davis; Ted Dillman; Hugh Murtagh; TJ Li
                 Email: george.davis@lw.com; ted.dillman@lw.com;
                 hugh.murtagh@lw.com; tj.li@lw.com

        (b)     if to a Consenting Term Lender, to the addresses set forth below each Consenting Term
Lender’s signature to this Agreement or on the signature page to a Joinder in the case of any Consenting
Term Lender that becomes a party hereto after the TSA Effective Date, as the case may be, with a copy
(which shall not constitute notice) to:

                 Paul Hastings LLP
                 200 Park Avenue
                 New York, New York 10166-0193
                 Attn: Jayme T. Goldstein; Isaac Sasson; William Reily; Leonie Koch
                 Email: jaymegoldstein@paulhastings.com; isaacsasson@paulhastings.com;
                 williamreily@paulhastings.com; leoniekoch@paulhastings.com

         (c)     Any notice given by delivery, mail, or courier shall be effective when received, and any
notice delivered or given by electronic mail shall be effective when sent (so long as a message delivery
failure or transmission error notification is not received by the sender).

        17.12. Independent Due Diligence and Decision Making. Each Consenting Stakeholder hereby
confirms that its decision to execute this Agreement has been based upon its independent investigation of
the operations, businesses, financial and other conditions, and prospects of the Company Parties.

        17.13. Enforceability of Agreement. Each of the Parties to the extent enforceable waives any right
to assert that the exercise of termination rights under this Agreement is subject to the automatic stay
provisions of the Bankruptcy Code, and expressly stipulates and consents hereunder to the prospective
modification of the automatic stay provisions of the Bankruptcy Code for purposes of exercising
termination rights under this Agreement, to the extent the Bankruptcy Court determines that such relief is
required.

        17.14. Waiver. If the Transactions are not consummated, or if this Agreement is terminated for
any reason, nothing herein shall be construed as a waiver by any Party of any or all of such Party’s rights,
remedies, Claims, and defenses and the Parties fully reserve any and all of their rights, remedies, claims,


                                                      41
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 235 of 569



and defenses. Pursuant to Federal Rule of Evidence 408 and any other applicable rules of evidence, this
Agreement and all negotiations relating hereto shall not be admissible into evidence in any proceeding other
than a proceeding to enforce its terms or the payment of damages to which a Party may be entitled under
this Agreement.

        17.15. Specific Performance. It is understood and agreed by the Parties that money damages may
be an insufficient remedy for any breach of this Agreement (including Section 15 of this Agreement) by
any Party, and each non-breaching Party shall be entitled to seek specific performance and injunctive or
other equitable relief (without the posting of any bond and without proof of actual damages) as a remedy
of any such breach, including an order of any court of competent jurisdiction requiring any Party to comply
promptly with any of its obligations hereunder.

        17.16. Several, Not Joint, Claims. Except where otherwise specified, the agreements,
representations, warranties, and obligations of the Parties under this Agreement are, in all respects, several
and not joint.

         17.17. Severability and Construction. If any provision of this Agreement shall be held by a court
of competent jurisdiction to be illegal, invalid, or unenforceable, the remaining provisions shall remain in
full force and effect if essential terms and conditions of this Agreement for each Party remain valid, binding,
and enforceable.

          17.18. Remedies Cumulative. All rights, powers, and remedies provided under this Agreement
or otherwise available in respect of this Agreement at Law or in equity shall be cumulative and not
alternative. The exercise of any right, power, or remedy by any Party shall not preclude the simultaneous
or later exercise of any other such right, power, or remedy by such Party. No failure of any Party to exercise,
and no delay in exercising, any such right, power, or remedy shall operate as a waiver of any such right,
power, or remedy.

        17.19. Capacities of Consenting Stakeholders. Each Consenting Stakeholder has entered into this
Agreement on account of all Company Claims/Interests that it holds or beneficially owns (directly or
through discretionary accounts that it manages, advises, or subsidiary-advises) and, except where otherwise
specified in this Agreement, shall take or refrain from taking all actions that it is obligated to take or refrain
from taking under this Agreement with respect to all such Company Claims/Interests.

        17.20. Relationship Among Parties.

         (a)      It is understood and agreed that no Consenting Stakeholder owes a fiduciary duty or duty
of trust or confidence of any kind or form to any other Party. In this regard, it is understood and agreed
that any Consenting Stakeholder may trade in Company Claims/Interests without the consent of the
Company or any other Consenting Stakeholder, subject to the applicable securities laws and the terms of
this Agreement. No prior history, pattern, or practice of sharing confidences among or between the Parties
shall in any way affect or negate this understanding and agreement. No Consenting Stakeholder shall, as a
result of its entering into and performing its obligations under this Agreement, be deemed to be a part of a
“group” (as that term is used in Rule 13d of the Exchange Act) with any other Party. For the avoidance of
doubt, no action taken by a Consenting Stakeholder pursuant to this Agreement shall be deemed to
constitute or to create a presumption by any of the Parties that the Consenting Stakeholders are in any way
acting in concert or as such a “group.”

        (b)     Each Consenting Stakeholder acknowledges to each other Consenting Stakeholder
(including to any Person acting on behalf of such Consenting Stakeholder, including any financial or other
advisor of any of the foregoing) that: (i) the Transactions described herein are arm’s-length commercial

                                                       42
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 236 of 569



transactions among the parties hereto; (ii) it has consulted its own legal, accounting, regulatory, and tax
advisors to the extent it has deemed appropriate; (iii) it has the requisite knowledge and experience in
financial and business matters so that it is capable of evaluating, and understands and accepts, the terms,
merits, risks, and conditions of the Transactions contemplated hereby, and has had such opportunity as it
has deemed adequate to obtain such information as is necessary to permit such Consenting Stakeholder to
evaluate the terms, merits, risks, and conditions of the Transactions contemplated hereby; and (iv) the
Consenting Stakeholders and their respective Affiliates may be engaged in a broad range of transactions
that involve interests that differ from those of the other Consenting Stakeholders and their respective
Affiliates, and the Consenting Stakeholders have no obligation to disclose any such interests to any other
Consenting Stakeholders or their respective Affiliates. Each Consenting Stakeholder further acknowledges
for the benefit of the other Consenting Stakeholders (including for the benefit of any Person acting on behalf
of any other Consenting Stakeholder, including any financial, legal, or other advisor of any of the foregoing)
that it has, independently and without reliance upon any statement, representation, or warranty made by
any Party or Person (or any such other Party’s or Person’s financial, legal, or other advisors or
representatives), other than those expressly contained in this Agreement, and based on such documents and
information as it has deemed appropriate, made its own credit analysis and decision to enter into this
Agreement and that it has not relied on the credit analysis and decision or due diligence investigation of
any other Party or Person (or any such other Party’s or Person’s financial, legal, or other advisors or
representatives). No securities of the Company Parties are being offered or sold hereby, and this Agreement
neither constitutes an offer to sell nor a solicitation of an offer to buy any securities of the Company Parties.

        17.21. Survival. Notwithstanding (a) any Transfer of any Company Claims/Interests in
accordance with this Agreement or (b) the termination of this Agreement in accordance with its terms,
Section 14.06, the agreements and obligations of the Parties in Section 17, and the Confidentiality
Agreements shall survive such Transfer and/or termination and shall continue in full force and effect for
the benefit of the Parties in accordance with the terms hereof and thereof. For the avoidance of doubt,
nothing in this Section 17.21 shall alter the Company Parties’ obligations (or the obligations of their
successors in interest) to pay the Transaction Party Fees and Expenses incurred through the Termination
Date.

        17.22. Email Consents. Where a written consent, acceptance, approval, notice, or waiver is
required pursuant to or contemplated by this Agreement, including a written approval by the Company
Parties or the Required Consenting Stakeholders, such written consent, acceptance, approval, notice, or
waiver shall be deemed to have occurred if, by agreement between counsel to the Parties submitting and
receiving such consent, acceptance, approval, or waiver, it is conveyed in writing (including electronic
mail) between each such counsel without representations or warranties of any kind on behalf of such
counsel.

        17.23. Publicity of Ad Hoc Group.

        (a)      The Company Parties shall submit drafts to the Ad Hoc Group Advisors of any press
releases or other public statement or public disclosure of the existence or terms of this Agreement or any
amendment to the terms of this Agreement at least two (2) Business Days prior to making any such
disclosure; provided that if delivery of such document at least two (2) Business Days in advance of such
disclosure is impracticable under the circumstances, such document shall be delivered as soon as otherwise
practicable, and shall afford them a reasonable opportunity under the circumstances to comment on such
documents and disclosures and shall incorporate any such reasonable comments in good faith.

        (b)      Except as required by Law, no Party or its advisors shall (x) other than as necessary during
live court proceedings, in any Definitive Document attached to a filing as contemplated by this Agreement
and in filings reasonably requiring the use of the name of a Consenting Term Lender, in each case in

                                                       43
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 237 of 569



connection with the Chapter 11 Cases, use the name of any Consenting Term Lender in any public manner
(including in any press release) with respect to this Agreement, the Transactions, or any of the Definitive
Documents, or (y) disclose to any Person, other than advisors to the Company Parties, the principal amount
or percentage of any Company Claims/Interests held by any Consenting Term Lender without such
Consenting Term Lender’s prior written consent or, to the extent a Consenting Term Lender is a Backstop
Party, such Contenting Term Lender’s backstop allocation (it being understood and agreed that each
Consenting Term Lender’s signature page to this Agreement and Exhibit 3 to the Transaction Term Sheet
shall be redacted to remove the name of such Consenting Term Lender and the amount and/or percentage
of Company Claims/Interests held by such Consenting Term Lender and/or its backstop allocation);
provided, however, that (i) if such disclosure is required by Law, the disclosing Party shall afford the
relevant Consenting Term Lender a reasonable opportunity to consent in advance of such disclosure and
shall take all commercially reasonable measures to limit such disclosure to the extent practicable and
permitted by applicable Law and (ii) the foregoing shall not prohibit the disclosure of the aggregate
percentage or aggregate principal amount of Company Claims/Interests held by the Consenting Term
Lenders, collectively. Notwithstanding the provisions in this Section 17.23, any Party may disclose, to the
extent expressly consented to in writing by a Consenting Term Lender such Consenting Term Lender’s
identity, individual holdings, and backstop allocation.

         17.24. No Recourse. This Agreement may only be enforced against the named parties hereto (and
then only to the extent of the specific obligations undertaken by such parties in this Agreement). All claims
or Causes of Action (whether in contract, tort, equity, or any other theory) that may be based upon, arise
out of, or relate to this Agreement, or the negotiation, execution, or performance of this Agreement, may
be made only against the Persons that are expressly identified as parties hereto (and then only to the extent
of the specific obligations undertaken by such parties herein). No past, present, or future direct or indirect
director, manager, officer, employee, incorporator, member, partner, stockholder, equity holder, trustee,
Affiliate, controlling person, agent, attorney, or other representative of any party hereto (including any
person negotiating or executing this Agreement on behalf of a party hereto), nor any past, present or future
direct or indirect director, manager, officer, employee, incorporator, member, partner, stockholder, equity
holder, trustee, Affiliate, controlling person, agent, attorney, or other representative of any of the foregoing
(other than any of the foregoing that is a Party hereto), shall have any liability with respect to this Agreement
or with respect to any proceeding (whether in contract, tort, equity, or any other theory that seeks to “pierce
the corporate veil” or impose liability of an Entity against its owners or Affiliates or otherwise) that may
arise out of or relate to this Agreement, or the negotiation, execution, or performance of this Agreement.

         17.25. Reporting of Claims. The Parties agree and acknowledge that the Consenting
Stakeholders’ rights are reserved with respect to the reported amount of the Company Claims/Interests in
each Consenting Stakeholder’s signature block (including any reporting or lack of reporting with respect to
principal, accrued and unpaid interest, fees and expenses) and any disclosure made on any signature block
shall be without prejudice to any subsequent assertion by or on behalf of such Consenting Stakeholder of
the full amount of its Company Claims/Interests.

        17.26. Computation of Time. Bankruptcy Rule 9006(a) applies in computing any period of time
prescribed or allowed herein.

        17.27. Tax Matters. Each Party hereby acknowledges and agrees that the terms of the
Transactions shall be structured to minimize the tax impact of the Transactions on the Company Parties and
the Consenting Stakeholders while preserving or otherwise maximizing favorable tax attributes (including
tax basis) of the Reorganized TCSG, as a result of the consummation of the Transactions to the extent
practicable, in each case as determined by the Consenting Stakeholders.



                                                       44
     Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 238 of 569



         IN WITNESS WHEREOF, the Parties have executed this Agreement on the day and year
first above written.

                                      [Signature Pages Follow]




                                             45
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 239 of 569



                                 Company Party Signature Page to
                                  Transaction Support Agreement


The Container Store Group, Inc.


By:
Name: Jeffrey A. Miller
Title: Chief Financial Officer




                 [Company Party Signature Page to Transaction Support Agreement]
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 240 of 569



                                 Company Party Signature Page to
                                  Transaction Support Agreement


The Container Store, Inc.


By:
Name: Jeffrey A. Miller
Title: Chief Financial Officer
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 241 of 569



                                 Company Party Signature Page to
                                  Transaction Support Agreement



C Studio Manufacturing LLC


By:
Name: Jeffrey A. Miller
Title: Chief Financial Officer




                 [Company Party Signature Page to Transaction Support Agreement]
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 242 of 569



                                 Company Party Signature Page to
                                  Transaction Support Agreement


C Studio Manufacturing Inc.


By:
Name: Jeffrey A. Miller
Title: Chief Financial Officer




                 [Company Party Signature Page to Transaction Support Agreement]
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 243 of 569



                                 Company Party Signature Page to
                                  Transaction Support Agreement


TCS Gift Card Services, LLC


By:
Name: Jeffrey A. Miller
Title: Chief Financial Officer




                 [Company Party Signature Page to Transaction Support Agreement]
Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 244 of 569




              [Consenting Stockholder Signature Pages Omitted]
Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 245 of 569




             [Consenting Term Lender Signature Pages Omitted]
  Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 246 of 569



                                       EXHIBIT A

                                     Company Parties

1. The Container Store Group, Inc.

2. The Container Store, Inc.

3. TCS Gift Card Services, LLC

4. C Studio Manufacturing Inc.

5. C Studio Manufacturing LLC
Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 247 of 569



                             EXHIBIT B

                        Transaction Term Sheet
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 248 of 569
                                                                                              Execution Version


                           THE CONTAINER STORE GROUP, INC., ET AL.

                                      TRANSACTION TERM SHEET

                                              December 21, 2024

THIS TRANSACTION TERM SHEET (INCLUDING ALL EXHIBITS, ANNEXES, APPENDICES,
AND/OR SCHEDULES HERETO, AS AMENDED, SUPPLEMENTED, OR OTHERWISE MODIFIED
FROM TIME TO TIME IN ACCORDANCE WITH THE TERMS OF THE TRANSACTION SUPPORT
AGREEMENT, THIS “TRANSACTION TERM SHEET”) CONTEMPLATES A PROPOSED
RESTRUCTURING AND RECAPITALIZATION OF THE BUSINESSES OWNED BY TCSG AND
THE OTHER COMPANY PARTIES (EACH AS DEFINED IN THE TRANSACTION SUPPORT
AGREEMENT (AS DEFINED BELOW)), INCLUDING RESTRUCTURING THE COMPANY
PARTIES’ OUTSTANDING INDEBTEDNESS AND EQUITY INTERESTS, TO BE IMPLEMENTED
THROUGH VOLUNTARY PRE-PACKAGED CHAPTER 11 CASES IN THE UNITED STATES
BANKRUPTCY COURT FOR THE SOUTHERN DISTRICT OF TEXAS (THE “TRANSACTIONS”).
REFERENCE IS MADE TO THAT CERTAIN TRANSACTION SUPPORT AGREEMENT (AS
AMENDED, SUPPLEMENTED, OR OTHERWISE MODIFIED FROM TIME TO TIME IN
ACCORDANCE WITH THE TERMS THEREOF, THE “TRANSACTION SUPPORT AGREEMENT”)
BY AND AMONG THE COMPANY PARTIES AND THE OTHER PARTIES THERETO, DATED AS
OF THE DATE OF THIS TRANSACTION TERM SHEET. THE TRANSACTIONS WILL BE
IMPLEMENTED IN ACCORDANCE WITH THE TRANSACTION SUPPORT AGREEMENT AND
THIS TRANSACTION TERM SHEET. 1

THIS TRANSACTION TERM SHEET IS NOT (NOR SHALL IT BE CONSTRUED AS) AN OFFER,
AN ACCEPTANCE, OR A SOLICITATION WITH RESPECT TO ANY SECURITIES OF THE
COMPANY PARTIES OR A SOLICITATION OF ACCEPTANCES OR REJECTIONS AS TO ANY
CHAPTER 11 PLAN. ANY SUCH OFFER OR SOLICITATION OF ANY EQUITY SECURITIES OF
THE COMPANY PARTIES SHALL COMPLY WITH ALL APPLICABLE LAWS, INCLUDING
APPLICABLE SECURITIES LAWS.

THIS TRANSACTION TERM SHEET IS A SETTLEMENT PROPOSAL TO CERTAIN LENDERS
UNDER THE COMPANY PARTIES’ TERM LOAN CREDIT AGREEMENT AND ABL CREDIT
AGREEMENT IN FURTHERANCE OF SETTLEMENT DISCUSSIONS. ACCORDINGLY, THIS
TRANSACTION TERM SHEET IS PROTECTED BY RULE 408 OF THE FEDERAL RULES OF
EVIDENCE AND ANY OTHER APPLICABLE STATUTES OR DOCTRINES PROTECTING THE
USE OR DISCLOSURE OF CONFIDENTIAL SETTLEMENT DISCUSSIONS.

THIS TRANSACTION TERM SHEET IS FOR DISCUSSION PURPOSES ONLY AND DOES NOT
PURPORT TO SUMMARIZE ALL OF THE TERMS, CONDITIONS, REPRESENTATIONS,
WARRANTIES, AND OTHER PROVISIONS WITH RESPECT TO THE TRANSACTIONS
DESCRIBED IN THIS TRANSACTION TERM SHEET, WHICH TRANSACTIONS WILL BE
SUBJECT TO THE COMPLETION OF DEFINITIVE DOCUMENTS (IN ACCORDANCE WITH THE
DOCUMENTATION PRINCIPLES HEREIN) INCORPORATING THE TERMS AND CONDITIONS
SET FORTH IN THIS TRANSACTION TERM SHEET AND THE TRANSACTION SUPPORT



1
    Capitalized terms used but not otherwise defined in this Transaction Term Sheet shall have the meanings ascribed
    to such terms in the Transaction Support Agreement or the other term sheets or documents annexed hereto, as
    applicable.



                                                         1
Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 249 of 569
    Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 250 of 569




                         Out DIP Term Loans (as defined in the DIP Term Loan Facility Term
                         Sheet);
                    3. on the Plan Effective Date, the DIP Term Lenders shall exchange all DIP
                       Term Loans under the DIP Term Loan Facility (i.e., $110 million of DIP
                       Term Loans), plus accrued interest, premiums and fees, for Exit Term
                       Loans, on the terms and subject to the conditions set forth in the Exit
                       Term Loan Term Sheet annexed hereto as Exhibit 2 (together with all
                       exhibits, annexes, and schedules thereto, the “Exit Term Loan Term
                       Sheet”);
                   4.    In lieu of payment in full, in cash, on account of their DIP Term Loan
                         Claims, Reorganized TCSG shall, issue to the holders of the DIP Term
                         Loan Claims or their designees: (1) 100% of the Exit Term Loans on a
                         pro rata basis and (2) 64% of the New Equity Interests, subject to
                         dilution on account of the MIP (as defined below), on a pro rata basis
                         according to their ratable share of First-Out DIP Term Loan Facility
                         (the “Equity Premium”); and

                    5. Reorganized TCSG shall issue 100% of the New Equity Interests, subject
                       to dilution on account of the Equity Premium and MIP, to the holders of
                       Term Loan Claims on a pro rata basis.
                 On or as promptly as reasonably practicable following the Plan Effective Date
                 and the consummation of the Transactions, TCSG shall have completed or
                 substantially completed the termination of registration from all securities under
                 sections 13 and 15(d) of the Exchange Act and will continue as a private
                 company.

DIP Matters      As more fully set forth in the DIP Term Loan Facility Term Sheet, certain of the
                 Consenting Term Lenders will provide the DIP Term Loan Facility to the
                 Company Parties, consisting of $115 million of DIP Term Loans, of which
                 (i) $20 million of new money First-Out DIP Term Loans shall be available upon
                 entry of the Interim DIP/Cash Collateral Order, (ii) $20 million of new money
                 First-Out DIP Term Loans shall be available upon entry of the Final DIP/Cash
                 Collateral Order and (iii) and $75 million of Term Loans shall, upon entry of the
                 interim and final DIP/Cash Collateral Orders, be rolled up on a $1.875 of Term
                 Loans for every $1.00 of First-Out DIP Term Loans (as defined in the DIP Term
                 Loan Facility Term Sheet) funded.
                 Pursuant to syndication procedures acceptable to the Required Consenting Term
                 Lenders (the “Syndication Procedures”), all holders of Term Loan Claims (and/or
                 one or more Related Funds of such holders) who become Parties to the
                 Transaction Support Agreement (in accordance with its terms) prior to the closing
                 of the DIP Term Loan Facility syndication process will be eligible to subscribe
                 for their pro rata share of the commitments to fund First-Out DIP Term Loans
                 and roll up Second-Out DIP Term Loans under the DIP Term Loan Facility (in
                 accordance with the terms of the DIP Facilities Documents) based on their
                 respective pro rata holdings of their Term Loan Claims by committing to
                 purchase from Jefferies LLC (the “Fronting Bank”) their pro rata portion of the
                 First-Out DIP Term Loans. The right to participate in the DIP Term Loan Facility
                 is hereinafter referred to as the “DIP Term Loan Funding Right”.



                                            2
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 251 of 569




                          The funding of the First-Out DIP Term Loans under the DIP Term Loan Facility
                          shall be backstopped, severally and not jointly, by certain members of the Ad
                          Hoc Group and/or their respective Related Funds 3 (each, a “DIP Backstop Party”
                          and collectively, the “DIP Backstop Parties”). The DIP Backstop Parties shall
                          subscribe for their respective pro rata shares of the DIP Backstop (as defined
                          below) based on their respective pro rata holdings of Term Loans Claims held
                          by all DIP Backstop Parties as of December 18, 2024.
                          To the extent that a holder of Term Loan Claims (a) does not execute the
                          Transaction Support Agreement (in which case, such holder shall have no right
                          to subscribe for any portion of the DIP Term Loan Facility) or (b) executes the
                          Transaction Support Agreement but does not subscribe for its pro rata portion of
                          the DIP Term Loan Facility in accordance with the Syndication Procedures, then
                          (in either case) each DIP Backstop Party shall, severally and not jointly, increase
                          its pro rata share, based on the DIP Allocation Schedule (annexed hereto as
                          Exhibit 3), of the DIP Term Loan Facility for any portion of the DIP Term Loan
                          Facility that is not subscribed for by the holder of such Term Loan Claims (the
                          “DIP Backstop”).

                          In consideration for providing the DIP Backstop, the Debtors shall pay to the DIP
                          Backstop Parties a non-refundable put option premium in respect of the DIP
                          Backstop (the “Put Option Premium”) equal to 5.00% of the aggregate amount
                          of the commitments to fund the First-Out DIP Term Loans under the DIP Term
                          Loan Facility, which shall be fully earned upon entry of the Interim DIP/Cash
                          Collateral Order and due and payable in kind at the initial funding of First-Out
                          DIP Term Loans and to be included in the principal amount of the First-Out DIP
                          Term Loans allocated to each DIP Backstop Party pursuant to the Syndication
                          Procedures.
                          The Put Option Premium, Commitment Premium (as defined in the DIP Term
                          Loan Facility Term Sheet) and Equity Premium shall be paid free and clear of,
                          and without deduction or withholding for, any taxes. Each of the Company
                          Parties, each DIP Backstop Party and each DIP Term Lender agrees to treat (and
                          to cause its Affiliates to treat), for U.S. federal (and, to the extent permitted by
                          applicable law, state and local) income tax purposes, each of the Put Option
                          Premium and Commitment Premium as a premium for a put option, and the
                          Equity Premium, as additional consideration for a DIP Term Lender’s Term Loan
                          Claims against the Company Parties and as initially a return of principal on such
                          Term Loan Claims, and none of the premiums as a payment for services, and the
                          Company Parties and each DIP Backstop Party and each DIP Term Lender shall
                          not take (and shall cause their respective Affiliates not to take) any position or
                          action inconsistent with such treatment and/or characterization, except to the
                          extent otherwise required by a “determination” within the meaning of Section
                          1313(a) of the Code (or any comparable provision of state or local Law).




3
    “Related Fund” means, with respect to any Person, any fund, account or investment vehicle that is controlled,
    advised or managed by (a) such Person, (b) an Affiliate of such Person, or (c) the same investment manager,
    advisor or subadvisor that controls, advises or manages such Person or an Affiliate of such investment manager,
    advisor or subadvisor.



                                                        3
Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 252 of 569
        Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 253 of 569




                            Escrow Account as soon as reasonably practicable after such Professional Fee
                            Claims are allowed by entry of an order of the Bankruptcy Court; provided, that
                            the Debtors’ and the Reorganized Debtors’ obligations to pay allowed
                            Professional Fee Claims shall not be limited or deemed limited to funds held in
                            the Professional Fee Escrow Account. To the extent that funds held in the
                            Professional Fee Escrow Account are insufficient to satisfy the allowed amount
                            of Professional Fee Claims owing to the Retained Professionals, the Reorganized
                            Debtors shall pay such amounts within ten (10) Business Days of entry of the
                            order approving such Professional Fee Claims.
                            “Professional Fee Claim” means a Claim by professionals retained by the Debtors
                            or any official committee (the “Retained Professionals”) seeking an award by the
                            Bankruptcy Court of compensation for services rendered or reimbursement of
                            expenses incurred through and including the Plan Effective Date under sections
                            328, 330, 331, 503(b)(2), 503(b)(3), 503(b)(4), or 503(b)(5) of the Bankruptcy
                            Code.
                            “Professional Fee Escrow Account” means a segregated interest-bearing account
                            funded by the Debtors with cash no later than two (2) Business Days before the
                            anticipated Plan Effective Date in an amount equal to the Professional Fee
                            Escrow Amount.
                            “Professional Fee Escrow Amount” means the aggregate amount of Professional
                            Fee Claims and other unpaid fees and expenses the Retained Professionals have
                            incurred or shall incur in rendering services in connection with the Chapter 11
                            Cases before and as of the Plan Effective Date, which shall be estimated in
                            accordance with the terms of the Plan.

    DIP Term Loan           Except to the extent that a holder of an allowed DIP Term Loan Claim and the
    Claims                  Debtors has agreed in writing to a less favorable treatment, in exchange for full
                            and final satisfaction, settlement, release, and the discharge of each DIP Term
                            Loan Claim, each holder of a DIP Term Loan Claim shall receive, on the Plan
                            Effective Date and on account of such DIP Term Loan Claim, its pro rata share
                            of: (a) 64% of the New Equity Interests on account of the Equity Premium
                            (subject to dilution on account of the MIP), and (b) the Exit Term Loans pursuant
                            to the terms and conditions set forth in the Exit Term Loan Term Sheet.
                            All holders of DIP Term Loan Claims shall be deemed to have consented to their
                            treatment under the Plan pursuant to the terms of the Transaction Support
                            Agreement and the DIP Facilities Documents.

    DIP ABL Loan            On the Plan Effective Date, the DIP ABL Loan Claims and all the commitments
    Claims                  and outstanding obligations under the DIP ABL Facility shall be exchanged for
                            loans under the Exit ABL Facility on the terms set forth in the Exit ABL
                            Commitment Letter, or otherwise refinanced in full on terms acceptable to the
                            Company Parties and the Required Consenting Term Lenders.

    Priority Tax            Except to the extent that a holder of an allowed Priority Tax Claim (i) and the
    Claims 5                Debtor(s) against which such allowed Priority Tax Claim is asserted agree to a


5
      “Priority Tax Claims” means any Claim of a Governmental Body of the kind specified in section 507(a)(8) of the
      Bankruptcy Code.



                                                          5
        Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 254 of 569




                           less favorable treatment, or (ii) has already been paid during the Chapter 11 Cases
                           on account of such Priority Tax Claim, in exchange for full and final satisfaction,
                           settlement, release, and discharge of and in exchange for each allowed Priority
                           Tax Claim, each holder of such allowed Priority Tax Claim shall be treated in
                           accordance with the terms set forth in section 1129(a)(9)(C) of the Bankruptcy
                           Code. Nothing in the foregoing or otherwise in the Plan shall prejudice the
                           Debtors’ or the Reorganized Debtors’ rights and defenses regarding any asserted
                           Priority Tax Claim.

    Other Priority         Except to the extent that a holder of an allowed Other Priority Claim and the
    Claims 6               Debtor(s) against which such allowed Other Priority Claim is asserted agree to a
                           less favorable treatment, in exchange for full and final satisfaction, settlement,
                           release, and the discharge of each allowed Other Priority Claim, each holder of
                           an allowed Other Priority Claim due and payable on or before the Plan Effective
                           Date shall receive (with the consent of the Required Consenting Term Lenders),
                           as soon as reasonably practicable after the Plan Effective Date, on account of
                           such Other Priority Claim: (1) cash in an amount equal to the amount of such
                           allowed Other Priority Claim; (2) reinstatement or such other treatment rendering
                           its allowed Other Priority Claim unimpaired in accordance with section 1124 of
                           the Bankruptcy Code; or (3) cash in an amount agreed to by the applicable Debtor
                           or Reorganized Debtor, as applicable, and such holder. To the extent any allowed
                           Other Priority Claim is not due and owing on or before the Plan Effective Date,
                           such Claim shall be paid in full in cash in accordance with the terms of any
                           agreement between the Debtors (or the Reorganized Debtors, as applicable) and
                           such holder, or as may be due and payable under applicable non-bankruptcy law
                           or in the ordinary course of business. Nothing in the foregoing or otherwise in
                           the Plan shall prejudice the Debtors’ or the Reorganized Debtors’ rights and
                           defenses regarding any asserted Other Priority Claim.

    United States          The Debtors or the Reorganized Debtors, as applicable, shall pay all United States
    Trustee Statutory      Trustee Statutory Fees for each quarter (including any fraction thereof) until the
    Fees                   Chapter 11 Cases are converted, dismissed, or closed, whichever occurs first.

    Transaction Party      The Transaction Party Fees and Expenses incurred, or estimated to be incurred,
    Fees and Expenses      up to and including the Plan Effective Date (or, with respect to necessary post-
                           Plan Effective Date activities, after the Plan Effective Date), shall be paid in full
                           in cash on the Plan Effective Date as a condition to the occurrence of the Plan
                           Effective Date in accordance with, and subject to, the terms of the Transaction
                           Support Agreement (unless otherwise provided in the DIP/Cash Collateral Orders
                           or any other order of the Bankruptcy Court), without any requirement to file a fee
                           application with the Bankruptcy Court or without any requirement for
                           Bankruptcy Court or U.S. Trustee review or approval. All Transaction Party Fees
                           and Expenses to be paid on the Plan Effective Date shall be estimated before and
                           as of the Plan Effective Date and such estimates shall be delivered to the Debtors
                           at least three (3) days before the anticipated Plan Effective Date; provided,
                           however, that such estimates shall not be considered an admission or limitation
                           with respect to such Transaction Party Fees and Expenses. On the Plan Effective

6
      “Other Priority Claims” means any Claim (other than a General Administrative Claim or a Priority Tax Claim)
      entitled to priority in right of payment under section 507(a) of the Bankruptcy Code.



                                                        6
        Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 255 of 569




                           Date, or as soon as practicable thereafter, final invoices for all Transaction Party
                           Fees and Expenses incurred before and as of the Plan Effective Date shall be
                           submitted to the Debtors.
                           For the avoidance of doubt, in addition to the foregoing, the Company Parties
                           shall have paid all Transaction Party Fees and Expenses for which an invoice has
                           been received by the Company Parties on or before the date that is one (1)
                           Business Day prior to the TSA Effective Date in accordance with Section 2.01(d)
                           of the Transaction Support Agreement.

    Other Secured          Except to the extent that a holder of an allowed Other Secured Claim agrees to
    Claims 7               less favorable treatment, in exchange for full and final satisfaction, settlement,
                           release, and discharge of each allowed Other Secured Claim, each holder of an
                           allowed Other Secured Claim, at the option of the applicable Debtor (with the
                           consent of the Required Consenting Term Lenders, not to be unreasonably
                           withheld), shall, on the Plan Effective Date, (i) be paid in full in cash including
                           the payment of any interest required to be paid under section 506(b) of the
                           Bankruptcy Code, (ii) receive the collateral securing its allowed Other Secured
                           Claim, or (iii) receive any other treatment that would render such Claim
                           unimpaired.

    ABL Claims             Upon the closing of the DIP ABL Facility pursuant to the terms of the DIP ABL
                           Facility Loan Documents, each holder of an ABL Claim shall receive, in full and
                           final satisfaction, settlement, release, and discharge and in exchange for each
                           ABL Claim, payment in full in cash from the proceeds of the DIP ABL Facility;
                           provided that any obligations arising under the ABL Facility that by their terms
                           survive repayment and termination of the ABL Facility shall be assumed by the
                           Reorganized Debtors and such rights and claims shall be Unimpaired.

    Term Loan Claims       Except to the extent that a holder of a Term Loan Claim has agreed in writing to
                           less favorable treatment, on the Plan Effective Date, each holder of a Term Loan
                           Claim shall receive, in full and final satisfaction, settlement, release, and
                           discharge and in exchange for each Term Loan Claim, its pro rata share of 100%
                           of New Equity Interests, subject to dilution by the Equity Premium and MIP.

    General Unsecured      Subject to the Plan and except to the extent that a holder of a General Unsecured
    Claims                 Claim agrees to less favorable treatment, in full and final satisfaction, settlement,
                           release, and discharge and in exchange for each allowed General Unsecured
                           Claim, each holder of an allowed General Unsecured Claim against a Debtor shall
                           receive, on the Plan Effective Date, reinstatement or such other treatment,
                           including (with the consent of the Required Consenting Term Lenders) cash
                           payment, rendering its allowed General Unsecured Claim unimpaired in
                           accordance with section 1124 of the Bankruptcy Code. On and after the Plan
                           Effective Date, the Reorganized Debtors shall pay each holder of an allowed
                           General Unsecured Claim in the ordinary course of business; provided, however,
                           that no holder of an allowed General Unsecured Claim shall receive any



7
      “Other Secured Claims” means any secured claim that is not a “DIP ABL Loan Claim”, “DIP Term Loan Claim”,
      “ABL Claim”, or “Term Loan Claim”.



                                                        7
Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 256 of 569
    Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 257 of 569




                           Interests”) shall be distributed pro rata to the holders of Term Loan
                           Claims, subject to dilution by the Equity Premium and MIP;
                       •   64% of the New Equity Interests, subject to dilution by the MIP, shall be
                           issued to the holders of DIP Term Loan Claims on a pro rata basis based
                           on such holders ratable share of the First-Out DIP Term Loans, on
                           account of the Equity Premium; and
                       •   all New Equity Interests shall be subject to the terms and conditions of
                           the relevant Definitive Documents, including the New Organizational
                           Documents.

Governance         On the Plan Effective Date, the existing corporate governance documents will be
                   amended, amended and restated, supplemented, modified or terminated, as
                   necessary, and new corporate governance documents will be executed, delivered
                   and/or filed, as applicable, to, among other things, set forth the rights and
                   obligations of the parties in a manner consistent with this Transaction Term
                   Sheet, the Transaction Support Agreement, and the governance term sheet
                   annexed hereto as Exhibit 4 ( together with all exhibits, annexes, and schedules
                   thereto, the “Governance Term Sheet”).

Management         After the Plan Effective Date, the New Board will implement a management
Incentive Plan     incentive plan of up to 10% of the fully-diluted New Equity Interests (the “MIP”).
                   All grants under the MIP shall be determined at the sole discretion of the New
                   Board, including with respect to the participants, allocation, timing, and the form
                   and structure of the options, warrants, and/or equity compensation to be provided
                   thereunder.

Releases and       The Plan shall include, to the fullest extent permitted by law, customary
Exculpation        exculpations in and mutual releases between and among the (i) Company Parties
                   (and, inter alia, their officers, directors, equity holders, employees, estate
                   fiduciaries, and advisors to the same) and Reorganized Debtors, and (ii) the
                   Consenting Term Lenders, Term Loan Agent, Term Loan Agent Advisors, Ad
                   Hoc Group Advisors, DIP Term Lenders, DIP Term Loan Agent, DIP ABL
                   Agent, DIP ABL Lenders, DIP Backstop Parties, Fronting Bank, Exit Term
                   Lenders, Exit Facilities Agents, all other the Consenting Stakeholders to the
                   extent not included in the foregoing inter alia, their Related Parties (as defined
                   in the Plan) officers, directors, equity holders, employees of the foregoing
                   Persons, any other parties to the Transaction Support Agreement, and each of the
                   foregoing’s respective related parties (collectively, the “Releases”).

Executory          The Plan will provide that the Debtors’ executory contracts (including the
Contracts and      Transaction Support Agreement) and unexpired leases that are not rejected as of
Unexpired Leases   the Plan Effective Date (if any such contracts or leases are rejected either
                   pursuant to the Plan or a separate motion) shall be deemed assumed and amended
                   (as necessary to implement the terms of the Transactions) pursuant to section 365
                   of the Bankruptcy Code.
                   Any rejection damages Claims for executory contracts or unexpired leases that
                   the Debtors elect, with the consent of the Required Consenting Term Lenders
                   (not to be unreasonably withheld), to reject shall be paid in full on the Plan
                   Effective Date; provided, that such Claim is not a Subordinated Claim, in which



                                               9
     Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 258 of 569




                       case such Claim shall be treated as a Subordinated Claim pursuant to the terms
                       of the Plan.

Indemnification of     All indemnification obligations in place as of the TSA Effective Date (whether
Pre-Transaction        in the by-laws, certificates of incorporation or formation, limited liability
Equity Holders,        company agreements, other organizational or formation documents, board
Directors, Officers,   resolutions, indemnification agreements, employment contracts, or otherwise)
Managers, et al.       for the current and former equity holders, directors, officers, managers,
                       employees, attorneys, accountants, investment bankers, and other professionals
                       of the Company Parties and their subsidiaries, as applicable, shall be assumed
                       and remain in full force and effect after the Plan Effective Date, and shall survive
                       unimpaired and unaffected, irrespective of when such obligation arose, as
                       applicable.

Director, Officer,     As of the TSA Effective Date, the Company Parties shall have obtained liability
Manager, and           insurance policies covering the directors, managers, and officers of each
Employee Tail          Company Party. On the Plan Effective Date, the Company Parties shall be
Coverage               deemed to have assumed all unexpired directors’, managers’, and officers’
                       liability insurance policies (including any “tail policy”) and the Company Parties
                       shall obtain any insurer consents required to assume such policies.

Exemption Under        To the extent applicable and permitted under applicable law, the Plan and the
Section 1145 of the    Confirmation Order shall provide that the issuance and distribution of any
Bankruptcy Code        securities thereunder, including the New Equity Interests, will be exempt from
                       the registration requirements under applicable securities laws in accordance with
                       section 1145 of the Bankruptcy Code or any other applicable securities laws
                       exemption to the fullest extent possible.

Employment             On the Plan Effective Date, the Company Parties shall be deemed to have
Obligations            assumed all employment agreements, indemnification agreements, and other
                       similar agreements entered into with any current or former employees,
                       management, and directors in accordance with the terms and conditions of the
                       Transaction Support Agreement.

Tax Structuring /      The Company Parties and the Required Consenting Term Lenders shall cooperate
Implementation         in good faith to structure the Transactions in a tax-efficient manner, and the tax
                       structuring of the Transactions shall be subject to the consent of the Company
                       Parties and the Required Consenting Term Lenders.

Transaction Fees       The Company Parties shall pay the fees and expenses as set forth herein and in
and Expenses           the Transaction Support Agreement.

Conditions             The following conditions precedent to the effectiveness of the Plan Effective
Precedent to the       Date shall be satisfied or waived by the Debtors with the consent of the Required
Plan Effective Date    Consenting Term Lenders, and the Plan Effective Date shall occur on the date
                       upon which the last of such conditions is so satisfied and/or waived:
                           1. the Transaction Support Agreement shall be in full force and effect, no
                              termination event or event that would give rise to a termination event
                              under the Transaction Support Agreement upon the expiration of the
                              applicable grace period shall have occurred and remain occurring, and



                                                   10
Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 259 of 569




                   the Transaction Support Agreement shall not have been validly
                   terminated before the Plan Effective Date;
               2. the DIP Facilities and all DIP Facilities Documents shall be in full force
                  and effect, no event of default or event that could give rise to an event of
                  default under the DIP Facilities Documents upon the expiration of the
                  applicable grace period shall have occurred and remain occurring, and
                  the DIP Facilities shall not have been validly terminated before the Plan
                  Effective Date;
               3. any non-technical and/or immaterial amendments, modifications or
                  supplements to the Plan shall be acceptable to the Debtors and the
                  Required Consenting Term Lenders;
               4. all of the actions set forth in the Restructuring Transaction Steps
                  Memorandum that are contemplated therein to be completed and
                  implemented on or prior to the Plan Effective Date, shall have been
                  completed and implemented in accordance with the terms thereof;
               5. the Bankruptcy Court shall have entered the Final DIP/Cash Collateral
                  Order and such order shall be a Final Order and shall remain in full force
                  and effect;
               6. the final version of the Plan Supplement shall have been filed and all of
                  the schedules, documents, and exhibits contained therein shall be
                  consistent in all material respects with the Transaction Support
                  Agreement, this Transaction Term Sheet, the Exit ABL Commitment
                  Letter, and the Plan;
               7. the Bankruptcy Court shall have entered the Disclosure Statement Order
                  and Confirmation Order (or the Combined Order), which shall be in form
                  and substance acceptable to the Required Consenting Term Lenders and
                  Company Parties and consistent in all material respects with this
                  Transaction Term Sheet and the Transaction Support Agreement and
                  shall not be subject to a stay, and the Plan shall not have been amended,
                  altered, or modified from the Plan as confirmed by the Confirmation
                  Order in any material respect, unless such material amendment,
                  alteration, or modification has been made in accordance with the Plan;
               8. each document or agreement necessary to effectuate the Plan, including
                  all Definitive Documents, shall have been executed and/or effectuated,
                  shall be in form and substance acceptable to the Required Consenting
                  Term Lenders and Company Parties, and shall be consistent with the
                  Transaction Support Agreement or the Exit ABL Commitment Letter, as
                  applicable, including the consent rights provided therein, and any
                  conditions precedent related thereto or contained therein shall have been
                  satisfied prior to or contemporaneously with the occurrence of the Plan
                  Effective Date or otherwise waived in accordance with the terms of the
                  applicable Definitive Documents;
               9. the Company Parties shall have obtained all authorizations, consents,
                  regulatory approvals, rulings, or documents that are necessary to
                  implement and effectuate the Transactions, and all applicable regulatory




                                      11
Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 260 of 569




                    or government-imposed waiting periods shall have expired or been
                    terminated;
                10. all governmental and third-party approvals and consents that may be
                    necessary in connection with the Transactions shall have been obtained,
                    not be subject to unfulfilled conditions, and be in full force and effect,
                    and all applicable waiting periods shall have expired without any action
                    being taken or threatened by any competent authority that would restrain,
                    prevent, or otherwise impose materially adverse conditions on the
                    Transactions;
                11. no court of competent jurisdiction or other competent governmental or
                    regulatory authority shall have issued any order making illegal or
                    otherwise restricting, limiting, preventing, or prohibiting the
                    consummation of any of the Transactions;
                12. the Company Parties shall have paid in full all professional fees and
                    expenses of the Retained Professionals that require the Bankruptcy
                    Court’s approval, or amounts sufficient to pay such fees and expenses
                    after the Plan Effective Date shall have been placed in the Professional
                    Fee Escrow Account pending the Bankruptcy Court’s approval of such
                    fees and expenses;
                13. the Transaction Party Fees and Expenses shall have been paid in full in
                    cash (subject to any order of the Bankruptcy Court);
                14. the restructuring to be implemented on the Plan Effective Date shall be
                    consistent with the Plan, the Transaction Support Agreement, and the
                    Exit ABL Commitment Letter;
                15. such other conditions precedent to the Plan Effective Date that are
                    customary and otherwise requested by the Required Consenting Term
                    Lenders, and agreed to by the Company Parties; and
                16. there shall not have been instituted or threatened or be pending any
                    material action, proceeding, application, claim, counterclaim, or
                    investigation (whether formal or informal) (or there shall not have been
                    any material adverse development to any action, application, claim,
                    counterclaim, or proceeding currently instituted, threatened, or pending)
                    before or by any court, governmental, regulatory or administrative
                    agency or instrumentality, domestic or foreign, or by any other person,
                    domestic or foreign, in connection with the Transactions that, in the
                    reasonable judgment of the Company Parties and the Required
                    Consenting Term Lenders would prohibit, prevent, or restrict
                    consummation of the Transactions in a materially adverse manner.
             Following the satisfaction or waiver of the foregoing, and concurrently with or
             immediately following effectiveness of the Plan on the Plan Effective Date:
                1. the Existing Equity Interests shall have been canceled and the New
                   Equity Interests shall have been issued by Reorganized TCSG and
                   distributed in accordance with the terms of the Plan;
                2. the New Equity Interests to be issued and/or delivered on the Plan
                   Effective Date (as set forth in the Plan) shall have been validly issued by
                   Reorganized TCSG, shall be fully paid and non-assessable, and shall be


                                       12
    Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 261 of 569




                         free and clear of all taxes, liens and other encumbrances, pre-emptive
                         rights, rights of first refusal, subscription rights and similar rights, except
                         for any restrictions on transfer as may be imposed by (i) applicable
                         securities Laws and (ii) the New Organizational Documents of
                         Reorganized TCSG;
                    3. the DIP ABL Loan Claims and all the commitments and outstanding
                       obligations under the DIP ABL Facility shall have been exchanged for
                       loans under the Exit ABL Facility on the terms set forth in the Exit ABL
                       Commitment Letter;
                    4. all conditions precedent to the effectiveness of the Exit Facilities and all
                       other financing agreements and arrangements contemplated hereunder,
                       shall have been satisfied or duly waived by the party whose consent is
                       required thereunder, as applicable, and, as applicable, funded and closed
                       and be in full force and effect;
                    5. the Releases set forth in the Plan shall be in full force and effect; and
                    6. the Company Parties shall have paid in full to the relevant parties all
                       payments and fees provided for in the Transaction Support Agreement,
                       this Transaction Term Sheet, and applicable Definitive Documents that
                       are payable on, before, or in connection with the occurrence of the Plan
                       Effective Date.
                 Immediately following effectiveness of the Plan on the Plan Effective Date, the
                 Company Parties shall complete the termination of registration from all securities
                 under sections 13 and 15(d) of the Exchange Act such that the Reorganized
                 Debtors shall be a private company as soon as reasonably practicable after the
                 Plan Effective Date.

Waiver of        Any one or more of the conditions precedent may be waived in accordance with
Conditions       Section 15 of the Transaction Support Agreement.
Precedent




                                             13
Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 262 of 569



                                Exhibit 1

                    DIP Term Loan Facility Term Sheet

                             (See Attached)
     Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 263 of 569

                                                                              Execution Version


                    THE CONTAINER STORE GROUP, INC., ET AL.

                             DIP Term Loan Facility Term Sheet

       This term sheet (together with all exhibits, annexes, and schedules attached hereto, this
“DIP Term Sheet”) sets forth certain material terms of the proposed DIP Term Loan Facility.
Capitalized terms used but not defined herein shall have the meanings ascribed to them in the
Transaction Support Agreement, dated as of December 21, 2024 (together with all exhibits,
annexes, and schedules attached thereto, including the Term Sheets, in each case, as amended,
supplemented or modified in accordance with its terms, the “Transaction Support Agreement”), to
which this DIP Term Sheet is attached as an exhibit to the Transaction Term Sheet.

        Except with respect to the DIP Backstop, this DIP Term Sheet does not constitute a
commitment to lend or provide any financing nor does it address all terms that would be required
in connection with the DIP Term Loan Facility or that will be set forth in the DIP Term Facilities
Documents, which are subject to negotiation and further subject to execution of definitive
documents, pleadings and proposed forms of orders, all of which shall be in form and substance
acceptable to the Company Parties and the Required Consenting Term Lenders, each in their sole
discretion.

    Overview                 The DIP Term Loan Facility shall consist of (i) an aggregate
                             principal amount of $40 million in “new money” loans (the
                             “First-Out DIP Term Loans”, and the lenders of such loans the
                             “First-Out DIP Term Lenders”) and other financial
                             accommodations and (ii) up to $75 million in “rolled up” Term
                             Loans (the “Second-Out DIP Term Loans”, and the lenders of
                             such loans the “Second-Out DIP Term Lenders”, and together
                             with the First-Out DIP Term Loans, the “DIP Term Loans”, and
                             the lenders of such loans, the “DIP Term Lenders”), in each case
                             to The Container Store, Inc., as borrower (the “Borrower”).
                             $20 million of First-Out DIP Term Loans will be drawn upon
                             the entry of the Interim DIP/Cash Collateral Order (as defined
                             below), and $20 million of First-Out DIP Term Loans will be
                             drawn upon the entry of the Final DIP/Cash Collateral Order.
                             The Second-Out DIP Term Loans will be deemed borrowed as
                             a “roll up” of Term Loan Claims in connection with each
                             borrowing of First-Out DIP Term Loans, and shall be deemed
                             borrowed in an amount equal to $1.875 of Second-Out DIP
                             Term Loans for every $1.00 of First-Out DIP Term Loans
                             funded, up to a maximum amount of $75 million; provided,
                             however, that if any DIP Term Lender’s pro rata share of the
                             Second-Out DIP Term Loans exceeds the total amount of Term
                             Loan Claims held by such DIP Term Lender as of any funding
                             date, such DIP Term Lender’s share of Second-Out DIP Term
                             Loans shall be reduced in an amount, and to such an extent, to
                             ensure that the maximum amount of Second-Out DIP Term
Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 264 of 569

                                                                       Execution Version


                    Loans of such DIP Term Lender shall be no greater than such
                    DIP Term Lenders’ Term Loan Claims, and the total amount of
                    Second-Out DIP Term Loans shall be reduced accordingly.
                    The Company Parties shall seek, and the Consenting Term
                    Lenders shall support, entry of the DIP/Cash Collateral Orders,
                    which shall be consistent in all material respects with the
                    Transaction Term Sheet and otherwise acceptable to the
                    Company Parties and the Required Consenting Term Lenders.

DIP Borrower        The Container Store, Inc., a Texas corporation (“DIP
                    Borrower”).

DIP Guarantors      The Container Store Group, Inc., a Delaware corporation (“DIP
                    Holdings”) and each of the other Debtors (as defined in the
                    Transaction Support Agreement) other than the DIP Borrower
                    (the DIP Borrower, DIP Holdings and the other guarantors,
                    collectively, the “Loan Parties”).

DIP Term Loan       A financial institution to be selected by the Required Consenting
Agent               Term Lenders, and reasonably acceptable to the DIP Borrower.

Prepayments         Permitted, in whole or in part, subject to limitations as to
                    minimum amounts, without premium or penalty. Proceeds from
                    any prepayment shall first be applied toward repayment of the
                    First-Out DIP Term Loans on a pro rata basis and then to the
                    repayment of the Second-Out DIP Term Loans on a pro rata
                    basis.

Security Interest   Security: Each of the DIP/Cash Collateral Orders shall provide
                    that all claims arising under or related to the DIP Term Loan
                    Facility (the “DIP Term Loan Claims”), subject to the Carve Out
                    (as defined below), shall be superpriority administrative claims
                    (on a pari passu basis with superpriority administrative claims
                    granted to the DIP ABL Lenders) and shall be secured by valid,
                    binding, continuing, enforceable, non-avoidable, fully and
                    automatically perfected liens on substantially all of the property
                    and assets of the Loan Parties, including (i) a security interest
                    in and on any unencumbered assets, including following the
                    entry of the Final DIP/Cash Collateral Order, all proceeds of or
                    property recovered, whether by judgment, settlement or
                    otherwise, from any and all claims and causes of action of any
                    Debtor’s estate seeking avoidance under chapter 5 of the
                    Bankruptcy Code, any applicable Uniform Voidable Transfer
                    Act, Uniform Fraudulent Transfer Act, Uniform Fraudulent
                    Conveyance Act, or any other similar state statute, common law
                    or otherwise (“Avoidance Action Proceeds”); (ii) a priming
Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 265 of 569

                                                                     Execution Version


                  security interest in and on all Term Priority Collateral, subject
                  only to Permitted Prior Liens, and a security interests in the
                  DIP Proceeds Account (as defined below); (iii) security
                  interests in and on all ABL Priority Collateral, subject only to
                  Permitted Prior Liens; and (iv) in the case of any other perfected
                  non-avoidable security interests existing as of the Petition Date
                  or that are perfected thereafter as permitted under
                  Section 546(b) of the Bankruptcy Code, in each case, that are
                  senior to the Term Loan Liens (collectively, the “Permitted
                  Prior Liens”), security interests immediately junior in priority to
                  such Permitted Prior Liens (the liens described in clauses (i)-
                  (iv), the “DIP Term Loan Liens” and the collateral with respect
                  to such liens, the “DIP Term Loan Collateral”), in each case,
                  having the priorities set forth on Annex A.
                  Definitions: As used herein:
                     •   “DIP ABL Liens” means the liens in favor of the DIP
                         ABL Loan Agent securing the DIP ABL Facility.
                     •   “DIP Agents” means the DIP Term Loan Agent and DIP
                         ABL Loan Agent, and each individually, a “DIP Agent”.
                     •   “Prepetition ABL Payoff Date” means the date on which
                         the ABL Lenders have received payment in full in cash
                         of all ABL Claims from the proceeds of the DIP ABL
                         Facility.
                     •   “Prepetition ABL AP Liens” means liens granted as
                         adequate protection of the ABL Lenders.
                     •   “Prepetition ABL Liens” means the existing liens in
                         favor of the agent under the ABL Facility securing the
                         ABL Claims.
                     •   “Prepetition Collateral” means the property and assets
                         subject to the Prepetition ABL Liens and/or the Term
                         Loan Liens.
                     •   “Required DIP ABL Lenders” means the DIP ABL
                         Lenders holding greater than 50% of the aggregate
                         amount of DIP ABL Loans and unused commitments in
                         respect of DIP ABL Loans.
                     •   “Required DIP Lenders” means collectively, the
                         Required DIP Term Lenders (as defined below) and the
                         Required DIP ABL Lenders.
                     •   “Term Loan Liens” means the liens in favor of the Term
                         Loan Agent securing the Term Loan Claims.
Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 266 of 569

                                                                      Execution Version


                      •   “Term Loan Secured Parties” means the Term Loan
                          Agent and the Term Loan Lenders.
                      •   “Term Priority Collateral” and “ABL Priority
                          Collateral” each have the respective meanings set forth
                          in the Existing Intercreditor Agreement.
                  Carve Out: The DIP Term Loan Claims, DIP Term Loan Liens,
                  Term Loan Liens, Term Loan Claims, DIP ABL Loan Claims,
                  DIP ABL Liens and adequate protection liens and claims shall
                  be subject to the Carve Out, as shall be further set forth in
                  DIP/Cash Collateral Orders and agreed to between the
                  Company Parties and the Required Consenting Term Lenders.

Documentation     The DIP Term Loan Facility (including the terms and conditions
                  applicable thereto) shall be documented pursuant to and
                  evidenced by (a) the DIP Term Loan Credit Agreement,
                  negotiated in good faith, in form and substance reasonably
                  acceptable to the Borrower and the Required Consenting Term
                  Lenders, which shall (i) reflect the terms set forth herein, (ii)
                  reflect the terms of the Interim DIP/Cash Collateral Order or the
                  Final DIP/Cash Collateral Order, as applicable, (iii) have usual
                  and customary provisions for debtor-in-possession financings of
                  this kind and provisions that are necessary to effectuate the
                  financing contemplated hereby, as determined by the Borrower
                  and the Required Consenting Term Lenders, (iv) be based on
                  the Term Loan Credit Agreement; and (v) be mutually agreed
                  among the Borrower and the Required Consenting Term
                  Lenders, (b) the Interim DIP/Cash Collateral Order, (c) the Final
                  DIP/Cash Collateral Order, and (d) other legal documentation or
                  instruments as are, in each case, usual and customary for debtor-
                  in-possession financings of this type and/or reasonably
                  necessary to effectuate the financing contemplated hereby, as
                  determined by the Borrower and the Required Consenting Term
                  Lenders (this paragraph, the “Documentation Principles”);
                  provided, that, notwithstanding anything herein to the contrary,
                  the DIP Term Loan Liens on the DIP Term Loan Collateral shall
                  be created and perfected by the Interim DIP/Cash Collateral
                  Order and Final DIP/Cash Collateral Order, as applicable, and
                  no mortgages or other perfection documentation or action (other
                  than UCC-1 financing statements), including mortgages, control
                  agreements, landlord waivers, foreign law perfection actions or
                  third party consents or orders, or delivery of stock certificates or
                  any other possessory collateral shall be required; provided,
                  further, upon the reasonable request of the DIP Term Lenders,
                  the Loan Parties shall make filings or take any other actions with
                  respect to the perfection of liens.
Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 267 of 569

                                                                        Execution Version


Interim and Final    The order approving the DIP Term Loan Facility on an interim
DIP Orders           basis, which shall be in form and substance, and upon terms and
                     conditions, acceptable in all respects to the Loan Parties and the
                     Required Consenting Term Lenders (the “Interim DIP/Cash
                     Collateral Order”), shall authorize and approve, among other
                     matters, (i) the Loan Parties’ entry into the DIP Term Loan
                     Credit Agreement and the other DIP Term Facilities
                     Documents, (ii) the making of the DIP Term Loans, (iii) the
                     granting of the superpriority claims and liens against the Loan
                     Parties and their assets in accordance with the this Term Sheet
                     with respect to the DIP Term Loan Collateral, (iv) the payment
                     of the Put Option Premium (as defined below), Commitment
                     Premium (as defined below) and Equity Premium, (v) the use of
                     cash collateral, (vii) the granting of adequate protection as
                     contemplated herein, and (viii) approve the DIP ABL Facility
                     (collectively, the “DIP Matters”).
                     The order approving the DIP Term Loan Facility and the DIP
                     ABL Facility on a final basis, which shall be in form and
                     substance, and upon terms and conditions, acceptable in all
                     respects to the Loan Parties and the Required DIP Term Lenders
                     (the “Final DIP/Cash Collateral Order” and, together with the
                     Interim DIP/Cash Collateral Order, the “DIP/Cash Collateral
                     Orders”), shall authorize and approve on a final basis, among
                     other matters, the DIP Matters.

Representations and The DIP Term Facilities Documents shall contain usual and
Warranties          customary representations and warranties, subject to the
                    Documentation Principles.

Conditions           Conditions Precedent to each DIP Term Loan Funding: Each
Precedent            DIP Term Loan Funding shall be subject to the satisfaction (or
                     waiver by the Required DIP Term Lenders) of the following
                     conditions:
                        •   on the date of the DIP Term Loan Funding and
                            immediately after giving effect to the DIP Term Loan
                            Funding, no default or event of default under the DIP
                            Term Facilities Documents shall have occurred and be
                            continuing (subject to any applicable cure periods);
                        •   each of the representations and warranties set forth in the
                            DIP Term Facilities Documents shall be true and correct
                            in all material respects on and as of the date of the DIP
                            Term Loan Funding with the same effect as though made
                            on and as of such date, except to the extent such
                            representations and warranties expressly relate to an
                            earlier date (in which case such representations and
Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 268 of 569

                                                                   Execution Version


                         warranties shall be true and correct in all material
                         respects on and as of such earlier date);
                     •   the Interim DIP/Cash Collateral Order or the Final
                         DIP/Cash Collateral Order, as applicable, shall have
                         been entered by the Bankruptcy Court and be in full
                         force and effect and shall not have been vacated,
                         reversed, modified, amended or stayed in any respect
                         without the consent of the Required DIP Term Lenders;
                     •   no later than three (3) business days after the Petition
                         Date, the Bankruptcy Court shall have entered the
                         Interim DIP/Cash Collateral Order, and the Interim
                         DIP/Cash Collateral Order shall be in full force and
                         effect and shall not have been vacated, reversed,
                         modified, amended or stayed without the prior written
                         consent of the Required DIP Term Lenders;
                     •   substantially concurrently with the initial DIP Term
                         Loan Funding, the Prepetition ABL Payoff Date shall
                         have occurred;
                     •   the Transaction Support Agreement shall be in full force
                         and effect and no Termination Event shall have occurred
                         and be continuing; and
                     •   the DIP Term Loan Agent shall have received a
                         borrowing notice (which may be by email).
                  Conditions Precedent to DIP Closing: The closing of the DIP
                  Term Loan Facility shall be subject to usual and customary
                  conditions precedent for debtor-in-possession financings of this
                  type, to be agreed by the Company Parties and the Required DIP
                  Term Lenders and set forth in the DIP Term Loan Credit
                  Agreement; provided, that, notwithstanding anything herein to
                  the contrary, no legal opinions shall be required in connection
                  with the DIP Term Loan Facility.

Use of Proceeds   The Debtors shall use the DIP Term Loans in accordance with
                  the budget (subject to Permitted Variances (as defined below))
                  approved by the Required DIP Term Lenders (the
                  “DIP Budget”).
                  Subject to the DIP Budget, the proceeds of the DIP Term Loan
                  Facility may be used for general corporate purposes and
                  payment of administrative expenses and operating expenses
                  during the pendency of the Chapter 11 Cases.
                  As set forth in the Interim DIP/Cash Collateral Order and upon
                  entry thereof, the Debtors shall be authorized and directed to
                  deposit all proceeds of the DIP Term Loans into a segregated
Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 269 of 569

                                                                      Execution Version


                    account (the “DIP Proceeds Account”) which DIP Proceeds
                    Account shall not be subject to or be encumbered by any DIP
                    ABL Liens.

Use of Cash         The Loan Parties shall be permitted to use Cash Collateral (as
Collateral          defined below) for the purposes and solely to the extent
                    provided for in the Approved DIP Budget, the Interim DIP/Cash
                    Collateral Order and the Final DIP/Cash Collateral Order.

Events of Default   The DIP Term Loan Credit Agreement shall contain usual and
                    customary events of default for debtor-in-possession financings,
                    including cross-defaults to certain material “Events of Default”
                    under the DIP ABL Credit Agreement subject to the
                    Documentation Principles, and as otherwise agreed by the
                    Debtors and the Required DIP Term Lenders and set forth in the
                    DIP Term Loan Credit Agreement.
                    Subject to the Documentation Principles, the DIP Term Loan
                    Credit Agreement shall provide for customary and usual
                    remedies for an event of default that remains continuing.
                    The DIP/Cash Collateral Orders shall contain provisions
                    governing the exercise of remedies consistent with debtor-in-
                    possession financing orders customarily entered by the
                    Bankruptcy Court in cases of this type.

Interest Rate       •   First-Out DIP Term Loans: Term SOFR + 6.50% per
                        annum, to be paid monthly in cash, subject to a 2.00% SOFR
                        floor; provided, that interest payable on First-Out DIP Term
                        Loans up to 5.50% per annum may be paid in kind, in the
                        form of additional First-Out DIP Term Loans.
                    •   Second-Out DIP Term Loans: Term SOFR + 5.00% per
                        annum, payable semi-annual, subject to a 2.00% SOFR
                        floor; provided, that interest payable on Second-Out DIP
                        Term Loans up to 4.00% per annum may be paid in kind.

Milestones          The Loan Parties shall comply with the Milestones set forth in
                    Section 4 of the Transaction Support Agreement (as such
                    Milestones may be extended in accordance with the terms
                    therein), which Milestones shall be incorporated into the DIP
                    Term Loan Credit Agreement.

Maturity            DIP Maturity: The DIP maturity shall be the earliest of
                        (i)    March 31, 2025;
                        (ii)   11:59 p.m. New York City Time on the date that is
                               three (3) business days after the Petition Date if the
                               Interim DIP/Cash Collateral Order, which shall be in
Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 270 of 569

                                                                          Execution Version


                               form and substance acceptable to the Company Parties
                               and the Required Consenting Term Lenders, each in
                               their sole discretion, has not been entered by the
                               Bankruptcy Court prior to such date and time;
                       (iii)   11:59 p.m. New York City Time on the date that is
                               forty-five (45) days after the Petition Date if the Final
                               DIP/Cash Collateral Order, which shall be in form and
                               substance acceptable to the Company Parties and the
                               Required Consenting Term Lenders, each in their sole
                               discretion, has not been entered by the Bankruptcy
                               Court prior to such date and time;
                       (iv)    the Plan Effective Date;
                       (v)     termination of the Transaction Support Agreement;
                               and
                       (vi)    acceleration as a result of an Event of Default (as such
                               term is defined in the DIP Term Loan Credit
                               Agreement) that has occurred and is continuing,
                       (vii) the date the Bankruptcy Court orders a conversion of
                               the Chapter 11 Cases to a chapter 7 liquidation or the
                               dismissal of the Chapter 11 Case of any Debtor, and
                       (viii) the closing of any sale of assets pursuant to section
                               363 of the Bankruptcy Code, which when taken
                               together with all other sales of assets since the Petition
                               Date, constitutes a sale of all or substantially all of the
                               assets of the Debtors.

Agreement to Roll   Notwithstanding anything to the contrary herein, at the election
                    of the Company Parties (the “Roll Option”), each DIP Term
                    Lender shall agree that, on the Plan Effective Date and so long
                    as the Transaction Support Agreement remains in effect (and
                    there shall not have occurred and be continuing any event, act,
                    or omission that, upon the delivery of a notice would permit the
                    Required Consenting Term Lenders to terminate the
                    Transaction Support Agreement), the First-Out DIP Term Loans
                    (including any unpaid and accrued interest) held by each DIP
                    Term Lender shall convert into First-Out Exit Term Loans of
                    such DIP Term Lender (or any of its designated related funds)
                    and the Second-Out DIP Term Loans (including any unpaid and
                    accrued interest to date) held by each DIP Term Lender shall
                    convert into Second-Out Exit Term Loans of such DIP Term
                    Lender (or any of its designated related funds), in each case, in
                    accordance with the terms set forth in the Transaction Support
Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 271 of 569

                                                                     Execution Version


                  Agreement and the Exit Term Loan Term Sheet (as may be
                  amended).

Payments
                  •   Put Option Premium: In consideration for providing the
                      DIP Backstop, the Debtors shall pay to the DIP Backstop
                      Parties a non-refundable Put Option Premium (as defined in
                      the Transaction Term Sheet) as consideration for providing
                      the DIP Backstop equal to 5.00% of the aggregate amount
                      of the commitments to fund the First-Out DIP Term Loans
                      under the DIP Term Loan Facility (i.e., $40 million), which
                      shall be fully earned upon entry of the Interim DIP/Cash
                      Collateral Order and due and payable in kind at the initial
                      funding of First-Out DIP Term Loans in the form of
                      additional First-Out DIP Term Loans.
                  •   Commitment Premium: In consideration for providing
                      commitments to fund the First-Out DIP Term Loans under
                      the DIP Term Loan Facility, the Debtors shall pay to the
                      First-Out DIP Term Lenders a non-refundable payment
                      equal to 2.00% of the aggregate principal amount of the
                      First-Out DIP Term Loans (i.e., $40 million) (the
                      “Commitment Premium”), which shall be fully earned upon
                      entry of the Interim DIP/Cash Collateral Order and due and
                      payable in kind at the initial funding of First-Out DIP Term
                      Loans in the form of additional First-Out DIP Term Loans
                      to all holders of DIP Term Loan Claims as of the closing of
                      the Syndication.

                  •   Equity Premium: In lieu of payment in full in cash of their
                      DIP Term Loan Claims, each DIP Term Lender holding
                      First-Out DIP Term Loans, shall receive its pro rata share
                      (based on such holdings of First-Out DIP Term Loans) of
                      64% of the New Equity Interests, subject to dilution by the
                      MIP. The Equity Premium shall be earned on the entry of
                      the Final DIP/Cash Collateral Order and payable upon the
                      Plan Effective Date, solely to the extent the Debtors exercise
                      the Roll Option.

Approved DIP
                  •   Initial DIP Budget: The “Initial DIP Budget” shall be
Budget
                      attached to the Interim DIP/Cash Collateral Order and may
                      be modified or extended from time to time by the Debtors
                      with the prior written consent (email being sufficient) of the
                      Required DIP Term Lenders. The Initial DIP Budget shall
                      include projections for the initial 6-week period following
                      the Petition Date (the “Initial Budget Period”).
Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 272 of 569

                                                                     Execution Version


                  •   Budget Updates: Not later than 5:00 p.m. New York City
                      time every fourth Thursday (commencing with the Thursday
                      occurring four weeks after entry of the Interim DIP/Cash
                      Collateral Order) (each such Thursday, the “Updated
                      Budget Deadline”), the Loan Parties shall deliver to the Ad
                      Hoc Group Advisors and the DIP Term Loan Agent a
                      supplement to the Initial DIP Budget (each, an “Updated
                      Budget”), covering the 6-week period commencing with the
                      Saturday of the calendar week immediately preceding such
                      Updated Budget Deadline, in each case, consistent with the
                      form and detail set forth in the Initial DIP Budget and
                      including forecasted unrestricted cash balance, as well as a
                      line-item report setting forth the estimated fees and expenses
                      to be incurred by each professional advisor on a weekly
                      basis; provided, however, that (i) the Updated Budget will
                      be deemed approved unless the Required DIP Term Lenders
                      provide written notice of their objection thereto (which
                      notice of may be provided by any of the Ad Hoc Group
                      Advisors via email) within three (3) Business Days of the
                      delivery of such Updated Budget, and during such period,
                      the Initial DIP Budget or most recent Approved DIP Budget,
                      as applicable, shall remain in effect (the “Interim Approval
                      Period”), (ii) following the Interim Approval Period, if no
                      objection is received from the Required DIP Term Lenders
                      pursuant to clause (i), the Updated Budget shall be deemed
                      the “Approved DIP Budget” (it being understood that the
                      Approved DIP Budget shall be the Initial DIP Budget until
                      superseded by an approved Updated Budget), and (iii) the
                      Required DIP Term Lenders shall not have any obligation
                      to approve any Updated Budget.

Budget Testing    Not later than 5:00 p.m. New York City time every Thursday
                  (commencing with Thursday of the second week following the
                  week in which the Petition Date occurs) (each such Thursday,
                  the “Variance Report Deadline”), the Borrower shall deliver to
                  the Ad Hoc Group Advisors and the DIP Term Lenders a
                  variance report, each in form, detail and substance consistent
                  with the Company’s prepetition reporting to the Ad Hoc Group
                  Advisors (each, a “Variance Report”), setting forth the
                  difference between, on a line-by-line and aggregate basis, (i)
                  actual operating receipts and budgeted operating receipts as set
                  forth in the Approved DIP Budget in effect for the relevant
                  periods (the “Receipts Variance”), (ii) actual operating
                  disbursements and budgeted operating disbursements as set
                  forth in the Approved DIP Budget in effect for the relevant
                  periods, excluding professional fees of the Debtors (the
Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 273 of 569

                                                                          Execution Version


                       “Disbursements Variance”) and (iii) actual disbursements and
                       accrued amounts in respect of professional fees of the Debtors
                       and budgeted operating disbursements and amounts to be
                       accrued in respect of professional fees of the Debtors as set forth
                       in the Approved DIP Budget in effect for the relevant periods
                       (the “Debtor Professional Variance”), in each case, for the
                       Applicable Period (as defined below), in each case, together
                       with a reasonably detailed explanation of such Receipts
                       Variance and Disbursements Variance.
                       On the Thursday of the week following the week in which the
                       Petition Date occurs, the Debtors shall deliver a report setting
                       for the Debtor Professional Variance since the Petition Date,
                       which shall be subject to the Permitted Variance below.
                       The Loan Parties shall not permit the Receipts Variance, the
                       Disbursements Variance or the Debtor Professional Variance
                       with respect to any Applicable Period to exceed the Permitted
                       Variance (as defined below) (the “Permitted Variance
                       Covenant”).
                       “Applicable Period” means the full two-week period ending on
                       the Saturday of the week immediately preceding the applicable
                       Variance Report Deadline.

Permitted Variances Covenant compliance will be tested weekly on a cumulative
                    two-week rolling basis with respect to the Applicable Period;
                    provided, that the Debtor Professional shall also be tested on a
                    one-week basis for the first week following the Petition Date.
                       Actual operating disbursements shall be tested against the
                       applicable Approved DIP Budget.
                       The Debtors shall comply with the Approved DIP Budget,
                       subject to the following permitted variances (as amended from
                       time to time, the “Permitted Variances”):
                          •   Disbursements Variance less than 15% and Receipts
                              Variance less than 15%, on an aggregate basis (and not
                              on a line-item basis), including the interest and fees
                              related to the ABL Claims and DIP Term Loans, and
                              Debtor Professional Variance less than 15%.
                       The Permitted Variances are based on the current prepetition
                       DIP Budget provided by the Company Parties. In connection
                       with the consideration of the Initial DIP Budget, an Updated
                       Budget, or otherwise, the Permitted Variances may be modified
                       in form and substance acceptable to the Debtors and the
                       Required DIP Term Lenders.
Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 274 of 569

                                                                          Execution Version


Use of Cash         Prior to the filing of the Chapter 11 Cases, the Company Parties
Collateral and      and the Consenting Term Lenders (together with the DIP ABL
Adequate Protection Lender) shall negotiate terms for the consensual use of cash
                    collateral (including for the ABL Lenders until the occurrence
                    of the Prepetition ABL Payoff Date), which terms, for the
                    avoidance of doubt, shall be memorialized in each of the
                    DIP/Cash Collateral Orders and shall include customary and
                    usual terms and conditions related to the adequate protection to
                    be provided to such lenders (including pursuant to the terms set
                    forth herein and in the Transaction Support Agreement). For
                    the avoidance of doubt, all adequate protection shall be subject
                    to the Carve Out.
                       The Term Loan Agent, on behalf of the Term Loan Secured
                       Parties, shall be granted the following adequate protection
                       solely to the extent of any diminution in value (for any reason
                       contemplated by the Bankruptcy Code) of such lender’s interest
                       in the Prepetition Collateral securing such holder’s Claims (a
                       “Diminution in Value”):
                          •   replacement liens on any DIP Term Loan Collateral
                              (including ABL Priority Collateral) (the “Term AP
                              Liens”), having the priorities set forth on Annex A,
                          •   (B) a superpriority administrative expense claim as
                              contemplated by section 507(b) of the Bankruptcy Code
                              against each of the Company Parties, on a joint and
                              several basis, which claim shall have priority over any
                              and all other claims against the Company Parties and
                              their estates, now existing or hereafter arising, including,
                              without limitation, of the kinds specified in or ordered
                              pursuant to sections 105, 326, 327, 328, 330, 331, 364,
                              365, 503(a), 503(b), 506(c), 507(a), 507(b), 546(c),
                              546(d), 726, 1113 and 1114 of the Bankruptcy Code
                              (other than the Carve Out) (the “Term AP Claims”), and
                          •   (C) the payment of the reasonable and documented out-
                              of-pocket fees and expenses of the Term Loan Agent and
                              the Consenting Term Lenders; provided, however, that
                              the foregoing Consenting Term Lender fees shall be
                              limited to the pre-petition and post-petition fees and
                              expenses of the Ad Hoc Group Advisors.
                       The DIP Term Loan Facility Documents shall contain usual and
Affirmative and
                       customary affirmative and negative covenants for facilities of
Negative Covenants
                       this type, including limitations on all non-ordinary course
                       incurrence of indebtedness, liens, dispositions of assets,
                       mergers, restricted payments, investments, fundamental
                       changes, transactions with affiliates, burdensome agreements,
Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 275 of 569

                                                                       Execution Version


                    prepayments of debt and use of proceeds of DIP Term Loan
                    Facility and Cash Collateral, subject to the Documentation
                    Principles; provided, that, without limitation, the DIP Term
                    Loan Facility Documents shall require:

                    (i)     two (2) business days’ advance delivery of all material
                            pleadings, motions and other material documents filed
                            with the Bankruptcy Court on behalf of the Loan Parties
                            in the Chapter 11 Cases to the Ad Hoc Group Advisors,
                            unless not reasonably practicable under the
                            circumstances (in which case, as soon as reasonably
                            practicable prior to filing);
                    (ii)    compliance with the Milestones and the Permitted
                            Variance Covenant;
                    (iii)   the Borrower and its subsidiaries shall maintain liquidity
                            (to be defined in a manner to be agreed) at all times of at
                            least $20 million (the “Liquidity Covenant”), to be
                            determined as of the Friday of the immediately
                            preceding testing period, and the Borrower shall certify
                            as to compliance with such Liquidity Covenant on a
                            weekly basis in connection with delivery of the Variance
                            Report; and
                    (iv)    the Company Parties shall use commercially reasonable
                            efforts to obtain private ratings from S&P and Moody’s
                            for the DIP Term Loans within 90 days of the closing of
                            the DIP Term Loan Facility; provided, that no particular
                            ratings shall be required.
                    For the avoidance of doubt, the DIP Term Loan Facility
                    Documents shall not include any financial maintenance
                    covenants not otherwise set forth herein.
                    Upon entry of the Interim DIP/Cash Collateral Order:
Stipulations,
Waivers, Releases   1. Subject to a customary three (3) day remedies determination
and Protections        period and ability to use Cash Collateral during such period,
                       the Loan Parties shall stipulate (a) to the validity, extent,
                       security, enforceability, priority and perfection of the Term
                       Loan Liens, (b) to the amount, validity and lack of defense,
                       counterclaim or offset of any kind to the Secured
                       Obligations (as defined in the Term Loan Credit Agreement)
                       under the Term Loan Credit Agreement (“Term Loan
                       Secured Obligations”), and (c) that all cash of the Loan
                       Parties constitutes “cash collateral” of the Term Loan
                       Secured Parties for purposes of section 363 of the
                       Bankruptcy Code (“Cash Collateral”). The DIP/Cash
                       Collateral Orders shall provide that an Official Committee
Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 276 of 569

                                                                      Execution Version


                     and any other party in interest must file a pleading with the
                     Bankruptcy Court challenging (or seeking standing to
                     challenge) the validity, extent, perfection and/or priority of
                     any claims or security interest of the Term Loan Secured
                     Parties prior to the date that is the earlier of (i) confirmation
                     of any chapter 11 plan of reorganization in these bankruptcy
                     cases, and (ii) (A) in the case of an Official Committee, 60
                     days from appointment of such Committee, and (B) in the
                     case of any other party, seventy-five (75) calendar days after
                     the entry of the Interim DIP/Cash Collateral Order (the
                     “Challenge Period”). Failure of the Official Committee or
                     any other party in interest to file such a pleading with the
                     Bankruptcy Court shall forever bar such party from making
                     such a challenge.
                  2. The Loan Parties shall, subject to the Final DIP/Cash
                     Collateral Order, waive any right to surcharge pursuant to
                     section 506(c) of the Bankruptcy Code any of the DIP Term
                     Loan Collateral with respect to the Term Loan Secured
                     Parties and the Term Loan Liens.
                  3. The Loan Parties shall, subject to the Final DIP/Cash
                     Collateral Order, waive the equitable doctrine of
                     “marshalling” against the DIP Term Loan Collateral with
                     respect to the Term Loan Secured Parties and the Term
                     Priority Collateral.
                  4. The Term Loan Secured Parties shall, subject to the Final
                     DIP/Cash Collateral Order, be entitled to the benefit of
                     section 552(b) of the Bankruptcy Code, and the Loan Parties
                     shall waive the “equities of the case exception” under
                     section 552(b) of the Bankruptcy Code with respect to the
                     Term Loan Secured Parties.
                  5. The Loan Parties shall waive and forever release and
                     discharge any and all claims and causes of action against
                     each of the DIP Term Lenders and the other Term Loan
                     Secured Parties (and their respective related parties and
                     representatives) as of the date of the applicable DIP/Cash
                     Collateral Order, subject to the investigation and challenge
                     rights in the DIP/Cash Collateral Order.
                  6. Except for an Official Committee investigation (but not to
                     litigate, contest, initiate, assert, join, commence, support or
                     prosecute any claim, cause of action or other challenge,
                     including by way of discovery, with respect to the validity,
                     extent, enforceability, security, perfection or priority of any
                     of the DIP Term Loan Liens, Term Loan Liens, DIP Term
                     Loan Claims, or Term Loan Secured Obligations) during the
Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 277 of 569

                                                                     Execution Version


                     Challenge Period and subject to an investigation budget
                     acceptable to the Required Consenting Term Lenders, no
                     Cash Collateral, proceeds of the DIP Term Loan Facility, or
                     any cash or other amounts may be used to (a) investigate,
                     challenge, object to or contest the validity, extent,
                     enforceability, security, perfection or priority of any of the
                     DIP Term Loan Liens, Term Loan Liens, DIP Term Loan
                     Claims, or Term Loan Secured Obligations (it being
                     understood that the Company Parties have the right to
                     respond to discovery in any Official Committee
                     investigation), (b) investigate or initiate any claim or cause
                     of action against any of the DIP Term Lenders or the Term
                     Loan Secured Parties, (c) object to or seek to prevent, hinder
                     or delay or take any action to adversely affect the rights or
                     remedies of the DIP Term Lenders or the Term Loan
                     Secured Parties (subject to a three (3) day period to contest
                     defaults and ability to use Cash Collateral during the
                     remedies period), or (d) seek to approve superpriority claims
                     or grant liens or security interests (other than those expressly
                     permitted under the DIP Term Facilities Documents and the
                     DIP/Cash Collateral Orders) that are senior to or pari passu
                     with the DIP Term Loan Liens, the adequate protection liens
                     or adequate protection claims granted hereunder, or the
                     Term Loan Liens.
                  7. The DIP Term Lenders shall have the unqualified right to
                     credit bid all DIP Term Loan Claims and the Term Loan
                     Secured Parties shall have the unqualified right to credit bid
                     all Term Loan Claims, subject to the entry of the Final
                     DIP/Cash Collateral Order.
                  8. The DIP Term Lenders and the Term Loan Secured Parties
                     shall be entitled to good faith protection under section
                     364(e) of the Bankruptcy Code.

Amendments        Usual and customary for facilities of this type requiring the
                  consent of the Required DIP Term Lenders, except for
                  amendments customarily requiring approval by adversely
                  affected DIP Term Lenders under the DIP Term Loan Facility.
                  “Required DIP Term Lenders” shall mean DIP Term Lenders
                  (other than the fronting lender) holding greater than 50% of the
                  aggregate amount of DIP Term Loans and unused commitments
                  in respect of First-Out DIP Term Loans.

Other Terms       Fronting/Syndication Costs: The Company Parties shall bear
                  any fees, costs, and expenses related to any seasoning or
                  syndication process, including, without limitation, costs
Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 278 of 569

                                                                  Execution Version


                  associated with hiring a fronting bank, as set forth on the
                  fronting letter (the “Fronting Letter”).
                  Carve Out: DIP Term Loan Claims, all claims arising under or
                  related to the DIP ABL Facility, Term Loan Claims, DIP Term
                  Loan Liens, DIP ABL Liens, Term Loan Liens, and adequate
                  protection liens and claims to be subject to Carve Out, as set
                  forth in the DIP/Cash Collateral Orders.
                  Conflict: In the event of a conflict between the terms in this
                  section of this DIP Term Sheet, the DIP/Cash Collateral Orders,
                  and any of the DIP Term Facilities Documents, such DIP/Cash
                  Collateral Orders and DIP Term Facilities Documents shall
                  control over this DIP Term Sheet.
                            Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 279 of 569




                                                                       Annex A
                                                         (in descending order of priority)
      Priority        DIP Collateral that                DIP Collateral that                                                        Claims
                   constitutes ABL Priority          constitutes Term Priority
                                                                                       Unencumbered Property 1
                   Collateral or that would           Collateral or that would
                  otherwise constitute ABL           otherwise constitute Term
                      Priority Collateral                Priority Collateral
    First        Carve Out and Permitted            Carve Out and Permitted           Carve Out                         Carve Out
                 Prior Liens                        Prior Liens
    Second       Until the Prepetition ABL          DIP Term Loan Liens               DIP Term Loan Liens               DIP Superpriority
                 Payoff Date, Prepetition ABL                                                                           Claims
                 AP Liens
    Third        Until the Prepetition ABL          Term AP Liens                     DIP ABL Liens                     AP Claims
                 Payoff Date, Prepetition ABL
                 Liens
    Fourth       DIP ABL Liens                      Term Loan Liens                   Term AP Liens and, until the      N/A
                                                                                      Prepetition ABL Payoff Date,
                                                                                      Prepetition ABL AP Liens
    Fifth        DIP Term Loan Liens                Until the Prepetition ABL         N/A                               N/A
                                                    Payoff Date, Prepetition ABL
                                                    AP Liens
    Sixth        Term AP Liens                      Until the Prepetition ABL         N/A                               N/A
                                                    Payoff Date, Prepetition ABL
                                                    Liens
    Seventh      Term Loan Liens                    DIP ABL Liens                     N/A                               N/A




1
 None of the the ABL DIP Liens or the ABL Adequate Protection Liens shall attach to the DIP Proceeds Account, which shall only secure the Term DIP
Obligations.
Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 280 of 569



                               Exhibit 2

                       Exit Term Loan Term Sheet

                            (See Attached)
     Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 281 of 569

                                                                               Execution Version


                    THE CONTAINER STORE GROUP, INC., ET AL.

                                 Exit Term Loan Term Sheet

       This term sheet (together with all exhibits, annexes, and schedules attached hereto, this
“Exit Term Loan Term Sheet”) sets forth certain material terms of the proposed Exit Facilities.
Capitalized terms used but not defined herein shall have the meanings ascribed to them in the
Transaction Support Agreement, dated as of December 21, 2024 (together with all exhibits,
annexes, and schedules attached thereto, including the Term Sheets, in each case, as amended,
supplemented or modified in accordance with its terms, the “Transaction Support Agreement”), to
which this Exit Term Loan Term Sheet is attached as an exhibit to the Transaction Term Sheet.

 Overview             On the Plan Effective Date, the Debtors will enter into the Exit Facilities
                      Documents, which shall include the Exit Term Loan Credit Agreement
                      and the Exit ABL Credit Agreement.
                      Exit Term Loans: The Exit Term Loan Credit Agreement shall provide for
                      the issuance of first-out exit term loans (the “First-Out Exit Term Loans”)
                      and second-out exit term loans (the “Second-Out Exit Term Loans”) in an
                      amount equal to the principal of, and accrued but unpaid interest on, the
                      DIP Term Loans based on amounts outstanding under the DIP Term Loan
                      Facility on the Plan Effective Date (collectively, the “Exit Term Loans”,
                      and the lenders of such loans, the “Exit Term Lenders”).
                      Exit ABL Loans: The Exit ABL Credit Agreement shall provide for a $140
                      million senior secured asset based revolving credit facility providing for
                      revolving loans consistent with the Combined ABL Commitment Letter
                      and otherwise reasonably acceptable to the Company Parties and Required
                      Consenting Term Lenders (the “Exit ABL Loans”).

 Exit Borrower        The Container Store, Inc., a Texas corporation (“Exit Borrower”).

 Exit Guarantors      The Container Store Group, Inc., a Delaware corporation and each of the
                      other Debtors other than the Exit Borrower (collectively, the “Exit
                      Guarantors” and together with the Exit Borrower, the “Exit Loan Parties”).

 Exit Term Loan       A financial institution to be selected by the Required Consenting Term
 Agent                Lenders, and reasonably acceptable to the Exit Borrower.

 Documentation        The Exit Term Loans (including the terms and conditions applicable
                      thereto) shall be documented pursuant to and evidenced by (a) the Exit
                      Term Loan Credit Agreement, negotiated in good faith, in form and
                      substance reasonably acceptable to the Exit Borrower and the Required
                      Consenting Term Lenders, which shall (i) reflect the terms set forth herein,
                      (ii) have usual and customary provisions for financings of this kind and
                      provisions that are necessary to effectuate the financing contemplated
                      hereby, as determined by the Exit Borrower and the Required Consenting
                      Term Lenders, (iii) be based on the Term Loan Credit Agreement and the
   Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 282 of 569

                                                                           Execution Version


                  Loan Documents (as defined in the Term Loan Credit Agreement), (iv) be
                  mutually agreed among the Exit Borrower and the Required Consenting
                  Term Lenders, and (b) other legal documentation or instruments as are, in
                  each case, usual and customary for financings of this type and/or
                  reasonably necessary to effectuate the financing contemplated hereby, as
                  determined by the Exit Borrower and the Required Consenting Term
                  Lenders (this paragraph, the “Documentation Principles”).

Exit Term Loans   •   Participation: Pursuant to the Plan, the First-Out DIP Term Loans and
                      Second-Out DIP Term Loans will be exchanged for the First-Out Exit
                      Term Loans and Second-Out Exit Term Loans, respectively, on a pro
                      rata and dollar-for-dollar basis.
                  •   Security: Subject to the Documentation Principles, the Exit Term
                      Loans shall be secured by perfected liens on substantially all of the
                      assets of the Exit Loan Parties, subject to usual and customary
                      exceptions to be agreed, which shall be first priority liens on all Term
                      Priority Collateral and second priority liens on all ABL Priority
                      Collateral (each to be defined in a manner substantially similar to the
                      Existing Intercreditor Agreement).
                  •   Maturity: The First-Out Exit Term Loan shall mature on April 30,
                      2029 and the Second-Out Exit Term Loan shall mature on July 30,
                      2029.
                  •   Interest:
                              o First-Out Exit Term Loans: Term SOFR + 6.50% per
                                annum, to be paid monthly in cash, subject to a 2.00%
                                SOFR floor; provided, that accrued interest payable on any
                                First-Out Exit Term Loans up to 5.50% per annum may be
                                paid in kind, in the form of additional First-Out Exit Term
                                Loans; provided, further, that interest shall be paid in cash
                                (and not in kind) after delivery of the financial statements
                                for the first fiscal quarter in which LTM EBITDA reaches
                                $45 million for 4 consecutive quarters (for the avoidance
                                of doubt, after the delivery of such financial statements, the
                                Exit Borrower shall pay all interest in respect of the First-
                                Out Exit Term Loans in cash).
                              o Second-Out Exit Term Loans: Term SOFR + 5.00% per
                                annum, to be paid bi-annually in cash, subject to a 2.00%
                                SOFR floor; provided, that accrued interest payable on any
                                Second-Out Exit Term Loans up to 4.00% per annum may
                                be paid in kind, provided, further, that with the consent of
                                the Required Lenders all interest can paid in kind.
                  •   Amortization: None.
                  •   Call Protection:
    Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 283 of 569

                                                                          Execution Version


                            o First-Out Exit Term Loans: Upon any repayment of the
                              First-Out Exit Term Loans, including any voluntary or
                              mandatory prepayment (but excluding, with respect to
                              mandatory payments, customary exceptions to be agreed),
                              the Borrower shall pay the following amount:
                                       Through 18 months: Customary T + 50 “make-
                                        whole”
                                       18 months – 30 months: 2.00%
                                       30 months – 42 months: 3.00%
                                       After 42 months: None
                            o Second-Out Exit Term Loans: Upon any voluntary
                              repayment of the Second-Out Exit Term Loans, the
                              Borrower shall pay the following amount:
                                       Through 18 months: Customary T + 50 “make-
                                        whole”
                                       18 months – 30 months: 1.00%
                                       After 30 months: None
                                The foregoing call protection with respect to First-Out Exit
                                Term Loans and Second-Out Exit Term Loans shall be
                                payable upon any acceleration or the commencement of
                                any bankruptcy or insolvency event.
                 •   Minimum Liquidity: $10 million, tested monthly.
                 •   Other Terms: Subject to the Documentation Principles, the Exit Term
                     Loan Documents shall contain customary affirmative, negative, and
                     financial covenants for loans of this nature, including monthly
                     financial reporting and monthly KPI reporting by business segment, in
                     each case, acceptable to the Required Consenting Term Lenders and
                     the Company Parties.
                 •   Ratings: The Company Parties shall use commercially reasonable
                     efforts to obtain ratings from S&P and Moody’s for the Exit Term
                     Loans within thirty days after the Plan Effective Date; provided that
                     no particular ratings shall be required.

Conditions       Subject to the Documentation Principles, the Exit Facilities, including the
Precedent        issuance of the Exit Term Loans, shall be subject to usual and customary
                 conditions precedent for exit financings of this type, to be agreed upon by
                 the Company Parties and the Required Consenting Term Lenders, as
                 applicable, and set forth in the respective Exit Facilities Documents, with
                 (i) customary exceptions for the Chapter 11 Cases to any Material Adverse
                 Effect (or similar) condition and (ii) post-closing periods for provision of
                 any control agreements, insurance deliverables and collateral access
   Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 284 of 569

                                                                         Execution Version


                agreements (and other collateral documentation requiring the consent of
                third-parties).

Amendments      The documentation governing the Exit Term Loans may be amended by
                Required Lenders (as defined below), subject to “sacred” rights acceptable
                to Required Consenting Term Lenders. There shall be no limitation with
                respect to voting applicable to affiliates of the Exit Borrower. The
                documentation governing the Exit Term Loans shall include customary
                intercreditor provisions giving effect to the senior nature of the First-Out
                Exit Term Loans, which shall be acceptable to the Required Consenting
                Term Lenders.
                “Required Lenders” shall mean Exit Term Lenders holding (x) a majority
                of the First-Out Exit Term Loans and (y) a majority of the First-Out Exit
                Term Loans and the Second-Out Exit Term Loans, collectively.
Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 285 of 569



                              Exhibit 3

                        DIP Allocation Schedule

                            (See Attached)
Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 286 of 569
Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 287 of 569



                              Exhibit 4

                        Governance Term Sheet

                            (See Attached)
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 288 of 569

                                                                           EXECUTION VERSION

                            Summary of Terms of Governance Documents

        Capitalized terms used in this Summary of Terms of Governance Documents (this “Governance
Term Sheet”) and not otherwise defined herein shall have the meanings given to such terms in
the Transaction Support Agreement, dated as of December 21, 2024 (as amended, restated,
supplemented or otherwise modified from time to time, the “TSA”) to which this Governance Term
Sheet is attached as Exhibit 4.

New TopCo:                            New TopCo will be a newly formed Delaware limited liability
                                      company that will be treated as a partnership for U.S. federal
                                      income tax purposes. New TopCo and its subsidiaries shall be
                                      referred to herein, individually, as a Company” and, collectively,
                                      the “Companies”.

Parties to New LLC Agreement:         On the Plan Effective Date, New TopCo will enter into a limited
                                      liability company agreement (the “New LLC Agreement”) with
                                      each Person that receives New Common Units (as defined below)
                                      in connection with the Transactions.

                                      Persons that own or hold New Common Units from time to time
                                      are referred to herein, each as a “Unitholder” and, collectively, the
                                      “Unitholders”.

New Common Units:                     The New LLC Agreement shall provide for the following two
                                      classes of limited liability company interests: (i) Class A Voting
                                      Common Units (“Class A Common Units”), and (ii) Class B
                                      Limited-Voting Common Units (“Class B Common Units”). The
                                      Class A Common Units and the Class B Common Units are
                                      collectively referred to in this Governance Term Sheet as the
                                      “New Common Units”. Class A Common Units will be voting
                                      units and will be issued on the Plan Effective Date in accordance
                                      with the TSA. Class B Common Units will be limited-voting units
                                      and may be issued from time to time pursuant to awards granted
                                      to directors, managers, officers and employees of any of the
                                      Companies under a management incentive plan to be adopted by
                                      the New Board (as defined below), as determined by the New
                                      Board in its sole discretion.

                                      None of the New Common Units will be listed for trading on a
                                      securities exchange, and none of the Companies will be required
                                      to file reports with the United States Securities and Exchange
                                      Commission unless it is required to do so pursuant to the
                                      Exchange Act.

                                      The New Board shall decide whether the New Common Units will
                                      be certificated or uncertificated and the identity of the transfer
                                      agent, if any, for the New Common Units.

                                      References herein to any class or series of New Common Units
                                      shall apply to limited liability company interests or other equity
                                      securities of New TopCo issued to Unitholders in respect of, in


LEGAL_US_E # 183378539.11
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 289 of 569



                              exchange for, or in substitution of, such class or series of New
                              Common Units by reason of any reorganization, recapitalization,
                              reclassification, merger, consolidation, spin-off, partial or
                              complete liquidation, unit dividend, split-up, sale of assets,
                              distribution to unitholders or combination of such class or series
                              of New Common Units or any other change in New TopCo’s
                              capital structure.

Board of Managers:            The New Board shall consist of five (5) managers on the Plan
                              Effective Date (each manager on the New Board, a “Manager”
                              and, collectively, the “Managers”). The Managers are to be
                              appointed or elected as follows:

                              (i)     the following number of individuals designated by
                                      Unitholders that are Affiliates of Golub Capital LLC
                                      (collectively, “Golub Unitholders”):         (x) two (2)
                                      individuals for so long as the Golub Unitholders own or
                                      hold a number of Class A Units that is equal to or greater
                                      than fifty percent (50.0%) of the number of Class A
                                      Common Units owned or held by the Golub Unitholders
                                      on the Plan Effective Date and (y) one (1) individual for
                                      so long as the Golub Unitholders own or hold a number
                                      of Class A Units that is equal to or greater than thirty
                                      percent (30.0%) of the number of Class A Common Units
                                      owned or held by the Golub Unitholders on the Plan
                                      Effective Date, but less than fifty percent (50.0%) of the
                                      number of Class A Common Units owned or held by the
                                      Golub Unitholders on the Plan Effective Date (such
                                      individuals, the “Golub Managers” and each, a “Golub
                                      Manager”);

                              (ii)    one (1) individual designated by Unitholders that are
                                      Affiliates of LCM Asset Management LLC (collectively,
                                      “LCM Unitholders”) for so long as the LCM Unitholders
                                      own or hold a number of Class A Units that is equal to or
                                      greater than fifty percent (50.0%) of the number of Class
                                      A Common Units owned or held by the LCM Unitholders
                                      on the Plan Effective Date;

                              (iii)   one (1) individual who is not employed by (A) any of the
                                      Companies or (B) any of the Unitholders or any of their
                                      respective Affiliates as of the time that such person is
                                      designated to be a Manager or at any time three (3)
                                      months prior to such time (an “Independent Designee”)
                                      designated by vote of Specified Unitholders (as defined
                                      below) holding a plurality of the votes of the Class A
                                      Common Units present in person or represented by proxy
                                      at a meeting of Specified Unitholders held for purposes of
                                      electing such individual (or by the Majority Specified
                                      Unitholders (as defined below) acting by written
                                      consent); and

                                        -2-
LEGAL_US_E # 183378539.11
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 290 of 569




                              (iv)    the individual serving as the Chief Executive Officer of
                                      New TopCo (the “Chief Executive Officer” and as a
                                      Manager, the “CEO Manager”).

                              If at any time (A) a designation right of Unitholder(s) set forth in
                              clause (i) or clause (ii) above or (B) any designation right that is
                              transferred pursuant to the fourth paragraph of this “Board of
                              Managers” section of this Governance Term Sheet (any such
                              designation right described in clause (A) or clause (B), together
                              with the designation right set forth in clause (iii) above, a
                              “Designation Right”) terminates or is reduced, the Manager(s)
                              serving on the New Board as a result of such terminated or
                              reduced Designation Right shall be removed from the New Board
                              at the request of the Majority Unitholders (as defined below), the
                              vacancy created thereby shall be filled by vote of Unitholders
                              holding a plurality of the votes of the Class A Common Units
                              present in person or represented by proxy at a meeting of
                              Unitholders held for purposes of filling such vacancy (or by the
                              Majority Unitholders acting by written consent), and the reduction
                              or termination of such Designation Right shall be permanent and
                              shall not be reversed if the applicable Unitholder(s) shall
                              thereafter own or hold Class A Common Units equal to or greater
                              than the applicable specified threshold. The Designation Right set
                              forth in clause (iii) above shall not be subject to termination or
                              reduction.

                              The term “Majority Unitholders” means, as of any time of
                              determination, Unitholders that collectively own or hold greater
                              than fifty percent (50.0%) of the issued and outstanding Class A
                              Common Units as of such time of determination. The term
                              “Majority Specified Unitholders” means, as of any time of
                              determination, Specified Unitholders as of such time of
                              determination who collectively own or hold greater than fifty
                              percent (50.0%) of the issued and outstanding Class A Common
                              Units owned or held by all Specified Unitholders as of such time
                              of determination. The term “Specified Unitholders” means
                              Unitholders that, as of the time of determination, do not have a
                              Designation Right pursuant to clause (i) or clause (ii) above.

                              Designation Rights of a Designating Group (as defined below)
                              shall be transferable to any Person or group of Persons that are
                              Affiliates of one another that (i) acquires at least fifty percent
                              (50.0%) of the Designating Group’s Class A Common Units in
                              such transfer and (ii) owns, individually or together with its
                              Affiliates, immediately after giving effect to such transfer, at least
                              ten percent (10.0%) of the issued and outstanding Class A
                              Common Units as of such time. A Designating Group that is
                              transferred a Designation Right pursuant to this paragraph shall
                              continue to have such Designation Right for so long as such


                                         -3-
LEGAL_US_E # 183378539.11
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 291 of 569



                              Designating Group owns or holds at least ten percent (10.0%) of
                              the issued and outstanding Class A Common Units.

                              The term “Designating Group” means any of the following groups
                              of Unitholders: (a) the Golub Unitholders, (b) the LCM
                              Unitholders and (c) any group of Unitholders that acquires a
                              Designation Right pursuant to the fourth paragraph of this “Board
                              of Managers” section of this Governance Term Sheet; provided,
                              that a group of Unitholders will cease to be a “Designating Group”
                              once the Unitholders in such group do not have a Designation
                              Right.

                              Each Major Unitholder (as defined below) (each, an “Observer
                              Unitholder”) shall have the right to appoint one (1) observer to the
                              New Board (a “Board Observer”); provided, that an Observer
                              Unitholder shall not be entitled to have a Board Observer at any
                              time when any of the Managers is an employee of such Observer
                              Unitholder or any of its Affiliates (other than any of the
                              Companies). Each Board Observer shall be reimbursed for the
                              reasonable and documented out-of-pocket costs and expenses
                              incurred by such Board Observer in connection with attending any
                              Meeting (as defined below).

                              The term “Major Unitholder” means each Unitholder that owns or
                              holds (together with its Affiliates) at least five percent (5.0%) of
                              the issued and outstanding Class A Common Units as of the Plan
                              Effective Date (immediately after giving effect to the
                              consummation of the Transactions, including all payments and
                              distributions to be made on or as of the Plan Effective Date);
                              provided, that a Unitholder will permanently cease to be a “Major
                              Unitholder” once such Unitholder owns or holds (together with its
                              Affiliates) less than five percent (5.0%) of the issued and
                              outstanding Class A Common Units.

                              The chairperson of the New Board (the “Chairperson”) shall be
                              one of the Golub Managers, as determined by the Golub
                              Unitholders; provided, however, that if the Golub Unitholders are
                              not permitted to designate two (2) Golub Managers pursuant to
                              their Designation Right, then the Chairperson shall be a Manager
                              elected by the New Board.

                              Managers not employed by any of the Companies, any of the
                              Unitholders or any Affiliates of any of the Unitholders shall
                              receive market-rate compensation from New TopCo, such market-
                              rate compensation to be determined by the Majority Unitholders.
                              Each Manager shall be reimbursed for reasonable and documented
                              out-of-pocket costs and expenses incurred in the performance of
                              his or her duties as a Manager.

                              The New Board may, by majority vote, establish one or more
                              committees of the New Board to exercise the powers of the New

                                         -4-
LEGAL_US_E # 183378539.11
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 292 of 569



                              Board, subject to the limitations set forth in the Delaware Limited
                              Liability Company Act (the “DLLCA”). Each Manager that is
                              elected pursuant to a Designation Right shall have the right to
                              serve on any such committee of the New Board (other than any
                              committee that is established to evaluate, consider, approve,
                              negotiate or otherwise deal with a contract, transaction or other
                              matter with respect to which such Manager, or the Unitholders that
                              designated such Manager (which, in the case of an Independent
                              Designee, shall only include Specified Unitholders that own or
                              hold (together with their respective Affiliates), as of the time of
                              determination, at least fifteen percent (15.0%) of the issued and
                              outstanding Class A Common Units owned or held by all
                              Specified Unitholders as of such time), has/have a conflict of
                              interest) with at least the same proportional voting rights as such
                              Manager has on the New Board. The provisions of this paragraph
                              shall be deemed to be included in a Designation Right. For the
                              avoidance of doubt, no committee shall be authorized to take any
                              action that the New Board could not take itself.

                              None of (A) the Unitholders (except any Unitholder that is an
                              employee of any of the Companies, any Unitholder that is a family
                              member of an employee of any of the Companies, or any
                              Unitholder that is controlled by an employee of any of the
                              Companies or any such employee’s family members), (B) the
                              Managers (except any Manager that is employed by any of the
                              Companies (including the Chief Executive Officer) or is a family
                              member of any employee of any of the Companies), or (C) the
                              Affiliates of any Unitholders described in clause (A) or the
                              Affiliates of any of the Managers described in clause (B) (except
                              any such Affiliate that is an employee of any of the Companies,
                              any such Affiliate that is a family member of any employee of any
                              of the Companies, or any such Affiliate that is controlled by any
                              employee of any of the Companies or any such employee’s family
                              members) (the foregoing Persons, the “Identified Persons”) will
                              be subject to any fiduciary or other duty, including any duty
                              relating to the doctrine of corporate (or analogous) opportunity or
                              any other similar doctrines and the New LLC Agreement will
                              provide for a broad corporate (or analogous) opportunity waiver
                              in favor of all Identified Persons. The New LLC Agreement shall
                              provide that the fiduciary duties of the Identified Persons shall be
                              eliminated or limited to the fullest extent permitted by the
                              DLLCA.

                              Nothing contained in the New LLC Agreement shall limit or
                              otherwise impact the ability of any Identified Person (i) to, directly
                              or indirectly, sell or purchase the debt or equity securities of any
                              Person (other than New TopCo) or (ii) from engaging or
                              competing in any line of business.

Quorum and Voting:            A quorum for meetings of the New Board will require the
                              attendance of a majority of the Managers then in office; provided,

                                         -5-
LEGAL_US_E # 183378539.11
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 293 of 569



                              however, that for so long as the Golub Unitholders have the right
                              to designate two (2) Golub Managers pursuant to their
                              Designation Right, a quorum for any meeting of the New Board
                              will require the attendance of at least one Golub Manager. Except
                              with respect to the actions listed on Schedule A, the vote of a
                              majority of the Managers present and entitled to vote at a meeting
                              at which a quorum is present shall be the act of the New Board,
                              unless the express provision of a statute requires a different vote,
                              in which case such express provision shall govern and control.
                              Any Manager or member of any committee of the New Board may
                              participate in any meeting of the New Board or any committee of
                              the New Board (each such meeting, a “Meeting”) through the use
                              of any means of communication by which all persons participating
                              can hear each other at the same time or by any other means
                              permitted by the DLLCA. Any Manager or member of any
                              committee of the New Board participating in any such Meeting by
                              any such means of communication is deemed to be present in
                              person at such Meeting.

                              Any action required or permitted to be taken at any meeting of the
                              New Board may be taken without a meeting, without prior notice
                              and without a vote if the lesser of the following consent thereto in
                              writing: (a) four (4) members of the New Board and (b) all
                              members then-serving on the New Board; provided, that Required
                              Managers (as defined below) may act by written consent as set
                              forth in the “Certain Transactions Requiring Approval of Majority
                              Unitholders and Required Managers” section of this Governance
                              Term Sheet.

Removal of Managers:          Except for any removal of a Manager on account of the
                              termination or reduction of a Designation Right, the Unitholder(s)
                              entitled to designate a Manager pursuant to a Designation Right
                              (including the Majority Specified Unitholders in the case of the
                              Independent Designee) shall have the exclusive right to require
                              removal, whether with or without cause, of the Manager(s) that
                              has/have been designated by such Unitholder(s). If for any reason
                              the individual serving as the Chief Executive Officer shall cease
                              to serve as the Chief Executive Officer, then (x) such individual
                              shall be automatically removed as a Manager, and (y) the
                              successor Chief Executive Officer shall be automatically
                              appointed as a Manager when such person becomes the Chief
                              Executive Officer. Any Manager that is not designated pursuant
                              to a Designation Right and is not the Chief Executive Officer may
                              be removed, with or without cause, by the Majority Unitholders.

Vacancies on the New Board:   Except for any vacancy on the New Board created as a result of
                              the resignation or removal of a Manager on account of the
                              termination or reduction of a Designation Right, any vacancy on
                              the New Board resulting from the resignation or removal of a
                              Manager that was designated pursuant to a Designation Right, or
                              resulting from any such Manager becoming unable to serve on the

                                         -6-
LEGAL_US_E # 183378539.11
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 294 of 569



                                   New Board as a result of death, disability or otherwise, shall be
                                   filled by the Unitholder(s) then entitled to designate such Manager
                                   pursuant to such Designation Right (including the Majority
                                   Specified Unitholders in the case of the Independent Designee).
                                   Any vacancy on the New Board resulting from the resignation or
                                   removal of a Manager that is not designated pursuant to a
                                   Designation Right (other than the Chief Executive Officer), or
                                   resulting from any such Manager becoming unable to serve on the
                                   New Board as a result of death, disability or otherwise, shall be
                                   filled by vote of Unitholders holding a plurality of the votes of the
                                   Class A Common Units present in person or represented by proxy
                                   at a meeting of Unitholders held for purposes of filling such
                                   vacancy (or by the Majority Unitholders acting by written
                                   consent). Any vacancy on the New Board resulting from the
                                   resignation or removal of a Manager on account of the termination
                                   or reduction of a Designation Right, shall be filled by vote of
                                   Unitholders holding a plurality of the votes of the Class A
                                   Common Units present in person or represented by proxy at a
                                   meeting of Unitholders held for purposes of filling such vacancy
                                   (or by the Majority Unitholders acting by written consent).

Board Meetings:                    Regular meetings of the New Board shall be held at such time or
                                   times as may be determined by the New Board. In addition, the
                                   Chairperson or any two (2) Managers may call a special meeting
                                   of the New Board. Any such regular or special meeting may be
                                   done in person or by remote communication.

Subsidiaries:                      The composition of the board of directors, board of managers or
                                   other governing body of any direct or indirect wholly-owned
                                   subsidiary of New TopCo (including any committee thereof)
                                   (each, a “Subsidiary Governing Body”) shall be comprised of one
                                   or more executive employees of any of the Companies or other
                                   individuals selected or approved by the New Board that are not
                                   employees of any of the Unitholders or any of their respective
                                   Affiliates (other than the Companies), except for any direct or
                                   indirect wholly-owned subsidiary of New TopCo which is either
                                   (i) a limited liability company that is managed by its members, (ii)
                                   a limited partnership that is managed by its general partner, or (iii)
                                   required by Law or contract to have a different composition.

Special Meetings of Unitholders:   Special meetings of the Unitholders may be called by the New
                                   Board or at the written request of the Unitholders or group of
                                   Unitholders who collectively own or hold at least twenty percent
                                   (20.0%) of the issued and outstanding Class A Common Units.

                                   Action by written consent of the Unitholders without a meeting
                                   shall be permitted. Action by written consent shall require the
                                   consent of the Unitholders that own or hold the same percentage
                                   of New Common Units that would be required to take the same
                                   action at a Unitholder meeting at which all then-issued and


                                              -7-
LEGAL_US_E # 183378539.11
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 295 of 569



                                       outstanding New Common Units entitled to vote thereon were
                                       present and voted.

Certain Transactions Requiring
Approval of Majority Unitholders and
Required Managers:                     None of the Companies shall take any of the actions listed on
                                       Schedule A attached hereto without the approval of the New
                                       Board and the Majority Unitholders and the Required Managers.

                                       The term “Required Managers” means the vote of 66 2/3% of the
                                       votes of all of the Managers present and entitled to vote at a
                                       meeting of the New Board at which a quorum is present; provided,
                                       that the votes of the CEO Manager shall be excluded for all
                                       purposes of this calculation. For the avoidance of doubt, if there
                                       is a meeting of the New Board and (i) five (5) Managers are
                                       present and entitled to vote at such meeting, then Required
                                       Managers shall require the vote of three (3) Managers (excluding
                                       the CEO Manager), and (ii) four (4) Managers (including the CEO
                                       Manager) are present and entitled to vote at such meeting, then
                                       Required Managers shall require the vote of two (2) Managers
                                       (excluding the CEO Manager). The Required Managers may also
                                       act by written consent if Managers holding not less than the total
                                       number of votes that would be necessary to authorize the action
                                       by Required Managers at a meeting of the New Board at which all
                                       Managers then in office were present and voted.

Amendments:                            Any amendments to the New LLC Agreement will require the
                                       approval of the Majority Unitholders.

                                       Notwithstanding the foregoing, no amendment or modification of
                                       any provision of the New LLC Agreement (including any
                                       amendments made pursuant to or in connection with a merger,
                                       consolidation or reorganization of New TopCo, except in
                                       connection with a Sale Transaction (as defined below)) relating
                                       to:

                                           (i)          “Transfers”, “Right of First Offer”, “Tag-Along
                                       Rights”, “Drag-Along Rights”, “Preemptive Rights”,
                                       “Information Rights” or “Limitations on Affiliate Transactions”
                                       shall, in any such case, be made without the affirmative vote or
                                       written consent of the Super-Majority Unitholders (as defined
                                       below);

                                            (ii)        any decrease or increase in the size of the New
                                       Board, the Designation Right of any Unitholder or group of
                                       Unitholders (including the right to transfer any Designation Right,
                                       to the extent applicable), the right of any Unitholder or group of
                                       Unitholders to remove any Manager that was designated pursuant
                                       to the Designation Right of such Unitholder or group of
                                       Unitholders, the right of any Manager that was elected pursuant to
                                       the Designation Right of any Unitholder or group of Unitholders

                                                 -8-
LEGAL_US_E # 183378539.11
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 296 of 569



                              to serve on any committee of the New Board, the right of any
                              Unitholder or group of Unitholders to fill the vacancy on the New
                              Board created by the resignation, removal or inability to serve on
                              the New Board of any Manager that was designated pursuant to
                              the Designation Right of such Unitholder or group of Unitholders,
                              or the appointment or removal and replacement of the
                              Chairperson, shall, in any such case, be made without the
                              affirmative vote or written consent of (A) each Designating Group
                              and (B) the Majority Specified Unitholders;

                                  (iii)        the elimination or limitation of fiduciary duties of
                              the Identified Persons, including any duty relating to the doctrine
                              of corporate (or analogous) opportunity or any other similar
                              doctrines, shall be made without the affirmative vote or written
                              consent of each Designating Group;

                                  (iv)        the right of any Observer Unitholder to appoint,
                              remove and/or replace a Board Observer or any of the rights of
                              such Board Observer shall be made without the affirmative vote
                              or written consent of each Major Unitholder;

                                  (v)        the definition of “Super-Majority Unitholders”
                              shall be made without the affirmative vote or written consent of
                              the Super-Majority Unitholders;

                                 (vi)         the definitions of “Majority Specified
                              Unitholders” or “Specified Unitholders” shall, in either such case,
                              be made without the affirmative vote or written consent of the
                              Majority Specified Unitholders;

                                  (vii)        the proviso in the first sentence of the “Quorum
                              and Voting” section of this Governance Term Sheet or the
                              definitions of “Golub Unitholders” or “Designating Group” shall,
                              in any such case, be made without the affirmative vote or written
                              consent of the Golub Unitholders;

                                  (viii)      the definitions of “LCM Unitholders” or
                              “Designating Group” shall, in either such case, be made without
                              the affirmative vote or written consent of the LCM Unitholders;
                              and

                                  (ix)        the amendments section of the New LLC
                              Agreement shall be made without the affirmative vote or written
                              consent of the Unitholder(s) or requisite percentage or number of
                              Unitholders that would be required to amend the underlying
                              provision of such New LLC Agreement to which such amendment
                              or modification relates.

                              In addition, no amendment or modification of any provision of the
                              New LLC Agreement (including any amendments made pursuant
                              to or in connection with a merger, consolidation or reorganization

                                         -9-
LEGAL_US_E # 183378539.11
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 297 of 569



                              of New TopCo, except in connection with a Sale Transaction) that
                              would materially and adversely affect the rights or materially
                              increase the obligations of any Unitholder set forth in the New
                              LLC Agreement in a manner that is disproportionate in any
                              material respect to the comparable rights and obligations of the
                              Majority Unitholders (without regard to any effect resulting from
                              (x) the individual circumstances of any such Unitholder, (y) the
                              differences in the respective percentages of ownership of New
                              Common Units of the Unitholders or (z) the different classes or
                              series of New Common Units owned by the Unitholders) shall be
                              made without the affirmative vote or written consent of such
                              affected Unitholder; provided, however, that, for the avoidance of
                              doubt, neither the creation of a new class or series of equity
                              interests of New TopCo, nor the issuance of any additional New
                              Common Units or other equity interests of New TopCo, shall be
                              deemed to adversely affect the rights or obligations of any
                              Unitholder.

                              The term “Super-Majority Unitholders” means, as of any time of
                              determination, Unitholders that collectively own or hold at least
                              66.0% of the issued and outstanding Class A Common Units as of
                              such time.

Transfers:                    New Common Units will be transferable by the holders thereof (a)
                              only in transactions exempt from the registration requirements of
                              the Securities Act and (b) subject to the satisfaction of the
                              following conditions precedent: (i) delivery to New TopCo of a
                              written notice of such transfer not less than five (5) Business Days
                              prior to such transfer, (ii) delivery to New TopCo of representation
                              letters from the transferor and the transferee (including a
                              representation from the transferee that the transferee is an
                              “accredited investor” as that term is defined in Rule 501 of
                              Regulation D promulgated under the Securities Act (an
                              “Accredited Investor”)), (iii) delivery to New TopCo of an
                              opinion of counsel to the transferor to the effect that such transfer
                              complies with applicable federal and state securities laws, and (iv)
                              the transferee’s execution of a joinder to the New LLC Agreement
                              (unless the transferee is already a party to the New LLC
                              Agreement). Transfers that do not satisfy the foregoing conditions
                              prior to the consummation thereof shall be void ab initio and will
                              not be recognized by New TopCo. Any conditions set forth in
                              clause (b) above may be waived by New TopCo.

                              Any transfer, or series of transfers, of New Common Units (w)
                              that, if consummated, would (1) result in any violation of
                              applicable Law, (2) result in New TopCo having, in the aggregate,
                              1,000 or more holders of record (as such concept is understood for
                              purposes of Section 12(g) of the Exchange Act) of any class of
                              New Common Units, or 400 or more holders of record (as such
                              concept is understood for purposes of Section 12(g) of the
                              Exchange Act) of any class of New Common Units that are not

                                        -10-
LEGAL_US_E # 183378539.11
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 298 of 569



                              Accredited Investors, (3) require New TopCo to register any
                              equity interests of New TopCo under the Exchange Act, (4) cause
                              New Topco to register as an “investment company” under the
                              Investment Company Act of 1940, as amended, or (5) cause the
                              underlying assets of New Topco to be deemed “plan assets” as
                              defined under certain labor regulations or constitute or result in a
                              non-exempt prohibited transaction under Section 406 of the U.S.
                              Employee Retirement Income Security Act of 1974, as amended,
                              or Section 4975 of the Internal Revenue Code of 1986, as
                              amended, (x) to a Person that is not an Accredited Investor, (y) to
                              a Competitor (as defined below), or (z) to any Person that is the
                              target of any sanctions or is a controlled Affiliate of any such
                              Person, in any such case, will be void ab initio and will not be
                              recognized by New TopCo. Nothing contained in the New LLC
                              Agreement shall prevent the Unitholders from transferring,
                              hypothecating, pledging or otherwise disposing of New Common
                              Units or their ownership rights in New Common Units for the
                              purpose of effecting margin transactions or in connection with any
                              financing activity or arrangement undertaken by the Unitholders
                              or their Affiliates in the ordinary course of business.

                              A transfer of New Common Units in a Sale Transaction by a
                              Selling Unitholder (as defined below) or a Dragged Unitholder (as
                              defined below) shall not be subject to the requirements of this
                              “Transfers” section, other than clause (a) above.

                              In addition to the foregoing, Class B Common Units will be
                              subject to additional transfer restrictions and risks of forfeiture to
                              be set forth in a management incentive plan to be adopted by the
                              New Board and/or any agreement, contract or other instrument or
                              document evidencing or governing an award issued under any
                              such management incentive plan.

                              The term “Competitor” means, as of any time of determination,
                              (A) any Person that is identified by name on the Restricted List
                              (as defined below) as of such time of determination, which may
                              include one or more Investment Funds (as defined below), (B) any
                              Person that is engaged in competition with any of the Companies
                              as of such time, as reasonably determined by the New Board, and
                              (C) any Person that is an Affiliate of any Person referred to in
                              clause (A) or clause (B) that is reasonably identifiable as an
                              Affiliate of any such Person on the basis of such Affiliate’s name;
                              provided, that, solely with respect to clause (B), a Competitor shall
                              not include (I) any Investment Fund or (II) any entity that is
                              formed by an Investment Fund and whose only assets are or will
                              be (after giving effect to any proposed or contemplated transfer),
                              directly or indirectly, New Common Units or other securities or
                              indebtedness of any of the Companies (it being understood that a
                              Person described in clause (I) or clause (II) may be a Competitor
                              under clause (A) or clause (B)).


                                        -11-
LEGAL_US_E # 183378539.11
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 299 of 569



                              The term “Restricted List” means a schedule or list of disqualified
                              transferees as determined by the New Board, as such schedule or
                              list may be amended, supplemented, updated or modified from
                              time to time by the New Board.

                              The term “Investment Fund” means a bona fide investment fund
                              or other investment vehicle, such as a hedge fund, private equity
                              fund, an account, a share trust, an investment trust, an investment
                              company, a pension fund, or an insurance company, in each case,
                              the business, operations or assets of which are held for investment
                              purposes and the investments in which are professionally
                              managed.

Right of First Offer:         If any Unitholder (the “Transferring Unitholder”) desires to
                              transfer all or any portion of its New Common Units to any Person
                              (or group of Persons) in any transaction (or series of related
                              transactions) (excluding (a) any transfer of New Common Units
                              by a Transferring Unitholder to one or more of its Affiliates and
                              certain other permitted transferees and (b) any transfer of New
                              Common Units by a Transferring Unitholder that does not exceed,
                              taken together with all other New Common Units transferred by
                              such Transferring Unitholder and all of its Affiliates at any time
                              during the twelve (12) month period ending on the date of such
                              transfer (excluding transfers made pursuant to the “Tag-Along
                              Rights” or “Drag-Along Rights” sections of this Governance
                              Term Sheet and transfers otherwise made in compliance with this
                              “Right of First Offer” section (without giving effect to this clause
                              (b)), one percent (1.0%) of the issued and outstanding Class A
                              Common Units as of the date of such transfer) (a “ROFO
                              Transaction”), the Transferring Unitholder must give notice (a
                              “ROFO Notice”) to each Major Unitholder (each, a “ROFO
                              Unitholder”), setting forth the material terms and conditions of
                              such ROFO Transaction (the “Proposed Terms”), including the
                              number of New Common Units proposed to be transferred (the
                              “Offered Units”) and the purchase price (which purchase price
                              must be exclusively in cash). Each ROFO Unitholder shall have
                              ten (10) business days following receipt of the ROFO Notice to
                              elect to purchase, on the Proposed Terms, up to its full pro rata
                              share of the Offered Units. If any of the ROFO Unitholders do
                              not elect to purchase their respective full pro rata portions of the
                              Offered Units, then the ROFO Unitholders that have elected to
                              purchase their full pro rata portions of the Offered Units shall be
                              offered the right to purchase such unpurchased Offered Units (and
                              such procedure of offering and purchasing Offered Units shall be
                              repeated until either (x) there are no unpurchased Offered Units or
                              (y) no ROFO Unitholders elect to purchase any such unpurchased
                              Offered Units). If the ROFO Unitholders do not elect to purchase
                              all of the Offered Units, then the Transferred Unitholder shall not
                              be obligated to sell any of the Offered Units to the ROFO
                              Unitholders and the Transferring Unitholder shall have the right,
                              for a period of ninety (90) days, to sell all (but not less than all) of

                                        -12-
LEGAL_US_E # 183378539.11
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 300 of 569



                              the Offered Units not sold to the ROFO Unitholders to a third
                              party at a purchase price in cash that is no lower than the purchase
                              price specified in the ROFO Notice and upon other terms that are,
                              in the aggregate, no more favorable to the third party than the other
                              Proposed Terms specified in the ROFO Notice.

Preemptive Rights:            New TopCo shall not, and New TopCo shall not cause or permit
                              any of its subsidiaries to, sell or issue additional equity interests
                              (including, for the avoidance of doubt, any options, warrants or
                              other securities that are convertible into, or exchangeable or
                              exercisable for, New Common Units, limited liability company
                              interests or shares of capital stock) (collectively, “Additional
                              Securities”) to any Person (including any then-current
                              Unitholder), other than in a pro rata distribution to all Unitholders
                              that own or hold New Common Units of a particular class or series
                              and certain other customary exceptions, unless New TopCo or its
                              applicable subsidiary offers to permit each Significant Unitholder
                              (as defined below) that is an Accredited Investor (any such
                              Significant Unitholder, a “Preemptive Unitholder”) to purchase its
                              pro rata portion (calculated on the basis of the Class A Common
                              Units owned or held by such Preemptive Unitholder relative to the
                              Class A Common Units owned or held by all Preemptive
                              Unitholders) of such Additional Securities on the same terms and
                              conditions as each other Preemptive Unitholder. If any of the
                              Preemptive Unitholders do not elect to purchase their respective
                              full pro rata portions of the Additional Securities, then the
                              Preemptive Unitholders that have elected to purchase their full pro
                              rata portions of the Additional Securities shall be offered the right
                              to purchase any such unpurchased Additional Securities (and such
                              procedure of offering and purchasing Additional Securities shall
                              be repeated until either (x) there are no unpurchased Additional
                              Securities or (y) no Preemptive Unitholders elect to purchase any
                              such unpurchased Additional Securities).

                              The term “Significant Unitholders” means, as of any time of
                              determination, any Unitholder that owns or holds (together with
                              its Affiliates) at least five percent (5.0%) of the issued and
                              outstanding Class A Common Units as of such time.

Tag-Along Rights:             If one or more Unitholders (the “Initiating Unitholders”) desires
                              to transfer Class A Common Units representing forty percent
                              (40.0%) or more of the issued and outstanding Class A Common
                              Units to any Person (or group of Persons) (the “Transferee”) in
                              any transaction (or series of related transactions) (excluding any
                              transfer of Class A Common Units by an Initiating Unitholder to
                              one or more of its Affiliates and certain other permitted
                              transferees) (a “Tag-Along Transaction”), the Initiating
                              Unitholders must give notice to each other holder of Class A
                              Common Units (the “Tag-Along Sellers”) at least ten (10)
                              business days prior to the consummation of such Tag-Along
                              Transaction, setting forth the material terms and conditions of

                                        -13-
LEGAL_US_E # 183378539.11
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 301 of 569



                              such Tag-Along Transaction, and arrange for each Tag-Along
                              Seller to have the opportunity to include in such Tag-Along
                              Transaction at least a corresponding percentage of Class A
                              Common Units owned or held by such Tag-Along Seller. The tag-
                              along right may be exercised by any Tag-Along Seller delivering
                              a written notice to the Initiating Unitholders (or a designated
                              representative of the Initiating Unitholders) within five (5)
                              business days following receipt of written notice of the proposed
                              Tag-Along Transaction by the Initiating Unitholders.

                              Tag-Along Sellers shall receive the same form and amount of
                              consideration per Class A Common Unit that is being paid to the
                              Initiating Unitholders in connection with the Tag-Along
                              Transaction, except that if the Initiating Unitholders are given an
                              option as to the form of consideration to be received in exchange
                              for their Class A Common Units, each of the Tag-Along Sellers
                              shall only need to be given the same option with respect to their
                              Class A Common Units.

                              Notwithstanding anything to the contrary contained in this
                              Governance Term Sheet, holders of Class B Common Units shall
                              not be entitled to tag-along rights in respect of Class B Common
                              Units held by any such holder.

Drag-Along Rights:            If one or more Unitholders that own or hold greater than fifty
                              percent (50.0%) of the issued and outstanding Class A Common
                              Units (the “Selling Unitholders”) decide to effect, approve or
                              otherwise take any action that would cause the occurrence of, or
                              desire to consummate, a Sale Transaction to or with any Person
                              other than the Selling Unitholders or any Affiliates thereof, then
                              New TopCo or the Selling Unitholders will have the right to
                              require all other Unitholders (the “Dragged Unitholders”) to,
                              among other things, (i) sell a percentage of their New Common
                              Units corresponding to the aggregate percentage of the New
                              Common Units owned or held by the Selling Unitholders that are
                              proposed to be included in such Sale Transaction; (ii) vote such
                              Dragged Unitholders’ New Common Units, whether by proxy,
                              voting agreement or otherwise, in favor of the Sale Transaction
                              and not raise any objection thereto; (iii) enter into agreements with
                              the purchaser in the Sale Transaction on terms and conditions
                              substantially identical to those applicable to the Selling
                              Unitholders; (iv) obtain any required consents; (v) waive and
                              refrain from exercising any appraisal, dissenters or similar rights;
                              (vi) not assert any claim against any of the Companies, any
                              Manager, any member of any committee of the New Board, any
                              member of any Subsidiary Governing Body or any other
                              Unitholder or any Affiliates of any of the foregoing in connection
                              with the Sale Transaction; and (vii) take any and all reasonably
                              necessary action in furtherance of the consummation of the Sale
                              Transaction.


                                        -14-
LEGAL_US_E # 183378539.11
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 302 of 569



                              Each Unitholder shall receive, in respect of each New Common
                              Unit to be sold by such Unitholder in the Sale Transaction, the
                              same form and amount of consideration paid in such Sale
                              Transaction that is being paid to each other Unitholder in respect
                              of New Common Units of the same class or series, except that if
                              any Unitholder is given an option as to the form of consideration
                              to be received in exchange for each New Common Unit of any
                              class or series held by such Unitholder, each other Unitholder
                              holding New Common Units of the same class or series need only
                              be given the same option.

                              Any Class B Common Units transferred in a Sale Transaction by
                              a Selling Unitholder or a Dragged Unitholder shall immediately
                              and automatically convert into Class A Common Units upon the
                              consummation of such Sale Transaction.

                              “Sale Transaction” means the sale, lease, transfer, issuance or
                              other disposition, in one transaction or a series of related
                              transactions, of (i) all or substantially all of the consolidated assets
                              of the Companies (including by or through the issuance, sale,
                              contribution, transfer or other disposition (including by way of
                              reorganization, merger, share or unit exchange, consolidation or
                              other business combination) of at least a majority of the aggregate
                              voting power of the voting securities of any direct and/or indirect
                              subsidiary or subsidiaries of New TopCo if substantially all of the
                              consolidated assets of the Companies are held by such subsidiary
                              or subsidiaries) or (ii) at least a majority of the issued and
                              outstanding Class A Common Units (whether directly or
                              indirectly or by way of any merger, share or unit exchange,
                              recapitalization, sale or contribution of equity, tender offer,
                              reclassification, consolidation or other business combination
                              transaction or purchase of beneficial ownership), to (in either case
                              of clause (i) or clause (ii)) any Person or “group” (within the
                              meaning of Section 13(d)(3) or Section 14(d)(2) of the Exchange
                              Act, or any successor provision).

Confidentiality:              Subject to certain permitted disclosures (including (i) disclosures
                              to a Unitholder’s advisors and representatives and (ii) disclosures
                              to a prospective transferee of Class A Common Units who
                              executes and delivers to New TopCo a confidentiality agreement
                              substantially in the form of confidentiality agreement attached as
                              an exhibit to the New LLC Agreement), each Unitholder will be
                              required to hold in strict confidence any confidential, business,
                              financial or proprietary information such Unitholder receives
                              regarding any of the Companies, or any confidential, business,
                              financial or proprietary information of any other Unitholder in
                              respect of any of the Companies (“Confidential Information”),
                              whether such Confidential Information is received from any of the
                              Companies, any Manager, any Board Observer, another
                              Unitholder, any Affiliate of New TopCo or another Unitholder, or
                              any agents or advisors of any thereof. Such confidentiality

                                        -15-
LEGAL_US_E # 183378539.11
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 303 of 569



                              obligations shall commence on the Plan Effective Date and end on
                              the second anniversary of the date such Unitholder no longer owns
                              any New Common Units.

                              In the event that any Unitholder proposes to sell or otherwise
                              transfer any New Common Units to a third party in compliance
                              with the transfer restrictions described in this Governance Term
                              Sheet, such Unitholder may make available to the potential
                              transferee Confidential Information relating to the Companies
                              (including Confidential Information obtained by such Unitholder
                              from any Manager or Board Observer), subject to the prior
                              execution by such potential transferee of a confidentiality
                              agreement substantially in the form of confidentiality agreement
                              attached as an exhibit to the New LLC Agreement.

Information Rights:           Prior to New TopCo becoming obligated to file reports under the
                              Exchange Act, subject to the confidentiality provisions referred to
                              above, each Unitholder that holds Class A Common Units shall be
                              entitled to receive (a) annual audited consolidated financial
                              statements of New TopCo, and (b) quarterly unaudited
                              consolidated financial statements of New TopCo for each of New
                              TopCo’s first three fiscal quarters during each fiscal year, in any
                              such case within the time frames required for the delivery of such
                              financial statements under the Companies’ credit documents as of
                              the Plan Effective Date. If New Topco does not produce
                              consolidated financial statements at the New Topco level, but does
                              produce consolidated financial statements at the level of one of its
                              subsidiaries, then, in lieu of making available such consolidated
                              financial statements of New Topco, New Topco shall make
                              available to each Unitholder that holds Class A Common Units
                              the consolidated financial statements of its applicable subsidiary.

                              At the option of New TopCo, New TopCo may make available the
                              information described above on a password-protected website that
                              is only available to Unitholders that hold Class A Common Units.
                              As a condition to gaining access to the information posted on such
                              website, a Unitholder may be required to “click through” or take
                              other affirmative action pursuant to which such Unitholder shall
                              (i) confirm and ratify that it is a party to, and bound by all of the
                              terms and provisions of, the New LLC Agreement,
                              (ii) acknowledge its confidentiality obligations in respect of such
                              information and (iii) certify its status as a Unitholder that holds
                              Class A Common Units.

Limitations on Affiliate
Transactions:                 Any transaction or series of related transactions between any of
                              the Companies, on the one hand, and any Person who, together
                              with its Affiliates, owns or holds five percent (5.0%) or more of
                              the issued and outstanding Class A Common Units or is an
                              Affiliate of any such Person (other than any of the Companies),
                              on the other hand (an “Affiliate Transaction”), involving

                                        -16-
LEGAL_US_E # 183378539.11
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 304 of 569



                              aggregate payments or other consideration in excess of an agreed
                              amount per annum shall require the approval of a majority of the
                              Managers that are disinterested with respect to such Affiliate
                              Transaction.

Registration Rights:          If New TopCo (or any successor or subsidiary of New TopCo)
                              consummates an underwritten public offering pursuant to an
                              effective registration statement covering the common equity of
                              New TopCo (or any successor or subsidiary of New TopCo)
                              (“Company Securities”) that results in such Company Securities
                              being listed on a national securities exchange or quoted on the
                              Nasdaq Stock Market (an “IPO”), then the Significant Unitholders
                              shall be entitled to the following registration rights:

                              Demand Rights: Any Significant Unitholder or group of
                              Significant Unitholders (acting together) that own or hold at least
                              ten percent (10.0%) of all of the Company Securities that are
                              issued and outstanding as of such time may request that New
                              TopCo effect the registration under the Securities Act of a
                              specified number of registrable securities held by such Significant
                              Unitholder(s). Subject to certain exceptions, New TopCo will not
                              be required to effect the demand right more than three times.

                              Piggyback Registration: Any Significant Unitholder shall be
                              entitled to reasonable and customary piggyback registration
                              rights.

Termination of Rights:        The rights of the Unitholders under the New LLC Agreement
                              (other than “Registration Rights” set forth above) shall terminate
                              upon the consummation of an IPO.

Governing Law and Forum:      Delaware.




                                        -17-
LEGAL_US_E # 183378539.11
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 305 of 569

                                                                              EXECUTION VERSION

                                                Schedule A

                 Actions Requiring Majority Unitholder and Required Managers Approval

1.   Distributions or dividends made by any of the Companies to Unitholders that own or hold Class A
     Common Units that are not made to such Unitholders (a) on a pro rata basis (based on the number of
     Class A Common Units owned or held by such Unitholders immediately prior to such distribution or
     dividend), or (b) in the same form.

2.   Repurchases or redemptions of Class A Common Units made by any of the Companies that are not
     made (a) on a pro rata basis (based on the number of Class A Common Units owned or held by all
     Unitholders immediately prior to such repurchases or redemptions), or (b) in the same form of
     consideration.

3.   Transfer New TopCo to or domesticate or continue New TopCo in any jurisdiction other than the State
     of Delaware.

4.   Consummate any initial public offering of securities.

5.   List any securities on any securities exchange, or register any securities with the United States
     Securities and Exchange Commission.

6.   Convert any Company to a corporation, a statutory trust, a business trust, an association, a real estate
     investment trust, a common-law trust or any other incorporated or unincorporated business or entity
     or make any change in any Company’s entity classification for U.S. federal income tax purposes.

7.   Any of the following: (a) merging with, or consolidating into, another entity, regardless of whether
     the applicable Company is the survivor, (b) selling, leasing or exchanging all or substantially all of a
     Company’s property and assets, including its goodwill, or (c) consummating any Sale Transaction, in
     any such case, other than (i) any such transaction that is consummated as an internal restructuring
     transaction (including the dissolution or merger of any immaterial or dormant Company) or that is
     consummated as part of a financing transaction, in any such case that is not material to the businesses
     or operations of the Companies, taken as a whole, and (ii) as set forth in the provision entitled “Drag-
     Along Rights”.




LEGAL_US_E # 183378539.11
Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 306 of 569



                               Exhibit 5

                    DIP & Exit ABL Commitment Letter
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 307 of 569
                                                                                             Execution Version




December 21, 2024


The Container Store Group, Inc.
The Container Store, Inc.
500 Freeport Parkway
Coppell, Texas 75019
Attn: Mr. Jeff Miller
Chief Financial Officer

                                            CONFIDENTIAL

                    $140 Million Senior Secured (a) Debtor-in-Possession Revolving
                Credit Facility and (b) Exit Revolving Credit Facility Commitment Letter

Ladies and Gentlemen:

The Container Store Group, Inc., a Delaware corporation (“Holdings”), together with its subsidiaries, The
Container Store, Inc., a Texas corporation (“TCS” or the “Borrower”), TCS Gift Card Services, LLC, a
Virginia limited liability company (“TCS Gift”), C Studio Manufacturing Inc, a Delaware corporation (“C
Studio”), and C Studio Manufacturing LLC, a Delaware limited liability company (“C Studio M”; and
together with Holdings, TCS, TCS Gift and C Studio, “you”), is considering filing voluntary petitions (the
proceedings resulting therefrom, the “Chapter 11 Cases”) for relief under Title 11 of the United States
Bankruptcy Code (the “Bankruptcy Code”) in the United States Bankruptcy Court for the Southern District
of Texas (the “Bankruptcy Court”) in order to implement a restructuring of the Debtors (collectively, the
“Transactions”).

The Borrower has requested certain financing from Eclipse Business Capital LLC and its affiliates
(collectively, “EBC”), and has asked EBC to provide, subject solely to the conditions expressly set forth
herein, (a) a $140 million senior secured debtor-in-possession revolving credit facility (the “DIP Revolving
Facility” and the commitments thereunder, the “DIP Revolving Facility Commitment”, respectively),
which DIP Revolving Facility shall be structured in substantially the form of Senior Secured Debtor-In-
Possession Revolving Credit Agreement attached hereto as Exhibit A (the “EBC DIP Credit Agreement”),
and (b) a senior secured revolving exit credit facility as structured in the form and manner set forth in
Exhibit B attached hereto (the “Exit Revolving Facility Commitment”; together with the DIP Revolving
Facility Commitment, collectively, the “Commitments”).

A.      DIP Revolving Facility Commitment

The proceeds of the DIP Revolving Facility will be used to (a) refinance certain existing debt of Borrower
and its subsidiaries (including the “Pre-Petition ABL Credit Facility”, as defined in the EBC DIP Credit
Agreement), (b) pay fees and expenses related to the DIP Revolving Facility and the Transactions, (c)
satisfy ongoing capital expenditures of the Borrower and certain of its subsidiaries, and (d) provide for the
ongoing working capital needs of Borrower and certain of its subsidiaries, in each case as a debtor-in-
possession asset-based senior secured loan financing during the Chapter 11 Cases.
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 308 of 569




All terms and conditions of the DIP Revolving Facility, including without limitation with respect to
maturity, pricing, fees, collateral, representations and warranties, affirmative and negative covenants
(including collateral reporting) and events of default shall be as set forth in the EBC DIP Credit Agreement
and the other “Loan Documents” (as defined in the EBC DIP Credit Agreement; such documents, the “DIP
Loan Documents”); provided, that the DIP Revolving Facility Commitment and the DIP Revolving Facility
are subject solely to (a) the execution by Holdings and Borrower of that certain Transaction Support
Agreement, dated as of December 21, 2024, by and among you and the Consenting Stakeholders (as defined
therein) (the “Transaction Support Agreement”), (b) the Bankruptcy Court approving a debtor-in-
possession term loan facility on terms and conditions substantially consistent with that certain DIP Term
Loan Facility Term Sheet, attached as Exhibit 1 to Exhibit B to the Transaction Support Agreement (the
“DIP Term Facility Term Sheet”) in the Interim DIP Order (as defined in the EBC DIP Credit Agreement),
including, without limitation, that such approved debtor-in-possession term loan facility provides for up to
$40.0 million in new money term loans being made available to the Borrower, in each case subject to the
terms and conditions of the DIP Term Facility Term Sheet (such debtor-in-possession term loan facility, a
“Conforming DIP Term Loan Facility”), (c) the negotiation, execution and delivery of the DIP Loan
Documents consistent herewith and otherwise reasonably satisfactory to EBC and you, and (d) the
satisfaction (or waiver) of conditions set forth in Article IV of the EBC DIP Credit Agreement.

EBC hereby commits to provide 100% of the DIP Revolving Facility, subject only to the satisfaction (or
waiver) of the conditions set forth in Article IV of the EBC DIP Credit Agreement.

B.      Exit Revolving Facility Commitment

Based on the information you have provided to us and our discussions to date, EBC is pleased to advise you
of its commitment to provide a senior secured, asset-based revolving credit exit facility (the “Exit Revolving
Facility”) on substantially the terms described in, and subject solely to the satisfaction (or waiver) of the
conditions precedent set forth under the heading “Conditions Precedent” in the Exit Facility Term Sheet
attached hereto and incorporated herein as Exhibit B (the “Exit Facility Term Sheet”; and the credit
agreement evidencing the Exit Revolving Facility, the “Exit Facility Credit Agreement”) in an aggregate
principal amount of $140 million.

The proceeds of the Exit Revolving Facility will be used to (a) refinance certain existing debt of the Debtors
(including those obligations arising under the EBC DIP Credit Agreement) upon Debtors’ emergence from
the Chapter 11 Cases, (b) pay fees and expenses related to the Exit Revolving Facility and the Transactions,
(c) satisfy ongoing capital expenditures, and (d) provide for the ongoing working capital needs of the
Debtors post-emergence, in each case as an exit financing from the Chapter 11 Cases in the Bankruptcy
Court in accordance with a plan of reorganization substantially consistent with the Plan (as defined in the
Transaction Support Agreement) (including any Plan Supplements (as defined in the Transaction Support
Agreement) that are not materially adverse to EBC), or otherwise in form and substance reasonably
satisfactory to EBC (the “Plan of Reorganization”).

EBC hereby commits to provide 100% of the Exit Revolving Facility, subject only to the satisfaction (or
waiver) of the conditions set forth in the Exit Facility Term Sheet under the heading “Conditions
Precedent”. EBC hereby agrees that there are no conditions (implied or otherwise) to our commitments in
respect of the closing of the Exit Revolving Facility on the Exit Closing Date other than the conditions set
forth in the Exit Facility Term Sheet under the heading “Conditions Precedent” and such other or additional
conditions precedent as may be customary for similar such transactions and are reasonably agreed to each
party hereto. Upon satisfaction (or waiver by all of the lenders under the Exit Revolving Facility) of the
conditions set forth in the Exit Facility Term Sheet under the heading “Conditions Precedent” (and such
other or additional conditions precedent as may be customary for similar such transactions and are

                                                      2
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 309 of 569



reasonably agreed to by each party hereto), each party hereto will execute and deliver the definitive
documentation for the Exit Revolving Facility to which it is a party, and the closing of the Exit Revolving
Facility on the Exit Closing Date (as defined in the Exit Facility Term Sheet) shall occur.

C.      Miscellaneous

Holdings and Borrower each represents that (a) all written information (other than projections, forecasts,
financial estimates and/or projected information (the “Projections”) and/or information of a general
economic or industry nature (the “Information”) that has been or will be made available to EBC by you or
any of your representatives in connection with the Transactions and the Commitments, when taken as a
whole, is or will be, when furnished, correct in all material respects and does not or will not, when furnished,
contain any untrue statement of a material fact, or omit to state a material fact necessary in order to make
the statements contained therein not materially misleading in light of the circumstances under which such
statements are made (after giving effect to all supplements and updates thereto from time to time) and (b)
the Projections that have been or will be made available to us by you or any of your representatives have
been or will be prepared in good faith based upon assumptions that you believe to be reasonable at the time
made and at the time such Projections are made available to us; it being recognized that such Projections
are not to be viewed as facts and are subject to significant uncertainties and contingencies, many of which
are beyond your control, and that actual results during the period or periods covered by any such Projections
may differ significantly from the projected results, and that no assurance can be given that the projected
results will be realized.

Holdings and Borrower each agree (a) to indemnify and hold harmless EBC and its controlled affiliates and
their respective directors, officers, employees, advisors, attorneys, agents and other representatives (each,
an “Indemnified Person”) from and against any and all losses, claims, damages and liabilities that may be
incurred by or asserted or awarded against any Indemnified Person, in each case arising out of or in
connection with this Commitment Letter, the DIP Revolving Facility, the Exit Revolving Facility, the use
of the proceeds thereof, or the Transactions or any litigation, investigation or proceeding relating to any of
the foregoing (including in relation to enforcing the terms of this paragraph) (each, a “Proceeding”), which
indemnity shall be effective whether or not any Indemnified Person is a party thereto and whether or not such
Proceedings are brought by you, your equity holders, affiliates, creditors or any other person, and to
reimburse each Indemnified Person promptly upon written demand for any reasonable and documented out-
of-pocket legal or other documented out-of-pocket expenses (limited, in the case of counsel, to the
reasonable and documented out-of-pocket fees, disbursements and other charges of a single firm of outside
counsel to the Indemnified Persons and, if necessary, one local counsel in each relevant jurisdiction and
solely in the event of a conflict of interest, one additional counsel (and if necessary, one local counsel in
each relevant jurisdiction) to each group of similarly situated affected Indemnified Persons); provided, that
the foregoing indemnity will not, as to any Indemnified Person, apply (i) to losses, claims, damages,
liabilities or related expenses to the extent such loss, claim, damage, liability or related expense is found by
a final, nonappealable judgment of a court of competent jurisdiction to arise or result from the willful
misconduct, bad faith or gross negligence of such Indemnified Person or its controlled affiliates, directors,
officers, employees, attorneys, advisors, agents or other representatives (collectively, the “Related
Parties”), (ii) to losses, claims, damages, liabilities or related expenses to the extent they are found by a
final, nonappealable judgment of a court of competent jurisdiction to arise or result from a material breach
of the obligations of such Indemnified Person or its Related Parties under this Commitment Letter or (iii)
to the extent arising from any dispute solely among Indemnified Persons (other than a Proceeding against
any Indemnified Person in its capacity as an agent or arranger or similar role under the DIP Revolving
Facility or the Exit Revolving Facility unless such loss, claim, damage, liability or related expense arise
from the willful misconduct, bad faith, or gross negligence of such Indemnified Person (as determined by
a court of competent jurisdiction in a final, nonappealable judgment)) not arising out of any act or omission
on the part of you or your affiliates; and (b) regardless of whether the Exit Facility Closing Date occurs, to

                                                       3
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 310 of 569



reimburse EBC and its affiliates for all reasonable and documented out-of-pocket expenses (including,
without limitation, due diligence expenses, syndication expenses, financial advisor’s fees, consultant’s fees,
travel expenses, and the fees, charges and, subject to the limitations described below, disbursements of
counsel) incurred in connection with the DIP Revolving Facility and Exit Revolving Facility and any related
documentation (including this Commitment Letter, and the definitive financing documentation in
connection with the DIP Revolving Facility and Exit Revolving Facility) or the administration, amendment,
modification or waiver thereof (limited, in the case of counsel, to the reasonable and documented out-of-
pocket fees, disbursements and other charges of a single firm of outside counsel to EBC and its affiliates,
taken as a whole, and, if necessary, one local counsel in each relevant jurisdiction and solely in the event
of a conflict of interest, one additional counsel (and if necessary, one local counsel in each relevant
jurisdiction) to each group of similarly situated affected persons). No Indemnified Person or any other
party hereto shall be liable for any damages arising from the use by others of any information or other
materials obtained through electronic, telecommunications or other information transmission systems,
including an electronic platform or otherwise via the internet, except to the extent of direct, as opposed to
indirect, consequential or punitive damages arising from the gross negligence or willful misconduct of the
relevant party. None of the Indemnified Persons or you or any of your or their respective Related Parties of
the foregoing shall be liable for any indirect, special, punitive or consequential damages in connection with
this Commitment Letter, the DIP Revolving Facility, Exit Revolving Facility, or the transactions
contemplated hereby and thereby, provided that nothing contained in this sentence shall limit your
indemnity obligations to the extent set forth herein.

You shall not, without the prior written consent of each applicable Indemnified Person (which consent shall
not be unreasonably withheld, conditioned or delayed), effect any settlement of any pending or threatened
Proceedings in respect of which indemnity could have been sought hereunder by such Indemnified Person
unless such settlement (a) includes an unconditional release of such Indemnified Person in form and
substance reasonably satisfactory to such Indemnified Person from all liability on claims that are the subject
matter of such Proceedings and (b) does not include any statement as to or any admission of fault, culpability
or a failure to act by or on behalf of any Indemnified Person or any injunctive relief or other non-monetary
remedy. You acknowledge that any failure to comply with your obligations under the preceding sentence
may cause irreparable harm to EBC and the other Indemnified Persons.

Each of the parties hereto agrees that this Commitment Letter is a binding and enforceable agreement with
respect to the subject matter contained herein or therein (including an obligation to negotiate the DIP Loan
Documents and the definitive documentation for the Exit Revolving Facility in good faith).

This Commitment Letter shall not be assignable by you without the prior written consent of EBC or by
EBC without your prior written consent (and any purported assignment without such consent shall be null
and void), and is solely for the benefit of the parties hereto and is not intended to confer any benefits upon,
or create any rights in favor of, any person other than the parties hereto and the Indemnified Persons.

The contents of this Commitment Letter are confidential. Holdings and Borrower each agrees that it will
not show, circulate, or otherwise disclose this letter or its contents to any other person, except (i) its
affiliates, and its and their officers, directors, employees, attorneys, agents, representatives, equity-holders,
accountants and advisors, on a confidential basis, (ii) as required in a legal, judicial or administrative
proceeding or other compulsory process or as requested by any governmental authority or as otherwise
required by applicable law, and (iii) in any suit or legal action or proceeding relating to Holdings’ or
Borrower’s exercise of any rights or remedies hereunder. Notwithstanding anything to the contrary in the
foregoing, you shall be permitted to provide unredacted copies of the Commitment Letter (and the
attachments hereto) to (i) the Consenting Stakeholders under the Transaction Support Agreement, (ii) the
term loan lenders under the Conforming DIP Term Loan Facility, (iii) the Bankruptcy Court and the Office
of the United States Trustee and any official committee appointed in the Chapter 11 Cases and (iv) any

                                                       4
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 311 of 569



other party ordered by the Bankruptcy Court, or otherwise as needed in connection with any legal, judicial,
administrative proceeding or other compulsory process or otherwise as required by applicable law or
regulations, in each case of this clause (iv) in connection with any motion seeking approval of the DIP
Revolving Facility, the Exit Revolving Facility and solely for the use of the Bankruptcy Court or such other
party in connection with such motion.

EBC shall treat confidentially (i) all information received by it in connection with this Commitment Letter
and the transactions contemplated hereby and (ii) the terms and substance of this Commitment Letter;
provided, however, that nothing herein shall prevent EBC from disclosing any such information (a) in any
legal, judicial, administrative proceeding or other compulsory process or otherwise as required by
applicable law or regulations, (b) upon the request or demand of any regulatory authority having jurisdiction
over EBC, (c) to the officers, directors, employees, attorneys, agents, representatives, equity-holders,
accountants and advisors, on a confidential basis, (d) to the extent any such information becomes publicly
available other than by reason of disclosure by EBC or officers, directors, employees, attorneys, agents,
representatives, equity-holders, accountants and advisors in breach of this Commitment Letter, and (e) for
purposes of establishing a “due diligence” defense. The provisions of this paragraph shall automatically
terminate two years following the date of this Commitment Letter.

The laws of the State of New York (but without giving effect to any choice or conflicts of law provisions
or rules (whether of the State of New York or any other jurisdiction) that would result in the application of
the laws of any jurisdiction other than the State of New York) shall govern all matters arising out of, in
connection with or relating to this letter. The parties hereto consent and agree that the Bankruptcy Court,
or if such court shall no longer have jurisdiction over the Chapter 11 Cases, then the state or federal courts
located in New York County, New York, shall have exclusive jurisdiction to hear and determine any claims
or disputes between or among any of the parties hereto pertaining to this letter or any transaction
contemplated herein. The parties hereto expressly submit and consent in advance to such jurisdiction in
any action or suit commenced in any such court, and hereby waive any objection, which each of the parties
may have based upon lack of personal jurisdiction, improper venue or inconvenient forum.

THE PARTIES HERETO, TO THE EXTENT PERMITTED BY LAW, WAIVE ALL RIGHT TO TRIAL
BY JURY IN ANY ACTION, SUIT, OR PROCEEDING ARISING OUT OF, IN CONNECTION WITH
OR RELATING TO, THIS LETTER AND ANY TRANSACTIONS CONTEMPLATED HEREIN. THIS
WAIVER APPLIES TO ANY ACTION, SUIT OR PROCEEDING WHETHER SOUNDING IN TORT,
CONTRACT OR OTHERWISE.

The provisions of this letter regarding fees and expenses, indemnities, confidentiality and those set forth in
the prior two paragraphs (in each case, except as expressly contemplated in such provisions) shall survive
the termination or expiration of this letter and shall remain in full force and effect regardless of whether the
transaction contemplated herein closes; provided, that if (a) the DIP Revolving Facility closes, the
provisions herein with respect to fees and expenses, indemnities and confidentiality in respect of the DIP
Revolving Facility shall be superseded and deemed replaced by the terms of the DIP Loan Documents, and
(b) if the Exit Revolving Facility closes, the provisions herein with respect to fees and expenses, indemnities
and confidentiality in respect of the Exit Revolving Facility shall be superseded and deemed replaced by
the terms of the Exit Loan Documents.

This Commitment Letter may be executed in counterparts, each of which will be deemed an original, but
all of which taken together will constitute one and the same instrument. Delivery of an executed counterpart
of a signature page of this Commitment Letter by facsimile transmission or other electronic transmission
(e.g., a “pdf” or “tiff”) will be effective as delivery of a manually executed counterpart hereof. For purposes
hereof, the words “execution,” “execute,” “executed,” “signed,” “signature” and words of like import shall
be deemed to include electronic signatures, the electronic matching of assignment terms and contract

                                                       5
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 312 of 569



formulations on electronic platforms, or the keeping of records in electronic form, each of which shall be
of the same legal effect, validity or enforceability as a manually executed signature or the use of a paper-
based recordkeeping system, as the case may be, to the extent and as provided for in any applicable law,
including the Federal Electronic Signatures in Global and National Commerce Act, the New York State
Electronic Signatures and Records Act, or any other similar state laws based on the Uniform Electronic
Transaction Act.

This Commitment Letter shall automatically (and without further notice or action) expire and terminate on
the earliest to occur of the following: (i) with respect to the DIP Revolving Facility Commitment, the
execution and delivery of the DIP Loan Documents and the initial funding of the DIP Revolving Facility;
(ii) with respect to the Exit Revolving Facility Commitment, the execution and delivery of the definitive
documentation for the Exit Revolving Facility and the initial funding of the Exit Revolving Facility; (iii)
entry of an order by the Bankruptcy Court converting the Chapter 11 Cases to proceedings under chapter 7
of the United States Bankruptcy Code or dismissing the Chapter 11 Cases; (iv) with respect to the DIP
Revolving Facility, the date that is three (3) business days after the Petition Date (as defined in the EBC
DIP Credit Agreement) (or, if such third day is not a business day, the first succeeding business day
thereafter) unless the Bankruptcy Court shall have entered the Interim DIP Order (as defined in the EBC
DIP Credit Agreement and as may be modified by the Bankruptcy Court or the parties hereto prior to its
entry, provided such modifications are reasonably acceptable to EBC in form and substance) on or before
such date; or (v) with respect to the Exit Revolving Facility, if the effective date of the Plan of
Reorganization has not occurred by the Plan Outside Date Milestone (as defined in the Transaction Support
Agreement as in effect on the date hereof, and as such date may be extended in accordance with the
Transaction Support Agreement).

                                    [Signatures Appear Following Pages]




                                                     6
Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 313 of 569
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 314 of 569




Accepted and agreed to:

THE CONTAINER STORE GROUP, INC.,
a Delaware corporation,


By:    ___________________________
       Name: _Jeffrey A. Miller_______
       Title: _Chief Financial Officer__
       Date: _December 21, 2024_____


THE CONTAINER STORE, INC.,
a Texas corporation,


By:    ___________________________
       Name: _Jeffrey A. Miller_______
       Title: _Chief Financial Officer__
       Date: _December 21, 2024_____




                              Signature Page to DIP Commitment Letter
Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 315 of 569



                                     EXHIBIT A
        Form of Senior Secured Debtor-In-Possession Revolving Credit Agreement
                                    (see attached)




                                       9
Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 316 of 569


                                                                R&B DRAFT
                                                                  12/20/2024




      SENIOR SECURED SUPERPRIORITY DEBTOR-IN-POSSESSION
           ASSET-BASED REVOLVING CREDIT AGREEMENT

                               $140,000,000

                      Dated as of December [24], 2024

                                   among

                     THE CONTAINER STORE, INC.,
                            as Borrower,

                  THE GUARANTORS PARTY HERETO

                   ECLIPSE BUSINESS CAPITAL LLC,
                as Administrative Agent and Collateral Agent,

                                    and

                 THE OTHER LENDERS PARTY HERETO

                   ECLIPSE BUSINESS CAPITAL LLC,
                           as Lead Arranger
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 317 of 569



                                                   TABLE OF CONTENTS

                                                                                                                                                  Page

ARTICLE I DEFINITIONS AND ACCOUNTING TERMS ........................................................ 2
       1.01    Defined Terms .................................................................................................................... 2
       1.02    Other Interpretive Provisions ............................................................................................ 45
       1.03    Classification of Loans and Borrowings ........................................................................... 46
       1.04    Accounting Terms............................................................................................................. 46
       1.05    Rounding........................................................................................................................... 46
       1.06    Times of Day .................................................................................................................... 46
       1.07    Letter of Credit Amounts .................................................................................................. 46
       1.08    Senior Debt ....................................................................................................................... 46
       1.09    [Reserved] ......................................................................................................................... 46
       1.10    [Reserved] ......................................................................................................................... 46
       1.11    Interest Rates; Benchmark Notifications .......................................................................... 47
       1.12    Divisions ........................................................................................................................... 47
       1.13    Letters of Credit ................................................................................................................ 47

ARTICLE II THE COMMITMENTS AND CREDIT EXTENSIONS ....................................... 47
       2.01    Committed Loans; Reserves ............................................................................................. 47
       2.02    Borrowings of Committed Loans...................................................................................... 48
       2.03    Letters of Credit ................................................................................................................ 49
       2.04    Swing Line Loans ............................................................................................................. 55
       2.05    Prepayments ...................................................................................................................... 58
       2.06    Termination of Commitments ........................................................................................... 59
       2.07    Term of Agreement; Repayment of Loans ....................................................................... 59
       2.08    Interest .............................................................................................................................. 60
       2.09    Fees ................................................................................................................................... 60
       2.10    Computation of Interest and Fees ..................................................................................... 61
       2.11    Evidence of Debt .............................................................................................................. 61
       2.12    Payments Generally; Administrative Agent’s Clawback.................................................. 62
       2.13    Sharing of Payments by Lenders ...................................................................................... 63
       2.14    Settlement Amongst Lenders ............................................................................................ 64
       2.15    [Reserved] ......................................................................................................................... 65
       2.16    [Reserved] ......................................................................................................................... 65
       2.17    [Reserved] ......................................................................................................................... 65

ARTICLE III TAXES, YIELD PROTECTION AND ILLEGALITY ......................................... 65
       3.01    Taxes ................................................................................................................................. 65
       3.02    Alternate Rate of Interest; Illegality ................................................................................. 68
       3.03    Increased Costs ................................................................................................................. 70
       3.04    [Reserved] ......................................................................................................................... 71
       3.05    Mitigation Obligations; Replacement of Lenders ............................................................. 71
       3.06    Survival ............................................................................................................................. 71

ARTICLE IV CONDITIONS PRECEDENT TO CREDIT EXTENSIONS ............................... 71
       4.01    Conditions of Initial Credit Extension .............................................................................. 71
       4.02    Conditions to All Credit Extensions ................................................................................. 74
                                                                       i
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 318 of 569




ARTICLE V REPRESENTATIONS AND WARRANTIES ....................................................... 75
        5.01     Existence, Qualification and Power .................................................................................. 75
        5.02     Authorization; No Contravention ..................................................................................... 76
        5.03     Governmental Authorization; Other Consents.................................................................. 76
        5.04     Binding Effect ................................................................................................................... 76
        5.05     Financial Statements; No Material Adverse Effect........................................................... 76
        5.06     Litigation........................................................................................................................... 76
        5.07     [Reserved]. ........................................................................................................................ 77
        5.08     Ownership of Property; Liens; Investments...................................................................... 77
        5.09     Environmental Matters ..................................................................................................... 77
        5.10     Insurance ........................................................................................................................... 78
        5.11     Taxes ................................................................................................................................. 78
        5.12     ERISA Compliance........................................................................................................... 78
        5.13     Subsidiaries; Equity Interests; Loan Parties ..................................................................... 79
        5.14     Margin Regulations; Investment Company Act................................................................ 79
        5.15     Disclosure ......................................................................................................................... 79
        5.16     Compliance with Laws ..................................................................................................... 80
        5.17     Intellectual Property; Licenses, Etc. ................................................................................. 80
        5.18     [Reserved] ......................................................................................................................... 80
        5.19     Casualty, Etc. .................................................................................................................... 80
        5.20     Labor Matters .................................................................................................................... 80
        5.21     Collateral Documents ....................................................................................................... 81
        5.22     USA PATRIOT Act .......................................................................................................... 81
        5.23     Anti-Corruption Laws and Sanctions................................................................................ 81
        5.24     Affected Financial Institutions .......................................................................................... 81
        5.25     Plan Assets ........................................................................................................................ 81

ARTICLE VI AFFIRMATIVE COVENANTS ........................................................................... 82
        6.01     Financial Statements and Other Information .................................................................... 82
        6.02     Certificates; Other Information ......................................................................................... 83
        6.03     Notices .............................................................................................................................. 86
        6.04     Payment of Obligations .................................................................................................... 86
        6.05     Preservation of Existence, Etc .......................................................................................... 87
        6.06     Maintenance of Properties ................................................................................................ 87
        6.07     Maintenance of Insurance ................................................................................................. 87
        6.08     Compliance with Laws ..................................................................................................... 88
        6.09     Books and Records ........................................................................................................... 88
        6.10     Inspection Rights .............................................................................................................. 88
        6.11     Use of Proceeds ................................................................................................................ 89
        6.12     [Reserved] ......................................................................................................................... 89
        6.13     [Reserved] ......................................................................................................................... 89
        6.14     Physical Inventories .......................................................................................................... 89
        6.15     Further Assurances ........................................................................................................... 89
        6.16     Lenders Meetings .............................................................................................................. 90
        6.17     [Reserved] ......................................................................................................................... 90
        6.18     Designation of Subsidiaries .............................................................................................. 90
        6.19     [Reserved] ......................................................................................................................... 90
        6.20     Certain Other Bankruptcy Matters .................................................................................... 90


                                                                        ii
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 319 of 569




ARTICLE VII NEGATIVE COVENANTS................................................................................. 91
        7.01     Liens ................................................................................................................................. 91
        7.02     Indebtedness...................................................................................................................... 93
        7.03     Investments ....................................................................................................................... 94
        7.04     Fundamental Changes ....................................................................................................... 96
        7.05     Dispositions ...................................................................................................................... 97
        7.06     Restricted Payments .......................................................................................................... 98
        7.07     Change in Nature of Business ......................................................................................... 100
        7.08     Transactions with Affiliates ............................................................................................ 100
        7.09     Burdensome Agreements ................................................................................................ 101
        7.10     Amendments of Material Indebtedness .......................................................................... 101
        7.11     Accounting Changes ....................................................................................................... 101
        7.12     Prepayments, Etc. of Indebtedness ................................................................................. 102
        7.13     Holding Company ........................................................................................................... 102
        7.14     [Reserved] ....................................................................................................................... 102
        7.15     Minimum Availability .................................................................................................... 102
        7.16     Sale and Leaseback Transactions.................................................................................... 102
        7.17     Additional Bankruptcy Matters....................................................................................... 102

ARTICLE VIII EVENTS OF DEFAULT AND REMEDIES ................................................... 103
        8.01     Events of Default ............................................................................................................ 103
        8.02     Remedies upon Event of Default .................................................................................... 107
        8.03     Application of Funds ...................................................................................................... 108

ARTICLE IX ADMINISTRATIVE AGENT............................................................................. 109
        9.01     Appointment and Authority ............................................................................................ 109
        9.02     Rights as a Lender........................................................................................................... 109
        9.03     Exculpatory Provisions ................................................................................................... 110
        9.04     Reliance by Agents ......................................................................................................... 110
        9.05     Delegation of Duties ....................................................................................................... 111
        9.06     Resignation of Agents ..................................................................................................... 111
        9.07     Non-Reliance on Agents and Other Lenders .................................................................. 111
        9.08     No Other Duties, Etc. ...................................................................................................... 112
        9.09     Administrative Agent May File Proofs of Claim ............................................................ 112
        9.10     Collateral and Guaranty Matters ..................................................................................... 112
        9.11     Notice of Transfer ........................................................................................................... 113
        9.12     Reports and Financial Statements ................................................................................... 113
        9.13     Agency for Perfection ..................................................................................................... 114
        9.14     Indemnification of Agents .............................................................................................. 114
        9.15     Withholding Tax ............................................................................................................. 114
        9.16     Relation Among Lenders ................................................................................................ 114
        9.17     Certain ERISA Matters ................................................................................................... 114
        9.18     Erroneous Payments ....................................................................................................... 116
        9.19     Intercreditor Agreement .................................................................................................. 117

ARTICLE X CONTINUING GUARANTY .............................................................................. 117
        10.01    Guaranty.......................................................................................................................... 117
        10.02    Rights of Lenders ............................................................................................................ 118
        10.03    Certain Waivers .............................................................................................................. 118
                                                                       iii
       Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 320 of 569



         10.04    Obligations Independent ................................................................................................. 118
         10.05    Subrogation ..................................................................................................................... 118
         10.06    Termination; Reinstatement ............................................................................................ 118
         10.07    Subordination .................................................................................................................. 119
         10.08    Stay of Acceleration........................................................................................................ 119
         10.09    Condition of Borrower .................................................................................................... 119

ARTICLE XI MISCELLANEOUS ............................................................................................ 119
         11.01    Amendments, Etc. ........................................................................................................... 119
         11.02    Notices; Effectiveness; Electronic Communications ...................................................... 121
         11.03    No Waiver; Cumulative Remedies ................................................................................. 124
         11.04    Expenses; Indemnity; Damage Waiver ........................................................................... 124
         11.05    Payments Set Aside ........................................................................................................ 125
         11.06    Successors and Assigns .................................................................................................. 126
         11.07    Treatment of Certain Information; Confidentiality ......................................................... 129
         11.08    Right of Setoff ................................................................................................................ 130
         11.09    Interest Rate Limitation .................................................................................................. 130
         11.10    Counterparts; Integration; Effectiveness......................................................................... 131
         11.11    Survival of Representations and Warranties ................................................................... 132
         11.12    Severability ..................................................................................................................... 132
         11.13    Replacement of Lenders ................................................................................................. 132
         11.14    Governing Law; Jurisdiction; Etc. .................................................................................. 133
         11.15    WAIVER OF JURY TRIAL........................................................................................... 134
         11.16    No Advisory or Fiduciary Responsibility ....................................................................... 134
         11.17    USA PATRIOT Act Notice ............................................................................................ 134
         11.18    No Strict Construction .................................................................................................... 135
         11.19    Attachments .................................................................................................................... 135
         11.20    Intercreditor Agreement .................................................................................................. 135
         11.21    Acknowledgement and Consent to Bail-In of Affected Financial Institutions ............... 135
         11.22    Acknowledgement Regarding Any Supported QFCs ..................................................... 136




                                                                       iv
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 321 of 569



                                          SCHEDULES

2.01          Commitments and Applicable Percentages
2.03          Existing Letters of Credit
5.01          Organization Information
5.08(c)       Owned Real Estate
5.08(d)(i)    Leased Real Estate (Lessee)
5.08(d)(ii)   Leased Real Estate (Lessor)
5.08(e)       Existing Investments
5.10          Insurance
5.13          Subsidiaries and Other Equity Investments
5.17          Intellectual Property Rights
6.02(c)       Borrowing Base Calculation and Collateral Reporting
6.12          Guarantors
6.13          Credit Card Arrangements
7.01(b)       Existing Liens
7.02          Existing Indebtedness
7.09          Burdensome Agreements
11.02         Administrative Agent’s Office, Certain Addresses for Notices

                                            EXHIBITS

Form of

A-1           Notice of Borrowing
A-2           [Reserved]
B             [Reserved]
C             [Reserved]
D             Compliance Certificate
E             Form of Note
F             Assignment and Assumption
H-1           [Reserved]
H-2           [Reserved]
I             [Reserved]
J             [Reserved]
K             [Reserved]
L             [Reserved]
M-1           U.S. Tax Certificate For Foreign Lenders That Are Not Partnerships For U.S. Federal
              Income Tax Purposes
M-2           U.S. Tax Certificate For Foreign Lenders That Are Partnerships For U.S. Federal Income
              Tax Purposes
M-3           U.S. Tax Certificate For Foreign Participants That Are Not Partnerships For U.S. Federal
              Income Tax Purposes
M-4           U.S. Tax Certificate For Foreign Participants That Are Partnerships For U.S. Federal
              Income Tax Purposes




                                                 v
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 322 of 569



                  SENIOR SECURED SUPERPRIORITY DEBTOR-IN-POSSESSION
                       ASSET-BASED REVOVING CREDIT AGREEMENT

        This       SENIOR         SECURED         SUPERPRIORITY           DEBTOR-IN-POSSESSION
ASSET-BASED REVOLVING CREDIT AGREEMENT (this “Agreement”) is entered into as of
December [24], 2024, among THE CONTAINER STORE, INC., a Texas corporation and a debtor and
debtor-in-possession under Chapter 11 of the Bankruptcy Code (the “Borrower”), the Guarantors party
hereto as debtors and debtors-in-possession under Chapter 11 of the Bankruptcy Code, each lender from
time-to-time party hereto (collectively, the “Lenders” and individually, a “Lender”), ECLIPSE
BUSINESS CAPITAL LLC (“Eclipse”), as Administrative Agent, Collateral Agent and Lead Arranger.

                                     PRELIMINARY STATEMENTS:

         WHEREAS, on December [24], 2024 (the “Petition Date”), the Borrower and certain affiliates
and direct and indirect Subsidiaries of the Borrower (each, a “Chapter 11 Debtor” and collectively, the
“Chapter 11 Debtors”) filed voluntary petitions with the United States Bankruptcy Court for the Southern
District of Texas (the “Bankruptcy Court”) initiating their cases under Chapter 11 of Title 11 of the United
States Code (the “Bankruptcy Code”) (collectively, the “Chapter 11 Cases”), and each Chapter 11 Debtor
has continued and is continuing in the possession of its assets and management of its business pursuant to
Sections 1107 and 1108 of the Bankruptcy Code;

        WHEREAS, The Container Store Group, Inc., a Delaware corporation and Chapter 11 Debtor
 (“Holdings”) and the Borrower have asked the Lenders to provide the Borrower with a senior secured
 super-priority priming asset-based revolving debtor-in-possession credit facility in an aggregate amount
 not to exceed $140,000,000 (subject to the then applicable Borrowing Base) pursuant to the terms, and
 subject to the conditions set forth, in this Agreement and the Financing Orders (the “ABL DIP Facility”),
 the proceeds of which shall be used (i) for operating, working capital and other general corporate purposes
 of the Borrower and the Guarantors, including, together with a portion of the loans made under the DIP
 Term Facility, to refinance in full on the Closing Date the indebtedness outstanding under the Prepetition
 ABL Credit Facility (and to cash collateralize letters of credit outstanding thereunder), and (ii) to pay fees,
 costs and expenses incurred in connection with the Transactions and other administration costs incurred
 in connection with the Chapter 11 Cases;

        WHEREAS, the Lenders are willing to make Committed Loans to the Borrower, subject to the
terms and conditions set forth in this Agreement and the Financing Orders;

       WHEREAS, the Obligations of the Borrower are guaranteed by the Guarantors and subject to the
Carve Out, secured by Liens on the Collateral, in each case, as set forth in, and subject to, the Loan
Documents and the Financing Orders; and

        WHEREAS, the relative priority of the Liens under the ABL DIP Facility, the DIP Term Facility
and the Prepetition Term Loan Facility with respect to the Collateral granted to secure the Obligations and
the “Obligations” as defined in each of the DIP Term Facility and the Prepetition Term Loan Facility shall
be as set forth in the Interim Financing Order and the Final Financing Order, as applicable, in each case
upon entry thereof by the Bankruptcy Court.

        NOW, THEREFORE, in consideration of the mutual covenants and agreements herein contained,
the receipt and sufficiency of which is hereby acknowledged, the parties hereto covenant and agree as
follows:
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 323 of 569



                                         ARTICLE I
                            DEFINITIONS AND ACCOUNTING TERMS

         1.01    Defined Terms. Unless otherwise defined herein, the following terms are used herein as
defined in the UCC: Account Debtor, Chattel Paper, Deposit Accounts, Equipment, Fixtures, Instruments,
Inventory and Proceeds. In addition, as used in this Agreement, the following terms shall have the meanings
set forth below:

        “ABL DIP Facility” has the meaning specified in the recitals hereto.

        “ABL DIP Superpriority Claim” shall have the meaning set forth in the Financing Orders.

        “ABL Priority DIP Collateral” shall have the meaning specified therefor in the Financing Orders.

       “ABLSoft” means the electronic and/or internet-based system approved by the Administrative
Agent for the purpose of making notices, requests, deliveries, communications and for the other purposes
contemplated in this Agreement or otherwise approved by the Administrative Agent, whether such system
is owned, operated or hosted by the Administrative Agent, any of its Affiliates or any other Person.

         “Acceptable Plan of Reorganization” shall mean a plan of reorganization for each of the Chapter
11 Cases that (i) provides for the termination of the unused commitments under the ABL DIP Facility and
the exchange of the Committed Loans and other Obligations hereunder for loans under the Exit ABL
Facility (as defined below) and full discharge of the Borrower’s and Guarantors’ Obligations hereunder at
emergence, (ii) to the maximum extent permitted by applicable law, contains releases for the Agents and
the Lenders in form and substance reasonably satisfactory to the Agents and the Lenders, (iii) is consistent
with the Transaction Support Agreement, and (iv) provides for entry into the “Exit ABL Facility” (as
defined in the Transaction Support Agreement) with Eclipse as lender and agent (such facility the “Exit
ABL Facility”). For the avoidance of doubt, the Plan (as defined in the Transaction Support Agreement as
may be amended, supplemented, amended and restated or otherwise modified from time to time in
accordance with the terms hereof and thereof) shall be deemed an Acceptable Plan of Reorganization.

         “Accounts” means “accounts” as defined in the UCC, and also means a right to payment of a
monetary obligation, whether or not earned by performance, (a) for property that has been or is to be sold,
leased, licensed, assigned, or otherwise disposed of, (b) for services rendered or to be rendered, (c) for a
policy of insurance issued or to be issued, (d) for a secondary obligation incurred or to be incurred, or
(e) arising out of the use of a credit or charge card or information contained on or for use with the card.

        “ACH” means automated clearing house transfers.

      “Administrative Agent” means Eclipse in its capacity as administrative agent under any of the
Loan Documents, or any successor administrative agent as provided in Section 9.06.

        “Administrative Agent’s Office” means the Administrative Agent’s address and, as appropriate,
account as set forth on Schedule 11.02, or such other address or account as the Administrative Agent may
from time to time notify the Borrower and the Lenders.

       “Administrative Questionnaire” means an Administrative Questionnaire in a form supplied by
the Administrative Agent.

         “Affected Financial Institution” means (a) any EEA Financial Institution or (b) any UK Financial
Institution.
                                                     2
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 324 of 569



        “Affiliate” means, with respect to any Person, another Person that directly, or indirectly through
one or more intermediaries, Controls or is Controlled by or is under common Control with the Person
specified.

        “Agent Parties” has the meaning specified in Section 11.02(c).

        “Agents” means, collectively, the Administrative Agent and the Collateral Agent.

         “Aggregate Commitments” means, at any time, the sum of the Commitments of all the Lenders
at such time. As of the Closing Date, the Aggregate Commitments are $140.0 million.

       “Agreement” has the meaning specified in the introductory paragraph hereto, as amended, restated,
modified or supplemented from time to time in accordance with the terms hereof.

        “Ancillary Document” has the meaning specified in Section 11.10(b).

        “Anti-Corruption Laws” means all laws, rules, and regulations of any jurisdiction applicable to
the Borrower or any of its Affiliates from time to time concerning or relating to bribery or corruption.

        “Applicable Margin” means, with respect to any Term Benchmark Loan, 4.25% and, with respect
to any Base Rate Loan, 3.25%.

         “Applicable Percentage” means, with respect to any Lender, at any time, the percentage (carried
out to the fourth decimal place) of the Aggregate Commitments represented by such Lender’s Commitment
at such time. If the commitment of each Lender to make Loans and the obligation of any L/C Issuer to
make L/C Credit Extensions have been terminated pursuant to Section 8.02 or if the Aggregate
Commitments have expired, then the Applicable Percentage of each Lender shall be determined based on
the Applicable Percentage of such Lender most recently in effect, giving effect to any subsequent
assignments. The initial Applicable Percentage of each Lender is set forth opposite the name of such Lender
on Schedule 2.01 or in the Assignment and Assumption pursuant to which such Lender becomes a party
hereto. Notwithstanding the foregoing, in the case of Section 2.03(e) when a Defaulting Lender shall exist,
“Applicable Percentage” as used in such Section 2.03(e) with respect to any non-Defaulting Lender shall
mean the percentage of the Aggregate Commitments (disregarding any Defaulting Lender’s Commitments)
represented by such non-Defaulting Lender’s Commitment.

        “Appraised Value Percentage” means the net orderly liquidation value of the Borrower’s and the
Subsidiary Guarantors’ Inventory as determined by (i) the Prepetition Appraisal or, if later, the most current
third-party appraisal report, performed in a manner substantially consistent with the Prepetition Appraisal
by an appraisal firm retained by the Administrative Agent for such appraisal project with respect to the
Eligible Inventory and Eligible In-Transit Inventory.

        “Approved Bankruptcy Court Order” shall mean (a) the Financing Orders and the Cash
Management Order, as each such order is amended and in effect from time to time in accordance with this
Agreement in a manner satisfactory to the Administrative Agent in its reasonable discretion (to the extent
any such modification is adverse to the Lenders or Administrative Agent), (b) any other order entered by
the Bankruptcy Court (in each case in form and substance satisfactory to the Administrative Agent in its
reasonable discretion) regarding, relating to or impacting (i) any rights or remedies of any Credit Party, (ii)
the Loan Documents or the DIP Term Loan Documents (including the Borrower’s and the Guarantors’
obligations thereunder), (iii) the Collateral, any Liens thereon or any ABL DIP Superpriority Claims
(including, without limitation, any sale or other disposition of Collateral or the priority of any such Liens
or ABL DIP Superpriority Claims), (iv) the use of cash collateral, (v) debtor-in-possession financing, (vi)
                                                      3
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 325 of 569



adequate protection or otherwise relating to any of the Prepetition Facilities or (vii) any plan of
reorganization (it being understood that any Acceptable Plan of Reorganization is in form and substance
satisfactory to the Administrative Agent in its reasonable discretion) and (c) any other order entered by the
Bankruptcy Court that has not been vacated, reversed or stayed.

        “Approved Budget” shall mean the “Initial Budget” as defined in the Interim Financing Order, as
such budget is modified pursuant to the terms of the Financing Orders and in form and substance reasonably
acceptable to the Administrative Agent.

         “Approved Electronic Communication” means each notice, demand, communication,
information, document and other material transmitted, posted or otherwise made or communicated by e-
mail, facsimile, ABLSoft or any other equivalent electronic service, whether owned, operated or hosted by
the Administrative Agent, any of its Affiliates or any other Person, that any party is obligated to, or
otherwise chooses to, provide to the Administrative Agent pursuant to this Agreement or any other Loan
Document, including any financial statement, financial and other report, notice, request, certificate and
other information or material; provided, that Approved Electronic Communications shall not include any
notice, demand, communication, information, document or other material that Agent specifically instructs
a Person to deliver in physical form.

         “Approved Fund” means any Fund that is administered or managed by (a) a Lender, (b) an
Affiliate of a Lender or (c) an entity or an Affiliate of an entity that administers or manages a Lender.

        “Arranger” means Eclipse Business Capital LLC.

        “Assignee Group” means two or more Eligible Assignees that are Affiliates of one another or two
or more Approved Funds managed by the same investment advisor.

        “Assignment and Assumption” means an assignment and assumption entered into by a Lender
and an Eligible Assignee (with the consent of any party whose consent is required by Section 11.06(b)(iii)),
and accepted by the Administrative Agent, in substantially the form of Exhibit F or any other form
approved by the Administrative Agent.

         “Attributable Indebtedness” means, on any date, (a) in respect of any Capital Lease Obligations
of any Person, the capitalized amount thereof that would appear on a balance sheet of such Person prepared
as of such date in accordance with GAAP, (b) in respect of any Synthetic Lease Obligation, the capitalized
amount of the remaining lease or similar payments under the relevant lease or other applicable agreement
or instrument that would appear on a balance sheet of such Person prepared as of such date in accordance
with GAAP if such lease or other agreement or instrument were accounted for as a Capital Lease Obligation
and (c) all Synthetic Debt of such Person.

         “Availability Period” means the period from and including the Closing Date to the earliest of
(a) the Maturity Date, (b) the date of termination of the Aggregate Commitments pursuant to Section 2.06,
and (c) the date of termination of the Commitment of each Lender to make Loans pursuant to Section 8.02.

        “Availability Reserves” means, without duplication of any other Reserves or items that are
otherwise addressed or excluded through eligibility criteria, an amount, if any, established in the
Administrative Agent’s reasonable discretion, equal to the sum of (a) the amount of all sales taxes that have
been collected by the Borrower and Subsidiary Guarantors and not remitted to any state taxing authority
when due, (b) an amount equal to two (2) months’ gross rent for each leased Store or distribution center of
the Borrower and the Subsidiary Guarantors located in a Landlord Lien State (consistent with the
Administrative Agent’s usual practices), (c) 50% of Customer Credit Liabilities, (d) an amount based on
                                                     4
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 326 of 569



rent which is past due for more than ten days for any of the Borrower’s or Subsidiary Guarantors’ leased
locations, with the exception of past due rent that is the subject of a Permitted Protest as determined by the
Administrative Agent in its reasonable discretion, (e) [reserved], (f) such other reserves established in the
Administrative Agent’s reasonable discretion which are reasonably required pursuant to this Agreement,
including, without limitation, reserves implemented in connection with Permitted Liens, Permitted
Encumbrances, and Permitted Indebtedness, but in the case of each of the foregoing, only to the extent such
Liens, encumbrances and Indebtedness relate or in any way affect the Borrowing Base, (g) reserves
implemented in order to protect the Credit Parties from any Liens, encumbrances or claims that could, in
the reasonable judgment of the Administrative Agent, take priority over the Liens of the Collateral Agent
in the Collateral, (h) Dilution Reserves, (i) reserves for Shrink related to Eligible Inventory and freight and
duties related to Eligible In-Transit Inventory, and (j) reserves reasonably calculated to cover the Lenders’
exposure for funding the Carve Out, which for the avoidance of doubt, shall be reduced by any amounts
then held in the Carve Out Reserve Account (in each case as determined in good faith by the Administrative
Agent, including, but not limited to, in accordance with the Approved Budget).

         “Available Tenor” means, as of any date of determination and with respect to the then-current
Benchmark, as applicable, any tenor for such Benchmark (or component thereof) or payment period for
interest calculated with reference to such Benchmark (or component thereof), as applicable, that is or may
be used for determining the length of an interest period for any term rate or otherwise, for determining any
frequency of making payments of interest calculated pursuant to this Agreement as of such date and not
including, for the avoidance of doubt, any tenor for such Benchmark that is then-removed from the
definition of “Interest Period” (or similar concept) pursuant to clause (e) of Section 3.02.

        “Avoidance Actions” has the meaning set forth in the Financing Orders.

        “Bail-In Action” means the exercise of any Write-Down and Conversion Powers by the applicable
Resolution Authority in respect of any liability of an Affected Financial Institution.

         “Bail-In Legislation” means (a) with respect to any EEA Member Country implementing Article
55 of Directive 2014/59/EU of the European Parliament and of the Council of the European Union, the
implementing law, regulation, rule or requirement for such EEA Member Country from time to time which
is described in the EU Bail-In Legislation Schedule and (b) with respect to the United Kingdom, Part I of
the United Kingdom Banking Act 2009 (as amended from time to time) and any other law, regulation or
rule applicable in the United Kingdom relating to the resolution of unsound or failing banks, investment
firms or other financial institutions or their affiliates (other than through liquidation, administration or other
insolvency proceedings).

        “Bankruptcy Code” has the meaning specified in the introductory paragraphs hereto.

        “Bankruptcy Court” has the meaning specified in the introductory paragraphs hereto.

         “Base Rate” means, for any day, the rate per annum equal to the greatest of (a) the Floor plus one
percent (1.00%), (b) the Federal Funds Rate in effect on such day plus one-half of one percent (½%), (c)
the Term SOFR Rate in effect on such day, plus one percent (1.00%), provided, that this clause (c) shall
not be applicable during any period in which Term SOFR is unavailable or unascertainable, and (d) the rate
of interest announced, from time to time, by Wells Fargo Bank, N.A. at its principal office in San Francisco
as its “prime rate” in effect on such day, with the understanding that the “prime rate” is one of Wells Fargo
Bank, N.A.’s base rates (not necessarily the lowest of such rates) and serves as the basis upon which
effective rates of interest are calculated for those loans making reference thereto and is evidenced by the
recording thereof after its announcement in such internal publications as Wells Fargo Bank, N.A. may
designate (or, if such rate ceases to be so published, as quoted from such other generally available and
                                                        5
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 327 of 569



recognizable source as Agent may select in its reasonable discretion). If the Base Rate is being used as an
alternate rate of interest pursuant to Section 3.02 (for the avoidance of doubt, only until the Benchmark
Replacement has been determined pursuant to Section 3.02(b)), then the Base Rate shall be the greater of
clauses (a) and (b) above and shall be determined without reference to clause (c) above. For the avoidance
of doubt, if the Base Rate as determined pursuant to the foregoing would be less than 3.00%, such rate shall
be deemed to be 3.00% for purposes of this Agreement.

        “Base Rate Committed Loan” means a Committed Loan that is a Base Rate Loan.

        “Base Rate Loan” means a Loan that bears interest based on the Base Rate.

         “Benchmark” means, initially, the Term SOFR Rate; provided that if a Benchmark Transition
Event and the related Benchmark Replacement Date have occurred with respect to the Term SOFR Rate or
the then-current Benchmark, then “Benchmark” means the applicable Benchmark Replacement to the
extent that such Benchmark Replacement has replaced such prior benchmark rate pursuant to clause (b) of
Section 3.02.

        “Benchmark Replacement” means, for any Available Tenor, the first alternative set forth in the
order below that can be determined by the Administrative Agent for the applicable Benchmark Replacement
Date:

                (a)     Daily Simple SOFR; or

                (b)     the sum of: (i) the alternate benchmark rate that has been selected by the
        Administrative Agent and the Borrower as the replacement for the then-current Benchmark for the
        applicable Corresponding Tenor giving due consideration to (A) any selection or recommendation
        of a replacement benchmark rate or the mechanism for determining such a rate by the Relevant
        Governmental Body or (B) any evolving or then-prevailing market convention for determining a
        benchmark rate as a replacement for the then-current Benchmark for dollar-denominated
        syndicated credit facilities at such time in the United States and (ii) the related Benchmark
        Replacement Adjustment.

If the Benchmark Replacement as determined pursuant to clause (a) or (b) above would be less than the
Floor, the Benchmark Replacement will be deemed to be the Floor for the purposes of this Agreement and
the other Loan Documents.

        “Benchmark Replacement Adjustment” means, with respect to any replacement of the then-
current Benchmark with an Unadjusted Benchmark Replacement for any applicable interest period and
Available Tenor for any setting of such Unadjusted Benchmark Replacement, the spread adjustment, or
method for calculating or determining such spread adjustment, (which may be a positive or negative value
or zero) that has been selected by the Administrative Agent and the Borrower for the applicable
Corresponding Tenor giving due consideration to (i) any selection or recommendation of a spread
adjustment, or method for calculating or determining such spread adjustment, for the replacement of such
Benchmark with the applicable Unadjusted Benchmark Replacement by the Relevant Governmental Body
on the applicable Benchmark Replacement Date and/or (ii) any evolving or then-prevailing market
convention for determining a spread adjustment, or method for calculating or determining such spread
adjustment, for the replacement of such Benchmark with the applicable Unadjusted Benchmark
Replacement for dollar-denominated syndicated credit facilities at such time.

       “Benchmark Replacement Conforming Changes” means, with respect to any Benchmark
Replacement and/or any Term Benchmark Loan, any technical, administrative or operational changes
                                                     6
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 328 of 569



(including changes to the definition of “Base Rate”, the definition of “Business Day”, the definition of
“U.S. Government Securities Business Day”, the definition of “Interest Period” (or similar concept), timing
and frequency of determining rates and making payments of interest, timing of borrowing requests or
prepayment, conversion or continuation notices, length of lookback periods, the applicability of breakage
provisions, and other technical, administrative or operational matters) that the Administrative Agent decides
may be appropriate to reflect the adoption and implementation of such Benchmark and to permit the
administration thereof by the Administrative Agent in a manner substantially consistent with market
practice (or, if the Administrative Agent decides that adoption of any portion of such market practice is not
administratively feasible or if the Administrative Agent determines that no market practice for the
administration of such Benchmark exists, in such other manner of administration as the Administrative
Agent decides is reasonably necessary in connection with the administration of this Agreement and the
other Loan Documents).

         “Benchmark Replacement Date” means, with respect to any Benchmark, the earliest to occur of
the following events with respect to such then-current Benchmark:

                 (a)       in the case of clause (a) or (b) of the definition of “Benchmark Transition Event”,
        the later of (i) the date of the public statement or publication of information referenced therein and
        (ii) the date on which the administrator of such Benchmark (or the published component used in
        the calculation thereof) permanently or indefinitely ceases to provide all Available Tenors of such
        Benchmark (or such component thereof); or

                  (b)    in the case of clause (c) of the definition of “Benchmark Transition Event”, the
        first date on which all Available Tenors of such Benchmark (or such component thereof) have been
        determined and announced by the regulatory supervisor for the administrator of such Benchmark
        (or such component thereof) to be no longer representative; provided, that such non-
        representativeness will be determined by reference to the most recent statement or publication
        referenced in such clause (c) and even if any Available Tenor of such Benchmark (or such
        component thereof) continues to be provided on such date.

         For the avoidance of doubt, (i) if the event giving rise to the Benchmark Replacement Date occurs
on the same day as, but earlier than, the Reference Time in respect of any determination, the Benchmark
Replacement Date will be deemed to have occurred prior to the Reference Time for such determination and
(ii) the “Benchmark Replacement Date” will be deemed to have occurred in the case of clause (a) or (b)
with respect to any Benchmark upon the occurrence of the applicable event or events set forth therein with
respect to all then-current Available Tenors of such Benchmark (or the published component used in the
calculation thereof).

        “Benchmark Transition Event” means, with respect to any Benchmark, the occurrence of one or
more of the following events with respect to such then-current Benchmark:

                (a)     a public statement or publication of information by or on behalf of the
        administrator of such Benchmark (or the published component used in the calculation thereof)
        announcing that such administrator has ceased or will cease to provide all Available Tenors of such
        Benchmark (or such component thereof), permanently or indefinitely, provided that, at the time of
        such statement or publication, there is no successor administrator that will continue to provide any
        Available Tenor of such Benchmark (or such component thereof);

               (b)      a public statement or publication of information by the regulatory supervisor for
        the administrator of such Benchmark (or the published component used in the calculation thereof),
        the FRB, the NYFRB, the CME Term SOFR Administrator, an insolvency official with jurisdiction
                                                      7
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 329 of 569



           over the administrator for such Benchmark (or such component), a resolution authority with
           jurisdiction over the administrator for such Benchmark (or such component) or a court or an entity
           with similar insolvency or resolution authority over the administrator for such Benchmark (or such
           component), in each case, which states that the administrator of such Benchmark (or such
           component) has ceased or will cease to provide all Available Tenors of such Benchmark (or such
           component thereof) permanently or indefinitely; provided that, at the time of such statement or
           publication, there is no successor administrator that will continue to provide any Available Tenor
           of such Benchmark (or such component thereof); or

                   (c)       a public statement or publication of information by the regulatory supervisor for
           the administrator of such Benchmark (or the published component used in the calculation thereof)
           announcing that all Available Tenors of such Benchmark (or such component thereof) are no
           longer, or as of a specified future date will no longer be, representative.

For the avoidance of doubt, a “Benchmark Transition Event” will be deemed to have occurred with respect
to any Benchmark if a public statement or publication of information set forth above has occurred with
respect to each then-current Available Tenor of such Benchmark (or the published component used in the
calculation thereof).
        “Benchmark Unavailability Period” means, with respect to any Benchmark, the period (if any)
(x) beginning at the time that a Benchmark Replacement Date pursuant to clauses (a) or (b) of that definition
has occurred if, at such time, no Benchmark Replacement has replaced such then-current Benchmark for
all purposes hereunder and under any Loan Document in accordance with Section 3.02 and (y) ending at
the time that a Benchmark Replacement has replaced such then-current Benchmark for all purposes
hereunder and under any Loan Document in accordance with Section 3.02.

        “Beneficial Ownership Certification” means a certification regarding beneficial ownership or
control as required by the Beneficial Ownership Regulation.

           “Beneficial Ownership Regulation” means 31 C.F.R. § 1010.230.

         “Benefit Plan” means any of (a) an “employee benefit plan” (as defined in Section 3(3) of ERISA)
that is subject to Title I of ERISA, (b) a “plan” as defined in Section 4975 of the Code to which Section
4975 of the Code applies, and (c) any Person whose assets include (for purposes of the Plan Asset
Regulations or otherwise for purposes of Title I of ERISA or Section 4975 of the Code) the assets of any
such “employee benefit plan” or “plan”.

         “BHC Act Affiliate” means, as to any Person, an “affiliate” (as such term is defined under, and
interpreted in accordance with, 12 U.S.C. 1841(k)) of such Person.

           “Borrower” has the meaning specified in the introductory paragraph hereto.

           “Borrower Materials” has the meaning provided in Section 6.02.

           “Borrowing” means a borrowing of a Committed Loan or a Swing Line Loan, as the context may
require.

           “Borrowing Base” means, at any time of calculation, an amount equal to:

                   (a)     the Eligible Accounts Component; plus

                   (b)     the Credit Card Receivables Component; plus
                                                      8
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 330 of 569



                (c)     the Inventory Component; minus

                (d)     the then amount of all Availability Reserves.

       “Borrowing Base Calculation” means a calculation of the Borrowing Base, in form and substance
reasonably satisfactory to the Administrative Agent, utilizing information certified by the Borrowers and
provided to the Administrative Agent in electronic format in the Borrowing Base portal tab in ABLSoft.

        “Business Day” means any day (other than a Saturday or a Sunday) on which banks are open for
business in New York City; provided that, in addition to the foregoing, a Business Day shall be in relation
to Loans referencing the Term SOFR Rate and any interest rate settings, fundings, disbursements,
settlements or payments of any such Loans referencing the Term SOFR Rate or any other dealings of such
Loans referencing the Term SOFR Rate, any such day that is only a U.S. Government Securities Business
Day.

         “Capital Lease Obligations” means, with respect to any Person, the obligation of such Person to
pay rent or other amounts under any lease of (or other arrangement conveying the right to use) real or
personal property, or a combination thereof, which obligations are required to be classified and accounted
for as capital leases on a balance sheet of such Person under GAAP as in effect on the Closing Date, and
the amount of such obligations shall be the capitalized amount thereof determined in accordance with
GAAP as in effect on the Closing Date.

         “Carve Out Reserve Account” has the meaning given to the term “Carve-Out Reserve Account”
in the Financing Orders.

        “Carve Out” shall mean the “Carve Out” as defined in the Financing Orders.

        “Cash Collateralize” means providing Letter of Credit Collateralization.

       “Cash Equivalents” means any of the following types of Investments, to the extent owned by
Holdings, the Borrower, or any of their respective Restricted Subsidiaries:

                (a)     readily marketable obligations issued or directly and fully guaranteed or insured
        by the United States of America or any agency or instrumentality thereof having maturities of not
        more than 360 days from the date of acquisition thereof; provided that the full faith and credit of
        the United States of America is pledged in support thereof;

                (b)      time deposits with, or insured certificates of deposit or bankers’ acceptances of,
        any commercial bank that (i) (A) is a Lender that offers such deposits, certificates of deposit or
        bankers’ acceptances in the ordinary course of such Lender’s business or (B) is organized under
        the laws of the United States of America, any state thereof or the District of Columbia or is the
        principal banking subsidiary of a bank holding company organized under the laws of the United
        States of America, any state thereof or the District of Columbia, and is a member of the Federal
        Reserve System, (ii) issues (or the parent of which issues) commercial paper rated as described in
        clause (c) of this definition and (iii) has combined capital and surplus of at least $1.0 billion, in
        each case with maturities of not more than 180 days from the date of acquisition thereof;

                 (c)     commercial paper issued by any Person organized under the laws of any state of
        the United States of America and rated at least “Prime-1” (or the then equivalent grade) by Moody’s
        or at least “A-1” (or the then equivalent grade) by S&P, in each case with maturities of not more
        than 180 days from the date of acquisition thereof;
                                                     9
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 331 of 569



                 (d)      Investments, classified in accordance with GAAP as current assets of Holdings,
        the Borrower, or any of their respective Restricted Subsidiaries, in money market investment
        programs registered under the Investment Company Act of 1940, which are administered by
        financial institutions that have the highest rating obtainable from either Moody’s or S&P, and the
        portfolios of which are limited solely to Investments of the character, quality and maturity described
        in clauses (a), (b) and (c) of this definition; and

                 (e)     in the case of any Foreign Subsidiary, investments of comparable tenor and credit
        quality to those described in the foregoing clauses (a) through (d) customarily utilized in countries
        in which such Foreign Subsidiary operates for short term cash management purposes.

         “Cash Management Order” means, as applicable, the interim and final order of the Bankruptcy
Court in substantially the form reviewed by the Administrative Agent prior to the Closing Date, together
with all extensions, modifications and amendments, in each case, in form and substance reasonably
acceptable to the Administrative Agent, which, among other things, (a) authorizes and approves the Chapter
11 Debtors’ use of its existing cash management systems, (b) authorizes the Chapter 11 Debtors to use
existing bank accounts, (c) authorizes the payment of fees, expenses and other charges, whether arising pre-
petition or post-petition, in the ordinary course, and (d) waives the requirements of Section 345(b) of the
Bankruptcy Code.

        “CERCLA” means the Comprehensive Environmental Response, Compensation and Liability Act
of 1980.

       “CERCLIS” means the Comprehensive Environmental Response, Compensation and Liability
Information System maintained by the U.S. Environmental Protection Agency.

        “CFC” means a Person that is a controlled foreign corporation under Section 957 of the Code.

          “Change in Law” means the occurrence after the date of this Agreement of any of the following:
(a) the adoption of or taking effect of any law, rule, regulation or treaty; (b) any change in any law, rule,
regulation or treaty or in the administration, interpretation, implementation or application thereof by any
Governmental Authority; or (c) compliance by any Lender or L/C Issuer (or, for purposes of Section
3.03(b), by any lending office of such Lender or by such Lender’s or L/C Issuer’s holding company, if any)
with any request, guideline, requirement or directive (whether or not having the force of law) of any
Governmental Authority made or issued after the date of this Agreement; provided that, notwithstanding
anything herein to the contrary, (x) the Dodd-Frank Wall Street Reform and Consumer Protection Act and
all requests, rules, guidelines, requirements or directives thereunder or issued in connection therewith or in
the implementation thereof, and (y) all requests, rules, guidelines, requirements or directives promulgated
by the Bank for International Settlements, the Basel Committee on Banking Supervision (or any successor
or similar authority) or the United States or foreign regulatory authorities, in each case pursuant to Basel
III, shall in each case be deemed to be a “Change in Law”, regardless of the date enacted, adopted, issued
or implemented.

        “Chapter 11 Cases” has the meaning specified in the introductory paragraphs hereto.

        “Chapter 11 Debtors” has the meaning specified in the introductory paragraphs hereto.

       “Class” when used in reference to any Loan or Borrowing, refers to whether such Loan, or the
Loans comprising such Borrowing, are Committed Loans or Swing Line Loans, when used in reference to
any Commitment, refers to whether such Commitment is a Commitment or a Swing Line Commitment and

                                                     10
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 332 of 569



when used in reference to any Lender, refers to whether such Lender has a Loan or Commitment with
respect to a single class.

       “Closing Date” means the first date all the conditions precedent in Section 4.01 are satisfied or
waived in accordance with Section 11.01.

       “CME Term SOFR Administrator” means CME Group Benchmark Administration Limited as
administrator of the forward-looking term SOFR (or a successor administrator).

        “Code” means the Internal Revenue Code of 1986, as amended.

        “Collateral” means all of the “DIP Collateral” (or equivalent term) as defined in the Interim
Financing Order (and, when entered, the Final Financing Order).

      “Collateral Agent” means Eclipse in its capacity as collateral agent under any of the Loan
Documents, or any successor collateral agent as provided in Section 9.06.

       “Collateral Documents” means, collectively, the Financing Orders and each of the other
agreements, instruments or documents that creates or purports to create a Lien in favor of the Collateral
Agent for the benefit of the Credit Parties.

        “Commercial Letter of Credit” means any Letter of Credit issued for the purpose of providing
the primary payment mechanism in connection with the purchase of any materials, goods or services by the
Borrower or a Subsidiary Guarantor in the ordinary course of business of such Borrower or Subsidiary
Guarantor.

        “Commitment” means, as to each Lender, its obligation to (a) make Committed Loans to the
Borrower pursuant to Section 2.01, (b) purchase participations in L/C Obligations, (c) purchase
participations in Swing Line Loans and (d) [reserved], in an aggregate principal amount at any one time
outstanding not to exceed the amount set forth opposite such Lender’s name on Schedule 2.01 under the
caption “Commitment” or in the applicable Assignment and Assumption pursuant to which such Lender
becomes a party hereto, as applicable, as such amount may be adjusted from time to time in accordance
with this Agreement including, without limitation, pursuant to Section 2.03.

        “Commitment Fee” has the meaning specified in Section 2.09(a).

       “Commitment Letter” means the $140 Million Senior Secured (a) Debtor-in-Possession
Revolving Credit Facility and (b) Exit Revolving Credit Facility Commitment Letter, dated December [20],
2024, by and among the Borrower, Holdings and Eclipse Business Capital LLC, including all exhibits,
annexes, schedules and other attachments thereto, in each case, as amended, restated, amended and restated,
supplemented or otherwise modified from time to time.

        “Committed Loan” has the meaning specified in Section 2.01.

      “Commodity Exchange Act” means the Commodity Exchange Act (7 U.S.C. § 1 et seq.), as
amended from time to time, and any successor statute.

        “Compliance Certificate” means a certificate substantially in the form of Exhibit D.

        “Connection Income Taxes” means Other Connection Taxes that are imposed on or measured by
net income (however denominated) or that are franchise Taxes or branch profits Taxes.

                                                    11
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 333 of 569



        “Consolidated” means, when used to modify a financial term, test, statement, or report of a Person,
the application or preparation of such term, test, statement or report (as applicable) based upon the
consolidation, in accordance with GAAP, of the financial condition or operating results of such Person and
its Subsidiaries.

        “Contractual Obligation” means, as to any Person, any provision of any security issued by such
Person or of any agreement, instrument or other undertaking to which such Person is a party or by which it
or any of its property is bound.

        “Control” means the possession, directly or indirectly, of the power to direct or cause the direction
of the management or policies of a Person, whether through the ability to exercise voting power, by contract
or otherwise. “Controlling” and “Controlled” have meanings correlative thereto.

        “Corresponding Tenor” with respect to any Available Tenor means, as applicable, either a tenor
(including overnight) or an interest payment period having approximately the same length (disregarding
business day adjustment) as such Available Tenor.

        “Cost” means the calculated cost of purchases, based upon the Borrower’s and Subsidiary
Guarantors’ accounting practices, known to the Administrative Agent, which practices are in effect on the
Closing Date as such calculated cost is determined from invoices received by the Borrower and the
Subsidiary Guarantors, the Borrower’s and Subsidiary Guarantors’ purchase journals or the Borrower’s and
Subsidiary Guarantors’ stock ledger. “Cost” includes inventory capitalization costs and other non-purchase
price charges (such as duty, brokerage, freight and expenses related to design, raw material procurement
and quality control) used in the Borrower’s or the Subsidiary Guarantors’ calculation of cost of goods sold.

        “Covered Entity” means any of the following: (a) a “covered entity” as that term is defined in,
and interpreted in accordance with, 12 C.F.R. § 252.82(b); (b) a “covered bank” as that term is defined in,
and interpreted in accordance with, 12 C.F.R. § 47.3(b); or (c) a “covered FSI” as that term is defined in,
and interpreted in accordance with, 12 C.F.R. § 382.2(b).

        “Covered Party” has the meaning specified in Section 11.22.

        “Credit Card Advance Rate” means 100%.

       “Credit Card Receivables Component” means the face amount of Eligible Credit Card
Receivables multiplied by the Credit Card Advance Rate.

        “Credit Extensions” mean each of the following:           (a) a Borrowing and (b) an L/C Credit
Extension.

         “Credit Party” means, individually, and “Credit Parties” means collectively, the following:
(a) the Lenders and their Affiliates, (b) the Agents, each co-agent or sub-agent appointed by the
Administrative Agent from time to time pursuant to Section 9.05, (c) each L/C Issuer, (d) the Arranger,
(e) the beneficiaries of each indemnification obligation undertaken by any Loan Party under any Loan
Document, (f) any other Person to whom Obligations under this Agreement and other Loan Documents are
owing and (g) the successors and assigns of each of the foregoing.

          “Credit Party Expenses” means, without limitation, (a) all reasonable and documented in
reasonable detail out-of-pocket expenses incurred by the Agents, the Arranger and their respective
Affiliates, in connection with this Agreement and the other Loan Documents, including without limitation
(i) the reasonable and documented in reasonable detail fees, charges and disbursements of (A) internal and
                                                     12
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 334 of 569



external counsel for the Agents and the Arranger, provided that the Agents and the Arranger shall be entitled
to be reimbursed for no more than one external counsel and, if reasonably necessary, for one local counsel
in each relevant jurisdiction material to the interest of the Lenders, in each case, selected by the Agent,
absent a conflict of interest between any of such Persons where the affected Persons inform the Borrower
of such conflict, in which case the affected Persons may engage and be reimbursed for one additional
counsel, (B) outside consultants for the Agents, (C) appraisers, (D) collateral field examinations and (E) all
such out-of-pocket expenses incurred during any workout, restructuring or negotiations in respect of the
Obligations and (ii) in connection with (A) [reserved], (B) the preparation, negotiation, administration,
management, execution and delivery of this Agreement and the other Loan Documents or any amendments,
modifications or waivers of the provisions thereof (whether or not the transactions contemplated hereby or
thereby shall be consummated), (C) the enforcement or protection of their rights in connection with this
Agreement or the Loan Documents or efforts to preserve, protect, collect, or enforce the Collateral, or
(D) any workout, restructuring or negotiations in respect of any Obligations, (b) with respect to each L/C
Issuer, and its Affiliates, all reasonable and documented in reasonable detail out-of-pocket expenses
incurred in connection with the issuance, amendment, renewal or extension of any Letter of Credit or any
demand for payment thereunder, and (c) all reasonable and documented in reasonable detail out-of-pocket
expenses incurred by the Credit Parties who are not the Agents, the Arranger, an L/C Issuer or any Affiliate
of any of them, after the occurrence and during the continuance of an Event of Default, provided that such
Credit Parties shall be entitled to reimbursement for no more than one internal and one external counsel
representing all such Credit Parties (absent a conflict of interest between the Credit Parties, where the
affected Credit Parties inform the Borrower of such conflict, in which case the Credit Parties may engage
and be reimbursed for one additional counsel).

         “Customer Credit Liabilities” means at any time, the aggregate remaining value at such time of
(a) outstanding gift certificates and gift cards sold by the Borrower and Subsidiary Guarantors entitling the
holder thereof to use all or a portion of the certificate or gift card to pay all or a portion of the purchase
price for any Inventory, and (b) outstanding merchandise credits issued by and customer deposits received
by the Borrower and the Subsidiary Guarantors.

         “Customs Broker Agreement” means an agreement, in form and substance reasonably
satisfactory to the Collateral Agent, among the Borrower, the Subsidiary Guarantors, a customs broker or
other carrier, and the Collateral Agent, in which the customs broker or other carrier acknowledges that it
has control over and holds the documents evidencing ownership of the subject Inventory for the benefit of
the Collateral Agent and agrees, upon notice from the Collateral Agent, to hold and dispose of the subject
Inventory solely as directed by the Collateral Agent.

         “Daily Simple SOFR” means, for any day (a “SOFR Rate Day”), a rate per annum equal to SOFR
for the day (such day, a “SOFR Determination Date”) that is five (5) U.S. Government Securities Business
Days prior to (i) if such SOFR Rate Day is a U.S. Government Securities Business Day, such SOFR Rate
Day or (ii) if such SOFR Rate Day is not a U.S. Government Securities Business Day, the U.S. Government
Securities Business Day immediately preceding such SOFR Rate Day, in each case, as such SOFR is
published by the SOFR Administrator on the SOFR Administrator’s Website. Any change in Daily Simple
SOFR due to a change in SOFR shall be effective from and including the effective date of such change in
SOFR without notice to the Borrower.
         “DDA” means each checking or other demand deposit account maintained by any of the Loan
Parties. All funds in each DDA shall be conclusively presumed to be Collateral and proceeds of Collateral
and the Agents and the Lenders shall have no duty to inquire as to the source of the amounts on deposit in
any DDA.



                                                     13
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 335 of 569



         “Debtor Relief Laws” means the Bankruptcy Code, and all other liquidation, conservatorship,
bankruptcy, assignment for the benefit of creditors, moratorium, rearrangement, receivership, insolvency,
reorganization, or similar debtor relief Laws of the United States or other applicable jurisdictions from time
to time in effect and affecting the rights of creditors generally.

        “Default” means any event or condition that constitutes an Event of Default or that, with the giving
of any notice, the passage of time, or both, would be an Event of Default.

          “Default Rate” means (a) when used with respect to Obligations other than Letter of Credit Fees,
an interest rate equal to (i) the Base Rate plus (ii) the Applicable Margin applicable to Base Rate Loans,
plus (iii) 2% per annum; provided, however, that with respect to a Term Benchmark Loan, the Default Rate
shall be an interest rate equal to the interest rate (including any Applicable Margin) otherwise applicable to
such Loan plus 2% per annum, and (b) when used with respect to Letter of Credit Fees, a rate equal to the
Applicable Margin for Term Benchmark Loans plus 2% per annum.

        “Default Right” has the meaning assigned to that term in, and shall be interpreted in accordance
with, 12 C.F.R. §§ 252.81, 47.2 or 382.1, as applicable.

         “Defaulting Lender” means any Lender that (a) has failed, within one (1) Business Day of the date
required to be funded or paid, to (i) fund any portion of its Loans, (ii) fund any portion of its participations
in Letters of Credit or (iii) pay over to any Loan Party any other amount required to be paid by it hereunder;
(b) has notified the Borrower or any Loan Party in writing, or has made a public statement, to the effect
that it does not intend or expect to comply with any of its funding obligations under this Agreement or
generally under other agreements in which it commits to extend credit; (c) has failed, within one (1)
Business Day after request by the Administrative Agent or a Loan Party, acting in good faith, to provide a
certification in writing from an authorized officer of such Lender that it will comply with its obligations to
fund prospective Loans and participations in then outstanding Letters of Credit under this Agreement;
provided that such Lender shall cease to be a Defaulting Lender pursuant to this clause (c) upon such Loan
Party’s receipt of such certification in form and substance satisfactory to it and the Administrative Agent;
or (d) has (or whose bank holding company has) (i) been placed into receivership, conservatorship or
bankruptcy or (ii) become the subject of a Bail-In Action; provided that a Lender shall not become a
Defaulting Lender solely as a result of the acquisition or maintenance of an ownership interest in such
Lender or Person controlling such Lender or the exercise of control over a Lender or Person controlling
such Lender by a Governmental Authority or an instrumentality thereof so long as such ownership interest
does not result in or provide such Lender with immunity from the jurisdiction of courts within the United
States or from the enforcement of judgments or writs of attachment on its assets or permit such Lender (or
such Governmental Authority) to reject, repudiate, disavow or disaffirm any contracts or agreements made
with such Lender. Any determination by the Administrative Agent that a Lender is a Defaulting Lender
under any one or more of clauses (a) through (d) above shall be conclusive and binding absent manifest
error, and such Lender shall be deemed to be a Defaulting Lender upon delivery of written notice of such
determination to the Borrower, each L/C Issuer, the Swing Line Lender and each Lender.

        “Dilution” means, as of any date of determination, a percentage, based upon the experience of the
immediately prior twelve (12) months, that is the result of dividing the amount of (a) bad debt write-downs,
discounts, advertising allowances, credits, or other dilutive items with respect to a Loan Party’s Accounts
during such period by (b) such Loan Party’s billings with respect to Accounts during such period.

      “Dilution Reserve” shall have the meaning set forth in the definition of “Eligible Accounts
Advance Rate”.

        “DIP Facilities” shall mean, collectively, the ABL DIP Facility and the DIP Term Facility.
                                                      14
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 336 of 569



      “DIP Term Facility” shall mean the term loan credit facility evidenced by the DIP Term Loan
Documents, including commitments and loans thereunder.

         “DIP Term Loans” shall mean the loans now or hereafter made by or on behalf of any lender
under the DIP Term Loan Agreement or by the DIP Term Loan Agent pursuant to the DIP Term Facility
as set forth therein in the DIP Term Loan Agreement.

        “DIP Term Loan Agent” shall mean, collectively, Acquiom Agency Services LLC and Seaport
Loan Products LLC, as co-administrative agents and Acquiom Agency Services LLC, as collateral agent
under the DIP Term Loan Agreement.

         “DIP Term Loan Agreement” shall mean that certain Senior Secured Super-Priority Priming
Debtor-In-Possession Term Loan Agreement, dated as of the date hereof, by and among Holdings, the
Borrower, the other guarantors from time to time party thereto, the lenders party from time to time party
thereto, and the DIP Term Loan Agent, as amended, restated, supplemented or otherwise modified from
time to time.

        “DIP Term Loan Documents” shall mean the DIP Term Loan Agreement, any note issued
thereunder and the other “Loan Documents” under and as defined in the DIP Term Loan Agreement, as
each may be amended, restated, supplemented or otherwise modified from time to time.

      “DIP Term Loan Obligations” shall mean the “Obligations” as defined in the DIP Term Loan
Agreement.

      “Discharge of Term Obligations” shall have the meaning specified therefor in the Intercreditor
Agreement.

         “Disposition” or “Dispose” means the sale, transfer, license, lease, or other disposition (in one
transaction or in a series of transactions and whether effected pursuant to a Division or otherwise) of any
property by any Person (including, without limitation, any sale and leaseback transaction and any issuance
of Equity Interests or Disqualified Equity Interests of any other Person held by a specified Person),
including any sale, assignment, transfer or other disposal, with or without recourse, of any notes or accounts
receivable or any rights and claims associated therewith, in each case, resulting in consideration to such
Person (including assumption of liabilities) for any such transaction or series of related transactions in
excess of $1.0 million.

         “Disqualified Equity Interests” means any Equity Interests of any Person that, by its terms (or by
the terms of any security into which it is convertible or for which it is exchangeable at the option of the
holder thereof), or upon the happening of any event, (a) matures or is mandatorily redeemable, pursuant to
a sinking fund obligation or otherwise, or is redeemable at the option of the holder thereof, in whole or in
part, in each case prior to the six month anniversary of the Scheduled Maturity Date, (b) requires the
payment of any cash dividend or any other scheduled payment constituting a return of capital, in each case
prior to the six month anniversary of the Scheduled Maturity Date or (c) is convertible into or exchangeable
for debt securities or for any Equity Interest referred to in clause (a) above, in each case at any time prior
to the six month anniversary of the Scheduled Maturity Date.

        “Dividing Person” has the meaning specified in the definition of “Division.”

       “Division” means the division of the assets, liabilities and/or obligations of a Person (the “Dividing
Person”) among two or more Persons (whether pursuant to a “plan of division” or similar arrangement),

                                                     15
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 337 of 569



which may or may not include the Dividing Person and pursuant to which the Dividing Person may or may
not survive.

         “Division Successor” means any Person that, upon the consummation of a Division of a Dividing
Person, holds all or any portion of the assets, liabilities and/or obligations previously held by such Dividing
Person immediately prior to the consummation of such Division. A Dividing Person which retains any of
its assets, liabilities and/or obligations after a Division shall be deemed a Division Successor upon the
occurrence of such Division.

        “Dollar”, “dollars” and “$” mean lawful money of the United States.

        “Domestic Subsidiary” means any Subsidiary that is organized or existing under the laws of the
United States, any state thereof or the District of Columbia.

        “Drawing Document” means any Letter of Credit or other document presented for purposes of
drawing under any Letter of Credit, including by electronic transmission such as SWIFT, electronic mail,
facsimile or computer-generated communication.

         “EEA Financial Institution” means (a) any credit institution or investment firm established in any
EEA Member Country which is subject to the supervision of an EEA Resolution Authority, (b) any entity
established in an EEA Member Country which is a parent of an institution described in clause (a) of this
definition, or (c) any financial institution established in an EEA Member Country which is a subsidiary of
an institution described in clauses (a) or (b) of this definition and is subject to consolidated supervision with
its parent.

        “EEA Member Country” means any of the member states of the European Union, Iceland,
Liechtenstein, and Norway.

        “EEA Resolution Authority” means any public administrative authority or any Person entrusted
with public administrative authority of any EEA Member Country (including any delegee) having
responsibility for the resolution of any EEA Financial Institution.

         “Electronic Signature” means an electronic sound, symbol, or process attached to, or associated
with, a contract or other record and adopted by a Person with the intent to sign, authenticate or accept such
contract or record.

          “Eligible Assignee” means (a) a Credit Party or any of its Affiliates; (b) a bank, insurance
company, or company engaged in the business of making commercial loans, which Person, together with
its Affiliates, has a combined capital and surplus in excess of $250.0 million; (c) an Approved Fund; (d) any
Person to whom a Credit Party assigns its rights and obligations under this Agreement as part of an
assignment and transfer of such Credit Party’s rights in and to a material portion of such Credit Party’s
portfolio of asset based credit facilities, and (e) any other Person (other than a natural person) approved by
(i) the Administrative Agent and each L/C Issuer, and (ii) unless an Event of Default under Section 8.01(a)
or 8.01(g) has occurred and is continuing, the Borrower (each such approval not to be unreasonably
withheld or delayed); provided that notwithstanding the foregoing, “Eligible Assignee” shall not include a
Loan Party or any of the Loan Parties’ Affiliates or Subsidiaries; and provided further that any proposed
assignee that would be a Fee Recipient will not be an Eligible Assignee unless such Person is a Permitted
Investor.

       “Eligible Accounts” means, at any time of determination and subject to the criteria below, an
Account of the Borrower or any Subsidiary Guarantor, that was generated and billed by the Borrower or
                                                       16
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 338 of 569



such Subsidiary Guarantor in the ordinary course of business, and which the Administrative Agent, in its
reasonable discretion, deems to be an Eligible Account. The net amount of an Eligible Account at any time
shall be the face amount of such Eligible Account as originally billed minus all customer deposits,
unapplied cash collections and other Proceeds of such Account received from or on behalf of the Account
Debtor thereunder as of such date and any and all returns, rebates, discounts (which may, at the
Administrative Agent’s option, be calculated on shortest terms), credits, allowances or excise Taxes of any
nature at any time issued, owing, claimed by Account Debtors, granted, outstanding or payable in
connection with such Accounts at such time. Without limiting the generality of the foregoing, the following
Accounts shall not be Eligible Accounts:

                (a)      the Account Debtor is a Loan Party or an Affiliate of any Loan Party;

                (b)      it remains unpaid longer than the earlier to occur of (A) 120 days after the original
        invoice date or (B) 60 days after the original invoice due date;

                (c)     the Account Debtor or its Affiliates are past any of the applicable dates referenced
        in clause (b) above on other Accounts owing to the Borrower or such Subsidiary Guarantor
        comprising more than fifty percent (50%) of all of the Accounts owing to the Borrower or such
        Subsidiary Guarantor by such Account Debtor or its Affiliates;

                 (d)     all Accounts owing by the Account Debtor or its Affiliates represent more than
        thirty percent (30%) of all other Accounts; provided, that Accounts which are deemed to be
        ineligible solely by reason of this clause (d) shall be considered Eligible Accounts to the extent of
        the amount thereof which does not exceed thirty percent (30%) of all other Accounts;

                (e)       [reserved];

                 (f)     the Account is subject to any contra relationship, counterclaim, dispute deposit, or
        set-off; provided, that Accounts which are deemed to be ineligible by reason of this clause (f) shall
        be considered ineligible only to the extent of such applicable contra relationship, counterclaim,
        dispute or set-off;

                  (g)      the Account Debtor’s chief executive office or principal place of business is
        located outside of the United States, unless the Account is (i) supported by an irrevocable letter of
        credit or credit insurance satisfactory to Agent in its reasonable discretion, (ii) generated by an
        Account Debtor with its principal place of business in Canada (provided that the Collateral Agent
        has a first priority perfected security interest in such Account in the appropriate Canadian province),
        or (iii) approved by Administrative Agent on a case by case basis;

                (h)      it is payable in a currency other than Dollars or Canadian Dollars;

                 (i)      it (i) arises from a sale on a bill-and-hold, guaranteed sale, sale-or-return, sale-on-
        approval, consignment, retainage or any other repurchase or return basis or (ii) consists of progress
        billings or other advance billings that are due prior to the completion of performance by Borrower
        or the applicable Subsidiary Guarantor of the subject contract for goods or services;

                (j)     the Account Debtor is the United States of America or any state or political
        subdivision (or any department, agency or instrumentality thereof), unless the Borrower or the
        applicable Subsidiary Guarantor has complied with the Assignment of Claims Act or other
        applicable similar state or local law in a manner reasonably satisfactory to the Administrative
        Agent;
                                                      17
Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 339 of 569



          (k)     it is (a) not at all times subject to the Administrative Agent’s duly perfected, first-
 priority security interest, or (b) subject to any other Lien, or the goods giving rise to such Account
 were, at the time of sale, subject to any Lien, in each case, other than a Permitted Lien;

         (l)    it is evidenced by Chattel Paper, Promissory Note or an Instrument of any kind or
 has been reduced to judgment;

         (m)     there are facts or circumstances existing, or which could reasonably be anticipated
 to occur, which could reasonably be expected to result in a material adverse change in the Account
 Debtor’s financial condition or materially impair or delay the collectability of all or any portion of
 such Account;

        (n)      the Administrative Agent has not been furnished with all documents and other
 information pertaining to such Account which the Administrative Agent has reasonably requested,
 or which any Borrower is obligated to deliver to the Administrative Agent, pursuant to this
 Agreement;

        (o)     the Borrower has made an agreement with the Account Debtor to extend the time
 of payment thereof beyond the time periods set forth in clause (b) above;

          (p)    the Borrower has posted a surety or other bond in respect of the contract or
 transaction under which such Account arose;

         (q)      the Account Debtor is subject to any proceeding seeking liquidation,
 reorganization or other relief with respect to it or its debts under any bankruptcy, insolvency or
 other similar applicable law or is subject to any Sanctions or any specially designated nationals list
 maintained by OFAC or any Governmental Authority;

         (r)      the sale giving rise to such Account is on cash in advance or cash on delivery terms;

          (s)     any Accounts of Account Debtors against whom the materialmen, laborers or
 suppliers of any of the Loan Parties have Liens; provided, that Accounts which are deemed to be
 ineligible by reason of this clause (r) shall be considered ineligible only to the extent of such Liens;

        (t)      Accounts that have not been earned by performance or do not represent bona fide
 amounts due to the Borrower from an Account Debtor;

          (u)      which (i) does not arise from the sale of goods or performance of services in the
 ordinary course of business, (ii) is not evidenced by a customer statement or other documentation
 satisfactory to the Administrative Agent which has been sent to the Account Debtor or (iii) relates
 to payments of interest;

         (v)     Accounts with respect to which (A) the goods giving rise to such Account have
 not been shipped and billed to the Account Debtor, or (B) the services giving rise to such Account
 have not been performed and billed to the Account Debtor;

          (w)     the Account Debtor on such Accounts is located in any jurisdiction which adopts
 a statute or other requirement that any Person that obtains business from within such jurisdiction
 or is otherwise subject to such jurisdiction’s Tax law must file a “Business Activity Report” (or
 other applicable report) or make any required filings in a timely manner in order to enforce its
 claims in such jurisdiction’s courts or arising under such jurisdiction’s laws; provided, that such
                                               18
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 340 of 569



        Accounts shall nonetheless be Eligible Accounts if such the Borrower has filed a “Business Activity
        Report” (or other applicable report or required filing);

                (x)      with respect to which any check or other instrument of payment has been returned
        uncollected for any reason;

                 (y)      which is owed by an Account Debtor (a) is a Sanctioned Person or (b) that has sold
        all or substantially all of its assets; or

                 (z)    which is for goods that have been sold under a purchase order or pursuant to the
        terms of a contract or other agreement or understanding (written or oral) that indicates or purports
        that any Person other than the Borrower or a Subsidiary Guarantor has or has had an ownership
        interest in such goods, or which indicates any party other than the Borrower or a Subsidiary
        Guarantor as payee or remittance party.

        “Eligible Accounts Advance Rate” means 85%; provided, that if Dilution exceeds five percent
(5%), the Administrative Agent may, at its option in its reasonable discretion, (A) reduce such advance
rates by the number of full or partial percentage points comprising such excess or (B) establish a Reserve
on account of such excess (the “Dilution Reserve”).

        “Eligible Accounts Component” means the amount of Eligible Accounts multiplied by the
Eligible Accounts Advance Rate.

         “Eligible Credit Card Receivables” means Accounts due to the Borrower and the Subsidiary
Guarantors on a non-recourse basis from Visa, Mastercard, American Express Company, Discover, and
other credit card issuer and processors acceptable to the Administrative Agent in its reasonable discretion,
as arise in the ordinary course of business (net of fees payable to the applicable credit card issuer), which
have been earned by performance, and are deemed by the Administrative Agent in its reasonable discretion
to be eligible for inclusion in the calculation of the Borrowing Base. Without limiting the foregoing, none
of the following shall be deemed to be Eligible Credit Card Receivables:

               (a)      Accounts due from major credit card processors that have been outstanding for
        more than five (5) Business Days from the date of sale;

                (b)      Accounts due from major credit card processors with respect to which the
        Borrower or a Subsidiary Guarantor does not have good, valid and marketable title, free and clear
        of any Lien (other than Liens granted to the Collateral Agent for its own benefit and the ratable
        benefit of the other Credit Parties and Liens to secure the Term Facility);

                 (c)      Accounts due from major credit card processors that are not subject to a first
        priority security interest in favor of the Collateral Agent for its own benefit and the ratable benefit
        of the other Credit Parties (it being the intent that chargebacks in the ordinary course by the credit
        card processors shall not be deemed violative of this clause);

                (d)      Accounts due from major credit card processors which are disputed, are with
        recourse, or with respect to which a claim, counterclaim, offset or chargeback has been asserted (to
        the extent of such claim, counterclaim, offset or chargeback);

                (e)     Accounts due from major credit card processors as to which the credit card
        processor has the right under certain circumstances to require the Borrower or a Subsidiary
        Guarantor to repurchase the Accounts from such credit card processor;
                                                     19
     Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 341 of 569



               (f)     Accounts due from any Person on account of any private label credit card
       receivables other than such Accounts under programs between a Loan Party and a third party
       reasonably acceptable to the Administrative Agent where the third party retains the consumer credit
       exposure;

              (g)       Accounts due from major credit card processors which the Administrative Agent
       determines in its reasonable discretion to be uncertain of collection, or

               (h)      Accounts not subject to Credit Card Notification, except Accounts with credit card
       processors set forth on Schedule 6.13 for a period of 90 days following the Closing Date (or such
       longer period as may be agreed by the Administrative Agent in its sole discretion).

        “Eligible In-Transit Inventory” means, as of any date of determination thereof, without
duplication of other Eligible Inventory, Inventory:

              (a)      Which is in transit from one U.S. location of the Borrower or a Subsidiary
       Guarantor to another U.S. location of the Borrower or a Subsidiary Guarantor and which otherwise
       would constitute Eligible Inventory; or

                (b)     (i) Which has been shipped by a Foreign Subsidiary or other Person from a foreign
       location for receipt by the Borrower or a Subsidiary Guarantor within forty-five (45) days of the
       date of shipment, which has left such foreign location in a water borne vessel or is in transit from
       such vessel on ground in the U.S. but has not yet been delivered to such Borrower or Subsidiary
       Guarantor;

                       (ii)   For which the purchase order is in the name of the Borrower or a
               Subsidiary Guarantor and title has passed to such Borrower or Subsidiary Guarantor;

                        (iii)    For which Collateral Agent has a first priority perfected security interest
               in such Inventory and all documents of title with respect to such Inventory by either of the
               following: (x) the Administrative Agent shall have in its possession true and correct
               originals of all applicable negotiable bills of lading covering such Inventory or (y) (i) the
               Administrative Agent shall be named as the consignee on non-negotiable bills of lading
               covering such Inventory and (ii) the Agent shall have received a duly executed bailee
               agreement from each applicable broker, freight forwarder, bailee or carrier for such
               Inventory, in form and substance satisfactory to the Administrative Agent; provided,
               however, that in the event of any change in law or judicial interpretation thereof the
               Collateral Agent reasonably believes that any additional actions are required by the
               Borrower or Subsidiary Guarantor in order to ensure that the Collateral Agent has a first
               priority, perfected security interest in such Inventory, the Borrower or such Subsidiary
               Guarantor shall be required to take such actions in order for such Inventory to satisfy this
               clause (b)(iii);

                       (iv)     Which, at such time, (A) a UCC financing statement naming the Collateral
               Agent as secured party is on file in the appropriate UCC filing office and (B) is not subject
               to any Liens in favor of Persons other than the Collateral Agent (other than any Permitted
               Liens);

                       (v)     Which is insured in accordance with the terms of this Agreement; and

                       (vi)    Which otherwise would constitute Eligible Inventory;
                                                   20
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 342 of 569



provided, that at any time, Eligible In-Transit Inventory (other than Eligible In-Transit Inventory which is
in transit from one location of the Borrower or a Subsidiary Guarantor to another location of the Borrower
or a Subsidiary Guarantor) shall not exceed 15% (or during the period from October 1 through December 31
of any Fiscal Year, 30%) of Eligible Inventory at such time.

         “Eligible Inventory” means, as of the date of determination thereof, without duplication,
(a) Eligible In-Transit Inventory and (b) items of Inventory of the Borrower or a Subsidiary Guarantor that
are finished goods, merchantable and readily saleable to the public in the ordinary course deemed by the
Administrative Agent in its reasonable discretion to be eligible for inclusion in the calculation of the
Borrowing Base, in each case that, except as otherwise agreed by the Administrative Agent, complies with
each of the representations and warranties respecting Inventory made by the Borrower and the Subsidiary
Guarantors in the Loan Documents, and that is not excluded as ineligible by virtue of one or more of the
criteria set forth below. The following items of Inventory shall not be included in Eligible Inventory:

                  (a)    Inventory that is not solely owned by the Borrower or a Subsidiary Guarantor;

                 (b)     Inventory that is leased by or is on consignment to the Borrower or a Subsidiary
        Guarantor or as to which the Borrower or a Subsidiary Guarantor does not have good and valid title
        thereto;

                (c)      Inventory (other than Eligible In Transit Inventory or Inventory which is the
        subject of an Eligible Letter of Credit) that is not located in the United States of America (excluding
        Puerto Rico and other territories or possessions of the United States).

                 (d)      Inventory that is comprised of goods which (i) are damaged, defective, “seconds,”
        or otherwise unmerchantable, (ii) are to be returned to the vendor, (iii) are obsolete or slow moving,
        or custom items, work-in-process, raw materials, or that constitute spare parts, promotional,
        marketing, packaging and shipping materials or supplies used or consumed in the Borrower’s or a
        Subsidiary Guarantor’s business, (iv) are not in compliance with all standards imposed by any
        Governmental Authority having regulatory authority over such Inventory, its use or sale, (v) are
        vendor serviced merchandise not reflected in the stock ledger, (vi) are bill and hold goods, (vii) are
        “zero-quantity” or “zero-cost” items, or (viii) constitute foreign exchange rate (FX) losses
        reclassified to Inventory;

                 (e)      Inventory that is not subject to a perfected first-priority security interest in favor
        of the Collateral Agent for its own benefit and the ratable benefit of the other Credit Parties (subject
        to the priorities set forth in the Financing Orders;

               (f)     Inventory that consists of samples, labels, bags, packaging, and other similar non-
        merchandise categories;

                  (g)    Inventory that is not insured in compliance with the provisions of Section 6.07
        hereof;

                (h)    Inventory that has been sold but not yet delivered or as to which the Borrower or
        a Subsidiary Guarantor has accepted a deposit;

                (i)     Inventory that is subject to any licensing, patent, royalty, trademark, trade name or
        copyright agreement with any third party from which the Borrower or any of its Subsidiaries has
        received notice of a dispute in respect of any such agreement, which would materially interfere

                                                      21
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 343 of 569



        with the use of such license, patent, trademark, trade name or copyright by the Borrower or any of
        its Subsidiaries; or

                 (j)      Inventory acquired in an acquisition permitted under Section 7.03, unless and until
        the Collateral Agent has completed or received (i) an appraisal of such Inventory from appraisers
        satisfactory to the Collateral Agent, establishes an inventory advance rate and Inventory Reserves
        (if applicable) therefor, and otherwise agrees that such Inventory shall be deemed Eligible
        Inventory, and (ii) such other due diligence as the Agents may require, all of the results of the
        foregoing to be reasonably satisfactory to the Agents.

         “Eligible Letter of Credit” means, as of any date of determination thereof, a Commercial Letter
of Credit which supports the purchase of Inventory, (a) which Inventory does not constitute Eligible In-
Transit Inventory and for which no documents of title have then been issued; (b) which Inventory otherwise
would constitute Eligible Inventory, (c) which Commercial Letter of Credit has an expiry within forty-five
(45) days of the date of determination, and (d) which Commercial Letter of Credit provides that it may be
drawn only after the Inventory is completed and after documents of title have been issued for such Inventory
reflecting the Borrower, a Subsidiary Guarantor, or the Collateral Agent as consignee of such Inventory.

         “Enhanced Collateral Trigger Event” means that Excess Availability is less than 17.5% of the
lesser of (i) the Borrowing Base and (ii) the Aggregate Commitments. For purposes of this Agreement, the
occurrence of an Enhanced Collateral Trigger Event shall be deemed continuing until Excess Availability
has equaled or exceeded 17.5% of the lesser of (i) Borrowing Base and (ii) the Aggregate Commitments
for 30 consecutive days, in which case an Enhanced Collateral Trigger Event shall no longer be deemed to
be continuing for purposes of this Agreement.

         “Environmental Laws” means any and all Federal, state, local and foreign statutes, laws,
regulations, ordinances, rules, common law, judgments, orders, decrees, permits, concessions, grants,
franchises or licenses, relating to pollution or the protection of the environment or the Release or threat of
Release of any hazardous substances, materials or wastes (including Hazardous Materials) into the
environment or human health (to the extent related to exposure to Hazardous Materials), or generation,
storage, treatment, transport or handling of any Hazardous Materials.

          “Environmental Liability” means any liability, whether pending or threatened (including any
liability for damages, costs of environmental remediation, fines, penalties or indemnities), of the Borrower,
any other Loan Party or any of their respective Restricted Subsidiaries directly or indirectly resulting from
or based upon (a) violation of any Environmental Law, (b) the generation, use, handling, transportation,
storage, treatment or disposal of any Hazardous Materials, (c) exposure to any Hazardous Materials, (d) the
Release or threatened Release of any Hazardous Materials into the environment or (e) any contract,
agreement or other consensual arrangement pursuant to which liability is assumed or imposed with respect
to any of the foregoing.

        “Environmental Permit” means any permit, approval, identification number, license or other
authorization required under any Environmental Law.

         “Equity Interests” means, with respect to any Person, all of the shares of capital stock of (or other
ownership or profit interests in) such Person, all of the warrants, options or other rights for the purchase or
acquisition from such Person of shares of capital stock of (or other ownership or profit interests in) such
Person, all of the securities convertible into or exchangeable for shares of capital stock of (or other
ownership or profit interests in) such Person or warrants, rights or options for the purchase or acquisition
from such Person of such shares (or such other interests), and all of the other ownership or profit interests
in such Person (including partnership, member or trust interests therein), whether voting or nonvoting, and
                                                      22
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 344 of 569



whether or not such shares, warrants, options, rights or other interests are outstanding on any date of
determination.

        “Equity Investors” means Holdings, the Sponsor and the Management Stockholders.

        “ERISA” means the Employee Retirement Income Security Act of 1974, as amended, and the rules
and regulations promulgated thereunder.

        “ERISA Affiliate” means any entity under common control with Holdings and the Borrower and
which Holdings or the Borrower would be treated as a single employer within the meaning of Section 414
of the Code or Section 4001(a)(14) of ERISA.

         “ERISA Event” means (a) a Reportable Event with respect to a Pension Plan; (b) a withdrawal by
Holdings, the Borrower or any ERISA Affiliate from a Pension Plan subject to Section 4063 of ERISA
during a plan year in which it was a substantial employer (as defined in Section 4001(a)(2) of ERISA) or a
cessation of operations that is treated as such a withdrawal under Section 4062(e) of ERISA; (c) with
respect to any Pension Plan, a failure to satisfy the minimum funding standard under Sections 412 and 430
of the Code or Sections 302 and 303 of ERISA, whether or not waived; (d) a determination that any Pension
Plan is, or is expected to be, in “at-risk” status (as defined in Section 303(i)(4) of ERISA or
Section 430(i)(4) of the Code); (e) a complete or partial withdrawal (within the meanings of Sections 4203
and 4205 of ERISA) by Holdings, the Borrower or any ERISA Affiliate from a Multiemployer Plan or
receipt by Holdings or the Borrower of notice from any Multiemployer Plan that it is insolvent (within the
meanings of Section 4245 of ERISA) or in “endangered” or “critical” status (within the meaning of
Section 432 of the Code or Section 305 of ERISA); (f) the filing of a notice of intent to terminate, the
treatment of a Plan amendment as a termination under Section 4041 or 4041A of ERISA, or the
commencement of proceedings by the PBGC to terminate under Section 4042 of ERISA a Pension Plan or
Multiemployer Plan; (g) the appointment of a trustee to administer under Section 4042 of ERISA any
Pension Plan or Multiemployer Plan; or (h) with respect to any Pension Plan the imposition of a lien or the
posting of a bond or other security pursuant to Section 436(f) of the Code or Section 206(g)(5) of ERISA.

      “EU Bail-In Legislation Schedule” means the EU Bail-In Legislation Schedule published by the
Loan Market Association (or any successor Person), as in effect from time to time.

        “Event of Default” has the meaning specified in Section 8.01. An “Event of Default” shall be
deemed to be continuing unless and until that Event of Default has been duly waived as provided in
Section 11.01.

        “Excess Availability” means, as of any date of determination thereof by the Administrative Agent,
the result, if a positive number, of:

                (a)     The lesser of:

                        (i)     the Borrowing Base; or

                        (ii)    the Aggregate Commitments; minus

                (b)     The aggregate of the outstanding Credit Extensions.

        “Excess Swing Line Loans” has the meaning specified in Section 2.14(a).



                                                    23
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 345 of 569



         “Excluded Account” means any (a) deposit account which is used solely for purposes of funding
payroll, payroll taxes, employee benefit payments, (b) deposit accounts which are zero balance accounts,
(c) other controlled disbursement accounts, (d) trust accounts, (e) petty cash accounts, (f) deposit accounts
to the extent holding funds from unredeemed gift cards and (g) other deposit accounts with a demand
deposit balance not exceeding $10,000 individually and $100,000 in the aggregate at any time.

         “Excluded Swap Obligation” means, with respect to any Loan Party, any Swap Obligation if, and
to the extent that, all or a portion of the guarantee of such Loan Party of, or the grant by such Loan Party of
a security interest to secure, such Swap Obligation (or any guarantee thereof) is or becomes illegal under
the Commodity Exchange Act or any rule, regulation or order of the Commodity Futures Trading
Commission (or the application or official interpretation of any thereof) by virtue of such Loan Party’s
failure for any reason to constitute an “eligible contract participant” as defined in the Commodity Exchange
Act and the regulations thereunder at the time such Loan Party’s obligations under the last paragraph of
Section 10.01 become effective with respect to such related Swap Obligation.

         “Excluded Taxes” means, with respect to the Agents, any Lender, each L/C Issuer or any other
recipient of any payment to be made by or on account of any obligation of the Borrower hereunder, (a) taxes
imposed on or measured by its overall net income (however denominated), franchise taxes imposed on it
(in lieu of net income taxes) and branch profits taxes, in each case, (i) imposed as a result of such recipient
being organized under the laws of, or having its principal office or, in the case of any Lender, its applicable
lending office located in, the jurisdiction imposing such tax (or any political subdivision thereof) or (ii) that
are Other Connection Taxes, (b) in the case of a Foreign Lender (other than an assignee pursuant to a request
by the Borrower under Section 11.13), any U.S. federal withholding tax to the extent imposed on amounts
payable to such Foreign Lender at the time such Foreign Lender becomes a party hereto (or designates a
new Lending Office) except to the extent that such Foreign Lender (or its assignor, if any) was entitled, at
the time of designation of a new Lending Office (or assignment), to receive additional amounts from the
Borrower with respect to such withholding tax pursuant to Section 3.01; (c) taxes attributable to a
recipient’s failure to comply with Section 3.01(g), 3.01(h) or 3.01(i) and (d) any tax imposed under
FATCA.

        “Existing Credit Agreement” means that certain Credit Agreement dated as of April 6, 2012
among the Borrower, the guarantors party thereto, the Administrative Agent, the lenders party thereto and
the other agents party thereto, as amended.

        “Existing Letters of Credit” means the Letters of Credit set forth on Schedule 2.03.

        “Facility” means the Commitments, Loans and other Credit Extensions under this Agreement.

         “FATCA” means Sections 1471 through 1474 of the Code, as of the date of this Agreement, (or
any amended or successor version that is substantively comparable and not materially more onerous to
comply with), any current or future regulations promulgated thereunder or official interpretations thereof,
any agreement entered into pursuant to Section 1471(b)(1) of the Code, any intergovernmental agreement
entered into in connection with the implementation of such Sections of the Code and any fiscal or regulatory
legislation, rules or practices adopted pursuant to such intergovernmental agreement.

         “Federal Funds Effective Rate” means, for any day, the rate calculated by the NYFRB based on
such day’s federal funds transactions by depositary institutions (as determined in such manner as shall be
set forth on the NYFRB’s Website from time to time) and published on the next succeeding Business Day
by the NYFRB as the effective federal funds rate, provided that, if the Federal Funds Effective Rate as so
determined would be less than zero, such rate shall be deemed to be zero for the purposes of this Agreement.

                                                       24
         Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 346 of 569



        “Fee Letter” means the letter agreement, dated as of the date hereof, among the Borrower and
Eclipse, as such letter agreement may from time to time be amended, restated, supplemented or otherwise
modified from time to time.

         “Fee Recipient” means any Person (other than the Administrative Agent in its capacity as such)
that will be entitled to receive any payment of fees (however denominated), including, without limitation,
any Commitment Fee or any Letter of Credit Fee.

          “Financing Orders” shall mean, collectively, the Interim Financing Order and the Final Financing
Order.

          “Final Financing Order” shall have the meaning assigned to such term in Section 4.02(e).

        “First Priority” means, with respect to any Lien purported to be created on any Collateral pursuant
to any Collateral Document, that such Lien is the most senior Lien to which such Collateral is subject
(subject to Permitted Liens and the Financing Orders).

          “Fiscal Month” means any fiscal month of any Fiscal Year.

          “Fiscal Quarter” means any fiscal quarter of any Fiscal Year.

         “Fiscal Year” means any period of twelve consecutive Fiscal Months ending on the Saturday
closest to March 31 in each calendar year (except for 53-week years).

          “Floor” means 2.00%.

         “Foreign Lender” means any Lender or L/C Issuer that is not, for U.S. federal income tax
purposes, (a) an individual who is a citizen or resident of the United States, (b) a corporation, partnership
or other entity treated as a corporation or partnership created or organized in or under the laws of the United
States, or any political subdivision thereof, (c) an estate whose income is subject to U.S. federal income
taxation regardless of its source or (d) a trust if a court within the United States is able to exercise primary
supervision over the administration of such trust and one or more United States persons have the authority
to control all substantial decisions of such trust. In addition, solely for purposes of clause (b) of the
definition of “Excluded Taxes”, a Foreign Lender shall include a partnership or other entity treated as a
partnership created or organized in or under the laws of the United States, or any political subdivision
thereof, but only to the extent the partners of such partnership (including indirect partners if the direct
partners are partnerships or other entities treated as partnerships for U.S. federal income tax purposes
created or organized in or under the laws of the United States, or any political subdivision thereof) are
treated as Foreign Lenders under the preceding sentence.

         “Foreign Plan” means any employee benefit plan, program, policy, arrangement or agreement
maintained or contributed to by, or entered into with, Holdings, the Borrower or any Subsidiary with respect
to employees employed by Holdings, the Borrower or any Subsidiary outside the United States that is not
subject to the laws of the United States.

          “Foreign Subsidiary” means any Subsidiary that is not a Domestic Subsidiary.

          “FRB” means the Board of Governors of the Federal Reserve System of the United States.




                                                      25
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 347 of 569



        “Fund” means any Person (other than a natural person) that is (or will be) engaged in making,
purchasing, holding or otherwise investing in commercial loans and similar extensions of credit in the
ordinary course of its business.

         “GAAP” means generally accepted accounting principles in the United States, as in effect from
time to time; provided, however, that if the Borrower notifies the Administrative Agent that the Borrower
requests an amendment to any provision hereof to eliminate the effect of any change occurring after the
Closing Date in GAAP or in the application thereof (including through the adoption of IFRS) on the
operation of such provisions (or if the Administrative Agent notifies the Borrower that the Required Lenders
request an amendment to any provision hereof for such purpose), regardless of whether any such notice is
given before or after such change in GAAP or in the application thereof (including through the adoption of
IFRS), then such provision shall be interpreted on the basis of GAAP as in effect and applied immediately
before such change shall have become effective until such notice shall have been withdrawn or such
provision amended in accordance herewith.

        “Governmental Authority” means the government of the United States or any other nation, or of
any political subdivision thereof, whether state or local, and any agency, authority, instrumentality,
regulatory body, court, central bank or other entity exercising executive, legislative, judicial, taxing,
regulatory or administrative powers or functions of or pertaining to government (including any supra-
national bodies such as the European Union or the European Central Bank).

         “Guarantee” means, as to any Person, (a) any obligation, contingent or otherwise, of such Person
guaranteeing or having the economic effect of guaranteeing any Indebtedness or other obligation payable
or performable by another Person (the “primary obligor”) in any manner, whether directly or indirectly,
and including any obligation of such Person, direct or indirect, (i) to purchase or pay (or advance or supply
funds for the purchase or payment of) such Indebtedness or other obligation, (ii) to purchase or lease
property, securities or services for the purpose of assuring the obligee in respect of such Indebtedness or
other obligation of the payment or performance of such Indebtedness or other obligation, (iii) to maintain
working capital, equity capital or any other financial statement condition or liquidity or level of income or
cash flow of the primary obligor so as to enable the primary obligor to pay such Indebtedness or other
obligation, or (iv) entered into for the purpose of assuring in any other manner the obligee in respect of such
Indebtedness or other obligation of the payment or performance thereof or to protect such obligee against
loss in respect thereof (in whole or in part), or (b) any Lien on any assets of such Person securing any
Indebtedness or other obligation of any other Person, whether or not such Indebtedness or other obligation
is assumed by such Person (or any right, contingent or otherwise, of any holder of such Indebtedness to
obtain any such Lien). The amount of any Guarantee shall be deemed to be an amount equal to, with respect
to clause (a) above, the stated or determinable amount of the related primary obligation, or portion thereof,
in respect of which such Guarantee is made or, if not stated or determinable, the maximum reasonably
anticipated liability in respect thereof as determined by the guaranteeing Person in good faith or, with
respect to clause (b) above, the fair market value of the property subject to (or contemplated to be subject
to) such Lien as determined by the guaranteeing Person in good faith. The term “Guarantee” as a verb has
a corresponding meaning.

        “Guarantors” means, collectively, Holdings and each Domestic Subsidiary of the Borrower (in
each case pursuant to the terms and conditions hereof and of the Financing Orders).

        “Guaranty” means the guaranty contained in Article X hereof made by the Guarantors in favor of
the Credit Parties.

        “Hazardous Materials” means all explosive or radioactive substances or wastes and all hazardous
or toxic substances, wastes or other pollutants, including petroleum or petroleum distillates, asbestos or
                                                      26
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 348 of 569



asbestos-containing materials, polychlorinated biphenyls, radon gas, infectious or medical wastes and all
other substances or wastes of any nature regulated or defined as hazardous or toxic (or words of similar
import) pursuant to any Environmental Law.

        “Holdings” has the meaning specified in the Preliminary Statements.

         “IFRS” means International Financial Reporting Standards and applicable accounting
requirements set by the International Accounting Standards Board or any successor thereto (or the Financial
Accounting Standards Board, the Accounting Principles Board of the American Institute of Certified Public
Accountants, or any successor to either such Board, or the SEC, as the case may be), as in effect from time
to time.

        “Indebtedness” means, as to any Person at a particular time, without duplication, all of the
following, whether or not included as indebtedness or liabilities in accordance with GAAP:

                (a)    all obligations of such Person for borrowed money and all obligations of such
        Person evidenced by bonds, debentures, notes, loan agreements or other similar instruments;

                 (b)      the maximum amount (after giving effect to any prior drawings or reductions that
        may have been reimbursed) of all direct or contingent obligations of such Person arising under
        letters of credit (including standby and commercial letters of credit), bankers’ acceptances, bank
        guaranties, surety bonds and similar instruments;

                (c)      net obligations of such Person under Swap Contracts;

                 (d)     all obligations of such Person to pay the deferred purchase price of property or
        services (other than trade accounts payable in the ordinary course of business which are being
        disputed in good faith by appropriate proceedings or which are not past due for more than 120 days
        after the date on which such trade account was created, any bona fide earn-out obligation or
        purchase price adjustment until such obligation is not paid after becoming due and payable and
        accounts for payroll and other liabilities in the ordinary course of business);

                (e)        indebtedness (excluding prepaid interest thereon) secured by a Lien on property
        owned or being purchased by such Person (including indebtedness arising under conditional sales
        or other title retention agreements), whether or not such indebtedness shall have been assumed by
        such Person or is limited in recourse;

               (f)     all Attributable Indebtedness in respect of Capital Lease Obligations and Synthetic
        Lease Obligations of such Person and all Synthetic Debt of such Person;

                (g)      all obligations of such Person to purchase, redeem, retire, defease or otherwise
        make any payment in respect of any Equity Interest in such Person or any other Person, valued, in
        the case of a redeemable preferred interest, at the greater of its voluntary or involuntary liquidation
        preference plus accrued and unpaid dividends; and

                (h)      all Guarantees of such Person in respect of any of the foregoing.

        For all purposes hereof, the Indebtedness of any Person shall include the Indebtedness of any
partnership or joint venture (other than a joint venture that is itself a corporation or limited liability
company) in which such Person is a general partner or a joint venturer, unless such Indebtedness is non-
recourse to such Person. The amount of any net obligation under any Swap Contract on any date shall be
                                                     27
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 349 of 569



deemed to be the Swap Termination Value thereof as of such date. The amount of outstanding Indebtedness
as of any date shall be the principal amount or accreted value thereof at such date.

      “Indemnified Taxes” means Taxes other than Excluded Taxes imposed on or with respect to any
payment made by or on account of any obligation of any Loan Party under any Loan Document.

        “Indemnitee” has the meaning specified in Section 11.04(b).

        “Independent Financial Advisor” means an accounting, appraisal, investment banking firm or
consultant of nationally recognized standing that is, in the good faith judgment of the Borrower, qualified
to perform the task for which it has been engaged and that is independent of the Borrower and its Affiliates.

        “Information” has the meaning specified in Section 11.07.

         “Intellectual Property” means all present and future: trade secrets, know-how and other
proprietary information; trademarks, internet domain names, service marks, trade dress, trade names,
business names, designs, logos, slogans, indicia of origin, and other source and/or business identifiers, and
all registrations which have heretofore been or may hereafter be issued thereon throughout the world;
copyrights and copyright applications; unpatented inventions (whether or not patentable); patents and patent
applications; license agreements related to any of the foregoing; all other intellectual property; and all
common law and other rights throughout the world in and to all of the foregoing.

         “Intercreditor Agreement” means the Intercreditor Agreement, dated as of April 6, 2012, by and
among JPMorgan Chase Bank, N.A., as ABL Agent, and JPMorgan Chase Bank, N.A., as Term Agent, as
amended, restated, amended and restated, supplemented or otherwise modified from time to time and as
further amended by the Financing Orders, including to add the Agents and the DIP Term Loan Agents
thereto.

        “Interest Payment Date” means (a) with respect to any Base Rate Loan (including a Swing Line
Loan), the first Business Day after the end of each calendar month, upon any prepayment and the Maturity
Date, (b) [reserved], and (c) with respect to any Term Benchmark Loan, the first day of each calendar
month, upon any prepayment and the Maturity Date.

        “Interim Financing Order” shall have the meaning assigned to such term in Section 4.01(i).

         “Inventory” has the meaning given that term in the UCC, and shall also include, without limitation,
all: (a) goods which (i) are leased by a Person as lessor, (ii) are held by a Person for sale or lease or to be
furnished under a contract of service, (iii) are furnished by a Person under a contract of service, or
(iv) consist of raw materials, work in process, or materials used or consumed in a business; (b) goods of
said description in transit; (c) goods of said description which are returned, repossessed or rejected; and
(d) packaging, advertising, and shipping materials related to any of the foregoing.

        “Inventory Component” means (a) Eligible Inventory, net of Inventory Reserves, valued at cost,
multiplied by (b) the Appraised Value Percentage, multiplied by 100%.

         “Inventory Reserves” means such reserves as may be established from time to time by the
Administrative Agent in the Administrative Agent’s reasonable discretion which negatively affect the
saleability, at retail, of the Eligible Inventory or which reflect such other factors as negatively affect the
market value of the Eligible Inventory. Without limiting the generality of the foregoing, Inventory Reserves
may include (but are not limited to) reserves based on:


                                                      28
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 350 of 569



        (a)     Obsolescence;

        (b)     Seasonality;

        (c)     [reserved];

        (d)     [reserved];

        (e)     Change in Inventory character;

        (f)     Change in Inventory composition;

        (g)     Change in Inventory mix;

        (h)     Markdowns (both permanent and point of sale);

        (i)     Retail markdowns and markups inconsistent with prior period practice and performance,
industry standards, current business plans or advertising calendar and planned advertising events; and

        (j)     Out-of-date and/or expired Inventory.

         “Investment” means, as to any Person, any direct or indirect acquisition or investment by such
Person, whether by means of (a) the purchase or other acquisition of Equity Interests of another Person,
(b) a loan, advance or capital contribution to, Guarantee or assumption of debt of, or purchase or other
acquisition of any other debt or interest in, another Person, or (c) the purchase or other acquisition (in one
transaction or a series of transactions) of all or substantially all of the assets of another Person or of the
assets of another Person that constitute a discrete business unit. For purposes of covenant compliance, the
amount of any Investment shall be the amount actually invested (measured at the time made), without
adjustment for subsequent increases or decreases in the value of such Investment.

        “IRS” means the United States Internal Revenue Service.

         “ISDA Definitions” means the 2006 ISDA Definitions published by the International Swaps and
Derivatives Association, Inc. or any successor thereto, as amended or supplemented from time to time, or
any successor definitional booklet for interest rate derivatives published from time to time by the
International Swaps and Derivatives Association, Inc. or such successor thereto.

         “ISP” means, with respect to any Letter of Credit, the “International Standby Practices 1998”
published by the Institute of International Banking Law & Practice (or such later version thereof as may be
in effect at the time of issuance).

       “Issuer Documents” means with respect to any Letter of Credit, the Letter of Credit Application,
and any other document, agreement and instrument entered into by any L/C Issuer and the Borrower (or
any Subsidiary Guarantor) or in favor of such L/C Issuer and relating to any such Letter of Credit.

        “Landlord Lien State” means such state(s) in which a landlord’s claim for rent has priority over
the lien of the Collateral Agent in any of the Collateral (including, without limitation, Virginia,
Pennsylvania, and Washington).

        “Laws” means, collectively, all international, foreign, Federal, state and local statutes, laws
(including common law), treaties, rules, guidelines, regulations, judgments, ordinances, codes and

                                                     29
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 351 of 569



administrative or judicial precedents or authorities, including the interpretation or administration thereof by
any Governmental Authority charged with the enforcement, interpretation or administration thereof, and all
applicable administrative orders, directed duties, requests, licenses, authorizations and permits of, and
agreements with, any Governmental Authority, in each case whether or not having the force of law.

        “L/C Credit Extension” means, with respect to any Letter of Credit, the issuance thereof or
extension of the expiry date thereof, or the increase of the amount thereof.

         “L/C Issuer” means Wells Fargo Bank, National Association, BMO, Capital One, Truist Bank, or
any other Person that, at the request of Borrower and with the consent of the Administrative Agent, agrees,
in such Person’s sole discretion to become an L/C Issuer for the purpose of issuing Letters of Credit pursuant
to Section 2.03.

         “L/C Obligations” means, as at any date of determination, the aggregate undrawn amount available
to be drawn under all outstanding Letters of Credit plus the aggregate of all Unreimbursed Amounts,
including all Letter of Credit Disbursements. For purposes of computing the amounts available to be drawn
under any Letter of Credit, the amount of such Letter of Credit shall be determined in accordance with
Section 1.07. For all purposes of this Agreement, if on any date of determination a Letter of Credit has
expired by its terms but any amount may still be drawn thereunder by reason of the operation of Rule 3.14
of the ISP, such Letter of Credit shall be deemed to be “outstanding” in the amount so remaining available
to be drawn.

        “Lease” means any agreement, whether written or oral, no matter how styled or structured, pursuant
to which a Loan Party is entitled to the use or occupancy of any space in a structure, land, improvements
or premises for any period of time.

        “Lender” has the meaning specified in the introductory paragraph hereto and their respective
successors and assigns as permitted hereunder, each of which is referred to herein as a “Lender”; as the
context requires, the term “Lender” includes the Swing Line Lender.

        “Lending Office” means, as to any Lender, the office or offices of such Lender described as such
in such Lender’s Administrative Questionnaire, or such other office or offices as a Lender may from time
to time notify the Borrower and the Administrative Agent.

        “Letter of Credit” means any letter of credit issued hereunder.

      “Letter of Credit Application” means an application and agreement for the issuance or
amendment of a Letter of Credit in the form from time to time in use by any L/C Issuer.

        “Letter of Credit Collateralization” means any of the following, at the option of the Borrower:

                (a)     providing cash collateral (pursuant to documentation reasonably satisfactory to the
        Administrative Agent (including that the Administrative Agent has a first priority perfected Lien
        in such cash collateral) to be held by the Administrative Agent for the benefit of the Revolving
        Lenders in an amount equal to 105% of the then existing Letter of Credit Usage;

                (b)     delivering to the Administrative Agent documentation executed by all
        beneficiaries under the Letters of Credit, in form and substance reasonably satisfactory to the
        Administrative Agent and the applicable L/C Issuer, terminating all of such beneficiaries’ rights
        under the Letters of Credit;


                                                      30
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 352 of 569



                  (c)      providing the Administrative Agent with a standby letter of credit, in form and
          substance reasonably satisfactory to the Administrative Agent, from a commercial bank acceptable
          to the Administrative Agent (in its sole discretion) in an amount equal to 105% of the then existing
          Letter of Credit Usage; or

                  (d)     the Borrower making other arrangements with respect to the Letters of Credit of
          the applicable L/C Issuer satisfactory to such L/C Issuer in its sole discretion.

          “Letter of Credit Disbursement” means a payment made by an L/C Issuer pursuant to a Letter of
Credit.

        “Letter of Credit Expiration Date” means the day that is five days prior to the Scheduled Maturity
Date or, if such day is not a Business Day, the next preceding Business Day.

          “Letter of Credit Fee” has the meaning specified in Section 2.09(c).

        “Letter of Credit Sublimit” means an amount equal to $15.0 million. The Letter of Credit
Sublimit is part of, and not in addition to, the Aggregate Commitments. A permanent reduction of the
Aggregate Commitments shall not require a corresponding pro rata reduction in the Letter of Credit
Sublimit; provided, however, that if the Aggregate Commitments are reduced to an amount less than the
Letter of Credit Sublimit, then the Letter of Credit Sublimit shall be reduced to an amount equal to (or, at
the Borrower’s option, less than) the Aggregate Commitments.

         “Lien” means any mortgage, pledge, hypothecation, assignment, encumbrance, lien (statutory or
other), charge, preference, or priority in the nature of a security interest of any kind or nature whatsoever
(including any conditional sale or other title retention agreement, any easement, right of way or other
encumbrance on title to Real Estate, and any Capital Lease Obligations having substantially the same
economic effect as any of the foregoing).

        “Liquidation” means the exercise by the Administrative Agent or Collateral Agent of those rights
and remedies accorded to such Agents under the Loan Documents and applicable Law as a creditor of the
Loan Parties with respect to the realization on the Collateral, including (after the occurrence and
continuation of an Event of Default) the conduct by the Loan Parties acting with the consent of the
Administrative Agent, of any public, private or going out of business sale or other disposition of the
Collateral for the purpose of liquidating the Collateral. Derivations of the word “Liquidation” (such as
“Liquidate”) are used with like meaning in this Agreement.

      “Loan” means an extension of credit by a Lender to the Borrower under Article II in the form of a
Committed Loan or any Swing Line Loan.

          “Loan Account” has the meaning assigned to such term in Section 2.11(a).

        “Loan Documents” means, collectively, (a) this Agreement, (b) [reserved], (c) the Collateral
Documents (including the Financing Orders), (d) the Fee Letter, (e) [reserved] and (f) any agreement
entered into after the Closing Date between or among the Borrower, the Administrative Agent and/or any
other Credit Party or any of their Affiliates in connection with this Agreement or any transactions
contemplated hereby which, in the case of this clause (f), is specified by its terms as a “Loan Document”
hereunder.

          “Loan Parties” means, collectively, the Borrower and each Guarantor.


                                                      31
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 353 of 569



        “Management Agreement” means the Amended and Restated Management Services Agreement
dated as of September 1, 2011 between Leonard Green & Partners, L.P. (or any Affiliate of Leonard Green
& Partners, L.P. to which such agreement has been assigned) and the Borrower as in effect as of the Closing
Date or as amended in any manner not materially adverse to the Lenders.

        “Management Stockholders” means the members of management of Holdings or any of its
Subsidiaries who are investors in Holdings or any direct or indirect parent thereof on the Closing Date.

         “Material Adverse Effect” means (a) any change, circumstance, event or effect that would be
materially adverse to the assets, liabilities, business, financial condition or results of operations of Holdings
and its Restricted Subsidiaries taken as a whole; (b) a material impairment of the rights and remedies of the
Administrative Agent, the Collateral Agent or any Lender under any Loan Document, or of the ability of
any of Holdings, the Borrower or any Material Subsidiary to perform its obligations under any Loan
Document to which it is a party; or (c) a material adverse effect upon the legality, validity, binding effect
or enforceability against any of Holdings, the Borrower or any Material Subsidiary of any Loan Document
to which it is a party (in each case, other than (i) the commencement of a proceeding under the Bankruptcy
Code and the filing of the Chapter 11 Cases, (ii) the events and conditions related to or that led to the
commencement of the Chapter 11 Cases, (iii) events that customarily and reasonably result from the
commencement of the Chapter 11 Cases (in each case, other than matters affecting the Loan Parties that are
not subject to the automatic stay) and any action required to be taken under the Loan Documents or under
an order of the Bankruptcy Court, and (iv) the consummation of the transactions contemplated or actions
required to be taken pursuant to the Approved Bankruptcy Court Orders or the Approved Plan of
Reorganization).

         “Material Indebtedness” means Indebtedness (other than the Obligations) of any of Holdings or
any of its Restricted Subsidiaries in an aggregate principal amount exceeding $10.0 million for all such
Persons. For purposes of determining the amount of Material Indebtedness at any time, the amount of the
obligations in respect of any Swap Contract at such time shall be calculated at the Swap Termination Value
thereof.

       “Material Intellectual Property” means any Intellectual Property that, individually or in the
aggregate, is material to the operation of the business of the Borrower and its Restricted Subsidiaries.
        “Material Subsidiary” means, at any date of determination, any Restricted Subsidiary or group of
Restricted Subsidiaries (a) whose total assets at the last day of the most recently ended Measurement Period
were equal to or greater than 5% of the Consolidated total assets of Holdings and its Consolidated
Subsidiaries at such date, or (b) whose gross revenues for such Measurement Period were equal to or greater
than 5% of the Consolidated gross revenues of Holdings and its Consolidated Subsidiaries for such period,
in each case determined in accordance with GAAP.

        “Maturity Date” has the meaning specified in Section 2.07(a).

        “Maximum Rate” has the meaning specified in Section 11.09.

         “Measurement Period” means, at any date of determination, the most recently completed four
consecutive Fiscal Quarters of Holdings and its Restricted Subsidiaries for which financial statements
pursuant to Section 6.01(a) or (b) have been, or were required to have been, delivered for the applicable
fiscal period.

        “Moody’s” means Moody’s Investors Service, Inc. and any successor thereto.


                                                       32
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 354 of 569



        “Multiemployer Plan” means a “multiemployer plan” as defined in Section 4001(a)(3) of ERISA,
to which Holdings, the Borrower or any ERISA Affiliate makes or is obligated to make contributions, or
during the preceding five plan years, has made or been obligated to make contributions on behalf of
participants who are or were employed by any of them.

         “Net Cash Proceeds” means with respect to any Disposition by the Borrower or any of its
Restricted Subsidiaries, the excess, if any, of (a) the sum of cash and Cash Equivalents received in
connection with such transaction (including any cash or Cash Equivalents received by way of deferred
payment pursuant to, or by monetization of, a note receivable or otherwise, but only as and when so
received) over (b) the sum of (i) the principal amount of any Indebtedness (plus any premium or other
required payment on account thereof) that is secured by a Lien having priority over the Lien of the Collateral
Agent (if any) on the applicable asset and that is required to be repaid in connection with such transaction
(other than Indebtedness under the Loan Documents, but including, the payment of the proceeds from any
Term Priority Collateral in reduction of the Indebtedness under the Term Facility) and (ii) the reasonable
out-of-pocket expenses incurred by Borrower or such Restricted Subsidiary in connection with such
transaction.

        “Notes” means the promissory notes of the Borrower substantially in the form of Exhibit E, each
payable to a Lender, evidencing the Loans made by the Lenders, as each may be amended, supplemented
or modified from time to time.

         “Notice of Borrowing” means a notice of a Borrowing, which, if in writing, shall be substantially
in the form of Exhibit A-1.

        “NPL” means the National Priorities List under CERCLA.

        “NYFRB” means the Federal Reserve Bank of New York.

         “NYFRB Rate” means, for any day, the greater of (a) the Federal Funds Effective Rate in effect
on such day and (b) the Overnight Bank Funding Rate in effect on such day (or for any day that is not a
Business Day, for the immediately preceding Business Day); provided that if none of such rates are
published for any day that is a Business Day, the term “NYFRB Rate” means the rate for a federal funds
transaction quoted at 11:00 a.m. on such day to the Administrative Agent from a federal funds broker of
recognized standing selected by it; provided, further, that if any of the aforesaid rates shall be less than zero,
such rate shall be deemed to be zero for purposes of this Agreement.

        “NYFRB’s Website” means the website of the NYFRB at http://www.newyorkfed.org, or any
successor source.

         “Obligations” means all debts (including principal, interest, fees, costs, and expenses), liabilities,
obligations, covenants, indemnities, and duties of, any Loan Party arising under any Loan Document or
otherwise with respect to any Loan or Letter of Credit (including payments in respect of reimbursement of
disbursements, interest thereon and obligations to provide cash collateral therefor), whether direct or
indirect (including those acquired by assumption), absolute or contingent, due or to become due, now
existing or hereafter arising and including interest and fees that accrue after the commencement by or
against any Loan Party or any Affiliate thereof of the Chapter 11 Cases or any other proceeding under any
Debtor Relief Laws naming such Person as the debtor in such proceeding, regardless of whether such
interest and fees are allowed claims in such proceeding.

       “Official Committee” means any official committee of unsecured creditors appointed in any of the
Chapter 11 Cases.
                                                       33
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 355 of 569



        “Organization Documents” means (a) with respect to any corporation, the certificate or articles
of incorporation and the bylaws (or equivalent or comparable constitutive documents with respect to any
non-U.S. jurisdiction); (b) with respect to any limited liability company, the certificate or articles of
formation or organization and operating agreement; and (c) with respect to any partnership, limited
partnership, joint venture, trust or other form of business entity, the partnership, joint venture or other
applicable agreement of formation or organization and any agreement, instrument, filing or notice with
respect thereto filed in connection with its formation or organization with the applicable Governmental
Authority in the jurisdiction of its formation or organization and, if applicable, any certificate or articles of
formation or organization of such entity.

         “Other Connection Taxes” means, with respect to any Agents, any Lender, each L/C Issuer or
any other recipient of any payment to be made by or on account of any obligation of the Borrower
hereunder, Taxes imposed as a result of a present or former connection between such recipient and the
jurisdiction imposing such Tax (other than connections arising from such recipient having executed,
delivered, become a party to, performed its obligations under, received payments under, received or
perfected a security interest under, engaged in any other transaction pursuant to or enforced any Loan
Document, or sold or assigned an interest in any Loan or Loan Document).

        “Other Taxes” means all present or future stamp or documentary taxes or any other excise or
property taxes, charges or similar levies (including any interest, additions to tax or penalties applicable
thereto) arising from any payment made hereunder or under any other Loan Document or from the
execution, delivery or enforcement of, or otherwise with respect to, this Agreement or any other Loan
Document.

        “Outstanding Amount” means (a) with respect to Committed Loans and Swing Line Loans on
any date, the aggregate outstanding principal amount thereof after giving effect to any borrowings and
prepayments or repayments of Committed Loans and Swing Line Loans, as the case may be, occurring on
such date; and (b) with respect to any L/C Obligations on any date, the amount of such L/C Obligations on
such date after giving effect to any L/C Credit Extension occurring on such date and any other changes in
the aggregate amount of the L/C Obligations as of such date, including as a result of any reimbursements
by the Borrower of Unreimbursed Amounts.

       “Overadvance” means a Credit Extension to the extent that, immediately after its having been
made, Excess Availability is less than zero.

        “Overnight Bank Funding Rate” means, for any day, the rate comprised of both overnight federal
funds and overnight eurodollar transactions denominated in Dollars by U.S.-managed banking offices of
depository institutions (as such composite rate shall be determined by the NYFRB as set forth on the
NYFRB’s Website from time to time) and published on the next succeeding Business Day by the NYFRB
as an overnight bank funding rate.

        “Participant” has the meaning specified in Section 11.06(d).

        “Participant Register” has the meaning specified in Section 11.06(d).

        “Payment” has the meaning specified in Section 9.18(a).

        “Payment Notice” has the meaning specified in Section 9.18(b).

        “PBGC” means the Pension Benefit Guaranty Corporation.

                                                       34
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 356 of 569



        “PCAOB” means the Public Company Accounting Oversight Board.

        “Pension Plan,” means any “employee pension benefit plan” (as such term is defined in
Section 3(2) of ERISA), other than a Multiemployer Plan, that is subject to Section 412 of the Code or Title
IV of ERISA and is sponsored or maintained by Holdings, the Borrower or any ERISA Affiliate or to which
Holdings, the Borrower or any ERISA Affiliate contributes or has an obligation to contribute, or in the case
of a multiple employer or other plan described in Section 4064(a) of ERISA, has made contributions at any
time during the immediately preceding five plan years on behalf of participants who are or were employed
by any of them.

         “Permitted Holdco Debt” means Indebtedness of Holdings that (a) is not subject to any Guarantee
by the Borrower or any other Restricted Subsidiary, (b) will not mature prior to the date that is 180 days
after the Scheduled Maturity Date, (c) has no scheduled amortization or mandatory redemption of principal
(excluding customary offers to purchase under certain circumstances, such as a “change in control”) prior
to the date that is 180 days after the Scheduled Maturity Date, (d) does not require or permit payments in
cash of interest or other amounts in the nature of interest prior to the date that is 180 days after the Scheduled
Maturity Date, (e) is subordinated to the Obligations on terms reasonably acceptable to the Administrative
Agent, (f) is unsecured, (g) is not convertible into or exchangeable for any Indebtedness or Equity Interests
other than Equity Interests in Holdings (other than Disqualified Equity Interests) on market terms, (h) has
covenants, defaults and remedies provisions customary for senior discount notes of an issuer that is the
parent of a borrower under senior credit facilities, and (i) the net proceeds from which are contributed by
Holdings to the Borrower or any of the Restricted Subsidiaries for its general corporate purposes (including,
without limitation, for the payment of the purchase price for acquisitions permitted under Section 7.03(h)).

        “Permitted Indebtedness” has the meaning specified in Section 7.02.

         “Permitted Investor” means any Fee Recipient that, with respect to all payments of fees (however
denominated) to be paid under this Agreement or any other Loan Document, is entitled to a complete
exemption from United States Federal withholding tax at the time such Person becomes a party to this
Agreement (and absent a subsequent change in law, at all times thereafter); provided that any Person
claiming an exemption with respect to fees pursuant to Internal Revenue Service Form W-8BEN or W-
8BEN-E, as applicable, (directly or indirectly through Internal Revenue Service Form W-8IMY) will not
be a Permitted Investor unless such exemption is based on the “business profits” or “other income” articles
of a tax treaty to which the United States is a party; and provided further that a Person shall not be a
Permitted Investor unless it provides the Borrower and the Administrative Agent with one or more executed
original copies (as requested by the Borrower or the Administrative Agent) of Internal Revenue Service
Form W-9 (or its successor form) or the applicable Internal Revenue Service Form W-8 (or its successor
form) no later than the date such Person becomes a party.

        “Permitted Lien” has the meaning specified in Section 7.01.

         “Permitted Overadvance” means an Overadvance made by the Administrative Agent, in its
discretion, which:

                (a)      Is made to maintain, protect or preserve the Collateral and/or the Credit Parties’
        rights under the Loan Documents or which is otherwise for the benefit of the Credit Parties; or

               (b)      Is made to enhance the likelihood of, or to maximize the amount of, repayment of
        any Obligation;

                 (c)      Is made to pay any other amount chargeable to any Loan Party hereunder; and
                                                       35
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 357 of 569



                 (d)     Together with all other Permitted Overadvances then outstanding, shall not
        (i) exceed five percent (5%) of the Borrowing Base in the aggregate outstanding at any time or
        (ii) unless a Liquidation is taking place, remain outstanding for more than forty-five (45)
        consecutive Business Days, or (iii) be made on more than two occasions in any 180 day period;

provided, however, that the foregoing shall not (i) modify or abrogate any of the provisions of Section 2.03
regarding the Lenders’ obligations with respect to L/C Obligations, or (ii) result in any claim or liability
against the Administrative Agent (regardless of the amount of any Overadvance) for “inadvertent
Overadvances” (i.e., where an Overadvance results from changed circumstances beyond the control of the
Administrative Agent (such as a reduction in the collateral value)), and such “inadvertent Overadvances”
shall not reduce the amount of Permitted Overadvances allowed hereunder, and provided further that in no
event shall the Administrative Agent make an Overadvance, if after giving effect thereto, the principal
amount of the Credit Extensions would exceed the Aggregate Commitments (as in effect prior to any
termination of the Commitments pursuant to Section 2.06, hereof).

        “Permitted Prior Liens” has the meaning set forth in the Financing Orders.

         “Permitted Protest” means the protest by the Borrower or any Restricted Subsidiary of any Lien
(other than any such Lien that secures the Obligations), taxes, or rental payment, provided that (a) a reserve
with respect to such obligation is established on the books and records of the applicable Person in such
amount (if any) to the extent required under GAAP, (b) any such protest is prosecuted diligently by the
Borrower or such Restricted Subsidiary, as the case may be, in good faith, by appropriate proceedings, and
(c) such protest effectively suspends collection of the contested obligation and enforcement of any Lien
securing such obligation.

         “Permitted Refinancing Indebtedness” means, with respect to any Person, any modification,
refinancing, refunding, renewal or extension of any Indebtedness of such Person (or any successor of such
Person) by such Person or its successor; provided, that (a) the principal or committed amount (or accreted
value, if applicable) thereof does not exceed the sum of (i) the outstanding principal or committed amount
(or accreted value, if applicable) of the Indebtedness so modified, refinanced, refunded, renewed or
extended plus (ii) prepayment premiums and other reasonable amounts paid, and fees (including original
issue discount and upfront fees) and expenses reasonably incurred, in connection with such modification,
refinancing, refunding, renewal or extension, (b) other than with regard to Permitted Refinancing
Indebtedness in respect of Indebtedness permitted pursuant to Section 7.02(e) or Section 7.02(g), such
modification, refinancing, refunding, renewal or extension has (i) a final maturity date equal to or later than
the final maturity date of the Indebtedness being modified, refinanced, refunded, renewed or extended and
(ii) a weighted average life to maturity equal to or greater than the weighted average life to maturity of the
Indebtedness being modified, refinanced, refunded, renewed or extended, (c) if the Indebtedness being
modified, refinanced, refunded, renewed or extended is Subordinated Indebtedness, such modification,
refinancing, refunding, renewal or extension (i) is subordinated in right of payment to the Obligations on
terms at least as favorable, taken as a whole, to the Lenders as those contained in the documentation
governing the Subordinated Indebtedness being modified, refinanced, refunded, renewed or extended,
(ii) does not require payments of cash interest prior to the date that is six months following the maturity
date of the Indebtedness being refinanced in amounts greater than was required by the Indebtedness being
refinanced, and (iii) contains covenants and events of default that are not more restrictive taken as a whole
than the covenants and events of default contained in the documentation governing the Indebtedness being
refinanced (as determined in good faith by the Borrower), and (d) no property of any Loan Party or
Restricted Subsidiary shall constitute collateral security for the Indebtedness so modified, refinanced,
refunded, renewed, or extended other than any Permitted Liens.


                                                      36
        Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 358 of 569



        “Person” means any natural person, corporation, limited liability company, trust, joint venture,
association, company, partnership, limited partnership, Governmental Authority or other entity.

         “Plan” means any “employee benefit plan” (as such term is defined in Section 3(3) of ERISA)
established or maintained by Holdings, the Borrower or, with respect to any such plan that is subject to
Section 412 of the Code or Title IV of ERISA, any ERISA Affiliate.

       “Plan Asset Regulations” means 29 CFR § 2510.3-101 et seq., as modified by Section 3(42) of
ERISA, as amended from time to time.

         “Platform” has the meaning specified in Section 6.02.

      “Pledged Debt” means any debt instrument constituting Collateral under any of the Collateral
Documents.

        “Pledged Equity” means any certificated equity security constituting Collateral under any of the
Collateral Documents.

        “Prepetition ABL Agent” shall mean JPMorgan Chase Bank, N.A., as administrative agent under
the Prepetition ABL Credit Agreement.

         “Prepetition ABL Credit Agreement” shall mean that certain Credit Agreement, dated as of April
6, 2012, by and among the Borrower and the Guarantors party thereto, the lenders party thereto, the
Prepetition ABL Agent and the other parties thereto, as amended, restated, supplemented or otherwise
modified prior to the date hereof.

         “Prepetition ABL Credit Facility” shall mean a senior secured asset-based revolving credit
facility made available to the Borrower pursuant to the Prepetition ABL Credit Agreement.

        “Prepetition ABL Debt” means the “Prepetition ABL Secured Obligations” as defined in the
Interim Financing Order or, after entry thereof, the Final Financing Order.

       “Prepetition Appraisal” means the inventory appraisal dated August 27, 2024 by Gordon Brothers
Asset Advisors, LLC, provided by Borrower to the Administrative Agent prior to the Closing Date.

         “Prepetition Debt” shall mean collectively, the Prepetition ABL Debt and the Prepetition Term
Debt.

         “Prepetition Facilities” shall mean, collectively, the Prepetition ABL Credit Facility and the
Prepetition Term Loan Facility.

        “Prepetition Term Agent” shall mean JPMorgan Chase Bank, N.A., as administrative agent for
the Prepetition Term Lenders.

      “Prepetition Term Debt” means the “Obligations” as defined in the Prepetition Term Loan Credit
Agreement.

      “Prepetition Term Lenders” shall mean the lenders party to the Prepetition Term Loan Credit
Agreement.



                                                   37
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 359 of 569



         “Prepetition Term Loan Credit Agreement” shall mean that certain Senior Secured Term Loan
Agreement, dated as of April 6, 2012, by and among the Borrower and Guarantors party thereto, the
Prepetition Term Lenders, the Prepetition Term Agent and the other parties thereto, as amended, restated,
supplemented or otherwise modified prior to the date hereof.

         “Prepetition Term Loan Documents” shall mean the Prepetition Term Loan Credit Agreement,
any note issued thereunder and the other “Loan Documents” under and as defined in the Prepetition Term
Loan Credit Agreement, as each may be amended, restated, supplemented or otherwise modified from time
to time.

        “Prepetition Term Loan Facility” shall mean a senior secured term loan credit facility made
available to the Borrower pursuant to the Prepetition Term Loan Credit Agreement.

        “Prime Rate” means the rate of interest last quoted by The Wall Street Journal as the “Prime Rate”
in the U.S. or, if The Wall Street Journal ceases to quote such rate, the highest per annum interest rate
published by the FRB in Federal Reserve Statistical Release H.15 (519) (Selected Interest Rates) as the
“bank prime loan” rate or, if such rate is no longer quoted therein, any similar rate quoted therein (as
determined by the Administrative Agent) or any similar release by the FRB (as determined by the
Administrative Agent). Each change in the Prime Rate shall be effective from and including the date such
change is publicly announced or quoted as being effective.

       “PTE” means a prohibited transaction class exemption issued by the U.S. Department of Labor, as
any such exemption may be amended from time to time.

        “Public Lender” has the meaning specified in Section 6.02.

        “Public Offering” means a public offering of the Equity Interests of Holdings pursuant to an
effective registration statement under the Securities Act.

        “Real Estate” means all Leases and all land, together with the buildings, structures, parking areas,
and other improvements thereon, now or hereafter owned by any Loan Party.

        “Reference Time” with respect to any setting of the then-current Benchmark means, (a) if such
Benchmark is the Term SOFR Rate, 5:00 a.m. (Chicago time) on the day that is two (2) U.S. Government
Securities Business Days preceding the date of such setting, (b) [reserved] or (c) if such Benchmark is not
the Term SOFR Rate, the time determined by the Administrative Agent in its reasonable discretion.

        “Register” has the meaning specified in Section 11.06(c).

        “Registered Public Accounting Firm” has the meaning specified by the Securities Laws and shall
be independent of Holdings and its Subsidiaries as prescribed by the Securities Laws.

         “Regulation T” means Regulation T of the FRB, as in effect from time to time and all official
rulings and interpretations thereunder or thereof.

         “Regulation U” means Regulation U of the FRB, as in effect from time to time and all official
rulings and interpretations thereunder or thereof.

         “Regulation X” means Regulation X of the FRB, as in effect from time to time and all official
rulings and interpretations thereunder or thereof.


                                                    38
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 360 of 569



        “Related Parties” means, with respect to any Person, such Person’s Affiliates and the partners,
directors, officers, employees, agents and advisors of such Person and of such Person’s Affiliates.

        “Release” means any spilling, leaking, seepage, pumping, pouring, emitting, emptying,
discharging, injecting, escaping, leaching, dumping, disposing, depositing, dispersing, or migrating of any
Hazardous Material into or through the environment.

       “Relevant Governmental Body” means the FRB and/or the NYFRB, or a committee officially
endorsed or convened by the FRB and/or the NYFRB or, in each case, any successor thereto.

        “Relevant Rate” means with respect to any Term Benchmark Borrowing, the Term SOFR Rate.

        “Reportable Event” means any of the events set forth in Section 4043(c) of ERISA, other than
events for which the 30 day notice period has been waived by regulation.

        “Reports” has the meaning provided in Section 9.12(b).

         “Request for Credit Extension” means (a) with respect to a Borrowing of Committed Loans, a
Notice of Borrowing, (b) with respect to an L/C Credit Extension, a Letter of Credit Application, and
(c) with respect to a Swing Line Loan, a Notice of Borrowing.

         “Required Lenders” means, as of any date of determination, (a) if there are less than three Lenders
at such time, all Lenders, and (b) if there are three or more Lenders at such time, (i) Lenders holding more
than 50% of the Aggregate Commitments or, (ii) if the Aggregate Commitments of the Lenders to make
Loans and the obligation of the Administrative Agent to cause the L/C Issuers to make L/C Credit
Extensions have been terminated pursuant to Section 8.02, Lenders holding in the aggregate more than 50%
of the Total Outstandings (with the aggregate amount of each Lender’s risk participation and funded
participation in L/C Obligations and Swing Line Loans being deemed “held” by such Lender for purposes
of this definition); provided that the Commitment of, and the portion of the Total Outstandings held or
deemed held by, any Defaulting Lender shall be excluded for purposes of making a determination of
Required Lenders.

        “Reserves” means all (if any) Inventory Reserves and Availability Reserves.

         “Resolution Authority” means an EEA Resolution Authority or, with respect to any UK Financial
Institution, a UK Resolution Authority.

        “Responsible Officer” means the chief executive officer, president, chief financial officer, chief
administrative officer, any executive or senior vice president, vice president of finance and treasury,
treasurer, assistant treasurer or controller of a Loan Party or any of the other officers designated in writing
to the Administrative Agent by an existing Responsible Officer of a Loan Party as an authorized signatory
of any certificate or other document to be delivered hereunder. Any document delivered hereunder that is
signed by a Responsible Officer of a Loan Party shall be conclusively presumed to have been authorized
by all necessary corporate, partnership and/or other action on the part of such Loan Party and such
Responsible Officer shall be conclusively presumed to have acted on behalf of such Loan Party.

        “Restricted Payment” means any dividend or other distribution (whether in cash, securities or
other property) by the Borrower or any of its Restricted Subsidiaries with respect to any Equity Interest of
Holdings or any of its Restricted Subsidiaries, or any payment by the Borrower or any of its Restricted
Subsidiaries (whether in cash, securities or other property), including any sinking fund or similar deposit,
on account of the purchase, redemption, retirement, defeasance, acquisition, cancellation or termination of
                                                      39
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 361 of 569



any such Equity Interest, or on account of any return of capital to Holdings’ or any of its Restricted
Subsidiaries’ direct or indirect stockholders, partners or members (or the equivalent of any thereof). For
the avoidance of doubt, payments made pursuant to the Management Agreement shall not be considered
Restricted Payments.

         “Restricted Subsidiary” means any Subsidiary of Holdings other than an Unrestricted Subsidiary.
In all events, the Borrower shall be deemed a Restricted Subsidiary of Holdings. A Restricted Subsidiary
of Holdings that is also a Subsidiary of the Borrower shall also be deemed to be a Restricted Subsidiary of
the Borrower.

        “S&P” means Standard & Poor’s Ratings Services, a Standard & Poor’s Financial Services LLC
business, and any successor thereto.

         “Sanctioned Country” means, at any time, a country, region or territory which is itself the subject
or target of any Sanctions (as of the Closing Date, the so-called Donetsk People’s Republic, the so-called
Luhansk People’s Republic, Cuba, Iran, North Korea, Syria and the Crimea, Zaporizhzhia and Kherson
Regions of Ukraine).

        “Sanctioned Person” means, at any time, (a) any Person listed in any Sanctions-related list of
designated Persons maintained by the Office of Foreign Assets Control of the U.S. Department of the
Treasury, or the U.S. Department of State or by the United Nations Security Council, the European Union
or any European Union member state, His Majesty’s Treasury of the United Kingdom or other relevant
sanctions authority, (b) any Person operating, organized or resident in a Sanctioned Country or (c) any
Person owned or controlled by any such Person or Persons described in the foregoing clauses (a) or (b), or
(d) any Person otherwise the subject of Sanctions.

        “Sanctions” means all economic or financial sanctions or trade embargoes imposed, administered
or enforced from time to time by (a) the U.S. government, including those administered by the Office of
Foreign Assets Control of the U.S. Department of the Treasury or the U.S. Department of State, or (b) the
United Nations Security Council, the European Union, any European Union member state, His Majesty’s
Treasury of the United Kingdom or other relevant sanctions authority.

        “Scheduled Maturity Date” has the meaning specified in Section 2.07(a).

       “SEC” means the Securities and Exchange Commission, or any Governmental Authority
succeeding to any of its principal functions.

        “Second Priority” means, with respect to any Lien purported to be created in any Collateral
pursuant to any Collateral Document, that such Lien is second in priority only to the Liens created under
the Term Loan Documents (subject to Permitted Liens and the Financing Orders).

       “Securities Act” means the Securities Act of 1933, as amended, and the rules and regulations
promulgated thereunder.

        “Securities Laws” means the Securities Act, the Securities Exchange Act of 1934, the Sarbanes-
Oxley Act of 2002 (in each case, as amended), and the applicable accounting and auditing principles, rules,
standards and practices promulgated, approved or incorporated by the SEC or the PCAOB.

        “Settlement Date” has the meaning specified in Section 2.14(a).

        “Shrink” means Inventory which has been lost, misplaced, stolen, or is otherwise unaccounted for.
                                                    40
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 362 of 569



       “SOFR” means a rate per annum equal to the secured overnight financing rate as administered by
the SOFR Administrator.

        “SOFR Administrator” means the NYFRB (or a successor administrator of the secured overnight
financing rate).

        “SOFR Administrator’s Website” means the NYFRB’s Website, currently at
http://www.newyorkfed.org, or any successor source for the secured overnight financing rate identified as
such by the SOFR Administrator from time to time.

        “SOFR Determination Date” has the meaning specified in the definition of “Daily Simple SOFR”.

        “SOFR Rate Day” has the meaning specified in the definition of “Daily Simple SOFR”.

        “Sponsor” means Leonard Green & Partners, L.P., a Delaware limited partnership.

          “Standard Letter of Credit Practice” means, for any L/C Issuer, any domestic or foreign law or
letter of credit practices applicable in the city in which such L/C Issuer issued the applicable Letter of Credit
or, for its branch or correspondent, such laws and practices applicable in the city in which it has advised,
confirmed or negotiated such Letter of Credit, as the case may be, in each case, (a) which letter of credit
practices are of banks that regularly issue letters of credit in the particular city, and (b) which laws or letter
of credit practices are required or permitted under ISP or UCP, as chosen in the applicable Letter of Credit.

       “Stated Amount” means at any time the maximum amount for which a Letter of Credit may be
honored.

        “Store” means any retail store (which includes any real property, Fixtures, Equipment, Inventory
and other property related thereto) operated, or to be operated, by the Borrower or any Restricted
Subsidiary.

        “Subordinated Indebtedness” means all Indebtedness of a Loan Party that is subordinate in right
of payment to any or all of the Obligations pursuant to subordination provisions reasonably acceptable to
the Administrative Agent and which provide, without limitation, (a) for a maturity after the Scheduled
Maturity Date, (b) that such Indebtedness is unsecured, (c) that no principal payments shall be required to
be made until after the Scheduled Maturity Date, and (d) that interest shall accrue and be payable in cash at
a market rate of interest, subject to the right of the Administrative Agent to impose a payment blockage
period upon the occurrence and during the continuance of any Event of Default. In no event shall
Disqualified Equity Interests be deemed Subordinated Indebtedness.

        “Subsidiary” of a Person means a corporation, partnership, joint venture, limited liability company
or other business entity of which a majority of the shares of securities or other interests having ordinary
voting power for the election of directors or other governing body (other than securities or interests having
such power only by reason of the happening of a contingency) are at the time beneficially owned, or the
management of which is otherwise controlled, directly, or indirectly through one or more intermediaries,
or both, by such Person. Unless otherwise specified, all references herein to a “Subsidiary” or to
“Subsidiaries” shall refer to a Subsidiary or Subsidiaries of Holdings.

         “Subsidiary Guarantors” means collectively, all Restricted Subsidiaries of the Borrower other
than (i) any CFC, (ii) any Subsidiary owned directly or indirectly by a CFC or (iii) any Domestic Subsidiary
that is a disregarded entity for U.S. federal income tax purposes if substantially all of the assets of such
Domestic Subsidiary consist of Equity Interests in one or more Foreign Subsidiaries.
                                                       41
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 363 of 569



         “Supermajority Lenders” means, as of any date of determination, (a) if there are less than three
Lenders at such time, all Lenders, and (b) if there are three or more Lenders at such time, (i) Lenders holding
more than 75% of the Aggregate Commitments or, (ii) if the Commitments of the Lenders to make Loans
and the obligation of the Administrative Agent to cause the L/C Issuers to make L/C Credit Extensions
have been terminated pursuant to Section 8.02, Lenders holding in the aggregate more than 75% of the
Total Outstandings (with the aggregate amount of each Lender’s risk participation and funded participation
in L/C Obligations and Swing Line Loans being deemed “held” by such Lender for purposes of this
definition); provided that the Commitment of, and the portion of the Total Outstandings held or deemed
held by, any Defaulting Lender shall be excluded for purposes of making a determination of Supermajority
Lenders.

         “Swap Contract” means any and all rate swap transactions, basis swaps, credit derivative
transactions, forward rate transactions, commodity swaps, commodity options, forward commodity
contracts, equity or equity index swaps or options, bond or bond price or bond index swaps or options or
forward bond or forward bond price or forward bond index transactions, interest rate options, forward
foreign exchange transactions, cap transactions, floor transactions, collar transactions, currency swap
transactions, cross-currency rate swap transactions, currency options, spot contracts, or any other similar
transactions or any combination of any of the foregoing (including any options to enter into any of the
foregoing), whether or not any such transaction is governed by or subject to any master agreement.

        “Swap Obligation” means, with respect to any Loan Party, any obligation to pay or perform under
any agreement, contract or transaction that constitutes a “swap” within the meaning of section 1a(47) of the
Commodity Exchange Act.

        “Swap Termination Value” means, in respect of any one or more Swap Contracts, after taking
into account the effect of any legally enforceable netting agreement relating to such Swap Contracts, (a) for
any date on or after the date such Swap Contracts have been closed out and termination value(s) determined
in accordance therewith, such termination value(s), and (b) for any date prior to the date referenced in
clause (a), the amount(s) determined as the mark-to-market value(s) for such Swap Contracts, as determined
based upon one or more mid-market or other readily available quotations provided by any recognized dealer
in such Swap Contracts (which may include a Lender or any Affiliate of a Lender).

         “Swedish Credit Facility” means the Master Credit Agreement, dated March 18, 2019, between
Elfa International AB and Nordea Bank Abp, filial i Sverige, including any related notes, guarantees and
collateral documents executed in connection therewith, and in each case as amended, restated, modified,
refinanced, renewed, refunded, restructured or replaced in any manner.

       “Swing Line” means the revolving credit facility made available by the Swing Line Lender
pursuant to Section 2.04.

        “Swing Line Lender” means Eclipse in its capacity as provider of Swing Line Loans, or any
successor swing line lender hereunder.

        “Swing Line Loan” has the meaning specified in Section 2.04(a).

       “Swing Line Sublimit” means an amount equal to the lesser of (a) $15.0 million and (b) the
Aggregate Commitments. The Swing Line Sublimit is part of, and not in addition to, the Aggregate
Commitments.

        “Synthetic Debt” means, with respect to any Person as of any date of determination thereof, all
obligations of such Person in respect of transactions entered into by such Person that are intended to
                                                      42
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 364 of 569



function primarily as a borrowing of funds (including any minority interest transactions that function
primarily as a borrowing) but are not otherwise included in the definition of “Indebtedness” or as a liability
on the Consolidated balance sheet of such Person and the Restricted Subsidiaries in accordance with GAAP.

        “Synthetic Lease Obligation” means the monetary obligation of a Person under an agreement for
the use or possession of property (including sale and leaseback transactions), in each case, creating
obligations that do not appear on the balance sheet of such Person but which, upon the application of any
Debtor Relief Laws to such Person, would be characterized as the indebtedness of such Person (without
regard to accounting treatment).

        “Taxes” means all present or future taxes, levies, imposts, duties, deductions, withholdings
(including backup withholding), assessments, fees or other charges imposed by any Governmental
Authority, including any interest, additions to tax or penalties applicable thereto.

        “Term Benchmark” when used in reference to any Loan or Borrowing, refers to whether such
Loan, or the Loans comprising such Borrowing, are bearing interest at a rate determined by reference to the
Term SOFR Rate.

        “Term Loan Documents” means, individually and collectively, the DIP Term Loan Documents
and the Prepetition Term Loan Documents.

      “Term Priority Collateral” shall have the meaning specified therefor in the Intercreditor
Agreement.

      “Term SOFR Determination Day” has the meaning assigned to it under the definition of Term
SOFR Reference Rate.

        “Term SOFR Rate” means, with respect to any Term Benchmark Borrowing and for a tenor of
one-month, the Term SOFR Reference Rate at approximately 5:00 a.m., Chicago time, two (2) U.S.
Government Securities Business Days prior to the commencement of each calendar month, as such rate is
published by the CME Term SOFR Administrator.

         “Term SOFR Reference Rate” means, for any day and time (such day, the “Term SOFR
Determination Day”), and for any tenor of one month, the rate per annum published by the CME Term
SOFR Administrator and identified by the Administrative Agent as the forward-looking term rate based on
SOFR. If by 5:00 pm (New York City time) on such Term SOFR Determination Day, the “Term SOFR
Reference Rate” for the applicable tenor has not been published by the CME Term SOFR Administrator
and a Benchmark Replacement Date with respect to the Term SOFR Rate has not occurred, then, so long
as such day is otherwise a U.S. Government Securities Business Day, the Term SOFR Reference Rate for
such Term SOFR Determination Day will be the Term SOFR Reference Rate as published in respect of the
first preceding U.S. Government Securities Business Day for which such Term SOFR Reference Rate was
published by the CME Term SOFR Administrator, so long as such first preceding U.S. Government
Securities Business Day is not more than five (5) U.S. Government Securities Business Days prior to such
Term SOFR Determination Day.

       “Total Outstandings” means, on any date, the aggregate Outstanding Amount of all Loans and all
L/C Obligations, after giving effect to any borrowings or repayments of Loans occurring on such date.

         “Transaction” means, collectively, (a) the execution of the DIP Term Facility and the borrowing
of term loans thereunder by the Borrower, (b) the entering into the ABL DIP Facility under this Agreement
and the Loan Documents by the Borrower and the other Loan Parties, (c) the repayment and termination of
                                                     43
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 365 of 569



the Prepetition ABL Credit Facility, (d) the consummation of any other transactions in connection with the
foregoing and (e) the payment of the fees and expenses incurred in connection with the consummation of
the foregoing.

      “Transaction Expenses” means fees and expenses incurred in connection with the closing of this
Agreement and the Term Facility.

        “Transaction Support Agreement” means that certain Transaction Support Agreement (including
all exhibits, schedules and attachments thereto), dated as of December [20], 2024 (as may be amended,
supplemented, amended and restated or otherwise modified from time to time in a manner reasonable
acceptable to the Administrative Agent accordance with the terms thereof), by and among the Chapter 11
Debtors and the Consenting Stakeholders (as defined therein).

        “Type” when used in reference to any Loan or Borrowing, refers to whether the rate of interest on
such Loan, or on the Loans comprising such Borrowing, is determined by reference to the Term SOFR Rate
or the Base Rate.

         “UCC” means the Uniform Commercial Code as in effect in the State of New York; provided that,
if perfection or the effect of perfection or non-perfection or the priority of any security interest in any
Collateral or the availability of any remedy under the Loan Documents is governed by the Uniform
Commercial Code as in effect in a jurisdiction other than the State of New York, “UCC” means the Uniform
Commercial Code as in effect from time to time in such other jurisdiction for purposes of the provisions
hereof relating to such perfection, effect of perfection or non-perfection, priority or availability of such
remedy.

        “UCP” means, with respect to any Letter of Credit, the Uniform Customs and Practice for
Documentary Credits 2007 Revision, International Chamber of Commerce Publication No. 600 and any
version or revision thereof accepted by the applicable L/C Issuer for use.

        “UK Financial Institutions” means any BRRD Undertaking (as such term is defined under the
PRA Rulebook (as amended from time to time) promulgated by the United Kingdom Prudential Regulation
Authority) or any person falling within IFPRU 11.6 of the FCA Handbook (as amended from time to time)
promulgated by the United Kingdom Financial Conduct Authority, which includes certain credit institutions
and investment firms, and certain affiliates of such credit institutions or investment firms.

        “UK Resolution Authority” means the Bank of England or any other public administrative
authority having responsibility for the resolution of any UK Financial Institution.

        “Unadjusted Benchmark Replacement” means the applicable Benchmark Replacement
excluding the related Benchmark Replacement Adjustment.

        “Unfunded Pension Liability” means the excess of a Pension Plan’s benefit liabilities under
Section 4001(a)(16) of ERISA, over the current value of that Pension Plan’s assets, determined in
accordance with the assumptions used for funding the Pension Plan pursuant to Section 412 of the Code for
the applicable plan year.

        “United States” and “U.S.” mean the United States of America.

        “Unreimbursed Amount” has the meaning specified in Section 2.03.



                                                    44
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 366 of 569



        “Unrestricted Subsidiary” means (a) each Subsidiary of Holdings listed on Schedule 5.13 and
designated as an “Unrestricted Subsidiary,” (b) any Subsidiary of Holdings designated by the board of
directors of Holdings as an Unrestricted Subsidiary pursuant to Section 6.18 subsequent to the date hereof,
and (c) any Subsidiary of an Unrestricted Subsidiary; provided, that no Subsidiary of Holdings may be
designated as Unrestricted Subsidiary after the Closing Date.

        “USA PATRIOT Act” means The Uniting and Strengthening America by Providing Appropriate
Tools Required to Intercept and Obstruct Terrorism Act of 2001 (Title III of Public Law No. 107-56 (signed
into law October 26, 2001)), as amended or modified from time to time.

        “U.S. Government Securities Business Day” means any day except for (a) a Saturday, (b) a
Sunday or (c) a day on which the Securities Industry and Financial Markets Association recommends that
the fixed income departments of its members be closed for the entire day for purposes of trading in United
States government securities.

        “U.S. Loan Party” means any Loan Party that is organized under the laws of one of the states of
the United States of America and that is not a CFC.

        “U.S. Special Resolution Regimes” has the meaning specified in Section 11.22.

        “U.S. Tax Compliance Certificate” has the meaning specified in Section 3.01(g)(iii).

         “Write-Down and Conversion Powers” means, (a) with respect to any EEA Resolution Authority,
the write-down and conversion powers of such EEA Resolution Authority from time to time under the Bail-
In Legislation for the applicable EEA Member Country, which write-down and conversion powers are
described in the EU Bail-In Legislation Schedule, and (b) with respect to the United Kingdom, any powers
of the applicable Resolution Authority under the Bail-In Legislation to cancel, reduce, modify or change
the form of a liability of any UK Financial Institution or any contract or instrument under which that liability
arises, to convert all or part of that liability into shares, securities or obligations of that person or any other
person, to provide that any such contract or instrument is to have effect as if a right had been exercised
under it or to suspend any obligation in respect of that liability or any of the powers under that Bail-In
Legislation that are related to or ancillary to any of those powers.

      1.02    Other Interpretive Provisions. With reference to this Agreement and each other Loan
Document, unless otherwise specified herein or in such other Loan Document:

                 (a)     The definitions of terms herein shall apply equally to the singular and plural forms
of the terms defined. Whenever the context may require, any pronoun shall include the corresponding
masculine, feminine and neuter forms. The words “include,” “includes” and “including” shall be deemed
to be followed by the phrase “without limitation.” The word “will” shall be construed to have the same
meaning and effect as the word “shall.” Unless the context requires otherwise, (i) any definition of or
reference to any Law, agreement, instrument or other document (including any Organization Document)
shall be construed as referring to such Law, agreement, instrument or other document as from time to time
amended, supplemented or otherwise modified (subject to any restrictions on such amendments,
supplements or modifications set forth herein or in any other Loan Document), (ii) any reference herein to
any Person shall be construed to include such Person’s successors and assigns, (iii) the words “herein,”
“hereof” and “hereunder,” and words of similar import when used in any Loan Document, shall be
construed to refer to such Loan Document in its entirety and not to any particular provision thereof, (iv) all
references in a Loan Document to Articles, Sections, Preliminary Statements, Exhibits and Schedules shall
be construed to refer to Articles and Sections of, and Preliminary Statements, Exhibits and Schedules to,
the Loan Document in which such references appear, (v) any reference to any law shall include all statutory
                                                        45
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 367 of 569



and regulatory provisions consolidating, amending, replacing or interpreting such law and any reference to
any law or regulation shall, unless otherwise specified, refer to such law or regulation as amended, modified
or supplemented from time to time, and (vi) the words “asset” and “property” shall be construed to have
the same meaning and effect and to refer to any and all tangible and intangible assets and properties,
including cash, securities, accounts and contract rights. “Knowledge” shall mean the actual knowledge of
a Responsible Officer of the Borrower after reasonable investigation.

                (b)    In the computation of periods of time from a specified date to a later specified date,
the word “from” means “from and including”; the words “to” and “until” each mean “to but excluding”;
and the word “through” means “to and including.”

               (c)     Section headings herein and in the other Loan Documents are included for
convenience of reference only and shall not affect the interpretation of this Agreement or any other Loan
Document.

         1.03    Classification of Loans and Borrowings. For purposes of this Agreement, Loans may be
classified and referred to by Class (e.g., a “Committed Loan”) or by Type (e.g., a “Term Benchmark Loan”)
or by Class and Type (e.g., a “Term Benchmark Committed Loan”). Borrowings also may be classified
and referred to by Class (e.g., a “Borrowing”) or by Type (e.g., a “Term Benchmark Borrowing”) or by
Class and Type (e.g., a “Term Benchmark Borrowing”).

         1.04    Accounting Terms. All accounting terms not specifically or completely defined herein
shall be construed in conformity with, and all financial data (including financial ratios and other financial
calculations) required to be submitted pursuant to this Agreement shall be prepared in conformity with,
GAAP applied on a consistent basis, as in effect from time to time, except as otherwise specifically
prescribed herein.

         1.05     Rounding. Any financial ratios required to be maintained by the Borrower pursuant to this
Agreement shall be calculated by dividing the appropriate component by the other component, carrying the
result to one place more than the number of places by which such ratio is expressed herein and rounding
the result up or down to the nearest number (with a rounding-up if there is no nearest number).

        1.06    Times of Day. Unless otherwise specified, all references herein to times of day shall be
references to Chicago time (daylight or standard, as applicable).

         1.07    Letter of Credit Amounts. Unless otherwise specified, all references herein to the amount
of a Letter of Credit at any time shall be deemed to be the Stated Amount of such Letter of Credit in effect
at such time; provided, however, that with respect to any Letter of Credit that, by the terms of any Issuer
Documents related thereto, provides for one or more automatic increases in the Stated Amount thereof, the
amount of such Letter of Credit shall be deemed to be the maximum Stated Amount of such Letter of Credit
after giving effect to all such increases, whether or not such maximum Stated Amount is in effect at such
time.

       1.08    Senior Debt. The Loans and other Obligations are hereby designated as “Senior Debt” and
“Designated Senior Debt” (or other similar terms) for all purposes of any Subordinated Indebtedness.

        1.09    [Reserved].

        1.10    [Reserved].



                                                     46
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 368 of 569



         1.11     Interest Rates; Benchmark Notifications. The interest rate on a Loan denominated in
dollars may be derived from an interest rate benchmark that may be discontinued or is, or may in the future
become, the subject of regulatory reform. Upon the occurrence of a Benchmark Transition Event, Section
3.02(b) provides a mechanism for determining an alternative rate of interest. The Administrative Agent
does not warrant or accept any responsibility for, and shall not have any liability with respect to, the
administration, submission, performance or any other matter related to any interest rate used in this
Agreement, or with respect to any alternative or successor rate thereto, or replacement rate thereof,
including without limitation, whether the composition or characteristics of any such alternative, successor
or replacement reference rate will be similar to, or produce the same value or economic equivalence of, the
existing interest rate being replaced or have the same volume or liquidity as did any existing interest rate
prior to its discontinuance or unavailability. The Administrative Agent and its affiliates and/or other related
entities may engage in transactions that affect the calculation of any interest rate used in this Agreement or
any alternative, successor or replacement rate (including any Benchmark Replacement) and/or any relevant
adjustments thereto, in each case, in a manner adverse to the Borrower. The Administrative Agent may
select information sources or services in its reasonable discretion to ascertain any interest rate used in this
Agreement, any component thereof, or rates referenced in the definition thereof, in each case pursuant to
the terms of this Agreement, and shall have no liability to the Borrower, any Lender or any other person or
entity for damages of any kind, including direct or indirect, special, punitive, incidental or consequential
damages, costs, losses or expenses (whether in tort, contract or otherwise and whether at law or in equity),
for any error or calculation of any such rate (or component thereof) provided by any such information
source or service.

         1.12     Divisions. For all purposes under the Loan Documents, in connection with any Division
or plan of division under Delaware law (or any comparable event under a different jurisdiction’s laws): (a)
if any asset, right, obligation or liability of any Person becomes the asset, right, obligation or liability of a
different Person, then it shall be deemed to have been transferred from the original Person to the subsequent
Person, and (b) if any new Person comes into existence, such new Person shall be deemed to have been
organized and acquired on the first date of its existence by the holders of its Equity Interests at such time.

         1.13    Letters of Credit. Unless otherwise specified herein, the amount of a Letter of Credit at
any time shall be deemed to be the amount of such Letter of Credit available to be drawn at such time;
provided that with respect to any Letter of Credit that, by its terms or the terms of any Issuer Document
related thereto, provides for one or more automatic increases in the available amount thereof, the amount
of such Letter of Credit shall be deemed to be the maximum amount of such Letter of Credit after giving
effect to all such increases, whether or not such maximum amount is available to be drawn at such time.
For all purposes of this Agreement, if on any date of determination a Letter of Credit has expired by its
terms but any amount may still be drawn thereunder by reason of the operation of Article 29(a) of the
Uniform Customs and Practice for Documentary Credits, International Chamber of Commerce Publication
No. 600 (or such later version thereof as may be in effect at the applicable time) or Rule 3.13 or Rule 3.14
of the International Standby Practices, International Chamber of Commerce Publication No. 590 (or such
later version thereof as may be in effect at the applicable time) or similar terms of the Letter of Credit itself,
or if compliant documents have been presented but not yet honored, such Letter of Credit shall be deemed
to be “outstanding” and “undrawn” in the amount so remaining available to be paid, and the obligations of
the Borrower and each Lender shall remain in full force and effect until the L/C Issuer and the Lenders
shall have no further obligations to make any payments or disbursements under any circumstances with
respect to any Letter of Credit.

                                      ARTICLE II
                         THE COMMITMENTS AND CREDIT EXTENSIONS

        2.01     Committed Loans; Reserves.
                                                       47
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 369 of 569



                (a)     Subject to the terms and conditions set forth herein, each Lender severally agrees
to make loans (each such loan, a “Committed Loan”) to the Borrower from time to time, on any Business
Day during the Availability Period, subject in each case to the following limitations:

                        (i)      after giving effect to any Borrowing, the Total Outstandings shall not
        exceed the lesser of (A) the Aggregate Commitments, or (B) the Borrowing Base;

                      (ii)    after giving effect to any Borrowing, the aggregate Outstanding Amount
        of the Committed Loans of any Lender, plus such Lender’s Applicable Percentage of the
        Outstanding Amount of all L/C Obligations, plus such Lender’s Applicable Percentage of the
        Outstanding Amount of all Swing Line Loans shall not exceed the lesser of (x) such Lender’s
        Commitment, or (y) such Lender’s Applicable Percentage of the Borrowing Base; and

                        (iii)   the Outstanding Amount of all L/C Obligations shall not at any time
        exceed the Letter of Credit Sublimit.

Within the limits of each Lender’s Commitment, and subject to the other terms and conditions hereof, the
Borrower may borrow under this Section 2.01, prepay under Section 2.05, and reborrow under this
Section 2.01. Committed Loans may be Base Rate Loans or Term Benchmark Loans, as further provided
herein.

        2.02     Borrowings of Committed Loans.

                  (a)     Committed Loans and Swing Line Loans shall be Term Benchmark Loans, except
as set forth in Section 3.02.

                 (b)     Each Borrowing of Committed Loans shall be made upon the Borrower’s
irrevocable notice to the Administrative Agent, which may be given by telephone. Each such notice must
be received by the Administrative Agent not later than 10:00 a.m. on the requested date of any Borrowing.
Each telephonic notice by the Borrower pursuant to this Section 2.02(b) must be confirmed promptly by
delivery to the Administrative Agent of a Notice of Borrowing, either in writing or by an Approved
Electronic Communication, appropriately completed and signed by a Responsible Officer of the Borrower.
Each Borrowing shall be in a principal amount of $1,000,000 or a whole multiple of $500,000 in excess
thereof. Each Notice of Borrowing (whether telephonic, written or by Approved Electronic
Communication) shall specify (A) the requested date of the Borrowing (which shall be a Business Day),
and (B) the principal amount of Committed Loans to be borrowed.

                 (c)      [Reserved].

                  (d)     Following receipt of a Notice of Borrowing, the Administrative Agent shall
promptly notify each Lender of the amount of its Applicable Percentage of the applicable Committed Loans.
In the case of a Borrowing of Committed Loans, each Lender shall make the amount of its Committed Loan
available to the Administrative Agent in immediately available funds at the Administrative Agent’s Office
not later than 1:00 p.m. on the Business Day specified in the applicable Notice of Borrowing. Upon
satisfaction of the applicable conditions set forth in Section 4.02 (and, if such Borrowing is the initial Credit
Extension, Section 4.01), the Administrative Agent shall use reasonable efforts to make all funds so
received available to the Borrower in like funds by no later than 4:00 p.m. on the day of receipt by the
Administrative Agent either by (i) crediting the account of the Borrower on the books of Eclipse with the
amount of such funds or (ii) wire transfer of such funds, in each case in accordance with instructions
provided to (and reasonably acceptable to) the Administrative Agent by the Borrower; provided, however,
that if, on the date the Notice of Borrowing with respect to such Borrowing is given by the Borrower, there
                                                       48
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 370 of 569



are Letter of Credit Disbursements outstanding, then the proceeds of such Borrowing, first, shall be applied
to the payment in full of any such Letter of Credit Disbursements, and second, shall be made available to
the Borrower as provided above.

               (e)       Each Borrowing of Committed Loans shall be made by the Lenders pro rata in
accordance with their respective Applicable Percentage with respect to the applicable Class. The failure of
any Lender to make any Loan shall neither relieve any other Lender of its obligation to fund its Loan in
accordance with the provisions of this Agreement nor increase the obligation of any such other Lender.

                  (f)     The Administrative Agent, without the request of the Borrower, may advance any
interest, fee, service charge, Credit Party Expenses, or other payment to which any Credit Party is entitled
from the Loan Parties pursuant hereto or any other Loan Document and may charge the same to the Loan
Account notwithstanding that an Overadvance may result thereby. The Administrative Agent shall deliver
to the Borrower a statement of any such advance or charge promptly after the making thereof (or in the case
of Credit Party Expenses, at the time that the five (5) Business Days’ notice is furnished) in reasonable
detail sufficient to allow the Borrower to verify such interest, fee, service charge, Credit Party Expenses,
or other payment. Such action on the part of the Administrative Agent shall not constitute a waiver of the
Administrative Agent’s rights and the Borrower’s obligations under Section 2.05. Any amount which is
added to the principal balance of the Loan Account as provided in this Section 2.02(f) shall bear interest at
the interest rate then and thereafter applicable to Base Rate Loans.

                (g)      [Reserved].

                  (h)     The Administrative Agent shall promptly notify the Borrower and the Lenders of
the interest rate applicable to any interest period for Term Benchmark Loans upon determination of such
interest rate. At any time that Base Rate Loans are outstanding, the Administrative Agent shall notify the
Borrower and the Lenders of any change in the Prime Rate used in determining the Base Rate promptly
following the public announcement of such change.

                (i)      [Reserved].

                   (j)      The Administrative Agent, the Lenders and the Swing Line Lender shall have no
obligation to make any Loan or to provide any Letter of Credit if an Overadvance would result. The
Administrative Agent may, in its discretion, make Permitted Overadvances without the consent of the
Lenders, the Swing Line Lender and each Lender shall be bound thereby. Any Permitted Overadvance may
constitute a Swing Line Loan. A Permitted Overadvance is for the account of the Borrower and shall
constitute a Loan and an Obligation. The making of any such Permitted Overadvance on any one occasion
shall not obligate the Administrative Agent or any Lender to make or permit any Permitted Overadvance
on any other occasion or to permit such Permitted Overadvances to remain outstanding. The making by
the Administrative Agent of a Permitted Overadvance shall not modify or abrogate any of the provisions
of Section 2.03 regarding the Lenders’ obligations to purchase participations with respect to Letter of
Credits. The Administrative Agent shall have no liability for, and no Loan Party or Credit Party shall have
the right to, or shall, bring any claim of any kind whatsoever against the Administrative Agent with respect
to “inadvertent Overadvances” (i.e., where an Overadvance results from changed circumstances beyond the
control of the Administrative Agent (such as a reduction in the collateral value)) regardless of the amount
of any such Overadvance(s).

                 (k)    For the avoidance of doubt, as of the Closing Date, the Types of Borrowings
available to the Borrower shall be comprised of either Base Rate Loans or Term Benchmark Loans.

        2.03    Letters of Credit.
                                                     49
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 371 of 569



                  (a)      General. Subject to the terms and conditions of this Agreement, upon the request
of the Borrower made in accordance herewith, and prior to the Maturity Date, the Administrative Agent
agrees to arrange for one or more L/C Issuers to issue standby Letters of Credit for any lawful purpose of
any Loan Party. Pursuant to the foregoing, and subject to the terms and conditions contained herein, the
Administrative Agent shall make standby Letters of Credit available to the Loan Parties by causing one or
more L/C Issuers to issue such standby Letters of Credit. By submitting a request to the Administrative
Agent for the issuance of a Letter of Credit, the Borrower shall be deemed to have requested that the
Administrative Agent cause the issuance of the requested Letter of Credit by the applicable L/C Issuer.
Each request for the issuance of a Letter of Credit, or the amendment, renewal, or extension of any
outstanding Letter of Credit, shall be (i) irrevocable and made in writing by a Responsible Officer of the
Borrower, (ii) delivered to the Administrative Agent via Approved Electronic Communications and
reasonably in advance of the requested date of issuance, amendment, renewal, or extension, and (iii) subject
to the Administrative Agent’s and, as applicable, the applicable L/C Issuer’s, authentication procedures
with results satisfactory to such Persons. Each such request shall be in form and substance reasonably
satisfactory to the Administrative Agent and the applicable L/C Issuer and (i) shall specify (A) the amount
of such Letter of Credit, (B) the date of issuance, amendment, renewal, or extension of such Letter of Credit,
(C) the proposed expiration date of such Letter of Credit, (D) the name and address of the beneficiary of
the Letter of Credit, and (E) such other information (including, the conditions to drawing, and, in the case
of an amendment, renewal, or extension, identification of the Letter of Credit to be so amended, renewed,
or extended) as shall be necessary to prepare, amend, renew, or extend such Letter of Credit, and (ii) shall
be accompanied by such Issuer Documents as the Administrative Agent or such L/C Issuer may request or
require, to the extent that such requests or requirements are consistent with the Issuer Documents that such
L/C Issuer generally requests for Letters of Credit in similar circumstances. The Administrative Agent’s
records of the content of any such request will be conclusive.

                 (b)      The Administrative Agent shall have no obligation to cause the issuance,
amendment, renewal or extension of a Letter of Credit if any of the following would result after giving
effect to the requested issuance, amendment, renewal or extension:

                         (i)      the Outstanding Amount of L/C Obligations would exceed the Letter of
                 Credit Sublimit;

                        (ii)   the Total Revolving Credit Exposure would exceed the lesser of (i) the
                 Borrowing Base and (ii) the Aggregate Commitments;

                        (iii)  the Outstanding Amount of L/C Obligations would exceed the result of (x)
                 the Borrowing Base at such time less (y) the outstanding principal balance of the
                 Committed Loans (inclusive of Swing Line Loans) at such time; or

                         (iv)     the Letter of Credit would expire after the Letter of Credit Expiration Date.

                 (c)     [Reserved].

                  (d)     Each Letter of Credit shall be in form and substance reasonably acceptable to the
applicable L/C Issuer and the Administrative Agent, including the requirement that the amounts payable
thereunder must be payable in Dollars. If an L/C Issuer or the Administrative Agent makes a payment
under, or pursuant to, a Letter of Credit, the Borrower shall pay to the Administrative Agent an amount
equal to the applicable Letter of Credit Disbursement on the Business Day such Letter of Credit
Disbursement is made. In the absence of such payment, the amount of the Letter of Credit Disbursement
immediately and automatically shall be deemed to be a Committed Loan hereunder (notwithstanding any
failure to satisfy any condition precedent set forth in Section 4.02) and, initially, shall bear interest at the
                                                      50
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 372 of 569



rate then applicable to Base Rate Loans. If a Letter of Credit Disbursement is deemed to be a Committed
Loan hereunder, the Borrower’s obligation to pay the amount of such Letter of Credit Disbursement to the
applicable L/C Issuer shall be automatically converted into an obligation to pay the resulting Committed
Loan. Promptly following receipt by the Administrative Agent of any payment from the Borrower pursuant
to this Section 2.03(d) the Administrative Agent shall distribute such payment to such L/C Issuer or, to the
extent that Lenders have made payments pursuant to Section 2.03(e) to reimburse such L/C Issuer, then to
such Lenders and such L/C Issuer as their interests may appear.

                 (e)       Promptly following receipt of a notice of a Letter of Credit Disbursement in respect
of a Letter of Credit pursuant to Section 2.03(d), each Lender agrees to fund its Applicable Percentage of
any Committed Loan deemed made pursuant to Section 2.03(d) on the same terms and conditions as if the
Borrower had requested the amount thereof as a Committed Loan and the Administrative Agent shall
promptly pay to the Administrative Agent the amounts so received by it from the Lenders. By the issuance
of a Letter of Credit (or an amendment, renewal, or extension of any such Letter of Credit) and without any
further action on the part of the Administrative Agent or the Lenders, the Administrative Agent shall be
deemed to have granted to each Lender, and each Lender shall be deemed to have purchased, a participation
in each such Letter of Credit caused by the Administrative Agent to be issued, in an amount equal to its
Applicable Percentage of such Letter of Credit, and each such Lender agrees to pay to the Administrative
Agent such Lender’s Applicable Percentage of any Letter of Credit Disbursement made by an L/C Issuer
under the applicable Letter of Credit. In consideration and in furtherance of the foregoing, each Lender
hereby absolutely and unconditionally agrees to pay to the Administrative Agent such Lender’s Applicable
Percentage of each Letter of Credit Disbursement in respect of a Letter of Credit made by an L/C Issuer
and not reimbursed by the Borrower on the date due as provided in Section 2.03(d), or of any reimbursement
payment that is required to be refunded (or that the Administrative Agent elects, based upon the advice of
counsel, to refund) to the Borrower for any reason. Each Lender acknowledges and agrees that its obligation
to deliver to the Administrative Agent an amount equal to its respective Applicable Percentage of each
Letter of Credit Disbursement in respect of a Letter of Credit pursuant to this Section 2.03(e) shall be
absolute and unconditional and such remittance shall be made notwithstanding the occurrence or
continuation of an Event of Default or Default or the failure to satisfy any condition set forth in Section
4.02. If any such Lender fails to make available to the Administrative Agent the amount of such Lender’s
Applicable Percentage of a Letter of Credit Disbursement in respect of a Letter of Credit as provided in this
Section 2.03 (an “Unreimbursed Amount”), such Lender shall be deemed to be a Defaulting Lender and the
Administrative Agent (for the account of the L/C Issuers) shall be entitled to recover such amount on
demand from such Lender together with interest thereon at the Defaulting Lender Rate until paid in full.

                 (f)     [Reserved].

                 (g)      The liability of the Administrative Agent under, in connection with or arising out
of any Letter of Credit (or pre-advice), regardless of the form or legal grounds of the action or proceeding,
shall be limited to direct damages suffered by the Borrower or other applicable Loan Party that are caused
directly by such Person’s bad faith, gross negligence or willful misconduct in (i) honoring a presentation
under a Letter of Credit that on its face does not at least substantially comply with the terms and conditions
of such Letter of Credit, (ii) failing to honor a presentation under a Letter of Credit that strictly complies
with the terms and conditions of such Letter of Credit, or (iii) retaining Drawing Documents presented
under a Letter of Credit. The Borrower’s or other applicable Loan Party’s aggregate remedies against the
Administrative Agent for wrongfully honoring a presentation under any Letter of Credit or wrongfully
retaining honored Drawing Documents shall in no event exceed the aggregate amount paid by the Borrower
to the Administrative Agent in respect of the honored presentation in connection with such Letter of Credit
under Section 2.03(d), plus interest at the rate then applicable to Base Rate Loans hereunder. The Borrower
or other applicable Loan Party shall use commercially reasonable efforts to avoid and mitigate the amount
of any damages claimed against the Administrative Agent, including by enforcing its rights against the
                                                        51
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 373 of 569



beneficiaries of the Letters of Credit. Any claim by the Borrower or other applicable Loan Party under or
in connection with any Letter of Credit shall be reduced by an amount equal to the sum of (x) the amount
(if any) saved by the Borrower or other applicable Loan Party as a result of the breach or alleged wrongful
conduct complained of, and (y) the amount (if any) of the loss that would have been avoided had the
Borrower or other applicable Loan Party used commercially reasonable efforts to mitigate any loss, and in
case of a claim of wrongful dishonor, by specifically and timely authorizing the Administrative Agent and
the applicable L/C Issuer to effect a cure.

                 (h)     The Borrower is responsible for the final text of the Letter of Credit as issued by
any L/C Issuer, irrespective of any assistance the Administrative Agent or such L/C Issuer may provide
such as drafting or recommending text or by such L/C Issuer’s use or refusal to use text submitted by the
Borrower. The Borrower understands that the final form of any Letter of Credit may be subject to such
revisions and changes as are deemed necessary or appropriate by the applicable L/C Issuer, and the
Borrower hereby consents to such revisions and changes not materially different from the application
executed in connection therewith. The Borrower is solely responsible for the suitability of the Letter of
Credit for the Borrower’s or other applicable Loan Party’s purposes. If the Borrower requests the
Administrative Agent to cause the issuance of a Letter of Credit for an affiliated or unaffiliated third party
(an “Account Party”), (i) such Account Party shall have no rights against the Administrative Agent; (ii)
the Borrower shall be responsible for the application and obligations under this Agreement; and (iii)
communications (including notices) related to the respective Letter of Credit shall be among the
Administrative Agent and/or the applicable L/C Issuer and the Borrower. The Borrower will examine the
copy of the Letter of Credit and any other documents sent by the Administrative Agent on behalf of the
applicable L/C Issuer in connection therewith and shall promptly notify the Administrative Agent (not later
than three (3) Business Days following the Borrower’s receipt of documents from the Administrative
Agent) of any non-compliance with the Borrower’s instructions and of any discrepancy in any document
under any presentment or other irregularity. The Borrower understands and agrees that neither the
Administrative Agent nor any L/C Issuer is required to extend the expiration date of any Letter of Credit
for any reason. With respect to any Letter of Credit containing an “automatic amendment” to extend the
expiration date of such Letter of Credit, the applicable L/C Issuer, in its sole and absolute discretion, may
give notice of nonrenewal of such Letter of Credit and, if the Borrower does not at any time want the then
current expiration date of such Letter of Credit to be extended, the Borrower will so notify such L/C Issuer
(with a copy to the Administrative Agent) at least thirty (30) calendar days before such L/C Issuer is
required to notify the beneficiary of such Letter of Credit or any advising bank of such non-extension
pursuant to the terms of such Letter of Credit.

                 (i)    The Borrower’s reimbursement and payment obligations under this Section 2.03
are absolute, unconditional and irrevocable and shall be performed strictly in accordance with the terms of
this Agreement under any and all circumstances whatsoever, including:

                        (i)      any lack of validity, enforceability or legal effect of any Letter of Credit,
                any Issuer Document, this Agreement, or any Loan Document, or any term or provision
                therein or herein;

                        (ii)     payment against presentation of any draft, demand or claim for payment
                under any Drawing Document that does not comply in whole or in part with the terms of
                the applicable Letter of Credit or which proves to be fraudulent, forged or invalid in any
                respect or any statement therein being untrue or inaccurate in any respect, or which is
                signed, issued or presented by a Person or a transferee of such Person purporting to be a
                successor or transferee of the beneficiary of such Letter of Credit;


                                                     52
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 374 of 569



                         (iii)   the Administrative Agent, any L/C Issuer or any of its respective branches
                or Affiliates being the beneficiary of any Letter of Credit;

                        (iv) any L/C Issuer or any correspondent honoring a drawing against a
                Drawing Document up to the amount available under any Letter of Credit even if such
                Drawing Document claims an amount in excess of the amount available under the Letter
                of Credit;

                        (v)     the existence of any claim, set-off, defense or other right that any Loan
                Party or its Subsidiaries may have at any time against any beneficiary or transferee
                beneficiary, any assignee of proceeds, the Administrative Agent, any L/C Issuer or any
                other Person;

                         (vi)    any L/C Issuer or any correspondent honoring a drawing upon receipt of
                an electronic presentation under a Letter of Credit requiring the same, regardless of whether
                the original Drawing Documents arrive at such L/C Issuer’s counters or are different from
                the electronic presentation;

                         (vii)   any other event, circumstance or conduct whatsoever, whether or not
                similar to any of the foregoing that might, but for this Section 2.03(i), constitute a legal or
                equitable defense to or discharge of, or provide a right of set-off against, any Loan Party
                or any of its Subsidiaries’ reimbursement and other payment obligations and liabilities,
                arising under, or in connection with, any Letter of Credit, whether against any L/C Issuer,
                the Administrative Agent, the beneficiary or any other Person; or

                        (viii)   the fact that any Default or Event of Default shall have occurred and be
                continuing;

    provided, that subject to Section 2.03(i)(vii), the foregoing shall not release the Administrative Agent
    or any L/C Issuer from such liability to the Borrower as may be finally determined in a final, non-
    appealable judgment of a court of competent jurisdiction against the Administrative Agent or such L/C
    Issuer, as applicable, following reimbursement or payment of the obligations and liabilities, including
    reimbursement and other payment obligations, of the Borrower to the Administrative Agent and such
    L/C Issuer arising under, or in connection with, this Section 2.05 or any Letter of Credit.
                 (j)     Without limiting any other provision of this Agreement, the Administrative Agent
shall not be responsible to the Borrower for, and the Administrative Agent’s rights and remedies against
the Borrower and the obligation of the Borrower to reimburse the Administrative Agent for each drawing
under each Letter of Credit shall not be impaired by:

                        (i)      honor of a presentation under any Letter of Credit that on its face
                substantially complies with the terms and conditions of such Letter of Credit, even if the
                Letter of Credit requires strict compliance by the beneficiary;

                        (ii)    honor of a presentation of any Drawing Document that appears on its face
                to have been signed, presented or issued (A) by any purported successor or transferee of
                any beneficiary or other Person required to sign, present or issue such Drawing Document
                or (B) under a new name of the beneficiary;

                      (iii)   acceptance as a draft of any written or electronic demand or request for
                payment under a Letter of Credit, even if nonnegotiable or not in the form of a draft or

                                                     53
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 375 of 569



                notwithstanding any requirement that such draft, demand or request bear any or adequate
                reference to the Letter of Credit;

                         (iv)    the identity or authority of any presenter or signer of any Drawing
                Document or the form, accuracy, genuineness or legal effect of any Drawing Document
                (other than an L/C Issuer’s determination that such Drawing Document appears on its face
                substantially to comply with the terms and conditions of the Letter of Credit);

                        (v)     acting upon any instruction or request relative to a Letter of Credit or
                requested Letter of Credit that an L/C Issuer in good faith believes to have been given by
                a Person authorized to give such instruction or request;

                         (vi)     any errors, omissions, interruptions or delays in transmission or delivery
                of any message, advice or document (regardless of how sent or transmitted) or for errors
                in interpretation of technical terms or in translation or any delay in giving or failing to give
                notice to the Borrower;

                        (vii)    any acts, omissions or fraud by, or the insolvency of, any beneficiary, any
                nominated person or entity or any other Person or any breach of contract between any
                beneficiary and the Borrower or any of the parties to the underlying transaction to which
                the Letter of Credit relates;

                        (viii) assertion or waiver of any provision of the ISP or UCP that primarily
                benefits an issuer of a letter of credit, including any requirement that any Drawing
                Document be presented to it at a particular hour or place;

                       (ix)    payment to any presenting bank (designated or permitted by the terms of
                the applicable Letter of Credit) claiming that it rightfully honored or is entitled to
                reimbursement or indemnity under Standard Letter of Credit Practice applicable to it;

                        (x)     acting or failing to act as required or permitted under Standard Letter of
                Credit Practice applicable to where the applicable L/C Issuer has issued, confirmed,
                advised or negotiated such Letter of Credit, as the case may be;

                        (xi)   honor of a presentation after the expiration date of any Letter of Credit
                notwithstanding that a presentation was made prior to such expiration date and dishonored
                by an L/C Issuer if subsequently such L/C Issuer or any court or other finder of fact
                determines such presentation should have been honored;

                        (xii)    dishonor of any presentation that does not strictly comply or that is
                fraudulent, forged or otherwise not entitled to honor; or

                         (xiii) honor of a presentation that is subsequently determined by an L/C Issuer
                to have been made in violation of international, federal, state or local restrictions on the
                transaction of business with certain prohibited Persons.

                  (k)    The Borrower shall pay immediately upon demand to the Administrative Agent
for the account of the applicable L/C Issuer as non-refundable fees, commissions, and charges (it being
acknowledged and agreed that any charging of such fees, commissions, and charges to the Register pursuant
to the terms of this Agreement shall be deemed to constitute a demand for payment thereof for the purposes
of this Section 2.03(k)) any and all customary commissions, fees and charges then in effect imposed by,
                                                     54
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 376 of 569



and any and all documented expenses incurred by the Administrative Agent relating to Letters of Credit, at
the time of issuance of any Letter of Credit and upon the occurrence of any other activity with respect to
any Letter of Credit (including transfers, assignments of proceeds, amendments, drawings, renewals or
cancellations).

                 (l)     [Reserved].

                 (m)      Each Letter of Credit shall expire not later than the date that is 12 months after the
date of the issuance of such Letter of Credit; provided that any Letter of Credit may provide for the
automatic extension thereof for any number of additional periods each of up to one year in duration;
provided, further, that with respect to any Letter of Credit which extends beyond the Maturity Date, Cash
Collateralization shall be provided therefor on or before the Letter of Credit Expiration Date.

                  (n)     If (i) any Event of Default occurs and is continuing or (ii) Excess Availability is
less than zero, then on the Business Day following the date on which the Borrower receives notice from the
Administrative Agent or the Required Lenders (or, if the maturity of the Obligations has been accelerated,
Lenders with Letter of Credit Exposure representing greater than 50% of the total Letter of Credit Exposure)
demanding Cash Collateralization pursuant to this Section 2.03(n), the Borrower shall provide Cash
Collateralization with respect to the then existing L/C Obligations; provided that, in each case, upon the
occurrence of any Event of Default described in Section 8.01(g) or 8.01(h), the obligation to provide Cash
Collateralization will become effective immediately, and any deposit of cash collateral required pursuant
to the terms set forth in the Cash Collateralization definition will become immediately due and payable,
without demand or other notice of any kind. If the Borrower fail to provide Cash Collateralization as
required by this Section 2.05(n), the Lenders may (and, upon direction of the Administrative Agent, shall)
advance, as Committed Loans the amount of the cash collateral required pursuant to the terms of the Cash
Collateralization definition so that the then existing L/C Obligations is cash collateralized in accordance
with the terms of the Cash Collateralization definition (whether or not the Revolving Commitments have
terminated, an Overadvance exists or the conditions in Section 4.02 are satisfied).

                  (o)      Unless otherwise expressly agreed by the Administrative Agent, the applicable L/C
Issuer and the Borrower, when a Letter of Credit is issued, (i) the rules of the ISP shall apply to each standby
Letter of Credit, and (ii) the rules of the UCP shall apply to any commercial Letter of Credit (if applicable).

                 (p)     The Administrative Agent and the L/C Issuers shall each be deemed to have acted
with due diligence and reasonable care if such Person’s conduct is in accordance with Standard Letter of
Credit Practice or in accordance with this Agreement.

                 (q)     In the event of a direct conflict between the provisions of this Section 2.03 and any
provision contained in any Issuer Document, it is the intention of the parties hereto that such provisions be
read together and construed, to the fullest extent possible, to be in concert with each other. In the event of
any actual, irreconcilable conflict that cannot be resolved as aforesaid, the terms and provisions of this
Section 2.03 shall control and govern.

               (r)      The provisions of this Section 2.03 shall survive the termination of this Agreement
and the repayment in full of the Obligations with respect to any Letters of Credit that remain outstanding.

                 (s)     For avoidance of doubt, the Borrower hereby acknowledges and agrees that none
of the Existing Letters of Credit shall constitute Letters of Credit under this Agreement, nor constitute a
part of the Obligations.

        2.04     Swing Line Loans.
                                                      55
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 377 of 569



                 (a)     The Swing Line. Subject to the terms and conditions set forth herein, in reliance
upon the agreements of the other Lenders set forth in this Section 2.04, the Swing Line Lender (I) to the
extent the Outstanding Amount of the Swing Line Loans shall not exceed $10,000,000, agrees to and (II)
to the extent the Outstanding Amount of the Swing Line Loans shall exceed $10,000,000, may elect, but
shall have no obligation, to make loans (each such loan, a “Swing Line Loan”) to the Borrower from time
to time on any Business Day during the Availability Period in an aggregate amount not to exceed at any
time outstanding the amount of the Swing Line Sublimit, notwithstanding the fact that such Swing Line
Loans, when aggregated with the Applicable Percentage of the Outstanding Amount of Committed Loans
and L/C Obligations of the Lender acting as Swing Line Lender, may exceed the amount of such Lender’s
Commitment; provided, however, that after giving effect to any Swing Line Loan, (i) the Total Outstandings
shall not exceed the lesser of (A) the Aggregate Commitments, or (B) the Borrowing Base, and (ii) the
aggregate Outstanding Amount of the Committed Loans of any Lender at such time, plus such Lender’s
Applicable Percentage of the Outstanding Amount of all L/C Obligations at such time, plus such Lender’s
Applicable Percentage of the Outstanding Amount of all Swing Line Loans at such time shall not exceed
such Lender’s Commitment, and provided, further, that the Borrower shall not use the proceeds of any
Swing Line Loan to refinance any outstanding Swing Line Loan. Within the foregoing limits, and subject
to the other terms and conditions hereof, the Borrower may borrow under this Section 2.04, prepay under
Section 2.05, and reborrow under this Section 2.04. Immediately upon the making of a Swing Line Loan,
each Lender shall be deemed to, and hereby irrevocably and unconditionally agrees to, purchase from the
Swing Line Lender a risk participation in such Swing Line Loan in an amount equal to the product of such
Lender’s Applicable Percentage times the amount of such Swing Line Loan.

                  (b)     Borrowing Procedures. Each Borrowing of Swing Line Loans shall be made upon
the Borrower’s irrevocable notice to the Swing Line Lender and the Administrative Agent, which may be
given by telephone. Each such notice must be received by the Swing Line Lender and the Administrative
Agent not later than 10:00 a.m. on the requested borrowing date, and shall specify (i) the amount to be
borrowed, and (ii) the requested borrowing date, which shall be a Business Day. Each such telephonic
notice must be confirmed promptly by delivery to the Swing Line Lender and the Administrative Agent of
a written Notice of Borrowing, appropriately completed and signed by a Responsible Officer of the
Borrower. Promptly after receipt by the Swing Line Lender of any telephonic Notice of Borrowing, the
Swing Line Lender will confirm with the Administrative Agent (by telephone, in writing or by Approved
Electronic Communication) that the Administrative Agent has also received such Swing Line Loan Notice
and, if not, the Swing Line Lender will notify the Administrative Agent (by telephone, in writing or by
Approved Electronic Communication) of the contents thereof. Unless the Swing Line Lender has received
notice (by telephone, in writing or by Approved Electronic Communication) from the Administrative Agent
at the request of the Required Lenders prior to 11:00 a.m. on the date of the proposed Borrowing of Swing
Line Loans (A) directing the Swing Line Lender not to make such Swing Line Loan as a result of the
limitations set forth in the proviso to the first sentence of Section 2.04(a), or (B) that one or more of the
applicable conditions specified in Article IV is not then satisfied, then, subject to the terms and conditions
hereof, the Swing Line Lender will, not later than 3:00 p.m. on the borrowing date specified in such Notice
of Borrowing, make the amount of its Swing Line Loan available to the Borrower at its office by crediting
the account of the Borrower on the books of the Swing Line Lender in immediately available funds.

                (c)      Refinancing of Swing Line Loans.

                          (i)    The Swing Line Lender at any time in its sole and absolute discretion may
        request (but, in any event shall weekly, as provided in Section 2.14(a)), on behalf of the Borrower
        (which hereby irrevocably authorizes the Swing Line Lender to so request on its behalf), that each
        Lender make a Base Rate Committed Loan in an amount equal to such Lender’s Applicable
        Percentage for the amount of Swing Line Loans then outstanding. Such request shall be made in
        writing (which written request shall be deemed to be a Notice of Borrowing for purposes hereof)
                                                     56
Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 378 of 569



 and in accordance with the requirements of Section 2.02, without regard to the minimum and
 multiples specified therein for the principal amount of Base Rate Loans, but subject to the
 unutilized portion of the Aggregate Commitments and the conditions set forth in Section 4.02. The
 Swing Line Lender shall furnish the Borrower with a copy of the applicable Notice of Borrowing
 promptly after delivering such notice to the Administrative Agent. Each Lender shall make an
 amount equal to its Applicable Percentage of the amount specified in such Notice of Borrowing
 available to the Administrative Agent in immediately available funds for the account of the Swing
 Line Lender at the Administrative Agent’s Office not later than 1:00 p.m. on the day specified in
 such Notice of Borrowing, whereupon, subject to Section 2.04(c)(ii), each Lender that so makes
 funds available shall be deemed to have made a Base Rate Loan to the Borrower in such amount.
 The Administrative Agent shall remit the funds so received to the Swing Line Lender.

                (ii)     If for any reason any Swing Line Loan cannot be refinanced by such a
 Borrowing in accordance with Section 2.04(c)(i), the request for Base Rate Committed Loans
 submitted by the Swing Line Lender as set forth herein shall be deemed to be a request by the
 Swing Line Lender that each of the Lenders fund its risk participation in the relevant Swing Line
 Loan and each Lender’s payment to the Administrative Agent for the account of the Swing Line
 Lender pursuant to Section 2.04(c)(i) shall be deemed payment in respect of such participation.

                   (iii)   If any Lender fails to make available to the Administrative Agent for the
 account of the Swing Line Lender any amount required to be paid by such Lender pursuant to the
 foregoing provisions of this Section 2.04(c) by the time specified in Section 2.04(c)(i), the Swing
 Line Lender shall be entitled to recover from such Lender (acting through the Administrative
 Agent), on demand, such amount with interest thereon for the period from the date such payment
 is required to the date on which such payment is immediately available to the Swing Line Lender
 at a rate per annum equal to the greater of the Federal Funds Effective Rate and a rate determined
 by the Swing Line Lender in accordance with banking industry rules on interbank compensation
 plus any administrative, processing or similar fees customarily charged by the Swing Line Lender
 in connection with the foregoing. If such Lender pays such amount (with interest and fees as
 aforesaid), the amount so paid shall constitute such Lender’s Committed Loan included in the
 relevant Borrowing or funded participation in the relevant Swing Line Loan, as the case may be.
 A certificate of the Swing Line Lender submitted to any Lender (through the Administrative Agent)
 with respect to any amounts owing under this clause (iii) shall be conclusive absent manifest error.

                  (iv)     Each Lender’s obligation to make Committed Loans or to purchase and
 fund risk participations in Swing Line Loans pursuant to this Section 2.04(c) shall be absolute and
 unconditional and shall not be affected by any circumstance, including (A) any setoff,
 counterclaim, recoupment, defense or other right which such Lender may have against the Swing
 Line Lender, the Borrower or any other Person for any reason whatsoever, (B) the occurrence or
 continuance of a Default, or (C) any other occurrence, event or condition, whether or not similar to
 any of the foregoing; provided, however, that each Lender’s obligation to make Committed Loans
 pursuant to this Section 2.04(c) is subject to the conditions set forth in Section 4.02. No such
 funding of risk participations shall relieve or otherwise impair the obligation of the Borrower to
 repay Swing Line Loans, together with interest as provided herein.

         (d)     Repayment of Participations.

                 (i)     At any time after any Lender has purchased and funded a risk participation
 in a Swing Line Loan, if the Swing Line Lender receives any payment on account of such Swing
 Line Loan, the Swing Line Lender will distribute to such Lender its Applicable Percentage of such
 payment (appropriately adjusted, in the case of interest payments, to reflect the period of time
                                             57
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 379 of 569



        during which such Lender’s risk participation was funded) in the same funds as those received by
        the Swing Line Lender.

                         (ii)     If any payment received by the Swing Line Lender in respect of principal
        or interest on any Swing Line Loan is required to be returned by the Swing Line Lender under any
        of the circumstances described in Section 11.05 (including pursuant to any settlement entered into
        by the Swing Line Lender in its discretion), each Lender shall pay to the Swing Line Lender its
        Applicable Percentage thereof on demand of the Administrative Agent, plus interest thereon from
        the date of such demand to the date such amount is returned, at a rate per annum equal to the Federal
        Funds Effective Rate. The Administrative Agent will make such demand upon the request of the
        Swing Line Lender. The obligations of the Lenders under this clause shall survive the payment in
        full of the Obligations and the termination of this Agreement.

                 (e)     Interest for Account of Swing Line Lender. The Swing Line Lender shall be
responsible for invoicing the Borrower for interest on the Swing Line Loans. Until each Lender funds its
Base Rate Loan or risk participation pursuant to this Section 2.04 to refinance such Lender’s Applicable
Percentage of any Swing Line Loan, interest in respect of such Applicable Percentage shall be solely for
the account of the Swing Line Lender.

                 (f)      Payments Directly to Swing Line Lender. The Borrower shall make all payments
of principal and interest in respect of the Swing Line Loans directly to the Swing Line Lender.

        2.05    Prepayments.

                 (a)      The Borrower may, upon notice to the Administrative Agent (which notice, if
furnished in connection with a refinancing of the Obligations, may be conditional upon the consummation
of such refinancing), at any time or from time to time voluntarily prepay Committed Loans in whole or in
part without premium or penalty; provided that (i) such notice must be received by the Administrative
Agent not later than 2:00 p.m. (A) three Business Days prior to any date of prepayment of Term Benchmark
Loans, (B) on the date of prepayment of Base Rate Loans and (C) [reserved]; (ii) any prepayment of Term
Benchmark Loans shall be in a principal amount of $2.0 million or a whole multiple of $1.0 million in
excess thereof, in each case, if less, the entire principal amount thereof then outstanding and (iii) any
prepayment of Base Rate Loans shall be in a principal amount of $500,000 or a whole multiple of $100,000
in excess thereof, in each case, if less, the entire principal amount thereof then outstanding. Each such
notice shall specify the date and amount of such prepayment, and the Type(s) of Loans to be prepaid. The
Administrative Agent will promptly notify each Lender of its receipt of each such notice, and of the amount
of such Lender’s Applicable Percentage of such prepayment. If such notice is given by the Borrower, the
Borrower shall make such prepayment and the payment amount specified in such notice shall be due and
payable on the date specified therein. Any prepayment of a Term Benchmark Loan shall be accompanied
by all accrued interest on the amount prepaid. Each such prepayment shall be applied to the Committed
Loans of the Lenders in accordance with their respective Applicable Percentages.

                 (b)      The Borrower may, upon irrevocable notice to the Swing Line Lender (with a copy
to the Administrative Agent), at any time or from time to time, voluntarily prepay Swing Line Loans in
whole or in part without premium or penalty; provided that (i) such notice must be received by the Swing
Line Lender and the Administrative Agent not later than 1:00 p.m. on the date of the prepayment, and
(ii) any such prepayment shall be in a minimum principal amount of $100,000. Each such notice shall
specify the date and amount of such prepayment. If such notice is given by the Borrower, the Borrower
shall make such prepayment and the payment amount specified in such notice shall be due and payable on
the date specified therein.

                                                    58
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 380 of 569



                 (c)     If for any reason the Total Outstandings at any time exceed the lesser of the
Aggregate Commitments or the Borrowing Base, each as then in effect, the Borrower shall immediately
prepay Loans, Swing Line Loans and Letter of Credit Disbursements and/or Cash Collateralize the L/C
Obligations (other than Letter of Credit Disbursements) in an aggregate amount equal to such excess;
provided, however, that the Borrower shall not be required to Cash Collateralize the L/C Obligations
pursuant to this Section 2.05(c) unless after the prepayment in full of the Loans the Total Outstandings
exceed the lesser of the Aggregate Commitments or the Borrowing Base, each as then in effect.

                  (d)      Any Net Cash Proceeds from any Disposition by the Borrower or any of its
Restricted Subsidiaries (other than, (i) with respect only to the Term Priority Collateral, such portion of the
Net Cash Proceeds that are then required to be paid to the lenders under the DIP Term Facility and (ii) any
Disposition of any property permitted by Section 7.05(a), (b), (c), (d), (e), (g), (i) or (j)) shall be paid over
to the Administrative Agent on receipt by the Loan Parties and shall be utilized to prepay the Loans in the
order of priority set forth in Section 2.05(e). The application of such Net Cash Proceeds to the Loans shall
not reduce the Commitments. If all Obligations then due are paid, any excess Net Cash Proceeds shall be
remitted to the operating account of the Borrower.

                 (e)    Prepayments made pursuant to Section 2.05, first, shall be applied ratably to the
Letter of Credit Disbursements and the Swing Line Loans, second, shall be applied ratably to the
outstanding Loans, and third, shall be used to Cash Collateralize the remaining L/C Obligations; and the
amount remaining, if any, after the repayment in full of all Letter of Credit Disbursements, Swing Line
Loans and Committed Loans outstanding at such time and the Cash Collateralization of the remaining L/C
Obligations in full may be retained by the Borrower for use in the ordinary course of its business. Upon
the drawing of any Letter of Credit that has been Cash Collateralized, the funds held as Cash Collateral
shall be applied (without any further action by or notice to or from the Borrower or any other Loan Party)
to reimburse the L/C Issuers or the Lenders, as applicable.

        2.06     Termination of Commitments.

                 (a)      The Borrower may terminate the Aggregate Commitments in whole (but not in
part); provided that (i) any such notice shall be received by the Administrative Agent not later than 2:00
p.m. three (3) Business Days prior to the date of termination, (ii) any such notice shall be irrevocable (except
if such termination notice is being furnished in connection with a refinancing of the Obligations, such notice
may be conditional upon the consummation of such refinancing, and (iii) the Borrower shall not terminate
the Aggregate Commitments if, after giving effect thereto and to any concurrent prepayments hereunder,
the Total Outstandings would exceed the Aggregate Commitments.

                 (b)      [Reserved].

                (c)      The Administrative Agent will promptly notify the Lenders of any termination of
the Aggregate Commitments under this Section 2.06. All fees accrued until the effective date of any such
termination shall be paid on the effective date of such termination.

        2.07     Term of Agreement; Repayment of Loans.

                 (a)     This Agreement and the other Loan Documents shall become effective as of the
Closing Date and shall continue in full force and effect for a term ending on the earliest of (a) the date
twenty-four (24) months from the Closing Date (the “Scheduled Maturity Date”) (b) 45 days after the
Petition Date (or such later date as the Administrative Agent may approve in writing in its sole discretion)
if the Final Financing Order has not been entered prior to the expiration of such period, (c) the substantial
consummation (as defined in Section 1101 of the Bankruptcy Code and which for purposes hereof shall be
                                                       59
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 381 of 569



no later than the “effective date” thereof) of a plan of reorganization filed in the Chapter 11 Cases that is
confirmed pursuant to an order entered by the Bankruptcy Court, (d) the consummation of a sale of all or
substantially all of the assets of the Chapter 11 Debtors under section 363 of the Bankruptcy Code, and (e)
the acceleration of the Loans and the termination of the Commitments in accordance with this Agreement
(the earliest of such dates, the “Maturity Date”). In addition, the Borrower may terminate this Agreement
in accordance with Section 2.06 above. Upon the Maturity Date or any other effective date of termination
of the Loan Documents, the Borrower shall pay to the Administrative Agent all outstanding and unpaid
Obligations (except for contingent indemnification obligations for which no claim has been asserted)
including by exchange of the Obligations into loans under the Exit ABL Facility in accordance with an
Acceptable Plan of Reorganization, and shall Cash Collateralize outstanding L/C Obligations (other than
Letter of Credit Disbursements).

               (b)     The Borrower shall repay each Swing Line Loan on the Maturity Date and in
accordance with Section 2.04(c).

                  (c)     Notwithstanding anything to the contrary herein, pursuant to the Commitment
Letter, subject to the solely to the satisfaction (or waiver) of the conditions precedent set forth therein, the
Loans, including all accrued and unpaid interest thereon and all other Obligations hereunder shall be
converted into loans under the Exit Revolving Facility (as defined in the Commitment Letter), and the
Aggregate Commitments hereunder shall terminate and be replaced by commitments under the Exit
Revolving Facility, in each case, upon the effectiveness of the Plan of Reorganization (as defined in the
Commitment Letter).

        2.08     Interest.

                 (a)      Subject to the provisions of Section 2.08(b) below, (i) each Loan which is a Term
Benchmark Loan shall bear interest on the outstanding principal amount thereof at a rate per annum equal
to the Term SOFR Rate plus the Applicable Margin; (ii) each Loan which is a Base Rate Loan shall bear
interest on the outstanding principal amount thereof from the applicable borrowing date at a rate per annum
equal to the Base Rate plus the Applicable Margin; and (iii) each Swing Line Loan shall bear interest on
the outstanding principal amount thereof from the applicable borrowing date at a rate per annum equal to
the Base Rate plus the Applicable Margin; and (iv) [reserved].

                 (b)     After the occurrence and during the continuance of an Event of Default, all Loans
and other monetary Obligations may, at the option of the Administrative Agent or the discretion of the
Required Lenders, bear interest at a fluctuating interest rate per annum at all times equal to the Default Rate
to the fullest extent permitted by applicable Laws. Accrued and unpaid interest on past due amounts
(including interest on past due interest) shall be due and payable upon demand.

                (c)      Interest on each Loan shall be due and payable in arrears on each Interest Payment
Date applicable thereto and at such other times as may be specified herein. Interest hereunder shall be due
and payable in accordance with the terms hereof before and after judgment, and before and after the
commencement of any proceeding under any Debtor Relief Law.

        2.09     Fees. In addition to certain fees described in Section 2.03:

               (a)     Commitment Fee. The Borrower shall pay to the Administrative Agent, for the
account of each Lender in accordance with its Applicable Percentage, a commitment fee (the
“Commitment Fee”) equal to a 0.50% per annum (the “Commitment Fee Rate”), times the actual daily
amount by which the then Aggregate Commitments exceed the sum of (i) the principal amount of Loans
(including Swing Line Loans), then outstanding, and (ii) the then L/C Credit Extensions. The Commitment
                                                      60
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 382 of 569



Fee shall accrue at all times during the Availability Period, including at any time during which one or more
of the conditions in Article IV is not met, and shall be due and payable monthly in arrears on the first
Business Day after the end of each calendar month, commencing with the first such date to occur after the
Closing Date, and on the last day of the Availability Period.

                (b)       Letter of Credit Fee. The Borrower agrees to pay Agent, for the ratable benefit of
the Lenders, a Letter of Credit fee (the “Letter of Credit Fee”) (which fee shall be in addition to the fronting
fees and commissions, other fees, charges and expenses set forth in Section 2.03) that shall accrue at a per
annum rate equal to 4.25%, times the average amount of the Letter of Credit Usage during the immediately
preceding calendar month (or portion thereof).

                (c)     Other Fees. The Borrower shall pay to the Arranger and the Administrative Agent
for their own respective accounts fees in the amounts and at the times specified in any Fee Letter. Such
fees shall be payable in Dollars, fully earned when paid and shall not be refundable for any reason
whatsoever.

                (d)     Defaulting Lender Fees. Subject to Section 2.03, the Borrower shall not be
obligated to pay the Administrative Agent any Defaulting Lender's ratable share of the fees described in
Section 2.03 and Section 2.09(a) for the period commencing on the day such Defaulting Lender becomes a
Defaulting Lender and continuing for so long as such Lender continues to be a Defaulting Lender.

         2.10    Computation of Interest and Fees. All computations of interest for Base Rate Loans when
the Base Rate is determined by the Prime Rate shall be made on the basis of a year of 365 or 366 days, as
the case may be, and actual days elapsed. All other computations of fees and interest hereunder shall be
made on the basis of a 360-day year and actual days elapsed. Interest shall accrue on each Loan for the day
on which the Loan is made, and shall not accrue on a Loan, or any portion thereof, for the day on which the
Loan or such portion is paid, provided that any Loan that is repaid on the same day on which it is made
shall, subject to Section 2.12(a), bear interest for one day. All interest hereunder on any Loan shall be
computed on a daily basis based upon the outstanding principal amount of such Loan as of the applicable
date of determination. Each determination by the Administrative Agent of the applicable Base Rate or the
Term SOFR Rate shall be conclusive and binding for all purposes, absent manifest error.

        2.11     Evidence of Debt.

                 (a)     The Credit Extensions made by each Lender shall be evidenced by one or more
accounts or records maintained by the Administrative Agent (the “Loan Account”) in the ordinary course
of business. In addition, each Lender may record in such Lender’s internal records, an appropriate notation
evidencing the date and amount of each Loan from such Lender, each payment and prepayment of principal
of any such Loan, and each payment of interest, fees and other amounts due in connection with the
Obligations due to such Lender. The accounts or records maintained by the Administrative Agent and each
Lender shall be conclusive, absent manifest error, of the amount of the Credit Extensions made by the
Lenders to the Borrower and the interest and payments thereon. Any failure to so record or any error in
doing so shall not, however, limit or otherwise affect the obligation of the Borrower hereunder to pay any
amount owing with respect to the Obligations. In the event of any conflict between the accounts and records
maintained by any Lender and the accounts and records of the Administrative Agent in respect of such
matters, the accounts and records of the Administrative Agent shall control in the absence of manifest error.
Upon the request of any Lender made through the Administrative Agent, the Borrower shall execute and
deliver to such Lender (through the Administrative Agent) a Note, which shall evidence such Lender’s
Loans (in addition to such Lender’s accounts or records). Each Lender may attach schedules to its Note
and endorse thereon the date, Type (if applicable), amount and maturity of its Loans and payments with
respect thereto. Upon receipt of an affidavit of a Lender as to the loss, theft, destruction or mutilation of
                                                      61
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 383 of 569



such Lender’s Note and upon cancellation of such Note, the Borrower will issue, in lieu thereof, a
replacement Note in favor of such Lender, in the same principal amount thereof and otherwise of like tenor.

                (b)    In addition to the accounts and records referred to in Section 2.11(a), each Lender
and the Administrative Agent shall maintain in accordance with its usual practice accounts or records
evidencing the purchases and sales by such Lender of participations in Letters of Credit and Swing Line
Loans. In the event of any conflict between the accounts and records maintained by the Administrative
Agent and the accounts and records of any Lender in respect of such matters, the accounts and records of
the Administrative Agent shall control in the absence of manifest error.

        2.12    Payments Generally; Administrative Agent’s Clawback.

                 (a)     General. All payments to be made by the Borrower shall be made without
condition or deduction for any counterclaim, defense, recoupment or setoff. Except as otherwise expressly
provided herein, all payments by the Borrower hereunder shall be made to the Administrative Agent, for
the account of the respective Lenders to which such payment is owed, at the Administrative Agent’s Office
in Dollars and in immediately available funds not later than 2:00 p.m. on the date specified herein. The
Administrative Agent will promptly distribute to each Lender its Applicable Percentage (or other applicable
share as provided herein) of such payment in like funds as received by wire transfer to such Lender’s
Lending Office. All payments received by the Administrative Agent after 2:00 p.m. shall be deemed
received on the next succeeding Business Day and any applicable interest or fee shall continue to accrue.
If any payment to be made by the Borrower shall come due on a day other than a Business Day, payment
shall be made on the next following Business Day, and such extension of time shall be reflected in
computing interest or fees, as the case may be.

                 (b)     (i) Funding by Lenders; Presumption by Administrative Agent. Unless the
Administrative Agent shall have received notice from a Lender prior to the proposed date of any Borrowing
of Term Benchmark Loans (or in the case of any Borrowing of Base Rate Loans, prior to 12:00 noon on
the date of such Borrowing) that such Lender will not make available to the Administrative Agent such
Lender’s share of such Borrowing, the Administrative Agent may assume that such Lender has made such
share available on such date in accordance with Section 2.02 (or in the case of a Borrowing of Base Rate
Loans, that such Lender has made such share available in accordance with and at the time required by
Section 2.02) and may, in reliance upon such assumption, make available to the Borrower a corresponding
amount. In such event, if a Lender has not in fact made its share of the applicable Borrowing available to
the Administrative Agent, then the applicable Lender and the Borrower severally agree to pay to the
Administrative Agent forthwith on demand such corresponding amount in immediately available funds
with interest thereon, for each day from and including the date such amount is made available to the
Borrower to but excluding the date of payment to the Administrative Agent, at (A) in the case of a payment
to be made by such Lender, the greater of the Federal Funds Effective Rate and a rate determined by the
Administrative Agent in accordance with banking industry rules on interbank compensation plus any
administrative processing or similar fees customarily charged by the Administrative Agent in connection
with the foregoing, and (B) in the case of a payment to be made by the Borrower, the interest rate applicable
to Base Rate Loans. If the Borrower and such Lender shall pay such interest to the Administrative Agent
for the same or an overlapping period, the Administrative Agent shall promptly remit to the Borrower the
amount of such interest paid by the Borrower for such period. If such Lender pays its share of the applicable
Borrowing to the Administrative Agent, then the amount so paid shall constitute such Lender’s Committed
Loan included in such Borrowing. Any payment by the Borrower shall be without prejudice to any claim
the Borrower may have against a Lender that shall have failed to make such payment to the Administrative
Agent.


                                                     62
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 384 of 569



                 (ii)     Payments by Borrower; Presumptions by Administrative Agent. Unless the
Administrative Agent shall have received notice from the Borrower prior to the time at which any payment
is due to the Administrative Agent for the account of the Lenders or the L/C Issuers hereunder that the
Borrower will not make such payment, the Administrative Agent may assume that the Borrower has made
such payment on such date in accordance herewith and may, in reliance upon such assumption, distribute
to the Lenders or the applicable L/C Issuer, as the case may be, the amount due. In such event, if the
Borrower has not in fact made such payment, then each of the Lenders or the L/C Issuers, as the case may
be, severally agrees to repay to the Administrative Agent forthwith on demand the amount so distributed to
such Lender or the applicable L/C Issuer, in immediately available funds with interest thereon, for each day
from and including the date such amount is distributed to it to but excluding the date of payment to the
Administrative Agent, at the NYFRB Rate.

       A notice of the Administrative Agent to any Lender or the Borrower with respect to any amount
owing under this subsection (b) shall be conclusive, absent manifest error.

                 (c)     Failure to Satisfy Conditions Precedent. If any Lender makes available to the
Administrative Agent funds for any Loan to be made by such Lender as provided in the foregoing provisions
of this Article II, and such funds are not made available to the Borrower by the Administrative Agent
because the conditions to the applicable Credit Extension set forth in Article IV are not satisfied or waived
in accordance with the terms hereof, the Administrative Agent shall return such funds (in like funds as
received from such Lender) to such Lender, without interest.

                  (d)     Obligations of Lenders Several. The obligations of the Lenders hereunder to make
Committed Loans, to fund participations in Letters of Credit and Swing Line Loans and to make payments
pursuant to Section 11.04(c) are several and not joint. The failure of any Lender to make any Committed
Loan, to fund any such participation or to make any payment under Section 11.04(c) on any date required
hereunder shall not relieve any other Lender of its corresponding obligation to do so on such date, and no
Lender shall be responsible for the failure of any other Lender to so make its Committed Loan, to purchase
its participation or to make its payment under Section 11.04(c).

                  (e)     Funding Source. Nothing herein shall be deemed to obligate any Lender to obtain
the funds for any Loan in any particular place or manner or to constitute a representation by any Lender
that it has obtained or will obtain the funds for any Loan in any particular place or manner.

        2.13     Sharing of Payments by Lenders. If any Lender shall, by exercising any right of setoff or
counterclaim or otherwise, obtain payment in respect of any principal of or interest on any of the Committed
Loans made by it, or the participations in L/C Obligations or in Swing Line Loans held by it resulting in
such Lender’s receiving payment of a proportion of the aggregate amount of such Committed Loans or
participations and accrued interest thereon greater than its pro rata share thereof as provided herein, then
the Lender receiving such greater proportion shall (a) notify the Administrative Agent of such fact, and
(b) purchase (for cash at face value) participations in the Committed Loans and subparticipations in L/C
Obligations and Swing Line Loans of the other Lenders, or make such other adjustments as shall be
equitable, so that the benefit of all such payments shall be shared by the Lenders ratably in accordance with
the aggregate amount of principal of and accrued interest on their respective Committed Loans and other
amounts owing them, provided that:

                         (i)     if any such participations or subparticipations are purchased and all or any
        portion of the payment giving rise thereto is recovered, such participations or subparticipations
        shall be rescinded and the purchase price restored to the extent of such recovery, without interest;
        and

                                                     63
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 385 of 569



                         (ii)     the provisions of this Section shall not be construed to apply to (x) any
        payment made by the Borrower pursuant to and in accordance with the express terms of this
        Agreement or (y) any payment obtained by a Lender as consideration for the assignment of or sale
        of a participation in any of its Committed Loans or subparticipations in L/C Obligations or Swing
        Line Loans to any assignee or participant, other than to the Borrower or any Restricted Subsidiary
        thereof (as to which the provisions of this Section shall apply).

         Each Loan Party consents to the foregoing and agrees, to the extent it may effectively do so under
applicable law, that any Lender acquiring a participation pursuant to the foregoing arrangements may
exercise against such Loan Party rights of setoff and counterclaim with respect to such participation as fully
as if such Lender were a direct creditor of such Loan Party in the amount of such participation.

        2.14     Settlement Amongst Lenders.

                 (a)    The amount of each Lender’s Applicable Percentage of outstanding Loans
(including outstanding Swing Line Loans, except that settlements of Swing Line Loans during the months
of November and December of each year shall be required to be made by the Swing Line Lender only with
respect to those Swing Line Loans in excess of $2.0 million in the aggregate only (the “Excess Swing Line
Loans”)) shall be computed weekly (or more frequently in the Administrative Agent’s discretion) and shall
be adjusted upward or downward based on all Loans (including Swing Line Loans other than Excess Swing
Line Loans) and repayments of Loans (including Swing Line Loans other than Excess Swing Line Loans)
received by the Administrative Agent as of 3:00 p.m. on the first Business Day (such date, the “Settlement
Date”) following the end of the period specified by the Administrative Agent.

                 (b)      The Administrative Agent shall deliver to each of the Lenders promptly after a
Settlement Date a summary statement of the amount of outstanding Committed Loans for the period and
the amount of repayments fees received for the period. As reflected on the summary statement, (i) the
Administrative Agent shall transfer to each Lender its Applicable Percentage of repayments, and (ii) each
Lender shall transfer to the Administrative Agent (as provided below) or the Administrative Agent shall
transfer to each Lender, such amounts as are necessary to insure that, after giving effect to all such transfers,
the amount of Committed Loans made by each Lender with respect to Committed Loans to the Borrower
shall be equal to such Lender’s Applicable Percentage of Committed Loans outstanding as of such
Settlement Date. If the summary statement requires transfers to be made to the Administrative Agent by
the Lenders and is received prior to 12:00 Noon on a Business Day, such transfers shall be made in
immediately available funds no later than 3:00 p.m. that day; and, if received after 12:00 Noon, then no
later than 3:00 p.m. on the next Business Day. The obligation of each Lender to transfer such funds is
irrevocable, unconditional and without recourse to or warranty by the Administrative Agent. If and to the
extent any Lender shall not have so made its transfer to the Administrative Agent, such Lender agrees to
pay to the Administrative Agent, forthwith on demand such amount, together with interest thereon, for each
day from such date until the date such amount is paid to the Administrative Agent, equal to the greater of
the Federal Funds Effective Rate and a rate determined by the Administrative Agent in accordance with
banking industry rules on interbank compensation plus any administrative, processing, or similar fees
customarily charged by the Administrative Agent in connection with the foregoing.

                (c)      The Administrative Agent shall deliver to the applicable Lenders promptly after
the Administrative Agent’s receipt thereof, all payments of interest, fees and Credit Party Expenses to which
each such Lender is entitled.

               (d)      If any Lender shall fail to make any payment required to be made by it hereunder,
then the Administrative Agent may, in its discretion (notwithstanding any contrary provision hereof), apply
any amounts thereafter received by the Administrative Agent for the account of such Lender to satisfy such
                                                       64
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 386 of 569



Lender’s obligations hereunder until all such unsatisfied obligations are fully paid. If at any time prior to
the acceleration or maturity of the Loans, the Administrative Agent shall receive any payment in respect of
principal of a Loan or a reimbursement of a L/C Extension while one or more Defaulting Lenders shall be
party to this Agreement, the Administrative Agent shall apply such payment first to the Borrowing(s) for
which such Defaulting Lender(s) shall have failed to fund its pro rata share until such time as such
Borrowing(s) are paid in full or each Lender (including each Defaulting Lender) is owed its Applicable
Percentage of all Loans then outstanding. After acceleration or maturity of the Loans, all principal will be
paid ratably as provided in Section 8.03.

        2.15    [Reserved].

        2.16    [Reserved].

        2.17    [Reserved].

                                        ARTICLE III
                         TAXES, YIELD PROTECTION AND ILLEGALITY

        3.01    Taxes.

                 (a)     Payments Free of Taxes. Any and all payments by or on account of any obligation
of any Loan Party hereunder or under any other Loan Document shall be made free and clear of and without
reduction or withholding for any Tax unless required by applicable Law, provided that if any Loan Party,
the Administrative Agent or any other withholding agent shall be required by applicable Law to deduct any
Indemnified Taxes (including any Other Taxes) from such payments, then (i) the sum payable by the Loan
Party shall be increased as necessary so that after making all required deductions (including deductions
applicable to additional sums payable under this Section 3.01) the Administrative Agent or any Lender
(with the term “Lender” in this Section 3.01 being deemed to include an L/C Issuer), as the case may be,
receives an amount equal to the sum it would have received had no such deductions been made, (ii) the
applicable withholding agent shall make such deductions and (iii) the applicable withholding agent shall
timely pay the full amount deducted to the relevant Governmental Authority in accordance with applicable
Law. For purposes of this Section 3.01, any payments by the Administrative Agent to a Lender of any
amounts received by the Administrative Agent from any Loan Party on behalf of such Lender shall be
treated as a payment from the Loan Party to such Lender.

                (b)     Payment of Other Taxes by the Loan Parties. Without limiting the provisions of
subsection (a) above, the Loan Parties shall timely pay any Other Taxes to the relevant Governmental
Authority in accordance with applicable Law.

                 (c)      Reimbursement by the Lenders. To the extent that the Borrower for any reason
fails to pay any amount required under subsection (a) or (b) of this Section to be paid by it to the
Administrative Agent (or any sub-agent thereof), the Swing Line Lender, the L/C Issuers or any Related
Party of any of the foregoing, each Lender (other than the Swing Line Lender in its capacity as such)
severally agrees to pay to the Administrative Agent (or any such sub-agent), the Collateral Agent, the Swing
Line Lender, the L/C Issuers or such Related Party, as the case may be, such Lender’s Applicable
Percentage (determined as of the time that the applicable unreimbursed expense or indemnity payment is
sought) of such unpaid amount, provided that the unreimbursed expense or indemnified loss, claim,
damage, liability or related expense, as the case may be, was incurred by or asserted against the
Administrative Agent (or any such sub-agent), the Collateral Agent, the Swing Line Lender or L/C Issuer
in its capacity as such, or against any Related Party of any of the foregoing acting for the Administrative

                                                     65
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 387 of 569



Agent (or any such sub-agent) or the Collateral Agent in connection with such capacity. The obligations
of the Lenders under this subsection (c) are subject to the provisions of Section 2.12(d).

                 (d)      Indemnification by the Loan Parties. The Loan Parties shall, jointly and severally,
indemnify the Administrative Agent and each Lender, within 10 days after demand therefor, for the full
amount of any Indemnified Taxes or Other Taxes (including Indemnified Taxes or Other Taxes imposed or
asserted on or attributable to amounts payable under this Section 3.01) paid by the Administrative Agent or
such Lender, as the case may be, and any reasonable expenses arising therefrom or with respect thereto,
whether or not such Indemnified Taxes or Other Taxes were correctly or legally imposed or asserted by the
relevant Governmental Authority. A certificate as to the amount of such payment or liability delivered to
the Borrower by a Lender (with a copy to the Administrative Agent), or by the Administrative Agent on its
own behalf or on behalf of a Lender, shall be conclusive absent manifest error.

                 (e)   Evidence of Payments. As soon as practicable after any payment of Indemnified
Taxes or Other Taxes by the applicable Loan Party to a Governmental Authority, the applicable Loan Party
shall deliver to the Administrative Agent the original or a certified copy of a receipt issued by such
Governmental Authority evidencing such payment, a copy of the return reporting such payment or other
evidence of such payment reasonably satisfactory to the Administrative Agent.

                 (f)    Status of Fee Recipients. Each Fee Recipient hereby represents that it is a
Permitted Investor and agrees to update Internal Revenue Service Form W-9 (or its successor form) or
applicable Internal Revenue Service Form W-8 (or its successor form) upon any change in such Person’s
circumstances or if such form expires or becomes inaccurate or obsolete, and to promptly notify the
Borrower and the Administrative Agent if such Person becomes legally ineligible to provide such form.

                 (g)       Status of Foreign Lenders. To the extent it is legally entitled to do so, any Foreign
Lender that is entitled to an exemption from or reduction of withholding tax under the law of the jurisdiction
in which the applicable Loan Party is resident for tax purposes, or any treaty to which such jurisdiction is a
party, with respect to payments hereunder or under any other Loan Document shall deliver to the Loan
Parties (with a copy to the Administrative Agent), at the time or times prescribed by applicable Law or
reasonably requested by the Loan Parties or the Administrative Agent, such properly completed and
executed documentation prescribed by applicable Law as will permit such payments to be made without
withholding or at a reduced rate of withholding. In addition, any Lender, if requested by the Loan Parties
or the Administrative Agent, shall deliver such other documentation prescribed by applicable Law or
reasonably requested by the Loan Parties or the Administrative Agent as will enable the Loan Parties or the
Administrative Agent to determine whether or not such Lender is subject to backup withholding or
information reporting requirements. Notwithstanding anything to the contrary in the preceding two
sentences, the completion, execution and submission of such documentation (other than such
documentation set forth in this Section 3.01(g)(iv), Section 3.01(h) and Section 3.01(i) below) shall not be
required if in the Lender’s reasonable judgment such completion, execution or submission would subject
such Lender to any material unreimbursed cost or expense or would materially prejudice the legal or
commercial position of such Lender. Each Lender shall, whenever a lapse in time or change in
circumstances renders such documentation (including any specific documentation required below in this
Section 3.01(g), Section 3.01(h) or Section 3.01(i)) obsolete, expired or inaccurate in any material respect,
deliver promptly to the Borrower and the Administrative Agent updated or other appropriate documentation
(including any new documentation reasonably requested by the Borrower or the Administrative Agent) or
promptly notify the Borrower and the Administrative Agent that it is legally unable to do so.

         Without limiting the generality of the foregoing, any Foreign Lender, to the extent it is legally
entitled to do so, shall deliver to the Loan Parties and the Administrative Agent (in such number of copies
as shall be requested by the recipient) on or prior to the date on which such Foreign Lender becomes a
                                                      66
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 388 of 569



Lender under this Agreement (and from time to time thereafter upon the request of the Loan Parties or the
Administrative Agent, but only if such Foreign Lender is legally entitled to do so), whichever of the
following is applicable:

                          (i)  duly completed copies of Internal Revenue Service Form W-8BEN or W-
        8BEN-E (as applicable) claiming eligibility for benefits of an income tax treaty to which the United
        States is a party,

                        (ii)    duly completed copies of Internal Revenue Service Form W-8ECI,

                         (iii)   in the case of a Foreign Lender claiming the benefits of the exemption for
        portfolio interest under Section 881(c) of the Code, (x) a certificate substantially in the form of
        Exhibit M-1 to the effect that such Foreign Lender is not a “bank” within the meaning of
        Section 881(c)(3)(A) of the Code, a “10 percent shareholder” of the Borrower within the meaning
        of Section 881(c)(3)(B) of the Code, or a “controlled foreign corporation” described in
        Section 881(c)(3)(C) of the Code (a “U.S. Tax Compliance Certificate”) and (y) executed copies
        of Internal Revenue Service Form W-8BEN or W-8BEN-E (as applicable),

                         (iv)    to the extent a Foreign Lender is not the beneficial owner, executed copies
        of Internal Revenue Service Form W-8IMY, accompanied by Internal Revenue Service Form W-
        8ECI, Internal Revenue Service Form W-8BEN or W-8BEN-E (as applicable), a U.S. Tax
        Compliance Certificate substantially in the form of Exhibit M-3 or Exhibit M-4, Internal Revenue
        Service Form W-9, and/or other certification documents from each beneficial owner, as applicable;
        provided that if the Foreign Lender is a partnership and one or more direct or indirect partners of
        such Foreign Lender are claiming the portfolio interest exemption, such Foreign Lender may
        provide a U.S. Tax Compliance Certificate substantially in the form of Exhibit M-2 on behalf of
        each such direct and indirect partner, or

                         (v)    two properly completed and duly signed original copies of any other form
        prescribed by applicable U.S. federal income tax laws (including the Treasury Regulations) as a
        basis for claiming a complete exemption from, or a reduction in, U.S. federal withholding tax on
        any payments to such Lender under the Loan Documents.

                 (h)      Status of Non-Foreign Lenders. Any Lender that is not a Foreign Lender shall
deliver to the Loan Parties and the Administrative Agent (in such number of copies as shall be requested
by the recipient) on or prior to the date on which such Lender becomes a Lender under this Agreement (and
from time to time thereafter upon the request of the Loan Parties or the Administrative Agent), executed
originals of Internal Revenue Service Form W-9 certifying that such Lender is exempt from U.S. federal
backup withholding tax.

                 (i)     FATCA. If a payment made to a Lender under any Loan Document would be
subject to U.S. federal withholding Tax imposed by FATCA if such Lender were to fail to comply with the
applicable reporting requirements of FATCA (including those contained in Section 1471(b) or 1472(b) of
the Code, as applicable), such Lender shall deliver to the Loan Parties and the Administrative Agent at the
time or times prescribed by Law and at such time or times reasonably requested by the Loan Parties or the
Administrative Agent such documentation prescribed by applicable Law (including as prescribed by
Section 1471(b)(3)(C)(i) of the Code) and such additional documentation reasonably requested by the Loan
Parties or the Administrative Agent as may be necessary for the Loan Parties and the Administrative Agent
to comply with their obligations under FATCA and to determine whether such Lender has complied with
such Lender’s obligations under FATCA or to determine the amount, if any, to deduct and withhold from

                                                    67
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 389 of 569



such payment. Solely for purposes of this clause (i), “FATCA” shall include any amendments made to
FATCA after the date of this Agreement.

                  (j)      Treatment of Certain Refunds. If the Administrative Agent or any Lender
determines, in its sole discretion exercised in good faith, that it has received a refund of any Indemnified
Taxes or Other Taxes as to which it has been indemnified by the applicable Loan Party or with respect to
which the applicable Loan Party has paid additional amounts pursuant to this Section 3.01, it shall pay to
the Loan Parties an amount equal to such refund (but only to the extent of indemnity payments made, or
additional amounts paid, by the Loan Parties under this Section 3.01 with respect to the Indemnified Taxes
or Other Taxes giving rise to such refund), net of all out-of-pocket expenses (including any Taxes) of the
Administrative Agent or such Lender, as the case may be, and without interest (other than any interest paid
by the relevant Governmental Authority with respect to such refund), provided that the applicable Loan
Party, upon the request of the Administrative Agent or such Lender, agree to repay the amount paid over to
such Loan Party (plus any penalties, interest or other charges imposed by the relevant Governmental
Authority) to the Administrative Agent or such Lender if the Administrative Agent or such Lender is
required to repay such refund to such Governmental Authority. Notwithstanding anything to the contrary
in this paragraph (j), in no event will the Administrative Agent or any Lender be required to pay any amount
to a Loan Party pursuant to this paragraph (j) the payment of which would place the Administrative Agent
or the Lender in a less favorable net after-Tax position than the Administrative Agent or the Lender would
have been in if the Tax subject to indemnification and giving rise to such refund had not been deducted,
withheld or otherwise imposed and the indemnification payments or additional amounts with respect to
such Tax had never been paid. This subsection shall not be construed to require the Administrative Agent
or any Lender to make available its tax returns (or any other information relating to its taxes that it deems
confidential) to the Loan Parties or any other Person.

        3.02    Alternate Rate of Interest; Illegality.

                (a)      Subject to clauses (b), (c), (d), (e), and (f) of this Section 3.02, if:

                        (i)     the Administrative Agent determines (which determination shall be
        conclusive and binding absent manifest error) prior to the commencement of any interest period for
        a Term Benchmark Borrowing, that adequate and reasonable means do not exist for ascertaining
        the Term SOFR Rate (including because the Term SOFR Reference Rate is not available or
        published on a current basis), for such interest period; or

                         (ii)    the Administrative Agent is advised by the Required Lenders that prior to
        the commencement of any interest Period for a Term Benchmark Borrowing, the Term SOFR Rate
        for such interest period will not adequately and fairly reflect the cost to such Lenders (or Lender)
        of making or maintaining their Loans (or its Loan) included in such Borrowing for such interest
        period;

then the Administrative Agent or such Lenders (or Lender) shall promptly notify the Borrower (and the
Administrative Agent, if applicable) thereof and, so long as such circumstances shall continue, (i) the
Administrative Agent and/or such Lenders (or Lender) shall be under no obligation to make any Term
Benchmark Loans, (ii) on the last day of the then-current calendar month (if such circumstances are
continuing as of such date), each Term Benchmark Loan shall, unless then paid in full, automatically
convert to a Base Rate Loan and (iii) when such circumstances are no longer continuing the Administrative
Agent or the affected Lender (or Lenders) as applicable, shall promptly notify the Borrower (and the
Administrative Agent, if applicable) thereof and on the last day of the then-current calendar month, any
Loan that was converted to a Base Rate Loan pursuant to clause (ii) above shall, unless then paid in full,
automatically convert to a Term Benchmark Loan.
                                                       68
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 390 of 569



                 (b)      Notwithstanding anything to the contrary herein or in any other Loan Document
(and any Swap Contract shall be deemed not to be a “Loan Document” for purposes of this Section 3.02),
if a Benchmark Transition Event and its related Benchmark Replacement Date have occurred prior to the
Reference Time in respect of any setting of the then-current Benchmark, then (x) if a Benchmark
Replacement is determined in accordance with clause (a) of the definition of “Benchmark Replacement”
for such Benchmark Replacement Date, such Benchmark Replacement will replace such Benchmark for all
purposes hereunder and under any Loan Document in respect of such Benchmark setting and subsequent
Benchmark settings without any amendment to, or further action or consent of any other party to, this
Agreement or any other Loan Document and (y) if a Benchmark Replacement is determined in accordance
with clause (b) of the definition of “Benchmark Replacement” for such Benchmark Replacement Date, such
Benchmark Replacement will replace such Benchmark for all purposes hereunder and under any Loan
Document in respect of any Benchmark setting at or after 5:00 p.m. (New York City time) on the fifth (5th)
Business Day after the date notice of such Benchmark Replacement is provided to the Lenders without any
amendment to, or further action or consent of any other party to, this Agreement or any other Loan
Document so long as the Administrative Agent has not received, by such time, written notice of objection
to such Benchmark Replacement from Lenders comprising the Required Lenders.

                (c)      Notwithstanding anything to the contrary herein or in any other Loan Document,
the Administrative Agent will have the right to make Benchmark Replacement Conforming Changes from
time to time and, notwithstanding anything to the contrary herein or in any other Loan Document, any
amendments implementing such Benchmark Replacement Conforming Changes will become effective
without any further action or consent of any other party to this Agreement or any other Loan Document.

                 (d)      The Administrative Agent will promptly notify the Borrower and the Lenders of
(i) any occurrence of a Benchmark Transition Event, (ii) the implementation of any Benchmark
Replacement, (iii) the effectiveness of any Benchmark Replacement Conforming Changes, (iv) the removal
or reinstatement of any tenor of a Benchmark pursuant to clause (e) below and (v) the commencement or
conclusion of any Benchmark Unavailability Period. Any determination, decision or election that may be
made by the Administrative Agent or, if applicable, any Lender (or group of Lenders) pursuant to this
Section 3.02, including any determination with respect to a tenor, rate or adjustment or of the occurrence
or non-occurrence of an event, circumstance or date and any decision to take or refrain from taking any
action or any selection, will be conclusive and binding absent manifest error and may be made in its or their
sole discretion and without consent from any other party to this Agreement or any other Loan Document,
except, in each case, as expressly required pursuant to this Section 3.02.

                 (e)     Notwithstanding anything to the contrary herein or in any other Loan Document,
at any time (including in connection with the implementation of a Benchmark Replacement), (i) if the then-
current Benchmark is a term rate (including the Term SOFR Rate) and either (A) any tenor for such
Benchmark is not displayed on a screen or other information service that publishes such rate from time to
time as selected by the Administrative Agent in its reasonable discretion or (B) the regulatory supervisor
for the administrator of such Benchmark has provided a public statement or publication of information
announcing that any tenor for such Benchmark is or will be no longer representative, then the
Administrative Agent may modify the definition of “Interest Period” (or related concept) for any
Benchmark settings at or after such time to remove such unavailable or non-representative tenor and (ii) if
a tenor that was removed pursuant to clause (i) above either (A) is subsequently displayed on a screen or
information service for a Benchmark (including a Benchmark Replacement) or (B) is not, or is no longer,
subject to an announcement that it is or will no longer be representative for a Benchmark (including a
Benchmark Replacement), then the Administrative Agent may modify the definition of “Interest Period”
(or related concept) for all Benchmark settings at or after such time to reinstate such previously removed
tenor.

                                                     69
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 391 of 569



                 (f)      Upon the Borrower’s receipt of notice of the commencement of a Benchmark
Unavailability Period, the Borrower may revoke any request for a Term Benchmark Borrowing of Term
Benchmark Loans to be made during any Benchmark Unavailability Period and, failing that, the Borrower
will be deemed to have converted (1) any such request for a Term Benchmark Borrowing into a request for
a Base Rate Borrowing. During any Benchmark Unavailability Period or at any time that a tenor for the
then-current Benchmark is not an Available Tenor, the component of the Base Rate based upon the then-
current Benchmark or such tenor for such Benchmark, as applicable, will not be used in any determination
of the Base Rate. Furthermore, if any Term Benchmark Loan is outstanding on the date of the Borrower’s
receipt of notice of the commencement of a Benchmark Unavailability Period with respect to a Relevant
Rate applicable to such Term Benchmark Loan, then until such time as a Benchmark Replacement is
implemented pursuant to this Section 3.02, any Term Benchmark Loan shall on the last day of the interest
period applicable to such Loan be converted by the Administrative Agent to, and shall constitute, a Base
Rate Loan on such day.

        3.03    Increased Costs.

                (a)      Increased Costs Generally. If any Change in Law shall:

                         (i)      impose, modify or deem applicable any reserve, special deposit,
        compulsory loan, insurance charge or similar requirement against assets of, deposits with or for the
        account of, or credit extended or participated in by, any Lender;

                          (ii)      subject any Lender to any Taxes (other than (A) Indemnified Taxes
        covered in Section 3.01, (B) taxes described in clauses (b) through (d) of the definition of Excluded
        Taxes and (C) Connection Income Taxes) with respect to this Agreement, any Letter of Credit, any
        participation in a Letter of Credit or any Loan made by it, or on its deposits, reserves, other
        liabilities or capital attributable thereto; or

                         (iii)    impose on any Lender or the applicable offshore interbank market any
        other condition, cost or expense affecting this Agreement or Loans made by such Lender;

and the result of any of the foregoing shall be to increase the cost to such Lender of making or maintaining
any Term Benchmark Loan (or of maintaining its obligation to make any such Loan), or to increase the cost
to such Lender of participating in, issuing or maintaining any Letter of Credit (or of maintaining its
obligation to participate in or to issue any Letter of Credit), or to reduce the amount of any sum received or
receivable by such Lender hereunder (whether of principal, interest or any other amount) then, upon request
of such Lender, the Borrower will pay to such Lender such additional amount or amounts as will
compensate such Lender for such additional costs incurred or reduction suffered.

                 (b)     Capital Requirements. If any Lender determines that any Change in Law affecting
such Lender or any Lending Office of such Lender or such Lender’s holding company, if any, regarding
capital requirements has or would have the effect of reducing the rate of return on such Lender’s capital or
on the capital of such Lender’s holding company, if any, as a consequence of this Agreement, the
Commitments of such Lender or the Loans made by, Letters of Credit issued by, or participations in Letters
of Credit held by, such Lender, to a level below that which such Lender or such Lender’s holding company
could have achieved but for such Change in Law (taking into consideration such Lender’s policies and the
policies of such Lender’s holding company with respect to capital adequacy), then from time to time the
Borrower will pay to such Lender such additional amount or amounts as will compensate such Lender or
such Lender’s holding company for any such reduction suffered.


                                                     70
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 392 of 569



                  (c)      Certificates for Reimbursement. A certificate of a Lender setting forth the amount
or amounts necessary to compensate such Lender or its holding company as specified in subsection (a) or
(b) of this Section 3.03, in reasonable detail sufficient to allow the Borrower to verify such calculation, and
delivered to the Borrower shall be conclusive absent manifest error. The Borrower shall pay such Lender
the amount shown as due on any such certificate within 10 days after receipt thereof.

                  (d)     Delay in Requests. Failure or delay on the part of any Lender to demand
compensation pursuant to the foregoing provisions of this Section 3.03 shall not constitute a waiver of such
Lender’s right to demand such compensation, provided that the Borrower shall not be required to
compensate a Lender pursuant to the foregoing provisions of this Section 3.03 for any increased costs
incurred or reductions suffered more than six months prior to the date that such Lender notifies the Borrower
of the Change in Law giving rise to such increased costs or reductions and of such Lender’s intention to
claim compensation therefor (except that, if the Change in Law giving rise to such increased costs or
reductions is retroactive, then the six-month period referred to above shall be extended to include the period
of retroactive effect thereof).

        3.04     [Reserved].

        3.05     Mitigation Obligations; Replacement of Lenders.

                  (a)      Designation of a Different Lending Office. If any Lender requests compensation
under Section 3.03, or if the Borrower is required to pay any additional amount to any Lender or any
Governmental Authority for the account of any Lender pursuant to Section 3.01, or if any Lender gives a
notice pursuant to Section 3.02, then such Lender shall use reasonable efforts to designate a different
Lending Office for funding or booking its Loans hereunder or to assign its rights and obligations hereunder
to another of its offices, branches or affiliates, if, in the judgment of such Lender, such designation or
assignment (i) would eliminate or reduce amounts payable pursuant to Section 3.01 or 3.03, as the case may
be, in the future, or eliminate the need for the notice pursuant to Section 3.02, as applicable, and (ii) in each
case, would not subject such Lender to any unreimbursed cost or expense and would not otherwise be
disadvantageous to such Lender. The Borrower hereby agrees to pay all reasonable costs and expenses
incurred by any Lender in connection with any such designation or assignment.

                (b)      Replacement of Lenders. If any Lender requests compensation under Section 3.03,
or if the Borrower is required to pay any additional amount to any Lender or any Governmental Authority
for the account of any Lender pursuant to Section 3.01, or if any Lender is a Defaulting Lender, the
Borrower may replace such Lender in accordance with Section 11.13.

        3.06    Survival. All of the Borrower’s obligations under this Article III shall survive termination
of the Aggregate Commitments and repayment of all other Obligations hereunder.

                                     ARTICLE IV
                      CONDITIONS PRECEDENT TO CREDIT EXTENSIONS

        4.01    Conditions of Initial Credit Extension. The obligation of each Lender to make its initial
Credit Extension hereunder on the Closing Date or for the Administrative Agent to arrange for any Letters
of Credit on the Closing Date is subject to the prior or substantially concurrent satisfaction or waiver
pursuant to Section 11.01 of the following conditions:

                 (a)     The Administrative Agent’s receipt of the following, each in form and substance
reasonably satisfactory to the Administrative Agent:

                                                       71
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 393 of 569



                       (i)      executed counterparts of this Agreement by each of the parties hereto;

                       (ii)     a Note executed by the Borrower in favor of each Lender requesting a
       Note;

                        (iii)   UCC financing statements in form satisfactory to the Administrative
       Agent for filing under the Uniform Commercial Code of all jurisdictions in which any Loan Party
       is organized,

                       (iv)      such certificates of resolutions or other action, incumbency certificates
       and/or other certificates of Responsible Officers of each Loan Party as the Administrative Agent
       may require evidencing the identity, authority and capacity of each Responsible Officer thereof
       authorized to act as a Responsible Officer in connection with this Agreement and the other Loan
       Documents to which such Loan Party is a party or is to be a party;

                      (v)      good standing or active status certificates, as applicable, of each Loan
       Party in its jurisdiction of organization and, to the extent reasonably requested by the
       Administrative Agent, bring-down good standing or active status certificates, as applicable;

                       (vi)     [reserved];

                        (vii)   a certificate signed by a Responsible Officer of the Borrower certifying
       that the conditions specified in Sections 4.02(a) and (b) have been satisfied;

                       (viii)   [reserved];

                       (ix)     [reserved];

                        (x)      any releases, terminations and such other documents as Administrative
       Agent may reasonably request to evidence and effectuate the termination of the Prepetition ABL
       Credit Facility and all commitments thereunder, the repayment in full of all Indebtedness and other
       amounts owing thereunder, and the cash collateralization of the Existing Letters of Credit, and the
       termination and release by the Prepetition ABL Agent, except as otherwise provided in the Interim
       Financing Order, of any interest in and to any assets and properties of each Borrower and Guarantor
       securing the Prepetition ABL Credit Facility, except as otherwise provided in the Interim Financing
       Order, duly authorized, executed (to the extent applicable) and delivered by it or each of them; and

                        (xi)   copies of documentation for the DIP Term Facility, which documentation
       shall include the DIP Term Loan Agreement and all exhibits and schedules thereto and the DIP
       Term Facility shall have become effective substantially concurrently with this Agreement on the
       Closing Date.

               (b)    The Administrative Agent shall have received a Borrowing Base Calculation
(either by Approved Electronic Communications or in writing) prepared as of a date not earlier than
November 23, 2024.

               (c)     [Reserved].

                (d)     The Lenders shall have received, to the extent requested, all documentation and
other information required by regulatory authorities under applicable “know your customer” and anti-
money laundering rules and regulations, including the USA PATRIOT Act.
                                                   72
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 394 of 569



                (e)      [Reserved].

                  (f)    Administrative Agent shall have received evidence, in form and substance
satisfactory to Administrative Agent, that Administrative Agent has a valid perfected first priority security
interest in all of the ABL Priority DIP Collateral (having the priority set forth in the Interim Financing
Order.

                  (g)     The Borrower and each Guarantor shall be a debtor and a debtor-in-possession. All
of the “first day orders” entered by the Bankruptcy Court on or about the time of commencement of the
Chapter 11 Cases (and if any such orders shall not have been entered by the Bankruptcy Court, the form of
such orders submitted to the Bankruptcy Court for approval) of the type referred to in clause (a) (other than
the Final Financing Order) and (b) of the definition of “Approved Bankruptcy Court Order” shall be in form
and substance satisfactory to the Administrative Agent and the Lenders in their reasonable discretion, and
all other “first day orders” entered by the Bankruptcy Court on or about the time of commencement of the
Chapter 11 Cases (and if any such orders shall not have been entered by the Bankruptcy Court, the form of
such orders submitted to the Bankruptcy Court for approval) shall be in form and substance satisfactory to
the Administrative Agent in its reasonable discretion.

                 (h)      The Cash Management Order shall have been entered by the Bankruptcy Court,
which Cash Management Order shall be in full force and effect and shall not have been (x) stayed, vacated
or reversed, or (y) amended or modified except as otherwise agreed to in writing by Administrative Agent
in its reasonable discretion.

                 (i)      Not later than three (3) Business Days following the commencement of the Chapter
11 Cases (or such later date as the Administrative Agent may agree), an interim order approving the Loan
Documents in form and substance satisfactory to each of the Lenders in its reasonable discretion (as the
same may be amended, supplemented or modified from time to time after entry thereof in accordance with
the terms hereof, the “Interim Financing Order”) shall have been entered by the Bankruptcy Court, which
Interim Financing Order shall, among other things, (i) have been entered on such prior notice to such parties
as may be satisfactory to the Lenders in their reasonable discretion, (ii) authorize the extensions of credit
in respect of the DIP Facilities, each in the amounts and on the terms set forth herein, (iii) grant the DIP
Superpriority Claims status and other Collateral and Liens referred to herein and in the other Loan
Documents, (iv) approve the payment by the Borrower of the fees provided for herein and under the Fee
Letter, (v) approve the repayment in full of the Prepetition ABL Credit Agreement from the proceeds of the
DIP Facilities and, upon the indefeasible repayment of the Prepetition ABL Debt, the release of all Liens
securing the Prepetition ABL Debt and (vi) not have been (A) stayed, vacated or reversed, or (B) amended
or modified except as otherwise agreed to in writing by the Required Lenders in their reasonable discretion.
The Administrative Agent shall have received a signed copy of the Interim Financing Order.

                (j)      No trustee or examiner (other than a fee examiner) having expanded powers
(beyond those set forth under Sections 1106(a)(3) and (4) of the Bankruptcy Code) under Bankruptcy Code
section 1104 (other than a fee examiner) shall have been appointed or elected, or the Borrower or any
Guarantor shall have applied for, consented to, or acquiesced in, any such appointment, with respect to the
Borrower and the Guarantors, any of their Chapter 11 Debtor subsidiaries or their respective properties.

                 (k)      There shall exist no unstayed action, suit, investigation, litigation or proceeding
pending or (to the knowledge of the Borrower and the Guarantors) threatened in any court or before any
arbitrator or governmental instrumentality (other than the Chapter 11 Cases, the events and circumstances
leading thereto, and the consequences that would normally result from the commencement and continuation
of the Chapter 11 Cases) that would reasonably be expected to have a Material Adverse Effect;

                                                     73
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 395 of 569



                (l)    An Acceptable Plan of Reorganization shall have been filed in the Chapter 11
Cases with the Bankruptcy Court.

                 (m)     [Reserved].

                 (n)     [Reserved].

                 (o)      Excess Availability. After giving effect to the Credit Extensions to be made on
the Closing Date, and the consummation of all transactions contemplated hereby to occur on the Closing
Date (including, for the avoidance of doubt, the borrowing of DIP Term Loans on the Closing Date), both
(i) Excess Availability shall be no less than $20,000,000 and (ii) the sum of Excess Availability and the
Loan Parties’ cash on hand (including, without limitation, all cash on deposit in the DIP Proceeds Account
(as defined in the Interim Financing Order), the Carve Out Reserve Account and the operating accounts of
the Loan Parties, but excluding any Letter of Credit Cash Collateral (as defined in the Interim Financing
Order)) shall be no less than $45,000,000.

         Without limiting the generality of the provisions of Section 9.07, for purposes of determining
compliance with the conditions specified in this Section 4.01, each Lender that has signed this Agreement
shall be deemed to have consented to, approved or accepted or to be satisfied with, each document or other
matter required thereunder to be consented to or approved by or acceptable or satisfactory to a Lender
unless the Administrative Agent shall have received notice from such Lender prior to the proposed Closing
Date specifying its objection thereto.

        4.02    Conditions to All Credit Extensions. The obligation of each Lender to honor any Request
for Credit Extension (including on the Closing Date) is subject to the following conditions precedent:

                  (a)     The representations and warranties of the Borrower and each other Loan Party
contained in this Agreement and the other Loan Documents shall be true and correct in all material respects
on and as of the date of such Credit Extension, except to the extent that such representations and warranties
specifically refer to an earlier date, in which case they shall be true and correct as of such earlier date;
provided that, in each case, any representation and warranty that is qualified as to “materiality,” “Material
Adverse Effect” or similar language shall be true and correct (after giving effect to any qualification therein)
in all respects on and as of the date of such Credit Extension or on such earlier date, as the case may be.

                (b)      No Default shall exist, or would result from such proposed Credit Extension or
from the application of the proceeds thereof.

                (c)     The Administrative Agent and, if applicable, each L/C Issuer or the Swing Line
Lender shall have received a Request for Credit Extension in accordance with the requirements hereof.

                 (d)     Solely with respect to the making of Loans or issuance of Letters of Credit
occurring on or after the date that is 45 days after the entry of the Interim Financing Order (or such later
date as the Administrative Agent may approve in writing in its reasonable discretion, a final order approving
the Loan Documents in form and substance satisfactory to Required Lenders in their reasonable discretion
(as the same may be amended, supplemented or modified from time to time after entry thereof in accordance
with the terms hereof, the “Final Financing Order”) (it being understood and agreed that an order entered
by the Bankruptcy Court substantially in the form of the Interim Financing Order, with only such
modifications as are required to reflect the interim relief being approved on a final basis and otherwise
satisfactory in form and substance to the Required Lenders in their reasonable discretion shall, if entered
by the Bankruptcy Court, be deemed acceptable to the Administrative Agent), (i) shall have been entered
by the Bankruptcy Court and shall be in full force and effect and (ii) shall not have been (A) vacated,
                                                      74
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 396 of 569



reversed, or stayed, or (B) amended or modified in a manner adverse to the Administrative Agent or
Lenders, except as otherwise agreed to in writing by the Required Lenders in their reasonable discretion.

                   (e)     The Interim Financing Order or, after entry thereof, the Final Financing Order,
shall be in full force and effect and shall not have been vacated, reversed or stayed in any respect or, except
as permitted by the Loan Documents, modified or amended in any manner in a manner adverse to the
Administrative Agent or Lenders.

                (f)     The Cash Management Order shall be in full force and effect and shall not have
been vacated, reversed or stayed in any respect or, except as permitted by the Loan Documents, modified
or amended in any manner.

                 (g)    The making of such Loan or the issuance of such Letter of Credit shall not result
in the principal amount of the Committed Loans, Swing Line Loans and Letter of Credit Obligations
outstanding with respect to the Borrower exceeding the amount authorized by the Interim Financing Order
or the Final Financing Order, as applicable.

                 (h)     The Transaction Support Agreement shall be in full force and effect, and (i) no
breach, default or event of default shall have occurred or be continuing thereunder (after giving effect to all
relevant grace and/or cure periods) except to the extent waived or cured in accordance with the terms thereof
and (ii) the Transaction Support Agreement shall not have been amended, restated, supplemented or
otherwise modified in a manner adverse to the Credit Parties, unless the Administrative Agent has
previously consented to any such amendment, restatement, supplement or other modification.

        Each Request for Credit Extension submitted by the Borrower shall be deemed to be a
representation and warranty that the conditions specified in Section 4.02(b), and solely with respect to a
Credit Extension on the Closing Date, Section 4.02(a)have been satisfied on and as of the date of the
applicable Credit Extension.

                                        ARTICLE V
                              REPRESENTATIONS AND WARRANTIES

        Each of the Loan Parties represents and warrants to the Administrative Agent and the Lenders that:

         5.01     Existence, Qualification and Power. Each Loan Party and each of its Restricted
Subsidiaries (a) is duly organized or formed, validly existing and, as applicable, in good standing or of
active status under the Laws of the jurisdiction of its incorporation or organization, (b) subject to the entry
of the Financing Orders and any restrictions arising on account of such Loan Party’s status as a “debtor”
under the Bankruptcy Code, has all requisite power and authority and all requisite governmental licenses,
permits, authorizations, consents and approvals to (i) own or lease its assets and carry on its business as
currently conducted or proposed to be conducted, and (ii) execute, deliver and perform its obligations under
the Loan Documents to which it is a party, and (c) is duly qualified and is licensed and, as applicable, in
good standing or of active status under the Laws of each jurisdiction where its ownership, lease or operation
of properties or the conduct of its business requires such qualification or license; except in each case referred
to in clause (b)(i) or (c), to the extent that failure to do so could not, individually or in the aggregate,
reasonably be expected to have a Material Adverse Effect. Schedule 5.01 annexed hereto sets forth, as of
the Closing Date, each Loan Party’s name as it appears in official filings in its state of incorporation or
organization, its state of incorporation or organization, organization type, organization number, if any,
issued by its state of incorporation or organization and its Federal employer identification number.


                                                       75
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 397 of 569



         5.02    Authorization; No Contravention. The execution, delivery and performance by each Loan
Party of each Loan Document to which such Person is or is to be a party have been duly authorized by all
necessary corporate or other organizational action, and do not and will not (a) contravene the terms of any
of such Person’s Organization Documents; (b) subject to the entry of the Financing Orders, conflict with or
result in any breach or contravention of, or the creation of (or the requirement to create) any Lien under, or
require any payment to be made under (i) any Contractual Obligation or Material Indebtedness to which
such Person is a party or affecting such Person or the properties of such Person or any of the Restricted
Subsidiaries or (ii) any order, injunction, writ or decree of any Governmental Authority or any arbitral
award to which such Person or its property is subject; or (c) subject to the entry of the Financing Orders,
violate any applicable Law, except in the case of clause (b) or (c), to the extent that such conflict, breach,
contravention or violation could not, individually or in the aggregate, reasonably be expected to have a
Material Adverse Effect.

         5.03    Governmental Authorization; Other Consents. Subject to the entry of the Financing
Orders, no approval, consent, exemption, authorization, or other action by, or notice to, or filing with, any
Governmental Authority or any other Person is necessary or required in connection with the execution,
delivery or performance by, or enforcement against, any Loan Party of this Agreement or any other Loan
Document or the Term Loan Documents, except for (a) filings necessary to perfect the Liens on the
Collateral granted by the Loan Parties pursuant to the Collateral Documents, (b) the approvals, consents,
exemptions, authorizations, actions, notices and filings that have been duly obtained, taken, given or made
and are in full force and effect and (c) those approvals, consents, exemptions, authorizations or other
actions, notices or filings, the failure of which to obtain or make would not reasonable be expected to have,
individually or in the aggregate, a Material Adverse Effect.

         5.04    Binding Effect. This Agreement and each other Loan Document, when delivered
hereunder, will have been, duly executed and delivered by each Loan Party that is party thereto. Upon
entry by the Bankruptcy Court of the Financing Orders, this Agreement and each other Loan Document
when so delivered will constitute, a legal, valid and binding obligation of such Loan Party, enforceable
against each Loan Party that is party thereto in accordance with its terms, subject to general principles of
equity, regardless of whether considered in a proceeding in equity or at law.

        5.05    Financial Statements; No Material Adverse Effect.

                (a)      [Reserved].

                 (b)     Since the Petition Date, there has been no event or circumstance, either
individually or in the aggregate, that has had or could reasonably be expected to have a Material Adverse
Effect.

                 (c)      The Consolidated forecasted balance sheet, statements of income and cash flows
of Holdings and its Subsidiaries delivered pursuant to Section 4.01 or Section 6.01, when taken as a whole,
were prepared in good faith on the basis of the assumptions stated therein, which assumptions were
reasonable in light of the conditions existing at the time of delivery of such forecasts, and represented, at
the time of delivery, a reasonable estimate of the Borrower’s and its Subsidiaries future financial condition
and performance (it being understood that (i) no forecasts are to be viewed as facts, (ii) any forecasts are
subject to significant uncertainties and contingencies, (iii) no assurance can be given that any particular
forecasts will be realized and (iv) actual results may differ and such differences may be material).

         5.06   Litigation. Except for the Chapter 11 Cases, there are no actions, suits, proceedings, claims
or disputes pending or, to the knowledge of the Loan Parties threatened (in writing) at law, in equity, in
arbitration or before any Governmental Authority, by or against Holdings or any of its Restricted
                                                     76
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 398 of 569



Subsidiaries or against any of their properties or revenues that (a) purport to affect or pertain to this
Agreement or any other Loan Document, or (b) would reasonably be expected to have a Material Adverse
Effect.

        5.07     [Reserved].

        5.08     Ownership of Property; Liens; Investments.

                   (a)     Subject to the entry of the Financing Orders, each Loan Party and each of the
Restricted Subsidiaries has good record, marketable and insurable title in fee simple to all owned Real
Estate necessary or used in the ordinary conduct of its business, except for such defects in title as could not,
individually or in the aggregate, reasonably be expected to have a Material Adverse Effect. Each Loan
Party and each of the Restricted Subsidiaries has good record and marketable title to, or valid leasehold
interests in, all personal property necessary or used in the ordinary conduct of its business, except for such
defects in title as could not, individually or in the aggregate, reasonably be expected to have a Material
Adverse Effect.

                (b)   Subject to the entry of the Financing Orders, the properties and assets of each Loan
Party and each of the Restricted Subsidiaries are subject to no Liens, other than (i) with respect to
Mortgaged Property, Permitted Encumbrances and (ii) with respect to all other properties and assets,
Permitted Liens.

                 (c)     Schedule 5.08(c) sets forth a complete and accurate list as of the Closing Date of
all Real Estate owned by each Loan Party and each of the Restricted Subsidiaries showing the street address,
county or other relevant jurisdiction, state, record owner and book and estimated fair value thereof.

                 (d)       (i) Schedule 5.08(d)(i) sets forth a complete and accurate list of all Leases under
which any Loan Party is the lessee as of the Closing Date showing the street address, county or other
relevant jurisdiction, state, lessor, lessee and expiration date.

                        (ii)     Schedule 5.08(d)(ii) sets forth a complete and accurate list of all leases of
        Real Estate under which any Loan Party is the lessor as of the Closing Date showing the street
        address, county or other relevant jurisdiction, state, lessor, lessee, expiration date and annual rental
        cost thereof.

               (e)      Schedule 5.08(e) sets forth a complete and accurate list of all Investments held by
any Loan Party or any Restricted Subsidiary of a Loan Party on the date hereof, showing as of the date
hereof the amount, obligor or issuer and maturity, if any, thereof.

        5.09     Environmental Matters.

                 (a)     Neither any Loan Party nor any Restricted Subsidiary (i) has failed to comply with
any Environmental Law or to obtain, maintain or comply with any Environmental Permit, (ii) has become
subject to any Environmental Liability, (iii)) has received notice of any claim with respect to any
Environmental Liability or (iv) knows of any basis for any Environmental Liability, except, in each case,
as could not, individually or in the aggregate, reasonably be expected to have a Material Adverse Effect.

                 (b)      Except as would not reasonably be expected to result in a Material Adverse Effect,
(i) none of the properties currently or, to the knowledge of the Loan Parties, formerly owned, leased, or
operated by any Loan Party or any Restricted Subsidiary is listed or, to the knowledge of the Loan Parties,
proposed for listing on the NPL or on the CERCLIS or any analogous foreign, state or local list or is adjacent
                                                      77
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 399 of 569



to any such property; (ii) none of the properties to which any Loan Party or any Restricted Subsidiary has,
directly or indirectly, transported or arranged for the transportation of any Hazardous Materials, is listed or,
to the knowledge of the Loan Parties, proposed for listing on the NPL or on the CERCLIS or any analogous
foreign, state or local list; (iii) there are no and, to the knowledge of the Loan Parties, never have been any
underground or above-ground storage tanks or any surface impoundments, septic tanks, pits, sumps or
lagoons in which Hazardous Materials are being or have been treated, stored or disposed on any property
currently owned, leased, or operated by any Loan Party or any Restricted Subsidiary or, to the knowledge
of the Loan Parties, on any property formerly owned, leased, or operated by any Loan Party or any
Restricted Subsidiary; (iv) there is no asbestos or asbestos-containing material on any property currently
owned or operated by any Loan Party or any Restricted Subsidiary; and (v) Hazardous Materials have not
been Released, discharged, or disposed of on any property currently or, to the knowledge of the Loan
Parties, formerly owned, leased, or operated by any Loan Party or any Restricted Subsidiary.

                (c)     (i) Neither any Loan Party nor any Restricted Subsidiary is undertaking, and has
not completed, either individually or together with other potentially responsible parties, any investigation
or assessment or remedial or response action relating to any actual or threatened Release, discharge or
disposal of Hazardous Materials at any site, location or operation, either voluntarily or pursuant to the order
of any Governmental Authority or the requirements of any Environmental Law, except as would not
reasonably be expected to result in a Material Adverse Effect; and (ii) all Hazardous Materials generated,
used, treated, handled, stored, or transported by, or on behalf of, any Loan Party or any Restricted
Subsidiary have been disposed of in a manner which would not reasonably expected to result in a Material
Adverse Effect.

        5.10    Insurance. Schedule 5.10 sets forth a description of all insurance maintained by or on
behalf of the Loan Parties as of the Closing Date. As of the Closing Date, each insurance policy listed on
Schedule 5.10 is in full force and effect and all premiums in respect thereof that are due and payable have
been paid.

        5.11     Taxes. The Loan Parties and their Restricted Subsidiaries have filed all material Tax
returns and reports required to be filed, and have paid all Taxes levied or imposed upon them or their
properties, income or assets otherwise due and payable and have satisfied all of their Tax withholding
obligations, except (a) Taxes which are being contested in good faith by appropriate proceedings diligently
conducted and for which adequate reserves have been provided in accordance with GAAP and which
contest effectively suspends the collection of the contested obligation and the enforcement of any Lien
securing such obligation and (b) any Tax return, report or Taxes, the failure to file or to pay, as the case
may be, would not reasonably be expected to, individually or in the aggregate, have a Material Adverse
Effect. There is no proposed Tax deficiency or assessment known to any Loan Party against the Loan Party
or any Subsidiary that would, if made, individually or in the aggregate, have a Material Adverse Effect.
Except as could not reasonably be expected to result, individually or in the aggregate, in a Material Adverse
Effect, each Loan Party and each of its Subsidiaries has made adequate provisions in accordance with
GAAP for all Taxes not yet due and payable.

        5.12     ERISA Compliance.

                  (a)     Except as could not reasonably be expected to result in a Material Adverse Effect,
(i) each Plan is in compliance with its terms and the applicable provisions of ERISA and the Code, (ii) each
Plan that is intended to qualify under Section 401(a) of the Code has received a favorable determination
letter from the IRS or an application for such a letter is currently being processed by the IRS with respect
thereto and, to the knowledge of the Borrower, nothing has occurred which could reasonably be expected
to prevent, or cause the loss of, such qualification, and (iii) Holdings, the Borrower and each ERISA
Affiliate have made all required contributions to each Pension Plan, and no application for a funding waiver
                                                      78
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 400 of 569



or an extension of any amortization period pursuant to Section 412 of the Code has been made with respect
to any Pension Plan.

                 (b)     There are no pending or, to the knowledge of the Loan Parties, threatened claims
(other than claims for benefits in the normal course), actions or lawsuits, or action by any Governmental
Authority, with respect to any Plan that could, individually or in the aggregate, reasonably be expected to
have a Material Adverse Effect. There has been no nonexempt “prohibited transaction” (as defined in
Section 406 of ERISA and Section 4975 of the Code) or violation of the fiduciary responsibility rules by
Holdings or the Borrower with respect to any Plan that, individually or in the aggregate, has resulted or
could reasonably be expected to result in a Material Adverse Effect.

                 (c)    Except as could not, individually or in the aggregate, reasonably be expected to
result in a Material Adverse Effect: (i) no ERISA Event has occurred or is reasonably expected to occur;
(ii) no Pension Plan has any Unfunded Pension Liability as of the most recent valuation date for such
Pension Plan; (iii) none of Holdings, the Borrower or any ERISA Affiliate has incurred, or reasonably
expects to incur, any liability under Title IV of ERISA with respect to any Pension Plan (other than
premiums due and not delinquent under Section 4007 of ERISA); (iv) none of Holdings, the Borrower or
any ERISA Affiliate has incurred, or reasonably expects to incur, any liability (and no event has occurred
which, with the giving of notice under Section 4219 of ERISA, would result in such liability) under
Section 4201 or 4243 of ERISA with respect to a Multiemployer Plan; and (v) none of Holdings, the
Borrower or any ERISA Affiliate has engaged in a transaction that could be subject to Section 4069 or
4212(c) of ERISA.

                 (d)      Except as would not reasonably be expected to result in a Material Adverse Effect:
(i) each Foreign Plan has been maintained in compliance with its terms and with the requirements of any
and all applicable laws, statutes, rules, regulations and orders and has been maintained, where required, in
good standing with applicable regulatory authorities, (ii) none of Holdings, the Borrower or any Restricted
Subsidiary have incurred any obligation in connection with the termination of or withdrawal from any
Foreign Plan, and (iii) the present value of the accrued benefit liabilities (whether or not vested) under each
Foreign Plan which is funded, determined as of the end of the most recently ended Fiscal Year of Holdings,
the Borrower or any Restricted Subsidiary (based on the actuarial assumptions used for purposes of the
applicable jurisdiction's financial reporting requirements), did not exceed the current value of the assets of
such Foreign Plan (and for each Foreign Plan which is not funded, the obligations of such Foreign Plan are
properly accrued).

        5.13     Subsidiaries; Equity Interests; Loan Parties. As of the Closing Date, no Loan Party has
any Subsidiaries other than those specifically disclosed in Part (a) of Schedule 5.13, and all of the
outstanding Equity Interests in such Subsidiaries have been validly issued, are fully paid and non-assessable
and are owned by a Loan Party in the amounts specified on Part (a) of Schedule 5.13. As of the Closing
Date no Loan Party has any equity investments in any other corporation or entity other than those
specifically disclosed in Part (b) of Schedule 5.13.

        5.14     Margin Regulations; Investment Company Act.

                  (a)    None of the proceeds of the Loans shall be used in any manner that would result
in a violation of Regulations T, U or X of the FRB.

                 (b)     None of the Loan Parties or any Restricted Subsidiary is or is required to be
registered as an “investment company” under the Investment Company Act of 1940.

        5.15     Disclosure.
                                                      79
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 401 of 569



                 (a)      No written report, financial statement, certificate or other information furnished by
or on behalf of the Loan Parties to the Administrative Agent or any Lender in connection with the
transactions contemplated hereby and the negotiation of this Agreement or delivered hereunder or under
any other Loan Document (in each case as modified or supplemented by other information so furnished),
taken as a whole, contains any material misstatement of fact or omits to state any material fact necessary to
make the statements therein, in the light of the circumstances under which they were made, not materially
misleading; provided that, with respect to (i) projected financial information, the Loan Parties represent
only that such information was prepared in good faith based upon assumptions believed to be reasonable at
the time and (ii) such information shall not include information of a general economic or general industry
nature.

                (b)     As of the Closing Date, to the best knowledge of the Borrower, the information
included in the most recent Beneficial Ownership Certification provided on or prior to the Closing Date to
any Lender in connection with this Agreement is true and correct in all respects.

        5.16      Compliance with Laws. Each Loan Party and each Restricted Subsidiary thereof is in
compliance in all material respects with the requirements of all Laws and all orders, writs, injunctions and
decrees applicable to it or to its properties, except in such instances in which (a) such requirement of Law
or order, writ, injunction or decree is being contested in good faith by appropriate proceedings diligently
conducted or (b) the failure to comply therewith, either individually or in the aggregate, could not
reasonably be expected to have a Material Adverse Effect.

        5.17     Intellectual Property; Licenses, Etc. Each Loan Party and each of its Restricted
Subsidiaries own, or possess the right to use, all of the Intellectual Property that are reasonably necessary
for the operation of their respective businesses, except as would not individually or in the aggregate
reasonably be expected to have a Material Adverse Effect, and Schedule 5.17 (as supplemented by any
writing delivered pursuant to Section 6.02(g))) sets forth a complete and accurate list of all such Intellectual
Property owned by each Loan Party and each of its Restricted Subsidiaries which are registered with the
United States Patent and Trademark Office and United States Copyright Office. To the knowledge of the
Borrower, no slogan or other advertising or other material or patent, trademark or copyright now employed
by any Loan Party or any of its Restricted Subsidiaries infringes upon any Intellectual Property right held
by any other Person, except to the extent that any such infringement could not, either individually or in the
aggregate, reasonably be expected to have a Material Adverse Effect. Except as set forth on Schedule 5.17,
no claim or litigation regarding any of the foregoing is pending or, to the knowledge of the Loan Parties,
threatened, which, either individually or in the aggregate, could reasonably be expected to have a Material
Adverse Effect.

        5.18     [Reserved].

        5.19    Casualty, Etc. Neither the businesses nor the properties of any Loan Party or any of the
Restricted Subsidiaries are affected by any fire, explosion, accident, strike, lockout or other labor dispute,
drought, storm, hail, earthquake, embargo, act of God or of the public enemy or other casualty (whether or
not covered by insurance) that, either individually or in the aggregate, could reasonably be expected to have
a Material Adverse Effect.

         5.20    Labor Matters. There are no strikes, lockouts, slowdowns or other material labor disputes
against any Loan Party pending or, to the knowledge of any Loan Party, threatened that, either individually
or in the aggregate, could reasonably be expected to have a Material Adverse Effect. To the knowledge of
the Borrower and Holdings, (a) the hours worked by and payments made to employees of the Loan Parties
comply in all material respects with the Fair Labor Standards Act and any other applicable Federal, state,
local or foreign Law dealing with such matters, (b) no Loan Party has incurred any material liability or
                                                      80
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 402 of 569



obligation under the Worker Adjustment and Retraining Act or similar state Law and (c) all payments due
from any Loan Party, or for which any claim may be made against any Loan Party, on account of wages
and employee health and welfare insurance and other benefits, have been paid or properly accrued in all
material respects in accordance with GAAP as a liability on the books of such Loan Party. There are no
representation proceedings pending or, to any Loan Party’s knowledge, threatened to be filed with the
National Labor Relations Board, and no labor organization or group of employees of any Loan Party has
made a pending demand for recognition except those that could not reasonably be expected to have a
Material Adverse Effect. There are no complaints, unfair labor practice charges, grievances, arbitrations,
unfair employment practices charges or any other claims or complaints against any Loan Party pending or,
to the knowledge of any Loan Party, threatened to be filed with any Governmental Authority or arbitrator
based on, arising out of, in connection with, or otherwise relating to the employment or termination of
employment of any employee of any Loan Party except those that could not reasonably be expected to have
a Material Adverse Effect.

        5.21     Collateral Documents. Subject to the entry of the Financing Orders, the provisions of the
Collateral Documents are effective to create in favor of the Collateral Agent for the benefit of the Credit
Parties a legal, valid and enforceable fully-perfected First Priority Lien or Second Priority Lien, as
applicable (subject to Permitted Liens), on all right, title and interest of the respective Loan Parties in the
Collateral described therein.

         5.22     USA PATRIOT Act. To the extent applicable, each of Holdings and its Restricted
Subsidiaries is in compliance, in all material respects, with (a) the Trading with the Enemy Act, as amended,
and each of the foreign assets control regulations of the United States Treasury Department (31 CFR
Subtitle B, Chapter V, as amended) and any other enabling legislation or executive order relating thereto
and (b) the USA PATRIOT Act. No part of the proceeds of the Loans will be used, directly or indirectly,
for any payments to any governmental official or employee, political party, official of a political party,
candidate for political office, or anyone else acting in an official capacity, in order to obtain, retain or direct
business or obtain any improper advantage, in violation of the United States Foreign Corrupt Practices Act
of 1977, as amended.

         5.23     Anti-Corruption Laws and Sanctions. Each Loan Party has implemented and maintains in
effect policies and procedures designed to ensure compliance by such Loan Party, its Subsidiaries and their
respective directors, officers, employees and agents with Anti-Corruption Laws and applicable Sanctions,
and such Loan Party, its Subsidiaries and their respective officers and employees and, to the knowledge of
such Loan Party, its directors and agents, are in compliance with Anti-Corruption Laws and applicable
Sanctions in all material respects. None of (a) any Loan Party, any Subsidiary or any of their respective
directors, officers or employees, or (b) to the knowledge of any such Loan Party or Subsidiary, any agent
of such Loan Party or any Subsidiary that will act in any capacity in connection with or benefit from the
ABL DIP Facility established hereby, is a Sanctioned Person. No Borrowing or Letter of Credit, use of
proceeds, or transaction contemplated by this Agreement or the other Loan Documents will violate Anti-
Corruption Laws or applicable Sanctions.

        5.24     Affected Financial Institutions. No Loan Party is an Affected Financial Institution.

         5.25    Plan Assets. No Loan Party or any of its Subsidiaries is an entity deemed to hold “plan
assets” (within the meaning of the Plan Asset Regulations).




                                                        81
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 403 of 569



                                           ARTICLE VI
                                     AFFIRMATIVE COVENANTS

         So long as any Lender shall have any Commitment hereunder, any Loan or other Obligation
hereunder shall remain unpaid or unsatisfied (other than any indemnity obligation for unasserted claims
that by its terms survives the termination of this Agreement), the Borrower shall, and shall (except in the
cases of the covenants set forth in Sections 6.01, 6.02 and 6.03) cause each Restricted Subsidiary to:

        6.01     Financial Statements and Other Information. Deliver to the Administrative Agent, in form
and detail reasonably acceptable to the Administrative Agent:

                 (a)    as soon as available, but in any event within 105 days after the end of each Fiscal
Year of Holdings, a Consolidated balance sheet of Holdings and its Subsidiaries as at the end of such Fiscal
Year, and the related Consolidated statements of income or operations, shareholders’ equity (if available)
and cash flows for such Fiscal Year setting forth in each case in comparative form the figures for the
previous Fiscal Year, all in reasonable detail and prepared in accordance with GAAP, audited and
accompanied by a report and opinion of Ernst & Young LLP or another Registered Public Accounting Firm
of nationally recognized standing reasonably satisfactory to the Administrative Agent, which report and
opinion shall be prepared in accordance with generally accepted auditing standards;

                  (b)    as soon as available, but in any event within 50 days after the end of each of the
first three Fiscal Quarters of each Fiscal Year of Holdings (commencing with the Fiscal Quarter ending
December 28, 2024) a Consolidated balance sheet of Holdings and its Subsidiaries as at the end of such
Fiscal Quarter, and the related Consolidated statements of income or operations and cash flows for such
Fiscal Quarter and for the portion of Holdings’ Fiscal Year then ended, setting forth in each case in
comparative form the figures for the corresponding Fiscal Quarter of the previous Fiscal Year and the
corresponding portion of the previous Fiscal Year and to the figures as set forth in the projections delivered
pursuant to Section 6.01(d)), all in reasonable detail, certified by a Responsible Officer on behalf of
Holdings as fairly presenting in all material respects the financial condition, results of operations,
shareholders’ equity and cash flows of Holdings and its Subsidiaries in accordance with GAAP, subject
only to normal year-end audit adjustments, including, but not limited to, purchase accounting adjustments,
and the absence of footnotes;

                 (c)      as soon as available, but in any event within 40 days after the end of each of the
Fiscal Months of each Fiscal Year of Holdings (commencing with the Fiscal Month ending in February
2025) (and except with respect to (i) the last Fiscal Month of each Fiscal Quarter of Holdings, with respect
to which the applicable period for delivery shall be 50 days rather than 40 days, and (ii) the last Fiscal
Month of each Fiscal Year of Holdings, with respect to which the applicable period for delivery shall be
105 days rather than 40 days, and (iii) the first Fiscal Month of each Fiscal Year of Holdings, with respect
to which the applicable period for delivery shall be 70 days rather than 40 days), a Consolidated balance
sheet of Holdings and its Subsidiaries as of the end of such Fiscal Month, and the related Consolidated
statements of income or operations and cash flows for such Fiscal Month and for the portion of Holdings’
Fiscal Year then ended, setting forth in each case in comparative form for the corresponding month of the
previous Fiscal Year and the corresponding portion of the previous Fiscal Year, and to the figures as set
forth in the projections delivered pursuant to Section 6.01(d), all in reasonable detail and duly certified by
a Responsible Officer on behalf of Holdings as fairly presenting in all material respects the financial
condition, results of operations, shareholders’ equity, and cash flows of Holdings and its Subsidiaries in
accordance with GAAP, subject only to normal year-end and quarterly adjustments and the absence of
footnotes;


                                                     82
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 404 of 569



                (d)     as soon as available, but in any event no later than 60 days after the end of each
Fiscal Year of Holdings (commencing with the Fiscal Year ending March 29, 2025), an annual budget of
Holdings and its Subsidiaries on a Consolidated basis for the immediately following Fiscal Year, prepared
by management of the Loan Parties for its internal use consistent with the annual budget and related
financial statements delivered by the Borrower under the Existing Credit Agreement or as otherwise
reasonably acceptable to the Administrative Agent; and

                 (e)     simultaneously with the delivery of each set of financial statements referred to in
(i) Section 6.01(a), Section 6.01(b) and Section 6.01(c) above, the related consolidating financial
statements reflecting the adjustments necessary to eliminate the accounts of Unrestricted Subsidiaries and
variable interest entities (if any) from such financial statements and (ii) Section 6.01(a) and
Section 6.01(b) above, a management narrative report providing reasonable detail on the financial results
of Holdings for the period covered by such financial statements compared to the corresponding prior year
period and the key factors (as determined in good faith by the Borrower) causing such changes.

       6.02      Certificates; Other Information. Deliver to the Administrative Agent, in form and detail
reasonably satisfactory to the Administrative Agent:

                 (a)       concurrently with the delivery of the financial statements referred to in
Sections 6.01(a) and (b), (i) a duly completed Compliance Certificate signed by a Responsible Officer of
Holdings, as of the most recent Fiscal Quarter end for which financial statements are available or were
required to be delivered under Section 6.01(a) or Section 6.01(b), and (ii) notice of any change in the
location of any office in which a Loan Party maintains books or records relating to Collateral owned by it
or any office or facility at which Collateral owned by it is located (including the establishment of any such
new office or facility);

                 (b)     concurrently with the delivery of the financial statements referred to in
Section 6.01(c), a duly completed Compliance Certificate signed by a Responsible Officer of Holdings, as
of the most recent Fiscal Quarter end for which financial statements are available or were required to be
delivered under Section 6.01(c).

                 (c)       the Borrowing Base Calculation information and items described on Schedule
6.02(c) hereto by the respective dates set forth therein. All information provided by the Borrower to the
Administrative Agent in each Borrowing Base Calculation (i) shall be certified (through ABLSoft) to be
true and correct in all respects and based on information contained in the Borrower’s financial records, (ii)
shall be in accordance with the representations, warranties, agreements and covenants for such information
in this Agreement as to the determination of the Borrowing Base and (iii) may be utilized for the
determination and calculation of the Borrowing Base;

                  (d)     promptly after the same are publicly available, copies of all annual, regular,
periodic and special reports and registration statements which Holdings or the Borrower may file or be
required to file with the SEC under Section 13 or 15(d) of the Securities Exchange Act of 1934, or with any
national securities exchange, and in any case not otherwise required to be delivered to the Administrative
Agent pursuant hereto;

                 (e)     not later than seven (7) Business Days after receipt thereof by any Loan Party or
any Restricted Subsidiary thereof, copies of all notices, requests and other documents (including
amendments, waivers and other modifications) so received under or pursuant to any Term Loan Document
or instrument, indenture, loan or credit or similar agreement regarding or related to any breach or default
by any party thereto or any other event that, in each case, could have a Material Adverse Effect;

                                                     83
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 405 of 569



                  (f)       promptly after any Loan Party has knowledge thereof, written notice of (i) any
action or proceeding relating to any Environmental Law pending or threatened against any Loan Party or
any of its Subsidiaries, (ii) any noncompliance with any Environmental Law by any Loan Party or any of
its Subsidiaries, (iii) the existence of any Environmental Liability, or (iv) the existence of any Release of
Hazardous Materials at any property currently or formerly owned, leased or operated by any Loan Party or
any of its Subsidiaries, which action, proceeding, non-compliance, Environmental Liability or Release
could (x) reasonably be expected to have a Material Adverse Effect, or (y) cause any property described in
the Mortgages to be subject to any material restrictions on ownership, occupancy, use or transferability
under any Environmental Law;

                  (g)     as soon as available, but in any event within thirty (30) days after the end of each
Fiscal Year of the Borrower, to the extent that it would reflect information not previously delivered to the
Administrative Agent, (i) a report supplementing Schedules 5.08(c), 5.08(d) and 5.08(d)(ii), including an
identification of all owned real property disposed of by any Loan Party or any Subsidiary thereof and all
leased real property disposed of by any Loan Party or any Domestic Subsidiary during such Fiscal Year, a
list and description (including the street address, county or other relevant jurisdiction, state, record owner,
book value thereof and, in the case of leases of property, lessor, lessee, expiration date and annual rental
cost thereof) of all Real Estate acquired or leased during such Fiscal Year and a description of such other
changes in the information included in such Schedules as may be necessary for such Schedules to be
accurate and complete and (ii) a report supplementing Schedules 5.08(e), 5.13 and 5.17 containing a
description of all changes in the information included in such Schedules as may be necessary for such
Schedules to be accurate and complete, each such report to be signed by a Responsible Officer of Holdings
and to be in a form reasonably satisfactory to the Administrative Agent;

                  (h)      at least five (5) Business Days prior written notice (or such shorter period as to
which the Administrative Agent in its sole discretion agrees) of any change in: (i) any Loan Party’s name
(ii) any Loan Party’s organizational structure or jurisdiction of incorporation or formation; or (iii) any Loan
Party’s Federal Taxpayer Identification Number or organizational identification number assigned to it by
its state of organization;

               (i)     promptly after the request by the Administrative Agent or any Lender, all
documentation and other information that the Administrative Agent or such Lender reasonably requests in
order to comply with its ongoing obligations under applicable “know your customer” and anti-money
laundering rules and regulations, including the USA PATRIOT Act and the Beneficial Ownership
Regulation;

                (j)     upon request by the Administrative Agent, copies of: (i) each Schedule B
(Actuarial Information) to the annual report (Form 5500 Series) filed by any ERISA Affiliate with the
Internal Revenue Service with respect to each Pension Plan; (ii) the most recent actuarial valuation report
for each Pension Plan; and (iii) all notices received by any ERISA Affiliate from a Multiemployer Plan
sponsor or any governmental agency concerning an ERISA Event;

                (k)     promptly, all such financial and other information as the Administrative Agent
shall reasonably request relating to (i) the Collateral, (ii) the assets and business and operations of the
Borrowers, Guarantors and their respective Subsidiaries, (iii) the Chapter 11 Cases and (iv) the compliance
with any Term Loan Document;

                (l)      (i) as soon as practicable (and, in any event, at least two (2) Business Days to the
extent practicable or such shorter period as agreed by the Administrative Agent in its sole discretion) in
advance of filing with the Bankruptcy Court) or to the U.S. Trustee, as the case may be, the Borrower and
the Guarantors shall deliver to the Administrative Agent the proposed Final Financing Order and all other
                                                      84
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 406 of 569



proposed orders and pleadings related to any of the DIP Facilities, any other financing or any use of cash
collateral, any sale or other disposition of Collateral outside the ordinary course, having a value in excess
of $1,000,000, cash management, adequate protection, any plan of reorganization and/or any disclosure
statement related thereto and (ii) substantially simultaneously with the filing with the Bankruptcy Court or
delivering to any official committee appointed in any of the Chapter 11 Cases (or the professionals to any
such committee) or the U.S. Trustee, as the case may be, the Borrower and the Guarantors shall deliver to
the Administrative Agent all other notices, filings, motions, pleadings or other information concerning the
financial condition of the Borrower and the Guarantors or other Indebtedness of the Borrower and the
Guarantors or, to the extent not required to be delivered pursuant to subclause (i) above, any request for
relief under section 363, 365, 1113 or 1114 of the Bankruptcy Code or section 9019 of the Federal Rules
of Bankruptcy Procedure that may be filed with the Bankruptcy Court or delivered to any official committee
appointed in any of the Chapter 11 Cases (or the professional to any such committee); and

                 (m)     promptly (and no later than one (1) Business Day) following delivery to the DIP
Term Loan Agent or the lenders under the DIP Term Loan Agreement, copies of any material report or
other information required to be delivered thereto pursuant to the terms of the DIP Term Loan Agreement
to the extent such report or information is not otherwise required to be delivered to the Agents or Lenders
hereunder.

         Documents required to be delivered pursuant to Section 6.01(a) or (b) or Section 6.02(c) (to the
extent any such documents are included in materials otherwise filed with the SEC) may be delivered by
Approved Electronic Communications and if so delivered, shall be deemed to have been delivered on the
date (i) on which the Borrower posts such documents, or provides a link thereto on the Borrower’s website
on the Internet at the website address listed on Schedule 11.02; or (ii)) on which such documents are posted
on the Borrower’s behalf on an Internet or intranet website, if any, to which each Lender and the
Administrative Agent have access (whether a commercial, third-party website or whether sponsored by the
Administrative Agent); provided that: (A) upon request, the Borrower shall deliver paper copies of such
documents to the Administrative Agent, and (B) the Borrower shall notify the Administrative Agent (by
Approved Electronic Communications) of the posting of any such documents and provide such documents
to the Administrative Agent by Approved Electronic Communications. The Administrative Agent shall
have no obligation to request the delivery or to maintain copies of the documents referred to above, and in
any event shall have no responsibility to monitor compliance by the Borrower with any such request for
delivery, and each Lender shall be solely responsible for requesting delivery to it or maintaining its copies
of such documents.

         The Borrower hereby acknowledges that (1) the Administrative Agent and/or the Arranger will
make available to the Lenders materials and/or information provided by or on behalf of the Borrower
hereunder (collectively, “Borrower Materials”) by posting the Borrower Materials on IntraLinks or
another similar electronic system (the “Platform”) and (2) certain of the Lenders may be “public-side”
Lenders (i.e., Lenders that do not wish to receive material nonpublic information with respect to the
Borrower or its securities) (each, a “Public Lender”). The Borrower hereby agrees that at any time that
the Borrower is the issuer of any outstanding debt or equity securities that are registered or issued pursuant
to a private offering or is actively contemplating issuing any such securities it will use commercially
reasonable efforts to identify that portion of the Borrower Materials that may be distributed to the Public
Lenders and that (w) all such Borrower Materials shall be clearly and conspicuously marked “PUBLIC”
which, at a minimum, shall mean that the word “PUBLIC” shall appear prominently on the first page
thereof; (x) by marking Borrower Materials “PUBLIC,” the Borrower shall be deemed to have authorized
the Administrative Agent, the Arranger and the Lenders to treat such Borrower Materials as not containing
any material non-public information (although it may be sensitive and proprietary) with respect to the
Borrower or its securities for purposes of United States Federal and state securities laws (provided,
however, that to the extent such Borrower Materials constitute Information, they shall be treated as set forth
                                                     85
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 407 of 569



in Section 11.07); (y) all Borrower Materials marked “PUBLIC” are permitted to be made available through
a portion of the Platform designated “Public Investor”; and (z) the Administrative Agent and the Arranger
shall be entitled to treat any Borrower Materials that are not marked “PUBLIC” as being suitable only for
posting on a portion of the Platform not designated “Public Investor.”

       6.03    Notices.     Promptly, after knowledge thereof by a Responsible Officer, notify the
Administrative Agent:

                 (a)     of the occurrence of any Default;

                (b)     of any matter that has resulted or would reasonably be expected to result in a
Material Adverse Effect, including as a result of (i) breach or non-performance of, or any default under, a
Contractual Obligation of any Loan Party or any Restricted Subsidiary thereof; (ii) any dispute, litigation,
investigation, proceeding or suspension between any Loan Party or any Subsidiary thereof and any
Governmental Authority; or (iii) the commencement of, or any material development in, any litigation or
proceeding affecting any Loan Party or any Restricted Subsidiary thereof, including pursuant to any
applicable Environmental Laws;

                (c)     of the occurrence of any ERISA Event that would reasonably be expected to result
in a Material Adverse Effect;

               (d)     of any material change in accounting policies or financial reporting practices by
any Loan Party or any Restricted Subsidiary thereof;

                   (e)    of (i) any casualty or other insured damage to any portion of the Collateral or
(ii) the commencement of any action or proceeding for the taking of any interest in a portion of the
Collateral under power of eminent domain or (iii) any condemnation or similar proceeding or if any portion
of the Collateral is damaged or destroyed; provided, however, that with respect to each of clauses (i),
(ii) and (iii), the amount of Collateral affected thereby shall have an aggregate fair market value in excess
of (A) $15.0 million, in the case of Term Priority Collateral or (B) $10.0 million, in the case of ABL Priority
DIP Collateral;

                 (f)     of any change in Holdings’ or the Borrower’s chief executive officer or chief
financial officer;

                (g)    any termination, withdrawal or resignation of Holdings’ or the Borrower’s
Registered Public Accounting Firm; and

                 (h)       any change in the information provided in the Beneficial Ownership Certification
most recently delivered to such Lender that would result in a change to the list of beneficial owners
identified in such certification.

        Each notice pursuant to Section 6.03(a) shall be made by Approved Electronic Communications
accompanied by a statement of a Responsible Officer of the Borrower setting forth details of the occurrence
referred to therein and stating what action the Borrower has taken and proposes to take with respect thereto.

         6.04    Payment of Obligations. Pay and discharge as the same shall become due and payable
(a) all Taxes upon it or its properties or assets in all respects, unless the same are being contested in good
faith by appropriate proceedings diligently conducted, adequate reserves in accordance with GAAP are
being maintained by such Loan Party or such Restricted Subsidiary and such contest effectively suspends
the collection of the contested obligation and the enforcement of any Lien securing such obligation; except
                                                      86
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 408 of 569



for Taxes that could not reasonably be expected to, individually or in the aggregate, have a Material Adverse
Effect; and (b) all material lawful claims which, if unpaid, would by law become a Lien upon its property
(except as set forth in clause (a) above).

         6.05    Preservation of Existence, Etc (a) Subject to necessary Bankruptcy Court approval,
preserve, renew and maintain in full force and effect its legal existence and good standing under the Laws
of the jurisdiction of its organization, except for (i) transactions permitted by Section 7.04 or 7.05 and
(ii) with respect to the maintenance of good standing status of any Loan Party, it will not be a breach of
clause (a) of this Section 6.05 unless the failure to maintain good standing of such Loan Party could
reasonably be expected to have a Material Adverse Effect; (b) take all reasonable action to maintain all
rights, privileges, permits, licenses and franchises necessary or desirable in the normal conduct of its
business, except to the extent that failure to do so could not reasonably be expected to have a Material
Adverse Effect; and (c) preserve or renew all of its registered patents, trademarks, trade names and service
marks, the non-preservation or non-renewal of which could reasonably be expected to have a Material
Adverse Effect.

        6.06     Maintenance of Properties. Except pursuant to any necessary Bankruptcy Court approval
(a) Maintain, preserve and protect all of its material properties and equipment necessary in the operation of
its business in good working order and condition, ordinary wear and tear, casualty or condemnation
excepted; and (b) make all necessary repairs thereto and renewals and replacements thereof except, in each
case, where the failure to do so could not reasonably be expected to have a Material Adverse Effect.

        6.07    Maintenance of Insurance.

                  (a)     Maintain with financially sound and reputable insurance companies not Affiliates
of the Loan Parties, insurance with respect to its properties and business against loss or damage (i) of the
kinds customarily insured against by Persons engaged in the same or similar business, of such types and in
such amounts as are customarily carried under similar circumstances by such other Persons or
(ii) substantially similar to insurance maintained by the Borrower and its Restricted Subsidiaries on the
Closing Date, in each case, subject to such changes as the Borrower may reasonably deem appropriate in
its business judgment with respect to deductibles, self-insured amounts, coverage exclusions and maximum
covered losses (provided that none of such policies shall include a co-insurance clause).

                (b)      [Reserved].

                  (c)     Fire and extended coverage policies maintained with respect to any Collateral shall
be endorsed or otherwise amended to include (i) a mortgage clause (regarding improvements to Real Estate)
and lenders’ loss payable clause (regarding personal property), in form and substance satisfactory to the
Collateral Agent, which endorsements or amendments shall provide that the insurer shall pay all proceeds
otherwise payable to the Loan Parties under the policies directly to the Collateral Agent, and (ii) such other
provisions as the Collateral Agent may reasonably require from time to time to protect the interests of the
Credit Parties. Commercial general liability policies shall be endorsed to name the Collateral Agent as an
additional insured. Business interruption policies with respect to Holdings and the Domestic Subsidiaries
shall name the Collateral Agent as a loss payee and shall be endorsed or amended to include (A) a provision
that, from and after the Closing Date, the insurer shall pay all proceeds otherwise payable to the Loan
Parties under the policies directly to the Collateral Agent, and (B) such other provisions as the Collateral
Agent may reasonably require from time to time to protect the interests of the Credit Parties. The Borrower
shall deliver to the Collateral Agent, prior to the cancellation, modification adverse to the Lenders, or non-
renewal of any such policy of insurance, a copy of a renewal or replacement policy (or other evidence of
renewal of a policy previously delivered to the Collateral Agent, including an insurance binder) together
with evidence satisfactory to the Collateral Agent of payment of the premium therefor.
                                                     87
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 409 of 569



                 (d)      In the event that any part of the Collateral (other than, as long as the DIP Term
Facility or the Prepetition Term Facility is outstanding, Term Priority Collateral) is damaged by fire or
other casualty and the insurance proceeds for such damage are greater than $10.0 million in any Fiscal Year
such proceeds, in their entirety, shall be delivered to the Administrative Agent and the Administrative Agent
shall promptly apply such proceeds to reduce the Borrower’s outstanding Credit Extensions in accordance
with Sections 2.05(e) or 8.03, as applicable. In the event any part of the Collateral (other than, as long as
the DIP Term Facility or the Prepetition Term Facility is outstanding, Term Priority Collateral) is damaged
by fire or other casualty and the insurance proceeds for such damage are less than $10.0 million in any
Fiscal Year, such proceeds, in their entirety, shall be delivered to the Borrower.

                 (e)      None of the Credit Parties, or their agents or employees shall be liable for any loss
or damage insured by the insurance policies required to be maintained under this Section 6.07. Each Loan
Party shall look solely to its insurance companies or any other parties other than the Credit Parties for the
recovery of such loss or damage and such insurance companies shall have no rights of subrogation against
any Credit Party or its agents or employees. If, however, the insurance policies do not provide waiver of
subrogation rights against such parties, as required above, then the Loan Parties hereby agree, to the extent
permitted by law, to waive their right of recovery, if any, against the Credit Parties and their agents and
employees. The designation of any form, type or amount of insurance coverage by any Credit Party under
this Section 6.07 shall in no event be deemed a representation, warranty or advice by such Credit Party that
such insurance is adequate for the purposes of the business of the Loan Parties or the protection of their
properties.

        6.08    Compliance with Laws. Subject to the Financing Orders, comply in all material respects
with the requirements of all Laws and all orders, writs, injunctions and decrees applicable to it or to its
business or property, except in such instances in which (a) such requirement of Law or order, writ,
injunction or decree is being contested in good faith by appropriate proceedings diligently conducted and
with respect to which adequate reserves have been set aside and maintained by the Loan Parties in
accordance with GAAP; or (b) the failure to comply therewith could not reasonably be expected to have a
Material Adverse Effect.

         6.09    Books and Records. Maintain proper books of record and account, in which entries in
conformity in all material respects with GAAP under U.S. law, with respect to Holdings and its Domestic
Subsidiaries, and under applicable foreign law, with respect to Foreign Subsidiaries (provided that nothing
in this Section 6.09 shall affect the obligation of Holdings to provide financial statements in accordance
with GAAP under Section 6.01), consistently applied shall be made of all financial transactions and matters
involving the assets and business of the Loan Parties and their Restricted Subsidiaries, as the case may be.

        6.10     Inspection Rights.

                 (a)      Permit representatives and independent contractors of the Administrative Agent
(accompanied by any Lender (with the consent of the Borrower (not to be unreasonably withheld)) to visit
and inspect any of its properties, to examine its corporate, financial, insurance, and operating records, and
make copies thereof or abstracts therefrom, and to discuss its affairs, finances and accounts with its
directors, officers, and independent public accountants (subject to such accountant’s customary policies
and procedures), all at such reasonable times during normal business hours and as often as may be
reasonably desired, upon reasonable advance notice to the Borrower; provided, however, that unless an
Event of Default has occurred and is continuing, the Administrative Agent may make only one such visit
in any Fiscal Year at the Borrower’s expense, provided further that when an Event of Default exists the
Administrative Agent (or any of its representatives or independent contractors) may do any of the foregoing
at the expense of the Borrower at any time during normal business hours and upon reasonable advance
notice to the extent practicable.
                                                      88
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 410 of 569



                 (b)      Upon the request of the Administrative Agent after reasonable prior notice, permit
the Administrative Agent or professionals (including investment bankers, consultants, accountants, lawyers
and appraisers) retained by the Administrative Agent to conduct appraisals, collateral field examinations
and other evaluations, including, without limitation, of (i) the Borrower’s practices in the computation of
the Borrowing Base, and (ii) the assets included in the Borrowing Base and related financial information
such as, but not limited to, sales, gross margins, payables, accruals and reserves. Subject to the following
sentences, the Loan Parties shall pay the fees and expenses of the Administrative Agent or such
professionals with respect to such evaluations and appraisals. Without limiting the foregoing, the Loan
Parties acknowledge that the Administrative Agent may undertake up to two (2) inventory appraisals and
two (2) collateral field examinations each eighteen (18) month period, at the Loan Parties’ expense;
provided that, as long as no Enhanced Collateral Trigger Event exists, the Administrative Agent may
conduct no more than one collateral field examination and one inventory appraisal in any twelve month
period at the Loan Parties’ expense. Notwithstanding the foregoing, the Administrative Agent may cause
additional appraisals and collateral field examinations to be undertaken (y) as it in its discretion deems
necessary or appropriate, at its own expense, or (z) if required by applicable Law or if a Default shall have
occurred and be continuing, at the expense of the Loan Parties.

         6.11     Use of Proceeds. Subject to the Financing Orders, use the proceeds of the Credit
Extensions to (i) provide ongoing working capital and for other general corporate purposes of the Borrower
and its Subsidiaries, (ii) to refinance in full, on the Closing Date, the Prepetition ABL Credit Facility (and
to cash collateralize the Existing Letters of Credit), and (iii) to pay fees, costs and expenses incurred in
connection with the Transactions and other administration costs incurred in connection with the Chapter 11
Cases. The Borrower will not request any Borrowing or Letter of Credit, and the Borrower shall not use,
and shall procure that its Subsidiaries and its and their respective directors, officers and employees shall
not use, the proceeds of any Borrowing or Letter of Credit (a) in furtherance of an offer, payment, promise
to pay, or authorization of the payment or giving of money, or anything else of value, to any Person in
violation of any Anti-Corruption Laws, (b) for the purpose of funding, financing or facilitating any
activities, business or transaction of or with any Sanctioned Person, or in any Sanctioned Country, or (c) in
any manner that would result in the violation of any Sanctions applicable to any party hereto.

        6.12    [Reserved].

        6.13    [Reserved].

        6.14      Physical Inventories. Cause at least one (1) physical perpetual “cycle count” at each of the
Borrower’s locations to be undertaken in each eighteen (18) month period conducted by such inventory
takers as are satisfactory to the Collateral Agent and following such methodology as is consistent with the
methodology used in the immediately preceding perpetual cycle count or as otherwise may be reasonably
acceptable to the Collateral Agent. The Borrower shall provide the Collateral Agent information regarding
the results of such cycle counts in form and detail consistent with past practices under the Existing Credit
Agreement or as otherwise reasonably acceptable to the Administrative Agent.

        6.15    Further Assurances. (a) Promptly upon request by the Administrative Agent, or any Lender
through the Administrative Agent, correct any material defect or error that may be discovered in any Loan
Document or in the execution, acknowledgment, filing or recordation of any Collateral Document or other
document or instrument relating to any Collateral, and (b) subject to the terms of the Financing Orders,
execute any and all further documents, financing statements, agreements, instruments, certificates, notices
and acknowledgements, and take all such further actions that may be required under any applicable Law
and which the Administrative Agent reasonably requests to ensure the creation, perfection and priority of
the Liens created or intended to be created under the Financing Orders.

                                                     89
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 411 of 569



        6.16     Lenders Meetings. The Borrower will, upon the request of the Administrative Agent or
Required Lenders, participate in a meeting of the Administrative Agent and Lenders once during each Fiscal
Year to be held, at the request of the Administrative Agent or Required Lenders, by teleconference or at the
Borrower’s corporate offices (or at such other location as may be agreed to by the Borrower and the
Administrative Agent) at such time as may be agreed to by the Borrower and the Administrative Agent.

        6.17    [Reserved].

         6.18    Designation of Subsidiaries. The board of directors of Holdings may at any time designate
any Restricted Subsidiary as an Unrestricted Subsidiary or any Unrestricted Subsidiary as a Restricted
Subsidiary; provided that (i) immediately before and after such designation, no Default shall have occurred
and be continuing, (ii) the Borrower may not be designated as an Unrestricted Subsidiary, (iii) no
Subsidiary may be designated as an Unrestricted Subsidiary if it is a “Restricted Subsidiary” for the purpose
of the Term Loan Documents, (iv) no Restricted Subsidiary may be designated as an Unrestricted
Subsidiary if it was previously designated an Unrestricted Subsidiary, (v) no Unrestricted Subsidiary shall
own any Equity Interests in any Restricted Subsidiary (vi) no Unrestricted Subsidiary shall hold any
Indebtedness of, or any Lien on any property of, the Borrower or any Restricted Subsidiary, (vii) no
Unrestricted Subsidiary shall be a party to any transaction or arrangement with the Borrower and its
Restricted Subsidiaries that would not be permitted by Section 7.08, and (viii) none of Holdings or any of
its Restricted Subsidiaries shall have any obligation to subscribe for additional Equity Interests of any
Unrestricted Subsidiary or to preserve or maintain the financial condition of any Unrestricted Subsidiary.
The designation of any Subsidiary as an Unrestricted Subsidiary shall constitute an Investment by Holdings
and its Restricted Subsidiaries therein at the date of designation in an amount equal to the net book value
of Holdings’ or such Restricted Subsidiary’s (as applicable) investment therein. The designation of any
Unrestricted Subsidiary as a Restricted Subsidiary shall constitute the incurrence at the time of designation
of any Indebtedness or Liens of such Subsidiary existing at such time. The Borrower shall cause each of
the Restricted Subsidiaries and Unrestricted Subsidiaries to satisfy customary corporate and other
formalities.

        6.19    [Reserved].

        6.20    Certain Other Bankruptcy Matters.

                  (a)     The Borrower, the Guarantors and their Subsidiaries shall comply (i) in all material
respects, after entry thereof, with all of the requirements and obligations set forth in the Financing Orders
and the Cash Management Order, as each such order is amended and in effect from time to time in
accordance with this Agreement, (ii) in all material respects with the terms of all entered orders of the type
listed in clause (b) of the definition of “Approved Bankruptcy Court Order”, and the terms of such orders
must comply with, and be modified only in accordance with, clause (c) of the definition of “Approved
Bankruptcy Court Order and (iii) in all material respects, after entry thereof, with the orders (to the extent
not covered by subclause (i) or (ii) above) approving the Chapter 11 Debtors’ “first day” and “second day”
relief obtained in the Chapter 11 Cases, as such orders, if entered by the Bankruptcy Court, must comply
with, and only be modified from time to time in accordance with, clause (c) of the definition of “Approved
Bankruptcy Court Order”.

                 (b)      The Borrower and the Guarantors shall provide at least five (5) Business Days’ (or
such shorter notice acceptable to the Administrative Agent in its sole discretion) prior written notice to the
Administrative Agent and its advisors prior to any rejection of the Borrower’s or any Guarantor’s or any
other Subsidiary’s material contracts or material non-residential real property leases pursuant to Section
365 of the Bankruptcy Code, and no such contract or lease shall be rejected, if such rejection adversely
affects in any material respect the ABL Priority DIP Collateral, any Liens thereon or any DIP Superpriority
                                                     90
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 412 of 569



Claims payable therefrom (including, without limitation, any sale or other disposition of ABL Priority DIP
Collateral or the priority of any such Liens or DIP Superpriority Claims) if the Administrative Agent
informs the Borrower and the Guarantors in writing within three (3) Business Days of receipt of the notice
from the Borrower and Guarantors referenced above that it objects to such rejection.

                                           ARTICLE VII
                                       NEGATIVE COVENANTS1

        So long as any Lender shall have any Commitment hereunder, any Loan or other Obligation
hereunder shall remain unpaid or unsatisfied (other than any indemnity obligation for unasserted claims
that by its terms survives the termination of this Agreement) or any Letter of Credit shall remain
outstanding, the Borrower shall not (and with respect to Section 7.13 only, Holdings shall not), nor shall
the Borrower permit any Restricted Subsidiary to, directly or indirectly:

         7.01   Liens. Create, incur, assume or suffer to exist any Lien upon any of its property, other than
the following Liens (Liens described below are herein referred to as “Permitted Liens”):

                (a)      Liens pursuant to any Loan Document;

                  (b)     Liens existing on the date hereof and listed on Schedule 7.01(b) and any renewals
or extensions thereof, provided that (i) the property covered thereby is not changed in any material manner,
(ii) the amount secured or benefited thereby is not increased except as contemplated by Section 7.02(e),
(iii) the direct and contingent obligors with respect thereto are not changed (other than to decrease the
number of obligors), and (iv) any renewal or extension of the obligations secured or benefited thereby is
permitted by Section 7.02(e);

                (c)      Liens for taxes not yet due or which are the subject of a Permitted Protest;

                 (d)      carriers’, warehousemen’s, mechanics’, materialmen’s, repairmen’s or other like
Liens arising in the ordinary course of business which are not overdue for a period of more than 30 days or
which are the subject of a Permitted Protest;

                (e)     (i) pledges or deposits in the ordinary course of business in connection with
workers’ compensation, unemployment insurance and other social security legislation, other than any Lien
imposed by ERISA and (ii) pledges and deposits in the ordinary course of business securing liability for
reimbursement or indemnification obligations of (including obligations in respect of letters of credit or bank
guarantees for the benefit of) insurance carriers providing property, casualty or liability insurance to
Holdings or any of its Restricted Subsidiaries;

                (f)       deposits to secure the performance of bids, trade contracts and leases (other than
Indebtedness for borrowed money), statutory obligations, surety and appeal bonds, performance bonds and
other obligations of a like nature incurred in the ordinary course of business;

                 (g)     easements, rights-of-way, restrictions and other similar encumbrances affecting
Real Estate which, in the aggregate, are not substantial in amount, and which do not in any case materially
detract from the value of the property subject thereto or materially interfere with the ordinary conduct of
the business of the applicable Person;


1
       The negative covenants will be substantially conformed to the DIP Term Loan Agreement, once that
agreement is finalized.
                                                     91
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 413 of 569



               (h)      Liens securing judgments for the payment of money not constituting an Event of
Default under Section 8.01(i);

                 (i)      Liens securing Indebtedness permitted under Section 7.02(g); provided that
(i) such Liens do not at any time encumber any property other than the property financed by such
Indebtedness, (ii) the Indebtedness secured thereby does not exceed the cost of the property being acquired
on the date of acquisition, and (iii) such Lien and the Indebtedness secured thereby are incurred
contemporaneously with or within two hundred seventy (270) days after the acquisition of such property;

                (j)     Liens on the Collateral securing the Prepetition Term Debt and the DIP Term Loan
Obligations having the priority set forth in the Financing Orders;

                 (k)     landlords’ and lessors’ Liens in respect of rent and other lease obligations that are
not past due for a period of 60 days or more or that are the subject of a Permitted Protest;

                  (l)     possessory Liens in favor of brokers and dealers arising in connection with the
acquisition or disposition of Investments, provided that such Liens (i) attach only to such Investments and
(ii) secure only obligations incurred in the ordinary course and arising in connection with the acquisition or
disposition of such Investments and not any obligation in connection with margin financing;

                  (m)      Liens arising solely by virtue of any statutory or common law provisions relating
to banker’s Liens, ordinary course Liens in favor of securities intermediaries, rights of setoff or similar
rights and remedies as to deposit accounts or securities accounts or other funds maintained with depository
institutions or securities intermediaries;

               (n)     Liens arising from precautionary UCC filings regarding “true” operating leases or
the consignment of goods to a Loan Party;

                  (o)     Liens in favor of customs and revenues authorities imposed by applicable Law
arising in the ordinary course of business in connection with the importation of goods and securing
obligations (i) that are not overdue by more than thirty (30) days, or (ii) that are the subject of a Permitted
Protest;

                 (p)      Liens on specific existing assets and proceeds thereof (other than assets of the type
included in the Borrowing Base, except to the extent that the Administrative Agent is reasonably satisfied
that such Lien does not interfere with Collateral Agent’s Lien on such assets and Collateral Agent's ability
to realize on such Lien on such assets and the proceeds thereof) of a Person acquired following the Closing
Date in existence on the date such Person became a Restricted Subsidiary; provided that such Liens were
not created in anticipation of the transaction pursuant to which such Person became a Restricted Subsidiary;

                 (q)     licenses of Intellectual Property permitted under Section 7.05(g) hereof;

                (r)     Liens on the assets of Foreign Subsidiaries securing Indebtedness or other
obligations of Foreign Subsidiaries permitted by Section 7.02;

                 (s)     other Liens securing Indebtedness or other obligations of the Borrower and the
Subsidiary Guarantors outstanding in an aggregate principal amount not to exceed $[●]; provided that no
such Lien shall extend to or cover any Collateral;

                (t)     leases, licenses, subleases or sublicenses granted to others in the ordinary course
of business which do not (i) in any case materially detract from the value of the property subject thereto or
                                                      92
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 414 of 569



(ii) interfere in any material respect with the business of the Borrower and its Subsidiaries or (iii) secure
any Indebtedness;

               (u)     Liens solely on any cash earnest money deposits made by the Borrower or any of
the Restricted Subsidiaries in connection with any letter of intent or purchase agreement permitted
hereunder;

               (v)      ground leases in respect of real property on which facilities owned or leased by the
Borrower or any of its Subsidiaries are located; and

               (w)     Liens on insurance policies and the proceeds thereof securing the financing of the
premiums with respect thereto.

        7.02     Indebtedness. Create, incur, assume, guarantee, suffer to exist or otherwise become liable
with respect to any Indebtedness, except (Indebtedness described below is herein referred to as “Permitted
Indebtedness”):

                 (a)      obligations (contingent or otherwise) of the Borrower or any of the Restricted
Subsidiaries existing or arising under any Swap Contract, provided that (i) such obligations are (or were)
entered into by such Person in the ordinary course of business for the purpose of directly mitigating risks
associated with fluctuations in interest rates or foreign exchange rates or otherwise to mitigate risks
associated with its assets or liabilities or business operations, and (ii) such Swap Contract does not contain
any provision exonerating the counterparty to such Swap Contract from its obligation to make payments on
outstanding transactions to the Borrower or the Restricted Subsidiaries (notwithstanding that the Borrower
or a Restricted Subsidiary is the defaulting party);

                (b)     (i) Indebtedness of a Restricted Subsidiary of the Borrower owed to the Borrower
or to another Restricted Subsidiary of the Borrower and (ii) Indebtedness of the Borrower owed to any
Restricted Subsidiaries of the Borrower, in each case, which Indebtedness shall (A) in the case of
Indebtedness owed to a Loan Party, constitute “Pledged Debt” under the Security Agreement, (B) be on
terms (including subordination terms, if owed by a Loan Party) acceptable to the Administrative Agent and
(C) be otherwise permitted under the provisions of Section 7.03;

                 (c)     Indebtedness under the Loan Documents;

                 (d)     Indebtedness of the Loan Parties under the DIP Term Facility and the Prepetition
Term Facility.

               (e)     Indebtedness outstanding on the date hereof and listed on Schedule 7.02 and any
Permitted Refinancing Indebtedness in respect thereof;

               (f)      Guarantees of the Borrower or any Guarantor in respect of Indebtedness otherwise
permitted hereunder of the Borrower or any Subsidiary Guarantor;

                 (g)    Indebtedness in respect of Capital Lease Obligations, Synthetic Lease Obligations,
and purchase money obligations for fixed or capital assets within the limitations set forth in
Section 7.01(i) and Permitted Refinancing Indebtedness in respect thereof; provided, however, that the
aggregate amount of all such Indebtedness at any one time outstanding shall not exceed $50.0 million;

                 (h)     Permitted Holdco Debt;


                                                     93
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 415 of 569



                 (i)      Indebtedness of any Person that becomes a Restricted Subsidiary of the Borrower
after the date hereof in accordance with the terms of Section 7.03(h), which Indebtedness is existing at the
time such Person becomes a Restricted Subsidiary of the Borrower (other than Indebtedness incurred solely
in contemplation of such Person’s becoming a Restricted Subsidiary of the Borrower) and Permitted
Refinancing Indebtedness in respect thereof;

                (j)     [reserved];

                (k)     Indebtedness of the Loan Parties in an aggregate principal amount not to exceed
$[●] at any time outstanding;

                (l)     Indebtedness of Foreign Subsidiaries under the Swedish Credit Facility in an
aggregate amount not to exceed the U.S. dollar equivalent (as reasonably determined by the Administrative
Agent) of $[●] outstanding at any time; and

                (m)      other Indebtedness of Foreign Subsidiaries in an aggregate amount not to exceed
$[●] outstanding at any time.

For purposes of determining compliance with any U.S. dollar-denominated restriction on the incurrence of
Indebtedness, the U.S. dollar-equivalent principal amount of Indebtedness denominated in a non-U.S.
currency shall be calculated based on the relevant currency exchange rate in effect on the date such
Indebtedness was incurred; provided that, if such Indebtedness is incurred to extend, replace, refund,
refinance, renew or defease other Indebtedness denominated in a foreign currency, and such extension,
replacement, refunding, refinancing, renewal or defeasance would cause the applicable U.S. dollar-
denominated restriction to be exceeded if calculated at the relevant currency exchange rate in effect on the
date of such extension, replacement, refunding, refinancing, renewal or defeasance, such U.S. dollar-
denominated restriction shall be deemed not to have been exceeded so long as the principal amount of such
refinancing Indebtedness does not exceed the principal amount of such Indebtedness being extended,
replaced, refunded, refinanced, renewed or defeased.

        7.03    Investments. Make or hold any Investments, except:

               (a)      Investments held by the Borrower and the Restricted Subsidiaries in the form of
Cash Equivalents;

                 (b)      Investments consisting of loans and advances to officers, directors and employees
of Holdings and its Restricted Subsidiaries to finance the purchase of capital stock of Holdings and for
travel, entertainment, relocation and analogous ordinary business purposes, in an aggregate amount not to
exceed $2.5 million at any time outstanding;

                (c)

                        (i)      Investments outstanding on the Closing Date by Borrower and its
        Restricted Subsidiaries in their respective Subsidiaries;

                        (ii)     additional Investments by Borrower and its Restricted Subsidiaries in
        Restricted Subsidiaries that are Loan Parties at the time of the making of such Investment;

                         (iii)   additional Investments by Subsidiaries of the Borrower that are not Loan
        Parties (including Foreign Subsidiaries) in other Restricted Subsidiaries that are not Loan Parties
        (including Foreign Subsidiaries); and
                                                    94
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 416 of 569



                         (iv)     [reserved];

                  (d)     Investments consisting of extensions of credit in the nature of accounts receivable
or notes receivable arising from the grant of trade credit in the ordinary course of business, and Investments
received in satisfaction or partial satisfaction thereof from financially troubled account debtors to the extent
reasonably necessary in order to prevent or limit loss;

                 (e)     Guarantees permitted by Section 7.02;

                (f)    Investments existing on the date hereof and set forth on Schedule 5.08(e) and any
modification, replacement, renewal, reinvestment or extension of any of the foregoing that does not increase
the amount thereof;

                 (g)     Investments in Swap Contracts permitted under Section 7.02(a);

                 (h)     [reserved];

                  (i)     Investments resulting from the issuance of Indebtedness of Holdings to the
Borrower or any of the Restricted Subsidiaries in an amount not to exceed the amount necessary to permit
Holdings to pay (i) so long as no Event of Default shall have occurred and be continuing at the time thereof
or would result therefrom, reasonable and customary corporate and out-of-pocket operating expenses
actually payable to persons that are not Affiliates relating to maintaining its ownership interest in the
Borrower (including reasonable out-of-pocket expenses for legal, administrative and accounting services
provided by third parties, and compensation, benefits and other amounts payable to officers and employees
in connection with their employment in the ordinary course of business and to board of director observers),
(ii) franchise fees or similar Taxes and fees required to maintain its corporate existence, (iii) any income
Taxes imposed on Holdings or its direct or indirect parent of Holdings as the common parent of a
consolidated, combined or similar Tax group of which the Borrower and/or its Restricted Subsidiaries are
members, up to an amount not to exceed the amount of any such income Taxes that the Borrower and its
Restricted Subsidiaries would have been required to pay on a separate company (or a stand-alone Tax
group) basis (reduced by any income Taxes paid directly by the Borrower or its Restricted Subsidiaries);
provided that in determining the hypothetical income Tax liability of the Borrower and/or its Restricted
Subsidiaries on a separate company (or a stand-alone Tax group) basis for the purpose of clause (iii), any
interest expense on any Indebtedness incurred by Holdings shall be treated as the interest expense of the
Borrower; provided further that any payments by Borrower or any of its Restricted Subsidiaries attributable
to the income of any Unrestricted Subsidiary shall be permitted only to the extent that cash payments were
made for such purpose by such Unrestricted Subsidiary to the Borrower or to any of its Restricted
Subsidiaries and (iv) all costs or fees incurred in compliance with or in anticipation of compliance with
Securities Laws and state securities Laws;

                (j)    promissory notes and other non-cash consideration that is permitted to be received
in connection with Dispositions permitted by Section 7.05;

                 (k)     any Investments made with the proceeds received by or contributed to the
Borrower from the substantially concurrent issuance of new Equity Interests (other than Disqualified Equity
Interests) issued by Holdings and not used for any other purpose permitted under this Agreement;

                 (l)     without duplication of any other Investments permitted hereunder, other
Investments by the Borrower or any of the Restricted Subsidiaries not exceeding (x) $[●] in any Fiscal Year
(with the unused portion of such scheduled amount available for use in any succeeding Fiscal Year), net of
any cash return to the Borrower and its Restricted Subsidiaries of principal or capital of any such Investment
                                                      95
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 417 of 569



or (y) $[●] in the aggregate (net of any cash return of principal or capital of any Investment, purchase or
acquisition made pursuant to this Section 7.03(l) or Section 7.03(h)(ii) or Section 7.03(c)(iv) to the
Borrower or a Subsidiary Guarantor that is not applied pursuant to the parenthetical phrase in
Section 7.03(c)(iv)(y) or 7.03(h)(ii));

                 (m)      [reserved];

                (n)      Investments to the extent that payment for such Investments is made solely with
Qualified Equity Interests of Holdings (or any direct or indirect parent thereof);

                (o)    Investments held by a Restricted Subsidiary acquired after the Closing Date or of
a Person merged into the Borrower or merged or consolidated with a Restricted Subsidiary in accordance
with Section 7.04

                (p)      after the Closing Date (other than existing Investments in subsidiaries of such
Subsidiary or Person, which must comply with the requirements of Sections 7.02(h) or (l)) to the extent that
such Investments were not made in contemplation of or in connection with such acquisition, merger or
consolidation and were in existence on the date of such acquisition, merger or consolidation; and

                 (q)     Guarantees by the Borrower or any of the Restricted Subsidiaries of leases (other
than Capital Lease Obligations) or of other obligations that do not constitute Indebtedness, in each case
entered into in the ordinary course of business.

        7.04    Fundamental Changes. (a) Merge, dissolve, liquidate, consolidate with or into another
Person, or Dispose of (whether in one transaction or in a series of transactions) all or substantially all of its
assets (whether now owned or hereafter acquired) to or in favor of any Person, except that:

                        (i)      any Restricted Subsidiary of the Borrower may merge with (i) the
        Borrower, provided that the Borrower shall be the continuing or surviving Person, or (ii) any one
        or more other Restricted Subsidiaries, provided that when any Loan Party is merging with another
        Restricted Subsidiary that is not a Loan Party, such Loan Party shall be the continuing or surviving
        Person;

                          (ii)      any Restricted Subsidiary (other than the Borrower) may Dispose of all or
        substantially all of its assets (upon voluntary liquidation or otherwise) to the Borrower or to another
        Loan Party (other than Holdings);

                         (iii)    any Subsidiary that is not a Loan Party (i) may dispose of all or
        substantially all its assets (including any Disposition that is in the nature of a liquidation) to
        (A) another Subsidiary that is not a Loan Party or (B) to a Loan Party (other than Holdings), or
        (ii) may be dissolved, with its assets (if any) being transferred in accordance with clause (i) hereof;

                        (iv)    in connection with any acquisition permitted under Section 7.03, any
        Restricted Subsidiary of the Borrower may merge into or consolidate with any other Person or
        permit any other Person to merge into or consolidate with it; provided that (i) the Person surviving
        such merger shall be a wholly-owned Restricted Subsidiary of the Borrower, (ii) in the case of any
        such merger to which any Loan Party (other than the Borrower) is a party, such Loan Party is the
        surviving Person and (iii) in the case of any merger involving the Borrower, the Borrower is the
        surviving Person;



                                                       96
       Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 418 of 569



                              (v)      any Disposition permitted by Section 7.05 may be structured as a sale of
            all or substantially all of the Equity Interests of a Subsidiary,

                             (vi)    any Subsidiary which has no assets to distribute to its equity holders may
            be dissolved or liquidated; and

                             (vii)    any Foreign Subsidiary that is not a Material Subsidiary may be dissolved
            or liquidated, including through an insolvency, bankruptcy or equivalent proceeding.

                (b)     Consummate a Division as the Dividing Person, without the prior written consent
of the Administrative Agent. Without limiting the foregoing, if any Loan Party that is a limited liability
company consummates a Division (with or without the prior consent of Administrative Agent as required
above), each Division Successor shall be required to comply with the obligations set forth in Section 6.12
and the other further assurances obligations set forth in the Loan Documents and become a Loan Party
under this Agreement and the other Loan Documents.

            7.05    Dispositions. Make any Disposition or enter into any agreement to make any Disposition,
except:

                  (a)    Dispositions of obsolete or worn out property, or property (including Intellectual
Property) that is no longer used or useful in the business of the Borrower and its Restricted Subsidiaries
whether now owned or hereafter acquired, in each case, in the ordinary course of business (it being
understood that this clause (a) does not include the liquidation of any Store or the inventory and other assets
located therein);

                    (b)     Dispositions of inventory and goods held for sale in the ordinary course of
business;

                 (c)      Dispositions of equipment or Real Estate to the extent that such property is
exchanged for credit against all or a portion of the purchase price of similar replacement property and, if
such property is Collateral, then such replacement property is made subject to Liens and security interests
in favor of the Collateral Agent for the benefit of the Credit Parties;

                 (d)     Dispositions of property by any Subsidiary to the Borrower or to a wholly-owned
Restricted Subsidiary; provided that if the transferor of such property is a Subsidiary Guarantor, the
transferee thereof must either be the Borrower or a Subsidiary Guarantor or an Investment permitted under
Section 7.03;

                    (e)     Dispositions permitted by Sections 7.04(a)(i), (a)(ii), (a)(iii), (a)(iv), (a)(vi) and
(a)(vii);

                 (f)     bulk sales or other dispositions of the Inventory of the Borrower or a Restricted
Subsidiary not in the ordinary course of business in connection with Store closings, at arm’s length,
provided, that such Store closures and related Inventory dispositions shall not exceed (i) in any Fiscal Year,
ten percent (10%) of the number of the Borrower’s and its Restricted Subsidiaries’ Stores as of the
beginning of such Fiscal Year (net of new Store openings in such Fiscal Year) and (ii) in the aggregate from
and after the Closing Date, twenty-five percent (25%) of the number of the Borrower’s and its Restricted
Subsidiaries’ Stores in existence as of the Closing Date (net of new Store openings), provided, that all sales
of Inventory in connection with Store closings in excess of ten (10) Store closings in any three month
period, shall be in accordance with liquidation agreements and with professional liquidators reasonably

                                                        97
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 419 of 569



acceptable to the Administrative Agent; provided, further that all Net Cash Proceeds received in connection
therewith are applied to the Obligations if then required hereunder;

                (g)      grants of licenses of Intellectual Property in the ordinary course of business, which
do not materially interfere with the business of the Borrower and the Restricted Subsidiaries, taken as a
whole;

                 (h)     Dispositions by the Borrower and the Restricted Subsidiaries not otherwise
permitted under this Section 7.05; provided that (i) at the time of such Disposition, no Default shall exist
or would result from such Disposition, (ii) the aggregate book value of all property Disposed of in reliance
on this clause (h) in any Fiscal Year of the Borrower shall not exceed $[●]; provided that an additional
aggregate book value of not more than $[●] per year of property held by Foreign Subsidiaries may be
Disposed of in reliance on this clause (h) and (iii) at least 75% of the purchase price for such asset shall be
paid to the Borrower or such Restricted Subsidiary in cash (with an assumption of Indebtedness (other than
Subordinated Indebtedness) of the Borrower or such Restricted Subsidiary by a purchaser in connection
with the applicable Disposition shall be deemed to be cash for the purposes of this clause (iii));

                (i)     licenses for the conduct of licensed departments (other than to an Affiliate of any
Loan Party) within any Store in the ordinary course of business; and

                  (j)     any issuance or sale of Equity Interests in, or sale of Indebtedness or other
securities of, an Unrestricted Subsidiary;

provided, however, that any Disposition pursuant to clauses (a) though (d), and clauses (f) and (h) shall be
for fair market value.

Notwithstanding the foregoing or anything else in this Agreement or the other Loan Documents to the
contrary, no Disposition consisting of Material Intellectual Property may be made from (x) any Loan Party
to any Subsidiary that is not a Guarantor or (y) from any Restricted Subsidiary that is not a Guarantor to
any Unrestricted Subsidiary.

        7.06     Restricted Payments. Declare or make, directly or indirectly, any Restricted Payment,
except that:

                 (a)     each Restricted Subsidiary of the Borrower may make Restricted Payments to any
other Loan Party (other than Holdings) and any other Person that owns a direct Equity Interest (other than
Disqualified Equity Interests) in such Restricted Subsidiary, ratably according to their respective holdings
of the type of Equity Interests in respect of which such Restricted Payment is being made;

                 (b)      the Borrower and each of its Restricted Subsidiaries may declare and make
dividend payments or other distributions payable solely in the common or preferred stock or other common
or preferred Equity Interests of such Person (other than Disqualified Equity Interests); provided that such
Equity Interests shall be pledged to the Collateral Agent to the extent required by Section 6.12 hereof;

                 (c)     the Borrower may declare and pay cash dividends to Holdings in an amount not to
exceed an amount necessary to permit Holdings to pay (i) reasonable and customary corporate and
operating expenses relating to maintaining its ownership interest in the Borrower (including reasonable out-
of-pocket expenses for legal, administrative and accounting services provided by third parties, and
compensation, benefits and other amounts payable to officers and employees in connection with their
employment in the ordinary course of business and to board of director observers), (ii) franchise Taxes and
similar fees required to maintain its corporate existence, (iii) any income Taxes imposed on Holdings or its
                                                      98
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 420 of 569



direct or indirect parent of Holdings as the common parent of a consolidated, combined or similar Tax
group of which the Borrower and/or its Restricted Subsidiaries are members, up to an amount not to exceed
the amount of any such income Taxes that the Borrower and its Restricted Subsidiaries would have been
required to pay on a separate company (or a stand-alone Tax group) basis (reduced by any income Taxes
paid directly by the Borrower or its Restricted Subsidiaries); provided that in determining the hypothetical
income Tax liability of the Borrower and/or its Restricted Subsidiaries on a separate company (or a stand-
alone Tax group) basis for the purpose of clause (iii), any interest expense on any Indebtedness incurred by
Holdings shall be treated as the interest expense of the Borrower and any dividends by Borrower attributable
to the income of any Unrestricted Subsidiary shall be permitted only to the extent that cash payments were
made for such purpose by such Unrestricted Subsidiary to the Borrower or any of its Restricted Subsidiaries
and (iv) all costs or fees incurred in compliance with or in anticipation of compliance with Securities Laws
and state securities Laws;

                 (d)      the Borrower may (or make Restricted Payments to allow Holdings or any direct
or indirect parent thereof to) repurchase, redeem or otherwise acquire or retire shares of its capital stock
held by officers, directors or employees of Holdings or any Restricted Subsidiary(or their estates or trusts)
following the death, disability or termination of employment of any such Person and, so long as no Default
shall have occurred and be continuing (or would result therefrom), the Borrower may pay dividends to
Holdings to permit such repurchase, redemption, retirement or acquisition; provided that the aggregate
amount of payments to Holdings by the Borrower under this clause (d) will not exceed $5.0 million in any
Fiscal Year of the Borrower (with any unused portion of such scheduled amount available for use in any
succeeding Fiscal Year);

                (e)      [reserved];

                (f)      Investments permitted by Section 7.03;

                 (g)     repurchases of Equity Interests in Holdings, the Borrower or any of the Restricted
Subsidiaries deemed to occur upon exercise of stock options or warrants or similar rights to the extent such
Equity Interests represent a portion of the exercise price of such options or warrants or similar rights;

                 (h)     the Borrower may make Restricted Payments to Holdings or to any direct or
indirect parent of Holdings (and Holdings may make Restricted Payments to any direct or indirect parent
of Holdings) the proceeds of which shall be used to make payments permitted under Sections 7.08(d),
(e) and (h) (but only to the extent such payments have not been and are not expected to be made by the
Borrower or a Restricted Subsidiary);

                (i)      [reserved];

                  (j)      the payment of any dividend or distribution within 60 days after the date of
declaration thereof, if at the date of declaration (i) such payment would have complied with the provisions
of clause (i) of this Section 7.06 and (ii) no Event of Default occurred and was continuing; and

                (k)      [reserved];

provided, for purposes of calculating the amount available to make Restricted Payments, any dividend or
distribution paid in reliance on clause (j) shall be deemed to be a Restricted Payment on the date of
declaration and not on the date of payment.




                                                     99
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 421 of 569



        7.07     Change in Nature of Business. Engage in any material line of business substantially
different from those lines of business conducted by the Borrower and the Restricted Subsidiaries on the
date hereof or any business reasonably related or ancillary thereto.

         7.08    Transactions with Affiliates. Enter into any transaction of any kind with any Affiliate of
the Loan Parties (or any Unrestricted Subsidiary, whether or not an Affiliate of any Loan Party), whether
or not in the ordinary course of business, other than on fair and reasonable terms substantially as favorable
to the Loan Parties or such Restricted Subsidiary as would be obtainable by the Loan Parties or such
Restricted Subsidiary at the time in a comparable arm’s length transaction with a Person other than an
Affiliate; provided that the foregoing restriction shall not apply to:

                 (a)     transactions among (i) the Loan Parties, (ii) any Restricted Subsidiaries of
Holdings that are not Loan Parties or (iii) the Loan Parties, on the one hand, and any Restricted Subsidiary
that is not a Loan Party, on the other hand, that are at least as favorable to the Loan Parties as could be
obtained in an arm’s-length transaction from an unaffiliated party;

                (b)      (i) any Indebtedness permitted by Section 7.02(b); (ii) any Investments permitted
by Section 7.03 (other than Investments in any Equity Investor or a portfolio company owned or controlled
by an Equity Investor (other than any Loan Party)); and (iii) any Restricted Payment permitted by
Section 7.06;

                (c)      [reserved];

                (d)      employment, consulting (exclusive of the Management Agreement) and severance
agreements;

                (e)      loans and advances permitted by Section 7.03(b);

                (f)      payment of directors’ fees, expenses and indemnities;

                 (g)     incurrence of Subordinated Indebtedness by the Loan Parties to the Equity
Investors otherwise permitted hereunder or the issuance of Equity Interests by Holdings to the Equity
Investors, provided that no such Equity Interests may constitute Disqualified Equity Interests;

                 (h)     transactions with joint ventures permitted hereunder for the purchase or sale of
goods and services entered into in the ordinary course of business on terms no less favorable to the Loan
Parties or such Restricted Subsidiary as would be obtainable by the Loan Parties or such Restricted
Subsidiary at the time in a comparable arm’s length transaction;

               (i)     customary payments by the Borrower and any of its Restricted Subsidiaries to the
Sponsor made for any financial advisory, financing, underwriting or placement services or in respect of
other investment banking activities (including in connection with acquisitions or divestitures), which
payments are approved by a majority of the disinterested members of the board of directors of Holdings in
good faith;

                 (j)      transactions in which the Borrower or any of the Restricted Subsidiaries, as the
case may be, delivers to the Administrative Agent a letter from an Independent Financial Advisor stating
that such transaction is fair to the Borrower or such Restricted Subsidiary from a financial point of view;

               (k)     investments by the Sponsor or the Equity Investors in securities of Holdings, the
Borrower or any of the Restricted Subsidiaries so long as (i) the investment is being offered generally to
                                                    100
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 422 of 569



other investors on the same or more favorable terms and (ii) the investment constitutes less than 5.0% of
the proposed or outstanding issue amount of such class of securities; and

                 (l)     Restricted Payments permitted by Section 7.06.

         7.09     Burdensome Agreements. Enter into or permit to exist any Contractual Obligation (other
than this Agreement or any other Loan Document) that (a) limits the ability (i) of any Restricted Subsidiary
of Borrower to make Restricted Payments to any Loan Party or to otherwise transfer property to or invest
in any Loan Party, except for any agreement in effect (A) on the date hereof and set forth on Schedule 7.09
and any modification, replacement, renewal, reinvestment or extension of any of the foregoing or (B) at the
time any Person becomes a Restricted Subsidiary of Borrower, so long as such agreement was not entered
into solely in contemplation of such Person becoming a Restricted Subsidiary of Borrower, (ii) of any
Restricted Subsidiary of Borrower to Guarantee the Indebtedness of the Borrower, (iii) of any Restricted
Subsidiary of Borrower to make or repay loans to a Loan Party or (iv) of the Borrower or any Restricted
Subsidiary to create, incur, assume or suffer to exist Liens on property of such Person; provided, however,
that this clause (iv) shall not prohibit any negative pledge incurred or provided in favor of any holder of
Indebtedness permitted under Section 7.02 solely to the extent any such negative pledge relates to the
property financed by or the subject of such Indebtedness; or (b) requires the grant of a Lien to secure an
obligation of such Person if a Lien is granted to secure another obligation of such Person. The foregoing
restrictions shall not be violated by reason of (i) applicable Laws, (ii) this Agreement and the other Loan
Documents, (iii) (A) the Term Loan Documents so long as the restrictions of the kind referred to in the
previous sentence contained therein, taken as a whole, are not materially more restrictive than those
contained in the Term Loan Documents (as in effect on the Closing Date), (B) the Swedish Credit Facility,
or (C) documents governing Permitted Holdco Debt so long as the restrictions of the kind referred to in the
previous sentence contained therein, taken as a whole, are no more restrictive than those contained herein,
(iv) customary non-assignment provisions of any contract, lease or license of the Borrower or any
Restricted Subsidiary of the Borrower, (v) customary restrictions on a Subsidiary imposed pursuant to an
agreement entered into for the sale or disposition of all or substantially all the Equity Interests or assets of
a Subsidiary pending the closing of such sale or disposition, (vi) customary provisions in joint venture
agreements and other similar agreements applicable to joint ventures entered into in the ordinary course of
business, (vii) documents that represent Indebtedness of a Restricted Subsidiary that is not a Loan Party
that is permitted by Section 7.02 to the extent such restriction applies only to such Restricted Subsidiary,
(viii) documents that comprise restrictions imposed by any agreement governing Indebtedness entered into
after the Closing Date and permitted under Section 7.02 that are, taken as a whole, in the good faith
judgment of the Borrower, no more restrictive with respect to the Borrower or any Restricted Subsidiary
than customary market terms for Indebtedness of such type (and, in any event, are no more restrictive than
the restrictions contained in this Agreement), so long as the Borrower shall have determined in good faith
that such restrictions will not affect its obligation or ability to make any payments or grant any Liens
required hereunder or (vii) any restrictions under any agreement that amends, refinances or replaces any
agreement containing restrictions permitted under the preceding clauses provided that the terms and
conditions are no less favorable taken as a whole to the Restricted Subsidiary.

        7.10    Amendments of Material Indebtedness. Amend, modify or waive any of the Loan Party’s
rights under any Material Indebtedness (other than on account of any refinancing thereof otherwise
permitted hereunder), in each case, to the extent that such amendment, modification or waiver would
reasonably be likely to have a Material Adverse Effect.

       7.11     Accounting Changes. Make any change in their Fiscal Year; provided, however, that
Holdings and the Borrower may, upon written notice to the Administrative Agent, change its fiscal year to
any other fiscal year reasonably acceptable to the Administrative Agent, in which case, Holdings, the

                                                      101
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 423 of 569



Borrower and the Administrative Agent will, and are hereby authorized by the Lenders to, make any
adjustments to this Agreement that are necessary to reflect such change in Fiscal Year.

         7.12    Prepayments, Etc. of Indebtedness. Prepay, redeem, purchase, defease or otherwise satisfy
prior to the scheduled maturity thereof in any manner any Indebtedness, or make any payment in violation
of any subordination terms of any Subordinated Indebtedness, except to the extent permitted by an
Acceptable Bankruptcy Court Order.

         7.13     Holding Company. In the case of Holdings, engage in any business or activity other than
(a) the ownership of all outstanding Equity Interests in the Borrower, (b) maintaining its corporate existence
(including any public company activities), (c) participating in Tax, accounting and other administrative
activities as the parent of the Consolidated group of companies, including the Loan Parties, (d) the
execution and delivery of the Loan Documents, the ABL Loan Documents, the DIP Term Loan Documents,
the Financing Orders and agreements governing other Indebtedness of the Borrower and its Subsidiaries
not otherwise prohibited hereunder and agreements governing Permitted Holdco Debt, in each case, to
which it is a party and the performance of its obligations thereunder, (e) any public offering of its common
stock or any other issuance of its Equity Interests or any transaction permitted under Section 7.04,
(f) holding any cash or property received in connection with Restricted Payments made by the Borrower in
accordance with Section 7.06 pending application thereof by Holdings, (g) providing indemnification to
officers and directors, (h) activities incidental to the businesses or activities described in clauses (a) through
(g) of this Section and (i) any other activities required under Approved Bankruptcy Court Orders.

        7.14     [Reserved].

         7.15    Minimum Availability. The Borrower shall not permit Excess Availability at any time to
be less than 10.0% of the Borrowing Base.

         7.16    Sale and Leaseback Transactions. Enter into any arrangement, directly or indirectly, with
any person whereby it shall sell or transfer any property, real or personal, used or useful in its business,
whether now owned or hereafter acquired, and thereafter rent or lease such property or other property that
it intends to use for substantially the same purpose or purposes as the property being sold or transferred,
provided that Borrower and its Restricted Subsidiaries may become and remain liable as lessee, guarantor
or other surety with respect to any such lease if and to the extent that the Borrower or any of its Restricted
Subsidiaries would be permitted to enter into, and remain liable under, such lease to the extent that the
transaction would be permitted under Section 7.02, assuming the sale and lease back transaction constituted
Indebtedness in a principal amount equal to the gross proceeds of the sale and the related sale were permitted
under Section 7.05(h).

        7.17     Additional Bankruptcy Matters.

                  (a)     Assert or prosecute any claim or cause of action against any of the Credit Parties
(in their capacities as such), unless such claim or cause of action is in connection with the enforcement of
the Loan Documents against the Administrative Agent or the Lenders.

                (b)     Subject to the terms of the Financing Orders, as applicable, object to, contest,
delay, prevent or interfere with in any material manner the exercise of rights and remedies by the
Administrative Agent or the Lenders with respect to the Collateral following the occurrence of an Event of
Default (provided that any Loan Party may contest or dispute whether an Event of Default has occurred).

                (c)      Except (i) as expressly provided or permitted hereunder (including to the extent
pursuant to any “first day” or “second day” orders complying with the terms of this Agreement), (ii) with
                                                      102
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 424 of 569



the prior consent of the Administrative Agent or (iii) as provided pursuant to any Approved Bankruptcy
Court Order, make any payment or distribution on account of any Prepetition Debt or any other
Indebtedness arising prior to the Petition Date.

               (d)     Use Cash Collateral (as defined in the Financing Orders) of any Lender or Agent
under Section 363 of the Bankruptcy Code other than as expressly provided for in the any Approved
Bankruptcy Court Order as may be otherwise expressly permitted pursuant to the Loan Documents.

               (e)      Obtain post-petition loans or other financial accommodations pursuant to Section
364(c) or 364(d) of the Bankruptcy Code, other than as expressly provided for in the Interim Financing
Order or as may be otherwise expressly permitted pursuant to the Loan Documents;

               (f)      Challenge the application of any payments authorized by the Interim Financing
Order to the Administrative Agent or Lenders.

                (g)      Propose, support or have a plan of reorganization or liquidation (other than an
Acceptable Plan of Reorganization) that does not provide for the payment in full in cash (or exchange into
loans under the Exit ABL Facility) in full satisfaction of all Obligations on the effective date of such plan
in accordance with the terms and conditions set forth in the Loan Documents.

                 (h)      Challenge, contest or otherwise seek to impair or object to the validity, extent,
enforceability or priority of Administrative Agent's post-petition liens and claims.

                                         ARTICLE VIII
                               EVENTS OF DEFAULT AND REMEDIES

        8.01     Events of Default. Any of the following shall constitute an Event of Default:

                 (a)      Non-Payment. The Borrower or any other Loan Party fails to (i) pay when and as
required to be paid herein, any amount of principal of any Loan or any L/C Obligation, or deposit any funds
as cash collateral in respect of L/C Obligations, or (ii) pay within three Business Days after the same
becomes due, any interest on any Loan or on any L/C Obligation, or any fee due hereunder, or (iii) pay
within five days after the same becomes due, any other amount payable hereunder or under any other Loan
Document; or

                 (b)      Specific Covenants with no Cure Period. Any Loan Party or any of its Restricted
Subsidiaries fails to perform or observe any term, covenant or agreement applicable to it contained in any
of 6.02(c), 6.03(a), 6.05(a) (solely as it relates to the Borrower), 6.07, 6.11, or Article VII; or

                   (c)     Specific Covenants with Five-Day Cure Period. Any Loan Party or any of its
Restricted Subsidiaries fails to perform or observe any term, covenant or agreement applicable to it
contained in any of Section 6.01, 6.02 (other than clause (c)), 6.03 (other than clause (a)), 6.05(a) (solely
as it relates to any Loan Party or Restricted Subsidiary other than the Borrower), 6.05 (other than clause (a)),
or 6.15, and such failure continues for five Business Days; or

                (d)     Other Defaults. Any Loan Party fails to perform or observe any other covenant or
agreement (not specified in Section 8.01(a), (b) or (c) above) contained in any Loan Document on its part
to be performed or observed and such failure continues for 30 days following receipt of notice from the
Administrative Agent or the Required Lenders; or



                                                      103
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 425 of 569



                 (e)     Representations and Warranties. Any representation, warranty, certification or
statement of fact made or deemed made by or on behalf of the Borrower or any other Loan Party herein, in
any other Loan Document, or in any document delivered in connection herewith or therewith (including,
without limitation, any Borrowing Base Calculation) shall be incorrect or misleading in any material respect
when made or deemed made; or

                 (f)      Cross-Default. So long as the enforcement of remedies is not subject to the
automatic stay as a result of the Chapter 11 Cases (including for the avoidance of doubt, any Prepetition
Term Loan Obligations), (i) any Loan Party or any Restricted Subsidiary thereof (A) fails to make any
payment beyond the applicable grace period if any (whether by scheduled maturity, required prepayment,
acceleration, demand, or otherwise) in respect of any Material Indebtedness, or (B) fails to observe or
perform any other agreement or condition relating to any such Material Indebtedness or contained in any
instrument or agreement evidencing, securing or relating thereto, or any other event occurs, the effect of
which default or other event is to cause, or to permit the holder or holders of such Indebtedness or the
beneficiary or beneficiaries of such Guarantee (or a trustee or agent on behalf of such holder or holders or
beneficiary or beneficiaries) to cause, with the giving of notice if required, such Indebtedness to be
demanded or to become due or to be repurchased, prepaid, defeased or redeemed (automatically or
otherwise), or an offer to repurchase, prepay, defease or redeem such Indebtedness to be made, prior to its
stated maturity, or such Guarantee to become payable or cash collateral in respect thereof to be demanded;
provided that this paragraph (f) shall not apply to secured Indebtedness that becomes due as a result of the
voluntary sale or transfer of the property or assets securing such Indebtedness if such sale or transfer is
permitted hereunder and under the documents providing for such Indebtedness; or (ii) there occurs under
any Swap Contract an Early Termination Date (as defined in such Swap Contract) resulting from (A) any
event of default under such Swap Contract as to which a Loan Party or any Restricted Subsidiary thereof is
the Defaulting Party (as defined in such Swap Contract) or (B) any Termination Event (as so defined) under
such Swap Contract as to which a Loan Party or any Restricted Subsidiary thereof is an Affected Party (as
so defined) and, in either event, the Swap Termination Value owed by such Loan Party or such Restricted
Subsidiary as a result thereof is greater than $20.0 million; or

                 (g)      [Reserved].

                 (h)      [Reserved].

                  (i)     Judgments. So long as the enforcement of remedies is not subject to the automatic
stay as a result of the Chapter 11 Cases, there is entered against any Loan Party or any Material Subsidiary
and remains unpaid one or more final judgments or orders for the payment of money in an aggregate amount
(as to all such judgments and orders) exceeding $20.0 million (to the extent not covered by independent
third-party insurance as to which the insurer is rated at least “A” by A.M. Best Company, has been notified
of the potential claim and does not dispute coverage) and (i) enforcement proceedings are commenced by
any creditor upon such judgment or order, or (ii) there is a period of 30 consecutive days during which a
stay of enforcement of such judgment, by reason of a pending appeal or otherwise, is not in effect; or

                (j)     ERISA. An ERISA Event occurs or any substantially similar event occurs with
respect to a Foreign Plan (that would have been an ERISA Event had the Foreign Plan been subject to
ERISA and that gives rise to liability under analogous foreign law) which, together with all other ERISA
Events (or such substantially similar events with respect to Foreign Plans) that have occurred, has resulted
or could reasonably be expected to result in a Material Adverse Effect; or

                 (k)      Invalidity of Loan Documents. Any material provision of any Loan Document, at
any time after its execution and delivery and for any reason other than as expressly permitted hereunder or
thereunder or satisfaction in full of all the Obligations, ceases to be in full force and effect against Holdings,
                                                      104
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 426 of 569



the Borrower or any Material Subsidiary; or any Loan Party contests in any manner the validity or
enforceability of any provision of any Loan Document; or any Loan Party denies that it has any or further
liability or obligation under any provision of any Loan Document (other than as a result of repayment in
full of the Obligations), or purports to revoke, terminate or rescind any provision of any Loan Document;
or seeks to avoid, limit or otherwise adversely affect any Lien purported to be created under any Collateral
Document; or

                (l)      [Reserved]; or

                 (m)      Collateral Documents. Any Collateral Document after delivery thereof pursuant
to Article IV, Section 6.12, or Section 6.13 shall for any reason (other than pursuant to the terms thereof)
cease (or shall be asserted by any Loan Party or, in the reasonable discretion of the Administrative Agent,
any other Person not) to create a valid and perfected First Priority Lien or Second Priority Lien, as
applicable (subject to Liens permitted by Section 7.01 and the Financing Orders), on the Collateral
purported to be covered thereby, either with an aggregate fair market value for such Collateral of (A) $10.0
million or more, in the case of Term Priority Collateral, or (B) $5.0 million or more, in the case of ABL
Priority DIP Collateral, for any reason other than the failure of Collateral Agent to maintain control over
any Collateral in its possession.

                (n)      Bankruptcy Matters.

                        (i)    The entry of an order dismissing any of the Chapter 11 Cases or converting
        any of the Chapter 11 Cases to a case under chapter 7 of the Bankruptcy Code, or the Borrower or
        any Guarantor files a motion or other pleading seeking entry of such an order or supports or fails
        to promptly oppose such dismissal or conversion; or

                         (ii)    a trustee, responsible officer or an examiner having expanded powers
        under Bankruptcy Code section 1104 (other than (x) a fee examiner or (y) for purposes of an
        investigation pursuant to Sections 1106(a)(3) and (4) of the Bankruptcy Code) is appointed or
        elected in the Chapter 11 Cases, any Loan Party applies for, consents to, supports, acquiesces in or
        fails to promptly oppose, any such appointment, or the Bankruptcy Court shall have entered an
        order providing for such appointment, in each case without the prior written consent of the Required
        Lenders in their reasonable discretion; or

                          (iii)  the entry of an order (1) staying, reversing or vacating the Interim
        Financing Order or the Final Financing Order (as applicable) or (2) modifying or amending the
        Interim Financing Order (after the initial entry thereof) or Final Financing Order, as applicable, in
        a manner adverse in any respect to the Credit Parties, other than in the case of clause (2) in form
        and substance satisfactory to the Required Lenders in their reasonable discretion, or any Loan Party
        files an application, motion or other pleading seeking entry of such an order or supports or fails to
        promptly oppose entry of such an order, in each case without the prior written consent of the
        Administrative Agent in its reasonable discretion; or

                        (iv)     the entry of an order in any of the Chapter 11 Cases denying or
        terminating use of cash collateral by any of the Loan Parties and the Chapter 11 Debtors have not
        obtained use of cash collateral (consensually or non-consensually);

                         (v)     the entry of an order in any of the Chapter 11 Cases granting relief from
        any stay or proceeding (including, without limitation, the automatic stay) so as to allow any third
        party to proceed with foreclosure (or the granting of a deed in lieu of foreclosure or the like) against
        any assets of the Loan Parties with a value in excess of $1,000,000 in the aggregate;
                                                     105
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 427 of 569



                         (vi)    subject to the terms of the financing orders, the entry of a final non-
        appealable order in the Chapter 11 Cases charging any of the Collateral under Section 506(c) of the
        Bankruptcy Code against the Lenders or the commencement of other actions by the Loan Parties
        that challenges the rights and remedies of any of the Agents or the Lenders under the ABL DIP
        Facility in any of the Chapter 11 Cases or inconsistent with the Loan Documents;

                          (vii)   without the prior written consent of the Administrative Agent, any Loan
        Party shall file a motion seeking or take any action supporting a motion seeking, or the Bankruptcy
        Court shall enter an order in any of the Chapter 11 Cases authorizing (x) financing under Section
        364 of the Bankruptcy Code (other than the DIP Facilities) or (y) the sale of all or substantially all
        of the Loan Parties’ assets (unless such order contemplates payment in full in cash of the
        Obligations), except, for the avoidance of doubt, the DIP Term Facility; or

                          (viii) the filing or support of any pleading by any Loan Party (or any direct or
        indirect parent thereof) seeking, or otherwise consenting to, any of the matters set forth in clauses
        (i) through (vii) above, unless such filing or any pleading is in connection with the enforcement of
        the Loan Documents against the Administrative Agent or the Lenders;

                  (o)     the making of any material payments in respect of prepetition obligations other
than (i) to the extent permitted by an Approved Bankruptcy Court Order (and not otherwise prohibited by
this Agreement or any other Approved Bankruptcy Court Order then in effect), or (ii) as otherwise agreed
to in writing by the Administrative Agent;

                 (p)     the entry of the Final Financing Order shall not have occurred within 45 days after
the Petition Date;

                 (q)       an order of the Bankruptcy Court granting, other than in respect of the DIP
Facilities (subject, in the case of the DIP Term Facility, to the priority set forth in the Financing Orders)
and the Carve Out or as otherwise permitted under the applicable Loan Documents, any claim entitled to
superpriority administrative expense claim status in the Chapter 11 Cases pari passu with or senior to the
claims of the Agents and the Lenders under the ABL DIP Facility, or the filing by any Loan Party of a
motion or application seeking entry of such an order;

                  (r)      other than with respect to the Carve Out, the Permitted Prior Liens, the Other Prior
Perfected Liens and the liens provided for in the DIP Facilities (subject, in the case of the DIP Term Facility,
to the priority set forth in the Financing Orders), the Loan Parties shall create or incur, or the Bankruptcy
Court enters an order granting, any claim on Collateral which is pari passu with or senior to any liens under
the Prepetition Facilities, the adequate protection liens and adequate protection obligations granted under
the Financing Orders in contravention of the lien priorities specified in Section 5.1;

                (s)    noncompliance by any Loan Party or any of its Subsidiaries with the terms of the
Interim Financing Order or, after entry thereof, the Final Financing Order in any material respect;

                (t)       the Loan Parties or any of their Subsidiaries (or any direct or indirect parent of any
Loan Party) or any person claiming by or through any of the foregoing, shall obtain court authorization to
commence, or shall commence, join in, assist or otherwise participate as an adverse party in any suit or
other proceeding against any Agent or any of the Lenders regarding the ABL DIP Facility, unless such suit
or other proceeding is in connection with the enforcement of the Loan Documents against any of the Agents
or Lenders; or


                                                      106
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 428 of 569



                 (u)      (i) a plan of reorganization shall be confirmed in any of the Chapter 11 Cases that
is not an Acceptable Plan of Reorganization, any order which approves a 363 sale, or any order shall be
entered which dismisses any of the Chapter 11 Cases and which order (x) does not provide for termination
of the unused commitments under the ABL DIP Facility and payment in full in cash of the Loan Parties’
obligations under the ABL DIP Facility, (y) does not provide for release provisions relating to the Agents
and the Lenders that are satisfactory to the Agents and the Required Lenders in their reasonable discretion
and (z) is not otherwise reasonably satisfactory to the Required Lenders in their reasonable discretion, or
(ii) any of the Loan Parties or any of their subsidiaries (or any of their direct or indirect parents), shall file,
propose, support, or fail to promptly contest in good faith the filing or confirmation of such a plan or the
entry of such an order.

        8.02     Remedies upon Event of Default. Subject to the terms of the Financing Orders, if any
Event of Default occurs and is continuing, the Administrative Agent may (and at the request of, or with the
consent of, the Required Lenders, shall) take any or all of the following actions:

                 (a)   declare the commitment of each Lender to make Loans and any obligation of each
L/C Issuer to make L/C Credit Extensions to be terminated, whereupon such commitments and obligation
shall be terminated;

                (b)     declare the unpaid principal amount of all outstanding Loans, all interest accrued
and unpaid thereon, and all other amounts owing or payable hereunder or under any other Loan Document
to be immediately due and payable, without presentment, demand, protest or other notice of any kind, all
of which are hereby expressly waived by the Loan Parties;

                (c)      whether or not the maturity of the Obligations shall have been accelerated pursuant
hereto, proceed to protect, enforce and exercise all rights and remedies under this Agreement, any of the
other Loan Documents or applicable Law, including, but not limited to, by suit in equity, action at law or
other appropriate proceeding, whether for the specific performance of any covenant or agreement contained
in this Agreement and the other Loan Documents or any instrument pursuant to which the Obligations are
evidenced, and, if such amount shall have become due, by declaration or otherwise, proceed to enforce the
payment thereof or any other legal or equitable right of the Credit Parties; and

               (d)     require that the Loan Parties provide Letter of Credit Cash Collateralization in
accordance with Section 2.03(n);

provided, however, in the case of the enforcement of rights against the Collateral pursuant to clauses (b)
through (d) above, (i) the Administrative Agent, acting at the request of the Required Lenders, shall provide
counsel to the Loan Parties, counsel to the Official Committee (if any), and the Office of the United States
Trustee with five (5) Business Days’ prior written notice consistent with the Financing Orders (such period,
the “Remedies Notice Period”), and (ii) during the Remedies Notice Period, the applicable Agent shall
refrain from exercising its rights and remedies and the Loan Parties and/or any Official Committee shall be
permitted to request an emergency hearing before the Bankruptcy Court (which request must be made prior
to the conclusion of the Remedies Notice Period and shall seek consideration of such request on an
expedited basis); provided, further, that during the Remedies Notice Period, the Loan Parties shall be
permitted to use cash collateral as provided in the Financing Orders;

provided, further that, other than in connection with the Chapter 11 Cases, upon the occurrence of an actual
or deemed entry of an order for relief with respect to the Borrower under the Bankruptcy Code of the United
States, the obligation of each Lender to make Loans and any obligation of the L/C Issuers to make L/C
Credit Extensions shall automatically terminate, the unpaid principal amount of all outstanding Loans and
all interest and other amounts as aforesaid shall automatically become due and payable, and the obligation
                                                       107
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 429 of 569



of the Loan Parties to Cash Collateralize the L/C Obligations as aforesaid shall automatically become
effective, in each case without further act of the Administrative Agent or any Lender.

        8.03    Application of Funds. After the exercise of remedies provided for in Section 8.02 (or after
the Loans have automatically become immediately due and payable and the L/C Obligations have
automatically been required to be Cash Collateralized as set forth in the proviso to Section 8.02), or after
the commencement of any Liquidation, subject to the terms of the Intercreditor Agreement and the
Financing Orders, any amounts received on account of the Obligations shall be applied (by the
Administrative Agent as hereby instructed so to apply) in the following order:

       First, to payment in full of that portion of the Obligations constituting fees, indemnities, Credit
Party Expenses and other amounts (including fees, charges and disbursements of counsel to the
Administrative Agent and the Collateral Agent and amounts payable under Article III) payable to the
Administrative Agent and the Collateral Agent, each in its capacity as such;

         Second, to payment in full of that portion of the Obligations constituting indemnities, Credit Party
Expenses, and other amounts (other than principal, interest and fees) payable to the Lenders and the L/C
Issuers (including fees, charges and disbursements of counsel to the respective Lenders and the L/C Issuers
and amounts payable under Article III), ratably among them in proportion to the amounts described in this
clause Second payable to them in their capacities as such;

        Third, to payment in full to the Swing Line Lender of that portion of the Obligations constituting
accrued and unpaid interest on the Swing Line Loans;

         Fourth, to payment in full of that portion of the Obligations constituting accrued and unpaid interest
on the Loans, Letter of Credit Disbursements and other Obligations, and fees (including Letter of Credit
Fees), ratably among the Lenders and the L/C Issuers in proportion to the respective amounts described in
this clause Fourth payable to them in their capacities as such;

        Fifth, to payment in full to the Swing Line Lender of that portion of the Obligations constituting
unpaid principal of the Swing Line Loans;

        Sixth, to payment in full of that portion of the Obligations constituting unpaid principal of the Loans
and Letter of Credit Disbursements, ratably among the Lenders and the L/C Issuers in proportion to the
respective amounts described in this clause Sixth held by them in their capacities as such;

          Seventh, to the Administrative Agent for the account of the L/C Issuers, to Cash Collateralize in
full that portion of L/C Obligations comprised of the aggregate undrawn amount of Letters of Credit;

        Eighth, [reserved];

        Ninth, to payment in full of all other Obligations, ratably among the Credit Parties in proportion to
the respective amounts described in this clause Ninth held by them; and

         Last, the balance, if any, after all of the Obligations have been paid in full, to the applicable Loan
Parties or as otherwise required by Law.

        Subject to Section 2.03, amounts used to Cash Collateralize the aggregate undrawn amount of
Letters of Credit pursuant to clause Seventh above shall be applied to satisfy drawings under such Letters
of Credit as they occur. If any amount remains on deposit as Cash Collateral after all Letters of Credit have


                                                     108
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 430 of 569



either been fully drawn or expired, such remaining amount shall be applied to the other Obligations, if any,
in the order set forth above.

          Notwithstanding the foregoing, amounts received from the Borrower or any Guarantor that is not
a an “eligible contract participant” under the Commodity Exchange Act and the regulations promulgated
thereunder shall not be applied to the Obligations that are Excluded Swap Obligations (it being understood,
that in the event that any amount is applied to Obligations other than Excluded Swap Obligations as a result
of this sentence, the Administrative Agent shall, to the extent permitted by law, make such adjustments as
it determines are appropriate to distributions pursuant to clause Ninth above from amounts received from
“eligible contract participants” under the Commodity Exchange Act and the regulations promulgated
thereunder to ensure, as nearly as possible, that the proportional aggregate recoveries with respect to
Obligations described in clause Ninth above by the holders of any Excluded Swap Obligations are the same
as the proportional aggregate recoveries with respect to other Obligations pursuant to clause Ninth above).

                                           ARTICLE IX
                                      ADMINISTRATIVE AGENT

        9.01     Appointment and Authority.

                  (a)     Each of the Lenders and each L/C Issuer hereby irrevocably appoints Eclipse to
act on its behalf as the Administrative Agent hereunder and under the other Loan Documents and authorizes
the Administrative Agent to take such actions on its behalf and to exercise such powers as are delegated to
the Administrative Agent by the terms hereof or thereof, together with such actions and powers as are
reasonably incidental thereto. The provisions of this Article are solely for the benefit of the Administrative
Agent, the Lenders and the L/C Issuers, and neither the Borrower nor any other Loan Party shall have rights
as a third party beneficiary of any of such provisions.

                 (b)      The Administrative Agent shall also act as the Collateral Agent under the Loan
Documents, and each of the Lenders (in its capacities as a Lender), Swing Line Lender (if applicable) and
each L/C Issuer hereby irrevocably appoints and authorizes the Collateral Agent to act as the agent of such
Lender for purposes of acquiring, holding and enforcing any and all Liens on Collateral granted by any of
the Loan Parties to secure any of the Obligations, together with such powers and discretion as are reasonably
incidental thereto. In this connection, the Collateral Agent and any co-agents, sub-agents and attorneys-in-
fact appointed by the Collateral Agent pursuant to Section 9.05 for purposes of holding or enforcing any
Lien on the Collateral (or any portion thereof) granted under the Collateral Documents, or for exercising
any rights and remedies thereunder at the direction of the Agents, shall be entitled to the benefits of all
provisions of this Article IX and Article XI (including Section 11.04(c), as though such co-agents, sub-
agents and attorneys-in-fact were the Collateral Agent under the Loan Documents) as if set forth in full
herein with respect thereto.

                 (c)     Each of the Lenders, for itself and on behalf of any of its Affiliates, and each L/C
Issuer hereby irrevocably appoints Eclipse, in its capacity as Administrative Agent and Collateral Agent
and to take such actions on its behalf and to exercise such powers as are delegated to Eclipse, in its capacity
as Administrative Agent and Collateral Agent, by the terms hereof and as set forth in the Financing Orders,
together with such actions and powers as are reasonably incidental thereto.

        9.02    Rights as a Lender. The Person serving as the Administrative Agent and Collateral Agent
hereunder shall have the same rights and powers in its capacity as a Lender as any other Lender and may
exercise the same as though it were not the Administrative Agent or the Collateral Agent and the term
“Lender” or “Lenders” shall, unless otherwise expressly indicated or unless the context otherwise requires,
include the Person serving as the Administrative Agent and Collateral Agent hereunder in its individual
                                                     109
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 431 of 569



capacity. Such Person and its Affiliates may accept deposits from, lend money to, act as the financial
advisor or in any other advisory capacity for and generally engage in any kind of business with the Borrower
or any Subsidiary or other Affiliate thereof as if such Person were not the Administrative Agent or the
Collateral Agent hereunder and without any duty to account therefor to the Lenders.

        9.03    Exculpatory Provisions. The Agents shall not have any duties or obligations except those
expressly set forth herein and in the other Loan Documents. Without limiting the generality of the
foregoing, the Agents:

                (a)     shall not be subject to any fiduciary or other implied duties, regardless of whether
a Default has occurred and is continuing;

                (b)     shall not have any duty to take any discretionary action or exercise any
discretionary powers, except discretionary rights and powers expressly contemplated hereby or by the other
Loan Documents that the Administrative Agent or Collateral Agent is required to exercise as directed in
writing by the Required Lenders (or such other number or percentage of the Lenders as shall be expressly
provided for herein or in the other Loan Documents), provided that the Administrative Agent and the
Collateral Agent shall not be required to take any action that, in its opinion or the opinion of its counsel,
may expose the Administrative Agent or the Collateral Agent to liability or that is contrary to any Loan
Document or applicable Law; and

                (c)     shall not, except as expressly set forth herein and in the other Loan Documents,
have any duty to disclose, and shall not be liable for the failure to disclose, any information relating to the
Borrower or any of its Affiliates that is communicated to or obtained by the Person serving as the
Administrative Agent or the Collateral Agent or any of its Affiliates in any capacity.

        The Agents shall not be liable for any action taken or not taken by them (i) with the consent or at
the request of the Required Lenders (or such other number or percentage of the Lenders as shall be
necessary, or as the Agents shall believe in good faith shall be necessary, under the circumstances as
provided in Sections 11.01 and 8.02) or (ii) in the absence of their own gross negligence or willful
misconduct. The Agents shall be deemed not to have knowledge of any Default unless and until notice
describing such Default is given to the Administrative Agent by the Borrower, a Lender or any L/C Issuer.

         The Agents shall not be responsible for or have any duty to ascertain or inquire into (i) any
statement, warranty or representation made in or in connection with this Agreement or any other Loan
Document, (ii) the contents of any certificate, report or other document delivered hereunder or thereunder
or in connection herewith or therewith, (iii) the performance or observance of any of the covenants,
agreements or other terms or conditions set forth herein or therein or the occurrence of any Default, (iv) the
validity, enforceability, effectiveness or genuineness of this Agreement, any other Loan Document or any
other agreement, instrument or document, or the creation, perfection or priority of any Lien purported to be
created by the Collateral Documents, (v) the value or the sufficiency of any Collateral, or (vi) the
satisfaction of any condition set forth in Article IV or elsewhere herein, other than to confirm receipt of
items expressly required to be delivered to the Agents.

          9.04     Reliance by Agents. The Agents shall be entitled to rely upon, and shall not incur any
liability for relying upon, any notice, request, certificate, consent, statement, instrument, document or other
writing (including any electronic message, Internet or intranet website posting or other distribution)
believed by them to be genuine and to have been signed, sent or otherwise authenticated by the proper
Person. The Agents also may rely upon any statement made to them orally or by telephone and believed
by them to have been made by the proper Person, and shall not incur any liability for relying thereon. In
determining compliance with any condition hereunder to the making of a Loan, or the issuance of a Letter
                                                     110
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 432 of 569



of Credit, that by its terms must be fulfilled to the satisfaction of a Lender or the L/C Issuers, the
Administrative Agent may presume that such condition is satisfactory to such Lender or such L/C Issuer
unless the Administrative Agent shall have received notice to the contrary from such Lender or such L/C
Issuer prior to the making of such Loan or the issuance of such Letter of Credit. The Agents may consult
with legal counsel (who may be counsel for the Borrower), independent accountants and other experts
selected by them, and shall not be liable for any action taken or not taken by them in accordance with the
advice of any such counsel, accountants or experts.

         9.05    Delegation of Duties. The Agents may perform in any and all of their duties and exercise
their rights and powers hereunder or under any other Loan Document by or through any one or more sub-
agents appointed by the Administrative Agent or the Collateral Agent, as applicable. The Agents and any
such sub-agent may perform any and all of their duties and exercise their rights and powers by or through
their respective Related Parties. The exculpatory provisions of this Article shall apply to any such sub-
agent and to the Related Parties of the Agents and any such sub-agent, and shall apply to their respective
activities as Administrative Agent or Collateral Agent.

         9.06    Resignation of Agents. The Agents may at any time give notice of its resignation to the
Lenders, the L/C Issuers and the Borrower, including the effective date of such resignation which may be
not less than 30 days from the date of such notice. Upon receipt of any such notice of resignation, the
Required Lenders shall have the right, with the consent of the Borrower at all times other than during the
existence of an Event of Default (which consent shall not be unreasonably withheld or delayed), to appoint
a successor, which shall be a bank with an office in the United States, or an Affiliate of any such bank with
an office in the United States. If no such successor shall have been so appointed by the Required Lenders
and shall have accepted such appointment within 30 days after the retiring Agents give notice of their
resignation, then the retiring Agents may on behalf of the Lenders and the L/C Issuers, appoint a successor
Administrative Agent and Collateral Agent meeting the qualifications set forth above; provided that if the
Agents shall notify the Borrower and the Lenders that no qualifying Person has accepted such appointment,
then such resignation shall nonetheless become effective in accordance with such notice and (a) the retiring
Agents shall be discharged from their duties and obligations hereunder and under the other Loan Documents
(except that in the case of any collateral security held by the Collateral Agent on behalf of the Lenders or
the L/C Issuers under any of the Loan Documents, the retiring Collateral Agent shall continue to hold such
collateral security until such time as a successor Collateral Agent is appointed) and (b) all payments,
communications and determinations provided to be made by, to or through the Administrative Agent shall
instead be made by or to each Lender and each L/C Issuer directly, until such time as the Required Lenders
appoint a successor Administrative Agent as provided for above in this Section 9.06. Upon the acceptance
of a successor’s appointment as Administrative Agent and Collateral Agent hereunder, such successor shall
succeed to and become vested with all of the rights, powers, privileges and duties of the retiring (or retired)
Administrative Agent and Collateral Agent, and the retiring Administrative Agent and Collateral Agent
shall be discharged from all of their respective duties and obligations hereunder or under the other Loan
Documents (if not already discharged therefrom as provided above in this Section 9.06). The fees payable
by the Borrower to a successor Administrative Agent shall be the same as those payable to its predecessor
unless otherwise agreed between the Borrower and such successor. After the retiring Administrative
Agent’s or Collateral Agent’s resignation hereunder and under the other Loan Documents, the provisions
of this Article IX and Section 11.04 shall continue in effect for the benefit of such retiring Administrative
Agent and Collateral Agent, their respective sub-agents and their respective Related Parties in respect of
any actions taken or omitted to be taken by any of them while the retiring Administrative Agent and
Collateral Agent was acting as Administrative Agent and Collateral Agent.

       9.07    Non-Reliance on Agents and Other Lenders. Each Lender and each L/C Issuer
acknowledges that it has, independently and without reliance upon the Agents, the Arranger or any other
Lender or any of their Related Parties and based on such documents and information as it has deemed
                                                 111
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 433 of 569



appropriate, made its own credit analysis and decision to enter into this Agreement. Each Lender and each
L/C Issuer also acknowledges that it will, independently and without reliance upon the Agents, the Arranger
or any other Lender or any of their Related Parties and based on such documents and information as it shall
from time to time deem appropriate, continue to make its own decisions in taking or not taking action under
or based upon this Agreement, any other Loan Document or any related agreement or any document
furnished hereunder or thereunder. Except as provided in Section 9.12, the Agents and the Arranger shall
not have any duty or responsibility to provide any Lender with any other credit or other information
concerning the affairs, financial condition or business of any Loan Party that may come into the possession
of the Agents and the Arranger.

        9.08    No Other Duties, Etc. Anything herein to the contrary notwithstanding, no Arranger listed
on the cover page hereof shall (i) have any powers, duties or responsibilities under this Agreement or any
of the other Loan Documents, except in its capacity, as applicable, as the Administrative Agent, the
Collateral Agent, a Lender or any L/C Issuer hereunder or (ii) any fiduciary relationship with the Lenders,
the Borrower or any other Person pursuant to the Loan Documents.

        9.09     Administrative Agent May File Proofs of Claim. In case of the pendency of any
proceeding under any Debtor Relief Law or any other judicial proceeding relative to any Loan Party, the
Administrative Agent (irrespective of whether the principal of any Loan or L/C Obligation shall then be
due and payable as herein expressed or by declaration or otherwise and irrespective of whether the
Administrative Agent shall have made any demand on the Borrower) shall be entitled and empowered, by
intervention in such proceeding or otherwise

                  (a)     to file and prove a claim for the whole amount of the principal and interest owing
and unpaid in respect of the Loans, L/C Obligations and all other Obligations that are owing and unpaid
and to file such other documents as may be necessary or advisable in order to have the claims of the Lenders,
the L/C Issuers and the Administrative Agent (including any claim for the reasonable compensation,
expenses, disbursements and advances of the Lenders, the L/C Issuers and the Administrative Agent and
their respective agents and counsel and all other amounts due the Lenders, the L/C Issuers and the
Administrative Agent under Sections 2.07, and 11.04) allowed in such judicial proceeding; and

                (b)      to collect and receive any monies or other property payable or deliverable on any
such claims and to distribute the same;

and any custodian, receiver, assignee, trustee, liquidator, sequestrator or other similar official in any such
judicial proceeding is hereby authorized by each Lender and each L/C Issuer to make such payments to the
Administrative Agent and, if the Administrative Agent shall consent to the making of such payments
directly to the Lenders and the L/C Issuers, to pay to the Administrative Agent any amount due for the
reasonable compensation, expenses, disbursements and advances of the Administrative Agent and its agents
and counsel, and any other amounts due the Administrative Agent under Sections 2.07 and 11.04.

         Nothing contained herein shall be deemed to authorize the Administrative Agent to authorize or
consent to or accept or adopt on behalf of any Lender or any L/C Issuer any plan of reorganization,
arrangement, adjustment or composition affecting the Obligations or the rights of any Lender or any L/C
Issuer to authorize the Administrative Agent to vote in respect of the claim of any Lender or any L/C Issuer
in any such proceeding.

       9.10      Collateral and Guaranty Matters. The Lenders and the L/C Issuers irrevocably authorize
the Agents, at their option and in their discretion,


                                                     112
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 434 of 569



                 (a)       to release any Lien on any property granted to or held by the Collateral Agent
under any Loan Document (i) upon termination of the Aggregate Commitments and payment in full of all
Obligations (other than contingent indemnification obligations for which no claim has then been asserted)
and the expiration or termination of all Letters of Credit, (ii) that is sold or to be sold as part of or in
connection with any sale permitted hereunder or under any other Loan Document to a Person that is not a
Loan Party, or (iii) if approved, authorized or ratified in writing in accordance with Section 11.01;

                (b)      to release any Guarantor from its obligations hereunder if such Person ceases to be
a Restricted Subsidiary as a result of a transaction permitted hereunder; and

               (c)   to subordinate any Lien on any property granted to or held by the Collateral Agent
under any Loan Document to the holder of any Lien on such property that is permitted by Section 7.01(i).

         Upon request by the Agents at any time, the Required Lenders will confirm in writing the Agents’
authority to release or subordinate their interest in particular types or items of property, or to release any
Guarantor from its obligations hereunder pursuant to this Section 9.10. In each case as specified in this
Section 9.10, the Administrative Agent or the Collateral Agent, as applicable, will, at the Borrower’s
expense, execute and deliver to the applicable Loan Party such documents as such Loan Party may
reasonably request to evidence the release of such item of Collateral from the assignment and security
interest granted under the Collateral Documents or to subordinate its interest in such item, or to release such
Guarantor from its obligations hereunder, in each case in accordance with the terms of the Loan Documents
and this Section 9.10.

         9.11   Notice of Transfer. The Agents may deem and treat a Lender party to this Agreement as
the owner of such Lender’s portion of the Obligations for all purposes, unless and until, and except to the
extent, an Assignment and Assumption shall have become effective as set forth in Section 11.06.

        9.12     Reports and Financial Statements. By signing this Agreement, each Lender:

                 (a)     [reserved];

                 (b)      is deemed to have requested that the Administrative Agent furnish such Lender,
promptly after they become available, copies of all Borrowing Base Calculations, financial statements
required to be delivered by the Borrower hereunder and all collateral field examinations and appraisals of
the Collateral received by the Agents (collectively, the “Reports”), and the Administrative Agent further
agrees to deliver other information delivered pursuant to Section 6.02 upon the reasonable request of such
Lender;

                 (c)     expressly agrees and acknowledges that the Agents (i) make no representation or
warranty as to the accuracy of the Reports, and (ii) shall not be liable for any information contained in any
Report;

                 (d)     expressly agrees and acknowledges that the Reports are not comprehensive audits
or examinations, that the Agents or any other party performing any audit or examination will inspect only
specific information regarding the Loan Parties and will rely significantly upon the Loan Parties’ books and
records, as well as on representations of the Loan Parties’ personnel;

                (e)     agrees to keep all Reports confidential in accordance with the provisions of
Section 11.07, or use any Report in any other manner; and



                                                     113
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 435 of 569



                  (f)     without limiting the generality of any other indemnification provision contained in
this Agreement, agrees: (i) to hold the Agents and any such other Lender preparing a Report harmless from
any action the indemnifying Lender may take or conclusion the indemnifying Lender may reach or draw
from any Report in connection with any Credit Extensions that the indemnifying Lender has made or may
make to the Borrower, or the indemnifying Lender’s participation in, or the indemnifying Lender’s purchase
of, a Loan or Loans of the Borrower; and (ii) to pay and protect, and indemnify, defend, and hold the Agents
and any such other Lender preparing a Report harmless from and against, the claims, actions, proceedings,
damages, costs, expenses, and other amounts (including attorney costs) incurred by the Agents and any
such other Lender preparing a Report as the direct or indirect result of any third parties who might obtain
all or part of any Report through the indemnifying Lender.

         9.13   Agency for Perfection. Each Lender hereby appoints each other Lender as agent for the
purpose of perfecting Liens for the benefit of the Agents and the Lenders, in assets which, in accordance
with Article 9 of the UCC or any other applicable Law can be perfected only by possession. Should any
Lender (other than the Agents) obtain possession of any such Collateral, such Lender shall notify the Agents
thereof, and, promptly upon the Collateral Agent’s request therefor shall deliver such Collateral to the
Collateral Agent or otherwise deal with such Collateral in accordance with the Collateral Agent’s
instructions.

         9.14    Indemnification of Agents. The Lenders agree to indemnify the Agents (to the extent not
reimbursed by the Loan Parties and without limiting the obligations of Loan Parties hereunder), ratably
according to their respective Applicable Percentages, from and against any and all liabilities, obligations,
losses, damages, penalties, actions, judgments, suits, costs, expenses or disbursements of any kind or nature
whatsoever that may be imposed on, incurred by, or asserted against any Agent in any way relating to or
arising out of this Agreement or any other Loan Document or any action taken or omitted to be taken by
any Agent in connection therewith; provided that no Lender shall be liable for any portion of such liabilities,
obligations, losses, damages, penalties, actions, judgments, suits, costs, expenses or disbursements resulting
from such Agent’s gross negligence or willful misconduct as determined by a final and nonappealable
judgment of a court of competent jurisdiction.

         9.15    Withholding Tax. To the extent required by any applicable law, the Agent may withhold
from any payment to any Lender an amount equivalent to any applicable withholding Tax. If the Internal
Revenue Service or any other authority of the United States or other jurisdiction asserts a claim that the
Agent did not properly withhold Tax from amounts paid to or for the account of any Lender for any reason
(including, without limitation, because the appropriate form was not delivered or not properly executed, or
because such Lender failed to notify the Agent of a change in circumstance that rendered the exemption
from, or reduction of withholding Tax ineffective), such Lender shall indemnify and hold harmless the
Agent (to the extent that the Agent has not already been reimbursed by the Borrower and without limiting
the obligation of the Borrower to do so) for all amounts paid, directly or indirectly, by the Agent as Tax or
otherwise, including any interest, additions to Tax or penalties thereto, together with all expenses incurred,
including legal expenses and any other out-of-pocket expenses, whether or not such Taxes were correctly
or legally imposed or asserted by the relevant Governmental Authority. A certificate as to the amount of
such payment or liability delivered to any Lender by the Administrative Agent shall be conclusive absent
manifest error.

         9.16     Relation Among Lenders. The Lenders are not partners or co-venturers, and no Lender
shall be liable for the acts or omissions of, or (except as otherwise set forth herein in case of the Agents)
authorized to act for, any other Lender.

        9.17     Certain ERISA Matters.

                                                     114
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 436 of 569



          (a)     Each Lender (x) represents and warrants, as of the date such Person became a Lender party
hereto, to, and (y) covenants, from the date such Person became a Lender party hereto to the date such
Person ceases being a Lender party hereto, for the benefit of, the Administrative Agent and its respective
Affiliates, and not, for the avoidance of doubt, to or for the benefit of the Borrower or any other Loan Party,
that at least one of the following is and will be true:

                (i)      such Lender is not using “plan assets” (within the meaning of the Plan Asset
        Regulations or otherwise) of one or more Benefit Plans in connection with the Loans, the Letters
        of Credit or the Commitments,

                 (ii)    the prohibited transaction exemption set forth in one or more PTEs, such as PTE
        84-14 (a class exemption for certain transactions determined by independent qualified professional
        asset managers), PTE 95-60 (a class exemption for certain transactions involving insurance
        company general accounts), PTE 90-1 (a class exemption for certain transactions involving
        insurance company pooled separate accounts), PTE 91-38 (a class exemption for certain
        transactions involving bank collective investment funds) or PTE 96-23 (a class exemption for
        certain transactions determined by in-house asset managers), is applicable so as to exempt from the
        prohibitions of ERISA Section 406 and Code Section 4975 such Lender’s entrance into,
        participation in, administration of and performance of the Loans, the Letters of Credit, the
        Commitments and this Agreement and the conditions for exemptive relief thereunder are and will
        continue to be satisfied in connection therewith,

                 (iii) (A) such Lender is an investment fund managed by a “Qualified Professional Asset
        Manager” (within the meaning of Part VI of PTE 84-14), (B) such Qualified Professional Asset
        Manager made the investment decision on behalf of such Lender to enter into, participate in,
        administer and perform the Loans, the Letters of Credit, the Commitments and this Agreement, (C)
        the entrance into, participation in, administration of and performance of the Loans, the Letters of
        Credit, the Commitments and this Agreement satisfies the requirements of sub-sections (b) through
        (g) of Part I of PTE 84-14 and (D) to the best knowledge of such Lender, the requirements of
        subsection (a) of Part I of PTE 84-14 are satisfied with respect to such Lender’s entrance into,
        participation in, administration of and performance of the Loans, the Letters of Credit, the
        Commitments and this Agreement, or

               (iv)   such other representation, warranty and covenant as may be agreed in writing
        between the Administrative Agent, in its sole discretion, and such Lender.

         (b)      In addition, unless either (1) sub-clause (i) in the immediately preceding clause (a) is true
with respect to a Lender or (2) a Lender has not provided another representation, warranty and covenant as
provided in sub-clause (iv) in the immediately preceding clause (a), such Lender further (x) represents and
warrants, as of the date such Person became a Lender party hereto, to, and (y) covenants, from the date such
Person became a Lender party hereto to the date such Person ceases being a Lender party hereto, for the
benefit of, the Administrative Agent and its Affiliates, and not, for the avoidance of doubt, to or for the
benefit of the Borrower or any other Loan Party, that none of the Administrative Agent or its Affiliates is a
fiduciary with respect to the assets of such Lender (including in connection with the reservation or exercise
of any rights by the Administrative Agent under this Agreement, any Loan Document or any documents
related to hereto or thereto).

         (c)    The Administrative Agent hereby informs the Lenders that each such Person is not
undertaking to provide investment advice or to give advice in a fiduciary capacity, in connection with the
transactions contemplated hereby, and that such Person has a financial interest in the transactions
contemplated hereby in that such Person or an Affiliate thereof (i) may receive interest or other payments
                                                     115
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 437 of 569



with respect to the Loans, the Letters of Credit, the Commitments, this Agreement and any other Loan
Documents, (ii) may recognize a gain if it extended the Loans, the Letters of Credit or the Commitments
for an amount less than the amount being paid for an interest in the Loans, the Letters of Credit or the
Commitments by such Lender or (iii) may receive fees or other payments in connection with the transactions
contemplated hereby, the Loan Documents or otherwise, including structuring fees, commitment fees,
arrangement fees, facility fees, upfront fees, underwriting fees, ticking fees, agency fees, administrative
agent or collateral agent fees, utilization fees, minimum usage fees, letter of credit fees, fronting fees, deal-
away or alternate transaction fees, amendment fees, processing fees, term out premiums, banker’s
acceptance fees, breakage or other early termination fees or fees similar to the foregoing.

        9.18     Erroneous Payments.

                  (a)      Each Lender and L/C Issuer hereby agrees that (x) if the Administrative Agent
notifies such Lender or L/C Issuer that the Administrative Agent has determined in its sole discretion that
any funds received by such Lender or L/C Issuer from the Administrative Agent or any of its Affiliates
(whether as a payment, prepayment or repayment of principal, interest, fees or otherwise; individually and
collectively, a “Payment”) were erroneously transmitted to such Lender or L/C Issuer (whether or not
known to such Lender or L/C Issuer), and demands the return of such Payment (or a portion thereof), such
Lender or L/C Issuer shall promptly, but in no event later than one (1) Business Day thereafter, return to
the Administrative Agent the amount of any such Payment (or portion thereof) as to which such a demand
was made in same day funds, together with interest thereon in respect of each day from and including the
date such Payment (or portion thereof) was received by such Lender or L/C Issuer to the date such amount
is repaid to the Administrative Agent at the greater of the NYFRB Rate and a rate determined by the
Administrative Agent in accordance with banking industry rules on interbank compensation from time to
time in effect, and (y) to the extent permitted by applicable law, such Lender or L/C Issuer shall not assert,
and hereby waives, as to the Administrative Agent, any claim, counterclaim, defense or right of set-off or
recoupment with respect to any demand, claim or counterclaim by the Administrative Agent for the return
of any Payments received, including without limitation any defense based on “discharge for value” or any
similar doctrine. A notice of the Administrative Agent to any Lender or L/C Issuer under this Section
9.18(a) shall be conclusive, absent manifest error.

                 (b)      Each Lender and L/C Issuer hereby further agrees that if it receives a Payment
from the Administrative Agent or any of its Affiliates (x) that is in a different amount than, or on a different
date from, that specified in a notice of payment sent by the Administrative Agent (or any of its Affiliates)
with respect to such Payment (a “Payment Notice”) or (y) that was not preceded or accompanied by a
Payment Notice, it shall be on notice, in each such case, that an error has been made with respect to such
Payment. Each Lender and L/C Issuer agrees that, in each such case, or if it otherwise becomes aware a
Payment (or portion thereof) may have been sent in error, such Lender or L/C Issuer shall promptly notify
the Administrative Agent of such occurrence and, upon demand from the Administrative Agent, it shall
promptly, but in no event later than one (1) Business Day thereafter, return to the Administrative Agent the
amount of any such Payment (or portion thereof) as to which such a demand was made in same day funds,
together with interest thereon in respect of each day from and including the date such Payment (or portion
thereof) was received by such Lender or L/C Issuer to the date such amount is repaid to the Administrative
Agent at the greater of the NYFRB Rate and a rate determined by the Administrative Agent in accordance
with banking industry rules on interbank compensation from time to time in effect.

                (c)      The Borrower and each other Loan Party hereby agrees that (x) in the event an
erroneous Payment (or portion thereof) are not recovered from any Lender or L/C Issuer that has received
such Payment (or portion thereof) for any reason, the Administrative Agent shall be subrogated to all the
rights of such Lender or L/C Issuer with respect to such amount and (y) an erroneous Payment shall not
pay, prepay, repay, discharge or otherwise satisfy any Obligations owed by the Borrower or any other Loan
                                                    116
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 438 of 569



Party, except, in each case, to the extent such erroneous Payment (or any portion thereof) is, and solely with
respect to the amount of such erroneous Payment that is comprised of funds of a Loan Party.
Notwithstanding anything to the contrary herein or in any other Loan Document, the provisions of this
Section 9.18 relating to Payments (including the preceding two paragraphs and this paragraph) shall not
constitute, create or otherwise alter the Obligations on the part of the Loan Parties under the Loan
Documents or otherwise.

                 (d)     Each party’s obligations under this Section 9.18 shall survive the resignation or
replacement of the Administrative Agent or any transfer of rights or obligations by, or the replacement of,
a Lender or L/C Issuer, the termination of the Commitments or the repayment, satisfaction or discharge of
all Obligations under any Loan Document.

         9.19     Intercreditor Agreement. The parties hereto acknowledge and agree that: (a) in accordance
with the Interim Financing Order and any other order of the Bankruptcy Court, the each Agent shall be
subject to the terms of the Intercreditor Agreement as if each Agent was a party thereto as an “ABL Agent”
(as defined in the Intercreditor Agreement) and (b) each Agent, acting in the capacity as an ABL Agent, is
authorized to perform and take or refrain from taking any actions, and providing any consents or directions,
in connection with the Intercreditor Agreement.

                                           ARTICLE X
                                      CONTINUING GUARANTY

         10.01 Guaranty. Each Guarantor hereby absolutely and unconditionally guarantees, as a guaranty
of payment and performance and not merely as a guaranty of collection, prompt payment when due, whether
at stated maturity, by required prepayment, upon acceleration, demand or otherwise, and at all times
thereafter, of any and all of the Obligations, whether for principal, interest, premiums, fees, indemnities,
damages, costs, expenses or otherwise, of the Borrower to the Credit Parties, arising hereunder and under
the other Loan Documents (including all renewals, extensions, amendments, refinancings and other
modifications thereof and all costs, attorneys’ fees and expenses incurred by the Credit Parties in connection
with the collection or enforcement thereof). The Administrative Agent’s books and records showing the
amount of the Obligations shall be admissible in evidence in any action or proceeding, and shall be binding
upon each Guarantor, and conclusive for the purpose of establishing the amount of the Obligations. This
Guaranty shall not be affected by the genuineness, validity, regularity or enforceability of the Obligations
or any instrument or agreement evidencing any Obligations, or by the existence, validity, enforceability,
perfection, non-perfection or extent of any collateral therefor, or by any fact or circumstance relating to the
Obligations which might otherwise constitute a defense to the obligations of any Guarantor under this
Guaranty, and each Guarantor hereby irrevocably waives any defenses it may now have or hereafter acquire
in any way relating to any or all of the foregoing.

         Each Qualified ECP Guarantor (including the Borrower) hereby jointly and severally absolutely,
unconditionally and irrevocably undertakes to provide such funds or other support as may be needed from
time to time by each other Loan Party to honor all of each such Loan Party’s obligations (a) in respect of
Swap Contracts to which it is a party and (b) under this Guaranty in respect of Swap Obligations (provided,
however, that each Qualified ECP Guarantor shall only be liable under this Section 10.01 for the maximum
amount of such liability that can be hereby incurred without rendering its obligations under this
Section 10.01, or otherwise under this Guaranty, as it relates to such other Loan Party, voidable under
applicable law relating to fraudulent conveyance or fraudulent transfer, and not for any greater amount).
The obligations of each Qualified ECP Guarantor under this Section shall remain in full force and effect
until the termination of this Guaranty in accordance with Section 10.06 hereof. Each Qualified ECP
Guarantor intends that this Section 10.01 constitute, and this Section 10.01 shall be deemed to constitute, a

                                                     117
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 439 of 569



“keepwell, support, or other agreement” for the benefit of each other Loan Party for all purposes of
Section 1a(18)(A)(v)(II) of the Commodity Exchange Act.

         10.02 Rights of Lenders. Each Guarantor consents and agrees that the Credit Parties may, at any
time and from time to time, without notice or demand, and without affecting the enforceability or continuing
effectiveness hereof: (a) amend, extend, renew, compromise, discharge, accelerate or otherwise change the
time for payment or the terms of the Obligations or any part thereof; (b) take, hold, exchange, enforce,
waive, release, fail to perfect, sell, or otherwise dispose of any security for the payment of this Guaranty or
any Obligations; (c) apply such security and direct the order or manner of sale thereof as the Administrative
Agent and the Lenders in their sole discretion may determine; and (d) release or substitute one or more of
any endorsers or other guarantors of any of the Obligations. Without limiting the generality of the
foregoing, each Guarantor consents to the taking of, or failure to take, any action which might in any manner
or to any extent vary the risks of such Guarantor under this Guaranty or which, but for this provision, might
operate as a discharge of such Guarantor.

         10.03 Certain Waivers. Each Guarantor waives (a) any defense arising by reason of any disability
or other defense of the Borrower or any other Guarantor, or the cessation from any cause whatsoever
(including any act or omission of any Credit Party) of the liability of the Borrower; (b) any defense based
on any claim that such Guarantor’s obligations exceed or are more burdensome than those of the Borrower;
(c) the benefit of any statute of limitations affecting such Guarantor’s liability hereunder; (d) any right to
proceed against the Borrower, proceed against or exhaust any security for the Obligations, or pursue any
other remedy in the power of any Credit Party whatsoever; (e) any benefit of and any right to participate in
any security now or hereafter held by any Credit Party; and (f) to the fullest extent permitted by law, any
and all other defenses or benefits that may be derived from or afforded by applicable law limiting the
liability of or exonerating guarantors or sureties. Each Guarantor expressly waives all setoffs and
counterclaims and all presentments, demands for payment or performance, notices of nonpayment or
nonperformance, protests, notices of protest, notices of dishonor and all other notices or demands of any
kind or nature whatsoever with respect to the Obligations, and all notices of acceptance of this Guaranty or
of the existence, creation or incurrence of new or additional Obligations. As provided below, this Guaranty
shall be governed by, and construed in accordance with, the laws of the State of New York.

        10.04 Obligations Independent. The obligations of each Guarantor hereunder are those of
primary obligor, and not merely as surety, and are independent of the Obligations and the obligations of
any other guarantor, and a separate action may be brought against each Guarantor to enforce this Guaranty
whether or not the Borrower or any other person or entity is joined as a party.

         10.05 Subrogation. No Guarantor shall exercise any right of subrogation, contribution,
indemnity, reimbursement or similar rights with respect to any payments it makes under this Guaranty until
all of the Obligations (other than any indemnity obligations for unasserted claims that by its terms survives
the termination of this Agreement) and any amounts payable under this Guaranty have been paid and
performed in full and the Commitments and the Facility are terminated. If any amounts are paid to any
Guarantor in violation of the foregoing limitation, then such amounts shall be held in trust for the benefit
of the Credit Parties and shall forthwith be paid to the Credit Parties to reduce the amount of the Obligations,
whether matured or unmatured.

        10.06 Termination; Reinstatement. This Guaranty is a continuing and irrevocable guaranty of all
Obligations now or hereafter existing and shall remain in full force and effect until all Obligations and any
other amounts payable under this Guaranty are paid in full in cash (other than any indemnity obligations
for unasserted claims that by its terms survives the termination of this Agreement) and the Commitments
and the Facility with respect to the Obligations are terminated. Notwithstanding the foregoing, this
Guaranty shall continue in full force and effect or be revived, as the case may be, if any payment by or on
                                                      118
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 440 of 569



behalf of the Borrower or any Guarantor is made, or any of the Credit Parties exercises its right of setoff,
in respect of the Obligations and such payment or the proceeds of such setoff or any part thereof is
subsequently invalidated, declared to be fraudulent or preferential, set aside or required (including pursuant
to any settlement entered into by any of the Credit Parties in their discretion) to be repaid to a trustee,
receiver or any other party, in connection with any proceeding under any Debtor Relief Laws or otherwise,
all as if such payment had not been made or such setoff had not occurred and whether or not the Credit
Parties are in possession of or have released this Guaranty and regardless of any prior revocation, rescission,
termination or reduction. The obligations of each Guarantor under this paragraph shall survive termination
of this Guaranty.

         10.07 Subordination. Each Guarantor hereby subordinates the payment of all obligations and
indebtedness of the Borrower owing to such Guarantor, whether now existing or hereafter arising, including
but not limited to any obligation of the Borrower to any Guarantor as subrogee of the Credit Parties or
resulting from such Guarantor’s performance under this Guaranty, to the indefeasible payment in full in
cash of all Obligations (other than any indemnity obligations for unasserted claims that by its terms survives
the termination of this Agreement). If the Credit Parties so request, any such obligation or indebtedness of
the Borrower to any Guarantor shall be enforced and performance received by such Guarantor as trustee
for the Credit Parties and the proceeds thereof shall be paid over to the Credit Parties on account of the
Obligations, but without reducing or affecting in any manner the liability of such Guarantor under this
Guaranty.

         10.08 Stay of Acceleration. If acceleration of the time for payment of any of the Obligations is
stayed, in connection with any case commenced by or against any Guarantor or the Borrower under any
Debtor Relief Laws, or otherwise, all such amounts shall nonetheless be payable by such Guarantor
immediately upon demand by the Credit Parties.

         10.09 Condition of Borrower. Each Guarantor acknowledges and agrees that it has the sole
responsibility for, and has adequate means of, obtaining from the Borrower and any other guarantor such
information concerning the financial condition, business and operations of the Borrower and any such other
Guarantor as such Guarantor requires, and that none of the Credit Parties has any duty, and such Guarantor
is not relying on the Credit Parties at any time to disclose to such Guarantor any information relating to the
business, operations or financial condition of the Borrower or any other Guarantor (such Guarantor waiving
any duty on the part of the Credit Parties to disclose such information and any defense relating to the failure
to provide the same).

                                              ARTICLE XI
                                            MISCELLANEOUS

         11.01 Amendments, Etc. Subject to Section 3.02, no amendment or waiver of any provision of
this Agreement or any other Loan Document, and no consent to any departure by the Borrower or any other
Loan Party therefrom, shall be effective unless in writing signed by the Required Lenders and the Borrower
or the applicable Loan Party, as the case may be, and acknowledged by the Administrative Agent, and each
such waiver or consent shall be effective only in the specific instance and for the specific purpose for which
given; provided, however, that no such amendment, waiver or consent shall:

                (a)     extend or increase the Commitment of any Lender (or reinstate any Commitment
terminated pursuant to Section 8.02) without the written consent of such Lender (it being understood that
the waiver of any mandatory prepayment shall not constitute an extension or increase of any Commitment
of any Lender);


                                                     119
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 441 of 569



                  (b)     postpone any date fixed by this Agreement or any other Loan Document for (i) any
payment of principal, interest, fees or other amounts due to the Lenders (or any of them) hereunder or under
any of the other Loan Documents without the written consent of each Lender entitled to such payment (it
being understood that the waiver of or amendment to the terms of any mandatory prepayment of the Loans
shall not constitute a postponement of any date scheduled for the payment of principal or interest, or (ii) any
scheduled or mandatory reduction of the Aggregate Commitments hereunder or under any other Loan
Document without the written consent of each Lender;

                 (c)      reduce the principal of, or the rate of interest specified herein on, any Loan or
Letter of Credit Disbursements, or (subject to clause (iv) of the second proviso to this Section 11.01) any
fees or other amounts payable hereunder or under any other Loan Document, without the written consent
of each Lender entitled to such amount; provided, however, that only the consent of the Required Lenders
shall be necessary to amend the definition of “Default Rate” or to waive any obligation of the Borrower to
pay interest or Letter of Credit Fees at the Default Rate; provided further, however, changes to interest rates
arising from changes to the definition of Borrowing Base shall be governed by clause (i) below;

               (d)     change Section 2.13 or Section 8.03 in a manner that would alter the pro rata
sharing of payments required thereby without the written consent of each Lender;

                (e)    change any provision of this Section 11.01 or the definition of “Required Lenders”
or “Supermajority Lenders” or any other provision hereof specifying the number or percentage of Lenders
required to amend, waive or otherwise modify any rights hereunder or make any determination or grant any
consent hereunder, without the written consent of each Lender (other than any Defaulting Lender);

                (f)      except as expressly permitted hereunder, release, or limit the liability of, any Loan
Party without the written consent of each Lender (other than any Defaulting Lender);

                  (g)     except for releases of Collateral in accordance with the provisions of Section 9.10
hereof (in which case, such release may be made by the Administrative Agent acting alone), release all or
substantially all of the Collateral from the Liens of the Collateral Documents in any transaction or series of
related transactions, without the written consent of each Lender (other than any Defaulting Lender);

                (h)     increase the Aggregate Commitments without the written consent of each Lender
(other than any Defaulting Lender);

                 (i)      change the definition of the term “Borrowing Base” or any component definition
thereof if as a result thereof the amounts available to be borrowed by the Borrower would be increased,
without the written consent of the Supermajority Lenders, provided that the foregoing shall not limit the
discretion of the Administrative Agent to change, establish or eliminate any Reserves without the consent
of any Lender;

                 (j)     modify the definition of Permitted Overadvance so as to increase the amount
thereof or, except as provided in such definition, the time period for a Permitted Overadvance without the
written consent of the Supermajority Lenders;

                (k)     except as provided in Section 9.10(c), subordinate the Obligations hereunder or the
Liens granted hereunder or under the other Loan Documents, to any other Indebtedness or Lien, as the case
may be without the written consent of each Lender (other than any Defaulting Lender);

                (l)     modify this Section 11.01 or Section 8.03 without the written consent of each
Lender (other than any Defaulting Lender);
                                                     120
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 442 of 569



and provided further, that (i) no amendment, waiver or consent shall, unless in writing and signed by the
L/C Issuers in addition to the Lenders required above, affect the rights or duties of the L/C Issuers under
this Agreement or any Issuer Document relating to any Letter of Credit issued or to be issued by it; (ii) no
amendment, waiver or consent shall, unless in writing and signed by the Swing Line Lender in addition to
the Lenders required above, affect the rights or duties of the Swing Line Lender under this Agreement;
(iii) no amendment, waiver or consent shall, unless in writing and signed by the Administrative Agent in
addition to the Lenders required above, affect the rights or duties of the Administrative Agent under this
Agreement or any other Loan Document; (iv) no amendment, waiver or consent shall, unless in writing and
signed by the Collateral Agent in addition to the Lenders required above, affect the rights or duties of the
Collateral Agent under this Agreement or any other Loan Document; and (v) each Fee Letter may be
amended, or rights or privileges thereunder waived, in a writing executed only by the parties thereto.

        If any Lender does not consent to a proposed amendment, waiver, consent or release with respect
to any Loan Document that requires the consent of each Lender or Supermajority Lenders and that has been
approved by the Required Lenders, the Borrower may replace such non-consenting Lender in accordance
with Section 11.13; provided that such amendment, waiver, consent or release can be effected as a result of
the assignment contemplated by such Section (together with all other such assignments required by the
Borrower to be made pursuant to this paragraph).

         Notwithstanding anything to the contrary contained in this Section 11.01, if the Administrative
Agent and the Borrower shall have jointly identified an obvious error (including, but not limited to, an
incorrect cross-reference) or any error or omission of a technical or immaterial nature, in each case, in any
provision of any Loan Document, then the Administrative Agent and/or the Collateral Agent (acting in their
sole discretion) and the Borrower or any other relevant Loan Party shall be permitted to amend such
provision and such amendment shall become effective without any further action or consent of any other
party to any Loan Document.

        11.02   Notices; Effectiveness; Electronic Communications.

                 (a)    Notices Generally. Except in the case of notices and other communications
expressly permitted to be given by telephone (and except as provided in subsection (b) below), all notices
and other communications provided for herein shall be in writing and shall be delivered by hand or
overnight courier service, mailed by certified or registered mail or sent by telecopier as follows, and all
notices and other communications expressly permitted hereunder to be given by telephone shall be made to
the applicable telephone number, as follows:

                         (i)     if to Holdings, the Borrower, any Loan Party, the Administrative Agent,
        the Collateral Agent, the L/C Issuers or the Swing Line Lender to the address, telecopier number,
        electronic mail address or telephone number specified for such Person on Schedule 11.02; and

                         (ii)  if to any other Lender, to the address, telecopier number, electronic mail
        address or telephone number specified in its Administrative Questionnaire.

        Notices sent by hand or overnight courier service, or mailed by certified or registered mail, shall
be deemed to have been given when received; notices sent by telecopier shall be deemed to have been given
when sent (except that, if not given during normal business hours for the recipient, shall be deemed to have
been given at the opening of business on the next business day for the recipient). Notices delivered through
electronic communications to the extent provided in subsection (b) below shall be effective as provided in
such subsection (b).


                                                    121
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 443 of 569



                  (b)      Electronic Communications. The Administrative Agent and each of its Affiliates
is authorized to transmit, post or otherwise make or communicate, in its sole discretion (but shall not be
required to do so), by Approved Electronic Communications in connection with this Agreement or any
other Loan Document and the transactions contemplated therein. The Administrative Agent is hereby
authorized to establish procedures to provide access to and to make available or deliver, or to accept,
notices, documents and similar items by posting to ABLSoft. All uses of ABLSoft and other Approved
Electronic Communications shall be governed by and subject to, in addition to the terms of this Agreement,
the separate terms, conditions and privacy policy posted or referenced in such system (or such terms,
conditions and privacy policy as may be updated from time to time, including on such system) and any
related contractual obligations executed by the Administrative Agent and Loan Parties in connection with
the use of such system. Each of the Loan Parties, the Lenders and the Administrative Agent hereby
acknowledges and agrees that the use of ABLSoft and other Approved Electronic Communications is not
necessarily secure and that there are risks associated with such use, including risks of interception,
disclosure and abuse and each indicates it assumes and accepts such risks by hereby authorizing the
Administrative Agent and each of its Affiliates to transmit Approved Electronic Communications.
ABLSoft and all Approved Electronic Communications shall be provided “as is” and “as available”. None
of the Administrative Agent or any of its Affiliates or related persons warrants the accuracy, adequacy or
completeness of ABLSoft or any other electronic platform or electronic transmission and disclaims all
liability for errors or omissions therein. No warranty of any kind is made by the Administrative Agent or
any of its Affiliates or related persons in connection with ABLSoft or any other electronic platform or
electronic transmission, including any warranty of merchantability, fitness for a particular purpose, non-
infringement of third-party rights or freedom from viruses or other code defects. The Borrower and each
other Loan Party executing this Agreement agrees that the Administrative Agent has no responsibility for
maintaining or providing any equipment, software, services or any testing required in connection with
ABLSoft, any Approved Electronic Communication or otherwise required for ABLSoft or any Approved
Electronic Communication. Prior to the Closing Date, the Borrower shall deliver to the Administrative
Agent a complete and executed client user form regarding the Borrower’s use of ABLSoft. No Approved
Electronic Communications shall be denied legal effect merely because it is made electronically. Approved
Electronic Communications that are not readily capable of bearing either a signature or a reproduction of a
signature may be signed, and shall be deemed signed, by attaching to, or logically associating with such
Approved Electronic Communication, an E-Signature, upon which the Administrative Agent and the Loan
Parties may rely and assume the authenticity thereof. Each Approved Electronic Communication
containing a signature, a reproduction of a signature or an E-Signature shall, for all intents and purposes,
have the same effect and weight as a signed paper original. Each E-Signature shall be deemed sufficient to
satisfy any requirement for a “signature” and each Approved Electronic Communication shall be deemed
sufficient to satisfy any requirement for a “writing”, in each case including pursuant to this Agreement, any
other Loan Document, the UCC, the Federal Uniform Electronic Transactions Act, the Electronic
Signatures in Global and National Commerce Act and any substantive or procedural law governing such
subject matter. Each party or beneficiary hereto agrees not to contest the validity or enforceability of an
Approved Electronic Communication or E-Signature under the provisions of any applicable law requiring
certain documents to be in writing or signed; provided, that nothing herein shall limit such party's or
beneficiary's right to contest whether an Approved Electronic Communication or E-Signature has been
altered after transmission.

         Unless the Administrative Agent otherwise prescribes, (i) notices and other communications sent
to an e-mail address shall be deemed received upon the sender’s receipt of an acknowledgement from the
intended recipient (such as by the “return receipt requested” function, as available, return e-mail or other
written acknowledgement), provided that if such notice or other communication is not sent during the
normal business hours of the recipient, such notice or communication shall be deemed to have been sent at
the opening of business on the next business day for the recipient, and (ii) notices or communications posted
to an Internet or intranet website shall be deemed received upon the deemed receipt by the intended recipient
                                                      122
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 444 of 569



at its e-mail address as described in the foregoing clause (i) of notification that such notice or
communication is available and identifying the website address therefor.

                 (c)     The Platform. THE PLATFORM IS PROVIDED “AS IS” AND “AS
AVAILABLE.” THE AGENT PARTIES (AS DEFINED BELOW) DO NOT WARRANT THE
ACCURACY OR COMPLETENESS OF THE BORROWER MATERIALS OR THE ADEQUACY OF
THE PLATFORM, AND EXPRESSLY DISCLAIM LIABILITY FOR ERRORS IN OR OMISSIONS
FROM THE BORROWER MATERIALS. NO WARRANTY OF ANY KIND, EXPRESS, IMPLIED OR
STATUTORY, INCLUDING ANY WARRANTY OF MERCHANTABILITY, FITNESS FOR A
PARTICULAR PURPOSE, NONINFRINGEMENT OF THIRD PARTY RIGHTS OR FREEDOM FROM
VIRUSES OR OTHER CODE DEFECTS, IS MADE BY ANY AGENT PARTY IN CONNECTION
WITH THE BORROWER MATERIALS OR THE PLATFORM. In no event shall the Administrative
Agent or any of its Related Parties (collectively, the “Agent Parties”) have any liability to Holdings or any
of its Subsidiaries, any Lender or any other Person for losses, claims, damages, liabilities or expenses of
any kind (whether in tort, contract or otherwise) arising out of the Borrower’s or the Administrative Agent’s
transmission of Borrower Materials through the Internet, except to the extent that such losses, claims,
damages, liabilities or expenses are determined by a court of competent jurisdiction by a final and
nonappealable judgment to have resulted from the gross negligence or willful misconduct of such Agent
Party; provided, however, that in no event shall any Agent Party have any liability to Holdings or any of its
Subsidiaries, any Lender or any other Person for indirect, special, incidental, consequential or punitive
damages (as opposed to direct or actual damages).

                  (d)     Change of Address, Etc. Each of the Borrower, any other Loan Party, and the
Administrative Agent may change its address, telecopier or telephone number for notices and other
communications hereunder by notice to the other parties hereto. Each other Lender may change its address,
telecopier or telephone number for notices and other communications hereunder by notice to the Borrower,
the Administrative Agent, the L/C Issuers and the Swing Line Lender. In addition, each Lender agrees to
notify the Administrative Agent from time to time to ensure that the Administrative Agent has on record
(i) an effective address, contact name, telephone number, telecopier number and electronic mail address to
which notices and other communications may be sent and (ii) accurate wire instructions for such Lender.
Furthermore, each Public Lender agrees to cause at least one individual at or on behalf of such Public
Lender to at all times have selected the “Private Side Information” or similar designation on the content
declaration screen of the Platform in order to enable such Public Lender or its delegate, in accordance with
such Public Lender’s compliance procedures and applicable Law, including United States Federal and state
securities Laws, to make reference to Borrower Materials that are not made available through the “Public
Side Information” portion of the Platform and that may contain material non-public information with
respect to the Borrower or its securities for purposes of United States Federal or state securities laws.

                 (e)      Reliance by Administrative Agent and Lenders. The Administrative Agent, the
Collateral Agent, the L/C Issuers, the Swing Line Lender and the Lenders shall be entitled to rely and act
upon any notices (including telephonic Notice of Borrowings) purportedly given by or on behalf of the
Borrower even if (i) such notices were not made in a manner specified herein, were incomplete or were not
preceded or followed by any other form of notice specified herein, or (ii) the terms thereof, as understood
by the recipient, varied from any confirmation thereof. The Borrower shall indemnify the Administrative
Agent, the Collateral Agent, the L/C Issuers, the Swing Line Lender, each Lender and the Related Parties
of each of them from all losses, costs, expenses and liabilities resulting from the reliance by such Person
on each notice purportedly given by or on behalf of the Borrower. All telephonic notices to and other
telephonic communications with the Administrative Agent may be recorded by the Administrative Agent,
and each of the parties hereto hereby consents to such recording.


                                                    123
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 445 of 569



        11.03 No Waiver; Cumulative Remedies. No failure by any Lender, any L/C Issuer, the
Administrative Agent or the Collateral Agent to exercise, and no delay by any such Person in exercising,
any right, remedy, power or privilege hereunder or under any other Loan Document shall operate as a
waiver thereof; nor shall any single or partial exercise of any right, remedy, power or privilege hereunder
preclude any other or further exercise thereof or the exercise of any other right, remedy, power or privilege.
The rights, remedies, powers and privileges herein provided, and provided under each other Loan
Document, are cumulative and not exclusive of any rights, remedies, powers and privileges provided by
law.

        11.04    Expenses; Indemnity; Damage Waiver.

                (a)     Costs and Expenses. The Loan Parties shall pay all Credit Party Expenses within
ten (10) Business Days after receipt of an invoice therefor.

                  (b)      Indemnification by the Loan Parties. The Loan Parties shall indemnify the
Administrative Agent (and any sub-agent thereof), the Collateral Agent, the Arranger, the joint bookrunning
managers, each Lender, each L/C Issuer and each Related Party of any of the foregoing Persons (each such
Person being called an “Indemnitee”) against, and hold each Indemnitee harmless from, any and all losses,
claims, damages, liabilities and related expenses (including the reasonable and documented in reasonable
detail fees, charges and disbursements of one counsel to all Indemnitees taken as a whole and, if reasonably
necessary, a single local counsel for all Indemnitees taken as a whole in each relevant jurisdiction material
to the interests of the Lenders, in each case, selected by the Administrative Agent and solely in the case of
an actual conflict of interest between Indemnitees where the Indemnitees affected by such conflict inform
the Borrower of such conflict, one additional counsel in each relevant jurisdiction material to the interest
of the Lenders to each group of affected Indemnitees taken as a whole) incurred by any Indemnitee or
asserted against any Indemnitee by any third party or by the Borrower or any other Loan Party arising out
of, in connection with, or as a result of (i) the preparation, execution, delivery or administration of this
Agreement, any other Loan Document or any agreement or instrument contemplated hereby or thereby or
any amendment or waiver with respect hereto or thereto, the performance by the parties hereto of their
respective obligations hereunder or thereunder or the consummation of the transactions contemplated
hereby or thereby, or, in the case of the Administrative Agent (and any sub-agent thereof) and its Related
Parties only, the administration of this Agreement and the other Loan Documents, (ii) any Loan or Letter
of Credit or the use or proposed use of the proceeds therefrom (including any refusal by any L/C Issuer to
honor a demand for payment under a Letter of Credit if the documents presented in connection with such
demand do not strictly comply with the terms of such Letter of Credit), (iii) any actual or alleged presence
or Release or threat of Release of Hazardous Materials, at, under, on or from any property or facility
currently or formerly owned, leased or operated by Holdings or any of its Subsidiaries, or any
Environmental Liability related in any way to Holdings or any of its Subsidiaries, or (iv) any actual or
prospective claim, litigation, investigation or proceeding relating to any of the foregoing, whether based on
contract, tort or any other theory, whether brought by a third party or by the Borrower or any other Loan
Party, and regardless of whether any Indemnitee is a party thereto; provided that such indemnity shall not,
as to any Indemnitee, be available to the extent that such losses, claims, damages, liabilities or related
expenses (x) are determined by a court of competent jurisdiction by final and nonappealable judgment to
have resulted from the gross negligence or willful misconduct of such Indemnitee (y) result from a claim
brought by the Borrower or any other Loan Party against an Indemnitee for breach in bad faith of such
Indemnitee’s obligations hereunder or under any other Loan Document, if the Borrower or such Loan Party
has obtained a final and nonappealable judgment in its favor on such claim as determined by a court of
competent jurisdiction, or (z) result from the presence, Release or threat of Release of Hazardous Materials
or violations of Environmental Laws first occurring or first existing after completion of the foreclosure
upon the Collateral, granting of a deed-in-lieu of foreclosure with respect to the Collateral or similar transfer
of title or possession of the Collateral, unless such presence, release or violation is actually caused by any
                                                      124
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 446 of 569



Loan Party or any Subsidiary thereof. This Section 11.04(b) shall not apply with respect to Taxes other
than any Taxes that represent losses, claims or damages arising from any non-Tax claim.

                 (c)     Reimbursement by Lenders. To the extent that the Borrower for any reason fails
to pay any amount required under subsection (a) or (b) of this Section to be paid by it to the Agents (or any
sub-agent thereof), the Swing Line Lender, the L/C Issuers or any Related Party of any of the foregoing,
each Lender (other than the Swing Line Lender in its capacity as such) severally agrees to pay to the
Administrative Agent (or any such sub-agent), the Collateral Agent, the Swing Line Lender, the L/C Issuers
or such Related Party, as the case may be, such Lender’s Applicable Percentage (determined as of the time
that the applicable unreimbursed expense or indemnity payment is sought) of such unpaid amount, provided
that the unreimbursed expense or indemnified loss, claim, damage, liability or related expense, as the case
may be, was incurred by or asserted against the Administrative Agent (or any such sub-agent), the Collateral
Agent, the Swing Line Lender or L/C Issuer in its capacity as such, or against any Related Party of any of
the foregoing acting for the Administrative Agent (or any such sub-agent) or the Collateral Agent in
connection with such capacity. The obligations of the Lenders under this subsection (c) are subject to the
provisions of Section 2.12(d).

                 (d)      Waiver of Consequential Damages, Etc. To the fullest extent permitted by
applicable law, the Loan Parties shall not assert, and hereby waive, any claim against any Indemnitee, on
any theory of liability, for special, indirect, consequential or punitive damages (as opposed to direct or
actual damages) arising out of, in connection with, or as a result of, this Agreement, any other Loan
Document or any agreement or instrument contemplated hereby, the transactions contemplated hereby or
thereby, any Loan or Letter of Credit or the use of the proceeds thereof. No Indemnitee referred to in
subsection (b) above shall be liable for any damages arising from the use by unintended recipients of any
information or other materials distributed to such unintended recipients by such Indemnitee through
telecommunications, electronic or other information transmission systems in connection with this
Agreement or the other Loan Documents or the transactions contemplated hereby or thereby other than for
direct or actual damages resulting from the gross negligence or willful misconduct of such Indemnitee as
determined by a final and nonappealable judgment of a court of competent jurisdiction.

               (e)      Payments. All amounts due under this Section shall be payable not later than ten
Business Days after receipt of an invoice or demand therefor.

               (f)     Survival. The agreements in this Section shall survive the resignation of the
Agents, the Swing Line Lender and the L/C Issuers, the replacement of any Lender, the termination of the
Aggregate Commitments and the repayment, satisfaction or discharge of all the other Obligations.

         11.05 Payments Set Aside. To the extent that any payment by or on behalf of any of the Loan
Parties is made to the Administrative Agent, any L/C Issuer or any Lender, or the Administrative Agent,
any L/C Issuer or any Lender exercises its right of setoff, and such payment or the proceeds of such setoff
or any part thereof is subsequently invalidated, declared to be fraudulent or preferential, set aside or required
(including pursuant to any settlement entered into by the Administrative Agent, such L/C Issuer or such
Lender in its discretion) to be repaid to a trustee, receiver or any other party, in connection with any
proceeding under any Debtor Relief Law or otherwise, then (a) to the extent of such recovery, the obligation
or part thereof originally intended to be satisfied shall be revived and continued in full force and effect as
if such payment had not been made or such setoff had not occurred, and (b) each Lender and each L/C
Issuer severally agrees to pay to the Administrative Agent upon demand its applicable share (without
duplication) of any amount so recovered from or repaid by the Administrative Agent, plus interest thereon
from the date of such demand to the date such payment is made at a rate per annum equal to the Federal
Funds Effective Rate from time to time in effect. The obligations of the Lenders and the L/C Issuers under

                                                      125
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 447 of 569



clause (b) of the preceding sentence shall survive the payment in full of the Obligations and the termination
of this Agreement.

        11.06   Successors and Assigns.

                  (a)     Successors and Assigns Generally. The provisions of this Agreement shall be
binding upon and inure to the benefit of the parties hereto and their respective successors and assigns
permitted hereby, except that neither the Borrower nor any other Loan Party may assign or otherwise
transfer any of its rights or obligations hereunder without the prior written consent of the Administrative
Agent and each Lender and no Lender may assign or otherwise transfer any of its rights or obligations
hereunder except (i) to an assignee in accordance with the provisions of Section 11.06(b), (ii) by way of
participation in accordance with the provisions of Section 11.06(d), or (iii) by way of pledge or assignment
of a security interest subject to the restrictions of Section 11.06(f) (and any other attempted assignment or
transfer by any party hereto shall be null and void). Nothing in this Agreement, expressed or implied, shall
be construed to confer upon any Person (other than the parties hereto, their respective successors and assigns
permitted hereby, Participants to the extent provided in subsection (d) of this Section and, to the extent
expressly contemplated hereby, the Related Parties of each of the Administrative Agent, the L/C Issuers
and the Lenders) any legal or equitable right, remedy or claim under or by reason of this Agreement.

                 (b)      Assignments by Lenders. Any Lender may at any time assign to one or more
Eligible Assignees all or a portion of its rights and obligations under this Agreement (including all or a
portion of its Commitment(s) and the Loans (including for purposes of this Section 11.06(b), participations
in L/C Obligations and in Swing Line Loans) at the time owing to it); provided that any such assignment
shall be subject to the following conditions:

                         (i)     Minimum Amounts.

                               (A)     in the case of an assignment of the entire remaining amount of the
                assigning Lender’s Commitment and the Loans at the time owing to it or in the case of an
                assignment to a Lender, an Affiliate of a Lender or an Approved Fund, no minimum
                amount need be assigned; and

                                  (B)    in any case not described in subsection (b)(i)(A) of this Section,
                the aggregate amount of the Commitment (which for this purpose includes Loans
                outstanding thereunder) or, if the Commitment is not then in effect, the principal
                outstanding balance of the Loans of the assigning Lender subject to each such assignment,
                determined as of the date the Assignment and Assumption with respect to such assignment
                is delivered to the Administrative Agent or, if “Trade Date” is specified in the Assignment
                and Assumption, as of the Trade Date, shall not be less than $1.0 million (and in integral
                multiples of $1.0 million in excess thereof) and after giving effect thereto, the assigning
                Lender shall hold a Commitment of at least $1.0 million, unless, in each case, each of the
                Administrative Agent and, so long as no Event of Default has occurred and is continuing,
                the Borrower otherwise consents (each such consent not to be unreasonably withheld or
                delayed); provided, however, that concurrent assignments to members of an Assignee
                Group and concurrent assignments from members of an Assignee Group to a single Eligible
                Assignee (or to an Eligible Assignee and members of its Assignee Group) will be treated
                as a single assignment for purposes of determining whether such minimum amount has
                been met;

                        (ii)    Proportionate Amounts. Each partial assignment shall be made as an
        assignment of a proportionate part of all the assigning Lender’s rights and obligations under this
                                                     126
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 448 of 569



        Agreement with respect to the Loans or the Commitment assigned, except that (A) this clause (ii)
        shall not apply to the Swing Line Lenders’ rights and obligations in respect of Swing Line Loans
        and (B) this clause (ii) shall not limit the right of a Lender to assign all or any portion of its
        Commitment;

                         (iii)   Required Consents. No consent shall be required for any assignment
        except to the extent required by subsection (b)(i)(B) of this Section and, in addition:

                                 (A)      the consent of the Borrower (such consent not to be unreasonably
                withheld or delayed) shall be required unless (1) an Event of Default has occurred and is
                continuing at the time of such assignment or (2) such assignment is to a Lender, an Affiliate
                of a Lender or an Approved Fund; and

                                 (B)     the consent of the Administrative Agent (such consent not to be
                unreasonably withheld or delayed) shall be required for assignments in respect of (1) any
                Commitment if such assignment is to a Person that is not a Lender with a Commitment, an
                Affiliate of Lender or an Approved Fund with respect to such Lender or (2) any Loan to a
                Person that is not a Lender, an Affiliate of a Lender or an Approved Fund;

                                 (C)     the consent of the L/C Issuers (such consent not to be
                unreasonably withheld or delayed) shall be required for any assignment that increases the
                obligation of the assignee to participate in exposure under one or more Letters of Credit
                (whether or not then outstanding); and

                                 (D)     the consent of the Swing Line Lender (such consent not to be
                unreasonably withheld or delayed) shall be required for any assignment that increases the
                obligation of the assignee to participate in exposure under one or more Swing Line Loans
                (whether or not then outstanding).

                         (iv)     Assignment and Assumption. The parties to each assignment shall execute
        and deliver to the Administrative Agent an Assignment and Assumption, together with a processing
        and recordation fee in the amount of $3,500; provided, however, that the Administrative Agent
        may, in its sole discretion, elect to waive such processing and recordation fee in the case of any
        assignment. The assignee, if it shall not be a Lender, shall deliver to the Administrative Agent an
        Administrative Questionnaire and any Tax forms required by Section 3.01(g), Section 3.01(h) or
        Section 3.01(i);

                       (v)      No Assignment to Borrower. No such assignment shall be made to the
        Borrower or any of the Borrower’s Affiliates or Subsidiaries; and

                         (vi)    No Assignment to Natural Persons. No such assignment shall be made to
        a natural person.

        Subject to acceptance and recording thereof by the Administrative Agent pursuant to
subsection (c) of this Section, from and after the effective date specified in each Assignment and
Assumption, the assignee thereunder shall be a party to this Agreement and, to the extent of the interest
assigned by such Assignment and Assumption, have the rights and obligations of a Lender under this
Agreement, and the assigning Lender thereunder shall, to the extent of the interest assigned by such
Assignment and Assumption, be released from its obligations under this Agreement (and, in the case of an
Assignment and Assumption covering all of the assigning Lender’s rights and obligations under this
Agreement, such Lender shall cease to be a party hereto but shall continue to be entitled to the benefits of
                                                    127
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 449 of 569



Sections 3.01, 3.03, and 11.04 with respect to facts and circumstances occurring prior to the effective date
of such assignment). Upon request, the Borrower (at its expense) shall execute and deliver a Note to the
assignee Lender. Any assignment or transfer by a Lender of rights or obligations under this Agreement
that does not comply with this subsection shall be treated for purposes of this Agreement as a sale by such
Lender of a participation in such rights and obligations in accordance with Section 11.06(d).

                 (c)    Register. The Administrative Agent, acting solely for this purpose as an agent of
the Borrower, shall maintain at the Administrative Agent’s Office a copy of each Assignment and
Assumption delivered to it and a register for the recordation of the names and addresses of the Lenders, and
the Commitments of, and principal and interest amounts of the Loans (and whether such Loan is a
Committed Loan or a Swing Line Loan, as applicable) owing to, each Lender pursuant to the terms hereof
from time to time (the “Register”). The entries in the Register shall be conclusive, and the Borrower, the
Administrative Agent and the Lenders shall treat each Person whose name is recorded in the Register
pursuant to the terms hereof as a Lender hereunder for all purposes of this Agreement, notwithstanding
notice to the contrary.

        The Register shall be available for inspection by the Borrower and any Lender, at any reasonable
time and from time to time upon reasonable prior notice.

                  (d)     Participations. Any Lender may at any time, without the consent of, or notice to,
the Borrower or the Administrative Agent, sell participations to any Person (other than a natural person or
the Borrower or any of the Borrower’s Affiliates or Subsidiaries) (each, a “Participant”) in all or a portion
of such Lender’s rights and/or obligations under this Agreement (including all or a portion of its
Commitment and/or the Loans owing to it); provided that (i) such Lender’s obligations under this
Agreement shall remain unchanged, including, for avoidance of doubt, any indemnification obligation with
respect to the participated interest, (ii) such Lender shall remain solely responsible to the other parties hereto
for the performance of such obligations and (iii) the Borrower, the Administrative Agent and the Lenders
shall continue to deal solely and directly with such Lender in connection with such Lender’s rights and
obligations under this Agreement. Any agreement or instrument pursuant to which a Lender sells such a
participation shall provide that such Lender shall retain the sole right to enforce this Agreement and to
approve any amendment, modification or waiver of any provision of this Agreement; provided that such
agreement or instrument may provide that such Lender will not, without the consent of the Participant,
agree to any amendment, waiver or other modification described in clauses (a), (b), (c), (f) and (g) in the
first proviso to Section 11.01 that affects such Participant. Subject to subsection (e) of this Section, the
Borrower agrees that each Participant shall be entitled to the benefits of Section 3.01 and Section 3.03
(provided such Participant agrees to be subject to the limitations and requirements therein as though it were
a Lender (it being understood that the documentation required under Section 3.01(g), Section 3.01(h) and
Section 3.01(i) shall be delivered to the participating Lender)) to the same extent as if it were a Lender and
had acquired its interest by assignment pursuant to Section 11.06(b). To the extent permitted by law, each
Participant also shall be entitled to the benefits of Section 11.08 as though it were a Lender, provided such
Participant agrees to be subject to Section 2.11 as though it were a Lender. Each Lender that sells a
participation shall, acting solely for this purpose as a non-fiduciary agent of the Borrower, maintain a
register on which it enters the name and address of each Participant and the principal and interest amount
of each Participant’s interest in the Loans held by it (the “Participant Register”); provided that no Lender
shall have any obligation to disclose all or any portion of the Participant Register to any Person (including
the identity of any Participant or any information relating to a Participant’s interest in any Commitments,
Loans, Letters of Credit or its other obligations under the Loan Documents) except to the extent that such
disclosure is necessary to establish that such Commitment, Loan, Letter of Credit or other obligation is in
registered form under Section 5f.103-1(c) of the United States Treasury Regulations. The entries in the
Participant Register shall be conclusive, absent manifest error, and such Lender shall treat each Person

                                                      128
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 450 of 569



whose name is recorded in the Participant Register as the owner of such Loan or other obligation hereunder
as the owner thereof for all purposes of this Agreement notwithstanding any notice to the contrary.

                  (e)      Limitations upon Participant Rights. A Participant shall not be entitled to receive
any greater payment under Section 3.01 or 3.03 than the applicable Lender would have been entitled to
receive with respect to the participation sold to such Participant except to the extent that such entitlement
to any greater payment results from any Change in Law after the Participant becomes a Participant, or the
sale of the participation to such Participant is made with the Borrower’s prior written consent.

                  (f)       Certain Pledges. Any Lender may at any time pledge or assign a security interest
in all or any portion of its rights under this Agreement (including under its Note, if any) to secure obligations
of such Lender, including any pledge or assignment to secure obligations to a FRB or any central bank
having jurisdiction over such Lender; provided that no such pledge or assignment shall release such Lender
from any of its obligations hereunder or substitute any such pledgee or assignee for such Lender as a party
hereto.

                  (g)     Electronic Execution of Assignments. The words “execution,” “signed,”
“signature,” and words of like import in any Assignment and Assumption shall be deemed to include
electronic signatures or the keeping of records in electronic form, each of which shall be of the same legal
effect, validity or enforceability as a manually executed signature or the use of a paper-based recordkeeping
system, as the case may be, to the extent and as provided for in any applicable law, including the Federal
Electronic Signatures in Global and National Commerce Act, the New York State Electronic Signatures
and Records Act, or any other similar state laws based on the Uniform Electronic Transactions Act.

                  (h)       Resignation as L/C Issuer or Swing Line Lender After Assignment.
Notwithstanding anything to the contrary contained herein, if at any time Eclipse (together with its
affiliates) assigns all of its Commitment and Loans pursuant to subsection (b) above, Eclipse may, (i) upon
30 days’ notice to the Borrower and the Lenders, resign as L/C Issuer and/or (ii) upon 30 days’ notice to
the Borrower, resign as Swing Line Lender. In the event of any such resignation as L/C Issuer or Swing
Line Lender, the Borrower shall be entitled to appoint from among the Lenders a successor L/C Issuer or
Swing Line Lender hereunder; provided, however, that no failure by the Borrower to appoint any such
successor shall affect the resignation of Eclipse as L/C Issuer or Swing Line Lender, as the case may be. If
Eclipse resigns as L/C Issuer, it shall retain all the rights, powers, privileges and duties of the L/C Issuers
hereunder with respect to all Letters of Credit outstanding as of the effective date of its resignation as L/C
Issuer and all L/C Obligations with respect thereto (including the right to require the Lenders to make Base
Rate Committed Loans or fund risk participations in Unreimbursed Amounts pursuant to Section 2.03). If
Eclipse resigns as Swing Line Lender, it shall retain all the rights of the Swing Line Lender provided for
hereunder with respect to Swing Line Loans made by it and outstanding as of the effective date of such
resignation, including the right to require the Lenders to make Base Rate Committed Loans or fund risk
participations in outstanding Swing Line Loans pursuant to Section 2.04(c). Upon the appointment of a
successor L/C Issuer and/or Swing Line Lender, (A) such successor shall succeed to and become vested
with all of the rights, powers, privileges and duties of the retiring L/C Issuer or Swing Line Lender, as the
case may be, and (B) the successor L/C Issuer shall issue letters of credit in substitution for the Letters of
Credit, if any, outstanding at the time of such succession or make other arrangements satisfactory to Eclipse
to effectively assume the obligations of Eclipse with respect to such Letters of Credit.

        11.07 Treatment of Certain Information; Confidentiality. Each of the Administrative Agent, the
Lenders and the L/C Issuers agrees to maintain the confidentiality of the Information (as defined below),
except that Information may be disclosed (a) to its Affiliates and to its and its Affiliates’ respective partners,
directors, officers, employees, agents, advisors and representatives (it being understood that the Persons to
whom such disclosure is made will be informed of the confidential nature of such Information and instructed
                                                      129
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 451 of 569



to keep such Information confidential), (b) to the extent requested by any regulatory authority purporting
to have jurisdiction over it (including any self-regulatory authority, such as the National Association of
Insurance Commissioners), (c) to the extent required by applicable laws or regulations or by any subpoena
or similar legal process, (d) to any other party hereto, (e) in connection with the exercise of any remedies
hereunder or under any other Loan Document or any action or proceeding relating to this Agreement or any
other Loan Document or the enforcement of rights hereunder or thereunder, (f) subject to an agreement
containing provisions substantially the same as those of this Section 11.07, to (i) any assignee of or
Participant in, or any prospective assignee of or Participant in, any of its rights or obligations under this
Agreement (ii) any actual or prospective counterparty (or its advisors) to any swap or derivative transaction
relating to the Borrower and its obligations, or (iii) any funding or financing source of any Lender, (g) with
the consent of the Borrower or (h) to the extent such Information (i) becomes publicly available other than
as a result of a breach of this Section 11.07 or (ii) becomes available to the Administrative Agent, any
Lender, any L/C Issuer or any of their respective Affiliates on a non-confidential basis from a source other
than the Borrower.

         For purposes of this Section, “Information” means all information received from any Loan Party
or any Subsidiary thereof relating to any Loan Party or any Subsidiary thereof or their respective businesses,
operations, assets and related matters, other than any such information that is available to the Administrative
Agent, any Lender or any L/C Issuer on a non-confidential basis prior to disclosure by any Loan Party or
any Subsidiary thereof, provided that, in the case of information received from a Loan Party or any such
Subsidiary after the date hereof, such information is clearly identified at the time of delivery as confidential.
Any Person required to maintain the confidentiality of Information as provided in this Section shall be
considered to have complied with its obligation to do so if such Person has exercised the same degree of
care to maintain the confidentiality of such Information as such Person would accord to its own confidential
information.

        Each of the Administrative Agent, the Lenders and the L/C Issuers acknowledges that (A) the
Information may include material non-public information concerning Holdings or a Subsidiary, as the case
may be, (B) it has developed compliance procedures regarding the use of material non-public information
and (C) it will handle such material non-public information in accordance with applicable Law, including
Federal and state securities Laws.

          11.08 Right of Setoff. Subject to the Financing Orders and the Intercreditor Agreement, if an
Event of Default shall have occurred and be continuing, each Credit Party and each of its respective
Affiliates is hereby authorized at any time and from time to time, to the fullest extent permitted by
applicable law, to setoff and apply any and all deposits (general or special, time or demand, provisional or
final, in whatever currency) at any time held and other obligations (in whatever currency) at any time owing
by such Credit Party or any such Affiliate to or for the credit or the account of the Borrower or any other
Loan Party against any and all of the obligations of the Borrower or such Loan Party now or hereafter
existing under this Agreement or any other Loan Document to such Credit Party, irrespective of whether or
not such Credit Party shall have made any demand under this Agreement or any other Loan Document and
although such obligations of the Borrower or such Loan Party may be contingent or unmatured or are owed
to a branch or office of such Credit Party different from the branch or office holding such deposit or
obligated on such indebtedness. The rights of each Credit Party and their respective Affiliates under this
Section 11.08 are in addition to other rights and remedies (including other rights of setoff) that such Credit
Party or their respective Affiliates may have. Each Credit Party agrees to notify the Borrower and the
Administrative Agent promptly after any such setoff and application, provided that the failure to give such
notice shall not affect the validity of such setoff and application.

      11.09 Interest Rate Limitation. Notwithstanding anything to the contrary contained in any Loan
Document, the interest paid or agreed to be paid under the Loan Documents shall not exceed the maximum
                                                   130
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 452 of 569



rate of non-usurious interest permitted by applicable Law (the “Maximum Rate”). If the Administrative
Agent or any Lender shall receive interest in an amount that exceeds the Maximum Rate, the excess interest
shall be applied to the principal of the Loans or, if it exceeds such unpaid principal, refunded to the
Borrower. In determining whether the interest contracted for, charged, or received by the Administrative
Agent or a Lender exceeds the Maximum Rate, such Person may, to the extent permitted by applicable
Law, (a) characterize any payment that is not principal as an expense, fee, or premium rather than interest,
(b) exclude voluntary prepayments and the effects thereof, and (c) amortize, prorate, allocate, and spread
in equal or unequal parts the total amount of interest throughout the contemplated term of the Obligations
hereunder.

        11.10   Counterparts; Integration; Effectiveness.

                 (a)     This Agreement may be executed in counterparts (and by different parties hereto
in different counterparts), each of which shall constitute an original, but all of which when taken together
shall constitute a single contract. This Agreement and the other Loan Documents constitute the entire
contract among the parties relating to the subject matter hereof and supersede any and all previous
agreements and understandings, oral or written, relating to the subject matter hereof. Except as provided
in Section 4.01, this Agreement shall become effective when it shall have been executed by the
Administrative Agent and when the Administrative Agent shall have received counterparts hereof that,
when taken together, bear the signatures of each of the other parties hereto. Delivery of an executed
counterpart of a signature page of this Agreement by telecopy shall be effective as delivery of a manually
executed counterpart of this Agreement.

                   (b)    Delivery of an executed counterpart of a signature page of (x) this Agreement, (y)
any other Loan Document and/or (z) any document, amendment, approval, consent, information, notice
(including, for the avoidance of doubt, any notice delivered pursuant to Section 11.02), certificate, request,
statement, disclosure or authorization related to this Agreement, any other Loan Document and/or the
transactions contemplated hereby and/or thereby (each an “Ancillary Document”) that is an Electronic
Signature transmitted by facsimile, emailed pdf. or any other electronic means that reproduces an image of
an actual executed signature page shall be effective as delivery of a manually executed counterpart of this
Agreement, such other Loan Document or such Ancillary Document, as applicable. The words “execution,”
“signed,” “signature,” “delivery,” and words of like import in or relating to this Agreement, any other Loan
Document and/or any Ancillary Document shall be deemed to include Electronic Signatures, deliveries or
the keeping of records in any electronic form (including deliveries by facsimile, emailed pdf. or any other
electronic means that reproduces an image of an actual executed signature page), each of which shall be of
the same legal effect, validity or enforceability as a manually executed signature, physical delivery thereof
or the use of a paper-based recordkeeping system, as the case may be; provided that nothing herein shall
require the Administrative Agent to accept Electronic Signatures in any form or format without its prior
written consent and pursuant to procedures approved by it; provided, further, without limiting the foregoing,
(i) to the extent the Administrative Agent has agreed to accept any Electronic Signature, the Administrative
Agent and each of the Lenders shall be entitled to rely on such Electronic Signature purportedly given by
or on behalf of the Borrower or any other Loan Party without further verification thereof and without any
obligation to review the appearance or form of any such Electronic Signature and (ii) upon the request of
the Administrative Agent or any Lender, any Electronic Signature shall be promptly followed by a manually
executed counterpart. Without limiting the generality of the foregoing, the Borrower and each Loan Party
hereby (A) agrees that, for all purposes, including without limitation, in connection with any workout,
restructuring, enforcement of remedies, bankruptcy proceedings or litigation among the Administrative
Agent, the Lenders, the Borrower and the Loan Parties, Electronic Signatures transmitted by facsimile,
emailed pdf. or any other electronic means that reproduces an image of an actual executed signature page
and/or any electronic images of this Agreement, any other Loan Document and/or any Ancillary Document
shall have the same legal effect, validity and enforceability as any paper original, (B) the Administrative
                                                      131
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 453 of 569



Agent and each of the Lenders may, at its option, create one or more copies of this Agreement, any other
Loan Document and/or any Ancillary Document in the form of an imaged electronic record in any format,
which shall be deemed created in the ordinary course of such Person’s business, and destroy the original
paper document (and all such electronic records shall be considered an original for all purposes and shall
have the same legal effect, validity and enforceability as a paper record), (C) waives any argument, defense
or right to contest the legal effect, validity or enforceability of this Agreement, any other Loan Document
and/or any Ancillary Document based solely on the lack of paper original copies of this Agreement, such
other Loan Document and/or such Ancillary Document, respectively, including with respect to any
signature pages thereto and (D) waives any claim against the Administrative Agent, any Lender, any L/C
Issuer and any Related Party of any of the foregoing Persons for any losses, claims, damages, liabilities and
related expenses arising solely from the Administrative Agent’s and/or any Lender’s reliance on or use of
Electronic Signatures and/or transmissions by facsimile, emailed pdf. or any other electronic means that
reproduces an image of an actual executed signature page, including any losses, claims, damages, liabilities
and related expenses arising as a result of the failure of the Borrower and/or any Loan Party to use any
available security measures in connection with the execution, delivery or transmission of any Electronic
Signature.

        11.11 Survival of Representations and Warranties. All representations and warranties made
hereunder and in any other Loan Document or other document delivered pursuant hereto or thereto or in
connection herewith or therewith shall survive the execution and delivery hereof and thereof. Such
representations and warranties have been or will be relied upon by the Administrative Agent and each
Lender, regardless of any investigation made by the Administrative Agent or any Lender or on their behalf
and notwithstanding that the Administrative Agent or any Lender may have had notice or knowledge of
any Default at the time of any Credit Extension, and shall continue in full force and effect as long as any
Obligation (other than any indemnity obligation for unasserted claims that by its terms survives the
termination of this Agreement) shall remain unpaid or unsatisfied or any Letter of Credit shall remain
outstanding.

         11.12 Severability. If any provision of this Agreement or the other Loan Documents is held to
be illegal, invalid or unenforceable, (a) the legality, validity and enforceability of the remaining provisions
of this Agreement and the other Loan Documents shall not be affected or impaired thereby and (b) the
parties shall endeavor in good faith negotiations to replace the illegal, invalid or unenforceable provisions
with valid provisions the economic effect of which comes as close as possible to that of the illegal, invalid
or unenforceable provisions. The invalidity of a provision in a particular jurisdiction shall not invalidate or
render unenforceable such provision in any other jurisdiction.

         11.13 Replacement of Lenders. (a) If any Lender requests compensation under Section 3.03, or
if the Borrower is required to pay any additional amount to any Lender or any Governmental Authority for
the account of any Lender pursuant to Section 3.01, or (b) if any Lender is a Defaulting Lender, or (c) if in
connection with a proposed amendment, modification, waiver, or consent with respect to any of the
provisions hereof as contemplated by Section 11.01, the consent of the Required Lenders shall have been
obtained but the consent of one or more of such other Lenders whose consent is required shall not have
been obtained, or (d) if any other circumstance exists hereunder that gives the Borrower the right to replace
a Lender as a party hereto, then the Borrower may, at its sole expense and effort, upon notice to such Lender
and the Administrative Agent, require such Lender to assign and delegate, without recourse (in accordance
with and subject to the restrictions contained in, and consents required by, Section 11.06), all of its interests,
rights and obligations under this Agreement and the related Loan Documents to an assignee that shall
assume such obligations (which assignee may be another Lender, if a Lender accepts such assignment),
provided that:


                                                      132
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 454 of 569



                 (a)     the Borrower shall have paid to the Administrative Agent the assignment fee
specified in Section 11.06(b);

                 (b)     such Lender shall have received payment of an amount equal to the outstanding
principal of its Loans and Letter of Credit Exposure, accrued interest thereon, accrued fees and all other
amounts payable to it hereunder and under the other Loan Documents from the assignee (to the extent of
such outstanding principal and accrued interest and fees) or the Borrower (in the case of all other amounts);

                (c)    in the case of any such assignment resulting from a claim for compensation under
Section 3.03 or payments required to be made pursuant to Section 3.01, such assignment will result in a
reduction in such compensation or payments thereafter; and

                (d)      such assignment does not conflict with applicable Laws.

         A Lender shall not be required to make any such assignment or delegation if, prior thereto, as a
result of a waiver by such Lender or otherwise, the circumstances entitling the Borrower to require such
assignment and delegation cease to apply.

        11.14   Governing Law; Jurisdiction; Etc.

           (a)  GOVERNING LAW. THIS AGREEMENT SHALL BE GOVERNED BY, AND
CONSTRUED IN ACCORDANCE WITH, THE LAW OF THE STATE OF NEW YORK, AND, TO THE
EXTENT APPLICABLE, THE BANKRUPTCY CODE, REGARDLESS OF LAWS THAT MIGHT
OTHERWSIE GOVERN UNDER APPLICABLE PRINCIPLES OF CONFLICTS OF LAWS THEREOF.

             (b) SUBMISSION TO JURISDICTION.     EACH LOAN PARTY HEREBY
IRREVOCABLY AND UNCONDITIONALLY SUBMITS, FOR ITSELF AND ITS PROPERTY, TO
THE EXCLUSIVE JURISDICTION OF THE BANKRUPTCY COURT AND, SOLELY TO THE
EXTENT THAT THE BANKRUPTCY COURT DOES NOT HAVE, OR ABSTAINS FROM,
JURISDICTION OVER ANY MATTER, ANY U.S. FEDERAL OR NEW YORK STATE COURT
SITTING IN BOROUGH OF MANHATTAN, IN THE CITY OF NEW YORK (OR ANY APPELLATE
COURT THEREFROM) IN ANY ACTION OR PROCEEDING ARISING OUT OF OR RELATING TO
ANY LOAN DOCUMENTS, OR FOR RECOGNITION OR ENFORCEMENT OF ANY JUDGMENT,
AND EACH OF THE PARTIES HERETO HEREBY IRREVOCABLY AND UNCONDITIONALLY
AGREES THAT ALL CLAIMS IN RESPECT OF ANY SUCH ACTION OR PROCEEDING MAY BE
HEARD AND DETERMINED IN THE BANKRUPTCY COURT OR SUCH NEW YORK STATE OR,
TO THE EXTENT PERMITTED BY LAW, FEDERAL COURT. EACH OF THE PARTIES HERETO
AGREES THAT A FINAL JUDGMENT IN ANY SUCH ACTION OR PROCEEDING SHALL BE
CONCLUSIVE AND MAY BE ENFORCED IN OTHER JURISDICTIONS BY SUIT ON THE
JUDGMENT OR IN ANY OTHER MANNER PROVIDED BY LAW. NOTHING IN THIS
AGREEMENT OR IN ANY OTHER LOAN DOCUMENT SHALL AFFECT ANY RIGHT THAT ANY
CREDIT PARTY MAY OTHERWISE HAVE TO BRING ANY ACTION OR PROCEEDING
RELATING TO THIS AGREEMENT OR ANY OTHER LOAN DOCUMENT AGAINST THE
BORROWER OR ANY OTHER LOAN PARTY OR ITS PROPERTIES IN THE COURTS OF ANY
JURISDICTION.

           (c)   WAIVER OF VENUE. EACH OF THE BORROWER AND EACH OTHER
LOAN PARTY IRREVOCABLY AND UNCONDITIONALLY WAIVES, TO THE FULLEST EXTENT
PERMITTED BY APPLICABLE LAW, ANY OBJECTION THAT IT MAY NOW OR HEREAFTER
HAVE TO THE LAYING OF VENUE OF ANY ACTION OR PROCEEDING ARISING OUT OF OR
RELATING TO THIS AGREEMENT OR ANY OTHER LOAN DOCUMENT IN ANY COURT
                                                    133
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 455 of 569



REFERRED TO IN PARAGRAPH (b) OF THIS SECTION. EACH OF THE PARTIES HERETO
HEREBY IRREVOCABLY WAIVES, TO THE FULLEST EXTENT PERMITTED BY APPLICABLE
LAW, THE DEFENSE OF AN INCONVENIENT FORUM TO THE MAINTENANCE OF SUCH
ACTION OR PROCEEDING IN ANY SUCH COURT.

             (d)  SERVICE OF PROCESS.    EACH PARTY HERETO IRREVOCABLY
CONSENTS TO SERVICE OF PROCESS IN THE MANNER PROVIDED FOR NOTICES IN
SECTION 11.02. NOTHING IN THIS AGREEMENT WILL AFFECT THE RIGHT OF ANY PARTY
HERETO TO SERVE PROCESS IN ANY OTHER MANNER PERMITTED BY APPLICABLE LAW.

      11.15 WAIVER OF JURY TRIAL. EACH PARTY HERETO HEREBY IRREVOCABLY
WAIVES, TO THE FULLEST EXTENT PERMITTED BY APPLICABLE LAW, ANY RIGHT IT MAY
HAVE TO A TRIAL BY JURY IN ANY LEGAL PROCEEDING DIRECTLY OR INDIRECTLY
ARISING OUT OF OR RELATING TO THIS AGREEMENT OR ANY OTHER LOAN DOCUMENT
OR THE TRANSACTIONS CONTEMPLATED HEREBY OR THEREBY (WHETHER BASED ON
CONTRACT, TORT OR ANY OTHER THEORY). EACH PARTY HERETO (A) CERTIFIES THAT
NO REPRESENTATIVE, AGENT OR ATTORNEY OF ANY OTHER PERSON HAS REPRESENTED,
EXPRESSLY OR OTHERWISE, THAT SUCH OTHER PERSON WOULD NOT, IN THE EVENT OF
LITIGATION, SEEK TO ENFORCE THE FOREGOING WAIVER AND (B) ACKNOWLEDGES THAT
IT AND THE OTHER PARTIES HERETO HAVE BEEN INDUCED TO ENTER INTO THIS
AGREEMENT AND THE OTHER LOAN DOCUMENTS BY, AMONG OTHER THINGS, THE
MUTUAL WAIVERS AND CERTIFICATIONS IN THIS SECTION.

         11.16 No Advisory or Fiduciary Responsibility. In connection with all aspects of each
transaction contemplated hereby (including in connection with any amendment, waiver or other
modification hereof or of any other Loan Document), the Borrower and Holdings each acknowledge and
agree, and acknowledge their respective Affiliates’ understanding, that: (a) the arranging and other services
regarding this Agreement provided by the Administrative Agent, the Arranger and the Lenders are arm’s-
length commercial transactions between the Borrower, Holdings and their respective Affiliates, on the one
hand, and the Administrative Agent, the Arranger and the Lenders, on the other hand, (b) each of the
Borrower and Holdings and each other Loan Party has consulted its own legal, accounting, regulatory and
tax advisors to the extent it has deemed appropriate, and (c) the Borrower and Holdings and each other
Loan Party is capable of evaluating, and understands and accepts, the terms, risks and conditions of the
transactions contemplated hereby and by the other Loan Documents; (d) the Administrative Agent, each
Arranger and each Lender each is and has been acting solely as a principal and, except as expressly agreed
in writing by the relevant parties, has not been, is not, and will not be acting as an advisor, agent or fiduciary
for the Borrower, Holdings or any of their respective Affiliates, or any other Person and (e) neither the
Administrative Agent nor the Arranger or any Lender has any obligation to the Borrower, Holdings or any
of their respective Affiliates with respect to the transactions contemplated hereby except those obligations
expressly set forth herein and in the other Loan Documents; and (f) the Administrative Agent, the Arranger
and the Lenders and their respective Affiliates may be engaged in a broad range of transactions that involve
interests that differ from those of the Borrower, Holdings and their respective Affiliates, and neither the
Administrative Agent nor the Arranger or the Lenders have any obligation to disclose any of such interests
to the Borrower, Holdings and their respective Affiliates. To the fullest extent permitted by law, each of
the Borrower and Holdings hereby waives and releases any claims that it may have against the
Administrative Agent, the Arranger and the Lenders with respect to any breach or alleged breach of agency
or fiduciary duty in connection with any aspect of any transaction contemplated hereby.

       11.17 USA PATRIOT Act Notice. Each Lender that is subject to the USA PATRIOT Act and
the Administrative Agent (for itself and not on behalf of any Lender) hereby notifies the Borrower that
pursuant to the requirements of the USA PATRIOT Act, it is required to obtain, verify and record
                                                  134
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 456 of 569



information that identifies each Loan Party, which information includes the name and address of each Loan
Party and other information that will allow such Lender or the Administrative Agent, as applicable, to
identify each Loan Party in accordance with the USA PATRIOT Act. No part of the proceeds of the Loans
will be used by the Loan Parties, directly or indirectly, for any payments to any governmental official or
employee, political party, official of a political party, candidate for political office, or anyone else acting in
an official capacity, in order to obtain, retain or direct business or obtain any improper advantage, in
violation of the United States Foreign Corrupt Practices Act of 1977, as amended.

        11.18 No Strict Construction. The parties hereto have participated jointly in the negotiation and
drafting of this Agreement. In the event an ambiguity or question of intent or interpretation arises, this
Agreement shall be construed as if drafted jointly by the parties hereto and no presumption or burden of
proof shall arise favoring or disfavoring any party by virtue of the authorship of any provisions of this
Agreement.

         11.19 Attachments. The exhibits, schedules and annexes attached to this Agreement are
incorporated herein and shall be considered a part of this Agreement for the purposes stated herein, except
that in the event of any conflict between any of the provisions of such exhibits and the provisions of this
Agreement, the provisions of this Agreement shall prevail.

         11.20 Intercreditor Agreement; Financing Orders. Notwithstanding anything herein to the
contrary, the lien and security interest granted to the Collateral Agent pursuant to this Agreement or the
other Loan Documents and the exercise of any right or remedy by the Collateral Agent hereunder or under
the other Loan Documents are subject to the provisions of the Intercreditor Agreement. In the event of any
conflict between the terms of the Intercreditor Agreement and this Agreement, the terms of the Intercreditor
Agreement shall govern and control. To the extent that any specific provision of this Agreement or any of
the other Loan Documents is inconsistent with any of the Financing Orders, the terms of the Financing
Orders shall govern and control.

        11.21 Acknowledgement and Consent to Bail-In of Affected Financial Institutions.
Notwithstanding anything to the contrary in any Loan Document or in any other agreement, arrangement
or understanding among any such parties, each party hereto acknowledges that any liability of any Affected
Financial Institution arising under any Loan Document may be subject to the Write-Down and Conversion
Powers of the applicable Resolution Authority and agrees and consents to, and acknowledges and agrees to
be bound by:

                  (a)    the application of any Write-Down and Conversion Powers by the applicable
Resolution Authority to any such liabilities arising hereunder which may be payable to it by any party
hereto that is an Affected Financial Institution; and

                 (b)      the effects of any Bail-In Action on any such liability, including, if applicable:

                          (i)      a reduction in full or in part or cancellation of any such liability;

                         (ii)   a conversion of all, or a portion of, such liability into shares or other
        instruments of ownership in such Affected Financial Institution, its parent entity, or a bridge
        institution that may be issued to it or otherwise conferred on it, and that such shares or other
        instruments of ownership will be accepted by it in lieu of any rights with respect to any such liability
        under this Agreement or any other Loan Document; or

                       (iii)  the variation of the terms of such liability in connection with the exercise
        of the Write-Down and Conversion Powers of the applicable Resolution Authority.
                                                      135
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 457 of 569



         11.22 Acknowledgement Regarding Any Supported QFCs. To the extent that the Loan
Documents provide support, through a guarantee or otherwise, for Swap Contracts or any other agreement
or instrument that is a QFC (such support “QFC Credit Support” and each such QFC a “Supported
QFC”), the parties acknowledge and agree as follows with respect to the resolution power of the Federal
Deposit Insurance Corporation under the Federal Deposit Insurance Act and Title II of the Dodd-Frank
Wall Street Reform and Consumer Protection Act (together with the regulations promulgated thereunder,
the “U.S. Special Resolution Regimes”) in respect of such Supported QFC and QFC Credit Support (with
the provisions below applicable notwithstanding that the Loan Documents and any Supported QFC may in
fact be stated to be governed by the laws of the State of New York and/or of the United States or any other
state of the United States):

In the event a Covered Entity that is party to a Supported QFC (each, a “Covered Party”) becomes subject
to a proceeding under a U.S. Special Resolution Regime, the transfer of such Supported QFC and the benefit
of such QFC Credit Support (and any interest and obligation in or under such Supported QFC and such
QFC Credit Support, and any rights in property securing such Supported QFC or such QFC Credit Support)
from such Covered Party will be effective to the same extent as the transfer would be effective under the
U.S. Special Resolution Regime if the Supported QFC and such QFC Credit Support (and any such interest,
obligation and rights in property) were governed by the laws of the United States or a state of the United
States. In the event a Covered Party or a BHC Act Affiliate of a Covered Party becomes subject to a
proceeding under a U.S. Special Resolution Regime, Default Rights under the Loan Documents that might
otherwise apply to such Supported QFC or any QFC Credit Support that may be exercised against such
Covered Party are permitted to be exercised to no greater extent than such Default Rights could be exercised
under the U.S. Special Resolution Regime if the Supported QFC and the Loan Documents were governed
by the laws of the United States or a state of the United States. Without limitation of the foregoing, it is
understood and agreed that rights and remedies of the parties with respect to a Defaulting Lender shall in
no event affect the rights of any Covered Party with respect to a Supported QFC or any QFC Credit Support.

                                         [Signature Pages Follow]




                                                    136
     Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 458 of 569



                IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be duly
executed as of the date first above written.

                                             BORROWER:
                                             THE CONTAINER STORE, INC.


                                             By:_______________________________
                                             Name:
                                             Title:


                                             HOLDINGS:
                                             THE CONTAINER STORE GROUP, INC.


                                             By:_______________________________
                                             Name:
                                             Title:


                                             SUBSIDIARY GUARANTORS:
                                             TCS GIFT CARD SERVICES, LLC


                                             By:_______________________________
                                             Name:
                                             Title:


                                             C STUDIO MANUFACTURING INC.


                                             By:_______________________________
                                             Name:
                                             Title:


                                             C STUDIO MANUFACTURING LLC


                                             By:_______________________________
                                             Name:
                                             Title:




Signature Page to ABL DIP Credit Agreement
     Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 459 of 569




                                             ADMINISTRATIVE AGENT AND
                                             COLLATERAL AGENT:
                                             ECLIPSE BUSINESS CAPITAL LLC


                                             By:_______________________________
                                             Name:
                                             Title:


                                             LENDER:
                                             ECLIPSE BUSINESS CAPITAL SPV, LLC


                                             By:_______________________________
                                             Name:
                                             Title:




Signature Page to ABL DIP Credit Agreement
    Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 460 of 569



                                    Schedule 2.01

                                    Commitments


Lender                                  Commitment     Applicable Percentage

Eclipse Business Capital SPV, LLC       $140,000,000          100%

                           TOTAL:       $140,000,000          100%
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 461 of 569



                                             Schedule 6.02(c)
        The Borrower shall provide the Administrative Agent with the information set forth below at the
following times (all in a format provided by, or acceptable to, the Administrative Agent):

 Monthly (no later than     (a)      A summary and a detailed aging, by total, of the Borrower’s
 25 days after the end      Accounts, together with an Account roll-forward and Cash Reconciliation
 of each month);            Form with supporting details supplied from sales journals, collection journals,
 provided, that during      credit registers and any other records, with respect to the Borrower’s Accounts
 an Enhanced Collateral     and Credit Card Receivables, along with a Client/Customer Master List.
 Trigger Event, such
                            (b)      A summary aging, by vendor, of each Loan Party's accounts payable
 items shall be
                            (identifying therein any held and/or outstanding checks).
 delivered weekly (no
 later than the 3rd         (c)      A detailed calculation of the Credit Card Receivables of the Borrower
 Business Day of each       that are not eligible for the Borrowing Base.
 week), or more             (d)     Notice of all claims, offsets, or disputes asserted by Account Debtors
 frequently if the          with respect to the Borrower’s Accounts.
 Administrative Agent
 requests                   (e)     An Inventory Detail report with respect to the Borrower’s Inventory,
                            including a listing by category and location of Inventory, with backup
                            acceptable to the Administrative Agent.
 (To be delivered           (f)      A detailed calculation of Inventory of the Borrower that is not eligible
 electronically utilizing   for the Borrowing Base.
 the Borrowing Base
 portal in ABLSoft )

 Monthly (no later than     (g)     A summary and a detailed aging, by total, of the Borrower’s Accounts
 25 days after the end      and Credit Card Receivables, together with reconciliation to the weekly
 of each month)             Borrowing Base submitted closest to such date and support documentation for
                            any reconciling items noted.
                            (h)      A summary aging, by vendor, of each Loan Party's accounts payable
 (To be delivered
                            and a listing by vendor, of any held and/or outstanding checks.
 electronically utilizing
 the Borrowing Base         (i)     A monthly Account roll-forward with respect to Borrower’s Accounts
 portal in ABLSoft)         and Credit Card Receivables tied to the beginning and ending Account and
                            Credit Card Receivables balances of the Borrower’s month-end accounts
                            receivable aging.
                            (j)     A reconciliation of Accounts summary aging and trade accounts
                            payable summary aging to each of (i) the Borrower’s general ledger, and (ii)
                            their monthly financial statements including any book reserves related to each
                            category (using the Month End Reconciliation Form).
                            (k)       A reconciliation of the Inventory perpetual report with respect to the
                            Borrower’s Inventory to each of (i) the Borrower’s general ledger, (ii) their
                            monthly financial statements including any book reserves related thereto and
                            (iii) the Borrowing Base submitted closest to such date, together with support
                            documentation for any reconciling items noted (using the Month End
                            Reconciliation Form).
                            (l)    A reconciliation of the loan statement provided to the Borrower by
                            the Administrative Agent for such month to each of (i) the Borrower’s general
    Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 462 of 569




                         ledger, (ii) their monthly financial statements and (iii) the Borrowing Base
                         submitted closest to such date, together with support documentation for any
                         reconciling items noted (using the Month End Reconciliation Form).
                         (m)     A Borrowing Base Calculation.

Bi-Annually (in          (n)    A detailed list of each Loan Party's vendors, with address and contact
January and in July of   information.
each calendar year,
starting July, 2025)
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 463 of 569



                                              Schedule 11.02


Administrative Agent & Collateral Agent’s Notice Address:
ECLIPSE BUSINESS CAPITAL LLC,
 as Administrative Agent
333 W Wacker Suite 950
Chicago, IL 60606
Attention: Jim Gurgone
Email: jgurgone@eclipsebuscap.com
with a copy to (which shall not constitute notice):
RIEMER & BRAUNSTEIN, LLP
100 Cambridge Street, 22nd Floor
Boston, MA 02114
Attention: Donald Rothman
Email: drothman@riemerlaw.com


Administrative Agent’s Account:
Wells Fargo Bank, National Association and its affiliates
Account Name: Eclipse Business Capital SPV, LLC
Account # 4943951905
ABA Routing # 121000248
Reference: Container Store




Loan Parties’ Notice Address:
THE CONTAINER STORE, INC.
500 Freeport Parkway
Coppell, TX 75019
Attention: Legal – Tasha Grinnell, Treasury – Maria Thereza Neisler
Email: legalreview@containerstore.com and credit@containerstore.com

with a copy (which shall not constitute notice) to:
LATHAM & WATKINS LLP
355 S Grand Ave
Los Angeles, CA 90071
Attention: Elizabeth Oh; Benjamin Gelfand
Email: elizabeth.oh@lw.com; benjamin.gelfand@lw.com




4180406.9
Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 464 of 569



                                EXHIBIT B
                          Exit Facility Term Sheet
                               (see attached)




                                 10
    Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 465 of 569




               Proposed Exit Revolving Facility Terms
                            Overview of Facility & Pricing
                      The Container Store, Inc., a Texas corporation (“Borrower” or the
Borrower:
                      “Company”).

                      EBC will receive the corporate guarantee of The Container Store Group,
                      Inc., a Delaware corporation (“Holdings”) and all domestic subsidiaries of
                      the Company (such entities, the “Guarantors” and together with the
Guarantees:
                      Borrower, the “Loan Parties”). For the avoidance of doubt, no foreign
                      subsidiaries of the Company shall be guarantors, and such subsidiaries may
                      continue to maintain their own working capital facilities.

Lenders:              Eclipse Business Capital LLC. and its affiliates (“EBC”).

Agent:                EBC

                      EBC is providing the Company with a senior secured debtor-in-possession
                      revolving credit facility (the “DIP Revolving Facility”), to support Holdings’
                      restructuring under the Plan of Reorganization (as defined in the
                      Commitment Letter to which this term sheet is attached), the terms of which
                      are outlined in the Transaction Support Agreement (as defined in the
                      Commitment Letter to which this term sheet is attached) (the “TSA” and the
                      transactions contemplated therein, the “Transactions”) in one or more cases
                      (the “Chapter 11 Cases”) to be commenced in the U.S. Bankruptcy Court,
                      Southern District of Texas (the “Bankruptcy Court”).
Purpose:
                      This senior secured exit revolving credit facility (the “Exit Revolving
                      Facility”) will be utilized to (a) refinance or replace the DIP Revolving
                      Facility (as defined in the Commitment Letter to which this term sheet is
                      attached) upon the Loan Parties’ emergence from the Chapter 11 Cases
                      pursuant to the terms of the Plan of Reorganization, (b) pay fees and
                      expenses related to this transaction and the Chapter 11 Cases, (c) satisfy
                      ongoing capital expenditures, and (d) provide for the ongoing working
                      capital needs of the Company and its subsidiaries post-emergence.


                      An Exit Revolving Facility of up to one hundred forty million dollars
                      ($140,000,000), based on advance rates of up to:

                          (i)   Eighty-five percent (85%) against eligible trade accounts
                                receivable (assuming dilution under five percent {5%} of sales),
Revolving Credit                plus
Facility:                 (ii) One Hundred percent (100%) against eligible credit card account
                                receivables, plus
                          (iii) One Hundred percent (100%) against the appraised Net Orderly
                                Liquidation Value of all eligible inventory, subject to an inventory
                                sublimit to be determined, less
                          (iv) reserves.



                                            1
     Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 466 of 569




                       The Exit Revolving Facility will include a letter of credit (“LOC”) sub-limit
                       of not more than fifteen million dollars ($15,000,000), with any such LOCs
                       to be arranged by EBC with an institution determined by EBC, in its
                       reasonable discretion, and otherwise subject to the terms and provisions of
                       the Exit Credit Agreement (defined below).

                       Eligibility criteria of accounts receivable and inventory shall be determined
                       as provided in the credit agreement memorializing the DIP Revolving
                       Facility (as amended, restated, amended and restated, supplemented or
                       otherwise modified from time to time, the “DIP Credit Agreement”), or, if
                       not provided for in the DIP Credit Agreement, such other customary
                       eligibility criteria as are reasonably acceptable to the Borrower and EBC.

                       Closing under the Exit Revolving Facility shall take place upon the
                       occurrence of the “effective date” under the Plan of Reorganization; all
                       obligations under the Exit Revolving Facility shall mature three (3) years
Term:                  from the Exit Closing Date (as defined below) and shall be fully due and
                       payable at such time (or, with respect to the LOCs, cash collateralized,
                       backstopped or otherwise addressed in a manner reasonably acceptable to
                       EBC and the issuing bank).

                       Loans under the Exit Revolving Facility would be made available at Term
                       SOFR, plus four and one-quarter percent (4.25%), payable monthly.

                       “Term SOFR” means the rate per annum equal to Term SOFR; provided
                       that if Term SOFR as so determined shall ever be less than 2.00%, then Term
                       SOFR shall be 2.00%.

                       “Term SOFR” means the forward-looking term rate based on SOFR, for
                       a tenor of one month, published by the Term SOFR Administrator two
                       business days prior to any day of determination.

                       “SOFR” means a rate equal to the secured overnight financing rate as
                       administered by the SOFR Administrator.
Interest Rates:
                       “SOFR Administrator” means the Federal Reserve Bank of New York (or
                       a successor administrator of the secured overnight financing rate).

                       "Term SOFR Administrator" means CME Group Benchmark
                       Administration Limited (CBA) (or a successor administrator of Term
                       SOFR).

                       All interest rates are on a per annum basis, payable monthly. To the extent
                       cash dominion is in effect and funds are being swept to EBC, Borrower
                       will receive credit for lockbox or controlled account collections two (2)
                       business day after EBC's receipt of good funds. Notwithstanding the
                       foregoing, for availability purposes, collections will be deemed available
                       to Borrower on the same date that they are received by EBC. Interest will




                                            2
     Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 467 of 569




                       be calculated based on a year of 360 days for the actual number of days
                       elapsed.

Default Rates:         Default interest at 2.00% above the rate otherwise applicable.

                       A closing fee (“Closing Fee”) of one-quarter of one percent (0.25%) of the
                       commitment amount, which shall be payable at the initial funding of the Exit
Closing Fee:           Revolving Facility and treated as creating original issue discount on the loans
                       for US federal income tax purposes consistent with Treasury Reg. section
                       1.1273-2(g)(2).

                       An unused line fee (“Unused Line Fee”) one-half of one percent (0.50%) of
                       the average unused portion of the maximum commitment amount. The
                       Unused Line Fee shall be payable monthly in arrears, commencing on the
Unused Line Fee:
                       first business day of the first month beginning after the Exit Closing Date,
                       the first business day of each month during the term of the Exit Revolving
                       Facility thereafter, and the Maturity Date.

                       A collateral monitoring fee (“Collateral Monitoring Fee”) equal to ten
                       thousand dollars ($10,000) for each month, or part thereof, commencing
Other Fees:            on the first business day of the first month beginning after the Exit Closing
                       Date and the first business day of each month during the term of the Exit
                       Revolving Facility thereafter.

                       To the extent commitments under the Exit Revolving Facility are
                       terminated by the Company, in addition to repaying the outstanding loans,
                       accrued interest and other amounts due thereunder, the Company shall
                       also pay a prepayment fee of:

Prepayment Fee:         • 3% of the aggregate amount of terminated commitments under the Exit
                          Revolving Facility through Year 1.
                        • 2% of the aggregate amount of terminated commitments under the Exit
                          Revolving Facility through Year 2.
                        • 1% of the aggregate amount of terminated commitments under the Exit
                          Revolving Facility through Year 3.

                       During the term of the Exit Revolving Facility, Borrower will be charged for
Field Examination
                       field examination person days at the then existing market-rate as determined
Expenses:
                       by EBC, plus all out-of-pocket expenses.
                                         Security
                       The Exit Revolving Facility shall be secured by liens and security interests
                       on all present and after acquired property (whether tangible, intangible, real,
                       personal or mixed) of the Loan Parties, wherever located, which shall be (a)
                       a first priority lien on all such property defined as “ABL Priority Collateral”
Security;
                       in the intercreditor agreement to be entered into between EBC and the agent
Collateral:
                       under the exit term loan facility (to be mutually agreed upon, the “ICA”), (b)
                       a second priority lien on all such property defined as “Term Priority
                       Collateral” in the ICA, and (c) subject to certain other standard permitted
                       liens reasonably acceptable to EBC.



                                             3
    Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 468 of 569




                            All of Loan Parties’ bank accounts will be subject to springing account
                            control agreements satisfactory to EBC, subject to customary exceptions.

                            If either (a) excess availability is less than 15.0% of availability (and
                            before giving effect to any borrowings) or (b) an event of default shall
Lockbox & Blocked           exist (each of the foregoing clause (a) or (b), a “Cash Dominion Spring”),
Accounts:                   collections shall, at the option of EBC, be swept to an account designated
                            by EBC on a daily basis; during all other times, collections shall be
                            automatically swept to the Loan Parties’ operating accounts.

                            For the avoidance of doubt, the Cash Dominion Spring would be the lesser
                            of (a) 15% of availability and (b) 15% of the facility size.
                                          Documentation
                            The Exit Revolving Facility shall be governed by a credit agreement
                            customary for secured exit financing revolving credit facilities and having
                            such terms, conditions, representations and warranties, affirmative and
                            negative covenants, events of default, secured creditor remedies,
Credit Agreement:
                            assignment and participation provisions, and other terms as EBC and their
                            counsel may, in their reasonable discretion, require or deem necessary, in
                            accordance with the Documentation Principles (the “Exit Credit
                            Agreement”).

                            The Exit Revolving Facility documentation will also include guarantees,
                            pledge and security agreements, intellectual property security agreements,
                            promissory notes, instruments, certificates, subordination/intercreditor
                            agreements, third-party collateral location waivers, satisfactory legal
Other Documents:            opinions of Borrower's independent counsel and such other
                            documentation as EBC and their counsel may, in their reasonable
                            discretion, require or deem necessary (together with the Exit Credit
                            Agreement, collectively, the “Exit Loan Documents”), in each case
                            negotiated in accordance with the Documentation Principles.

                            The representations and warranties, affirmative and negative covenants,
                            events of default and certain other terms and provisions to be mutually
                            agreed in the Exit Loan Documents shall be generally consistent with the
                            representations and warranties, affirmative and negative covenants,
                            events of default and other agreed provisions as set forth in the DIP Credit
                            Agreement, with changes and modifications to reflect the terms of the
                            Commitment Letter and such other modifications reasonably acceptable
                            to EBC and Borrower, including in respect of (a) modifications to reflect
Documentation Principles:
                            the fact that the DIP Credit Agreement is a debtor-in-possession financing
                            and the Exit Revolving Facility is being provided in respect of an exit
                            financing from the Chapter 11 Cases, (b) to reflect the capital structure of
                            the Loan Parties and the other terms of the restructuring as set forth in the
                            TSA and (c) other customary loan document provisions for financings of
                            this type, in each case to the extent not provided herein to be mutually
                            agreed upon, the definitive terms of which will be negotiated in good faith
                            to finalize the Exit Loan Documents as promptly as reasonably practicable




                                                 4
    Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 469 of 569




                        (this paragraph being referred to herein, collectively, as the
                        “Documentation Principles”).

                        The Exit Revolving Facility will have a minimum availability covenant of at
                        least either (i) 10% of the gross availability, or (ii) $13.0 million (at the
Financial Covenants:
                        Borrower’s option determined prior to the closing of the Exit
                        Revolving Facility).

                        The Exit Credit Agreement will contain covenants limiting or prohibiting
                        Borrower’s ability to take certain actions, including, but not limited to: (i)
                        merge with or acquire other entities; (ii) incur additional indebtedness for
                        borrowed money over some agreed upon amount; (iii) grant liens on its
                        assets subject to certain standard permitted liens; (iv) dispose of collateral
                        outside the ordinary course of business; (v) make loans to or investments in
                        other entities; (vi) allow insurance coverage acceptable to EBC to lapse and
Other Covenants:        (vii) make any cash dividends, stock dividends or stock redemptions.
                        Notwithstanding the foregoing, such covenants (x) shall not restrict the
                        incurrence of any exit financing secured by the Term Priority Collateral (as
                        contemplated by the TSA) and (y) shall be subject to customary exceptions
                        and carveouts to be agreed.

                        The Exit Loan Agreement shall have a change of control covenant to be
                        agreed upon.

                        The Exit Loan Agreement will provide for certain collateral and financial
                        reporting from Borrower, including, but not limited to: (i) monthly roll-
                        forward reporting on inventory and accounts receivable (if excess
                        availability is less than 17.5% of gross availability Borrower will roll
                        forward weekly); (ii) monthly financial statements; (iii) monthly
Certain Reporting:
                        reconciliation reports as to Borrowing Base collateral matters; (iv) annual
                        projections and (v) annual certified financial statements prepared by an
                        accountant acceptable to EBC within ninety (90) days of each year end.
                        Additionally, EBC will require periodic inventory appraisals and collateral
                        field examinations.

                        Consummation of the Exit Credit Facility transactions contemplated by this
                        term sheet, the Commitment Letter and the initial funding under the Exit
                        Credit Agreement shall be subject to the satisfaction or waiver of the
                        following conditions (the date of such satisfaction or waiver and initial
                        funding, the “Exit Closing Date”):

                           (i)    since the date of the TSA, other than as a result of events resulting
Conditions Precedent:             from or contributing to the Chapter 11 Cases or such other matters
                                  disclosed in writing to EBC prior to the Exit Closing Date, there
                                  shall have been no event or occurrence which has resulted in or
                                  would reasonably be expected to result in, individually or in the
                                  aggregate, any Material Adverse Effect (as defined in the DIP
                                  Credit Agreement);
                           (ii)   certification that all representations and warranties are true and
                                  correct in all material respects as of such date, except to the extent



                                              5
Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 470 of 569




                           such representations and warranties expressly relate to an earlier
                           date (in which case such representations and warranties shall be
                           true and correct in all material respects as of such earlier date);
                    (iii) the repayment in full of all obligations under the DIP Credit
                           Agreement in accordance with the terms thereof; it being agreed
                           that the repayment in full of the obligations under the DIP Credit
                           Agreement shall occur substantially contemporaneously with the
                           closing of the Exit Revolving Facility, and the proceeds of the Exit
                           Revolving Facility may be utilized to satisfy this condition;
                    (iv) the exit term loan facility of the Borrower shall have been
                           consummated, and funded or deemed funded substantially
                           concurrently with the initial loans under the Exit Revolving
                           Facility on the Exit Closing Date, on terms and conditions, and
                           pursuant to documentation, consistent with the TSA and otherwise
                           reasonably satisfactory to EBC;
                    (v) reasonably satisfactory review of the Loan Parties’ insurance (with
                           certain customary endorsements to be delivered post-closing);
                    (vi) reasonably satisfactory review of the corporate structure, and
                           related corporate charter documents, of the Loan Parties after
                           giving effect to the exit of the Chapter 11 Cases as provided in the
                           Plan of Reorganization and TSA;
                    (vii) payment of any reasonable and documented out-of-pocket costs
                           and expenses relating to the Exit Revolving Facility requiring
                           payment by EBC shall have been fully reimbursed by the
                           Borrower (which reimbursement can be made out of the initial
                           funding) to the extent invoiced in reasonable detail at least three
                           (3) business days prior to the Exit Closing Date;
                    (viii) delivery of a borrowing base certificate prepared as of a date
                           reasonably acceptable to the Agent, and excess availability under
                           the Exit Revolving Facility, after giving effect to the transactions
                           to occur on the Exit Closing Date, shall be greater than an amount
                           to be mutually agreed;
                    (ix) execution and delivery of Exit Loan Agreement and an
                           intercreditor agreement substantially consistent with the Existing
                           Intercreditor Agreement (as such term is defined in the TSA);
                    (x) EBC shall have received customary security documents, subject to
                           the Documentation Principles; provided, that certain third party
                           agreements and foreign-law documents may be delivered on a
                           post-closing basis subject to mutually agreed deadlines;
                    (xi) EBC shall have received evidence that, on or before the Exit
                           Closing Date, all liens, security interests and other encumbrances
                           granted in respect of the Loan Parties (other than with respect to
                           the exit term loan and other permitted liens to be agreed in the Exit
                           Loan Documents) have been terminated and discharged or will be
                           terminated and discharged upon receipt of the repayment in full of
                           the related indebtedness, as the case may be;
                    (xii) Holdings and its subsidiaries shall be solvent after giving effect to
                           the Transactions, the initial funding under the Exit Credit Facility,
                           and the funding under the exit term loan facility, which solvency
                           shall be evidenced by a solvency certificate in form and substance
                           reasonably acceptable to EBC;



                                      6
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 471 of 569




                           (xiii) the Bankruptcy Court shall have entered an order, in form and
                                  substance reasonably satisfactory to Agent, confirming the Plan of
                                  Reorganization (the “Confirmation Order”), and the Confirmation
                                  Order shall not have been stayed by the Bankruptcy Court or by
                                  any other court having jurisdiction to issue any such stay, it being
                                  understood and agreed that (a) the Confirmation Order shall have
                                  been entered upon proper notice to all parties to be bound by the
                                  Plan of Reorganization, all as may be required by the Bankruptcy
                                  Code, the Federal Rules of Bankruptcy Procedure and any
                                  applicable local bankruptcy rules, and (ii) the Confirmation Order
                                  must be in full force and effect;
                           (xiv) the Plan of Reorganization shall have been substantially
                                  consummated substantially concurrently with the occurrence of
                                  the Exit Closing Date.
                           (xv) the Borrower shall have provided no less than five (5) business
                                  days prior to the Exit Closing Date the documentation and other
                                  information to EBC that are reasonably requested by EBC no later
                                  than ten (10) business days prior to the Exit Closing Date under
                                  the applicable “know-your-customer” rules and regulations,
                                  including, without limitation, the PATRIOT Act.

                                 The Exit Credit Agreement shall also provide conditions precedent
                                 for funding of loans and issuance of LOCs after the Exit Closing
                                 Date, which shall include: (i) compliance with borrowing base
                                 reporting requirements, (ii) certification that all representations
                                 and warranties are true and correct in all material respects as of
                                 such date, except to the extent such representations and warranties
                                 expressly relate to an earlier date (in which case such
                                 representations and warranties shall be true and correct in all
                                 material respects as of such earlier date), (iii) absence of a default
                                 or event of default; and (iv) absence of any material adverse effect.

                        EBC intends to hold this entire Exit Revolving Facility for its own
 Syndication:
                        accounts. No syndication is required.


4186099.5




                                             7
Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 472 of 569
Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 473 of 569
Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 474 of 569



                             EXHIBIT E

                        Joint Prepackaged Plan
        Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 475 of 569



                              IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE SOUTHERN DISTRICT OF TEXAS
                                         HOUSTON DIVISION

------------------------------------------------------------------ x
                                                                   :
In re:                                                             :   Chapter 11
                                                                   :
THE CONTAINER STORE GROUP, INC., et al.,                           :   Case No. 24-_______ (____)
                                                                   :
                      Debtors.
                                1
                                                                   :   (Joint Administration Requested)
                                                                   :
------------------------------------------------------------------ x

                      PREPACKAGED JOINT PLAN OF REORGANIZATION
                   OF THE CONTAINER STORE GROUP, INC. AND ITS DEBTOR
                  AFFILIATES UNDER CHAPTER 11 OF THE BANKRUPTCY CODE

     THIS CHAPTER 11 PLAN IS BEING SOLICITED FOR ACCEPTANCE OR REJECTION IN
     ACCORDANCE WITH SECTION 1125 OF THE BANKRUPTCY CODE AND WITHIN THE
     MEANING OF SECTION 1126 OF THE BANKRUPTCY CODE. THIS CHAPTER 11 PLAN
     SHALL BE SUBMITTED TO THE BANKRUPTCY COURT FOR APPROVAL FOLLOWING
     SOLICITATION AND THE DEBTORS FILING FOR CHAPTER 11 BANKRUPTCY. NO
     CHAPTER 11 CASES HAVE BEEN COMMENCED AT THIS TIME. THIS PREPACKAGED
     PLAN OF REORGANIZATION, AND THE SOLICITATION MATERIALS ACCOMPANYING
     THIS PLAN, HAVE NOT BEEN APPROVED BY THE BANKRUPTCY COURT AS
     CONTAINING “ADEQUATE INFORMATION” WITHIN THE MEANING OF SECTION
     1125(a) OF THE BANKRUPTCY CODE. UPON COMMENCEMENT OF THE CHAPTER 11
     CASES, THE DEBTORS EXPECT TO SEEK PROMPTLY AN ORDER OF THE
     BANKRUPTCY COURT (1) APPROVING THE ADEQUACY OF THE DISCLOSURE
     STATEMENT; (2) APPROVING THE SOLICITATION OF VOTES AS HAVING BEEN IN
     COMPLIANCE WITH SECTIONS 1125 AND 1126(b) OF THE BANKRUPTCY CODE; AND
     (3) CONFIRMING THE PLAN PURSUANT TO SECTION 1129 OF THE BANKRUPTCY
     CODE.




 1
      The Debtors in these cases, together with the last four digits of each Debtor’s taxpayer identification number, are:
      The Container Store Group, Inc. (5401); The Container Store, Inc. (6981); C Studio Manufacturing Inc. (4763);
      C Studio Manufacturing LLC (5770); and TCS Gift Card Services, LLC (7975). The Debtors’ mailing address
      is 500 Freeport Parkway, Coppell, Texas 75019.
     Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 476 of 569



HUNTON ANDREWS KURTH LLP                        LATHAM & WATKINS LLP
Timothy A. (“Tad”) Davidson II (Texas Bar No.   George A. Davis (NY Bar No. 2401214)
24012503)                                       Hugh Murtagh (NY Bar No. 3161759)
Ashley L. Harper (Texas Bar No. 24065272)       Tianjiao (TJ) Li (NY Bar No. 5689567)
Philip M. Guffy (Texas Bar No. 24113705)        Jonathan J. Weichselbaum (NY Bar No. 5676143)
600 Travis Street, Suite 4200                   1271 Avenue of the Americas
Houston, TX 77002                               New York, NY 10020
Telephone: (713) 220-4200                       Telephone: (212) 906-1200
Email: taddavidson@HuntonAK.com                 Email: george.davis@lw.com
         ashleyharper@HuntonAK.com                        hugh.murtagh@lw.com
         pguffy@HuntonAK.com                              tj.li@lw.com
                                                          jon.weichselbaum@lw.com

                                                Ted A. Dillman (CA Bar No. 258499)
                                                355 South Grand Avenue, Suite 100
                                                Los Angeles, CA 90071
                                                Telephone: (213) 485-1234
                                                Email: ted.dillman@lw.com

Dated:   December 21, 2024
                                                Proposed Counsel for the Debtors and Debtors in
         Houston, Texas
                                                Possession
          Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 477 of 569



                                                             TABLE OF CONTENTS

                                                                                                                                                            Page

Article I. DEFINED TERMS AND RULES OF INTERPRETATION ........................................................................ 1
          A.     Defined Terms .................................................................................................................................. 1
          B.     Rules of Interpretation .................................................................................................................... 19
          C.     Consent Rights ................................................................................................................................ 20
          D.     Appendices and Plan Supplement ................................................................................................... 20
          E.     Deemed Acts ................................................................................................................................... 20

Article II. ADMINISTRATIVE CLAIMS, DIP CLAIMS, PRIORITY TAX CLAIMS, OTHER
          PRIORITY CLAIMS, AND UNITED STATES TRUSTEE STATUTORY FEES ..................................... 20
          A.     Administrative Claims .................................................................................................................... 21
          B.     DIP Claims ...................................................................................................................................... 22
          C.     Priority Tax Claims ......................................................................................................................... 23
          D.     Other Priority Claims ...................................................................................................................... 23
          E.     United States Trustee Statutory Fees .............................................................................................. 23
          F.     Restructuring Fees and Expenses .................................................................................................... 23
          G.     Post-Effective Date Fees and Expenses .......................................................................................... 24

Article III. CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS ........................................... 24
          A.     Classification of Claims .................................................................................................................. 24
          B.     Treatment of Claims and Interests .................................................................................................. 25
          C.     Acceptance or Rejection of this Plan .............................................................................................. 28
          D.     Confirmation Pursuant to Section 1129(a)(10) and 1129(b) of the Bankruptcy Code .................... 29
          E.     Subordinated Claims ....................................................................................................................... 29
          F.     Special Provision Governing Unimpaired Claims .......................................................................... 29
          G.     Vacant and Abstaining Classes ....................................................................................................... 29
          H.     Controversy Concerning Impairment .............................................................................................. 30
          I.     Intercompany Interests and Intercompany Claims .......................................................................... 30
          J.     Disputed Claims Process ................................................................................................................. 30

Article IV. MEANS FOR IMPLEMENTATION OF THIS PLAN ............................................................................ 31
         A.     General Settlement of Claims and Interests .................................................................................... 31
         B.     Restructuring Transactions.............................................................................................................. 31
         C.     Corporate Existence ........................................................................................................................ 32
         D.     Vesting of Assets in the Reorganized Debtors Free and Clear of Liens and Claims ...................... 32
         E.     Cancellation of Existing Agreements and Existing Equity Interests. .............................................. 33
         F.     Sources for Plan Distributions and Transfers of Funds Among Debtors ........................................ 34
         G.     Exit Facilities and Exit Facilities Documents ................................................................................. 35
         H.     Issuance of New Equity Interests and Deregistration ..................................................................... 35
         I.     Exemption from Registration Requirements ................................................................................... 36
         J.     New Organizational Documents ..................................................................................................... 37
         K.     Release of Liens and Claims ........................................................................................................... 38
         L.     Exemption from Certain Taxes and Fees ........................................................................................ 38
         M.     Directors and Officers of the Reorganized Debtors ........................................................................ 39
         N.     Preservation of Causes of Action .................................................................................................... 39
         O.     Corporate Action ............................................................................................................................. 40
         P.     Prepetition Intercreditor Agreement................................................................................................ 41
         Q.     Effectuating Documents; Further Transactions............................................................................... 41
         R.     Authority of the Debtors ................................................................................................................. 41
         S.     No Substantive Consolidation ......................................................................................................... 41
         T.     Continuing Effectiveness of Final Orders ....................................................................................... 41
         U.     Modifications to Executory Contracts and Unexpired Leases ........................................................ 41
         Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 478 of 569



Article V. TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES;
         EMPLOYEE BENEFITS; AND INSURANCE POLICIES ......................................................................... 42
         A.     Assumption of Executory Contracts and Unexpired Leases ........................................................... 42
         B.     Payments on Assumed Executory Contracts and Unexpired Leases .............................................. 43
         C.     Claims Based on Rejection of Executory Contracts and Unexpired Leases ................................... 43
         D.     Contracts and Leases Entered into After the Petition Date ............................................................. 44
         E.     Reservation of Rights ...................................................................................................................... 44
         F.     Directors and Officers Insurance Policies ....................................................................................... 44
         G.     Other Insurance Contracts ............................................................................................................... 45
         H.     Indemnification Provisions and Reimbursement Obligations ......................................................... 45
         I.     Employee Compensation and Benefits ........................................................................................... 45

Article VI. PROVISIONS GOVERNING DISTRIBUTIONS .................................................................................... 46
         A.     Timing and Calculation of Amounts to Be Distributed................................................................... 46
         B.     Special Rules for Distributions to Holders of Disputed Claims ...................................................... 46
         C.     Rights and Powers of Distribution Agent ....................................................................................... 47
         D.     Delivery of Distributions ................................................................................................................ 47
         E.     Compliance with Tax Requirements; Allocations........................................................................... 48
         F.     Applicability of Insurance Contracts............................................................................................... 49
         G.     Allocation of Distributions Between Principal and Interest ............................................................ 50
         H.     No Postpetition Interest on Claims.................................................................................................. 50
         I.     Means of Cash Payment .................................................................................................................. 50
         J.     Setoffs and Recoupment ................................................................................................................. 50
         K.     Claims Paid or Payable by Third Parties ......................................................................................... 50

Article VII. PROCEDURES FOR RESOLVING CONTINGENT, UNLIQUIDATED, AND
         DISPUTED CLAIMS ................................................................................................................................... 51
         A.      No Filings of Proofs of Claim ......................................................................................................... 51
         B.      Allowance and Disallowance of Claims ......................................................................................... 52
         C.      Claims Administration Responsibilities .......................................................................................... 52
         D.      Adjustment to Claims or Interests without Objection ..................................................................... 53
         E.      Distributions After Allowance ........................................................................................................ 53

Article VIII. CONDITIONS PRECEDENT TO THE EFFECTIVE DATE ............................................................... 53
         A.      Conditions Precedent to the Effective Date .................................................................................... 53
         B.      Waiver of Conditions ...................................................................................................................... 56
         C.      Effect of Non-Occurrence of Conditions to the Effective Date ...................................................... 56
         D.      Substantial Consummation ............................................................................................................. 56

Article IX. DISCHARGE, RELEASE, INJUNCTION, AND RELATED PROVISIONS ......................................... 56
         A.     Discharge of Claims and Termination of Interests .......................................................................... 56
         B.     Releases by the Debtors ................................................................................................................ 57
         C.     Releases by Holders of Claims and Interests .............................................................................. 58
         D.     Exculpation .................................................................................................................................... 59
         E.     Permanent Injunction ................................................................................................................... 60
         F.     SEC Reservation of Rights ........................................................................................................... 61

Article X. RETENTION OF JURISDICTION ............................................................................................................ 61

Article XI. MODIFICATION, REVOCATION, OR WITHDRAWAL OF PLAN .................................................... 64
         A.     Modification of Plan ....................................................................................................................... 64
         B.     Effect of Confirmation on Modifications ........................................................................................ 64
         C.     Revocation of Plan; Reservation of Rights if Effective Date Does Not Occur ............................... 64

Article XII. MISCELLANEOUS PROVISIONS ........................................................................................................ 64
         A.      Immediate Binding Effect ............................................................................................................... 64
Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 479 of 569



 B.    Additional Documents .................................................................................................................... 65
 C.    Payment of United States Trustee Statutory Fees ........................................................................... 65
 D.    Reservation of Rights ...................................................................................................................... 65
 E.    Successors and Assigns ................................................................................................................... 65
 F.    No Successor Liability .................................................................................................................... 65
 G.    Service of Documents ..................................................................................................................... 66
 H.    Term of Injunctions or Stays ........................................................................................................... 67
 I.    Entire Agreement ............................................................................................................................ 67
 J.    Governing Law ............................................................................................................................... 67
 K.    Exhibits ........................................................................................................................................... 67
 L.    Nonseverability of Plan Provisions upon Confirmation.................................................................. 68
 M.    Closing of Chapter 11 Cases ........................................................................................................... 68
 N.    Conflicts .......................................................................................................................................... 68
 O.    No Strict Construction .................................................................................................................... 68
 P.    Section 1125(e) Good Faith Compliance ........................................................................................ 68
 Q.    2002 Notice Parties ......................................................................................................................... 69
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 480 of 569



     PREPACKAGED JOINT PLAN OF REORGANIZATION OF THE CONTAINER STORE
        GROUP, INC. AND ITS DEBTOR AFFILIATES UNDER CHAPTER 11 OF THE
                               BANKRUPTCY CODE

         The Container Store Group, Inc. and each of the other debtors and debtors-in-possession in the
above-captioned cases (collectively, the “Debtors”) propose this Plan (as defined herein) for the treatment
and resolution of the outstanding Claims against, and Interests in, the Debtors. Capitalized terms used in
this Plan and not otherwise defined have the meanings ascribed to such terms in Article I.A.

         Although proposed jointly for administrative purposes, this Plan constitutes a separate Plan for each
Debtor for the treatment and resolution of outstanding Claims and Interests therein pursuant to the
Bankruptcy Code. The Debtors seek to consummate the Restructuring Transactions on the Effective Date
of this Plan. Each Debtor is a proponent of this Plan within the meaning of section 1129 of the Bankruptcy
Code. The classifications of Claims and Interests set forth in Article III shall be deemed to apply separately
with respect to each Plan proposed by each Debtor, as applicable. This Plan does not contemplate
substantive consolidation of any of the Debtors.

         Reference is made to the Disclosure Statement for a discussion of the Debtors’ history, businesses,
results of operations, historical financial information, projections, and future operations, as well as a
summary and analysis of this Plan and certain related matters, including distributions to be made under this
Plan. There also are other agreements and documents, which shall be filed with the Bankruptcy Court, that
are referenced in this Plan, the Plan Supplement, or the Disclosure Statement as exhibits and schedules. All
such exhibits and schedules are incorporated into and are a part of this Plan as if set forth in full herein.
Subject to certain restrictions and requirements set forth in 11 U.S.C. § 1127, Fed. R. Bankr. P. 3019, and
the terms and conditions set forth in the Transaction Support Agreement and this Plan, the Debtors reserve
the right to alter, amend, modify, revoke, or withdraw this Plan before its substantial consummation.

     ALL HOLDERS OF CLAIMS ENTITLED TO VOTE ON THIS PLAN ARE
ENCOURAGED TO READ THIS PLAN AND THE DISCLOSURE STATEMENT IN THEIR
ENTIRETY BEFORE VOTING TO ACCEPT OR REJECT THIS PLAN.

                                       Article I.
                      DEFINED TERMS AND RULES OF INTERPRETATION

A.      Defined Terms

        The following terms shall have the following meanings when used in capitalized form herein:

       1.      “Ad Hoc Group” means that certain ad hoc group of Holders of Prepetition Term Loan
Claims advised by the Ad Hoc Group Advisors, as may be reconstituted from time to time.

       2.       “Ad Hoc Group Advisors” means Paul Hastings LLP, AlixPartners, LLP, Greenhill & Co.,
LLC., and such other professional advisors as are retained by the Ad Hoc Group with the consent of the
Debtors (not to be unreasonably withheld).

        3.       “Administrative Claim” means a Claim for costs and expenses of administration under
sections 503(b), 507(b), or 1114(e)(2) of the Bankruptcy Code, including: (a) the actual and necessary costs
and expenses incurred on or after the Petition Date and through the Effective Date of preserving the Estates
and operating the businesses of the Debtors; (b) Professional Fee Claims, to the extent Allowed by the
Bankruptcy Court; (c) all fees and charges assessed against the Estates under chapter 123 of title 28 United
States Code, 28 U.S.C. §§ 1911-1930; (d) Cure Costs; and (e) Restructuring Fees and Expenses, in
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 481 of 569



accordance with the Transaction Support Agreement or the DIP/Cash Collateral Orders, as applicable;
provided, that the foregoing clauses (a) through (e) shall not be interpreted as enlarging the scope of sections
503(b), 507(b), or 1114(e)(2) of the Bankruptcy Code. For the purposes of treatment and distributions
under the Plan, if the Transaction Support Agreement remains effective, the DIP Claims shall be subject to
Article II(B).

         4.      “Affiliate” means, with respect to any Entity, all Entities that would fall within the
definition of an “affiliate” as such term is defined in section 101(2) of the Bankruptcy Code. With respect
to any Entity that is not a Debtor, the term “Affiliate” shall apply to such Entity as if the Entity were a
Debtor.

        5.      “Agents” means, collectively, the Prepetition Agents, the DIP Agents, and the Exit Facility
Agents, in each case including any successors thereto.

        6.       “Allowed” means with respect to any Claim or Interest (or any portion thereof): (a) any
Claim or Interest as to which no objection to allowance, priority, or secured status, and no request for
estimation or other challenge, including pursuant to section 502(d) of the Bankruptcy Code or otherwise,
has been interposed (either in the Bankruptcy Court or in the ordinary course of business) on or before any
applicable period of limitation under applicable law or such other applicable period of limitation fixed by
the Bankruptcy Court; (b) any Claim or Interest as to which the liability of the Debtors and the amount
thereof are determined by a Final Order of the Bankruptcy Court or a court of competent jurisdiction other
than the Bankruptcy Court, either before or after the Effective Date, including, for the avoidance of doubt,
the DIP/Cash Collateral Orders; or (c) any Claim or Interest expressly deemed Allowed by this Plan.
Notwithstanding the foregoing: (x) any Claim or Interest that is expressly disallowed pursuant to this Plan
shall not be Allowed unless otherwise ordered by the Bankruptcy Court; (y) unless otherwise specified in
this Plan, the Allowed amount of Claims shall be subject to and shall not exceed the limitations under or
maximum amounts permitted by the Bankruptcy Code, including sections 502 or 503 of the Bankruptcy
Code, to the extent applicable; and (z) the Reorganized Debtors shall retain all claims and defenses with
respect to Allowed Claims that are reinstated or otherwise Unimpaired pursuant to this Plan. “Allow,”
“Allows,” and “Allowing” shall have correlative meanings.

       7.       “Assumed Employee Agreements” means all existing employment agreements between
the Debtors and employees of the Debtors as of the Petition Date.

        8.       “Avoidance Actions” means any and all actual or potential avoidance, recovery,
subordination, or similar actions or remedies that may be brought by or on behalf of the Debtors or the
Estates under the Bankruptcy Code or applicable non-bankruptcy law, including actions or remedies arising
under chapter 5 and section 724(a) of the Bankruptcy Code of the Bankruptcy Code or under similar or
related local, state, federal, or foreign statutes and common law, including fraudulent transfer laws,
fraudulent conveyance laws, or other similar related laws, in each case whether or not litigation to prosecute
such Claim(s) and Cause(s) of Action was commenced prior to the Effective Date.

      9.       “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. §§ 101-1532, as
amended from time to time and as applicable to the Chapter 11 Cases.

       10.     “Bankruptcy Court” means the United States Bankruptcy Court for the Southern District
of Texas, Houston Division, or such other court having jurisdiction over the Chapter 11 Cases.

        11.      “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure as promulgated by
the United States Supreme Court under section 2075 of title 28 of the United States Code, 28 U.S.C. § 2075,
as applicable to the Chapter 11 Cases, the Federal Rules of Civil Procedure, as applicable to the Chapter 11



                                                       2
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 482 of 569



Cases or any proceedings therein, and the general, local, and chambers rules of the Bankruptcy Court, in
each case as amended from time to time and as applicable to the Chapter 11 Cases.

         12.     “Business Day” means any day, other than a Saturday, Sunday, or “legal holiday” (as that
term is defined in Bankruptcy Rule 9006(a)), on which commercial banks are open for commercial business
with the public in New York City, New York.

        13.      “Cash” means the legal tender of the United States of America or the equivalent thereof.

        14.      “Cash Collateral” has the meaning set forth in section 363(a) of the Bankruptcy Code.

          15.     “Causes of Action” means any action, Claim, cross-claim, third-party claim, cause of
action, controversy, dispute demand, right, Lien, indemnity, contribution, interest, guaranty, suit,
obligation, liability, lost, debt, fee or expense, damage, judgment, account, defense, offset, power, privilege,
proceeding, franchise, remedy, and license of any kind or character whatsoever, whether known or
unknown, contingent or non-contingent, matured or unmatured, suspected or unsuspected, liquidated or
unliquidated, disputed or undisputed, secured or unsecured, assertable directly or derivatively (including
any alter ego theories), whether arising before, on, or after the Petition Date, as applicable, in contract or in
tort, in law (whether local, state, or federal U.S. or non-U.S. law) or in equity, or pursuant to any other
theory of local, state, or federal U.S. or non-U.S. law. For the avoidance of doubt, “Causes of Action”
include: (a) any right of setoff, counterclaim, or recoupment; (b) any Claim based on or relating to, or in
any manner arising from, in whole or in part, tort, breach of contract, breach of fiduciary duty, actual or
constructive fraudulent transfer or fraudulent conveyance or voidable transaction or similar law, violation
of local, state, or federal or non-U.S. law or breach of any duty imposed by law or in equity, including
securities laws, negligence, and gross negligence; (c) any Claim pursuant to section 362 or chapter 5 of
the Bankruptcy Code or similar local, state, or federal U.S. or non-U.S. law; (d) any Claim or defense
including fraud, mistake, duress, and usury, and any other defenses set forth in section 558 of the
Bankruptcy Code; (e) any Avoidance Actions relating to or arising from any state or foreign law pertaining
to any Avoidance Action, including preferential transfer, actual or constructive fraudulent transfer,
fraudulent conveyance, or similar Claim; (f) the right to object to or otherwise contest Claims or Interests;
and (g) any “lender liability” or equitable subordination Claims or defenses.

        16.     “Chapter 11 Cases” means (a) when used with reference to a particular Debtor, the
voluntary case Filed for that Debtor under chapter 11 of the Bankruptcy Code in the Bankruptcy Court and
(b) when used with reference to all Debtors, the jointly administered chapter 11 cases for all of the Debtors.

       17.     “Claim” means any claim, as defined in section 101(5) of the Bankruptcy Code. Except
where otherwise provided in context, “Claim” refers to such a claim against any of the Debtors.

        18.    “Claims Register” means the official register of Claims and Interests maintained by the
Notice and Claims Agent.

        19.     “Class” means a category of Claims or Interests as set forth in Article III pursuant to section
1122(a) of the Bankruptcy Code.

         20.    “Combined Hearing” means the hearing conducted by the Bankruptcy Court to consider
the final approval of the Disclosure Statement and final Confirmation of this Plan, as such hearing may be
adjourned or continued from time to time.

       21.     “Combined Order” means the order of the Bankruptcy Court approving the Disclosure
Statement pursuant to sections 1125, 1126(b), and 1145 of the Bankruptcy Code and confirming this Plan



                                                       3
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 483 of 569



pursuant to section 1129 of the Bankruptcy Code, which order shall be consistent with the terms and
conditions of the Transaction Support Agreement and otherwise in form and substance acceptable to the
Debtors and the Required Consenting Term Lenders.

        22.      “Compensation and Benefits Programs” means all employment, confidentiality, and non-
competition agreements, bonus, gainshare, and incentive programs (other than awards of equity interests,
stock options, restricted stock, restricted stock units, warrants, rights, convertible, exercisable, or
exchangeable securities, stock appreciation rights, phantom stock rights, redemption rights, profits interests,
equity-based awards, or contractual rights to purchase or acquire equity interest at any time and all rights
arising with respect thereto), vacation, holiday pay, severance, retirement, savings, supplemental
retirement, executive retirement, pension, deferred compensation, medical, dental, vision, life and disability
insurance, flexible spending account, and other health and welfare benefit plans, employee expense
reimbursement, and other compensation and benefit obligations of the Debtors, and all amendments and
modifications thereto, applicable to the Debtors’ employees, former employees, retirees, and non-employee
directors and the employees, former employees, and retirees of their subsidiaries.

        23.     “Confirmation” means the entry of the Combined Order or any Final Order Confirming
the Plan entered by the Bankruptcy Court on the docket of the Chapter 11 Cases.

        24.      “Confirmation Date” means the date on which Confirmation occurs.

       25.    “Consenting Stakeholders” means, collectively, the Consenting Stockholders and
Consenting Term Lenders.

        26.     “Consenting Stockholders” means Holders (or beneficial holders) of, or nominees,
investment managers, investment advisors, or subadvisors to or managers of funds, accounts and/or
subaccounts that beneficially hold, or trustees of trusts that beneficially hold, Existing Equity Interests that
have executed and delivered counterpart signature pages to the Transaction Support Agreement, or
signature pages to a Joinder or Transfer Agreement (as applicable), to counsel to the Debtors and the Ad
Hoc Group Advisors.

        27.     “Consenting Term Lenders” means Holders (or beneficial holders) of, or nominees,
investment managers, investment advisors, or subadvisors to or managers of funds, accounts and/or
subaccounts that beneficially hold, or trustees of trusts that beneficially hold, outstanding Prepetition Term
Loan Claims that have executed and delivered counterpart signature pages to the Transaction Support
Agreement, or signature pages to a Joinder or Transfer Agreement (as applicable), to counsel to the Debtors
and the Ad Hoc Group Advisors.

        28.    “Cure Cost” means any and all amounts, including an amount of $0.00, required to cure
any monetary defaults under any Executory Contract or Unexpired Lease (or such lesser amount as may be
agreed upon by the parties under an Executory Contract or Unexpired Lease) that is to be assumed by the
Debtors pursuant to sections 365 or 1123 of the Bankruptcy Code.

         29.      “D&O Insurance Policies” means, collectively, all insurance policies (including any “tail
coverage” and all agreements, documents, or instruments related thereto) issued at any time to, or providing
coverage to, any of the Debtors or any of the Debtors’ current or former directors, members, managers, or
officers for alleged Wrongful Acts (as defined in the D&O Insurance Policies), or similarly defined
triggering acts, in their capacity as such.

      30. “DIP ABL Credit Facility Documents” means the DIP/Cash Collateral Orders, the DIP & Exit
ABL Commitment Letter, and the DIP ABL Credit Agreement, together with all other related documents,



                                                       4
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 484 of 569



instruments, and agreements in respect of the DIP Term Loan Facility, in each case, as amended, restated,
amended and restated, modified, or supplemented from time to time in accordance with the terms thereof.

       31. “DIP Budget” means the budget for use of the DIP Term Loans, as approved by the Required
DIP Term Lenders.

        32.     “Debtor Release” means the releases set forth in Article IX.B.

        33.     “Debtors” has the meaning set forth in the preamble to this Plan.

         34.     “Definitive Documents” means all of the definitive documents necessary to implement the
Restructuring Transactions set forth in Section 3.01 of the Transaction Support Agreement, and, in each
case, any amendments, modifications, and supplements thereto and any related notes, certificates,
agreements, documents, and instruments (as applicable), including, but not limited to: (a) this Plan and all
documentation necessary to consummate this Plan, including the Plan Supplement, the Disclosure
Statement, the Solicitation Procedures Motion, the Solicitation Procedures Order, the Solicitation Materials,
and the Combined Order (including any exhibits or supplements filed with respect to each of the foregoing);
(b) the DIP Facilities Documents (including the DIP/Cash Collateral Motion and the DIP/Cash Collateral
Orders); (c) the Exit Facilities Documents; (d) the New Organizational Documents; (e) the Restructuring
Transaction Steps Memorandum; and (f) all other customary documents delivered in connection with
transactions of this type (including any and all material documents, Bankruptcy Court or other judicial or
regulatory orders, amendments, supplements, pleadings (including the First Day Pleadings and all orders
sought pursuant thereto), motions, filings, exhibits, schedules, appendices, or modifications to any of the
foregoing and any related notes, certificates, agreements, and instruments (as applicable) necessary to
implement the Restructuring Transactions), which in each case shall be subject to the consent rights set
forth in Section 3.02 of the Transaction Support Agreement.

         35. “DIP & Exit ABL Commitment Letter” means the debtor-in-possession revolving credit
facility and exit revolving credit facility commitment letter attached as Exhibit 5 to the Transaction Term
Sheet (including all annexes, exhibits, schedules and other attachments thereto).

        36. “DIP ABL Credit Agreement” means that certain Senior Secured Superpriority Debtor-In-
Possession Revolving Credit Agreement in respect of the DIP ABL Credit Facility, substantially in the form
attached to the DIP & Exit ABL Commitment Letter, as amended, restated, amended and restated, modified
or supplemented for time to time in accordance with the terms thereof.

        37. “DIP ABL Credit Facility” means the debtor-in-possession revolving credit facility provided
by the DIP ABL Lenders.

        38. “DIP ABL Lender” means Eclipse Business Capital LLC.

         39. “DIP ABL Loan Agent” means Eclipse Business Capital LLC as the administrative agent and
collateral agent under the DIP ABL Credit Agreement.

       40.      “DIP ABL Loan Agent Advisors” means Riemer & Braunstein LLP and Frost Brown Todd
LLP and such other professional advisors as are retained by the DIP ABL Loan Agent with the consent of
the Debtors (not to be unreasonably withheld).

         41. “DIP ABL Loan Claims” means any Claim on account of loans and any other obligations
arising under or pursuant to the DIP ABL Credit Agreement.

        42. “DIP Agents” means, the DIP ABL Loan Agent and the DIP Term Loan Agent, collectively.



                                                     5
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 485 of 569



       43. “DIP Backstop Allocation Schedule” means the backstop allocation schedule in respect of the
DIP Term Loan Facility attached as Exhibit 1 to the Transaction Term Sheet.

         44.   “DIP Backstop Parties” means certain Consenting Term Lenders set forth on the DIP
Backstop Allocation Schedule that have agreed to backstop and fund the full amount of the DIP Term Loan
Facility.

        45.     “DIP Claims” means (i) DIP ABL Loan Claims and (ii) DIP Term Loan Claims.

         46.     “DIP Commitment Premium” means the Pro Rata Share of a commitment premium that
each DIP Term Lender receives in exchange for the DIP Term Lenders’ commitments to fund the New
Money DIP Term Loans, which shall equal two percent (2%) of New Money DIP Term Loans paid in kind
in the form of New Money DIP Term Loans; provided, that any interest on additional DIP Term Loans
payable as part of the DIP Commitment Premium shall be payable in kind. The DIP Commitment Premium
shall be earned upon the entry of the Interim DIP/Cash Collateral Order, and thereafter constitute DIP Term
Loan Claims.

       47. “DIP Credit Agreements” means (i) the DIP ABL Credit Agreement and (ii) the DIP Term
Loan Credit Agreement.

         48.     “DIP Equity Premium” means the pro rata share, based on such Holder’s ratable share of
the First-Out DIP Term Loans (as defined in the DIP/Cash Collateral Orders), of an equity premium that
each DIP Term Lender receives in exchange for the DIP Term Lenders’ agreement to fund the DIP Term
Loan Facility and convert the full amounts of DIP Term Loans (including accrued and unpaid interest)
outstanding as of the Effective Date into Exit Term Loans, which shall equal sixty four percent (64%) of
the New Equity Interests, subject to dilution by the Management Incentive Plan. The DIP Equity Premium
shall be earned on the entry of the Final DIP/Cash Collateral Order and payable on the Effective Date and
conversion of such DIP Term Loans to Exit Term Loans.

        49. “DIP Facilities” means (i) the DIP Term Loan Facility and (ii) the DIP ABL Credit Facility.

         50. “DIP Facilities Documents” means the DIP Term Loan Facility Documents and the DIP ABL
Credit Facility Documents, including the Fronting Letter, DIP/Cash Collateral Motions, the DIP/Cash
Collateral Orders, DIP Budget and the DIP Credit Agreements, together with all other related documents,
instruments, and agreements delivered or entered into in respect of the DIP Facilities, including, without
limitation, any payoff letter in respect of the Prepetition ABL Facility, any guarantee agreements, pledge
and collateral agreements, intercreditor agreements, and other security documents, in each case, as
amended, restated, amended and restated, modified, or supplemented from time to time in accordance with
the terms thereof.

        51. “DIP Intercreditor Agreement” has the meaning assigned in the DIP/Cash Collateral Orders.

        52.      “DIP Put Option Premium” means the Pro Rata Share of a backstop premium that each of
the DIP Backstop Parties is entitled to receive in exchange for its agreement to backstop the New Money
DIP Term Loans, which shall equal five percent (5%) of the New Money DIP Term Loans paid in kind in
the form of New Money DIP Term Loans. The DIP Put Option Premium shall be earned on the date of
execution of the Transaction Support Agreement, but subject to the entry of the Interim DIP/Cash Collateral
Order, and thereafter constitute DIP Term Loan Claims.

       53.    “DIP Roll-Up Term Loan Claim” means any Claim arising under or related to the DIP
Roll-Up Term Loans.



                                                    6
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 486 of 569



      54.      “DIP Roll-Up Term Loans” means the refinanced, on a dollar-for-dollar basis, Prepetition
Term Loans in an original aggregate principal amount of $75 million under the DIP Credit Agreement.

         55.    “DIP Term Lenders” means the lenders holding the DIP Term Loans.

         56. “DIP Term Loan Agent” means either Acquiom Agency Services LLC as co-administrative
agent or Seaport Loan Products LLC, as co-administrative agent and Acquiom Agency Services LLC as
collateral agent under the DIP Term Loan Credit Agreement, and any successors, assignees, or delegees
thereof.

        57.    “DIP Term Loan Agent Advisors” means Paul Hastings LLP and such other professional
advisors as are retained by the DIP Term Loan Agent with the consent of the Debtors (not to be
unreasonably withheld).

        58.      “DIP Term Loan Claim” means any and all Claims on account of, arising from, arising
under, or related to the DIP Term Loan Facility, the DIP Term Loan Credit Agreement, or the DIP/Cash
Collateral Orders, including Claims for the aggregate outstanding principal amount of, plus unpaid interest
on, the DIP Term Loans, and all fees (including the DIP Put Option Premium and the DIP Commitment
Premium) and other expenses related thereto and arising and payable under the DIP Term Loan Facility,
including the DIP Roll-Up Term Loan Claims and the New Money DIP Term Loan Claims.

        59.     “DIP Term Loan Credit Agreement” means that certain Senior Secured Super-Priority
Priming Term Loan Debtor-in-Possession Credit Agreement in respect of the DIP Term Loan Facility, as
amended, restated, amended and restated, modified, or supplemented from time to time in accordance with
the terms thereof.

       60.      “DIP Term Loan Facility” means the senior secured debtor-in-possession credit facility
provided by the DIP Term Lenders under the DIP Term Loan Credit Agreement.

       61.      “DIP Term Loan Facility Documents” means the DIP/Cash Collateral Orders, the DIP
Term Loan Credit Agreement, and DIP Intercreditor Agreement together with all other related documents,
instruments, and agreements in respect of the DIP Term Loan Facility, in each case, as amended, restated,
amended and restated, modified, or supplemented from time to time in accordance with the terms thereof.

         62.    “DIP Term Loans” means the New Money DIP Term Loans and the DIP Roll-Up Term
Loans.

        63.      “DIP/Cash Collateral Motion” means the motion(s) seeking approval of the Debtors’ use
of Cash Collateral and requesting approval to obtain the DIP Facilities on terms substantially the same as
those set forth in the Transaction Support Agreement (including the term sheets attached thereto) and the
DIP Facilities Documents.

        64.    “DIP/Cash Collateral Orders” means, together, the Interim DIP/Cash Collateral Order and
Final DIP/Cash Collateral Order.

        65.     “Disclosure Statement” means the disclosure statement for this Plan, including all exhibits
and schedules thereto, as amended, supplemented, or modified from time to time in a manner acceptable to
the Debtors and Required Consenting Term Lenders, that is prepared and distributed in accordance with
sections 1125, 1126(b), and 1145 of the Bankruptcy Code, Bankruptcy Rule 3018, and other applicable
law.




                                                    7
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 487 of 569



        66.     “Disputed” means, with respect to any Claim or Interest, except as otherwise provided
herein, a Claim or Interest that is not yet Allowed, but has not yet been disallowed pursuant to this Plan,
the Bankruptcy Code, or a Final Order by the Bankruptcy Court or other court of competent jurisdiction.

       67.     “Distribution Agent” means the Reorganized Debtors or any party designated by the
Debtors or Reorganized Debtors to serve as distribution agent under this Plan.

         68.     “Distribution Record Date” means, other than with respect to publicly held securities, the
date for determining which Holders of Claims are eligible to receive distributions under this Plan on account
of Allowed Claims, which date shall be the Confirmation Date or such other date agreed to by the Debtors
and the Required DIP Term Lenders, subject to Article VIII.

        69.     “DTC” means the Depository Trust Company or any successor thereto.

        70.      “Effective Date” means the date on which all conditions specified in Article VIII.A have
been (a) satisfied or (b) waived pursuant to Article VIII.B. Any action to be taken on the Effective Date
may be taken on or as soon as reasonably practicable thereafter with the consent of the Debtors and the
Required Consenting Term Lenders.

        71.     “Entity” means an entity as defined in section 101(15) of the Bankruptcy Code.

       72.       “Estate” means, as to each Debtor, the estate created for such Debtor in its Chapter 11 Case
pursuant to section 541 of the Bankruptcy Code.

      73.      “Exchange Act” means the Securities Exchange Act of 1934, as now in effect or hereafter
amended, or any regulations promulgated thereunder.

        74.      “Exculpated Party” means, each in its capacity as such, (a) each Debtor, and (b) solely to
the extent they are Estate fiduciaries, each of the Debtors’ Related Parties.

        75.      “Executory Contract” means a contract to which one or more of the Debtors is a party that
is subject to assumption or rejection under sections 365 or 1123 of the Bankruptcy Code, other than an
Unexpired Lease.

        76.      “Existing Equity Interest” means any issued, unissued, authorized, or outstanding shares
or common stock, preferred shares, or other instrument evidencing an ownership interest in the Parent,
whether or not transferable, together with any warrants, equity-based awards, or contractual rights to
purchase or acquire such equity interests (including under any employment or benefits agreement) at any
time and all rights arising with respect thereto that existed immediately before the Effective Date. For the
avoidance of doubt, Existing Equity Interests include any equity interests issued to Parent’s current or
former employees and non-employee directors, various forms of long-term incentive compensation,
including stock options, stock appreciation rights, restricted stock, restricted stock units, performance
shares/units, incentive awards, cash awards, and other stock-based awards, in each case, whether vested or
unvested.

        77.      “Exit ABL Agent” means Eclipse Business Capital LLC, in its capacity as the agent under
the senior secured asset-based revolving credit facility under the Exit ABL Credit Agreement.

         78.     “Exit ABL Credit Agreement” means the credit agreement between Reorganized Parent or
its subsidiaries or Affiliates, as applicable, and the lenders party thereto to effectuate the issuance of the
Exit ABL Loans.



                                                      8
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 488 of 569



         79.     “Exit ABL Loans” means loans under the senior secured asset based revolving credit
facility under the Exit ABL Credit Agreement.

       80.       “Exit Facilities” means the facilities under which the Exit ABL Loans and Exit Term
Loans shall be issued.

        81.     “Exit Facilities Documents” means the DIP & Exit ABL Commitment Letter, Exit Term
Loan Documents, and Exit Intercreditor Agreement, together with all other related documents, instruments,
and agreements in respect of the Exit Facilities, in each case, as amended, restated, amended and restated,
modified, or supplemented from time to time in accordance with the terms thereof.

         82.     “Exit Facility Agent Advisors” means Paul Hastings LLP and such other professional
advisors as are retained by the Exit Facility Agents with the consent of the Debtors or Reorganized Debtors
(not to be unreasonably withheld).

        83.      “Exit Facility Agents” means the Exit ABL Agent and the Exit Term Loan Agent.

        84. “Exit Intercreditor Agreement” means the intercreditor agreement(s) to be effective as of the
Effective Date relating to the Exit Facilities, which may be the Prepetition Intercreditor Agreement or be
substantially similar to the Prepetition Intercreditor Agreement.

        85.      “Exit Term Lenders” means the lenders holding the Exit Term Loans.

        86.     “Exit Term Loan Agent” means Acquiom Agency Services LLC, in its capacity as
administrative agent and collateral agent under the Exit Term Loan Credit Agreement and any replacement
or successor agent thereto.

        87.      “Exit Term Loan Credit Agreement” means the credit agreement between Reorganized
Parent or its subsidiaries or Affiliates, as applicable, and the lenders party thereto to effectuate the issuance
of the Exit Term Loans.

         88.     “Exit Term Loan Documents” means the Exit Term Loan Credit Agreement and together
with all other related documents, instruments, and agreements in respect of the Exit Term Loans, in each
case, as amended, restated, modified, or supplemented from time to time.

        89.      “Exit Term Loans” means First-Out Exit Term Loans and Second-Out Exit Term Loans.

        90.      “File” or “Filed” or “Filing” means file, filed, or filing, respectively, with the Bankruptcy
Court or its authorized designee in the Chapter 11 Cases.

         91.      “Final DIP/Cash Collateral Order” means any order (and all exhibit and schedules
thereto, including any budget) entered by the Bankruptcy Court on a final basis: (a) approving the DIP
Facilities, the DIP Facilities Documents, and the DIP/Cash Collateral Motion; (b) authorizing the Debtors’
use of Cash Collateral; and (c) providing for adequate protection of secured creditors.

         92.      “Final Order” means an order entered by the Bankruptcy Court or other court of competent
jurisdiction: (a) that has not been reversed, stayed, modified, amended, or revoked, and as to which (i) any
right to appeal or seek leave to appeal, certiorari, review, reargument, stay, or rehearing has been waived
or (ii) the time to appeal or seek leave to appeal, certiorari, review, reargument, stay, or rehearing has
expired and no appeal, motion for leave to appeal, or petition for certiorari, review, reargument, stay, or
rehearing is pending or (b) as to which an appeal has been taken, a motion for leave to appeal, or petition
for certiorari, review, reargument, stay, or rehearing has been filed and (i) such appeal, motion for leave to


                                                       9
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 489 of 569



appeal or petition for certiorari, review, reargument, stay, or rehearing has been resolved by the highest
court to which the order or judgment was appealed or from which leave to appeal, certiorari, review,
reargument, stay, or rehearing was sought and (ii) the time to appeal (in the event leave is granted) further
or seek leave to appeal, certiorari, further review, reargument, stay, or rehearing has expired and no such
appeal, motion for leave to appeal, or petition for certiorari, further review, reargument, stay, or rehearing
is pending; provided, that the possibility that a motion under Rule 59 or Rule 60 of the Federal Rules of
Civil Procedure, or any analogous rule under the Bankruptcy Rules, may be filed with respect to such order
shall not preclude such order from being a Final Order.

        93.    “First Day Pleadings” means any petition, motion, application, or proposed order filed at
the commencement of the Chapter 11 Cases that the Debtors determine are necessary or desirable to file
with the Bankruptcy Court.

        94.     “First-Out Exit Term Loans” means term loans under the Exit Term Loan Credit
Agreement comprising converted New Money DIP Term Loans (inclusive of DIP Term Loans paid as part
of the DIP Put Option Premium and the DIP Commitment Premium).

        95. “Fronting Letter” means the fronting letter with the fronting bank regarding the seasoning or
syndication process.

        96.     “General Administrative Claim” means any Administrative Claim, other than a
Professional Fee Claim, a Claim for Restructuring Fees and Expenses (in accordance with the Transaction
Support Agreement or the DIP/Cash Collateral Orders, as applicable), a DIP Claim, or a Claim for fees and
charges assessed against the Estates under chapter 123 of title 28 United States Code, 28 U.S.C.
§§ 1911-1930.

         97.      “General Unsecured Claim” means any Unsecured Claim including (a) Claims arising
from the rejection of Unexpired Leases or Executory Contracts (if any) and (b) Claims arising from any
litigation or other court, administrative, or regulatory proceeding, including damages or judgments entered
against, or settlement amounts owing by a Debtor in connection therewith.

         98.     “Governance Term Sheet” means the term sheet setting forth the preliminary material
terms in respect of the corporate governance of Reorganized Parent to be included in the Plan Supplement,
including all exhibits and schedules thereto, as it may be altered, amended, modified, or supplemented from
time to time in accordance with the terms of the Transaction Support Agreement.

       99.    “Governmental Unit” means a governmental unit as defined in section 101(27) of the
Bankruptcy Code.

        100.    “Holder” means an Entity holding a Claim or Interest, as applicable.

       101.    “Impaired” means, with respect to any Claim or Interest, a Claim or Interest that is
“impaired” within the meaning of section 1124 of the Bankruptcy Code.

         102.     “Indemnification Provisions” means each of the Debtors’ indemnification provisions in
effect as of the Petition Date, whether in the Debtors’ memoranda and articles of association, bylaws,
certificates of incorporation, other formation documents, board resolutions, management or indemnification
agreements, employment contracts, or otherwise providing a basis for any obligation of a Debtor to
indemnify, defend, reimburse, or limit the liability of, or to advance fees and expenses to, any of the
Debtors’ current and former directors, officers, equity holders, managers, members, employees,




                                                     10
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 490 of 569



accountants, investment bankers, attorneys, and other professionals of the Debtors, and each of the
foregoing solely in their capacity as such.

        103.     “Insurance Contracts” means (a) any and all insurance policies issued at any time to, or
that otherwise may provide or may have provided coverage to, any of the Debtors, regardless of whether
the insurance policies were issued to a Debtor or to a Debtor’s prior Affiliates, subsidiaries, or parents or
otherwise, or to any of their predecessors, successors, or assigns; (b) any and all agreements, documents,
surety bonds, or other instruments relating thereto, including any and all agreements with a third party
administrator for claims handling, risk control or related services, any and all D&O Insurance Policies, and
any and all Workers’ Compensation Contracts; and (c) any and all collateral documents and security
agreements securing the Debtor’s obligations under the insurance policies, including, without limitation,
escrow accounts, deposit accounts, Cash Collateral, and letters of credit. For the avoidance of doubt,
Insurance Contracts include any insurance policies issued at any time to the Debtors’ prior Affiliates,
subsidiaries, and parents or otherwise, or to any of their predecessors, successors, or assigns, under which
Debtors had, have, or may have any rights solely to the extent of the Debtors’ rights thereunder.

       104.     “Insurer” means any company or other Entity that issued or entered into an Insurance
Contract (including any third-party administrator) and any respective predecessors and/or Affiliates thereof.

         105.    “Intercompany Claim” means a prepetition Claim held by a Debtor or Non-Debtor
Affiliate against a Debtor.

         106.    “Intercompany Interest” means any issued, unissued, authorized, or outstanding shares of
common stock, preferred stock, or other instrument evidencing an ownership interest in any Debtor other
than the Parent, whether or not transferable, together with any warrants, equity-based awards, or contractual
rights to purchase or acquire such equity interests at any time and all rights arising with respect thereto that
existed immediately before the Effective Date.

         107.    “Interests” means any equity security within the meaning of section 101(16) of the
Bankruptcy Code, including, collectively, the shares (or any class thereof), common stock, preferred stock,
limited liability company interests, membership interests, and any other equity, ownership, or profits
interests in any Debtor, and options, warrants, rights, stock appreciation rights, phantom units, incentives,
commitments, calls, redemption rights, repurchase rights, or other securities or arrangements to acquire or
subscribe for, or which are convertible into, or exercisable or exchangeable for, the shares (or any class
thereof) of, common stock, preferred stock, limited liability company interests, membership interests, or
any other equity, ownership, or profits interests in any Debtor or its Affiliates and subsidiaries (in each case
whether or not arising under or in connection with any employment agreement).

         108.     “Interim DIP/Cash Collateral Order” means any order (and all exhibit and schedules
thereto, including any budget) entered by the Bankruptcy Court on an interim basis: (a) approving the DIP
Facilities, the DIP Facilities Documents, and the DIP/Cash Collateral Motion; (b) authorizing the Debtors’
use of Cash Collateral; and (c) providing for adequate protection of secured creditors.

        109.    “Joinder” means a joinder to the Transaction Support Agreement, substantially in the form
attached as Exhibits C or D thereto, providing, among other things, that such Person signatory thereto is
bound by the terms of the Transaction Support Agreement to the extent provided therein.

        110.     “Lien” means a lien as defined in section 101(37) of the Bankruptcy Code.

        111.     “Local Rules” means the Bankruptcy Local Rules for the Southern District of Texas.




                                                      11
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 491 of 569



         112.     “Management Incentive Plan” means, the management incentive plan to be adopted by
the Reorganized Board on or around the Effective Date, which shall provide for the issuance of up to 10%
of the New Equity Interests to management, key employees, and/or directors of the Reorganized Debtors
of the fully diluted New Equity Interests.

         113.     “New Equity Interests” means the outstanding equity interests in Reorganized Parent to be
authorized, issued, or reserved on the Effective Date, which interests may be membership interests of a
limited liability company or common equity interests of a corporation.

     114.   “New Money DIP Term Loan Claim” means any Claim arising under or related to the
New Money DIP Term Loans.

       115.   “New Money DIP Term Loans” means new money loans in an original aggregate principal
amount of $40 million (plus all fees payable in kind) provided by the DIP Term Lenders under the DIP
Term Loan Credit Agreement.

        116.     “New Organizational Documents” means the new Organizational Documents of
Reorganized Parent and its direct or indirect subsidiaries, after giving effect to the Restructuring
Transactions, as applicable, including any shareholders agreement, limited liability company agreement, or
similar document.

       117.     “Non-Debtor Affiliates” means all of the Affiliates of the Debtors, other than the other
Debtors.

         118.    “Notice and Claims Agent” means Kurtzman Carson Consultants, LLC dba Verita Global,
in its capacity as noticing, claims, and solicitation agent for the Debtors, pursuant to an order of the
Bankruptcy Court.

         119.    “Organizational Documents” means, with respect to any Person other than a natural
person, the organizational and governance documents for each such Person, including, without limitation,
certificates of incorporation, certificates of formation, certificates of limited partnership, articles of
organization (or equivalent organizational documents), certificates of designation for preferred stock or
other forms of preferred equity, by-laws, partnership agreements, operating agreements, limited liability
company agreements, shareholders’ agreements, members’ agreement, or equivalent governing documents.

        120.    “Other Priority Claim” means any Allowed Claim accorded priority in right of payment
under section 507(a) of the Bankruptcy Code, other than: (a) Administrative Claims or (b) Priority Tax
Claims.

        121.   “Other Secured Claim” means any Allowed Secured Claim other than the DIP ABL Loan
Claims, DIP Term Loan Claims, Prepetition ABL Claims and Prepetition Term Loan Claims.

        122.    “Parent” means The Container Store Group, Inc., a Delaware corporation with a mailing
address of 500 Freeport Parkway, Coppell, TX 75019.

        123.    “Person” means a person as defined in section 101(41) of the Bankruptcy Code.

         124.    “Petition Date” means the date on which the Debtors file their voluntary chapter 11
petitions, which is expected to occur on or about December 22, 2024.




                                                    12
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 492 of 569



        125.     “Plan” means this prepackaged joint plan of reorganization under chapter 11 of the
Bankruptcy Code, as it may be altered, amended, modified, or supplemented from time to time in
accordance with the terms of the Transaction Support Agreement, the Bankruptcy Code, the Bankruptcy
Rules, or the terms hereof, as the case may be, and the Plan Supplement, which is incorporated herein by
reference, including all exhibits and schedules hereto and thereto.

        126.     “Plan Supplement” means one or more supplemental appendices to this Plan, which shall
include, among other things, draft forms of documents (or terms sheets thereof), schedules, and exhibits to
this Plan, in each case subject to the provisions of the Transaction Support Agreement, the Transaction
Term Sheet, or the DIP & Exit ABL Commitment Letter, as applicable, and as may be amended, modified,
or supplemented from time to time on or before the Effective Date, including the following documents: (a)
the New Organizational Documents, (b) the Exit Facilities Documents, (c) to the extent known and
determined, a document disclosing the identity of the members of the Reorganized Board, (d) the Rejected
Executory Contract/Unexpired Lease List, (e) a schedule of retained Causes of Action, (f) the Governance
Term Sheet; (g) the Restructuring Transaction Steps Memorandum; and (h) such other documents as may
be specified in this Plan.

        127.    “Plan Supplement Filing Date” means the date on which the Plan Supplement is Filed
with the Bankruptcy Court, which shall be at least five (5) Business Days before the deadline to File
objections to Confirmation.

         128.  “Prepetition ABL Claims” means any and all Claims arising under, derived from, or based
upon the Prepetition ABL Facility including, without limitation, all Obligations (as defined in the
Prepetition ABL Credit Agreement).

         129.   “Prepetition ABL Credit Agreement” means that certain Credit Agreement, dated as of
April 6, 2012, as amended by that certain Amendment No. 1, dated as of April 8, 2013, that certain
Amendment No. 2, dated as of October 8, 2015, that certain Amendment No. 3, dated as of May 20, 2016,
that certain Amendment No. 4, dated as of August 18, 2017, that certain Amendment No. 5, dated as of
November 25, 2020, and that certain Amendment No. 6, dated as of May 22, 2023 (as may be further
amended, restated, amended and restated, modified, or supplemented from time to time in accordance with
the terms thereof).

        130.    “Prepetition ABL Facility” means the senior secured asset based revolving credit facility
under the Prepetition ABL Credit Agreement.

        131.    “Prepetition ABL Facility Agent” means JPMorgan Chase Bank, N.A., in its capacity as
administrative agent and collateral agent under the Prepetition ABL Facility, and any replacement or
successor agent thereto.

         132.    “Prepetition ABL Facility Agent Advisors” means Simpson Thacher & Bartlett LLP, as
legal counsel, Berkeley Research Group, LLC, as financial advisor, and such other professional advisors as
are retained by the Prepetition ABL Facility Agent or the Exit ABL Agent with the consent of the Debtors
(not to be unreasonably withheld).

         133.     “Prepetition ABL Facility Documents” means the Prepetition ABL Credit Agreement
together with all other related documents, instruments, and agreements in respect of the Prepetition ABL
Facility, in each case, as amended, restated, amended and restated, modified, or supplemented from time to
time in accordance with the terms thereof.




                                                    13
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 493 of 569



        134.    “Prepetition ABL Lenders” means Holders of, or nominees, investment managers,
investment advisors, or subadvisors to funds and/or accounts that hold, or trustees of trusts that hold, the
outstanding Prepetition ABL Claims.

         135.    “Prepetition ABL Loans” means the loans under the Prepetition ABL Facility, consisting
of all Claims and obligations arising under or related to the $100 million Prepetition ABL Facility, including
(i) an aggregate principal amount of approximately $80 million of borrowings outstanding thereunder and
(ii) approximately $20 million of undrawn revolving commitments (including $7.533 million in issued and
outstanding letters of credit) plus, in each case, any accrued but unpaid fees and interest in respect thereof.

      136.       “Prepetition Agents” means the Prepetition ABL Facility Agent and the Prepetition Term
Loan Agent.

         137.    “Prepetition Intercreditor Agreement” means that certain Intercreditor Agreement, dated
as of April 6, 2012, as amended by that certain Amendment No. 1, dated as of April 8, 2013, relating to the
Prepetition Term Loans, the Prepetition ABL Facility, as amended, restated, modified, or supplemented
from time to time.

       138.     “Prepetition Term Loan Agent” means JPMorgan Chase Bank, N.A., in its capacity as
administrative agent and collateral agent under the Prepetition Term Loan Credit Agreement and any
replacement or successor agent thereto.

        139.    “Prepetition Term Loan Agent Advisors” means Simpson Thacher & Bartlett LLP and
such other professional advisors as are retained by the Prepetition Term Loan Agent with the consent of the
Debtors (not to be unreasonably withheld).

      140.    “Prepetition Term Loan Claims” means Claims arising under or related to the Prepetition
Term Loan Credit Agreement.

        141.     “Prepetition Term Loan Credit Agreement” means that certain Credit Agreement, dated
as of April 6, 2012, as amended by that certain Amendment No. 1 dated as of April 8, 2013, that certain
Amendment No. 2 dated as of November 27, 2013, that certain Amendment No. 3 dated as of May 20,
2016, that certain Amendment No. 4 dated as of August 18, 2017, that certain Amendment No. 5 dated as
of September 14, 2018, that certain Amendment No. 6 dated as of October 8, 2018, that certain Amendment
No. 7 dated as of November 25, 2020, that certain Amendment No. 8 dated as of June 14, 2023, and that
certain Amendment No. 9 dated as of October 8, 2024, as may be amended and restated, modified, or
supplemented from time to time in accordance with the terms thereof.

        142.     “Prepetition Term Loan Documents” means the Prepetition Term Loan Credit Agreement
together with all other related documents, instruments, and agreements in respect of the Prepetition Term
Loans, in each case, as amended, restated, amended and restated, modified, or supplemented from time to
time in accordance with the terms thereof.

         143.    “Prepetition Term Loans” means the senior secured first-lien term loans issued pursuant
to the Prepetition Term Loan Credit Agreement.

        144.    “Priority Tax Claim” means any Claim of a Governmental Unit of the kind specified in
section 507(a)(8) of the Bankruptcy Code.




                                                      14
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 494 of 569



         145.    “Pro Rata Share” means, with respect to any distribution on account of an Allowed Claim,
a distribution equal in amount to the ratio (expressed as a percentage) that the amount of such Allowed
Claim bears to the aggregate amount of all Allowed Claims in its Class.

        146.     “Professional Fee Claim” means a Claim by a Retained Professional seeking an award by
the Bankruptcy Court of compensation for services rendered or reimbursement of expenses incurred
through and including the Effective Date under sections 328, 330, 331, 503(b)(2), 503(b)(3), 503(b)(4), or
503(b)(5) of the Bankruptcy Code (subject to any applicable agreements by such Retained Professional
with respect thereto).

        147.   “Professional Fee Escrow Account” means a segregated interest-bearing account funded
by the Debtors with Cash no later than two (2) Business Days before the anticipated Effective Date in an
amount equal to the Professional Fee Escrow Amount.

        148.    “Professional Fee Escrow Amount” means the aggregate amount of Professional Fee
Claims and other unpaid fees and expenses the Retained Professionals have incurred or shall incur in
rendering services in connection with the Chapter 11 Cases before and as of the Effective Date, which shall
be estimated pursuant to the method set forth in Article II.A.2.

        149.     “Proof of Claim” means a proof of Claim Filed against any Debtor in the Chapter 11 Cases.

         150.    “Reinstatement” means, with respect to Claims and Interests, that the Claim or Interest
shall be rendered Unimpaired in accordance with section 1124 of the Bankruptcy Code. “Reinstated” shall
have a correlative meaning.

        151.    “Rejected Executory Contract/Unexpired Lease List” means the list of Executory
Contracts and/or Unexpired Leases (including any amendments or modifications thereto), if any, that shall
be rejected pursuant to this Plan, which shall be filed with the Plan Supplement.

        152.    “Rejection Damages Claim” means a Claim arising from the rejection of an Executory
Contract or Unexpired Lease for which the Holder is required to file a Proof of Claim pursuant to Article
V of this Plan.

        153.     “Related Parties” means, with respect to an Entity, each of, and in each case in its capacity
as such, such Entity’s current and former Affiliates, and such Entity’s and such Affiliates’ current and
former members, directors, managers, officers, proxyholders, control persons, investment committee
members, special committee members, members of any governing body, equity holders (regardless of
whether such interests are held directly or indirectly), affiliated investment funds or investment vehicles,
managed accounts or funds (including any beneficial holders for the account of whom such funds are
managed), predecessors, participants, successors, assigns, subsidiaries, Affiliates, partners, limited partners,
general partners, principals, members, management companies, fund advisors or managers, employees,
agents, trustees, advisory board members, financial advisors, attorneys (including any other attorneys or
professionals retained by any current or former director or manager in his or her capacity as director or
manager of an Entity), accountants, investment bankers, consultants, Representatives, investment
managers, and other professionals and advisors, each in their capacity as such, and any such Person’s or
Entity’s respective heirs, executors, estates, and nominees.

        154.   “Release Opt-Out Form” means the form to be provided to certain Holders of Claims
through which such Holders may elect to affirmatively opt out of the Third-Party Release.




                                                      15
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 495 of 569



        155.     “Released Party” means, collectively, each of, and in each case in its capacity as such:
(a) each Debtor; (b) each Reorganized Debtor; (c) each Non-Debtor Affiliate; (d) each of the Debtors’ and
Non-Debtor Affiliates’ current and former directors, officers, and proxyholders; (e) each Consenting
Stakeholder; (f) each Prepetition Agent; (g) each DIP Agent; (h) each DIP Term Lender; (i) the DIP ABL
Lender; (j) each Exit Facility Agent; (k) each lender under the Exit Facilities; (l) each Releasing Party; and
(m) each Related Party of each Entity in clauses (a) through (l); provided, that, in each case, an Entity shall
not be a Released Party if it (a) elects to opt out of the Third-Party Release as provided on its respective
Release Opt-Out Form, (b) timely Files with the Bankruptcy Court on the docket of the Chapter 11 Cases
an objection to the Third-Party Release that is not withdrawn or resolved before Confirmation or (c)
provides to the Debtors by electronic mail an informal objection and such objection is not withdrawn or
resolved before Confirmation; provided, further, that, for the avoidance of doubt, any opt-out election made
by a Consenting Stakeholder shall be void ab initio.

         156.    “Releases” means, collectively, the Debtor Release and the Third-Party Release as set forth
in Article IX.

        157.     “Releasing Parties” means, collectively, each of, and in each case in its capacity as such:
(a) each Non-Debtor Affiliate; (b) each of the Debtors’ and Non-Debtor Affiliates’ current and former
directors, officers, and proxyholders; (c) each Consenting Stakeholder; (d) each Prepetition Agents; (e)
each DIP Agent; (f) each DIP Term Lender; (g) the DIP ABL Lender; (h) each Exit Facility Agent; (i) each
lender under the Exit Facilities; (j) each Holder of a Claim or Interest in a Class (other than Holders of
Rejection Damages Claims) that does not affirmatively elect to opt out of the Releases contained in this
Plan or that does not (i) timely file with the Bankruptcy Court on the docket of the Chapter 11 Cases an
objection to the Third-Party Release that is not withdrawn or resolved before Confirmation or (ii) provide
to the Debtors by electronic mail an informal objection and such objection is not withdrawn or resolved
before Confirmation; and (k) each Related Party of each Entity in clauses (a) through (j); provided, that, for
the avoidance of doubt, any opt-out election made by a Consenting Stakeholder shall be void ab initio.

       158.    “Reorganized Board” means the initial board of directors or similar governing body of the
Reorganized Parent appointed in accordance with the terms of the New Organizational Documents.

         159.    “Reorganized Debtors” means, on or after the Effective Date, the Debtors, as reorganized
pursuant to and under this Plan, or any successor thereto, after giving effect to the transactions implementing
this Plan.

         160.     “Reorganized Parent” means, on or after the Effective Date, The Container Store Group,
Inc. or any other Entity designated as such that will, directly or indirectly, own 100% of the New Equity
Interests in, or substantially all of the assets of, The Container Store Group, Inc. upon consummation of the
Restructuring Transactions, as mutually agreed by the Debtors and the Required Consenting Lenders.

         161.     “Representatives” means, with respect to any Person, such Person’s Affiliates and its and
their directors, officers, members, partners, managers, employees, agents, investment bankers, attorneys,
accountants, advisors, investment advisors, investors, managed accounts or funds, management companies,
fund advisors, advisory board members, professionals, and other representatives, in each case, solely in
their capacities as such.

       162.   “Required Consenting Lenders” means the Required Consenting Term Lenders and the
Required DIP Term Lenders.




                                                      16
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 496 of 569



         163.  “Required Consenting Term Lenders” means, as of any time, Consenting Term Lenders
that are members of the Ad Hoc Group holding at least 66 2/3% of the Prepetition Term Loan Claims that
are held by Consenting Term Lenders that are members of the Ad Hoc Group at such time.

         164.   “Required DIP Term Lenders” means, as of any time, DIP Term Lenders holding at least
fifty and one hundredth percent (50.01%) of the aggregate outstanding principal amount and commitments
of the DIP Term Loan Facility at such time.

         165.     “Restructuring Fees and Expenses” means all reasonable and documented fees and
expenses of the (a) Agents; (b) Prepetition Term Loan Agent Advisors; (c) DIP Term Loan Agent Advisors;
(d) Exit Facility Agent Advisors; and (e) Ad Hoc Group Advisors in each case, payable in accordance with
the terms hereof, the applicable engagement and/or fee letters with the Debtors, the Transaction Support
Agreement, the DIP Facilities Documents, the Prepetition Term Loan Documents, the DIP & Exit ABL
Commitment Letter, and the Interim DIP/Cash Collateral Order, as applicable, and subject to any order of
the Bankruptcy Court and any other applicable agreements by such party with respect thereto.

       166.     “Restructuring Transaction Steps Memorandum” means the document setting forth the
sequence of certain Restructuring Transactions.

        167.     “Restructuring Transactions” means the transactions described in Article IV.B.

        168.   “Retained Professional” means an Entity: (a) employed in the Chapter 11 Cases pursuant
to a Final Order in accordance with sections 327 and/or 1103 of the Bankruptcy Code and to be
compensated for services rendered before the Effective Date, pursuant to sections 327, 328, 329, 330, or
331 of the Bankruptcy Code; or (b) for which compensation and reimbursement has been allowed by the
Bankruptcy Court pursuant to sections 503(b)(2), 503(b)(3), 503(b)(4), or 503(b)(5) of the Bankruptcy
Code.

        169.     “SEC” means the United States Securities and Exchange Commission.

      170.   “Second-Out Exit Term Loans” means term loans under the Exit Term Loan Credit
Agreement comprising converted DIP Roll-Up Term Loans.

         171.    “Secured Claim” means a Claim: (a) secured by a Lien on property in which the Estate has
an interest, which Lien is valid, perfected, and enforceable pursuant to applicable law or by reason of a
Bankruptcy Court order, or that is subject to setoff pursuant to section 553 of the Bankruptcy Code, to the
extent of the value of the creditor’s interest in the Estate’s interest in such property or to the extent of the
amount subject to setoff, as applicable, as determined pursuant to section 506(a) of the Bankruptcy Code
or (b) otherwise Allowed pursuant to this Plan or order of the Bankruptcy Court as a Secured Claim.

        172.    “Securities” means any instruments that qualify as a “security” under Section 2(a)(1) of
the Securities Act.

        173.    “Securities Act” means the Securities Act of 1933, as now in effect or hereafter amended,
or any regulations promulgated thereunder.

       174.     “Solicitation Materials” means any documents, forms, ballots, notices, and other materials
provided in connection with the solicitation of votes on this Plan pursuant to sections 1125 and 1126 of the
Bankruptcy Code.




                                                      17
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 497 of 569



         175.     “Solicitation Procedures Motion” means the Emergency Motion of Debtors for Entry of
Order (I) Scheduling Combined Hearing to Consider (A) Final Approval of Disclosure Statement,
(B) Approval of Solicitation Procedures and Form of Ballot, and (C) Confirmation of Plan;
(II) Establishing an Objection Deadline to Object to Disclosure Statement and Plan; (III) Approving the
Form and Manner of Notice of Combined Hearing, Objection Deadline, and Notice of Commencement;
(IV) Approving Notice and Objection Procedures for the Assumption or Rejection of Executory Contracts
and Unexpired Leases; (V) Conditionally Waiving Requirement of Filing Schedules of Assets and
Liabilities, Statements of Financial Affairs, and 2015.3 Reports; (VI) Conditionally Waiving Requirement
to Convene the Section 341 Meeting of Creditors; (VII) Conditionally Approving the Disclosure Statement
and (VIII) Granting Related Relief to be filed on the Petition Date.

         176.    “Solicitation Procedures Order” means an order of the Bankruptcy Court granting the
relief requested in the Solicitation Procedures Motion.

         177.     “Subordinated Claim” means any Claim against the Debtors that is subject to
subordination under section 509(c), section 510(b), or section 510(c) of the Bankruptcy Code, including
any Claim for reimbursement, indemnification, or contribution (except indemnification or reimbursement
Claims assumed hereunder). For the avoidance of doubt, Subordinated Claim includes any Claim arising
out of or related to any agreement for the purchase or sale of securities of the Debtors or any of its Affiliates
or any agreements related or ancillary to such agreement for the purchase or sale of securities of the Debtors
or any of its Affiliates.

         178.    “Third-Party Release” means the releases given by the Releasing Parties to the Released
Parties in Article IX.C.

        179.     “Transaction Support Agreement” means that certain Transaction Support Agreement
entered into on December 21, 2024, among the Debtors, Consenting Stockholders and the Consenting Term
Lenders and any exhibits, schedules, attachments, or appendices thereto (in each case, as such may be
amended, modified, or supplemented in accordance with its terms).

       180.   “Transaction Term Sheet” means the term sheet attached as Exhibit B to the Transaction
Support Agreement, together with the exhibits and appendices annexed thereto.

         181.    “Transfer Agreement” means the transfer agreement, substantially in the form attached as
Exhibit D to the Transaction Support Agreement, providing, among other things, that a transferee is bound
by the terms of the Transaction Support Agreement.

         182.   “Unexpired Lease” means a lease to which one or more of the Debtors is a party that is
subject to assumption or rejection under section 365 or 1123 of the Bankruptcy Code.

       183.    “Unimpaired” means, with respect to a Claim, Interest, or Class of Claims or Interests, not
“impaired” within the meaning of sections 1123(a)(4) and 1124 of the Bankruptcy Code.

        184.     “United States” means the United States of America, its agencies, departments, or agents.

         185.    “United States Trustee” means the Office of the United States Trustee for the Southern
District of Texas.

        186.     “United States Trustee Statutory Fees” means all fees due under 28 U.S.C § 1930(a)(6).




                                                       18
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 498 of 569



        187.    “Unsecured Claim” means a Claim that is not secured by a Lien on property in which one
of the Debtors’ Estates has an interest.

        188.     “Voting Class” means Class 3 (Prepetition Term Loan Claims).

       189.    “Workers’ Compensation Contracts” means the Debtors’ written contracts, agreements,
agreements of indemnity, self-insured workers’ compensation bonds, policies, programs, and plans for
workers’ compensation and workers’ compensation Insurance Contracts.

B.      Rules of Interpretation

         1.       For purposes herein: (a) in the appropriate context, each term, whether stated in the singular
or the plural, shall include both the singular and the plural, and pronouns stated in the masculine, feminine,
or neuter gender shall include the masculine, feminine, and the neuter gender; (b) unless otherwise
specified, any reference herein to a contract, instrument, release, indenture, or other agreement or document
being in a particular form or on particular terms and conditions means that the referenced document shall
be substantially in that form or substantially on those terms and conditions; (c) unless otherwise specified,
any reference herein to an existing document, schedule, or exhibit, whether or not Filed, having been Filed,
or to be Filed shall mean that document, schedule, or exhibit, as it may thereafter be amended, modified, or
supplemented; (d) any reference to any Entity as a Holder of a Claim or Interest includes that Entity’s
successors and assigns; (e) unless otherwise specified, all references herein to “Articles” are references to
Articles of this Plan; (f) unless otherwise specified, the words “herein,” “hereof,” and “hereto” refer to this
Plan in its entirety rather than to a particular portion of this Plan; (g) subject to the provisions of any
contract, certificate of incorporation, by-law, instrument, release, or other agreement or document created
or entered into in connection with this Plan, the rights and obligations arising pursuant to this Plan shall be
governed by, and construed and enforced in accordance with, applicable federal law, including the
Bankruptcy Code and Bankruptcy Rules; (h) unless otherwise specified, the words “include” and
“including,” and variations thereof, shall not be deemed to be terms of limitation, and shall be deemed to
be followed by the words “without limitation”; (i) references to “shareholders,” “directors,” and/or
“officers” shall also include “members” and/or “managers,” as applicable, as such terms are defined under
the applicable state limited liability company laws; (j) any reference to directors or board of directors
includes managers, managing members or any similar governing body, as the context requires, and
references to “shareholders,” “directors,” and/or “officers” shall also include “members” and/or
“managers,” as applicable, as such terms are defined under the applicable limited liability company Laws;
(k) references to “Proofs of Claim,” “Holders of Claims,” “Disputed Claims,” and the like shall include
“Proofs of Interests,” “Holders of Interests,” “Disputed Interests,” and the like, as applicable; (l) captions
and headings to Articles and subdivisions thereof are inserted for convenience of reference only and are not
intended to be a part of or to affect the interpretation hereof; (m) unless otherwise specified, the rules of
construction set forth in section 102 of the Bankruptcy Code shall apply; (n) any term used in capitalized
form herein that is not otherwise defined but that is used in the Bankruptcy Code or the Bankruptcy Rules
shall have the meaning assigned to that term in the Bankruptcy Code or the Bankruptcy Rules, as the case
may be; (o) unless otherwise specified, all references to statutes, regulations, orders, rules of courts, and
the like shall mean as in effect on the Effective Date and as applicable to the Chapter 11 Cases; (p) any
effectuating provisions may be interpreted by the Reorganized Debtors in such a manner that is consistent
with the overall purpose and intent of this Plan all without further notice to or action, order, or approval of
the Bankruptcy Court or any other Entity, and such interpretation shall control; (q) references to docket
numbers are references to the docket numbers of documents Filed in the Chapter 11 Cases under the
Bankruptcy Court’s CM/ECF system; and (r) all references herein to consent, acceptance, or approval may
be conveyed by counsel for the respective parties that have such consent, acceptance, or approval rights,
including by electronic mail.



                                                      19
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 499 of 569



        2.       Unless otherwise specifically stated herein, the provisions of Bankruptcy Rule 9006(a)
shall apply in computing any period of time prescribed or allowed herein. If the date on which a transaction
may occur pursuant to this Plan shall occur on a day that is not a Business Day, then such transaction shall
instead occur on the next succeeding Business Day. Unless otherwise specified herein, any references to
the “Effective Date” shall mean the Effective Date or as soon as reasonably practicable thereafter.

        3.     All references in this Plan to monetary figures refer to currency of the United States, unless
otherwise expressly provided.

         4.      Except as otherwise specifically provided in this Plan to the contrary, references in this
Plan to the “Debtors” or to the “Reorganized Debtors” mean the Debtors and the Reorganized Debtors, as
applicable, to the extent the context requires.

C.      Consent Rights

        Notwithstanding anything to the contrary in this Plan, the Combined Order, or the Disclosure
Statement, any and all consent, consultation, and approval rights set forth in the Transaction Support
Agreement and the DIP & Exit ABL Commitment Letter, including rights and limitations with respect to
the form and substance of any Definitive Document (including any amendments, restatements,
supplements, or other modifications to such documents, and any consents, waivers, or other deviations
under or from any such documents) shall be incorporated herein by this reference (including to the
applicable definitions in Article I.A) and fully enforceable as if stated in full herein. In case of a conflict
with respect to consent, consultation, or approval rights between the Transaction Support Agreement or a
Plan Document, on the one hand, and the Plan, on the other hand, the former shall control and govern.

D.      Appendices and Plan Supplement

        The Plan Supplement and appendices to this Plan are incorporated into this Plan by reference and
are a part of this Plan as if set forth in full herein. The documents contained in the exhibits and Plan
Supplement shall be approved by the Bankruptcy Court pursuant to the Combined Order.

E.      Deemed Acts

        Whenever an act or event is expressed under this Plan to have been deemed done or to have
occurred, it shall be deemed to have been done or to have occurred by virtue of this Plan and/or Combined
Order without any further act by any party.

                                 Article II.
         ADMINISTRATIVE CLAIMS, DIP CLAIMS, PRIORITY TAX CLAIMS,
     OTHER PRIORITY CLAIMS, AND UNITED STATES TRUSTEE STATUTORY FEES

        In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Claims, DIP
Claims, Priority Tax Claims, and Other Priority Claims have not been classified and thus are excluded from
the Classes of Claims and Interests set forth in Article III.

         A Claim or Interest is placed in a particular Class only to the extent that such Claim or Interest falls
within the description of that Class and is classified in other Classes to the extent that any portion of the
Claim or Interest falls within the description of such other Classes. To the extent applicable, a Claim or
Interest is placed in a particular Class for all purposes, including voting, Confirmation and distribution
under this Plan and under sections 1122 and 1123(a)(1) of the Bankruptcy Code. However, a Claim or
Interest is placed in a particular Class for the purpose of receiving distributions (if any) under this Plan only




                                                       20
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 500 of 569



to the extent that such Claim or Interest is an Allowed Claim or Allowed Interest and has not been paid,
released or otherwise settled prior to the Effective Date.

A.      Administrative Claims

        1.       General Administrative Claims

        Subject to the terms of the Transaction Support Agreement, the Combined Order, and the
provisions of sections 328, 330(a), and 331 of the Bankruptcy Code, except to the extent that a Holder of
an Allowed General Administrative Claim and the applicable Debtor(s) or Reorganized Debtor(s), as
applicable, agree to less favorable treatment with respect to such Allowed General Administrative Claim,
each Holder of an Allowed General Administrative Claim shall receive, in full and final satisfaction of its
General Administrative Claim, an amount in Cash equal to the unpaid amount of such Allowed General
Administrative Claim in accordance with the following: (a) if such General Administrative Claim is
Allowed on or before the Effective Date, on the Effective Date or as soon as reasonably practicable
thereafter or, if not then due, when such Allowed General Administrative Claim is due or as soon as
reasonably practicable thereafter; (b) if such General Administrative Claim is Allowed after the Effective
Date, on the date such General Administrative Claim is Allowed or as soon as reasonably practicable
thereafter or, if not then due, when such Allowed General Administrative Claim is due or as soon as
reasonably practicable thereafter; (c) at such time and upon such terms as may be agreed upon by such
Holder and the Debtors or the Reorganized Debtors, as the case may be; or (d) at such time and upon such
terms as set forth in an order of the Bankruptcy Court; provided, that Allowed General Administrative
Claims that arise in the ordinary course of the Debtors’ businesses during the Chapter 11 Cases shall be
paid by such applicable Debtor or Reorganized Debtor in full in Cash in the ordinary course of business in
accordance with the terms and conditions of any controlling agreements, course of dealing, course of
business, or industry practice without further notice to or order of the Bankruptcy Court. Nothing in the
foregoing or otherwise in this Plan shall prejudice the Debtors’ or the Reorganized Debtors’ rights and
defenses regarding any asserted General Administrative Claim.

        2.       Professional Fee Claims

                 a.      Professional Fee Applications

         All final requests for payment of Professional Fee Claims for services rendered and reimbursement
of expenses incurred before the Effective Date must be Filed no later than thirty (30) days after the Effective
Date. The Bankruptcy Court shall determine the Allowed amounts of such Professional Fee Claims after
notice and a hearing in accordance with the procedures established by the Bankruptcy Code, the Bankruptcy
Rules, and prior Bankruptcy Court orders. Subject to any applicable agreements by the Retained
Professionals with respect to Professional Fee Claims, the Reorganized Debtors shall pay Professional Fee
Claims owing to the Retained Professionals in Cash in the amount the Bankruptcy Court Allows from funds
held in the Professional Fee Escrow Account, as soon as reasonably practicable after such Professional Fee
Claims are Allowed by entry of an order of the Bankruptcy Court; provided, that the Debtors’ and the
Reorganized Debtors’ obligations to pay Allowed Professional Fee Claims shall not be limited or deemed
limited to funds held in the Professional Fee Escrow Account. To the extent that funds held in the
Professional Fee Escrow Account are insufficient to satisfy the Allowed amount of Professional Fee Claims
owing to the Retained Professionals, the Reorganized Debtors shall pay such amounts within ten (10)
Business Days of entry of the order approving such Professional Fee Claims.

                 b.      Professional Fee Escrow Account

         No later than the anticipated Effective Date, the Debtors or the Reorganized Debtors, as applicable,
shall fund the Professional Fee Escrow Account with Cash equal to the Professional Fee Escrow Amount.



                                                      21
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 501 of 569



The Professional Fee Escrow Account shall be maintained in trust solely for the Retained Professionals and
for no other Entities until all Professional Fee Claims Allowed by the Bankruptcy Court have been
irrevocably paid in full in Cash pursuant to one or more Final Orders of the Bankruptcy Court. No Liens,
Claims, or Interests shall encumber the Professional Fee Escrow Account or Cash held in the Professional
Fee Escrow Account in any way. No funds held in the Professional Fee Escrow Account shall be property
of the Estates of the Debtors or the Reorganized Debtors. When all Professional Fee Claims Allowed by
the Bankruptcy Court have been irrevocably paid in full in Cash pursuant to one or more Final Orders of
the Bankruptcy Court, any remaining funds held in the Professional Fee Escrow Account shall be remitted
to the Reorganized Debtors without any further notice to or action, order, or approval of the Bankruptcy
Court or any other Entity being required.

                 c.       Professional Fee Escrow Amount

         No later than five (5) days before the anticipated Effective Date, each Retained Professional shall
deliver to the Debtors a reasonable and good-faith estimate of their unpaid fees and expenses incurred in
rendering services to the Debtors before and as of the Effective Date projected to be outstanding as of the
anticipated Effective Date. For the avoidance of doubt, no such estimate shall be considered or deemed an
admission or limitation with respect to the amount of the fees and expenses that are the subject of a Retained
Professional’s final request for payment of Professional Fee Claims Filed with the Bankruptcy Court, and
such Retained Professionals are not bound to any extent by the estimates. If a Retained Professional does
not provide an estimate, the Debtors may estimate the unpaid and unbilled fees and expenses of such
Retained Professional. The total aggregate amount so estimated to be outstanding as of the anticipated
Effective Date shall be utilized by the Debtors to determine the amount to be funded to the Professional
Fee Escrow Account; provided, that the Reorganized Debtors shall use Cash on hand to increase the amount
of the Professional Fee Escrow Account to the extent fee applications are Filed after the Effective Date in
excess of the amount held in the Professional Fee Escrow Account based on such estimates.

        For the avoidance of doubt, the terms of this Article II.A.2.c shall not apply to the parties entitled
to receive the Restructuring Fees and Expenses, which are authorized to be paid in accordance with the
Combined Order, this Plan, engagement and/or fee letters with the Debtors, the Transaction Support
Agreement, the DIP Facilities Documents, and the DIP & Exit ABL Commitment Letter (as applicable).

B.      DIP Claims

        Except to the extent that a Holder of an Allowed DIP Term Loan Claim and the Debtors have
agreed in writing to a less favorable treatment, in exchange for full and final satisfaction, settlement, release,
and the discharge of each DIP Term Loan Claim, each Holder of a DIP Term Loan Claim shall receive, on
the Effective Date and on account of such DIP Term Loan Claim, its: (a) pro rata share, based on such
Holder’s ratable share of the First-Out DIP Term Loans (as defined in the DIP/Cash Collateral Orders), of
64% of the New Equity Interests on account of the DIP Equity Premium (subject to dilution on account of
the MIP), and (b) Pro Rata Share of the Exit Term Loans. All Holders of DIP Term Loan Claims have
consented to their treatment under this Plan pursuant to the terms of the Transaction Support Agreement
and the applicable DIP Facilities Documents.

         Except to the extent that a Holder of an Allowed DIP ABL Loan Claim and the Debtors have agreed
in writing to a less favorable treatment, in exchange for full and final satisfaction, settlement, release, and
the discharge of each DIP ABL Loan Claim, each Holder of a DIP ABL Loan Claim (a) shall receive on
the Effective Date and on account of such DIP ABL Loan Claim, its Pro Rata Share of the Exit ABL Loans
or (b) shall receive, in full and final satisfaction, settlement, release and discharge of, and in exchange for
such DIP ABL Loan Claims, payment in full in Cash as part of a refinancing in full on terms acceptable to
the Company Parties and the Required Consenting Term Lenders. All Holders of DIP ABL Loan Claims



                                                       22
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 502 of 569



have consented to their treatment under this Plan pursuant to the terms of the Transaction Support
Agreement and the applicable DIP Facilities Documents.

C.      Priority Tax Claims

         Except to the extent that a Holder of an Allowed Priority Tax Claim and the Debtor(s) against
which such Allowed Priority Tax Claim is asserted (i) agree to a less favorable treatment, or (ii) has already
been paid during the Chapter 11 Cases on account of such Priority Tax Claim, in exchange for full and final
satisfaction, settlement, release, and discharge of and in exchange for each Allowed Priority Tax Claim,
each Holder of such Allowed Priority Tax Claim shall be treated in accordance with the terms set forth in
section 1129(a)(9)(C) of the Bankruptcy Code. Nothing in the foregoing or otherwise in this Plan shall
prejudice the Debtors’ or the Reorganized Debtors’ rights and defenses regarding any asserted Priority Tax
Claim.

D.      Other Priority Claims

         Except to the extent that a Holder of an Allowed Other Priority Claim and the Debtor(s) against
which such Allowed Other Priority Claim is asserted agree to a less favorable treatment, in exchange for
full and final satisfaction, settlement, release, and the discharge of each Allowed Other Priority Claim, each
Holder of an Allowed Other Priority Claim due and payable on or before the Effective Date shall receive,
as soon as reasonably practicable after the Effective Date, on account of such Claim: (1) Cash in an amount
equal to the amount of such Allowed Other Priority Claim; (2) Reinstatement or such other treatment
rendering its Allowed Other Priority Claim Unimpaired in accordance with section 1124 of the Bankruptcy
Code; or (3) Cash in an amount agreed to by the applicable Debtor or Reorganized Debtor, as applicable,
and such Holder. To the extent any Allowed Other Priority Claim is not due and owing on or before the
Effective Date, such Claim shall be paid in full in Cash in accordance with the terms of any agreement
between the Debtors (or the Reorganized Debtors, as applicable) and such Holder, or as may be due and
payable under applicable non-bankruptcy law or in the ordinary course of business. Nothing in the
foregoing or otherwise in this Plan shall prejudice the Debtors’ or the Reorganized Debtors’ rights and
defenses regarding any asserted Other Priority Claim.

E.      United States Trustee Statutory Fees

        The Debtors and the Reorganized Debtors, as applicable, shall pay all United States Trustee
Statutory Fees, for each quarter (including any fraction thereof) until the Chapter 11 Cases are converted,
dismissed, or closed, whichever occurs first.

F.      Restructuring Fees and Expenses

         The Restructuring Fees and Expenses incurred, or estimated to be incurred, up to and including the
Effective Date (or, with respect to necessary post-Effective Date activities, after the Effective Date), shall
be paid in full in Cash on the Effective Date in accordance with, and subject to, the terms of the Transaction
Support Agreement or the DIP/Cash Collateral Orders, as applicable (unless otherwise provided in any
other order of the Bankruptcy Court), without any requirement to file a fee application with the Bankruptcy
Court or without any requirement for Bankruptcy Court or United States Trustee review or approval (unless
otherwise provided in any other order of the Bankruptcy Court), or without notice and a hearing pursuant
to section 1129(a)(4) of the Bankruptcy Code or otherwise. All Restructuring Fees and Expenses to be paid
on the Effective Date shall be estimated before and as of the Effective Date and such estimates shall be
delivered to the Debtors at least three (3) days before the anticipated Effective Date; provided, however,
that such estimates shall not be considered an admission or limitation with respect to such Restructuring
Fees and Expenses. On the Effective Date, or as soon as practicable thereafter, final invoices for all
Restructuring Fees and Expenses incurred before and as of the Effective Date shall be submitted to the



                                                     23
Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 503 of 569
     Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 504 of 569




           2        Prepetition ABL Claims                  Unimpaired         Presumed to Accept

           3        Prepetition Term Loan Claims              Impaired           Entitled to Vote

           4        General Unsecured Claims                Unimpaired         Presumed to Accept

           5        Subordinated Claims                       Impaired          Deemed to Reject

                                                            Impaired /         Deemed to Reject /
           6        Intercompany Claims
                                                            Unimpaired         Presumed to Accept

                                                            Impaired /         Deemed to Reject /
           7        Intercompany Interests
                                                            Unimpaired         Presumed to Accept

           8        Existing Equity Interests                 Impaired          Deemed to Reject

B.    Treatment of Claims and Interests

      1.       Class 1 — Other Secured Claims

               a.       Classification: Class 1 consists of all Other Secured Claims.

               b.       Treatment: Except to the extent that a Holder of an Allowed Other Secured Claim
                        agrees to less favorable treatment, in exchange for full and final satisfaction,
                        settlement, release, and discharge of each Allowed Other Secured Claim, each
                        Holder of an Allowed Other Secured Claim, at the option of the applicable Debtor
                        (with the consent of the Required Consenting Term Lenders), shall, on the
                        Effective Date, (i) be paid in full in Cash including the payment of any interest
                        required to be paid under section 506(b) of the Bankruptcy Code, (ii) receive the
                        collateral securing its Allowed Other Secured Claim, or (iii) receive any other
                        treatment that would render such Claim Unimpaired.

               c.       Voting: Class 1 is Unimpaired, and Holders of Other Secured Claims are
                        conclusively presumed to have accepted this Plan pursuant to section 1126(f) of
                        the Bankruptcy Code. Therefore, Holders of Other Secured Claims are not entitled
                        to vote to accept or reject this Plan. Holders of Other Secured Claims shall be
                        provided a Release Opt-Out Form solely for purposes of affirmatively opting out
                        of the Third-Party Release.

      2.       Class 2 — Prepetition ABL Claims

               a.       Classification: Class 2 consists of all Prepetition ABL Claims.

               b.       Allowance: any “Obligations” (as defined in the Prepetition ABL Credit
                        Agreement) outstanding as of the Effective Date shall be Allowed pursuant to the
                        terms of the Prepetition ABL Credit Agreement.

               c.       Treatment: Upon the ABL Refinancing (as defined in the Interim DIP/Cash
                        Collateral Order), each Holder of an Allowed Prepetition ABL Claim shall have
                        received, in full and final satisfaction, settlement, release and discharge of, and in
                        exchange for such Allowed Prepetition ABL Claim, payment in full in Cash



                                                    25
Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 505 of 569



              (including the replacement or Cash collateralization of all issued and undrawn
              letters of credit in accordance with and in the amounts specified under the
              Prepetition ABL Credit Agreement). To the extent any “Obligations” (as defined
              in the Prepetition ABL Credit Agreement) are outstanding on the Effective Date,
              the Claims on account of such “Obligations” shall receive treatment as necessary
              to render such Claims Unimpaired, including repayment in Cash of any such
              Claims required to be satisfied in Cash pursuant to the terms of the Prepetition
              ABL Credit Agreement.

       d.     Voting: Class 2 is Unimpaired, and Holders of Prepetition ABL Claims are
              conclusively presumed to have accepted this Plan pursuant to section 1126(f) of
              the Bankruptcy Code. Therefore, Holders of Prepetition ABL Claims are not
              entitled to vote to accept or reject this Plan. Holders of Prepetition ABL Claims
              shall be provided a Release Opt-Out Form solely for purposes of affirmatively
              opting out of the Third-Party Release.

 3.    Class 3 — Prepetition Term Loan Claims

       a.     Classification: Class 3 consists of all Prepetition Term Loan Claims.

       b.     Allowance: Prepetition Term Loan Claims shall be deemed Allowed in the
              aggregate principal amount of $163,125,321.74 plus any accrued and unpaid
              interest as of the Petition Date, less the amount of Prepetition Term Loan Claims
              converted into DIP Roll-Up Term Loan Claims.

       c.     Treatment: Except to the extent that a Holder of a Prepetition Term Loan Claim
              agrees to less favorable treatment, on the Effective Date, each Holder of an
              Allowed Prepetition Term Loan Claim shall receive, in full and final satisfaction,
              settlement, release, and discharge and in exchange for each Allowed Prepetition
              Term Loan Claim, its Pro Rata Share of 100% of the New Equity Interests, subject
              to dilution by the Management Incentive Plan and the DIP Equity Premium.

       d.     Voting: Class 3 is Impaired, and Holders of Prepetition Term Loan Claims are
              entitled to vote to accept or reject this Plan.

 4.    Class 4 — General Unsecured Claims

       a.     Classification: Class 4 consists of all General Unsecured Claims.

       b.     Treatment: Subject to Article V.C and except to the extent that a Holder of a
              General Unsecured Claim agrees to less favorable treatment, in full and final
              satisfaction, settlement, release, and discharge and in exchange for each Allowed
              General Unsecured Claim, each Holder of an Allowed General Unsecured Claim
              against a Debtor shall receive payment in full in Cash in accordance with
              applicable law and the terms and conditions of the particular transaction giving rise
              to, or the agreement that governs, such Allowed General Unsecured Claim on the
              later of (i) the date due in the ordinary course of business or (ii) the Effective Date;
              provided, however, that no Holder of an Allowed General Unsecured Claim shall
              receive any distribution for any Claim that has previously been satisfied pursuant
              to a Final Order of the Bankruptcy Court.

       c.     Voting: Class 4 is Unimpaired, and Holders of General Unsecured Claims are
              conclusively presumed to have accepted this Plan pursuant to section 1126(f) of


                                           26
Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 506 of 569



              the Bankruptcy Code. Therefore, Holders of General Unsecured Claims are not
              entitled to vote to accept or reject this Plan. Holders of General Unsecured Claims
              shall be provided a Release Opt-Out Form solely for purposes of affirmatively
              opting out of the Third-Party Release.

 5.    Class 5 — Subordinated Claims

       a.     Classification: Class 5 consists of all Subordinated Claims.

       b.     Treatment: On the Effective Date, each Subordinated Claim shall be cancelled,
              released and extinguished, and each Holder of a Subordinated Claim shall not
              receive or retain any distribution, property, or other value on account of its
              Subordinated Claim.

       c.     Voting: Class 5 is Impaired and not receiving any distribution under this Plan, and
              Holders of Subordinated Claims are deemed to have rejected this Plan pursuant to
              section 1126(g) of the Bankruptcy Code. Therefore, Holders of Subordinated
              Claims are not entitled to vote to accept or reject this Plan.

 6.    Class 6 — Intercompany Claims

       a.     Classification: Class 6 consists of all Intercompany Claims.

       b.     Treatment: No property shall be distributed to the Holders of Allowed
              Intercompany Claims. Unless otherwise provided for under this Plan, on the
              Effective Date, at the option of the applicable Debtor with the consent of the
              Required Consenting Lenders, Intercompany Claims shall be either: (i) Reinstated;
              or (ii) set off, settled, distributed, contributed, merged, canceled, or released. For
              the avoidance of doubt, all Intercompany Claims between Debtors and Non-Debtor
              Affiliates shall ride through and continue in full force and effect unless otherwise
              agreed by the applicable Debtor and Non-Debtor Affiliate.

       c.     Voting: Class 6 is either (i) Unimpaired, in which case Holders of Allowed
              Intercompany Claims are conclusively presumed to have accepted this Plan
              pursuant to section 1126(f) of the Bankruptcy Code, or (ii) Impaired, and not
              receiving any distribution under this Plan, in which case Holders of Allowed
              Intercompany Claims are deemed to have rejected this Plan pursuant to section
              1126(g) of the Bankruptcy Code. Therefore, in each case, Holders of Allowed
              Intercompany Claims are not entitled to vote to accept or reject this Plan.

 7.    Class 7 — Intercompany Interests

       a.     Classification: Class 7 consists of all Intercompany Interests.

       b.     Treatment: No property shall be distributed to the Holders of Allowed
              Intercompany Interests. Unless otherwise provided for under this Plan, on the
              Effective Date, at the option of the applicable Debtor with the consent of the
              Required Consenting Lenders, Intercompany Interests shall be either:
              (i) Reinstated; or (ii) set off, settled, distributed, contributed, merged, canceled, or
              released.

       c.     Voting: Class 7 is either (i) Unimpaired, in which case Holders of Allowed
              Intercompany Interests are conclusively presumed to have accepted this Plan



                                           27
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 507 of 569



                         pursuant to section 1126(f) of the Bankruptcy Code, or (ii) Impaired, and not
                         receiving any distribution under this Plan, in which case Holders of Allowed
                         Intercompany Interests are deemed to have rejected this Plan pursuant to section
                         1126(g) of the Bankruptcy Code. Therefore, in each case, Holders of Allowed
                         Intercompany Interests are not entitled to vote to accept or reject this Plan.

        8.      Class 8 — Existing Equity Interests

                a.       Classification: Class 8 consists of all Existing Equity Interests.

                b.       Treatment: Holders of Existing Equity Interests are not entitled to receive a
                         recovery or distribution on account of such Existing Equity Interests. On the
                         Effective Date, Existing Equity Interests shall be canceled, released, discharged,
                         and extinguished, and shall be of no further force or effect.

                c.       Voting: Class 8 is Impaired and not receiving any distribution under this Plan, and
                         Holders of Existing Equity Interests are deemed to have rejected this Plan pursuant
                         to section 1126(g) of the Bankruptcy Code. Therefore, Holders of Existing Equity
                         Interests are not entitled to vote to accept or reject this Plan.

C.      Acceptance or Rejection of this Plan

        1.      Presumed Acceptance of this Plan

        Claims in Classes 1, 2 and 4 are Unimpaired under this Plan and their Holders are conclusively
presumed to have accepted this Plan pursuant to section 1126(f) of the Bankruptcy Code. Therefore,
Holders of Claims in Classes 1, 2 and 4 are not entitled to vote on this Plan and the votes of such Holders
shall not be solicited. Notwithstanding their non-voting status, Holders of such Claims shall receive a
Release Opt-Out Form solely for purposes of affirmatively opting out of the Third-Party Release.

        2.      Voting Classes

         Claims in Class 3 are Impaired under this Plan and the Holders of Allowed Claims in such Class
are entitled to vote to accept or reject this Plan, including by acting through a voting Representative. For
purposes of determining acceptance and rejection of this Plan, votes shall be tabulated on a Debtor-by-
Debtor basis.

         Pursuant to section 1126(c) of the Bankruptcy Code, an Impaired Class of Claims shall have
accepted this Plan if (a) the Holders, including Holders acting through a voting Representative, of at least
two-thirds (2/3) in amount of Claims actually voting in such Class have voted to accept this Plan and (b)
the Holders, including Holders acting through a voting Representative, of more than one-half (1/2) in
number of Claims actually voting in such Class have voted to accept this Plan. Holders of Claims in Class
3 (or, if applicable, the voting Representatives of such Holders) shall receive ballots containing detailed
voting instructions. For the avoidance of doubt, each Claim in any Class entitled to vote to accept or reject
this Plan that is not Allowed pursuant to this Plan, and in each case, is wholly contingent, unliquidated, or
Disputed, in each case, shall be accorded one (1) vote and valued at one dollar ($1.00) for voting purposes
only, and not for purposes of allowance or distribution.

        3.      Deemed Rejection of this Plan

        Claims and Interests in Class 5 and 8 are Impaired and will receive no distribution under this Plan
and are deemed to have rejected this Plan pursuant to section 1126(g) of the Bankruptcy Code. Therefore,
Holders of Claims and Interests in Classes 5 and 8 are not entitled to vote on this Plan and the votes of such



                                                      28
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 508 of 569



Holders shall not be solicited. Notwithstanding their non-voting status, Holders of such Claims and
Interests shall receive a Release Opt-Out Form solely for purposes of affirmatively opting out of the Third-
Party Release.

        4.      Presumed Acceptance of this Plan or Deemed Rejection of this Plan

         Claims and Interests in Classes 6 and 7 are either (a) Unimpaired and, therefore, conclusively
presumed to have accepted this Plan pursuant to section 1126(f) of the Bankruptcy Code, or (b) Impaired
and shall receive no distributions under this Plan and, therefore, deemed to have rejected this Plan pursuant
to section 1126(g) of the Bankruptcy Code. Therefore, Holders of Claims and Interests in Classes 6 and 7
are not entitled to vote on this Plan and votes of such Holders shall not be solicited.

D.      Confirmation Pursuant to Section 1129(a)(10) and 1129(b) of the Bankruptcy Code

        Section 1129(a)(10) of the Bankruptcy Code shall be satisfied for purposes of Confirmation by
acceptance of this Plan by an Impaired Class of Claims entitled to vote (i.e., Class 3). The Debtors shall
seek Confirmation pursuant to section 1129(b) of the Bankruptcy Code with respect to any rejecting Class
of Claims or Interests. The Debtors reserve the right to modify this Plan in accordance with Article XI to
the extent, if any, that Confirmation pursuant to section 1129(b) of the Bankruptcy Code requires
modification, including by modifying the treatment applicable to a Class of Claims or Interests to render
such Class of Claims or Interests Unimpaired to the extent permitted by the Bankruptcy Code and
Bankruptcy Rules.

E.      Subordinated Claims

         The allowance, classification, and treatment of all Allowed Claims and Interests, and the respective
distributions and treatments under this Plan, shall take into account and conform to the relative priority and
rights of the Claims and Interests in each Class in connection with any contractual, legal, and equitable
subordination rights relating thereto, whether arising under general principles of equitable subordination,
sections 509 or 510 of the Bankruptcy Code, or otherwise; provided, that, notwithstanding the foregoing,
such Allowed Claims or Interests and their respective treatments set forth herein shall not be subject to
setoff, demand, recharacterization, turnover, disgorgement, avoidance, or other similar rights of recovery
asserted by any Person. Pursuant to section 510 of the Bankruptcy Code, except where otherwise provided
herein, the Reorganized Debtors reserve the right to re-classify any Allowed Claim or Interest in accordance
with any contractual, legal, or equitable subordination rights relating thereto. The Debtors or Reorganized
Debtors, as applicable, reserve the right to seek a ruling from the Bankruptcy Court determining whether
any Claim should be subordinated pursuant to section 510(b) of the Bankruptcy Code and treated under the
Plan as a Class 5 Subordinated Claim.

F.      Special Provision Governing Unimpaired Claims

        Except as otherwise provided herein, nothing under this Plan shall affect or limit the Debtors’ or
the Reorganized Debtors’ rights and defenses (whether legal or equitable) in respect of any Unimpaired
Claims, including, without limitation, all rights in respect of legal and equitable defenses to, or setoffs or
recoupments against, any such Unimpaired Claims.

G.      Vacant and Abstaining Classes

        Any Class of Claims or Interests that is not occupied as of the commencement of the Combined
Hearing by an Allowed Claim or Allowed Interest or a Claim or Interest temporarily Allowed under
Bankruptcy Rule 3018 shall be deemed eliminated from this Plan for purposes of voting to accept or reject
this Plan and for purposes of determining acceptance or rejection of this Plan by such Class pursuant to



                                                     29
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 509 of 569



section 1129(a)(8) of the Bankruptcy Code. Moreover, any Class of Claims that is occupied as of the
commencement of the Combined Hearing by an Allowed Claim or a Claim temporarily Allowed under
Bankruptcy Rule 3018, but as to which no vote is cast, shall be deemed to accept this Plan pursuant to
section 1129(a)(8) of the Bankruptcy Code.

H.      Controversy Concerning Impairment

        If a controversy arises as to whether any Claim or Interest (or any Class of Claims or Interests) are
Impaired under this Plan, the Bankruptcy Court shall, after notice and a hearing, determine such controversy
on or before the Confirmation Date, absent consensual resolution of such controversy consistent with the
Transaction Support Agreement among the Debtors and the complaining Entity or Entities.

I.      Intercompany Interests and Intercompany Claims

         To the extent Intercompany Interests and Intercompany Claims are Reinstated under this Plan,
distributions on account of such Intercompany Interests and Intercompany Claims are not being received
by Holders of such Intercompany Interests or Intercompany Interests on account of their Intercompany
Interests or Intercompany Claims, but for the purposes of administrative convenience and to maintain the
Debtors’ (and their Affiliates’) corporate structure, for the ultimate benefit of the Holders of New Equity
Interests, to preserve ordinary course intercompany operations, and in exchange for the Debtors’ and
Reorganized Debtors’ agreement under this Plan to make certain distributions to the Holders of Allowed
Claims.

J.      Disputed Claims Process

        Notwithstanding section 502(a) of the Bankruptcy Code, and in light of the Unimpaired status of
all Allowed General Unsecured Claims under this Plan, Holders of Claims (other than Holders of Rejection
Damages Claims) need not File Proofs of Claim. The Reorganized Debtors and the Holders of Claims shall
determine, adjudicate, and resolve any disputes over the validity and amounts of such Claims in the ordinary
course of business as if the Chapter 11 Cases had not been commenced except that (unless expressly waived
pursuant to this Plan) the Allowed amount of such Claims shall be subject to the limitations or maximum
amounts permitted by the Bankruptcy Code, including sections 502 and 503 of the Bankruptcy Code, to the
extent applicable. All Proofs of Claim Filed in these Chapter 11 Cases (other than Rejection Damages
Claims) shall be considered objected to and Disputed without further action by the Debtors. Upon the
Effective Date, all Proofs of Claim Filed against the Debtors (other than Rejection Damages Claims),
regardless of the time of filing, and including Proofs of Claim Filed after the Effective Date, shall be deemed
withdrawn and expunged, other than as provided below. Notwithstanding anything in this Plan to the
contrary, disputes regarding the amount of any Cure Cost pursuant to section 365 of the Bankruptcy Code
and Claims that the Debtors seek to have determined by the Bankruptcy Court, shall in all cases be
determined by the Bankruptcy Court.

         Notwithstanding the foregoing, the Debtors and the Reorganized Debtors, as applicable, reserve
the right to object to any Claim that is entitled, or deemed to be entitled, to a distribution under this Plan or
is rendered Unimpaired under this Plan in the Bankruptcy Court. Any disputes regarding the Allowance of
a Rejection Damages Claim shall be determined by the Bankruptcy Court.

         For the avoidance of doubt, there is no requirement to File a Proof of Claim (or move the
Bankruptcy Court for Allowance) to be an Allowed Claim under this Plan. Notwithstanding the foregoing,
Entities must File Cure Cost objections as set forth in this Plan to the extent such Entity disputes the amount
of the Cure Cost proposed to be paid by the Debtors or the Reorganized Debtors to a counterparty, and
Entities that are counterparties to a rejected Executory Contract or Unexpired Lease must file a Rejection
Damages Claim as set forth in the Plan.


                                                       30
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 510 of 569



                                        Article IV.
                         MEANS FOR IMPLEMENTATION OF THIS PLAN

A.      General Settlement of Claims and Interests

         In consideration for the classification, distributions, releases, and other benefits provided under this
Plan, on the Effective Date, the provisions of this Plan shall constitute a set of integrated, good-faith
compromises and settlements of all Claims, Interests, Causes of Action, and controversies resolved pursuant
to this Plan and this Plan shall be deemed a motion to approve the good-faith compromises and settlements
of all Claims, Interests, Causes of Action, and controversies pursuant to Bankruptcy Rule 9019. Entry of
the Combined Order shall constitute the Bankruptcy Court’s approval of such compromises and settlements
under Bankruptcy Rule 9019, as well as a finding by the Bankruptcy Court that such integrated
compromises or settlements are in the best interests of the Debtors, the Estates, and Holders of Claims and
Interests, and are fair, equitable, and reasonable. Subject to Article VI, distributions made to Holders of
Allowed Claims in any Class are intended to be and shall be final and indefeasible and shall not be subject
to avoidance, turnover, or recovery by any other Person. Notwithstanding the foregoing or similar
provisions of this Plan with respect to settlements, such settlements are approved as among the parties to
such settlement or similar agreements thereto, and the treatment of all Claims and Interests is approved
pursuant to Confirmation by satisfying the requirement of section 1129 of the Bankruptcy Code.

B.      Restructuring Transactions

         Without limiting any rights and remedies of the Debtors or Reorganized Debtors under this Plan or
applicable law, but in all cases subject to the terms and conditions of the Transaction Support Agreement,
the Transaction Term Sheet, and Definitive Documents and any consents or approvals required thereunder,
the entry of the Combined Order shall constitute authorization for the Debtors and Reorganized Debtors,
as applicable, to take, or to cause to be taken, all actions necessary or appropriate to consummate and
implement the provisions of this Plan before, on, and after the Effective Date, including such actions as
may be necessary or appropriate to effectuate a corporate restructuring of their respective businesses and to
otherwise simplify the overall corporate structure of the Reorganized Debtors. Such restructuring may
include (1) the execution and delivery of appropriate agreements or other documents of merger,
consolidation, restructuring, disposition, liquidation, or dissolution containing terms that are consistent with
the terms of this Plan, the Transaction Support Agreement, the Transaction Term Sheet, and the other
Definitive Documents and that satisfy the applicable requirements of applicable state law and such other
terms to which the applicable Entities may agree; (2) the execution and delivery of appropriate instruments
of transfer, assignment, assumption, or delegation of any asset, property, right, liability, duty, or obligation
on terms consistent with the terms of this Plan, the Transaction Support Agreement, the Transaction Term
Sheet, and the other Definitive Documents and having such other terms to which the applicable Entities
may agree; (3) the execution, delivery, and filing, if applicable, of the New Organizational Documents and
the Exit Facilities Documents; (4) the filing of appropriate certificates or articles of conversion, formation,
incorporation, merger, consolidation, or dissolution with the appropriate governmental authorities pursuant
to applicable state law; and (5) all other actions that the Debtors, the Reorganized Debtors and/or the
applicable Entities reasonably determine to be necessary or appropriate, including making filings or
recordings that may be required by applicable state law or foreign law in connection with such transactions,
but in all cases subject to the terms and conditions of this Plan, the Transaction Support Agreement, the
Transaction Term Sheet, and the other Definitive Documents and any consents or approvals required
thereunder.

        The Combined Order shall and shall be deemed to, pursuant to both section 1123 and section 363
of the Bankruptcy Code, authorize, among other things, all actions as may be necessary or appropriate to
effect any transaction described in, approved by, contemplated by, or necessary to effectuate the



                                                       31
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 511 of 569



Restructuring Transactions (including any other transaction described in, approved by, contemplated by, or
necessary to effectuate this Plan).

C.      Corporate Existence

        Except as otherwise provided in this Plan, or as otherwise may be agreed between the Debtors and
the Required Consenting Lenders, each Debtor, as a Reorganized Debtor, shall continue to exist after the
Effective Date as a separate corporate Entity, limited liability company, partnership, or other form, as the
case may be, with all the powers of a corporation, limited liability company, partnership, or other form, as
the case may be, pursuant to the applicable law in the jurisdiction in which each Debtor is incorporated or
formed and pursuant to the respective memorandum and articles of association, certificate of incorporation
and bylaws (or other formation documents) in effect before the Effective Date, except to the extent such
memorandum and articles of association, certificate of incorporation and bylaws (or other formation
documents) are amended by this Plan, by the Debtors, or otherwise, and to the extent such documents are
amended, such documents are deemed to be amended pursuant to this Plan and require no further action or
approval (other than any requisite filings required under applicable state, provincial, or federal law), without
prejudice to any right to alter or terminate such existence (whether by merger or otherwise) in accordance
with such applicable law.

         On or after the Effective Date, without prejudice to the rights of any party to a contract or other
agreement with any Reorganized Debtor, each Reorganized Debtor may, without the need for approval of
the Bankruptcy Court and free of any restrictions of the Bankruptcy Code or Bankruptcy Rules, take such
action as permitted by applicable law, and such Reorganized Debtor’s Organizational Documents, as such
Reorganized Debtor may determine is reasonable and appropriate, including, without limitation, causing:
(a) a Reorganized Debtor to be merged into another Reorganized Debtor or an Affiliate of a Reorganized
Debtor; (b) a Reorganized Debtor to be dissolved; (c) the conversion of a Reorganized Debtor from one
entity type to another entity type; (d) the legal name of a Reorganized Debtor to be changed; (e) the closure
of a Reorganized Debtor’s Chapter 11 Case on the Effective Date or any time thereafter; or (f) the
reincorporation of a Reorganized Debtor under the law of jurisdictions other than the law under which the
applicable Debtor currently is incorporated.

D.      Vesting of Assets in the Reorganized Debtors Free and Clear of Liens and Claims

         Except as otherwise expressly provided in this Plan or any agreement, instrument, or other
document incorporated herein pursuant to sections 1123(a)(5), 1123(b)(3), 1141(b) and (c), and other
applicable provisions of the Bankruptcy Code, on and after the Effective Date, all property in each Estate,
all Causes of Action, and any property acquired by any of the Debtors pursuant to this Plan shall vest in
each respective Reorganized Debtor, free and clear of all Liens, Claims, charges, other encumbrances or
interests, except for those Liens, Claims, charges, or other encumbrances arising from or related to the Exit
Facility Documents. On and after the Effective Date, the Reorganized Debtors may (1) operate their
respective businesses, (2) use, acquire, and dispose of their respective property, and (3) prosecute,
compromise or settle any Claims, Interests, or Causes of Action, in each case without notice to, supervision
of, or approval by the Bankruptcy Court and free and clear of any restrictions of the Bankruptcy Code or
the Bankruptcy Rules, including for the avoidance of doubt any restrictions on the use, acquisition, sale,
lease, or disposal of property under section 363 of the Bankruptcy Code. Anything in this Plan to the
contrary notwithstanding, the Unimpaired Claims against a Debtor shall remain the obligations solely of
such Debtor or such Reorganized Debtor and shall not become obligations of any other Debtor or
Reorganized Debtor by virtue of this Plan, the Chapter 11 Cases, or otherwise.




                                                      32
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 512 of 569



E.      Cancellation of Existing Agreements and Existing Equity Interests.

         On the Effective Date, except with respect to the Exit Facilities Documents, or to the extent
otherwise provided in this Plan, the Combined Order, or any other Definitive Document, all notes, bonds,
indentures, certificates, securities, purchase rights, options, warrants, calls, puts, awards, commitments,
registration rights, preemptive rights, rights of first refusal, rights of first offer, co-sale rights, investor
rights, collateral agreements, subordination agreements, or other instruments or documents directly or
indirectly evidencing, creating, or relating to any existing indebtedness or obligations of or ownership
interest in the Debtors or giving rise to any rights or obligations relating to Claims against or Interests in
the Debtors shall be deemed canceled and surrendered, and the obligations of the Debtors or the
Reorganized Debtors, as applicable, and any Non-Debtor Affiliates thereunder or in any way related thereto
shall be deemed satisfied in full, released, and discharged and the obligations of the Debtors pursuant,
relating, or pertaining to any agreements, notes, bonds, indentures, certificates, securities, purchase rights,
options, warrants, calls, puts, awards, commitments, registration rights, preemptive rights, rights of first
refusal, rights of first offer, co-sale rights, investor rights, collateral agreements, subordination agreements,
or other instruments or documents directly or indirectly evidencing, creating, or relating to any existing
indebtedness or obligations of or ownership interest in the Debtors or giving rise to any rights or obligations
relating to Claims against or Interests in the Debtors (except such agreements, certificates, notes, or other
instruments evidencing indebtedness or obligations of the Debtors that are specifically Reinstated or
assumed pursuant to this Plan, if any) shall be released and discharged; provided, that, notwithstanding such
cancellation, satisfaction, release, and discharge, anything to the contrary contained in this Plan or the
Combined Order, Confirmation, or the occurrence of the Effective Date, any such document or instrument
that governs the rights, claims, or remedies of the Holder of a Claim or Interest shall continue in effect
solely for purposes of: (1) enabling the Holder of such Claim or Interest to receive distributions on account
of such Claim or Interest under this Plan as provided herein; (2) allowing and preserving the rights of the
Prepetition Agents, DIP Agents, and Exit Facility Agents, as applicable, to make distributions as specified
under this Plan on account of Allowed Claims, as applicable, including allowing the Prepetition Agents,
DIP Agents, and Exit Facility Agents, as applicable, to submit invoices for any amount and enforce any
obligation owed to them under this Plan to the extent authorized or allowed by the applicable documents;
(3) permitting the Reorganized Debtors and any other Distribution Agent, as applicable, to make
distributions on account of applicable Claims and Interests, as applicable; (4) preserving the Prepetition
Agents’, DIP Agents’, and Exit Facility Agents’, as applicable, rights, if any, to compensation and
indemnification as against any money or property distributable to the Holders of Prepetition ABL Claims,
Prepetition Term Loan Claims, and DIP Claims, as applicable, including permitting the Prepetition Agents,
DIP Agents, and Exit Facility Agents, as applicable, to maintain, enforce, and exercise any priority of
payment or charging liens against such distributions each pursuant and subject to the terms of the Prepetition
ABL Credit Agreement, Prepetition Term Loan Credit Agreement, and DIP Credit Agreement, as
applicable, as in effect on or immediately before the Effective Date, (5) preserving all rights, remedies,
indemnities, powers, and protections, including rights of enforcement, of the Prepetition Agents, DIP
Agents, and Exit Facility Agents, as applicable, against any person other than a Released Party (which
Released Parties include the Debtors, Reorganized Debtors, and Non-Debtor Affiliates), and any
exculpations of the Prepetition Agents, DIP Agents, and Exit Facility Agents, as applicable; provided, that
the Prepetition Agents, DIP Agents, and Exit Facility Agents, shall remain entitled to indemnification or
contribution from the Holders of Prepetition ABL Claims, Prepetition Term Loan Claims, and DIP Claims,
each pursuant and subject to the terms of the Prepetition ABL Credit Agreement, Prepetition Term Loan
Credit Agreement, and DIP Credit Agreement, as applicable, as in effect on the Effective Date,
(6) permitting the Prepetition Agents, DIP Agents, and Exit Facility Agents, as applicable, to enforce any
obligation (if any) owed to them under this Plan, (7) permitting the Prepetition Agents, DIP Agents, and
Exit Facility Agents to appear in the Chapter 11 Cases or in any proceeding in the Bankruptcy Court or any
other court, and (8) permitting the Prepetition Agents, DIP Agents, and Exit Facility Agents, to perform
any functions that are necessary to effectuate the foregoing; provided, however, that nothing in this Article


                                                       33
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 513 of 569



IV shall affect the discharge of Claims or Interests pursuant to the Bankruptcy Code, the Combined Order,
or this Plan, or (except as set forth in (5) above) the releases of the Released Parties pursuant to Article IX,
or result in any expense or liability to the Debtors or Reorganized Debtors, as applicable, except as expressly
provided for in this Plan. For the avoidance of doubt, nothing in this Article IV shall cause the Reorganized
Debtors’ obligations under the Exit Facilities Documents to be deemed satisfied in full, released, or
discharged; provided, that notwithstanding this sentence, the Prepetition ABL Claims, Prepetition Term
Loan Claims, and DIP Claims shall be deemed satisfied in full, released, and discharged on the Effective
Date. In furtherance of the foregoing, as of the Effective Date, Holders of Prepetition ABL Claims,
Prepetition Term Loan Claims, and DIP Claims shall be deemed to have released any such Claims against
the Reorganized Debtors under the Prepetition ABL Facility Documents, Prepetition Term Loan
Documents, and DIP Facilities Documents and are enjoined from pursuing any such claims against any of
the Reorganized Debtors in respect of such Prepetition ABL Claims, Prepetition Term Loan Claims, and
DIP Claims.

         On the Effective Date, the Prepetition Agents, the DIP Agents, and each of their respective
directors, officers, employees, agents, Affiliates, controlling persons, and legal and financial advisors shall
be automatically and fully released and discharged from any further responsibility under the Prepetition
ABL Credit Agreement, Prepetition Term Loan Credit Agreement, and DIP Credit Agreement, as
applicable. The Prepetition Agents, DIP Agents, and each of their respective directors, officers, employees,
agents, Affiliates, controlling persons, and legal and financial advisors shall be discharged and shall have
no further obligation or liability except as provided in this Plan and the Combined Order, and after the
performance by the Prepetition Agents, DIP Agents, and their Representatives and professionals of any
obligations and duties required under or related to this Plan or the Combined Order, the Prepetition Agents,
DIP Agents, and each of their respective directors, officers, employees, agents, Affiliates, controlling
persons, and legal and financial advisors shall be relieved of and released from any obligations and duties
arising thereunder. The fees, expenses, and costs of the Prepetition Agents and the DIP Agents, including
fees, expenses, and costs of each of their respective professionals incurred after the Effective Date in
connection with the Prepetition ABL Credit Agreement, Prepetition Term Loan Credit Agreement, or DIP
Credit Agreement, as applicable, and reasonable and documented fees, costs, and expenses associated with
effectuating distributions pursuant to this Plan, including the fees and expenses of counsel, if any, shall be
paid in accordance with the terms of this Plan and the applicable Definitive Documents.

F.      Sources for Plan Distributions and Transfers of Funds Among Debtors

         The Debtors shall fund Cash distributions under this Plan with Cash on hand, including Cash from
operations, and the proceeds of the DIP Facilities and Exit Facilities. The Debtors shall make non-Cash
distributions as required under the Plan in the form of Exit Term Loans, Exit ABL Loans and New Equity
Interests. Cash payments to be made pursuant to this Plan shall be made by the Reorganized Debtors in
accordance with Article VI. Subject to any applicable limitations set forth in any post-Effective Date
agreement (including the New Organizational Documents), the Reorganized Debtors shall be entitled to
transfer funds between and among themselves as they determine to be necessary or appropriate to enable
the Reorganized Debtors to satisfy their obligations under this Plan. Except as set forth herein, any changes
in intercompany account balances resulting from such transfers shall be accounted for and settled in
accordance with the Debtors’ historical intercompany account settlement practices and shall not violate the
terms of this Plan.

         From and after the Effective Date, the Reorganized Debtors, subject to any applicable limitations
set forth in any post-Effective Date agreement (including the New Organizational Documents and the Exit
Facilities Documents), shall have the right and authority without further order of the Bankruptcy Court to
raise additional capital and obtain additional financing in accordance with, and subject to, applicable law.




                                                      34
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 514 of 569



G.      Exit Facilities and Exit Facilities Documents

         To the extent required and subject to the occurrence of the Effective Date, Confirmation of this
Plan shall be deemed to constitute approval by the Bankruptcy Court of the Exit Facilities Documents
(including all transactions contemplated thereby, such as any supplementation or syndication of the Exit
Term Loans, and all actions to be taken, undertakings to be made, and obligations to be incurred by the
Reorganized Debtors in connection therewith, including the incurrence of Liens securing the Exit Facilities
and the payment of all fees, payments, indemnities, and expenses associated therewith) and, subject to the
occurrence of the Effective Date, authorization for the applicable Reorganized Debtors to enter into and
perform their obligations under the Exit Facilities Documents and such other documents as may be
reasonably required or appropriate, subject to any consent or approval rights under the Definitive
Documents. On or around the Effective Date, the Reorganized Debtors shall execute and deliver the Exit
ABL Credit Agreement, the Exit Term Loan Credit Agreement, the Exit Intercreditor Agreement, and any
other Exit Facilities Document, and shall execute, deliver, file, record, and issue any other related notes,
guarantees, security documents, instruments, or agreements in connection therewith, in each case, without
(a) further notice to the Bankruptcy Court, or (b) further act or action under applicable law, regulation,
order, or rule or the vote, consent, authorization, or approval of any Person or Entity. On the Effective
Date, the Exit Facilities shall be governed by the Exit Intercreditor Agreement.

          On the Effective Date, the Exit Facilities Documents shall constitute legal, valid, binding, and
authorized obligations of the Reorganized Debtors, enforceable in accordance with their terms. The
financial accommodations to be extended pursuant to the Exit Facilities Documents are being extended,
and shall be deemed to have been extended, and all related payments made in connection therewith shall
have been made, in each case, in good faith, for legitimate business purposes, for reasonably equivalent
value, as an inducement to the applicable lenders to extend credit under the applicable Exit Facilities, are
reasonable, shall not be subject to avoidance, recovery, turnover, recharacterization, or subordination
(including equitable subordination) for any purposes whatsoever, and shall not constitute preferential
transfers, fraudulent conveyances, or other voidable transfers under the Bankruptcy Code or any other
applicable non-bankruptcy law. On the Effective Date, all of the Liens and security interests to be granted,
carried forward, continued, amended, extended, and/or reaffirmed (including in connection with any
Prepetition ABL Claims that are refinanced by the Exit ABL Credit Agreement) under the Exit Facilities
Documents shall: (1) be continuing, legal, binding, and enforceable Liens on, and security interests in, the
collateral granted in accordance with the terms of the applicable Exit Facilities Documents; (2) be granted,
carried forward, continued, amended, extended, reaffirmed, and deemed automatically perfected on the
Effective Date, subject only to such Liens and security interests as may be permitted thereunder; and (3)
not be subject to avoidance, recovery, turnover, recharacterization, or subordination (including equitable
subordination) for any purposes whatsoever and shall not constitute preferential transfers, fraudulent
conveyances, or other voidable transfers under the Bankruptcy Code or any applicable non-bankruptcy law.
The Reorganized Debtors and the Entities granted such Liens and security interests are authorized to make
all filings and recordings, and to obtain all governmental approvals and consents necessary to establish and
perfect such Liens and security interests under the provisions of the applicable state, provincial, federal, or
other law (whether domestic or foreign) that would be applicable in the absence of this Plan and the
Combined Order (it being understood that perfection shall occur automatically by virtue of the entry of the
Combined Order, and any such filings, recordings, approvals, and consents shall not be required), and shall
thereafter cooperate to make all other filings and recordings that otherwise would be necessary under
applicable law to give notice of such Liens and security interests to third parties.

H.      Issuance of New Equity Interests and Deregistration

        On the Effective Date, Reorganized Parent shall issue or reserve for issuance and deliver all of the
New Equity Interests in accordance with the terms of this Plan and the New Organizational Documents.
The issuance and delivery of the New Equity Interests is authorized without the need for further corporate


                                                      35
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 515 of 569



or other action or any consent or approval of any national securities exchange upon which the New Equity
Interests may be listed on or immediately following the Effective Date. All of the New Equity Interests
issuable under this Plan and the Combined Order shall, when so issued be duly authorized, validly issued,
fully paid, and non-assessable. The issuance and delivery of the New Equity Interests in accordance with
this Plan are authorized without the need for any further limited liability company or corporate action and
without any further action by any Holder of a Claim or Interest.

         Any Holder of an Allowed Prepetition Term Loan Claim or any DIP Term Lender entitled to the
DIP Equity Premium may designate that all or a portion of such Holder’s share of the New Equity Interests
to be distributed as part of the treatment of such Allowed Prepetition Term Loan Claim or on account of
the DIP Equity Premium, be registered in the name of, and delivered to, its designee by delivering notice
thereof to counsel to the Debtors and to the Notice and Claims Agent at least five (5) Business Days prior
to the Effective Date. Any such designee must be an “accredited investor” as such term is defined in Rule
501(a) of Regulation D promulgated under the Securities Act.

         Reorganized Parent intends to exist and operate as a private company after the Effective Date. As
promptly as reasonably practicable following the Effective Date, Reorganized Parent expects to take all
necessary steps to terminate the registration of all Securities under the Exchange Act and Securities Act,
including to de-register its Existing Equity Interests, and to terminate its reporting obligations under
sections 12, 13, and 15(d) of the Exchange Act, including by (1) filing, or causing any applicable national
securities exchange to file, a Form 25 with the SEC under the Exchange Act, and (2) filing a Form 15 with
the SEC under the Exchange Act.

        1.       Absence of Listing / Transfer of New Equity Interests

        On the Effective Date, the Reorganized Parent shall issue the New Equity Interests pursuant to this
Plan and the New Organizational Documents. Reorganized Parent shall not be obligated to effect or
maintain any listing of the New Equity Interests for trading on any national securities exchange (within the
meaning of the Exchange Act) and it has no current intention of maintaining or obtaining such listing.
Distributions of the New Equity Interests are expected to be delivered via book-entry transfer by the
Distribution Agent in accordance with this Plan and the New Organizational Documents, rather than
through the facilities of DTC; however, in the event the New Equity Interests are DTC eligible on the
Effective Date, distributions shall be made via DTC. Upon the Effective Date, after giving effect to the
Restructuring Transactions, the New Equity Interests shall be that number of shares or membership interests
as may be designated in the New Organizational Documents.

        On and after the Effective Date, transfers of New Equity Interests shall be made in accordance with
applicable United States law, United States securities laws (as applicable), and the New Organizational
Documents.

I.      Exemption from Registration Requirements

         No registration statement shall be filed under the Securities Act, or pursuant to any state securities
laws, with respect to the offer, issuance and distribution of the New Equity Interests under this Plan. The
offering, sale, issuance, and distribution of the New Equity Interests in exchange for Claims pursuant to
Article II and Article III and pursuant to the Combined Order shall be exempt from, among other things,
the registration requirements of Section 5 of the Securities Act and any other applicable United States, state,
or local law requiring registration for the offer or sale of a security pursuant to section 1145 of the
Bankruptcy Code. Any and all such New Equity Interests may be resold without registration under the
Securities Act by the recipients thereof pursuant to the exemption provided by Section 4(a)(1) of the
Securities Act, subject to: (1) the provisions of section 1145(b)(1) of the Bankruptcy Code, which limits
resale by Persons who are “underwriters” as that term is defined in such section; (2) restrictions under the



                                                      36
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 516 of 569



Securities Act applicable to recipients who are an “affiliate” of the Reorganized Debtors as defined in Rule
144(a)(1) under the Securities Act, (3) compliance with any applicable state or foreign securities laws, if
any, and any rules and regulations of the SEC, if any, applicable at the time of any future transfer of such
Securities; (4) the restrictions, if any, on the transferability of such Securities in the Organizational
Documents of the issuer of, or in agreements or instruments applicable to holders of, such Securities; and
(5) any other applicable regulatory approval.

      The Reorganized Debtors need not provide any further evidence other than this Plan and the
Combined Order with respect to the treatment of the New Equity Interests under applicable securities laws.

         Notwithstanding anything to the contrary in this Plan, no Person or Entity (including, for the
avoidance of doubt, DTC) shall be entitled to require a legal opinion regarding the validity of any
transaction contemplated by this Plan, including, for the avoidance of doubt, whether the New Equity
Interests are exempt from registration and/or eligible for DTC book-entry delivery, settlement, and
depository services. All such Persons and Entities including DTC shall be required to accept and
conclusively rely upon this Plan or the Combined Order in lieu of a legal opinion regarding whether the
New Equity Interests are exempt from registration and/or eligible for DTC book-entry delivery, settlement,
and depository services. Notwithstanding any policies, practices, or procedures of DTC, DTC and any
participants and intermediaries shall fully cooperate and take all actions to facilitate any and all transactions
necessary or appropriate for implementation of this Plan or other contemplated thereby, including without
limitation any and all distributions pursuant to this Plan.

J.      New Organizational Documents

        Subject to Article IV.E, the Reorganized Debtors and Reorganized Parent shall enter into such
agreements and amend their corporate governance documents to the extent necessary to implement the
terms and provisions of this Plan. Without limiting the generality of the foregoing, as of the Effective Date,
each of the Reorganized Debtors shall be governed by the New Organizational Documents applicable to it.
From and after the Effective Date, the Organizational Documents of each of the Reorganized Debtors will
be deemed to be modified to prohibit the issuance of non-voting equity Securities, solely to the extent
required under section 1123(a)(6) of the Bankruptcy Code. On or immediately before the Effective Date,
each Reorganized Debtor and Reorganized Parent shall file its New Organizational Documents, if any, with
the applicable Secretary of State and/or other applicable authorities in its jurisdiction of incorporation or
formation in accordance with applicable laws of its jurisdiction of incorporation or formation, to the extent
required for such New Organizational Documents to become effective. The New Organizational
Documents for the Reorganized Debtors and Reorganized Parent shall be in form and substance (including
customary minority protections) acceptable to the Required Consenting Lenders.

        As a condition to receiving the New Equity Interests, Holders of Allowed Prepetition Term Loan
Claim or Holders entitled to receive New Equity Interests on account of the DIP Equity Premium and/or
any of their respective designees for receipt of New Equity Interests will be required to execute and deliver
the New Organizational Documents for Reorganized Parent. For the avoidance of doubt, any Entity’s or
Person’s receipt of New Equity Interests under, or as contemplated by, the Plan (including on account of
the DIP Equity Premium) shall be deemed to be its agreement to the terms of the New Organizational
Documents for Reorganized Parent, and such Entities and Persons shall be deemed signatories to the New
Organizational Documents for Reorganized Parent without further action required on their part. The New
Organizational Documents for Reorganized Parent will be effective as of the Effective Date and, as of such
date, will be deemed to be valid, binding, and enforceable in accordance with its terms, and each Holder of
New Equity Interests will be bound thereby in all respects even if such Holder has not actually executed
and delivered a counterpart thereof.




                                                       37
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 517 of 569



K.      Release of Liens and Claims

         To the fullest extent provided under section 1141(c) and other applicable provisions of the
Bankruptcy Code, except as otherwise provided in the Exit ABL Credit Agreement (including with respect
to the Prepetition ABL Facility and the Prepetition ABL Loans), this Plan, the Combined Order, or in any
contract, instrument, release, or other agreement or document entered into or delivered in connection with
this Plan, on the Effective Date and concurrently with the applicable distributions made pursuant to Article
VI, all Liens, Claims, mortgages, deeds of trust, or other security interests against the assets or property of
the Debtors or the Estates shall be fully released, canceled, terminated, extinguished, and discharged, in
each case without further notice to or order of the Bankruptcy Court, act, or action under applicable law,
regulation, order, or rule or the vote, consent, authorization, or approval of any Person or Entity; provided,
that (1) the Liens granted to the Prepetition Agents and the DIP Agents pursuant to the Prepetition ABL
Credit Agreement, Prepetition Term Loan Credit Agreement, and DIP Credit Agreement and (2) any and
all Liens or security securing the Debtor’s obligations under the Insurance Contracts, which, for avoidance
of doubt, includes grants of security interests in, without limitation, escrow accounts, deposit accounts,
Cash Collateral, and letters of credit issued for the benefit of Insurers, shall remain in full force and effect
solely to the extent provided for in this Plan. The filing of the Combined Order with any federal, state, or
local agency or department shall constitute good and sufficient evidence of, but shall not be required to
effect, the termination of such Liens, Claims, and other interests to the extent provided in the immediately
preceding sentence. Any Person or Entity holding such Liens, Claims, or interests shall, pursuant to section
1142 of the Bankruptcy Code, promptly execute and deliver to the Reorganized Debtors such instruments
of termination, release, satisfaction, and/or assignment (in recordable form) as may be reasonably requested
by the Reorganized Debtors.

L.      Exemption from Certain Taxes and Fees

         To the fullest extent permitted by section 1146(a) of the Bankruptcy Code, any transfer (whether
from a Debtor to a Reorganized Debtor or to any other Person) of property under, pursuant to, in
contemplation of, or in connection with this Plan (including the Restructuring Transactions) pursuant to
(1) the issuance, distribution, transfer, or exchange of any debt, securities, or other interest in the Debtors
or the Reorganized Debtors, (2) the creation, modification, consolidation, termination, refinancing, or
recording of any mortgage, deed of trust, or other security interest, or the securing of additional
indebtedness by such or other means, (3) the making, assignment, or recording of any lease or sublease,
(4) the grant of collateral security for any or all of the Exit Facilities or other indebtedness, or (5) the
making, delivery, or recording of any deed or other instrument of transfer under, in furtherance of, or in
connection with, this Plan, including, without limitation, any deeds, bills of sale, assignments, or other
instrument of transfer executed in connection with any transaction arising out of, contemplated by, or in
any way related to this Plan (including the Restructuring Transactions), shall not be subject to any document
recording tax, stamp tax, conveyance fee, intangibles, or similar tax, mortgage tax, real estate transfer tax,
mortgage recording tax, Uniform Commercial Code filing or recording fee, regulatory filing or recording
fee, or other similar tax or governmental assessment, and the appropriate U.S. federal, state or local
governmental officials, agents, or filing or recording officers (or any other Person with authority over any
of the foregoing), wherever located and by whomever appointed, shall comply with the requirements of
section 1146(a) of the Bankruptcy Code, and shall forego the collection of any such tax or governmental
assessment and accept for filing and recordation any of the foregoing instruments or other documents
without the payment of any such tax, fee or governmental assessment.




                                                      38
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 518 of 569



M.      Directors and Officers of the Reorganized Debtors

        1.       Reorganized Board

         The members of the Reorganized Board shall consist of a number of members determined by the
Required Consenting Lenders in their sole discretion, which shall consist of members appointed in a manner
determined by the Required Consenting Lenders in their sole discretion and set forth in the New
Organizational Documents for Reorganized Parent. Except to the extent that a member of the board of
directors or board of managers, or the sole manager, as applicable, of a Debtor is designated in the Plan
Supplement to serve as a director, manager, or sole manager of such Reorganized Debtor on the Effective
Date, the members of the board of directors or board of managers, or the sole manager, as applicable, of
each Debtor prior to the Effective Date, in their capacities as such, shall have no continuing obligations to
the Reorganized Debtors on or after the Effective Date, and each such director, manager, or sole manager
shall be deemed to have resigned or shall otherwise cease to be a director, manager, or sole manager of the
applicable Debtor on the Effective Date. Each of the directors, managers, sole managers and officers of
each of the Reorganized Debtors and Reorganized Parent shall serve pursuant to the terms of the applicable
New Organizational Documents of such Reorganized Debtor or Reorganized Parent, as applicable, and may
be designated, replaced, or removed in accordance with such New Organizational Documents.

        2.       Senior Management

         The existing officers of the Debtors as of the Effective Date shall remain in their current capacities
as officers of the Reorganized Debtors, subject to their right to resign and the ordinary rights and powers
of the Reorganized Board to remove or replace them in accordance with the New Organizational Documents
and any applicable employment agreements that are assumed pursuant to this Plan.

        3.       Management Incentive Plan

        After the Effective Date, the Reorganized Board shall adopt the Management Incentive Plan in
accordance with the Transaction Term Sheet. The form of the awards (i.e., options, restricted stock or units,
appreciation rights, etc.), the participants in the Management Incentive Plan, the allocations of the awards
to such participants (including the amount of allocations and the timing of the grant of the awards), and the
terms and conditions of the awards (including vesting, exercise prices, base values, hurdles, forfeiture,
repurchase rights and transferability) shall be determined by the Reorganized Board in its sole discretion.

N.      Preservation of Causes of Action

        In accordance with section 1123(b) of the Bankruptcy Code, but subject to the releases and
exculpation set forth in this section and in Article IX below, all Causes of Action that a Debtor may hold
against any Entity shall vest in the applicable Reorganized Debtor on the Effective Date, including each
Cause of Action set forth in the schedule of retained Causes of Action included in the Plan Supplement.
Thereafter, the Reorganized Debtors shall have the exclusive right, authority, and discretion to determine
and to initiate, file, prosecute, enforce, abandon, settle, compromise, release, withdraw, or litigate to
judgment any such Causes of Action, whether arising before or after the Petition Date, and to decline to do
any of the foregoing without the consent or approval of any third party or further notice to or action, order,
or approval of the Bankruptcy Court. No Entity may rely on the absence of a specific reference in this
Plan, the Plan Supplement, or the Disclosure Statement to any specific Cause of Action as any
indication that the Debtors or the Reorganized Debtors shall not pursue any and all available Causes
of Action. The Debtors and the Reorganized Debtors expressly reserve all rights to prosecute any
and all Causes of Action against any Entity, except as otherwise expressly provided in this Plan, and,
therefore, no preclusion doctrine, including the doctrines of res judicata, collateral estoppel, issue
preclusion, claim preclusion, estoppel (judicial, equitable, or otherwise) or laches, shall apply to any Cause



                                                      39
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 519 of 569



of Action upon, after, or as a consequence of the Confirmation or the occurrence of the Effective Date. In
addition, the Debtors and the Reorganized Debtors expressly reserve the right to pursue or adopt any claims
alleged in any lawsuit in which any of the Debtors are a plaintiff, defendant, or an interested party, against
any Person or Entity, including, without limitation, the plaintiffs or co-defendants in such lawsuits. For the
avoidance of doubt, in no instance shall any Cause of Action preserved pursuant to this Article IV.N include
any Claim or Cause of Action released or exculpated under this Plan (including, without limitation, by the
Debtors).

O.      Corporate Action

         Each of the Debtors and the Reorganized Debtors may take any and all actions to execute, deliver,
File or record such contracts, instruments, releases, and other agreements or documents and take such
actions as may be necessary or appropriate to effectuate, implement, and further evidence the provisions of
this Plan, and without further notice to or order of the Bankruptcy Court, any act or action under applicable
law, regulation, order, or rule or any requirement of further action, vote or other approval or authorization
by the security holders, officers, or directors of the Debtors or the Reorganized Debtors or by any other
Person (except for those expressly required pursuant hereto or by the Definitive Documents).

         Upon the Effective Date, all actions contemplated by this Plan shall be deemed authorized,
approved, and, to the extent taken before the Effective Date, ratified without any requirement for further
action by Holders of Claims or Interests, directors, managers, or officers of the Debtors, the Reorganized
Debtors, or any other Entity, including: (1) assumption and rejection (as applicable) of Executory Contracts
and Unexpired Leases; (2) selection of the directors, managers, and officers for each of the Reorganized
Debtors and Reorganized Parent; (3) the execution of the New Organizational Documents and the Exit
Facilities Documents; (4) the issuance and delivery of the New Equity Interests and incurrence of the Exit
Facilities; (5) implementation of the Restructuring Transactions; and (6) all other acts or actions
contemplated, or reasonably necessary or appropriate to promptly consummate the transactions
contemplated by this Plan (whether to occur before, on, or after the Effective Date). All matters provided
for in this Plan involving the company structure of the Debtors, and any company action required by the
Debtors in connection therewith, shall be deemed to have occurred on, and shall be in effect as of, the
Effective Date, without any requirement of further action by the security holders, directors, managers,
authorized persons, or officers of the Debtors, the Reorganized Debtors, or Reorganized Parent or
otherwise.

         Before, on, and after the Effective Date, the appropriate officers, directors, managers, or authorized
persons of the Debtors, the Reorganized Parent, or any direct or indirect subsidiaries of the Reorganized
Parent (including any president, vice-president, chief executive officer, treasurer, general counsel,
secretary, or chief financial officer thereof) shall be authorized and directed to issue, execute, and deliver
the agreements, documents, securities, memoranda and articles of association, certificates of incorporation,
certificates of formation, bylaws, operating agreements, other organization documents, and instruments
contemplated by this Plan (or necessary or desirable to effect the transactions contemplated by this Plan) in
the name of and on behalf of the applicable Debtors or applicable Reorganized Debtors, including the
(1) New Organizational Documents, (2) Exit Facilities Documents, and (3) any and all other agreements,
documents, securities, and instruments relating to or contemplated by the foregoing. Before or on the
Effective Date, each of the Debtors is authorized, in its sole discretion, to change its name or corporate form
and to take such other action as required to effectuate a change of name or corporate form in the jurisdiction
of incorporation of the applicable Debtor or Reorganized Debtor. To the extent the Debtors change their
names or corporate form before the closing of the Chapter 11 Cases, the Debtors shall change the case
captions accordingly.

        The authorizations, approvals and directives contemplated by this Article IV.O shall be effective
notwithstanding any requirements under non-bankruptcy Law.


                                                      40
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 520 of 569



P.      Prepetition Intercreditor Agreement

         Notwithstanding anything to the contrary in this Plan, the treatment of, and distributions (including
rights to adequate protection and participation in the DIP Term Loan Facility) made to Holders of
Prepetition Term Loan Claims shall not be subject to the Prepetition Intercreditor Agreement or the terms
thereof (including any turnover and disgorgement provisions), and the Prepetition Intercreditor Agreement
shall be deemed so amended to the extent necessary to effectuate same.

Q.      Effectuating Documents; Further Transactions

         Before, on, and after the Effective Date, the Debtors and the Reorganized Debtors and the directors,
managers, officers, authorized persons, and members of the boards of directors or managers and directors
or managers thereof, are authorized to and may issue, execute, deliver, file, or record such contracts,
securities, notes, instruments, certificates, releases, and other agreements or documents and take such
actions as may be necessary or appropriate to effectuate, implement, and further evidence the terms and
provisions of this Plan, the New Organizational Documents, the Exit Facilities Documents, and any
Securities issued pursuant to this Plan in the name of and on behalf of the Reorganized Debtors, without
the need for any approvals, authorizations, actions, or consents except for those expressly required pursuant
to this Plan or the Transaction Support Agreement.

R.      Authority of the Debtors

        Effective on the Confirmation Date, the Debtors shall be empowered and authorized to take or
cause to be taken, before the Effective Date, all actions necessary or appropriate to achieve the Effective
Date and enable the Reorganized Debtors to implement effectively the provisions of this Plan, the
Combined Order, the Definitive Documents, and the Restructuring Transactions.

S.      No Substantive Consolidation

        This Plan is being proposed as a joint chapter 11 plan of the Debtors for administrative purposes
only and constitutes a separate chapter 11 plan for each Debtor. This Plan is not premised upon the
substantive consolidation of the Debtors with respect to the Classes of Claims or Interests set forth in this
Plan.

T.      Continuing Effectiveness of Final Orders

        Payment authorization granted to the Debtors under any prior Final Order entered by the
Bankruptcy Court shall continue in effect after the Effective Date. Accordingly, the Debtors or the
Reorganized Debtors may pay or otherwise satisfy any Claim to the extent permitted by, and subject to, the
applicable Final Order without regard to the treatment that would otherwise be applicable to such Claim
under this Plan.

U.      Modifications to Executory Contracts and Unexpired Leases

        The Debtors, with the consent of the Required Consenting Term Lenders, are authorized to enter
into, and perform under, amendments or modifications of any Executory Contracts or Unexpired Leases
with the counterparty to such Executory Contract or Unexpired Lease and pay any amounts due as a result
of such amendment or modification.




                                                     41
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 521 of 569



                                 Article V.
                   TREATMENT OF EXECUTORY CONTRACTS
      AND UNEXPIRED LEASES; EMPLOYEE BENEFITS; AND INSURANCE POLICIES

A.      Assumption of Executory Contracts and Unexpired Leases

        On the Effective Date, except as otherwise provided in this Plan, each of the Executory Contracts
and Unexpired Leases not previously rejected, assumed, or assumed and assigned pursuant to an order of
the Bankruptcy Court shall be deemed assumed and amended (as necessary to implement the terms of the
Restructuring Transactions), as of the Effective Date pursuant to sections 365 and 1123 of the Bankruptcy
Code except any Executory Contract or Unexpired Lease (1) identified on the Rejected Executory
Contract/Unexpired Lease List (which shall initially be filed with the Bankruptcy Court on the Plan
Supplement Filing Date) as an Executory Contract or Unexpired Lease to be rejected (if any), (2) that is the
subject of a separate motion or notice to reject pending as of the Effective Date, or (3) that previously
expired or terminated pursuant to its own terms (disregarding any terms the effect of which is invalidated
by the Bankruptcy Code).

        Entry of the Combined Order by the Bankruptcy Court shall constitute an order approving the
assumption of the Transaction Support Agreement pursuant to sections 365 and 1123 of the Bankruptcy
Code and effective on the occurrence of the Effective Date. The Transaction Support Agreement shall be
binding and enforceable against the applicable parties thereto in accordance with its terms. For the
avoidance of doubt, the assumption of the Transaction Support Agreement shall not otherwise modify, alter,
amend, or supersede any of the terms or conditions thereof including, without limitation, any termination
events or provisions thereunder.

        Entry of the Combined Order by the Bankruptcy Court shall constitute an order approving the
assumption of the Executory Contracts and Unexpired Leases pursuant to sections 365(a) and 1123 of the
Bankruptcy Code, effective on the occurrence of the Effective Date. Each Executory Contract and
Unexpired Lease assumed pursuant to this Plan or by Bankruptcy Court order, and not assigned to a third
party on or before the Effective Date, shall re-vest in and be fully enforceable by the applicable Reorganized
Debtor in accordance with its terms, except as such terms may have been modified by order of the
Bankruptcy Court.

         To the maximum extent permitted by law, unless otherwise provided herein, the transactions
contemplated by this Plan shall not constitute a “change of control” or “assignment” (or terms with similar
effect) under any Executory Contract or Unexpired Lease assumed pursuant to this Plan, or any other
transaction, event, or matter that would (1) result in a violation, breach, or default under such Executory
Contract or Unexpired Lease, (2) increase, accelerate, or otherwise alter any obligations, rights, or liabilities
of the Debtors or the Reorganized Debtors under such Executory Contract or Unexpired Lease, or (3) result
in the creation or imposition of a Lien upon any property or asset of the Debtors or the Reorganized Debtors
pursuant to the applicable Executory Contract or Unexpired Lease. Any consent or advance notice required
under such Executory Contract or Unexpired Lease in connection with assumption thereof (pursuant to the
other provisions of this Article V.A) shall be deemed satisfied by Confirmation.

         Notwithstanding anything to the contrary in this Plan, but subject to the Consent Rights in Article
I.C, the Debtors reserve the right to amend or supplement the Rejected Executory Contract/Unexpired Lease
List in their discretion before the Effective Date and, after the Effective Date, the Reorganized Debtors,
shall have the right to amend Rejected Executory Contract/Unexpired Lease List; provided, that such right
to amend shall not apply to any Unexpired Lease for nonresidential property; provided, further that the
Debtors shall give prompt notice of any such amendment or supplement to any affected counterparty and
such counterparty shall have no less than seven (7) days to object thereto on any grounds.



                                                       42
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 522 of 569



          The Rejected Executory Contract/Unexpired Lease List shall be filed with the Plan Supplement,
provided that the Debtors may amend such list (including by adding or removing contracts and leases
therefrom) at any time prior to the Effective Date. Notwithstanding anything herein to the contrary, with
respect to any Unexpired Lease of nonresidential real property that is listed on the Rejected Executory
Contract/Unexpired Lease List, the effective date of the rejection of any such Unexpired Lease shall be the
later of (1) the Effective Date and (2) the date upon which the Debtors notify the landlord in writing (email
being sufficient) that they have surrendered the premises to the landlord and returned the keys, key codes,
or security codes, as applicable. Any property remaining on the premises subject to a rejected Unexpired
Lease shall be deemed abandoned by the Debtors or the Reorganized Debtors, as applicable, as of the
effective date of rejection, and the counterparty to such Unexpired Lease shall be authorized to use or
dispose of any property left on the premises in its sole and absolute discretion without notice or liability to
the Debtors or the Reorganized Debtors, as applicable, or any third party.

B.      Payments on Assumed Executory Contracts and Unexpired Leases

         Any monetary default under an Executory Contract or Unexpired Lease to be assumed pursuant to
this Plan shall be satisfied, pursuant to section 365(b)(1) of the Bankruptcy Code, by payment of the default
amount in Cash in the ordinary course of business, subject to the limitation described below, or on such
other terms as the parties to such Executory Contract or Unexpired Lease may otherwise agree.

        Parties to Executory Contracts and Unexpired Leases assumed by the Debtors pursuant to
the Plan shall not be required to File a Proof of Claim or objection to assert or preserve any Cure
Cost. Notwithstanding anything to the contrary in the Plan, all Cure Cost shall be Unimpaired by
the Plan and all Cure Cost outstanding as of the Effective Date shall remain continuing obligations
of the Reorganized Debtors following the Effective Date subject to all parties’ rights and defenses
with respect thereto.

        Any and all Proofs of Claim based upon Executory Contracts or Unexpired Leases that have
been assumed in the Chapter 11 Cases, including pursuant to the Combined Order, shall be deemed
disallowed and expunged as of the Effective Date without the need for any objection thereto or any
further notice to or action, order, or approval of the Bankruptcy Court.

         In the event of a dispute regarding (1) the ability of the Reorganized Debtors or any assignee to
provide “adequate assurance of future performance” (within the meaning of section 365(b) of the
Bankruptcy Code) under the Executory Contract or Unexpired Lease to be assumed, or (2) any other matter
pertaining to assumption, the Bankruptcy Court shall hear such dispute before the assumption becoming
effective; provided, that the Debtors, with the consent of the Required Consenting Lenders may settle any
such dispute and shall pay any agreed upon Cure Cost without any further notice to any party or any action,
order, or approval. The cure payments required by section 365(b)(1) of the Bankruptcy Code shall be made
following the entry of a Final Order(s) resolving the dispute and approving the assumption and shall not
prevent or delay implementation of this Plan or the occurrence of the Effective Date.

C.      Claims Based on Rejection of Executory Contracts and Unexpired Leases

         Unless otherwise provided by a Bankruptcy Court order, any Proofs of Claim asserting Rejection
Damages Claims pursuant to this Plan or otherwise must be filed with the Notice and Claims Agent within
thirty (30) days of the later of (1) the effective date of the rejection of the applicable Executory Contract or
Unexpired Lease (which shall be the Confirmation Date unless otherwise provided in an order of the
Bankruptcy Court providing for the rejection of an Executory Contract or Unexpired Lease); (2) the
Confirmation Date; or (3) the date of the order authorizing the rejection of the applicable Executory
Contract or Unexpired Lease. Any Rejection Damages Claims that are not timely filed shall be
automatically disallowed without further order of the Bankruptcy Court. All Allowed Rejection



                                                      43
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 523 of 569



Damages Claims shall constitute General Unsecured Claims and shall be treated in accordance with Article
III.B.

         Any Rejection Damages Claims for Executory Contracts or Unexpired Leases that the Debtors,
with the consent of the Required Consenting Term Lenders, elect to reject shall be paid in full on the
Effective Date, subject to the applicable provisions of the Bankruptcy Code, including sections 502(b)(6)
and 510(b); provided, that such Claim is not a Subordinated Claim, in which case such Claim shall be
treated as a Subordinated Claim pursuant to the terms of this Plan.

D.      Contracts and Leases Entered into After the Petition Date

         Contracts and leases entered into after the Petition Date by any Debtor, including any Executory
Contracts and Unexpired Leases assumed by any Debtor, shall be performed by such Debtor or Reorganized
Debtor, as applicable, liable thereunder in the ordinary course of business. Accordingly, such contracts and
leases (including any Executory Contracts and Unexpired Leases assumed or assumed and assigned
pursuant to section 365 of the Bankruptcy Code) that have not been rejected as of the Confirmation Date
shall survive and remain unaffected by entry of the Combined Order.

E.      Reservation of Rights

         Nothing contained in this Plan shall constitute an admission by the Debtors that any contract or
lease is in fact an Executory Contract or Unexpired Lease or that any Reorganized Debtor has any liability
thereunder. If there is a dispute regarding whether a contract or lease is or was executory or unexpired at
the time of assumption, the Debtors or Reorganized Debtors, as applicable, shall have thirty (30) days
following entry of a Final Order resolving such dispute to alter their treatment of such contract or lease. If
there is a dispute regarding a Debtor’s or Reorganized Debtor’s liability under an assumed Executory
Contract or Unexpired Lease, the Reorganized Debtors shall be authorized to move to have such dispute
heard by the Bankruptcy Court pursuant to Article X.

F.      Directors and Officers Insurance Policies

         On the Effective Date the Reorganized Debtors shall be deemed to have assumed all of the Debtors’
D&O Insurance Policies (including any “tail coverage” and all agreements, documents, or instruments
related thereto) in effect before the Effective Date pursuant to sections 105 and 365(a) of the Bankruptcy
Code, without the need for any further notice to or action, order, or approval of the Bankruptcy Court.
Confirmation of this Plan shall not discharge, impair, or otherwise modify any indemnity obligations
assumed by the foregoing assumption of the D&O Insurance Policies, and each such indemnity obligation
shall be deemed and treated as an Executory Contract that has been assumed by the Debtors under this Plan
as to which no Proof of Claim need be Filed. The Debtors and, after the Effective Date, the Reorganized
Debtors shall retain the ability to supplement such D&O Insurance Policies as the Debtors or Reorganized
Debtors, as applicable, may deem necessary. For the avoidance of doubt, entry of the Combined Order
shall constitute the Bankruptcy Court’s approval of the Reorganized Debtors’ foregoing assumption of each
of the unexpired D&O Insurance Policies.

         In addition, on or after the Effective Date, none of the Reorganized Debtors shall terminate or
otherwise reduce the coverage under any D&O Insurance Policies (including any “tail policy” and all
agreements, documents, or instruments related thereto) in effect on or before the Effective Date, with
respect to conduct occurring prior thereto, and all current and former directors, officers, and managers of
the Debtors who served in such capacity at any time before the Effective Date shall be entitled to the full
benefits of any such policies for the full term of such policies regardless of whether such current and former
directors, officers, and managers remain in such positions after the Effective Date, all in accordance with




                                                     44
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 524 of 569



and subject in all respects to the terms and conditions of the D&O Insurance Policies, which shall not be
altered.

G.      Other Insurance Contracts

         On the Effective Date, each of the Debtors’ Insurance Contracts in existence as of the Effective
Date shall be Reinstated and continued in accordance with their terms and, to the extent applicable, shall
be deemed assumed by the applicable Reorganized Debtor pursuant to section 365 of the Bankruptcy Code
and Article V. Nothing in this Plan shall affect, impair, or prejudice the rights of the insurance carriers, the
insureds, or the Reorganized Debtors under the Insurance Contracts in any manner, and such insurance
carriers, the insureds, and Reorganized Debtors shall retain all rights and defenses under such Insurance
Contracts. The Insurance Contracts shall apply to and be enforceable by and against the insureds and the
Reorganized Debtors in the same manner and according to the same terms and practices applicable to the
Debtors, as existed before the Effective Date.

H.      Indemnification Provisions and Reimbursement Obligations

          On and as of the Effective Date, and except as prohibited by applicable law and subject to the
limitations set forth herein, the Indemnification Provisions shall be assumed and irrevocable and shall
survive the effectiveness of this Plan, and the New Organizational Documents shall provide to the fullest
extent provided by law for the indemnification, defense, reimbursement, exculpation, and/or limitation of
liability of, and advancement of fees and expenses to the Debtors’ and the Reorganized Debtors’ current
and former directors, officers, equity holders, managers, members, employees, accountants, investment
bankers, attorneys, other professionals, agents of the Debtors, and such current and former directors’,
officers’, equity holders’, managers’, members’, and employees’ respective Affiliates (each of the
foregoing solely in their capacity as such) at least to the same extent as the Indemnification Provisions,
against any Claims or Causes of Action whether direct or derivative, liquidated or unliquidated, fixed or
contingent, disputed or undisputed, matured or unmatured, known or unknown, foreseen or unforeseen,
asserted or unasserted. Notwithstanding anything in this Plan to the contrary, none of the Reorganized
Debtors shall amend and/or restate the New Organizational Documents before or after the Effective Date
to terminate or adversely affect any of the Indemnification Provisions.
I.      Employee Compensation and Benefits

        1.       Compensation and Benefits Programs

         Subject to the provisions of this Plan, all Compensation and Benefits Programs (other than awards
of stock options, restricted stock, restricted stock units, and other equity awards) shall be treated as
Executory Contracts under this Plan and deemed assumed on the Effective Date pursuant to the provisions
of sections 365 and 1123 of the Bankruptcy Code. All Proofs of Claim Filed for amounts due under any
Compensation and Benefits Program shall be considered satisfied by the applicable agreement and/or
program and agreement to assume and cure in the ordinary course as provided in this Plan. All collective
bargaining agreements to which any Debtor is a party, and all Compensation and Benefits Programs which
are maintained pursuant to such collective bargaining agreements or to which contributions are made or
benefits provided pursuant to a current or past collective bargaining agreement, shall be deemed assumed
on the Effective Date pursuant to the provisions of sections 365 and 1123 of the Bankruptcy Code and the
Reorganized Debtors reserve all of their rights under such agreements. For the avoidance of doubt, the
Debtors and Reorganized Debtors, as applicable, shall honor all their obligations under section 1114 of the
Bankruptcy Code.

        None of the Restructuring Transactions, or any assumption of Compensation and Benefits
Programs pursuant to the terms herein shall be deemed to trigger any applicable change of control, vesting,
termination, acceleration, or similar provisions therein; provided, that the Assumed Employee Agreements


                                                      45
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 525 of 569



shall be assumed and governed by the terms thereof. Subject to the preceding sentence, no counterparty
shall have rights under a Compensation and Benefits Program assumed pursuant to this Plan other than
those applicable immediately before such assumption.

        2.       Workers’ Compensation Programs

         As of the Effective Date, except as set forth in the Plan Supplement, the Debtors and the
Reorganized Debtors shall continue to honor their obligations under: (a) all applicable state workers’
compensation laws; and (b) the Workers’ Compensation Contracts. All Proofs of Claims filed by the
Debtors’ current or former employees on account of workers’ compensation shall be deemed withdrawn
automatically and without any further notice to or action, order, or approval of the Bankruptcy Court based
upon the treatment provided for herein; provided, that nothing in this Plan shall limit, diminish, or otherwise
alter the Debtors’ or Reorganized Debtors’ defenses, Causes of Action, or other rights under applicable
non-bankruptcy law with respect to the Workers’ Compensation Contracts; provided, further, that nothing
herein shall be deemed to impose any obligations on the Debtors in addition to what is provided for under
applicable non-bankruptcy law and/or the Workers’ Compensation Contracts.

                                         Article VI.
                            PROVISIONS GOVERNING DISTRIBUTIONS

A.      Timing and Calculation of Amounts to Be Distributed

         Unless otherwise provided in this Plan, on the Effective Date (or if a Claim is not an Allowed Claim
on the Effective Date, on the date that such Claim becomes an Allowed Claim, or as soon as reasonably
practicable thereafter), each Holder of an Allowed Claim shall receive the full amount of the distributions
that this Plan provides for Allowed Claims in the applicable Class; provided, that any Allowed
Administrative Claims with respect to liabilities incurred by the Debtors in the ordinary course of business
during the Chapter 11 Cases or assumed by the Debtors before the Effective Date shall be paid or performed
in the ordinary course of business.

         In the event that any payment or act under this Plan is required to be made or performed on a date
that is not a Business Day, then the making of such payment or the performance of such act may be
completed on the next succeeding Business Day, but shall be deemed to have been completed as of
the required date.

         If and to the extent that there are Disputed Claims, distributions on account of any such Disputed
Claims shall be made pursuant to the provisions set forth in Article VII. Except as otherwise provided
herein, Holders of Claims shall not be entitled to postpetition interest, dividends, or accruals on the
distributions provided for herein, regardless of whether such distributions are delivered on or at any time
after the Effective Date.

B.      Special Rules for Distributions to Holders of Disputed Claims

         Except as otherwise agreed by the relevant parties: (1) no partial payments and no partial
distributions shall be made with respect to a Disputed Claim until all such disputes in connection with such
Disputed Claim have been resolved by settlement or Final Order; and (2) any Entity that holds both an
Allowed Claim and a Disputed Claim shall not receive any distribution on the Allowed Claim unless and




                                                      46
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 526 of 569



until all objections to the Disputed Claim have been resolved by settlement or Final Order or such Claims
or Interests have been Allowed or expunged.

C.      Rights and Powers of Distribution Agent

        1. Powers of the Distribution Agent

        The Distribution Agent shall be empowered to: (a) effect all actions and execute all agreements,
instruments, and other documents necessary to perform its duties under this Plan; (b) make all distributions
contemplated hereby; (c) employ professionals to represent it with respect to its responsibilities; and
(d) exercise such other powers as may be vested in the Distribution Agent by order of the Bankruptcy Court,
pursuant to this Plan, or as deemed by the Distribution Agent to be necessary and proper to implement the
provisions hereof.

        2. Expenses Incurred on or After the Effective Date and Indemnification

        Except as otherwise ordered by the Bankruptcy Court, the amount of any reasonable fees and
expenses incurred by the Distribution Agent on or after the Effective Date (including taxes in connection
with this Plan, but excluding any income, franchise, or similar taxes), and any reasonable compensation
and expense reimbursement claims (including reasonable attorney fees and expenses), made by the
Distribution Agent shall be paid in Cash by the Reorganized Debtors.

D.      Delivery of Distributions

        1.      Record Date for Distributions

         On the Distribution Record Date, the Claims Register shall be closed and any party responsible for
making distributions shall instead be authorized and entitled to recognize only those record Holders listed
on the Claims Register as of the close of business on the Distribution Record Date. The Distribution Record
Date shall not apply to distributions in respect of Securities deposited with DTC, the Holders of which shall
receive distributions, if any, in accordance with the customary exchange procedures of DTC or this Plan.
For the avoidance of doubt, in connection with a distribution through the facilities of DTC (if any), DTC
shall be considered a single Holder for purposes of distributions.

        2.      Delivery of Distributions in General

         Except as otherwise provided herein, the Distribution Agent shall make distributions to Holders of
Allowed Claims as of the Distribution Record Date, or, if applicable, to such Holder’s designee, as
appropriate: (a) at the address for each such Holder as indicated on the Debtors’ records as of the
Distribution Record Date; (b) to the signatory set forth on any Proof of Claim Filed by such Holder or other
Representative identified therein (or at the last known addresses of such Holder if no Proof of Claim is
Filed or if the Debtors have not been notified in writing of a change of address); (c) at the addresses set
forth in any written notices of address changes delivered to the Reorganized Debtors or the applicable
Distribution Agent, as appropriate, after the date of any related Proof of Claim; or (d) on any counsel that
has appeared in the Chapter 11 Cases on the Holder’s behalf; provided, that the manner of such distributions
shall be determined at the discretion of the Reorganized Debtors.

        All distributions to Holders of DIP Claims shall be made to the DIP Agents or the Exit Term Loan
Agent, as applicable, and the DIP Agents or the Exit Term Loan Agent shall be, and shall act as, the
Distribution Agent with respect to the DIP Claims in accordance with the terms and conditions of this Plan
and the applicable debt documents.




                                                     47
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 527 of 569



         All distributions to Holders of Prepetition Term Loan Claims shall be made to the Prepetition Term
Loan Agent, and the Prepetition Term Loan Agent shall be, and shall act as, the Distribution Agent with
respect to the Prepetition Term Loan Claims in accordance with the terms and conditions of this Plan and
the applicable debt documents.

        3.      Minimum Distributions

         Notwithstanding any provision in this Plan to the contrary, no Distribution Agent shall be required
to make distributions or payments of less than $100 (whether in Cash or otherwise) with respect to Impaired
Claims. No fractional shares of New Equity Interests shall be distributed and no Cash shall be distributed
in lieu of such fractional amounts. When any distribution pursuant to this Plan on account of an Allowed
Claim would otherwise result in the issuance of a number of shares of New Equity Interests that is not a
whole number, the actual distribution of shares of New Equity Interests shall be rounded as follows:
(a) fractions of one-half (½) or greater shall be rounded to the next higher whole number and (b) fractions
of less than one-half (½) shall be rounded to the next lower whole number with no further payment
therefore. The total number of authorized shares of New Equity Interests to be distributed under this Plan
shall be adjusted as necessary to account for the foregoing rounding. For distribution purposes (including
rounding), DTC shall be treated as a single Holder.

        4.      Undeliverable Distributions

         In the event that any distribution to any Holder of Allowed Claims is returned as undeliverable, no
distribution to such Holder shall be made unless and until the Distribution Agent has determined the then-
current address of such Holder, at which time such distribution shall be made to such Holder without
interest; provided, that such distributions shall be deemed unclaimed property under section 347(b) of the
Bankruptcy Code at the expiration of one (1) year from the Effective Date. After such date, all unclaimed
property or interests in property shall revert to the Reorganized Debtors automatically and without need for
a further order by the Bankruptcy Court (notwithstanding any applicable federal, provincial or state escheat,
abandoned, or unclaimed property laws to the contrary), and the Claim of any Holder of Claims to such
property or interest in property shall be discharged and forever barred.

E.      Compliance with Tax Requirements; Allocations

         In connection with this Plan and all distributions hereunder, the Reorganized Debtors and any other
applicable Distribution Agent (including for purposes of this Article VI, the Debtors) shall comply with all
applicable withholding and reporting requirements imposed on them by any Governmental Unit, and all
distributions hereunder and under all related agreements shall be subject to any such withholding and
reporting requirements. Notwithstanding any provision in this Plan to the contrary, the Reorganized
Debtors and any other applicable Distribution Agent shall have the right, but not the obligation, to take any
and all actions that may be necessary or appropriate to comply with such applicable withholding and
reporting requirements, including (a) withholding distributions and amounts therefrom pending receipt of
information necessary to facilitate such distributions, including properly executed withholding certification
forms, and (b) in the case of a non-Cash distribution that is subject to withholding, withholding an
appropriate portion of such property and either liquidating such withheld property to generate sufficient
funds to pay applicable withholding taxes (or reimburse the distributing party for any advance payment of
the withholding tax) or pay the withholding tax using its own funds and retain such withheld property.
Notwithstanding any provision in this Plan to the contrary, each Holder of an Allowed Claim shall have the
sole and exclusive responsibility for the satisfaction and payment of any tax obligations imposed by any
Governmental Unit, including income, withholding, and other tax obligations, on account of such
distribution. Any amounts withheld or reallocated pursuant to this Article VI shall be treated as if
distributed to the Holder of the Allowed Claim.



                                                     48
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 528 of 569



         Any Person or Entity entitled to receive any property as an issuance or distribution under this Plan
shall, upon request of the Reorganized Debtors or any other applicable Distribution Agent, deliver to the
applicable Reorganized Debtor or any other applicable Distribution Agent, or such other Person designated
by the Reorganized Debtors or the Distribution Agent, an IRS Form W-9 or, if the payee is a foreign Person
or Entity, an applicable IRS Form W-8 (together with all attachments), or any other forms or documents
reasonably requested by a Reorganized Debtor or Distribution Agent to reduce or eliminate any withholding
required by any Governmental Unit.

       The Reorganized Debtors reserve the right to allocate all distributions made under this Plan in
compliance with all applicable wage garnishments, alimony, child support and other spousal awards, Liens,
and encumbrances.

F.      Applicability of Insurance Contracts

        Notwithstanding anything to the contrary in this Plan, the Plan Supplement, the Disclosure
Statement, or the Combined Order (including, without limitation, any provision that purports to be
preemptory or supervening, confers Bankruptcy Court jurisdiction, or requires a party to opt out of any
releases):

        1.       on and after the Effective Date, all Insurance Contracts (a) are found to be and shall be
        treated as, Executory Contracts under this Plan and shall be assumed pursuant to sections 105 and
        365 of the Bankruptcy Code by the applicable Debtor, and/or (b) shall vest in the Reorganized
        Debtors and ride through and continue in full force and effect in accordance with their respective
        terms in either case such that the Reorganized Debtors shall become and remain jointly and
        severally liable in full for, and shall satisfy, any premiums, deductibles, self-insured retentions,
        and/or any other amounts or obligations arising in any way out of the receipt of payment from an
        Insurer in respect of the Insurance Contracts and as to which no Proof of Claim, Administrative
        Claim, or Cure Cost claim need be filed; and

        2.       solely with respect to Insurance Contracts, which, for avoidance of doubt, includes any and
        all collateral or security securing the Debtor’s obligations under the insurance policies, including,
        without limitation, escrow accounts, deposit accounts, Cash Collateral, and letters of credit, the
        automatic stay of section 362(a) of the Bankruptcy Code and the injunctions set forth in this Plan,
        if and to the extent applicable, shall be deemed lifted without further order of this Bankruptcy
        Court, solely to permit (a) claimants with valid workers’ compensation claims or direct action
        claims against Insurers under applicable non-bankruptcy law to proceed with their claims; (b)
        Insurers to administer, handle, defend, settle, and/or pay, in the ordinary course of business and
        without further order of this Bankruptcy Court, (i) workers’ compensation claims, (ii) claims where
        a claimant asserts a direct claim against an Insurer under applicable non-bankruptcy law, or an
        order has been entered by this Bankruptcy Court granting a claimant relief from the automatic stay
        or the injunctions set forth in this Plan to proceed with its claim, and (iii) all costs in relation to
        each of the foregoing; and (c) the Insurers to collect from any or all of the collateral or security
        provided by or on behalf of the Debtors (or the Reorganized Debtors) at any time and to hold the
        proceeds thereof as security for the obligations of the Debtors (or the Reorganized Debtors) and/or
        apply such proceeds to the obligations of the Debtors (or the Reorganized Debtors) under the
        applicable Insurance Contracts, in such order as the applicable Insurer may determine.

         Nothing contained in this Plan shall constitute or be deemed a waiver of any Cause of Action that
the Debtors or any Entity may hold against any other Entity, including Insurers under any Insurance
Contracts, nor shall anything contained herein constitute or be deemed a waiver by such Insurers of any
rights or defenses, including coverage defenses, held by such Insurers under the Insurance Contracts and/or
applicable non-bankruptcy law.


                                                     49
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 529 of 569



G.      Allocation of Distributions Between Principal and Interest

         Except as otherwise required by law (as reasonably determined by the Reorganized Debtors),
distributions with respect to an Allowed Claim shall be allocated for United States federal (and applicable
state and local) income tax purposes first to the principal portion of such Allowed Claim and, thereafter, to
the remaining portion of such Allowed Claim, if any.

H.      No Postpetition Interest on Claims

         Unless otherwise specifically provided for in this Plan, any other Definitive Document, the
Combined Order, the DIP/Cash Collateral Orders, or any other Final Order of the Bankruptcy Court, or
required by applicable bankruptcy law (including, without limitation, as required pursuant to section 506(b)
or section 511 of the Bankruptcy Code), postpetition interest shall not accrue or be paid on any Claims and
no Holder of a Claim or Interest shall be entitled to interest accruing on or after the Petition Date on any
Claim.

I.      Means of Cash Payment

         Payments of Cash made pursuant to this Plan shall be in United States dollars and shall be made,
at the option of the Debtors or the Reorganized Debtors (as applicable), by checks drawn on, or wire transfer
from, a domestic bank selected by the Debtors or the Reorganized Debtors. Cash payments to foreign
creditors may be made, at the option of the Debtors or the Reorganized Debtors, in such funds and by such
means as are necessary or customary in a particular foreign jurisdiction.

J.      Setoffs and Recoupment

         Except as otherwise provided herein, each Reorganized Debtor pursuant to the Bankruptcy Code
(including section 553 of the Bankruptcy Code), applicable bankruptcy or non-bankruptcy law, or as may
be agreed to by the Holder of an Allowed Claim, may set off or recoup against any Allowed Claim and the
distributions to be made pursuant to this Plan on account of such Allowed Claim, any Claims, rights, and
Causes of Action of any nature that the applicable Debtor or Reorganized Debtor may hold against the
Holder of such Allowed Claim, to the extent such Claims, rights, or Causes of Action have not been
otherwise compromised, settled, or assigned on or before the Effective Date (whether pursuant to this Plan,
a Final Order or otherwise); provided, that neither the failure to effect such a setoff or recoupment nor the
allowance of any Claim pursuant to this Plan shall constitute a waiver or release by such Reorganized
Debtor of any such Claims, rights, and Causes of Action.

        Notwithstanding anything to the contrary herein, nothing in this Plan or the Combined Order shall
modify the rights, if any, of any counterparty to a rejected Executory Contract or Unexpired Lease to assert
any right of setoff or recoupment that such party may have under applicable bankruptcy law or non-
bankruptcy law, including, but not limited to, the (1) ability, if any, of such parties to setoff or recoup a
security deposit held pursuant to the terms of their rejected Unexpired Lease(s) with the Debtors, or any
successors to the Debtors, under this Plan, (2) assertion of rights of setoff or recoupment, if any, in
connection with Claims reconciliation, or (3) assertion of setoff or recoupment as a defense, if any, to any
Claim or action by the Debtors, the Reorganized Debtors, or any successors of the Debtors.

K.      Claims Paid or Payable by Third Parties

        1.      Claims Paid by Third Parties

        A Claim shall be correspondingly reduced, and the applicable portion of such Claim shall be
disallowed without an objection to such Claim having to be Filed and without any further notice to or action,
order, or approval of the Bankruptcy Court, to the extent that the Holder of such Claim receives a payment


                                                     50
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 530 of 569



on account of such Claim from a party that is not a Debtor or Reorganized Debtor. To the extent a Holder
of a Claim receives a distribution on account of such Claim and receives payment from a party that is not a
Debtor or a Reorganized Debtor on account of such Claim, such Holder shall, within fourteen (14) days of
receipt thereof, repay or return the distribution to the Reorganized Debtors to the extent the Holder’s total
recovery on account of such Claim from the third party and under this Plan exceeds the amount of such
Claim as of the date of any such distribution under this Plan. The failure of such Holder to timely repay or
return such distribution shall result in the Holder owing the Reorganized Debtors annualized interest at the
Federal Judgment Rate on such amount owed for each Business Day after the fourteen (14) day grace period
specified above until the amount is repaid.

        2.      Claims Payable by Insurers

         No distributions under this Plan shall be made on account of an Allowed Claim that is payable
pursuant to one of the Debtors’ Insurance Contracts until the Holder of such Allowed Claim has exhausted
all remedies with respect to such Insurance Contract. To the extent that one or more of the Insurers agrees
to satisfy in full or in part a Claim (if and to the extent adjudicated by a court of competent jurisdiction),
then immediately upon such Insurers’ agreement, the applicable portion of such Claim may be expunged
without a Claim objection having to be Filed and without any further notice to or action, order, or approval
of the Bankruptcy Court.

        3.      Insurance Contracts

         Except as otherwise provided in this Plan, distributions to Holders of Allowed Claims shall be in
accordance with the provisions of any applicable Insurance Contract. Notwithstanding anything to the
contrary herein, nothing contained in this Plan shall constitute or be deemed a release, settlement,
satisfaction, compromise, or waiver of any Cause of Action that the Debtors or any other Entity may hold
against any other Entity, including Insurers, under any Insurance Contracts or applicable indemnity, nor
shall anything contained herein constitute or be deemed a waiver by such Insurers of any defenses, including
coverage defenses, held by such Insurers.

                                       Article VII.
                         PROCEDURES FOR RESOLVING CONTINGENT,
                           UNLIQUIDATED, AND DISPUTED CLAIMS

A.      No Filings of Proofs of Claim

         Except as otherwise provided in this Plan, Holders of Claims shall not be required to File a Proof
of Claim, and except as provided in this Plan, no parties should File a Proof of Claim. The Debtors do not
intend to object in the Bankruptcy Court to the allowance of Claims Filed; provided, that the Debtors and
the Reorganized Debtors, as applicable, reserve the right to object to any Claim that is entitled, or deemed
to be entitled, to a distribution under this Plan or is rendered Unimpaired under this Plan. Instead, the
Debtors intend to make distributions, as required by this Plan, in accordance with the books and records of
the Debtors. Unless disputed by a Holder of a Claim, the amount set forth in the books and records of the
Debtors shall constitute the amount of the Allowed Claim of such Holder except that (unless expressly
waived pursuant to this Plan) the Allowed amount of such Claim shall be subject to the limitations or
maximum amounts permitted by the Bankruptcy Code, including sections 502 and 503 of the Bankruptcy
Code, to the extent applicable. If any such Holder of a Claim disagrees with the Debtors’ books and records
with respect to the Allowed amount of such Holder’s Claim, such Holder must so advise the Debtors in
writing within thirty (30) days of receipt of any distribution on account of such Holder’s Claim, in which
event the Claim shall become a Disputed Claim. The Debtors intend to attempt to resolve any such disputes
consensually or through judicial means outside the Bankruptcy Court. Nevertheless, the Debtors may, in
their discretion, File with the Bankruptcy Court (or any other court of competent jurisdiction) an objection


                                                     51
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 531 of 569



to the allowance of any Claim or any other appropriate motion or adversary proceeding with respect thereto.
All such objections shall be litigated to Final Order; provided, that the Debtors may compromise, settle,
withdraw, or resolve by any other method approved by the Bankruptcy Court any objections to Claims.

         All Proofs of Claim, other than Rejection Damages Claims, Filed in the Chapter 11 Cases shall be
considered objected to and Disputed without further action by the Debtors. Upon the Effective Date, all
Proofs of Claim, other than Rejection Damages Claims, Filed against the Debtors, regardless of the time of
filing, and including Proofs of Claim, other than Rejection Damages Claims, Filed after the Effective Date,
shall be deemed withdrawn and expunged, other than as provided below. Notwithstanding anything in this
Plan to the contrary, disputes regarding the amount of any Cure Cost pursuant to section 365 of the
Bankruptcy Code and Claims that the Debtors seek to have determined by the Bankruptcy Court, shall in
all cases be determined by the Bankruptcy Court. Except as otherwise provided herein, all Proofs of
Claim, other than Rejection Damages Claims, Filed after the Effective Date shall be disallowed and
forever barred, estopped, and enjoined from assertion, and shall not be enforceable against any
Reorganized Debtor, without the need for any objection by the Reorganized Debtors or any further
notice to or action, order, or approval of the Bankruptcy Court.

B.      Allowance and Disallowance of Claims

        After the Effective Date, and except as otherwise provided in this Plan, the Reorganized Debtors
shall have and shall retain any and all available rights and defenses that the Debtors had with respect to any
Claim immediately before the Effective Date, including, without limitation, the right to assert any objection
to Claims based on the limitations imposed by section 502 of the Bankruptcy Code. The Debtors and the
Reorganized Debtors may, but are not required to, contest the amount and validity of any Disputed Claim
or contingent or unliquidated Claim in the ordinary course of business in the manner and venue in which
such Claim would have been determined, resolved or adjudicated if the Chapter 11 Cases had not been
commenced.

        All Claims and Interests of any Entity from which property is sought by the Debtors under sections
542, 543, 550, or 553 of the Bankruptcy Code or that the Debtors or the Reorganized Debtors allege is a
transferee of a transfer that is avoidable under sections 522(f), 522(h), 544, 545, 547, 548, 549, or 724(a)
of the Bankruptcy Code shall be disallowed if: (1) the Entity, on the one hand, and the Debtors or the
Reorganized Debtors, as applicable, on the other hand, agree or the Bankruptcy Court has determined by
Final Order that such Entity or transferee is liable to turn over any property or monies under any of the
aforementioned sections of the Bankruptcy Code; and (2) such Entity or transferee has failed to turn over
such property by the date set forth in such agreement or Final Order.

C.      Claims Administration Responsibilities

         Except as otherwise specifically provided in this Plan, after the Effective Date, the Reorganized
Debtors shall have the sole authority: (1) to File, withdraw, or litigate to judgment, objections to Claims or
Interests; (2) to settle or compromise any Disputed Claim or Interest without any further notice to or action,
order, or approval by the Bankruptcy Court; and (3) to administer and adjust the Claims Register to reflect
any such settlements or compromises without any further notice to or action, order, or approval by the
Bankruptcy Court. For the avoidance of doubt, except as otherwise provided herein, from and after the
Effective Date, each Reorganized Debtor shall have and retain any and all rights and defenses such Debtor
had immediately before the Effective Date with respect to any Disputed Claim or Interest, including the
Causes of Action retained pursuant to this Plan.

        Any objections to Claims and Interests other than General Unsecured Claims must be served
and Filed on or before the 120th day after the Effective Date or by such later date as ordered by the
Bankruptcy Court. All Claims and Interests other than General Unsecured Claims not objected to



                                                     52
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 532 of 569



by the end of such 120-day period shall be deemed Allowed unless such period is extended upon
approval of the Bankruptcy Court.

        Any objections to Rejection Damages Claims must be served and Filed on or before the 120th
day after the Effective Date or by such later date as ordered by the Bankruptcy Court. All Rejection
Damages Claims not objected to by the end of such 120-day period shall be deemed Allowed unless
such period is extended upon approval of the Bankruptcy Court.

        Notwithstanding the foregoing, the Debtors and Reorganized Debtors shall be entitled to dispute
and/or otherwise object to any General Unsecured Claim in accordance with applicable non-bankruptcy
law. If the Debtors or Reorganized Debtors dispute any General Unsecured Claim, such dispute shall be
determined, resolved, or adjudicated, as the case may be, in the manner as if the Chapter 11 Cases had not
been commenced; provided, that any disputes regarding the Allowance of a Rejection Damages Claim shall
be determined by the Bankruptcy Court. In any action or proceeding to determine the existence, validity,
or amount of any General Unsecured Claim, any and all claims or defenses that could have been asserted
by the applicable Debtor(s) or the Entity holding such General Unsecured Claim are preserved as if the
Chapter 11 Cases had not been commenced.

D.      Adjustment to Claims or Interests without Objection

        Any duplicate Claim or Interest or any Claim or Interest that has been paid, satisfied, amended, or
superseded may be adjusted or expunged on the Claims Register by the Reorganized Debtors without the
Reorganized Debtors having to File an application, motion, complaint, objection, or any other legal
proceeding seeking to object to such Claim or Interest and without any further notice to or action, order, or
approval of the Bankruptcy Court.

E.      Distributions After Allowance

         To the extent that a Disputed Claim ultimately becomes an Allowed Claim, distributions (if any)
shall be made to the Holder of such Allowed Claim in accordance with the provisions of this Plan. As soon
as reasonably practicable after the date that the order or judgment of the Bankruptcy Court allowing any
Disputed Claim becomes a Final Order, the Reorganized Debtors shall provide to the Holder of such Claim
the distribution (if any) to which such Holder is entitled under this Plan as of the Effective Date, without
any postpetition interest to be paid on account of such Claim.

                                     Article VIII.
                     CONDITIONS PRECEDENT TO THE EFFECTIVE DATE

A.      Conditions Precedent to the Effective Date

       The following are conditions precedent to the Effective Date that must be satisfied or waived
pursuant to the provisions of Article VIII.B:

        1. The Transaction Support Agreement shall be in full force and effect, no termination event or
event that would give rise to a termination event under the Transaction Support Agreement upon the
expiration of any applicable grace period shall have occurred and remain occurring, and the Transaction
Support Agreement shall not have been validly terminated before the Effective Date.

         2. The DIP Facilities and all DIP Facilities Documents shall be in full force and effect, no event
of default or event that would give rise to an event of default under the DIP Facilities Documents upon the
expiration of the applicable grace period shall have occurred and remain occurring, and the DIP Term Loan
Facility shall not have been validly terminated before the Effective Date.




                                                     53
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 533 of 569



       3. Any non-technical and/or immaterial amendments, modifications or supplements to this Plan
have been consented to by the Debtors and the Required Consenting Term Lenders.

        4. All of the actions set forth in the Restructuring Transaction Steps Memorandum that are
contemplated therein to be completed and implemented on or prior to the Effective Date, as applicable,
shall have been completed and implemented in accordance with the terms thereof.

         5. The Bankruptcy Court shall have entered the Final DIP/Cash Collateral Order, and such order
shall be in a Final Order and shall remain in full force and effect.

       6. The final version of the Plan Supplement shall have been filed and all of the schedules,
documents, and exhibits contained therein shall be consistent in all material respects with the Transaction
Support Agreement, the Transaction Term Sheet, the DIP & Exit ABL Commitment Letter, and this Plan.

         7. The Bankruptcy Court shall have entered the Combined Order, which shall be in form and
substance acceptable to the Required Consenting Term Lenders and Debtors and consistent in all material
respects with the Transaction Term Sheet and the Transaction Support Agreement and shall not be subject
to a stay, and the Plan shall not have been amended, altered, or modified from this Plan as confirmed by
the Combined Order in any material respect, unless such material amendment, alteration, or modification
has been made in accordance with this Plan and shall:

                a.      authorize the Debtors to take all actions necessary to enter into, implement, and
                        consummate the contracts, instruments, releases, leases, indentures, and other
                        agreements or documents created in connection with this Plan;

                b.      be in form and substance acceptable to the Required DIP Term Lenders;

                c.      authorize the assumption, assumption and assignment, and/or rejection of the
                        Executory Contracts and Unexpired Leases by the Debtors as contemplated in this
                        Plan and the Plan Supplement;

                d.      decree that the provisions in the Combined Order and this Plan are nonseverable
                        and mutually dependent;

                e.      authorize the Debtors to: (i) implement the Restructuring Transactions;
                        (ii) distribute the New Equity Interests pursuant to the exemption from registration
                        under the Securities Act provided by section 1145 of the Bankruptcy Code or other
                        exemption from such registration or pursuant to one or more registration
                        statements; (iii) make all distributions and issuances as required under this Plan
                        consistent with the Transaction Term Sheet, including the New Equity Interests;
                        and (iv) enter into any agreements, transactions, and sales of property as
                        contemplated by this Plan and the Plan Supplement, including the Management
                        Incentive Plan;

                f.      authorize the implementation of this Plan in accordance with its terms; and

                g.      provide that, pursuant to section 1146 of the Bankruptcy Code, the assignment or
                        surrender of any lease or sublease, and the delivery of any deed or other instrument
                        or transfer order, in furtherance of, or in connection with this Plan, including any
                        deeds, bills of sale, or assignments executed in connection with any disposition or
                        transfer of assets contemplated under this Plan, shall not be subject to any stamp,
                        real estate transfer, mortgage recording, or other similar tax.




                                                    54
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 534 of 569



         8. Each document or agreement necessary to effectuate the Plan, including all Definitive
Documents, shall have been executed and/or effectuated, shall be in form and substance acceptable to the
Required Consenting Term Lenders and Company Parties, and shall be consistent with the Transaction
Support Agreement or the DIP & Exit ABL Commitment Letter, as applicable, including the consent rights
provided therein, and any conditions precedent related thereto or contained therein shall have been satisfied
prior to or contemporaneously with the occurrence of the Effective Date or otherwise waived in accordance
with the terms of the applicable Definitive Documents.

        9. The Debtors shall have obtained all authorizations, consents, regulatory approvals, rulings, or
documents that are necessary to implement and effectuate the Restructuring Transactions, and all applicable
regulatory or government imposed waiting periods shall have expired or been terminated.

        10. All governmental and third-party approvals and consents that may be necessary in connection
with the Restructuring Transactions shall have been obtained, not be subject to unfulfilled conditions, and
be in full force and effect, and all applicable waiting periods shall have expired without any action being
taken or threatened by any competent authority that would restrain, prevent, or otherwise impose materially
adverse conditions on the Restructuring Transactions.

        11. No court of competent jurisdiction or other competent governmental or regulatory authority
shall have issued any order making illegal or otherwise restricting, limiting, preventing, or prohibiting the
consummation of any of the Restructuring Transactions.

        12. The Debtors shall have paid in full all professional fees and expenses of the Retained
Professionals that require the Bankruptcy Court’s approval or amounts sufficient to pay such fees and
expenses after the Effective Date shall have been placed in the Professional Fee Escrow Account pending
the Bankruptcy Court’s approval of such fees and expenses.

        13. The Restructuring Fees and Expenses shall have been paid in full in Cash (subject to any order
of the Bankruptcy Court).

        14. The restructuring to be implemented on the Effective Date shall be consistent with this Plan,
the Transaction Support Agreement, and the DIP & Exit ABL Commitment Letter.

        15. There shall not have been instituted or threatened or be pending any material action,
proceeding, application, claim, counterclaim, or investigation (whether formal or informal) (or there shall
not have been any material adverse development to any action, application, claim, counterclaim, or
proceeding currently instituted, threatened, or pending) before or by any court, governmental, regulatory or
administrative agency or instrumentality, domestic or foreign, or by any other person, domestic or foreign,
in connection with the Restructuring Transactions that, in the reasonable judgment of the Debtors and the
Required Consenting Term Lenders would prohibit, prevent, or restrict consummation of the Restructuring
Transactions in a materially adverse manner.

        Following the satisfaction or waiver of the foregoing, concurrently with or immediately following
effectiveness of this Plan on the Effective Date:

       1.       The Existing Equity Interests shall have been canceled and the New Equity Interests shall
have been issued by Reorganized Parent and distributed in accordance with the terms of this Plan.

         2.      The New Equity Interests to be issued and/or delivered on the Effective Date (as set forth
in this Plan) shall have been validly issued by Reorganized Parent, shall be fully paid and non-assessable,
and shall be free and clear of all taxes, Liens and other encumbrances, pre-emptive rights, rights of first
refusal, subscription rights and similar rights, except for any restrictions on transfer as may be imposed by
(i) applicable securities Laws and (ii) the New Organizational Documents of Reorganized Parent.


                                                     55
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 535 of 569



        3.     All conditions precedent to the effectiveness of the Exit Facilities and all other financing
agreements and arrangements contemplated hereunder, as applicable, shall be or have been, as applicable,
funded and closed and be in full force and effect.

        4.       The Releases set forth in this Plan shall be in full force and effect.

        5.     The Debtors shall have paid in full to the relevant Persons all payments and fees provided
for in the Transaction Support Agreement, the Transaction Term Sheet, and applicable Definitive
Documents that are payable on, before, or in connection with the occurrence of the Effective Date.

        Immediately following effectiveness of the Plan, the Reorganized Debtors shall complete the
termination of registration of all Securities under sections 13 and 15(d) of the Exchange Act such that the
Reorganized Debtors shall be a private company as soon as reasonably practicable after the Effective Date.

B.      Waiver of Conditions

         Subject to section 1127 of the Bankruptcy Code, the conditions to Confirmation and consummation
of this Plan set forth in this Article VIII may be waived by the Debtors, with the consent of the Required
Consenting Lenders, without notice, leave, or order of the Bankruptcy Court or any formal action other
than proceeding to confirm or consummate this Plan. The failure of the Debtors or Reorganized Debtors
to exercise any of the foregoing rights shall not be deemed a waiver of any other rights, and each right shall
be deemed an ongoing right that may be asserted at any time.

C.      Effect of Non-Occurrence of Conditions to the Effective Date

         If the Confirmation of this Plan or the Effective Date does not occur with respect to one or more of
the Debtors on or before the termination of the Transaction Support Agreement, then this Plan shall, with
respect to such applicable Debtor or Debtors, be null and void in all respects and nothing contained in this
Plan or the Disclosure Statement shall: (1) constitute a waiver or release of any claims by or Claims against
or Interests in the Debtors; (2) prejudice in any manner the rights of the Debtors, any Holders, or any other
Person or Entity; (3) constitute an allowance of any Claim or Interest; or (4) constitute an admission,
acknowledgment, offer, or undertaking by the Debtors, any Holders, or any other Person or Entity in any
respect.

D.      Substantial Consummation

         “Substantial consummation” of this Plan, as defined in section 1102(2) of the Bankruptcy Code,
shall be deemed to occur on the Effective Date.

                                     Article IX.
             DISCHARGE, RELEASE, INJUNCTION, AND RELATED PROVISIONS

A.      Discharge of Claims and Termination of Interests

        Pursuant to and to the fullest extent permitted by section 1141(d) of the Bankruptcy Code, and
except as otherwise specifically provided in this Plan, the Combined Order, the Definitive Documents, or
in any contract, instrument, or other agreement or document created or entered into, the distributions, rights,
and treatment that are provided in this Plan shall be in full and final satisfaction, settlement, release, and
discharge, effective as of the Effective Date, of Claims (including any Intercompany Claims resolved or
compromised after the Effective Date by the Reorganized Debtors), Interests, and Causes of Action of any
nature whatsoever, including any interest accrued on Claims or Interests from and after the Petition Date,
whether known or unknown, against, liabilities of, demands against, Liens on, obligations of, rights against,
and Interests in, the Debtors, the Reorganized Debtors, the Estates, or any of their assets or properties,



                                                      56
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 536 of 569



regardless of whether any property shall have been distributed or retained pursuant to this Plan on account
of such Claims and Interests, including demands, liabilities, and Causes of Action that arose before the
Effective Date, any liability (including withdrawal liability) to the extent such Claims or Interests relate to
services performed by employees of the Debtors before the Effective Date and that arise from a termination
of employment, any contingent or non-contingent liability on account of representations or warranties
issued on or before the Effective Date, and all debts of the kind specified in sections 502(g), 502(h), or
502(i) of the Bankruptcy Code, in each case whether or not: (1) a Proof of Claim based upon such debt or
right is Filed or deemed Filed pursuant to section 501 of the Bankruptcy Code; (2) a Claim or Interest based
upon such debt, right, or Interest is Allowed pursuant to section 502 of the Bankruptcy Code; or (3) the
Holder of such a Claim or Interest has accepted this Plan. The Combined Order shall be a judicial
determination of the discharge of all Claims and Interests subject to the occurrence of the Effective Date.

         Pursuant to Bankruptcy Rule 9019 and in consideration for the distributions and other benefits
provided pursuant to this Plan, the provisions of this Plan shall constitute a good-faith compromise of all
Claims, Interests, and controversies relating to the contractual, legal, and subordination rights that a Holder
of a Claim or Interest may have with respect to any Allowed Claim or Interest or any distribution to be
made on account of such Allowed Claim or Interest. The entry of the Combined Order shall constitute the
Bankruptcy Court’s approval of the compromise or settlement of all such Claims, Interests, and
controversies as well as a finding by the Bankruptcy Court that such compromise or settlement is in the
best interests of the Debtors, the Estates, and Holders of Claims and Interests and is fair, equitable, and
reasonable. In accordance with the provisions of this Plan, pursuant to Bankruptcy Rule 9019, without any
further notice to or action, order, or approval of the Bankruptcy Court, after the Effective Date, the
Reorganized Debtors may compromise and settle Claims against the Debtors and the Estates and Causes of
Action against other Entities.

B.      Releases by the Debtors

          To the fullest extent permitted by applicable law and approved by the Bankruptcy Court,
and except as otherwise expressly set forth in this Plan or the Combined Order, pursuant to section
1123(b) of the Bankruptcy Code, as of the Effective Date, in exchange for good and valuable
consideration, the adequacy of which is hereby confirmed, each Released Party, in each case on behalf
of itself and its respective successors, assigns, and Representatives, and any and all other Entities who
may purport to assert any Claim or Cause of Action, directly or derivatively, by, through, for, or
because of the foregoing Entities, is and is deemed to be, forever and unconditionally released, and
absolved by each Debtor, Reorganized Debtor, and the Estates from any and all Claims and Causes
of Action, whether known or unknown, including any derivative claims asserted or assertable on
behalf of the Debtors, the Estates, or the Reorganized Debtors that such Entity would have been
legally entitled to assert in its own right (whether individually or collectively) or on behalf of the
Holder of any Claim against, or Interest in, a Debtor or other Entity, based on or relating to, or in
any manner arising from, in whole or in part, (1) the management, ownership, or operation of the
Debtors or the Non-Debtor Affiliates, (2) the purchase, sale, or rescission of any security of the
Debtors or the Non-Debtor Affiliates, (3) the subject matter of, or the transactions, events,
circumstances, acts or omissions giving rise to, any Claim or Interest that is treated in the
Restructuring Transactions, including the negotiation, formulation, or preparation of the
Restructuring Transactions, (4) the business or contractual arrangements between any Debtor or
Non-Debtor Affiliate and any other Entity, (5) the Debtors’ and Non-Debtor Affiliates’ in- or out-of-
court restructuring efforts, (6) intercompany transactions, (7) the formulation, preparation,
dissemination, negotiation, filing, or consummation of this Plan, the Disclosure Statement, the
Transaction Support Agreement, the Definitive Documents, the Prepetition ABL Facility Documents,
the Prepetition Term Loan Documents, the DIP Facilities Documents, the Exit Facilities Documents
(and any financing permitted thereunder), the Chapter 11 Cases, or any Restructuring Transaction,



                                                      57
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 537 of 569



(8) any contract, instrument, release, or other agreement or document created or entered into in
connection with this Plan, the Disclosure Statement, the Transaction Support Agreement, the
Definitive Documents, the Prepetition ABL Facility Documents, the Prepetition Term Loan
Documents, the DIP Facilities Documents, the Exit Facilities Documents (and any financing
permitted thereunder), the Chapter 11 Cases, the pursuit of Confirmation of this Plan, the
administration and implementation of the Plan, or the Restructuring Transactions, including the
issuance or distribution of Securities pursuant to this Plan, (9) the distribution, including any
disbursements made by a Distribution Agent, of property under this Plan or any other related
agreement, or (10) any other act or omission, transaction, agreement, event, or other occurrence
related to any of the foregoing and taking place on or before the Effective Date; provided, that the
Debtors do not release Claims or Causes of Action (1) that are of a commercial nature and arising in
the ordinary course of business, such as accounts receivable and accounts payable on account of
goods and services being performed or (2) arising out of, or related to, any act or omission of a
Released Party that is determined by Final Order of the Bankruptcy Court or any other court of
competent jurisdiction to have constituted actual fraud, gross negligence, or willful misconduct (it
being agreed that any Released Parties’ consideration, approval, or receipt of any distribution did
not arise from or relate to actual fraud (but not, for the avoidance of doubt, fraudulent transfers),
gross negligence, or willful misconduct). Notwithstanding anything to the contrary in the foregoing,
the Releases set forth above do not release (1) any obligations of any Person or Entity under this Plan,
the Combined Order, any other Definitive Document, any Restructuring Transaction, any document,
instrument, or agreement (including those set forth in the Plan Supplement) executed to implement
this Plan, or any agreement, Claim, or obligation arising or assumed under this Plan or (2) any
Causes of Action specifically retained by the Debtors pursuant to the Schedule of Retained Causes of
Action.

         Entry of the Combined Order shall constitute the Bankruptcy Court’s approval, pursuant to
Bankruptcy Rule 9019, of the Debtor Release, which includes by reference each of the related
provisions and definitions contained in this Plan, and further, shall constitute the Bankruptcy
Court’s finding that the Debtor Release is: (1) in exchange for the good and valuable consideration
provided by each of the Released Parties, including the Released Parties’ substantial contributions
to facilitating the Restructuring Transactions and implementing this Plan; (2) a good-faith settlement
and compromise of the Claims released by the Debtor Release; (3) in the best interests of the Debtors
and all Holders of Claims and Interests; (4) fair, equitable, and reasonable; (5) given and made after
due notice and opportunity for hearing; and (6) a bar to any of the Debtors, the Reorganized Debtors,
or the Debtors’ Estates asserting any Claim or Cause of Action released pursuant to the Debtor
Release.

C.      Releases by Holders of Claims and Interests

        To the extent permitted by applicable law and approved by the Bankruptcy Court, and except
as otherwise expressly set forth in this Plan or the Combined Order, as of the Effective Date, in
exchange for good and valuable consideration, the adequacy of which is hereby confirmed, each
Releasing Party, in each case on behalf of itself and its respective successors, assigns, and
Representatives, and any and all other Entities who may purport to assert any Claim or Cause of
Action, directly or derivatively, by, through, for, or because of the foregoing Entities, has and is
deemed to have, forever and unconditionally, released, and absolved each Released Party from any
and all Claims and Causes of Action, whether known or unknown, including any derivative claims
asserted or assertable on behalf of the Debtors, the Estates, or the Reorganized Debtors that such
Entity would have been legally entitled to assert in its own right (whether individually or collectively)
or on behalf of the Holder of any Claim against, or Interest in, a Debtor, based on or relating to, or
in any manner arising from, in whole or in part, (1) the management, ownership, or operation of the



                                                   58
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 538 of 569



Debtors or the Non-Debtor Affiliates, (2) the purchase, sale, or rescission of any Security of the
Debtors or the Non-Debtor Affiliates, (3) the subject matter of, or the transactions, events,
circumstances, acts or omissions giving rise to, any Claim or Interest that is treated in the
Restructuring Transactions, including the negotiation, formulation, or preparation of the
Restructuring Transactions, (4) the business or contractual arrangements between any Debtor or
Non-Debtor Affiliate and any other Entity, (5) the Debtors’ and Non-Debtor Affiliates’ in- or out-of-
court restructuring efforts, (6) intercompany transactions, (7) the formulation, preparation,
dissemination, negotiation, filing, or consummation of this Plan, the Disclosure Statement, the
Transaction Support Agreement, the Definitive Documents, the Prepetition ABL Facility Documents,
the Prepetition Term Loan Documents, the DIP Facilities Documents, the Exit Facilities Documents
(and any financing permitted thereunder), the Chapter 11 Cases, or any Restructuring Transaction,
(8) any contract, instrument, release, or other agreement or document created or entered into in
connection with this Plan, the Disclosure Statement, the Transaction Support Agreement, the
Definitive Documents, the Prepetition ABL Facility Documents, the Prepetition Term Loan
Documents, the DIP Facilities Documents, the Exit Facilities Documents (and any financing
permitted thereunder), the Chapter 11 Cases, the pursuit of Confirmation of this Plan, the
administration and implementation of the Plan, or the Restructuring Transactions, including the
issuance or distribution of Securities pursuant to this Plan, (9) the distribution, including any
disbursements made by a Distribution Agent, of property under this Plan or any other related
agreement, or (10) any other act, or omission, transaction, agreement, event, or other occurrence
relating to any of the foregoing and taking place on or before the Effective Date; provided, that the
Releasing Parties do not release Claims or Causes of Action (1) arising out of, or related to, any act
or omission of a Released Party that is determined by Final Order of the Bankruptcy Court or any
other court of competent jurisdiction to have constituted actual fraud (but not, for the avoidance of
doubt, fraudulent transfers), gross negligence, or willful misconduct (it being agreed that any
Released Parties’ consideration, approval, or receipt of any distribution did not arise from or relate
to actual fraud, gross negligence, or willful misconduct) or (2) against a Released Party arising from
any obligations owed to the Releasing Party that are wholly unrelated to the Debtors or the
Reorganized Debtors. Notwithstanding anything to the contrary in the foregoing, the Releases set
forth above do not release (1) any obligations of any Person or Entity under this Plan, the Combined
Order, any other Definitive Document, any Restructuring Transaction, any document, instrument,
or agreement (including those set forth in the Plan Supplement) executed to implement this Plan, or
any agreement, claim, or obligation arising or assumed under this Plan or (2) any Causes of Action
specifically retained by the Debtors pursuant to the Schedule of Retained Causes of Action.

        Entry of the Combined Order shall constitute the Bankruptcy Court’s approval of the Third-
Party Release, which includes by reference each of the related provisions and definitions contained
in this Plan, and, further, shall constitute the Bankruptcy Court’s finding that the Third-Party
Release is: (1) consensual; (2) given and made after due notice and opportunity for hearing; and (3)
a bar to any of the Releasing Parties asserting any Claim or Cause of Action released pursuant to the
Third-Party Release.

D.      Exculpation

        Effective as of the Effective Date, to the fullest extent permitted by law, the Exculpated Parties
shall neither have nor incur any liability to any Person or Entity for any Claims or Causes of Action
for any act taken or omitted to be taken between the Petition Date and the Effective Date in
connection with, or related to, formulating, negotiating, preparing, disseminating, implementing,
administering, confirming or effecting the Confirmation or consummation (as applicable) of this
Plan, the Transaction Support Agreement, and the Disclosure Statement including any
disbursements made by a Distribution Agent in connection with this Plan, the Disclosure Statement,



                                                   59
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 539 of 569



the Definitive Documents, the Plan Supplement, the Prepetition ABL Facility Documents, the
Prepetition Term Loan Documents, the DIP Facilities Documents, the Exit Facilities Documents (and
any financing permitted thereunder), or any Restructuring Transaction, contract, instrument,
release, or other agreement or document created or entered into in connection with this Plan or any
other postpetition act taken or omitted to be taken in connection with or in contemplation of the
restructuring of the Debtors, the approval of the Disclosure Statement or Confirmation or
consummation of this Plan; provided, that the foregoing provisions of this exculpation shall not
operate to waive or release: (1) any Claims or Causes of Action arising from willful misconduct,
actual fraud (but not, for the avoidance of doubt, fraudulent transfers), or gross negligence of such
applicable Exculpated Party as determined by Final Order of the Bankruptcy Court or any other
court of competent jurisdiction; and/or (2) the rights of any Person or Entity to enforce this Plan and
the contracts, instruments, releases, indentures, and other agreements and documents delivered
under or in connection with this Plan or assumed pursuant to this Plan or Final Order of the
Bankruptcy Court; provided, further, that each Exculpated Party shall be entitled to rely upon the
advice of counsel concerning its respective duties pursuant to, or in connection with, the above
referenced documents, actions, or inactions.

        The Exculpated Parties have, and upon consummation of this Plan shall be deemed to have,
participated in good faith and in compliance with the applicable laws with regard to the solicitation
of votes and distribution of consideration pursuant to this Plan and, therefore, are not, and on
account of such distributions shall not be, liable at any time for the violation of any applicable law,
rule, or regulation governing the solicitation of acceptances or rejections of this Plan or such
distributions made pursuant to this Plan.

        The foregoing exculpation shall be effective as of the Effective Date without further notice to
or order of the Bankruptcy Court, act, or action under applicable law, regulation, order, or rule or
the vote, consent, authorization, or approval of any Person or Entity. For the avoidance of doubt
and notwithstanding anything else herein, the foregoing exculpation shall be limited to Persons that
served as Estate fiduciaries during the Chapter 11 Cases.

E.     Permanent Injunction

        Except as otherwise expressly provided in the Transaction Support Agreement, this Plan or
the Combined Order, from and after the Effective Date, all Persons and Entities are, to the fullest
extent provided under Section 524 and other applicable provisions of the Bankruptcy Code,
permanently enjoined from (1) commencing or continuing, in any manner or in any place, any suit,
action or other proceeding of any kind; (2) enforcing, attaching, collecting, or recovering in any
manner or means any judgment, award, decree, or order; (3) creating, perfecting, or enforcing any
Lien or encumbrance; (4) asserting a right of setoff or subrogation of any kind; or (5) commencing
or continuing in any manner any action or other proceeding of any kind, in each case on account of
or with respect to any Claim, demand, liability, obligation, debt, right, Cause of Action, Interest, or
remedy released or to be released, exculpated or to be exculpated, settled or to be settled, or
discharged or to be discharged pursuant to this Plan or the Combined Order against any Person or
Entity so released, discharged, or exculpated (or the property or estate of any Person or Entity so
released, discharged, or exculpated). All injunctions or stays provided for in the Chapter 11 Cases
under Sections 105 or 362 of the Bankruptcy Code, or otherwise, and in existence on the
Confirmation Date, shall remain in full force and effect until the Effective Date.

        No Person or Entity may commence or pursue a Claim or Cause of Action, as applicable, of
any kind against the Debtors, the Reorganized Debtors, the Exculpated Parties, or the Released
Parties, as applicable, that relates to or is reasonably likely to relate to any act or omission in
connection with, relating to, or arising out of a Claim or Cause of Action, as applicable, subject to


                                                  60
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 540 of 569



Article IX hereof, without the Bankruptcy Court (i) first determining, after notice and a hearing, that
such Claim or Cause of Action, as applicable, represents a colorable Claim of any kind, and
(ii) specifically authorizing such Person or Entity to bring such Claim or Cause of Action, as
applicable, against any such Debtor, Reorganized Debtor, Exculpated Party, or Released Party, as
applicable. At the hearing for the Bankruptcy Court to determine whether such Claim or Cause of
Action represents a colorable Claim of any kind, the Bankruptcy Court may, or shall if any Debtor,
Reorganized Debtor, Exculpated Party, Released Party, or other party in interest requests by motion
(oral motion being sufficient), direct that such Person or Entity seeking to commence or pursue such
Claim or Cause of Action file a proposed complaint with the Bankruptcy Court embodying such
Claim or Cause of Action, such complaint satisfying the applicable Rules of Federal Procedure,
including, but not limited to, Rule 8 and Rule 9 (as applicable), which the Bankruptcy Court shall
assess before making a determination. For the avoidance of doubt, any party that obtains such
determination and authorization and subsequently wishes to amend the authorized complaint or
petition to add any Claims or Causes of Action not explicitly included in the authorized complaint or
petition must obtain authorization from the Bankruptcy Court before filing any such amendment in
the court where such complaint or petition is pending. The Bankruptcy Court reserves jurisdiction
to adjudicate any such claims to the maximum extent provided by the law.

F.      SEC Reservation of Rights

        Notwithstanding any language to the contrary in the Disclosure Statement, Plan and/or
Combined Order, no provision shall (i) preclude the SEC from enforcing its police or regulatory
powers or (ii) enjoin, limit, impair or delay the SEC from commencing or continuing any claims,
Causes of Action, proceedings or investigations against any non-Debtor Person or non-Debtor Entity
in any forum.

                                           Article X.
                                   RETENTION OF JURISDICTION

         Notwithstanding the entry of the Combined Order and the occurrence of the Effective Date, except
to the extent set forth herein or under applicable federal law, the Bankruptcy Court shall retain on and after
the Effective Date jurisdiction over all matters arising out of, or related to, the Chapter 11 Cases and this
Plan pursuant to sections 105(a) and 1142 of the Bankruptcy Code, including jurisdiction to:

         A.     allow, disallow, determine, liquidate, classify, estimate, or establish the priority, secured
or unsecured status, or amount of any Claim or Interest, including the resolution of any request for payment
of any Administrative Claim and the resolution of any and all objections to the secured or unsecured status,
priority, amount, or allowance of Claims or Interests;

        B.      decide and resolve all matters related to the granting and denying, in whole or in part, any
applications for allowance of compensation or reimbursement of expenses to Retained Professionals
authorized pursuant to the Bankruptcy Code or this Plan;

        C.      resolve any matters related to: (1) the assumption, assumption and assignment, or rejection
of any Executory Contract or Unexpired Lease to which a Debtor is party with respect to which a Debtor
may be liable and to hear, determine, and, if necessary, liquidate, any Cure Costs arising therefrom,
including Cure Costs pursuant to section 365 of the Bankruptcy Code; (2) any potential contractual
obligation under any Executory Contract or Unexpired Lease that is assumed; (3) the Reorganized Debtors
amending, modifying, or supplementing, after the Effective Date, any Executory Contracts and Unexpired
Leases to be assumed or rejected or otherwise; and (4) any dispute regarding whether a contract or lease is
or was executory or expired;



                                                     61
        Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 541 of 569



        D.       ensure that distributions to Holders of Allowed Claims are accomplished pursuant to the
provisions of this Plan and the Combined Order;

         E.      adjudicate, decide, or resolve any motions, adversary proceedings, contested, or litigated
matters, and any other matters, and grant or deny any applications involving a Debtor that may be pending
on the Effective Date;

         F.     adjudicate, decide, or resolve any and all matters related to Causes of Action;

         G.     adjudicate, decide, or resolve any and all matters related to section 1141 of the Bankruptcy
Code;

         H.     resolve any cases, controversies, suits, or disputes that may arise in connection with any
Claims, including claim objections, allowance, disallowance, estimation, and distribution;

        I.      enter and implement such orders as may be necessary or appropriate to execute, implement,
or consummate the provisions of this Plan, the Combined Order, and all contracts, instruments, releases,
and other agreements or documents created in connection with this Plan, the Combined Order, or the
Disclosure Statement, including the Transaction Support Agreement;

         J.     enter and enforce any order for the sale of property pursuant to sections 363, 1123, or
1146(a) of the Bankruptcy Code;

        K.       resolve any cases, controversies, suits, disputes, or Causes of Action that may arise in
connection with the interpretation or enforcement of this Plan, the Combined Order, or any contract,
instrument, release or other agreement or document that is entered into or delivered pursuant to this Plan or
the Combined Order, or any Entity’s rights arising from or obligations incurred in connection with this Plan
or the Combined Order;

         L.    issue injunctions, enter and implement other orders or take such other actions as may be
necessary or appropriate to restrain interference by any Entity with enforcement of this Plan or the
Combined Order;

        M.       resolve any cases, controversies, suits, disputes, or Causes of Action with respect to the
releases, injunctions, and other provisions contained in this Plan and enter such orders as may be necessary
or appropriate to implement such releases, injunctions, and other provisions;

         N.      resolve any cases, controversies, suits, disputes, or Causes of Action with respect to the
repayment or return of distributions and the recovery of additional amounts owed by the Holder of a Claim
or Interest for amounts not timely repaid;

        O.      enter and implement such orders as are necessary or appropriate if the Combined Order is
for any reason modified, stayed, reversed, revoked, or vacated;

        P.     determine any other matters that may arise in connection with or relate to this Plan, the
Disclosure Statement, the Combined Order, or any contract, instrument, release, indenture, or other
agreement or document created in connection with this Plan, the Combined Order, or the Disclosure
Statement;

         Q.     enter an order or final decree concluding or closing the Chapter 11 Cases;




                                                     62
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 542 of 569



        R.      adjudicate any and all disputes arising from or relating to distributions to Holders of Claims
and Interests under this Plan;

        S.      consider any modification of this Plan, to cure any defect or omission, or to reconcile any
inconsistency in any Bankruptcy Court order, including the Combined Order;

        T.       determine requests for payment of Claims and Interests entitled to priority pursuant to
section 507 of the Bankruptcy Code;

       U.       hear and determine disputes arising in connection with the interpretation, implementation,
or enforcement of this Plan, or the Combined Order, including disputes arising under agreements,
documents, or instruments executed in connection with this Plan;

        V.      hear and determine matters concerning state, local, and federal taxes in accordance with
sections 346, 505, and 1146 of the Bankruptcy Code;

        W.      hear and determine all disputes involving the existence, nature, or scope of the Debtors’
discharge, including without limitation any dispute relating to any liability arising out of the termination of
employment or the termination of any employee or retiree benefit program, regardless of whether such
termination occurred before or after the Effective Date;

        X.     hear and determine disputes arising in connection with the interpretation, implementation,
or enforcement of the releases, injunctions, and exculpations provided under Article IX;

        Y.       resolve any disputes concerning whether a Person had sufficient notice of the Chapter 11
Cases, the Disclosure Statement, any solicitation conducted in connection with the Chapter 11 Cases, in
each case, for the purpose of determining whether a Claim or Interest is discharged hereunder or for any
other purpose;

        Z.       enforce all orders previously entered by the Bankruptcy Court; and

      AA.    hear any other matter not inconsistent with the Bankruptcy Code, this Plan, or the
Combined Order.

         If the Bankruptcy Court abstains from exercising, or declines to exercise, jurisdiction or is
otherwise without jurisdiction over any matter arising in, arising under, or related to the Chapter 11 Cases,
including the matters set forth in this Article X, the provisions of this Article X shall have no effect on and
shall not control, limit, or prohibit the exercise of jurisdiction by any other court having competent
jurisdiction with respect to such matter.

        Notwithstanding anything to the contrary in this Plan: (1) the Bankruptcy Court’s jurisdiction to
hear and determine disputes concerning Claims against or Interests in the Debtors that arose before the
Effective Date, including, without limitation, any Claims based in whole or in part on any conduct of the
Debtors occurring on or before the Effective Date, shall be non-exclusive; (2) any dispute arising under or
in connection with the Exit Facility Documents, and New Organizational Documents, and shall be dealt
with in accordance with the provisions of the applicable document; and (3) as of the Effective Date, the
Exit Term Loan Credit Agreement shall be governed by the jurisdictional provisions therein.




                                                      63
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 543 of 569



                                    Article XI.
                MODIFICATION, REVOCATION, OR WITHDRAWAL OF PLAN

A.      Modification of Plan

         Subject to the terms of the Transaction Support Agreement and the limitations contained in this
Plan, the Debtors or Reorganized Debtors reserve the right to, without additional disclosure pursuant to
section 1125 of the Bankruptcy Code, except as otherwise ordered by the Bankruptcy Court, in accordance
with the Bankruptcy Code, the Bankruptcy Rules, and the Transaction Support Agreement: (1) amend or
modify this Plan before the entry of the Combined Order, including amendments or modifications to satisfy
section 1129(b) of the Bankruptcy Code; (2) amend or modify this Plan after the entry of the Combined
Order in accordance with section 1127(b) of the Bankruptcy Code and the Transaction Support Agreement
upon order of the Bankruptcy Court; and (3) remedy any defect or omission or reconcile any inconsistency
in this Plan in such manner as may be necessary to carry out the purpose and intent of this Plan upon order
of the Bankruptcy Court. In addition, after the Confirmation Date, so long as such action does not adversely
affect the treatment of Holders of Allowed Claims pursuant to this Plan, the Debtors may, with the consent
of the Required Consenting Term Lenders, make appropriate technical adjustments, remedy any defect or
omission or reconcile any inconsistencies in this Plan, the Plan Supplement and/or the Combined Order,
with respect to such matters as may be necessary to carry out the purposes and effects of this Plan, and any
Holder of a Claim that has accepted this Plan shall be deemed to have accepted this Plan as amended,
modified, or supplemented.

B.      Effect of Confirmation on Modifications

         Entry of the Combined Order shall mean that all modifications or amendments to this Plan since
the solicitation thereof are approved pursuant to section 1127(a) of the Bankruptcy Code and do not require
additional disclosure or re-solicitation under Bankruptcy Rule 3019.

C.      Revocation of Plan; Reservation of Rights if Effective Date Does Not Occur

          Subject to the occurrence of the Effective Date, the Debtors reserve the right, subject to the terms
of the Transaction Support Agreement, to revoke or withdraw this Plan before the entry of the Combined
Order and to File subsequent plans of reorganization. If the Debtors revoke or withdraw this Plan, or if
entry of the Combined Order or the Effective Date does not occur, or if the Transaction Support Agreement
terminates in accordance with its terms before the Effective Date, then: (1) this Plan shall be null and void
in all respects; (2) any settlement or compromise embodied in this Plan (including the fixing or limiting to
an amount of any Claim or Interest or Class of Claims or Interests), assumption, assumption and assignment,
or rejection of Executory Contracts or Unexpired Leases effected by this Plan, and any document or
agreement executed pursuant hereto shall be deemed null and void except as may be set forth in a separate
order entered by the Bankruptcy Court; and (3) nothing contained in this Plan shall: (a) constitute a waiver
or release of any Claims by or against, or any Interests in, such Debtor or any other Entity; (b) prejudice in
any manner the rights of the Debtors or any other Entity; or (c) constitute an admission, acknowledgment,
offer, or undertaking of any sort by the Debtors or any other Entity; provided, that any Restructuring Fees
and Expenses that have been paid as of the date of revocation or withdrawal of this Plan shall remain paid
and shall not be subject to disgorgement or repayment without further order of the Bankruptcy Court.

                                           Article XII.
                                   MISCELLANEOUS PROVISIONS

A.      Immediate Binding Effect

        Notwithstanding Bankruptcy Rules 3020(e), 6004(g), or 7062 or otherwise, upon the occurrence of
the Effective Date, the terms of this Plan and the documents and instruments contained in the Plan


                                                     64
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 544 of 569



Supplement shall be immediately effective and enforceable and deemed binding upon the Debtors, the
Reorganized Debtors, and any and all Holders of Claims and Interests (irrespective of whether Holders of
such Claims or Interests are deemed to have accepted this Plan), all Entities that are parties to or are subject
to the settlements, compromises, releases, discharges, and injunctions described in this Plan, each Entity
acquiring property under this Plan and any and all non-Debtor parties to Executory Contracts and Unexpired
Leases, and notwithstanding whether or not such Person or Entity (1) shall receive or retain any property,
or interest in property, under this Plan, (2) has filed a Proof of Claim in the Chapter 11 Cases (if applicable)
or (3) failed to vote to accept or reject this Plan, affirmatively voted to reject this Plan, or is conclusively
presumed to reject this Plan. The Combined Order shall contain a waiver of any stay of enforcement
otherwise applicable, including pursuant to Bankruptcy Rule 3020(e) and 7062.

B.      Additional Documents

         Subject to the terms of the Transaction Support Agreement, on or before the Effective Date, the
Debtors may File with the Bankruptcy Court such agreements and other documents as may be necessary or
appropriate to effectuate and further evidence the terms and conditions of this Plan. The Debtors or
Reorganized Debtors, as applicable, and all Holders of Claims and Interests receiving distributions pursuant
to this Plan and all other parties in interest shall, from time to time, prepare, execute, and deliver any
agreements or documents and take any other actions as may be necessary or advisable to effectuate the
provisions and intent of this Plan or the Combined Order.

C.      Payment of United States Trustee Statutory Fees

        All United States Trustee Statutory Fees due and payable to the United States Trustee before the
Effective Date shall be paid by the Debtors on the Effective Date. After the Effective Date, any and all
United States Trustee Statutory Fees shall be paid to the United States Trustee when due and payable. The
Debtors shall file all monthly operating reports due before the Effective Date when they become due, using
UST Form 11-MOR. After the Effective Date, the Reorganized Debtors shall each file with the Bankruptcy
Court separate UST Form 11-PCR reports when they become due, until the earliest of the Debtors’ or
Reorganized Debtors’ case being closed, dismissed, or converted to a case under chapter 7 of the
Bankruptcy Code. The United States Trustee shall not be required to File a request for an Administrative
Claim for United States Trustee Statutory Fees, and shall not be treated as providing any release under this
Plan.

D.      Reservation of Rights

        This Plan shall have no force or effect unless and until the Bankruptcy Court enters the Combined
Order. None of the filing of this Plan, any statement or provision contained in this Plan, or the taking of
any action by any Debtor with respect to this Plan, the Disclosure Statement, or the Plan Supplement shall
be or shall be deemed to be an admission or waiver of any rights of any Debtor with respect to the Holders
of Claims or Interests before the Effective Date.

E.      Successors and Assigns

         The rights, benefits, and obligations of any Entity named or referred to in this Plan shall be binding
on, and shall inure to the benefit of any heir, executor, administrator, successor or assign, Affiliate, officer,
director, agent, Representative, attorney, beneficiaries, or guardian, if any, of each Entity.

F.      No Successor Liability

       Except as otherwise expressly provided in this Plan and the Combined Order, each of the
Reorganized Debtors (1) is not, and shall not be deemed to assume, agree to perform, pay, or otherwise
have any responsibilities for any liabilities or obligations of the Debtors or any other Person relating to or


                                                       65
Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 545 of 569
Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 546 of 569
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 547 of 569



unless otherwise ordered by the Bankruptcy Court, the non-exhibit or non-document portion of this Plan
shall control.

L.      Nonseverability of Plan Provisions upon Confirmation

         If, before Confirmation, any term or provision of this Plan is held by the Bankruptcy Court to be
invalid, void, or unenforceable, the Bankruptcy Court shall have the power to alter and interpret such term
or provision to make it valid or enforceable to the maximum extent practicable, consistent with the original
purpose of the term or provision held to be invalid, void or unenforceable, and such term or provision shall
then be applicable as altered or interpreted; provided, that any such alteration or interpretation shall be
acceptable to the Debtors and the Required Consenting Term Lenders. Notwithstanding any such holding,
alteration, or interpretation, the remainder of the terms and provisions of this Plan shall remain in full force
and effect and shall in no way be affected, impaired, or invalidated by such holding, alteration, or
interpretation. The Combined Order shall constitute a judicial determination and shall provide that each
term and provision of this Plan, as it may have been altered or interpreted in accordance with the foregoing,
is: (1) valid and enforceable pursuant to its terms; (2) integral to this Plan and may not be deleted or
modified without the consent of the Debtors; and (3) nonseverable and mutually dependent.

M.      Closing of Chapter 11 Cases

        The Reorganized Debtors shall, promptly after the full administration of the Chapter 11 Cases, File
with the Bankruptcy Court all documents required by Bankruptcy Rule 3022 and any applicable order of
the Bankruptcy Court to close the Chapter 11 Cases.

N.      Conflicts

         To the extent that any provision of the Transaction Support Agreement, the Disclosure Statement,
or any order entered before Confirmation (for avoidance of doubt, not including the Combined Order)
referenced in this Plan (or any exhibits, appendices, supplements, or amendments to any of the foregoing),
conflict with or are in any way inconsistent with any provision of this Plan, this Plan shall govern and
control; provided, however, that the parties to the Transaction Support Agreement shall use commercially
reasonable efforts to eliminate any such inconsistency by agreement prior to the provisions of this section
becoming applicable and enforceable; provided, further, that the foregoing shall not abrogate any party’s
consent rights. To the extent that any provision of this Plan conflicts with or is in any way inconsistent
with any provision of the Combined Order, the Combined Order shall govern and control.

O.      No Strict Construction

        This Plan is the product of extensive discussions and negotiations between and among, inter alia,
the Debtors, the Consenting Stakeholders, and their respective professionals. Each of the foregoing was
represented by counsel of its choice who either participated in the formulation and documentation of, or
was afforded the opportunity to review and provide comments on, this Plan and the Disclosure Statement,
the exhibits and schedules thereto, and the other agreements and documents ancillary or related thereto.
Accordingly, unless explicitly indicated otherwise, the general rule of contract construction known as
“contra proferentem” or other rule of strict construction shall not apply to the construction or interpretation
of any provision of this Plan and the Disclosure Statement, the exhibits and schedules thereto, and the other
agreements and documents ancillary or related thereto.

P.      Section 1125(e) Good Faith Compliance

        The Debtors, the Reorganized Debtors, the Consenting Term Lenders, and each of their respective
current and former officers, directors, members (including ex officio members), managers, employees,
partners, advisors, attorneys, professionals, accountants, investment bankers, investment advisors,


                                                      68
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 548 of 569



actuaries, Affiliates, financial advisors, consultants, agents, and other Representatives of each of the
foregoing Entities (whether current or former, in each case in his, her or its capacity as such) have, and
upon Confirmation shall be deemed to have, solicited votes on this Plan from the Voting Classes in
compliance with the applicable provisions of the Bankruptcy Code, and any applicable non-bankruptcy
law, rule or regulation governing the adequacy of disclosure in connection with the solicitation, and acted
in “good faith” under section 1125(e) of the Bankruptcy Code; and therefore, no such parties, individuals,
or the Debtors or the Reorganized Debtors shall have any liability for the violation of any applicable law,
rule, or regulation governing the solicitation of votes on this Plan or the offer, issuance, sale, or purchase
of the Securities offered and sold under this Plan.

Q.      2002 Notice Parties

         After the Effective Date, the Debtors and the Reorganized Debtors, as applicable, are authorized to
limit the list of Entities receiving documents pursuant to Bankruptcy Rule 2002 to those Entities who have
Filed a renewed request after the Combined Hearing to receive documents pursuant to Bankruptcy Rule
2002.




                                                     69
Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 549 of 569



 Respectfully submitted, as of the date first set forth above,

                                     The Container Store Group, Inc.
                                     (on behalf of itself and all other Debtors)

                                     By:       /s/ Chad E. Coben
                                     Name:     Chad E. Coben
                                     Title:    Chief Restructuring Officer




                                              70
Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 550 of 569



                              Exhibit C

                         Financial Projections
  Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 551 of 569

                                                                                                   SOLICITATION VERSION

                                              Overview to Financial Projections

As a condition to Confirmation, the Bankruptcy Code requires, among other things, the Bankruptcy Court to find that entry of
a Confirmation Order is not likely to be followed by either a liquidation or the need to further reorganize the Debtors or any
successor to the Debtors. In accordance with this condition and in order to assist each holder of a Claim in determining whether
to vote to accept or reject the Prepackaged Joint Plan of Reorganization of The Container Store Group, Inc. and Its Debtor
Affiliates under Chapter 11 of the Bankruptcy Code (the “Plan”), the Debtors’ management team (“Management”), with the
assistance of the Debtors’ restructuring advisors, developed financial projections (the “Financial Projections”) to support the
feasibility of the Plan, which were prepared as of December 22, 2024.

The Financial Projections are based on a number of assumptions made by Management, within the bounds of their knowledge
of the Debtors’ and their non-Debtor affiliates’ business and operations, with respect to the future performance of the Debtors’
operations. In addition, the Financial Projections contain statements which constitute “forward looking statements” within the
meaning of the Securities Act and the Securities Exchange Act of 1934, as amended by the Private Securities Litigation Reform
Act of 1995. Forward-looking statements in these projections include the intent, belief, or current expectations of the Debtors
and members of their Management with respect to the timing of, completion of, and scope of the current restructuring, the
Plan, the Debtors’ strategic business plan, bank financing, debt and equity market conditions, and future liquidity, as well as
the assumptions upon which such statements are based. Although Management prepared the Financial Projections in good
faith and believes the assumptions to be reasonable, it is important to note that the Debtors can provide no assurance that such
assumptions will be realized. Because future events and circumstances may well differ from those assumed and unanticipated
events or circumstances may occur, the Debtors expect that the actual and projected results will differ and the actual results
may be materially greater or less than those contained in the Financial Projections and from those contemplated by such
forward-looking statements. No representations can be made as to the accuracy of the Financial Projections or the Debtors’
ability to achieve the projected results. Therefore, the Financial Projections may not be relied upon as a guarantee or as any
other form of assurance as to the actual results that will occur. The inclusion of the Financial Projections herein should not be
regarded as an indication that the Debtors considered or consider the Financial Projections to reliably predict future
performance. Accordingly, in deciding whether to vote to accept or reject the Plan, creditors should review the Financial
Projections in conjunction with a review of the risk factors set forth in the Disclosure Statement and the assumptions and risks
described herein, including all relevant qualifications and footnotes.

AS ILLUSTRATED BY THE FINANCIAL PROJECTIONS, THE DEBTORS BELIEVE THEY WILL HAVE
SUFFICIENT LIQUIDITY TO PAY AND SERVICE THEIR DEBT OBLIGATIONS AND TO OPERATE THEIR
BUSINESSES. THE DEBTORS BELIEVE THAT CONFIRMATION AND CONSUMMATION ARE NOT LIKELY
TO BE FOLLOWED BY THE LIQUIDATION OR FURTHER REORGANIZATION OF THE DEBTORS.
ACCORDINGLY, THE DEBTORS BELIEVE THAT THE PLAN SATISFIES THE FEASIBILITY REQUIREMENT
OF SECTION 1129(a)(11) OF THE BANKRUPTCY CODE.

The Financial Projections were not prepared with a view toward compliance with published rules of the Securities and
Exchange Commission or the American Institute of Certified Public Accountants regarding projections. The Debtors’
independent auditor has not examined, compiled, or performed any procedures with respect to the prospective financial
information contained in this exhibit and, accordingly, they do not express an opinion or any other form of assurance on such
information or its achievability. The Debtors’ independent auditor assumes no responsibility for and denies any association
with the prospective financial information.

Accordingly, neither the Debtors nor the Reorganized Debtors intend to and disclaim any obligation to: (1) furnish updated
Financial Projections to holders of Claims prior to the Effective Date or to any other party after the Effective Date, except as
required by the Plan; (2) include any such updated information in any documents that may be required to be filed with the
Securities and Exchange Commission; or (3) otherwise make such updated information publicly available. The Debtors do
not intend to update or otherwise revise the Financial Projections to reflect circumstances that may occur after their preparation,
or to reflect the occurrence of unanticipated events, even in the event that any or all of the underlying assumptions are shown
to be in error.

Additional information relating to the principal assumptions used in preparing the Financial Projections is set forth below.

THE FINANCIAL PROJECTIONS ARE BASED UPON A NUMBER OF SIGNIFICANT ASSUMPTIONS.
ACTUAL OPERATING RESULTS AND VALUES MAY VARY SIGNIFICANTLY FROM THESE FINANCIAL
PROJECTIONS.

                                       Select Assumptions of the Financial Projections

The Financial Projections are based on, but not limited to, factors such as industry performance and general business,
economic, competitive, regulatory, market, and financial conditions, as well as the assumptions detailed below. Many of these
factors and assumptions are beyond the control of the Debtors and do not take into account the uncertainty and disruptions of
business that may accompany an in-court restructuring. Accordingly, the assumptions should be reviewed in conjunction with
a review of the risk factors set forth in the Disclosure Statement.

     •    Methodology: The Financial Projections were developed by Management with the assistance of the Debtors’
          restructuring advisors and are presented solely for purposes set forth herein and in the Disclosure Statement to which
          the Financial Projections are attached as Exhibit D. No representation or warranty, express or implied, is provided
 Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 552 of 569

                                                                                              SOLICITATION VERSION

       in relation to the fairness, accuracy, correctness, completeness, or reliability of the information, opinions, or
       conclusions expressed herein.

   •   Plan and Effective Date: The Financial Projections assume that the Plan will be consummated in accordance with
       its terms and that all transactions contemplated by the Plan will be consummated by January 31, 2025 (the “Effective
       Date”). Any significant delay in the Effective Date may have a significant negative effect on the operations and
       financial performance of the Debtors, including an increased risk or inability to meet sales forecasts, increased risk
       of supply chain disruption, and the incurrence of higher reorganization expenses. Although the Financial Projections
       represent the Debtors’ best estimates and good faith judgment of the results of future operations, financial position,
       and cash flows of the Company, they are only estimates and actual results may vary considerably from such Financial
       Projections. Consequently, the inclusion of the Financial Projections herein should not be regarded as a
       representation by the Debtors, the Debtors’ advisors, or any other person that the projected results of operations,
       financial position, and cash flows of the Company will be achieved.

   •   Projection Period: The Debtors prepared the Financial Projections based on, among other things, the anticipated
       future financial condition and results of operations of the Debtors using their business plan. Management developed
       and refined the business plan and prepared consolidated Financial Projections of the Company for the fiscal years
       ending March 2025 (fiscal year (“FY”) 2024) through March 2029 (FY 2028) (the “Projection Period”).

   •   Scope of Projections: The Debtors prepared the Financial Projections on a consolidated basis. As such, the Financial
       Projections reflect the projected financial activity of both the Debtors and their non-Debtor affiliates.

   •   Operating Impacts: The Financial Projections incorporate multiple operating considerations including, but not
       limited to:
            o Current and projected market conditions in which the Debtors operate;
            o No material changes to existing operations;
            o The Financial Projections do not consider any potential impact of the application of “fresh start”
                 accounting under Accounting Standards Codification 852, “Reorganizations” (“ASC 852”) that may
                 potentially apply upon the Effective Date. If the Debtors determine the need to fully implement fresh start
                 accounting, differences from the depiction presented are anticipated and those differences may be material.
                 If required to apply the provisions of ASC 852, upon emergence, the Debtors will be required to determine
                 the amount by which their reorganization value as of the Effective Date exceeds, or is less than, the fair
                 value at the time, which may be based on any event, such valuation, and the determination of the fair value
                 of the Debtors’ assets and liabilities, will be made as of the Effective Date.
            o The differences between the amounts of any or all of the foregoing items as assumed in the Financial
                 Projections and the actual amounts thereof as of the Effective Date may be material.

THE INDEPENDENT AUDITOR FOR THE DEBTORS HAS NOT EXAMINED, COMPILED OR OTHERWISE
PERFORMED ANY PROCEDURES ON THE FOLLOWING PROSPECTIVE FINANCIAL INFORMATION, AND
CONSEQUENTLY, DOES NOT EXPRESS AN OPINION OR ANY OTHER FORM OF ASSURANCE WITH
RESPECT TO THE PROSPECTIVE FINANCIAL INFORMATION.
 Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 553 of 569

                                                                                  SOLICITATION VERSION




                          PROJECTED CONSOLIDATED STATEMENTS OF OPERATIONS

$ in Millions                              Notes       2024        2025        2026        2027        2028

Revenue                                     [1]    $      780 $       816 $       874 $       923 $      1,011
Cost of Goods Sold                          [2]           333         343         364         382          417
Gross Margin                                       $      446 $       474 $       510 $       542 $        594
Gross Margin %                                            57%         58%         58%         59%          59%
SG&A                                        [3]           422         435         455         474          502
Depreciation & Amortization                 [4]            42          40          38          33           29
Operating Income                                   $      (17) $       (1) $       17 $        34 $         63
Interest Expense                            [5]            24          20          19          20           20
Income Tax Expense / (Benefit)              [6]           (19)         (5)         (1)           2            9
Restructuring Expense                       [7]            29          -           -           -            -
Other Expense / (Income), Net               [8]            20            5           2           4            5
Net Income / (Loss)                                $      (72) $      (21) $       (4) $         8 $        29
Interest Expense                                           24          20          19          20           20
Income Tax Expense / (Benefit)                            (19)         (5)         (1)           2            9
Depreciation & Amortization                                42          40          38          33           29
Restructuring Expense                                      29          -           -           -            -
Other EBITDA Add Backs                      [9]            22            3         (2)         (2)          (2)
Adj. EBITDA                                        $       26 $        37 $        50 $        62 $         85
EBITDA Margin %                                            6%          8%         10%         11%          14%
 Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 554 of 569

                                                                                     SOLICITATION VERSION




                                    PROJECTED CONSOLIDATED BALANCE SHEETS

$ in Millions                                   Notes       2024       2025       2026       2027       2028

Assets
Current Assets:
Cash and Cash Equivalents                        [10]           45         73        101        118        132
Accounts Receivable, net                                        28         37         35         38         41
Inventories                                      [11]          151        137        134        134        143
Prepaid Expenses and Other Current Assets        [12]           34         29         29         30         31
Total Current Assets                                    $      257 $      276 $      299 $      319 $      347

Other Long-Term Assets                           [13]          677        661        657        669         694
Total Assets                                            $      934 $      937 $      956 $      989 $     1,041

Liabilities & Shareholders' Equity
Current Liabilities:
Accounts Payable                                 [14]           40         43         51         62         70
Accrued Expenses & Other Current Liabilities     [15]          141        143        146        149        153
Total Current Liabilities                               $      181 $      186 $      197 $      211 $      223

Long Term Liabilities:
New ABL Facility                                 [16]           80         80         80         80         80
Term Loan B Facility                             [17]           78         90         97        105        114
New Money Facility                               [18]           43         46         48         48         48
Total Debt                                                     200        215        225        233        242

Other Long Term Liabilities                      [19]          377        379        379        379        379
Total Liabilities                                       $      758 $      781 $      801 $      823 $      845

Shareholders' Equity / (Deficit)                 [20]          175        156        155        165        197

Total Liabilities and Shareholders' Equity              $      934 $      937 $      956 $      989 $     1,041
 Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 555 of 569

                                                                                                       SOLICITATION VERSION




                             PROJECTED CONSOLIDATED STATEMENT OF CASH FLOWS



$ in Millions                                        Notes       2024            2025               2026               2027               2028

Net Income                                                   $          (72) $          (21) $                 (4) $               8 $               29
(+) Non-Cash Adjustments                             [21]                35              49                    45                 39                 40
(+ / -) Change in Working Capital                    [22]               (18)             14                    16                 11                 (1)
Net cash provided / (used) in operating activities           $          (55) $           42 $                  57 $               58 $               68

Investing Activities
Capital Expenditures                                 [23]               (25)            (14)               (29)               (42)               (54)
Other Investing Activities                           [24]                 1              -                  -                  -                  -
Net cash provided / (used) in investing activities           $          (24) $          (14) $             (29) $             (42) $             (54)

Financing Activities
Borrowings / (Paydown) on ABL                        [25]            64                     -                  -                  -                  -
New Money Investment                                 [26]            40                     -                  -                  -                  -
Other Financing Activities                           [27]            (1)                    -                  -                  -                  -
Net cash provided / (used) in financing activities           $      103 $               -       $          -       $          -       $          -

Net Change in Cash Flow                                      $          24 $                28 $        28 $               17 $               14
Beginning Cash Balance                                                  21                  45          73                101                118
Net Change in Cash Flow                                                 24                  28          28                 17                 14
Ending Cash Balance                                          $          45 $                73 $       101 $              118 $              132
  Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 556 of 569

                                                                                                 SOLICITATION VERSION




                                        NOTES TO FINANCIAL PROJECTIONS

Notes to the Projected Consolidated Statements of Operations

Note 1 – Revenue

Revenue primarily reflects the Company’s in-store, online, and B2B revenue for General Merchandise, Custom Spaces,
Shipping and Delivery, and Installation. Consolidated revenue is projected to be approximately $816 million during FY 2025,
with year-over-year growth of 7%, 6%, and 10% in FY 2026, FY 2027, and FY 2028, respectively. This growth is forecasted
to be driven primarily by increases in Custom Spaces sales as well as 4 new store openings in FY 2027 and 5 new store
openings in FY 2028.

During FY 2024, approximately 33% of the Company’s total revenue is projected from Custom Spaces, which is expected to
grow during the Projection Period due to increased brand awareness, additional design experts, continued expansion of Preston
(including Project Simple), and growth of Garage+ and Décor+. The Company anticipates this upward trend in Custom Spaces
to continue, reaching approximately 37% of total revenue by FY 2028.

Modest growth of approximately 1% in General Merchandise from FY 2024 to FY 2025 is driven by improved inventory in-
stocks, newness that aligns with the core, and increased attachment with Custom Spaces sales. General Merchandise sales are
expected to increase through FY 2028 due to slightly higher average ticket size and improved customer engagement driving
higher traffic conversion.

Note 2 – Cost of Goods Sold / Gross Margin

Cost of Goods Sold primarily includes the cost of merchandise purchased and inbound freight. Cost of Goods Sold also
includes costs associated with installation services and shipping and delivery to customers.

Consolidated gross margin as a percentage of net sales is projected at approximately 57% during FY 2024. This is forecast to
improve modestly to 58% during FY 2025, as higher margin Custom Spaces sales increase as a percent of revenue. Further
improvements are forecasted, with gross margin improving to 59% by FY 2028, driven by continued improvements in Custom
Spaces penetration, improved pricing discipline and in-stock and other merchandising initiatives.

Note 3 – Selling, General, & Administrative

Selling, General, & Administrative (“SG&A”) costs include all employee-related expenses for all store, distribution center and
employees at the Company’s corporate headquarters. SG&A costs also include marketing, rent and other occupancy costs for
the Company’s stores, distribution centers, and head office, information technology costs, ordinary course professionals,
supplies and store visuals for the Company’s stores, contract hauling, credit card fees, and all other administrative overhead.

As a percent of revenue, SG&A costs are projected to decrease from 54% during FY 2024 to 50% during FY 2028 driven
largely by leverage of fixed costs in addition to cost savings initiatives (e.g., store labor optimization and operating expense
cost management).

Note 4 – Depreciation & Amortization

Depreciation & Amortization represents depreciation of property, plant and equipment and amortization of intangible assets.

Note 5 – Interest Expense

Interest Expense over the Projection Period is based upon the Company’s current (FY 2024) and anticipated (FY 2024 – FY
2028) capital structure immediately before and following the consummation of the Plan. This is made up of cash interest and
fees on long-term debt.

Note 6 – Income Tax Expense / (Benefit), Net

For FY 2024, the Company is projecting approximately $19 million in Income Tax Benefit. The Company forecasts Income
Tax Expenses from FY 2025 onwards, as taxable income is generated. The projections do not account for any tax obligations
as a result of consummating the Plan. These amounts could vary significantly pending final tax analysis of the transactions
under the Plan.

Note 7 – Restructuring Expenses

Restructuring Expenses projected in FY 2024 are based on estimated restructuring professional costs and other bankruptcy or
closing fees related to consummation of the Plan. No further restructuring costs are expected beyond this.

Note 8 – Other Expense / (Income), Net

Other Expense / (Income), net primarily includes non-recurring items, Stock-Based Compensation Expenses, pre-opening
costs and miscellaneous corporate costs.
  Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 557 of 569

                                                                                                 SOLICITATION VERSION

Note 9 – Other EBITDA Add Backs

Other EBITDA Add Backs include miscellaneous non-recurring items, non-cash rent, pre-opening costs, and Stock-Based
Compensation Expenses.



Notes to the Projected Consolidated Balance Sheets

Note 10 – Cash and Cash Equivalents

Cash and Cash Equivalents represents the consolidated cash balance of the Company for all entities and subsidiaries, including
cash balances from their respective operating and store-level accounts.

Note 11 – Inventories

Inventories primarily represents merchandise inventory, including inventory-in-transit.

Note 12 – Prepaid Expenses and Other Current Assets

Prepaid Expenses and Other Current Assets primarily consists of prepaid rent, insurance, taxes, software, and other prepaid
operating expenses. Other current assets include certain receivables, including income taxes receivables and other
miscellaneous assets.

Note 13 – Other Long-Term Assets

Other Long-Term Assets are composed primarily of Net Property and Equipment (“P&E”), Net Goodwill, & Other Intangible
Assets non-current operating leases, investments in subsidiaries, non-current prepaid expenses, other miscellaneous long-term
assets.

Property and Equipment (“P&E”), net is composed primarily of leasehold improvements, IT software and hardware,
machinery and equipment, and furniture and fixtures, net of accumulated depreciation. The book value of P&E is subject to
material change based on accounting analysis of the Company’s financials upon emergence.

Goodwill, Net & Other Intangible Assets, net is composed of intangible property, specifically tradenames.

Note 14 – Accounts Payable

Accounts Payable represents outstanding merchandise and non-merchandise payables to third-party trade vendors and service
providers as well as intercompany payables.

Note 15 – Accrued Expenses & Other Current Liabilities

Accrued Expenses & Other Current Liabilities includes current operating lease liabilities, accrued and unpaid expenses
primarily relating to payroll, employee benefits, merchandise returns, merchandise credit card breakage, liability on account
gift cards (net of accrued breakage), customer prepaids, sales return, sales and income taxes, and interest, and other
miscellaneous current accrued liabilities. Operating Lease Liabilities, current includes with respect to all stores, distribution
centres, corporate office, and miscellaneous equipment.

Note 16 – Debt –New ABL Facility

The New ABL facility represents the Debtors’ exit financing ABL, a $140 million revolving credit facility maturing twenty
four months from the Petition Date. The interest rate is SOFR+4.25% per annum, subject to a 2.00% SOFR floor. For
illustrative purposes, it is assumed to be refinanced at the same rate through the end of FY 2028.

The Debtors’ previous ABL balance of approximately $80 million is assumed to be paid in full using the proceeds of the New
ABL facility shortly after the Petition Date in accordance with the Interim DIP Order.

Note 17 – Debt – Term Loan B Facility

The Term Loan B Facility represents the Debtors’ $75 million term loan maturing April 30, 2029. The interest rate is
SOFR+5.00% per annum, subject to a 1.50% SOFR floor. For illustrative purposes, it is assumed to be refinanced at the same
rate through the end of FY 2028.

Interest under the Term Loan B facility is paid-in-kind (“PIK”) until LTM EBITDA reaches $75 million for four consecutive
quarters. Additionally, amortization is waived until maturity.

Note 18 – Debt – New Money Facility

The New Money Facility represents the Debtors’ exit financing term loan, a $40 million Term Loan maturing January 31,
2029. The interest rate is SOFR+6.50% per annum, subject to a 2.00% SOFR floor. The Company has the option to PIK up
to 550 bps of interest until LTM EBITDA reaches $50 million for four consecutive quarters. For illustrative purposes, it is
assumed to be refinanced at the same rate through to the end of FY 2028.
  Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 558 of 569

                                                                                                   SOLICITATION VERSION




Note 19 – Other Long-Term Liabilities

Other Long-Term Liabilities are predominantly composed of non-current operating lease liabilities, non-current deferred tax
liabilities and other non-current long term accrued liabilities. Operating Lease Liabilities, non-current liabilities includes with
respect to all stores and distribution centers, the corporate office, and miscellaneous equipment.

Note 20 – Shareholders’ Equity / (Deficit)

Shareholders’ Equity represents the net book value of shareholders’ equity. The net book value varies materially from the fair
market value of equity.



Notes to the Projected Consolidated Statement of Cash Flows

Note 21 – Non-Cash Adjustments

Non-Cash Adjustments represents the addback for non-cash transactions, including depreciation & amortization, non-cash
interest, non-cash rent, stock-based compensation, deferred tax expenses or benefits, and miscellaneous other adjustments.

Note 22 – Change in Working Capital

Change in Working Capital primarily consists of changes in inventory, accounts payable, accounts receivable, and accrued
expenses. FY 2024 assumes a decrease in working capital driven by a reduction in accounts payable, partially offset by a
reduction in inventories. Working capital decreases from FY 2025 to FY 2027 are driven by improved inventory efficiency,
among other working capital focus areas by management.

Note 23 – Capital Expenditures

Capital Expenditures are primarily driven by a combination of store renovations / updates, new store openings in FY 2027 and
FY 2028, maintenance requirements, manufacturing and distribution center upgrades, and investments in information
technology.

Note 24 – Other Investing Activity

No material other investing activities are forecast.

Note 25 – Borrowings / (Paydown) on ABL

Borrowings / (Paydown) on ABL reflects borrowings and paydowns on the Prepetition ABL facility prior to the Petition Date.
The borrowings on the New ABL facility are assumed to be equal to the outstanding balance on the Prepetition ABL facility,
resulting in net zero impact on Borrowings / (Paydown) at the time of the funding of the New ABL facility.

Note 26 – New Money Investment

New Money Investment represents the $40 million New Money Facility described in Note 18.

Note 27 – Other Financing Activities

No material other financing activities are forecast.
Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 559 of 569



                              Exhibit D

                         Liquidation Analysis




                                                                 12-20-2024
        Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 560 of 569



                                                     LIQUIDATION ANALYSIS

I. INTRODUCTION

Section 1129(a)(7) of the Bankruptcy Code, often called the “best interests test,” requires that a bankruptcy court find, as a condition
of confirmation, that the chapter 11 plan provides, with respect to each class, that each holder of an allowed claim either (i) has
accepted the plan of reorganization, or (ii) will receive or retain under the plan property of a value, as of the plan’s assumed effective
date, that is not less than the value such non-accepting holders would receive or retain if the debtors were to be liquidated under
chapter 7 of the Bankruptcy Code.

Accordingly, to demonstrate that the proposed Plan satisfies the “best interest” of creditors test, the Debtors, with assistance from
their restructuring advisors, have prepared the following hypothetical liquidation analysis (“Liquidation Analysis”), in connection
with the Plan and the Disclosure Statement.1

The Liquidation Analysis indicates the estimated recoveries that may be obtained by Classes of Claims or Interests assuming a
hypothetical liquidation under chapter 7 of the Bankruptcy Code upon disposition of the Debtors’ assets as an alternative to the
Plan. Accordingly, the values discussed in the Liquidation Analysis may be different from amounts referred to in the Plan. The
Liquidation Analysis is based on certain assumptions in the Disclosure Statement and in the accompanying notes to the Liquidation
Analysis.

II. STATEMENT OF LIMITATIONS

The determination of the costs of, and proceeds from, the hypothetical liquidation of the Debtors’ assets in a chapter 7 case is an
uncertain process involving the extensive use of significant estimates and assumptions that, although considered reasonable by the
Debtors based upon their business judgment and input from certain of their advisors, are inherently subject to significant business,
economic, and competitive uncertainties and contingencies beyond the control of the Debtors, their management and their advisors.
Inevitably, some assumptions in the Liquidation Analysis would not materialize in an actual chapter 7 liquidation, and unanticipated
events and circumstances could materially affect the ultimate results in an actual chapter 7 liquidation. The Liquidation Analysis
was prepared for the sole purpose of generating a reasonable good faith estimate of the proceeds that would be generated if the
Debtors’ assets were liquidated in accordance with chapter 7 of the Bankruptcy Code. The Liquidation Analysis is not intended
and should not be used for any other purpose. The underlying financial information in the Liquidation Analysis was not compiled
or examined by independent accountants in accordance with standards promulgated by the American Institute of Certified Public
Accountants.

NEITHER THE DEBTORS NOR THEIR ADVISORS MAKE ANY REPRESENTATION OR WARRANTY THAT THE
ACTUAL RESULTS WOULD OR WOULD NOT APPROXIMATE THE ESTIMATES AND ASSUMPTIONS REPRESENTED
IN THE LIQUIDATION ANALYSIS. ACTUAL RESULTS COULD VARY MATERIALLY. NOTHING CONTAINED IN
THIS LIQUIDATION ANALYSIS IS INTENDED TO BE, OR CONSTITUTES, A CONCESSION, ADMISSION, OR
ALLOWANCE OF ANY CLAIM BY THE DEBTORS. THE ACTUAL AMOUNT OR PRIORITY OF ALLOWED CLAIMS
IN THE CHAPTER 11 CASES COULD MATERIALLY DIFFER FROM THE ESTIMATED AMOUNTS SET FORTH AND
USED IN THIS LIQUIDATION ANALYSIS. THE DEBTORS RESERVE ALL RIGHTS TO SUPPLEMENT, MODIFY, OR
AMEND THE ANALYSIS SET FORTH HEREIN.

III. OVERVIEW AND GENERAL ASSUMPTIONS

Hypothetical chapter 7 recoveries set forth in this Liquidation Analysis were determined through multiple steps, as set forth below.
The basis of the Liquidation Analysis is the Debtors’ projected cash balance and assets as of December 22, 2024 (the “Conversion
Date”) and the net costs to execute the administration of the wind down of the Estates. The Liquidation Analysis assumes that the
Debtors would commence a chapter 7 liquidation on or about the Conversion Date under the supervision of a single court-appointed
chapter 7 trustee. The selection of a separate chapter 7 trustee for one or more of the Estates likely would result in substantially
higher administrative expenses associated with the chapter 7 cases from a large duplication of effort by each trustee and his or her
professionals. In addition, the selection of separate chapter 7 trustees likely would give rise to complicated, expensive, and time-
consuming disputes regarding certain inter-Debtor issues. The Liquidation Analysis reflects the wind down and liquidation of


1
     Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Disclosure Statement for the
     Prepackaged Joint Plan of Reorganization of The Container Store Group, Inc. and Its Debtor Affiliates Under Chapter 11 of the Bankruptcy
     Code.



                                                                                                                                 12-20-2024
        Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 561 of 569



substantially all the Debtors’ remaining assets and the distribution of available proceeds to Holders of Allowed Claims during the
period after the Conversion Date.

Summary Notes to Liquidation Analysis

1.   Dependence on Assumptions. The Liquidation Analysis depends on a number of estimates and assumptions. Although
     developed and considered reasonable by the management and the restructuring advisors of the Debtors, the assumptions are
     inherently subject to significant economic, business, regulatory and competitive uncertainties, and contingencies beyond the
     control of the Debtors or their management. The Liquidation Analysis is also based on the Debtors’ best judgment of how
     numerous decisions in the liquidation process would be resolved. Accordingly, there can be no assurance that the values
     reflected in the Liquidation Analysis would be realized if the Debtors were, in fact, to undergo such a liquidation and actual
     results could vary materially and adversely from those contained herein.
2.   Dependence on a Forecast Balance Sheet. This Liquidation Analysis contains numerous estimates that are still under review
     and it remains subject to further legal and accounting analysis.
3.   No DIP Facility Assumed. The Liquidation Analysis assumes no DIP Facilities. The chapter 7 case is assumed to be funded
     by cash on hand and liquidation of assets.
4.   Chapter 7 Liquidation Process. The liquidation of the Debtors’ assets is assumed to be completed over a period of
     approximately six (6) months, inside of a chapter 7 case managed by the chapter 7 trustee. The chapter 7 trustee would manage
     the bankrupt Estates to maximize recovery to creditors as expeditiously as possible and would appoint professionals (attorneys,
     investment bankers, financial advisors, liquidators, accountants, consultants, appraisers, experts, etc.) to assist in the
     liquidation and wind down of the Estates. The chapter 7 trustee would oversee the Debtors’ inventory liquidation and
     collection of outstanding accounts receivable in addition to attempting to sell or otherwise monetize other assets owned by the
     Debtors to one or multiple buyers. During the first four (4) months, the Debtors would complete going-out-of-business sales
     for all remaining store inventory, furniture, fixtures, and equipment. At the end of this four (4)-month period, the Debtors
     would reject all corporate, store and distribution center leases immediately and return the spaces to the landlords in broom-
     swept condition. During the remaining two (2) month-period, the Debtors would primarily focus on monetizing other assets
     such as intellectual property and other remaining personal property and equipment, as well as administrative activities such as
     claims reconciliation, distributions to Holders of various Claims, and other activities necessary to wind down the Estates.
5.   Claims Estimates. In preparing this Liquidation Analysis, the Debtors have preliminarily estimated an amount of Allowed
     Claims for each Class based upon a review of the Debtors’ estimated balance sheet. Administrative Claims were estimated
     based on the Debtors’ financial projections as of the Conversion Date. Additional Claims were estimated to include certain
     chapter 7 administrative obligations incurred after the Conversion Date. The estimate of all Allowed Claims in this
     Liquidation Analysis is based on the estimated book value of those Claims, where applicable. No order or finding has been
     entered or made by the Bankruptcy Court estimating or otherwise fixing the amount of Claims at the estimated amounts of
     Allowed Claims set forth in this Liquidation Analysis. The estimate of the amount of Allowed Claims set forth in this
     Liquidation Analysis should not be relied upon for any other purpose, including, without limitation, any determination of the
     value of any distribution to be made on account of Allowed Claims under the Plan. The actual amount of Allowed Claims
     could be materially different from the amount of Claims estimated in this Liquidation Analysis.

IV. CONCLUSION


    THE DEBTORS HAVE DETERMINED, AS SUMMARIZED IN THE FOLLOWING ANALYSIS, THAT
    CONFIRMATION OF THE PLAN WILL PROVIDE CREDITORS WITH A RECOVERY THAT IS NOT
    LESS THAN WHAT THEY WOULD OTHERWISE RECEIVE IN CONNECTION WITH A
    LIQUIDATION OF THE DEBTORS UNDER CHAPTER 7 OF THE BANKRUPTCY CODE.


V. LIQUIDATION ANALYSIS RESULTS

Presented below is a summary of asset recoveries and distributions to various classes of claims resulting from the hypothetical
Liquidation Analysis.2



2
     The estimated claim amounts reflected above may differ from the estimated claims included elsewhere in the Disclosure Statement because
     of differing assumptions between the Plan and this hypothetical chapter 7 liquidation.



                                                                                                                                12-20-2024
          Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 562 of 569



$ in millions                                                                             High Value                    Low Value
                                             Book Value / Est. $    Priority          $                  %          $                 %
Liquidation Proceeds
   Cash on Hand                                            9.8       ABL                    9.8        100.0%            9.8        100.0%
   Accounts Receivable                                    22.8       ABL                   15.1         66.5%            9.2         40.5%
   Inventory                                             147.0       ABL                  103.0         70.1%           73.6         50.1%
   Prepaid Expenses                                       12.5       ABL                    0.8         6.6%               -         0.0%
   Income Tax Receivable                                   3.6       ABL                    3.6        100.0%              -         0.0%
   PP&E                                                  119.0       ABL                    5.7         4.8%             2.9         2.4%
   Intangibles                                           123.3       ABL                    8.6         7.0%               -         0.0%
   Other Assets                                          471.7       ABL                    2.8         0.6%               -         0.0%
  Total TCS Assets                           $           909.6                  $         149.4         16.4%   $       95.4         10.5%

 Equity in Non-Debtor Subsidiaries                         11.5    Term Loan               11.5        100.0%              -              -

Total Proceeds Available for Distribution    $           921.1                  $         160.9        17.5%    $       95.4        10.4%

Wind Down Costs                                                                       $                  %          $                 %
  Ch. 7 Legal & Advisor Fees                                                               10.0        100.0%            7.0        100.0%
  Ch. 7 Trustee Fees                                                                        4.8        100.0%            2.9        100.0%
  Liquidation Fees & Expenses                                                               1.8        100.0%            0.5        100.0%
  Accrued Payroll and Payroll Taxes                                                         6.0        100.0%            6.0        100.0%
  Accrued Sales Tax                                                                         3.0        100.0%            3.0        100.0%
  Other Wind Down Costs                                                                    39.5        100.0%           37.3        100.0%
  Gift Card Realization                                                                     4.5        100.0%            2.2        100.0%
 Total Wind Down Costs                                                          $          69.6        100.0%   $       58.9        100.0%

Total Net Proceeds Available for Claims                                         $          91.3                 $       36.6
   Net Proceeds - ABL Priority                                                             84.1                         36.6
   Net Proceeds - TL Priority                                                               7.3                          -

Claims Recovery
  ABL Claims                                               88.3                            84.1        95.2%            36.6        41.4%
ABL Recovery                                 $             88.3                 $          84.1        95.2%    $       36.6        41.4%

 Term Loan Claims                                        166.9                              7.3        4.4%                -         0.0%
Term Loan Recovery                           $           166.9                  $           7.3        4.4%     $          -         0.0%

 Administrative / Priority Claims                          33.0                               -        0.0%                -         0.0%
Administrative / Priority Recovery           $             33.0                 $             -        0.0%     $          -         0.0%

 General Unsecured Claims                                162.5                                -        0.0%                -         0.0%
GUC Recovery                                 $           162.5                  $             -        0.0%     $          -         0.0%


VI. NOTES FOR PROCEEDS AVAILABLE FOR DISTRIBUTION

Note [1] – Cash and Cash Equivalents

The Liquidation Analysis assumes 100% recovery for all projected cash and cash equivalents at the Conversion Date.

Note [2] – Accounts Receivable

Accounts receivable consist of credit card receivables, Intercompany receivables, and other receivables on the Debtors’ balance
sheet. The Liquidation Analysis assumes 100% of credit card receivables are collectable in the High Case and 90% are collectable
in the Low Case, consistent with the advance rate on credit card receivables per the borrowing base of the Prepetition ABL Facility.
The Liquidation Analysis assumes 75% of other receivables are collectable in the High Case and 25% are in the Low Case. The
Prepetition ABL Facility does not include any availability on account of other receivables. Intercompany receivables are not
considered due to Intercompany payables in excess of the Intercompany receivable balance.

Note [3] – Inventory

The Liquidation Analysis assumes inventory of approximately $147.0 million as of the Conversion Date. Inventory is assumed to
be sold through orderly going-out-of-business sales using all existing stores. Recovery estimates and timelines are based on a third-
party appraisal. Estimated recovery is based on the net recovery on cost of inventory, which accounts for costs related to selling
through the inventory such as occupancy, payroll, liquidation fees, freight, and other general selling expenses. The Liquidation
Analysis assumes that only 75% of the net recovery on cost of inventory is achieved in the High Case, to account for additional



                                                                                                                               12-20-2024
        Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 563 of 569



risk associated with Chapter 7, forced nature of the liquidation, and unfavorable seasonality associated with the proposed liquidation
timing. The Liquidation Analysis also assumes that the net recovery on cost of inventory in the Low Case is 20% lower than the
third-party appraisal estimate used in the High Case, to account for potential changes in market conditions since the appraisal and
incremental risk associated with the forced liquidation. The blended range of recoveries on inventory is between 50.1% and 70.1%
of book value.

Note [4] – Prepaid Expenses

Prepaid expenses consist of prepayments for advertising, insurance, rent and other expenses. The Liquidation Analysis assumes
50% of prepaid insurance is recoverable in the High Case and no prepaid expenses are recoverable in the Low Case.

Note [5] – Income Tax Receivable

The Income Tax Receivable represents federal or state tax refunds that the Debtors are entitled to for prior period tax overpayments,
subject to the finalization of audits and subsequent payment by relevant tax authorities. The Liquidation Analysis assumes 100%
of the estimated refunds are collectable in the High Case but 0% are collectable in the Low Case, due to the risk of audit or position
from tax authorities that refunds should be offset against future tax liabilities

Note [6] – Plant, Property and Equipment

PP&E assets primarily consist of Machinery and Equipment, Furniture and Fixtures, Computer Hardware, Leasehold
Improvements, and Software.

Machinery and Equipment, Furniture and Fixtures, and Computer Hardware are held across the Debtors’ stores, distribution centers,
and corporate support center. Recoveries are estimated between 2.5% and 5.0%.

Leasehold Improvements are capitalized improvements to leasehold stores, and Construction in Progress are ongoing improvements
and IT projects that have not yet been put into service and started being depreciated. No recoveries are expected for either of these.

Software relates to purchased software, much of which has specific applications to the Debtors’ business. No recoveries are
expected.

The blended recovery range for PP&E is 2.4% to 4.8% of estimated book value.

Note [7] –Intangibles

Intangibles are comprised wholly of The Container Store Tradenames. The Liquidation Analysis assumes 7% recovery on the fair
market value of Intangibles in the High Case and no recovery in the Low Case, as the liquidation value of the Intangibles would be
materially lower than fair market value.

Note [8] – Other Assets

Other Long-Term Assets is primarily representative of lease right-of-use assets which are assumed to have zero recovery value.
Other Long-Term Assets also includes deposits, investments in subsidiaries, non-qualified retirement plan assets, and other
immaterial assets. The blended recovery range for Other Assets is 0.0% to 0.6%.

Note [9] – Equity in Non-Debtor Subsidiaries

Equity in Non-Debtor Subsidiaries represents the estimated value of the Debtors’ interest in the Elfa Non-Debtor subsidiaries in a
liquidation scenario. The recovery value in the Low Case is assumed to be zero as the Elfa Non-Debtor subsidiary is significantly
dependent on the Debtors as a customer to achieve profitability and a sustainable level of cash flow generation. If the Debtors were
to liquidate, it is unclear if any party would attribute value to the equity of the Non-Debtor subsidiaries and/or be willing to take
on the liabilities of the Non-Debtor subsidiaries. The recovery value in the High Case is assumed to be approximately $11.5
million. A revenue multiple for manufacturing companies, discounted by 50% for the highly distressed nature of the sale, and
further reduced by the funded debt outstanding, was used for the High Case estimate.




                                                                                                                          12-20-2024
        Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 564 of 569



II. WIND DOWN COSTS

Note [10] – Chapter 7 – Legal & Advisor Fees

Chapter 7 professional fees include costs for restructuring counsel, local counsel, financial advisor, and other professionals. These
fees are allocated pro-rata to the estimated recoveries on ABL and Term Loan priority assets.

Note [11] – Chapter 7 – Trustee Fees

Consistent with statutory guidelines, the chapter 7 trustee fee is estimated at 3% of total distributions to interested parties. These
fees are allocated pro-rata to the estimated recoveries on ABL and Term Loan priority assets.

Note [12] – Liquidation Fees & Expenses

Liquidation fees and expenses for realization on Accounts Receivable, PP&E, and Equity in Non-Debtor Subsidiaries are assumed
to be 4% of gross recoveries. The Liquidation Analysis assumes the Trustee will retain brokers, auctioneers, and relevant
professionals to assist in the marketing and liquidation of these assets. The fees for Accounts Receivable and PP&E liquidation
are allocated to ABL recoveries and the fees for Equity in Non-Debtor Subsidiaries liquidation are allocated to Term Loan
recoveries.

Note [13] – Accrued Payroll & Payroll Taxes

Accrued payroll and associated taxes are estimates as of the Conversion Date and are assumed to be paid in the normal course as
part of the wind down process, as failure to pay these expenses would likely have a destabilizing effect on the orderly wind down
of the Debtors’ Estates. These costs are allocated pro-rata to the estimated recoveries on ABL and Term Loan priority assets.

Note [14] – Accrued Sales Taxes

Accrued sales taxes are estimates as of the Conversion Date and are assumed to be paid in the normal course as part of the wind
down process, as failure to pay these expenses would likely have a destabilizing effect on the orderly wind down of the Debtors’
Estates. These costs are allocated to the estimated recoveries on ABL priority assets.

Note [15] – Other Wind Down Costs

Other wind down costs include other corporate overhead required to facilitate the liquidation process, including six (6) months of
technology cost required to execute transition of data to Chapter 7 Trustee and professionals, 25% of corporate payroll required to
transition of knowledge and support the Chapter 7 Trustee and professionals, sales tax incurred in association with the liquidation
of assets during the Chapter 7 period, and other indirect G&A costs associated with the liquidation. The Debtors’ would need to
incur such costs in order to achieve the estimated recoveries on assets. With the exception of sales tax incurred on liquidation of
assets, these costs are allocated pro-rata to the estimated recoveries on ABL and Term Loan priority assets.

Note [16] – Gift Card Realization

Gift cards are assumed to be accepted during the first 30 days of the going-out-of-business sale period to drive traffic to the stores
and online channels. It is assumed that 20% to 40% of gross outstanding gift card balances will be redeemed. The gift card
realization is allocated to the estimated recoveries on ABL priority assets.

III. SECURED CLAIMS

Note [17] – ABL Claims

The ABL Claims are estimated to be $88.3 million, based on $80.0 million of current outstanding borrowings under the Prepetition
ABL Facility, $7.5 million of committed letters of credit, and $0.8 million of accrued and unpaid interest and fees. All net
recoveries from cash, inventory, accounts receivable, and related assets are used to satisfy these claims in full. The Liquidation
Analysis estimates 41.4% to 95.2% on the ABL Claims.

Note [18] - Term Loan Claims

The Term Loan Claims are estimated to be $166.9 million, including $3.7 million of accrued and unpaid interest and fees. All net
recoveries from Equity in Non-Debtor Subsidiaries are used to satisfy these claims in full. Additionally, the Liquidation Analysis




                                                                                                                          12-20-2024
         Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 565 of 569



assumes these claims would be paid from any excess proceeds after payment of the ABL Claims in full. The Liquidation Analysis
estimates 0% to 4.4% on the Term Loan Claims.

IV. ADMINISTRATIVE AND PRIORITY CLAIMS

Note [19] – Administrative and Priority Claims

Administrative and priority Claims estimates include, but are not limited to, 503(b)(9) Claims, Priority Tax Claims, and accrued
expenses and other Administrative Claims as of the Conversion Date. The Liquidation Analysis estimates no recoveries on account
of these Claims.

V. UNSECURED CLAIMS

Note [20] – General Unsecured Claims

General Unsecured Claims include estimated trade payables and other accrued expenses, lease rejection damage claims, and various
other general unsecured claims. The Liquidation Analysis estimates no recovery to Holders of General Unsecured Claims.

     •    Accounts Payable, Accrued Expenses and Other Current Liabilities represent estimates as of the Conversion Date.
     •    Lease rejection damage claims were calculated as the greater of (a) one year’s rent or (b) 15% of the remaining lease
          term, not to exceed three (3) years’ rent.

An internal investigation is underway performed to consider the value of any Affirmative Claims. As of the date hereof, while the
Investigation is ongoing, the Debtors have not identified any Affirmative Claims that either exist, are expected to have a material
value, or are expected to have immaterial value that would exceed the costs of pursuing such claims. As such, no Affirmative
Claims are included.



IT SHOULD BE NOTED THAT NO ORDER OR FINDING HAS BEEN ENTERED OR MADE BY THE
BANKRUPTCY COURT ESTIMATING OR OTHERWISE FIXING THE AMOUNT OF CLAIMS AT THE
ESTIMATED AMOUNTS OF ALLOWED CLAIMS SET FORTH IN THE LIQUIDATION ANALYSIS. THE
ESTIMATE OF THE AMOUNT OF ALLOWED CLAIMS SET FORTH IN THIS LIQUIDATION
ANALYSIS SHOULD NOT BE RELIED UPON FOR ANY OTHER PURPOSE, INCLUDING, WITHOUT
LIMITATION, ANY DETERMINATION OF THE VALUE OF ANY DISTRIBUTION TO BE MADE ON
ACCOUNT OF ALLOWED CLAIMS UNDER THE PLAN. THE ACTUAL AMOUNT OF ALLOWED
CLAIMS COULD BE MATERIALLY DIFFERENT FROM THE AMOUNT OF CLAIMS ESTIMATED IN
THIS LIQUIDATION ANALYSIS.




                                                                                                                       12-20-2024
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 566 of 569



                                                EXHIBIT E
                                             Valuation Analysis
      THE VALUATION INFORMATION CONTAINED HEREIN IS NOT A PREDICTION OR
GUARANTEE OF THE ACTUAL MARKET VALUE THAT MAY BE REALIZED THROUGH THE
SALE OF ANY SECURITIES TO BE ISSUED PURSUANT TO THE PLAN. THIS VALUATION IS
PRESENTED SOLELY FOR THE PURPOSE OF PROVIDING ADEQUATE INFORMATION AS
REQUIRED BY SECTION 1125 OF THE BANKRUPTCY CODE TO ENABLE THE HOLDERS OF
CLAIMS ENTITLED TO VOTE TO ACCEPT OR REJECT THE PLAN TO MAKE AN INFORMED
JUDGMENT ABOUT THE PLAN AND SHOULD NOT BE USED OR RELIED UPON FOR ANY
OTHER PURPOSE, INCLUDING THE PURCHASE OR SALE OF CLAIMS AGAINST THE
DEBTORS OR ANY OF THEIR AFFILIATES.
        Solely for purposes of the Plan and the Disclosure Statement,1 Houlihan Lokey Capital, Inc.
(“Houlihan Lokey”), as investment banker and financial advisor to the Debtors, has estimated a potential
range of total enterprise value (“Total Enterprise Value”) and implied equity value (“Equity Value”) of
the Reorganized Debtors on a going-concern basis and pro forma for the transactions contemplated by the
Plan.
        In preparing the estimates set forth below, Houlihan Lokey has relied upon the accuracy,
completeness, and fairness of financial and other information furnished by the Debtors. Houlihan Lokey
did not attempt to independently audit or verify such information, nor did it perform an independent
appraisal of the assets or liabilities of the Reorganized Debtors. Houlihan Lokey did not conduct an
independent investigation into any of the legal or accounting matters affecting the Reorganized Debtors,
and therefore makes no representation as to their potential impact on the Total Enterprise Value.
       The valuation information set forth in this section represents a valuation of the Reorganized Debtors
based on the application of standard valuation techniques. The estimated values set forth in this section:
        •       do not purport to constitute an appraisal of the assets of the Reorganized Debtors;
        •       do not constitute an opinion on the terms and provisions or fairness from a financial point
                of view to any person of the consideration to be received by such person under the Plan;
        •       do not constitute a recommendation to any holder of Allowed Claims or Interests as to how
                such person should vote or otherwise act with respect to the Plan; and
        •       do not necessarily reflect the actual market value that might be realized through a sale or
                liquidation of the Reorganized Debtors.
        In conducting its analysis, Houlihan Lokey, among other things: (a) reviewed certain publicly
available business and financial information relating to the Debtors and the specialty retail industry that
Houlihan Lokey deemed relevant; (b) reviewed certain internal information relating to the business,
earnings, cash flow, capital expenditures, assets, liabilities, and prospects of the Reorganized Debtors,
including the Financial Projections, furnished to Houlihan Lokey by the Debtors; (c) conducted discussions
with members of senior management and representatives of the Debtors concerning the matters described
in clauses (a) and (b) of this paragraph, as well as their views concerning the Debtors’ and Reorganized
Debtors’ business and prospects before and after giving effect to the Plan; (d) reviewed publicly available
financial and stock market data for certain other companies in lines of business that Houlihan Lokey deemed
relevant; (e) reviewed the financial terms of certain transactions that Houlihan Lokey deemed relevant;



1
    Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Disclosure
    Statement to which this Valuation Analysis is attached.



                                                                                                       12-20-2024
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 567 of 569



(f) reviewed drafts of the Plan and related transactional documents; and (g) conducted such other financial
studies and analyses and took into account such other information as Houlihan Lokey deemed appropriate.
         The estimated values set forth herein assume that the Reorganized Debtors will achieve their
Financial Projections in all material respects. Houlihan Lokey has relied on the Debtors’ representation
that the Financial Projections:
        •       have been prepared in good faith;
        •       are based on fully disclosed assumptions, which, in light of the circumstances under which
                they were made, are reasonable;
        •       reflect the Debtors’ best currently available estimates; and
        •       reflect the good faith judgments of the Debtors.
        Houlihan Lokey does not offer an opinion as to the attainability of the Financial Projections. As
disclosed in the Disclosure Statement, the future results of the Reorganized Debtors are dependent upon
various factors, many of which are beyond the control or knowledge of the Debtors and Houlihan Lokey,
and consequently are inherently difficult to project. This analysis contemplates facts and conditions known
and existing as of December 22, 2024, the date of the Disclosure Statement. Events and conditions
subsequent to this date, including updated Financial Projections, as well as other factors, could have a
substantial effect upon the Total Enterprise Value. Among other things, failure to consummate the Plan in
a timely manner may have a materially negative effect on the Total Enterprise Value. For purposes of this
valuation, Houlihan Lokey has assumed that no material changes that would affect value will occur between
December 22, 2024 and the assumed Effective Date projected for purposes of this valuation of January 31,
2025.
        In preparing its valuation, Houlihan Lokey performed a variety of financial analyses and considered
a variety of factors. The following is a brief summary of the material financial analyses considered by
Houlihan Lokey, which consisted of (a) a comparable public company analysis, (b) a precedent transactions
analysis, and (c) a discounted cash flow analysis.
        This summary does not purport to be a complete description of the analyses performed and factors
considered by Houlihan Lokey. The preparation of a valuation analysis is a complex analytical process
involving various judgmental determinations as to the most appropriate and relevant methods of financial
analysis and the application of those methods to particular facts and circumstances, and such analyses and
judgments are not readily susceptible to summary description. The following valuation analysis must be
considered as a whole and selecting just one methodology or portions of the analysis could create
misleading or incomplete conclusions as to enterprise value.
                                         Valuation Methodology
        The Total Enterprise Value of the Reorganized Debtors was estimated by primarily relying upon
three generally accepted valuation techniques: (i) Comparable Company Analysis, and (ii) Precedent
Transactions Analysis, and (iii) Discounted Cash Flow (“DCF”) analysis.
        a.      Comparable Company Analysis
                 The comparable company analysis estimates the value of a company based on a relative
        comparison with other publicly traded companies with similar operating and financial
        characteristics. A group of publicly traded companies was selected based on similar business and
        financial characteristics to the Reorganized Debtors. Such characteristics include, but are not
        limited to, similarity in business and business risks, growth prospects, distribution channels, target
        demographics, market presence, size, and scale of operations. The selection of appropriate
        comparable companies is often difficult and relies on certain qualitative judgements, as is the case
        here. The enterprise value for each selected public company is determined by examining the trading


                                                                                                     12-20-2024
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 568 of 569



        prices for the equity securities of such company in the public markets and adding the outstanding
        net debt for such company. Such enterprise values are typically expressed as multiples of various
        measures of financial and operating statistics, most commonly EBITDA, including projected levels
        of EBITDA. Multiples and representative EBITDA levels for projected calendar year 2024 and
        calendar year 2025 were used. The Total Enterprise Value of the Reorganized Debtors is calculated
        by applying these relevant selected multiples to the Reorganized Debtors’ historical financials and
        Financial Projections.
        b.      Precedent Transactions Analysis
                 The precedent transactions analysis involves identifying and examining public merger and
        acquisition transactions that involved companies whose business and operating characteristics are
        generally similar to the Reorganized Debtors, although no selected company is either identical or
        directly comparable to the Reorganized Debtors. From a review of this group, Houlihan Lokey
        then developed a range of valuation multiples to apply to the Financial Projections to derive a range
        of implied enterprise values for the Reorganized Debtors’ operations.
        c.      Discounted Cash Flow Analysis
                 The discounted cash flow analysis is a forward-looking enterprise valuation methodology
        that estimates the value of an asset or business by calculating the present value of expected future
        cash flows to be generated by that asset or business. Houlihan Lokey’s discounted cash flow
        analysis used the Financial Projections and their implied after-tax cash flows through March 31,
        2029. These cash flows were then discounted at a range of estimated weighted average costs of
        capital, which was determined by reference to, among other things, the capital structure of selected
        companies that are similar to the Debtors in certain respects and the estimated cost of equity of
        selected publicly traded companies that are similar to the Debtors in certain respects. Houlihan
        Lokey’s discounted cash flow analysis also included an estimate of the value of the Reorganized
        Debtors for the period beyond March 31, 2029, known as the terminal value. The terminal value
        was calculated using the Gordon Growth Method, applying a perpetual growth rate to the free cash
        flow in the final year of the projection period. This value was then discounted back to the assumed
        Effective Date. The growth rate was informed by the long-term growth prospects of the
        Reorganized Debtors, as well as industry trends and economic conditions. The discounted cash
        flow analysis involves complex considerations and judgments concerning appropriate terminal
        values and discount rates.
                     Estimated Total Enterprise Value and Implied Equity Value
        As a result of the analysis described herein, Houlihan Lokey estimated the Total Enterprise Value
of the Reorganized Debtors as of the assumed Effective Date of January 31, 2025 to be between
approximately $184 million and $216 million, with a midpoint of $200 million. Based on the estimated
Total Enterprise Value and assumed net debt of approximately $176 million as of the Effective Date, the
implied Equity Value of the Reorganized Debtors is between approximately $8 million and $41 million,
with a midpoint of $24 million.
         The estimate of the Total Enterprise Value set forth herein is not necessarily indicative of actual
outcomes, which may be significantly more or less favorable than those set forth herein depending on the
results of the Debtors’ operations or changes in the financial markets. Additionally, these estimates of value
represent hypothetical enterprise and equity values of the Reorganized Debtors as the continuing operator
of their businesses and assets, and do not purport to reflect or constitute appraisals, liquidation values or
estimates of the actual market value that may be realized through the sale of any securities to be issued
pursuant to the Plan, which may be significantly different than the amounts set forth herein. Such estimates
were developed solely for purposes of formulation and negotiation of the Plan and analysis of implied



                                                                                                     12-20-2024
      Case 24-90627 Document 18 Filed in TXSB on 12/23/24 Page 569 of 569



relative recoveries to creditors thereunder. The value of an operating business such as the Debtors’ business
is subject to uncertainties and contingencies that are difficult to predict and will fluctuate with changes in
factors affecting the financial condition and prospects of such businesses.
        Houlihan Lokey’s estimated valuation range of the Reorganized Debtors does not constitute a
recommendation to any Holder of Allowed Claims or Interests as to how such person should vote or
otherwise act with respect to the Plan. The estimated value of the Reorganized Debtors set forth herein
does not constitute an opinion as to the fairness from a financial point of view to any person of the
consideration to be received by such person under the Plan or of the terms and provisions of the Plan.
Because valuation estimates are inherently subject to uncertainties, none of the Debtors, the Reorganized
Debtors, Houlihan Lokey, nor any other person assumes responsibility for their accuracy or any differences
between the estimated valuation ranges herein and any actual outcome.




                                                                                                     12-20-2024
